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                                                                                    Exhibit A

                                     FTX Trading Ltd., et al.,
                             Summary of Time Detail by Professional
                             October 1, 2023 through October 31, 2023


Professional                Position                Billing Rate    Sum of Hours     Sum of Fees

Arnett, Chris               Managing Director           $1,050.00           102.0     $107,100.00

Bowles, Carl                Managing Director           $1,025.00             3.2         $3,280.00

Chambers, Henry              Managing Director           $995.00            156.2     $155,419.00

Gordon, Robert               Managing Director          $1,025.00           226.3     $231,957.50

Grillo, Rocco               Managing Director           $1,100.00            19.5        $21,450.00

Grosvenor, Robert            Managing Director          $1,000.00             8.5         $8,500.00

Hershan, Robert              Managing Director          $1,100.00            16.2        $17,820.00

Howe, Christopher            Managing Director          $1,200.00            33.0        $39,600.00

Iwanski, Larry              Managing Director           $1,075.00            29.9        $32,142.50

Jacobs, Kevin               Managing Director           $1,100.00            32.5        $35,750.00

Johnston, David             Managing Director           $1,025.00           136.6     $140,015.00

Kotarba, Chris               Managing Director          $1,100.00            16.8        $18,480.00

Kotarba, Steve               Managing Director          $1,100.00           125.8     $138,380.00

Marshall, Jonathan          Managing Director           $1,075.00             2.1         $2,257.50

Mosley, Ed                  Managing Director           $1,250.00           220.7     $275,875.00

Ryan, Laureen                Managing Director          $1,075.00            63.2        $67,940.00

Sielinski, Jeff             Managing Director           $1,025.00            22.2        $22,755.00

Stegenga, Jeffery            Managing Director          $1,375.00             6.0         $8,250.00

Wall, Guy                   Managing Director           $1,025.00            21.2        $21,730.00

Seaway, Bill                Senior Advisor              $1,100.00            12.2        $13,420.00

Broskay, Cole                Senior Director             $900.00            136.5     $122,850.00

Callerio, Lorenzo           Senior Director              $875.00            158.9     $139,037.50

Canale, Alex                Senior Director              $900.00            145.0     $130,500.00

Chew, Ee Ling                Senior Director             $750.00              5.1         $3,825.00

Cooper, James               Senior Director              $875.00            218.7     $191,362.50

Coverick, Steve             Senior Director              $950.00            248.0     $235,600.00

Dusendschon, Kora           Senior Director              $900.00             28.0        $25,200.00

Esposito, Rob               Senior Director              $875.00            247.8     $216,825.00

Evans, Charles              Senior Director              $835.00              3.6         $3,006.00

Griffith, David              Senior Director             $900.00              0.8          $720.00

Johal, Jas                   Senior Director             $900.00              1.7         $1,530.00

Johnson, Robert              Senior Director             $900.00            123.4     $111,060.00

Konig, Louis                Senior Director              $900.00             38.1        $34,290.00


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Professional              Position                Billing Rate   Sum of Hours     Sum of Fees

Kwan, Peter               Senior Director             $900.00            243.5     $219,150.00

Mohammed, Azmat           Senior Director             $925.00            181.4     $167,795.00

Negus, Matthew             Senior Director            $900.00             44.1         $39,690.00

Pandey, Vishal            Senior Director             $925.00             19.5         $18,037.50

Ramanathan, Kumanan       Senior Director             $950.00            272.9     $259,255.00

Sexton, Rachel            Senior Director             $875.00             12.0         $10,500.00

Shanahan, Michael         Senior Director             $900.00             93.2         $83,880.00

Tarikere, Sriram          Senior Director             $925.00             39.1         $36,167.50

Titus, Adam               Senior Director             $950.00            232.9     $221,255.00

Ulyanenko, Andrey         Senior Director             $950.00             39.5         $37,525.00

Vieira, Francisco         Senior Director             $650.00              8.5          $5,525.00

Wilson, Sean              Senior Director             $950.00              5.5          $5,225.00

Zatz, Jonathan             Senior Director            $900.00            275.0     $247,500.00

Arbid, Rami               Director                    $750.00             21.0         $15,750.00

Baker, Kevin              Director                    $750.00            237.0     $177,750.00

Balmelli, Gioele          Director                    $800.00             50.2         $40,160.00

Casey, John                Director                   $725.00             73.2         $53,070.00

Chamma, Leandro            Director                   $750.00            130.7         $98,025.00

Dennison, Kim             Director                    $650.00              0.2           $130.00

Flynn, Matthew            Director                    $775.00            234.2     $181,505.00

Glustein, Steven          Director                    $800.00            232.7     $186,160.00

Gosau, Tracy              Director                    $750.00             87.8         $65,850.00

Hainline, Drew            Director                    $800.00            232.3     $185,840.00

Kearney, Kevin            Director                    $800.00            297.1     $237,680.00

Lambert, Leslie           Director                    $750.00             69.1         $51,825.00

Lannan, Matthew            Director                   $880.00              5.4          $4,752.00

Lee, Julian               Director                    $750.00             69.9         $52,425.00

Lewandowski, Douglas      Director                    $800.00            220.5     $176,400.00

McGoldrick, Hugh           Director                   $750.00              5.4          $4,050.00

McGrath, Patrick          Director                    $750.00             83.3         $62,475.00

Medway, David             Director                    $750.00             37.1         $27,825.00

Ruez, William             Director                    $750.00             42.0         $31,500.00

Sullivan, Christopher     Director                    $825.00            272.9     $225,142.50

van den Belt, Mark        Director                    $750.00            215.6     $161,700.00

Walia, Gaurav             Director                    $825.00            270.9     $223,492.50

Ardizzoni, Heather        Manager                     $700.00              0.5           $350.00

Grussing, Bernice         Operations Manager          $325.00              5.6          $1,820.00

Hoffer, Emily             Manager                     $650.00            117.4         $76,310.00

Lam, James                 Manager                    $600.00             93.2         $55,920.00

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Professional              Position               Billing Rate   Sum of Hours     Sum of Fees

Li, Summer                Manager                    $670.00             44.6         $29,882.00

Lowe, Sam                 Manager                    $650.00              9.7          $6,305.00

Mimms, Samuel             Manager                    $650.00             10.5          $6,825.00

Pestano, Kyle             Manager                    $650.00            147.9         $96,135.00

Reagan, Kelsey            Manager                    $700.00            196.7     $137,690.00

Riabchuk, Pavlo           Manager                    $750.00              1.6          $1,200.00

Rybarczyk, Jodi            Manager                   $700.00            124.2         $86,940.00

Salas Nunez, Luis         Manager                    $772.00            156.6     $120,895.20

Sarmiento, Dubhe          Manager                    $650.00             46.9         $30,485.00

Sivapalu, Anan            Manager                    $625.00             96.4         $60,250.00

Sloan, Austin             Manager                    $650.00             90.9         $59,085.00

Strong, Nichole           Manager                    $650.00             35.4         $23,010.00

Tong, Crystal              Manager                   $650.00            167.4     $108,810.00

Turton, Bobby              Manager                   $700.00            190.5     $133,350.00

Zhang, Qi                 Manager                    $670.00             65.9         $44,153.00

Alvarez, Charles           Senior Associate          $600.00             98.0         $58,800.00

Blanchard, Madison        Senior Associate           $575.00            200.8     $115,460.00

Cox, Allison              Senior Associate           $575.00            141.2         $81,190.00

Dalgleish, Elizabeth      Senior Associate           $700.00            165.6     $115,920.00

Faett, Jack                Senior Associate          $700.00            191.1     $133,770.00

Helal, Aly                Senior Associate           $575.00            100.3         $57,672.50

Herzon, Sam               Senior Associate           $550.00              9.8          $5,390.00

Kaufman, Ashley           Senior Associate           $650.00             22.3         $14,495.00

Kolodny, Steven           Senior Associate           $600.00            147.4         $88,440.00

Kuruvilla, Daniel         Senior Associate           $700.00            139.1         $97,370.00

Maggard, Austin           Senior Associate           $600.00            170.7     $102,420.00

Montague, Katie           Senior Associate           $700.00            217.5     $152,250.00

Sagen, Daniel             Senior Associate           $725.00            207.4     $150,365.00

Todd, Patrick             Senior Associate           $650.00            159.7     $103,805.00

Wilson, David             Senior Associate           $575.00            259.6     $149,270.00

Work, David               Senior Associate           $650.00            145.1         $94,315.00

Beretta, Matthew          Associate                  $478.00            142.2         $67,971.60

Braatelien, Troy          Associate                  $600.00            184.5     $110,700.00

Chan, Jon                  Associate                 $525.00            165.0         $86,625.00

Collis, Jack              Associate                  $500.00             49.6         $24,800.00

Dobbs, Aaron               Associate                 $525.00            150.1         $78,802.50

Ebrey, Mason              Associate                  $525.00            137.4         $72,135.00

Francis, Luke              Associate                 $600.00            269.5     $161,700.00

Gonzalez, Johnny          Associate                  $600.00            303.5     $182,100.00

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Professional              Position               Billing Rate   Sum of Hours     Sum of Fees

Haigis, Maya               Associate                 $525.00              2.4          $1,260.00

Heric, Andrew             Associate                  $525.00            157.0         $82,425.00

Hill, Liam                Associate                  $450.00              1.2           $540.00

Kane, Alex                Associate                  $575.00            163.3         $93,897.50

Krautheim, Sean           Associate                  $525.00             12.4          $6,510.00

McLoughlin, Miles         Associate                  $478.00             79.3         $37,905.40

Mirando, Michael          Associate                  $600.00            180.9     $108,540.00

Parker, Brandon            Associate                 $550.00             14.8          $8,140.00

Patel, Ishika             Associate                  $525.00             10.3          $5,407.50

Price, Breanna             Associate                 $525.00            110.9         $58,222.50

Sunkara, Manasa           Associate                  $525.00            157.4         $82,635.00

Taraba, Erik               Associate                 $600.00            229.1     $137,460.00

Trent, Hudson              Associate                 $625.00            313.5     $195,937.50

Witherspoon, Samuel       Associate                  $575.00            243.0     $139,725.00

Bruck, Ran                 Consultant                $600.00            162.0         $97,200.00

Jones, Mackenzie           Consultant                $600.00            155.3         $93,180.00

Zabcik, Kathryn           Consultant                 $600.00            192.1     $115,260.00

Arora, Rohan              Analyst                    $425.00            146.7         $62,347.50

Avdellas, Peter           Analyst                    $425.00            214.7         $91,247.50

Bolduc, Jojo              Analyst                    $425.00            228.4         $97,070.00

Burns, Zach               Analyst                    $500.00            165.0         $82,500.00

Clayton, Lance            Analyst                    $475.00            214.6     $101,935.00

Duncan, Ryan              Analyst                    $425.00            225.7         $95,922.50

Ernst, Reagan             Analyst                    $425.00            222.5         $94,562.50

Gidoomal, Dhruv           Analyst                    $500.00             65.7         $32,850.00

Hogge, Will               Analyst                    $425.00              8.5          $3,612.50

Hubbard, Taylor            Analyst                   $425.00            170.7         $72,547.50

Karnik, Noorita           Analyst                    $450.00              4.8          $2,160.00

Lehtis, Alexander          Analyst                   $425.00             13.5          $5,737.50

Lowdermilk, Quinn         Analyst                    $450.00            177.5         $79,875.00

Myers, Claire              Analyst                   $425.00            148.8         $63,240.00

Okkeh, Layan               Analyst                   $450.00              2.1           $945.00

Paolinetti, Sergio        Analyst                    $425.00            219.2         $93,160.00

Radwanski, Igor           Analyst                    $450.00            148.4         $66,780.00

Ribman, Tucker            Analyst                    $425.00            270.3     $114,877.50

Selwood, Alexa            Analyst                    $425.00            198.9         $84,532.50

Simoneaux, Nicole         Analyst                    $475.00            227.0     $107,825.00

Slay, David               Analyst                    $525.00            265.5     $139,387.50

Stockmeyer, Cullen        Analyst                    $450.00            219.7         $98,865.00

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Professional              Position            Billing Rate   Sum of Hours     Sum of Fees

Stolyar, Alan             Analyst                 $500.00            206.3      $103,150.00

Tenney, Bridger           Analyst                 $450.00            281.2      $126,540.00

Yan, Jack                 Analyst                 $450.00            136.3         $61,335.00

Yang, Sharon              Analyst                 $425.00             82.1         $34,892.50


                                                    Total          18,793.6   $12,760,264.20




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                                        FTX Trading Ltd., et al.,
                                    Summary of Time Detail by Task
                                October 1, 2023 through October 31, 2023

Task Description                                                  Sum of Hours         Sum of Fees
Accounting                                                                   196.2       $131,511.00

Asset Sales                                                                 2,669.9    $1,855,089.10

Avoidance Actions                                                           2,687.3    $1,865,687.90

Business Operations                                                         3,824.7    $2,646,159.90

Case Administration                                                           48.0        $46,620.00

Cash Management                                                              593.4       $368,464.00

Claims                                                                      2,923.9    $1,982,397.00

Contracts                                                                    478.1       $269,060.00

Court and UST Reporting                                                      683.7       $433,471.50

Creditor Cooperation                                                         282.6       $223,400.00

Disclosure Statement and Plan                                               1,615.1    $1,028,543.50

Due Diligence                                                                177.1       $123,822.50

Employee Matters                                                             103.9        $52,492.50

Fee Application                                                                 9.4        $4,485.00

Financial Analysis                                                           311.5       $206,756.30

Government and Regulatory Data Requests                                      112.0        $90,747.50

Joint Provisional Liquidators                                               1,040.0      $663,182.50

Kroll Security Incident                                                      423.7       $304,888.50

Liquidation Analysis                                                          69.4        $45,785.00

Litigation                                                                   110.1        $60,400.00

Motions and Related Support                                                   57.7        $45,260.00

Schedules and Statements                                                      43.1        $35,142.50

Tax Initiatives                                                              274.6       $245,385.50

Vendor Management                                                             58.2        $31,512.50


                                                         Total             18,793.6   $12,760,264.20




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                                FTX Trading Ltd., et al.,
                        Summary of Time Detail by Professional
                        October 1, 2023 through October 31, 2023


Accounting                      Assist with the development and execution of the company's accounting &
                                finance functions, treasury processes & controls, and support of information
                                requirements.




Professional                Position                   Billing Rate        Sum of Hours            Sum of Fees

Gordon, Robert            Managing Director                 $1,025                      4.2           $4,305.00

Broskay, Cole             Senior Director                     $900                      5.3           $4,770.00

Glustein, Steven          Director                            $800                      0.4             $320.00

Hainline, Drew            Director                            $800                     15.0          $12,000.00

Kearney, Kevin            Director                            $800                     24.8          $19,840.00

Sullivan, Christopher     Director                            $825                      2.5           $2,062.50

Li, Summer                Manager                             $670                      0.3             $201.00

Faett, Jack               Senior Associate                    $700                     76.5          $53,550.00

Braatelien, Troy          Associate                           $600                      9.0           $5,400.00

Chan, Jon                 Associate                           $525                      5.0           $2,625.00

Mirando, Michael          Associate                           $600                      3.2           $1,920.00

Sunkara, Manasa           Associate                           $525                      2.8           $1,470.00

Bruck, Ran                Consultant                          $600                     12.4           $7,440.00

Jones, Mackenzie          Consultant                          $600                      0.5             $300.00

Hogge, Will               Analyst                             $425                      7.0           $2,975.00

Lehtis, Alexander         Analyst                             $425                     13.5           $5,737.50

Simoneaux, Nicole         Analyst                             $475                      0.2              $95.00

Stolyar, Alan             Analyst                             $500                      7.6           $3,800.00


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                    October 1, 2023 through October 31, 2023


Yan, Jack             Analyst                          $450            6.0         $2,700.00

                                                                     196.2    $131,511.00


                                Average Billing Rate                                $670.29




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                                FTX Trading Ltd., et al.,
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Asset Sales                     Assist the Debtors and advisors with various asset sales processes including
                                discussions with potential buyers, attaining and submitting information for buyer
                                diligence related to the sale, supplying supporting analysis/forecasts, and
                                support drafting of related purchase agreements (including schedules).




Professional                Position                   Billing Rate        Sum of Hours             Sum of Fees

Arnett, Chris             Managing Director                 $1,050                      5.0            $5,250.00

Chambers, Henry           Managing Director                   $995                     15.4           $15,323.00

Gordon, Robert            Managing Director                 $1,025                    148.2         $151,905.00

Hershan, Robert           Managing Director                 $1,100                     16.2           $17,820.00

Jacobs, Kevin             Managing Director                 $1,100                      3.6            $3,960.00

Johnston, David           Managing Director                 $1,025                      9.8           $10,045.00

Mosley, Ed                Managing Director                 $1,250                     27.8           $34,750.00

Broskay, Cole             Senior Director                     $900                      2.0            $1,800.00

Callerio, Lorenzo         Senior Director                     $875                     26.8           $23,450.00

Cooper, James             Senior Director                     $875                      1.7            $1,487.50

Coverick, Steve           Senior Director                     $950                     18.4           $17,480.00

Kwan, Peter               Senior Director                     $900                      0.5              $450.00

Ramanathan, Kumanan       Senior Director                     $950                     37.5           $35,625.00

Titus, Adam               Senior Director                     $950                    108.0         $102,600.00

Balmelli, Gioele          Director                            $800                      0.4              $320.00

Flynn, Matthew            Director                            $775                     12.6            $9,765.00

Glustein, Steven          Director                            $800                    100.8           $80,640.00

Hainline, Drew            Director                            $800                    199.7         $159,760.00


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Kearney, Kevin           Director                    $800             220.3     $176,240.00

Lee, Julian              Director                    $750               0.5          $375.00

van den Belt, Mark       Director                    $750               1.8       $1,350.00

Walia, Gaurav            Director                    $825               0.4          $330.00

Hoffer, Emily            Manager                     $650               0.5          $325.00

Reagan, Kelsey           Manager                     $700             196.7     $137,690.00

Rybarczyk, Jodi          Manager                     $700             124.2      $86,940.00

Salas Nunez, Luis        Manager                     $772               1.3       $1,003.60

Sivapalu, Anan           Manager                     $625              63.6      $39,750.00

Tong, Crystal            Manager                     $650              16.2      $10,530.00

Turton, Bobby            Manager                     $700             190.5     $133,350.00

Zhang, Qi                Manager                     $670               0.9          $603.00

Alvarez, Charles         Senior Associate            $600              98.0      $58,800.00

Faett, Jack              Senior Associate            $700              67.3      $47,110.00

Kolodny, Steven          Senior Associate            $600             147.4      $88,440.00

Montague, Katie          Senior Associate            $700              80.7      $56,490.00

Beretta, Matthew         Associate                   $478             142.2      $67,971.60

Braatelien, Troy         Associate                   $600              16.7      $10,020.00

McLoughlin, Miles        Associate                   $478              79.3      $37,905.40

Trent, Hudson            Associate                   $625               7.0       $4,375.00

Bruck, Ran               Consultant                  $600               1.0          $600.00

Jones, Mackenzie         Consultant                  $600              13.7       $8,220.00

Zabcik, Kathryn          Consultant                  $600               1.8       $1,080.00

Clayton, Lance           Analyst                     $475             170.3      $80,892.50



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Ernst, Reagan           Analyst                          $425         139.6     $59,330.00

Gidoomal, Dhruv         Analyst                          $500          65.7     $32,850.00

Paolinetti, Sergio      Analyst                          $425          38.5     $16,362.50

Stockmeyer, Cullen      Analyst                          $450          19.5      $8,775.00

Stolyar, Alan           Analyst                          $500          29.9     $14,950.00

                                                                     2669.9   $1,855,089.10


                                  Average Billing Rate                               $694.82




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                              FTX Trading Ltd., et al.,
                      Summary of Time Detail by Professional
                      October 1, 2023 through October 31, 2023


Avoidance Actions              Assist the Debtors with evaluating and analyzing potential preference and
                               avoidance actions.




Professional               Position                   Billing Rate        Sum of Hours            Sum of Fees

Arnett, Chris            Managing Director                 $1,050                     26.6          $27,930.00

Gordon, Robert           Managing Director                 $1,025                     14.2          $14,555.00

Mosley, Ed               Managing Director                 $1,250                     19.7          $24,625.00

Ryan, Laureen            Managing Director                 $1,075                     62.0          $66,650.00

Broskay, Cole            Senior Director                     $900                     41.0          $36,900.00

Callerio, Lorenzo        Senior Director                     $875                      0.5             $437.50

Canale, Alex             Senior Director                     $900                    145.0         $130,500.00

Cooper, James            Senior Director                     $875                      0.3             $262.50

Coverick, Steve          Senior Director                     $950                     16.6          $15,770.00

Dusendschon, Kora        Senior Director                     $900                      0.4             $360.00

Johnson, Robert          Senior Director                     $900                     12.7          $11,430.00

Konig, Louis             Senior Director                     $900                     15.5          $13,950.00

Kwan, Peter              Senior Director                     $900                      0.4             $360.00

Ramanathan, Kumanan      Senior Director                     $950                     57.7          $54,815.00

Shanahan, Michael        Senior Director                     $900                     93.2          $83,880.00

Titus, Adam              Senior Director                     $950                      0.2             $190.00

Zatz, Jonathan           Senior Director                     $900                      1.3           $1,170.00

Baker, Kevin             Director                            $750                     12.6           $9,450.00


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Flynn, Matthew            Director                    $775              84.2      $65,255.00

Glustein, Steven          Director                    $800               0.2          $160.00

Gosau, Tracy              Director                    $750              87.8      $65,850.00

Hainline, Drew            Director                    $800               3.4       $2,720.00

Kearney, Kevin            Director                    $800              10.6       $8,480.00

Lee, Julian               Director                    $750              69.4      $52,050.00

McGrath, Patrick          Director                    $750              83.3      $62,475.00

Medway, David             Director                    $750              37.1      $27,825.00

Ruez, William             Director                    $750              42.0      $31,500.00

Walia, Gaurav             Director                    $825             121.5     $100,237.50

Ardizzoni, Heather        Manager                     $700               0.5          $350.00

Hoffer, Emily             Manager                     $650             116.9      $75,985.00

Mimms, Samuel             Manager                     $650              10.5       $6,825.00

Salas Nunez, Luis         Manager                     $772              98.2      $75,810.40

Sloan, Austin             Manager                     $650              90.9      $59,085.00

Strong, Nichole           Manager                     $650              35.4      $23,010.00

Blanchard, Madison        Senior Associate            $575             200.5     $115,287.50

Cox, Allison              Senior Associate            $575             141.2      $81,190.00

Faett, Jack               Senior Associate            $700               2.4       $1,680.00

Helal, Aly                Senior Associate            $575             100.3      $57,672.50

Maggard, Austin           Senior Associate            $600              68.4      $41,040.00

Sagen, Daniel             Senior Associate            $725               4.0       $2,900.00

Wilson, David             Senior Associate            $575              69.0      $39,675.00

Braatelien, Troy          Associate                   $600              18.2      $10,920.00



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Chan, Jon                  Associate                           $525          29.0     $15,225.00

Dobbs, Aaron               Associate                           $525         150.1     $78,802.50

Ebrey, Mason               Associate                           $525         137.4     $72,135.00

Haigis, Maya               Associate                           $525           2.4      $1,260.00

Mirando, Michael           Associate                           $600         103.1     $61,860.00

Patel, Ishika              Associate                           $525          10.3      $5,407.50

Price, Breanna             Associate                           $525         110.9     $58,222.50

Sunkara, Manasa            Associate                           $525           2.8      $1,470.00

Trent, Hudson              Associate                           $625           1.0          $625.00

Jones, Mackenzie           Consultant                          $600          16.0      $9,600.00

Zabcik, Kathryn            Consultant                          $600          59.2     $35,520.00

Burns, Zach                Analyst                             $500          30.2     $15,100.00

Clayton, Lance             Analyst                             $475           0.2           $95.00

Selwood, Alexa             Analyst                             $425           2.3          $977.50

Simoneaux, Nicole          Analyst                             $475           5.5      $2,612.50

Slay, David                Analyst                             $525           0.3          $157.50

Stolyar, Alan              Analyst                             $500          10.8      $5,400.00

                                                                           2687.3   $1,865,687.90


                                        Average Billing Rate                               $694.26




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Business Operations           Assist the Debtors in the development, consideration, and execution of
                              operational restructuring strategies for the various Debtors' businesses,
                              including advisory regarding management of the Debtors' cryptocurrency assets.




Professional              Position                  Billing Rate       Sum of Hours            Sum of Fees

Arnett, Chris           Managing Director                $1,050                     7.3           $7,665.00

Bowles, Carl            Managing Director                $1,025                     3.2           $3,280.00

Chambers, Henry         Managing Director                  $995                    87.7          $87,261.50

Gordon, Robert          Managing Director                $1,025                     2.0           $2,050.00

Iwanski, Larry          Managing Director                $1,075                    29.9          $32,142.50

Johnston, David         Managing Director                $1,025                   110.7         $113,467.50

Marshall, Jonathan      Managing Director                $1,075                     2.1           $2,257.50

Mosley, Ed              Managing Director                $1,250                     4.1           $5,125.00

Stegenga, Jeffery       Managing Director                $1,375                     6.0           $8,250.00

Wall, Guy               Managing Director                $1,025                    19.8          $20,295.00

Broskay, Cole           Senior Director                    $900                     1.1             $990.00

Callerio, Lorenzo       Senior Director                    $875                    51.0          $44,625.00

Chew, Ee Ling           Senior Director                    $750                     5.1           $3,825.00

Cooper, James           Senior Director                    $875                     0.4             $350.00

Coverick, Steve         Senior Director                    $950                     6.6           $6,270.00

Dusendschon, Kora       Senior Director                    $900                    25.2          $22,680.00

Evans, Charles          Senior Director                    $835                     3.6           $3,006.00

Johnson, Robert         Senior Director                    $900                    82.9          $74,610.00


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Konig, Louis              Senior Director              $900               1.3       $1,170.00

Kwan, Peter               Senior Director              $900             240.7     $216,630.00

Mohammed, Azmat           Senior Director              $925              32.7      $30,247.50

Ramanathan, Kumanan       Senior Director              $950              79.8      $75,810.00

Sexton, Rachel            Senior Director              $875              12.0      $10,500.00

Titus, Adam               Senior Director              $950              75.5      $71,725.00

Zatz, Jonathan            Senior Director              $900              51.3      $46,170.00

Arbid, Rami               Director                     $750              21.0      $15,750.00

Baker, Kevin              Director                     $750             224.2     $168,150.00

Balmelli, Gioele          Director                     $800              49.8      $39,840.00

Casey, John               Director                     $725              73.2      $53,070.00

Dennison, Kim             Director                     $650               0.2          $130.00

Flynn, Matthew            Director                     $775              64.4      $49,910.00

Glustein, Steven          Director                     $800              55.4      $44,320.00

Hainline, Drew            Director                     $800               4.2       $3,360.00

Lambert, Leslie           Director                     $750              68.5      $51,375.00

Lannan, Matthew           Director                     $880               0.8          $704.00

Lewandowski, Douglas      Director                     $800               0.1           $80.00

McGoldrick, Hugh          Director                     $750               5.4       $4,050.00

Sullivan, Christopher     Director                     $825              16.4      $13,530.00

van den Belt, Mark        Director                     $750             212.4     $159,300.00

Walia, Gaurav             Director                     $825              96.7      $79,777.50

Lam, James                Manager                      $600              93.2      $55,920.00

Li, Summer                Manager                      $670              31.8      $21,306.00



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Riabchuk, Pavlo           Manager                     $750               1.6       $1,200.00

Salas Nunez, Luis         Manager                     $772              44.2      $34,122.40

Sivapalu, Anan            Manager                     $625              19.2      $12,000.00

Zhang, Qi                 Manager                     $670              58.5      $39,195.00

Blanchard, Madison        Senior Associate            $575               0.3          $172.50

Dalgleish, Elizabeth      Senior Associate            $700             111.8      $78,260.00

Kuruvilla, Daniel         Senior Associate            $700               0.6          $420.00

Sagen, Daniel             Senior Associate            $725             186.9     $135,502.50

Wilson, David             Senior Associate            $575             178.4     $102,580.00

Chan, Jon                 Associate                   $525              73.4      $38,535.00

Collis, Jack              Associate                   $500              49.6      $24,800.00

Francis, Luke             Associate                   $600              18.6      $11,160.00

Heric, Andrew             Associate                   $525             157.0      $82,425.00

Krautheim, Sean           Associate                   $525              12.4       $6,510.00

Sunkara, Manasa           Associate                   $525              99.4      $52,185.00

Trent, Hudson             Associate                   $625               2.4       $1,500.00

Witherspoon, Samuel       Associate                   $575               4.0       $2,300.00

Bolduc, Jojo              Analyst                     $425               2.3          $977.50

Clayton, Lance            Analyst                     $475               1.6          $760.00

Duncan, Ryan              Analyst                     $425               6.1       $2,592.50

Ernst, Reagan             Analyst                     $425              39.0      $16,575.00

Lowdermilk, Quinn         Analyst                     $450             177.5      $79,875.00

Myers, Claire             Analyst                     $425               1.1          $467.50

Paolinetti, Sergio        Analyst                     $425             136.0      $57,800.00



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Radwanski, Igor          Analyst                          $450         148.4     $66,780.00

Selwood, Alexa           Analyst                          $425         194.7     $82,747.50

Simoneaux, Nicole        Analyst                          $475          25.5     $12,112.50

Slay, David              Analyst                          $525           1.4          $735.00

Stockmeyer, Cullen       Analyst                          $450         104.5     $47,025.00

Yan, Jack                Analyst                          $450           8.6      $3,870.00

                                                                      3824.7   $2,646,159.90


                                   Average Billing Rate                               $691.86




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Case Administration             Address administrative matters related to the case, including: coordinating
                                meeting conference calls and the delivery of information, and preparing or
                                reviewing court documents and general case management.




Professional                Position                   Billing Rate        Sum of Hours             Sum of Fees

Arnett, Chris             Managing Director                 $1,050                      1.1            $1,155.00

Gordon, Robert            Managing Director                 $1,025                      3.5            $3,587.50

Johnston, David           Managing Director                 $1,025                      0.3              $307.50

Mosley, Ed                Managing Director                 $1,250                     11.7           $14,625.00

Ryan, Laureen             Managing Director                 $1,075                      0.6              $645.00

Broskay, Cole             Senior Director                      $900                      0.7             $630.00

Callerio, Lorenzo         Senior Director                      $875                     2.7            $2,362.50

Cooper, James             Senior Director                      $875                      3.7           $3,237.50

Coverick, Steve           Senior Director                      $950                    10.3            $9,785.00

Esposito, Rob             Senior Director                      $875                     2.1            $1,837.50

Ramanathan, Kumanan       Senior Director                      $950                     3.7            $3,515.00

Kearney, Kevin            Director                             $800                     0.7              $560.00

Sullivan, Christopher     Director                             $825                      0.3             $247.50

Trent, Hudson             Associate                            $625                     6.6            $4,125.00

                                                                                       48.0           $46,620.00


                                        Average Billing Rate                                             $971.25




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Cash Management                 Support the Debtors cash management function; prepare financial information for
                                distribution to official committee of unsecured creditors and other interested
                                parties, including, but not limited to cash flow projections and budgets, cash
                                receipts and disbursement analysis.




Professional                Position                  Billing Rate        Sum of Hours            Sum of Fees

Arnett, Chris             Managing Director                $1,050                      2.3           $2,415.00

Chambers, Henry           Managing Director                  $995                      0.2            $199.00

Johnston, David           Managing Director                $1,025                      2.8           $2,870.00

Mosley, Ed                Managing Director                $1,250                      3.5           $4,375.00

Cooper, James             Senior Director                    $875                    98.0          $85,750.00

Coverick, Steve           Senior Director                    $950                      6.9           $6,555.00

Esposito, Rob             Senior Director                    $875                      0.6            $525.00

Ramanathan, Kumanan       Senior Director                    $950                      4.6           $4,370.00

Lewandowski, Douglas      Director                           $800                      0.6            $480.00

van den Belt, Mark        Director                           $750                      0.8            $600.00

Dalgleish, Elizabeth      Senior Associate                   $700                    45.4          $31,780.00

Montague, Katie           Senior Associate                   $700                      4.9           $3,430.00

Sagen, Daniel             Senior Associate                   $725                      0.7            $507.50

Gonzalez, Johnny          Associate                          $600                      2.7           $1,620.00

Taraba, Erik              Associate                          $600                   144.8          $86,880.00

Witherspoon, Samuel       Associate                          $575                    15.3            $8,797.50

Duncan, Ryan              Analyst                            $425                    71.1          $30,217.50

Ernst, Reagan             Analyst                            $425                      1.2            $510.00


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Hogge, Will              Analyst                          $425           1.5          $637.50

Simoneaux, Nicole        Analyst                          $475          27.5      $13,062.50

Slay, David              Analyst                          $525         157.1      $82,477.50

Tenney, Bridger          Analyst                          $450           0.9          $405.00

                                                                       593.4     $368,464.00


                                   Average Billing Rate                               $620.94




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Claims                         Advise and assist the Debtors in questions and processes regarding the claims
                               reconciliation process: including, among other things, claims planning process,
                               potential claim analysis, review of claims filed against the Debtors, analysis of
                               claims for plan reporting and solicitation purposes, and other claim related items.




Professional               Position                   Billing Rate         Sum of Hours             Sum of Fees

Arnett, Chris            Managing Director                  $1,050                      0.8              $840.00

Chambers, Henry          Managing Director                   $995                      46.3           $46,068.50

Gordon, Robert           Managing Director                  $1,025                      2.4            $2,460.00

Johnston, David          Managing Director                  $1,025                      1.5            $1,537.50

Kotarba, Steve           Managing Director                  $1,100                    114.6          $126,060.00

Mosley, Ed               Managing Director                  $1,250                     15.1           $18,875.00

Sielinski, Jeff          Managing Director                  $1,025                     13.8           $14,145.00

Callerio, Lorenzo        Senior Director                     $875                       3.0            $2,625.00

Cooper, James            Senior Director                     $875                       0.2              $175.00

Coverick, Steve          Senior Director                     $950                      15.3           $14,535.00

Dusendschon, Kora        Senior Director                     $900                       0.5              $450.00

Esposito, Rob            Senior Director                      $875                    213.9          $187,162.50

Johnson, Robert          Senior Director                      $900                     21.6           $19,440.00

Mohammed, Azmat          Senior Director                     $925                     137.3          $127,002.50

Negus, Matthew           Senior Director                      $900                      4.5            $4,050.00

Ramanathan, Kumanan      Senior Director                     $950                      38.9           $36,955.00

Zatz, Jonathan           Senior Director                      $900                    189.8          $170,820.00

Baker, Kevin             Director                            $750                       0.2              $150.00


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Chamma, Leandro           Director                    $750             130.7      $98,025.00

Flynn, Matthew            Director                    $775              54.8      $42,470.00

Glustein, Steven          Director                    $800               0.3          $240.00

Hainline, Drew            Director                    $800               0.3          $240.00

Kearney, Kevin            Director                    $800               6.0       $4,800.00

Lambert, Leslie           Director                    $750               0.6          $450.00

Lewandowski, Douglas      Director                    $800             211.6     $169,280.00

Sullivan, Christopher     Director                    $825              26.5      $21,862.50

Walia, Gaurav             Director                    $825              13.3      $10,972.50

Li, Summer                Manager                     $670               0.3          $201.00

Lowe, Sam                 Manager                     $650               1.0          $650.00

Pestano, Kyle             Manager                     $650             147.9      $96,135.00

Salas Nunez, Luis         Manager                     $772              12.5       $9,650.00

Sarmiento, Dubhe          Manager                     $650              32.1      $20,865.00

Sivapalu, Anan            Manager                     $625              12.0       $7,500.00

Tong, Crystal             Manager                     $650             151.2      $98,280.00

Zhang, Qi                 Manager                     $670               6.5       $4,355.00

Faett, Jack               Senior Associate            $700               4.0       $2,800.00

Herzon, Sam               Senior Associate            $550               9.8       $5,390.00

Chan, Jon                 Associate                   $525              10.9       $5,722.50

Francis, Luke             Associate                   $600             225.4     $135,240.00

Hill, Liam                Associate                   $450               1.2          $540.00

Kane, Alex                Associate                   $575             163.3      $93,897.50

Sunkara, Manasa           Associate                   $525               6.5       $3,412.50



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Trent, Hudson            Associate                          $625           0.4          $250.00

Arora, Rohan             Analyst                            $425         146.7     $62,347.50

Avdellas, Peter          Analyst                            $425         214.7     $91,247.50

Hubbard, Taylor          Analyst                            $425         162.8     $69,190.00

Karnik, Noorita          Analyst                            $450           4.8      $2,160.00

Myers, Claire            Analyst                            $425         116.7     $49,597.50

Paolinetti, Sergio       Analyst                            $425           0.2           $85.00

Ribman, Tucker           Analyst                            $425           0.4          $170.00

Simoneaux, Nicole        Analyst                            $475           3.3      $1,567.50

Slay, David              Analyst                            $525           0.4          $210.00

Tenney, Bridger          Analyst                            $450          21.3      $9,585.00

Yan, Jack                Analyst                            $450         121.7     $54,765.00

Yang, Sharon             Analyst                            $425          82.1     $34,892.50

                                                                        2923.9   $1,982,397.00


                                     Average Billing Rate                               $678.00




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Contracts                       Advise and assist management in preparing for and negotiating various
                                agreement and accommodations with key partners/affiliates, suppliers, and
                                vendors and analysis of contract rejection claims.




Professional                Position                  Billing Rate        Sum of Hours            Sum of Fees

Arnett, Chris             Managing Director                $1,050                     30.4          $31,920.00

Mosley, Ed                Managing Director                $1,250                      4.5           $5,625.00

Coverick, Steve           Senior Director                      $950                    2.6           $2,470.00

Esposito, Rob             Senior Director                      $875                    0.3            $262.50

Lewandowski, Douglas      Director                             $800                    1.5           $1,200.00

van den Belt, Mark        Director                             $750                    0.6            $450.00

Dalgleish, Elizabeth      Senior Associate                     $700                    3.2           $2,240.00

Montague, Katie           Senior Associate                     $700                 130.6           $91,420.00

Taraba, Erik              Associate                            $600                    1.6            $960.00

Bolduc, Jojo              Analyst                              $425                 182.4           $77,520.00

Hubbard, Taylor           Analyst                              $425                    4.1           $1,742.50

Simoneaux, Nicole         Analyst                              $475                   36.6          $17,385.00

Tenney, Bridger           Analyst                              $450                   79.7          $35,865.00

                                                                                    478.1          $269,060.00


                                        Average Billing Rate                                          $562.77




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Court and UST Reporting           Assist the Debtors with the preparation of the Monthly Operating Reports, Interim
                                  Financial Updates, and other related matters for the US Trustee.




Professional                  Position                   Billing Rate        Sum of Hours             Sum of Fees

Gordon, Robert              Managing Director                 $1,025                      7.6            $7,790.00

Johnston, David             Managing Director                 $1,025                      1.7            $1,742.50

Mosley, Ed                  Managing Director                 $1,250                      0.9            $1,125.00

Broskay, Cole               Senior Director                     $900                     69.7          $62,730.00

Cooper, James               Senior Director                     $875                     22.6          $19,775.00

Kearney, Kevin              Director                            $800                      2.5            $2,000.00

Lewandowski, Douglas        Director                            $800                      0.3             $240.00

Li, Summer                  Manager                             $670                     12.2            $8,174.00

Dalgleish, Elizabeth        Senior Associate                    $700                      5.2            $3,640.00

Kuruvilla, Daniel           Senior Associate                    $700                    138.5          $96,950.00

Taraba, Erik                Associate                           $600                     21.0          $12,600.00

Witherspoon, Samuel         Associate                           $575                      5.8            $3,335.00

Bruck, Ran                  Consultant                          $600                    148.6          $89,160.00

Jones, Mackenzie            Consultant                          $600                    103.0          $61,800.00

Duncan, Ryan                Analyst                             $425                    121.0          $51,425.00

Simoneaux, Nicole           Analyst                             $475                     22.6          $10,735.00

Stolyar, Alan               Analyst                             $500                      0.5             $250.00




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                                                        683.7     $433,471.50


                    Average Billing Rate                               $634.01




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Creditor Cooperation            Prepare for and attend meetings and participate in negotiations with the Official
                                Committee of Unsecured Creditors, other interested parties and their advisors.




Professional                Position                   Billing Rate         Sum of Hours             Sum of Fees

Arnett, Chris             Managing Director                  $1,050                      0.9              $945.00

Gordon, Robert            Managing Director                  $1,025                      1.1            $1,127.50

Johnston, David           Managing Director                  $1,025                      1.0            $1,025.00

Mosley, Ed                Managing Director                  $1,250                     18.2           $22,750.00

Callerio, Lorenzo         Senior Director                     $875                       3.0            $2,625.00

Cooper, James             Senior Director                      $875                      3.2            $2,800.00

Coverick, Steve           Senior Director                     $950                      33.8           $32,110.00

Esposito, Rob             Senior Director                     $875                      17.8           $15,575.00

Ramanathan, Kumanan       Senior Director                     $950                      26.8           $25,460.00

Lewandowski, Douglas      Director                             $800                      0.9              $720.00

Sullivan, Christopher     Director                            $825                      33.6           $27,720.00

Walia, Gaurav             Director                             $825                     27.0           $22,275.00

Montague, Katie           Senior Associate                     $700                      0.4              $280.00

Sagen, Daniel             Senior Associate                    $725                       2.9            $2,102.50

Gonzalez, Johnny          Associate                           $600                       3.2            $1,920.00

Taraba, Erik              Associate                           $600                      23.3           $13,980.00

Trent, Hudson             Associate                           $625                      64.4           $40,250.00

Witherspoon, Samuel       Associate                           $575                       4.0            $2,300.00


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Duncan, Ryan             Analyst                          $425           7.2       $3,060.00

Paolinetti, Sergio       Analyst                          $425           3.9       $1,657.50

Ribman, Tucker           Analyst                          $425           1.4          $595.00

Selwood, Alexa           Analyst                          $425           0.3          $127.50

Slay, David              Analyst                          $525           0.8          $420.00

Stockmeyer, Cullen       Analyst                          $450           3.5       $1,575.00

                                                                       282.6     $223,400.00


                                   Average Billing Rate                               $790.52




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Disclosure Statement and Plan      Assist the Debtors and advisors with various analyses and assessment of the
                                   components included in and relating to the Chapter 11 plan, Disclosure
                                   Statement, Schedules and related documents. Complete analyses and assist the
                                   Debtors with the Chapter 11 plan and Disclosure Statement.




Professional                    Position                 Billing Rate       Sum of Hours           Sum of Fees

Arnett, Chris               Managing Director                 $1,050                    9.1           $9,555.00

Chambers, Henry             Managing Director                  $995                     4.3           $4,278.50

Gordon, Robert              Managing Director                 $1,025                    8.8           $9,020.00

Johnston, David             Managing Director                 $1,025                    8.3           $8,507.50

Kotarba, Steve              Managing Director                 $1,100                    6.6           $7,260.00

Mosley, Ed                  Managing Director                 $1,250                   49.3          $61,625.00

Sielinski, Jeff             Managing Director                 $1,025                    8.4           $8,610.00

Broskay, Cole               Senior Director                    $900                     4.4           $3,960.00

Callerio, Lorenzo           Senior Director                    $875                     0.3             $262.50

Cooper, James               Senior Director                    $875                    64.9          $56,787.50

Coverick, Steve             Senior Director                    $950                    70.2          $66,690.00

Esposito, Rob               Senior Director                    $875                     5.0           $4,375.00

Ramanathan, Kumanan         Senior Director                    $950                     9.0           $8,550.00

Titus, Adam                 Senior Director                    $950                     0.3             $285.00

Glustein, Steven            Director                           $800                     0.3             $240.00

Kearney, Kevin              Director                           $800                     3.5           $2,800.00

Lewandowski, Douglas        Director                           $800                     3.5           $2,800.00

Sullivan, Christopher       Director                           $825                   170.1         $140,332.50


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Walia, Gaurav            Director                            $825           1.1          $907.50

Montague, Katie          Senior Associate                    $700           0.9          $630.00

Sagen, Daniel            Senior Associate                    $725           9.5       $6,887.50

Braatelien, Troy         Associate                           $600           3.2       $1,920.00

Francis, Luke            Associate                           $600           3.0       $1,800.00

Gonzalez, Johnny         Associate                           $600         282.4     $169,440.00

Trent, Hudson            Associate                           $625         149.4      $93,375.00

Witherspoon, Samuel      Associate                           $575         192.1     $110,457.50

Duncan, Ryan             Analyst                             $425           2.8       $1,190.00

Ernst, Reagan            Analyst                             $425           0.3          $127.50

Paolinetti, Sergio       Analyst                             $425           0.3          $127.50

Ribman, Tucker           Analyst                             $425         265.7     $112,922.50

Simoneaux, Nicole        Analyst                             $475           3.1       $1,472.50

Slay, David              Analyst                             $525         101.3      $53,182.50

Stockmeyer, Cullen       Analyst                             $450           0.3          $135.00

Tenney, Bridger          Analyst                             $450         173.4      $78,030.00

                                                                         1615.1   $1,028,543.50


                                      Average Billing Rate                               $636.83




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Due Diligence                   Diligence of the Debtors' financial and operational standing to assist with
                                correspondence between Debtor advisors and third party inquiries.




Professional                Position                   Billing Rate         Sum of Hours              Sum of Fees

Jacobs, Kevin             Managing Director                  $1,100                       0.7             $770.00

Kotarba, Steve            Managing Director                  $1,100                       3.8            $4,180.00

Callerio, Lorenzo         Senior Director                      $875                      32.4          $28,350.00

Cooper, James             Senior Director                      $875                      20.9          $18,287.50

Coverick, Steve           Senior Director                      $950                       0.7             $665.00

Esposito, Rob             Senior Director                      $875                       1.3            $1,137.50

Konig, Louis              Senior Director                      $900                      12.1          $10,890.00

Mohammed, Azmat           Senior Director                      $925                       8.4            $7,770.00

Ramanathan, Kumanan       Senior Director                      $950                       0.3             $285.00

Titus, Adam               Senior Director                      $950                       5.4            $5,130.00

Kearney, Kevin            Director                             $800                       0.2             $160.00

Sullivan, Christopher     Director                             $825                       0.9             $742.50

Walia, Gaurav             Director                             $825                      10.5            $8,662.50

Sivapalu, Anan            Manager                              $625                       1.6            $1,000.00

Faett, Jack               Senior Associate                     $700                       0.2             $140.00

Francis, Luke             Associate                            $600                       4.0            $2,400.00

Clayton, Lance            Analyst                              $475                       4.8            $2,280.00

Ernst, Reagan             Analyst                              $425                       1.3             $552.50


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Paolinetti, Sergio      Analyst                          $425           0.4          $170.00

Stockmeyer, Cullen      Analyst                          $450          67.0      $30,150.00

Stolyar, Alan           Analyst                          $500           0.2          $100.00

                                                                      177.1     $123,822.50


                                  Average Billing Rate                               $699.17




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Employee Matters              Assist the Debtors with employee communications, employee compensation and
                              benefits, and related matters.




Professional              Position                  Billing Rate     Sum of Hours           Sum of Fees

Arnett, Chris           Managing Director               $1,050                    2.6          $2,730.00

Mosley, Ed              Managing Director               $1,250                    0.4           $500.00

Coverick, Steve         Senior Director                      $950                 1.8          $1,710.00

Trent, Hudson           Associate                            $625                 3.2          $2,000.00

Simoneaux, Nicole       Analyst                              $475                95.9         $45,552.50

                                                                               103.9          $52,492.50


                                      Average Billing Rate                                       $505.22




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Fee Application             Preparation of monthly and interim fee applications in accordance with Court
                            guidelines.




Professional            Position                  Billing Rate         Sum of Hours            Sum of Fees

Coverick, Steve       Senior Director                      $950                     1.1           $1,045.00

Grussing, Bernice     Operations Manager                   $325                     5.6           $1,820.00

Gonzalez, Johnny      Associate                            $600                     2.7           $1,620.00

                                                                                    9.4           $4,485.00


                                    Average Billing Rate                                            $477.13




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Financial Analysis             Ad-hoc financial analyses made at the request of various constituencies,
                               including from the Debtors' management.




Professional               Position                   Billing Rate        Sum of Hours            Sum of Fees

Mosley, Ed               Managing Director                 $1,250                      0.4                $500.00

Callerio, Lorenzo        Senior Director                     $875                     39.2          $34,300.00

Cooper, James            Senior Director                     $875                      0.4                $350.00

Coverick, Steve          Senior Director                     $950                      0.6                $570.00

Mohammed, Azmat          Senior Director                     $925                      0.7                $647.50

Ramanathan, Kumanan      Senior Director                     $950                      0.5                $475.00

Titus, Adam              Senior Director                     $950                     43.3          $41,135.00

Glustein, Steven         Director                            $800                     74.5          $59,600.00

Kearney, Kevin           Director                            $800                      2.6           $2,080.00

Salas Nunez, Luis        Manager                             $772                      0.4                $308.80

Faett, Jack              Senior Associate                    $700                      0.4                $280.00

Sagen, Daniel            Senior Associate                    $725                      2.3           $1,667.50

Trent, Hudson            Associate                           $625                      1.0                $625.00

Clayton, Lance           Analyst                             $475                     37.7          $17,907.50

Ernst, Reagan            Analyst                             $425                     41.1          $17,467.50

Paolinetti, Sergio       Analyst                             $425                     39.9          $16,957.50

Selwood, Alexa           Analyst                             $425                      1.6                $680.00

Stockmeyer, Cullen       Analyst                             $450                     24.9          $11,205.00


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                                                        311.5     $206,756.30


                    Average Billing Rate                               $663.74




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Government and Regulatory         Advise and assist management and / or the Debtors’ advisors in responding to
Data Requests                     regulatory, investigation, government or other similar data / discovery requests,
                                  and analysis and documentation related thereto.




Professional                  Position                   Billing Rate         Sum of Hours             Sum of Fees

Grosvenor, Robert           Managing Director                  $1,000                      8.5            $8,500.00

Johnston, David             Managing Director                  $1,025                      0.5              $512.50

Dusendschon, Kora           Senior Director                      $900                      1.9            $1,710.00

Johal, Jas                  Senior Director                      $900                      1.7            $1,530.00

Johnson, Robert             Senior Director                      $900                      1.8            $1,620.00

Konig, Louis                Senior Director                      $900                      3.9            $3,510.00

Kwan, Peter                 Senior Director                      $900                      1.5            $1,350.00

Mohammed, Azmat             Senior Director                      $925                      0.9              $832.50

Negus, Matthew              Senior Director                      $900                     39.6           $35,640.00

Ramanathan, Kumanan         Senior Director                      $950                      0.9              $855.00

Vieira, Francisco           Senior Director                      $650                      8.5            $5,525.00

Flynn, Matthew              Director                             $775                     16.7           $12,942.50

Lowe, Sam                   Manager                              $650                      8.7            $5,655.00

Sarmiento, Dubhe            Manager                              $650                     14.8            $9,620.00

Okkeh, Layan                Analyst                              $450                      2.1              $945.00

                                                                                         112.0           $90,747.50


                                          Average Billing Rate                                              $810.25




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Joint Provisional Liquidators         Advise and assist the Debtors and their advisors in responding to requests,
                                      analysis, and documentation, and prepare for hearings or meetings related to the
                                      Joint Provisional Liquidators of FTX Digital Markets Ltd.




Professional                      Position                  Billing Rate         Sum of Hours            Sum of Fees

Arnett, Chris                   Managing Director                 $1,050                     15.9          $16,695.00

Gordon, Robert                  Managing Director                 $1,025                     20.4          $20,910.00

Mosley, Ed                      Managing Director                 $1,250                     47.6          $59,500.00

Ryan, Laureen                   Managing Director                 $1,075                      0.6             $645.00

Broskay, Cole                   Senior Director                     $900                     11.0           $9,900.00

Coverick, Steve                 Senior Director                     $950                     54.5          $51,775.00

Esposito, Rob                   Senior Director                     $875                      1.0             $875.00

Ramanathan, Kumanan             Senior Director                     $950                      1.5           $1,425.00

Hainline, Drew                  Director                            $800                      6.5           $5,200.00

Kearney, Kevin                  Director                            $800                      3.7           $2,960.00

Sullivan, Christopher           Director                            $825                      9.9           $8,167.50

Faett, Jack                     Senior Associate                    $700                      4.5           $3,150.00

Maggard, Austin                 Senior Associate                    $600                   102.3           $61,380.00

Braatelien, Troy                Associate                           $600                   137.4           $82,440.00

Mirando, Michael                Associate                           $600                     74.6          $44,760.00

Trent, Hudson                   Associate                           $625                     75.4          $47,125.00

Zabcik, Kathryn                 Consultant                          $600                   131.1           $78,660.00

Bolduc, Jojo                    Analyst                             $425                     43.7          $18,572.50


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Burns, Zach              Analyst                          $500         134.8      $67,400.00

Simoneaux, Nicole        Analyst                          $475           6.3       $2,992.50

Stolyar, Alan            Analyst                          $500         157.3      $78,650.00

                                                                      1040.0     $663,182.50


                                   Average Billing Rate                               $637.68




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Kroll Security Incident           Assist in the evaluation and securitization of matters related to the Kroll security
                                  incident.




Professional                  Position                    Billing Rate         Sum of Hours              Sum of Fees

Chambers, Henry             Managing Director                    $995                        2.3            $2,288.50

Gordon, Robert              Managing Director                  $1,025                        0.2              $205.00

Grillo, Rocco               Managing Director                  $1,100                       19.5           $21,450.00

Griffith, David             Senior Director                      $900                        0.8              $720.00

Johnson, Robert             Senior Director                      $900                        4.4            $3,960.00

Mohammed, Azmat             Senior Director                      $925                        1.4            $1,295.00

Pandey, Vishal              Senior Director                      $925                       19.5           $18,037.50

Ramanathan, Kumanan         Senior Director                      $950                        5.0            $4,750.00

Tarikere, Sriram            Senior Director                      $925                       39.1           $36,167.50

Flynn, Matthew              Director                             $775                        1.5            $1,162.50

Hainline, Drew              Director                             $800                        1.0              $800.00

Lewandowski, Douglas        Director                             $800                        0.8              $640.00

Kaufman, Ashley             Senior Associate                     $650                       22.3           $14,495.00

Sagen, Daniel               Senior Associate                     $725                        1.1              $797.50

Todd, Patrick               Senior Associate                     $650                      159.7          $103,805.00

Work, David                 Senior Associate                     $650                      145.1           $94,315.00

                                                                                           423.7          $304,888.50


                                          Average Billing Rate                                                $719.59


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Liquidation Analysis            Preparation of hypothetical liquidation analysis.




Professional                Position                   Billing Rate         Sum of Hours       Sum of Fees

Wall, Guy                 Managing Director                  $1,025                     1.4      $1,435.00

Cooper, James             Senior Director                      $875                     2.4      $2,100.00

Coverick, Steve           Senior Director                      $950                     5.3      $5,035.00

Sullivan, Christopher     Director                             $825                    12.7     $10,477.50

Gonzalez, Johnny          Associate                            $600                    12.5      $7,500.00

Trent, Hudson             Associate                            $625                     2.7      $1,687.50

Witherspoon, Samuel       Associate                            $575                    21.8     $12,535.00

Ribman, Tucker            Analyst                              $425                     2.8      $1,190.00

Slay, David               Analyst                              $525                     4.2      $2,205.00

Tenney, Bridger           Analyst                              $450                     3.6      $1,620.00

                                                                                       69.4     $45,785.00


                                        Average Billing Rate                                         $659.73




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Litigation                    Advise and assist management and/or the Debtors' advisors in litigation matters,
                              both actual and potential litigation and document requests/discovery related
                              thereto.




Professional              Position                   Billing Rate        Sum of Hours            Sum of Fees

Konig, Louis            Senior Director                      $900                     5.3           $4,770.00

Wilson, David           Senior Associate                     $575                    12.2           $7,015.00

Chan, Jon               Associate                            $525                    46.7          $24,517.50

Sunkara, Manasa         Associate                            $525                    45.9          $24,097.50

                                                                                    110.1          $60,400.00


                                      Average Billing Rate                                            $548.59




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Motions and Related Support         Assist the Debtors on various motions filed, and on entry of orders to implement
                                    required reporting and other activities contemplated by the various filed motions.




Professional                    Position                   Billing Rate         Sum of Hours             Sum of Fees

Gordon, Robert                Managing Director                 $1,025                       3.6            $3,690.00

Mosley, Ed                    Managing Director                 $1,250                      16.0          $20,000.00

Esposito, Rob                 Senior Director                      $875                      5.3            $4,637.50

Ramanathan, Kumanan           Senior Director                      $950                      5.7            $5,415.00

Myers, Claire                 Analyst                              $425                     27.1          $11,517.50

                                                                                            57.7          $45,260.00


                                            Average Billing Rate                                             $784.40




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Schedules and Statements         Assist the Debtors with gathering information for, and the preparation of,
                                 Statements and Schedules with background information and other related
                                 matters.




Professional                 Position                   Billing Rate        Sum of Hours             Sum of Fees

Kotarba, Steve             Managing Director                 $1,100                      0.8              $880.00

Kwan, Peter                Senior Director                      $900                     0.4              $360.00

Zatz, Jonathan             Senior Director                      $900                    32.6           $29,340.00

Lewandowski, Douglas       Director                             $800                     1.2              $960.00

Walia, Gaurav              Director                             $825                     0.4              $330.00

Hubbard, Taylor            Analyst                              $425                     3.8            $1,615.00

Myers, Claire              Analyst                              $425                     3.9            $1,657.50

                                                                                        43.1           $35,142.50


                                         Average Billing Rate                                             $815.37




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Tax Initiatives                 Assist the Debtors with tax related matters.




Professional                Position                   Billing Rate            Sum of Hours   Sum of Fees

Gordon, Robert            Managing Director                  $1,025                    10.1    $10,352.50

Howe, Christopher         Managing Director                  $1,200                    33.0    $39,600.00

Jacobs, Kevin             Managing Director                  $1,100                    28.2    $31,020.00

Kotarba, Chris            Managing Director                  $1,100                    16.8    $18,480.00

Mosley, Ed                Managing Director                  $1,250                     1.5     $1,875.00

Seaway, Bill              Senior Advisor                     $1,100                    12.2    $13,420.00

Broskay, Cole             Senior Director                     $900                      1.3     $1,170.00

Coverick, Steve           Senior Director                     $950                      3.3     $3,135.00

Esposito, Rob             Senior Director                     $875                      0.5         $437.50

Ramanathan, Kumanan       Senior Director                     $950                      1.0         $950.00

Titus, Adam               Senior Director                     $950                      0.2         $190.00

Ulyanenko, Andrey         Senior Director                     $950                     39.5    $37,525.00

Wilson, Sean              Senior Director                     $950                      5.5     $5,225.00

Glustein, Steven          Director                            $800                      0.8         $640.00

Hainline, Drew            Director                            $800                      2.2     $1,760.00

Kearney, Kevin            Director                            $800                     22.2    $17,760.00

Lannan, Matthew           Director                            $880                      4.6     $4,048.00

Faett, Jack               Senior Associate                    $700                     35.8    $25,060.00


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Francis, Luke         Associate                           $600          18.5      $11,100.00

Parker, Brandon       Associate                           $550          14.8       $8,140.00

Jones, Mackenzie      Consultant                          $600          22.1      $13,260.00

Simoneaux, Nicole     Analyst                             $475           0.5          $237.50

                                                                       274.6     $245,385.50


                                   Average Billing Rate                               $893.61




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Vendor Management               Assist the Debtors with all vendor related items including, but not limited to
                                vendor strategy, negotiation, and advising Debtors on general accounts payable
                                questions.




Professional                Position                  Billing Rate        Sum of Hours            Sum of Fees

Taraba, Erik              Associate                           $600                    38.4          $23,040.00

Duncan, Ryan              Analyst                             $425                    17.5           $7,437.50

Tenney, Bridger           Analyst                             $450                     2.3           $1,035.00

                                                                                      58.2          $31,512.50


                                       Average Billing Rate                                            $541.45




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Accounting
Professional               Date     Hours    Activity
Broskay, Cole           10/2/2023     0.3   Call to review open questions on non-debtor entities with C.
                                            Broskay, D. Hainline (A&M)
Hainline, Drew          10/2/2023     0.7   Review reporting packages for post petition periods for non-debtor
                                            entities to resolve open questions
Hainline, Drew          10/2/2023     0.3   Call to discuss next steps for fund tracing of Liquid group acquisition
                                            with D. Hainline, M. Mirando (A&M)
Hainline, Drew          10/2/2023     0.3   Respond to requests for information regarding intercompany
                                            balances with non-debtor entities
Hainline, Drew          10/2/2023     0.3   Call to review open questions on non-debtor entities with C.
                                            Broskay, D. Hainline (A&M)
Hainline, Drew          10/2/2023     0.3   Draft fund tracing overview for FTX acquisition of Liquid Group

Hogge, Will             10/2/2023     0.3   Review of Lexis Diligence reports on key individuals to flag
                                            erroneous report results
Hogge, Will             10/2/2023     0.4   Source BoardEx Profile Data on Bidder Companies and Executives

Lehtis, Alexander       10/2/2023     0.7   Perform research on bidder co Bidder #1: searched databases


Mirando, Michael        10/2/2023     0.3   Call to discuss next steps for fund tracing of Liquid group acquisition
                                            with D. Hainline, M. Mirando (A&M)
Mirando, Michael        10/2/2023     2.9   Research supporting documents for FTX Liquid Group Acquisition

Broskay, Cole           10/3/2023     0.3   Call to review open questions for related party exchange balances
                                            with non-debtor entities with C. Broskay, D. Hainline (A&M)
Bruck, Ran              10/3/2023     0.2   Call with R. Bruck and N. Simoneaux (A&M) re: MOR payroll tax
                                            reporting
Bruck, Ran              10/3/2023     2.6   Research Liquid Financial USA dissolution documents


Bruck, Ran              10/3/2023     0.7   Review documents provided by legal for Liquid USA

Bruck, Ran              10/3/2023     1.1   Research closing certificates of Liquid Financial USA


Hainline, Drew          10/3/2023     0.6   Draft requests to obtain exchange information for non-debtor entities

Hainline, Drew          10/3/2023     0.8   Review updates on outstanding information on non-debtor entities

Hainline, Drew          10/3/2023     0.3   Call to review open questions for related party exchange balances
                                            with non-debtor entities with C. Broskay, D. Hainline (A&M)
Lehtis, Alexander       10/3/2023     0.8   Review initial research requests for info on bidder profiles

Lehtis, Alexander       10/3/2023     0.9   Compose email request to offshore research team for professional
                                            profiles for executive teams at Bidder #1 and Bidder #1 investors
Simoneaux, Nicole       10/3/2023     0.2   Call with R. Bruck and N. Simoneaux (A&M) re: MOR payroll tax
                                            reporting




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Accounting
Professional               Date     Hours    Activity
Bruck, Ran              10/4/2023     0.4   Compile email including all Liquid Financial related documents

Hainline, Drew          10/4/2023     0.4   Perform follow-up research on open questions related to missing
                                            legal entity information
Lehtis, Alexander       10/4/2023     1.2   Review and edit professional profiles received from offshore
                                            research team, forward profiles to A&M team
Lehtis, Alexander       10/4/2023     1.2   Run search for company profiles, investment and M&A transactions
                                            for bidder companies
Chan, Jon               10/5/2023     2.4   Investigate balance and balance components for Turkish customers


Lehtis, Alexander       10/5/2023     1.2   Send email to offshore research team with feedback on previous
                                            executive profiles and request for additional profiles
Lehtis, Alexander       10/5/2023     0.6   Run diligence reports on database for Bidder #1 and associated
                                            executives
Lehtis, Alexander       10/5/2023     0.7   Obtain executive profiles from database for bidder companies

Lehtis, Alexander       10/6/2023     0.9   Review and make edits to the output from offshore research team,
                                            summarize work for A&M team
Lehtis, Alexander       10/6/2023     0.7   Send request to offshore research team for executive profiles for
                                            various bidder parties
Lehtis, Alexander       10/6/2023     0.8   Research bidder company management teams via databases and
                                            public domain
Hainline, Drew          10/8/2023     0.4   Confirm available information to support transaction detail for
                                            intercompany balance requests
Hainline, Drew          10/8/2023     0.9   Respond to open questions regarding development of entity tear
                                            sheets
Hainline, Drew          10/8/2023     1.2   Respond to request for background on intercompany balances


Sullivan, Christopher   10/8/2023     1.1   Adjust IC analysis presentation per commentary from S. Coverick
                                            (A&M)
Faett, Jack             10/9/2023     0.4   Update Alameda IC Support slides to break out exchange balance
                                            between Korean friend and remaining
Faett, Jack             10/9/2023     2.1   Update the Salameda sources and uses analyses for additional
                                            bank statements added to cash database
Faett, Jack             10/9/2023     2.2   Analyze crypto payments pertaining to LedgerPrime's Cega Liquidity
                                            Provider Agreement
Faett, Jack             10/9/2023     0.9   Reconcile updated Alameda exchange balance to 3/15 statement
                                            and schedules
Faett, Jack             10/9/2023     1.3   Review Salameda Payroll Allocation file for completeness of payroll
                                            records
Faett, Jack             10/9/2023     0.6   Review relativity for additional FDM bank statement gaps


Faett, Jack             10/9/2023     0.6   Call to discuss Cega and LedgerPrime transfers related to Cega
                                            Liquidity Provider Agreement with K. Kearney and J. Faett




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Accounting
Professional                 Date    Hours    Activity
Hainline, Drew           10/9/2023     0.3   Review updates on presentation materials for background on
                                             intercompany balances
Hainline, Drew           10/9/2023     0.4   Respond to questions on intercompany balances for post-petition
                                             financial statements
Kearney, Kevin           10/9/2023     0.8   Review crypto reconciliation associated with Salameda related party
                                             balance calculation
Kearney, Kevin           10/9/2023     1.4   Review fiat reconciliation associated with Salameda related party
                                             balance calculation
Kearney, Kevin           10/9/2023     0.6   Call to discuss Cega and LedgerPrime transfers related to Cega
                                             Liquidity Provider Agreement with K. Kearney and J. Faett
Lehtis, Alexander        10/9/2023     0.4   Review output from offshore research team and forward to A&M
                                             team
Sullivan, Christopher    10/9/2023     0.6   Review updated Alameda Intercompany support


Faett, Jack             10/10/2023     1.1   Summarize information supporting existence of Ref Finance venture
                                             investment to respond to AlixPartners request
Faett, Jack             10/10/2023     0.9   Update the transaction flag within the Salameda sources and uses
                                             analysis for new transactions
Faett, Jack             10/10/2023     0.3   Call to discuss request for support of REF Finance investment K.
                                             Kearney and J. Faett (A&M)
Faett, Jack             10/10/2023     0.7   Search relativity for an investment agreement for Ref Finance

Faett, Jack             10/10/2023     0.9   Review Frosted Inc venture investment to identify funding payments


Faett, Jack             10/10/2023     0.4   Call to discuss providing support for QE requests pertaining to
                                             transfers with US Alameda debtor entities and FTX Trading with K.
                                             Kearney and J. Faett
Hainline, Drew          10/10/2023     0.3   Respond to request for information on intercompany balances within
                                             the dotcom entities
Hainline, Drew          10/10/2023     0.3   Perform research in Relativity to identify missing entity information


Hainline, Drew          10/10/2023     0.3   Review org charts to assess completeness of entity information

Kearney, Kevin          10/10/2023     0.3   Call to discuss request for support of REF Finance investment K.
                                             Kearney and J. Faett (A&M)
Kearney, Kevin          10/10/2023     0.4   Call to discuss providing support for QE requests pertaining to
                                             transfers with US Alameda debtor entities and FTX Trading with K.
                                             Kearney and J. Faett
Broskay, Cole           10/11/2023     0.6   Correspondence with T. Yamada (AP) regarding non-debtor financial
                                             packages
Faett, Jack             10/11/2023     0.5   Meeting to discuss PWC request pertaining to FTX.com exchange
                                             deposits with K. Kearney and J. Faett (A&M)
Faett, Jack             10/11/2023     2.3   Analyze Three Arrows fiat transactions to determine whether they
                                             were ever received or sent
Faett, Jack             10/11/2023     0.4   Call to discuss Three Arrows FTX.com exchange transactions with
                                             K. Kearney and J. Faett (A&M)

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Accounting
Professional                Date    Hours    Activity
Faett, Jack            10/11/2023     1.1   Analyze data to provide support for PWC data request 4

Faett, Jack            10/11/2023     2.1   Review blockchain and FTX.com exchange to confirm funding
                                            amount of Liquid Value Fund venture investment
Hogge, Will            10/11/2023     0.8   Prepare litigation Research in CourtLink for Cases and Key Filings
                                            involving potential bidder
Kearney, Kevin         10/11/2023     2.1   Review updates to Salameda related party analysis based on
                                            additional banking and payroll information received
Kearney, Kevin         10/11/2023     0.5   Meeting to discuss PWC request pertaining to FTX.com exchange
                                            deposits with K. Kearney and J. Faett (A&M)
Kearney, Kevin         10/11/2023     0.4   Call to discuss Three Arrows FTX.com exchange transactions with
                                            K. Kearney and J. Faett (A&M)
Faett, Jack            10/12/2023     2.4   Analyze related party transactions from new Salameda bank
                                            statements within the Salameda sources and uses file
Faett, Jack            10/12/2023     1.9   Review exchange, cash and blockchain activity to support Coin98
                                            funding amount
Faett, Jack            10/12/2023     0.9   Review Coin98 exchange notes to help support funding amount of
                                            investment
Lehtis, Alexander      10/12/2023     0.6   Research via databases and public domain on valuation methods for
                                            crypto and digital tech companies
Lehtis, Alexander      10/12/2023     0.4   Search CapIQ and PitchBook for EV/EBITDA figures on peer
                                            companies
Lehtis, Alexander      10/12/2023     0.7   Search database for financial analysis on Coinbase


Faett, Jack            10/13/2023     0.4   Call to discuss LedgerPrime historical loan balances with K. Kearney
                                            and J. Faett (A&M)
Faett, Jack            10/13/2023     1.8   Search relativity for LedgerPrime loans


Glustein, Steven       10/13/2023     0.4   Call with R. Gordon, A. Titus, S. Glustein, K. Kearney (A&M) to
                                            discussion accounting matters for venture portfolio
Gordon, Robert         10/13/2023     0.4   Call with R. Gordon, A. Titus, S. Glustein, K. Kearney (A&M) to
                                            discussion accounting matters for venture portfolio
Hainline, Drew         10/13/2023     0.4   Respond to request for information on intercompany service
                                            agreements for dotcom entities
Hainline, Drew         10/13/2023     0.2   Review recent filings on the docket to assess any impacts to current
                                            workstreams
Kearney, Kevin         10/13/2023     0.4   Call to discuss LedgerPrime historical loan balances with K. Kearney
                                            and J. Faett (A&M)
Kearney, Kevin         10/13/2023     0.4   Call with R. Gordon, A. Titus, S. Glustein, K. Kearney (A&M) to
                                            discussion accounting matters for venture portfolio
Braatelien, Troy       10/15/2023     1.3   Perform Relativity searches regarding FTXPH transactions with
                                            developer X
Gordon, Robert         10/15/2023     0.8   Review analysis over FTXPH property transfers




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Accounting
Professional                Date    Hours    Activity
Braatelien, Troy       10/16/2023     0.2   Update slide summary with findings regarding FTXPH transactions
                                            with developer X for review comments
Braatelien, Troy       10/16/2023     1.3   Draft slide summary with findings regarding FTXPH transactions with
                                            developer X
Gordon, Robert         10/16/2023     0.4   Final review of FTX Property Holdings funds flow analysis

Broskay, Cole          10/17/2023     0.3   Review tax open items relating to select Plan workstreams

Faett, Jack            10/17/2023     0.9   Analyze exchange transfers to identify funding of Alameda lender
                                            investment
Faett, Jack            10/17/2023     0.6   Review Etherscan for hashflow tokens sent to LedgerPrime on
                                            November 7th
Faett, Jack            10/17/2023     2.2   Review relativity for support of funding of Alameda lender investment


Faett, Jack            10/17/2023     0.4   Call to discuss potential exchange transfers for funding of Alameda
                                            lender investment with K. Kearney and J. Faett (A&M)
Gordon, Robert         10/17/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) over updates to
                                            LedgerPrime analysis
Hainline, Drew         10/17/2023     0.3   Research available information on entity purpose based on request
                                            for dormant entities
Hainline, Drew         10/17/2023     0.9   Perform research based on request for acquisition documentation of
                                            foreign entities
Hainline, Drew         10/17/2023     0.2   Draft summary of findings for acquisition documentation for foreign
                                            entities
Hainline, Drew         10/17/2023     0.3   Draft response with summary of information gathered for entities
                                            included in request for dismissal
Kearney, Kevin         10/17/2023     1.2   Review FTX exchange data associated with transfers associated
                                            with Alameda lender loans
Kearney, Kevin         10/17/2023     0.4   Call to discuss potential exchange transfers for funding of Alameda
                                            lender investment with K. Kearney and J. Faett (A&M)
Broskay, Cole          10/18/2023     0.6   Correspondence with R. Gordon (A&M) regarding select claims
                                            reconciliation to accounting books and records
Bruck, Ran             10/18/2023     0.3   Call to discuss contract receivable data on the General Ledger for
                                            WRSS with J. Faett, R. Bruck (A&M)
Bruck, Ran             10/18/2023     0.9   Research general ledger information on contract receivable data for
                                            WRS silo
Bruck, Ran             10/18/2023     1.1   Review intercompany information related to WRS silo


Faett, Jack            10/18/2023     0.3   Call to discuss contract receivable data on the General Ledger for
                                            WRSS with J. Faett, R. Bruck (A&M)
Faett, Jack            10/18/2023     2.3   Identify funding for Jito Labs venture investment


Hainline, Drew         10/18/2023     0.3   Respond to open questions on entity details for tear sheets




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Accounting
Professional                Date    Hours    Activity
Hogge, Will            10/18/2023     0.2   Source Latest Motions from 2 Cases involving bidder party

Kearney, Kevin         10/18/2023     2.0   Review of LedgerPrime asset roll forward from petition date to
                                            reconcile asset movements and transfers
Kearney, Kevin         10/18/2023     0.7   Prepare correspondence to M. Cilia (FTX) regarding current status
                                            of LedgerPrime
Lehtis, Alexander      10/18/2023     1.7   Run diligence reports on database for approximately 20 executives
                                            at bidder companies, send findings to A&M team
Braatelien, Troy       10/19/2023     0.5   Reconcile Ledgerprime token balance for Hashflow account to
                                            account balance
Faett, Jack            10/19/2023     1.2   Reconcile volume data from FTX PowerBI dashboard to other FTX
                                            volume data to ensure completeness of dashboard data
Faett, Jack            10/19/2023     1.3   Review source data provided in response to PWC request #4 to
                                            determine AWS tables utilized to pull data
Faett, Jack            10/19/2023     1.1   Reconcile revenue data from FTX PowerBI dashboard to other FTX
                                            volume data to ensure completeness of dashboard data
Faett, Jack            10/19/2023     0.6   Call to discuss analysis on FTX historical revenue and volume by
                                            product ticker with K. Kearney and J. Faett (A&M)
Faett, Jack            10/19/2023     1.9   Review relativity for hits on bidders and bidders' management teams
                                            to identify any relationships with bidders
Faett, Jack            10/19/2023     0.4   Meeting to discuss funding of Coin98 investment with K. Kearney
                                            and J. Faett (A&M)
Faett, Jack            10/19/2023     1.6   Review LedgerPrime API reports to reconcile Hashflow tokens held
                                            as of petition date
Faett, Jack            10/19/2023     0.5   Call to discuss LedgerPrime's hashflow balance at petition date with
                                            K. Kearney and J. Faett (A&M)
Gordon, Robert         10/19/2023     1.4   Begin reviewing trial transcript NAIMBAN1 for potential accounting
                                            analysis
Hogge, Will            10/19/2023     1.1   Pull Docket Sheets and Key Filings (Complaints, Key Motions and
                                            Orders) for Cases involving 2 Bidder Parties
Hogge, Will            10/19/2023     0.7   Look into availability of demonstrative exhibits from expert testimony
                                            in SBF Fraud Trial
Hogge, Will            10/19/2023     0.6   Compile litigation Research in CourtLink for Cases Involving 2
                                            Specific Parties (1 individual and 1 of 2 companies)
Kearney, Kevin         10/19/2023     0.6   Call to discuss analysis on FTX historical revenue and volume by
                                            product ticker with K. Kearney and J. Faett (A&M)
Kearney, Kevin         10/19/2023     0.5   Call to discuss LedgerPrime's hashflow balance at petition date with
                                            K. Kearney and J. Faett (A&M)
Kearney, Kevin         10/19/2023     0.4   Review contract for targeted venture investment associated with
                                            funding valuation determination
Kearney, Kevin         10/19/2023     0.9   Review FTX.com exchange details for funding of targeted venture
                                            investment
Kearney, Kevin         10/19/2023     0.4   Meeting to discuss funding of Coin98 investment with K. Kearney
                                            and J. Faett (A&M)




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Professional                  Date    Hours    Activity
Faett, Jack              10/20/2023     0.4   Call to review QE questions pertaining to negative Alameda
                                              exchange balances with K. Kearney and J. Faett (A&M)
Hogge, Will              10/20/2023     0.8   Research into SEC Cease and Desist Order (and Outcome of Order)
                                              on Bidder Party
Hogge, Will              10/20/2023     0.1   Perform PitchBook data pull on bidder advisory company

Hogge, Will              10/20/2023     0.1   Source Bloomberg article on bidder party financing

Kearney, Kevin           10/20/2023     0.4   Call to review QE questions pertaining to negative Alameda
                                              exchange balances with K. Kearney and J. Faett (A&M)
Broskay, Cole            10/21/2023     0.4   Correspondence with Dotcom accounting team regarding historical
                                              entities associated with FTX Switzerland GmbH
Hainline, Drew           10/21/2023     0.6   Perform Relativity research to identify purchase agreements for
                                              international entities
Hainline, Drew           10/21/2023     0.8   Draft post-petition balance sheet presentations for international
                                              entities
Gordon, Robert           10/22/2023     0.4   Review Blockfolio financials for IP identifications


Hainline, Drew           10/22/2023     0.6   Review documentation regarding support for dismissal for select
                                              international entities
Stolyar, Alan            10/22/2023     2.0   Research trademarks, patents, and IP, on the company's balance
                                              sheet in Relativity per ACCT request
Broskay, Cole            10/23/2023     0.6   Correspondence with FTX silo accounting teams regarding historical
                                              intangible balances
Chan, Jon                10/23/2023     2.6   Investigate activity related to specific accounts for A&M internal
                                              accounting investigation
Faett, Jack              10/23/2023     3.1   Create Coin98 Investment summary slide deck summarizing all
                                              agreements, funding and petition date balances for Coin98
Faett, Jack              10/23/2023     0.4   Call to walkthrough Coin98 Investment Summary with K. Kearney
                                              and J. Faett (A&M)
Faett, Jack              10/23/2023     0.7   Meeting to discuss AlixPartners questions pertaining to Alameda
                                              and Ventures petition date balances with K. Kearney and J. Faett
                                              (A&M)
Hainline, Drew           10/23/2023     0.6   Respond to request for historical balance sheet information related
                                              to dotcom entities
Hainline, Drew           10/23/2023     0.3   Call to discuss historical balances request with D. Hainline, M. Jones
                                              (A&M)
Jones, Mackenzie         10/23/2023     0.3   Call to discuss historical balances request with D. Hainline, M. Jones
                                              (A&M)
Kearney, Kevin           10/23/2023     0.9   Review of petition date loan balances provided to AlixPartners for
                                              historical financial statement bridge analysis
Kearney, Kevin           10/23/2023     0.4   Call to walkthrough Coin98 Investment Summary with K. Kearney
                                              and J. Faett (A&M)
Kearney, Kevin           10/23/2023     0.7   Meeting to discuss AlixPartners questions pertaining to Alameda
                                              and Ventures petition date balances with K. Kearney and J. Faett
                                              (A&M)

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Professional                  Date    Hours    Activity
Stolyar, Alan            10/23/2023     0.8   Research intangible assets on the company's balance sheet in
                                              Relativity per ACCT request
Broskay, Cole            10/24/2023     0.2   Respond to tax team questions regarding select investment fund
                                              data availability
Faett, Jack              10/24/2023     1.5   Review petition date and 10/31 trial balances for WRS, Dotcom and
                                              Alameda entities prior to sending to AlixPartners
Hainline, Drew           10/24/2023     0.6   Draft responses for requests of historical balance sheet information
                                              for Dotcom silo entities
Jones, Mackenzie         10/24/2023     0.2   Research historical WRS silo data shared with external party


Stolyar, Alan            10/24/2023     1.2   Prepare Blockfolio PowerPoint presentation for A&M custodial review

Stolyar, Alan            10/24/2023     0.6   Review intangible asset PowerPoint presentation for A&M custodial
                                              review
Stolyar, Alan            10/24/2023     1.3   Prepare Good Luck Games PowerPoint presentation for A&M
                                              custodial review
Yan, Jack                10/24/2023     2.8   Perform bank reconciliation for FTX Japan group as at June and
                                              July 2023
Broskay, Cole            10/25/2023     1.4   Provide commentary/adjustments to presentation regarding
                                              Blockfolio intangible asset values
Bruck, Ran               10/25/2023     1.8   Find remaining intangible assets for entities in a summarized
                                              document for presentation
Bruck, Ran               10/25/2023     0.6   Research general ledger for Innovatia to identify sources of
                                              intangible assets
Bruck, Ran               10/25/2023     1.6   Research general ledger for Blockfolio to identify sources of
                                              intangible assets
Bruck, Ran               10/25/2023     1.1   Research general ledger for Good Luck Games to identify sources
                                              of intangible assets
Faett, Jack              10/25/2023     1.1   Conduct research on online resources to identify exhibits used in
                                              Peter Easton's testimony in the SBF trial
Faett, Jack              10/25/2023     2.6   Perform review of petition date token receivable balance based on
                                              additional tracing and new information
Faett, Jack              10/25/2023     1.3   Analyze loan agreement with Pavel Pogodin and Cedar Grove
                                              Technology Services for impact on petition date balances
Faett, Jack              10/25/2023     2.1   Read Peter Easton's testimony in the SBF trial to identify any
                                              impacts to the account workstream
Faett, Jack              10/25/2023     0.6   Meeting to walkthrough crypto asset receivable with K. Kearney and
                                              J. Faett (A&M)
Faett, Jack              10/25/2023     0.8   Meeting to reconcile LedgerPrime's hashflow balance

Gordon, Robert           10/25/2023     0.4   Teleconference with R. Gordon, K. Kearney(A&M) to discuss ledger
                                              prime matters
Hainline, Drew           10/25/2023     0.4   Respond to questions on support for asset balances of dotcom silo
                                              entities




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Accounting
Professional                  Date    Hours    Activity
Kearney, Kevin           10/25/2023     0.9   Review of historical transactions for LedgerPrime Hashflow activity
                                              to identify reconciliation differences
Kearney, Kevin           10/25/2023     0.4   Teleconference with R. Gordon, K. Kearney(A&M) to discuss ledger
                                              prime matters
Kearney, Kevin           10/25/2023     0.6   Meeting to walkthrough crypto asset receivable with K. Kearney and
                                              J. Faett (A&M)
Kearney, Kevin           10/25/2023     0.7   Review of updated tokens receivable model for post-petition
                                              changes for Alameda
Kearney, Kevin           10/25/2023     1.2   Review of updated tokens receivable model for post-petition
                                              changes for LedgerPrime
Kearney, Kevin           10/25/2023     0.8   Meeting to reconcile LedgerPrime's hashflow balance

Li, Summer               10/25/2023     0.3   Discuss with S. Li and J. Yan (A&M) regarding master bank
                                              reconciliation between June and August 2023 of FTX Japan
Stolyar, Alan            10/25/2023     1.4   Prepare Blockfolio Trademark PowerPoint presentation for A&M
                                              custodial review
Stolyar, Alan            10/25/2023     0.3   Review Blockfolio Trademark PowerPoint presentation for A&M
                                              custodial review
Sunkara, Manasa          10/25/2023     2.8   Extract the user account details for a list of user accounts provided
                                              by the accounting team
Yan, Jack                10/25/2023     0.3   Discuss with S. Li and J. Yan (A&M) regarding master bank
                                              reconciliation between June and August 2023 of FTX Japan
Yan, Jack                10/25/2023     2.3   Perform bank reconciliation for FTX Japan group as at August 2023


Faett, Jack              10/26/2023     1.4   Update FDM related party analysis for new FDM bank statements
                                              uploaded to cash database
Faett, Jack              10/26/2023     1.7   Build out template for LedgerPrime crypto asset rollforward from
                                              petition date to 12/31
Faett, Jack              10/26/2023     2.8   Create timeline for Alameda key events from inception through
                                              bankruptcy
Hogge, Will              10/26/2023     0.7   Follow Up Research for Latest Filings and Expert Testimony Exhibits
                                              in SBF Fraud Trial
Yan, Jack                10/26/2023     0.6   Perform bank reconciliation for FTX Japan group as at June, July
                                              and August 2023
Faett, Jack              10/27/2023     0.7   Meeting to discuss rollforward of LedgerPrime's crypto asset
                                              balances to December 2022 with K. Kearney and J. Faett (A&M)
Kearney, Kevin           10/27/2023     0.7   Meeting to discuss rollforward of LedgerPrime's crypto asset
                                              balances to December 2022 with K. Kearney and J. Faett (A&M)
Broskay, Cole            10/30/2023     0.2   Email correspondence with H. Chambers (A&M) regarding
                                              differences in exchange operations for FTX Japan
Broskay, Cole            10/30/2023     0.4   Email correspondence with European team regarding differences in
                                              exchange operations
Faett, Jack              10/30/2023     1.2   Update FDM Related Party analysis for transaction categorization of
                                              additional Equity Bank fiat transactions




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Accounting
Professional                 Date    Hours     Activity
Faett, Jack             10/30/2023      1.4   Update FDM Related Party analysis for transaction categorization of
                                              additional BCB fiat transactions
Faett, Jack             10/30/2023      1.6   Update FDM Related Party analysis for transaction categorization of
                                              Klarpay fiat transactions
Hainline, Drew          10/30/2023      0.4   Review case docket and updates to support workstream
                                              management
Hogge, Will             10/30/2023      1.2   Best Practices, Common KPIs and Benchmark/Comp Valuation
                                              Data Research for Public Crypto Exchanges
Sullivan, Christopher   10/30/2023      0.8   Review updated IC matrix for Alameda


Braatelien, Troy        10/31/2023      0.7   Update 11/30/22 LedgerPrime balances rollforward schedule for
                                              petition date pricing
Braatelien, Troy        10/31/2023      1.3   Draft LedgerPrime balances rollforward schedule for 12/31/22


Braatelien, Troy        10/31/2023      3.1   Draft LedgerPrime balances rollforward schedule for 11/30/22

Braatelien, Troy        10/31/2023      0.3   Update 11/30/22 LedgerPrime balances rollforward schedule for
                                              additional November activity
Braatelien, Troy        10/31/2023      0.3   Call to discuss LedgerPrime balance sheet rollforward for December
                                              2022 month-end with J. Faett and T. Braatelien (A&M)
Faett, Jack             10/31/2023      0.6   Meeting to discuss new FDM banking data and updates to the FDM
                                              analysis with K. Kearney and J. Faett (A&M)
Faett, Jack             10/31/2023      3.1   Analyze listing of codebase contributors and compensation paid to
                                              employees via the FTX exchange
Faett, Jack             10/31/2023      3.1   Analyze listing of codebase contributors and total fiat compensation
                                              paid to such employees
Faett, Jack             10/31/2023      0.3   Call to discuss LedgerPrime balance sheet rollforward for December
                                              2022 month-end with J. Faett and T. Braatelien (A&M)
Faett, Jack             10/31/2023      2.5   Reconcile intra-entity and intercompany balances within the FDM
                                              related party analysis for new bank statement data provided
Kearney, Kevin          10/31/2023      0.6   Meeting to discuss new FDM banking data and updates to the FDM
                                              analysis with K. Kearney and J. Faett (A&M)
Kearney, Kevin          10/31/2023      2.1   Review of updated FDM related party analysis based on newly
                                              incorporate banking information

Subtotal                              196.2

Asset Sales
Professional                 Date    Hours     Activity
Braatelien, Troy         10/1/2023      1.6   Perform Relativity searches to determine existence of relationships
                                              between Bidder #2 investors and FTX
Braatelien, Troy         10/1/2023      2.1   Perform Relativity searches to determine existence of relationships
                                              between Bidder #2 executives and FTX
Braatelien, Troy         10/1/2023      0.9   Perform Relativity searches to determine existence of relationships
                                              between Bidder #1 executives and FTX


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Asset Sales
Professional               Date    Hours    Activity
Braatelien, Troy       10/1/2023     1.3   Perform Relativity searches to determine existence of relationships
                                           between Bidder #4 executives and FTX
Glustein, Steven       10/1/2023     0.6   Draft weekend update summary relating to Alameda equity
                                           investments
Glustein, Steven       10/1/2023     1.1   Draft weekend update summary relating to LedgerPrime

Gordon, Robert         10/1/2023     0.7   Call with R. Gordon, K. Kearney (A&M) to review due diligence
                                           request lists for FTX 2.0 bidders
Gordon, Robert         10/1/2023     0.8   Discussion with R. Gordon, K. Kearney(A&M) over edits to the
                                           bidder responses
Gordon, Robert         10/1/2023     0.4   Review bidder list questions for potential additions, bidder #2

Gordon, Robert         10/1/2023     0.6   Review bidder list questions for potential additions, bidder #1


Gordon, Robert         10/1/2023     0.4   Review bidder list questions for potential additions, bidder #3

Gordon, Robert         10/1/2023     0.7   Edit teams feedback for bidder #2 questions from PWP


Gordon, Robert         10/1/2023     0.4   Edit teams feedback for bidder #3 questions from PWP

Gordon, Robert         10/1/2023     0.3   Edit teams feedback for bidder #1 questions from PWP

Gordon, Robert         10/1/2023     1.7   Edit bidder comparison presentation for BoD


Hainline, Drew         10/1/2023     1.1   Perform research on bidder #2 related parties in Relativity to support
                                           2.0 diligence efforts
Hainline, Drew         10/1/2023     0.3   Review open questions for bidder #2 to support diligence efforts


Hainline, Drew         10/1/2023     0.2   Review updates and next steps for Project Focus

Hainline, Drew         10/1/2023     0.4   Review updated diligence request tracker for bidder #2


Jones, Mackenzie       10/1/2023     2.1   Perform research on management team for bidder #2 to support
                                           diligence efforts
Kearney, Kevin         10/1/2023     0.7   Call with R. Gordon, K. Kearney (A&M) to review due diligence
                                           request lists for FTX 2.0 bidders
Kearney, Kevin         10/1/2023     1.3   Review reverse diligence request list for bidder #2


Kearney, Kevin         10/1/2023     1.2   Review reverse diligence request list for bidder #1

Kearney, Kevin         10/1/2023     1.0   Review reverse diligence request list for bidder #3


Ramanathan, Kumanan    10/1/2023     0.8   Review FTX 2.0 diligence questions and provide comments




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Asset Sales
Professional                 Date     Hours    Activity
Reagan, Kelsey            10/1/2023     1.1   Reconcile the summary of bid proposal draft to the final draft.
                                              Confirm all information accurate
Reagan, Kelsey            10/1/2023     1.3   Review responses provided from bidder #3 and underlying support


Rybarczyk, Jodi           10/1/2023     1.3   Review FTX 2.0 relaunch proposal from bidder #4, including
                                              business plan, timeline, and transaction details
Rybarczyk, Jodi           10/1/2023     1.8   Perform quality check on second round bid summary slide

Titus, Adam               10/1/2023     1.3   Review 2.0 follow up question request list based on proposals
                                              received
Trent, Hudson             10/1/2023     1.4   Prepare updated comparison of 2.0 bids for provision to the Board

Turton, Bobby             10/1/2023     1.1   Review VDR submissions from Bidder #1


Alvarez, Charles          10/2/2023     0.9   Identify potential conflicts between bidder affiliates and user
                                              accounts for investors U through Z
Alvarez, Charles          10/2/2023     1.8   Identify potential conflicts between bidder affiliates and user
                                              accounts for investors D through F
Alvarez, Charles          10/2/2023     1.2   Identify potential conflicts between bidder affiliates and user
                                              accounts for investors K through P
Alvarez, Charles          10/2/2023     0.2   Participate on call to discuss derivatives and spot rate market
                                              research with K. Kearney, C. Alvarez (A&M)
Alvarez, Charles          10/2/2023     1.1   Identify potential conflicts between bidder affiliates and user
                                              accounts for investors Q through T
Alvarez, Charles          10/2/2023     1.4   Identify potential conflicts between bidder affiliates and user
                                              accounts for investors A through C
Alvarez, Charles          10/2/2023     1.6   Identify potential conflicts between bidder affiliates and user
                                              accounts for investors G through J
Alvarez, Charles          10/2/2023     0.3   Participate on call to discuss workstream updates with J. Rybarczyk,
                                              C. Alvarez (A&M)
Alvarez, Charles          10/2/2023     0.9   Prepare supplemental questions to resolve bidder #4 high priority
                                              diligence responses
Alvarez, Charles          10/2/2023     1.7   Review market research on Bitcoin futures trading volume across
                                              crypto exchanges
Alvarez, Charles          10/2/2023     0.4   Participate on call to discuss diligence of potential conflict matches
                                              between bidders and FTX with K. Kearney, C. Alvarez (A&M)
Arnett, Chris             10/2/2023     2.4   Review contracts for potential assignment in an FTX 2.0 scenario for
                                              presentation to potential bidders
Arnett, Chris             10/2/2023     0.7   Review employees and contractors for potential assignment to FTX
                                              2.0 bidders
Beretta, Matthew          10/2/2023     1.7   Design and edit bidder overview for 2.0 diligence presentation for
                                              bidder #1
Beretta, Matthew          10/2/2023     1.3   Finalize diligence re-requests for Bidder #1 and compare with PWP




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Asset Sales
Professional               Date     Hours    Activity
Beretta, Matthew        10/2/2023     0.9   Call with IT to try and gain access to VDR for Bidder #1

Beretta, Matthew        10/2/2023     1.2   Review diligence responses from Bidder #2


Braatelien, Troy        10/2/2023     0.9   Perform Relativity searches to determine existence of relationships
                                            between significant Bidder #1 affiliate A and FTX
Braatelien, Troy        10/2/2023     1.4   Perform Relativity searches to determine existence of relationships
                                            between significant Bidder #1 affiliate B and FTX
Braatelien, Troy        10/2/2023     1.8   Perform Relativity searches to determine existence of relationships
                                            between significant Bidder #2 investor B and FTX
Braatelien, Troy        10/2/2023     1.1   Perform Relativity searches to determine existence of relationships
                                            between significant Bidder #2 investor A and FTX
Callerio, Lorenzo       10/2/2023     0.7   Review the APTOS info received from S. Glustein (A&M) based on
                                            call held with PWP, S&C and MWE
Callerio, Lorenzo       10/2/2023     0.4   Review the ETHE and GBTC analysis prepared by S. Paolinetti
                                            (A&M)
Callerio, Lorenzo       10/2/2023     0.3   Correspondence with S&C re: Embed retention agreements


Coverick, Steve         10/2/2023     0.4   Discussion with A&M (E.Mosley, D.Johnston, S.Coverick) regarding
                                            FTX Europe entity presentations for J.Ray (FTX)
Coverick, Steve         10/2/2023     0.4   Call with E. Mosley, R. Gordon, S. Coverick, K. Kearney (A&M) to
                                            discuss FTX 2.0 diligence process
Coverick, Steve         10/2/2023     0.3   Discussion with J.Ray (FTX) and A&M (E.Mosley, S.Coverick,
                                            K.Ramanathan) regarding crypto operations and potential upcoming
                                            sales
Ernst, Reagan           10/2/2023     2.6   Configure investment tracker to portray investments that were
                                            signed under different legal entities
Ernst, Reagan           10/2/2023     1.3   Consolidate data from equity positions in debtor entities for
                                            investment tracker
Ernst, Reagan           10/2/2023     2.4   Forecast receipts for ventures team based on discussions with
                                            various investees
Ernst, Reagan           10/2/2023     0.7   Report requested capital call from outstanding fund investment

Ernst, Reagan           10/2/2023     0.9   Calculate time weighted average price for FTX brokerage positions


Ernst, Reagan           10/2/2023     0.6   Update venture investments overview deck with latest unit pricing for
                                            brokerage positions
Faett, Jack             10/2/2023     2.0   Research recent enforcement actions on crypto companies for
                                            jurisdictions in which bidders plan to operate
Faett, Jack             10/2/2023     0.8   Call to discuss market overview research related to reverse due
                                            diligence with K. Kearney and J. Faett (A&M)
Faett, Jack             10/2/2023     2.9   Compile futures and spot trading volume for centralized exchanges
                                            for use in market analysis
Faett, Jack             10/2/2023     1.4   Analyze volume data for centralized exchanges for the period of
                                            2020 through 2023


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Asset Sales
Professional                Date    Hours    Activity
Faett, Jack             10/2/2023     0.7   Update market overview slides for volume analysis for centralized
                                            exchanges
Faett, Jack             10/2/2023     0.8   Meeting to review updated market overview slides with K. Kearney
                                            and J. Faett (A&M)
Faett, Jack             10/2/2023     2.3   Create visuals for the market overview summary slide using data
                                            from Coin Market Cap on daily volume and market capitalization
Faett, Jack             10/2/2023     0.7   Discussion to review volume data by centralized exchanges to
                                            include in reverse due diligence market overview with K. Kearney
                                            and J. Faett (A&M)
Faett, Jack             10/2/2023     0.4   Call to discuss regulatory landscape slides to include in reverse due
                                            diligence deck with K. Kearney and J. Faett (A&M)
Glustein, Steven        10/2/2023     1.4   Review investment tracker regarding subsequent funding rounds
                                            invested by legal entity relating to recovery analysis
Glustein, Steven        10/2/2023     1.3   Draft updated cash receipts forecast relating to venture investment
                                            closings
Glustein, Steven        10/2/2023     0.7   Review data room prep folders relating to venture investment
                                            documents
Glustein, Steven        10/2/2023     0.9   Update investment tracker relating to recently closed investments

Glustein, Steven        10/2/2023     0.4   Prepare list of other assets for S. Tang (LedgerPrime) relating to
                                            additional supporting documents
Gordon, Robert          10/2/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                            Hainline, K. Montague (A&M)
Gordon, Robert          10/2/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) over KYC
                                            questions for bidders
Gordon, Robert          10/2/2023     1.1   Review data request response from bidder #2 for updated
                                            information
Gordon, Robert          10/2/2023     1.2   Review data request response from bidder #3 for updated
                                            information
Gordon, Robert          10/2/2023     2.2   Begin reviewing VDR files for bidder #1


Gordon, Robert          10/2/2023     0.7   Review rapid assessment working template for edits

Gordon, Robert          10/2/2023     0.3   Call with E. Mosley, R. Gordon, S. Coverick, K. Kearney (A&M) to
                                            discuss FTX 2.0 diligence process
Hainline, Drew          10/2/2023     0.4   Review status of tagging Project Focus related entities to FTX
                                            exchange accounts to identify connections
Hainline, Drew          10/2/2023     0.9   Call to discuss approach for FTX 2.0 diligence board presentation
                                            with K. Kearney, D. Hainline (A&M)
Hainline, Drew          10/2/2023     0.7   Continue drafting background information for management team and
                                            board of directors for bidder #2
Hainline, Drew          10/2/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                            Hainline, K. Montague (A&M)
Hainline, Drew          10/2/2023     1.9   Draft overview of NewCo considerations for bidder #2 to include in
                                            board presentation materials


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Asset Sales
Professional              Date    Hours    Activity
Hainline, Drew        10/2/2023     1.3   Update bidder #2 company profile information to support board deck
                                          preparation
Hainline, Drew        10/2/2023     1.7   Draft outline and presentation materials for bidder overviews in
                                          board deck
Hainline, Drew        10/2/2023     0.6   Draft appendix slide for key references from proposal for bidder #2

Hainline, Drew        10/2/2023     0.9   Draft list of open items for bidder #2 to support diligence work plan

Hainline, Drew        10/2/2023     0.3   Review updates on funds flow tracing for Liquid Group acquisition


Hainline, Drew        10/2/2023     0.4   Discussion to review next steps for areas of focus for proposal
                                          analysis of Bidder #2 and discuss structure of communication to
                                          board across bid proposals with D. Hainline, S. Kolodny (A&M)
Hainline, Drew        10/2/2023     0.6   Review license and registration requirements to operate
                                          cryptocurrency operations in the US to support diligence for bidder #2
Hainline, Drew        10/2/2023     0.3   Call to align on approach for building out bidder overviews for 2.0
                                          diligence presentation with B. Turton, J. Rybarczyk, K. Reagan, D.
                                          Hainline (A&M)
Hainline, Drew        10/2/2023     0.3   Continue review of Relativity searches for bidder related party
                                          companies and individuals to support diligence efforts
Hershan, Robert       10/2/2023     1.3   Review personnel wind down analysis and provide feedback on same


Johnston, David       10/2/2023     0.4   Discussion with A&M (E.Mosley, D.Johnston, S.Coverick) regarding
                                          FTX Europe entity presentations for J.Ray (FTX)
Johnston, David       10/2/2023     1.7   Review and update comparison of offers for FTX Europe asset sale

Kearney, Kevin        10/2/2023     0.9   Call to discuss approach for FTX 2.0 diligence board presentation
                                          with K. Kearney, D. Hainline (A&M)
Kearney, Kevin        10/2/2023     0.2   Participate on call to discuss derivatives and spot rate market
                                          research with K. Kearney, C. Alvarez (A&M)
Kearney, Kevin        10/2/2023     0.8   Call to discuss market overview research related to reverse due
                                          diligence with K. Kearney and J. Faett (A&M)
Kearney, Kevin        10/2/2023     2.2   Review FTX.com historical volume information for targeted futures
                                          for 2.0 reverse diligence analysis
Kearney, Kevin        10/2/2023     0.4   Call with E. Mosley, R. Gordon, S. Coverick, K. Kearney (A&M) to
                                          discuss FTX 2.0 diligence process
Kearney, Kevin        10/2/2023     1.8   Review FTX.com historical volume information for targeted spots for
                                          2.0 reverse diligence analysis
Kearney, Kevin        10/2/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline, K. Montague (A&M)
Kearney, Kevin        10/2/2023     0.8   Meeting to review updated market overview slides with K. Kearney
                                          and J. Faett (A&M)
Kearney, Kevin        10/2/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) over KYC
                                          questions for bidders
Kearney, Kevin        10/2/2023     1.4   Review crypto volume information for 2.0 reverse diligence



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Asset Sales
Professional              Date    Hours    Activity
Kearney, Kevin        10/2/2023     0.9   Review crypto pricing changes for 2.0 reverse diligence

Kearney, Kevin        10/2/2023     1.0   Review futures volume information for 2.0 reverse diligence


Kearney, Kevin        10/2/2023     0.8   Review spot volume information for 2.0 reverse diligence

Kearney, Kevin        10/2/2023     0.4   Call to discuss regulatory landscape slides to include in reverse due
                                          diligence deck with K. Kearney and J. Faett (A&M)
Kearney, Kevin        10/2/2023     0.4   Participate on call to discuss diligence of potential conflict matches
                                          between bidders and FTX with K. Kearney, C. Alvarez (A&M)
Kearney, Kevin        10/2/2023     0.7   Discussion to review volume data by centralized exchanges to
                                          include in reverse due diligence market overview with K. Kearney
                                          and J. Faett (A&M)
Kearney, Kevin        10/2/2023     0.4   Meeting to walkthrough draft follow-up questions on the bidder #3
                                          data requests with K. Kearney and K. Reagan (A&M)
Kolodny, Steven       10/2/2023     0.9   Input historical ETH futures prices from all applicable exchanges
                                          from September 2020 through current
Kolodny, Steven       10/2/2023     0.4   Discussion to review next steps for areas of focus for proposal
                                          analysis of Bidder #2 and discuss structure of communication to
                                          board across bid proposals with D. Hainline, S. Kolodny (A&M)
Kolodny, Steven       10/2/2023     1.8   Review files from database team regarding possible exchange
                                          accounts associated with Bidder #2 and their affiliates
Kolodny, Steven       10/2/2023     1.8   Review files from database team regarding possible exchange
                                          accounts associated with Bidder #3 and their affiliates
Kolodny, Steven       10/2/2023     1.8   Review files from database team regarding possible exchange
                                          accounts associated with Bidder #4 and their affiliates
Kolodny, Steven       10/2/2023     1.8   Review files from database team regarding possible exchange
                                          accounts associated with Bidder #1 and their affiliates
McLoughlin, Miles     10/2/2023     0.9   Meeting to assess data responses of bidder #3 and to track key
                                          individuals with K. Reagan, M. McLoughlin (A&M)
McLoughlin, Miles     10/2/2023     0.3   Meeting to discuss data response for bidder #3 and plan out
                                          day/week with M. McLoughlin and K. Reagan (A&M)
McLoughlin, Miles     10/2/2023     2.3   Create slides for bidder #3 to give an overview of the offer to the
                                          client BOD
McLoughlin, Miles     10/2/2023     3.1   Update status of data request list to close items with sufficient
                                          responses
McLoughlin, Miles     10/2/2023     1.9   Build professionals tracker for bidder #3 to assess key decision
                                          makers
McLoughlin, Miles     10/2/2023     1.4   Track data request response list and updating accordingly

Montague, Katie       10/2/2023     2.8   Review all schedule G contracts for inclusion in list to FTX2.0
                                          bidders regarding potential contract assumption
Montague, Katie       10/2/2023     0.7   Draft email to S&C regarding potential Schedule G contracts for
                                          assumption by FTX 2.0 bidders
Montague, Katie       10/2/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline, K. Montague (A&M)

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Asset Sales
Professional               Date    Hours    Activity
Montague, Katie        10/2/2023     2.1   Prepare list of key contracts to share with FTX 2.0 bidders per S&C
                                           request
Montague, Katie        10/2/2023     0.3   Correspond with M. Friedman (S&C) regarding contract listing for
                                           bidders
Mosley, Ed             10/2/2023     0.4   Discussion with A&M (E.Mosley, D.Johnston, S.Coverick) regarding
                                           FTX Europe entity presentations for J.Ray (FTX)
Mosley, Ed             10/2/2023     1.2   Review of updated FTX Cyprus term sheet comparison financial
                                           analysis
Mosley, Ed             10/2/2023     1.8   Review of FTX 2.0 bid summary for use in board meeting


Mosley, Ed             10/2/2023     0.4   Call with E. Mosley, R. Gordon, S. Coverick, K. Kearney (A&M) to
                                           discuss FTX 2.0 diligence process Call with E. Mosley, R. Gordon,
                                           S. Coverick, K. Kearney (A&M) to discuss FTX 2.0 diligence
                                           processASAsset Sales10/2/20230.40
Mosley, Ed             10/2/2023     0.3   Discussion with J.Ray (FTX) and A&M (E.Mosley, S.Coverick,
                                           K.Ramanathan) regarding crypto operations and potential upcoming
                                           sales
Paolinetti, Sergio     10/2/2023     2.1   Create a variance vesting schedule analysis comparing venture's
                                           team vesting information and Sygnia's
Ramanathan, Kumanan    10/2/2023     0.3   Call with A. Levine (S&C) to discuss crypto asset management sale
                                           agreement
Ramanathan, Kumanan    10/2/2023     0.1   Call with D. Handelsman (S&C) to discuss Galaxy crypto asset
                                           management mandate
Ramanathan, Kumanan    10/2/2023     0.3   Call with M. Rahmani (PWP) to discuss FTX2.0 diligence process


Ramanathan, Kumanan    10/2/2023     0.7   Review of Galaxy mandate file and most recent coin report

Ramanathan, Kumanan    10/2/2023     0.3   Call with A. Levine (S&C) to discuss market maker trading
                                           agreements
Ramanathan, Kumanan    10/2/2023     0.2   Discussion with J.Ray (FTX) and A&M (E.Mosley, S.Coverick,
                                           K.Ramanathan) regarding crypto operations and potential upcoming
                                           sales
Reagan, Kelsey         10/2/2023     0.9   Meeting to assess data responses of bidder #3 and to track key
                                           individuals with K. Reagan, M. McLoughlin (A&M)
Reagan, Kelsey         10/2/2023     0.4   Meeting to walkthrough draft follow-up questions on the bidder #3
                                           data requests with K. Kearney and K. Reagan (A&M)
Reagan, Kelsey         10/2/2023     0.3   Meeting to discuss data response for bidder #3 and plan out
                                           day/week with M. McLoughlin and K. Reagan (A&M)
Reagan, Kelsey         10/2/2023     2.1   Review the PitchBook executive profiles for Bidder #3 key players
                                           and update the diligence presentation
Reagan, Kelsey         10/2/2023     1.2   Create summary of key professionals of Bidder #3 intended to be
                                           key decision makers of FTX 2.0
Reagan, Kelsey         10/2/2023     0.3   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk. B.
                                           Turton (A&M)
Reagan, Kelsey         10/2/2023     0.6   Add key professionals for Bidder #3 to the diligence presentation



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Professional               Date     Hours    Activity
Reagan, Kelsey          10/2/2023     3.2   Review all data provided by bidder #3 and update the data request
                                            list to reflect any open items or follow up questions
Reagan, Kelsey          10/2/2023     0.3   Call to align on approach for building out bidder overviews for 2.0
                                            diligence presentation with B. Turton, J. Rybarczyk, K. Reagan, D.
                                            Hainline (A&M)
Reagan, Kelsey          10/2/2023     1.1   Identify any additional key professionals and / or entities discussed
                                            in the data support provided for Bidder #3 and add additional
                                            requests for the insight center to pull profiles
Reagan, Kelsey          10/2/2023     1.1   Discuss to walkthrough the follow-up questions and responses for
                                            data requests of bidder #3 and #4. Additionally, discussed next
                                            steps regarding company and key professional reports with J.
                                            Rybarczyk and K. Reagan (A&M)
Rybarczyk, Jodi         10/2/2023     1.2   Review PitchBook profiles for bidder #4, including acquiring entities,
                                            affiliated companies, and executives
Rybarczyk, Jodi         10/2/2023     0.3   Participate on call to discuss workstream updates with J. Rybarczyk,
                                            C. Alvarez (A&M)
Rybarczyk, Jodi         10/2/2023     2.3   Map bidder #4 information provided to data request list - high priority
                                            items
Rybarczyk, Jodi         10/2/2023     0.3   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk. B.
                                            Turton (A&M)
Rybarczyk, Jodi         10/2/2023     1.1   Draft follow-up questions for bidder #4 - high priority items


Rybarczyk, Jodi         10/2/2023     2.9   Map bidder #4 information provided to data request list - other items

Rybarczyk, Jodi         10/2/2023     1.6   Draft follow-up questions for bidder #4 - other items


Rybarczyk, Jodi         10/2/2023     0.3   Call to align on approach for building out bidder overviews for 2.0
                                            diligence presentation with B. Turton, J. Rybarczyk, K. Reagan, D.
                                            Hainline (A&M)
Rybarczyk, Jodi         10/2/2023     1.1   Discuss to walkthrough the follow-up questions and responses for
                                            data requests of bidder #3 and #4. Additionally, discussed next
                                            steps regarding company and key professional reports with J.
                                            Rybarczyk and K. Reagan (A&M)
Titus, Adam             10/2/2023     1.3   Draft revision to CRO incentive fee analysis based on feedback from
                                            S. Coverick
Titus, Adam             10/2/2023     0.3   Edit presentation of incentive fee analysis from updated scheduled


Titus, Adam             10/2/2023     1.9   Review information public Ally available to share with the

Titus, Adam             10/2/2023     0.4   Participate in workstream lead update call with A&M (E. Mosley, S.
                                            Coverick, A. Titus, D. Johnston, R. Gordon, R. Esposito, K.
                                            Ramanathan, J. Cooper, L. Callerio)
Turton, Bobby           10/2/2023     1.8   Populate bidder overview for 2.0 diligence presentation for bidder #1


Turton, Bobby           10/2/2023     0.3   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk. B.
                                            Turton (A&M)




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Asset Sales
Professional                 Date     Hours    Activity
Turton, Bobby             10/2/2023     0.5   Review 2.0 Rapid Assessment database with A. Sivapalu and B.
                                              Turton (A&M)
Turton, Bobby             10/2/2023     0.2   Review Executive bio from Bidder #2


Turton, Bobby             10/2/2023     2.9   Review diligence responses from Bidder #1

Turton, Bobby             10/2/2023     1.1   Review diligence responses from Bidder #2

Turton, Bobby             10/2/2023     0.9   Call with IT to gain access to VDR for Bidder #1


Turton, Bobby             10/2/2023     0.3   Call to align on approach for building out bidder overviews for 2.0
                                              diligence presentation with B. Turton, J. Rybarczyk, K. Reagan, D.
                                              Hainline (A&M)
Alvarez, Charles          10/3/2023     0.3   Participate on call to discuss updates to bidder #4 and next steps
                                              with J. Rybarczyk, C. Alvarez (A&M)
Alvarez, Charles          10/3/2023     0.9   Review company research and team background research provided
                                              from Pitchbook
Alvarez, Charles          10/3/2023     1.3   Prepare bidder qualifications and company background for bidder
                                              diligence deck
Alvarez, Charles          10/3/2023     1.1   Prepare newco considerations for bidder diligence deck


Alvarez, Charles          10/3/2023     1.2   Prepare diligence request follow-ups for bidder #4

Alvarez, Charles          10/3/2023     2.2   Prepare operational readiness assessment on bidder #4


Arnett, Chris             10/3/2023     1.3   Continue review of potential 2.0 contracts for assignment to bidders

Beretta, Matthew          10/3/2023     2.3   Analyze diligence responses from bidder #1 for comparison with
                                              PWP and A&M request lists
Beretta, Matthew          10/3/2023     2.9   Review diligence responses from Bidder #1 and compare with
                                              request lists
Beretta, Matthew          10/3/2023     1.2   Working with IT and Intralinks support to get access to Bidder #1
                                              Excel Files
Beretta, Matthew          10/3/2023     2.2   Update diligence 2.0 presentation for bidder #1


Beretta, Matthew          10/3/2023     1.6   Prepare diligence response and follow up list for bidder #1

Beretta, Matthew          10/3/2023     1.2   Read and summarize financial statements from bidder #1


Callerio, Lorenzo         10/3/2023     0.6   Review the Solana unlock schedule prepared by S. Paolinetti (A&M)

Callerio, Lorenzo         10/3/2023     0.7   Review the updated Parrot and GuildFi recommendations decks
                                              prepared by S. Paolinetti (A&M) that include comments received
                                              from S. Glustein (A&M)
Chambers, Henry           10/3/2023     1.8   Review of updated reverse diligence document on KYC/AML
                                              proposals from bidders

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Asset Sales
Professional               Date     Hours    Activity
Chambers, Henry         10/3/2023     2.9   Prepare reverse diligence questions on bidder proposed KYC/AML
                                            requirements
Chambers, Henry         10/3/2023     2.7   Review bidder proposal documents for AML/KYC plans


Ernst, Reagan           10/3/2023     0.8   Update venture brokerage pricing which includes a variances that
                                            compares month to month changes
Ernst, Reagan           10/3/2023     1.2   Analyze LedgerPrime third party exchange transfers to reconcile
                                            with assets workbook
Ernst, Reagan           10/3/2023     1.9   Organize LedgerPrime other assets investment data for asset
                                            workbook allocation
Ernst, Reagan           10/3/2023     2.2   Organize LedgerPrime equity investment data for asset workbook
                                            allocation
Faett, Jack             10/3/2023     3.1   Conduct research on the market outlook of the cryptocurrency
                                            industry to include in reverse due diligence slides
Faett, Jack             10/3/2023     2.5   Review critical factors impacting crypto companies for framework of
                                            reverse due diligence
Faett, Jack             10/3/2023     1.3   Conduct research on the regulatory landscape of jurisdictions where
                                            bidders will operate
Faett, Jack             10/3/2023     1.1   Update reverse due diligence slide deck for market drivers and
                                            market challenges slide
Faett, Jack             10/3/2023     0.7   Update reverse due diligence slide deck for critical factors of
                                            success slide
Faett, Jack             10/3/2023     1.3   Meeting to discuss additional analyzes related to future market
                                            outlook to include in reverse due diligence slide deck with K.
                                            Kearney and J. Faett (A&M)
Faett, Jack             10/3/2023     0.6   Meeting to review enforcement actions to include within the reverse
                                            due diligence deck with K. Kearney and J. Faett (A&M)
Gidoomal, Dhruv         10/3/2023     0.4   Create four due diligence request lists for KYC/AML questions for all
                                            four individual bidders
Glustein, Steven        10/3/2023     1.4   Review LedgerPrime workbook regarding remaining assets relating
                                            to crypto assets held on third party exchanges
Glustein, Steven        10/3/2023     0.8   Review financial statements received from investee company
                                            relating to venture book investments
Glustein, Steven        10/3/2023     0.3   Review LedgerPrime workbook regarding remaining assets relating
                                            to SAFE investments
Glustein, Steven        10/3/2023     0.7   Prepare comments on LedgerPrime workbook relating to remaining
                                            assets
Glustein, Steven        10/3/2023     0.8   Provide comments on brokerage summary presentation


Gordon, Robert          10/3/2023     0.4   Leads call to align on approach for presentation materials R.
                                            Gordon, K. Kearney, D. Hainline (A&M)
Gordon, Robert          10/3/2023     0.5   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, K.
                                            Montague, and D. Hainline (A&M)
Gordon, Robert          10/3/2023     0.1   Call to review diligence follow ups from Bidder 1 with R. Gordon and
                                            K. Kearney


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Gordon, Robert        10/3/2023     1.2   Review latest draft of 2.0 presentation materials over bidders

Gordon, Robert        10/3/2023     0.6   Teleconference with K. Kearney, R. Gordon(A&M) to discuss bid
                                          responses
Gordon, Robert        10/3/2023     0.4   Correspondence with PWP team on bidder #4 matters

Gordon, Robert        10/3/2023     1.8   Edit consolidated bidder supplementary requests

Gordon, Robert        10/3/2023     0.2   Discussion of approach to validate volume thresholds for Bidder #1
                                          with R. Gordon, K. Kearney, G. Walia, and B. Turton (A&M)
Hainline, Drew        10/3/2023     1.1   Call to review open questions and information requests for bidder #2
                                          with S. Kolodny, D. Hainline (A&M)
Hainline, Drew        10/3/2023     0.4   Leads call to align on approach for presentation materials R.
                                          Gordon, K. Kearney, D. Hainline (A&M)
Hainline, Drew        10/3/2023     0.7   Perform research on regulatory requirements to assess
                                          reasonableness of bidder #2 planned footprint
Hainline, Drew        10/3/2023     1.4   Call to review bidder information and draft follow-up questions for
                                          bidder #2 with S. Kolodny, D. Hainline (A&M)
Hainline, Drew        10/3/2023     1.2   Draft presentation materials for bidder #2 overview to support
                                          diligence efforts for NewCo considerations
Hainline, Drew        10/3/2023     0.6   Review drafted questions regarding KYC and AML policies to
                                          support diligence follow-ups
Hainline, Drew        10/3/2023     0.5   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, K.
                                          Montague, and D. Hainline (A&M)
Hainline, Drew        10/3/2023     0.8   Review updates on approach for board presentation materials to
                                          support diligence efforts
Hainline, Drew        10/3/2023     1.4   Draft follow-up questions for diligence on bidder #2


Hainline, Drew        10/3/2023     0.4   Call to review outstanding requests, potential new requests and
                                          follow up questions from second round of responses from bidder #2
                                          with S. Kolodny, D. Hainline (A&M)
Hainline, Drew        10/3/2023     0.8   Draft presentation materials for bidder #2 overview to support
                                          diligence efforts for acquirer background and management team
Kearney, Kevin        10/3/2023     0.4   Leads call to align on approach for presentation materials R.
                                          Gordon, K. Kearney, D. Hainline (A&M)
Kearney, Kevin        10/3/2023     0.5   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, K.
                                          Montague, and D. Hainline (A&M)
Kearney, Kevin        10/3/2023     0.3   Call to align on approach for volume analysis for Bidder #1 with K.
                                          Kearney and B. Turton (A&M)
Kearney, Kevin        10/3/2023     0.1   Call to review diligence follow ups from Bidder 1 with R. Gordon and
                                          K. Kearney
Kearney, Kevin        10/3/2023     0.6   Teleconference with K. Kearney, R. Gordon(A&M) to discuss bid
                                          responses
Kearney, Kevin        10/3/2023     0.9   Review updates to bidder diligence request list for bidder 2




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Professional             Date     Hours    Activity
Kearney, Kevin        10/3/2023     0.9   Review updates to bidder diligence request list for bidder 4

Kearney, Kevin        10/3/2023     2.1   Review updates to bidder diligence request list for bidder 1


Kearney, Kevin        10/3/2023     2.2   Review updates to bidder diligence request list for bidder 3

Kearney, Kevin        10/3/2023     0.2   Discussion of approach to validate volume thresholds for Bidder #1
                                          with R. Gordon, K. Kearney, G. Walia, and B. Turton (A&M)
Kearney, Kevin        10/3/2023     0.6   Meeting to review enforcement actions to include within the reverse
                                          due diligence deck with K. Kearney and J. Faett (A&M)
Kearney, Kevin        10/3/2023     1.3   Meeting to discuss additional analyzes related to future market
                                          outlook to include in reverse due diligence slide deck with K.
                                          Kearney and J. Faett (A&M)
Kolodny, Steven       10/3/2023     1.1   Call to review open questions and information requests for bidder #2
                                          with S. Kolodny, D. Hainline (A&M)
Kolodny, Steven       10/3/2023     1.4   Call to review bidder information and draft follow-up questions for
                                          bidder #2 with S. Kolodny, D. Hainline (A&M)
Kolodny, Steven       10/3/2023     1.8   Review proposal deck and prepare success criteria for bidder #2
                                          based on provided responses
Kolodny, Steven       10/3/2023     1.8   Review bidder responses for Company #2 to determine follow up
                                          and additional requests
Kolodny, Steven       10/3/2023     0.4   Call to review outstanding requests, potential new requests and
                                          follow up questions from second round of responses from bidder #2
                                          with S. Kolodny, D. Hainline (A&M)
McLoughlin, Miles     10/3/2023     0.8   Meeting to reconcile the slide deck with other bidder sections with K.
                                          Reagan and M. McLoughlin (A&M)
McLoughlin, Miles     10/3/2023     0.4   Meeting to discuss plans for further developing bidder #3 slides with
                                          K. Reagan and M. McLoughlin (A&M)
McLoughlin, Miles     10/3/2023     1.3   Assess total footprint of bidder #3 proposal and check for licenses in
                                          proposed jurisdictions
McLoughlin, Miles     10/3/2023     2.1   Check background of bidder #3 management team to assess
                                          relevant experience
McLoughlin, Miles     10/3/2023     1.3   Frame the slides with correct language and brevity re: bidder #3
                                          proposal
McLoughlin, Miles     10/3/2023     1.3   Adjust slide structure of bidder #3 section to match client request


Montague, Katie       10/3/2023     0.4   Leads call to align on approach for presentation materials K Reagan,
                                          J. Rybarczyk. B. Turton, K. Montague (A&M)
Montague, Katie       10/3/2023     0.3   Research regulatory landscape and applicable licensing and taxation
                                          laws in Switzerland
Montague, Katie       10/3/2023     0.8   Research regulatory landscape and applicable licensing and taxation
                                          laws in Singapore
Montague, Katie       10/3/2023     0.8   Research regulatory landscape and applicable licensing and taxation
                                          laws in Hong Kong
Montague, Katie       10/3/2023     0.9   Research regulatory landscape and applicable licensing and taxation
                                          laws in Cayman Islands

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Asset Sales
Professional               Date    Hours    Activity
Montague, Katie        10/3/2023     2.3   Prepare schedule of regulatory and compliance matters related to
                                           FTX 2.0 bidder proposals
Montague, Katie        10/3/2023     0.5   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, K.
                                           Montague, and D. Hainline (A&M)
Montague, Katie        10/3/2023     0.3   Research regulatory landscape and applicable licensing and taxation
                                           laws in China
Montague, Katie        10/3/2023     0.8   Research regulatory landscape and applicable licensing and taxation
                                           laws in Taiwan
Montague, Katie        10/3/2023     0.8   Research regulatory landscape and applicable licensing and taxation
                                           laws in Cyprus
Montague, Katie        10/3/2023     1.8   Review FTX 2.0 bidder diligence request list and provide feedback

Paolinetti, Sergio     10/3/2023     2.4   Update vesting schedule for largest post-ICO positions with Sygnia's
                                           new information
Paolinetti, Sergio     10/3/2023     1.3   Summarize information for leadership ahead of a meeting with
                                           potential buyer
Paolinetti, Sergio     10/3/2023     1.9   Update investment recommendations to be sent to the board of
                                           directors
Paolinetti, Sergio     10/3/2023     0.8   Search online for public information on FTX's assets and vesting
                                           schedules
Ramanathan, Kumanan    10/3/2023     0.4   Correspond with Galaxy asset management team re: OTC
                                           agreements and counterparty list
Ramanathan, Kumanan    10/3/2023     0.1   Review of request from Galaxy asset management re: fund
                                           administrator and provide approval
Ramanathan, Kumanan    10/3/2023     0.4   Review of Cumberland OTC agreement and provide approval to
                                           upload for the UCC
Ramanathan, Kumanan    10/3/2023     0.6   Review of Galaxy trading agreement and provide comments


Reagan, Kelsey         10/3/2023     0.8   Meeting to reconcile the slide deck with other bidder sections with K.
                                           Reagan and M. McLoughlin (A&M)
Reagan, Kelsey         10/3/2023     2.1   Review all support provided from bidder #3, all open requests and
                                           draft follow-up questions to bidder #3
Reagan, Kelsey         10/3/2023     0.4   Meeting to discuss plans for further developing bidder #3 slides with
                                           K. Reagan and M. McLoughlin (A&M)
Reagan, Kelsey         10/3/2023     0.4   Leads call to align on approach for presentation materials K Reagan,
                                           J. Rybarczyk. B. Turton, K. Montague (A&M)
Reagan, Kelsey         10/3/2023     1.3   Draft bidder #3 acquiring entities company background and highlight
                                           relevant experience
Reagan, Kelsey         10/3/2023     0.9   Review all acquiring entities and affiliate company profiles from
                                           Pitchbook
Reagan, Kelsey         10/3/2023     0.5   2.0 Rapid Assessment Leads Call with K. Reagan, J. Rybarczyk,
                                           and B. Turton (A&M)
Reagan, Kelsey         10/3/2023     2.6   Draft operation assessment for technology and infrastructure,
                                           payment gateways, KYL/AML and custody for bidder #3 using the
                                           bid and support / responses from the bidder.


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Professional               Date     Hours    Activity
Reagan, Kelsey          10/3/2023     2.3   Draft operation assessment for security, regulatory compliance,
                                            liquidity and risk management for bidder #3 using the bid and
                                            support / responses from the bidder.
Reagan, Kelsey          10/3/2023     1.2   Discuss follow-up questions to Bidders and expectations on
                                            responses. Walkthrough internal consistency on diligence
                                            presentation with J. Rybarczyk and K. Reagan (A&M)
Rybarczyk, Jodi         10/3/2023     0.4   Leads call to align on approach for presentation materials K Reagan,
                                            J. Rybarczyk. B. Turton, K. Montague (A&M)
Rybarczyk, Jodi         10/3/2023     0.3   Participate on call to discuss updates to bidder #4 and next steps
                                            with J. Rybarczyk, C. Alvarez (A&M)
Rybarczyk, Jodi         10/3/2023     1.9   Draft operational readiness assessment for bidder #4 - management
                                            team, regulatory compliance
Rybarczyk, Jodi         10/3/2023     2.3   Draft operational readiness assessment for bidder #4 - technology
                                            and infrastructure, KYC and AML
Rybarczyk, Jodi         10/3/2023     2.7   Draft operational readiness assessment for bidder #4 - security, risk
                                            management
Rybarczyk, Jodi         10/3/2023     1.8   Draft operational readiness assessment for bidder #4 - liquidity,
                                            custody
Rybarczyk, Jodi         10/3/2023     0.8   Compile FTX 2.0 diligence questions for all bidders

Rybarczyk, Jodi         10/3/2023     1.2   Discuss follow-up questions to Bidders and expectations on
                                            responses. Walkthrough internal consistency on diligence
                                            presentation with J. Rybarczyk and K. Reagan (A&M)
Rybarczyk, Jodi         10/3/2023     0.5   2.0 Rapid Assessment Leads Call with K. Reagan, J. Rybarczyk,
                                            and B. Turton (A&M)
Sivapalu, Anan          10/3/2023     1.7   Modify customer dimension table to incorporate market makers
                                            versus trader selection ability in dashboard
Sivapalu, Anan          10/3/2023     2.4   Audit existing data model to ensure it has all element required by the
                                            rapid assessment team
Sivapalu, Anan          10/3/2023     0.5   Review 2.0 Rapid Assessment database with A. Sivapalu and B.
                                            Turton (A&M)
Sivapalu, Anan          10/3/2023     2.7   Reconcile dashboard visuals to the data that exists in financial detail
                                            data table
Sivapalu, Anan          10/3/2023     0.2   Retrieve stablecoin/top rows data to provide to rapid assessment
                                            team
Titus, Adam             10/3/2023     0.8   Draft email regarding next steps to potential purchaser based on
                                            information revised
Titus, Adam             10/3/2023     1.4   Revise presentation for hedge fund entity based on update for 3rd
                                            party exchanges
Titus, Adam             10/3/2023     1.1   Provide comments to S. Glustein [A&M] on weekly PMO update
                                            slides
Titus, Adam             10/3/2023     0.8   Ensure PMO materials include latest weekly updates


Titus, Adam             10/3/2023     1.9   Review PMO materials for weekly distribution




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Asset Sales
Professional             Date     Hours    Activity
Tong, Crystal         10/3/2023     3.1   Draft observations and questions list based on the KYC & AML
                                          components in the bidders proposal
Tong, Crystal         10/3/2023     3.1   Review bidders' proposals to assess the KYC & AML components


Turton, Bobby         10/3/2023     0.4   Leads call to align on approach for presentation materials K Reagan,
                                          J. Rybarczyk. B. Turton, K. Montague (A&M)
Turton, Bobby         10/3/2023     0.3   Call to align on approach for volume analysis for Bidder #1 with K.
                                          Kearney and B. Turton (A&M)
Turton, Bobby         10/3/2023     0.5   2.0 Rapid Assessment Leads Call with K. Reagan, J. Rybarczyk,
                                          and B. Turton (A&M)
Turton, Bobby         10/3/2023     0.1   Call to review diligence follow ups from Bidder 1 with R. Gordon and
                                          K. Kearney
Turton, Bobby         10/3/2023     0.5   Review 2.0 Rapid Assessment database with A. Sivapalu and B.
                                          Turton (A&M)
Turton, Bobby         10/3/2023     2.6   Prepare diligence response and follow up list for bidder #1

Turton, Bobby         10/3/2023     2.2   Update diligence 2.0 presentation for bidder #1


Turton, Bobby         10/3/2023     2.3   Review diligence responses from bidder #1

Turton, Bobby         10/3/2023     1.3   Review financial statements from bidder #1

Turton, Bobby         10/3/2023     0.2   Discussion of approach to validate volume thresholds for Bidder #1
                                          with R. Gordon, K. Kearney, G. Walia, and B. Turton (A&M)
Walia, Gaurav         10/3/2023     0.2   Discussion of approach to validate volume thresholds for Bidder #1
                                          with R. Gordon, K. Kearney, G. Walia, and B. Turton (A&M)
Alvarez, Charles      10/4/2023     0.8   Call to review operational readiness assessment of bidder #4 with J.
                                          Rybarczyk, C. Alvarez (A&M)
Alvarez, Charles      10/4/2023     2.3   Revise operational assessment for bidder #4 to include open items
                                          and other relevant findings
Alvarez, Charles      10/4/2023     1.2   Revise bidder diligence deck to incorporate senior management
                                          partners to bidder #4
Alvarez, Charles      10/4/2023     0.4   Incorporate operational readiness for bidder #4 into bidder summary

Alvarez, Charles      10/4/2023     1.9   Prepare summary of partnerships related to bidder #4

Alvarez, Charles      10/4/2023     0.6   Review critical factors ranking for bidder assessment


Alvarez, Charles      10/4/2023     0.7   Prepare summary of launch timeline related to bidder #4

Alvarez, Charles      10/4/2023     0.7   Incorporate overview for bidder #4 into bidder summary


Alvarez, Charles      10/4/2023     1.4   Review and revise operational readiness assessment on bidder #4
                                          to incorporate critical factors rankings as appropriate




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Professional               Date    Hours    Activity
Beretta, Matthew       10/4/2023     0.8   Update diligence 2.0 presentation for general operational readiness
                                           and Bidder #1 specific information
Beretta, Matthew       10/4/2023     1.2   Continue updating diligence 2.0 presentation for operational
                                           readiness and Bidder #1
Beretta, Matthew       10/4/2023     0.3   Populate diligence 2.0 follow up list

Beretta, Matthew       10/4/2023     0.6   Analyze FTX trade volume data against earnout for Bidder #1

Callerio, Lorenzo      10/4/2023     0.3   Meeting with J. Sime (Embed), R. Perubhatla (RLKS), C. Sunne
                                           (S&C), R. Hershan and L. Callerio (A&M) re: data retention plan
Callerio, Lorenzo      10/4/2023     0.4   Participate in data retention discussion with L. Callerio (A&M) R.
                                           Perubhatla (FTX), J. Sime (Embed) and C. Dunne (S&C); Embed
                                           wind down updating open matters and next steps
Ernst, Reagan          10/4/2023     2.2   Review crypto assets in LedgerPrime wind-down analysis for
                                           LedgerPrime assets workbook
Ernst, Reagan          10/4/2023     2.1   Create receipts forecast tracker to streamline monthly forecast
                                           updates
Ernst, Reagan          10/4/2023     1.1   Update receipts forecast tracker with weekly closing positions

Ernst, Reagan          10/4/2023     1.3   Update receipts forecast tracker with new receivables forecasts


Ernst, Reagan          10/4/2023     2.7   Gather materials from the week for LedgerPrime weekly update slide
                                           deck
Glustein, Steven       10/4/2023     0.4   Prepare cash flow forecast relating to upcoming investment closings


Glustein, Steven       10/4/2023     2.3   Prepare recovery analysis template relating to venture investments

Glustein, Steven       10/4/2023     1.4   Review draft recovery analysis relating to fund investments

Gordon, Robert         10/4/2023     0.4   2.0 Rapid Assessment Leads Call to review diligence with R.
                                           Gordon, K. Kearney, and D. Hainline (A&M)
Gordon, Robert         10/4/2023     0.6   Call with PWP team (M. Rahmani, K. Cofsky) and R. Gordon, K.
                                           Kearney(A&M) over bidder #1 earnout
Gordon, Robert         10/4/2023     0.5   Teleconference with R. Gordon, S. Coverick(A&M) over status of
                                           bidder submission timeline
Gordon, Robert         10/4/2023     0.7   Teleconference with R. Gordon, K. Kearney(A&M) over analysis of
                                           bidder #1
Gordon, Robert         10/4/2023     1.4   Review new delivery of documents from bidder #4


Gordon, Robert         10/4/2023     0.9   Review audit report from bidder #2, focus on market risks

Gordon, Robert         10/4/2023     0.8   Review audit report from bidder #1, focus on market risks

Gordon, Robert         10/4/2023     1.6   Review new delivery of documents from bidder #3




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Asset Sales
Professional             Date     Hours    Activity
Gordon, Robert        10/4/2023     0.5   Call to review status and next steps for 2.0 Rapid Assessment
                                          presentation with R. Gordon, D. Hainline, and K. Kearney (A&M)
Gordon, Robert        10/4/2023     0.2   Discussion of approach to validate volume thresholds for Bidder #1
                                          with R. Gordon, K. Kearney, G. Walia, and B. Turton (A&M)
Hainline, Drew        10/4/2023     0.4   Review updated output and summaries of research performed by the
                                          Insight Center to support diligence efforts
Hainline, Drew        10/4/2023     1.4   Draft updates to bidder #2 presentation materials to support
                                          diligence efforts regarding security and risk management
Hainline, Drew        10/4/2023     0.7   Draft updates to bidder #2 presentation materials to support
                                          diligence efforts regarding payment gateways and custody
Hainline, Drew        10/4/2023     0.4   2.0 Rapid Assessment Leads Call to review diligence with R.
                                          Gordon, K. Kearney, and D. Hainline (A&M)
Hainline, Drew        10/4/2023     0.7   Review updates updated structure and content of bidder diligence
                                          presentation materials
Hainline, Drew        10/4/2023     0.7   Review bidder #2 cyber security staffing and custody plans to
                                          support diligence efforts
Hainline, Drew        10/4/2023     0.2   Update bidder #2 proposal analysis presentation materials to include
                                          outside findings
Hainline, Drew        10/4/2023     1.7   Review additional information received from bidder #2 for diligence
                                          requests
Hainline, Drew        10/4/2023     0.6   Review market overview materials for board presentation on 2.0
                                          diligence
Hainline, Drew        10/4/2023     0.8   Update the diligence response tracker for bidder #2 to support
                                          diligence efforts
Hainline, Drew        10/4/2023     0.3   Draft and send summary of next steps based on leads call for bidder
                                          #2
Hainline, Drew        10/4/2023     0.6   Draft list of findings and open items by success criteria for bidder #2


Hainline, Drew        10/4/2023     0.2   Review status presentation for JPL produced documents analysis

Hainline, Drew        10/4/2023     0.4   Update drafted company background and product offerings for
                                          bidder #2 board presentation materials
Hainline, Drew        10/4/2023     0.6   Call to align on next steps and updated approach for bidder #2
                                          presentation materials with S. Kolodny, D. Hainline (A&M)
Hainline, Drew        10/4/2023     1.4   Draft updates to bidder #2 presentation materials to support
                                          diligence efforts regarding planned technology and infrastructure
Hainline, Drew        10/4/2023     0.5   Call to review status and next steps for 2.0 Rapid Assessment
                                          presentation with R. Gordon, D. Hainline, and K. Kearney (A&M)
Hainline, Drew        10/4/2023     0.6   Call to review status and next steps for 2.0 Rapid Assessment
                                          presentation with D. Hainline, K. Kearney, B. Turton, J. Rybarczyk,
                                          K. Reagan (A&M)
Hershan, Robert       10/4/2023     0.8   Review Ledger Prime wind down plan, status of open items and next
                                          steps
Hershan, Robert       10/4/2023     0.3   Meeting with J. Sime (Embed), R. Perubhatla (RLKS), C. Sunne
                                          (S&C), R. Hershan and L. Callerio (A&M) re: data retention plan


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Asset Sales
Professional              Date    Hours    Activity
Johnston, David       10/4/2023     0.4   Review available materials and revised financials for FTX Europe
                                          asset sale
Johnston, David       10/4/2023     0.7   Preliminary review of updated historical Europe analysis


Johnston, David       10/4/2023     0.4   Coordinate next steps on FTX Europe asset sale

Kearney, Kevin        10/4/2023     0.3   2.0 Rapid Assessment Leads Call to review diligence with R.
                                          Gordon, K. Kearney, and D. Hainline (A&M)
Kearney, Kevin        10/4/2023     0.7   Review APAC regulatory updates for crypto companies in
                                          connection with market analysis for FTX 2.0
Kearney, Kevin        10/4/2023     0.6   Call with PWP team (M. Rahmani, K. Cofsky) and R. Gordon, K.
                                          Kearney(A&M) over bidder #1 earnout
Kearney, Kevin        10/4/2023     0.7   Review regulatory environment updates for US in connection with
                                          FTX 2.0 market analysis
Kearney, Kevin        10/4/2023     2.1   Review Pitchbook information summarizing recent crypto M&A deals
                                          for FTX 2.0 market analysis
Kearney, Kevin        10/4/2023     0.3   Call to align on approach for volume analysis for Bidder #1 with K.
                                          Kearney and B. Turton (A&M)
Kearney, Kevin        10/4/2023     1.2   Review updates to spot crypto volumes for market analysis
                                          associated with FTX 2.0
Kearney, Kevin        10/4/2023     2.4   Review centralized exchange volume trends analysis for FTX 2.0
                                          market analysis
Kearney, Kevin        10/4/2023     0.7   Teleconference with R. Gordon, K. Kearney(A&M) over analysis of
                                          bidder #1
Kearney, Kevin        10/4/2023     1.1   Review EU regulatory updates for FTX 2.0 market analysis for BOD
                                          presentation
Kearney, Kevin        10/4/2023     0.7   Review updates to futures crypto volumes for market analysis
                                          associated with FTX 2.0
Kearney, Kevin        10/4/2023     0.2   Discussion of approach to validate volume thresholds for Bidder #1
                                          with R. Gordon, K. Kearney, G. Walia, and B. Turton (A&M)
Kearney, Kevin        10/4/2023     0.6   Call to review status and next steps for 2.0 Rapid Assessment
                                          presentation with D. Hainline, K. Kearney, B. Turton, J. Rybarczyk,
                                          K. Reagan (A&M)
Kearney, Kevin        10/4/2023     0.5   Call to review status and next steps for 2.0 Rapid Assessment
                                          presentation with R. Gordon, D. Hainline, and K. Kearney (A&M)
Kolodny, Steven       10/4/2023     2.0   Populate bidder comparison deck with success criteria for bidder #2
                                          and review other bidders detail
Kolodny, Steven       10/4/2023     0.5   Review bidder success criteria for areas validated or key areas of
                                          concern
Kolodny, Steven       10/4/2023     0.6   Call to align on next steps and updated approach for bidder #2
                                          presentation materials with S. Kolodny, D. Hainline (A&M)
McLoughlin, Miles     10/4/2023     0.2   Meeting to discuss plans for the day and how to restructure slide
                                          deck with K. Reagan and M. McLoughlin (A&M)
McLoughlin, Miles     10/4/2023     1.4   Call to have a Call to go through the slide deck with K. Reagan and
                                          M. McLoughlin (A&M)


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Asset Sales
Professional               Date    Hours    Activity
McLoughlin, Miles      10/4/2023     2.3   Build slideshow according to new format

McLoughlin, Miles      10/4/2023     0.6   Recategorize items in PBC to match new formats


McLoughlin, Miles      10/4/2023     1.3   Rate bidder #3 based on critical categories

McLoughlin, Miles      10/4/2023     2.1   Check new bidder #3 responses to see where we can fill gaps

Montague, Katie        10/4/2023     0.3   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                           Rybarczyk. B. Turton (A&M)
Montague, Katie        10/4/2023     3.1   Research SEC sanctions against crypto companies and potential
                                           impact to FTX 2.0 bidder proposals
Mosley, Ed             10/4/2023     0.6   Review of updated bid comparison for FTX Cyprus


Ramanathan, Kumanan    10/4/2023     0.4   Call with J. Ray (FTX) to discuss crypto asset management matters

Ramanathan, Kumanan    10/4/2023     0.2   Call with W. Burt (Galaxy) to discuss fund administrator


Reagan, Kelsey         10/4/2023     0.2   Meeting to discuss plans for the day and how to restructure slide
                                           deck with K. Reagan and M. McLoughlin (A&M)
Reagan, Kelsey         10/4/2023     1.2   Update format of bidder presentation for bidder #3 to split
                                           assessment by critical factors
Reagan, Kelsey         10/4/2023     1.4   Call to have a Call to go through the slide deck with K. Reagan and
                                           M. McLoughlin (A&M)
Reagan, Kelsey         10/4/2023     0.3   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                           Rybarczyk. B. Turton (A&M)
Reagan, Kelsey         10/4/2023     2.1   Update the data request list to reflect the updated responses and
                                           status
Reagan, Kelsey         10/4/2023     3.1   Review round 2 of Bidder #3 responses to the data requests

Reagan, Kelsey         10/4/2023     1.4   Review the provided bid and support to identify the key factors for
                                           risk management and technology/infrastructure for bidder #3
Reagan, Kelsey         10/4/2023     0.6   Call to review status and next steps for 2.0 Rapid Assessment
                                           presentation with D. Hainline, K. Kearney, B. Turton, J. Rybarczyk,
                                           K. Reagan (A&M)
Reagan, Kelsey         10/4/2023     3.2   Review the provided bid and support to identify the key factors for
                                           security, regulatory compliance and liquidity for bidder #3
Reagan, Kelsey         10/4/2023     0.5   Call to review status and next steps for 2.0 Rapid Assessment
                                           presentation with B. Turton, J. Rybarczyk, and K. Reagan (A&M)
Rybarczyk, Jodi        10/4/2023     0.8   Call to review operational readiness assessment of bidder #4 with J.
                                           Rybarczyk, C. Alvarez (A&M)
Rybarczyk, Jodi        10/4/2023     3.2   Compare information provided by bidder to critical factors criteria
                                           and identify open items
Rybarczyk, Jodi        10/4/2023     0.3   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                           Rybarczyk. B. Turton (A&M)


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Professional                Date    Hours    Activity
Rybarczyk, Jodi         10/4/2023     1.7   Draft operational readiness assessment for bidder #4 - custody,
                                            payment gateways
Rybarczyk, Jodi         10/4/2023     1.3   Adjust FTX 2.0 diligence questions list to include identified open
                                            items
Rybarczyk, Jodi         10/4/2023     0.7   Review critical factors rankings and related criteria

Rybarczyk, Jodi         10/4/2023     0.6   Call to review status and next steps for 2.0 Rapid Assessment
                                            presentation with D. Hainline, K. Kearney, B. Turton, J. Rybarczyk,
                                            K. Reagan (A&M)
Rybarczyk, Jodi         10/4/2023     0.5   Call to review status and next steps for 2.0 Rapid Assessment
                                            presentation with B. Turton, J. Rybarczyk, and K. Reagan (A&M)
Sivapalu, Anan          10/4/2023     0.2   Implement ability to choose customer type in the dashboard

Stockmeyer, Cullen      10/4/2023     1.4   Prepare analysis of data related to historical prices for liquidation
                                            model from source 1
Stockmeyer, Cullen      10/4/2023     1.4   Prepare analysis of data related to historical prices for liquidation
                                            model from source 2
Titus, Adam             10/4/2023     1.2   Review SAFT / SAFE agreements authority details to provide
                                            response on contact details of hedge fund entity
Titus, Adam             10/4/2023     1.4   Provide edits to PMO slides to S. Glustein [A&M] related to weekly
                                            update of venture workstream
Titus, Adam             10/4/2023     0.7   Prepare agenda for weekly update call on venture workstream topics

Turton, Bobby           10/4/2023     0.4   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                            Rybarczyk. B. Turton (A&M)
Turton, Bobby           10/4/2023     0.3   Call to align on approach for volume analysis for Bidder #1 with K.
                                            Kearney and B. Turton (A&M)
Turton, Bobby           10/4/2023     1.9   Update diligence 2.0 presentation for operational readiness and
                                            Bidder #1
Turton, Bobby           10/4/2023     0.8   Prepare working group list for 2.0 diligence


Turton, Bobby           10/4/2023     0.8   Analyze FTX trade volume data against earnout for Bidder #1

Turton, Bobby           10/4/2023     0.5   Call to review status and next steps for 2.0 Rapid Assessment
                                            presentation with B. Turton, J. Rybarczyk, and K. Reagan (A&M)
Turton, Bobby           10/4/2023     0.6   Call to review status and next steps for 2.0 Rapid Assessment
                                            presentation with D. Hainline, K. Kearney, B. Turton, J. Rybarczyk,
                                            K. Reagan (A&M)
Walia, Gaurav           10/4/2023     0.2   Discussion of approach to validate volume thresholds for Bidder #1
                                            with R. Gordon, K. Kearney, G. Walia, and B. Turton (A&M)
Alvarez, Charles        10/5/2023     1.3   Discussion to finalize diligence request follow ups for bidder #4 with
                                            J. Rybarczyk, C. Alvarez (A&M)
Alvarez, Charles        10/5/2023     0.4   Correspond with M. Mclaughlin (A&M) regarding bidder #4
                                            technology and security data received
Alvarez, Charles        10/5/2023     2.6   Prepare follow up request list based on bidder #4 responses



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Professional              Date     Hours    Activity
Alvarez, Charles       10/5/2023     1.8   Review bidder #4 responses to all diligence data requests

Balmelli, Gioele       10/5/2023     0.4   Call with A. Pellizzari, T. Luginbuehl, R. Bischof (L&S), E. Simpson,
                                           O. de Vito Piscicelli (S&C), D. Knezevic, T. Zemp (HB), G. Balmelli,
                                           D. Johnston, M. van den Belt (A&M) on update on FTX Europe asset
                                           sale
Beretta, Matthew       10/5/2023     3.2   Update diligence 2.0 presentation to reflect new information from
                                           Bidder #1 uploads
Beretta, Matthew       10/5/2023     2.3   Review of diligence 2.0 and helped with follow up responses from
                                           Bidder #2
Beretta, Matthew       10/5/2023     0.3   2.0 Rapid Assessment planning call with B. Turton and M. Beretta
                                           (A&M)
Beretta, Matthew       10/5/2023     1.4   Research bidder #1's regulatory licenses and possible expansion
                                           zones
Callerio, Lorenzo      10/5/2023     0.4   Prepare the Embed weekly update report

Coverick, Steve        10/5/2023     1.1   Call re: 2.0 sale process update with PWP (K. Cofsky and others),
                                           A&M (E. Mosley, S. Coverick, K. Ramanathan), FTX (J. Ray), S&C
                                           (A. Dietderich), and UCC / AHC members and advisors
Ernst, Reagan          10/5/2023     1.5   Reconcile fund funded amounts from PWP funded investment
                                           summary tracker
Ernst, Reagan          10/5/2023     1.3   Reconcile equity funded amounts from PWP funded investment
                                           summary tracker
Ernst, Reagan          10/5/2023     1.2   Detail the market trends that have caused movements in FTX
                                           brokerage positions
Ernst, Reagan          10/5/2023     0.8   Reconcile loan funded amounts from PWP funded investment
                                           summary tracker
Ernst, Reagan          10/5/2023     1.6   Organize closing position finalization numbers in investment tracker


Ernst, Reagan          10/5/2023     1.1   Publish final copy of ventures receipts forecast for cash team

Glustein, Steven       10/5/2023     1.8   Update recovery analysis model regarding LedgerPrime relating to
                                           crypto assets held at third parties
Glustein, Steven       10/5/2023     1.4   Update recovery analysis model regarding LedgerPrime relating to
                                           wind-down costs
Glustein, Steven       10/5/2023     0.9   Update recovery analysis model regarding LedgerPrime relating to
                                           SAFE investments
Glustein, Steven       10/5/2023     1.8   Prepare summary of recovery analysis model for plan update
                                           materials
Glustein, Steven       10/5/2023     0.7   Review dissolution of SAFE investment relating to venture book

Glustein, Steven       10/5/2023     0.8   Provide comments on digital assets reconciliation relating to
                                           LedgerPrime
Glustein, Steven       10/5/2023     2.6   Review digital assets reconciliation relating to LedgerPrime




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Gordon, Robert        10/5/2023     1.6   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline, K. Montague (A&M)
Gordon, Robert        10/5/2023     0.6   Teleconference with R. Gordon, K. Kearney(A&M) earn out proposal
                                          from bidder #1
Gordon, Robert        10/5/2023     0.7   Review package for KYC & cybersecurity teams to review

Gordon, Robert        10/5/2023     1.4   Prepare for bidder #3 call by reviewing their bid responses

Gordon, Robert        10/5/2023     1.1   Review latest bidder follow up requests


Hainline, Drew        10/5/2023     1.0   Call to review additional follow-up diligence requests for bidder #2
                                          with K. Kearney, D. Hainline (A&M)
Hainline, Drew        10/5/2023     1.1   Update follow-up diligence questions for bidder #2 based on
                                          additional information received
Hainline, Drew        10/5/2023     1.6   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline, K. Montague (A&M)
Hainline, Drew        10/5/2023     0.2   Call to discuss draft of follow-up questions for bidder #2 with K.
                                          Kearney, D. Hainline (A&M)
Hainline, Drew        10/5/2023     0.3   Review exchange data to resolve open questions for intercompany
                                          balances with non-debtor entities
Hainline, Drew        10/5/2023     1.4   Continue to review additional information received from bidder #2 for
                                          diligence requests
Hainline, Drew        10/5/2023     0.4   Call to review next steps for SME reviews with K. Kearney, K.
                                          Reagan, D. Hainline (A&M)
Hainline, Drew        10/5/2023     0.8   Continue to update the diligence response tracker for bidder #2 to
                                          support diligence efforts
Hainline, Drew        10/5/2023     0.3   Review license overview and confirmations received from bidder #2
                                          to support diligence efforts
Hainline, Drew        10/5/2023     0.4   Review follow-up request listing to support diligence for bidder #3

Hainline, Drew        10/5/2023     0.4   Correspondence with team leads to align on materials for review
                                          from SMEs
Hainline, Drew        10/5/2023     1.1   Update bidder #2 analysis for 2.0 Rapid Assessment board
                                          presentation
Hainline, Drew        10/5/2023     0.4   Create package of relevant documents for cybersecurity SME review

Hainline, Drew        10/5/2023     0.2   Review follow-up request listing to support diligence for bidder #1


Hainline, Drew        10/5/2023     0.2   Review follow-up request listing to support diligence for bidder #4

Hainline, Drew        10/5/2023     0.7   Finalize follow-up diligence questions for bidder #2


Hainline, Drew        10/5/2023     0.4   Update 2.0 Rapid Assessment workstream open items




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Hainline, Drew        10/5/2023     0.7   Call to review additional information on bidder #2 and update follow-
                                          up diligence questions with D. Hainline, S. Kolodny (A&M)
Johnston, David       10/5/2023     0.4   Call with A. Pellizzari, T. Luginbuehl, R. Bischof (L&S), E. Simpson,
                                          O. de Vito Piscicelli (S&C), D. Knezevic, T. Zemp (HB), G. Balmelli,
                                          D. Johnston, M. van den Belt (A&M) on update on FTX Europe asset
                                          sale
Kearney, Kevin        10/5/2023     1.0   Call to review additional follow-up diligence requests for bidder #2
                                          with K. Kearney, D. Hainline (A&M)
Kearney, Kevin        10/5/2023     1.3   Review reverse diligence success criteria/factors for critical factor #8
                                          for BOD presentation
Kearney, Kevin        10/5/2023     0.4   Call to review next steps for SME reviews with K. Kearney, K.
                                          Reagan, D. Hainline (A&M)
Kearney, Kevin        10/5/2023     1.1   Review reverse diligence success criteria/factors for critical factor #4
                                          for BOD presentation
Kearney, Kevin        10/5/2023     0.8   Review reverse diligence success criteria/factors for critical factor #7
                                          for BOD presentation
Kearney, Kevin        10/5/2023     1.6   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline, K. Montague (A&M)
Kearney, Kevin        10/5/2023     1.2   Review reverse diligence success criteria/factors for critical factor #1
                                          for BOD presentation
Kearney, Kevin        10/5/2023     1.4   Review reverse diligence success criteria/factors for critical factor #2
                                          for BOD presentation
Kearney, Kevin        10/5/2023     0.7   Review reverse diligence success criteria/factors for critical factor #3
                                          for BOD presentation
Kearney, Kevin        10/5/2023     1.6   Review reverse diligence success criteria/factors for critical factor #6
                                          for BOD presentation
Kearney, Kevin        10/5/2023     0.6   Review reverse diligence success criteria/factors for critical factor #5
                                          for BOD presentation
Kearney, Kevin        10/5/2023     0.2   Call to discuss draft of follow-up questions for bidder #2 with K.
                                          Kearney, D. Hainline (A&M)
Kearney, Kevin        10/5/2023     0.6   Teleconference with R. Gordon, K. Kearney(A&M) earn out proposal
                                          from bidder #1
Kearney, Kevin        10/5/2023     0.7   Review follow up items for Bidder #1 with K. Kearney and B. Turton
                                          (A&M)
Kolodny, Steven       10/5/2023     0.8   perform research on bidder #2 management team to include in
                                          diligence materials
Kolodny, Steven       10/5/2023     0.6   review status of information mapping from proposal to diligence
                                          request file
Kolodny, Steven       10/5/2023     0.9   Review latest round of bidder responses to bidder request list

Kolodny, Steven       10/5/2023     0.9   Populate bidder proposal deck with key findings re: updated bidder
                                          info
Kolodny, Steven       10/5/2023     0.7   Call to review additional information on bidder #2 and update follow-
                                          up diligence questions with D. Hainline, S. Kolodny (A&M)
McLoughlin, Miles     10/5/2023     0.6   Meeting to plan for the day to wrap up a draft of slide deck for further
                                          review with K. Reagan and M. McLoughlin (A&M)

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McLoughlin, Miles      10/5/2023     0.9   Meeting to discuss next steps for the rest of the night with K.
                                           Reagan and M. McLoughlin (A&M)
McLoughlin, Miles      10/5/2023     0.2   Meeting to discuss security team deliverable with K. Reagan and M.
                                           McLoughlin (A&M)
McLoughlin, Miles      10/5/2023     2.1   Enter findings into slide deck that show why a rating was given

McLoughlin, Miles      10/5/2023     1.1   Adjust diligence request list with updated responses for bidder #3

McLoughlin, Miles      10/5/2023     0.4   Update data request list and open items on slides


McLoughlin, Miles      10/5/2023     2.3   Reconcile requests for the security team to review

Montague, Katie        10/5/2023     1.2   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                           Hainline, K. Montague (A&M)
Mosley, Ed             10/5/2023     1.4   Discussion with K.Cofsky (PWP) and S.Coverick (A&M) regarding
                                           RSA draft and FTX 2.0
Mosley, Ed             10/5/2023     0.6   Review and provide comments to draft of FTX Turkey report for
                                           regulator
Mosley, Ed             10/5/2023     1.1   Participate in FTX 2.0 update meeting regarding bid diligence and
                                           selection process for stalking horse with S&C, PWP, UCC members,
                                           PH (E.Gilad, others), FTI (various), J.Ray (FTX), and A&M
                                           (S.Coverick, E.Mosley, others)
Paolinetti, Sergio     10/5/2023     1.1   Update PMO slides with 9/29 pricing and vesting as of 10/5

Reagan, Kelsey         10/5/2023     0.6   Meeting to plan for the day to wrap up a draft of slide deck for further
                                           review with K. Reagan and M. McLoughlin (A&M)
Reagan, Kelsey         10/5/2023     2.1   Review the provided bid and support to identify the key factors for
                                           management team and advisors for bidder #3
Reagan, Kelsey         10/5/2023     0.4   Call to review next steps for SME reviews with K. Kearney, K.
                                           Reagan, D. Hainline (A&M)
Reagan, Kelsey         10/5/2023     0.9   Meeting to discuss next steps for the rest of the night with K.
                                           Reagan and M. McLoughlin (A&M)
Reagan, Kelsey         10/5/2023     1.6   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk. B.
                                           Turton (A&M)
Reagan, Kelsey         10/5/2023     0.2   Meeting to discuss security team deliverable with K. Reagan and M.
                                           McLoughlin (A&M)
Reagan, Kelsey         10/5/2023     1.3   Create a review package for the AML/KYC, technology and
                                           cybersecurity specialists to assess the Bidder's environment and
                                           platforms
Reagan, Kelsey         10/5/2023     3.2   Review the provided bid and support to identify the key factors for
                                           KYC/AML, custody and payment gateways for bidder #3
Reagan, Kelsey         10/5/2023     2.9   Update diligence presentation for bidder #3 to include an
                                           assessment on data provided for security, regulatory compliance,
                                           liquidity, management team and risk management
Reagan, Kelsey         10/5/2023     2.3   Update diligence presentation for bidder #3 to include an
                                           assessment on data provided for technology/infrastructure,
                                           KYC/AML, custody and payment gateways

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Professional                Date    Hours    Activity
Rybarczyk, Jodi         10/5/2023     1.3   Discussion to finalize diligence request follow ups for bidder #4 with
                                            J. Rybarczyk, C. Alvarez (A&M)
Rybarczyk, Jodi         10/5/2023     2.1   Review responses to FTX 2.0 bidder data request list from bidder #4
                                            and update data request list
Rybarczyk, Jodi         10/5/2023     1.6   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk. B.
                                            Turton (A&M)
Rybarczyk, Jodi         10/5/2023     0.7   Review insight center executive profiles output for bidder #4

Rybarczyk, Jodi         10/5/2023     2.7   Revise operational readiness assessment to note open items


Sivapalu, Anan          10/5/2023     1.8   Refresh coin data on SSAS database to check for duplicates

Titus, Adam             10/5/2023     0.8   Review milestone information on technology steps hit in
                                            accomplishing the goals needed
Titus, Adam             10/5/2023     0.8   Draft summary key highlights to include in update materials for
                                            hedge fund entity
Titus, Adam             10/5/2023     1.3   Draft bullets to include in update materials for hedge fund entity


Turton, Bobby           10/5/2023     1.6   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk. B.
                                            Turton (A&M)
Turton, Bobby           10/5/2023     0.3   2.0 Rapid Assessment planning call with M. Beretta and B. Turton
                                            (A&M)
Turton, Bobby           10/5/2023     0.7   Review follow up items for Bidder #1 with K. Kearney and B. Turton
                                            (A&M)
Turton, Bobby           10/5/2023     1.2   Research bidder #2's regulatory licenses

Turton, Bobby           10/5/2023     2.3   Review of diligence 2.0 follow up responses form Bidder #2


Turton, Bobby           10/5/2023     3.1   Update diligence 2.0 presentation for new information

van den Belt, Mark      10/5/2023     0.4   Call with A. Pellizzari, T. Luginbuehl, R. Bischof (L&S), E. Simpson,
                                            O. de Vito Piscicelli (S&C), D. Knezevic, T. Zemp (HB), G. Balmelli,
                                            D. Johnston, M. van den Belt (A&M) on update on FTX Europe asset
                                            sale
Alvarez, Charles        10/6/2023     2.9   Review and quality check reverse diligence deck for comments
                                            provided by J. Rybarczyk (A&M)
Beretta, Matthew        10/6/2023     0.9   Review and edit initial earnout model for Bidder #1

Beretta, Matthew        10/6/2023     1.4   Analyze FTX trade volume data against earnout for Bidder #1

Beretta, Matthew        10/6/2023     0.6   Analyze responses in virtual data room for Bidder #2


Callerio, Lorenzo       10/6/2023     0.4   Review the updated parrot summary provided by S. Paolinetti (A&M)

Chambers, Henry         10/6/2023     2.7   Prepare reverse bidder diligence review on KYC/AML program of
                                            bidders

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Chambers, Henry       10/6/2023     0.4   Prepare response to additional bidder diligence on KYC process

Chambers, Henry       10/6/2023     0.9   Review process/pan for reverse bidder diligence


Ernst, Reagan         10/6/2023     2.3   Update data on Alameda dissolution position in receipt forecast

Ernst, Reagan         10/6/2023     0.9   Create graphics that portray Alameda investment overview

Ernst, Reagan         10/6/2023     0.7   Create graphics that portray recently closed position analysis for
                                          investments overview slide deck
Flynn, Matthew        10/6/2023     0.2   Call with M. Flynn, K. Kearney (A&M) to discuss FTX 2.0 diligence
                                          process
Glustein, Steven      10/6/2023     0.8   Update weekly status presentation relating to LedgerPrime updates


Glustein, Steven      10/6/2023     2.3   Update incentive fee analysis relating to venture investment
                                          recoveries
Glustein, Steven      10/6/2023     1.6   Update LedgerPrime remaining assets workbook relating to crypto
                                          assets
Glustein, Steven      10/6/2023     1.7   Prepare summary of post-petition cash activity relating to
                                          LedgerPrime
Gordon, Robert        10/6/2023     0.6   Discussion with M. Rahmani, R. Moon(PWP), R. Gordon, K.
                                          Kearney(A&M) over analysis required on bidder #1
Gordon, Robert        10/6/2023     0.4   Discussion with M. Rahmani, R. Moon(PWP), R. Gordon, K.
                                          Kearney(A&M) over follow up questions to bidders
Gordon, Robert        10/6/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline (A&M)
Gordon, Robert        10/6/2023     1.3   Review consolidated request list for bidder follow ups provided by
                                          PWP
Gordon, Robert        10/6/2023     0.6   Call to review Bid # 1 with PwP with B. Turton, K. Kearney, and R.
                                          Gordon (A&M) and K. Cofsky, M. Rahmani, R. Moon, and J. Darby
                                          (PwP-
Gordon, Robert        10/6/2023     1.5   Meeting to discuss follow-up questions with Bidder #3, PWP
                                          investment team, R. Gordon, K. Kearney, and K. Reagan (A&M)
Hainline, Drew        10/6/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline (A&M)
Hainline, Drew        10/6/2023     0.6   Draft summary of outside research on deal contributions for bidder
                                          #2
Hainline, Drew        10/6/2023     0.6   Review status on open review items to support diligence efforts


Hainline, Drew        10/6/2023     0.6   Review updates to presentation materials for 2.0 Rapid Assessment

Hainline, Drew        10/6/2023     0.2   Review updates and documentation for LFUSA and LEX requests

Hershan, Robert       10/6/2023     0.4   Call with Adam Titus (A&M) to review open tasks staffing, and next
                                          steps


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Hershan, Robert       10/6/2023     1.3   Review and edit wind-down weekly update deck

Johnston, David       10/6/2023     0.7   Research available comparable assets for benchmarking FTX
                                          Europe asset sale
Johnston, David       10/6/2023     0.4   Review proposed materials related to FTX Europe asset sale

Kearney, Kevin        10/6/2023     1.5   Meeting to discuss follow-up questions with Bidder #3, PWP
                                          investment team, R. Gordon, K. Kearney, and K. Reagan (A&M)
Kearney, Kevin        10/6/2023     0.4   Discussion with M. Rahmani, R. Moon(PWP), R. Gordon, K.
                                          Kearney(A&M) over follow up questions to bidders
Kearney, Kevin        10/6/2023     0.8   Review FTX database export of targeted individuals for FTX 2.0
                                          reverse diligence review of exchange activity
Kearney, Kevin        10/6/2023     0.6   Discussion with M. Rahmani, R. Moon(PWP), R. Gordon, K.
                                          Kearney(A&M) over analysis required on bidder #1
Kearney, Kevin        10/6/2023     0.6   Call to review FTX volume metrics for Bidder #1 earnout with B.
                                          Turton and K. Kearney (A&M)
Kearney, Kevin        10/6/2023     1.2   Review market trends to compare against historical revenue data for
                                          FTX for bidder 1 earn-out
Kearney, Kevin        10/6/2023     0.7   Discuss FTX trading volumes and earnout for Bidder #1 with K.
                                          Kearney and B. Turton (A&M)
Kearney, Kevin        10/6/2023     0.3   Meeting to debrief the follow-up call with Bidder #3 with K. Kearney
                                          and K. Reagan (A&M)
Kearney, Kevin        10/6/2023     0.8   Review balance details for specific accounts associated with FTX
                                          2.0 bidders
Kearney, Kevin        10/6/2023     0.2   Call with M. Flynn, K. Kearney (A&M) to discuss FTX 2.0 diligence
                                          process
Kearney, Kevin        10/6/2023     0.6   Review historical FTX data associated with bidder 1 earn-out


Kearney, Kevin        10/6/2023     0.4   Review earn-out sensitivity analysis for bidder 1

Kearney, Kevin        10/6/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline (A&M)
Kolodny, Steven       10/6/2023     0.8   Continue to review status of information mapping from proposal to
                                          diligence request file
Kolodny, Steven       10/6/2023     0.8   Continue to perform research on bidder #2 management team to
                                          include in diligence materials
McLoughlin, Miles     10/6/2023     0.5   Meeting to go over notes taken from bidder #3 call with K. Reagan
                                          and M. Mcloughlin (A&M)
McLoughlin, Miles     10/6/2023     0.9   Meeting to close follow-up requests with K. Reagan and M.
                                          Mcloughlin (A&M)
McLoughlin, Miles     10/6/2023     1.1   Review slides to check for formatting and grammar


Montague, Katie       10/6/2023     0.3   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                          Rybarczyk. B. Turton (A&M)




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Mosley, Ed             10/6/2023     0.2   Review of Ledger Prime status presentation for management
                                           regarding wind down
Ramanathan, Kumanan    10/6/2023     0.3   Call with M. Marcantonio (Galaxy) to discuss legal agreement
                                           matters
Ramanathan, Kumanan    10/6/2023     0.4   Call with L. Salas Nunez, K. Ramanathan (A&M) to discuss user
                                           withdrawal activity
Reagan, Kelsey         10/6/2023     3.2   Update bidder presentation to reflect the responses to the follow up
                                           questions discussed on the bidder #3 discussion
Reagan, Kelsey         10/6/2023     1.5   Meeting to discuss follow-up questions with Bidder #3, PWP
                                           investment team, R. Gordon, K. Kearney, and K. Reagan (A&M)
Reagan, Kelsey         10/6/2023     1.9   Update the open follow up questions and remove the items closed
                                           on the call with the bidder
Reagan, Kelsey         10/6/2023     0.3   Meeting to debrief the follow-up call with Bidder #3 with K. Kearney
                                           and K. Reagan (A&M)
Reagan, Kelsey         10/6/2023     0.5   Meeting to go over notes taken from bidder #3 call with K. Reagan
                                           and M. Mcloughlin (A&M)
Reagan, Kelsey         10/6/2023     0.9   Meeting to close follow-up requests with K. Reagan and M.
                                           Mcloughlin (A&M)
Rybarczyk, Jodi        10/6/2023     0.3   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                           Rybarczyk. B. Turton (A&M)
Rybarczyk, Jodi        10/6/2023     2.7   Analyze results of wildcard searches for bidder parties in FTX
                                           customer accounts and transactions
Rybarczyk, Jodi        10/6/2023     0.4   Review insight center executive profiles output for bidder #4 -
                                           affiliated parties
Rybarczyk, Jodi        10/6/2023     1.4   Review operational assessment slides and draft comments

Rybarczyk, Jodi        10/6/2023     0.4   Review the Relativity search results for bidder #4


Sivapalu, Anan         10/6/2023     0.2   Discussion of approach to validate volume thresholds for Bidder #1
                                           with A. Sivapalu and B. Turton (A&M)
Sivapalu, Anan         10/6/2023     0.5   Follow-up discussion of approach to validate volume thresholds for
                                           Bidder #1 with A. Sivapalu and B. Turton (A&M)
Sivapalu, Anan         10/6/2023     1.4   Write sql code to eliminate all duplicate entries in the publicly
                                           available coin data
Sivapalu, Anan         10/6/2023     0.8   Propagate fixes to sql code to ensure that there are no duplicate
                                           values in dashboard
Sivapalu, Anan         10/6/2023     2.1   Create new data model with all financial detail related tables to
                                           create dashboard
Sivapalu, Anan         10/6/2023     1.1   Look into duplicated coin data sent by investment team to identify
                                           underlying issue
Sivapalu, Anan         10/6/2023     1.6   Create dax code to dynamically calculate top elements using
                                           parameters
Sivapalu, Anan         10/6/2023     2.4   Create dax code to show chosen filters on the dashboard via text




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Sivapalu, Anan          10/6/2023     1.7   Implement dimensional data in data model to reflect bidder trading
                                            pairs
Stockmeyer, Cullen      10/6/2023     1.6   Prepare pricing information for gaps in machine sources for CRO
                                            deck
Titus, Adam             10/6/2023     1.9   Review draft of presentation materials provided by S. Glustein [A&M]
                                            for hedge fund entity update
Titus, Adam             10/6/2023     1.7   Edit presentation materials for hedge fund entity in response to
                                            questions from R. Hershan [A&M]
Titus, Adam             10/6/2023     1.1   Draft issues list of market overview section for 2.0 materials for K.
                                            Kearney [A&M]
Titus, Adam             10/6/2023     1.4   Build separate schedule related to hedge fund entity update

Titus, Adam             10/6/2023     0.7   Draft email in response to potential purchaser on bid


Tong, Crystal           10/6/2023     1.2   Review additional documents and information submitted by bidders'
                                            to assess the KYC & AML components
Tong, Crystal           10/6/2023     2.8   Draft additional assessment and questions based on the KYC &
                                            AML documents submitted by bidders
Turton, Bobby           10/6/2023     0.5   Follow-up discussion of approach to validate volume thresholds for
                                            Bidder #1 with A. Sivapalu and B. Turton (A&M)
Turton, Bobby           10/6/2023     0.2   Discussion of approach to validate volume thresholds for Bidder #1
                                            with A. Sivapalu and B. Turton (A&M)
Turton, Bobby           10/6/2023     0.7   Discuss FTX trading volumes and earnout for Bidder #1 with K.
                                            Kearney and B. Turton (A&M)
Turton, Bobby           10/6/2023     0.3   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                            Rybarczyk. B. Turton (A&M)
Turton, Bobby           10/6/2023     0.6   Call to review FTX volume metrics for Bidder #1 earnout with B.
                                            Turton and K. Kearney (A&M)
Turton, Bobby           10/6/2023     0.3   Check virtual data room for Bidder #2

Turton, Bobby           10/6/2023     1.6   Analyze FTX trade volume data against earnout for Bidder #1


Turton, Bobby           10/6/2023     1.1   Build initial earnout model for Bidder #1

Turton, Bobby           10/6/2023     0.2   Discussion of volume data and approach to validate volume
                                            thresholds for Bidder #1 with A. Sivapalu and B. Turton (A&M)
Turton, Bobby           10/6/2023     0.6   Call to review Bid # 1 with PwP with B. Turton, K. Kearney, and R.
                                            Gordon (A&M) and K. Cofsky, M. Rahmani, R. Moon, and J. Darby
                                            (PwP-
Beretta, Matthew        10/7/2023     1.1   Compare earnout analysis presentation for bidder # 1 to pay-out
                                            tranches
Beretta, Matthew        10/7/2023     1.7   Review new data submissions in virtual data room for Bidder #1

Hainline, Drew          10/7/2023     0.7   Review diligence responses from bidder #2 to support 2.0 Rapid
                                            Assessment


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Sivapalu, Anan          10/7/2023     2.9   Create dashboard in PowerBI using data model containing monthly
                                            financial detail data
Sivapalu, Anan          10/7/2023     1.2   Modify existing dax code to reflect parameter driven dynamically
                                            choosable metric calculation
Sivapalu, Anan          10/7/2023     0.3   Review revised FTX volume dashboard with A. Sivapalu and B.
                                            Turton (A&M)
Sivapalu, Anan          10/7/2023     1.4   Write wrapper dax code to dynamically select chosen metric to
                                            calculate
Sivapalu, Anan          10/7/2023     1.8   Check visuals for missing elements/malfunctioning visuals


Titus, Adam             10/7/2023     1.9   Review of plan materials for comment in preparation for creditor
                                            meeting
Turton, Bobby           10/7/2023     1.1   Review new data submission in virtual data room for Bidder #1


Turton, Bobby           10/7/2023     0.6   Review revised FTX volume dashboard with A. Sivapalu and B.
                                            Turton (A&M)
Turton, Bobby           10/7/2023     2.2   Prepare earnout analysis presentation for bidder # 1


Gordon, Robert          10/8/2023     1.1   Teleconference with B. Turton, K. Kearney, R. Gordon(A&M) to
                                            review bidder #1 earn out presentation
Gordon, Robert          10/8/2023     0.6   Teleconference with B. Turton, R. Gordon(A&M) to review bidder #1
                                            earn out presentation
Gordon, Robert          10/8/2023     0.8   Discussion with R. Gordon, K. Kearney(A&M) over edits to the
                                            bidder responses
Gordon, Robert          10/8/2023     0.6   Teleconference with R. Gordon, B. Turton(A&M) over bidder #1
                                            earnout analysis
Gordon, Robert          10/8/2023     0.7   Review updated bidder #1 earnout analysis


Kearney, Kevin          10/8/2023     1.1   Teleconference with B. Turton, K. Kearney, R. Gordon(A&M) to
                                            review bidder #1 earn out presentation
Kearney, Kevin          10/8/2023     0.8   Discussion with R. Gordon, K. Kearney(A&M) over edits to the
                                            bidder responses
Turton, Bobby           10/8/2023     1.1   Teleconference with B. Turton, K. Kearney, R. Gordon(A&M) to
                                            review bidder #1 earn out presentation
Turton, Bobby           10/8/2023     0.6   Teleconference with B. Turton, R. Gordon(A&M) to review bidder #1
                                            earn out presentation
Turton, Bobby           10/8/2023     1.8   Prepare final draft of earnout analysis presentation for bidder # 1


Turton, Bobby           10/8/2023     1.6   Prepare earnout analysis presentation for bidder # 1

Alvarez, Charles        10/9/2023     0.2   Participate on call to discuss workstream updates with J. Rybarczyk,
                                            C. Alvarez (A&M)
Alvarez, Charles        10/9/2023     1.6   Prepare appendices related to key management and leadership of
                                            bidder #4




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Asset Sales
Professional              Date     Hours    Activity
Beretta, Matthew       10/9/2023     0.8   Scan VDR for bidder #1 and update request lists for documents
                                           received and fill in follow up questions
Beretta, Matthew       10/9/2023     1.6   Consolidate bidder diligence request list


Beretta, Matthew       10/9/2023     1.3   Prepare earnout analysis presentation for bidder # 1

Beretta, Matthew       10/9/2023     1.4   Review updated presentation materials from Bidder #1

Callerio, Lorenzo      10/9/2023     0.3   Review and provide comments to the updated Parrot one pager
                                           received from S. Paolinetti (A&M)
Callerio, Lorenzo      10/9/2023     0.2   Correspond with S&C re: Embed data retention plan

Callerio, Lorenzo      10/9/2023     1.5   Participate in a call with J. Ray (FTX), K. Cofsky, M. Rahmani and
                                           others (PWP), A. Dietderich, A. Cohen (S&C), E. Mosley, R.
                                           Gordon, S. Coverick and L. Callerio (A&M), FTI, PH, Jefferies,
                                           Rothschild and certain bidder representative
Callerio, Lorenzo      10/9/2023     0.9   Participate in a meeting with K. Cofsky, M. Rahmani (PWP), A.
                                           Cohen, M. Wu and others (S&C), E. Mosley, S. Coverick, R.
                                           Gordon, A. Titus, K. Kearney, K, Jacobs and L. Callerio (A&M) re:
                                           FTX2.0 process update
Callerio, Lorenzo      10/9/2023     0.4   Meeting with R. Perubhatla (FTX), J. Sime, B. Phillips and others
                                           (Embed) R. Hershan and L. Callerio (A&M) re: Embed IT shut down
                                           plan
Callerio, Lorenzo      10/9/2023     0.8   Update data retention archival; call with L. Callerio (A&M); data
                                           retention team call with R. Perubhatla (RKLS), J.Sime, M.Mayer, B.
                                           Phillipps (Embed), N.Leizerovich(Sygnia) re open issues; Embed
                                           wind down open matters / next steps update
Clayton, Lance         10/9/2023     2.3   Prepare updates to master investment file and bridge to last
                                           reporting date
Clayton, Lance         10/9/2023     2.5   Prepare updates to remaining asset model for LedgerPrime transfers

Clayton, Lance         10/9/2023     2.9   Prepare monthly funded investment bridge for post-petition activity


Clayton, Lance         10/9/2023     1.7   Create summary dashboard to detail monthly changes to venture
                                           book
Clayton, Lance         10/9/2023     2.2   Review schedule of LedgerPrime crypto transfers from Sygnia


Coverick, Steve        10/9/2023     0.9   Participate in a meeting with K. Cofsky, M. Rahmani (PWP), A.
                                           Cohen, M. Wu and others (S&C), E. Mosley, S. Coverick, R.
                                           Gordon, A. Titus, K. Kearney, K, Jacobs and L. Callerio (A&M) re:
                                           FTX2.0 process update
Coverick, Steve        10/9/2023     1.5   Participate in a call with J. Ray (FTX), K. Cofsky, M. Rahmani
                                           (PWP), E. Mosley, R. Gordon, S. Coverick and L. Callerio (A&M),
                                           other professionals from FTI, PH, S&C, Jefferies, Rothschild and
                                           certain bidder representative re: second round bid discussion
Ernst, Reagan          10/9/2023     2.2   Reconcile the legal entity in the investment tracker to contracts from
                                           various equity positions



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Asset Sales
Professional               Date     Hours    Activity
Ernst, Reagan           10/9/2023     0.9   Reconcile the position type in the investment tracker to contracts
                                            from various equity positions
Ernst, Reagan           10/9/2023     1.8   Arrange equity positions on investment tracker by sold amount


Ernst, Reagan           10/9/2023     0.9   Update venture receipts forecast for closed dissolution positions

Faett, Jack             10/9/2023     0.8   Update reverse due diligence slide deck for deal activity slide

Faett, Jack             10/9/2023     0.7   Call to review cryptocurrency deal activity from Pitchbook to include
                                            in the reverse due diligence deck with K. Kearney and J. Faett (A&M)
Gidoomal, Dhruv         10/9/2023     1.9   Research Key Bidder Leadership for Bidder 1 and Create overview
                                            slides of management for Bidder 1
Gidoomal, Dhruv         10/9/2023     2.1   Research Key Bidder Leadership for Bidder 2 and Create overview
                                            slides of management for Bidder 2
Gidoomal, Dhruv         10/9/2023     2.3   Research Key Bidder Leadership for Bidder 3 and Create overview
                                            slides of management for Bidder 3
Gidoomal, Dhruv         10/9/2023     0.2   Teleconference with C. Alvarez to discuss Appendix B for Master
                                            Deck (A&M)
Gidoomal, Dhruv         10/9/2023     0.3   Teleconference with B. Turton to review Diligence 2.0 status (A&M)

Glustein, Steven        10/9/2023     0.4   Provide comments on investment closing schedule relating to
                                            venture investments
Glustein, Steven        10/9/2023     1.6   Review November financial statements provided by NAV relating to
                                            LedgerPrime
Glustein, Steven        10/9/2023     0.8   Prepare updated investment details summary for QE relating to
                                            venture investments
Glustein, Steven        10/9/2023     0.8   Review investment closing schedule relating to venture investments


Glustein, Steven        10/9/2023     1.2   Provide comments on waterfall analysis relating to plan materials

Glustein, Steven        10/9/2023     0.3   Draft response to UCC relating to venture investment inquiry


Glustein, Steven        10/9/2023     2.1   Review waterfall analysis relating to plan materials

Gordon, Robert          10/9/2023     0.4   Teleconference with B. Turton, K. Kearney, R. Gordon(A&M) to
                                            discuss changes to the earnout analysis
Gordon, Robert          10/9/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                            Hainline, K. Montague (A&M)
Gordon, Robert          10/9/2023     1.5   Call with J. Ray (FTX), K. Cofsky, M. Rahmani and others (PWP), A.
                                            Dietderich, A. Cohen (S&C), E. Mosley, R. Gordon, S. Coverick and
                                            L. Callerio (A&M), others from FTI, PH, Jefferies, Rothschild, bidder
                                            representative re: second round bid discussion
Gordon, Robert          10/9/2023     1.1   Call to review open questions and agenda for discussions with
                                            bidder #2 with R. Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)




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Asset Sales
Professional             Date     Hours    Activity
Gordon, Robert        10/9/2023     0.6   Participate in a meeting with K. Cofsky, M. Rahmani (PWP), M.
                                          Friedman and others (S&C), R. Gordon, A. Titus, K. Kearney, B.
                                          Turton (A&M) re: Bidder #1 structure
Gordon, Robert        10/9/2023     0.9   Participate in a meeting with K. Cofsky, M. Rahmani (PWP), A.
                                          Cohen, M. Wu and others (S&C), E. Mosley, S. Coverick, R.
                                          Gordon, A. Titus, K. Kearney, K, Jacobs and L. Callerio (A&M) re:
                                          FTX2.0 process update
Hainline, Drew        10/9/2023     0.6   Call to review open items and next steps for 2.0 diligence related to
                                          bidder #2 with D. Hainline, S. Kolodny (A&M)
Hainline, Drew        10/9/2023     0.4   Perform research of SEC guidelines to support reasonableness of
                                          bidder #2 planned approach for offerings
Hainline, Drew        10/9/2023     0.8   Update 2.0 Rapid Assessment presentation materials for open items
                                          related to bidder #2
Hainline, Drew        10/9/2023     0.4   Call to discuss preparation for discussion with bidder #2 with K.
                                          Kearney, D. Hainline (A&M)
Hainline, Drew        10/9/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline, K. Montague (A&M)
Hainline, Drew        10/9/2023     1.6   Review consolidated request list from PWP for bidder #2 to refine
                                          outstanding questions
Hainline, Drew        10/9/2023     0.6   Update consolidated request list for bidder #2 for KYC and AML
                                          related questions
Hainline, Drew        10/9/2023     1.3   Prepare list of open items to be included in the meeting agenda with
                                          bidder #2
Hainline, Drew        10/9/2023     0.7   Draft updates to open items and findings in board presentation for
                                          Bidder #2
Hainline, Drew        10/9/2023     0.4   Review open questions across bidders to assess completeness for
                                          bidder #2
Hainline, Drew        10/9/2023     1.8   Review responses for bidder #2 to support 2.0 diligence efforts


Hainline, Drew        10/9/2023     1.1   Call to review open questions and agenda for discussions with
                                          bidder #2 with R. Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)
Hershan, Robert       10/9/2023     0.4   Continue review of embed IT shut down plan for reasonableness

Hershan, Robert       10/9/2023     0.4   Meeting with R. Perubhatla (RLKS), J. Sime, B. Phillips and others
                                          (Embed) R. Hershan and L. Callerio (A&M) re: Embed IT shut down
                                          plan
Jacobs, Kevin         10/9/2023     0.9   Participate in a meeting with K. Cofsky, M. Rahmani (PWP), A.
                                          Cohen, M. Wu and others (S&C), E. Mosley, S. Coverick, R.
                                          Gordon, A. Titus, K. Kearney, K, Jacobs and L. Callerio (A&M) re:
                                          FTX 2.0 process update
Kearney, Kevin        10/9/2023     0.4   Teleconference with B. Turton, K. Kearney, R. Gordon(A&M) to
                                          discuss changes to the earnout analysis
Kearney, Kevin        10/9/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline, K. Montague (A&M)
Kearney, Kevin        10/9/2023     1.6   Review updates to market assessment for BOD presentation
                                          associated with FTX 2.0 sale



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Asset Sales
Professional             Date     Hours    Activity
Kearney, Kevin        10/9/2023     0.4   Call to discuss preparation for discussion with bidder #2 with K.
                                          Kearney, D. Hainline (A&M)
Kearney, Kevin        10/9/2023     1.4   Review business plan and updated reverse diligence items
                                          associated with bidder 2
Kearney, Kevin        10/9/2023     0.3   Teleconference with K. Kearney to review Bidder #2 presentation

Kearney, Kevin        10/9/2023     0.9   Review reverse diligence files received from bidder 3

Kearney, Kevin        10/9/2023     1.1   Review updated earn-out analysis for bidder 1


Kearney, Kevin        10/9/2023     0.6   Participate in a meeting with K. Cofsky, M. Rahmani (PWP), M.
                                          Friedman and others (S&C), R. Gordon, A. Titus, K. Kearney, B.
                                          Turton (A&M) re: Bidder #1 structure
Kearney, Kevin        10/9/2023     0.7   Call to review cryptocurrency deal activity from Pitchbook to include
                                          in the reverse due diligence deck with K. Kearney and J. Faett (A&M)
Kearney, Kevin        10/9/2023     0.9   Participate in a meeting with K. Cofsky, M. Rahmani (PWP), A.
                                          Cohen, M. Wu and others (S&C), E. Mosley, S. Coverick, R.
                                          Gordon, A. Titus, K. Kearney, K, Jacobs and L. Callerio (A&M) re:
                                          FTX2.0 process update
Kearney, Kevin        10/9/2023     1.1   Call to review open questions and agenda for discussions with
                                          bidder #2 with R. Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)
Kolodny, Steven       10/9/2023     0.6   Call to review open items and next steps for 2.0 diligence related to
                                          bidder #2 with D. Hainline, S. Kolodny (A&M)
Kolodny, Steven       10/9/2023     0.6   Review PWP Questionnaire and diligence requests for answers from
                                          bidder #2
Kolodny, Steven       10/9/2023     0.9   Review Diligence request list items related to Technology and
                                          Infrastructure
Kolodny, Steven       10/9/2023     0.9   Review Diligence request list items related to Cyber Security


Kolodny, Steven       10/9/2023     0.9   Research KYC and AML Best practices, definitions and procedures

Kolodny, Steven       10/9/2023     0.9   Review Diligence request list items related to Record Keeping

Kolodny, Steven       10/9/2023     0.9   Review Diligence request list items related to Transaction monitoring


Kolodny, Steven       10/9/2023     0.9   Review Diligence request list items related to Crypto

Kolodny, Steven       10/9/2023     0.9   Review Diligence request list items related to KYC AML


Kolodny, Steven       10/9/2023     1.1   Call to review open questions and agenda for discussions with
                                          bidder #2 with R. Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)
Montague, Katie       10/9/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline, K. Montague (A&M)
Montague, Katie       10/9/2023     1.4   Review and provide feedback on reverse diligence presentation for
                                          bidder #4



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Asset Sales
Professional               Date     Hours    Activity
Montague, Katie         10/9/2023     1.4   Review and provide feedback on reverse diligence presentation for
                                            bidder #3
Montague, Katie         10/9/2023     1.8   Review and provide feedback on reverse diligence presentation for
                                            bidder #1
Montague, Katie         10/9/2023     1.8   Review and provide feedback on reverse diligence presentation for
                                            bidder #2
Mosley, Ed              10/9/2023     0.9   Discussion with PWP (K.Cofsky, R.Moon, B.Mendelsohn, others),
                                            S&C (M.Wu, M.Eitel, A.Cohen, others) and A&M (S.Coverick,
                                            K.Jacobs, R.Gordon, A.Titus, L.Callerio, others) regarding FTX 2.0
                                            process and documentation
Mosley, Ed              10/9/2023     1.5   FTX 2.0 bidder presentation to debtor, UCC and Ad Hoc group with
                                            FTX, S&C, PWP, A&M (S.Coverick, E.Mosley, others), FTI (F.Risler,
                                            others), PH (K.Hanson, others), Jefferies (various), Rothschild
                                            (C.Delo, others), and the bidder representatives (various)
Paolinetti, Sergio      10/9/2023     2.2   Revise investment proposal slides to be sent to the board of directors

Ramanathan, Kumanan     10/9/2023     0.3   Call with M. Marcantonio (Galaxy) to discuss asset management
                                            legal documentation
Reagan, Kelsey          10/9/2023     1.9   Update the diligence presentation for the additional informational
                                            provided for technology and compliance
Reagan, Kelsey          10/9/2023     2.1   Add all bidder responses to data requests to the update PBC list for
                                            bidder #3 and update the status of each request
Reagan, Kelsey          10/9/2023     1.8   Update the PWP request list for bidder #3 to include the current
                                            status of A&M data requests
Reagan, Kelsey          10/9/2023     0.3   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk. B.
                                            Turton (A&M)
Reagan, Kelsey          10/9/2023     2.3   Review all the data provided by bidder #3 on 10/9

Rybarczyk, Jodi         10/9/2023     0.2   Participate on call to discuss workstream updates with J. Rybarczyk,
                                            C. Alvarez (A&M)
Rybarczyk, Jodi         10/9/2023     0.3   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk. B.
                                            Turton (A&M)
Rybarczyk, Jodi         10/9/2023     1.2   Update the PWP request list to include current status of A&M data
                                            requests
Rybarczyk, Jodi         10/9/2023     2.7   Analyze bidder #4 preliminary business plan


Rybarczyk, Jodi         10/9/2023     0.8   Document key assumptions utilized in five year business plan

Stockmeyer, Cullen      10/9/2023     2.1   Prepare analysis related to future vesting schedule amounts
                                            outstanding
Titus, Adam             10/9/2023     0.7   Review incentive fee presentation for error checking including
                                            comments included
Titus, Adam             10/9/2023     0.6   Participate in a meeting with K. Cofsky, M. Rahmani (PWP), M.
                                            Friedman and others (S&C), R. Gordon, A. Titus, K. Kearney, B.
                                            Turton (A&M) re: Bidder #1 structure




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Asset Sales
Professional                Date    Hours    Activity
Titus, Adam             10/9/2023     0.9   Participate in a meeting with K. Cofsky, M. Rahmani (PWP), A.
                                            Cohen, M. Wu and others (S&C), E. Mosley, S. Coverick, R.
                                            Gordon, A. Titus, K. Kearney, K, Jacobs and L. Callerio (A&M) re:
                                            FTX2.0 process update
Turton, Bobby           10/9/2023     0.4   Teleconference with B. Turton, K. Kearney, R. Gordon(A&M) to
                                            discuss changes to the earnout analysis
Turton, Bobby           10/9/2023     1.5   Review notes from discussions with Bidder #1 to update assessment
                                            materials for 2.0 diligence
Turton, Bobby           10/9/2023     0.3   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk. B.
                                            Turton (A&M)
Turton, Bobby           10/9/2023     0.6   Check VDR for bidder #1 and update request list for documents
                                            received
Turton, Bobby           10/9/2023     0.3   Teleconference with K. Kearney to review Bidder #2 presentation


Turton, Bobby           10/9/2023     0.3   Teleconference with D. Gidoomal to review Diligence 2.0 status
                                            (A&M)
Turton, Bobby           10/9/2023     2.3   Prepare earnout analysis presentation for bidder # 1


Turton, Bobby           10/9/2023     1.2   Review updated presentation from Bidder #2

Turton, Bobby           10/9/2023     1.1   Consolidate bidder diligence request list


Turton, Bobby           10/9/2023     0.6   Participate in a meeting with K. Cofsky, M. Rahmani (PWP), M.
                                            Friedman and others (S&C), R. Gordon, A. Titus, K. Kearney, B.
                                            Turton (A&M) re: Bidder #1 structure
Alvarez, Charles       10/10/2023     2.2   Revise bidder #4 operational assessment for comments provided by
                                            J. Rybarczyk (A&M)
Alvarez, Charles       10/10/2023     2.2   Review and revise key management and leadership appendices for
                                            bidder #2
Alvarez, Charles       10/10/2023     1.9   Review and revise key management and leadership appendices for
                                            bidder #3
Alvarez, Charles       10/10/2023     2.1   Review and revise key management and leadership appendices for
                                            bidder #1
Alvarez, Charles       10/10/2023     0.2   Participate on call to discuss preparation of key management and
                                            leadership appendices with D. Gidoomal, C. Alvarez (A&M)
Beretta, Matthew       10/10/2023     1.6   Reconcile volume data from Bidder #1 earnout to FTX database and
                                            compare with tranches
Beretta, Matthew       10/10/2023     2.3   Recreate valuation analysis from Bidder #1 to compare with
                                            prepared materials
Callerio, Lorenzo      10/10/2023     0.8   Review and provide comments to the updated GuildFi and Parrot
                                            Finance proposal decks provided by S. Paolinetti (A&M)
Callerio, Lorenzo      10/10/2023     1.2   Prepare initial draft of unvesting and unlocking presentation to be
                                            discussed with S. Paolinetti (A&M)
Callerio, Lorenzo      10/10/2023     1.1   Update the unvesting and unlocking deck based on recent analyses
                                            and inbounds



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Asset Sales
Professional                Date    Hours    Activity
Callerio, Lorenzo      10/10/2023     0.8   Draft a brief description of the Embed wind down process to be
                                            included in the disclosure statement as requested by D.
                                            Handelsman (S&C)
Callerio, Lorenzo      10/10/2023     0.5   Participate in a call with R. Perubhatla (RLKS), S&C (C. Dunne, J.
                                            DeCamp, M. Tomaino), L. Callerio (A&M) re: Embed data retention
Clayton, Lance         10/10/2023     1.5   Review LedgerPrime SAFE investment contracts for schedule of
                                            remaining assets
Clayton, Lance         10/10/2023     1.9   Review initial equity sale analysis from R. Ernst (A&M) and prepare
                                            comments
Clayton, Lance         10/10/2023     2.1   Prepare updated venture book cash forecast for upcoming sales


Clayton, Lance         10/10/2023     2.4   Prepare schedule of equity position sale process updates for PWP
                                            review
Coverick, Steve        10/10/2023     0.6   Participate in call with K. Jacobs, S. Coverick (A&M), D. Hariton
                                            (EY) and M. Rahmani, K. Flinn (PWP) re: tax considerations of
                                            venture book sales
Ernst, Reagan          10/10/2023     1.6   Research equity position valuation due to movement in the market


Ernst, Reagan          10/10/2023     1.4   Update investment tracker for changes in legal entity

Ernst, Reagan          10/10/2023     2.3   Reconcile entity by type in investment tracker


Ernst, Reagan          10/10/2023     1.1   Update investment tracker for change in entity type

Ernst, Reagan          10/10/2023     1.4   Create venture team workplan that tracks all team endeavors

Faett, Jack            10/10/2023     1.2   Call to review market outlook slides added to the reverse due
                                            diligence slide deck with K. Kearney and J. Faett (A&M)
Faett, Jack            10/10/2023     2.4   Analyze bidder #1 expected volume assumptions with historical FTX
                                            volume levels
Gidoomal, Dhruv        10/10/2023     1.8   Research Key Bidder Leadership for Bidder 4 and Create overview
                                            slides of management for Bidder 4
Gidoomal, Dhruv        10/10/2023     0.9   Collect headshots of key management for all bidders and added to
                                            Appendix B on Master Deck
Gidoomal, Dhruv        10/10/2023     1.2   Finalize formatting and add additional individuals to list of key bidder
                                            management in Appendix B
Gidoomal, Dhruv        10/10/2023     0.1   Teleconference with K. Montague to discuss Master Deck slide
                                            formatting (A&M)
Gidoomal, Dhruv        10/10/2023     0.2   Participate on call to discuss preparation of key management and
                                            leadership appendices with D. Gidoomal, C. Alvarez (A&M)
Gidoomal, Dhruv        10/10/2023     2.3   Research Key Bidder Leadership for Bidder 1 Parent Company and
                                            Create overview slides of management for Bidder 1 Parent Company
Gidoomal, Dhruv        10/10/2023     0.1   Teleconference with C. Alvarez to discuss final formatting of
                                            Appendix B and bidder management headshots for Master Deck
                                            (A&M)



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Asset Sales
Professional              Date    Hours    Activity
Glustein, Steven     10/10/2023     2.4   Review comments provided by S. Tang (LedgerPrime) regarding
                                          remaining assets relating to LedgerPrime
Glustein, Steven     10/10/2023     1.3   Update incentive fee calculation analysis relating to comments
                                          received from A. Titus (A&M)
Glustein, Steven     10/10/2023     1.9   Update incentive calculation presentation relating to remaining asset
                                          recovery analysis
Glustein, Steven     10/10/2023     0.7   Review updated investment details summary relating to recently
                                          closed investments
Glustein, Steven     10/10/2023     1.4   Provide comments on RSA term sheet relating to plan materials


Glustein, Steven     10/10/2023     1.1   Review plan recovery analysis relating to venture investments

Glustein, Steven     10/10/2023     0.3   Review plan recovery analysis relating to brokerage assets


Glustein, Steven     10/10/2023     0.9   Review plan recovery analysis relating to LedgerPrime

Gordon, Robert       10/10/2023     0.6   Call to debrief following discussion with bidder #2 including R.
                                          Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)
Gordon, Robert       10/10/2023     0.5   Call with R. Gordon, K. Kearney, and D. Hainline (A&M) to discuss
                                          2.0 Rapid Assessment Leads
Gordon, Robert       10/10/2023     1.3   Teleconference with B. Turton, K. Kearney, R. Gordon (A&M) to
                                          review bidder #1 presentation
Gordon, Robert       10/10/2023     1.7   Call with R. Gordon, B. Turton, K. Kearney(A&M) over analysis of
                                          bidder #1 financials
Gordon, Robert       10/10/2023     1.2   Prepare for bidder #1 financials call by reviewed bidder prepared
                                          presentation
Gordon, Robert       10/10/2023     0.6   Correspondence with M. Rahmani(PWP) over bidder #1
                                          presentation questions
Gordon, Robert       10/10/2023     0.8   Review consolidated bidder request list with updates from PWP team

Gordon, Robert       10/10/2023     0.7   Edit update bidder request that includes Know your customer
                                          questions
Gordon, Robert       10/10/2023     1.6   Participate in meeting with PWP (K. Cofsky, M. Rahmani, others),
                                          bidder #2 and R. Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)
Hainline, Drew       10/10/2023     1.2   Update presentation materials related to executive summary for
                                          bidder #2 to support diligence efforts
Hainline, Drew       10/10/2023     1.1   Update presentation materials related to regulatory compliance for
                                          bidder #2 to support diligence efforts
Hainline, Drew       10/10/2023     0.6   Call to debrief following discussion with bidder #2 including R.
                                          Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)
Hainline, Drew       10/10/2023     0.5   Call with R. Gordon, K. Kearney, and D. Hainline (A&M) to discuss
                                          2.0 Rapid Assessment Leads
Hainline, Drew       10/10/2023     1.2   Update presentation materials related to security for bidder #2 to
                                          support diligence efforts




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Professional              Date    Hours    Activity
Hainline, Drew       10/10/2023     0.2   Draft open items and next steps for bidder #2 to support diligence
                                          efforts
Hainline, Drew       10/10/2023     0.3   Prepare updates to open items and agenda list for discussions with
                                          bidder #2
Hainline, Drew       10/10/2023     0.3   Review notes from presentations with bidder #2 to support diligence
                                          efforts
Hainline, Drew       10/10/2023     0.9   Review notes from bidder #2 presentation for financial projections

Hainline, Drew       10/10/2023     0.4   Review updated consolidated request tracker for 2.0 Rapid
                                          Assessment
Hainline, Drew       10/10/2023     0.7   Perform outside research on enforcement actions related to bidder
                                          #2
Hainline, Drew       10/10/2023     0.4   Draft updates to open items for bidder #2 presentation materials


Hainline, Drew       10/10/2023     0.8   Update status of diligence requests for Project Focus

Hainline, Drew       10/10/2023     1.6   Participate in meeting with PWP (K. Cofsky, M. Rahmani, others),
                                          bidder #2 and R. Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)
Hershan, Robert      10/10/2023     1.1   Discuss disclosures and data retention process with S&C (C.Dunne,
                                          J. DeCamp, M. Tomaino), R. Perubhatla (RLKS)
Kearney, Kevin       10/10/2023     1.2   Call to review market outlook slides added to the reverse due
                                          diligence slide deck with K. Kearney and J. Faett (A&M)
Kearney, Kevin       10/10/2023     0.6   Call to debrief following discussion with bidder #2 including R.
                                          Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)
Kearney, Kevin       10/10/2023     1.3   Teleconference with B. Turton, K. Kearney, R. Gordon (A&M) to
                                          review bidder #1 presentation
Kearney, Kevin       10/10/2023     0.7   Teleconference with B. Turton and K. Kearney to review Bidder #1
                                          earnout presentation (A&M)
Kearney, Kevin       10/10/2023     0.5   Call with R. Gordon, K. Kearney, and D. Hainline (A&M) to discuss
                                          2.0 Rapid Assessment Leads
Kearney, Kevin       10/10/2023     1.7   Call with R. Gordon, B. Turton, K. Kearney(A&M) over analysis of
                                          bidder #1 financials
Kearney, Kevin       10/10/2023     0.9   Review responses from bidder 2 associated with FTX 2.0 reverse
                                          diligence inquiries
Kearney, Kevin       10/10/2023     0.9   Review financial summary/analysis associated with bidder 3 for FTX
                                          2.0 sale
Kearney, Kevin       10/10/2023     0.4   Review summary analysis for PWP regarding updates to bidder 1
                                          earn-out analysis
Kearney, Kevin       10/10/2023     0.4   Review responses to updated reverse diligence request for bidder 2

Kearney, Kevin       10/10/2023     1.6   Participate in meeting with PWP (K. Cofsky, M. Rahmani, others),
                                          bidder #2 and R. Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)
Kolodny, Steven      10/10/2023     0.6   Call to debrief following discussion with bidder #2 including R.
                                          Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)




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Asset Sales
Professional               Date    Hours    Activity
Kolodny, Steven       10/10/2023     0.9   Perform search on materials presented in meeting with PWP for
                                           licenses
Kolodny, Steven       10/10/2023     0.9   Draft key considerations for success criteria slides for Risk
                                           management
Kolodny, Steven       10/10/2023     0.9   Draft key considerations for success criteria slides for Security

Kolodny, Steven       10/10/2023     0.9   Draft key considerations for success criteria slides for Liquidity

Kolodny, Steven       10/10/2023     0.9   Draft key considerations for success criteria slides for management


Kolodny, Steven       10/10/2023     0.9   Draft key considerations for success criteria slides for Technology

Kolodny, Steven       10/10/2023     0.9   Review diligence request lists for items to close out


Kolodny, Steven       10/10/2023     1.6   Participate in meeting with PWP (K. Cofsky, M. Rahmani, others),
                                           bidder #2 and R. Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)
Montague, Katie       10/10/2023     0.1   Teleconference with K. Montague and D. Gidoomal (A&M) to
                                           discuss Master Deck slide formatting (A&M)
Montague, Katie       10/10/2023     0.5   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                           Rybarczyk. B. Turton (A&M)
Montague, Katie       10/10/2023     1.3   Review executive profiles prepared for key people at each FTX 2.0
                                           bidder
Mosley, Ed            10/10/2023     0.3   Review of asset sale notice requirement documents


Ramanathan, Kumanan   10/10/2023     0.3   Call with S. Kurz, C. Rhines (Galaxy) to discuss crypto asset
                                           management matters
Ramanathan, Kumanan   10/10/2023     1.1   Review of Galaxy mandate model and provide approval


Reagan, Kelsey        10/10/2023     2.9   Update formatting on the bidder #3 presentation slides to be
                                           consistent with example provided
Reagan, Kelsey        10/10/2023     0.5   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                           Rybarczyk. B. Turton (A&M)
Reagan, Kelsey        10/10/2023     2.1   Create tear sheet / summary for bidder #3 and update the
                                           management team background
Reagan, Kelsey        10/10/2023     1.2   Review the final A&M and PWP data request list to be sent to the
                                           bidders
Reagan, Kelsey        10/10/2023     2.3   Update the bidder #3 summary slide to include company's current
                                           operations and the intended operations of NewX after launch
Rybarczyk, Jodi       10/10/2023     1.9   Update formatting on the bidder #4 presentation slides to be
                                           consistent with example provided
Rybarczyk, Jodi       10/10/2023     0.5   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                           Rybarczyk. B. Turton (A&M)
Rybarczyk, Jodi       10/10/2023     2.5   Draft PFI key assumptions summary based on individual bid
                                           materials




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Professional                Date    Hours    Activity
Rybarczyk, Jodi        10/10/2023     0.9   Review the final A&M and PWP data request list to be sent to the
                                            bidders
Rybarczyk, Jodi        10/10/2023     2.6   Draft tear sheet summary for bidder #4, including business plan and
                                            team overview
Sivapalu, Anan         10/10/2023     0.9   Verify metrics on financial detail dashboard to that of report by
                                            potential investor
Sivapalu, Anan         10/10/2023     2.4   Investigate missing spot data in financial balance data

Sivapalu, Anan         10/10/2023     2.3   Implement count of customers in financial detail dashboard


Sivapalu, Anan         10/10/2023     0.7   Verify current balance data at ticker granularity compared to current
                                            requirement
Stockmeyer, Cullen     10/10/2023     0.3   Prepare updated analysis related to future vesting schedules based
                                            on request from cash team
Titus, Adam            10/10/2023     1.7   Finalize incentive plan deck after review of edits for updated plan
                                            numbers
Titus, Adam            10/10/2023     1.3   Revise presentation of incentive plan based on comments from E.
                                            Mosley [A&M]
Titus, Adam            10/10/2023     2.1   Edit presentation recommendation for token investments provided
                                            by S. Glustein [A&M]
Titus, Adam            10/10/2023     0.6   Process NDA with Counsel on markup from potential buyer

Titus, Adam            10/10/2023     0.7   Review mark up of NDA from potential buyer


Turton, Bobby          10/10/2023     0.7   Teleconference with B. Turton and K. Kearney to review Bidder #1
                                            earnout presentation (A&M)
Turton, Bobby          10/10/2023     0.5   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                            Rybarczyk. B. Turton (A&M)
Turton, Bobby          10/10/2023     1.3   Teleconference with B. Turton, K. Kearney, R. Gordon (A&M) to
                                            review bidder #1 presentation
Turton, Bobby          10/10/2023     1.7   Call with R. Gordon, B. Turton, K. Kearney(A&M) over analysis of
                                            bidder #1 financials
Turton, Bobby          10/10/2023     0.3   Teleconference with A. Sivapalu (A&M) to review FTX data needs

Turton, Bobby          10/10/2023     2.1   Review and reconcile volume data from Bidder #1 earnout to FTX
                                            database
Turton, Bobby          10/10/2023     2.3   Review and recreate valuation analysis from Bidder #1


Alvarez, Charles       10/11/2023     0.4   Participate on call to discuss bidder #4 operational assessment and
                                            overview with J. Rybarczyk, C. Alvarez (A&M)
Alvarez, Charles       10/11/2023     0.7   Call to analyze Bidder #1 financials and prepare FY23 estimates
                                            with M. Beretta, C. Alvarez (A&M)
Alvarez, Charles       10/11/2023     1.3   Revise key findings and observations for responses received from
                                            bidder #4




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Professional                 Date    Hours    Activity
Alvarez, Charles        10/11/2023     1.8   Analyze comparisons between bidder qualifications and vision for
                                             NewCo
Alvarez, Charles        10/11/2023     1.2   Analyze bidder #4 business plan proposal


Alvarez, Charles        10/11/2023     1.6   Prepare business plan overview for bidder #4

Beretta, Matthew        10/11/2023     0.7   Call to analyze Bidder #1 financials and prepare FY23 estimates
                                             with M. Beretta, C. Alvarez (A&M)
Beretta, Matthew        10/11/2023     0.1   Teleconference with B. Turton and M. Beretta to review Bidder #1
                                             financial projections (A&M)
Beretta, Matthew        10/11/2023     2.8   Construct Proforma financials from Bidder #1 to validate
                                             assumptions from Bidder model
Beretta, Matthew        10/11/2023     0.3   Call with B. Turton and M. Beretta to review Bidder #1 financial
                                             projections (A&M)
Beretta, Matthew        10/11/2023     2.6   Update earnout presentation for Bidder #1

Callerio, Lorenzo       10/11/2023     0.8   Review Coin98 documentation and transfers provided by the
                                             accounting team
Clayton, Lance          10/11/2023     1.1   Perform investment current event research for venture investment
                                             market activity
Clayton, Lance          10/11/2023     1.3   Review of potential token purchase IOI to summarize proposal

Clayton, Lance          10/11/2023     1.9   Review of alameda investment preferred stock agreement


Clayton, Lance          10/11/2023     2.9   Prepare summary recommendation for potential token sale

Cooper, James           10/11/2023     1.7   Build revised schedule of cash achievements based on feedback
                                             from J. Cooper [A&M] for incentive plan
Ernst, Reagan           10/11/2023     1.6   Apply sensitivity analysis to black Scholes model to weigh in
                                             assumptions
Ernst, Reagan           10/11/2023     2.1   Organize venture team process tracker to track email timelines


Ernst, Reagan           10/11/2023     1.2   Organize venture team process tracker to track deliverable timelines

Ernst, Reagan           10/11/2023     0.3   Gather market research for latest crypto acquisitions

Faett, Jack             10/11/2023     0.6   Update reverse due diligence slide for bidder #2 PFI information
                                             based on their bidder presentation
Faett, Jack             10/11/2023     1.8   Call over bidder PFI key assumptions with K. Kearney and J. Faett
                                             (A&M)
Faett, Jack             10/11/2023     1.3   Create graphics for a visual comparison of bidder PFI assumptions


Gidoomal, Dhruv         10/11/2023     2.2   Review Master Deck and reformatted it to remove open items from
                                             all slides




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Gidoomal, Dhruv      10/11/2023     1.1   Finalize slide formatting and moved old slides to graveyard

Glustein, Steven     10/11/2023     1.2   Respond to comments on incentive fee analysis presentation
                                          relating to venture investments
Glustein, Steven     10/11/2023     0.8   Review draft amendment to purchase agreement relating to venture
                                          investment company
Glustein, Steven     10/11/2023     2.3   Prepare binder relating to incentive fee analysis

Gordon, Robert       10/11/2023     0.9   Teleconference with B. Turton, K. Kearney, R. Gordon (A&M), E. Tu,
                                          and M. Rahmani (PwP) to discuss bidder #2 earnout
Gordon, Robert       10/11/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline (A&M)
Gordon, Robert       10/11/2023     1.8   Review updates to market analysis of project focus presentation


Gordon, Robert       10/11/2023     0.7   Teleconference with B. Turton, K. Kearney, R. Gordon (A&M) to
                                          review bidder #1 earnout calculation
Hainline, Drew       10/11/2023     0.9   Update presentation materials related to payment gateways and
                                          custody for bidder #2 to support diligence efforts
Hainline, Drew       10/11/2023     1.2   Review reports for open lawsuits against bidders to assess relevant
                                          information to include in board presentations
Hainline, Drew       10/11/2023     0.4   Review historical trade data for FTX to support diligence related to
                                          volume projections from 2.0 bidders
Hainline, Drew       10/11/2023     0.9   Perform outside research on bidder #2 assumptions for regulatory
                                          compliance to support diligence efforts
Hainline, Drew       10/11/2023     0.3   Call to align on approach to select success criteria for 2.0 Rapid
                                          Assessment with B. Turton, D. Hainline (A&M)
Hainline, Drew       10/11/2023     0.4   Perform outside research to assess liquidity for bidder #2 to support
                                          presentation materials
Hainline, Drew       10/11/2023     1.3   Update presentation materials related to liquidity for bidder #2 to
                                          support diligence efforts
Hainline, Drew       10/11/2023     0.8   Perform outside research on court cases related to bidder #2 to
                                          support diligence efforts
Hainline, Drew       10/11/2023     2.3   Call over presentation and open diligence for bidder #2 with S.
                                          Kolodny, D. Hainline (A&M)
Hainline, Drew       10/11/2023     0.7   Update diligence response tracker for bidder #2 to support diligence
                                          efforts
Hainline, Drew       10/11/2023     0.6   Review PFI key assumptions for 2.0 Rapid Assessment presentation
                                          materials
Hainline, Drew       10/11/2023     0.4   Respond to request for reasoning behind follow-up questions drafted
                                          for bidder #2
Hainline, Drew       10/11/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline (A&M)
Hainline, Drew       10/11/2023     0.4   Update open diligence items and next steps for bidder #2




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Professional               Date    Hours    Activity
Hainline, Drew        10/11/2023     0.5   Meeting to discuss open items for the JL Bahamas discovery with R.
                                           Gordon, C. Broskay, D. Hainline and K. Zabcik (A&M)
Hainline, Drew        10/11/2023     0.4   Review projected revenues against available projected volumes for
                                           bidder #2 to establish comparability with other bidders
Johnston, David       10/11/2023     0.3   Research property ownership for South American property

Kearney, Kevin        10/11/2023     0.8   Review volume and revenue information for targeted accounts
                                           associated with bidder 1 earn-out analysis
Kearney, Kevin        10/11/2023     0.9   Teleconference with B. Turton, K. Kearney, R. Gordon (A&M), E. Tu,
                                           and M. Rahmani (PwP) to discuss bidder #2 earnout
Kearney, Kevin        10/11/2023     0.7   Teleconference with B. Turton, K. Kearney, R. Gordon (A&M) to
                                           review bidder #1 earnout calculation
Kearney, Kevin        10/11/2023     0.6   Review volume and market assumptions in valuation model for
                                           bidder 3
Kearney, Kevin        10/11/2023     1.8   Call over bidder PFI key assumptions with K. Kearney and J. Faett
                                           (A&M)
Kearney, Kevin        10/11/2023     1.4   Review volume and market assumptions in valuation model for
                                           bidder 1
Kearney, Kevin        10/11/2023     0.7   Review volume and market assumptions in valuation model for
                                           bidder 2
Kearney, Kevin        10/11/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                           Hainline (A&M)
Kolodny, Steven       10/11/2023     1.4   Review elements of valuation (projections, discount rate,
                                           comparable companies analysis) for bidder #2
Kolodny, Steven       10/11/2023     1.4   Review white paper published by BCG used in preparation of
                                           business proposal for bidder #2
Kolodny, Steven       10/11/2023     2.3   Call over presentation and open diligence for bidder #2 with S.
                                           Kolodny, D. Hainline (A&M)
Kolodny, Steven       10/11/2023     1.4   Review elements of weighted average cost of capital to get to
                                           valuation for bidder #2
Kolodny, Steven       10/11/2023     0.8   Compile questions to assess validity of bidder #2 valuation


Kolodny, Steven       10/11/2023     0.6   Review bidder comparison across valuation criteria

Montague, Katie       10/11/2023     0.3   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                           Rybarczyk. B. Turton (A&M)
Montague, Katie       10/11/2023     3.1   Review current draft of reverse diligence presentation and provide
                                           comments
Montague, Katie       10/11/2023     2.3   Analysis of industry fee data and comparison to bidder proposals

Montague, Katie       10/11/2023     1.1   Participate in Bidder #2 business and valuation discussion


Paolinetti, Sergio    10/11/2023     2.1   Add executive summary slides on the venture sales deck for vesting
                                           schedules for the next upcoming 4 years




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Reagan, Kelsey          10/11/2023     2.9   Update the background of bidder #3, relevant experience of all
                                             sponsor parties and the products to be offered in NewX
Reagan, Kelsey          10/11/2023     2.7   Update the bidder #3 summary slide to include assessment /
                                             findings of the different success criteria for NewX
Reagan, Kelsey          10/11/2023     0.3   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                             Rybarczyk. B. Turton (A&M)
Reagan, Kelsey          10/11/2023     1.2   Review annual projects from bidder #3 and highlight the different
                                             assumptions
Reagan, Kelsey          10/11/2023     1.2   Update the projection / forecast slide for bidder #3 to highlight the
                                             assumptions used in the year over year financial projections
Rybarczyk, Jodi         10/11/2023     0.4   Participate on call to discuss bidder #4 operational assessment and
                                             overview with J. Rybarczyk, C. Alvarez (A&M)
Rybarczyk, Jodi         10/11/2023     0.3   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                             Rybarczyk. B. Turton (A&M)
Rybarczyk, Jodi         10/11/2023     2.9   Research key assumptions in bid #1, 2 and incorporate in summary

Rybarczyk, Jodi         10/11/2023     1.7   Research key assumptions in bid #3, 4 and incorporate in summary


Sivapalu, Anan          10/11/2023     0.7   Teleconference with A. Sivapalu and B. Turton (A&M) to review FTX
                                             data for Bidder #1 earnout calculation
Sivapalu, Anan          10/11/2023     2.3   Pinpoint known spot ticker to investigate missing product type in
                                             financial balance data
Sivapalu, Anan          10/11/2023     0.6   Modify filters financial detail dashboard to enable choosing of all silos


Sivapalu, Anan          10/11/2023     1.3   Compare ticker pattern in balance data with different type of products

Sivapalu, Anan          10/11/2023     1.8   Reconcile customer count compared to investor presentation


Titus, Adam             10/11/2023     1.7   Build revised schedule of cash achievements based on feedback
                                             from J. Cooper [A&M] for incentive plan
Titus, Adam             10/11/2023     0.8   Provide comments to S. Paolinetti [A&M] for 3rd party process
                                             materials for potential buyers
Titus, Adam             10/11/2023     1.9   Revise draft of PMO materials for weekly distribution

Titus, Adam             10/11/2023     0.4   Respond to token issuer based on offer received

Turton, Bobby           10/11/2023     0.3   Call to align on approach to select success criteria for 2.0 Rapid
                                             Assessment with B. Turton, D. Hainline (A&M)
Turton, Bobby           10/11/2023     0.7   Teleconference with A. Sivapalu and B. Turton (A&M) to review FTX
                                             data for Bidder #1 earnout calculation
Turton, Bobby           10/11/2023     0.9   Teleconference with B. Turton, K. Kearney, R. Gordon (A&M), E. Tu,
                                             and M. Rahmani (PwP) to discuss bidder #2 earnout
Turton, Bobby           10/11/2023     0.3   Teleconference with B. T Turton and M. Beretta to review Bidder #1
                                             financial projections (A&M)




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Turton, Bobby        10/11/2023     0.7   Teleconference with B. Turton, K. Kearney, R. Gordon (A&M) to
                                          review bidder #1 earnout calculation
Turton, Bobby        10/11/2023     0.1   Teleconference with B. Turton and M. Beretta to review Bidder #1
                                          financial projections (A&M)
Turton, Bobby        10/11/2023     0.3   2.0 Rapid Assessment Leads Call with K. Montague. K Reagan, J.
                                          Rybarczyk. B. Turton (A&M)
Turton, Bobby        10/11/2023     2.3   Recreate earnout analysis from Bidder #1 to validate assumptions

Turton, Bobby        10/11/2023     2.6   Update earnout presentation for Bidder #1


Alvarez, Charles     10/12/2023     1.4   Quality check and review of fee rate comparisons between four
                                          major crypto-currency exchanges
Alvarez, Charles     10/12/2023     1.8   Prepare fee rate comparisons between four major crypto-currency
                                          exchanges
Beretta, Matthew     10/12/2023     2.1   Prepare updated earnout analysis for Bidder #1 based on revised
                                          market data
Beretta, Matthew     10/12/2023     0.3   Discuss Bidder #1 pro forma financials and Project Focus Reverse
                                          Diligence Overview strategy session with B. Turton and M.
                                          Beretta (A&M)
Chambers, Henry      10/12/2023     0.7   Consider bidder queries on current KYC process


Clayton, Lance       10/12/2023     2.8   Prepare unfunded capital analysis for venture fund portfolio

Clayton, Lance       10/12/2023     1.5   Review of weekly LedgerPrime wallet transfers to cold storage


Clayton, Lance       10/12/2023     2.6   Prepare summary analysis for inbound portfolio investment
                                          communication
Clayton, Lance       10/12/2023     2.1   Contract review for venture investment offering document

Ernst, Reagan        10/12/2023     1.2   Analyze black Scholes option pricing model using sensitivity charts
                                          for annual risk free rate
Ernst, Reagan        10/12/2023     1.5   Analyze black Scholes option pricing model using sensitivity charts
                                          for time to maturity in years
Ernst, Reagan        10/12/2023     0.9   Update venture team process tracker regarding transfer of funds to
                                          Alameda cold wallet
Ernst, Reagan        10/12/2023     1.3   Analyze black Scholes option pricing model using sensitivity charts
                                          for annualized volatility
Ernst, Reagan        10/12/2023     1.3   Analyze black Scholes option pricing model using sensitivity charts
                                          for future value
Ernst, Reagan        10/12/2023     1.6   Create black Scholes model utilizing stock price as an independent
                                          variable
Ernst, Reagan        10/12/2023     2.9   Construct sensitivity analysis for potential equity sale position

Ernst, Reagan        10/12/2023     0.7   Update unit pricing on brokerage positions for PMO slide deck




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Asset Sales
Professional                 Date    Hours    Activity
Faett, Jack             10/12/2023     1.2   Discussion to review updates to market slides in reverse due
                                             diligence deck with K. Kearney and J. Faett (A&M)
Faett, Jack             10/12/2023     0.9   Update factors for success slide for review comments


Faett, Jack             10/12/2023     0.8   Update market overview summary slide for review comment

Faett, Jack             10/12/2023     0.3   Update deal activity slide for review comments

Faett, Jack             10/12/2023     0.7   Call to discuss review comments on market slides for the reverse
                                             due diligence slide deck with K. Kearney and J. Faett (A&M)
Gidoomal, Dhruv         10/12/2023     0.7   Teleconference with K. Montague, R. Gordon, K. Kearney, D.
                                             Gidoomal(A&M) over edits to market overview presentation
Gidoomal, Dhruv         10/12/2023     0.9   Research and add detail on global regulatory framework for the
                                             Australia to Appendix C
Gidoomal, Dhruv         10/12/2023     1.2   Research and add detail on global regulatory framework for the
                                             Bahamas to Appendix C
Gidoomal, Dhruv         10/12/2023     1.3   Research and add detail on global regulatory framework for the EU
                                             to Appendix C
Gidoomal, Dhruv         10/12/2023     3.1   Research and add detail on global regulatory framework for the USA
                                             to Appendix C
Glustein, Steven        10/12/2023     0.6   Update LedgerPrime remaining assets workbook relating to crypto
                                             assets held at third party exchanges
Glustein, Steven        10/12/2023     0.4   Provide comments on receivable bridge relating to July and
                                             September coin report
Glustein, Steven        10/12/2023     1.1   Update LedgerPrime remaining assets workbook relating to SAFE
                                             investments
Gordon, Robert          10/12/2023     0.7   Teleconference with K. Montague, R. Gordon, K. Kearney, D.
                                             Gidoomal(A&M) over edits to market overview presentation
Gordon, Robert          10/12/2023     0.4   Teleconference with R. Gordon, B. Turton(A&M) over revenue
                                             changes to bidder #1 earnout analysis
Gordon, Robert          10/12/2023     0.8   Teleconference with R. Gordon, K. Kearney(A&M) over market
                                             analysis findings
Gordon, Robert          10/12/2023     0.2   2.0 Rapid Assessment Leads Call with R. Gordon, and K. Kearney
                                             (A&M)
Gordon, Robert          10/12/2023     1.4   Review bidder #2 latest operational readiness analysis

Gordon, Robert          10/12/2023     0.6   Review bidder #4 latest operational readiness analysis


Gordon, Robert          10/12/2023     1.2   Review bidder #1 latest operational readiness analysis

Gordon, Robert          10/12/2023     1.1   Review bidder #3 latest operational readiness analysis


Gordon, Robert          10/12/2023     1.5   Discussion to compare success criteria across bidders for 2.0 Rapid
                                             Assessment with R. Gordon, K. Kearney, B. Turton, J. Rybarczyk
                                             (A&M)


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Asset Sales
Professional              Date    Hours    Activity
Hainline, Drew       10/12/2023     0.3   Call to discuss next steps and follow up diligence for bidder #2 with
                                          S. Kolodny, D. Hainline (A&M)
Hainline, Drew       10/12/2023     0.7   Update presentation materials related to the management team for
                                          bidder #2 to support diligence efforts
Hainline, Drew       10/12/2023     1.4   Review additional follow-up questions proposed for all bidders to
                                          support success criteria
Hainline, Drew       10/12/2023     0.7   Update diligence open items and next steps for bidder #2 to support
                                          2.0 Rapid Assessment
Hainline, Drew       10/12/2023     0.6   Review and draft comments for market overview slides prepared for
                                          2.0 Rapid Assessment
Hainline, Drew       10/12/2023     0.7   Perform research on international regulatory licenses to support
                                          diligence for bidder #2
Hainline, Drew       10/12/2023     0.4   Review discussion presentation materials for bidder #1 to support
                                          diligence efforts
Hainline, Drew       10/12/2023     0.7   Gather support for research related to bidder #2 into shared folders

Hainline, Drew       10/12/2023     0.6   Review SEC registrations and EDGAR filings to support diligence
                                          efforts
Hainline, Drew       10/12/2023     0.6   Draft updates to PFI Key Assumptions to support 2.0 Rapid
                                          Assessment
Hainline, Drew       10/12/2023     0.3   Perform updates to regulatory compliance considerations for bidder
                                          #2 to support diligence efforts
Hainline, Drew       10/12/2023     2.0   Discussion to compare success criteria across bidders for 2.0 Rapid
                                          Assessment with D. Hainline, K. Reagan, K. Montague (A&M)
Kearney, Kevin       10/12/2023     1.2   Discussion to review updates to market slides in reverse due
                                          diligence deck with K. Kearney and J. Faett (A&M)
Kearney, Kevin       10/12/2023     1.1   Review success criteria evaluation analysis for bidder 3 reverse
                                          diligence procedures
Kearney, Kevin       10/12/2023     1.9   Review success criteria evaluation analysis for bidder 2 reverse
                                          diligence procedures
Kearney, Kevin       10/12/2023     2.1   Review success criteria evaluation analysis for bidder 1 reverse
                                          diligence procedures
Kearney, Kevin       10/12/2023     0.8   Teleconference with R. Gordon, K. Kearney(A&M) over market
                                          analysis findings
Kearney, Kevin       10/12/2023     0.2   Teleconference with K. Kearney and B. Turton (A&M) to review
                                          Bidder #2 earnout
Kearney, Kevin       10/12/2023     0.2   2.0 Rapid Assessment Leads Call with R. Gordon, and K. Kearney
                                          (A&M)
Kearney, Kevin       10/12/2023     0.5   Call to compare success criteria across bidders for 2.0 Rapid
                                          Assessment with K. Kearney, B. Turton, J. Rybarczyk (A&M)
Kearney, Kevin       10/12/2023     0.7   Call to discuss review comments on market slides for the reverse
                                          due diligence slide deck with K. Kearney and J. Faett (A&M)
Kearney, Kevin       10/12/2023     0.7   Teleconference with K. Montague, R. Gordon, K. Kearney, D.
                                          Gidoomal(A&M) over edits to market overview presentation




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Asset Sales
Professional               Date    Hours    Activity
Kearney, Kevin        10/12/2023     1.5   Discussion to compare success criteria across bidders for 2.0 Rapid
                                           Assessment with R. Gordon, K. Kearney, B. Turton, J. Rybarczyk
                                           (A&M)
Kolodny, Steven       10/12/2023     0.8   Review outstanding success criteria that is covered or not covered
                                           within the proposal deck for Payment Gateways
Kolodny, Steven       10/12/2023     0.3   Call to discuss next steps and follow up diligence for bidder #2 with
                                           S. Kolodny, D. Hainline (A&M)
Kolodny, Steven       10/12/2023     0.8   Review outstanding success criteria that is covered or not covered
                                           within the proposal deck for Risk Management
Kolodny, Steven       10/12/2023     0.8   Review outstanding success criteria that is covered or not covered
                                           within the proposal deck for Regulatory Compliance
Kolodny, Steven       10/12/2023     1.6   Review outstanding success criteria that is covered or not covered
                                           within the proposal deck for Security criteria
Kolodny, Steven       10/12/2023     1.3   Review elements for which contributed to financial illiquidity in crypto
                                           firms
Kolodny, Steven       10/12/2023     0.9   Review bidder withdrawal of application for bank charter and FDIC
                                           protected deposits
Kolodny, Steven       10/12/2023     1.2   Review payment gateway information for crypto firms across the
                                           industry
Kolodny, Steven       10/12/2023     0.9   Review bidder application for federally insured bank charter


Kolodny, Steven       10/12/2023     0.8   Review outstanding success criteria that is covered or not covered
                                           within the proposal deck for Technology and Infrastructure
Montague, Katie       10/12/2023     0.2   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk, K.
                                           Montague, and B. Turton (A&M)
Montague, Katie       10/12/2023     2.0   Discussion to compare success criteria across bidders for 2.0 Rapid
                                           Assessment with D. Hainline, K. Reagan, K. Montague (A&M)
Montague, Katie       10/12/2023     0.7   Teleconference with K. Montague, R. Gordon, K. Kearney, D.
                                           Gidoomal(A&M) over edits to market overview presentation
Ramanathan, Kumanan   10/12/2023     0.4   Call with D. Handelsman (S&C) to discuss fund administrator
                                           engagement letter
Ramanathan, Kumanan   10/12/2023     0.2   Call with C. Rhine (Galaxy) to discuss counterparty issue

Ramanathan, Kumanan   10/12/2023     0.3   Correspond with FTX 2.0 bidder re: user behavior question


Reagan, Kelsey        10/12/2023     0.2   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk, K.
                                           Montague, and B. Turton (A&M)
Reagan, Kelsey        10/12/2023     2.9   Review the slides for bidder #3 and current assessment / rating for
                                           each criteria for success
Reagan, Kelsey        10/12/2023     1.3   Update data request list to include consistent follow ups for all
                                           bidders
Reagan, Kelsey        10/12/2023     0.9   Update bidder presentation to include all open requests for bidder #3

Reagan, Kelsey        10/12/2023     2.3   Update bidder presentation to include additional information missing
                                           for bidder #3 that was identified in the Discussion


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Professional                 Date    Hours    Activity
Reagan, Kelsey          10/12/2023     2.0   Discussion to compare success criteria across bidders for 2.0 Rapid
                                             Assessment with D. Hainline, K. Reagan, K. Montague (A&M)
Rybarczyk, Jodi         10/12/2023     1.2   Update the background of bidder #4, relevant experience of the
                                             sponsor parties and management team
Rybarczyk, Jodi         10/12/2023     0.2   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk, K.
                                             Montague, and B. Turton (A&M)
Rybarczyk, Jodi         10/12/2023     1.4   Update the bidder #4 summary to include assessment and findings
                                             by success criteria
Rybarczyk, Jodi         10/12/2023     1.4   Research any lawsuits or cyber infiltration related to bidder #4


Rybarczyk, Jodi         10/12/2023     0.6   Review comments received on PFI key assumptions summary

Rybarczyk, Jodi         10/12/2023     1.5   Discussion to compare success criteria across bidders for 2.0 Rapid
                                             Assessment with R. Gordon, K. Kearney, B. Turton, J. Rybarczyk
                                             (A&M)
Rybarczyk, Jodi         10/12/2023     0.5   Call to compare success criteria across bidders for 2.0 Rapid
                                             Assessment with K. Kearney, B. Turton, J. Rybarczyk (A&M)
Sivapalu, Anan          10/12/2023     0.6   Store ticker-product type map to database for joining with financial
                                             balance fact table
Sivapalu, Anan          10/12/2023     1.1   Attempt to join ticker-product type map to financial balance fact data
                                             table
Sivapalu, Anan          10/12/2023     1.7   Write SQL query to correct for misaligned data rows

Sivapalu, Anan          10/12/2023     0.7   Investigate balance data connection to financial detail


Sivapalu, Anan          10/12/2023     2.3   Add financial balance detail data to data model

Sivapalu, Anan          10/12/2023     2.8   Investigate missing data point compared to original raw data

Titus, Adam             10/12/2023     0.6   Review IT process steps provided based on data storage to include
                                             in hedge fund entity weekly update
Titus, Adam             10/12/2023     1.6   Review draft letters for CIO of hedge fund entity for transfer of
                                             authority for illiquid assets
Titus, Adam             10/12/2023     0.7   Provide response to J. Macdonald on request for capital call
                                             including summary of situation
Titus, Adam             10/12/2023     1.3   Send email to internal team to provide guidance on next steps for
                                             process points
Titus, Adam             10/12/2023     0.9   Draft summary of weekly deal updates for venture book


Titus, Adam             10/12/2023     1.8   Edit PMO slides for inclusion in weekly process update

Turton, Bobby           10/12/2023     0.2   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk, K.
                                             Montague, and B. Turton (A&M)
Turton, Bobby           10/12/2023     0.4   Teleconference with R. Gordon, B. Turton(A&M) over revenue
                                             changes to bidder #1 earnout analysis


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Professional                 Date    Hours    Activity
Turton, Bobby           10/12/2023     0.2   Teleconference with K. Kearney and B. Turton (A&M) to review
                                             Bidder #1 earnout
Turton, Bobby           10/12/2023     0.6   Respond to K. Kearney's questions about projected financial
                                             information for bidder #1
Turton, Bobby           10/12/2023     2.6   Prepare updated earnout analysis for Bidder #1 based on revised
                                             market data
Turton, Bobby           10/12/2023     0.5   Call to compare success criteria across bidders for 2.0 Rapid
                                             Assessment with K. Kearney, B. Turton, J. Rybarczyk (A&M)
Turton, Bobby           10/12/2023     0.3   Discuss Bidder #1 pro forma financials and Project Focus Reverse
                                             Diligence Overview strategy session with B. Turton and M.
                                             Beretta (A&M)
Turton, Bobby           10/12/2023     1.5   Discussion to compare success criteria across bidders for 2.0 Rapid
                                             Assessment with R. Gordon, K. Kearney, B. Turton, J. Rybarczyk
                                             (A&M)
Beretta, Matthew        10/13/2023     2.2   Analyze IFRS financial statement adjustments for Bidder #1 and try
                                             to reconcile with historic documents
Beretta, Matthew        10/13/2023     2.9   Catalogue and review new documents in VDR against diligence
                                             requests
Beretta, Matthew        10/13/2023     0.6   Compare Bidder #1 pro forma financials with historic audited
                                             financials while preparing revised diligence request with B. Turton
                                             and M. Beretta (A&M)
Callerio, Lorenzo       10/13/2023     1.6   Review the Coin98 materials provided by S. Paolinetti (A&M) and
                                             provide comments
Callerio, Lorenzo       10/13/2023     0.7   Review the additional Coin98 agreements found by S. Paolinetti
                                             (A&M)
Chambers, Henry         10/13/2023     1.4   Update presentation on review of KYC/AML program of bidders

Clayton, Lance          10/13/2023     1.7   Update investment tracking model for weekly post petition activity


Clayton, Lance          10/13/2023     3.1   Update LedgerPrime remaining assets workbook for weekly transfers

Clayton, Lance          10/13/2023     2.2   Draft workplan for LedgerPrime next steps and outstanding
                                             deliverables
Clayton, Lance          10/13/2023     2.8   Prepare initial weekly status draft for LedgerPrime


Clayton, Lance          10/13/2023     0.6   Correspondence with Sygnia regarding LedgerPrime transfers

Ernst, Reagan           10/13/2023     2.1   Create weekly venture investments overview deck to display
                                             Alameda's venture portfolio to date
Ernst, Reagan           10/13/2023     2.2   Update venture investments overview deck to account for legal entity
                                             changes
Faett, Jack             10/13/2023     1.2   Review EU Global Regulatory Framework slides within the reverse
                                             due diligence slide deck
Faett, Jack             10/13/2023     1.1   Review Bahamas Global Regulatory Framework slides within the
                                             reverse due diligence slide deck



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Asset Sales
Professional                 Date    Hours    Activity
Faett, Jack             10/13/2023     1.2   Review Australia Global Regulatory Framework slides within the
                                             reverse due diligence slide deck
Faett, Jack             10/13/2023     2.1   Review USA Global Regulatory Framework slides within the reverse
                                             due diligence slide deck
Faett, Jack             10/13/2023     0.3   Meeting to discuss Regulatory Landscape appendix within the
                                             reverse due diligence deck with K. Kearney and J. Faett (A&M)
Gidoomal, Dhruv         10/13/2023     2.6   Update Data on slide 13 to show change in market over last twelve
                                             months and changed source material footnote to reflect changes
Glustein, Steven        10/13/2023     0.9   Prepare summary for J. MacDonald (S&C) regarding fund
                                             investment positions held by LedgerPrime
Glustein, Steven        10/13/2023     1.1   Prepare summary of crypto exchange investment relating to
                                             LedgerPrime
Glustein, Steven        10/13/2023     0.2   Update PMO slides relating to LedgerPrime updates


Glustein, Steven        10/13/2023     0.3   Update PMO slides relating to brokerage updates

Glustein, Steven        10/13/2023     1.4   Update PMO slides relating to venture portfolio updates


Gordon, Robert          10/13/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                             Hainline, K Reagan (A&M)
Gordon, Robert          10/13/2023     0.2   Teleconference with K. Jacobs, R. Gordon(A&M) over tax analysis of
                                             2.0 process
Gordon, Robert          10/13/2023     1.1   Meeting with bidder #1 management, PWP(K. Kofsky, M. Rahmani,
                                             others), S&C(A. Dieterich, M. Friedman, Others), R. Gordon, B.
                                             Turton, K. Kearney(A&M)
Hainline, Drew          10/13/2023     0.5   Call to discuss open diligence requests for financial considerations
                                             with K. Kearney, D. Hainline (A&M)
Hainline, Drew          10/13/2023     0.7   Review bidder #2 policies and planned procedures related to KYC
                                             and AML to support diligence efforts
Hainline, Drew          10/13/2023     0.6   Continue to review success criteria to assess gaps in current
                                             diligence requests for bidder #2
Hainline, Drew          10/13/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                             Hainline, K Reagan (A&M)
Hainline, Drew          10/13/2023     0.6   Discussion to review open diligence items for bidder #2 with S.
                                             Kolodny, D. Hainline (A&M)
Hainline, Drew          10/13/2023     0.2   Review and respond to review comments from SMEs for bidder #2
                                             to support diligence efforts
Hainline, Drew          10/13/2023     0.3   Update open item listing and next steps for 2.0 Rapid Assessment
                                             for bidder #2
Hainline, Drew          10/13/2023     0.7   Review draft diligence questions related to financial projects for
                                             bidder #2
Hainline, Drew          10/13/2023     0.6   Update presentation materials related to KYC/AML for bidder #2

Hershan, Robert         10/13/2023     1.3   Review Ledger Prime weekly progress on open matters, next steps




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Asset Sales
Professional               Date    Hours    Activity
Jacobs, Kevin         10/13/2023     0.2   Teleconference with K. Jacobs, R. Gordon (A&M) over tax analysis
                                           of 2.0 process
Kearney, Kevin        10/13/2023     0.5   Call to discuss open diligence requests for financial considerations
                                           with K. Kearney, D. Hainline (A&M)
Kearney, Kevin        10/13/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                           Hainline, K Reagan (A&M)
Kearney, Kevin        10/13/2023     2.2   Review of regulatory enforcement actions for BOD presentation
                                           associated with FTX 2.0 sale
Kearney, Kevin        10/13/2023     0.4   Prepare correspondence with Sygnia regarding scope of reverse
                                           diligence procedures
Kearney, Kevin        10/13/2023     1.6   Review updated responses to reverse diligence inquiries for bidder 2

Kearney, Kevin        10/13/2023     1.1   Meeting with bidder #1 management, PWP(K. Cofsky, M. Rahmani,
                                           others), S&C(A. Dieterich, M. Friedman, Others), R. Gordon, B.
                                           Turton, K. Kearney(A&M)
Kearney, Kevin        10/13/2023     0.3   Meeting to discuss Regulatory Landscape appendix within the
                                           reverse due diligence deck with K. Kearney and J. Faett (A&M)
Kolodny, Steven       10/13/2023     0.9   Review entity types (e.g. crypto, agricultural) with CFTC licenses
                                           granted over the last five years
Kolodny, Steven       10/13/2023     0.6   Discussion to review open diligence items for bidder #2 with S.
                                           Kolodny, D. Hainline (A&M)
Kolodny, Steven       10/13/2023     0.9   Continue to review CFTC license process as stated in proposal of
                                           bidder #2 upon launch
Kolodny, Steven       10/13/2023     0.9   Draft diligence questions and open items to follow up on to gain
                                           clarity on next steps
Kolodny, Steven       10/13/2023     0.8   Research potential for bidder #2 to obtain stated licensure in stated
                                           geographical footprint
Kolodny, Steven       10/13/2023     0.9   Continue to review and draft success criteria for comparison across
                                           bidders
Kolodny, Steven       10/13/2023     0.9   Review entities granted with CFTC licenses over the last five years


Kolodny, Steven       10/13/2023     0.9   Review regulatory filings with the SEC for bidder #2

Kolodny, Steven       10/13/2023     0.8   Research Cypress licensure for trading platforms and the optionality
                                           that provides entities for leeway in the European union
McLoughlin, Miles     10/13/2023     1.1   Check background of bidder #3 management team to determine if
                                           there are any lawsuits/previous incidents
McLoughlin, Miles     10/13/2023     0.6   Call to update on current state and future plans for the project with
                                           K. Reagan and M. Mcloughlin (A&M)
McLoughlin, Miles     10/13/2023     2.1   Familiarize with the new data provided by bidders

Montague, Katie       10/13/2023     0.3   2.0 Rapid Assessment Leads Call with J. Rybarczyk., K. Montague,
                                           B. Turton (A&M)
Paolinetti, Sergio    10/13/2023     0.4   Search on relativity for and develop analysis of SAFE agreements




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Professional                 Date    Hours    Activity
Ramanathan, Kumanan     10/13/2023     0.4   Review and correspond with PwP team re: FTX 2.0 diligence
                                             inquiries
Ramanathan, Kumanan     10/13/2023     0.1   Call with F. Risler (FTI) to discuss derivative details


Reagan, Kelsey          10/13/2023     0.6   Call to update on current state and future plans for the project with
                                             K. Reagan and M. Mcloughlin (A&M)
Reagan, Kelsey          10/13/2023     1.1   Compare the bidder #3 proposed fees for makers and takers against
                                             the industry average
Reagan, Kelsey          10/13/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                             Hainline, K Reagan (A&M)
Reagan, Kelsey          10/13/2023     1.7   Research any cybersecurity breaches and unauthorized transfers
                                             against bidder #3
Reagan, Kelsey          10/13/2023     0.6   Add any incidents of unauthorized transfers or lawsuits to bidder
                                             #3's data requests
Reagan, Kelsey          10/13/2023     1.9   Review the bidder presentation for bidder #3 and all other bidders

Reagan, Kelsey          10/13/2023     0.6   Review relativity search for bidder #3's management team and
                                             sponsors
Reagan, Kelsey          10/13/2023     0.9   Review the market data in the bidder presentation

Reagan, Kelsey          10/13/2023     1.3   Research any class action lawsuits against bidder #3

Rybarczyk, Jodi         10/13/2023     1.3   Compare the bidder #4 proposed fees for makers and takers against
                                             the industry average
Rybarczyk, Jodi         10/13/2023     0.3   2.0 Rapid Assessment Leads Call with J. Rybarczyk., K. Montague,
                                             B. Turton (A&M)
Rybarczyk, Jodi         10/13/2023     0.2   Review comments from SMEs for bidder #4


Rybarczyk, Jodi         10/13/2023     0.9   Review market data included in bidder presentation

Rybarczyk, Jodi         10/13/2023     1.9   Revise key management and leadership appendix for bidder #4


Sivapalu, Anan          10/13/2023     2.4   Write SQL code to combine corrected rows to rest of the dataset

Sivapalu, Anan          10/13/2023     1.1   Write dax code to check summaries of balance data in SSAS
                                             database
Sivapalu, Anan          10/13/2023     1.3   Redevelop data model with current version of balance data


Titus, Adam             10/13/2023     1.6   Review 2.0 presentation materials for potential bidders, specifically
                                             the market overview section to provide feedback
Titus, Adam             10/13/2023     1.1   Update weekly leadership schedule for workstream details including
                                             process milestones
Titus, Adam             10/13/2023     0.4   Email correspondence on hedge fund entity from deal perspective
                                             on next steps




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Professional                 Date    Hours    Activity
Titus, Adam             10/13/2023     0.7   Update presentation materials on hedge fund entity for weekly
                                             meeting
Turton, Bobby           10/13/2023     0.3   2.0 Rapid Assessment Leads Call with J. Rybarczyk., K. Montague,
                                             B. Turton (A&M)
Turton, Bobby           10/13/2023     1.6   Analyze IFRS financial statement adjustments for Bidder #1

Turton, Bobby           10/13/2023     2.9   Prepare revenue allocation for Bidder #1 earnout analysis

Turton, Bobby           10/13/2023     0.6   Compare Bidder #1 pro forma financials with historic audited
                                             financials while preparing revised diligence request with B. Turton
                                             and M. Beretta (A&M)
Turton, Bobby           10/13/2023     1.1   Meeting with bidder #1 management, PWP(K. Cofsky, M. Rahmani,
                                             others), S&C(A. Dieterich, M. Friedman, Others), R. Gordon, B.
                                             Turton, K. Kearney(A&M)
Chambers, Henry         10/14/2023     0.3   Review updated bidder KYC/AML reverse diligence document

Glustein, Steven        10/14/2023     0.7   Draft weekend update summary relating to venture investments


Gidoomal, Dhruv         10/15/2023     1.2   Review all FTX_Financials data related to specific transaction
                                             request for R. Gordon (A&M)
Gordon, Robert          10/15/2023     0.4   Review cybersecurity overview for bidders #1


Gordon, Robert          10/15/2023     0.2   Prepare talking points for 2.0 advisor call

Hainline, Drew          10/15/2023     0.6   Review additional files provided for diligence request from bidder #2

Alvarez, Charles        10/16/2023     0.3   Participate on call to discuss workstream updates with J. Rybarczyk,
                                             C. Alvarez (A&M)
Alvarez, Charles        10/16/2023     1.6   Prepare summary of findings related to relativity search of bidder #4

Alvarez, Charles        10/16/2023     0.9   Review relativity search of balance changes related to bidder #4


Alvarez, Charles        10/16/2023     0.4   Review relativity search of withdrawals related to bidder #4

Alvarez, Charles        10/16/2023     0.6   Review relativity search of total balances related to bidder #4


Alvarez, Charles        10/16/2023     0.7   Review relativity search of deposits related to bidder #4

Alvarez, Charles        10/16/2023     0.8   Review relativity search of transfers related to bidder #4

Beretta, Matthew        10/16/2023     1.1   Call to finalize financial diligence questions for bidders #1 & #2 with
                                             D. Hainline, S. Kolodny, M Beretta (A&M)
Beretta, Matthew        10/16/2023     2.6   Review new uploads in VDR related to Bidder #1 diligence requests
                                             and Update request lists
Beretta, Matthew        10/16/2023     0.3   Call with B. Turton and M. Beretta (A&M) to discuss Bidder #1
                                             connection with SEC filing

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Professional               Date    Hours    Activity
Beretta, Matthew      10/16/2023     0.8   Compare PWP diligence list and Update to reconcile with A&M lists

Beretta, Matthew      10/16/2023     0.3   Perform KYC Vendor Review for Bidder #1


Callerio, Lorenzo     10/16/2023     0.2   Call with R. Perubhatla (RLKS), J. Sime (Embed), R. Hershan and L.
                                           Callerio (A&M) re: IT data retention plan
Callerio, Lorenzo     10/16/2023     1.3   Data archival team call with R. Perubhatla, B.Bangerter (RKLS),
                                           J.Sime, M.Mayer (Embed) & L. Callerio (A&M) re weekly update and
                                           next steps; separate call with L. Callerio (A&M) re Embed wind down
                                           next steps and summary for J. Ray (FTX)
Callerio, Lorenzo     10/16/2023     0.4   Prepare an updated version of the unlocking and unvesting
                                           marketing materials that includes comments from A. Titus (A&M)
Chambers, Henry       10/16/2023     1.1   Review of updated Bidder diligence document regarding KYC
                                           readiness
Clayton, Lance        10/16/2023     2.9   Create summary recommendation for fund proposal for external
                                           advisor review
Clayton, Lance        10/16/2023     2.7   Review of potential fund bidder IOI and prepare summary for team


Clayton, Lance        10/16/2023     0.8   Correspondence with S. Tang (LedgerPrime) re: remaining crypto
                                           assets
Clayton, Lance        10/16/2023     1.6   Review of weekly LedgerPrime wallet transfers to cold storage


Clayton, Lance        10/16/2023     2.4   Prepare summary tracker of proposals on venture assets

Ernst, Reagan         10/16/2023     1.6   Update brokerage summary unit prices to account for macro market
                                           activity in the BOD slide deck
Ernst, Reagan         10/16/2023     2.3   Analyze vesting schedule of Alameda equity position for one page
                                           summary
Ernst, Reagan         10/16/2023     2.6   Create summary regarding equity position looking to expand its
                                           operations
Ernst, Reagan         10/16/2023     2.1   Create overview slide on Alameda dissolutions to date


Ernst, Reagan         10/16/2023     0.4   Update venture team process tracker regarding NDA proposals

Gidoomal, Dhruv       10/16/2023     0.9   Review PWP Questions on business plan and valuation models for
                                           Bidder 1 and 2
Gidoomal, Dhruv       10/16/2023     0.7   Review Update Consolidate bidder request list for all bidders

Glustein, Steven      10/16/2023     0.4   Review SAFE agreement regarding preferred shareholder status
                                           relating to upcoming dissolution
Glustein, Steven      10/16/2023     1.1   Review board materials relating to dissolution investment strategy


Glustein, Steven      10/16/2023     0.8   Review notice of dissolution document relating to venture book
                                           assets
Glustein, Steven      10/16/2023     0.4   Update board materials relating to dissolution investment strategy


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Professional              Date    Hours    Activity
Glustein, Steven     10/16/2023     1.9   Review December month-end reporting from NAV relating to
                                          LedgerPrime
Gordon, Robert       10/16/2023     0.5   Discussion to discuss earnout analysis for Bidder #1 with R. Gordon,
                                          K. Kearney, and B. Turton (A&M)
Gordon, Robert       10/16/2023     1.1   Call to finalize financial diligence questions for bidders #1 & #2 with
                                          R. Gordon, K. Kearney, B. Turton (A&M)
Gordon, Robert       10/16/2023     0.7   Teleconference with R. Gordon, K. Kearney(A&M) to discuss 2.0
                                          market analysis
Gordon, Robert       10/16/2023     0.2   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline (A&M)
Gordon, Robert       10/16/2023     0.9   Review updated consolidated bidder request list from PWP

Gordon, Robert       10/16/2023     1.9   Review latest earnout model for bidder #1


Hainline, Drew       10/16/2023     0.6   Draft summary of suggested edits to current draft of financial
                                          diligence questions for 2.0 Rapid Assessment
Hainline, Drew       10/16/2023     0.3   Review drafted summary of procedures and findings for diligence
                                          searches in Relativity and exchange accounts
Hainline, Drew       10/16/2023     0.6   Call to discuss next steps for 2.0 Rapid Assessment presentation
                                          materials with J. Rybarczyk, D. Hainline (A&M)
Hainline, Drew       10/16/2023     0.3   Update consolidated diligence request tracker based on additional
                                          information received from bidder #2
Hainline, Drew       10/16/2023     0.4   Draft updates to summary of procedures and findings for diligence
                                          searches in Relativity and exchange accounts
Hainline, Drew       10/16/2023     1.1   Call to finalize financial diligence questions for bidders #1 & #2 with
                                          D. Hainline, S. Kolodny, M Baretta (A&M)
Hainline, Drew       10/16/2023     0.5   Call to align on approach for financial diligence requests with K.
                                          Kearney, D. Hainline (A&M)
Hainline, Drew       10/16/2023     0.7   Review draft of project financials related questions for diligence
                                          regarding bidders #1 & #2
Hainline, Drew       10/16/2023     0.7   Review available information on bidder research against historical
                                          FTX account holders
Hainline, Drew       10/16/2023     0.3   Update status of diligence requests after recent responses for bidder
                                          #2
Hainline, Drew       10/16/2023     0.2   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline (A&M)
Hainline, Drew       10/16/2023     0.8   Review responses received for KYC and AML diligence requests
                                          from bidder #2
Hainline, Drew       10/16/2023     1.3   Summarize projected financial data for comparisons to support
                                          diligence efforts
Hainline, Drew       10/16/2023     1.8   Review responses received on updated diligence request tracker for
                                          bidder #2
Hainline, Drew       10/16/2023     0.8   Continue review of additional files provided for diligence request
                                          from bidder #2




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Professional              Date    Hours    Activity
Hainline, Drew       10/16/2023     1.2   Update open item listing and next steps for diligence efforts related
                                          to bidder #2
Hainline, Drew       10/16/2023     0.3   Call to review latest diligence responses and next steps for 2.0
                                          diligence related to bidder #2 with D. Hainline, S. Kolodny (A&M)
Hershan, Robert      10/16/2023     0.2   Call with R. Perubhatla (RLKS), J. Sime (Embed), R. Hershan and L.
                                          Callerio (A&M) re: IT data retention plan
Hershan, Robert      10/16/2023     1.1   Data archival team call with R. Perubhatla, B.Bangerter (RKLS),
                                          J.Sime, M.Mayer (Embed) & L. Callerio (A&M) re weekly update and
                                          next steps
Kearney, Kevin       10/16/2023     0.5   Discussion to discuss earnout analysis for Bidder #1 with R. Gordon,
                                          K. Kearney, and B. Turton (A&M)
Kearney, Kevin       10/16/2023     1.1   Call to finalize financial diligence questions for bidders #1 & #2 with
                                          R. Gordon, K. Kearney, B. Turton (A&M)
Kearney, Kevin       10/16/2023     0.5   Call to align on approach for financial diligence requests with K.
                                          Kearney, D. Hainline (A&M)
Kearney, Kevin       10/16/2023     1.2   Review updated earn-out analysis for changes in proposed structure
                                          to bidder 1
Kearney, Kevin       10/16/2023     0.9   Review updates to draft reverse diligence assessment for bidder 1

Kearney, Kevin       10/16/2023     1.7   Review updates to draft reverse diligence assessment for bidder 2


Kearney, Kevin       10/16/2023     1.3   Review updates to draft reverse diligence assessment for bidder 3

Kearney, Kevin       10/16/2023     0.7   Teleconference with R. Gordon, K. Kearney(A&M) to discuss 2.0
                                          market analysis
Kearney, Kevin       10/16/2023     0.2   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline (A&M)
Kolodny, Steven      10/16/2023     1.1   Call to finalize financial diligence questions for bidders #1 & #2 with
                                          D. Hainline, S. Kolodny, M Beretta (A&M)
Kolodny, Steven      10/16/2023     1.6   Review latest round of diligence responses from bidder #2 and
                                          merge with main diligence file
Kolodny, Steven      10/16/2023     0.8   Review financial projections based on provided responses for bidder
                                          #2
Kolodny, Steven      10/16/2023     0.8   Review financial projections based on provided responses for bidder
                                          #1
Kolodny, Steven      10/16/2023     0.9   Continue review of latest diligence items related to KYC and AML
                                          Processes
Kolodny, Steven      10/16/2023     0.9   Review open item listing and compare against diligence request list
                                          for bidder #2
Kolodny, Steven      10/16/2023     0.6   Review financial projections summarized for comparison across
                                          bidders
Kolodny, Steven      10/16/2023     1.8   Continue to prepare summary of transaction related to bidder #2

Kolodny, Steven      10/16/2023     0.3   Call to review latest diligence responses and next steps for 2.0
                                          diligence related to bidder #2 with D. Hainline, S. Kolodny (A&M)


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Asset Sales
Professional                 Date    Hours    Activity
McLoughlin, Miles       10/16/2023     0.7   Call to discuss current status, next steps and open PBCs with bidder
                                             #3 with K. Reagan and M. Mcloughlin (A&M)
McLoughlin, Miles       10/16/2023     2.3   Add relevant information to slideshow to fill in gaps in understanding


McLoughlin, Miles       10/16/2023     1.1   Read responses received over the weekend and close requests

Montague, Katie         10/16/2023     0.2   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk., K.
                                             Montague, and B. Turton (A&M)
Paolinetti, Sergio      10/16/2023     1.2   Search on Relativity for wallets in FTX or Alameda's previous
                                             communications
Reagan, Kelsey          10/16/2023     0.7   Call to discuss current status, next steps and open PBCs with bidder
                                             #3 with K. Reagan and M. Mcloughlin (A&M)
Reagan, Kelsey          10/16/2023     2.3   Update the data request list to reflect the updated responses and
                                             status after follow up round 3
Reagan, Kelsey          10/16/2023     2.6   Update the bidder presentation to include the responses from the
                                             AML / KYC questionnaire
Reagan, Kelsey          10/16/2023     0.2   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk., K.
                                             Montague, and B. Turton (A&M)
Reagan, Kelsey          10/16/2023     3.1   Review responses provided from bidder #3 from follow-up round 3

Rybarczyk, Jodi         10/16/2023     0.6   Call to discuss next steps for 2.0 Rapid Assessment presentation
                                             materials with J. Rybarczyk, D. Hainline (A&M)
Rybarczyk, Jodi         10/16/2023     1.6   Add comments to the bidder presentation to reflect all required
                                             updates and missing information
Rybarczyk, Jodi         10/16/2023     0.3   Participate on call to discuss workstream updates with J. Rybarczyk,
                                             C. Alvarez (A&M)
Rybarczyk, Jodi         10/16/2023     0.2   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk., K.
                                             Montague, and B. Turton (A&M)
Rybarczyk, Jodi         10/16/2023     1.0   Review bidder presentation market overview

Stockmeyer, Cullen      10/16/2023     1.1   Update vesting schedule analysis related to liquidation of assets
                                             based on commentary by D. Sagen (A&M)
Stockmeyer, Cullen      10/16/2023     0.7   Update analysis related to request for vesting positions from FTX
                                             based on commentary received
Stockmeyer, Cullen      10/16/2023     1.7   Prepare analysis related to vesting schedule for liquidation of assets

Stockmeyer, Cullen      10/16/2023     1.7   Prepare analysis related to request for vesting positions from FTX


Titus, Adam             10/16/2023     1.2   Respond to request by M. Cilia [RKLS] for diligence related request
                                             for investment details
Titus, Adam             10/16/2023     0.6   Build supporting analysis for request from M. Cilia [RKLS] for
                                             venture fund closings
Titus, Adam             10/16/2023     0.5   Send workplan to L. Clayton [A&M] on venture investments details
                                             need for contracts




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Professional               Date    Hours    Activity
Tong, Crystal         10/16/2023     0.6   Review additional documents submitted by bidders to assess the
                                           KYC & AML components
Trent, Hudson         10/16/2023     0.7   Prepare side by side of bids for non-debtor subsidiary considered for
                                           sale
Turton, Bobby         10/16/2023     1.1   Call to finalize financial diligence questions for bidders #1 & #2 with
                                           R. Gordon, K. Kearney, B. Turton (A&M)
Turton, Bobby         10/16/2023     0.5   Discussion to discuss earnout analysis for Bidder #1 with R. Gordon,
                                           K. Kearney, and B. Turton (A&M)
Turton, Bobby         10/16/2023     0.3   Call with B. Turton and M. Beretta (A&M) to discuss Bidder #1
                                           connection with SEC filing
Turton, Bobby         10/16/2023     0.2   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk., K.
                                           Montague, and B. Turton (A&M)
Turton, Bobby         10/16/2023     0.3   Update PFI questions for Bidder #1 with references to PwP list


Turton, Bobby         10/16/2023     0.7   Review financial model from Bidder #1

Turton, Bobby         10/16/2023     2.8   Update Bidder #1 earnout presentation and Excel model


Turton, Bobby         10/16/2023     0.3   Read press release on announcement of debtor settlement

Beretta, Matthew      10/17/2023     0.4   Pull jurisdiction information for construction of pro forma model for
                                           Bidder #1
Beretta, Matthew      10/17/2023     0.2   Reconcile operating model with previous document uploads from
                                           Bidder #1
Beretta, Matthew      10/17/2023     1.3   Analyze Bidder #1 operating model as of 10.16

Beretta, Matthew      10/17/2023     0.7   Call to develop financial projection comparisons with K. Reagan, J.
                                           Rybarczyk, B. Turton, M. Beretta, D. Hainline (A&M)
Braatelien, Troy      10/17/2023     0.6   Perform Relativity searches to determine existence of relationships
                                           between Bidder #3 executive B and FTX
Braatelien, Troy      10/17/2023     1.6   Perform Relativity searches to determine existence of relationships
                                           between Bidder #1 affiliated entity and FTX
Braatelien, Troy      10/17/2023     0.7   Perform Relativity searches to determine existence of relationships
                                           between Bidder #3 affiliated persons and FTX
Braatelien, Troy      10/17/2023     0.4   Perform Relativity searches to determine existence of relationships
                                           between Bidder #3 executive A and FTX
Callerio, Lorenzo     10/17/2023     0.9   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                           (K. Cofsky, M. Rahmani and others), and A&M (S. Coverick, K.
                                           Ramanathan, R. Gordon, A. Titus, K. Kearney, K. Jacobs, B. Turton
                                           and L. Callerio) re: FTX2.0 process
Clayton, Lance        10/17/2023     2.6   Prepare LedgerPrime transaction hash schedule for input into
                                           remaining asset workbook
Clayton, Lance        10/17/2023     3.2   Prepare summary of proposals for specific venture token
                                           presentation
Coverick, Steve       10/17/2023     0.3   Call with R. Gordon, S. Coverick (A&M) to discuss status of reverse
                                           bidder diligence report

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Coverick, Steve         10/17/2023     0.8   Discuss FTX 2.0 proposals with E. Mosley, S. Coverick (A&M)

Coverick, Steve         10/17/2023     0.9   Teleconference to discuss Bidder # 1 earnout and valuation with R.
                                             Moon, K. Cofsky, and M. Rahmani (PwP) and S. Coverick, R.
                                             Gordon, K. Kearney, and B. Turton (A&M)
Coverick, Steve         10/17/2023     0.4   Teleconference to discuss Bidder # 1 earnout with R. Moon and M.
                                             Rahmani (PwP) and R. Gordon, S. Coverick, K. Kearney, and B.
                                             Turton (A&M)
Coverick, Steve         10/17/2023     0.9   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                             (K. Cofsky, M. Rahmani and others), and A&M (S. Coverick, K.
                                             Ramanathan, R. Gordon, A. Titus, K. Kearney, K. Jacobs, B. Turton
                                             and L. Callerio) re: FTX2.0 process
Ernst, Reagan           10/17/2023     0.6   Search relativity for simple agreement for future equity of position to
                                             reconcile with investment tracker
Ernst, Reagan           10/17/2023     1.3   Calculate accounts receivable for equity position in investment
                                             tracker
Ernst, Reagan           10/17/2023     1.4   Incorporate monthly dissolution summaries into BOD slide deck


Ernst, Reagan           10/17/2023     1.2   Incorporate potential dissolution summaries into BOD slide deck

Ernst, Reagan           10/17/2023     0.9   Create investment tracker bridge for monthly dissolutions


Faett, Jack             10/17/2023     0.8   Update market outlook slides for review comments on the reverse
                                             due diligence slide deck
Faett, Jack             10/17/2023     0.9   Analyze the FTX PowerBI dashboard for relevant information to
                                             include in market outlook slides
Faett, Jack             10/17/2023     2.4   Analyze historical monthly volume data by product ticker for FTX

Gordon, Robert          10/17/2023     0.8   Meeting to discuss missing pieces for bidder #3 with K. Reagan, K.
                                             Kearney, R. Gordon, M. McLoughlin (A&M)
Gordon, Robert          10/17/2023     0.4   Teleconference with Sygnia team(H. Nachmias & Others), R.
                                             Gordon, K. Ramanathan, K. Kearney(A&M) over bidder review
Gordon, Robert          10/17/2023     0.4   Teleconference to prepare for earnout discussion with PwP with R.
                                             Gordon, K. Kearney, and B. Turton (A&M)
Gordon, Robert          10/17/2023     0.1   Teleconference to discuss status of Project Focus PMO update with
                                             K. Kearney, R. Gordon, and B. Turton (A&M)
Gordon, Robert          10/17/2023     0.4   Teleconference to discuss Bidder #1 earnout and valuation with K.
                                             Kearney, R. Gordon, and B. Turton (A&M)
Gordon, Robert          10/17/2023     0.3   Teleconference with S. Coverick, R. Gordon(A&M) over updates to
                                             the 2.0 process
Gordon, Robert          10/17/2023     0.2   Teleconference with K. Jacobs, R. Gordon (A&M) over tax analysis
                                             of 2.0 process
Gordon, Robert          10/17/2023     1.1   Prepare for bidder #1 customer discussion by reviewing customer
                                             waterfall
Gordon, Robert          10/17/2023     0.3   Call with R. Moon, M. Rahmani(PWP) over bidder #1 earnout
                                             analysis


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Asset Sales
Professional              Date    Hours    Activity
Gordon, Robert       10/17/2023     0.4   Final edits for Project Focus status update

Gordon, Robert       10/17/2023     0.3   Review tax responses for bidder #1 requests


Gordon, Robert       10/17/2023     0.4   Teleconference to discuss Bidder # 1 earnout with R. Moon and M.
                                          Rahmani (PwP) and R. Gordon, K. Kearney, and B. Turton (A&M)
Gordon, Robert       10/17/2023     0.9   Teleconference to discuss Bidder # 1 earnout and valuation with R.
                                          Moon, K. Cofsky, and M. Rahmani (PwP) and S. Coverick, R.
                                          Gordon, K. Kearney, and B. Turton (A&M)
Gordon, Robert       10/17/2023     0.9   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                          (K. Cofsky, M. Rahmani and others), and A&M (S. Coverick, K.
                                          Ramanathan, R. Gordon, A. Titus, K. Kearney, K. Jacobs, B. Turton
                                          and L. Callerio) re: FTX2.0 process
Hainline, Drew       10/17/2023     0.8   Draft responses to open questions on customer entitlements and
                                          custodial assets for international entities
Hainline, Drew       10/17/2023     0.7   Review valuation assumptions with projected financials for bidder #2
                                          for comparison model
Hainline, Drew       10/17/2023     1.2   Call to review open items and next steps for bidder #2 with S.
                                          Kolodny, D. Hainline (A&M)
Hainline, Drew       10/17/2023     1.2   Continue to summarize projected financial data for comparisons to
                                          support diligence efforts
Hainline, Drew       10/17/2023     0.7   Draft updates to success factor support for bidder #2 based on
                                          additional responses received
Hainline, Drew       10/17/2023     0.3   Draft updates to open items list to support diligence efforts for bidder
                                          #2
Hainline, Drew       10/17/2023     0.2   Review transaction summary presentation for bidder #2 to support
                                          diligence efforts
Hainline, Drew       10/17/2023     0.3   Gather financial projections support across bidders to support
                                          financials comparison
Hainline, Drew       10/17/2023     0.6   Perform cross bidder analysis on consolidated financial projections

Hainline, Drew       10/17/2023     1.1   Draft updates to status report on 2.0 Rapid Assessment for
                                          leadership
Hainline, Drew       10/17/2023     0.4   Update consolidated diligence request tracker for bidder #2 to reflect
                                          new valuation and projected financials requests
Hainline, Drew       10/17/2023     0.5   Call to draft updates for Project Focus PMO update with J.
                                          Rybarczyk, K. Reagan, D. Hainline (A&M)
Hainline, Drew       10/17/2023     0.1   Teleconference to discuss status of Project Focus PMO update with
                                          K. Kearney, R. Gordon, D. Hainline and B. Turton (A&M)
Hainline, Drew       10/17/2023     0.7   Call to develop financial projection comparisons with K. Reagan, J.
                                          Rybarczyk, B. Turton, M. Beretta, D. Hainline (A&M)
Hershan, Robert      10/17/2023     1.1   Review Ledger Prime matters related to draft of SEC letter


Hershan, Robert      10/17/2023     0.3   Review J. Sime (Embed) weekly wind down update




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Asset Sales
Professional              Date    Hours    Activity
Jacobs, Kevin        10/17/2023     0.9   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                          (K. Cofsky, M. Rahmani and others), and A&M (S. Coverick, K.
                                          Ramanathan, R. Gordon, A. Titus, K. Kearney, K. Jacobs, and L.
                                          Callerio) re: FTX 2.0 process
Johnston, David      10/17/2023     0.3   Call with D. Johnston and E. Mosley to discuss FTX Europe asset
                                          sale term sheet agreement
Johnston, David      10/17/2023     2.1   Review and update proposed term sheet for FTX Europe asset sale,
                                          provide operational inputs
Kearney, Kevin       10/17/2023     0.1   Teleconference to discuss status of Project Focus PMO update with
                                          K. Kearney, R. Gordon, and B. Turton (A&M)
Kearney, Kevin       10/17/2023     0.4   Teleconference to prepare for earnout discussion with PwP with R.
                                          Gordon, K. Kearney, and B. Turton (A&M)
Kearney, Kevin       10/17/2023     0.4   Teleconference to discuss Bidder #1 earnout and valuation with K.
                                          Kearney, R. Gordon, and B. Turton (A&M)
Kearney, Kevin       10/17/2023     0.8   Meeting to discuss missing pieces for bidder #3 with K. Reagan, K.
                                          Kearney, R. Gordon, M. McLoughlin (A&M)
Kearney, Kevin       10/17/2023     0.8   Review updated reverse diligence information provided by bidder 3
                                          for FTX 2.0 reverse diligence analysis
Kearney, Kevin       10/17/2023     2.1   Review updated sensitivity tables and assumptions associated with
                                          bidder 1 earn-out analysis
Kearney, Kevin       10/17/2023     0.6   Prepare correspondence to PWP regarding feedback on bidder 1
                                          financial model
Kearney, Kevin       10/17/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) over updates to
                                          LedgerPrime analysis
Kearney, Kevin       10/17/2023     0.6   Review current assessment of success factor evaluation criteria for
                                          bidder
Kearney, Kevin       10/17/2023     1.3   Review current assessment of success factor evaluation criteria for
                                          bidder 2
Kearney, Kevin       10/17/2023     0.9   Teleconference to discuss Bidder # 1 earnout and valuation with R.
                                          Moon, K. Cofsky, and M. Rahmani (PwP) and S. Coverick, R.
                                          Gordon, K. Kearney, and B. Turton (A&M)
Kearney, Kevin       10/17/2023     0.9   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                          (K. Cofsky, M. Rahmani and others), and A&M (S. Coverick, K.
                                          Ramanathan, R. Gordon, A. Titus, K. Kearney, K. Jacobs, B. Turton
                                          and L. Callerio) re: FTX2.0 process
Kearney, Kevin       10/17/2023     0.4   Teleconference to discuss Bidder # 1 earnout with R. Moon and M.
                                          Rahmani (PwP) and R. Gordon, K. Kearney, and B. Turton (A&M)
Kearney, Kevin       10/17/2023     0.1   Teleconference to discuss status of Project Focus PMO update with
                                          K. Kearney, R. Gordon, D. Hainline and B. Turton (A&M)
Kearney, Kevin       10/17/2023     0.4   Teleconference with Sygnia team(H. Nachmias & Others), R.
                                          Gordon, K. Ramanathan, K. Kearney(A&M) over bidder review
Kolodny, Steven      10/17/2023     1.2   Continue review latest round of diligence responses from bidder #2
                                          and merge with main diligence file
Kolodny, Steven      10/17/2023     1.2   Call to review open items and next steps for bidder #2 with S.
                                          Kolodny, D. Hainline (A&M)
Kolodny, Steven      10/17/2023     1.3   Research CySEC governmental requirements and entities who have
                                          registered with the agency

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Professional                Date    Hours    Activity
Kolodny, Steven        10/17/2023     1.2   Research entities that have registered with CySEC that could be
                                            using registration for crypto
Kolodny, Steven        10/17/2023     0.3   Draft updates to open items list to support diligence efforts for bidder
                                            #2
Kolodny, Steven        10/17/2023     0.9   Identify any available metrics on global crypto trading volume by
                                            geography
Kolodny, Steven        10/17/2023     0.4   Continue revision of key findings and observations for bidder #2

Kolodny, Steven        10/17/2023     0.6   Continue to revise summary of key points on deal structure


Kolodny, Steven        10/17/2023     0.8   Continue review of financial projections across bidders

McLoughlin, Miles      10/17/2023     0.8   Meeting to discuss missing pieces for bidder #3 with K. Reagan, K.
                                            Kearney, R. Gordon, M. McLoughlin (A&M)
McLoughlin, Miles      10/17/2023     2.1   Check bidder #3 management team investment in FTX for conflicts
                                            of interest
McLoughlin, Miles      10/17/2023     0.7   Add new proposed management to slideshow and do background
                                            check
McLoughlin, Miles      10/17/2023     2.7   Read SEC report from bidder #3 to check for potential concerns

McLoughlin, Miles      10/17/2023     0.8   Call to go over potential conflicts of interest between bidder #3
                                            management team and FTX with K. Reagan and M. McLoughlin
                                            (A&M)
Mosley, Ed             10/17/2023     0.3   Call with D. Johnston and E. Mosley to discuss FTX Europe asset
                                            sale term sheet agreement
Mosley, Ed             10/17/2023     0.8   Discuss FTX 2.0 proposals with E. Mosley, S. Coverick (A&M)

Mosley, Ed             10/17/2023     0.4   Participate in Ledger Prime discussion on wind down next steps and
                                            compliance letter with FTX (J.Ray, M.Cilia, K.Schultea), S&C
                                            (S.Wheeler, others), and A&M (R.Hershan, A.Titus, E.Mosley,
                                            S.Coverick, S.Gluestein, others)
Ramanathan, Kumanan    10/17/2023     0.6   Review of excluded token and corresponding balances and
                                            correspond with counsel
Ramanathan, Kumanan    10/17/2023     0.9   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                            (K. Cofsky, M. Rahmani and others), and A&M (S. Coverick, K.
                                            Ramanathan, R. Gordon, A. Titus, K. Kearney, K. Jacobs, B. Turton
                                            and L. Callerio) re: FTX2.0 process
Reagan, Kelsey         10/17/2023     0.8   Meeting to discuss missing pieces for bidder #3 with K. Reagan, K.
                                            Kearney, R. Gordon, M. McLoughlin (A&M)
Reagan, Kelsey         10/17/2023     2.6   Prepare for Discussion to summarize all criteria for operation
                                            success and the economics of the deal
Reagan, Kelsey         10/17/2023     0.5   Call to draft updates for Project Focus PMO update with J.
                                            Rybarczyk, K. Reagan, D. Hainline (A&M)
Reagan, Kelsey         10/17/2023     0.7   Add comments to the bidder presentation to reflect all required
                                            updates and missing information
Reagan, Kelsey         10/17/2023     1.1   Review bidder presentation market overview


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Asset Sales
Professional                 Date    Hours    Activity
Reagan, Kelsey          10/17/2023     2.3   Review all bidder slides to ensure internal consistency

Reagan, Kelsey          10/17/2023     0.8   Call to go over potential conflicts of interest between bidder #3
                                             management team and FTX with K. Reagan and M. McLoughlin
                                             (A&M)
Reagan, Kelsey          10/17/2023     0.7   Call to develop financial projection comparisons with K. Reagan, J.
                                             Rybarczyk, B. Turton, M. Beretta, D. Hainline (A&M)
Rybarczyk, Jodi         10/17/2023     0.5   Call to draft updates for Project Focus PMO update with J.
                                             Rybarczyk, K. Reagan, D. Hainline (A&M)
Rybarczyk, Jodi         10/17/2023     1.4   Review results of wildcard searches and identify additional
                                             individuals and entities needing to be researched
Rybarczyk, Jodi         10/17/2023     1.4   Prepare slide on relativity search procedures and key findings

Rybarczyk, Jodi         10/17/2023     0.2   Submit request to A&M D&I team to conduct additional wildcard
                                             searches
Rybarczyk, Jodi         10/17/2023     0.7   Call to develop financial projection comparisons with K. Reagan, J.
                                             Rybarczyk, B. Turton, M. Beretta, D. Hainline (A&M)
Stockmeyer, Cullen      10/17/2023     0.7   Update vesting schedule based on commentary from workstream
                                             leaders
Stockmeyer, Cullen      10/17/2023     1.2   Update venture investments amounts based on latest information
                                             available
Stockmeyer, Cullen      10/17/2023     0.9   Perform reconciliation procedures for vesting schedule

Titus, Adam             10/17/2023     0.7   Review of accounting for hedge fund entity November financial
                                             package
Titus, Adam             10/17/2023     1.4   Review bridge provided by S. Glustein [A&M] on hedge fund entity
                                             assets
Titus, Adam             10/17/2023     1.2   Build latest schedule based on newest bridge to ensure control of
                                             assets
Titus, Adam             10/17/2023     1.1   Gather information on regulatory details for hedge fund entity


Titus, Adam             10/17/2023     1.2   Review response letter to regulator re: Hedgefund wind-down

Titus, Adam             10/17/2023     0.9   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                             (K. Cofsky, M. Rahmani and others), and A&M (S. Coverick, K.
                                             Ramanathan, R. Gordon, A. Titus, K. Kearney, K. Jacobs, B. Turton,
                                             and L. Callerio) re: FTX2.0 process
Turton, Bobby           10/17/2023     0.4   Teleconference to prepare for earnout discussion with PwP with R.
                                             Gordon, K. Kearney, and B. Turton (A&M)
Turton, Bobby           10/17/2023     0.4   Teleconference to discuss Bidder #1 earnout and valuation with K.
                                             Kearney, R. Gordon, and B. Turton (A&M)
Turton, Bobby           10/17/2023     0.1   Teleconference to discuss status of Project Focus PMO update with
                                             K. Kearney, R. Gordon, and B. Turton (A&M)
Turton, Bobby           10/17/2023     2.1   Review financial model from Bidder #1




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Asset Sales
Professional               Date    Hours    Activity
Turton, Bobby         10/17/2023     1.3   Update Bidder #1 earnout model based on financial model

Turton, Bobby         10/17/2023     0.3   Prepare status update on Bidder #1 for Project Focus PMO


Turton, Bobby         10/17/2023     1.2   Prepare valuation analysis for Bidder # 1

Turton, Bobby         10/17/2023     0.4   Teleconference to discuss Bidder # 1 earnout with R. Moon and M.
                                           Rahmani (PwP) and R. Gordon, S. Coverick, K. Kearney, and B.
                                           Turton (A&M)
Turton, Bobby         10/17/2023     0.7   Call to develop financial projection comparisons with K. Reagan, J.
                                           Rybarczyk, B. Turton, M. Beretta, D. Hainline (A&M)
Turton, Bobby         10/17/2023     0.1   Teleconference to discuss status of Project Focus PMO update with
                                           K. Kearney, R. Gordon, D. Hainline and B. Turton (A&M)
Turton, Bobby         10/17/2023     0.9   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                           (K. Cofsky, M. Rahmani and others), and A&M (S. Coverick, K.
                                           Ramanathan, R. Gordon, A. Titus, K. Kearney, K. Jacobs, B. Turton,
                                           and L. Callerio) re: FTX2.0 process
Turton, Bobby         10/17/2023     0.9   Teleconference to discuss Bidder # 1 earnout and valuation with R.
                                           Moon, K. Cofsky, and M. Rahmani (PwP) and S. Coverick, R.
                                           Gordon, K. Kearney, and B. Turton (A&M)
Alvarez, Charles      10/18/2023     0.5   Participate on call to discuss bidder #4 reverse diligence workstream
                                           with J. Rybarczyk, C. Alvarez (A&M)
Alvarez, Charles      10/18/2023     0.8   Review bidder #4 PFI key assumptions

Beretta, Matthew      10/18/2023     0.4   Coordinate with insight center and other research teams to fill out
                                           diligence requests
Beretta, Matthew      10/18/2023     0.5   Prepare Board presentation about Bidder #1 with B. Turton and M.
                                           Beretta (A&M)
Beretta, Matthew      10/18/2023     0.3   Review PWP counter offer to Bidder #1

Beretta, Matthew      10/18/2023     1.8   Prepare Bidder comparison sheet and helped create metrics to
                                           benchmark
Beretta, Matthew      10/18/2023     1.1   Edit slide deck for management presentation

Beretta, Matthew      10/18/2023     0.7   Create comparison document for Bidder #1 calculations


Beretta, Matthew      10/18/2023     1.5   Teleconference session to review assessment materials for bidder
                                           #1 with K. Kearney, R. Gordon, M. Beretta, and B. Turton (A&M)
Braatelien, Troy      10/18/2023     0.2   Complete Relativity searches to determine existence of relationships
                                           between Bidder #3 significant investor and FTX
Braatelien, Troy      10/18/2023     0.5   Complete Relativity searches to determine existence of relationships
                                           between Bidder #1 affiliated entity and FTX
Braatelien, Troy      10/18/2023     1.6   Complete Relativity searches to determine existence of relationships
                                           between Bidder #1 and FTX
Callerio, Lorenzo     10/18/2023     0.7   Prep for and call with J. Sime (Embed) and L. Callerio (A&M) re
                                           Embed wind down open matters and next phase


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Asset Sales
Professional                 Date    Hours    Activity
Callerio, Lorenzo       10/18/2023     0.4   Meeting with J. Sime (Embed), R. Hershan and L. Callerio (A&M) re:
                                             open items update
Callerio, Lorenzo       10/18/2023     0.3   Call with R. Hershan and L. Callerio (A&M) re: Embed debrief
                                             meeting
Chambers, Henry         10/18/2023     0.5   Call with N. Nussenbaum, G. Possess (PWP) and H. Chambers
                                             (A&M) regarding FTX Japan license
Clayton, Lance          10/18/2023     2.0   Prepare detailed review of transaction hashes to reconcile with
                                             crypto wallets at LedgerPrime
Clayton, Lance          10/18/2023     1.3   Update weekly status deck based on operational updates for
                                             employee status
Clayton, Lance          10/18/2023     2.9   Reconcile standalone wallet balances with Sygnia transfer schedule

Clayton, Lance          10/18/2023     1.2   Update schedule of venture token asset proposals for additional IOI


Clayton, Lance          10/18/2023     1.1   Further review of weekly LedgerPrime liquid crypto transfers

Clayton, Lance          10/18/2023     2.4   Prepare initial update to Ledgerprime weekly status deck


Coverick, Steve         10/18/2023     0.7   Review and provide comments on 2.0 counterproposal

Ernst, Reagan           10/18/2023     2.6   Create venture investments master bridge taking into account the
                                             previous coin reports
Ernst, Reagan           10/18/2023     1.9   Compile contract data regarding LedgerPrime equity positions for
                                             monthly bridge
Ernst, Reagan           10/18/2023     1.3   Update BOD slide deck to account for steps in dissolution process

Ernst, Reagan           10/18/2023     0.8   Review venture team process tracker for deliverable updates


Ernst, Reagan           10/18/2023     1.1   Complete LedgerPrime post-petition equity position summary

Faett, Jack             10/18/2023     0.8   Meeting to review updates to market slides with K. Kearney and J.
                                             Faett (A&M)
Faett, Jack             10/18/2023     2.1   Analyze historical monthly revenue data by product ticker for FTX

Faett, Jack             10/18/2023     0.2   Meeting to discuss additional updates to the market slides within the
                                             reverse due diligence deck with K. Kearney and J. Faett (A&M)
Flynn, Matthew          10/18/2023     0.6   Revise FTX diligence request for security items


Gidoomal, Dhruv         10/18/2023     1.7   Review Project Focus PMO Deck and Update with market overview
                                             analysis
Glustein, Steven        10/18/2023     2.6   Draft post-petition bridge regarding crypto asset transfer activity
                                             relating to LedgerPrime
Glustein, Steven        10/18/2023     1.6   Finalize post-petition activity regarding Alameda assets relating to
                                             venture investments




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Asset Sales
Professional              Date    Hours    Activity
Glustein, Steven     10/18/2023     2.1   Review November post-petition details received from NAV relating to
                                          LedgerPrime
Glustein, Steven     10/18/2023     1.7   Update wallet outstanding workbook relating to LedgerPrime


Gordon, Robert       10/18/2023     0.7   Meeting to review bidder #3 slides for content with K. Kearney, K.
                                          Reagan, R. Gordon, M. McLoughlin (A&M)
Gordon, Robert       10/18/2023     0.7   Call to review bidder #3 diligence assessment materials with K.
                                          Reagan, K. Kearney, R. Gordon, M. McLoughlin (A&M)
Gordon, Robert       10/18/2023     0.9   Discussion to review assessment materials for bidder #1 with K.
                                          Kearney, R. Gordon, M. Beretta, and B. Turton (A&M)
Gordon, Robert       10/18/2023     1.3   Review session over updates to rapid assessment presentation with
                                          R. Gordon, K. Kearney(A&M)
Gordon, Robert       10/18/2023     0.9   Discussion over project focus market analysis with R. Gordon, K.
                                          Kearney, K. Montague(A&M)
Gordon, Robert       10/18/2023     1.7   Continue editing market analysis section of the project focus
                                          presentation
Gordon, Robert       10/18/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, and
                                          D. Hainline (A&M)
Gordon, Robert       10/18/2023     0.7   Review bidder #1 analysis over licensing provided by S&C

Gordon, Robert       10/18/2023     0.6   Review PWP presentation on Bidder #1 contribution analysis

Gordon, Robert       10/18/2023     1.1   Discussion to review earnout and valuation for bidder #1 with K.
                                          Kearney, R. Gordon, and B. Turton (A&M) and M. Rahmani, R.
                                          Moon, J. Darby, and E. Tu (PwP)
Gordon, Robert       10/18/2023     0.8   Call to review bidder #2 diligence assessment materials with R.
                                          Gordon, K. Kearney, K. Montague, S. Kolodny, D. Hainline (A&M)
Hainline, Drew       10/18/2023     0.3   Review proposed legal due diligence questions for bidder #2 to
                                          support regulatory compliance assessment
Hainline, Drew       10/18/2023     0.4   Summarize FTX data dashboard to build presentation of trading
                                          volumes by jurisdiction to support diligence efforts
Hainline, Drew       10/18/2023     0.5   Call to review bidder #2 diligence assessment materials with K.
                                          Montague, S. Kolodny, D. Hainline (A&M)
Hainline, Drew       10/18/2023     0.5   Call to discuss presentation materials and next steps for bidder #2
                                          with K. Kearney, D. Hainline (A&M)
Hainline, Drew       10/18/2023     0.6   Draft presentation materials for bidder #2 executive summary for
                                          diligence assessment
Hainline, Drew       10/18/2023     0.3   Call to debrief on review of bidder assessment materials with B.
                                          Turton, D. Hainline (A&M)
Hainline, Drew       10/18/2023     0.7   Discussions to draft diligence assessment materials with D.
                                          Hainline, S. Kolodny (A&M)
Hainline, Drew       10/18/2023     0.3   Call to review open diligence requests for management teams with
                                          K. Reagan, D. Hainline (A&M)
Hainline, Drew       10/18/2023     0.6   Review relationships to legacy FTX based on Relativity research for
                                          key companies and individuals


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Asset Sales
Professional              Date    Hours    Activity
Hainline, Drew       10/18/2023     0.3   Review available reports to support management team assessment
                                          for bidder #2
Hainline, Drew       10/18/2023     1.7   Perform updates to assessment materials for bidder #2 to support
                                          diligence efforts
Hainline, Drew       10/18/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, and
                                          D. Hainline (A&M)
Hainline, Drew       10/18/2023     0.3   Draft updates to deal structure over for bidder #2 presentation
                                          materials
Hainline, Drew       10/18/2023     1.2   Update open item dashboard for diligence related to bidder #2


Hainline, Drew       10/18/2023     0.3   Perform outside research on pending court cases related to bidders

Hainline, Drew       10/18/2023     0.4   Review counterproposal terms for bidder #1 to support diligence
                                          efforts
Hainline, Drew       10/18/2023     0.4   Apply updated guidance on format to bidder #2 presentation
                                          materials
Hainline, Drew       10/18/2023     0.2   Review final revisions to PMO update materials


Hainline, Drew       10/18/2023     0.2   Debrief bidder #2 live Discussion to ensure internal consistency
                                          among bidders in the bidder presentation with K. Reagan, J.
                                          Rybarczyk, D. Hainline (A&M)
Hainline, Drew       10/18/2023     0.8   Call to review bidder #2 diligence assessment materials with R.
                                          Gordon, K. Kearney, K. Montague, S. Kolodny, D. Hainline (A&M)
Hershan, Robert      10/18/2023     0.4   Meeting with J. Sime (Embed), R. Hershan and L. Callerio (A&M) re:
                                          open items update
Hershan, Robert      10/18/2023     0.3   Call with R. Hershan and L. Callerio (A&M) re: Embed debrief
                                          meeting
Jacobs, Kevin        10/18/2023     0.3   Correspondence re: 2.0 bidder Tax due diligence requests

Kearney, Kevin       10/18/2023     0.7   Call to review bidder #3 diligence assessment materials with K.
                                          Reagan, K. Kearney, R. Gordon, M. McLoughlin (A&M)
Kearney, Kevin       10/18/2023     0.5   Call to discuss presentation materials and next steps for bidder #2
                                          with K. Kearney, D. Hainline (A&M)
Kearney, Kevin       10/18/2023     0.7   Meeting to review bidder #3 slides for content with K. Kearney, K.
                                          Reagan, R. Gordon, M. McLoughlin (A&M)
Kearney, Kevin       10/18/2023     0.9   Discussion over project focus market analysis with R. Gordon, K.
                                          Kearney, K. Montague(A&M)
Kearney, Kevin       10/18/2023     1.3   Review session over updates to rapid assessment presentation with
                                          R. Gordon, K. Kearney(A&M)
Kearney, Kevin       10/18/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, and
                                          D. Hainline (A&M)
Kearney, Kevin       10/18/2023     0.3   Review of updated diligence responses provided by bidder 2

Kearney, Kevin       10/18/2023     0.7   Review of updated diligence responses provided by bidder 3




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Kearney, Kevin       10/18/2023     0.8   Call to review bidder #2 diligence assessment materials with R.
                                          Gordon, K. Kearney, K. Montague, S. Kolodny, D. Hainline (A&M)
Kearney, Kevin       10/18/2023     1.5   Discussion to review assessment materials for bidder #1 with K.
                                          Kearney, R. Gordon, M. Beretta, and B. Turton (A&M)
Kearney, Kevin       10/18/2023     0.2   Meeting to discuss additional updates to the market slides within the
                                          reverse due diligence deck with K. Kearney and J. Faett (A&M)
Kearney, Kevin       10/18/2023     1.1   Discussion to review earnout and valuation for bidder #1 with K.
                                          Kearney, R. Gordon, and B. Turton (A&M) and M. Rahmani, R.
                                          Moon, J. Darby, and E. Tu (PwP)
Kearney, Kevin       10/18/2023     0.8   Meeting to review updates to market slides with K. Kearney and J.
                                          Faett (A&M)
Kolodny, Steven      10/18/2023     0.8   Review counterproposal prepared on behalf of bidder #1 with
                                          purpose to inform updated proposal for bidder #2
Kolodny, Steven      10/18/2023     0.5   Call to review bidder #2 diligence assessment materials with K.
                                          Montague, S. Kolodny, D. Hainline (A&M)
Kolodny, Steven      10/18/2023     0.6   Draft presentation materials for bidder #2 executive summary for
                                          diligence assessment
Kolodny, Steven      10/18/2023     0.7   Discussions to draft diligence assessment materials with D.
                                          Hainline, S. Kolodny (A&M)
Kolodny, Steven      10/18/2023     0.9   Draft new format in internal deck to track research items related to
                                          bidder #2
Kolodny, Steven      10/18/2023     0.8   Continue to work through open item dashboard for key materials on
                                          bidder #2
Kolodny, Steven      10/18/2023     0.3   Draft updates to deal structure over for bidder #2 presentation
                                          materials
Kolodny, Steven      10/18/2023     0.4   Review legal diligence provided on behalf of bidder # 2 on key risks
                                          and findings
Kolodny, Steven      10/18/2023     0.8   Call to review bidder #2 diligence assessment materials with R.
                                          Gordon, K. Kearney, K. Montague, S. Kolodny, D. Hainline (A&M)
McLoughlin, Miles    10/18/2023     0.7   Meeting to review bidder #3 slides for content with K. Kearney, K.
                                          Reagan, R. Gordon, M. McLoughlin (A&M)
McLoughlin, Miles    10/18/2023     0.7   Call to review bidder #3 diligence assessment materials with K.
                                          Reagan, K. Kearney, R. Gordon, M. McLoughlin (A&M)
McLoughlin, Miles    10/18/2023     0.6   Add information surrounding payment gateways and custody for
                                          bidder #3
McLoughlin, Miles    10/18/2023     2.7   Build slideshow to fix errors with formatting, content, etc

McLoughlin, Miles    10/18/2023     0.2   Read bidder #3 ADV form and check for conflicts


McLoughlin, Miles    10/18/2023     1.3   Discussion to finalize bidder #3 slides in the bidder presentation,
                                          identify any missing information and assess overall ratings prior to
                                          live review with management with K. Reagan and M. McLoughlin
                                          (A&M)
Montague, Katie      10/18/2023     0.5   Call to review bidder #2 diligence assessment materials with K.
                                          Montague, S. Kolodny, D. Hainline (A&M)



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Montague, Katie        10/18/2023     0.3   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk., K.
                                            Montague, and B. Turton (A&M)
Montague, Katie        10/18/2023     1.7   Incorporate comments to updated market analysis section of FTX
                                            2.0 bidder diligence presentation
Montague, Katie        10/18/2023     0.9   Discussion over project focus market analysis with R. Gordon, K.
                                            Kearney, K. Montague(A&M)
Montague, Katie        10/18/2023     2.9   Prepare additional analyses for market analysis related to FTX 2.0
                                            bidder diligence
Montague, Katie        10/18/2023     1.9   Update market analysis section of FTX 2.0 bidder diligence
                                            presentation
Montague, Katie        10/18/2023     0.8   Call to review bidder #2 diligence assessment materials with R.
                                            Gordon, K. Kearney, K. Montague, S. Kolodny, D. Hainline (A&M)
Mosley, Ed             10/18/2023     2.1   Review of and prepare comments to initial draft of the wind down
                                            budget for post-confirmation estate
Mosley, Ed             10/18/2023     1.3   Review of and prepare comments to bidder reverse due diligence
                                            status presentation for management
Paolinetti, Sergio     10/18/2023     2.1   Calculate market making loan agreement option value and the
                                            benefits for the estate
Paolinetti, Sergio     10/18/2023     1.9   Compile information from Sygnia's files to identify non-debtor wallets

Ramanathan, Kumanan    10/18/2023     0.2   Coordinate scheduling with UCC and HC members to discuss sale
                                            of assets
Ramanathan, Kumanan    10/18/2023     0.6   Call with FTX 2.0 bidder, E. Tu, K. Cofsky and others (PWP), T.
                                            Shea and others (Jeffrey's), C. Delo and others (Rothschild) to
                                            discuss bidding proposal
Reagan, Kelsey         10/18/2023     0.7   Call to review bidder #3 diligence assessment materials with K.
                                            Reagan, K. Kearney, R. Gordon, M. McLoughlin (A&M)
Reagan, Kelsey         10/18/2023     0.6   Update bidder #3 findings on each criteria for success to summarize
                                            / provide context on overall ratings
Reagan, Kelsey         10/18/2023     0.7   Meeting to review bidder #3 slides for content with K. Kearney, K.
                                            Reagan, R. Gordon, M. McLoughlin (A&M)
Reagan, Kelsey         10/18/2023     3.1   Update bidder #3 slides in bidder presentation to include additional
                                            information provided by bidder
Reagan, Kelsey         10/18/2023     0.3   Call to review open diligence requests for management teams with
                                            K. Reagan, D. Hainline (A&M)
Reagan, Kelsey         10/18/2023     0.6   Update categories being assessed in bidder presentation as part of
                                            the diligence process
Reagan, Kelsey         10/18/2023     0.3   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk., K.
                                            Montague, and B. Turton (A&M)
Reagan, Kelsey         10/18/2023     1.4   Review bidder #3 current payment gateways via customer portal

Reagan, Kelsey         10/18/2023     0.9   Review bidder #3 audited financial statements




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Reagan, Kelsey          10/18/2023     1.3   Discussion to finalize bidder #3 slides in the bidder presentation,
                                             identify any missing information and assess overall ratings prior to
                                             live review with management with K. Reagan and M. McLoughlin
                                             (A&M)
Reagan, Kelsey          10/18/2023     0.2   Debrief bidder #2 live Discussion to ensure internal consistency
                                             among bidders in the bidder presentation with K. Reagan, J.
                                             Rybarczyk, D. Hainline (A&M)
Rybarczyk, Jodi         10/18/2023     0.5   Participate on call to discuss bidder #4 reverse diligence workstream
                                             with J. Rybarczyk, C. Alvarez (A&M)
Rybarczyk, Jodi         10/18/2023     0.3   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk., K.
                                             Montague, and B. Turton (A&M)
Rybarczyk, Jodi         10/18/2023     2.9   Revise bidder presentation for bidder #4 to ensure complete,
                                             accurate and all comments resolved
Rybarczyk, Jodi         10/18/2023     2.4   Update bidder #4 findings on each criteria for success to provide
                                             context on overall ratings
Rybarczyk, Jodi         10/18/2023     0.7   Update the slides in the bidder presentation to merge risk
                                             management and security
Rybarczyk, Jodi         10/18/2023     0.2   Debrief bidder #2 live Discussion to ensure internal consistency
                                             among bidders in the bidder presentation with K. Reagan, J.
                                             Rybarczyk, D. Hainline (A&M)
Titus, Adam             10/18/2023     0.9   Provide update for response to regulatory entity based on
                                             information gathered to team
Titus, Adam             10/18/2023     1.2   Provide schedule of wallets on GP side of hedge fund entity to
                                             confirm sweep
Titus, Adam             10/18/2023     1.3   Review proposals provided by 2.0 bidder


Titus, Adam             10/18/2023     1.1   Edit financial analysis of bidder proposal provided by L. Clayton
                                             [A&M]
Titus, Adam             10/18/2023     0.5   Engage quality check on Debank scan review for all wallets

Tong, Crystal           10/18/2023     1.9   Review additional documents submitted by bidders to assess the
                                             KYC & AML areas
Tong, Crystal           10/18/2023     1.1   Review and edit the Bidders Assessment slides on KYC & AML

Turton, Bobby           10/18/2023     0.3   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk., K.
                                             Montague, and B. Turton (A&M)
Turton, Bobby           10/18/2023     0.3   Call to debrief on review of bidder assessment materials with B.
                                             Turton, D. Hainline (A&M)
Turton, Bobby           10/18/2023     2.6   Update bidder #1 assessment materials for newly received diligence
                                             materials
Turton, Bobby           10/18/2023     0.5   Prepare for Board presentation about Bidder #1 with B. Turton and
                                             M. Beretta (A&M)
Turton, Bobby           10/18/2023     2.8   Update bidder #1 earnout model assessment

Turton, Bobby           10/18/2023     2.6   Update bidder #1 valuation model assessment



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Turton, Bobby           10/18/2023     1.5   Follow up Discussion to review assessment materials for bidder #1
                                             with K. Kearney, R. Gordon, M. Beretta, and B. Turton (A&M)
Turton, Bobby           10/18/2023     1.1   Discussion to review earnout and valuation for bidder #1 with K.
                                             Kearney, R. Gordon, and B. Turton (A&M) and M. Rahmani, R.
                                             Moon, J. Darby, and E. Tu (PwP)
Beretta, Matthew        10/19/2023     1.2   Apply changes to management presentation in accordance with new
                                             findings
Beretta, Matthew        10/19/2023     2.4   Review SEC filings related to Bidder#1 and pursued further diligence

Beretta, Matthew        10/19/2023     3.1   Research relationship between Bidder#1 and parent entity


Callerio, Lorenzo       10/19/2023     0.8   Prepare an updated Embed status report to be discussed with R.
                                             Hershan (A&M)
Clayton, Lance          10/19/2023     2.6   Prepare detailed review of certain LedgerPrime asset to verify actual
                                             holdings
Clayton, Lance          10/19/2023     3.1   Finalize September bridge of venture portfolio for all post-petition
                                             activity
Clayton, Lance          10/19/2023     0.8   Venture brokerage portfolio pricing updates for case updates

Clayton, Lance          10/19/2023     2.9   Finalize LedgerPrime status deck for S. Glustein (A&M) review


Coverick, Steve         10/19/2023     0.5   Call with E. Mosley, S. Coverick, R. Gordon, K. Kearney (A&M) re:
                                             status of 2.0 reverse diligence analysis
Coverick, Steve         10/19/2023     0.6   Review and provide comments on tracker of outstanding 2.0 bidder
                                             diligence requests
Coverick, Steve         10/19/2023     1.0   Participate in FTX 2.0 sale meeting to discuss response to bidder
                                             proposal with PWP, S&C, J.Ray (FTX), A&M (E.Mosley,
                                             K.Ramanathan, S.Coverick, others), PH, FTI, Jefferies, Evershed,
                                             Rothschild, Members of UCC and AHG (M.Browning, others)
Coverick, Steve         10/19/2023     1.0   Participate in Galaxy market update meeting with Galaxy PWP,
                                             S&C, J.Ray (FTX), A&M (E.Mosley, K.Ramanathan, S.Coverick,
                                             others), PH, FTI, Jefferies, Evershed, Rothschild, J.Minias (Wilkie),
                                             Members of UCC and AHG (J.Reizman, M.Browning, others)
Ernst, Reagan           10/19/2023     0.4   Update brokerage summary unit prices to account for changes in
                                             market activity for BOD slide deck
Ernst, Reagan           10/19/2023     1.5   Update ventures team process tracker for significant deliverable
                                             deadlines
Ernst, Reagan           10/19/2023     1.3   Update investments master tracker to account for recently closed
                                             equity investments
Faett, Jack             10/19/2023     1.5   Analyze bidder financial projections to identify outliers on key PFI
                                             assumptions
Gidoomal, Dhruv         10/19/2023     2.6   Research legal actions and working history of Bidder 1 parent
                                             company Founder
Gidoomal, Dhruv         10/19/2023     1.9   Research legal actions and working history of Bidder 1 parent
                                             company EOS Developer
Gidoomal, Dhruv         10/19/2023     1.7   Research legal actions and working history of Bidder 1 parent
                                             company CTO

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Glustein, Steven     10/19/2023     1.6   Review updated December month-end reporting documents relating
                                          to LedgerPrime post petition activity
Glustein, Steven     10/19/2023     1.1   Update LedgerPrime update presentation relating to crypto assets
                                          held at third party exchanges
Glustein, Steven     10/19/2023     1.3   Update investment master tracker relating to recently closed venture
                                          investments
Glustein, Steven     10/19/2023     0.7   Review proposal from fund investment company relating to Alameda
                                          fund sale process
Glustein, Steven     10/19/2023     1.4   Update LedgerPrime presentation relating to illiquid venture
                                          investments
Glustein, Steven     10/19/2023     2.7   Update crypto assets bridge regarding post petition activity relating
                                          to LedgerPrime
Glustein, Steven     10/19/2023     0.9   Update PMO slides relating to venture portfolio investment updates


Glustein, Steven     10/19/2023     0.3   Update LedgerPrime presentation relating to employee roster
                                          updates
Glustein, Steven     10/19/2023     1.3   Update LedgerPrime presentation relating to transferred assets
                                          bridge
Glustein, Steven     10/19/2023     0.1   Update PMO slides regarding closed investment summary

Glustein, Steven     10/19/2023     0.3   Update PMO slides regarding brokerage updates

Glustein, Steven     10/19/2023     0.4   Update PMO slides regarding LedgerPrime updates


Gordon, Robert       10/19/2023     0.5   Call with E. Mosley, R. Gordon, S. Coverick, K. Kearney (A&M) to
                                          discuss FTX 2.0 reverse diligence progress update
Gordon, Robert       10/19/2023     0.4   Teleconference to discuss 2.0 Rapid Assessment Leads Call with R.
                                          Gordon, K. Kearney, D. Hainline (A&M)
Gordon, Robert       10/19/2023     0.4   Draft correspondence to bidders covering requested walkthroughs

Gordon, Robert       10/19/2023     0.4   Review contribution analysis summary over bidder #1


Hainline, Drew       10/19/2023     0.4   Teleconference to discuss 2.0 Rapid Assessment Leads Call with R.
                                          Gordon, K. Kearney, D. Hainline (A&M)
Hainline, Drew       10/19/2023     0.4   Discussion to update assessment dashboard for bidder #2 with S.
                                          Kolodny, D. Hainline (A&M)
Hainline, Drew       10/19/2023     1.3   Discussion to update assessment materials for bidder #2 with S.
                                          Kolodny, D. Hainline (A&M)
Hainline, Drew       10/19/2023     0.6   Discussion to review available FTX customer data for KYC scope
                                          with S. Kolodny, D. Hainline (A&M)
Hainline, Drew       10/19/2023     0.3   Review court documents on active cases related to bidder #2 to
                                          support diligence assessment
Hainline, Drew       10/19/2023     0.4   Continue to apply updated guidance on format to bidder #2
                                          presentation materials




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Hainline, Drew       10/19/2023     0.8   Perform outside research on management team for bidder #2 to
                                          support assessment
Hainline, Drew       10/19/2023     0.4   Draft updates to diligence request log for bidder #2 to resolve open
                                          success factors
Hainline, Drew       10/19/2023     0.9   Review assessment of critical factors against criteria for bidder #2

Hainline, Drew       10/19/2023     0.9   Review scope of FTX customers to assess reasonableness of timing
                                          to KYC
Hainline, Drew       10/19/2023     0.3   Review assessment of critical factors against criteria for bidder #3


Hainline, Drew       10/19/2023     0.3   Draft updates to open item diligence dashboard for bidder #2

Hainline, Drew       10/19/2023     1.2   Draft new and follow-up diligence requests based on coverage of
                                          success factors for bidder #2 to support assessment
Hainline, Drew       10/19/2023     1.1   Call to review open research and assessment items for bidder #2
                                          with S. Kolodny, D. Hainline (A&M)
Hainline, Drew       10/19/2023     1.4   Discussion to review assessment materials for bidder #2 with K.
                                          Kearney, K. Montague, S. Kolodny, D. Hainline (A&M)
Jacobs, Kevin        10/19/2023     0.2   Correspondence re 2.0 bidder due diligence requests

Kearney, Kevin       10/19/2023     0.5   Call with E. Mosley, R. Gordon, S. Coverick, K. Kearney (A&M) to
                                          discuss FTX 2.0 reverse diligence progress update
Kearney, Kevin       10/19/2023     0.4   Teleconference to discuss 2.0 Rapid Assessment Leads Call with R.
                                          Gordon, K. Kearney, D. Hainline (A&M)
Kearney, Kevin       10/19/2023     0.9   Review updates to reverse diligence requests for bidder 1 based on
                                          recent information received
Kearney, Kevin       10/19/2023     2.1   Review updated market assessment for BOD presentation on
                                          reverse diligence analysis
Kearney, Kevin       10/19/2023     1.1   Review updated reverse diligence items provided by bidder 2 for
                                          FTX 2.0 sale
Kearney, Kevin       10/19/2023     0.7   Prepare correspondence with bidder 1 regarding reverse diligence
                                          inquiries
Kearney, Kevin       10/19/2023     1.4   Discussion to review assessment materials for bidder #2 with K.
                                          Kearney, K. Montague, S. Kolodny, D. Hainline (A&M)
Kolodny, Steven      10/19/2023     1.1   Call to review open research and assessment items for bidder #2
                                          with S. Kolodny, D. Hainline (A&M)
Kolodny, Steven      10/19/2023     0.4   Discussion to update assessment dashboard for bidder #2 with S.
                                          Kolodny, D. Hainline (A&M)
Kolodny, Steven      10/19/2023     0.6   Discussion to review available FTX customer data for KYC scope
                                          with S. Kolodny, D. Hainline (A&M)
Kolodny, Steven      10/19/2023     1.3   Discussion to update assessment materials for bidder #2 with S.
                                          Kolodny, D. Hainline (A&M)
Kolodny, Steven      10/19/2023     0.9   Continue to compare and contrast success criteria across bidder #3
                                          and #2




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Kolodny, Steven        10/19/2023     0.9   Continue to compare and contrast success criteria across bidder #1
                                            and #2
Kolodny, Steven        10/19/2023     0.8   Review presentation materials in diligence deck for bidder #2


Kolodny, Steven        10/19/2023     0.8   Update diligence request open items lists for bidder #2

Kolodny, Steven        10/19/2023     1.2   Draft new and follow-up diligence requests based on coverage of
                                            success factors for bidder #2 to support assessment
Kolodny, Steven        10/19/2023     1.4   Discussion to review assessment materials for bidder #2 with K.
                                            Kearney, K. Montague, S. Kolodny, D. Hainline (A&M)
McLoughlin, Miles      10/19/2023     1.4   Read Nexis background checks on bidder #3 proposed management
                                            team
McLoughlin, Miles      10/19/2023     0.9   Build third-party service slide template


McLoughlin, Miles      10/19/2023     1.3   Search wildcard spreadsheets for any concerning items

McLoughlin, Miles      10/19/2023     1.1   Combine security and risk management slide for bidder #3


Montague, Katie        10/19/2023     1.4   Discussion to review assessment materials for bidder #2 with K.
                                            Kearney, K. Montague, S. Kolodny, D. Hainline (A&M)
Montague, Katie        10/19/2023     0.4   2.0 Rapid Assessment Leads Call with K. Reagan, K. Montague,
                                            and B. Turton (A&M)
Mosley, Ed             10/19/2023     0.6   Participate in discussion with A&M (R.Gordon, K.Kearney, E.Mosley,
                                            S.Coverick) regarding FTX 2.0 bidder diligence for stalking horse
                                            selection
Mosley, Ed             10/19/2023     1.0   Participate in FTX 2.0 sale meeting to discuss response to bidder
                                            proposal with PWP, S&C, J.Ray (FTX), A&M (E.Mosley,
                                            K.Ramanathan, S.Coverick, others), PH, FTI, Jefferies, Evershed,
                                            Rothschild, Members of UCC and AHG (M.Browning, others)
Mosley, Ed             10/19/2023     1.0   Participate in Galaxy market update meeting with Galaxy, PWP,
                                            S&C, J.Ray (FTX), A&M (E.Mosley, K.Ramanathan, S.Coverick,
                                            others), PH, FTI, Jefferies (T.Shea, others), Evershed, Rothschild,
                                            J.Minias, Members of UCC and AHG
Paolinetti, Sergio     10/19/2023     3.1   Search online for investment descriptions on the estate's pre-ICO
                                            digital assets
Paolinetti, Sergio     10/19/2023     2.6   Incorporate to marketing deck all the pre-ICO investments

Ramanathan, Kumanan    10/19/2023     0.4   Call with A. Levine, J. Kapoor (S&C) to discuss counterparty
                                            agreement markups
Ramanathan, Kumanan    10/19/2023     0.7   Call with A. Levine (S&C) to discuss trading counterparty agreement
                                            markups
Ramanathan, Kumanan    10/19/2023     0.4   Call with C. Pizzola and others (Cumberland), D. Handelsman, A.
                                            Levine (S&C), R. Kleiner, M. Bhatia (Galaxy) to discuss counterparty
                                            agreement markups
Reagan, Kelsey         10/19/2023     1.6   Review wall street journal articles with subject relating to the some
                                            of the proposed management team



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Asset Sales
Professional                 Date    Hours    Activity
Reagan, Kelsey          10/19/2023     0.5   Update the slides in the bidder presentation to merge risk
                                             management and security
Reagan, Kelsey          10/19/2023     1.4   Review the completeness, accuracy and comments in bidder #3's
                                             presentation
Reagan, Kelsey          10/19/2023     0.4   2.0 Rapid Assessment Leads Call with K. Reagan, K. Montague,
                                             and B. Turton (A&M)
Reagan, Kelsey          10/19/2023     0.9   Update the management factors for bidder #3 to include findings

Reagan, Kelsey          10/19/2023     2.3   Review LexisNexis reports for all key management professionals


Reagan, Kelsey          10/19/2023     1.9   Review bidder #3 financial reporting package

Stockmeyer, Cullen      10/19/2023     1.2   Prepare initial responses to questions related to vesting schedule
                                             provided to valuations team
Titus, Adam             10/19/2023     0.7   Review NDA processing for potential buyer including sending to
                                             S&C M&A team for review
Titus, Adam             10/19/2023     1.8   Build supplemental next steps for hedge fund entity based on weekly
                                             activities
Titus, Adam             10/19/2023     0.9   Review PMO slides for weekly update

Titus, Adam             10/19/2023     1.4   Update weekly presentation for hedge fund entity

Turton, Bobby           10/19/2023     1.9   Update assessment materials for bidder #1 and findings on
                                             management team, BOD, and ICOs
Turton, Bobby           10/19/2023     0.4   2.0 Rapid Assessment Leads Call with K. Reagan, K. Montague,
                                             and B. Turton (A&M)
Turton, Bobby           10/19/2023     1.8   Research management team for Bidder #1


Turton, Bobby           10/19/2023     1.6   Research initial coin offerings associated with Bidder #1

Turton, Bobby           10/19/2023     1.7   Research board of directors for Bidder #1


Turton, Bobby           10/19/2023     1.2   Update Bidder #1 contribution analysis for PwP

Beretta, Matthew        10/20/2023     1.1   Discussion with M. Beretta, K. Montague, K. Kearney, R. Gordon,
                                             and B. Turton (A&M) to discuss slides for Bidder #1
Beretta, Matthew        10/20/2023     0.5   Teleconference with M. Beretta and B. Turton (A&M) to discuss
                                             open research items on Bidder #1
Beretta, Matthew        10/20/2023     1.9   Reconcile new documents in bidder #1 VDR with diligence lists and
                                             determine follow up requests
Beretta, Matthew        10/20/2023     0.9   Finalize report on Bidder#1 management team for reverse diligence
                                             support
Beretta, Matthew        10/20/2023     2.1   Research other key executives at Bidder #1 for history and
                                             experiences




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Asset Sales
Professional                 Date    Hours    Activity
Beretta, Matthew        10/20/2023     1.2   Summarize findings of research into Bidder #1 and ownership group

Beretta, Matthew        10/20/2023     2.8   Conduct further analysis of SEC and Bidder#1 relationship


Callerio, Lorenzo       10/20/2023     0.4   Meeting with R. Hershan and L. Callerio (A&M) to finalize the Embed
                                             status deck
Callerio, Lorenzo       10/20/2023     0.4   Finalize the Embed status report including comments received from
                                             R. Hershan (A&M)
Callerio, Lorenzo       10/20/2023     0.7   Review certain market making agreements provided by S. Paolinetti
                                             (A&M)
Callerio, Lorenzo       10/20/2023     1.2   Review and revise weekly Embed timeframe and wind down update
                                             for final phase of wind down; calls with L. Callerio (A&M) re same;
                                             emails with J. ray (FTX) re final wind down phase and escheatment
                                             issues and proposal from Escheatment Services
Clayton, Lance          10/20/2023     2.1   Venture investment research for recently identified funded equity
                                             position
Clayton, Lance          10/20/2023     1.1   Consolidate materials prepared for venture token asset to be sent to
                                             M. Cilia (RKLS)
Clayton, Lance          10/20/2023     1.7   Final adjustments to LedgerPrime status deck based on comments
                                             from A. Titus (A&M)
Clayton, Lance          10/20/2023     2.3   Update LedgerPrime remaining assets workbook for weekly transfers


Clayton, Lance          10/20/2023     2.8   Provide updates to offer summary deck for venture token asset

Ernst, Reagan           10/20/2023     2.2   Prepare position summary of Alameda trust investment position
                                             using documents found from relativity search
Ernst, Reagan           10/20/2023     1.1   Search relativity to find transaction documents from Alameda trust
                                             investment position
Ernst, Reagan           10/20/2023     1.3   Analyze position level funded amount detail for asset fund sale
                                             tearsheet
Ernst, Reagan           10/20/2023     0.7   Analyze position level investment detail for asset fund sale tearsheet


Ernst, Reagan           10/20/2023     0.8   Create portfolio composition pie chart for potential asset fund sale

Ernst, Reagan           10/20/2023     1.3   Prepare company overview slide for potential asset fund sale


Faett, Jack             10/20/2023     0.5   Call to discuss approach for financial projections analysis with J.
                                             Faett, D. Hainline (A&M)
Faett, Jack             10/20/2023     0.3   Call to discuss presentation of success factors within the reverse
                                             due diligence slide deck with K. Kearney and J. Faett (A&M)
Flynn, Matthew          10/20/2023     0.4   Review FTX 2.0 reverse diligence IT security agenda


Gidoomal, Dhruv         10/20/2023     1.5   Prepare finalized list of individuals to look into for investigators

Gidoomal, Dhruv         10/20/2023     1.3   Review and update consolidated Bidder Data Request List from PWP


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Asset Sales
Professional              Date    Hours    Activity
Gidoomal, Dhruv      10/20/2023     0.4   Review Bidder 1 consolidated Data Request List

Glustein, Steven     10/20/2023     0.6   Review investment update documents relating to venture fund
                                          investment position
Glustein, Steven     10/20/2023     0.6   Review comments received from NDA relating to fund investment
                                          position
Glustein, Steven     10/20/2023     0.7   Summarize assets held in brokerage account relating to Alameda
                                          assets
Gordon, Robert       10/20/2023     0.4   Teleconference with D. Nardello(Nardello), R. Gordon, K.
                                          Kearney(A&M) over investigation requests
Gordon, Robert       10/20/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline (A&M)
Gordon, Robert       10/20/2023     1.1   Teleconference with M. Beretta, K. Montague, K. Kearney, R.
                                          Gordon, and B. Turton (A&M) to discuss slides for Bidder #1
Hainline, Drew       10/20/2023     0.3   Review drafted information included in overview of third party
                                          sources utilized in diligence process
Hainline, Drew       10/20/2023     0.6   Update consolidated diligence request list for bidder #2 to include
                                          additional requests
Hainline, Drew       10/20/2023     0.5   Call to discuss approach for financial projections analysis with J.
                                          Faett, D. Hainline (A&M)
Hainline, Drew       10/20/2023     1.1   Analyze FTX data dashboard data to incorporate into economics
                                          comparison
Hainline, Drew       10/20/2023     0.7   Review success criteria against diligence requests to confirm
                                          coverage
Hainline, Drew       10/20/2023     0.3   Review market research materials to support financial projection
                                          comparison
Hainline, Drew       10/20/2023     0.7   Review outside research reports on management team for diligence
                                          assessment
Hainline, Drew       10/20/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline (A&M)
Hainline, Drew       10/20/2023     0.2   Review results from additional wildcard searches in FTX database


Hainline, Drew       10/20/2023     0.4   Draft updates to diligence assessment materials for bidder #2

Hainline, Drew       10/20/2023     0.1   Update open item dashboard for diligence related to bidder #2

Hainline, Drew       10/20/2023     0.2   Draft summary of open diligence requests for bidder #2


Hainline, Drew       10/20/2023     0.2   Review updated diligence request sent to bidder #2

Hainline, Drew       10/20/2023     0.8   Discussion to review wildcard search results to confirm scope of
                                          round 2 exchange data request with K. Reagan, D. Hainline (A&M)
Hershan, Robert      10/20/2023     0.9   Update call with A. Titus (A&M) and review Ledger prime weekly
                                          update progress and timeframes




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Asset Sales
Professional              Date    Hours    Activity
Hershan, Robert      10/20/2023     0.4   Review and revise weekly Embed timeframe and wind down update
                                          for final phase of wind down
Hershan, Robert      10/20/2023     0.4   Meeting with R. Hershan and L. Callerio (A&M) to finalize the Embed
                                          status deck
Hershan, Robert      10/20/2023     0.4   Correspond with J. ray (FTX) regarding final wind down phase and
                                          escheatment issues and proposal from Escheatment Services
Johnston, David      10/20/2023     0.8   Review updated documentation relating to FTX Europe asset sale

Kearney, Kevin       10/20/2023     0.4   Teleconference with D. Nardello(Nardello), R. Gordon, K.
                                          Kearney(A&M) over investigation requests
Kearney, Kevin       10/20/2023     1.9   Review Nardello reports on key management members for bidder 1

Kearney, Kevin       10/20/2023     1.4   Review Nardello reports on key management members for bidder 2


Kearney, Kevin       10/20/2023     0.3   Call to discuss presentation of success factors within the reverse
                                          due diligence slide deck with K. Kearney and J. Faett (A&M)
Kearney, Kevin       10/20/2023     1.1   Teleconference with M. Beretta, K. Montague, K. Kearney, R.
                                          Gordon, and B. Turton (A&M) to discuss slides for Bidder #1
Kearney, Kevin       10/20/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline (A&M)
Kolodny, Steven      10/20/2023     0.8   Research valuation methodology used for purpose of diligence
                                          support materials as presented on bidder # 1
Kolodny, Steven      10/20/2023     0.9   Continue to review CFTC license requirements and licenses granted
                                          over the last 5 years to crypto related industries
Kolodny, Steven      10/20/2023     1.3   Continue research to determine appropriate usage of GPC
                                          Comparable multiple method used in valuation of bidder #2
Kolodny, Steven      10/20/2023     0.8   Continue to review laws and regulations as governed by cypress
                                          exchange and how that effects operations in Europe
Kolodny, Steven      10/20/2023     1.2   Research valuation methodology used for purpose of diligence
                                          support materials as presented on bidder # 2
Kolodny, Steven      10/20/2023     1.3   Continue to review success criteria to determine completeness as
                                          presented for bidder #2
Kolodny, Steven      10/20/2023     1.3   Review success criteria to determine completeness as presented for
                                          bidder #2
Kolodny, Steven      10/20/2023     0.8   Review question list provided by PWP for the purpose of
                                          thoroughness
McLoughlin, Miles    10/20/2023     1.1   Call to review data request list, project timeline, deliverables and
                                          next steps with K. Reagan and M. McLoughlin (A&M)
McLoughlin, Miles    10/20/2023     1.7   Read bidder #2 counter-offer for context

McLoughlin, Miles    10/20/2023     0.9   Add information to third-party slide for review


Montague, Katie      10/20/2023     2.3   Review of bidder #2 overview and detail slides in FTX 2.0 bidder
                                          diligence presentation and provide feedback




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Professional                 Date    Hours    Activity
Montague, Katie         10/20/2023     1.8   Review of bidder #1 overview and detail slides in FTX 2.0 bidder
                                             diligence presentation and provide feedback
Montague, Katie         10/20/2023     1.4   Update regulatory and compliance slides in FTX 2.0 bidder diligence
                                             presentation
Montague, Katie         10/20/2023     0.3   2.0 Rapid Assessment Leads Call with K. Reagan, K. Montague,
                                             and B. Turton (A&M)
Montague, Katie         10/20/2023     1.1   Teleconference with M. Beretta, K. Montague, K. Kearney, R.
                                             Gordon, and B. Turton (A&M) to discuss slides for Bidder #1
Mosley, Ed              10/20/2023     0.6   Review of status update for J.Ray regarding LedgerPrime wind down


Mosley, Ed              10/20/2023     0.4   Review of status update for J.Ray regarding Embed wind down

Mosley, Ed              10/20/2023     1.3   Review of and provide comments to updated financial analysis used
                                             in long term projections for disclosure statement exhibit
Paolinetti, Sergio      10/20/2023     1.8   Revise funding amounts for investment recommendation's buyback
                                             proposal
Paolinetti, Sergio      10/20/2023     1.1   Search relativity for market making loan agreements


Ramanathan, Kumanan     10/20/2023     0.9   Review overlapping customer analysis for FTX 2.0 process and
                                             provide feedback and comments
Ramanathan, Kumanan     10/20/2023     0.4   Call with FTX 2.0 bidder advisors, A. Dietderich (S&C) to discuss
                                             user exchange analysis
Ramanathan, Kumanan     10/20/2023     0.8   Coordinate, review and distribute final OTC agreements for two
                                             market makers
Reagan, Kelsey          10/20/2023     1.1   Call to review data request list, project timeline, deliverables and
                                             next steps with K. Reagan and M. McLoughlin (A&M)
Reagan, Kelsey          10/20/2023     2.3   Update data request list to include additional all requests that have
                                             not yet been sent
Reagan, Kelsey          10/20/2023     0.3   2.0 Rapid Assessment Leads Call with K. Reagan, K. Montague,
                                             and B. Turton (A&M)
Reagan, Kelsey          10/20/2023     1.2   Review bidder presentation diligence procedures slide


Reagan, Kelsey          10/20/2023     0.9   Review wildcard searches and research management to identify the
                                             correct profiles
Reagan, Kelsey          10/20/2023     0.8   Discussion to review wildcard search results to confirm scope of
                                             round 2 exchange data request with K. Reagan, D. Hainline (A&M)
Titus, Adam             10/20/2023     0.9   Update call with A. Titus, R. Hershan (A&M) to review Ledger prime
                                             weekly update progress and timeframes
Titus, Adam             10/20/2023     0.6   email related to hedge fund entity process steps approved for
                                             execution
Titus, Adam             10/20/2023     0.8   Final review of hedge fund entity weekly presentation


Titus, Adam             10/20/2023     0.5   Provide final comments to PMO slides to S. Glustein [A&M]




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Asset Sales
Professional                Date    Hours    Activity
Turton, Bobby          10/20/2023     0.5   Teleconference with M. Beretta and B. Turton (A&M) to discuss
                                            open research items on Bidder #1
Turton, Bobby          10/20/2023     0.3   Review updated diligence list for Bidder #1 reflecting newly received
                                            diligence materials
Turton, Bobby          10/20/2023     0.3   2.0 Rapid Assessment Leads Call with K. Reagan, K. Montague,
                                            and B. Turton (A&M)
Turton, Bobby          10/20/2023     2.3   Review and update regulatory and management diligence slides for
                                            Bidder #1
Turton, Bobby          10/20/2023     1.1   Review diligence material received from Bidder #1


Turton, Bobby          10/20/2023     0.7   Update and finalize Bidder #1 contribution analysis for PwP

Turton, Bobby          10/20/2023     1.1   Teleconference with M. Beretta, K. Montague, K. Kearney, R.
                                            Gordon, and B. Turton (A&M) to discuss slides for Bidder #1
Clayton, Lance         10/21/2023     1.8   Provide updates to proposal summary for venture token asset

Gordon, Robert         10/21/2023     1.1   Review requests responses from bidder #2 to identify potential gaps


Gordon, Robert         10/21/2023     0.4   Correspondence with C. Martin(Nardello) on bidder #1

Hainline, Drew         10/21/2023     0.3   Review planning documents from bidder #2 to support assessment
                                            materials
Kearney, Kevin         10/21/2023     2.4   Review cross-comparison assessment of success factor analysis for
                                            FTX 2.0 bidders
Clayton, Lance         10/22/2023     2.9   Finalize venture token proposal summary deck based on feedback
                                            from A. Titus (A&M)
Gordon, Robert         10/22/2023     0.7   Teleconference with R. Gordon, K. Kearney(A&M) to layout the plan
                                            for the week of 10/22
Hainline, Drew         10/22/2023     0.4   Review outside research memos to support diligence process

Jones, Mackenzie       10/22/2023     1.2   Draft financial statements for Dotcom silo entity from latest trial
                                            balance data
Kearney, Kevin         10/22/2023     1.1   Review additional reports on key management personnel associated
                                            with FTX 2.0 bidders provided by Nardello
Kearney, Kevin         10/22/2023     0.7   Teleconference with R. Gordon, K. Kearney(A&M) to layout the plan
                                            for the week of 10/22
Mosley, Ed             10/22/2023     1.1   Review of draft FTX Cyprus situation update and financial analysis
                                            of options
Mosley, Ed             10/22/2023     1.1   Review of draft FTX Quoine situation update and financial analysis
                                            of options
Mosley, Ed             10/22/2023     1.2   Review of draft FTX Europe situation update and financial analysis
                                            of options
Alvarez, Charles       10/23/2023     0.8   Review bidder #4 management background checks and diligence for
                                            key management member 1




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Alvarez, Charles     10/23/2023     0.2   Review bidder #4 management background checks and diligence for
                                          key management member 6
Alvarez, Charles     10/23/2023     0.3   Review bidder #4 management background checks and diligence for
                                          key management member 4
Alvarez, Charles     10/23/2023     0.3   Review bidder #4 management background checks and diligence for
                                          key management member 5
Alvarez, Charles     10/23/2023     0.6   Review bidder #4 management background checks and diligence for
                                          key management member 2
Alvarez, Charles     10/23/2023     0.4   Review bidder #4 management background checks and diligence for
                                          key management member 3
Beretta, Matthew     10/23/2023     1.4   Update diligence list for Bidder #1 for newly received items and
                                          duplicates compare with historic lists
Beretta, Matthew     10/23/2023     0.4   Call to review bidder #1 agenda items with R. Gordon, K. Kearney,
                                          M. Beretta, B. Turton (A&M)
Beretta, Matthew     10/23/2023     2.1   Review newly submitted diligence items for Bidder #1 and update
                                          diligence list
Beretta, Matthew     10/23/2023     2.2   Update Bidder #1 contribution analysis for PwP


Beretta, Matthew     10/23/2023     2.4   Prepare agenda for Bidder #1 diligence call

Clayton, Lance       10/23/2023     1.7   Review venture summary bridge for post-petition adjustments and
                                          prepare comments for team
Clayton, Lance       10/23/2023     1.5   Review wire details to verify all venture cash activity post-petition


Clayton, Lance       10/23/2023     2.8   Prepare bid summary for venture fund investment proposal

Clayton, Lance       10/23/2023     1.9   Review Sygnia status update for crypto asset transfers


Clayton, Lance       10/23/2023     2.2   Prepare fund distribution tracker for venture master model

Ernst, Reagan        10/23/2023     1.3   Analyze situation overview in tearsheet for Alameda equity position
                                          with upcoming merger
Ernst, Reagan        10/23/2023     1.1   Implement recent wire confirmations into sold investments slide of
                                          PMO slide deck
Ernst, Reagan        10/23/2023     1.4   Report updates on deliverables tracker objectives for the week

Ernst, Reagan        10/23/2023     1.7   Reconcile recent wire confirmations with cash receipts forecast
                                          tracker
Ernst, Reagan        10/23/2023     2.4   Create tearsheet for Alameda equity position with upcoming merger

Ernst, Reagan        10/23/2023     0.9   Report updates on process tracker objectives for the week


Flynn, Matthew       10/23/2023     1.3   Review FTX 2.0 presentation for management




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Asset Sales
Professional              Date    Hours    Activity
Gidoomal, Dhruv      10/23/2023     0.6   Update Reverse Diligence PMO Deck with market overview
                                          information
Gidoomal, Dhruv      10/23/2023     1.2   Review responses from Bidder 2 to data request list


Gidoomal, Dhruv      10/23/2023     1.1   Review responses from Bidder 1 to data request list

Glustein, Steven     10/23/2023     0.9   Prepare summary of SAFE and SAFT investments held by
                                          LedgerPrime
Gordon, Robert       10/23/2023     0.3   Teleconference with R. Gordon and K. Jacobs (A&M) re: follow up
                                          on FTX2.0 process and tax considerations
Gordon, Robert       10/23/2023     0.4   Call to review bidder #2 agenda items with R. Gordon, K. Kearney,
                                          S. Kolodny, D. Hainline (A&M)
Gordon, Robert       10/23/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline, K Reagan (A&M)
Gordon, Robert       10/23/2023     0.4   Call to review bidder #1 agenda items with R. Gordon, K. Kearney,
                                          M. Beretta, B. Turton (A&M)
Gordon, Robert       10/23/2023     0.5   Teleconference with J. Croke(S&C), R. Gordon, K. Kearney(A&M)
                                          over bidder investigations
Gordon, Robert       10/23/2023     0.2   Teleconference with R. Gordon, K. Kearney(A&M) over updates to
                                          2.0 presentation
Gordon, Robert       10/23/2023     0.4   Correspondence with bidder#2 over cybersecurity review

Gordon, Robert       10/23/2023     1.1   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                          (K. Cofsky, M. Rahmani and others), and A&M (K. Ramanathan, R.
                                          Gordon, K. Kearney, K. Jacobs) re: FTX2.0 process
Gordon, Robert       10/23/2023     0.7   Call with PWP (K. Cofsky, M. Rahmani), S&C (A. Dietderich), S.
                                          Coverick, K. Jacobs, R. Gordon and L. Callerio (A&M) re: FTX2.0
                                          update
Hainline, Drew       10/23/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline, K Reagan (A&M)
Hainline, Drew       10/23/2023     1.2   Review updates responses and documentation from bidder #2 to
                                          support diligence efforts
Hainline, Drew       10/23/2023     0.4   Call to review bidder #2 agenda items with R. Gordon, K. Kearney,
                                          S. Kolodny, D. Hainline (A&M)
Hainline, Drew       10/23/2023     1.1   Draft discussion points and questions for bidder #2 walkthrough
                                          agenda
Hainline, Drew       10/23/2023     0.8   Meeting on open diligence items for bidder #2 with S. Kolodny, D.
                                          Hainline (A&M)
Hainline, Drew       10/23/2023     0.4   Continue to review outside research memos to support diligence
                                          process
Hainline, Drew       10/23/2023     0.8   Review outside research profiles to support diligence efforts


Hainline, Drew       10/23/2023     0.2   Review funding rounds for bidder #2 to support diligence efforts

Hainline, Drew       10/23/2023     0.2   Review information related to valuation assumptions for bidder #2



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Asset Sales
Professional              Date    Hours    Activity
Hainline, Drew       10/23/2023     0.4   Draft weekly PMO update materials for 2.0 Rapid Assessment

Jacobs, Kevin        10/23/2023     1.1   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                          (K. Cofsky, M. Rahmani and others), and A&M (K. Ramanathan, R.
                                          Gordon, K. Kearney, K. Jacobs) re: FTX2.0 process
Johnston, David      10/23/2023     0.6   Review and update intercompany payments relating to FTX Europe
                                          asset sale
Kearney, Kevin       10/23/2023     1.7   Review of updated market assessment for BOD presentation on FTX
                                          2.0 sale for updates to assessment
Kearney, Kevin       10/23/2023     1.1   Review of regulatory assessment for all FTX 2.0 bidders provided by
                                          S&C for inclusion in BOD presentation
Kearney, Kevin       10/23/2023     0.4   Call to review bidder #1 agenda items with R. Gordon, K. Kearney,
                                          M. Beretta, B. Turton (A&M)
Kearney, Kevin       10/23/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline, K Reagan (A&M)
Kearney, Kevin       10/23/2023     0.5   Teleconference with J. Croke(S&C), R. Gordon, K. Kearney(A&M)
                                          over bidder investigations
Kearney, Kevin       10/23/2023     0.4   Call to review bidder #2 agenda items with R. Gordon, K. Kearney,
                                          S. Kolodny, D. Hainline (A&M)
Kearney, Kevin       10/23/2023     0.2   Teleconference with R. Gordon, K. Kearney(A&M) over updates to
                                          2.0 presentation
Kearney, Kevin       10/23/2023     1.2   Review of updated diligence information received by bidder 2

Kearney, Kevin       10/23/2023     0.7   Review of updated diligence information received by bidder 1


Kearney, Kevin       10/23/2023     1.1   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                          (K. Cofsky, M. Rahmani and others), and A&M (K. Ramanathan, R.
                                          Gordon, K. Kearney, K. Jacobs) re: FTX2.0 process
Kolodny, Steven      10/23/2023     0.9   Review open diligence items and responses for inclusion in success
                                          criteria for bidder #2
Kolodny, Steven      10/23/2023     0.4   Call to review bidder #2 agenda items with R. Gordon, K. Kearney,
                                          S. Kolodny, D. Hainline (A&M)
Kolodny, Steven      10/23/2023     0.6   Review responses from bidder #3 for success criteria in comparison
                                          to bidder #2
Kolodny, Steven      10/23/2023     1.4   Review third party diligence materials for notable findings for bidder
                                          #2
Kolodny, Steven      10/23/2023     0.6   Review responses from bidder #1 for success criteria in comparison
                                          to bidder #2
Kolodny, Steven      10/23/2023     0.6   Review responses from bidder #4 for success criteria in comparison
                                          to bidder #2
Kolodny, Steven      10/23/2023     0.8   Meeting on open diligence items for bidder #2 with S. Kolodny, D.
                                          Hainline (A&M)
Kolodny, Steven      10/23/2023     0.9   Review backstop agreement as part of proposed transaction
                                          structure for bidder #2
Kolodny, Steven      10/23/2023     0.8   Research terms and conditions on proposed deal structure and
                                          similar transactions related to proposal for bidder #2

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Asset Sales
Professional               Date    Hours    Activity
McLoughlin, Miles     10/23/2023     0.3   Call to go over plans for this week/today with K. Reagan and M.
                                           McLoughlin (A&M)
McLoughlin, Miles     10/23/2023     1.3   Read bidder #3 financials to look for information we may have
                                           missed
McLoughlin, Miles     10/23/2023     0.7   Read bidder #1 counter-bid to compare to bidder #2

McLoughlin, Miles     10/23/2023     0.8   Read through Nardello reports for bidder #3

McLoughlin, Miles     10/23/2023     0.4   Adjust slides to format change with Nardello


Montague, Katie       10/23/2023     0.3   2.0 Rapid Assessment Leads Call with J. Rybarczyk., K. Montague,
                                           B. Turton (A&M)
Paolinetti, Sergio    10/23/2023     1.4   Populate outreach tracker with pre-ICO information on latest
                                           correspondence
Paolinetti, Sergio    10/23/2023     0.9   Update media tracker with latest upcoming ICO news

Ramanathan, Kumanan   10/23/2023     1.1   Review of most recent counterparty engagement letter and
                                           correspond regarding approvals
Ramanathan, Kumanan   10/23/2023     0.4   Review final OTC counterparty engagement letter and coordinate
                                           execution
Reagan, Kelsey        10/23/2023     0.9   Call to discuss timing, status and next steps for each bidder with K
                                           Reagan and J. Rybarczyk (A&M)
Reagan, Kelsey        10/23/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                           Hainline, K Reagan (A&M)
Reagan, Kelsey        10/23/2023     2.4   Review bidder #3 financial reporting package and assess any impact
                                           or concerns to the NewX
Reagan, Kelsey        10/23/2023     0.3   Call to go over plans for this week/today with K. Reagan and M.
                                           McLoughlin (A&M)
Reagan, Kelsey        10/23/2023     0.9   Review findings from third-party investigation for bidder #3

Reagan, Kelsey        10/23/2023     1.3   Review the draft counter bid for bidder #1


Reagan, Kelsey        10/23/2023     0.8   Review diligence finding slides for bidder #3

Reagan, Kelsey        10/23/2023     1.2   Finalize the data requests to be sent to bidder #3

Rybarczyk, Jodi       10/23/2023     0.9   Call to discuss timing, status and next steps for each bidder with K
                                           Reagan and J. Rybarczyk (A&M)
Rybarczyk, Jodi       10/23/2023     1.2   Review Q2 earnings transcript for public crypto exchange to
                                           understand near-term market outlook
Rybarczyk, Jodi       10/23/2023     0.3   2.0 Rapid Assessment Leads Call with J. Rybarczyk., K. Montague,
                                           B. Turton (A&M)
Rybarczyk, Jodi       10/23/2023     1.1   Review LexisNexis reports for key bidder professionals




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Asset Sales
Professional                 Date    Hours    Activity
Stockmeyer, Cullen      10/23/2023     1.7   Prepare updated vesting schedule based on latest need from
                                             valuation team
Titus, Adam             10/23/2023     0.7   Review email correspondence on payment transfers upcoming to
                                             determine correct funding
Titus, Adam             10/23/2023     0.9   Edit listing of liquid investments based on responses from team on
                                             transferred assets
Titus, Adam             10/23/2023     1.0   Review bridge items with coin report; receivables venture portfolio
                                             for discussion
Titus, Adam             10/23/2023     1.1   Review correspondence for illiquid investment sign off prior to
                                             sending
Titus, Adam             10/23/2023     2.1   Draft schedule for illiquid investments related to hedge fund entity

Titus, Adam             10/23/2023     0.8   Review cancelation details for final hedge fund regulatory details


Turton, Bobby           10/23/2023     0.4   Call to review bidder #1 agenda items with R. Gordon, K. Kearney,
                                             M. Beretta, B. Turton (A&M)
Turton, Bobby           10/23/2023     1.1   Update diligence list for Bidder #1 for newly received items and
                                             duplicates
Turton, Bobby           10/23/2023     0.3   2.0 Rapid Assessment Leads Call with J. Rybarczyk., K. Montague,
                                             B. Turton (A&M)
Turton, Bobby           10/23/2023     2.6   Prepare agenda for Bidder #1 diligence call

Turton, Bobby           10/23/2023     2.2   Review newly submitted diligence items for Bidder #1


Turton, Bobby           10/23/2023     2.1   Update Bidder #1 contribution analysis for PwP

van den Belt, Mark      10/23/2023     1.4   Prepare updated schedule for FTX Europe asset sale purchase
                                             agreement
Alvarez, Charles        10/24/2023     2.4   Analyze financial filings of publicly traded crypto exchanges in
                                             preparation of competitor comparison analysis
Alvarez, Charles        10/24/2023     0.3   Participate on call to discuss public company market outlook
                                             comparisons with J. Rybarczyk, C. Alvarez (A&M)
Alvarez, Charles        10/24/2023     1.3   Research crypto exchange competitors for market analysis section
                                             of reverse diligence deck
Alvarez, Charles        10/24/2023     1.2   Analyze Q2 earnings transcript of public crypto exchange for outlook
                                             on crypto market
Alvarez, Charles        10/24/2023     1.1   Prepare competitor analysis comparison for publicly traded crypto
                                             exchange
Beretta, Matthew        10/24/2023     1.0   Meeting to discuss bidder #1 revised diligence with R. Gordon, K.
                                             Kearney, B. Turton, M. Beretta (A&M)
Beretta, Matthew        10/24/2023     0.9   Call to finalize agenda and approach for bidder #1 discussion with R.
                                             Gordon, K. Kearney, M. Beretta (A&M)
Beretta, Matthew        10/24/2023     2.2   Update diligence list for Bidder #1 for critical items and compare with
                                             documents in VDR




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Professional              Date    Hours    Activity
Beretta, Matthew     10/24/2023     1.2   Review research report from Nardello for CSO of Bidder #1 and
                                          prepare diligence follow ups
Beretta, Matthew     10/24/2023     1.3   Create diligence summary for Bidder #1 including graphic to
                                          summarize diligence item
Beretta, Matthew     10/24/2023     0.3   Teleconference to discuss Bidder #1 source materials with M.
                                          Beretta and D. Gidoomal
Beretta, Matthew     10/24/2023     1.3   Analyze research report from Nardello for Chairman of Bidder #1

Beretta, Matthew     10/24/2023     0.4   Update Project Focus PMO deck for Bidder #1


Beretta, Matthew     10/24/2023     1.4   Review research report from Nardello for CEO of Bidder #1

Beretta, Matthew     10/24/2023     0.4   Compile follow up requests for Nardello research reports


Beretta, Matthew     10/24/2023     0.3   Zoom conference with R. Moon and E. Tu (PWP) to prepare for
                                          Bidders #1 & 2 discussions R. Gordon, K. Kearney, D. Hainline, B.
                                          Turton, and M. Beretta (A&M)
Beretta, Matthew     10/24/2023     0.3   Teleconference to discuss outstanding diligence requests for Bidder
                                          #1 with R. Moon and E. Tu, J. Darby, B. Mendelsohn (PWP), R.
                                          Gordon, K. Kearney, B. Turton, and M. Beretta (A&M), and Bidder
                                          #1 advisors
Clayton, Lance       10/24/2023     2.2   Update venture dissolution bridge to summarize process of wind-
                                          downs
Clayton, Lance       10/24/2023     2.3   Update draft of SAFE cancelation recommendation slide


Clayton, Lance       10/24/2023     1.9   Review contact update list for LedgerPrime outreach

Clayton, Lance       10/24/2023     2.0   Create dissolution process slide for external advisor review


Clayton, Lance       10/24/2023     1.7   Update template outreach to LedgerPrime investment companies
                                          regarding operational changes
Ernst, Reagan        10/24/2023     1.1   Create tracker for wire detail confirmations for closed equity positions

Ernst, Reagan        10/24/2023     2.3   Reconcile wire detail tracker with wire confirmation documents sent
                                          via email
Ernst, Reagan        10/24/2023     1.3   Create tracker for wire detail confirmations for partially funded equity
                                          positions
Ernst, Reagan        10/24/2023     0.6   Create tracker for wire detail confirmations for closed fund positions


Ernst, Reagan        10/24/2023     0.8   Create tracker for wire detail confirmations for dissolved positions

Ernst, Reagan        10/24/2023     1.3   Consolidate LedgerPrime contact information for contact update
                                          letter
Flynn, Matthew       10/24/2023     1.2   Review of binded top customer listings




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Asset Sales
Professional              Date    Hours    Activity
Gidoomal, Dhruv      10/24/2023     0.6   Update source information for Bidder 1 slides with information from
                                          private investigator reports on senior management
Gidoomal, Dhruv      10/24/2023     1.8   Review draft Memorandum documents from private investigator for
                                          Bidder 1 senior management
Gidoomal, Dhruv      10/24/2023     0.3   Teleconference with M. Beretta (A&M) to discuss source material for
                                          Bidder 1
Gidoomal, Dhruv      10/24/2023     1.6   Review draft Memorandum documents from private investigators

Glustein, Steven     10/24/2023     1.2   Review presentation regarding summary of indications of interest
                                          relating to venture investment sale process
Glustein, Steven     10/24/2023     1.3   Review remaining fund position tracker provided by PWP team
                                          relating to unsold fund positions in the venture book
Glustein, Steven     10/24/2023     0.7   Research relativity for legal documents associated with fund
                                          investment position
Glustein, Steven     10/24/2023     0.4   Review capital call tracker relating to post petition capital payments

Glustein, Steven     10/24/2023     1.6   Update investment tracker regarding links to investment documents
                                          relating to Alameda venture book
Glustein, Steven     10/24/2023     0.4   Provide comments on presentation regarding summary of
                                          indications of interest relating to venture investment sale process
Gordon, Robert       10/24/2023     1.0   Meeting to discuss bidder #1 revised diligence with R. Gordon, K.
                                          Kearney, B. Turton, M. Beretta (A&M)
Gordon, Robert       10/24/2023     0.9   Call to finalize agenda and approach for bidder #1 discussion with R.
                                          Gordon, K. Kearney, M. Beretta (A&M)
Gordon, Robert       10/24/2023     1.1   Meeting with K. Kearney, R. Gordon(A&M) over bidder management
                                          team reviews
Gordon, Robert       10/24/2023     0.8   Prepare for bidder #1 diligence call by review valuation and
                                          operational questions
Gordon, Robert       10/24/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, and
                                          D. Hainline (A&M)
Gordon, Robert       10/24/2023     0.5   Review IP analysis presentation to support potential entity sale


Gordon, Robert       10/24/2023     1.9   Review case 3 assumptions in bidder #1 business plan

Gordon, Robert       10/24/2023     0.6   Analyze Blockfolio claims to support IP analysis

Gordon, Robert       10/24/2023     0.3   Teleconference with R. Moon and E. Tu (PWP) to prepare for
                                          Bidders #1 & 2 discussions R. Gordon, K. Kearney, D. Hainline, B.
                                          Turton, and M. Beretta (A&M)
Gordon, Robert       10/24/2023     0.2   Walkthrough the format of the presentations for bid term review for
                                          each bidder with R. Gordon, K. Kearney, D. Hainline, K Reagan and
                                          M. McLoughlin (A&M)
Gordon, Robert       10/24/2023     0.7   Meeting to discuss deal economics for bidder #3 and plans for the
                                          future with K. Reagan, R. Gordon, K. Kearney, M. McLoughlin, D.
                                          Hainline (A&M)



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Professional              Date    Hours    Activity
Gordon, Robert       10/24/2023     0.3   Teleconference to discuss outstanding diligence requests for Bidder
                                          #1 with R. Moon and E. Tu, J. Darby, B. Mendelsohn (PWP), R.
                                          Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Gordon, Robert       10/24/2023     0.3   Walkthrough the proposed agenda for bidder #3 live discussion and
                                          the current summary of the bid terms including responses with R.
                                          Gordon, K. Kearney, K Reagan and M. McLoughlin (A&M)
Gordon, Robert       10/24/2023     0.8   Call to finalize agenda and approach for bidder #2 discussion with R.
                                          Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)
Hainline, Drew       10/24/2023     0.4   Discuss presentation format and content for the bid economics
                                          summary among bidders with D. Hainline, K Reagan (A&M)
Hainline, Drew       10/24/2023     0.4   Respond to request for balance sheet information related to dotcom
                                          silo entities for diligence requests
Hainline, Drew       10/24/2023     0.8   Call to review status and next steps for 2.0 rapid assessment with K.
                                          Kearney, D. Hainline (A&M)
Hainline, Drew       10/24/2023     0.7   Draft considerations for counter proposal on key terms included in
                                          bidder #2 proposal
Hainline, Drew       10/24/2023     1.3   Meeting for valuation assessment related to bidder #2 with S.
                                          Kolodny, D. Hainline (A&M)
Hainline, Drew       10/24/2023     0.8   Meeting to review materials for bidder #2 with K. Kearney, S.
                                          Kolodny, D. Hainline (A&M)
Hainline, Drew       10/24/2023     1.4   Draft assessment materials for projected financial assumptions for
                                          bidder #2
Hainline, Drew       10/24/2023     0.6   Continue drafting weekly PMO update materials for 2.0 Rapid
                                          Assessment
Hainline, Drew       10/24/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, and
                                          D. Hainline (A&M)
Hainline, Drew       10/24/2023     1.2   Review information received from bidders to prepare for live
                                          discussions
Hainline, Drew       10/24/2023     0.6   Draft planning materials for upcoming discussions with bidder #2

Hainline, Drew       10/24/2023     0.4   Review discussion materials for bid structure analysis of bidder #1


Hainline, Drew       10/24/2023     0.6   Draft deal structure and economics overview materials for bidder #2

Hainline, Drew       10/24/2023     0.4   Draft PFI metrics across bidders for assessment materials


Hainline, Drew       10/24/2023     0.4   Draft updates to consolidated diligence request list

Hainline, Drew       10/24/2023     0.4   Call to discuss plans for deal economics and data request list with K.
                                          Reagan, D. Hainline, S. Kolodny, M. McLoughlin (A&M)
Hainline, Drew       10/24/2023     0.2   Walkthrough the format of the presentations for bid term review for
                                          each bidder with R. Gordon, K. Kearney, D. Hainline, K Reagan and
                                          M. McLoughlin (A&M)
Hainline, Drew       10/24/2023     0.8   Call to finalize agenda and approach for bidder #2 discussion with R.
                                          Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)



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Asset Sales
Professional              Date    Hours    Activity
Hainline, Drew       10/24/2023     0.3   Teleconference with R. Moon and E. Tu (PWP) to prepare for
                                          Bidders #1 & 2 discussions R. Gordon, K. Kearney, D. Hainline, B.
                                          Turton, and M. Beretta (A&M)
Kearney, Kevin       10/24/2023     0.9   Call to finalize agenda and approach for bidder #1 discussion with R.
                                          Gordon, K. Kearney, M. Beretta, B. Turton (A&M)
Kearney, Kevin       10/24/2023     0.4   Prepare correspondence to Sygnia regarding follow up questions
                                          and requests associated with cybersecurity assessment
Kearney, Kevin       10/24/2023     0.8   Meeting to review materials for bidder #2 with K. Kearney, S.
                                          Kolodny, D. Hainline (A&M)
Kearney, Kevin       10/24/2023     0.8   Call to review status and next steps for 2.0 rapid assessment with K.
                                          Kearney, D. Hainline (A&M)
Kearney, Kevin       10/24/2023     1.0   Meeting to discuss bidder #1 revised diligence with R. Gordon, K.
                                          Kearney, B. Turton (A&M)
Kearney, Kevin       10/24/2023     1.1   Meeting with K. Kearney, R. Gordon(A&M) over bidder management
                                          team reviews
Kearney, Kevin       10/24/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, and
                                          D. Hainline (A&M)
Kearney, Kevin       10/24/2023     0.3   Teleconference with R. Moon and E. Tu (PWP) to prepare for
                                          Bidders #1 & 2 discussions R. Gordon, K. Kearney, D. Hainline, B.
                                          Turton, and M. Beretta (A&M)
Kearney, Kevin       10/24/2023     0.3   Teleconference to discuss outstanding diligence requests for Bidder
                                          #1 with R. Moon and E. Tu, J. Darby, B. Mendelsohn (PWP), R.
                                          Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Kearney, Kevin       10/24/2023     0.2   Walkthrough the format of the presentations for bid term review for
                                          each bidder with R. Gordon, K. Kearney, D. Hainline, K Reagan and
                                          M. McLoughlin (A&M)
Kearney, Kevin       10/24/2023     0.3   Walkthrough the proposed agenda for bidder #3 live discussion and
                                          the current summary of the bid terms including responses with R.
                                          Gordon, K. Kearney, K Reagan and M. McLoughlin (A&M)
Kearney, Kevin       10/24/2023     1.6   Review of consolidated diligence assessment for bidder 3 for BOD
                                          presentation
Kearney, Kevin       10/24/2023     0.7   Meeting to discuss deal economics for bidder #3 and plans for the
                                          future with K. Reagan, R. Gordon, K. Kearney, M. McLoughlin, D.
                                          Hainline (A&M)
Kearney, Kevin       10/24/2023     0.8   Call to finalize agenda and approach for bidder #2 discussion with R.
                                          Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)
Kolodny, Steven      10/24/2023     0.6   Review second round bid summary provided by PWP to leverage
                                          relevant information on diligence workstream
Kolodny, Steven      10/24/2023     0.8   Meeting to review materials for bidder #2 with K. Kearney, S.
                                          Kolodny, D. Hainline (A&M)
Kolodny, Steven      10/24/2023     2.1   Review newly filed form S1 by bidder #2 for additional information
                                          that can be gathered
Kolodny, Steven      10/24/2023     0.4   Call to discuss plans for deal economics and data request list with K.
                                          Reagan, D. Hainline, S. Kolodny, M. McLoughlin (A&M)
Kolodny, Steven      10/24/2023     0.8   Call to finalize agenda and approach for bidder #2 discussion with R.
                                          Gordon, K. Kearney, S. Kolodny, D. Hainline (A&M)



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Professional               Date    Hours    Activity
Kolodny, Steven       10/24/2023     1.2   Research valuation methodologies that are used in best practice for
                                           market exchanges including traditional securities and crypto
McLoughlin, Miles     10/24/2023     0.4   Call to go over deal economics for bidder #3 and to plan agenda K.
                                           Reagan and M. McLoughlin (A&M)
McLoughlin, Miles     10/24/2023     0.2   Call to get everything ready for meeting with internal team K.
                                           Reagan and M. McLoughlin (A&M)
McLoughlin, Miles     10/24/2023     0.1   Review Nardello reports for co-investments between FTX and bidder
                                           #3
McLoughlin, Miles     10/24/2023     0.1   Enter information into bid economics slide deck


McLoughlin, Miles     10/24/2023     0.4   Call to discuss plans for deal economics and data request list with K.
                                           Reagan, D. Hainline, S. Kolodny, M. McLoughlin (A&M)
McLoughlin, Miles     10/24/2023     0.2   Walkthrough the format of the presentations for bid term review for
                                           each bidder with R. Gordon, K. Kearney, D. Hainline, K Reagan and
                                           M. McLoughlin (A&M)
McLoughlin, Miles     10/24/2023     0.7   Meeting to discuss deal economics for bidder #3 and plans for the
                                           future with K. Reagan, R. Gordon, K. Kearney, M. McLoughlin, D.
                                           Hainline (A&M)
McLoughlin, Miles     10/24/2023     0.3   Walkthrough the proposed agenda for bidder #3 live discussion and
                                           the current summary of the bid terms including responses with R.
                                           Gordon, K. Kearney, K Reagan and M. McLoughlin (A&M)
Montague, Katie       10/24/2023     0.3   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk., K.
                                           Montague, and B. Turton (A&M)
Montague, Katie       10/24/2023     0.7   Correspond with Nardello regarding research of FTX 2.0 bidders


Montague, Katie       10/24/2023     2.1   Prepare updates to FTX 2.0 bidder proposal presentation

Ramanathan, Kumanan   10/24/2023     0.7   Review and provide comments to counterparty onboarding status
                                           and discuss with Galaxy
Reagan, Kelsey        10/24/2023     0.4   Discuss presentation format and content for the bid economics
                                           summary among bidders with D. Hainline, K Reagan (A&M)
Reagan, Kelsey        10/24/2023     0.4   Call to go over deal economics for bidder #3 and to plan agenda K.
                                           Reagan and M. McLoughlin (A&M)
Reagan, Kelsey        10/24/2023     0.3   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk., K.
                                           Montague, and B. Turton (A&M)
Reagan, Kelsey        10/24/2023     0.8   Update the bid terms summary presentation to include comments or
                                           risks associated with the bid
Reagan, Kelsey        10/24/2023     0.2   Call to get everything ready for meeting with internal team K.
                                           Reagan and M. McLoughlin (A&M)
Reagan, Kelsey        10/24/2023     2.4   Review bidder #3 bid terms and responses to some follow-up
                                           questions on the terms of the bid
Reagan, Kelsey        10/24/2023     0.3   Update data request list to identify items not sent to bidder #2 and #3


Reagan, Kelsey        10/24/2023     0.4   Review the bidder #1 bid terms and compare against bidder #3




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Professional                 Date    Hours    Activity
Reagan, Kelsey          10/24/2023     2.9   Update bidder #3 bid terms summary presentation

Reagan, Kelsey          10/24/2023     0.2   Walkthrough the format of the presentations for bid term review for
                                             each bidder with R. Gordon, K. Kearney, D. Hainline, K Reagan and
                                             M. McLoughlin (A&M)
Reagan, Kelsey          10/24/2023     0.7   Meeting to discuss deal economics for bidder #3 and plans for the
                                             future with K. Reagan, R. Gordon, K. Kearney, M. McLoughlin, D.
                                             Hainline (A&M)
Reagan, Kelsey          10/24/2023     0.4   Call to discuss plans for deal economics and data request list with K.
                                             Reagan, D. Hainline, S. Kolodny, M. McLoughlin (A&M)
Reagan, Kelsey          10/24/2023     0.3   Walkthrough the proposed agenda for bidder #3 live discussion and
                                             the current summary of the bid terms including responses with R.
                                             Gordon, K. Kearney, K Reagan and M. McLoughlin (A&M)
Rybarczyk, Jodi         10/24/2023     0.3   Participate on call to discuss public company market outlook
                                             comparisons with J. Rybarczyk, C. Alvarez (A&M)
Rybarczyk, Jodi         10/24/2023     0.9   Compile list of market risks based on recent 10-K and 10-Q filings
                                             for publicly traded crypto exchange
Rybarczyk, Jodi         10/24/2023     0.8   Review competitor analysis for publicly traded crypto exchange
                                             prepared by C. Alvarez (A&M)
Rybarczyk, Jodi         10/24/2023     0.3   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk., K.
                                             Montague, and B. Turton (A&M)
Rybarczyk, Jodi         10/24/2023     0.9   Review draft counter bid for bidder #1

Rybarczyk, Jodi         10/24/2023     1.3   Compare risks to the market risk section of the bidder diligence deck


Titus, Adam             10/24/2023     0.6   Respond to diligence questions related to crypto tokens held in wallet

Titus, Adam             10/24/2023     0.9   Review potential purchase option presentation


Tong, Crystal           10/24/2023     0.9   Review and provide feedback on the latest Bidders Assessment deck

Turton, Bobby           10/24/2023     1.0   Meeting to discuss bidder #1 revised diligence with R. Gordon, K.
                                             Kearney, B. Turton, M. Beretta (A&M)
Turton, Bobby           10/24/2023     0.3   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk., K.
                                             Montague, and B. Turton (A&M)
Turton, Bobby           10/24/2023     0.3   Create diligence summary for Bidder #1

Turton, Bobby           10/24/2023     0.2   Draft email to PwP with revised diligence list for Bidder #1


Turton, Bobby           10/24/2023     1.6   Review research report from Nardello for Chairman of Bidder #1

Turton, Bobby           10/24/2023     0.6   Compile follow up requests for Nardello research reports


Turton, Bobby           10/24/2023     2.1   Update diligence list for Bidder #1 for critical items




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Asset Sales
Professional                Date    Hours    Activity
Turton, Bobby          10/24/2023     0.4   Update Project Focus PMO deck for Bidder #1

Turton, Bobby          10/24/2023     1.1   Review research report from Nardello for CSO of Bidder #1


Turton, Bobby          10/24/2023     1.2   Review research report from Nardello for CEO of Bidder #1

Turton, Bobby          10/24/2023     0.3   Teleconference with R. Moon and E. Tu (PWP) to prepare for
                                            Bidders #1 & 2 discussions R. Gordon, K. Kearney, D. Hainline, B.
                                            Turton, and M. Beretta (A&M)
Turton, Bobby          10/24/2023     0.3   Teleconference to discuss outstanding diligence requests for Bidder
                                            #1 with R. Moon and E. Tu, J. Darby, B. Mendelsohn (PWP), R.
                                            Gordon, K. Kearney, B. Turton, and M. Beretta (A&M), and Bidder
                                            #1 advisors
Alvarez, Charles       10/25/2023     2.2   Prepare bidder #4 proposal discussion points summary


Beretta, Matthew       10/25/2023     0.3   Teleconference with M. Beretta & D. Gidoomal (A&M) to discuss
                                            investigations into Bidder 1 senior management
Beretta, Matthew       10/25/2023     2.6   Review documents recovered from Relativity in regard to Bidder #1

Beretta, Matthew       10/25/2023     1.4   Review relativity results related to a connection between Bidder #1


Beretta, Matthew       10/25/2023     1.6   Review relativity results related to an independent director of Bidder
                                            #1
Beretta, Matthew       10/25/2023     1.1   Refine and consolidate call notes for team distribution


Beretta, Matthew       10/25/2023     0.3   Draft response to Bidder #1 about KYC and reserve ratio

Beretta, Matthew       10/25/2023     0.7   Update PMO deck for Bidder #1 as of October 25


Beretta, Matthew       10/25/2023     1.0   Teleconference to discuss the operating model for Bidder #1 with K.
                                            Cofsky, R. Moon and E. Tu, J. Darby, M. Rahmani (PWP), R.
                                            Gordon, K. Kearney, B. Turton, and M. Beretta (A&M), and Bidder
                                            #1 advisors
Broskay, Cole          10/25/2023     0.5   Call to discuss intellectual property findings for Dotcom silo entity
                                            with R. Bruck, C. Broskay, M. Jones (A&M)
Broskay, Cole          10/25/2023     0.3   Call to discuss intellectual property research for Dotcom silo entity
                                            with R. Bruck, C. Broskay, M. Jones (A&M)
Broskay, Cole          10/25/2023     0.4   Conduct review of identified copyright and trademark information for
                                            Blockfolio
Broskay, Cole          10/25/2023     0.2   Meeting to discuss PowerPoint presentation on Blockfolio's
                                            intangible assets with R. Gordon, C. Broskay, R. Bruck, and K.
                                            Kearney (A&M)
Bruck, Ran             10/25/2023     0.5   Call to discuss intellectual property findings for Dotcom silo entity
                                            with R. Bruck, C. Broskay, M. Jones (A&M)
Bruck, Ran             10/25/2023     0.3   Call to discuss intellectual property research for Dotcom silo entity
                                            with R. Bruck, C. Broskay, M. Jones (A&M)



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Asset Sales
Professional                Date    Hours    Activity
Bruck, Ran             10/25/2023     0.2   Meeting to discuss PowerPoint presentation on Blockfolio's
                                            intangible assets with R. Gordon, C. Broskay, R. Bruck, and K.
                                            Kearney (A&M)
Clayton, Lance         10/25/2023     1.7   Research alameda token warrants to ensure proper inclusion and
                                            reporting
Clayton, Lance         10/25/2023     2.4   Review R. Ernst (A&M) schedule of proposed warrant updates and
                                            prepare comments
Clayton, Lance         10/25/2023     3.1   Prepare LedgerPrime petition date bridge for all assets for reporting
                                            purposes
Clayton, Lance         10/25/2023     2.2   Prepare token warrant analysis updates for review schedule


Coverick, Steve        10/25/2023     0.1   Call with M. Rahmani (PWP) re: public disclosure of debtor assets

Coverick, Steve        10/25/2023     0.4   Call with J. Ray (FTX), K. Ramanathan, S. Coverick (A&M), A.
                                            Levine, A. Kranzley (S&C), E. Gilad, J. Madell (PH), C. Delo
                                            (Rothschild), F. Risler and others (FTI), S. Kurz and others (Galaxy)
                                            to discuss crypto asset management matters (partial attendance)
Ernst, Reagan          10/25/2023     0.6   Search on relativity for information regarding an FTX trust position

Ernst, Reagan          10/25/2023     2.3   Create template for LedgerPrime contact letter update send out


Ernst, Reagan          10/25/2023     1.6   Compile information regarding FTX trust position for tearsheet

Flynn, Matthew         10/25/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M), H. Nachmias and others
                                            (Sygnia) to discuss latest IT diligence status
Flynn, Matthew         10/25/2023     0.8   Analysis top institutional customers by transaction volume

Flynn, Matthew         10/25/2023     0.8   Analysis top retail customers by transaction volume


Gidoomal, Dhruv        10/25/2023     0.7   Review and condense notes from meeting with Bidder 2 for updates
                                            to the bidder data request list and master deck
Gidoomal, Dhruv        10/25/2023     1.3   Review responses to Bidder 2 data request list and updated the list
                                            with the new information
Gidoomal, Dhruv        10/25/2023     0.3   Teleconference with M. Beretta (A&M) to discuss investigations into
                                            Bidder 1 senior management
Gidoomal, Dhruv        10/25/2023     0.7   Review Relativity search hits on bidder 1 and bidder 1 parent
                                            company senior management
Gidoomal, Dhruv        10/25/2023     0.6   Review updates to Reverse Diligence PMO Deck


Gordon, Robert         10/25/2023     0.4   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, and
                                            D. Hainline (A&M)
Gordon, Robert         10/25/2023     1.2   Edit updated Blockfolio IP analysis


Gordon, Robert         10/25/2023     2.7   Develop alternate scenarios for bidder #1 business plan analysis




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Professional              Date    Hours    Activity
Gordon, Robert       10/25/2023     1.3   Read through updated bidder #1 counter proposal

Gordon, Robert       10/25/2023     0.9   Review bidder #2 payment gateway funds analysis


Gordon, Robert       10/25/2023     1.2   Teleconference regarding bidder #2 diligence with H. Nachmias and
                                          others (Sygnia), K. Cofsky and others (PWP), R. Gordon, K.
                                          Kearney, D. Hainline, S. Kolodny (A&M)
Gordon, Robert       10/25/2023     0.6   Teleconference with PWP(K. Cofksy, M. Rahmani, others), R.
                                          Gordon, B. Turton, K.Kearney(A&M) to discuss counter proposal for
                                          bidder #1
Gordon, Robert       10/25/2023     1.0   Teleconference to discuss the operating model for Bidder #1 with K.
                                          Cofsky, R. Moon and E. Tu, J. Darby, M. Rahmani (PWP), R.
                                          Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Gordon, Robert       10/25/2023     0.2   Meeting to discuss PowerPoint presentation on Blockfolio's
                                          intangible assets with R. Gordon, C. Broskay, R. Bruck, and K.
                                          Kearney (A&M)
Gordon, Robert       10/25/2023     0.3   Call to debrief on bidder #2 discussions with R. Gordon, K. Kearney,
                                          D. Hainline, S. Kolodny (A&M)
Hainline, Drew       10/25/2023     0.6   Perform outside research on regulatory compliance factors to
                                          support diligence efforts
Hainline, Drew       10/25/2023     0.7   Draft updates to diligence assessment materials for bidder #2 for
                                          regulatory compliance
Hainline, Drew       10/25/2023     0.4   Draft updates to diligence assessment materials for bidder #2 for
                                          payment gateways
Hainline, Drew       10/25/2023     0.3   Call to discuss status update for bidder #2 with K. Kearney, D.
                                          Hainline (A&M)
Hainline, Drew       10/25/2023     0.4   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, and
                                          D. Hainline (A&M)
Hainline, Drew       10/25/2023     0.5   Call to update bidder #2 assessment materials with S. Kolodny, D.
                                          Hainline (A&M)
Hainline, Drew       10/25/2023     0.3   Review findings from discussion with bidder #2 to support
                                          assessment
Hainline, Drew       10/25/2023     0.6   Respond to SME questions on KYC information for bidder #2

Hainline, Drew       10/25/2023     0.4   Review open items and next steps to support diligence for bidder #2


Hainline, Drew       10/25/2023     0.8   Draft status and timeline materials for 2.0 rapid assessment

Hainline, Drew       10/25/2023     0.3   Continue updates on management team assessment for bidder #2


Hainline, Drew       10/25/2023     0.6   Review adjustments to assessment materials for bidder #2

Hainline, Drew       10/25/2023     0.5   Call to review weekly 2.0 rapid assessment update with K. Kearney,
                                          J. Rybarczyk, K. Reagan, B. Turton, D. Hainline (A&M)
Hainline, Drew       10/25/2023     1.2   Teleconference regarding bidder #2 diligence with H. Nachmias and
                                          others (Sygnia), K. Cofsky and others (PWP), R. Gordon, K.
                                          Kearney, D. Hainline, S. Kolodny (A&M)

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Hainline, Drew       10/25/2023     0.3   Call to debrief on bidder #2 discussions with R. Gordon, K. Kearney,
                                          D. Hainline, S. Kolodny (A&M)
Jones, Mackenzie     10/25/2023     0.5   Call to discuss intellectual property findings for Dotcom silo entity
                                          with R. Bruck, C. Broskay, M. Jones (A&M)
Jones, Mackenzie     10/25/2023     0.3   Call to discuss intellectual property research for Dotcom silo entity
                                          with R. Bruck, C. Broskay, M. Jones (A&M)
Jones, Mackenzie     10/25/2023     1.7   Research intellectual property documentation for Dotcom silo entity

Jones, Mackenzie     10/25/2023     0.9   Research money transmitter license documentation for Dotcom silo
                                          entity
Jones, Mackenzie     10/25/2023     0.2   Meeting to discuss PowerPoint presentation on Blockfolio's
                                          intangible assets with A. Stolyar, K. Zabcik, and M. Jones (A&M)
Kearney, Kevin       10/25/2023     0.3   Call to debrief on bidder #2 discussions with R. Gordon, K. Kearney,
                                          D. Hainline, S. Kolodny (A&M)
Kearney, Kevin       10/25/2023     1.3   Review of new reports from Nardello regarding management profiles
                                          associated with bidder 1
Kearney, Kevin       10/25/2023     0.9   Review of new reports from Nardello regarding management profiles
                                          associated with bidder 2
Kearney, Kevin       10/25/2023     1.8   Review of updated earn-out analysis for bidder 1 based on proposed
                                          changes to structure
Kearney, Kevin       10/25/2023     0.3   Call to discuss status update for bidder #2 with K. Kearney, D.
                                          Hainline (A&M)
Kearney, Kevin       10/25/2023     0.4   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, and
                                          D. Hainline (A&M)
Kearney, Kevin       10/25/2023     1.0   Teleconference to discuss the operating model for Bidder #1 with K.
                                          Cofsky, R. Moon and E. Tu, J. Darby, M. Rahmani (PWP), R.
                                          Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Kearney, Kevin       10/25/2023     1.2   Teleconference regarding bidder #2 diligence with H. Nachmias and
                                          others (Sygnia), K. Cofsky and others (PWP), R. Gordon, K.
                                          Kearney, D. Hainline, S. Kolodny (A&M)
Kearney, Kevin       10/25/2023     0.5   Call to review weekly 2.0 rapid assessment update with K. Kearney,
                                          J. Rybarczyk, K. Reagan, B. Turton, D. Hainline (A&M)
Kearney, Kevin       10/25/2023     0.6   Teleconference with PWP(K. Cofsky, M. Rahmani, others), R.
                                          Gordon, B. Turton, K.Kearney(A&M) to discuss counter proposal for
                                          bidder #1
Kearney, Kevin       10/25/2023     0.2   Meeting to discuss PowerPoint presentation on Blockfolio's
                                          intangible assets with R. Gordon, C. Broskay, R. Bruck, and K.
                                          Kearney (A&M)
Kolodny, Steven      10/25/2023     1.7   Review presentation project focus for bidder #1 after discussion of
                                          valuation to gather relevant detail for bidder #2
Kolodny, Steven      10/25/2023     0.3   Call to debrief on bidder #2 discussions with R. Gordon, K. Kearney,
                                          D. Hainline, S. Kolodny (A&M)
Kolodny, Steven      10/25/2023     0.6   Review diligence deck to determine assessment of findings as
                                          appropriate for bidder #2
Kolodny, Steven      10/25/2023     1.6   Continue review newly filed form S1 by bidder #2 for additional
                                          information that can be gathered


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Professional                Date    Hours    Activity
Kolodny, Steven        10/25/2023     0.6   Review regulatory slide for bidder #2 for updated information to be
                                            included in deck
Kolodny, Steven        10/25/2023     0.5   Meetings to update bidder #2 assessment materials with S. Kolodny,
                                            D. Hainline (A&M)
Kolodny, Steven        10/25/2023     0.4   Review diligence review deck lead slide for succinctness and
                                            potential updates
Kolodny, Steven        10/25/2023     1.1   Continue to update reverse diligence review deck

Kolodny, Steven        10/25/2023     1.2   Teleconference regarding bidder #2 diligence with H. Nachmias and
                                            others (Sygnia), K. Cofsky and others (PWP), R. Gordon, K.
                                            Kearney, D. Hainline, S. Kolodny (A&M)
Montague, Katie        10/25/2023     0.4   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk, K.
                                            Montague, and B. Turton (A&M)
Mosley, Ed             10/25/2023     0.3   Review of and prepare comments to draft presentation update of
                                            recovery analysis for stakeholder information
Mosley, Ed             10/25/2023     0.7   Review of and prepare comments to draft presentation of financial
                                            analysis of options regarding locked token dispositions
Paolinetti, Sergio     10/25/2023     2.2   Reconcile vesting schedule information of locked assets from
                                            venture contracts with Sygnia's locked assets list
Paolinetti, Sergio     10/25/2023     2.6   Perform vesting variance analysis with Sygnia's latest information


Paolinetti, Sergio     10/25/2023     1.4   Update virtual data room for venture deck slides

Paolinetti, Sergio     10/25/2023     1.1   Draft emails to reach out to pre-ICO issuers and inquire about
                                            upcoming ICO dates
Ramanathan, Kumanan    10/25/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M), H. Nachmias and others
                                            (Sygnia) to discuss latest IT diligence status
Ramanathan, Kumanan    10/25/2023     0.4   Call with C. Rhine, S. Kurz and others (Galaxy) to discuss crypto
                                            asset management motion parameters
Ramanathan, Kumanan    10/25/2023     0.5   Call with M. Marcantonio (Galaxy) to discuss crypto asset
                                            management motion guidelines
Ramanathan, Kumanan    10/25/2023     0.2   Call with S. Kurz, C. Rhines (Galaxy) to discuss crypto asset
                                            management
Ramanathan, Kumanan    10/25/2023     1.4   Prepare crypto asset management motion guidelines and distribute


Ramanathan, Kumanan    10/25/2023     0.3   Correspond with Galaxy team re: updating settlement tracker

Ramanathan, Kumanan    10/25/2023     0.6   Call with J. Kapoor, A. Kranzley, A. Levine (S&C), C. Rhine, S. Kurz
                                            and others (Galaxy) to discuss crypto asset management motion
Ramanathan, Kumanan    10/25/2023     0.7   Call with J. Ray (FTX), K. Ramanathan, S. Coverick (A&M), A.
                                            Levine, A. Kranzley and others (S&C), E. Gilad, J. Madell (PH), C.
                                            Delo and others (Rothschild), F. Risler and others (FTI), S. Kurz and
                                            others (Galaxy) to discuss crypto asset management matter
Reagan, Kelsey         10/25/2023     0.4   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk, K.
                                            Montague, and B. Turton (A&M)



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Asset Sales
Professional                 Date    Hours    Activity
Reagan, Kelsey          10/25/2023     1.4   Research affiliated entities and investment companies associated
                                             with bidder #3
Reagan, Kelsey          10/25/2023     0.4   Update the status update / PMO presentation for bidder #3


Reagan, Kelsey          10/25/2023     1.9   Review for internal consistency in presentation and update
                                             accordingly
Reagan, Kelsey          10/25/2023     2.1   Add discussion surrounding talking point for bidder #3 proposal

Reagan, Kelsey          10/25/2023     1.3   Draft diligence procedures in bidder presentation


Reagan, Kelsey          10/25/2023     0.5   Call to review weekly 2.0 rapid assessment update with K. Kearney,
                                             J. Rybarczyk, K. Reagan, B. Turton, D. Hainline (A&M)
Rybarczyk, Jodi         10/25/2023     0.4   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk, K.
                                             Montague, and B. Turton (A&M)
Rybarczyk, Jodi         10/25/2023     1.4   Prepare slide on short-term market outlook for publicly traded
                                             competitor
Rybarczyk, Jodi         10/25/2023     0.7   Review findings of third-party investigation for bidder #4


Rybarczyk, Jodi         10/25/2023     0.5   Call to review weekly 2.0 rapid assessment update with K. Kearney,
                                             J. Rybarczyk, K. Reagan, B. Turton, D. Hainline (A&M)
Stockmeyer, Cullen      10/25/2023     1.4   Prepare analysis of petition date receivables for certain subsidiary

Stolyar, Alan           10/25/2023     0.2   Meeting to discuss PowerPoint presentation on Blockfolio's
                                             intangible assets with A. Stolyar, K. Zabcik, and M. Jones (A&M)
Titus, Adam             10/25/2023     0.6   Research capital account statement of fund investment of hedge
                                             fund entity for capital call details
Titus, Adam             10/25/2023     1.8   Update analysis based on new details provided from unlocking
                                             schedule
Titus, Adam             10/25/2023     0.4   email correspondence for potential buyer summarizing next steps

Tong, Crystal           10/25/2023     0.9   Call with Q. Zhang to discuss the latest Bidders Assessment deck
                                             on KYC/ AML
Turton, Bobby           10/25/2023     0.4   2.0 Rapid Assessment Leads Call with K Reagan, J. Rybarczyk, K.
                                             Montague, and B. Turton (A&M)
Turton, Bobby           10/25/2023     2.1   Review relativity results related to a connection between Bidder #1

Turton, Bobby           10/25/2023     1.3   Review relativity results related to an independent director of Bidder
                                             #1
Turton, Bobby           10/25/2023     2.3   Review documents recovered from Relativity in regard to Bidder #1

Turton, Bobby           10/25/2023     0.3   Draft response to Bidder #1 about KYC and reserve ratio


Turton, Bobby           10/25/2023     1.7   Update PMO deck for Bidder #1 as of October 25




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Asset Sales
Professional               Date    Hours    Activity
Turton, Bobby         10/25/2023     1.0   Teleconference to discuss the operating model for Bidder #1 with K.
                                           Cofsky, R. Moon and E. Tu, J. Darby, M. Rahmani (PWP), R.
                                           Gordon, K. Kearney, B. Turton, and M. Beretta (A&M), and Bidder #
                                           1 advisors
Turton, Bobby         10/25/2023     0.5   Call to review weekly 2.0 rapid assessment update with K. Kearney,
                                           J. Rybarczyk, K. Reagan, B. Turton, D. Hainline (A&M)
Turton, Bobby         10/25/2023     0.6   Teleconference with PWP(K. Cofksy, M. Rahmani, others), R.
                                           Gordon, B. Turton, K.Kearney(A&M) to discuss counter proposal for
                                           bidder #1
Zabcik, Kathryn       10/25/2023     0.2   Meeting to discuss PowerPoint presentation on Blockfolio's
                                           intangible assets with A. Stolyar, K. Zabcik, and M. Jones (A&M)
Zhang, Qi             10/25/2023     0.9   Call with Q. Zhang to discuss the latest Bidders Assessment deck
                                           on KYC/ AML
Alvarez, Charles      10/26/2023     1.2   Analyze audited financials for bidder #1 to assess financial health of
                                           prospective bidder
Alvarez, Charles      10/26/2023     1.1   Analyze audited financials for bidder #2 to assess financial health of
                                           prospective bidder
Alvarez, Charles      10/26/2023     2.3   Analyze plan recovery analysis for supporting facts behind
                                           substantive consolidation
Alvarez, Charles      10/26/2023     0.4   Prepare EBITDA to FCF bridge for bidder #1


Alvarez, Charles      10/26/2023     1.7   Prepare financial statement snapshot for bidder #1

Alvarez, Charles      10/26/2023     1.6   Prepare financial statement snapshot for bidder #2


Alvarez, Charles      10/26/2023     0.6   Prepare EBITDA to FCF bridge for bidder #2

Alvarez, Charles      10/26/2023     0.4   Teleconference to discuss bidder financial health assessment with
                                           K. Montague, R. Gordon, K. Kearney, and C. Alvarez (A&M)
Beretta, Matthew      10/26/2023     0.4   Teleconference to prepare for Bidder #1 diligence call with R.
                                           Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Beretta, Matthew      10/26/2023     2.1   Analyze projected volumes for Bidder #1 earnout

Beretta, Matthew      10/26/2023     2.3   Update Bidder #1 earnout analysis based on revised terms


Beretta, Matthew      10/26/2023     1.0   Teleconference to discuss the diligence requests for Bidder #1 with
                                           G. Posess, R. Moon and E. Tu, J. Darby, M. Rahmani (PWP),
                                           Bidder #1 Management Team, R. Gordon, K. Kearney, B. Turton,
                                           and M. Beretta (A&M), and Bidder #1 advisors
Beretta, Matthew      10/26/2023     0.8   Review session to discuss Bidder #1 findings and revise earn-out
                                           model R. Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Beretta, Matthew      10/26/2023     0.4   Teleconference to discuss Bidder #1 counter and review earn-out
                                           model with E. Tu, G. Posess, M. Rahmani, R. Moon, (PWP) R.
                                           Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Broskay, Cole         10/26/2023     0.6   Review supporting documentation related to counsel request for IP
                                           information



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Professional                 Date    Hours    Activity
Callerio, Lorenzo       10/26/2023     0.6   Review and provide comments to the C98 summary overview
                                             prepared by S. Paolinetti (A&M)
Callerio, Lorenzo       10/26/2023     0.3   Review the additional information received on C98


Callerio, Lorenzo       10/26/2023     0.7   Call with PWP (K. Cofsky, M. Rahmani), S&C (A. Dietderich), S.
                                             Coverick, K. Jacobs, R. Gordon and L. Callerio (A&M) re: FTX2.0
                                             update
Clayton, Lance          10/26/2023     3.3   Prepare granular schedule of all transaction hash transfers for
                                             LedgerPrime
Clayton, Lance          10/26/2023     2.1   Prepare diligence package for alameda brokerage assets for K.
                                             Ramanathan (A&M)
Clayton, Lance          10/26/2023     2.4   Prepare updates to LedgerPrime weekly status deck re: standalone
                                             wallets
Clayton, Lance          10/26/2023     2.9   Prepare updates to remaining asset model for LedgerPrime transfers

Clayton, Lance          10/26/2023     1.4   Update remaining employee and other operational status for
                                             LedgerPrime
Clayton, Lance          10/26/2023     2.8   Continue schedule of transaction hashes for LedgerPrime transfers

Coverick, Steve         10/26/2023     0.6   Call with R. Gordon, S. Coverick, K. Kearney (A&M) re: status of 2.0
                                             reverse diligence progress
Coverick, Steve         10/26/2023     0.8   Review and provide comments on analysis of Blockfolio assets and
                                             claims
Coverick, Steve         10/26/2023     1.0   Call regarding FTX 2.0 with J. Ray (FTX), B. Mendelsohn and others
                                             (PWP), A. Dietderich and others (S&C), E. Mosley, S. Coverick, and
                                             H. Trent (A&M)
Ernst, Reagan           10/26/2023     1.1   Bridge investment tracker master workbook to petition price date
                                             based off of funded amount changes
Ernst, Reagan           10/26/2023     0.6   Bridge investment tracker master workbook to petition price date
                                             based off of type changes
Ernst, Reagan           10/26/2023     1.4   Refresh investment tracker master workbook to account for changes
                                             in funded amount
Ernst, Reagan           10/26/2023     0.8   Update brokerage slide on PMO slide deck to display variance in
                                             pricing
Ernst, Reagan           10/26/2023     2.8   Create t-minus chart to track process of itemized venture team sales


Ernst, Reagan           10/26/2023     0.6   Congregate all bounced back emails from LedgerPrime contact
                                             update letter
Ernst, Reagan           10/26/2023     0.9   Update PMO slide deck to include new dissolution closings

Ernst, Reagan           10/26/2023     1.1   Reconcile remaining LedgerPrime assets in various wallets by
                                             inspecting transaction hashes
Faett, Jack             10/26/2023     0.9   Call to discuss comparison of bidder PFI key assumptions with K.
                                             Kearney and J. Faett (A&M)
Faett, Jack             10/26/2023     1.4   Analyze intercompany agreements to identify agreements that relate
                                             to the development of FTX IP

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Asset Sales
Professional                 Date    Hours    Activity
Faett, Jack             10/26/2023     1.2   Review relativity for additional intercompany agreements requested
                                             by S&C
Faett, Jack             10/26/2023     1.1   Build out template for bidder request for providing PFI key
                                             assumptions and jurisdictions on where they plan to operate
Faett, Jack             10/26/2023     0.3   Call to discuss changes to the market slides within the reverse due
                                             diligence slide deck with K. Kearney and J. Faett (A&M)
Flynn, Matthew          10/26/2023     0.3   Call with M. Flynn, K. Ramanathan, L. Salas (A&M) to discuss FTX
                                             2.0 model
Flynn, Matthew          10/26/2023     0.7   Summarize top customer volume data provided


Gidoomal, Dhruv         10/26/2023     1.9   Review entire Master Deck for consistency, spelling and
                                             grammatical errors, and sources and footnotes
Gidoomal, Dhruv         10/26/2023     0.6   Review and condense notes from meeting with Bidder 1for updates
                                             to the bidder data request list and master deck
Gidoomal, Dhruv         10/26/2023     1.1   Review Harvey ball consistency in Master Deck and highlighted
                                             irregularities
Gidoomal, Dhruv         10/26/2023     2.6   Update Operational Readiness Assessments for Master Deck


Glustein, Steven        10/26/2023     1.1   Review LedgerPrime remaining assets identified by Sygnia team
                                             relating to update debank scrape analysis
Glustein, Steven        10/26/2023     0.7   Prepare comparison analysis between latest LedgerPrime remaining
                                             assets and previously reported remaining assets
Glustein, Steven        10/26/2023     0.4   Update PMO slides regarding closed and dissolved investments
                                             relating to venture book
Glustein, Steven        10/26/2023     1.3   Prepare summary of historical purchase and sales relating to GBTC
                                             assets
Glustein, Steven        10/26/2023     2.1   Prepare t-minus schedule for venture workstream relating to
                                             upcoming deliverables
Glustein, Steven        10/26/2023     0.3   Update PMO slides relating to brokerage updates

Glustein, Steven        10/26/2023     0.7   Update PMO slides relating to recent LedgerPrime updates


Glustein, Steven        10/26/2023     0.9   Update PMO slides relating to venture portfolio updates

Gordon, Robert          10/26/2023     0.4   Teleconference to prepare for Bidder #1 diligence call with R.
                                             Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Gordon, Robert          10/26/2023     0.8   Meeting with PWP(M. Rahmani, E. Tu, others), R. Gordon, K.
                                             Kearney, B. Turton(A&M) over bidder #1 earnout model
Gordon, Robert          10/26/2023     0.2   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                             Hainline, K Reagan (A&M)
Gordon, Robert          10/26/2023     0.6   Teleconference with R. Gordon, S. Coverick, K. Kearney(A&M) to
                                             discuss 2.0 assessment status
Gordon, Robert          10/26/2023     0.7   Teleconference with R. Gordon, K. Kearney(A&M) over bidder #2
                                             financial analysis




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Asset Sales
Professional              Date    Hours    Activity
Gordon, Robert       10/26/2023     1.4   Analyze top institutional customers in bidder #1 business plan

Gordon, Robert       10/26/2023     1.1   Review bidder #1 counter proposal for potential edits


Gordon, Robert       10/26/2023     0.8   Review updated Blockfolio tear sheet for latest edits

Gordon, Robert       10/26/2023     0.4   Teleconference to discuss bidder financial health assessment with
                                          K. Montague, R. Gordon, K. Kearney, and C. Alvarez (A&M)
Gordon, Robert       10/26/2023     1.2   Call with K. Ramanathan, R. Gordon & K. Kearney C. Sullivan
                                          (A&M), J. Ray (FTX), A. Dietderich (S&C) and S&C team, K. Cofsky
                                          (PWP) and PWP team, UCC advisors & AHC advisors for the
                                          weekly 2.0 update discussion
Gordon, Robert       10/26/2023     0.7   Call with PWP (K. Cofsky, M. Rahmani), S&C (A. Dietderich), S.
                                          Coverick, K. Jacobs, R. Gordon and L. Callerio (A&M) re: FTX2.0
                                          update
Gordon, Robert       10/26/2023     0.8   Review session to discuss Bidder #1 findings and revise earn-out
                                          model R. Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Gordon, Robert       10/26/2023     0.2   Meeting to discuss Blockfolio tear sheet with M. Jones, A. Stolyar,
                                          R. Gordon, and K. Zabcik (A&M)
Gordon, Robert       10/26/2023     0.4   Teleconference to discuss Bidder #1 counter and review earn-out
                                          model with E. Tu, G. Posess, M. Rahmani, R. Moon, (PWP) R.
                                          Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Gordon, Robert       10/26/2023     1.0   Teleconference to discuss the diligence requests for Bidder #1 with
                                          G. Posess, R. Moon and E. Tu, J. Darby, M. Rahmani (PWP),
                                          Bidder #1 Management Team, R. Gordon, K. Kearney, B. Turton,
                                          and M. Beretta (A&M)
Hainline, Drew       10/26/2023     0.2   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline, K Reagan (A&M)
Hainline, Drew       10/26/2023     0.4   Review updates to market overviews and historical revenue drivers
                                          to support diligence assessment
Hainline, Drew       10/26/2023     0.2   Call to discuss Blockfolio prepaid schedule with D. Hainline, M.
                                          Jones (A&M)
Hainline, Drew       10/26/2023     0.2   Respond to questions and comments from assessment of bidder #2
                                          KYC/AML assessment
Hainline, Drew       10/26/2023     0.2   Perform updates to open items and next steps to support diligence
                                          for bidder #2
Hainline, Drew       10/26/2023     0.3   Draft updates to diligence assessment materials for bidder #2

Hainline, Drew       10/26/2023     0.7   Analyze third-party diligence reports for 2.0 rapid assessment


Hainline, Drew       10/26/2023     0.3   Review updates to summary presentations for bidder #2

Hainline, Drew       10/26/2023     0.2   Draft updates to diligence request tracker for bidder #2


Hainline, Drew       10/26/2023     1.6   Call for assessment related to IT and IAM security with bidder
                                          representatives, O. Dupont, A. Chazan (Sygnia), D. Hainline, S.
                                          Kolodny (A&M)


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Asset Sales
Professional              Date    Hours    Activity
Hainline, Drew       10/26/2023     1.4   Call for assessment related to network security with bidder
                                          representatives, O. Dupont, A. Chazan (Sygnia), D. Hainline, S.
                                          Kolodny (A&M)
Hainline, Drew       10/26/2023     0.9   Call for assessment related to security monitoring and incident
                                          response with bidder representatives O. Dupont, A. Chazan
                                          (Sygnia), D. Hainline, S. Kolodny (A&M)
Hershan, Robert      10/26/2023     1.2   Review proposal from Escheatment Services, Inc to manage Embed
                                          unclaimed customer account balances post- Embed wind down
Johnston, David      10/26/2023     0.3   Review and update drafting of intercompany description as part of
                                          FTX Europe asset sale document
Jones, Mackenzie     10/26/2023     0.2   Meeting to discuss Blockfolio tear sheet with M. Jones, A. Stolyar,
                                          R. Gordon, and K. Zabcik (A&M)
Jones, Mackenzie     10/26/2023     1.4   Meeting to draft Blockfolio tear sheet with M. Jones, A. Stolyar, and
                                          K. Zabcik (A&M)
Jones, Mackenzie     10/26/2023     0.2   Call to discuss Blockfolio prepaid schedule with D. Hainline, M.
                                          Jones (A&M)
Jones, Mackenzie     10/26/2023     0.4   Draft summary of assets and liabilities for Dotcom silo entity


Jones, Mackenzie     10/26/2023     1.9   Aggregate Blockfolio intercompany detail for presentation in tear
                                          sheet
Kearney, Kevin       10/26/2023     0.4   Teleconference to prepare for Bidder #1 diligence call with R.
                                          Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Kearney, Kevin       10/26/2023     0.8   Meeting with PWP(M. Rahmani, E. Tu, others), R. Gordon, K.
                                          Kearney, B. Turton(A&M) over bidder #1 earnout model
Kearney, Kevin       10/26/2023     1.9   Review of updated BOD presentation for FTX 2.0 sale for changes
                                          to critical factor analysis
Kearney, Kevin       10/26/2023     0.6   Teleconference with R. Gordon, S. Coverick, K. Kearney(A&M) to
                                          discuss 2.0 assessment status
Kearney, Kevin       10/26/2023     0.9   Call to discuss comparison of bidder PFI key assumptions with K.
                                          Kearney and J. Faett (A&M)
Kearney, Kevin       10/26/2023     0.2   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                          Hainline, K Reagan (A&M)
Kearney, Kevin       10/26/2023     0.7   Review of preliminary information gathered for S&C regarding FTX
                                          2.0 tax matters
Kearney, Kevin       10/26/2023     0.7   Teleconference with R. Gordon, K. Kearney(A&M) over bidder #2
                                          financial analysis
Kearney, Kevin       10/26/2023     0.6   Review of financial projection comparisons/analysis for FTX 2.0
                                          bidders
Kearney, Kevin       10/26/2023     1.7   Review of FTX customer volume and revenue projections for bidder 2

Kearney, Kevin       10/26/2023     0.7   Review of FTX customer volume and revenue projections for bidder
                                          1
Kearney, Kevin       10/26/2023     0.8   Review of FTX customer volume and revenue projections for bidder 3




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Asset Sales
Professional              Date    Hours    Activity
Kearney, Kevin       10/26/2023     1.0   Teleconference to discuss the diligence requests for Bidder #1 with
                                          G. Posess, R. Moon and E. Tu, J. Darby, M. Rahmani (PWP),
                                          Bidder #1 Management Team, R. Gordon, K. Kearney, B. Turton,
                                          and M. Beretta (A&M)
Kearney, Kevin       10/26/2023     0.4   Teleconference to discuss Bidder #1 counter and review earn-out
                                          model with E. Tu, G. Posess, M. Rahmani, R. Moon, (PWP) R.
                                          Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Kearney, Kevin       10/26/2023     0.8   Review session to discuss Bidder #1 findings and revise earn-out
                                          model R. Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Kearney, Kevin       10/26/2023     1.2   Call with K. Ramanathan, R. Gordon & K. Kearney C. Sullivan
                                          (A&M), J. Ray (FTX), A. Dietderich (S&C) and S&C team, K. Cofsky
                                          (PWP) and PWP team, UCC advisors & AHC advisors for the
                                          weekly 2.0 update discussion
Kearney, Kevin       10/26/2023     0.3   Call to discuss changes to the market slides within the reverse due
                                          diligence slide deck with K. Kearney and J. Faett (A&M)
Kearney, Kevin       10/26/2023     0.4   Teleconference to discuss bidder financial health assessment with
                                          K. Montague, R. Gordon, K. Kearney, and C. Alvarez (A&M)
Kolodny, Steven      10/26/2023     1.4   Call for assessment related to network security with O. Dupont, A.
                                          Chazan (Sygnia), D. Hainline, S. Kolodny (A&M)
Kolodny, Steven      10/26/2023     1.6   Call for assessment related to IT and IAM security with O. Dupont,
                                          A. Chazan (Sygnia), D. Hainline, S. Kolodny (A&M)
Kolodny, Steven      10/26/2023     1.1   Continue review of open items on diligence tracking for bidder #2

Kolodny, Steven      10/26/2023     0.9   Call for assessment related to security monitoring and incident
                                          response with O. Dupont, A. Chazan (Sygnia), D. Hainline, S.
                                          Kolodny (A&M)
McLoughlin, Miles    10/26/2023     2.9   Format slideshow for consistency and errors

Montague, Katie      10/26/2023     2.4   Review and provide feedback for market analysis for FTX 2.0 bidder
                                          diligence presentation
Montague, Katie      10/26/2023     1.4   Review and provide feedback for bidder #4 overview in diligence
                                          presentation
Montague, Katie      10/26/2023     1.8   Review and provide feedback for bidder #1 overview in diligence
                                          presentation
Montague, Katie      10/26/2023     0.2   2.0 Rapid Assessment Leads Call with J. Rybarczyk., K. Montague,
                                          B. Turton (A&M)
Montague, Katie      10/26/2023     1.7   Review and provide feedback for bidder #2 overview in diligence
                                          presentation
Montague, Katie      10/26/2023     1.4   Review and provide feedback for bidder #3 overview in diligence
                                          presentation
Montague, Katie      10/26/2023     1.6   Review and analysis of bidder #2 historical financial information

Montague, Katie      10/26/2023     1.6   Review and analysis of bidder #1 historical financial information


Montague, Katie      10/26/2023     0.4   Teleconference to discuss bidder financial health assessment with
                                          K. Montague, R. Gordon, K. Kearney, and C. Alvarez (A&M)



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Asset Sales
Professional                Date    Hours    Activity
Mosley, Ed             10/26/2023     1.0   Call regarding FTX 2.0 with J. Ray (FTX), B. Mendelsohn and others
                                            (PWP), A. Dietderich and others (S&C), E. Mosley, S. Coverick, and
                                            H. Trent (A&M)
Paolinetti, Sergio     10/26/2023     0.8   Corroborate that token transfers from a particular issuer were made
                                            to Debtor's wallets
Ramanathan, Kumanan    10/26/2023     0.6   Correspond with counsel and obtain approval on selection of
                                            investment advisor
Ramanathan, Kumanan    10/26/2023     0.3   Call with M. Flynn, K. Ramanathan, L. Salas (A&M) to discuss FTX
                                            2.0 model
Ramanathan, Kumanan    10/26/2023     0.8   Review of crypto asset sale presentation materials and provide
                                            comments for changes
Ramanathan, Kumanan    10/26/2023     0.4   Call with C. Rhines (Galaxy) to discuss crypto asset management
                                            motion
Ramanathan, Kumanan    10/26/2023     0.2   Call with D. Handelsman (S&C) to discuss Galaxy engagement letter

Ramanathan, Kumanan    10/26/2023     0.9   Review trading counterparty agreement and correspond with counsel


Ramanathan, Kumanan    10/26/2023     0.8   Correspond with Galaxy team re: digital asset trading

Reagan, Kelsey         10/26/2023     0.2   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, D.
                                            Hainline, K Reagan (A&M)
Reagan, Kelsey         10/26/2023     0.9   Review and update talking points from bidder proposal slides in the
                                            bidder presentation deck
Reagan, Kelsey         10/26/2023     1.4   Revise management team discussion in the bidder presentation
                                            deck for bidder #3
Reagan, Kelsey         10/26/2023     1.8   Review and update market overview slides on the bidder
                                            presentation deck
Reagan, Kelsey         10/26/2023     2.9   Review and update bidder overview slides on the bidder presentation
                                            deck
Reagan, Kelsey         10/26/2023     1.1   Review criteria for success grading scale


Rybarczyk, Jodi        10/26/2023     1.2   Continue to prepare slide on short-term market outlook for publicly
                                            traded competitor
Rybarczyk, Jodi        10/26/2023     0.2   2.0 Rapid Assessment Leads Call with J. Rybarczyk., K. Montague,
                                            B. Turton (A&M)
Rybarczyk, Jodi        10/26/2023     1.6   Prepare bid terms summary slide for bidder #4

Salas Nunez, Luis      10/26/2023     0.3   Call with M. Flynn, K. Ramanathan, L. Salas (A&M) to discuss FTX
                                            2.0 model
Sivapalu, Anan         10/26/2023     1.6   Modify dax code to take into account additional columns added

Sivapalu, Anan         10/26/2023     1.9   Modify data model to bring in added columns into the SSAS
                                            database
Stolyar, Alan          10/26/2023     1.4   Meeting to draft Blockfolio tear sheet with M. Jones, A. Stolyar, and
                                            K. Zabcik (A&M)


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Asset Sales
Professional                 Date    Hours    Activity
Stolyar, Alan           10/26/2023     0.2   Meeting to discuss Blockfolio tear sheet with M. Jones, A. Stolyar,
                                             R. Gordon, and K. Zabcik (A&M)
Titus, Adam             10/26/2023     0.7   email correspondence on legal items with J. MacDonald [S&C]
                                             related to action items on venture investments
Titus, Adam             10/26/2023     1.9   Update weekly details of hedge fund entity next steps for execution
                                             process milestones
Titus, Adam             10/26/2023     1.6   Review winddown cost budget related to venture items potential cost
                                             post confirmation
Titus, Adam             10/26/2023     1.3   Update t-minus schedule for workstream task reports headed to J.
                                             Ray for deliverables
Titus, Adam             10/26/2023     1.4   Provide comments to PMO section of update slides before final to S.
                                             Glustein [A&M]
Titus, Adam             10/26/2023     0.8   Draft summary of capital account statement of fund investment


Titus, Adam             10/26/2023     0.8   Provide a list of questions in relation to winddown cost budget

Tong, Crystal           10/26/2023     0.6   Review and respond to questions on the bidders assessment deck


Trent, Hudson           10/26/2023     1.0   Call regarding FTX 2.0 with J. Ray (FTX), B. Mendelsohn and others
                                             (PWP), A. Dietderich and others (S&C), E. Mosley, S. Coverick, and
                                             H. Trent (A&M)
Turton, Bobby           10/26/2023     0.4   Teleconference to prepare for Bidder #1 diligence call with R.
                                             Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Turton, Bobby           10/26/2023     0.2   2.0 Rapid Assessment Leads Call with J. Rybarczyk., K. Montague,
                                             B. Turton (A&M)
Turton, Bobby           10/26/2023     3.1   Update Bidder #1 earnout analysis based on revised terms

Turton, Bobby           10/26/2023     2.4   Analyze projected volumes for Bidder #1 earnout

Turton, Bobby           10/26/2023     0.4   Teleconference to discuss Bidder #1 counter and review earn-out
                                             model with E. Tu, G. Posess, M. Rahmani, R. Moon, (PWP) R.
                                             Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Turton, Bobby           10/26/2023     1.0   Teleconference to discuss the diligence requests for Bidder #1 with
                                             G. Posess, R. Moon and E. Tu, J. Darby, M. Rahmani (PWP),
                                             Bidder #1 Management Team, R. Gordon, K. Kearney, B. Turton,
                                             and M. Beretta (A&M), and Bidder #1 advisors
Turton, Bobby           10/26/2023     0.8   Review session to discuss Bidder #1 findings and revise earn-out
                                             model R. Gordon, K. Kearney, B. Turton, and M. Beretta (A&M)
Zabcik, Kathryn         10/26/2023     0.2   Meeting to discuss Blockfolio tear sheet with M. Jones, A. Stolyar,
                                             R. Gordon, and K. Zabcik (A&M)
Zabcik, Kathryn         10/26/2023     1.4   Meeting to draft Blockfolio tear sheet with M. Jones, A. Stolyar, and
                                             K. Zabcik (A&M)
Beretta, Matthew        10/27/2023     1.9   Perform customer analysis for projected migrated customers for
                                             Bidder #1
Beretta, Matthew        10/27/2023     0.4   Teleconference with M. Beretta (A&M) to discuss final formatting of
                                             Appendix B


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Asset Sales
Professional                 Date    Hours    Activity
Beretta, Matthew        10/27/2023     2.6   Prepare presentation of revised earnout structure for Bidder #1

Beretta, Matthew        10/27/2023     2.1   Update bidder #1 diligence requests


Beretta, Matthew        10/27/2023     1.3   Add KYC data to Bidder # 1 customer analysis

Callerio, Lorenzo       10/27/2023     0.6   Review the C98 information received from D. Sagen (A&M)

Callerio, Lorenzo       10/27/2023     0.4   Review the updated PMO materials and provide comments


Clayton, Lance          10/27/2023     2.7   Finalize LP status deck based on comments from S. Glustein (A&M)

Clayton, Lance          10/27/2023     2.6   Prepare slide detailing all outstanding proposals for venture assets


Clayton, Lance          10/27/2023     2.1   Finalize LP remaining assets workbook based on updates from
                                             Sygnia
Clayton, Lance          10/27/2023     1.1   Review workplan draft from R. Ernst (A&M)


Ernst, Reagan           10/27/2023     0.7   Create pie chart displaying the breakdown of Alameda brokerage
                                             investments by investment
Ernst, Reagan           10/27/2023     2.2   Generate venture team itemized process tracker for live sale
                                             inquiries
Ernst, Reagan           10/27/2023     1.6   Process LedgerPrime contact information for contact letter update
                                             sendoff
Faett, Jack             10/27/2023     2.2   Analyze contractor agreements to determine which contractors
                                             would have contributed to development of FTX IP
Faett, Jack             10/27/2023     2.2   Search relativity for support of agreements between debtor entities
                                             and SBF, Gary and Nishad related to FTX IP
Faett, Jack             10/27/2023     0.4   Meeting to discuss FTX Group IP with J. Faett, J. Rybarczyk, K.
                                             Kearney, and A. Stolyar (A&M)
Faett, Jack             10/27/2023     1.9   Analyze Alameda uses of funds analysis to identify potential vendors
                                             that contributed to FTX IP
Faett, Jack             10/27/2023     0.1   Meeting to discuss FTX codebase data request with J. Faett and A.
                                             Stolyar (A&M)
Flynn, Matthew          10/27/2023     1.0   Call with M. Flynn, L. Salas (A&M), P. Lee (FTX) to discuss revenue
                                             model assumptions
Flynn, Matthew          10/27/2023     1.1   Perform customer volume analysis for bidder process


Flynn, Matthew          10/27/2023     0.8   Review FTX Japan presentation and provide comments

Flynn, Matthew          10/27/2023     0.5   Call with M. Flynn, K. Ramanathan, R. Gordon (A&M), M. Rahmani
                                             (PWP), Bidder #1 representatives to discuss outstanding diligence
                                             requests
Gidoomal, Dhruv         10/27/2023     0.4   Teleconference with M. Beretta (A&M) to discuss final formatting of
                                             Appendix B


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Asset Sales
Professional              Date    Hours    Activity
Gidoomal, Dhruv      10/27/2023     0.6   Review debtor response to bidder 1 proposal

Gidoomal, Dhruv      10/27/2023     0.9   Review Nardello investigation updates for bidders 1 and 2


Gordon, Robert       10/27/2023     0.6   Teleconference with M. Friedman, M. Wu(S&C), R. Gordon, K.
                                          Kearney(A&M) over regulatory requests from bidders
Gordon, Robert       10/27/2023     0.4   Teleconference with K. Kearney, C. Alvarez, K. Montague, R.
                                          Gordon(A&M ) over financial health metrics
Gordon, Robert       10/27/2023     0.2   2.0 Rapid Assessment Leads meeting with R. Gordon, K. Kearney,
                                          D. Hainline (A&M)
Gordon, Robert       10/27/2023     0.3   Read through top customer analysis for customer overlap

Gordon, Robert       10/27/2023     0.6   Edit bidder #1 breakdown analysis for updated bid


Gordon, Robert       10/27/2023     0.4   Review PFI dashboard for financial overview

Gordon, Robert       10/27/2023     0.9   Review diligence responses from bidder #2 for latest updates


Gordon, Robert       10/27/2023     0.5   Call with M. Flynn, K. Ramanathan, R. Gordon (A&M), M. Rahmani
                                          (PWP), Bidder #1 representatives to discuss outstanding diligence
                                          requests
Hainline, Drew       10/27/2023     0.4   Call to review next steps for 2.0 rapid assessment with K. Kearney,
                                          D. Hainline (A&M)
Hainline, Drew       10/27/2023     0.4   Update diligence request list with references to support
                                          documentation received
Hainline, Drew       10/27/2023     0.3   Draft updates to bidder assessment summaries before outside
                                          distribution
Hainline, Drew       10/27/2023     0.2   2.0 Rapid Assessment Leads meeting with R. Gordon, K. Kearney,
                                          D. Hainline (A&M)
Hainline, Drew       10/27/2023     0.8   Review information received from bidder #2 to incorporate into
                                          assessment
Hainline, Drew       10/27/2023     0.4   Continue drafting updates to diligence assessment materials for
                                          bidder #2
Hainline, Drew       10/27/2023     0.3   Review updates and open items for 2.0 rapid assessment


Hainline, Drew       10/27/2023     0.6   Meeting to update assessment materials for 2.0 rapid assessment
                                          with S. Kolodny, D. Hainline (A&M)
Hainline, Drew       10/27/2023     1.3   Call for assessment related to security governance with bidder
                                          representatives, O. Dupont, A. Chazan (Sygnia), D. Hainline, S.
                                          Kolodny (A&M)
Hainline, Drew       10/27/2023     2.1   Call for assessment related to cloud and collaboration security with
                                          bidder representatives, O. Dupont, A. Chazan (Sygnia), D. Hainline,
                                          S. Kolodny (A&M)
Hershan, Robert      10/27/2023     1.1   Review A&M weekly status report for Embed wind down; discuss
                                          same with A. Titus (A&M), open issues, next steps



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Professional               Date    Hours    Activity
Jones, Mackenzie      10/27/2023     0.4   Update summary of intercompany data in tear sheet

Jones, Mackenzie      10/27/2023     0.2   Edit presentation of intercompany data in tear sheet


Kearney, Kevin        10/27/2023     0.4   Teleconference with K. Kearney, C. Alvarez, K. Montague, R.
                                           Gordon(A&M ) over financial health metrics
Kearney, Kevin        10/27/2023     0.6   Teleconference with M. Friedman, M. Wu(S&C), R. Gordon, K.
                                           Kearney(A&M) over regulatory requests from bidders
Kearney, Kevin        10/27/2023     0.4   Meeting to discuss FTX Group IP with J. Faett, J. Rybarczyk, K.
                                           Kearney, and A. Stolyar (A&M)
Kearney, Kevin        10/27/2023     0.4   Call to review next steps for 2.0 rapid assessment with K. Kearney,
                                           D. Hainline (A&M)
Kearney, Kevin        10/27/2023     0.2   2.0 Rapid Assessment Leads meeting with R. Gordon, K. Kearney,
                                           D. Hainline (A&M)
Kearney, Kevin        10/27/2023     0.9   Review of personnel information for S&C tax requests associated
                                           with FTX 2.0 sale
Kearney, Kevin        10/27/2023     1.5   Review of historical financial analysis for bidder 2


Kearney, Kevin        10/27/2023     1.7   Review of historical financial analysis for bidder 1

Kearney, Kevin        10/27/2023     0.5   Call with K. Kearney, L. Salas, P. Kwan (A&M), M. Rahmani (PWP),
                                           Bidder #1 representatives to discuss outstanding diligence requests
Kolodny, Steven       10/27/2023     0.6   Meeting to update assessment materials for 2.0 rapid assessment
                                           with S. Kolodny, D. Hainline (A&M)
Kolodny, Steven       10/27/2023     1.3   Review updated information provided by bidder #2

Kolodny, Steven       10/27/2023     1.3   Call for assessment related to security governance with bidder
                                           representatives, O. Dupont, A. Chazan (Sygnia), D. Hainline, S.
                                           Kolodny (A&M)
Kolodny, Steven       10/27/2023     2.1   Call for assessment related to cloud and collaboration security with
                                           bidder representatives, O. Dupont, A. Chazan (Sygnia), D. Hainline,
                                           S. Kolodny (A&M)
Kwan, Peter           10/27/2023     0.5   Call with K. Kearney, L. Salas, P. Kwan (A&M), M. Rahmani (PWP),
                                           Bidder #1 representatives to discuss outstanding diligence requests
Montague, Katie       10/27/2023     0.4   Teleconference with K. Kearney, C. Alvarez, K. Montague, R.
                                           Gordon(A&M ) over financial health metrics
Montague, Katie       10/27/2023     0.2   2.0 Rapid Assessment Leads Call with J. Rybarczyk., K. Montague,
                                           and B. Turton (A&M)
Montague, Katie       10/27/2023     2.3   Update bidder financial health analysis for all FTX 2.0 bidders

Ramanathan, Kumanan   10/27/2023     1.1   Analyze trading activity for week one by Galaxy and circulate to
                                           management for feedback
Ramanathan, Kumanan   10/27/2023     1.4   Review Galaxy amended engagement letter and provide markups
                                           and comments to counsel
Ramanathan, Kumanan   10/27/2023     0.3   Coordinate final versions of OTC agreement signatures and distribute



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Asset Sales
Professional                 Date    Hours    Activity
Ramanathan, Kumanan     10/27/2023     0.5   Call with M. Flynn, K. Ramanathan, R. Gordon (A&M), M. Rahmani
                                             (PWP), Bidder #1 representatives to discuss outstanding diligence
                                             requests
Rybarczyk, Jodi         10/27/2023     0.4   Meeting to discuss FTX Group IP with J. Faett, J. Rybarczyk, K.
                                             Kearney, and A. Stolyar (A&M)
Rybarczyk, Jodi         10/27/2023     0.6   Correspond with N. Simoneaux (A&M) regarding employee-related
                                             IP data requests
Rybarczyk, Jodi         10/27/2023     0.2   2.0 Rapid Assessment Leads Call with J. Rybarczyk., K. Montague,
                                             and B. Turton (A&M)
Rybarczyk, Jodi         10/27/2023     0.3   Update IP data request list to reflect status of requests and open
                                             items
Rybarczyk, Jodi         10/27/2023     0.2   Review personnel roster provided by N. Simoneaux (A&M)

Rybarczyk, Jodi         10/27/2023     0.3   Review IP data request list provided by S&C

Salas Nunez, Luis       10/27/2023     1.0   Call with M. Flynn, L. Salas (A&M), P. Lee (FTX) to discuss revenue
                                             model assumptions
Sivapalu, Anan          10/27/2023     2.4   Modify tab switching between graph/chart using navigator buttons to
                                             show high lights
Sivapalu, Anan          10/27/2023     1.8   Implement tabs using bookmarks to switch between graph/chart


Stolyar, Alan           10/27/2023     1.2   Document consultant agreements with third parties that may have
                                             contributed material IP, including software, to FTX
Stolyar, Alan           10/27/2023     0.8   Research other agreements with third parties that may have
                                             contributed material IP, including software, to FTX
Stolyar, Alan           10/27/2023     1.3   Research consultant agreements with third parties that may have
                                             contributed material IP, including software, to FTX
Stolyar, Alan           10/27/2023     1.3   Import consultant agreements with third parties that may have
                                             contributed material IP, including software, to FTX
Stolyar, Alan           10/27/2023     0.4   Meeting to discuss FTX Group IP with J. Faett, J. Rybarczyk, K.
                                             Kearney, and A. Stolyar (A&M)
Stolyar, Alan           10/27/2023     0.1   Meeting to discuss FTX codebase data request with J. Faett and A.
                                             Stolyar (A&M)
Stolyar, Alan           10/27/2023     0.8   Document independent contractor agreements with third parties that
                                             may have contributed material IP, including software, to FTX
Stolyar, Alan           10/27/2023     0.9   Import independent contractor agreements with third parties that
                                             may have contributed material IP, including software, to FTX
Stolyar, Alan           10/27/2023     1.2   Research independent contractor agreements with third parties that
                                             may have contributed material IP, including software, to FTX
Titus, Adam             10/27/2023     0.6   Update list of walleted addresses without keys based on findings
                                             within investment tracker
Titus, Adam             10/27/2023     0.5   Confirm listing of walleted addresses without keys based on details
                                             within investment tracker
Titus, Adam             10/27/2023     0.7   Draft list of questions related to winddown budget in preparation for
                                             bring down call


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Asset Sales
Professional                 Date    Hours    Activity
Titus, Adam             10/27/2023     1.2   Review documentation related to potential LP position with issues
                                             around capital calls
Titus, Adam             10/27/2023     1.4   Update weekly presentation for hedge fund entity with weekly results


Titus, Adam             10/27/2023     0.4   Review draft email correspondence related to hedge fund entity
                                             transfer
Titus, Adam             10/27/2023     0.7   Update t-minus schedule for transaction details timing

Titus, Adam             10/27/2023     0.7   Review of walleted addresses without keys


Titus, Adam             10/27/2023     1.1   Review A&M weekly status report for Embed wind down; discuss
                                             same with A. Titus, R. Hershan (A&M), open issues, next steps
Turton, Bobby           10/27/2023     0.2   2.0 Rapid Assessment Leads Call with J. Rybarczyk., K. Montague,
                                             and B. Turton (A&M)
Turton, Bobby           10/27/2023     2.6   Prepare presentation of revised earnout structure for Bidder #1

Turton, Bobby           10/27/2023     2.3   Perform customer analysis for projected migrated customers for
                                             Bidder #1
Turton, Bobby           10/27/2023     2.2   Refresh earnout calculation for Bidder #1

Turton, Bobby           10/27/2023     1.3   Add KYC data to Bidder # 1 customer analysis

Coverick, Steve         10/28/2023     0.3   Discuss status of tokens receivable workstream with A. Titus (A&M)


Gordon, Robert          10/28/2023     0.3   Review updated Blockfolio tear sheet for latest edits

Jones, Mackenzie        10/28/2023     1.9   Update tear sheet for Dotcom silo for comments


Ramanathan, Kumanan     10/28/2023     1.1   Review of updated Galaxy engagement letter and provide feedback
                                             to counsel
Ramanathan, Kumanan     10/28/2023     1.2   Review of most recent sales motion and order and provide feedback
                                             to counsel
Ramanathan, Kumanan     10/28/2023     0.6   Call with D. Handelsman (S&C) to discuss Galaxy IMA markup

Trent, Hudson           10/28/2023     0.9   Prepare shell of update on subsidiary considered for potential de
                                             minimis asset sale
Arnett, Chris           10/29/2023     0.6   Research S&C inquires re: contracts necessary to effectuate an FTX
                                             2.0 scenario
Ernst, Reagan           10/29/2023     1.4   Search relativity for Alameda stock purchase agreements to verify
                                             funding amounts
Flynn, Matthew          10/29/2023     0.9   Review FTX 2.0 customer information detail for comparison


Gordon, Robert          10/29/2023     1.7   Review top institutional customers driving bidder #1 business plan




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Asset Sales
Professional              Date    Hours    Activity
Kearney, Kevin       10/29/2023     1.8   Review of volume and balance information associated with targeted
                                          customers for bidder 1 earn-out analysis
Alvarez, Charles     10/30/2023     2.4   Research market benchmarks and ratios for publicly traded crypto
                                          exchanges to compare to bidder financials
Alvarez, Charles     10/30/2023     1.2   Prepare appendix of detailed financial statements for parent co of
                                          bidder #2
Alvarez, Charles     10/30/2023     0.3   Prepare comparison of startup costs and capital contributions across
                                          bids
Alvarez, Charles     10/30/2023     0.6   Prepare appendix of detailed financial statements for bidder #2


Alvarez, Charles     10/30/2023     1.3   Prepare appendix of detailed financial statements for bidder #1

Alvarez, Charles     10/30/2023     1.8   Prepare financial summary for Bidder #2 parent company


Alvarez, Charles     10/30/2023     0.9   Analyze unaudited financials for FY23 for Bidder #2

Alvarez, Charles     10/30/2023     1.1   Analyze audited financials for Bidder #2 parent company


Alvarez, Charles     10/30/2023     0.4   Participate on call to discuss bidder financial health slides for
                                          incorporation into the reverse diligence deck with K. Kearney, C.
                                          Alvarez (A&M)
Beretta, Matthew     10/30/2023     1.2   Update Diligence lists with information from call with Bidder #1

Beretta, Matthew     10/30/2023     0.8   Review and distribute notes from Bidder #1 counter call


Beretta, Matthew     10/30/2023     0.4   Prepare materials for Bidder #1 Counter call

Beretta, Matthew     10/30/2023     0.6   Teleconference to discuss proposed changes to Reverse Diligence
                                          slides with K. Kearney, D. Hairline, K. Reagan, B. Turton, and M.
                                          Beretta (A&M)
Beretta, Matthew     10/30/2023     0.4   Meeting to redesign Reverse Diligence slides with D. Hairline, K.
                                          Reagan, B. Turton, and M. Beretta (A&M
Beretta, Matthew     10/30/2023     1.9   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                          (K. Cofsky, M. Rahmani and others), A&M (S. Coverick, R. Gordon,
                                          K. Kearney, B. Turton, E. Mosley, and M. Beretta), and Bidder #1
                                          management re: FTX2.0 Proposal and Equity Distribution
Clayton, Lance       10/30/2023     1.9   Provide updates to locked token position summary based on
                                          comments from S. Glustein (A&M)
Clayton, Lance       10/30/2023     1.4   Update workplan for new information regarding estate approach in
                                          locked tokens
Clayton, Lance       10/30/2023     2.3   Finalize summary schedule of bidders for external advisor meeting

Clayton, Lance       10/30/2023     2.1   Finalize interested party tracker for venture assets

Clayton, Lance       10/30/2023     2.7   Begin first draft of venture readout deck presentation



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Asset Sales
Professional                 Date    Hours    Activity
Coverick, Steve         10/30/2023     1.0   Call with J. Ray (FTX), K. Ramanathan, E. Mosley, S. Coverick
                                             (A&M), S. Kurz, C. Rhine (Galaxy), F. Risler (FTI), E. Gilad (PH), A.
                                             Kranzley and others (S&C), C. Delco and others (Rothschild) and
                                             others to discuss crypto asset management matters
Coverick, Steve         10/30/2023     1.9   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                             (K. Cofsky, M. Rahmani and others), A&M (S. Coverick, R. Gordon,
                                             K. Kearney, B. Turton, E. Mosley, and M. Beretta), and Bidder #1
                                             management re: FTX2.0 Proposal and Equity Distribution
Ernst, Reagan           10/30/2023     1.1   Package unexecuted stock purchase agreements with signature
                                             packets for a review agreement details
Faett, Jack             10/30/2023     0.5   Regroup session to discuss FTX Group IP with J. Faett, J.
                                             Rybarczyk, K. Kearney, and A. Stolyar (A&M)
Faett, Jack             10/30/2023     2.9   Reconcile FDM Related Party analysis to the cash database

Faett, Jack             10/30/2023     0.5   Meeting to provide status updates on FTX Group IP with J. Faett, J.
                                             Rybarczyk, K. Kearney, A. Stolyar, and R. Gordon (A&M)
Flynn, Matthew          10/30/2023     0.2   Call with M. Flynn, R. Gordon (A&M) to discuss FTX 2.0 customer
                                             name analysis
Flynn, Matthew          10/30/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M) to discuss FTX 2.0
                                             customer analysis
Flynn, Matthew          10/30/2023     1.1   Update top customer analysis for FTX 2.0 bidder work


Gidoomal, Dhruv         10/30/2023     0.6   Meeting to review and update 2.0 diligence executive summary R.
                                             Gordon, K. Kearney, K. Montague (A&M)
Gidoomal, Dhruv         10/30/2023     1.1   Review latest Nardello reports on bidder 1 and 2 senior management


Gidoomal, Dhruv         10/30/2023     1.2   Update entire Master Deck with minor grammatical and spelling
                                             adjustments
Gidoomal, Dhruv         10/30/2023     1.4   Meeting to review and update 2.0 diligence assessment materials R.
                                             Gordon, K. Kearney, D. Hainline, K. Montague, J. Rybarczyk (A&M)
Glustein, Steven        10/30/2023     0.9   Review LedgerPrime transfer workbook provided by Sygnia relating
                                             to LedgerPrime assets
Glustein, Steven        10/30/2023     0.2   Prepare weekend update summary regarding updates relating to
                                             LedgerPrime activities
Gordon, Robert          10/30/2023     0.6   Meeting to review and update 2.0 diligence executive summary R.
                                             Gordon, K. Kearney, K. Montague (A&M)
Gordon, Robert          10/30/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, and
                                             D. Hainline (A&M)
Gordon, Robert          10/30/2023     0.2   Call with M. Flynn, R. Gordon (A&M) to discuss FTX 2.0 customer
                                             name analysis
Gordon, Robert          10/30/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) to discuss bidder
                                             financial analysis
Gordon, Robert          10/30/2023     1.1   Read through Nardello analysis on bidder #2 advisor

Gordon, Robert          10/30/2023     2.6   Review Bidder #1 counterproposal and prepare follow ups



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                                FTX Trading Ltd., et al.,
                         Time Detail by Activity by Professional
                        October 1, 2023 through October 31, 2023


Asset Sales
Professional              Date    Hours    Activity
Gordon, Robert       10/30/2023     1.9   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                          (K. Cofsky, M. Rahmani and others), A&M (S. Coverick, R. Gordon,
                                          K. Kearney, B. Turton, E. Mosley, and M. Beretta), and Bidder #1
                                          management re: FTX2.0 Proposal and Equity Distribution
Gordon, Robert       10/30/2023     0.5   Meeting to provide status updates on FTX Group IP with J. Faett, J.
                                          Rybarczyk, K. Kearney, A. Stolyar, and R. Gordon (A&M)
Gordon, Robert       10/30/2023     1.4   Call to review and update 2.0 diligence assessment materials R.
                                          Gordon, K. Kearney, D. Gidoomal, K. Montague, J. Rybarczyk (A&M)
Hainline, Drew       10/30/2023     0.4   Meeting to redesign Reverse Diligence slides with D. Hairline, K.
                                          Reagan, B. Turton, and M. Beretta (A&M)
Hainline, Drew       10/30/2023     1.4   Meeting to review and update 2.0 diligence assessment materials B.
                                          Turton, K. Reagan, D. Hainline (A&M)
Hainline, Drew       10/30/2023     0.8   Review new materials from bidder #2 regarding historical financials
                                          and KPIs to support diligence assessment
Hainline, Drew       10/30/2023     0.4   Call to discuss open information for inputs to bidder projections with
                                          K. Kearney, D. Hainline (A&M)
Hainline, Drew       10/30/2023     0.6   Review new materials from bidder #2 regarding regulatory
                                          compliance to support diligence assessment
Hainline, Drew       10/30/2023     0.4   Review new materials from bidder #2 regarding partnerships and
                                          agreements to support diligence assessment
Hainline, Drew       10/30/2023     0.2   Review new materials from bidder #2 regarding risk management to
                                          support diligence assessment
Hainline, Drew       10/30/2023     0.7   Review updated responses from bidder #2 diligence requests to
                                          incorporate into assessment
Hainline, Drew       10/30/2023     0.4   Draft updates and next steps for security assessment for bidder #2
                                          diligence
Hainline, Drew       10/30/2023     0.3   Review updates and requests for financial diligence requests to
                                          support assessment
Hainline, Drew       10/30/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, and
                                          D. Hainline (A&M)
Hainline, Drew       10/30/2023     0.6   Review third party diligence reports for 2.0 rapid assessment


Hainline, Drew       10/30/2023     0.8   Update drafted summary assessments by success criteria for bidder
                                          #2
Hainline, Drew       10/30/2023     1.2   Draft updates to 2.0 rapid assessment presentation materials


Hainline, Drew       10/30/2023     0.6   Teleconference to discuss proposed changes to Reverse Diligence
                                          slides with K. Kearney, D. Hairline, K. Reagan, B. Turton, and M.
                                          Beretta (A&M)
Hainline, Drew       10/30/2023     0.9   Call for assessment related to crypto custody with bidder
                                          representatives, O. Dupont, A. Chazan and others (Sygnia), D.
                                          Hainline, S. Kolodny (A&M)
Hainline, Drew       10/30/2023     1.0   Call for assessment related to SSLDC with bidder representatives,
                                          O. Dupont, A. Chazan and others (Sygnia), D. Hainline, S. Kolodny
                                          (A&M)
Kearney, Kevin       10/30/2023     0.6   Meeting to review and update 2.0 diligence executive summary R.
                                          Gordon, K. Kearney, K. Montague (A&M)

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                                FTX Trading Ltd., et al.,
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Asset Sales
Professional              Date    Hours    Activity
Kearney, Kevin       10/30/2023     0.4   Call to discuss open information for inputs to bidder projections with
                                          K. Kearney, D. Hainline (A&M)
Kearney, Kevin       10/30/2023     0.5   Regroup session to discuss FTX Group IP with J. Faett, J.
                                          Rybarczyk, K. Kearney, and A. Stolyar (A&M)
Kearney, Kevin       10/30/2023     1.4   Review of employee payroll analysis for FTX 2.0 sale pertaining to
                                          tax request from S&C
Kearney, Kevin       10/30/2023     0.4   Prepare correspondence to PWP regarding financial projections for
                                          FTX 2.0 valuation models
Kearney, Kevin       10/30/2023     0.4   Review results of significant customer volume and balance analysis
                                          for bidder 1 earn-out analysis
Kearney, Kevin       10/30/2023     0.4   Prepare correspondence with bidder 2 regarding follow up questions
                                          on reverse diligence inquiries
Kearney, Kevin       10/30/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) to discuss bidder
                                          financial analysis
Kearney, Kevin       10/30/2023     0.3   2.0 Rapid Assessment Leads Call with R. Gordon, K. Kearney, and
                                          D. Hainline (A&M)
Kearney, Kevin       10/30/2023     0.9   Review updates to historical financials analysis for bidder 1


Kearney, Kevin       10/30/2023     0.3   Review updates to historical financials analysis for bidder 3

Kearney, Kevin       10/30/2023     0.7   Review updates to historical financials analysis for bidder 2

Kearney, Kevin       10/30/2023     0.6   Teleconference to discuss proposed changes to Reverse Diligence
                                          slides with K. Kearney, D. Hairline, K. Reagan, B. Turton, and M.
                                          Beretta (A&M)
Kearney, Kevin       10/30/2023     0.5   Meeting to provide status updates on FTX Group IP with J. Faett, J.
                                          Rybarczyk, K. Kearney, A. Stolyar, and R. Gordon (A&M)
Kearney, Kevin       10/30/2023     1.9   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                          (K. Cofsky, M. Rahmani and others), A&M (S. Coverick, R. Gordon,
                                          K. Kearney, B. Turton, E. Mosley, and M. Beretta), and Bidder #1
                                          management re: FTX2.0 Proposal and Equity Distribution
Kearney, Kevin       10/30/2023     0.4   Participate on call to discuss bidder financial health slides for
                                          incorporation into the reverse diligence deck with K. Kearney, C.
                                          Alvarez (A&M)
Kearney, Kevin       10/30/2023     1.4   Call to review and update 2.0 diligence assessment materials R.
                                          Gordon, K. Kearney, D. Gidoomal, K. Montague, J. Rybarczyk (A&M)
Kolodny, Steven      10/30/2023     0.8   Continue review of new materials from bidder #2 for success criteria
                                          items to be included in diligence
Kolodny, Steven      10/30/2023     0.8   Review new responses provided by-bidder #2 for new information to
                                          be included in diligence
Kolodny, Steven      10/30/2023     0.3   Continue review of third party diligence materials

Kolodny, Steven      10/30/2023     1.0   Call for assessment related to SSLDC with bidder representatives,
                                          O. Dupont, A. Chazan and others (Sygnia), D. Hainline, S. Kolodny
                                          (A&M)
Kolodny, Steven      10/30/2023     0.8   Continue review of new materials from bidder #2 for success criteria
                                          items related to KYC AML to be included in diligence

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Asset Sales
Professional                Date    Hours    Activity
Kolodny, Steven        10/30/2023     0.6   Continue review of new materials from bidder #2 for success criteria
                                            items related to Security to be included in diligence
Kolodny, Steven        10/30/2023     0.9   Call for assessment related to crypto custody with bidder
                                            representatives, O. Dupont, A. Chazan and others (Sygnia), D.
                                            Hainline, S. Kolodny (A&M)
McLoughlin, Miles      10/30/2023     0.2   Call to discuss project status for bidder #3 and plan for the coming
                                            weeks with K. Reagan and M. McLoughlin (A&M)
McLoughlin, Miles      10/30/2023     2.9   Restructure slides across all bidders to have consistency

McLoughlin, Miles      10/30/2023     2.7   Format slides for all bidders to maintain consistency


Montague, Katie        10/30/2023     0.6   Meeting to review and update 2.0 diligence executive summary R.
                                            Gordon, K. Kearney, K. Montague (A&M)
Montague, Katie        10/30/2023     0.3   2.0 Rapid Assessment Leads Call with K. Reagan, J. Rybarczyk., K.
                                            Montague, and B. Turton (A&M)
Montague, Katie        10/30/2023     1.4   Call to review and update 2.0 diligence assessment materials R.
                                            Gordon, K. Kearney, D. Gidoomal, K. Montague, J. Rybarczyk (A&M)
Mosley, Ed             10/30/2023     1.9   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                            (K. Cofsky, M. Rahmani and others), A&M (S. Coverick, R. Gordon,
                                            K. Kearney, B. Turton, E. Mosley, and M. Beretta), and Bidder #1
                                            management re: FTX2.0 Proposal and Equity Distribution
Ramanathan, Kumanan    10/30/2023     1.3   Review most recent draft of Grayscale motion and Galaxy
                                            engagement letter
Ramanathan, Kumanan    10/30/2023     0.3   Prepare edits to Galaxy meeting minutes and distribute to J. Ray
                                            (FTX) for feedback
Ramanathan, Kumanan    10/30/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M) to discuss FTX 2.0
                                            customer analysis
Ramanathan, Kumanan    10/30/2023     0.6   Review of counterparty engagement letter and provide feedback to
                                            counsel
Ramanathan, Kumanan    10/30/2023     0.2   Call with D. Handelsman (S&C) to discuss Galaxy engagement letter
                                            markup
Ramanathan, Kumanan    10/30/2023     1.1   Review court declaration and provide feedback to counsel

Reagan, Kelsey         10/30/2023     0.2   Call to discuss project status for bidder #3 and plan for the coming
                                            weeks with K. Reagan and M. McLoughlin (A&M)
Reagan, Kelsey         10/30/2023     1.4   Meeting to review and update 2.0 diligence assessment materials B.
                                            Turton, K. Reagan, D. Hainline (A&M)
Reagan, Kelsey         10/30/2023     0.4   Meeting to redesign Reverse Diligence slides with D. Hairline, K.
                                            Reagan, B. Turton, and M. Beretta (A&M)
Reagan, Kelsey         10/30/2023     0.3   2.0 Rapid Assessment Leads Call with K. Reagan, J. Rybarczyk., K.
                                            Montague, and B. Turton (A&M)
Reagan, Kelsey         10/30/2023     2.8   Review bidder #2 criteria for success and update for internal
                                            consistency
Reagan, Kelsey         10/30/2023     1.2   Update structure of criteria slides for bidder #3 to provide an overall
                                            assessment



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Asset Sales
Professional                 Date    Hours    Activity
Reagan, Kelsey          10/30/2023     3.1   Review bidder #1 criteria for success and update for internal
                                             consistency
Reagan, Kelsey          10/30/2023     0.6   Teleconference to discuss proposed changes to Reverse Diligence
                                             slides with K. Kearney, D. Hairline, K. Reagan, B. Turton, and M.
                                             Beretta (A&M)
Rybarczyk, Jodi         10/30/2023     0.5   Regroup session to discuss FTX Group IP with J. Faett, J.
                                             Rybarczyk, K. Kearney, and A. Stolyar (A&M)
Rybarczyk, Jodi         10/30/2023     0.3   2.0 Rapid Assessment Leads Call with K. Reagan, J. Rybarczyk., K.
                                             Montague, and B. Turton (A&M)
Rybarczyk, Jodi         10/30/2023     0.4   Correspond with N. Simoneaux (A&M) regarding employee-related
                                             IP data requests
Rybarczyk, Jodi         10/30/2023     0.7   Review pre-filing roster and contracts listing provided by N.
                                             Simoneaux (A&M)
Rybarczyk, Jodi         10/30/2023     1.3   Research third-party contracts and determine if relevant for FTX IP

Rybarczyk, Jodi         10/30/2023     1.4   Meeting to review and update 2.0 diligence assessment materials R.
                                             Gordon, K. Kearney, D. Gidoomal, K. Montague, J. Rybarczyk (A&M)
Rybarczyk, Jodi         10/30/2023     0.5   Meeting to provide status updates on FTX Group IP with J. Faett, J.
                                             Rybarczyk, K. Kearney, A. Stolyar, and R. Gordon (A&M)
Stolyar, Alan           10/30/2023     0.5   Regroup session to discuss FTX Group IP with J. Faett, J.
                                             Rybarczyk, K. Kearney, and A. Stolyar (A&M)
Stolyar, Alan           10/30/2023     1.1   Analyze employment agreements for code contributors across FTX

Stolyar, Alan           10/30/2023     1.1   Analyze monthly employee payroll records for West Realm Shire
                                             Services
Stolyar, Alan           10/30/2023     0.9   Compile monthly employee payroll records for various FTX entities

Stolyar, Alan           10/30/2023     0.8   Analyze monthly employee payroll records for FTXDM

Stolyar, Alan           10/30/2023     0.7   Analyze monthly employee payroll records for Blockfolio


Stolyar, Alan           10/30/2023     1.3   Research various independent contractor agreements with third
                                             parties that may have contributed material IP, including software, to
                                             FTX debtors
Stolyar, Alan           10/30/2023     1.2   Research customer agreements with third parties that may have
                                             contributed material IP, including software, to FTX debtors
Stolyar, Alan           10/30/2023     1.3   Submit and analyze agreements with third parties that may have
                                             contributed material IP, including software, to FTX debtors
Stolyar, Alan           10/30/2023     1.1   Research software and IT contract agreements with third parties that
                                             may have contributed material IP, including software, to FTX debtors
Stolyar, Alan           10/30/2023     0.5   Meeting to provide status updates on FTX Group IP with J. Faett, J.
                                             Rybarczyk, K. Kearney, A. Stolyar, and R. Gordon (A&M)
Titus, Adam             10/30/2023     1.3   Update venture investment presentation details for distribution post
                                             updates confirmed for sales
Titus, Adam             10/30/2023     0.8   Update leadership t-minus schedule for venture investment
                                             workstream

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Asset Sales
Professional                 Date    Hours    Activity
Titus, Adam             10/30/2023     0.7   Coordinate with J. MacDonald [S&C] via email related to venture
                                             investments
Titus, Adam             10/30/2023     1.4   Compare hedge fund entity financial details to bridge crypto tracing
                                             analysis
Titus, Adam             10/30/2023     0.4   Review hedge fund entity financial details provided by accountants

Titus, Adam             10/30/2023     1.2   Update leadership workstream schedule including deliverables

Trent, Hudson           10/30/2023     1.1   Provide detailed feedback on sale comparison and wind down
                                             analysis for entity considered for sale
Trent, Hudson           10/30/2023     1.2   Provide detailed feedback on subsidiary options analysis prior to
                                             distribution
Trent, Hudson           10/30/2023     0.7   Coordinate updates to options analysis for entity with bids
                                             outstanding
Turton, Bobby           10/30/2023     0.4   Meeting to redesign Reverse Diligence slides with D. Hairline, K.
                                             Reagan, B. Turton, and M. Beretta (A&M)
Turton, Bobby           10/30/2023     0.3   2.0 Rapid Assessment Leads Call with K. Reagan, J. Rybarczyk., K.
                                             Montague, and B. Turton (A&M)
Turton, Bobby           10/30/2023     1.3   Review revised research reports from Nardello in regard to Bidder #1
                                             management team
Turton, Bobby           10/30/2023     2.6   Review Bidder #1 counterproposal from 10/30 and prepare follow ups

Turton, Bobby           10/30/2023     2.6   Update customer analysis with KYC status for Bidder #1 earnout


Turton, Bobby           10/30/2023     2.9   Update 2.0 Diligence presentation for new formatting

Turton, Bobby           10/30/2023     1.9   Participate in a meeting with S&C (A. Dietderich and others), PWP
                                             (K. Cofsky, M. Rahmani and others), A&M (S. Coverick, R. Gordon,
                                             K. Kearney, B. Turton, E. Mosley, and M. Beretta), and Bidder #1
                                             management re: FTX2.0 Proposal and Equity Distribution
Turton, Bobby           10/30/2023     1.4   Meeting to review and update 2.0 diligence assessment materials R.
                                             Gordon, K. Kearney, D. Gidoomal, K. Montague, J. Rybarczyk (A&M)
Turton, Bobby           10/30/2023     0.6   Teleconference to discuss proposed changes to Reverse Diligence
                                             slides with K. Kearney, D. Hairline, K. Reagan, B. Turton, and M.
                                             Beretta (A&M)
Alvarez, Charles        10/31/2023     0.6   Participate on call to discuss revisions to financial health summary
                                             with K. Kearney, C. Alvarez (A&M)
Alvarez, Charles        10/31/2023     0.4   Review reverse diligence deck for open items related to bidder #4


Alvarez, Charles        10/31/2023     1.9   Revise financial health summary for comments provided by K.
                                             Kearney (A&M)
Beretta, Matthew        10/31/2023     0.9   Teleconference with M. Beretta (A&M) to discuss final changes to
                                             master deck
Beretta, Matthew        10/31/2023     2.4   Edit master deck to comply with new format and ranking system




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Asset Sales
Professional                 Date    Hours    Activity
Beretta, Matthew        10/31/2023     2.7   Perform final edits and checks for the master deck

Callerio, Lorenzo       10/31/2023     0.4   Call with J. Ray (FTX), J. Sime (Embed), R. Hershan and L. Callerio
                                             (A&M) re: escheatment services
Callerio, Lorenzo       10/31/2023     0.3   Call with R. Hershan and L. Callerio (A&M) re: Embed update

Clayton, Lance          10/31/2023     2.8   Prepare initial in depth t-minus schedule for venture workstream
                                             phase two
Clayton, Lance          10/31/2023     1.3   Prepare initial in depth t-minus schedule for LedgerPrime
                                             workstream phase two
Clayton, Lance          10/31/2023     2.2   Prepare shell deck for LedgerPrime workstream readout

Clayton, Lance          10/31/2023     2.1   Prepare shell deck for venture workstream readout


Clayton, Lance          10/31/2023     1.2   Review schedule of venture wire details from R. Ernst (A&M)

Faett, Jack             10/31/2023     0.5   Meeting to discuss code contributor payment details with A. Stolyar,
                                             J. Faett, and K. Kearney (A&M)
Faett, Jack             10/31/2023     0.5   Meeting to discuss FTX Payroll Database with A. Stolyar, J. Faett, K.
                                             Kearney, J. Lee, and E. Hoffer (A&M)
Gidoomal, Dhruv         10/31/2023     0.9   Teleconference with M. Beretta (A&M) to discuss final changes to
                                             master deck
Gidoomal, Dhruv         10/31/2023     0.8   Resolve outstanding comments and open items in Master Deck


Gordon, Robert          10/31/2023     1.0   Discussion of revised earnout structure with Bidder #1 and M.
                                             Rahmani (PwP), B. Turton, R. Gordon, K. Kearney (A&M)
Gordon, Robert          10/31/2023     0.8   Teleconference with K. Kearney, R. Gordon(A&M) to review
                                             executive summary of bidder assessment
Gordon, Robert          10/31/2023     0.9   Review public company comparables analysis for market analysis
                                             presentation
Gordon, Robert          10/31/2023     0.7   Prepare for bidder #1 earnout discussion over changes to tranche
                                             calculations
Gordon, Robert          10/31/2023     0.4   Analyze KYC detail to support bidder overlap requests

Gordon, Robert          10/31/2023     0.6   Teleconference with T. MacMillan, C. Martin(Nardello), R. Gordon,
                                             K. Kearney(A&M) over results for bidder #1 & #2 investigation
Gordon, Robert          10/31/2023     0.3   Call to align on next steps and timeline for security assessments for
                                             2.0 diligence with H. Nachmias, O. Dupont, A. Chazan (Sygnia), R.
                                             Gordon, D. Hainline, S. Kolodny, K. Kearney (A&M)
Hainline, Drew          10/31/2023     0.9   Review information from bidder #2 regarding assumptions and
                                             support for financial projections
Hainline, Drew          10/31/2023     0.3   Call to review open items for 2.0 rapid assessment with K. Kearney,
                                             D. Hainline (A&M)
Hainline, Drew          10/31/2023     0.3   Provide review comments on new executive summary presentations
                                             for 2.0 rapid assessment


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Asset Sales
Professional               Date    Hours    Activity
Hainline, Drew        10/31/2023     0.6   Perform revisions to assessment materials prior to distribution for
                                           review
Hainline, Drew        10/31/2023     0.2   Review findings from third party diligence on management team for
                                           bidder #2
Hainline, Drew        10/31/2023     0.6   Review and update open item dashboard for bidder #2 diligence

Hainline, Drew        10/31/2023     1.0   Call for assessment related to crypto custody with bidder
                                           representatives, O. Dupont, A. Chazan and others (Sygnia), D.
                                           Hainline (A&M)
Hainline, Drew        10/31/2023     0.3   Call to align on next steps and timeline for security assessments for
                                           2.0 diligence with H. Nachmias, O. Dupont, A. Chazan (Sygnia), R.
                                           Gordon, D. Hainline, S. Kolodny, K. Kearney (A&M)
Hainline, Drew        10/31/2023     0.5   Call to align on next steps and timeline for security assessments for
                                           2.0 diligence with H. Nachmias, O. Dupont, A. Chazan (Sygnia), D.
                                           Hainline, S. Kolodny, K. Kearney (A&M)
Hainline, Drew        10/31/2023     0.8   Continue review updated responses from bidder #2 diligence
                                           requests to incorporate into assessment
Hainline, Drew        10/31/2023     0.5   Call to debrief action items from leads review of 2.0 diligence
                                           assessment materials, D. Hainline, S. Kolodny (A&M)
Hershan, Robert       10/31/2023     0.3   Call with R. Hershan and L. Callerio (A&M) re: Embed update


Hershan, Robert       10/31/2023     0.4   Call with J. Ray (FTX), J. Sime (Embed), R. Hershan and L. Callerio
                                           (A&M) re: escheatment services
Hershan, Robert       10/31/2023     0.4   Review proposal from Escheatment Services, Inc to manage Embed
                                           unclaimed customer account balances post- Embed wind down; and
                                           consider next steps and open issues
Hoffer, Emily         10/31/2023     0.5   Meeting to discuss FTX Payroll Database with A. Stolyar, J. Faett, K.
                                           Kearney, J. Lee, and E. Hoffer (A&M)
Johnston, David       10/31/2023     0.3   Analyze historical profitability of FTX Japan KK

Jones, Mackenzie      10/31/2023     0.2   Review comments/edits on Blockfolio tear sheet


Kearney, Kevin        10/31/2023     0.6   Participate on call to discuss revisions to financial health summary
                                           with K. Kearney, C. Alvarez (A&M)
Kearney, Kevin        10/31/2023     0.5   Meeting to discuss code contributor payment details with A. Stolyar,
                                           J. Faett, and K. Kearney (A&M)
Kearney, Kevin        10/31/2023     0.5   Review of users and related modifications to FTX codebase
                                           associated with FTX 2.0 tax request from S&C
Kearney, Kevin        10/31/2023     2.7   Review of updated materials for BOD reverse diligence assessment
                                           based on updates to analysis
Kearney, Kevin        10/31/2023     0.3   Call to review open items for 2.0 rapid assessment with K. Kearney,
                                           D. Hainline (A&M)
Kearney, Kevin        10/31/2023     0.8   Teleconference with K. Kearney, R. Gordon(A&M) to review
                                           executive summary of bidder assessment
Kearney, Kevin        10/31/2023     0.3   Call to align on next steps and timeline for security assessments for
                                           2.0 diligence with H. Nachmias, O. Dupont, A. Chazan (Sygnia), R.
                                           Gordon, D. Hainline, S. Kolodny, K. Kearney (A&M)

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Asset Sales
Professional                 Date    Hours    Activity
Kearney, Kevin          10/31/2023     0.6   Teleconference with T. MacMillan, C. Martin(Nardello), R. Gordon,
                                             K. Kearney(A&M) over results for bidder #1 & #2 investigation
Kearney, Kevin          10/31/2023     0.5   Call to align on next steps and timeline for security assessments for
                                             2.0 diligence with H. Nachmias, O. Dupont, A. Chazan (Sygnia), D.
                                             Hainline, S. Kolodny, K. Kearney (A&M)
Kearney, Kevin          10/31/2023     1.0   Discussion of revised earnout structure with Bidder #1 and M.
                                             Rahmani (PwP), B. Turton, R. Gordon, K. Kearney (A&M)
Kolodny, Steven         10/31/2023     3.0   Continue review of new materials from bidder #2 for success criteria
                                             items and compare against bidders
Kolodny, Steven         10/31/2023     0.8   Review open items materials and determine further lines of follow up
                                             for bidder #2
Kolodny, Steven         10/31/2023     0.5   Call to debrief action items from leads review of 2.0 diligence
                                             assessment materials, D. Hainline, S. Kolodny (A&M)
Kolodny, Steven         10/31/2023     0.3   Call to align on next steps and timeline for security assessments for
                                             2.0 diligence with H. Nachmias, O. Dupont, A. Chazan (Sygnia), R.
                                             Gordon, D. Hainline, S. Kolodny, K. Kearney (A&M)
Kolodny, Steven         10/31/2023     0.5   Call to align on next steps and timeline for security assessments for
                                             2.0 diligence with H. Nachmias, O. Dupont, A. Chazan (Sygnia), D.
                                             Hainline, S. Kolodny, K. Kearney (A&M)
Lee, Julian             10/31/2023     0.5   Meeting to discuss FTX Payroll Database with A. Stolyar, J. Faett, K.
                                             Kearney, J. Lee, and E. Hoffer (A&M)
Montague, Katie         10/31/2023     1.9   Prepare summary of scope of review related to reverse diligence
                                             process
Ramanathan, Kumanan     10/31/2023     0.7   Review of coin monetization order motion and discuss with counsel
                                             on amendments
Ramanathan, Kumanan     10/31/2023     0.4   Call with C. Rhines (Galaxy) to discuss crypto asset management
                                             matters
Ramanathan, Kumanan     10/31/2023     1.2   Review of most recent Grayscale sale term sheet and motion


Rybarczyk, Jodi         10/31/2023     1.4   Continue to review third-party contracts and assess if relevant for
                                             FTX IP
Rybarczyk, Jodi         10/31/2023     3.1   Analyze third-party contracts and assess if relevant for FTX IP

Rybarczyk, Jodi         10/31/2023     0.4   Follow IT account set-up instructions to access the cash database


Rybarczyk, Jodi         10/31/2023     0.8   Review listing of code contributors and compare to employee roster
                                             files
Rybarczyk, Jodi         10/31/2023     1.3   Review results of second round of wildcard searches for FTX.US
                                             and FTX.COM
Rybarczyk, Jodi         10/31/2023     2.1   Revise and finalize 2.0 diligence assessment materials

Stockmeyer, Cullen      10/31/2023     0.4   Prepare summary of statuses for ongoing venture tasks for
                                             management report
Stolyar, Alan           10/31/2023     0.5   Meeting to discuss code contributor payment details with A. Stolyar,
                                             J. Faett, and K. Kearney (A&M)



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Asset Sales
Professional                 Date    Hours      Activity
Stolyar, Alan           10/31/2023       0.9   Analyze monthly employee payroll records for Cottonwood Grove

Stolyar, Alan           10/31/2023       1.2   Analyze monthly employee payroll records for LedgerX


Stolyar, Alan           10/31/2023       0.8   Analyze monthly employee payroll records for Blockfolio

Stolyar, Alan           10/31/2023       0.6   Analyze monthly employee payroll records for GB

Stolyar, Alan           10/31/2023       1.3   Analyze monthly employee payroll records for FTX Trading


Stolyar, Alan           10/31/2023       1.1   Analyze monthly employee payroll records for Salameda

Stolyar, Alan           10/31/2023       0.4   Summarize monthly employee payroll excel file related to
                                               Cottonwood Grove, Salameda, FTX Trading, Blockfolio, LedgerX,
                                               and GB from 2020-2022
Stolyar, Alan           10/31/2023       1.3   Prepare monthly employee payroll excel file related to code
                                               developers for Cottonwood Grove and Salameda by calculating total
                                               payroll from 2020-2022
Stolyar, Alan           10/31/2023       0.7   Prepare monthly employee payroll excel file related to code
                                               developers for LedgerX and GB by calculating total payroll from
                                               2020-2022
Stolyar, Alan           10/31/2023       0.8   Prepare monthly employee payroll excel file related to code
                                               developers for FTX Trading and Blockfolio by calculating total payroll
                                               from 2020-2022
Titus, Adam             10/31/2023       1.1   Provide comments on workplan to individual members to ensure
                                               efficiently executing on plan
Titus, Adam             10/31/2023       1.1   Gather feedback on requests for hedge fund entity questions related
                                               to wallet mapping
Titus, Adam             10/31/2023       0.8   Review follow up requests for hedge fund entity questions related to
                                               wallet mapping
Titus, Adam             10/31/2023       0.9   Review venture workplan based on details needed among team
                                               members
Turton, Bobby           10/31/2023       1.1   Review updates to 2.0 Diligence presentation for Bidder #1

Turton, Bobby           10/31/2023       1.0   Discussion of revised earnout structure with Bidder #1 and M.
                                               Rahmani (PwP), B. Turton, R. Gordon, K. Kearney (A&M), and
                                               Bidder #1 advisors

Subtotal                             2,669.9

Avoidance Actions
Professional                 Date    Hours      Activity
Mosley, Ed               10/1/2023       1.9   Review of and prepare comments to draft user exchange
                                               presentation and financial analysis
Mosley, Ed               10/1/2023       0.9   Call with E. Mosley, K. Ramanathan, G. Walia (A&M), A. Dietderich
                                               (S&C), and J. Ray (FTX) to discuss preference analysis



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Avoidance Actions
Professional             Date     Hours    Activity
Ramanathan, Kumanan   10/1/2023     0.3   Call with G. Walia, K. Ramanathan (A&M) to discuss user exchange
                                          calculation model
Ramanathan, Kumanan   10/1/2023     1.1   Review customer user exchange analysis and matrix file


Ramanathan, Kumanan   10/1/2023     0.9   Call with E. Mosley, G. Walia, S. Coverick, K. Ramanathan (A&M),
                                          J. Ray (FTX), A. Dietderich (S&C) to discuss customer exchange
                                          analysis
Ryan, Laureen         10/1/2023     0.3   Correspond with A&M team regarding avoidance action activities

Sloan, Austin         10/1/2023     0.8   Compile bank transaction detail for HSBC bank accounts in relation
                                          to cash database
Sloan, Austin         10/1/2023     2.6   Compile bank statement detail for HSBC bank accounts in relation
                                          to cash database
Walia, Gaurav         10/1/2023     2.6   Prepare a summary schedule of various preference scenarios if a
                                          customer opts in vs. opts out
Walia, Gaurav         10/1/2023     0.3   Call with G. Walia, K. Ramanathan (A&M) to discuss user exchange
                                          calculation model
Walia, Gaurav         10/1/2023     0.9   Call with E. Mosley, S. Coverick, K. Ramanathan, G. Walia (A&M),
                                          A. Dietderich (S&C), and J. Ray (FTX) to discuss preference analysis
Blanchard, Madison    10/2/2023     0.9   Call with P. McGrath, M. Blanchard, M. Ebrey (A&M) regarding
                                          updates made to Cega Lender Summary Deck
Blanchard, Madison    10/2/2023     1.3   Prepare updates to Alameda lender analysis incorporating feedback
                                          following quality control review
Blanchard, Madison    10/2/2023     0.4   Call with E. Hoffer, M. Blanchard and A. Dobbs (A&M) regarding
                                          Anchorage lending transactions analysis
Blanchard, Madison    10/2/2023     2.7   Continue to perform updates to Alameda lender analysis using
                                          current pricing methodology
Blanchard, Madison    10/2/2023     0.2   Call with A. Canale, D. Medway, M. Blanchard (A&M) regarding
                                          updates to Alameda lender analysis
Blanchard, Madison    10/2/2023     2.3   Prepare updates to Alameda lender analysis using current pricing
                                          methodology
Blanchard, Madison    10/2/2023     0.3   Call with A. Canale, M. Blanchard (A&M) regarding updates to
                                          Alameda lender analysis
Blanchard, Madison    10/2/2023     0.3   Prepare updates to Cega lending claim analysis


Canale, Alex          10/2/2023     0.2   Call with A. Canale, D. Medway, M. Blanchard (A&M) regarding
                                          updates to Alameda lender analysis
Canale, Alex          10/2/2023     0.1   Call with A. Canale T.Gosau (A&M) to discuss Third Party
                                          Production review re: Venture Books
Canale, Alex          10/2/2023     0.8   Review information in third party productions related to Venture
                                          Book claims
Canale, Alex          10/2/2023     0.3   Call with A. Canale, M. Blanchard (A&M) regarding updates to
                                          Alameda lender analysis
Canale, Alex          10/2/2023     0.4   Review details regarding LedgerPrime valuation analysis and
                                          provide comment


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Avoidance Actions
Professional                 Date    Hours    Activity
Canale, Alex             10/2/2023     0.2   Review schedule summarizing findings regarding Venture Book
                                             productions
Canale, Alex             10/2/2023     0.3   Correspond with A&M team regarding Alameda lender pricing
                                             analysis
Canale, Alex             10/2/2023     0.6   Correspond with A&M team regarding Cega lending claim

Canale, Alex             10/2/2023     0.6   Analysis of Cega lending and investment relationship

Canale, Alex             10/2/2023     0.2   Correspond with A&M team regarding Venture Book claims


Cox, Allison             10/2/2023     0.3   Teleconference with T. Gosau, N. Strong, and A. Cox (A&M) related
                                             to venture book third party production review
Cox, Allison             10/2/2023     2.6   Summarize facts in relation to professional firms transaction data


Cox, Allison             10/2/2023     2.4   Document review in relation to professional firms transaction data

Dobbs, Aaron             10/2/2023     0.4   Call with E. Hoffer, M. Blanchard and A. Dobbs (A&M) regarding
                                             Anchorage lending transactions analysis
Dobbs, Aaron             10/2/2023     2.6   Index of documents regarding Silvergate account 4605 enhanced
                                             due diligence documentation
Dobbs, Aaron             10/2/2023     2.4   Review of third party documents for Silvergate account 4605
                                             enhanced due diligence documentation
Dobbs, Aaron             10/2/2023     0.1   Call with A. Dobbs and T.Gosau (A&M) to discuss Third Party
                                             Production review re: Venture Books
Dobbs, Aaron             10/2/2023     1.7   Prepare summary table for Anchorage crypto lending interest
                                             transactions
Dobbs, Aaron             10/2/2023     1.9   Prepare summary table for Anchorage crypto lending transactions


Dobbs, Aaron             10/2/2023     0.7   Call with J. Lee, E. Hoffer, A. Helal, A. Dobbs and B. Price (A&M) to
                                             discuss the findings in Silvergate's Relativity repository for the
                                             purposes of filing potential claims as directed by QE
Ebrey, Mason             10/2/2023     0.9   Call with P. McGrath, M. Blanchard, M. Ebrey (A&M) regarding
                                             updates made to Cega Lender Summary Deck
Ebrey, Mason             10/2/2023     0.3   Call with T. Gosau, M. Ebrey (A&M) regarding third party production
                                             related to venture book
Ebrey, Mason             10/2/2023     3.1   Review and edit Cega Lender Summary Deck

Ebrey, Mason             10/2/2023     1.9   Review comments in Cega Lender Summary Deck


Ebrey, Mason             10/2/2023     0.9   Review Chipper Cash third-party produced documents

Gordon, Robert           10/2/2023     0.8   Review LedgerPrime analysis support schedule

Gosau, Tracy             10/2/2023     0.3   Teleconference with T. Gosau, N. Strong, and A. Cox (A&M) related
                                             to venture book third party production review


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Avoidance Actions
Professional               Date    Hours    Activity
Gosau, Tracy           10/2/2023     0.1   Call with A. Canale T.Gosau (A&M) to discuss Third Party
                                           Production review re: Venture Books
Gosau, Tracy           10/2/2023     0.1   Call with A. Dobbs and T.Gosau (A&M) to discuss Third Party
                                           Production review re: Venture Books
Gosau, Tracy           10/2/2023     0.3   Call with T. Gosau, M. Ebrey (A&M) regarding third party production
                                           related to venture book
Gosau, Tracy           10/2/2023     0.3   Review of third party production re: Venture Books (Dave Inc)

Gosau, Tracy           10/2/2023     0.4   Review of third party production re: Venture Books (Chipper Cash)


Gosau, Tracy           10/2/2023     0.1   Review of third party production re: Venture Books (Fuel Labs)

Gosau, Tracy           10/2/2023     0.9   Set up review of third party production re: Venture Books


Haigis, Maya           10/2/2023     0.8   Review results from fuzzy matching exercise for cash database
                                           counterparty names
Haigis, Maya           10/2/2023     1.6   Perform fuzzy matching exercise on cash database counterparty field


Helal, Aly             10/2/2023     0.7   Call with J. Lee, E. Hoffer, A. Helal, A. Dobbs and B. Price (A&M) to
                                           discuss the findings in Silvergate's Relativity repository for the
                                           purposes of filing potential claims as directed by QE
Helal, Aly             10/2/2023     2.5   Collect North Dimension's Silvergate accounts documentation and
                                           compliance follow ups by the bank for possible claims
Hoffer, Emily          10/2/2023     0.4   Call with E. Hoffer, M. Blanchard and A. Dobbs (A&M) regarding
                                           Anchorage lending transactions analysis
Hoffer, Emily          10/2/2023     2.1   Perform manual reconciliation of National Australian Bank AUD
                                           accounts for use in cash database
Hoffer, Emily          10/2/2023     1.3   Perform manual reconciliation of National Australian Bank EUR
                                           accounts for use in cash database
Hoffer, Emily          10/2/2023     0.7   Call with J. Lee, E. Hoffer, A. Helal, A. Dobbs and B. Price (A&M) to
                                           discuss the findings in Silvergate's Relativity repository for the
                                           purposes of filing potential claims as directed by QE
Johnson, Robert        10/2/2023     0.2   Verify HSBC transaction report data loaded successfully to
                                           Metabase production tables
Johnson, Robert        10/2/2023     0.2   Verify successful ingestion of Bank of Communications data to
                                           Metabase production tables
Johnson, Robert        10/2/2023     0.3   Incorporate Bank of Communications statement data to Metabase
                                           production tables
Johnson, Robert        10/2/2023     0.4   Incorporate HSBC transaction report data to Metabase production
                                           tables
Johnson, Robert        10/2/2023     0.2   Verify successful ingestion of HSBC data to Metabase production
                                           tables
Johnson, Robert        10/2/2023     0.4   Incorporate HSBC Statement data to Metabase production tables

Kearney, Kevin         10/2/2023     0.5   Call with K. Kearney, J. Lee (A&M) to discuss LedgerPrime limited
                                           partner redemptions, adjusted NAV calculation

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Professional               Date     Hours    Activity
Lee, Julian             10/2/2023     0.5   Call with K. Kearney, J. Lee (A&M) to discuss LedgerPrime limited
                                            partner redemptions, adjusted NAV calculation
Lee, Julian             10/2/2023     0.2   Correspond with FTX Japan representatives re: SBI Clearing Trust
                                            account reconciliation for purposes of cash database
Lee, Julian             10/2/2023     0.2   Correspond with team regarding reconciliation of SBI Clearing Trust
                                            accounts for purposes of cash database
Lee, Julian             10/2/2023     0.1   Review response from Circle regarding duplicate transactions for
                                            West Realm Shires Services Inc
Lee, Julian             10/2/2023     0.2   Review LedgerPrime Limited Partner redemption analysis


Lee, Julian             10/2/2023     0.2   Summarize status update on LedgerPrime monetization analysis

Lee, Julian             10/2/2023     0.7   Call with J. Lee, E. Hoffer, A. Helal, A. Dobbs and B. Price (A&M) to
                                            discuss the findings in Silvergate's Relativity repository for the
                                            purposes of filing potential claims as directed by QE
Lee, Julian             10/2/2023     0.5   Prepare summary notes on possible recovery re: LedgerPrime
                                            Limited partners, adjustment estimates of Tokens, Venture
                                            Investments
Lee, Julian             10/2/2023     0.2   Correspond with team regarding LedgerPrime limited partner
                                            redemptions, adjustments to NAV related to Tokens, venture
                                            investments
Lee, Julian             10/2/2023     0.6   Review Silvergate bank productions in response to Rule 2004
                                            document requests
McGrath, Patrick        10/2/2023     0.9   Call with P. McGrath, M. Blanchard, M. Ebrey (A&M) regarding
                                            updates made to Cega Lender Summary Deck
McGrath, Patrick        10/2/2023     0.6   Analyze and review Mirana transactions at the request of counsel

McGrath, Patrick        10/2/2023     1.1   Review and summarize transactions between the Debtors and Cega


Medway, David           10/2/2023     1.6   Review and update schedule summarizing results of review and
                                            analysis of professionals productions
Medway, David           10/2/2023     0.2   Call with A. Canale, D. Medway, M. Blanchard (A&M) regarding
                                            updates to Alameda lender analysis
Medway, David           10/2/2023     0.4   Communications with A&M team regarding third-party productions
                                            review strategy and best practices
Medway, David           10/2/2023     0.2   Communications with QE regarding Michael McCaffrey complaint
                                            review
Medway, David           10/2/2023     0.6   Review updated Alameda lender analysis and respond to staff
                                            inquiries
Medway, David           10/2/2023     0.3   Communications with A&M team regarding updates to schedule
                                            summarizing results of review and analysis of professionals
                                            productions
Price, Breanna          10/2/2023     0.7   Call with J. Lee, E. Hoffer, A. Helal, A. Dobbs and B. Price (A&M) to
                                            discuss the findings in Silvergate's Relativity repository for the
                                            purposes of filing potential claims as directed by QE




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Avoidance Actions
Professional              Date    Hours    Activity
Price, Breanna        10/2/2023     0.9   Review the Equity bank statement balances received from FTX
                                          Digital Markets to discover discrepancies between the original files
                                          found on Relativity
Price, Breanna        10/2/2023     3.1   Review Alameda Research Ltd due diligence data in Silvergate's
                                          Relativity repository for the purposes of finding details of a potential
                                          claim
Ramanathan, Kumanan   10/2/2023     0.6   Correspond re: varying user activity period thresholds and review of
                                          data
Ramanathan, Kumanan   10/2/2023     2.6   Prepare updated presentation on user exchange analysis

Ryan, Laureen         10/2/2023     0.3   Correspond with A&M team regarding next steps for LedgerPrime
                                          analysis
Ryan, Laureen         10/2/2023     0.3   Correspond with QE and A&M team regarding Fuel Tokens analysis


Shanahan, Michael     10/2/2023     0.5   Review updated production tracker and review status report for
                                          professionals workstream
Shanahan, Michael     10/2/2023     0.4   Review communications and follow-up questions for Circle Bank
                                          regarding productions
Shanahan, Michael     10/2/2023     0.8   Preliminary review of account activity analysis for Silvergate accounts

Shanahan, Michael     10/2/2023     0.9   Review updated schedule of payments to professional services firms


Shanahan, Michael     10/2/2023     0.3   Communications to/from team regarding McCafferty claims

Shanahan, Michael     10/2/2023     0.4   Preliminary review of document production - McCafferty

Shanahan, Michael     10/2/2023     1.5   Review documents related to McCafferty transactions


Shanahan, Michael     10/2/2023     0.2   Communications to/from team regarding Venture book documents

Shanahan, Michael     10/2/2023     0.4   Communications to/from counsel regarding Venture book claims


Sloan, Austin         10/2/2023     2.1   Create statement detail load file for Bank of Communications in
                                          relation to the cash database
Sloan, Austin         10/2/2023     1.2   Create transaction detail load file for HSBC bank in relation to the
                                          cash database
Sloan, Austin         10/2/2023     2.4   Create statement detail load file for HSBC bank in relation to the
                                          cash database
Strong, Nichole       10/2/2023     0.3   Teleconference with T. Gosau, N. Strong, and A. Cox (A&M) related
                                          to venture book third party production review
Strong, Nichole       10/2/2023     1.1   Correspondence with A&M team related to venture book third party
                                          production review
Strong, Nichole       10/2/2023     0.9   Prepare review template for venture book third party production
                                          review
Arnett, Chris         10/3/2023     0.4   Review and comment on draft of additional lender avoidance
                                          presentation for use in potential cause of action

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Avoidance Actions
Professional             Date     Hours    Activity
Arnett, Chris         10/3/2023     0.3   Distribute draft lender avoidance presentation to debtor working
                                          group
Blanchard, Madison    10/3/2023     0.3   Call with M. Blanchard and E. Hoffer (A&M) to discuss quality control
                                          review of Alameda lender analysis deck updates
Blanchard, Madison    10/3/2023     0.5   Call with A. Canale, M. Blanchard (A&M) to discuss updates to Cega
                                          analysis presentation
Blanchard, Madison    10/3/2023     0.3   Call with A. Canale, P. McGrath, M. Blanchard (A&M) to discuss
                                          updates to Cega analysis
Blanchard, Madison    10/3/2023     0.3   Call with M. Blanchard and A. Dobbs (A&M) regarding Anchorage
                                          lending transactions summary
Blanchard, Madison    10/3/2023     1.3   Incorporate feedback into Cega lending claim analysis presentation

Blanchard, Madison    10/3/2023     0.6   Prepare updates to complaint exhibit prepared for Counsel (S&C)


Blanchard, Madison    10/3/2023     2.6   Prepare updates to Cega lending claim analysis presentation

Blanchard, Madison    10/3/2023     2.9   Continue to update Cega lending claim analysis presentation


Broskay, Cole         10/3/2023     0.7   Review points provided by counsel for summary witness binder

Canale, Alex          10/3/2023     0.2   Call with A. Canale and E. Hoffer (A&M) to discuss Anchorage
                                          lender analysis loans work paper updates
Canale, Alex          10/3/2023     0.5   Call with A. Canale, M. Blanchard (A&M) to discuss updates to Cega
                                          analysis presentation
Canale, Alex          10/3/2023     0.3   Call with A. Canale, P. McGrath, M. Blanchard (A&M) to discuss
                                          updates to Cega analysis
Canale, Alex          10/3/2023     0.8   Review Fuel claim memorandum and production in preparation for
                                          call with counsel
Canale, Alex          10/3/2023     2.2   Analysis of change in value of lender collateral transfers based on
                                          timing changes
Canale, Alex          10/3/2023     0.6   Review Mirana fraudulent transfer complaint exhibits


Canale, Alex          10/3/2023     2.1   Review documents relating to Cega lending and investments

Coverick, Steve       10/3/2023     0.7   Review and provide comments on updated preference analysis
                                          scenarios
Dobbs, Aaron          10/3/2023     1.7   Prepare monthly interest rate summary for Anchorage lending during
                                          preference period
Dobbs, Aaron          10/3/2023     2.3   Summarize interest payments to Anchorage during preference
                                          activity
Dobbs, Aaron          10/3/2023     0.3   Call with M. Blanchard and A. Dobbs (A&M) regarding Anchorage
                                          lending transactions summary
Dobbs, Aaron          10/3/2023     2.4   Quality control to test for completeness of data regarding Anchorage
                                          interest payment calculations




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Avoidance Actions
Professional               Date     Hours    Activity
Ebrey, Mason            10/3/2023     3.1   Review Critical Ideas Inc third-party produced documents in Relativity

Ebrey, Mason            10/3/2023     2.9   Review Chipper Cash third-party produced documents


Ebrey, Mason            10/3/2023     0.8   Review of Fuel third-party produced documents in Relativity

Gordon, Robert          10/3/2023     0.4   Correspondence with E. Mosley, K. Ramanathan(A&M) over lender
                                            preference actions
Helal, Aly              10/3/2023     1.7   Summarize North Dimension's Silvergate accounts documentation
                                            and compliance follow ups by the bank
Helal, Aly              10/3/2023     1.4   Standardize counterparties to transactions in bank statements
                                            identified via Fuzzy Matching
Helal, Aly              10/3/2023     2.3   Reconcile FTX Japan KK bank accounts for 2022


Helal, Aly              10/3/2023     0.3   Call with A. Helal, J. Lee (A&M), K. Nakamura, R. Kita, R. Kakuta
                                            (FTX) to discuss reconciliation of FTX Japan KK SBI Clearing
                                            Accounts for purposes of cash database
Helal, Aly              10/3/2023     0.5   Call with A. Helal and E. Hoffer (A&M) to discuss the findings of
                                            fuzzy matching the counterparties of bank transactions
Hoffer, Emily           10/3/2023     0.2   Call with A. Canale and E. Hoffer (A&M) to discuss Anchorage
                                            lender analysis loans work paper updates
Hoffer, Emily           10/3/2023     0.3   Call with M. Blanchard and E. Hoffer (A&M) to discuss quality control
                                            review of Alameda lender analysis deck updates
Hoffer, Emily           10/3/2023     2.1   Perform manual reconciliation of National Australia Bank USD
                                            accounts for use in cash database
Hoffer, Emily           10/3/2023     2.2   Perform manual reconciliation of National Australia Bank SGD
                                            accounts for use in cash database
Hoffer, Emily           10/3/2023     1.6   Perform quality control review of Anchorage lender analysis
                                            complain exhibit
Hoffer, Emily           10/3/2023     0.4   Perform manual reconciliation of Salameda bank accounts to be
                                            used in cash database
Hoffer, Emily           10/3/2023     1.7   Perform quality control review of Alameda lender preference
                                            analysis deck for updates made based on updated cryptocurrency
                                            pricing
Hoffer, Emily           10/3/2023     0.5   Call with A. Helal and E. Hoffer (A&M) to discuss the findings of
                                            fuzzy matching the counterparties of bank transactions
Johnson, Robert         10/3/2023     0.7   Incorporate additional HSBC data into cash tables for Metabase

Kearney, Kevin          10/3/2023     0.7   Review subscription agreement associated with LedgerPrime capital
                                            redemptions
Kearney, Kevin          10/3/2023     1.2   Review updates to LedgerPrime LP redemption action


Lee, Julian             10/3/2023     0.2   Review Silvergate communications with FTX re: Alameda Research
                                            Ltd account ending 4456
Lee, Julian             10/3/2023     1.3   Review of Silvergate bank production re: Rule 2004 request such as
                                            account activity update forms

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Avoidance Actions
Professional                Date    Hours    Activity
Lee, Julian             10/3/2023     0.4   Review reconciliation workpaper for SBI Clearing accounts for
                                            purposes of cash database
Lee, Julian             10/3/2023     0.6   Summarize communications between FTX, Silvergate compliance
                                            team re: North Dimension account
Lee, Julian             10/3/2023     0.4   Correspond with team, FTX Japan representative regarding
                                            reconciliation of SBI Clearing Trust accounts for purposes of cash
                                            database
Lee, Julian             10/3/2023     0.3   Call with A. Helal, J. Lee (A&M), K. Nakamura, R. Kita, R. Kakuta
                                            (FTX) to discuss reconciliation of FTX Japan KK SBI Clearing
                                            Accounts for purposes of cash database
McGrath, Patrick        10/3/2023     0.3   Call with A. Canale, P. McGrath, M. Blanchard (A&M) to discuss
                                            updates to Cega analysis
McGrath, Patrick        10/3/2023     0.8   Review Mirana transactions at the request of counsel


Medway, David           10/3/2023     0.6   Review and update schedule summarizing results of review and
                                            analysis of professionals productions
Medway, David           10/3/2023     0.7   Review documents produced by Michael McCaffrey in connection
                                            with Debtor loan agreements
Medway, David           10/3/2023     0.2   Call with M. Shanahan and D. Medway (A&M) regarding schedule
                                            summarizing results of professionals document production review
Price, Breanna          10/3/2023     3.1   Complete the documentation of Relativity communications related to
                                            Alameda Research Ltd and Silvergate
Price, Breanna          10/3/2023     3.1   Create a document index detailing the communications found on
                                            Relativity between Alameda Research Ltd and Silvergate
Ramanathan, Kumanan     10/3/2023     0.8   Call with G. Walia, K. Ramanathan (A&M) to discuss user exchange
                                            analysis
Ryan, Laureen           10/3/2023     0.2   Correspond with A&M team regarding Galago Lending Analysis


Sagen, Daniel           10/3/2023     0.4   Respond to requests from J. Croke (S&C) regarding user metric
                                            details and analysis
Salas Nunez, Luis       10/3/2023     1.1   Devise data request for detailed withdrawal activity analysis


Shanahan, Michael       10/3/2023     1.4   Review documents related to potential claims against financial
                                            institutions
Shanahan, Michael       10/3/2023     1.2   Review documents related to potential claims against professionals


Shanahan, Michael       10/3/2023     0.2   Call with M. Shanahan and D. Medway (A&M) regarding schedule
                                            summarizing results of professionals document production review
Simoneaux, Nicole       10/3/2023     2.1   Incorporate edits to lender avoidance presentations to be shared
                                            with S&C
Sloan, Austin           10/3/2023     1.8   Compile bank statement detail for additional HSBC bank accounts in
                                            relation to cash database
Sloan, Austin           10/3/2023     1.2   Create statement summary load file for Bank of Communications in
                                            relation to the cash database
Sloan, Austin           10/3/2023     1.3   Create statement detail load file for additional HSBC accounts in
                                            relation to the cash database

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Avoidance Actions
Professional             Date     Hours    Activity
Strong, Nichole       10/3/2023     0.3   Correspondence with A&M team and counsel related to summary of
                                          payments to Corporate Trust Services/Thomas John
Walia, Gaurav         10/3/2023     1.9   Update the 11-day look back period analysis based on feedback


Walia, Gaurav         10/3/2023     2.2   Update the 8-day look back period analysis based on feedback

Walia, Gaurav         10/3/2023     2.6   Prepare an initial analysis of the historic deposit and withdrawal
                                          activity on the exchange as the petition date approached
Arnett, Chris         10/4/2023     0.5   Call with C. Arnett, K. Ramanathan, G. Walia (A&M), J. Croke (S&C)
                                          to discuss user exchange analysis
Arnett, Chris         10/4/2023     0.4   Prepare for weekly avoidance call with S&C

Blanchard, Madison    10/4/2023     0.9   Call with A. Canale, P. McGrath, M. Blanchard, M. Ebrey (A&M)
                                          regarding status of Cega Lender Summary Deck
Blanchard, Madison    10/4/2023     1.7   Continue to incorporate feedback following discussion into Cega
                                          lending claim analysis presentation
Blanchard, Madison    10/4/2023     0.2   Call with M. Blanchard, M. Ebrey (A&M) regarding comments on
                                          Cega Lender Summary Deck
Blanchard, Madison    10/4/2023     0.3   Call with M. Blanchard and E. Hoffer (A&M) to discuss quality control
                                          review of Anchorage exhibit
Blanchard, Madison    10/4/2023     3.1   Incorporate feedback following discussion into Cega lending claim
                                          analysis presentation
Blanchard, Madison    10/4/2023     2.3   Prepare updates to exhibit prepared for Anchorage lending claim
                                          analysis
Blanchard, Madison    10/4/2023     1.6   Continue to update exhibit prepared for Anchorage lending claim
                                          analysis
Canale, Alex          10/4/2023     0.9   Call with A. Canale, P. McGrath, M. Blanchard, M. Ebrey (A&M)
                                          regarding status of Cega Lender Summary Deck
Canale, Alex          10/4/2023     0.9   Continue review documents relating to Mirana KYC information
                                          relevant to claim analysis
Canale, Alex          10/4/2023     0.3   Review documents relating to Mirana KYC information relevant to
                                          claim analysis
Canale, Alex          10/4/2023     1.6   Review Anchorage summary of transactions pricing analysis for QE
                                          and edit
Canale, Alex          10/4/2023     1.8   Review Cega draft lender claim analysis deck and edit

Chan, Jon             10/4/2023     2.3   Query database to create new preference report with eastern
                                          standard time assumptions
Cooper, James         10/4/2023     0.3   Call with M. Shanahan, J. Cooper and D. Slay (A&M) re: discussion
                                          on potential avoidance action procedures
Coverick, Steve       10/4/2023     2.4   Review and provide comments on revised customer preference
                                          policy presentation
Coverick, Steve       10/4/2023     0.3   Discuss preference calculations with E. Mosley, S. Coverick (A&M)




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Avoidance Actions
Professional                 Date    Hours    Activity
Coverick, Steve          10/4/2023     0.6   Call with K. Ramanathan (A&M) to discuss exchange user analysis
                                             updates
Coverick, Steve          10/4/2023     0.3   Discuss net withdrawal date analysis with K. Ramanathan (A&M)


Cox, Allison             10/4/2023     2.8   Summarize facts in relation to second set of professional firms
                                             transaction data
Cox, Allison             10/4/2023     1.7   Document review in relation to second set of professional firms
                                             transaction data
Dobbs, Aaron             10/4/2023     1.7   Target searches in the debtor repository to assess account activity
                                             related to Hummingbird and KYC correspondence
Dobbs, Aaron             10/4/2023     1.8   Quality control of lender analysis for Anchorage lending relationship
                                             to assess potential preference period claims
Dobbs, Aaron             10/4/2023     1.1   Summarize compliance efforts by Silvergate Bank in regards to
                                             account activity for account number 4605
Dobbs, Aaron             10/4/2023     0.6   Call with J. Lee, E. Hoffer, A. Helal, A. Dobbs and B. Price (A&M) to
                                             discuss the summarized findings in Silvergate's Relativity repository
                                             for the purposes of filing potential claims as directed by QE
Dobbs, Aaron             10/4/2023     1.6   Relativity searches for Silvergate bank activity on the Hummingbird
                                             platform to assess KYC compliance for potential claims as directed
                                             by QE
Dobbs, Aaron             10/4/2023     1.3   Prepare timeline for key events and formal requests from
                                             compliance team for Silvergate Bank to assess potential claims
Dobbs, Aaron             10/4/2023     1.4   Relativity searches for targeted bank production for Silvergate bank
                                             to assess KYC compliance for potential claims as directed by QE
Ebrey, Mason             10/4/2023     0.9   Call with A. Canale, P. McGrath, M. Blanchard, M. Ebrey (A&M)
                                             regarding status of Cega Lender Summary Deck
Ebrey, Mason             10/4/2023     0.2   Call with M. Blanchard, M. Ebrey (A&M) regarding comments on
                                             Cega Lender Summary Deck
Ebrey, Mason             10/4/2023     0.1   Call with T. Gosau, M. Ebrey (A&M) regarding third party production
                                             related to venture book
Ebrey, Mason             10/4/2023     1.6   Search for potential additional repayment made to Cega


Ebrey, Mason             10/4/2023     0.7   Review of updates made to Cega Lender Summary Deck

Ebrey, Mason             10/4/2023     1.5   Review and edit Cega Lender Summary Deck


Ebrey, Mason             10/4/2023     2.7   Review MJMcCaffrey Holdings third-party produced documents

Flynn, Matthew           10/4/2023     0.2   Call with M. Flynn, G. Walia (A&M) to discuss customer analysis
                                             template
Flynn, Matthew           10/4/2023     1.1   Draft template to customer analysis support for S&C


Gosau, Tracy             10/4/2023     0.1   Call with T. Gosau, N. Strong (A&M) regarding third party production
                                             related to venture book
Gosau, Tracy             10/4/2023     0.1   Call with T. Gosau, M. Ebrey (A&M) regarding third party production
                                             related to venture book

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Avoidance Actions
Professional               Date     Hours    Activity
Helal, Aly              10/4/2023     0.6   Call with J. Lee, E. Hoffer, A. Helal, A. Dobbs and B. Price (A&M) to
                                            discuss the summarized findings in Silvergate's Relativity repository
                                            for the purposes of filing potential claims as directed by QE
Hoffer, Emily           10/4/2023     0.3   Review Circle WRSS account to determine if account reconciles
                                            based on duplicate transactions identified by Circle
Hoffer, Emily           10/4/2023     2.4   Perform manual reconciliation of Bank of Communications
                                            Salameda bank accounts to be used in the cash database
Hoffer, Emily           10/4/2023     1.7   Perform quality control check of Anchorage updated pricing
                                            summary table to be used by counsel
Hoffer, Emily           10/4/2023     2.8   Perform manual reconciliation of HSBC Salameda bank accounts to
                                            be used in the cash database
Hoffer, Emily           10/4/2023     0.3   Call with M. Blanchard and E. Hoffer (A&M) to discuss quality control
                                            review of Anchorage exhibit
Hoffer, Emily           10/4/2023     0.2   Compile follow up questions to be sent to Circle for account
                                            reconciliation issues
Hoffer, Emily           10/4/2023     0.6   Call with J. Lee, E. Hoffer, A. Helal, A. Dobbs and B. Price (A&M) to
                                            discuss the summarized findings in Silvergate's Relativity repository
                                            for the purposes of filing potential claims as directed by QE
Johnson, Robert         10/4/2023     0.6   Incorporate additional National Australia bank data into Metabase
                                            tables for additional analysis
Johnson, Robert         10/4/2023     0.6   Adjust banking data to remove erroneous records related to HSBC
                                            bank from Metabase tables
Kearney, Kevin          10/4/2023     1.2   Review draft avoidance action materials for targeted Alameda lender

Lee, Julian             10/4/2023     0.2   Correspond with S&C regarding possible LedgerPrime account at
                                            Trade Station
Lee, Julian             10/4/2023     0.3   Review LedgerPrime agreements related to Anchorage Lending
                                            transaction
Lee, Julian             10/4/2023     0.2   Correspond with Circle re: WRSS account reconciliation

Lee, Julian             10/4/2023     0.5   Review Silvergate production re: counterparty due diligence


Lee, Julian             10/4/2023     0.3   Summarize findings regarding anticipated monthly transactional
                                            activity compared to actual activity re: North Dimension account
Lee, Julian             10/4/2023     0.6   Call with J. Lee, E. Hoffer, A. Helal, A. Dobbs and B. Price (A&M) to
                                            discuss the summarized findings in Silvergate's Relativity repository
                                            for the purposes of filing potential claims as directed by QE
Lee, Julian             10/4/2023     1.4   Summarize findings regarding anticipated monthly transactional
                                            activity compared to actual activity re: Alameda Research Ltd
                                            account ending 4456
Lee, Julian             10/4/2023     0.3   Correspond with team re: summary findings on select Silvergate
                                            custodial accounts after review of Silvergate bank production
Lee, Julian             10/4/2023     0.8   Summarize findings regarding anticipated monthly transactional
                                            activity compared to actual activity re: Alameda Research Ltd
                                            account ending 4605
McGrath, Patrick        10/4/2023     0.9   Call with A. Canale, P. McGrath, M. Blanchard, M. Ebrey (A&M)
                                            regarding status of Cega Lender Summary Deck

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Avoidance Actions
Professional              Date     Hours    Activity
McGrath, Patrick       10/4/2023     1.3   Review transactions between the Debtors and CEGA at the request
                                           of counsel
McGrath, Patrick       10/4/2023     1.2   Review KYC documents for Mirana at the request of counsel


McGrath, Patrick       10/4/2023     0.4   Call with P. McGrath and K. Pestano (A&M) to discuss preferential
                                           withdrawals, KYC document changes and user setting changes for
                                           an S&C request
Medway, David          10/4/2023     1.3   Review and analyze McCaffrey document production at the request
                                           of counsel
Medway, David          10/4/2023     0.4   Communications with A&M team regarding professionals
                                           workstream status and strategy
Mosley, Ed             10/4/2023     1.9   Review of Ad Hoc Group proposal for preference policy framework

Mosley, Ed             10/4/2023     0.9   Review of and prepare comments to draft preference policy
                                           framework
Mosley, Ed             10/4/2023     0.1   Discussion with K.Ramanathan (A&M) regarding user exchange
                                           strategy
Mosley, Ed             10/4/2023     0.3   Discuss preference assumptions with S.Coverick (A&M)

Ramanathan, Kumanan    10/4/2023     0.5   Call with C. Arnett, K. Ramanathan, G. Walia (A&M), J. Croke (S&C)
                                           to discuss user exchange analysis
Ramanathan, Kumanan    10/4/2023     1.1   Call with G. Walia, K. Ramanathan (A&M) to discuss user exchange
                                           analysis presentation
Ramanathan, Kumanan    10/4/2023     1.6   Review of updated preference calculation model and timeline


Ramanathan, Kumanan    10/4/2023     1.3   Prepare updated user exchange analysis calculator structure

Ramanathan, Kumanan    10/4/2023     1.2   Prepare updated presentation slide on user exchange analysis

Ruez, William          10/4/2023     2.3   Review of documents related to Ashla International lending claim
                                           analysis
Ryan, Laureen          10/4/2023     0.7   Correspond with QE and A&M Team regarding updated analysis on
                                           avoidance claim matters
Ryan, Laureen          10/4/2023     0.3   Correspond with QE and A&M Team regarding Anchorage lending
                                           matters
Salas Nunez, Luis      10/4/2023     2.6   Summarize withdrawal data and generate insights for presentations

Salas Nunez, Luis      10/4/2023     2.9   Analyze withdrawal data for DOTCOM and FTX.US to identify trends


Salas Nunez, Luis      10/4/2023     3.1   Create visualizations and tables for aggregated withdrawal data

Shanahan, Michael      10/4/2023     0.3   Call with M. Shanahan, J. Cooper and D. Slay (A&M) re: discussion
                                           on potential avoidance action procedures
Shanahan, Michael      10/4/2023     0.5   Review documents and communications related to Tradestation
                                           accounts


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Professional                Date    Hours    Activity
Shanahan, Michael       10/4/2023     1.2   Review documents and memo regarding Stocktwits investments

Shanahan, Michael       10/4/2023     0.2   Communications to/from team regarding open bank requests


Shanahan, Michael       10/4/2023     1.3   Preliminary review of documents produced by Stocktwits

Shanahan, Michael       10/4/2023     0.3   Communications to/from team regarding Stocktwits

Slay, David             10/4/2023     0.3   Call with M. Shanahan, J. Cooper and D. Slay (A&M) re: discussion
                                            on potential avoidance action procedures
Sloan, Austin           10/4/2023     3.1   Perform bank statement reconciliation for Bank of Communications
                                            accounts in relation to cash database
Sloan, Austin           10/4/2023     3.1   Perform bank statement reconciliation for HSBC accounts in relation
                                            to cash database
Strong, Nichole         10/4/2023     0.1   Call with T. Gosau, N. Strong (A&M) regarding third party production
                                            related to venture book
Strong, Nichole         10/4/2023     0.2   Call with S. Hill (QE) and N. Strong (A&M) regarding claims against
                                            professionals
Walia, Gaurav           10/4/2023     2.4   Update the methodology of the underlying exchange activity analysis
                                            for the updated methodology provided by S&C
Walia, Gaurav           10/4/2023     1.1   Call with G. Walia, K. Ramanathan (A&M) to discuss user exchange
                                            analysis presentation
Walia, Gaurav           10/4/2023     2.3   Develop a template of the updated pricing and time period of the
                                            user exchange activity analysis
Walia, Gaurav           10/4/2023     2.2   Update the COM user exchange activity analysis for the updated
                                            look back period
Walia, Gaurav           10/4/2023     2.7   Update the US user exchange activity analysis for the updated look
                                            back period
Walia, Gaurav           10/4/2023     1.8   Prepare an updated output of the look back period support slide

Walia, Gaurav           10/4/2023     2.6   Review the updated data template from the data team and provide
                                            feedback
Walia, Gaurav           10/4/2023     1.2   Provide feedback on the look back period support analysis

Walia, Gaurav           10/4/2023     1.7   Update the underlying user exchange activity presentation

Blanchard, Madison      10/5/2023     3.1   Prepare Cega lending claim presentation relating to preference
                                            exposure and other possible causes of action
Blanchard, Madison      10/5/2023     1.9   Update Cega lending claim presentation relating to preference
                                            exposure and other possible causes of action
Blanchard, Madison      10/5/2023     0.4   Call with M. Blanchard, M. Ebrey (A&M) regarding Cega and
                                            Alameda early lending relationship
Blanchard, Madison      10/5/2023     0.2   Call with A. Canale, M. Blanchard (A&M) regarding updates required
                                            to Anchorage analysis




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Avoidance Actions
Professional                Date     Hours    Activity
Blanchard, Madison       10/5/2023     0.2   Call with M. Blanchard, M. Ebrey (A&M) regarding customer
                                             preference complaints
Blanchard, Madison       10/5/2023     1.7   Refresh Anchorage lending claim presentation for current
                                             methodologies
Blanchard, Madison       10/5/2023     0.3   Respond to customer exchange preference analysis request

Blanchard, Madison       10/5/2023     2.9   Continue to prepare Cega lending claim presentation relating to
                                             preference exposure and other possible causes of action
Canale, Alex             10/5/2023     0.2   Call with A. Canale, M. Blanchard (A&M) regarding updates required
                                             to Anchorage analysis
Canale, Alex             10/5/2023     0.5   Call with M. Shanahan, A. Canale (A&M) regarding professionals
                                             claims work plan
Canale, Alex             10/5/2023     0.4   Analysis of Fuel token flow of funds


Canale, Alex             10/5/2023     0.6   Review list of exchange customer preference accounts already
                                             analyzed
Canale, Alex             10/5/2023     0.3   Correspond with S&C and S&M teams regarding KYC information


Canale, Alex             10/5/2023     0.3   Review information regarding Mirana KYC status

Chan, Jon                10/5/2023     2.8   Query database to update new preference report with eastern
                                             standard time assumptions
Coverick, Steve          10/5/2023     1.4   Call with E. Mosley, S. Coverick, G. Walia, K. Ramanathan (A&M) to
                                             discuss user exchange analysis presentation
Coverick, Steve          10/5/2023     0.2   Call with S. Coverick, K. Ramanathan (A&M) to discuss exchange
                                             user analysis and period estimates
Cox, Allison             10/5/2023     2.6   Summarize facts in relation to third set of professional firms
                                             transaction data
Cox, Allison             10/5/2023     1.3   Review QuickBooks in relation to third set of professional firms
                                             transaction data
Cox, Allison             10/5/2023     1.4   Document review in relation to third set of professional firms
                                             transaction data
Dobbs, Aaron             10/5/2023     2.1   Target searches in the third party repository to assess KYC
                                             correspondence and documentation for Silvergate Bank
Dobbs, Aaron             10/5/2023     1.6   Target searches in the third party repository to assess account
                                             activity related to SGB 4605
Ebrey, Mason             10/5/2023     0.4   Call with M. Blanchard, M. Ebrey (A&M) regarding Cega and
                                             Alameda early lending relationship
Ebrey, Mason             10/5/2023     0.2   Call with M. Blanchard, M. Ebrey (A&M) regarding customer
                                             preference complaints
Ebrey, Mason             10/5/2023     1.3   Search for information regarding Cega and Alameda lending
                                             relationship
Ebrey, Mason             10/5/2023     2.9   Review MJMcCaffrey Holdings third-party produced documents




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Avoidance Actions
Professional                Date    Hours    Activity
Ebrey, Mason            10/5/2023     1.1   Review Stocktwits third-party produced documents

Flynn, Matthew          10/5/2023     0.9   Perform customer analysis request for S&C


Gosau, Tracy            10/5/2023     0.3   Review third party production re: Venture Books (Chipper Cash)

Gosau, Tracy            10/5/2023     0.4   Review third party production re: Venture Books (StockTwits)

Gosau, Tracy            10/5/2023     0.4   Review third party production re: Venture Books (McCaffrey)


Helal, Aly              10/5/2023     0.3   Call with A. Helal, W. Ruez (A&M) to discuss updates for Ashla
                                            International lending claim analysis
Helal, Aly              10/5/2023     1.8   Reconcile FTX Japan KK bank accounts for 2021


Hoffer, Emily           10/5/2023     2.1   Review Relativity documents for Ledger Prime Trade Station
                                            account statements
Hoffer, Emily           10/5/2023     0.9   Communicate with team to determine if LedgerPrime has been
                                            contacted about Trade Station accounts to answer FTX debtor
                                            questions
Hoffer, Emily           10/5/2023     1.2   Review updated account balance summary in the cash database for
                                            National Australian Bank to determine if the accounts reconcile
Hoffer, Emily           10/5/2023     1.1   Review Anchorage loan documents to determine if there were
                                            potential LedgerPrime accounts at Trade Station used for receiving
                                            the loan funds
Lee, Julian             10/5/2023     0.1   Correspond with S&C re: LedgerPrime accounts at Trade Station

McGrath, Patrick        10/5/2023     1.7   Review and respond to questions from counsel on ventures
                                            investments
McGrath, Patrick        10/5/2023     1.4   Review lending relationship between the Debtors and Cega

Medway, David           10/5/2023     0.7   Call with M. Shanahan and D. Medway (A&M) regarding
                                            professionals workstream status and strategy
Medway, David           10/5/2023     0.8   Prepare for call with QE regarding professionals workstream status
                                            and strategy
Medway, David           10/5/2023     0.3   Communications with A&M team regarding Alameda lender claims
                                            update
Mosley, Ed              10/5/2023     1.4   Discussion of user exchange data financial analysis with A&M
                                            (K.Ramanathan, S.Coverick, G.Walia)
Ramanathan, Kumanan     10/5/2023     1.4   Call with E. Mosley, S. Coverick, G. Walia, K. Ramanathan (A&M) to
                                            discuss user exchange analysis presentation
Ramanathan, Kumanan     10/5/2023     0.2   Call with S. Coverick, K. Ramanathan (A&M) to discuss exchange
                                            user analysis and period estimates
Ramanathan, Kumanan     10/5/2023     1.3   Review of historical withdrawal activity and provide comments to
                                            team
Ramanathan, Kumanan     10/5/2023     1.1   Prepare preference analysis effective rate calculation slide



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Avoidance Actions
Professional              Date    Hours    Activity
Ramanathan, Kumanan   10/5/2023     1.8   Review of user exchange analysis for net negative customers and
                                          provide feedback
Ruez, William         10/5/2023     0.3   Call with A. Helal, W. Ruez (A&M) to discuss updates for Ashla
                                          International lending claim analysis
Ryan, Laureen         10/5/2023     0.2   Correspond with QE and A&M Team regarding updates to Fuel
                                          Tokens analysis
Ryan, Laureen         10/5/2023     0.3   Correspond with A&M Team regarding customer preference analysis
                                          exclusions
Ryan, Laureen         10/5/2023     0.3   Correspond with QE and A&M Team regarding Neil Patel analysis


Ryan, Laureen         10/5/2023     0.1   Correspond with A&M Team regarding UCC request updates

Salas Nunez, Luis     10/5/2023     3.2   Analyze withdrawal data during specific days of interest to identify
                                          trends
Salas Nunez, Luis     10/5/2023     2.2   Analyze net withdrawal trends for a 30-day period before site
                                          collapse
Salas Nunez, Luis     10/5/2023     0.9   Summarize withdrawal and deposit data based on latest insights


Salas Nunez, Luis     10/5/2023     3.2   Analyze withdrawal data based on customer type

Shanahan, Michael     10/5/2023     0.7   Call with M. Shanahan and D. Medway (A&M) regarding
                                          professionals workstream status and strategy
Shanahan, Michael     10/5/2023     0.5   Call with M. Shanahan, A. Canale (A&M) regarding professionals
                                          claims work plan
Shanahan, Michael     10/5/2023     0.5   Review summary of procedures for professionals document review
                                          workstream
Shanahan, Michael     10/5/2023     0.2   Communications to/from counsel regarding professionals workstream


Shanahan, Michael     10/5/2023     0.2   Review updated PMO slides for meeting

Shanahan, Michael     10/5/2023     0.2   Review communications to/from Circle regarding productions


Shanahan, Michael     10/5/2023     1.1   Preliminary review of Silvergate account analysis

Shanahan, Michael     10/5/2023     0.4   Review document review status for professionals workstream

Shanahan, Michael     10/5/2023     1.6   Review documents related to Prager Metis claims


Shanahan, Michael     10/5/2023     1.2   Review documents related to Armanino claims

Sloan, Austin         10/5/2023     1.5   Process additional Australia National Bank statements in Valid8 in
                                          relation to cash database
Walia, Gaurav         10/5/2023     1.4   Call with E. Mosley, S. Coverick, G. Walia, K. Ramanathan (A&M) to
                                          discuss user exchange analysis presentation




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Avoidance Actions
Professional              Date    Hours    Activity
Walia, Gaurav         10/5/2023     1.8   Prepare an updated analysis comparing the proposed preference
                                          policy to no preference policy
Walia, Gaurav         10/5/2023     2.2   Prepare a summary of certain user exchange activity identified by
                                          S&C
Walia, Gaurav         10/5/2023     2.4   Update the 8-day look back period presentation based on feedback

Walia, Gaurav         10/5/2023     2.8   Update the 11-day look back period presentation based on feedback

Walia, Gaurav         10/5/2023     1.9   Prepare an updated customer count template


Arnett, Chris         10/6/2023     1.1   Canvas database for background info re: potential avoidance action
                                          candidate as directed by S&C
Arnett, Chris         10/6/2023     0.6   Coordinate analysis of Three Arrows Capital transactions as directed
                                          by B. Harsh (S&C)
Blanchard, Madison    10/6/2023     0.7   Call with A. Canale, P. McGrath, M. Blanchard, M. Ebrey (A&M)
                                          regarding updates made to Cega Lender Summary Deck
Blanchard, Madison    10/6/2023     2.6   Prepare updates to Cega lending claim findings to be shared with
                                          Counsel (S&C)
Blanchard, Madison    10/6/2023     1.4   Continue to refresh Anchorage lending claim presentation for current
                                          methodologies
Blanchard, Madison    10/6/2023     0.9   Continue to update to Cega lending claim findings to be shared with
                                          Counsel (S&C)
Blanchard, Madison    10/6/2023     2.7   Refresh Anchorage lending claim presentation for current
                                          methodologies
Canale, Alex          10/6/2023     0.5   Call with M. Shanahan, A. Canale, and D. Medway (A&M) regarding
                                          professionals workstream status and strategy
Canale, Alex          10/6/2023     0.7   Call with A. Canale, P. McGrath, M. Blanchard, M. Ebrey (A&M)
                                          regarding updates made to Cega Lender Summary Deck
Canale, Alex          10/6/2023     1.4   Continue review and edit Cega lender claim deck and documents
                                          related thereto
Canale, Alex          10/6/2023     1.4   Analysis of documents regarding Neil Patel and affiliated entities


Canale, Alex          10/6/2023     0.9   Correspond with S&C and A&M team regarding Three Arrows Capital

Canale, Alex          10/6/2023     2.1   Review and edit Cega lender claim deck and documents related
                                          thereto
Canale, Alex          10/6/2023     0.4   Review QE memorandum regarding I'm Kind of a Big Deal


Canale, Alex          10/6/2023     0.7   Correspond with A&M team regarding Cega deck

Canale, Alex          10/6/2023     0.6   Call with M. Shanahan, A. Canale, N. Strong and D. Medway (A&M)
                                          regarding professionals workstream status and strategy
Canale, Alex          10/6/2023     0.6   Call with A. Alden, J. Young, S. Hill, and M. Lev (QE) and M.
                                          Shanahan, A. Canale, N. Strong and D. Medway (A&M) regarding
                                          professionals workstream status and strategy


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Avoidance Actions
Professional                 Date    Hours    Activity
Chan, Jon                10/6/2023     2.8   Investigate additional changes for the preference analysis for
                                             internal A&M request
Coverick, Steve          10/6/2023     0.2   Call with S. Coverick, K. Ramanathan (A&M) to discuss revisions to
                                             user exchange analysis presentation
Coverick, Steve          10/6/2023     1.8   Review and provide comments on revised exchange preference
                                             analysis materials for creditor meeting
Cox, Allison             10/6/2023     2.8   Summarize facts in relation to fourth set of professional firms
                                             transaction data
Cox, Allison             10/6/2023     2.2   Document review in relation to fourth set of professional firms
                                             transaction data
Cox, Allison             10/6/2023     1.3   Review QuickBooks in relation to fourth set of professional firms
                                             transaction data
Dobbs, Aaron             10/6/2023     2.2   Target searches for Tomochain wallet address to assess potential
                                             customer preference exposure
Ebrey, Mason             10/6/2023     0.7   Call with A. Canale, P. McGrath, M. Blanchard, M. Ebrey (A&M)
                                             regarding updates made to Cega Lender Summary Deck
Ebrey, Mason             10/6/2023     0.2   Call with T. Gosau, M. Ebrey (A&M) regarding production of 2004
                                             requests sent
Ebrey, Mason             10/6/2023     3.1   Review Stocktwits third-party produced documents

Ebrey, Mason             10/6/2023     1.6   Update Loan History Tables for Cega Lending Relationship

Gosau, Tracy             10/6/2023     0.2   Call with T. Gosau, M. Ebrey (A&M) regarding production of 2004
                                             requests sent
Gosau, Tracy             10/6/2023     0.3   Review third party production re: Venture Books (Chipper Cash)

Gosau, Tracy             10/6/2023     0.3   Review third party production re: Venture Books (McCaffrey)


Hoffer, Emily            10/6/2023     2.8   Review relativity for any additional entities associated with Neil Patel
                                             that received payment from FTX debtors
Hoffer, Emily            10/6/2023     1.1   Determine purpose of Blockfolio for understanding of Neil Patel role
                                             with the company
Hoffer, Emily            10/6/2023     0.3   Call with E. Hoffer and B. Price (A&M) to discuss Neil Patel's
                                             employment at Blockfolio
Hoffer, Emily            10/6/2023     0.9   Document HSBC statements in bank statement tracker for use in
                                             the cash database
Hoffer, Emily            10/6/2023     3.1   Compile individual analysis of funds received by Neil Patel for
                                             counsel
Johnson, Robert          10/6/2023     0.7   Integrate additional national Australia bank data into Metabase
                                             tables for additional analysis and reporting
Johnson, Robert          10/6/2023     0.6   Validate and correct data in bank statement master table for
                                             Metabase for downstream analysis
Lee, Julian              10/6/2023     0.1   Correspond with S&C re: LedgerPrime accounts at Trade Station




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Avoidance Actions
Professional               Date     Hours    Activity
Lee, Julian             10/6/2023     0.2   Correspond with team regarding updated bank account tracker

McGrath, Patrick        10/6/2023     0.7   Call with A. Canale, P. McGrath, M. Blanchard, M. Ebrey (A&M)
                                            regarding updates made to Cega Lender Summary Deck
McGrath, Patrick        10/6/2023     1.1   Analyze lending relationship between the Debtors and Cega

Medway, David           10/6/2023     0.5   Call with M. Shanahan, A. Canale, and D. Medway (A&M) regarding
                                            professionals workstream status and strategy
Medway, David           10/6/2023     0.6   Call with M. Shanahan, A. Canale, N. Strong and D. Medway (A&M)
                                            regarding professionals workstream status and strategy
Medway, David           10/6/2023     0.7   Call with M. Shanahan and D. Medway (A&M) regarding
                                            professionals workstream status and strategy
Medway, David           10/6/2023     0.6   Call with A. Alden, J. Young, S. Hill, and M. Lev (QE) and M.
                                            Shanahan, A. Canale, N. Strong and D. Medway (A&M) regarding
                                            professionals workstream status and strategy
Mosley, Ed              10/6/2023     0.2   Discussion with J.Ray (FTX) regarding preference presentation for
                                            creditor meeting
Mosley, Ed              10/6/2023     0.8   Review and provide comments to draft preference sensitivity table

Price, Breanna          10/6/2023     2.9   Add Salameda statements to the bank statement tracker for the
                                            purposes of being added to the cash database
Price, Breanna          10/6/2023     2.6   Continue adding Salameda statements to the bank statement
                                            tracker for the purposes of being added to the cash database
Price, Breanna          10/6/2023     0.3   Call with E. Hoffer and B. Price (A&M) to discuss Neil Patel's
                                            employment at Blockfolio
Ramanathan, Kumanan     10/6/2023     0.2   Call with S. Coverick, K. Ramanathan (A&M) to discuss revisions to
                                            user exchange analysis presentation
Ramanathan, Kumanan     10/6/2023     1.7   Develop preference settlement illustrative schedule and distribute to
                                            team for feedback
Ramanathan, Kumanan     10/6/2023     2.3   Review of user withdrawal activity analysis and provide feedback


Ramanathan, Kumanan     10/6/2023     1.7   Review user exchange analysis for 11-day period and provide
                                            comments
Ramanathan, Kumanan     10/6/2023     1.9   Review of final user exchange analysis presentation for 9-day period


Ramanathan, Kumanan     10/6/2023     1.4   Revise sensitivity analysis schedule for user exchange calculations

Ramanathan, Kumanan     10/6/2023     0.3   Review and correspond to counsel re: user exchange analysis


Ramanathan, Kumanan     10/6/2023     1.1   Call with G. Walia, K. Ramanathan (A&M) to discuss user exchange
                                            analysis updates
Ruez, William           10/6/2023     1.1   Review of loan agreement between Ashla International and Alameda
                                            regarding lender analysis
Ryan, Laureen           10/6/2023     0.6   Correspond with A&M team regarding data and analysis related to
                                            three arrows investigation


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Avoidance Actions
Professional            Date     Hours    Activity
Ryan, Laureen        10/6/2023     0.2   Correspond with S&C and A&M team regarding FTX and Alameda
                                         lender settlement
Ryan, Laureen        10/6/2023     0.1   Correspond with S&C, FTX and A&M team regarding bank tracker
                                         activities
Ryan, Laureen        10/6/2023     0.7   Correspond with S&C and A&M team regarding three arrows
                                         investigation
Salas Nunez, Luis    10/6/2023     2.1   Create visualizations and adjusted presentation charts for withdrawal
                                         activity
Salas Nunez, Luis    10/6/2023     3.1   Analyze detailed transactional data during 2022 for top accounts


Salas Nunez, Luis    10/6/2023     2.9   Compare withdrawal trends for institutional vs individual accounts

Salas Nunez, Luis    10/6/2023     2.9   Analyze withdrawal data on a per customer basis


Shanahan, Michael    10/6/2023     0.6   Call with M. Shanahan, A. Canale, N. Strong and D. Medway (A&M)
                                         regarding professionals workstream status and strategy
Shanahan, Michael    10/6/2023     0.5   Call with M. Shanahan, A. Canale, and D. Medway (A&M) regarding
                                         professionals workstream status and strategy
Shanahan, Michael    10/6/2023     0.3   Review documents in preparation for call with counsel regarding
                                         professionals workstream
Shanahan, Michael    10/6/2023     0.7   Call with M. Shanahan and D. Medway (A&M) regarding
                                         professionals workstream status and strategy
Shanahan, Michael    10/6/2023     0.5   Review memo regarding Patel and Big Deal claims


Shanahan, Michael    10/6/2023     1.4   Review additional documents produced by Prager Metis

Shanahan, Michael    10/6/2023     1.3   Review updated professionals exhibit summarizing payments


Shanahan, Michael    10/6/2023     0.6   Call with A. Alden, J. Young, S. Hill, and M. Lev (QE) and M.
                                         Shanahan, A. Canale, N. Strong and D. Medway (A&M) regarding
                                         professionals workstream status and strategy
Sloan, Austin        10/6/2023     2.8   Perform bank statement reconciliation for Australia National Bank
                                         accounts in relation to cash database
Sloan, Austin        10/6/2023     1.9   Create statement detail load file for additional Australia National
                                         Bank accounts in relation to the cash database
Strong, Nichole      10/6/2023     0.6   Correspondence with A&M Team regarding status of requests from
                                         counsel related to Professionals workstream
Strong, Nichole      10/6/2023     0.5   Correspondence with A&M Team regarding status of ongoing
                                         requests related to the Professionals workstream
Strong, Nichole      10/6/2023     0.6   Call with M. Shanahan, A. Canale, N. Strong and D. Medway (A&M)
                                         regarding professionals workstream status and strategy
Strong, Nichole      10/6/2023     1.9   Review payment summary analysis for Corporate & Trust Services /
                                         Thomas John as requested by counsel
Strong, Nichole      10/6/2023     0.4   Perform targeted reviews in Relativity for counsel's 2004 Production
                                         Requests to Professionals


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Professional             Date     Hours    Activity
Strong, Nichole       10/6/2023     1.2   Internal communications regarding summary of payments to
                                          Fenwick & West
Strong, Nichole       10/6/2023     1.1   Review payment summary analysis for Fenwick & West as
                                          requested by counsel
Strong, Nichole       10/6/2023     0.6   Call with A. Alden, J. Young, S. Hill, and M. Lev (QE) and M.
                                          Shanahan, A. Canale, N. Strong and D. Medway (A&M) regarding
                                          professionals workstream status and strategy
Walia, Gaurav         10/6/2023     2.2   Prepare a sensitivity analysis for several different scenarios of the
                                          user exchange activity analysis for US
Walia, Gaurav         10/6/2023     2.9   Prepare a sensitivity analysis for several different scenarios of the
                                          user exchange activity analysis for COM
Walia, Gaurav         10/6/2023     2.8   Update the user exchange activity analysis for COM based on the
                                          latest recovery estimates
Walia, Gaurav         10/6/2023     2.5   Update the user exchange activity analysis for US based on the
                                          latest recovery estimates
Walia, Gaurav         10/6/2023     1.6   Review the latest look back period rationale and provide feedback


Wilson, David         10/6/2023     1.9   Quality review subsequent advance calculations for user analytics
                                          report for S&C request for 80 individuals
Wilson, David         10/6/2023     1.6   Complete user analytics report for S&C request with 80 individuals
                                          using subsequent advance method in 90 day and 15 day window
Arnett, Chris         10/7/2023     2.3   Review counterparty transaction documents for use in potential
                                          avoidance action analysis
Arnett, Chris         10/7/2023     0.2   Call with C. Arnett, A. Canale (A&M) and B. Harsch (S&C) regarding
                                          Three Arrows Capital
Arnett, Chris         10/7/2023     0.4   Review filed claims of potential avoidance action candidate for use
                                          in analysis of same
Arnett, Chris         10/7/2023     0.3   Review counterparty contract with FTX for use in potential avoidance
                                          action analysis
Arnett, Chris         10/7/2023     0.1   Call with C. Arnett, A. Canale (A&M) regarding Three Arrows Capital


Arnett, Chris         10/7/2023     1.7   Review and comment on Three Arrows Capital materials for
                                          presentation
Arnett, Chris         10/7/2023     0.5   Call with C. Arnett, A. Canale, P. McGrath, K. Baker (A&M) and B.
                                          Glueckstein, B. Harsch, K. Setren, B. Beller, A. Zahn (S&C)
                                          regarding Three Arrows Capital
Baker, Kevin          10/7/2023     0.5   Call with C. Arnett, A. Canale, P. McGrath, K. Baker (A&M) and B.
                                          Glueckstein, B. Harsch, K. Setren, B. Beller, A. Zahn (S&C)
                                          regarding Three Arrows Capital
Blanchard, Madison    10/7/2023     0.7   Discussion with McGrath, M. Blanchard, A. Helal (A&M) regarding
                                          Three Arrows Capital exchange analysis
Blanchard, Madison    10/7/2023     1.1   Discussion with A. Canale, P. McGrath, M. Blanchard, A. Helal
                                          (A&M) regarding Three Arrows Capital exchange analysis
Blanchard, Madison    10/7/2023     1.5   Review and analysis of data and correspondence relating to Three
                                          Arrows Capital



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Avoidance Actions
Professional              Date     Hours    Activity
Canale, Alex           10/7/2023     1.1   Discussion with A. Canale, P. McGrath, M. Blanchard, A. Helal
                                           (A&M) regarding Three Arrows Capital exchange analysis
Canale, Alex           10/7/2023     0.2   Call with C. Arnett, A. Canale, and P. McGrath regarding Three
                                           Arrows Capital exchange activity
Canale, Alex           10/7/2023     0.2   Call with C. Arnett, A. Canale (A&M) and B. Harsch (S&C) regarding
                                           Three Arrows Capital
Canale, Alex           10/7/2023     0.6   Call with A. Canale, P. McGrath, P. Kwan (A&M) regarding
                                           liquidation of exchange balances
Canale, Alex           10/7/2023     0.4   Call with A. Canale, and P. McGrath regarding Three Arrows Capital
                                           exchange activity
Canale, Alex           10/7/2023     0.8   Prepare summary of findings with respect to Three Arrows Capital

Canale, Alex           10/7/2023     2.2   Review exchange data relating to Three Arrows Capital line of credit


Canale, Alex           10/7/2023     0.2   Review document relating to Three Arrows Capital line of credit

Canale, Alex           10/7/2023     0.1   Call with C. Arnett, A. Canale (A&M) regarding Three Arrows Capital


Canale, Alex           10/7/2023     0.5   Call with C. Arnett, A. Canale, P. McGrath, K. Baker (A&M) and B.
                                           Glueckstein, B. Harsch, K. Setren, B. Beller, A. Zahn (S&C)
                                           regarding Three Arrows Capital
Coverick, Steve        10/7/2023     0.6   Call with S. Coverick, K. Ramanathan (A&M) to discuss new
                                           illustrative tear sheet on user exchange analysis
Coverick, Steve        10/7/2023     1.6   Review and provide comments on revised preference analysis
                                           materials for creditor meeting
Coverick, Steve        10/7/2023     0.2   Call with J. Ray (FTX) to discuss impacts of potential exchange
                                           preference scenarios
Ebrey, Mason           10/7/2023     1.6   Search in Relativity for information related to debtors issuance of
                                           line of credit to 3 Arrows Capital
Ebrey, Mason           10/7/2023     0.3   Call with P. McGrath, M. Ebrey (A&M) regarding Three Arrows
                                           Capital exchange activity
Helal, Aly             10/7/2023     1.1   Discussion with A. Canale, P. McGrath, M. Blanchard, A. Helal
                                           (A&M) regarding Three Arrows Capital exchange analysis
Helal, Aly             10/7/2023     0.7   Discussion with P. McGrath, M. Blanchard, A. Helal (A&M) regarding
                                           Three Arrows Capital exchange analysis
Helal, Aly             10/7/2023     2.9   Search for documents relating to the lending relationship between
                                           debtors and Three Arrow Capital
Helal, Aly             10/7/2023     2.8   Analyze exchange activity of Three Arrow Capital crypto transactions


McGrath, Patrick       10/7/2023     0.7   Discussion with P. McGrath, M. Blanchard, A. Helal (A&M) regarding
                                           Three Arrows Capital exchange analysis
McGrath, Patrick       10/7/2023     1.1   Discussion with A. Canale, P. McGrath, M. Blanchard, A. Helal
                                           (A&M) regarding Three Arrows Capital exchange analysis
McGrath, Patrick       10/7/2023     0.6   Call with A. Canale, P. McGrath, P. Kwan (A&M) regarding
                                           liquidation of exchange balances


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Avoidance Actions
Professional              Date     Hours    Activity
McGrath, Patrick       10/7/2023     0.2   Call with C. Arnett, A. Canale, and P. McGrath regarding Three
                                           Arrows Capital exchange activity
McGrath, Patrick       10/7/2023     0.3   Call with P. McGrath, M. Ebrey (A&M) regarding Three Arrows
                                           Capital exchange activity
McGrath, Patrick       10/7/2023     0.4   Call with A. Canale, and P. McGrath regarding Three Arrows Capital
                                           exchange activity
McGrath, Patrick       10/7/2023     1.4   Review Three Arrows Capital fills exchange activity

McGrath, Patrick       10/7/2023     2.8   Analyze Three Arrows Capital exchange activity


McGrath, Patrick       10/7/2023     0.5   Call with C. Arnett, A. Canale, P. McGrath, K. Baker (A&M) and B.
                                           Glueckstein, B. Harsch, K. Setren, B. Beller, A. Zahn (S&C)
                                           regarding Three Arrows Capital
Mosley, Ed             10/7/2023     1.4   Review of and provide comments to preference scenario
                                           presentation for upcoming creditor meetings
Ramanathan, Kumanan    10/7/2023     0.6   Call with S. Coverick, K. Ramanathan (A&M) to discuss new
                                           illustrative tear sheet on user exchange analysis
Ramanathan, Kumanan    10/7/2023     1.6   Develop new tear sheet for user exchange analysis for recovery
                                           assets comparable
Ramanathan, Kumanan    10/7/2023     0.9   Revise final preference analysis presentations


Ryan, Laureen          10/7/2023     0.4   Correspond with A&M team regarding updated data and documents
                                           related to three arrows investigation
Ryan, Laureen          10/7/2023     0.6   Correspond with S&C and A&M team regarding updated findings on
                                           the three arrows investigation
Walia, Gaurav          10/7/2023     1.6   Update the user exchange activity analysis for feedback from S&C

Walia, Gaurav          10/7/2023     0.8   Review the updated plan deck and provide feedback

Arnett, Chris          10/8/2023     2.2   Continue to review and comment on loan counterparty investigation
                                           materials
Arnett, Chris          10/8/2023     0.8   Review and comment on loan counterparty investigation draft
                                           memorandum
Baker, Kevin           10/8/2023     0.8   Call with M. Flynn, G. Walia, K. Baker (A&M) to discuss customer
                                           analytics data request
Blanchard, Madison     10/8/2023     2.8   Continue to review and analyze data and correspondence relating to
                                           Three Arrows Capital
Blanchard, Madison     10/8/2023     2.7   Review and analysis of data and correspondence relating to Three
                                           Arrows Capital
Blanchard, Madison     10/8/2023     1.3   Discussion with A. Canale, E. Hoffer, P. McGrath, M. Blanchard, and
                                           A. Helal (A&M) regarding Three Arrows Capital exchange analysis
                                           update
Canale, Alex           10/8/2023     2.7   Prepare memorandum summarizing findings regarding 3AC
                                           exchange activity




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Avoidance Actions
Professional              Date     Hours    Activity
Canale, Alex           10/8/2023     1.3   Discussion with A. Canale, E. Hoffer, P. McGrath, M. Blanchard, and
                                           A. Helal (A&M) regarding Three Arrows Capital exchange analysis
                                           update
Ebrey, Mason           10/8/2023     0.8   Search in Relativity for information related to debtors issuance of
                                           line of credit to 3 Arrows Capital
Flynn, Matthew         10/8/2023     0.8   Discussion with G. Walia, M. Flynn, and D. Sagen (A&M) regarding
                                           user analytics summary requested by counsel
Flynn, Matthew         10/8/2023     0.8   Call with M. Flynn, G. Walia, K. Baker (A&M) to discuss customer
                                           analytics data request
Flynn, Matthew         10/8/2023     0.2   Call with M. Flynn, G. Walia, K. Ramanathan (A&M) to discuss
                                           customer analytics output
Flynn, Matthew         10/8/2023     0.5   Call with M. Flynn, G. Walia (A&M) to discuss customer analytics
                                           output for S&C
Flynn, Matthew         10/8/2023     0.6   Call with M. Flynn and D. Sagen (A&M) to discuss user analytics
                                           summary
Flynn, Matthew         10/8/2023     2.6   Create customer analytics summaries for S&C


Flynn, Matthew         10/8/2023     2.9   Create customer analytics individual tear sheets for S&C

Flynn, Matthew         10/8/2023     0.8   Update customer analytics summaries based on comments


Helal, Aly             10/8/2023     2.4   Analyze Cash payments through Signet and Silvergate to Three
                                           Arrows Capital as part of lending claim analysis
Helal, Aly             10/8/2023     2.3   Search for Liquidators communication with FTX for Three Arrows
                                           Capital FTX Exchange Account
Helal, Aly             10/8/2023     1.1   Review Slack channel communication regarding Three Arrows
                                           Capital
Helal, Aly             10/8/2023     1.3   Discussion with A. Canale, E. Hoffer, P. McGrath, M. Blanchard, and
                                           A. Helal (A&M) regarding Three Arrows Capital exchange analysis
                                           update
Hoffer, Emily          10/8/2023     1.3   Call with A. Canale, E. Hoffer, P. McGrath, M. Blanchard, and A.
                                           Helal (A&M) regarding Three Arrows Capital exchange analysis
                                           update
McGrath, Patrick       10/8/2023     2.4   Analyze transaction information and exchange activity for 3AC


McGrath, Patrick       10/8/2023     2.1   Review and analyze 3AC exchange account activity

McGrath, Patrick       10/8/2023     1.3   Call with A. Canale, E. Hoffer, P. McGrath, M. Blanchard, and A.
                                           Helal (A&M) regarding Three Arrows Capital exchange analysis
                                           update
Mosley, Ed             10/8/2023     1.1   Review of and provide comments to 10/8 updated preference
                                           scenario presentation for upcoming creditor meetings
Mosley, Ed             10/8/2023     1.0   Discuss preference data and potential scenarios with FTI (M.Diaz,
                                           B.Bromberg, others) and A&M (S.Coverick, K.Ramanathan, G.Walia)
Ramanathan, Kumanan    10/8/2023     0.2   Call with M. Flynn, G. Walia, K. Ramanathan (A&M) to discuss
                                           customer analytics output


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Professional              Date    Hours    Activity
Ramanathan, Kumanan   10/8/2023     2.2   Review of updated user exchange analysis daily activity to determine
                                          period for model
Ramanathan, Kumanan   10/8/2023     1.2   Prepare illustrative user exchange analysis waterfall schedule


Ryan, Laureen         10/8/2023     0.8   Correspond with S&C and A&M team regarding document
                                          observations related to three arrows investigation
Ryan, Laureen         10/8/2023     0.2   Correspond with A&M team regarding inquiries on excluded
                                          customer exchange accounts
Sagen, Daniel         10/8/2023     0.8   Discussion with G. Walia, M. Flynn, and D. Sagen (A&M) regarding
                                          user analytics summary requested by counsel
Sagen, Daniel         10/8/2023     0.6   Call with M. Flynn and D. Sagen (A&M) to discuss user analytics
                                          summary
Sagen, Daniel         10/8/2023     1.8   Prepare analysis for user metric summary requested from counsel


Walia, Gaurav         10/8/2023     0.8   Discussion with G. Walia, M. Flynn, and D. Sagen (A&M) regarding
                                          user analytics summary requested by counsel
Walia, Gaurav         10/8/2023     2.3   Review the template of the preference exposure analysis for certain
                                          committee members and provide feedback
Walia, Gaurav         10/8/2023     2.8   Reconcile the preference exposure analysis for certain committee
                                          members to the broader preference models
Walia, Gaurav         10/8/2023     0.8   Call with M. Flynn, G. Walia, K. Baker (A&M) to discuss customer
                                          analytics data request
Walia, Gaurav         10/8/2023     2.4   Prepare a distributable version of the preference data to share with
                                          the UCC and AHC members
Walia, Gaurav         10/8/2023     2.7   Update the COM and US user exchange activity analysis based on
                                          updated pricing assumptions
Walia, Gaurav         10/8/2023     0.2   Call with M. Flynn, G. Walia, K. Ramanathan (A&M) to discuss
                                          customer analytics output
Walia, Gaurav         10/8/2023     2.8   Prepare an updated sensitivity analysis for the COM user exchange
                                          activity analysis
Walia, Gaurav         10/8/2023     0.6   Prepare a data request for preference exposure for certain
                                          committee members
Walia, Gaurav         10/8/2023     0.5   Call with M. Flynn, G. Walia (A&M) to discuss customer analytics
                                          output for S&C
Walia, Gaurav         10/8/2023     2.2   Update the preference exposure summaries for various committee
                                          members
Walia, Gaurav         10/8/2023     1.7   Update the preference summary deck based on the latest pricing
                                          assumptions
Walia, Gaurav         10/8/2023     0.8   Prepare an updated summary sheet for the creditor meeting

Arnett, Chris         10/9/2023     0.4   Prepare for call with S&C and A&M re: loan counterparty
                                          investigation
Arnett, Chris         10/9/2023     0.6   Review and comment on revised Three Arrows Capital analysis




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Professional             Date     Hours    Activity
Arnett, Chris         10/9/2023     0.2   Call with A. Canale, C. Arnett, K. Baker (A&M) and B. Harsch, K.
                                          Setren, L. Wang, A. Zahn (S&C) regarding Three Arrows Capital
                                          findings
Baker, Kevin          10/9/2023     0.8   Call with M. Flynn, K. Baker, D. Wilson (A&M) to discuss updated
                                          preference calculations
Baker, Kevin          10/9/2023     1.0   Call with A. Canale, P. McGrath, P. Kwan, K. Baker, M. Blanchard
                                          (A&M) and N. Molina (FTX) regarding lines of credit, liquidations on
                                          exchange, and exchange data
Baker, Kevin          10/9/2023     0.2   Call with A. Canale, P. McGrath, K. Baker (A&M) and B. Harsch, K.
                                          Setren, L. Wang, A. Zahn (S&C) regarding Three Arrows Capital
                                          findings
Blanchard, Madison    10/9/2023     0.4   Call with A. Canale and M. Blanchard (A&M) relating to updates to
                                          Anchorage Lending claim analysis
Blanchard, Madison    10/9/2023     2.3   Prepare updates to lending claim analysis memo following updates
                                          received from FTX developer
Blanchard, Madison    10/9/2023     1.2   Prepare updates to lending claim analysis memo to incorporate
                                          feedback
Blanchard, Madison    10/9/2023     1.0   Call with A. Canale, P. McGrath, P. Kwan, K. Baker, M. Blanchard
                                          (A&M) and N. Molina (FTX) regarding lines of credit, liquidations on
                                          exchange, and exchange data
Blanchard, Madison    10/9/2023     2.7   Prepare updates to Anchorage lending claim analysis using
                                          refreshed data and methodologies
Blanchard, Madison    10/9/2023     0.5   Call with A. Canale, P. McGrath, E. Hoffer, A. Helal, M. Blanchard
                                          (A&M) preparation for call re: Three Arrows Capital
Blanchard, Madison    10/9/2023     1.4   Continue to update Anchorage lending claim analysis using
                                          refreshed data and methodologies
Broskay, Cole         10/9/2023     0.2   Provide commentary on select support documents to case summary
                                          binder team
Broskay, Cole         10/9/2023     1.3   Review documents listed for expert witness case summary binder

Canale, Alex          10/9/2023     0.4   Call with A. Canale and M. Blanchard (A&M) relating to updates to
                                          Anchorage Lending claim analysis
Canale, Alex          10/9/2023     1.0   Call with M. Shanahan, A. Canale (A&M) regarding work plan for
                                          professionals work stream
Canale, Alex          10/9/2023     1.0   Call with A. Canale, P. McGrath (A&M) regarding Three Arrows
                                          exchange account analysis
Canale, Alex          10/9/2023     0.8   Call with A. Canale, P. McGrath (A&M) E. Kapur, Z. Muller (QE)
                                          regarding Fuel tokens
Canale, Alex          10/9/2023     0.3   Call with A. Helal, W. Ruez, A. Canale (A&M) regarding Ashla
                                          lending analysis
Canale, Alex          10/9/2023     1.8   Analysis of Three Arrows Capital line of credit and liquidation status

Canale, Alex          10/9/2023     0.5   Correspond with A&M team regarding analysis of Three Arrows
                                          exchange data
Canale, Alex          10/9/2023     0.9   Prepare questions for FTX developers regarding Three Arrows
                                          Capital


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Avoidance Actions
Professional                Date     Hours    Activity
Canale, Alex             10/9/2023     0.2   Call with A. Canale, P. McGrath, K. Baker (A&M) and B. Harsch, K.
                                             Setren, L. Wang, A. Zahn (S&C) regarding Three Arrows Capital
                                             findings
Canale, Alex             10/9/2023     1.0   Call with A. Canale, P. McGrath, P. Kwan, K. Baker, M. Blanchard
                                             (A&M) and N. Molina (FTX) regarding lines of credit, liquidations on
                                             exchange, and exchange data
Canale, Alex             10/9/2023     0.5   Call with A. Canale, P. McGrath, E. Hoffer, A. Helal, M. Blanchard
                                             (A&M) preparation for call re: Three Arrows Capital
Canale, Alex             10/9/2023     0.2   Call with A. Canale, C. Arnett, K. Baker (A&M) and B. Harsch, K.
                                             Setren, L. Wang, A. Zahn (S&C) regarding Three Arrows Capital
                                             findings
Canale, Alex             10/9/2023     0.2   Call with A. Canale, P. McGrath (A&M) and B. Harsch, K. Setren, L.
                                             Wang, A. Zahn (S&C) regarding Three Arrows Capital line of credit
Coverick, Steve          10/9/2023     1.2   Review and provide comments on revised draft of preference
                                             analysis with further adjustments from AHC feedback
Coverick, Steve          10/9/2023     1.7   Review and provide comments on update to preference analysis re:
                                             pricing changes
Coverick, Steve          10/9/2023     1.0   Call with B. Mendelsohn, K. Cofsky, M. Rahmani, K. Flinn, R. Moon
                                             (PWP), E. Mosley, S. Coverick, K. Ramanathan, H. Trent (A&M) to
                                             discuss preferences and plan recoveries
Cox, Allison             10/9/2023     2.8   Review QuickBooks data relation to list two professional firms


Cox, Allison             10/9/2023     2.9   Update tier one professional firms summary

Cox, Allison             10/9/2023     2.7   Document review in relation to list two professional firms


Dobbs, Aaron             10/9/2023     0.8   Target searches within third party repository to assess Stocktwits
                                             production related to Venture Book activity
Dobbs, Aaron             10/9/2023     1.9   Continue to create document index for Stocktwits production within
                                             the third party repository
Dobbs, Aaron             10/9/2023     3.1   Create document index for Stocktwits production within the third
                                             party repository
Dobbs, Aaron             10/9/2023     1.1   Target searches within third party repository to assess Venture Book
                                             production
Dobbs, Aaron             10/9/2023     1.6   Prepare timeline of Tomochain lending transactions


Flynn, Matthew           10/9/2023     0.8   Call with M. Flynn, K. Baker, D. Wilson (A&M) to discuss updated
                                             preference calculations
Flynn, Matthew           10/9/2023     0.9   Coordinate and review data for UCC customer account information
                                             request
Flynn, Matthew           10/9/2023     2.8   Update customer analytics tear sheets based on comments

Flynn, Matthew           10/9/2023     0.8   Coordinate and review data for Ad Hoc member request

Flynn, Matthew           10/9/2023     2.1   Create updated customer preference tear sheet and summaries



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Avoidance Actions
Professional               Date     Hours    Activity
Helal, Aly              10/9/2023     0.5   Call with A. Canale, P. McGrath, E. Hoffer, A. Helal, M. Blanchard
                                            (A&M) preparation for call re: Three Arrows Capital
Helal, Aly              10/9/2023     0.3   Call with A. Helal, W. Ruez, A. Canale (A&M) regarding Ashla
                                            lending analysis
Helal, Aly              10/9/2023     0.9   Reconcile cash transactions of Three Arrows Capital to the FTX
                                            Exchange Account
Helal, Aly              10/9/2023     1.4   Review Slack channel communication regarding Three Arrows
                                            Capital
Hoffer, Emily           10/9/2023     0.5   Call with A. Canale, P. McGrath, E. Hoffer, A. Helal, M. Blanchard
                                            (A&M) preparation for call re: Three Arrows Capital
Hoffer, Emily           10/9/2023     0.4   Call with E. Hoffer, P. McGrath (A&M) regarding transactions to
                                            insiders
Hoffer, Emily           10/9/2023     2.7   Compile support for all transactions re: Neil Patel for individual
                                            analysis
Hoffer, Emily           10/9/2023     1.1   Review schedule of professionals provided by counsel to determine
                                            if any were previously reviewed within vendor analysis
Hoffer, Emily           10/9/2023     3.0   Manual quality control review of updated National Australia Bank
                                            accounts to determine any additional reconciliation issues
Johnson, Robert         10/9/2023     0.7   Incorporate additional National Australia bank data into Metabase
                                            tables for additional analysis
Kearney, Kevin          10/9/2023     0.7   Prepare correspondence/analysis for QE regarding Alameda
                                            ownership rights of targeted SAFT investment
Lee, Julian             10/9/2023     0.2   Correspond with team re: access to JPL repository related to FTX
                                            Digital Markets bank data
Lee, Julian             10/9/2023     0.2   Review list of professional firms with unidentified service type in
                                            response to QE request
Lee, Julian             10/9/2023     0.4   Review supporting documents related to LedgerPrime payments to
                                            CEGA investment fund
Lee, Julian             10/9/2023     0.1   Correspond with team re: LedgerPrime payments to CEGA
                                            investment fund
Lee, Julian             10/9/2023     0.3   Summarize status of LedgerPrime monetization analysis


McGrath, Patrick        10/9/2023     0.5   Call with A. Canale, P. McGrath, E. Hoffer, A. Helal, M. Blanchard
                                            (A&M) preparation for call re: Three Arrows Capital
McGrath, Patrick        10/9/2023     1.0   Call with A. Canale, P. McGrath (A&M) regarding Three Arrows
                                            exchange account analysis
McGrath, Patrick        10/9/2023     0.8   Call with A. Canale, P. McGrath (A&M) E. Kapur, Z. Muller (QE)
                                            regarding Fuel tokens
McGrath, Patrick        10/9/2023     0.4   Call with E. Hoffer, P. McGrath (A&M) regarding transactions to
                                            insiders
McGrath, Patrick        10/9/2023     1.8   Analyze 3AC exchange account activity


McGrath, Patrick        10/9/2023     1.8   Review transaction information and exchange activity for 3AC




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Professional              Date     Hours    Activity
McGrath, Patrick       10/9/2023     0.2   Call with A. Canale, P. McGrath (A&M) and B. Harsch, K. Setren, L.
                                           Wang, A. Zahn (S&C) regarding Three Arrows Capital line of credit
McGrath, Patrick       10/9/2023     0.2   Call with A. Canale, P. McGrath, K. Baker (A&M) and B. Harsch, K.
                                           Setren, L. Wang, A. Zahn (S&C) regarding Three Arrows Capital
                                           findings
McGrath, Patrick       10/9/2023     1.0   Call with A. Canale, P. McGrath, P. Kwan, K. Baker, M. Blanchard
                                           (A&M) and N. Molina (FTX) regarding lines of credit, liquidations on
                                           exchange, and exchange data
Medway, David          10/9/2023     1.3   Review materials summarizing engagement letters with and nature
                                           of payments to priority professionals identified by QE
Medway, David          10/9/2023     0.3   Communications with A&M team regarding professionals
                                           workstream prioritization set by QE
Medway, David          10/9/2023     2.4   Review and analyze McCaffrey production and summarize findings
                                           for counsel review
Medway, David          10/9/2023     0.2   Communications with QE regarding review and analysis of
                                           McCaffrey production
Medway, David          10/9/2023     0.3   Communications with A&M team regarding review and analysis of
                                           McCaffrey production
Mosley, Ed             10/9/2023     1.7   Review of and provide comments to 10/9 updated draft preference
                                           materials for creditor meeting
Mosley, Ed             10/9/2023     0.5   Discussion with S.Coverick and K.Ramanathan regarding Ad Hoc
                                           requests for data in connection with the preference scenarios
Mosley, Ed             10/9/2023     1.0   Discussion with PWP (B.Mendelsohn, K.Cofsky, M.Rahmani, others)
                                           and A&M (S.Coverick, H.Trent, K.Ramanathan, others) regarding
                                           creditor documents of plan and preferences
Ramanathan, Kumanan    10/9/2023     0.5   Call with S. Coverick, E. Mosley, K. Ramanathan (A&M) to discuss
                                           user exchange analysis tear sheets for customers
Ramanathan, Kumanan    10/9/2023     2.6   Perform detailed review on transaction level data for select users for
                                           exchange analysis
Ramanathan, Kumanan    10/9/2023     0.6   Call with G. Walia, K. Ramanathan (A&M) to discuss user exchange
                                           analysis updated pricing source
Ramanathan, Kumanan    10/9/2023     0.6   Prepare for call with ad-hoc advisors re: user exchange analysis

Ramanathan, Kumanan    10/9/2023     1.2   Revise user exchange analysis tear sheets and distribute for review


Ramanathan, Kumanan    10/9/2023     0.9   Review of updated customer tear sheet and provide feedback

Ruez, William          10/9/2023     0.3   Call with A. Helal, W. Ruez, A. Canale (A&M) regarding Ashla
                                           lending analysis
Ruez, William          10/9/2023     2.3   Analysis of loan and collateral transfer regarding Ashla borrowing
                                           agreement
Ryan, Laureen          10/9/2023     0.9   Correspond with S&C and A&M team regarding data activity
                                           observations related to three arrows investigation
Ryan, Laureen          10/9/2023     0.7   Correspond with A&M team regarding preliminary findings and next
                                           steps related to three arrows investigation



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Avoidance Actions
Professional             Date    Hours    Activity
Ryan, Laureen        10/9/2023     0.3   Correspond with A&M team regarding LedgerPrime financial
                                         observations
Ryan, Laureen        10/9/2023     0.7   Review information related to FTX possible avoidance actions


Ryan, Laureen        10/9/2023     0.2   Correspond with A&M team regarding PMO review

Salas Nunez, Luis    10/9/2023     1.1   Organize exchange activity data for clean processing and
                                         visualization
Salas Nunez, Luis    10/9/2023     2.9   Analyze FTX.COM detailed activity log of operations


Salas Nunez, Luis    10/9/2023     1.9   Analyze FTX.US detailed activity log of operations

Salas Nunez, Luis    10/9/2023     1.1   Create visualizations for exchange activity data


Shanahan, Michael    10/9/2023     1.0   Call with M. Shanahan, A. Canale (A&M) regarding work plan for
                                         professionals work stream
Shanahan, Michael    10/9/2023     1.4   Review documents supporting summary of professional transactions


Shanahan, Michael    10/9/2023     1.2   Review and revise summary of transactions related to professionals

Shanahan, Michael    10/9/2023     1.3   Review documents produced by Stocktwits related to share valuation

Shanahan, Michael    10/9/2023     0.4   Call with M. Shanahan and N. Strong (A&M) regarding status and
                                         strategy of additional requests from counsel related to Professionals
                                         workstream
Simoneaux, Nicole    10/9/2023     2.1   Incorporate changes into avoidance action preference deck re:
                                         insider compensation
Simoneaux, Nicole    10/9/2023     1.3   Refresh avoidance action preference deck for insider compensation

Sloan, Austin        10/9/2023     1.4   Continue bank statement reconciliation for Australia National Bank
                                         accounts in relation to cash database
Sloan, Austin        10/9/2023     2.3   Process Equity bank statements in Monarch in relation to cash
                                         database
Sloan, Austin        10/9/2023     1.9   Process Fidelity bank statements in Valid8 in relation to cash
                                         database
Strong, Nichole      10/9/2023     0.8   Correspondence with counsel regarding additional requests for
                                         investigations into Professionals
Strong, Nichole      10/9/2023     1.3   Review and communicate certain summaries of payments to
                                         Professionals at the request of counsel
Strong, Nichole      10/9/2023     0.7   Internal communications regarding additional requests for
                                         investigations into Professionals
Strong, Nichole      10/9/2023     0.4   Call with M. Shanahan and N. Strong (A&M) regarding status and
                                         strategy of additional requests from counsel related to Professionals
                                         workstream




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Avoidance Actions
Professional               Date    Hours    Activity
Trent, Hudson          10/9/2023     1.0   Call with B. Mendelsohn, K. Cofsky, M. Rahmani, K. Flinn, R. Moon
                                           (PWP), E. Mosley, S. Coverick, K. Ramanathan, H. Trent (A&M) to
                                           discuss preferences and plan recoveries
Walia, Gaurav          10/9/2023     0.6   Call with G. Walia, K. Ramanathan (A&M) to discuss user exchange
                                           analysis updated pricing source
Walia, Gaurav          10/9/2023     2.8   Prepare a variance report from the previous user exchange analysis
                                           to the latest
Walia, Gaurav          10/9/2023     2.2   Update the user exchange analysis summary presentations based
                                           on the latest updates
Walia, Gaurav          10/9/2023     2.7   Update the user exchange analysis for additional feedback


Wilson, David          10/9/2023     0.8   Call with M. Flynn, K. Baker, D. Wilson (A&M) to discuss updated
                                           preference calculations
Wilson, David          10/9/2023     2.3   Query database to create new subset tables for automation tool
                                           containing user analytics information based on eastern time
Arnett, Chris         10/10/2023     0.6   Review and comment on revised lender counterparty memorandum


Baker, Kevin          10/10/2023     0.6   Call with A. Canale, P. McGrath, K. Baker, M. Blanchard (A&M)
                                           regarding liquidation data on exchange
Baker, Kevin          10/10/2023     0.8   Call with A. Canale, P. McGrath, K. Baker, M. Blanchard (A&M)
                                           regarding liquidation data request
Blanchard, Madison    10/10/2023     0.6   Call with A. Canale, P. McGrath, K. Baker, M. Blanchard (A&M)
                                           regarding liquidation data on exchange
Blanchard, Madison    10/10/2023     0.1   Call with A. Canale, M. Blanchard (A&M) regarding updates to Cega
                                           lending claim deck for liquidated investments
Blanchard, Madison    10/10/2023     1.6   Prepare updates to Anchorage lending claim analysis incorporating
                                           feedback from quality control review
Blanchard, Madison    10/10/2023     0.3   Call with P. McGrath, A. Helal, M. Blanchard (A&M) regarding
                                           exchange customer fiat reconciliation
Blanchard, Madison    10/10/2023     2.4   Prepare updates to lending claim analysis memo following updates
                                           received from FTX developer
Blanchard, Madison    10/10/2023     0.8   Call with A. Canale, P. McGrath, K. Baker, M. Blanchard (A&M)
                                           regarding liquidation data request
Blanchard, Madison    10/10/2023     1.8   Review and analysis relating to causes of exchange customer
                                           balance changes
Blanchard, Madison    10/10/2023     2.2   Prepare updates to Cega lending claim analysis for feedback
                                           relating to investments
Broskay, Cole         10/10/2023     1.4   Continue review of supporting documentation for case summary
                                           binder
Canale, Alex          10/10/2023     0.1   Call with A. Canale, M. Blanchard (A&M) regarding updates to Cega
                                           lending claim deck for liquidated investments
Canale, Alex          10/10/2023     0.3   Call with P. McGrath, A. Helal, M. Blanchard (A&M) regarding
                                           exchange customer fiat reconciliation
Canale, Alex          10/10/2023     0.6   Call with A. Canale, P. McGrath, K. Baker, M. Blanchard (A&M)
                                           regarding liquidation data on exchange


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Avoidance Actions
Professional                  Date    Hours    Activity
Canale, Alex             10/10/2023     2.7   Continue to review and update Three Arrows Capital memorandum
                                              of findings and supporting schedules
Canale, Alex             10/10/2023     0.8   Call with A. Canale, P. McGrath, K. Baker, M. Blanchard (A&M)
                                              regarding liquidation data request
Canale, Alex             10/10/2023     0.7   Review documents and prepare queries regarding LedgerPrime for
                                              meeting with employees
Canale, Alex             10/10/2023     0.8   Draft responses to Managing Director comments with respect to
                                              Three Arrows analysis
Canale, Alex             10/10/2023     0.4   Review credit card statements for N. Patel and provide instructions
                                              to team
Canale, Alex             10/10/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding Three Arrows Capital
                                              analysis
Canale, Alex             10/10/2023     2.9   Review and update Three Arrows Capital memorandum of findings


Canale, Alex             10/10/2023     0.4   Review schedule of payments for Patel and related entities and edit

Canale, Alex             10/10/2023     0.4   Prepare updates to Cega lending analysis deck


Canale, Alex             10/10/2023     0.6   Review updated Anchorage lending deck as requested by QE

Canale, Alex             10/10/2023     0.4   Correspond with A&M and S&C teams regarding 3AC findings

Coverick, Steve          10/10/2023     1.6   Review and provide comments on preference settlement eligibility
                                              analysis
Coverick, Steve          10/10/2023     0.2   Participate in discussion with Ad Hoc committee member and A&M
                                              (K.Ramanathan, S.Coverick, E.Mosley) regarding preference
                                              structure
Cox, Allison             10/10/2023     2.6   Update professionals exhibit for list two identified activity

Cox, Allison             10/10/2023     0.6   Call with S. Hill (QE), N. Strong, and A. Cox (A&M) to discuss
                                              priority order of additional requests related to Professionals
                                              workstream
Dobbs, Aaron             10/10/2023     0.9   Target searches for correspondence regarding lender relationship
                                              analysis for Tomochain and affiliated entities
Dobbs, Aaron             10/10/2023     1.2   Create summary of known relationships with Tomochain and aliases
                                              for FTX.com database extraction
Dobbs, Aaron             10/10/2023     1.1   Create summary of known relationships with Solscan and aliases for
                                              FTX.com database extraction
Dobbs, Aaron             10/10/2023     2.1   Update repricing schedule for Anchorage Lending to reflect updated
                                              collateral repayments
Dobbs, Aaron             10/10/2023     1.6   Compile cash transactions for Tomochain to assess potential
                                              preference period claims
Ebrey, Mason             10/10/2023     0.1   Call with T. Gosau, M. Ebrey (A&M) regarding Stocktwits Document
                                              Review process
Ebrey, Mason             10/10/2023     3.1   Search in Relativity for Stocktwits third-party produced documents



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Avoidance Actions
Professional                 Date    Hours    Activity
Ebrey, Mason            10/10/2023     3.1   Conduct document review of Stocktwits third-party produced
                                             documents
Ebrey, Mason            10/10/2023     1.4   Update document review of third party produced documents


Flynn, Matthew          10/10/2023     0.2   Call with M. Flynn, G. Walia (A&M) to discuss customer analytics
                                             data
Flynn, Matthew          10/10/2023     2.9   Perform customer analysis on accounts for ad hoc group members

Flynn, Matthew          10/10/2023     0.9   Review 90 day customer activity on subsequent advance approach


Flynn, Matthew          10/10/2023     2.6   Perform customer analysis on accounts for UCC members

Flynn, Matthew          10/10/2023     1.1   Research customer account activity for S&C


Gosau, Tracy            10/10/2023     0.1   Call with T. Gosau, M. Ebrey (A&M) regarding Stocktwits Document
                                             Review process
Helal, Aly              10/10/2023     1.8   Draft slide deck to document the lending relationship between Ashla
                                             International and Debtors
Helal, Aly              10/10/2023     1.6   Create analysis for Ashla International Lending claim

Helal, Aly              10/10/2023     1.8   Create tables for Three Arrows Capital as part of drafting a memo to
                                             document lending relationship between Three Arrows and Debtors
Helal, Aly              10/10/2023     0.3   Call with P. McGrath, A. Helal, M. Blanchard (A&M) regarding
                                             exchange customer fiat reconciliation
Hoffer, Emily           10/10/2023     0.9   Review Moneytech statements to determine if account is able to be
                                             reconciled based on new statements available
Hoffer, Emily           10/10/2023     0.7   Review database request for Tomochain for use in lender analysis


Hoffer, Emily           10/10/2023     1.9   Update Neil Patel individual analysis based on leadership feedback

Hoffer, Emily           10/10/2023     2.8   Manual review of Anchorage tables for any errors for use in lender
                                             deck
Hoffer, Emily           10/10/2023     2.6   Review follow up request for Circle re: WRSS account

Johnson, Robert         10/10/2023     0.6   Ingest Equity banking data and confirm availability within Metabase
                                             for downstream analysis
Johnson, Robert         10/10/2023     0.7   Ingest Fidelity banking data and confirm availability within Metabase
                                             platform
Kearney, Kevin          10/10/2023     1.1   Review historical transactions associated with targeted lender for
                                             LedgerPrime associated planned avoidance action
Kearney, Kevin          10/10/2023     0.8   Prepare correspondence for QE regarding specific nature of targeted
                                             venture investments
Lee, Julian             10/10/2023     0.5   Correspond with Circle regarding counterparty information request,
                                             various follow-up items




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Avoidance Actions
Professional                 Date    Hours    Activity
Lee, Julian             10/10/2023     0.1   Correspond with team regarding reconciliation of Circle WRSS
                                             account
Lee, Julian             10/10/2023     0.6   Correspond with team regarding FTX Digital Markets accounts


Lee, Julian             10/10/2023     0.4   Review Circle WRSS account transactions, payments

McGrath, Patrick        10/10/2023     0.6   Call with A. Canale, P. McGrath, K. Baker, M. Blanchard (A&M)
                                             regarding liquidation data on exchange
McGrath, Patrick        10/10/2023     0.3   Call with P. McGrath, A. Helal, M. Blanchard (A&M) regarding
                                             exchange customer fiat reconciliation
McGrath, Patrick        10/10/2023     0.8   Call with A. Canale, P. McGrath, K. Baker, M. Blanchard (A&M)
                                             regarding liquidation data request
Medway, David           10/10/2023     0.4   Review materials shared by QE summarizing professionals
                                             workstream status and strategy
Medway, David           10/10/2023     0.3   Communications with A&M team regarding professionals
                                             workstream status and strategy
Mosley, Ed              10/10/2023     0.2   Participate in discussion with Ad Hoc committee member and A&M
                                             (K.Ramanathan, S.Coverick, E.Mosley) regarding preference
                                             structure
Ramanathan, Kumanan     10/10/2023     0.6   Review of planned recovery model and cross reference to tear
                                             sheets
Ramanathan, Kumanan     10/10/2023     1.6   Review of most recent user exchange analysis and model

Ramanathan, Kumanan     10/10/2023     1.7   Review of user exchange analysis model and compare to detail


Ryan, Laureen           10/10/2023     1.1   Correspond with A&M team on inquiries related to certain findings on
                                             three arrows exchange account analysis
Ryan, Laureen           10/10/2023     0.4   Correspond with S&C and A&M team on updated analysis on three
                                             arrows exchange accounts
Ryan, Laureen           10/10/2023     2.4   Review and edit memo summarizing findings to date on three arrows
                                             investigation
Ryan, Laureen           10/10/2023     0.2   Correspond with A&M team regarding JPL bank records production

Ryan, Laureen           10/10/2023     0.3   Call with L. Ryan, A. Canale (A&M) regarding Three Arrows Capital
                                             analysis
Ryan, Laureen           10/10/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding three arrows updated
                                             analysis
Ryan, Laureen           10/10/2023     0.2   Correspond with S&C and A&M team Anchorage lending analysis


Salas Nunez, Luis       10/10/2023     2.6   Analyze customer data for FTX.COM to create dynamic visuals and
                                             summarize activity
Salas Nunez, Luis       10/10/2023     0.9   Analyze previous Ch 11 resolutions for other cryptocurrency
                                             exchanges
Salas Nunez, Luis       10/10/2023     0.9   Create dashboard for FTX.US activity data




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Avoidance Actions
Professional               Date    Hours    Activity
Salas Nunez, Luis     10/10/2023     3.1   Create dashboard for FTX.COM activity data

Salas Nunez, Luis     10/10/2023     2.1   Document FTX.COM and FTX.US withdrawal activities


Shanahan, Michael     10/10/2023     2.4   Review documents related to account activity and compliance
                                           inquiries - Silvergate
Shanahan, Michael     10/10/2023     0.3   Communications to/from team regarding cash database and FTX
                                           Digital documents
Sloan, Austin         10/10/2023     1.9   Perform bank statement reconciliation for Equity accounts in relation
                                           to cash database
Sloan, Austin         10/10/2023     2.3   Perform bank statement reconciliation for Fidelity accounts in
                                           relation to cash database
Strong, Nichole       10/10/2023     0.5   Prepare for call with counsel to discuss priority order of additional
                                           requests related to Professionals workstream
Strong, Nichole       10/10/2023     0.9   Summarize results of investigation into select Professionals at
                                           request of Counsel
Strong, Nichole       10/10/2023     0.6   Call with S. Hill (QE), N. Strong, and A. Cox (A&M) to discuss
                                           priority order of additional requests related to Professionals
                                           workstream
Sunkara, Manasa       10/10/2023     2.8   Query the database to extract all transaction activity related to a
                                           certain entity for the avoidance team
Walia, Gaurav         10/10/2023     2.7   Review the updated user exchange data based on additional
                                           feedback
Walia, Gaurav         10/10/2023     2.3   Conduct additional checks and quality control on final user exchange
                                           data
Wilson, David         10/10/2023     1.2   Add macro to new user analytics template that queries the details
                                           table and pastes into excel workbook
Wilson, David         10/10/2023     1.4   Add macro to new user analytics template that queries the balances
                                           table and pastes into excel workbook
Wilson, David         10/10/2023     1.2   Generate user analytics report for one corporate account using old
                                           template for A&M request
Wilson, David         10/10/2023     1.3   Generate user analytics report for ten accounts using old template

Wilson, David         10/10/2023     0.9   Generate user analytics report for two accounts using old template


Wilson, David         10/10/2023     2.6   Add macro to new user analytics template that automates process of
                                           creating table with account IDs and pulling details for user analytics
                                           report
Wilson, David         10/10/2023     1.9   Revise database queries used in balances and details macros to pull
                                           in specific columns and join on customer info tables for necessary
                                           data
Zatz, Jonathan        10/10/2023     1.3   Script database related to request create reference table to use
                                           during preference analysis with CUD flags and locked token balances
Arnett, Chris         10/11/2023     0.4   Review and comment on latest responses re: Three Arrows Capital
                                           analysis



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Professional              Date    Hours    Activity
Baker, Kevin         10/11/2023     1.1   Call with K.Baker, M. Flynn and D. Wilson (A&M) to discuss
                                          preference request for top 750 customer claims
Baker, Kevin         10/11/2023     0.8   Call with A. Canale, P. McGrath, K. Baker, K. Kearney, A. Helal
                                          (A&M) regarding Three Arrows Capital deposits and bank records
Blanchard, Madison   10/11/2023     0.5   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                          Three Arrows Capital trading activity
Blanchard, Madison   10/11/2023     0.2   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                          exchange customer account balance reconciliation
Blanchard, Madison   10/11/2023     0.4   Prepare updates to Anchorage lending claim analysis incorporating
                                          feedback from quality control review
Blanchard, Madison   10/11/2023     1.2   Review of deposits and withdrawals data relating to high priority
                                          exchange customer and lender
Blanchard, Madison   10/11/2023     0.5   Call with P. McGrath, M. Blanchard (A&M) regarding causes of
                                          exchange customer balance changes
Blanchard, Madison   10/11/2023     2.1   Continue review of fills and trading data relating to high priority
                                          exchange customer and lender
Blanchard, Madison   10/11/2023     2.9   Review of fills and trading data relating to high priority exchange
                                          customer and lender
Blanchard, Madison   10/11/2023     0.1   Call with M. Blanchard, M. Ebrey (A&M) regarding 3AC deposits and
                                          withdrawals analysis
Blanchard, Madison   10/11/2023     0.2   Call with A. Canale, P. McGrath, G. Walia, M. Blanchard (A&M)
                                          regarding exchange customer account balance reconciliation
Canale, Alex         10/11/2023     0.2   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                          exchange customer account balance reconciliation
Canale, Alex         10/11/2023     0.5   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                          Three Arrows Capital trading activity
Canale, Alex         10/11/2023     0.5   Call with A. Canale, P. McGrath, G. Walia (A&M) regarding
                                          exchange preference analysis
Canale, Alex         10/11/2023     0.5   Call with P. McGrath, M. Blanchard (A&M) regarding causes of
                                          exchange customer balance changes
Canale, Alex         10/11/2023     0.5   Call with K. Baker, A. Canale, P. McGrath (A&M) regarding Three
                                          Arrows Capital fiat deposits
Canale, Alex         10/11/2023     0.8   Prepare updates to Cega lender analysis deck in response to review
                                          comments
Canale, Alex         10/11/2023     0.3   Correspond with A&M team regarding high priority request regarding
                                          loan activity
Canale, Alex         10/11/2023     0.2   Correspond with A&M team regarding exchange customer account
                                          balance reconciliation
Canale, Alex         10/11/2023     0.3   Call with A. Canale, K. Kearney (A&M) regarding Three Arrows
                                          Capital fiat deposits
Canale, Alex         10/11/2023     0.2   Correspond with A&M team regarding exchange customer account
                                          balance analysis
Canale, Alex         10/11/2023     0.9   Analysis of Three Arrows Capital trading data




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Avoidance Actions
Professional                  Date    Hours    Activity
Canale, Alex             10/11/2023     1.3   Analysis of fiat deposits made by Three Arrows capital

Canale, Alex             10/11/2023     0.6   Review and edit schedule of payments to Neil Patel


Canale, Alex             10/11/2023     0.2   Call with A. Canale, P. McGrath, G. Walia, M. Blanchard (A&M)
                                              regarding exchange customer account balance reconciliation
Canale, Alex             10/11/2023     0.8   Call with A. Canale, P. McGrath, K. Baker, K. Kearney, A. Helal
                                              (A&M) regarding Three Arrows Capital deposits and bank records
Canale, Alex             10/11/2023     0.6   Call with A. Canale, K. Kearney, P. McGrath (A&M) E. Kapur, and Z.
                                              Muller (QE) regarding ventures investments and jurisdiction
Canale, Alex             10/11/2023     0.3   Call with L. Clayton, P. McGrath, M. Blanchard, and A. Canale
                                              (A&M) discussing high priority request regarding loan activity
Canale, Alex             10/11/2023     0.4   Call with A. Canale, P. McGrath and E. Hoffer to discuss questions
                                              re: summary of Neil Patel analysis for response to QE request
Chan, Jon                10/11/2023     2.4   Investigate accounts related to specific entities and wallets provided
                                              for A&M internal request related to Tomochain
Chan, Jon                10/11/2023     2.4   Investigate activity for A&M internal request related to provided
                                              wallets pertaining to a specific entity
Chan, Jon                10/11/2023     2.6   Query database related to Tomochain A&M request to extract
                                              balance components
Cox, Allison             10/11/2023     0.3   Call with P. McGrath and A. Cox regarding identification of
                                              cancelled/reversed bank deposits
Cox, Allison             10/11/2023     1.1   Document review in relation to cancelled/reversed bank deposits


Cox, Allison             10/11/2023     1.6   Document review in relation to list two firms activity

Dobbs, Aaron             10/11/2023     2.2   Summarize claims filed by Tomochain


Dobbs, Aaron             10/11/2023     1.6   Summarize FTX.com trading activity for Tomochain and affiliates to
                                              assess potential claims
Dobbs, Aaron             10/11/2023     1.9   Summarize FTX OTC trading activity for Tomochain and affiliates to
                                              assess potential claims
Ebrey, Mason             10/11/2023     0.1   Call with M. Blanchard, M. Ebrey (A&M) regarding 3AC deposits and
                                              withdrawals analysis
Ebrey, Mason             10/11/2023     0.2   Call with T. Gosau, M. Ebrey (A&M) regarding Stocktwits Document
                                              Review process
Ebrey, Mason             10/11/2023     2.4   Search in Relativity for documents related to ABRA lending
                                              relationship
Ebrey, Mason             10/11/2023     2.4   Prepare Deposit and Withdrawal Preference Analysis for 3 Arrows
                                              Capital
Ebrey, Mason             10/11/2023     1.3   Update document review of third party produced documents


Flynn, Matthew           10/11/2023     0.6   Call with M. Flynn and D. Wilson (A&M) to discuss updated
                                              preference template and outstanding requests




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Professional                Date    Hours    Activity
Flynn, Matthew         10/11/2023     1.1   Call with K. Baker, M. Flynn and D. Wilson (A&M) to discuss
                                            preference request for top 750 customer claims
Flynn, Matthew         10/11/2023     0.3   Call with M. Flynn, D. Sagen (A&M) to discuss updating customer
                                            analysis inputs
Flynn, Matthew         10/11/2023     0.6   Call with M. Flynn, G. Walia (A&M) to discuss updated customer
                                            model
Flynn, Matthew         10/11/2023     2.3   Update Ad Hoc member customer model based on comments
                                            received
Flynn, Matthew         10/11/2023     0.6   Create parent entity mapping for customer model


Flynn, Matthew         10/11/2023     2.1   Update UCC member customer model based on comments

Flynn, Matthew         10/11/2023     1.4   Create customer status tracking file for S&C


Gosau, Tracy           10/11/2023     0.2   Call with T. Gosau and E. Hoffer to discuss plan for summary of
                                            transactions re: Gabe Bankman Fried request from QE
Gosau, Tracy           10/11/2023     0.2   Call with T. Gosau, M. Ebrey (A&M) regarding Stocktwits Document
                                            Review process
Gosau, Tracy           10/11/2023     1.1   Review valuation documents re: Venture Books (StockTwits)

Helal, Aly             10/11/2023     2.1   Review data received from Crypto team related to tracing loan
                                            payments for Ashla International Lending Claim
Helal, Aly             10/11/2023     1.7   Search for FTX Digital Markets additional bank statements in the
                                            new repository received
Helal, Aly             10/11/2023     0.8   Call with A. Canale, P. McGrath, K. Baker, K. Kearney, A. Helal
                                            (A&M) regarding Three Arrows Capital deposits and bank records
Helal, Aly             10/11/2023     0.9   Call with J. Lee, E. Hoffer, A. Helal (A&M) to discuss bank data
                                            reconciliation workflow for cash database purposes
Hoffer, Emily          10/11/2023     0.4   Meeting with E. Hoffer and B. Price (A&M) to discuss the task of
                                            detailing transactions related to Gabe Bankman-Fried
Hoffer, Emily          10/11/2023     0.7   Quality control review of Circle 2805 account summary for use in the
                                            cash database
Hoffer, Emily          10/11/2023     0.9   Manual quality control review of FTX Digital Markets Equity bank
                                            accounts for replacement of data within the cash database
Hoffer, Emily          10/11/2023     0.4   Call with A. Canale, P. McGrath and E. Hoffer to discuss questions
                                            re: summary of Neil Patel analysis for response to QE request
Hoffer, Emily          10/11/2023     1.9   Finalize NP Digital summary to be shared with counsel by updating
                                            notes based on leadership review
Hoffer, Emily          10/11/2023     0.9   Call with J. Lee, E. Hoffer, A. Helal (A&M) to discuss bank data
                                            reconciliation workflow for cash database purposes
Hoffer, Emily          10/11/2023     0.8   Manual quality control review of FTX Digital Markets Fidelity bank
                                            accounts for replacement of data within the cash database
Hoffer, Emily          10/11/2023     0.2   Call with T. Gosau and E. Hoffer to discuss plan for summary of
                                            transactions re: Gabe Bankman Fried request from QE




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Avoidance Actions
Professional                 Date    Hours    Activity
Kearney, Kevin          10/11/2023     0.3   Call with A. Canale, K. Kearney (A&M) regarding Three Arrows
                                             Capital fiat deposits
Kearney, Kevin          10/11/2023     0.6   Call with A. Canale, K. Kearney, P. McGrath (A&M) E. Kapur, and Z.
                                             Muller (QE) regarding ventures investments and jurisdiction
Kearney, Kevin          10/11/2023     0.8   Call with A. Canale, P. McGrath, K. Baker, K. Kearney, A. Helal
                                             (A&M) regarding Three Arrows Capital deposits and bank records
Lee, Julian             10/11/2023     0.1   Correspond with AlixPartners regarding FTX Digital Markets
                                             production from Bahamas Litigation discovery
Lee, Julian             10/11/2023     0.5   Review production of FTX Digital Markets bank data related to
                                             Klarpay, OpenPayd, Customers Bank
Lee, Julian             10/11/2023     0.2   Correspond with team regarding 90 day payments to North
                                             American League of Legends (Riot Games)
Lee, Julian             10/11/2023     0.7   Review production of FTX Digital Markets bank data from JPL
                                             Liquidators
Lee, Julian             10/11/2023     0.2   Review bank communications tracker for weekly PMO update

Lee, Julian             10/11/2023     0.9   Call with J. Lee, E. Hoffer, A. Helal (A&M) to discuss bank data
                                             reconciliation workflow for cash database purposes
McGrath, Patrick        10/11/2023     0.2   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                             exchange customer account balance reconciliation
McGrath, Patrick        10/11/2023     0.5   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                             Three Arrows Capital trading activity
McGrath, Patrick        10/11/2023     0.5   Call with K. Baker, A. Canale, P. McGrath (A&M) regarding Three
                                             Arrows Capital fiat deposits
McGrath, Patrick        10/11/2023     0.5   Call with A. Canale, P. McGrath, G. Walia (A&M) regarding
                                             exchange preference analysis
McGrath, Patrick        10/11/2023     0.5   Review and analyze deposits, withdrawals, transfers and fills to
                                             reconcile exchange activity
McGrath, Patrick        10/11/2023     0.5   Call with P. McGrath, M. Blanchard (A&M) regarding causes of
                                             exchange customer balance changes
McGrath, Patrick        10/11/2023     0.4   Call with P. McGrath and G. Walia regarding exchange account
                                             balance reconciliation
McGrath, Patrick        10/11/2023     0.8   Call with A. Canale, P. McGrath, K. Baker, K. Kearney, A. Helal
                                             (A&M) regarding Three Arrows Capital deposits and bank records
McGrath, Patrick        10/11/2023     0.3   Call with L. Clayton, P. McGrath, M. Blanchard, and A. Canale
                                             (A&M) discussing high priority request regarding loan activity
McGrath, Patrick        10/11/2023     0.2   Call with A. Canale, P. McGrath, G. Walia, M. Blanchard (A&M)
                                             regarding exchange customer account balance reconciliation
McGrath, Patrick        10/11/2023     0.6   Call with A. Canale, K. Kearney, P. McGrath (A&M) E. Kapur, and Z.
                                             Muller (QE) regarding ventures investments and jurisdiction
McGrath, Patrick        10/11/2023     0.4   Call with A. Canale, P. McGrath and E. Hoffer to discuss questions
                                             re: summary of Neil Patel analysis for response to QE request
Medway, David           10/11/2023     0.3   Communications with A&M team regarding results of review and
                                             analysis of Michael McCaffrey document production




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Avoidance Actions
Professional               Date    Hours    Activity
Medway, David         10/11/2023     2.1   Prepare memo summarizing findings from review and analysis of
                                           Michael McCaffrey document production
Medway, David         10/11/2023     1.6   Review and analyze The Block Crypto merger agreement produced
                                           by Michael McCaffrey at the request of counsel
Medway, David         10/11/2023     1.1   Review and analyze The Block Crypto rollover contribution
                                           agreement produced by Michael McCaffrey at the request of counsel
Price, Breanna        10/11/2023     0.4   Meeting with E. Hoffer and B. Price (A&M) to discuss the task of
                                           detailing transactions related to Gabe Bankman-Fried
Price, Breanna        10/11/2023     0.3   Search the Bahamas Relativity repository for Bank Frick bank data
                                           related to FTX Digital Markets
Price, Breanna        10/11/2023     2.9   Search the Bahamas Relativity repository for BCB bank data related
                                           to FTX Digital Markets
Price, Breanna        10/11/2023     0.7   Add Brex statements to the bank statement tracker


Price, Breanna        10/11/2023     0.6   Search Relativity for support for Huobi loan transactions

Price, Breanna        10/11/2023     0.7   Search the cash database for bank statement data related to Gabe
                                           Bankman-Fried for the purposes of filing a potential claim
Ramanathan, Kumanan   10/11/2023     1.3   Prepare updated preference analysis materials and distribute to
                                           creditor groups
Ruez, William         10/11/2023     2.2   Review of supporting documents related to Ashla lender analysis

Ruez, William         10/11/2023     2.9   Review of Ashla deck regarding lending analysis


Ryan, Laureen         10/11/2023     0.4   Correspond with QE and A&M Team regarding Bankman Fried
                                           additional documents and observations related thereto
Ryan, Laureen         10/11/2023     0.6   Correspond with A&M team regarding queries on draft Cega loan
                                           and investment analysis
Ryan, Laureen         10/11/2023     0.9   Correspond with S&C and A&M Team regarding China Bribe
                                           documents, analysis and inquiries
Ryan, Laureen         10/11/2023     0.3   Correspond with QE and A&M Team regarding Anchorage lending
                                           matters
Ryan, Laureen         10/11/2023     0.2   Correspond with A&M team regarding strategy related to JPL bank
                                           production
Ryan, Laureen         10/11/2023     0.2   Correspond with QE and A&M Team regarding payments to Neil
                                           Patel
Ryan, Laureen         10/11/2023     0.6   Review new Bankman Fried documents provided by QE


Ryan, Laureen         10/11/2023     1.9   Review and edit Cega loan and investment analysis

Sagen, Daniel         10/11/2023     0.4   Update mechanics of user metrics analysis to limit scope at petition
                                           time
Salas Nunez, Luis     10/11/2023     1.9   Create dashboards to analyze preference claims on 9-day timeframe




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Avoidance Actions
Professional              Date    Hours    Activity
Salas Nunez, Luis    10/11/2023     1.9   Create dashboards to analyze preference claims on 11-day
                                          timeframe
Salas Nunez, Luis    10/11/2023     1.3   Analyze and compare preference claims for different timeframes


Salas Nunez, Luis    10/11/2023     0.8   Create dashboards to analyze FTX.US customer activity data

Salas Nunez, Luis    10/11/2023     2.1   Create dashboards to analyze FTX.COM customer activity data

Shanahan, Michael    10/11/2023     1.3   Review and analysis of valuation reports for Series B shares -
                                          Stocktwits
Shanahan, Michael    10/11/2023     1.2   Review supporting documents to additional professional transaction
                                          summaries
Shanahan, Michael    10/11/2023     1.1   Review and revise additional transaction summaries for professionals


Sloan, Austin        10/11/2023     2.3   Compile bank statement detail for additional Circle bank accounts in
                                          relation to cash database
Sloan, Austin        10/11/2023     2.4   Perform bank statement reconciliation for Circle bank accounts in
                                          relation to cash database
Strong, Nichole      10/11/2023     0.7   Strategize workplan to respond to additional requests from counsel
                                          related to Professionals workstream
Strong, Nichole      10/11/2023     0.8   Review and revise summary of payments to Inca Digital as
                                          requested by counsel
Strong, Nichole      10/11/2023     1.7   Review and revise summary of payments to Piper Alderman as
                                          requested by counsel
Strong, Nichole      10/11/2023     1.1   Review and revise summary of payments to Prospera as requested
                                          by counsel
Strong, Nichole      10/11/2023     0.3   Internal correspondence regarding summaries of payments to
                                          Professionals
Strong, Nichole      10/11/2023     0.4   Review and revise summary of payments to TaxBit as requested by
                                          counsel
Strong, Nichole      10/11/2023     0.9   Review and revise summary of payments to Latham & Watkins as
                                          requested by counsel
Walia, Gaurav        10/11/2023     0.5   Call with A. Canale, P. McGrath, G. Walia (A&M) regarding
                                          exchange preference analysis
Walia, Gaurav        10/11/2023     0.7   Call with K. Ramanathan, G. Walia (A&M) to discuss user exchange
                                          analysis policy updates
Walia, Gaurav        10/11/2023     2.8   Review the account activity for a certain account for reconciliation
                                          purposes
Walia, Gaurav        10/11/2023     2.7   Update the user exchange analysis based on additional requests
                                          from Rothschild
Walia, Gaurav        10/11/2023     2.4   Update the user exchange analysis for updated calculation
                                          methodology
Walia, Gaurav        10/11/2023     1.5   Review preference exposure for several customers and provide
                                          feedback




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Avoidance Actions
Professional               Date    Hours    Activity
Walia, Gaurav         10/11/2023     2.6   Prepare an updated user exchange analysis for specific agreed
                                           upon terms
Walia, Gaurav         10/11/2023     0.2   Call with A. Canale, P. McGrath, G. Walia, M. Blanchard (A&M)
                                           regarding exchange customer account balance reconciliation
Wilson, David         10/11/2023     1.1   Pull user analytics summary using new template for two accounts
                                           related to ongoing A&M investigation
Wilson, David         10/11/2023     0.6   Call with M. Flynn and D. Wilson (A&M) to discuss updated
                                           preference template and outstanding requests
Wilson, David         10/11/2023     1.1   Call with K.Baker, M. Flynn and D. Wilson (A&M) to discuss
                                           preference request for top 750 customer claims
Wilson, David         10/11/2023     1.4   Script database to identify top 750 accounts for customer claims
                                           based on net withdrawals method
Wilson, David         10/11/2023     0.8   Pull user analytics template for three accounts related to single
                                           corporate entity
Wilson, David         10/11/2023     1.9   Pull user analytics template for 13 accounts in the same category
                                           related to lending and organize summary into parent entity groupings
Wilson, David         10/11/2023     2.7   Pull user analytics template for 88 accounts identified as significant
                                           from a net withdrawals perspective
Wilson, David         10/11/2023     2.4   Script database to create transactional detail sheet for user analytics
                                           summary for top 750 accounts based on net withdrawals
Arnett, Chris         10/12/2023     0.6   Continue to review and comment on compilation of data to advance
                                           Three Arrows Capital analysis
Arnett, Chris         10/12/2023     0.7   Review and comment on lender avoidance analyses and associated
                                           presentation
Baker, Kevin          10/12/2023     0.8   Call with P. McGrath, K. Baker, M. Blanchard (A&M) regarding
                                           exchange customer bank reconciliation and balance data
Baker, Kevin          10/12/2023     0.4   Call with K. Baker, M. Flynn and D. Wilson (A&M) to discuss
                                           customer claims preference request
Baker, Kevin          10/12/2023     0.7   Call with K.Baker, M. Flynn and D. Wilson (A&M) to discuss top 750
                                           customer claims preference request and new preference template
                                           changes
Blanchard, Madison    10/12/2023     0.7   Call with M. Blanchard and P. McGrath (A&M) regarding daily
                                           balance change in exchange account activity
Blanchard, Madison    10/12/2023     0.8   Call with P. McGrath, K. Baker, M. Blanchard (A&M) regarding
                                           exchange customer bank reconciliation and balance data
Blanchard, Madison    10/12/2023     0.2   Call with A. Canale, M. Blanchard (A&M) regarding updates to lender
                                           preference actions
Blanchard, Madison    10/12/2023     0.5   Call with L. Ryan, A. Canale, P. McGrath, M. Blanchard, M. Ebrey
                                           (A&M) regarding Cega lender deck
Blanchard, Madison    10/12/2023     1.9   Reconcile banking information to customer fiat deposits in relation to
                                           high priority lender claim
Blanchard, Madison    10/12/2023     0.2   Call with A. Helal, M. Blanchard (A&M) regarding tracing analysis
                                           related to Ashla lender claim
Blanchard, Madison    10/12/2023     0.2   Call with P. McGrath, M. Blanchard (A&M) regarding 3AC trading
                                           activity and exchange data


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Avoidance Actions
Professional                  Date    Hours    Activity
Blanchard, Madison       10/12/2023     0.1   Prepare updates to lending claim presentation relating to Cega

Blanchard, Madison       10/12/2023     1.8   Update report relating to high priority lender claim


Broskay, Cole            10/12/2023     0.4   Teleconference with R. Gordon, C. Broskay(A&M) over scope of the
                                              historical binder
Broskay, Cole            10/12/2023     0.6   Provide commentary regarding case summary draft slides

Broskay, Cole            10/12/2023     0.9   Review draft outline for case summary binder


Canale, Alex             10/12/2023     0.5   Call with L. Ryan, A. Canale, P. McGrath, M. Blanchard, M. Ebrey
                                              (A&M) regarding Cega lender deck
Canale, Alex             10/12/2023     0.2   Call with A. Canale, M. Blanchard (A&M) regarding updates to lender
                                              preference actions
Canale, Alex             10/12/2023     1.0   Call with A. Canale, P. McGrath (A&M) regarding 3AC exchange
                                              account analysis
Canale, Alex             10/12/2023     0.6   Call with A. Canale, P. McGrath (A&M) regarding 3AC exchange
                                              account reconciliation
Canale, Alex             10/12/2023     0.3   Correspond with S&C team regarding exchange preference analysis
                                              for Mirana
Canale, Alex             10/12/2023     0.4   Review documents relating to 3AC petition date exchange account
                                              balance
Canale, Alex             10/12/2023     0.3   Correspond with A&M team regarding payments to charitable
                                              organizations
Canale, Alex             10/12/2023     1.2   Analysis of 3AC exchange account analysis

Canale, Alex             10/12/2023     0.4   Analysis of Cega exotic options baskets arrangements


Canale, Alex             10/12/2023     0.6   Review documents relating to exchange preference analysis

Canale, Alex             10/12/2023     0.7   Correspond with A&M team regarding 3AC memorandum


Canale, Alex             10/12/2023     0.6   Review and edit Ashla lending claims analysis deck

Canale, Alex             10/12/2023     0.4   Correspond with A&M team regarding Stocktwits investment

Cox, Allison             10/12/2023     1.1   Discussion with N. Strong and A. Cox (A&M) regarding payment
                                              history for professionals
Cox, Allison             10/12/2023     2.9   Document review in relation to list one professional firms activity

Cox, Allison             10/12/2023     2.7   Update professionals exhibit for additional activity identified


Dobbs, Aaron             10/12/2023     0.8   Reprice transaction activity for TOMO token transactions related to
                                              lending relationship with Tomochain




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Avoidance Actions
Professional                Date    Hours    Activity
Dobbs, Aaron           10/12/2023     2.1   Summarize Alameda Research OTC trading activity for Tomochain
                                            and affiliates to assess potential claims
Dobbs, Aaron           10/12/2023     1.3   Create table to summarize lending preference period analysis for
                                            Tomochain
Ebrey, Mason           10/12/2023     0.5   Call with L. Ryan, A. Canale, P. McGrath, M. Ebrey (A&M) regarding
                                            Cega lender deck
Ebrey, Mason           10/12/2023     3.3   Prepare ABRA Collateral Rollforward

Ebrey, Mason           10/12/2023     1.3   Prepare loan interest table for ABRA loans


Ebrey, Mason           10/12/2023     0.3   Review of Cega Lender Deck prior to call

Ebrey, Mason           10/12/2023     1.9   Search in Relativity for ABRA Loan Term Sheets


Flynn, Matthew         10/12/2023     0.4   Call with K. Baker, M. Flynn and D. Wilson (A&M) to discuss
                                            customer claims preference request
Flynn, Matthew         10/12/2023     1.9   Create top customer data summary for FTX.COM customer for S&C


Flynn, Matthew         10/12/2023     1.6   Create top customer data summary for FTX.US customer for S&C

Flynn, Matthew         10/12/2023     2.6   Create customer analysis for Ad Hoc members for S&C

Flynn, Matthew         10/12/2023     0.8   Perform customer balance analysis for S&C


Flynn, Matthew         10/12/2023     1.8   Create individual customer tear sheets for ad hoc members

Flynn, Matthew         10/12/2023     2.1   Create customer analysis for UCC members for S&C


Flynn, Matthew         10/12/2023     0.8   Update customer template for preference analysis

Flynn, Matthew         10/12/2023     0.7   Call with K. Baker, M. Flynn and D. Wilson (A&M) to discuss top 750
                                            customer claims preference request and new preference template
                                            changes
Gordon, Robert         10/12/2023     0.4   Teleconference with R. Gordon, C. Broskay(A&M) over scope of the
                                            historical binder
Gosau, Tracy           10/12/2023     1.6   Review transactions related to Gabe Bankman-Fried re: Loan
                                            receivables
Gosau, Tracy           10/12/2023     0.4   Call with E. Hoffer, T. Gosau, and B. Price (A&M) to discuss the
                                            analysis of transactions related to Gabe Bankman-Fried
Helal, Aly             10/12/2023     1.2   Search for FTX Digital Markets additional bank statements in the
                                            new repository received
Helal, Aly             10/12/2023     1.5   Reconcile FTX Japan KK Bank Accounts and prepare them to be
                                            ingested to the cash database
Helal, Aly             10/12/2023     0.2   Call with A. Helal, M. Blanchard (A&M) regarding tracing analysis
                                            related to Ashla lender claim


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Avoidance Actions
Professional                 Date    Hours    Activity
Helal, Aly              10/12/2023     0.4   Call with W. Ruez and A. Helal regarding Ashla lending claim
                                             Update
Helal, Aly              10/12/2023     1.1   Update the Ashla International lending claim slide deck


Hoffer, Emily           10/12/2023     3.1   Review documents provided by Quinn Emanuel related to payments
                                             made to entities associated with Gabe Bankman-Fried
Hoffer, Emily           10/12/2023     0.9   Review Silvergate 2004 production related to North Dimension
                                             accounts to determine documents available re: compliance by bank
Hoffer, Emily           10/12/2023     0.4   Call with E. Hoffer, T. Gosau, and B. Price (A&M) to discuss the
                                             analysis of transactions related to Gabe Bankman-Fried
Hoffer, Emily           10/12/2023     2.3   Review relativity for documents to determine the purpose of
                                             payments made to Guarding Against Pandemics for potential
                                             avoidance actions
Hoffer, Emily           10/12/2023     1.1   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss Silvergate
                                             bank production for select North Dimension, Alameda Research
                                             accounts
Johnson, Robert         10/12/2023     0.8   Adjust Fidelity and Equity banking data in combined banking data to
                                             correct issues introduced in data extraction
Johnson, Robert         10/12/2023     0.3   Add additional ID field to circle signet stripe banking table in
                                             Metabase to allow for unique ID across records
Johnson, Robert         10/12/2023     1.2   Update existing records and new records in circle signet stripe table
                                             with unique id
Lee, Julian             10/12/2023     0.1   Summarize findings for review of Silvergate bank production re:
                                             North Dimension account
Lee, Julian             10/12/2023     0.1   Correspond with team regarding FTX Digital Markets production
                                             from Bahamas Litigation discovery
Lee, Julian             10/12/2023     0.2   Review Klarpay bank data re: FTX Digital Markets accounts from
                                             Bahamas litigation discovery
Lee, Julian             10/12/2023     0.4   Review tracker for FTX Digital Markets production from Bahamas
                                             Litigation discovery
Lee, Julian             10/12/2023     0.6   Search for FTX Digital Markets records related to Deltec account


Lee, Julian             10/12/2023     0.2   Review of Silvergate production summary re: Rule 2004 motion

Lee, Julian             10/12/2023     1.1   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss Silvergate
                                             bank production for select North Dimension, Alameda Research
                                             accounts
Lee, Julian             10/12/2023     0.2   Correspond with team regarding status of additional FTX Digital
                                             Markets bank data identified from Bahamas litigation discovery
McGrath, Patrick        10/12/2023     0.7   Call with M. Blanchard and P. McGrath (A&M) regarding daily
                                             balance change in exchange account activity
McGrath, Patrick        10/12/2023     0.2   Call with P. McGrath, M. Blanchard (A&M) regarding 3AC trading
                                             activity and exchange data
McGrath, Patrick        10/12/2023     0.5   Call with L. Ryan, A. Canale, P. McGrath, M. Blanchard, M. Ebrey
                                             (A&M) regarding Cega lender deck



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Avoidance Actions
Professional                Date    Hours    Activity
McGrath, Patrick       10/12/2023     0.6   Call with A. Canale, P. McGrath (A&M) regarding 3AC exchange
                                            account reconciliation
McGrath, Patrick       10/12/2023     0.8   Review and update Mirana customer preference analysis


McGrath, Patrick       10/12/2023     0.8   Call with P. McGrath, K. Baker, M. Blanchard (A&M) regarding
                                            exchange customer bank reconciliation and balance data
McGrath, Patrick       10/12/2023     1.0   Call with A. Canale, P. McGrath (A&M) regarding 3AC exchange
                                            account analysis
Medway, David          10/12/2023     0.8   Review and analyze The Block Crypto merger agreement produced
                                            by Michael McCaffrey at the request of counsel
Medway, David          10/12/2023     0.2   Communications with counsel regarding expanded professionals
                                            review and investigation
Medway, David          10/12/2023     0.3   Call with M. Shanahan and D. Medway (A&M) regarding results of
                                            McCaffrey production review
Medway, David          10/12/2023     0.3   Communications with counsel regarding results of McCaffrey
                                            production review
Mosley, Ed             10/12/2023     1.6   Review of preference materials and settlement proposal for use in
                                            the plan settlement
Price, Breanna         10/12/2023     0.7   Continue searching the Bahamas Relativity repository for BCB bank
                                            data related to FTX Digital Markets
Price, Breanna         10/12/2023     2.0   Add Prime Trust bank data details to the Gabe Bankman-Fried loan
                                            analysis and bank statement tracker
Price, Breanna         10/12/2023     0.6   Search the Prime Trust Relativity repository for bank data related to
                                            Sam Bankman-Fried
Price, Breanna         10/12/2023     0.8   Search Relativity for data clarifying the purpose of the Planning for
                                            Tomorrow donation
Price, Breanna         10/12/2023     0.4   Search payroll data to determine if Gabe Bankman-Fried was an
                                            employee at FTX
Price, Breanna         10/12/2023     1.3   Add BCB bank statements to the bank statement tracker

Price, Breanna         10/12/2023     1.7   Continue searching the cash database for bank statement data
                                            related to Gabe Bankman-Fried for the purposes of filing a potential
                                            claim
Price, Breanna         10/12/2023     0.4   Call with E. Hoffer, T. Gosau, and B. Price (A&M) to discuss the
                                            analysis of transactions related to Gabe Bankman-Fried
Ramanathan, Kumanan    10/12/2023     0.2   Provide investigation team with updated settlement agreement
                                            amounts
Ruez, William          10/12/2023     0.3   Call with W. Ruez and A. Helal regarding Ashla lending claim update


Ruez, William          10/12/2023     2.4   Update of Ashla deck related to lender analysis

Ryan, Laureen          10/12/2023     0.3   Correspond with QE and A&M Team regarding criminal trial matters
                                            related to avoidance action analysis
Ryan, Laureen          10/12/2023     0.2   Correspond with A&M team regarding updates to PMO draft with
                                            workstream planner for avoidance activities


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Avoidance Actions
Professional              Date    Hours    Activity
Ryan, Laureen        10/12/2023     0.5   Call with L. Ryan, A. Canale, P. McGrath, M. Blanchard, M. Ebrey
                                          (A&M) regarding Cega lender deck
Ryan, Laureen        10/12/2023     0.2   Correspond with A&M team regarding JPL bank data workplan for
                                          ingesting to repository
Ryan, Laureen        10/12/2023     0.2   Correspond with A&M team alternatives in approach to customers
                                          exchange preference analysis
Ryan, Laureen        10/12/2023     0.3   Correspond with S&C and A&M Team regarding China Bribe's and
                                          analysis related thereto
Ryan, Laureen        10/12/2023     0.1   Correspond with QE and A&M Team regarding more production
                                          from Clement Maynard
Ryan, Laureen        10/12/2023     0.2   Review PMO draft with workstream planner for avoidance activities

Ryan, Laureen        10/12/2023     0.2   Correspond with QE and A&M Team regarding Moore Stephens
                                          inquiries
Ryan, Laureen        10/12/2023     0.2   Correspond with QE and A&M Team regarding Bankman Fried
                                          inquiries
Ryan, Laureen        10/12/2023     0.2   Correspond with A&M Team regarding Anchorage demand letter sent


Ryan, Laureen        10/12/2023     0.9   Correspond with A&M team regarding updates to 3AC exchange
                                          analysis
Ryan, Laureen        10/12/2023     0.1   Correspond with A&M Team regarding UCC request updates

Ryan, Laureen        10/12/2023     2.1   Review and edit updated 3AC exchange analysis


Shanahan, Michael    10/12/2023     0.3   Call with M. Shanahan and D. Medway (A&M) regarding results of
                                          McCaffrey production review
Shanahan, Michael    10/12/2023     1.2   Review documents in preparation for call with team regarding
                                          Silvergate production
Shanahan, Michael    10/12/2023     2.6   Review analysis and supporting documents related to Silvergate
                                          account usage
Shanahan, Michael    10/12/2023     0.2   Review PMO slides for upcoming meeting


Shanahan, Michael    10/12/2023     0.4   Review documents related to McCafferty transactions

Shanahan, Michael    10/12/2023     0.3   Communications to/from team regarding professionals review

Shanahan, Michael    10/12/2023     0.2   Communications to/from team regarding Stocktwits


Shanahan, Michael    10/12/2023     1.1   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss Silvergate
                                          bank production for select North Dimension, Alameda Research
                                          accounts
Sloan, Austin        10/12/2023     0.6   Continue bank statement reconciliation for Equity accounts in
                                          relation to cash database
Sloan, Austin        10/12/2023     0.6   Continue bank statement reconciliation for Fidelity accounts in
                                          relation to cash database


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Avoidance Actions
Professional               Date    Hours    Activity
Strong, Nichole       10/12/2023     1.1   Discussion with N. Strong and A. Cox (A&M) regarding payment
                                           history for professionals
Wilson, David         10/12/2023     2.1   Script database to create new user analytics master table using EST
                                           time for subsequent advance calculations
Wilson, David         10/12/2023     1.4   Script database to create tables for current pricing and transaction
                                           pricing using EST time for user analytics
Wilson, David         10/12/2023     1.4   Script database to create function to run subsequent advance
                                           calculation on new time windows using EST time
Wilson, David         10/12/2023     0.8   Calculate and add processing withdrawals as a column in the user
                                           analytics template and table
Wilson, David         10/12/2023     0.7   Revise and re-run code to produce minute by minute pricing using
                                           EST time for user analytics
Wilson, David         10/12/2023     1.4   Implement quality edits in three user analytics reports from prior day
                                           using the new template
Wilson, David         10/12/2023     0.4   Call with K. Baker, M. Flynn and D. Wilson (A&M) to discuss
                                           customer claims preference request
Wilson, David         10/12/2023     2.1   Perform quality reviews on new subsequent advance preference
                                           tables using EST
Wilson, David         10/12/2023     1.1   Script database to add 9 day time window to new user analytics
                                           code using EST time
Wilson, David         10/12/2023     0.8   Revise code to re-pull population for user analytics using EST time

Wilson, David         10/12/2023     1.3   Perform quality checks on final subsequent advance output


Wilson, David         10/12/2023     0.7   Call with K.Baker, M. Flynn and D. Wilson (A&M) to discuss top 750
                                           customer claims preference request and new preference template
                                           changes
Arnett, Chris         10/13/2023     0.6   Review and comment on draft customer preference tracker for
                                           distribution to S&C
Arnett, Chris         10/13/2023     0.9   Review and comment on draft of Three Arrows Capital findings
                                           analysis
Blanchard, Madison    10/13/2023     0.1   Call with A. Canale, M. Blanchard (A&M) regarding updates to
                                           exchange customer preference analysis
Blanchard, Madison    10/13/2023     1.1   Update to exchange customer preference analysis and complaint
                                           exhibit prepared at request of Counsel (S&C)
Blanchard, Madison    10/13/2023     0.9   Incorporate feedback from quality control review of report prepared
                                           for high priority lender claim
Blanchard, Madison    10/13/2023     0.7   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                           3AC analysis of exchange account activity
Blanchard, Madison    10/13/2023     0.9   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                           Cega options, loans, and investments
Blanchard, Madison    10/13/2023     0.2   Call with A. Canale, M. Blanchard (A&M) regarding updates to lender
                                           preference actions
Blanchard, Madison    10/13/2023     0.2   Call with E. Hoffer, M. Blanchard (A&M) regarding Anchorage
                                           lending claim account information


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Avoidance Actions
Professional                  Date    Hours    Activity
Blanchard, Madison       10/13/2023     0.6   Review of report prepared by crypto tracing team relating to Cega
                                              lending claim analysis
Blanchard, Madison       10/13/2023     1.1   Perform tracing analysis of payments made in connection with
                                              Tomochain lending claim analysis
Blanchard, Madison       10/13/2023     0.9   Quality control review of report prepared for high priority lender claim

Blanchard, Madison       10/13/2023     1.3   Analysis of report prepared by crypto tracing team relating to Cega
                                              lending claim analysis
Blanchard, Madison       10/13/2023     0.6   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                              customer preference analysis and net withdrawal calculation
Canale, Alex             10/13/2023     0.4   Call with A. Canale, P. McGrath, and A. Helal regarding tracing of
                                              loan and interest payments for Ashla
Canale, Alex             10/13/2023     0.7   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                              Cega options, loans, and investments
Canale, Alex             10/13/2023     0.7   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                              3AC analysis of exchange account activity
Canale, Alex             10/13/2023     0.1   Call with A. Canale, M. Blanchard (A&M) regarding updates to
                                              exchange customer preference analysis
Canale, Alex             10/13/2023     0.2   Call with A. Canale, M. Blanchard (A&M) regarding updates to lender
                                              preference actions
Canale, Alex             10/13/2023     0.3   Call with A. Canale and P. McGrath (A&M) regarding reconciliation
                                              of 3AC account balances
Canale, Alex             10/13/2023     0.2   Call with A. Canale, J. Lee (A&M) to discuss lending analysis re:
                                              Silvergate bank
Canale, Alex             10/13/2023     0.7   Call with M. Shanahan, A. Canale (A&M) regarding Venture Book
                                              claims analysis
Canale, Alex             10/13/2023     1.1   Analysis of Anchorage lending to LedgerPrime around the petition
                                              date
Canale, Alex             10/13/2023     0.7   Review exchange preference analyses for Mirana and related entities

Canale, Alex             10/13/2023     1.6   Prepare updates to 3AC analysis and memorandum and finalize


Canale, Alex             10/13/2023     0.6   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                              customer preference analysis and net withdrawal calculation
Chan, Jon                10/13/2023     1.9   Investigate activity related to A&M internal request relating to
                                              specific entity given wallets, names and emails
Cox, Allison             10/13/2023     0.6   Discussion with M. Shanahan, N. Strong, and A. Cox (A&M)
                                              regarding payment activity for professionals
Cox, Allison             10/13/2023     2.8   Review QuickBooks activity in relation to services provided by
                                              professional firms
Cox, Allison             10/13/2023     2.9   Document review in relation to list two professional firms services
                                              provided
Cox, Allison             10/13/2023     2.6   Summarize services provided in relation to list two professional firms




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Avoidance Actions
Professional                Date    Hours    Activity
Dobbs, Aaron           10/13/2023     0.7   Reprice transaction activity for FTT token transactions related to
                                            lending relationship with Tomochain
Dobbs, Aaron           10/13/2023     1.6   Summarize key observations related to lending and token swap
                                            activity between Alameda and Tomochain
Dobbs, Aaron           10/13/2023     2.3   Create collateral analysis table to reflect flow of collateral from
                                            Alameda to Tomochain
Dobbs, Aaron           10/13/2023     1.2   Trace flow of crypto funds to assess collateral repayment of FTT on
                                            Etherscan
Dobbs, Aaron           10/13/2023     1.9   Trace flow of crypto funds to assess collateral repayment of FTT on
                                            Tomoscan
Ebrey, Mason           10/13/2023     0.1   Call with N. Strong, M. Ebrey (A&M) regarding verification of cash
                                            transactions to professional firms
Ebrey, Mason           10/13/2023     1.0   Update descriptions for cash transactions to professional firms


Ebrey, Mason           10/13/2023     2.7   Search in relativity for documents related to ABRA margin calls

Ebrey, Mason           10/13/2023     1.2   Review and edit updates to Three Arrows Capital Memo


Flynn, Matthew         10/13/2023     1.3   Update for comments on top customer data summary for FTX.COM
                                            customers
Flynn, Matthew         10/13/2023     1.1   Update for comments on top customer data summary for FTX.US
                                            customers
Flynn, Matthew         10/13/2023     0.4   Update customer analysis based on comments


Flynn, Matthew         10/13/2023     0.6   Review customer balance and transaction analysis for S&C

Gosau, Tracy           10/13/2023     1.2   Review transactions related to Gabe Bankman-Fried re: Accounting
                                            transactions
Helal, Aly             10/13/2023     0.3   Call with P. McGrath, W. Ruez, and A. Helal regarding tracing of
                                            loan and interest payments for Ashla
Helal, Aly             10/13/2023     0.4   Call with A. Canale, P. McGrath, and A. Helal regarding tracing of
                                            loan and interest payments for Ashla
Helal, Aly             10/13/2023     1.8   Search for loan transactions on Etherscan based on wallets
                                            identified relating to the loan between Ashla and Debtors
Helal, Aly             10/13/2023     1.7   Update the preference exposure table for Three Arrows FTX
                                            exchange account
Helal, Aly             10/13/2023     1.3   Search for additional communication between debtors and Ashla
                                            International
Helal, Aly             10/13/2023     0.5   Call with W. Ruez and A. Helal regarding Ashla lending claim Update

Hoffer, Emily          10/13/2023     0.2   Call with E. Hoffer, M. Blanchard (A&M) regarding Anchorage
                                            lending claim account information
Hoffer, Emily          10/13/2023     2.8   Continue review relativity for documents to determine the purpose of
                                            payments made to Guarding Against Pandemics for potential
                                            avoidance actions


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Avoidance Actions
Professional                 Date    Hours    Activity
Hoffer, Emily           10/13/2023     1.9   Quality control review of Three Arrow Capital tables to determine
                                             that all tables are correct prior to leadership review
Hoffer, Emily           10/13/2023     2.1   Quality control review of Three Arrow Capital memo to determine if
                                             there are any areas of clarification necessary prior to leadership
                                             review
Kearney, Kevin          10/13/2023     0.8   Review of historical loan activity associated with targeted
                                             LedgerPrime lender
Lee, Julian             10/13/2023     0.2   Correspond with AlixPartners regarding FTX Digital Markets bank
                                             data for Deltec account
Lee, Julian             10/13/2023     0.2   Correspond with Accounting team regarding FTX Digital Markets
                                             bank data for Deltec account
Lee, Julian             10/13/2023     1.6   Summarize findings for review of Silvergate bank production re:
                                             North Dimension account
Lee, Julian             10/13/2023     0.8   Review bank account tracker for weekly update to AlixPartners,
                                             Accounting team
Lee, Julian             10/13/2023     0.1   Call with J. Lee, B. Price (A&M) to discuss bank data related to FTX
                                             Digital Markets
Lee, Julian             10/13/2023     0.2   Call with A. Canale, J. Lee (A&M) to discuss lending analysis re:
                                             Silvergate bank
Lee, Julian             10/13/2023     0.1   Review FTX Digital Markets bank data for Deltec account


McGrath, Patrick        10/13/2023     0.7   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                             3AC analysis of exchange account activity
McGrath, Patrick        10/13/2023     0.3   Call with P. McGrath, W. Ruez, and A. Helal regarding tracing of
                                             loan and interest payments for Ashla
McGrath, Patrick        10/13/2023     0.4   Call with A. Canale, P. McGrath, and A. Helal regarding tracing of
                                             loan and interest payments for Ashla
McGrath, Patrick        10/13/2023     0.9   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                             Cega options, loans, and investments
McGrath, Patrick        10/13/2023     0.3   Call with P. McGrath and A. Cox regarding identification of
                                             cancelled/reversed bank deposits
McGrath, Patrick        10/13/2023     0.3   Call with A. Canale and P. McGrath (A&M) regarding reconciliation
                                             of 3AC account balances
McGrath, Patrick        10/13/2023     0.7   Review and analyze Cega transactions at the request of counsel


McGrath, Patrick        10/13/2023     1.1   Analyze Mirana customer preference and net withdrawal calculations

McGrath, Patrick        10/13/2023     0.3   Summarize information and analysis of 3AC account activity


McGrath, Patrick        10/13/2023     0.6   Reconcile exchange account activity for 3AC

McGrath, Patrick        10/13/2023     0.6   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                             customer preference analysis and net withdrawal calculation
Medway, David           10/13/2023     1.4   Review and analyze The Block Crypto merger agreement produced
                                             by Michael McCaffrey at the request of counsel


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Professional               Date    Hours    Activity
Medway, David         10/13/2023     0.3   Call with M. Shanahan and D. Medway (A&M) regarding case status
                                           and strategy
Medway, David         10/13/2023     2.3   Prepare memo summarizing findings from review and analysis of
                                           Michael McCaffrey document production for discussion with counsel
Price, Breanna        10/13/2023     1.2   Search Relativity for data related to the loan funds used to make
                                           donations to Gabe Bankman-Fried
Price, Breanna        10/13/2023     2.2   Complete the searching through the Bahamas Relativity repository
                                           for BCB bank data related to FTX Digital Markets
Price, Breanna        10/13/2023     1.4   Search Relativity for data clarifying the purpose of the Building for a
                                           Stronger Future donation
Price, Breanna        10/13/2023     0.1   Call with J. Lee, B. Price (A&M) to discuss bank data related to FTX
                                           Digital Markets
Price, Breanna        10/13/2023     1.1   Research the various charitable funds related to Gabe Bankman-
                                           Fried to discover their purpose in relation to the donations made by
                                           FTX
Ramanathan, Kumanan   10/13/2023     1.4   Revise preference summary schedule and distribute


Ruez, William         10/13/2023     0.3   Call with P. McGrath, W. Ruez, and A. Helal regarding tracing of
                                           loan and interest payments for Ashla
Ruez, William         10/13/2023     2.6   Analysis of collateral transfer between Ashla and Alameda regarding
                                           lender analysis
Ruez, William         10/13/2023     0.5   Call with W. Ruez and A. Helal regarding Ashla lending claim Update

Ruez, William         10/13/2023     1.3   Continue to update Ashla deck related to lender analysis


Ryan, Laureen         10/13/2023     0.6   Correspond with A&M team regarding updates on data and analysis
                                           related to three arrows investigation
Ryan, Laureen         10/13/2023     0.4   Correspond with A&M team regarding lending analysis strategy for
                                           possible avoidance actions
Ryan, Laureen         10/13/2023     0.4   Correspond with QE and A&M team regarding Can Sun Fill requests
                                           on the FTX exchange
Ryan, Laureen         10/13/2023     0.1   Correspond with S&C, FTX and A&M team regarding bank tracker
                                           activities
Ryan, Laureen         10/13/2023     0.2   Correspond with QE and A&M team regarding Moore Stevens
                                           production
Ryan, Laureen         10/13/2023     0.2   Correspond with A&M team regarding bank repository updates

Salas Nunez, Luis     10/13/2023     0.9   Summarize KYC notes for top debtors


Shanahan, Michael     10/13/2023     0.6   Discussion with M. Shanahan, N. Strong, and A. Cox (A&M)
                                           regarding payment activity for professionals
Shanahan, Michael     10/13/2023     0.3   Call with M. Shanahan and D. Medway (A&M) regarding case status
                                           and strategy
Shanahan, Michael     10/13/2023     0.7   Call with M. Shanahan, A. Canale (A&M) regarding Venture Book
                                           claims analysis


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Avoidance Actions
Professional               Date    Hours    Activity
Shanahan, Michael     10/13/2023     1.3   Review documents related to potential claims against professionals

Shanahan, Michael     10/13/2023     1.6   Review documents related to Venture book claims analysis


Shanahan, Michael     10/13/2023     0.7   Review summary of McCafferty document production

Strong, Nichole       10/13/2023     0.1   Call with N. Strong, M. Ebrey (A&M) regarding verification of cash
                                           transactions to professional firms
Strong, Nichole       10/13/2023     1.8   Communications with A&M team regarding approach to additional
                                           requests from counsel related to Professionals
Strong, Nichole       10/13/2023     0.6   Discussion with M. Shanahan, N. Strong, and A. Cox (A&M)
                                           regarding payment activity for professionals
Strong, Nichole       10/13/2023     0.9   Communications with counsel regarding approach to additional
                                           requests related to Professionals
Strong, Nichole       10/13/2023     0.7   Strategize and delegate quality control procedures to confirm
                                           completeness and accuracy of payment population to select non-
                                           financial, non-legal Professionals as requested by counsel
Strong, Nichole       10/13/2023     2.1   Confirm completeness and accuracy of payment population to select
                                           non-financial, non-legal Professionals as requested by counsel
Walia, Gaurav         10/13/2023     0.7   Review potential preference exposure for a certain employee


Wilson, David         10/13/2023     1.3   Pull new user analytics template for 11 individual and corporate
                                           accounts
Wilson, David         10/13/2023     0.6   Pull new user analytics template for single individual account


Wilson, David         10/13/2023     1.8   Pull new user analytics template for 24 corporate accounts

Flynn, Matthew        10/14/2023     1.7   Review transaction detail for two customers for S&C

Ramanathan, Kumanan   10/14/2023     0.8   Revise updated preference analysis illustrative tear sheet and
                                           distribute based on comments from counsel
Ramanathan, Kumanan   10/14/2023     2.0   Perform analysis on insider accounts and red flag accounts for
                                           exposure
Ramanathan, Kumanan   10/14/2023     1.9   Create updated public preference settlement illustration for term
                                           sheet
Ramanathan, Kumanan   10/14/2023     1.1   Review of user exchange analysis and exchange activity records

Walia, Gaurav         10/14/2023     2.9   Prepare an updated bridge of the user exchange analysis from a
                                           previous version
Walia, Gaurav         10/14/2023     2.1   Update the one-pager preference exposure primer to be included in
                                           the RSA
Wilson, David         10/14/2023     1.6   Perform quality reviews on subsequent advance user analytics
                                           tables to prevent data duplication
Wilson, David         10/14/2023     2.4   Pull full transactional detail for multiple accounts specified in A&M
                                           data request


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Avoidance Actions
Professional                Date    Hours    Activity
Blanchard, Madison     10/15/2023     1.2   Update to exchange customer preference analysis and complaint
                                            exhibit using new methodology
Flynn, Matthew         10/15/2023     0.3   Update customer analysis transaction data for S&C


Mosley, Ed             10/15/2023     0.8   Review of draft communications to PSA parties regarding
                                            preferences
Ramanathan, Kumanan    10/15/2023     0.6   Review of illustrative preference tear sheet and provide feedback

Ryan, Laureen          10/15/2023     0.3   Correspond with A&M team regarding inquiries related to Bahamas
                                            property purchases
Ryan, Laureen          10/15/2023     0.3   Investigate FTX connection to Joe Lewis

Walia, Gaurav          10/15/2023     1.1   Update the preference calculation primer in the RSA based on
                                            feedback from Rothschild
Arnett, Chris          10/16/2023     0.4   Continue review and comment of lender avoidance analysis at
                                            request of S&C
Arnett, Chris          10/16/2023     0.4   Review claims filed by potential avoidance action counterparty at
                                            request of S&C
Arnett, Chris          10/16/2023     0.3   Correspond with J. Croke (S&C) re: status of non-customer claims
                                            analysis
Blanchard, Madison     10/16/2023     1.4   Perform updates to Cega lending claim analysis incorporating data
                                            identified through tracing analysis
Blanchard, Madison     10/16/2023     1.1   Perform updates relating to exchange customer preference analysis
                                            using alternative preference exposure calculations
Blanchard, Madison     10/16/2023     0.2   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                            exchange customer preference analysis updates
Blanchard, Madison     10/16/2023     0.2   Call with A. Canale, M. Blanchard (A&M) regarding Anchorage
                                            lender claim analyses updates
Blanchard, Madison     10/16/2023     1.2   Review and update findings relating to Abra lending claim analysis

Blanchard, Madison     10/16/2023     1.1   Prepare presentation relating to high priority exchange customer
                                            analysis
Blanchard, Madison     10/16/2023     2.4   Perform updates to Anchorage lending claim analysis incorporating
                                            new information identified relating to preference period loans
Blanchard, Madison     10/16/2023     0.5   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                            case updates and planning
Blanchard, Madison     10/16/2023     0.2   Call with M. Blanchard, M. Ebrey (A&M) regarding tracing of Abra
                                            loan funds sent to debtor
Blanchard, Madison     10/16/2023     0.4   Call with P. McGrath and M. Blanchard (A&M) regarding updates to
                                            net withdrawal calculation included in summary of exchange
                                            customer preference exposure
Blanchard, Madison     10/16/2023     0.4   Call with P. McGrath and M. Blanchard (A&M) regarding updates to
                                            customer preference analysis and net withdrawal calculation
Broskay, Cole          10/16/2023     0.9   Provide commentary on draft case summary binder slide deck -
                                            organizational structure section


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Avoidance Actions
Professional                  Date    Hours    Activity
Broskay, Cole            10/16/2023     0.6   Teleconference with C. Broskay, R. Gordon(A&M) to discuss content
                                              of FTX binder
Broskay, Cole            10/16/2023     1.6   Compile share raise sections of case summary binder for WRS and
                                              Dotcom entities
Broskay, Cole            10/16/2023     1.4   Continue revisions to case summary binder outline based on internal
                                              team feedback
Canale, Alex             10/16/2023     0.2   Call with A. Canale and T. Gosau (A&M) to discuss the analysis of
                                              transactions related to Gabe Bankman-Fried
Canale, Alex             10/16/2023     0.2   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                              exchange customer preference analysis updates
Canale, Alex             10/16/2023     0.9   Prepare responses to counsel queries regarding Three Arrows
                                              Capital exchange account analysis
Canale, Alex             10/16/2023     0.7   Prepare updates to Ashla lender analysis deck to incorporate
                                              findings from crypto tracing team
Canale, Alex             10/16/2023     0.2   Call with A. Canale, M. Blanchard (A&M) regarding Anchorage
                                              lender claim analyses updates
Canale, Alex             10/16/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding exchange manual
                                              reconciliation
Canale, Alex             10/16/2023     0.9   Call with L. Ryan, M. Shanahan, A. Canale (A&M) regarding case
                                              status and strategy
Canale, Alex             10/16/2023     0.7   Analysis of Mirana preference exposure under net withdrawals
                                              methodology
Canale, Alex             10/16/2023     0.6   Correspond with A&M team and counsel regarding Three Arrows
                                              Capital
Canale, Alex             10/16/2023     0.4   Review Anchorage lender transactions with LedgerPrime

Canale, Alex             10/16/2023     0.5   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                              case updates and planning
Cox, Allison             10/16/2023     2.8   Create document review template and Invoice summary for Moore
                                              Stephens
Cox, Allison             10/16/2023     2.9   Review second 400 documents in relation to Moore Stephens
                                              services
Cox, Allison             10/16/2023     2.9   Review first 400 documents in relation to Moore Stephens services

Dobbs, Aaron             10/16/2023     0.6   Analyze FTX.com exchange information associated with Long
                                              Vuong to assess preference period activity
Dobbs, Aaron             10/16/2023     1.2   Create lending preference period analysis to assess lender claims
                                              associated with Tomochain PTE Ltd
Dobbs, Aaron             10/16/2023     1.6   Create lender summary for Tomochain to capture all loan activity for
                                              lender tear sheet deck
Dobbs, Aaron             10/16/2023     1.8   Analyze FTX.com exchange information associated with Tomochain
                                              and related companies to assess preference period activity
Ebrey, Mason             10/16/2023     2.1   Trace collateral issuances and margin calls for debtor loans from
                                              ABRA




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Avoidance Actions
Professional                 Date    Hours    Activity
Ebrey, Mason            10/16/2023     3.1   Prepare updates to Abra loan history table

Ebrey, Mason            10/16/2023     1.4   Create loan history table for Abra loans issued to Alameda


Ebrey, Mason            10/16/2023     0.2   Update currency for professional firm transactions

Ebrey, Mason            10/16/2023     0.2   Call with M. Blanchard, M. Ebrey (A&M) regarding tracing of Abra
                                             loan funds sent to debtor
Gordon, Robert          10/16/2023     0.6   Teleconference with C. Broskay, R. Gordon(A&M) to discuss content
                                             of FTX binder
Gosau, Tracy            10/16/2023     0.9   Target searches for documents related to Gabe Bankman-Fried
                                             transactions re: Building a Stronger Future Inc
Gosau, Tracy            10/16/2023     0.8   Target searches for documents related to Gabe Bankman-Fried
                                             transactions re: People for Progressive Governance
Gosau, Tracy            10/16/2023     0.2   Call with A. Canale and T. Gosau (A&M) to discuss the analysis of
                                             transactions related to Gabe Bankman-Fried
Gosau, Tracy            10/16/2023     0.7   Call with T. Gosau, and B. Price (A&M) to discuss the analysis of
                                             transactions related to Gabe Bankman-Fried
Gosau, Tracy            10/16/2023     1.2   Target searches for supporting documents related to Gabe
                                             Bankman-Fried transactions re: Planning for Tomorrow
Gosau, Tracy            10/16/2023     1.7   Target searches for documents related to Gabe Bankman-Fried
                                             transactions re: Guarding Against Pandemics
Gosau, Tracy            10/16/2023     0.6   Target searches for documents related to Gabe Bankman-Fried
                                             transactions re: Center for Future
Gosau, Tracy            10/16/2023     0.5   Call with T. Gosau and N. Strong (A&M) regarding strategy of review
                                             of Moore Stephens
Gosau, Tracy            10/16/2023     0.5   Target searches for documents related to Gabe Bankman-Fried
                                             transactions re: Bughouse
Gosau, Tracy            10/16/2023     0.6   Target searches for documents related to Gabe Bankman-Fried
                                             transactions
Gosau, Tracy            10/16/2023     0.3   Call with M. Shanahan and T. Gosau (A&M) to discuss the
                                             evaluation of claims against professionals
Helal, Aly              10/16/2023     2.4   Update analysis slide deck Re: lending activities and preference
                                             exposure for Debtors and Ashla International
Helal, Aly              10/16/2023     2.3   Review analysis for lending relationship between Ashla
                                             Internationals and Debtors
Lee, Julian             10/16/2023     0.2   Search for Moonstone bank data related to FTX Digital Markets
                                             accounts in Bahamas litigation production
Lee, Julian             10/16/2023     0.1   Search for Signet bank data related to FTX Digital Markets accounts
                                             in Bahamas litigation production
Lee, Julian             10/16/2023     0.1   Correspond with team regarding Moonstone bank data related to
                                             FTX Digital Markets for purposes of cash database
Lee, Julian             10/16/2023     0.1   Correspond with team regarding FTX Digital Markets accounts at
                                             Moonstone bank from Bahamas litigation discovery




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Avoidance Actions
Professional                 Date    Hours    Activity
Lee, Julian             10/16/2023     0.4   Correspond with team regarding Relativity searches re: Tavistock,
                                             Joe Lewis for Bahaman property transactions
Lee, Julian             10/16/2023     0.2   Correspond with AlixPartners regarding balance reconciliation for
                                             Alameda Research Ltd account
Lee, Julian             10/16/2023     0.1   Search for BCB bank data related to FTX Digital Markets accounts
                                             in Bahamas litigation production
Lee, Julian             10/16/2023     1.6   Review BCB bank data related to FTX Digital Markets accounts for
                                             purposes of cash database
Lee, Julian             10/16/2023     0.5   Review select Alameda Research accounts at Silvergate, Signet,
                                             Prime Trust for commingled status
Lee, Julian             10/16/2023     0.2   Review Klarpay bank data related to FTX Digital Markets accounts
                                             for purposes of cash database
Lee, Julian             10/16/2023     0.1   Correspond with team regarding select Alameda Research accounts
                                             to determine commingled status
Lee, Julian             10/16/2023     0.1   Review documents identified in JPL repository re: Tavistock for
                                             Bahaman property transactions
Lee, Julian             10/16/2023     0.9   Summarize communications review findings related to North
                                             Dimension account at Silvergate
Lee, Julian             10/16/2023     0.2   Correspond with team regarding status update of additional FDM
                                             bank data
Maggard, Austin         10/16/2023     1.2   Identify KYC and onboarding files from the critical documents sent to
                                             QE to include in the case summary binder
Maggard, Austin         10/16/2023     2.9   Identify files in BOX to include as support in the case summary
                                             binder
Maggard, Austin         10/16/2023     1.3   Identify digital asset and money movement files from the critical
                                             documents sent to QE to include in the case summary binder
Maggard, Austin         10/16/2023     1.8   Identify ftx.com assets/liabilities files from the critical documents and
                                             decks sent to QE to include in the case summary binder
McGrath, Patrick        10/16/2023     0.2   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                             exchange customer preference analysis updates
McGrath, Patrick        10/16/2023     0.5   Call with A. Canale, P. McGrath and M. Blanchard (A&M) regarding
                                             case updates and planning
McGrath, Patrick        10/16/2023     0.3   Review summary of Anchorage lending relationship

McGrath, Patrick        10/16/2023     0.4   Review summary of Ashla lending relationship

McGrath, Patrick        10/16/2023     1.1   Review Cega lending relationship for counsel


McGrath, Patrick        10/16/2023     0.4   Call with P. McGrath and M. Blanchard (A&M) regarding updates to
                                             customer preference analysis and net withdrawal calculation
McGrath, Patrick        10/16/2023     0.4   Call with P. McGrath and M. Blanchard (A&M) regarding updates to
                                             net withdrawal calculation included in summary of exchange
                                             customer preference exposure
Mirando, Michael        10/16/2023     2.6   Research Box for supporting documentation for the declaration
                                             binder


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Avoidance Actions
Professional              Date    Hours    Activity
Mirando, Michael     10/16/2023     3.0   Update the declaration binder with supporting documentation

Mirando, Michael     10/16/2023     1.2   Update product listing for the declaration binder


Mirando, Michael     10/16/2023     2.9   Review the presentation deck for the declaration binder

Price, Breanna       10/16/2023     0.7   Call with T. Gosau, and B. Price (A&M) to discuss the analysis of
                                          transactions related to Gabe Bankman-Fried
Price, Breanna       10/16/2023     3.1   Analyze bank statements to confirm the documented donations to
                                          various entities related to Gabriel Bankman-Fried
Price, Breanna       10/16/2023     2.8   Continue analyzing bank statements to confirm the documented
                                          donations to various entities related to Gabriel Bankman-Fried
Price, Breanna       10/16/2023     2.9   Complete the analyzing bank statements to confirm the documented
                                          donations to various entities related to Gabriel Bankman-Fried
Ruez, William        10/16/2023     1.1   Analysis of supporting documents as it relates to lender analysis for
                                          Ashla
Ruez, William        10/16/2023     1.4   Update tables in deck for Ashla as it relates to lender analysis


Ruez, William        10/16/2023     2.3   Draft deck for Ashla as it relates to lender analysis

Ryan, Laureen        10/16/2023     0.3   Correspond with A&M team regarding documents relate to Joe
                                          Lewis' properties sold to FTX
Ryan, Laureen        10/16/2023     0.2   Correspond with QE and A&M Team regarding new Docs in Third-
                                          Party Repository for review
Ryan, Laureen        10/16/2023     0.2   Correspond with A&M team regarding UCC's requests related to
                                          FTX 3 ARROWS investigation
Ryan, Laureen        10/16/2023     0.3   Correspond with A&M team regarding JPL bank data located and
                                          workplan related thereto
Ryan, Laureen        10/16/2023     0.9   Call with L. Ryan, M. Shanahan, A. Canale (A&M) regarding case
                                          status and strategy
Ryan, Laureen        10/16/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding exchange manual
                                          reconciliation
Ryan, Laureen        10/16/2023     0.4   Correspond with S&C and A&M team regarding FTX 3 ARROWS
                                          search requests
Ryan, Laureen        10/16/2023     0.2   Correspond with S&C and A&M team regarding Mirana KYC
                                          information
Ryan, Laureen        10/16/2023     0.2   Correspond with A&M team regarding plan support agreement


Ryan, Laureen        10/16/2023     0.1   Correspond with A&M team regarding PMO review

Salas Nunez, Luis    10/16/2023     1.7   Summarize data from detailed exchange analysis of top net
                                          withdrawal accounts
Shanahan, Michael    10/16/2023     1.9   Review documents related to The Block in connection with potential
                                          claims against McCafferty entities




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Avoidance Actions
Professional               Date    Hours    Activity
Shanahan, Michael     10/16/2023     0.3   Call with M. Shanahan and T. Gosau (A&M) to discuss the
                                           evaluation of claims against professionals
Shanahan, Michael     10/16/2023     0.9   Call with L. Ryan, M. Shanahan, A. Canale (A&M) regarding case
                                           status and strategy
Shanahan, Michael     10/16/2023     1.2   Review documents related to valuation of Stocktwits investment

Shanahan, Michael     10/16/2023     0.3   Communications to/from counsel regarding Stocktwits investment

Shanahan, Michael     10/16/2023     0.3   Communications to/from team regarding professionals workstream


Shanahan, Michael     10/16/2023     1.3   Preliminary review of documents related to Moore Stephens review

Shanahan, Michael     10/16/2023     0.6   Review and revise draft payment summary for select professionals


Shanahan, Michael     10/16/2023     0.4   Review summary of documents produced by McCafferty

Shanahan, Michael     10/16/2023     0.7   Review analysis of payments to professionals


Sloan, Austin         10/16/2023     2.6   Compile bank statement detail for Deltec bank accounts in relation
                                           to cash database
Sloan, Austin         10/16/2023     2.9   Compile bank statement detail for BCB bank accounts in relation to
                                           cash database
Sloan, Austin         10/16/2023     2.7   Compile bank statement detail for Klarpay bank accounts in relation
                                           to cash database
Strong, Nichole       10/16/2023     0.3   Review updates to payment population to select non-financial, non-
                                           legal Professionals to confirm recorded currency
Strong, Nichole       10/16/2023     0.5   Call with T. Gosau and N. Strong (A&M) regarding strategy of review
                                           of Moore Stephens
Strong, Nichole       10/16/2023     1.2   Strategize and delegate quality control procedures to confirm
                                           completeness and accuracy of payment population to select non-
                                           financial, non-legal Professionals as requested by counsel
Walia, Gaurav         10/16/2023     0.6   Prepare a work plan for several account user exchange analysis

Walia, Gaurav         10/16/2023     1.7   Prepare an updated summary 9-day user exchange analysis


Arnett, Chris         10/17/2023     0.6   Review and comment on claims information provided by A&M claims
                                           team to advance avoidance analysis
Arnett, Chris         10/17/2023     0.3   Call with C. Arnett, P. McGrath, M. Blanchard, A. Canale (A&M)
                                           regarding Cega lending analysis
Arnett, Chris         10/17/2023     0.6   Call with K. Baker, C. Arnett, M. Blanchard (A&M), J. Croke, K.
                                           Stren, B. Glueckstein, B. Beller, L. Wang A. Zahn (S&C) regarding
                                           potential claim scenarios related to 3AC line of credit and account
                                           activity
Baker, Kevin          10/17/2023     0.6   Call with K. Baker, C. Arnett, M. Blanchard (A&M), J. Croke, K.
                                           Stren, B. Glueckstein, B. Beller, L. Wang A. Zahn (S&C) regarding
                                           potential claim scenarios related to 3AC line of credit and account
                                           activity

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Avoidance Actions
Professional              Date    Hours    Activity
Blanchard, Madison   10/17/2023     0.3   Call with M. Blanchard, S. Mimms (A&M) regarding Coin Metrics
                                          pricing updates to Alameda lender claim analysis
Blanchard, Madison   10/17/2023     0.1   Call with L. Lambert, M. Blanchard (A&M) regarding crypto tracing
                                          request in relation to Abra lending claim
Blanchard, Madison   10/17/2023     2.4   Perform analysis relating to causes of daily balance changes
                                          regarding high priority exchange customer analysis
Blanchard, Madison   10/17/2023     0.3   Call with C. Arnett, P. McGrath, M. Blanchard, A. Canale (A&M)
                                          regarding Cega lending analysis
Blanchard, Madison   10/17/2023     1.1   Perform updates to Cega lending claim analysis following quality
                                          control review
Blanchard, Madison   10/17/2023     0.2   Update Anchorage lending claim analysis in response to quality
                                          control review
Blanchard, Madison   10/17/2023     0.6   Call with K. Baker, C. Arnett, M. Blanchard (A&M), J. Croke, K.
                                          Stren, B. Glueckstein, B. Beller, L. Wang A. Zahn (S&C) regarding
                                          potential claim scenarios related to 3AC line of credit and account
                                          activity
Blanchard, Madison   10/17/2023     1.9   Continue to perform analysis relating to causes of daily balance
                                          changes regarding high priority exchange customer analysis
Broskay, Cole        10/17/2023     0.3   Meeting to discuss updates to the declaration binder structure with
                                          C. Broskay, A. Maggard, and M. Mirando (A&M)
Broskay, Cole        10/17/2023     0.4   Meeting to discuss binder structure broken out by silos with C.
                                          Broskay, A. Maggard, and M. Mirando (A&M)
Broskay, Cole        10/17/2023     2.1   Provide review/commentary for draft sections of the case summary
                                          binder - FTX DM specific sections
Broskay, Cole        10/17/2023     0.7   Adjust case summary binder layout based on counsel feedback

Canale, Alex         10/17/2023     0.1   Call with A. Canale, S. Mimms (A&M) regarding Coin Metrics pricing
                                          updates to Alameda lender claim analysis
Canale, Alex         10/17/2023     0.3   Call with C. Arnett, P. McGrath, M. Blanchard, A. Canale (A&M)
                                          regarding Cega lending analysis
Canale, Alex         10/17/2023     0.3   Correspond with A&M team regarding Stocktwits preferred shares
                                          valuation
Canale, Alex         10/17/2023     0.5   Call with M. Shanahan, A. Canale (A&M) regarding Venture Book
                                          claims analysis
Canale, Alex         10/17/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding Venture Book claims
                                          analysis
Canale, Alex         10/17/2023     1.1   Review documents in preparation for Three Arrows meeting with
                                          counsel
Canale, Alex         10/17/2023     0.7   Review documents relating to Mirana preference analysis

Canale, Alex         10/17/2023     1.7   Analysis of 3AC liquidation and margin related data


Canale, Alex         10/17/2023     0.8   Review documents relating to restructuring support agreement
                                          relevant to avoidance actions
Clayton, Lance       10/17/2023     0.2   Meeting to discuss FTX ventures for binder purposes with L.
                                          Clayton, S. Glustein, A. Titus, A. Maggard and M. Mirando (A&M)

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Avoidance Actions
Professional                  Date    Hours    Activity
Cox, Allison             10/17/2023     1.3   Update deck in relation to Binance relationship regarding actual
                                              payments made
Cox, Allison             10/17/2023     2.9   Document review in relation to invoices paid to Moore Stephens


Cox, Allison             10/17/2023     1.1   Document review in relation to donations paid

Cox, Allison             10/17/2023     0.4   Review Prager Metis additional document production

Cox, Allison             10/17/2023     0.8   Review QuickBooks data in relation to donations made


Cox, Allison             10/17/2023     0.4   Call with T. Gosau, A. Cox, and B. Price, (A&M) to discuss the
                                              accounting of transactions related to Gabe Bankman-Fried
Dobbs, Aaron             10/17/2023     2.3   Perform collateral analysis for Tomochain to assess potential
                                              fraudulent transfer activity and loan status
Dobbs, Aaron             10/17/2023     0.3   Call with T. Gosau, and A. Dobbs (A&M) to discuss the analysis of
                                              transactions related to Gabe Bankman-Fried
Dobbs, Aaron             10/17/2023     1.9   Create loan history summary to assess market making and lending
                                              activity for potential preference period activity for Tomochain
Dobbs, Aaron             10/17/2023     2.1   Target searches for KYC information associated with Long Vuong to
                                              assess preference period activity and known entities
Dobbs, Aaron             10/17/2023     2.4   Summarize claims filed for and against lender relationship with
                                              Tomochain and know aliases
Ebrey, Mason             10/17/2023     3.1   Search for transaction hashes for Abra loan related transactions


Ebrey, Mason             10/17/2023     2.8   Prepare updates to Abra loan history table

Flynn, Matthew           10/17/2023     0.5   Call with M. Flynn, G. Walia (A&M) to discuss ad hoc customer
                                              analysis
Flynn, Matthew           10/17/2023     1.1   Review related party user account information for S&C

Flynn, Matthew           10/17/2023     1.3   Perform ad hoc user analysis for Management


Glustein, Steven         10/17/2023     0.2   Meeting to discuss FTX ventures for binder purposes with L.
                                              Clayton, S. Glustein, A. Titus, A. Maggard and M. Mirando (A&M)
Gosau, Tracy             10/17/2023     2.7   Continue reviewing supporting documents related to Gabe Bankman-
                                              Fried transactions re: Building a Stronger Future Inc
Gosau, Tracy             10/17/2023     0.5   Call with T. Gosau, and B. Price (A&M) to discuss outstanding items
                                              for the Gabe Bankman-Fried loan analysis
Gosau, Tracy             10/17/2023     0.3   Call with T. Gosau, and A. Dobbs (A&M) to discuss the analysis of
                                              transactions related to Gabe Bankman-Fried
Gosau, Tracy             10/17/2023     2.8   Review supporting documents related to Gabe Bankman-Fried
                                              transactions
Gosau, Tracy             10/17/2023     0.4   Call with T. Gosau, A. Cox, and B. Price, (A&M) to discuss the
                                              accounting of transactions related to Gabe Bankman-Fried




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Avoidance Actions
Professional                 Date    Hours    Activity
Gosau, Tracy            10/17/2023     0.5   Call with T. Gosau, and B. Price (A&M) to continue discussing the
                                             analysis of transactions related to Gabe Bankman-Fried
Helal, Aly              10/17/2023     2.1   Reconcile FDM Klarpay bank accounts


Helal, Aly              10/17/2023     2.2   Reconcile FTX Digital Markets BCB bank accounts for 2022

Lee, Julian             10/17/2023     0.2   Review FTX Japan KK SBI Clearing account reconciliation for
                                             purposes of cash database
Lee, Julian             10/17/2023     2.2   Summarize communications review findings related to North
                                             Dimension account at Silvergate
Lee, Julian             10/17/2023     0.6   Correspond with team regarding review findings related to North
                                             Dimension account at Silvergate
Lee, Julian             10/17/2023     0.3   Review complaints against Silvergate bank to research liquidation
                                             status of the bank
Lee, Julian             10/17/2023     0.1   Review Signet data for available originating information in select
                                             accounts re: reconciliation of petition date balances
Maggard, Austin         10/17/2023     0.3   Meeting to discuss updates to the declaration binder structure with
                                             C. Broskay, A. Maggard, and M. Mirando (A&M)
Maggard, Austin         10/17/2023     0.4   Meeting to discuss binder structure broken out by silos with C.
                                             Broskay, A. Maggard, and M. Mirando (A&M)
Maggard, Austin         10/17/2023     0.6   Meeting to discuss summary witness materials for Quinn Emanuel
                                             with A. Maggard, M. Mirando, and K. Zabcik (A&M)
Maggard, Austin         10/17/2023     1.9   Review the Venture silo's background and build out the scope for the
                                             case summary binder
Maggard, Austin         10/17/2023     1.6   Create new outline broken out by silos to build out the broader scope
                                             for the case summary binder
Maggard, Austin         10/17/2023     0.2   Identify BOX support for "how the FTX exchange worked" to include
                                             in the case summary binder
Maggard, Austin         10/17/2023     0.2   Meeting to discuss FTX narrative and binder structure with A.
                                             Maggard and M. Mirando (A&M)
Maggard, Austin         10/17/2023     1.2   Review A&M produced decks to identify relevancy to the new case
                                             summary binder outline
Maggard, Austin         10/17/2023     0.3   Identify and tag support and decks related to the new case summary
                                             scope
Maggard, Austin         10/17/2023     0.6   Review Mosley binder for files relevant to the new binder scope

Maggard, Austin         10/17/2023     0.4   Review critical document support related to the international
                                             exchange and how it works for the case summary binder
Maggard, Austin         10/17/2023     0.2   Meeting to discuss FTX ventures for binder purposes with L.
                                             Clayton, S. Glustein, A. Titus, A. Maggard and M. Mirando (A&M)
McGrath, Patrick        10/17/2023     0.3   Call with C. Arnett, P. McGrath, M. Blanchard, A. Canale (A&M)
                                             regarding Cega lending analysis
McGrath, Patrick        10/17/2023     1.9   Analyze exchange data and transaction history for 3AC




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Avoidance Actions
Professional              Date    Hours    Activity
McGrath, Patrick     10/17/2023     0.6   Review lending relationship with Cega for counsel

McGrath, Patrick     10/17/2023     0.6   Call with A. Canale, L. Ryan, P. McGrath (A&M), J. Croke, K. Stren,
                                          B. Glueckstein, B. Beller, L. Wang A. Zahn (S&C) regarding
                                          potential claim scenarios related to 3AC line of credit and account
                                          activity
Medway, David        10/17/2023     0.6   Prepare for call with QE regarding results of initial review of
                                          McCaffrey production
Medway, David        10/17/2023     0.5   Prepare McCaffrey follow up request at the direction of QE

Medway, David        10/17/2023     0.1   Call with M. Shanahan and D. Medway (A&M) to debrief call with QE
                                          regarding results of initial review of McCaffrey production
Medway, David        10/17/2023     0.8   Call with A. Kutscher and M. Wittmann (QE) and M. Shanahan and
                                          D. Medway (A&M) regarding results of initial review of McCaffrey
                                          production
Medway, David        10/17/2023     0.2   Call with M. Shanahan and D. Medway (A&M) to prepare for call with
                                          QE regarding results of initial review of McCaffrey production
Mimms, Samuel        10/17/2023     0.3   Call with M. Blanchard, S. Mimms (A&M) regarding Coin Metrics
                                          pricing updates to Alameda lender claim analysis
Mimms, Samuel        10/17/2023     0.1   Call with A. Canale, S. Mimms (A&M) regarding Coin Metrics pricing
                                          updates to Alameda lender claim analysis
Mirando, Michael     10/17/2023     0.3   Meeting to discuss updates to the declaration binder structure with
                                          C. Broskay, A. Maggard, and M. Mirando (A&M)
Mirando, Michael     10/17/2023     0.4   Meeting to discuss binder structure broken out by silos with C.
                                          Broskay, A. Maggard, and M. Mirando (A&M)
Mirando, Michael     10/17/2023     0.6   Meeting to discuss summary witness materials for Quinn Emanuel
                                          with A. Maggard, M. Mirando, and K. Zabcik (A&M)
Mirando, Michael     10/17/2023     0.2   Meeting to discuss FTX narrative and binder structure with A.
                                          Maggard and M. Mirando (A&M)
Mirando, Michael     10/17/2023     2.6   Research the court docket for information related to the case
                                          summary presentation
Mirando, Michael     10/17/2023     2.9   Create outline for FTX case summary presentation

Mirando, Michael     10/17/2023     1.6   Create timeline of events for case summary binder


Mirando, Michael     10/17/2023     1.7   Research acquisitions for the DOTCOM Silo

Mirando, Michael     10/17/2023     0.2   Meeting to discuss FTX ventures for binder purposes with L.
                                          Clayton, S. Glustein, A. Titus, A. Maggard and M. Mirando (A&M)
Price, Breanna       10/17/2023     0.5   Call with T. Gosau, and B. Price (A&M) to discuss outstanding items
                                          for the Gabe Bankman-Fried loan analysis
Price, Breanna       10/17/2023     2.6   Confirm via QuickBooks the loans from Alameda related to Gabe
                                          Bankman-Fried donations
Price, Breanna       10/17/2023     1.8   Search Relativity for support for the purpose of donations to Gabe
                                          Bankman-Fried related entities



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Avoidance Actions
Professional               Date    Hours    Activity
Price, Breanna        10/17/2023     1.3   Add bank FTX Digital Markets' BCB statements to the bank
                                           statement tracker
Price, Breanna        10/17/2023     0.5   Call with T. Gosau, and B. Price (A&M) to continue discussing the
                                           analysis of transactions related to Gabe Bankman-Fried
Price, Breanna        10/17/2023     0.4   Call with T. Gosau, A. Cox, and B. Price, (A&M) to discuss the
                                           accounting of transactions related to Gabe Bankman-Fried
Ramanathan, Kumanan   10/17/2023     0.5   Call with J. Croke (S&C), K. Ramanathan, G. Walia (A&M) to
                                           discuss user exchange analysis
Ruez, William         10/17/2023     1.2   Finalize Ashla deck as it relates to lender analysis


Ryan, Laureen         10/17/2023     0.3   Correspond with A&M team on inquiries related to certain findings on
                                           the Ashla lending analysis
Ryan, Laureen         10/17/2023     0.7   Review and edit memo summarizing findings on the Ashla lending
                                           relationship
Ryan, Laureen         10/17/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding Venture Book claims
                                           analysis
Ryan, Laureen         10/17/2023     0.3   Correspond with S&C and A&M team on the Mirana KYC
                                           Information requests
Ryan, Laureen         10/17/2023     0.1   Correspond with A&M team regarding Stockwits valuation

Ryan, Laureen         10/17/2023     0.6   Call with A. Canale, L. Ryan, P. McGrath (A&M), J. Croke, K. Stren,
                                           B. Glueckstein, B. Beller, L. Wang A. Zahn (S&C) regarding
                                           potential claim scenarios related to 3AC line of credit and account
                                           activity
Shanahan, Michael     10/17/2023     0.5   Call with M. Shanahan, A. Canale (A&M) regarding Venture Book
                                           claims analysis
Shanahan, Michael     10/17/2023     0.2   Call with M. Shanahan and D. Medway (A&M) to prepare for call with
                                           QE regarding results of initial review of McCaffrey production
Shanahan, Michael     10/17/2023     0.8   Call with A. Kutscher and M. Wittmann (QE) and M. Shanahan and
                                           D. Medway (A&M) regarding results of initial review of McCaffrey
                                           production
Shanahan, Michael     10/17/2023     3.2   Review documents related to McCafferty loans in preparation for call
                                           with counsel
Shanahan, Michael     10/17/2023     0.1   Call with M. Shanahan and D. Medway (A&M) to debrief call with QE
                                           regarding results of initial review of McCaffrey production
Sloan, Austin         10/17/2023     2.4   Perform bank statement reconciliation for Deltec accounts in relation
                                           to cash database
Sloan, Austin         10/17/2023     2.9   Perform bank statement reconciliation for Klarpay accounts in
                                           relation to cash database
Sloan, Austin         10/17/2023     2.8   Perform bank statement reconciliation for BCB accounts in relation
                                           to cash database
Walia, Gaurav         10/17/2023     0.5   Call with J. Croke (S&C), K. Ramanathan, G. Walia (A&M) to
                                           discuss user exchange analysis
Walia, Gaurav         10/17/2023     0.5   Call with M. Flynn, G. Walia (A&M) to discuss ad hoc customer
                                           analysis



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Avoidance Actions
Professional               Date    Hours    Activity
Walia, Gaurav         10/17/2023     1.1   Prepare an updated user exchange analysis for a potential bidder

Zabcik, Kathryn       10/17/2023     0.6   Meeting to discuss summary witness materials for Quinn Emanuel
                                           with A. Maggard, M. Mirando, and K. Zabcik (A&M)
Arnett, Chris         10/18/2023     0.7   Meeting to discuss status of binder modules with C. Arnett, C.
                                           Broskay, K. Zabcik, A. Maggard, and M. Mirando (A&M)
Arnett, Chris         10/18/2023     0.2   Call with E. Mosley and C. Arnett to discuss details of avoidance
                                           action presentations
Arnett, Chris         10/18/2023     0.3   Distribute draft avoidance lender presentation to S&C and J. Ray for
                                           review and comment
Baker, Kevin          10/18/2023     0.2   Call with M. Flynn, K. Baker, D. Wilson (A&M) to discuss employee
                                           analysis request
Blanchard, Madison    10/18/2023     2.6   Update presentation relating to high priority exchange customer
                                           analysis
Blanchard, Madison    10/18/2023     0.2   Discussion with A. Canale, M. Blanchard (A&M) regarding updates
                                           to Cega deck
Blanchard, Madison    10/18/2023     1.3   Perform updates to Cega lending claim analysis following quality
                                           control review
Blanchard, Madison    10/18/2023     0.6   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                           OTC portal data
Blanchard, Madison    10/18/2023     1.9   Perform analysis relating to daily balance changes and margin
                                           balances regarding high priority exchange customer analysis
Blanchard, Madison    10/18/2023     2.1   Continue to perform analysis relating to daily balance changes and
                                           margin balances regarding high priority exchange customer analysis
Broskay, Cole         10/18/2023     0.5   Meeting to discuss case summary WRS binder with M. Jones, C.
                                           Broskay, A. Maggard, and M. Mirando (A&M)
Broskay, Cole         10/18/2023     0.7   Meeting to discuss status of binder modules with C. Arnett, C.
                                           Broskay, K. Zabcik, A. Maggard, and M. Mirando (A&M)
Broskay, Cole         10/18/2023     0.2   Meeting to discuss case summary binder with C. Broskay, and M.
                                           Mirando (A&M)
Broskay, Cole         10/18/2023     1.6   Compile supporting documentation for case summary binder
                                           sections aligned to outline
Broskay, Cole         10/18/2023     1.9   Compile draft Alameda funding sections for case summary binder

Broskay, Cole         10/18/2023     2.3   Compile draft share raise section for case summary binder

Canale, Alex          10/18/2023     0.4   Call with A. Canale and T. Gosau (A&M) to discuss the analysis of
                                           transactions related to Gabe Bankman-Fried
Canale, Alex          10/18/2023     0.7   Review updated Cega deck incorporating additional findings from
                                           crypto team
Canale, Alex          10/18/2023     0.3   Review additional Cega analysis reflecting transactions with affiliated
                                           entity
Canale, Alex          10/18/2023     0.2   Discussion with A. Canale, M. Blanchard (A&M) regarding updates
                                           to Cega deck




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Avoidance Actions
Professional                  Date    Hours    Activity
Canale, Alex             10/18/2023     0.6   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                              OTC portal data
Canale, Alex             10/18/2023     0.7   Correspond with A&M team re: outline for 3AC investigation deck


Canale, Alex             10/18/2023     0.2   Call with A. Titus, A. Canale (A&M) regarding Stocktwits valuation

Canale, Alex             10/18/2023     2.1   Review schedule of payments to G. Bankman-Fried and related
                                              entities
Canale, Alex             10/18/2023     0.1   Call with A. Canale, S. Mimms (A&M) regarding ABRA lender
                                              analysis
Canale, Alex             10/18/2023     0.3   Prepare outline of 3AC trading and liquidation deck

Canale, Alex             10/18/2023     0.4   Correspond with A&M team regarding OTC trade data


Canale, Alex             10/18/2023     0.6   Prepare queries regarding OTC portal analysis

Canale, Alex             10/18/2023     0.6   Review draft term sheet and related settlement agreement


Cox, Allison             10/18/2023     0.3   Call with A. Cox and T. Gosau (A&M) to discuss the analysis of
                                              transactions related to Gabe Bankman-Fried
Cox, Allison             10/18/2023     0.5   Call with M. Shanahan, T. Gosau, and A. Cox (A&M) to discuss
                                              Moore Stephens document review
Cox, Allison             10/18/2023     2.9   Review third set of 300 documents in relation to Moore Stephens
                                              services
Cox, Allison             10/18/2023     2.9   Review fourth set of 300 documents in relation to Moore Stephens
                                              services
Dobbs, Aaron             10/18/2023     1.1   Summarize value of Tomochain loan principal and collateral over
                                              time to asses TOMO value on relevant case dates
Dobbs, Aaron             10/18/2023     2.2   Create interest calculations for Tomochain loan under the terms of
                                              the non-repayment clause of lending agreement
Dobbs, Aaron             10/18/2023     1.9   Summarize value of Tomochain loan principal and collateral over
                                              time to asses SRM value on relevant case dates
Dobbs, Aaron             10/18/2023     1.4   Create token swap summary to assess market making and lending
                                              activity for potential preference period activity for Tomochain
Ebrey, Mason             10/18/2023     2.7   Search for transaction hashes for Abra loan related transactions

Ebrey, Mason             10/18/2023     1.3   Construct Abra New Value Analysis for Alameda Loans


Ebrey, Mason             10/18/2023     3.1   Prepare updates to Abra loan history table

Flynn, Matthew           10/18/2023     0.2   Call with M. Flynn, K. Baker, D. Wilson (A&M) to discuss employee
                                              analysis request
Flynn, Matthew           10/18/2023     2.2   Perform customer analysis on related party accounts




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Avoidance Actions
Professional                 Date    Hours    Activity
Flynn, Matthew          10/18/2023     1.7   Perform user analysis on account balances for S&C

Gosau, Tracy            10/18/2023     0.4   Call with A. Canale and T. Gosau (A&M) to discuss the analysis of
                                             transactions related to Gabe Bankman-Fried
Gosau, Tracy            10/18/2023     0.3   Call with A. Cox and T. Gosau (A&M) to discuss the analysis of
                                             transactions related to Gabe Bankman-Fried
Gosau, Tracy            10/18/2023     0.5   Call with M. Shanahan, T. Gosau, and A. Cox (A&M) to discuss
                                             Moore Stephens document review
Gosau, Tracy            10/18/2023     1.9   Continue reviewing transactions related to Gabe Bankman-Fried re:
                                             purpose of donations
Gosau, Tracy            10/18/2023     2.3   Review transactions related to Gabe Bankman-Fried re: purpose of
                                             donations
Gosau, Tracy            10/18/2023     0.7   Review analysis of transactions related to Gabe Bankman-Fried


Gosau, Tracy            10/18/2023     1.3   Review Moore Stephens document review

Hainline, Drew          10/18/2023     0.7   Meeting to discuss case summary binder D. Hainline, A. Maggard,
                                             and M. Mirando (A&M)
Hainline, Drew          10/18/2023     0.5   Meeting to discuss DOTCOM timeline for case summary D. Hainline
                                             and M. Mirando (A&M)
Jones, Mackenzie        10/18/2023     0.5   Meeting to discuss case summary WRS binder with M. Jones, C.
                                             Broskay, A. Maggard, and M. Mirando (A&M)
Lee, Julian             10/18/2023     0.1   Correspond with team regarding SBI Clearing bank data for FTX
                                             Japan accounts for purposes of cash database
Lee, Julian             10/18/2023     0.2   Review West Realm Shires Services Circle data in preparation for
                                             teleconference with Circle representatives
Lee, Julian             10/18/2023     0.1   Extract FTX Digital Markets Deltec account bank data from
                                             metabase for purposes of reconciliation
Lee, Julian             10/18/2023     0.3   Call with J. Lee, A. Sloan (A&M) to discuss reconciliation of BCB,
                                             SBI Clearing accounts
Lee, Julian             10/18/2023     0.2   Review bank account tracker for updates to bank data, matrix re:
                                             FTX Digital Markets accounts
Lee, Julian             10/18/2023     1.0   Reconcile BCB FTX Digital Markets accounts for purposes of cash
                                             database
Lee, Julian             10/18/2023     0.1   Correspond with team regarding audit firm invoices for Cottonwood
                                             Grove
Lee, Julian             10/18/2023     0.2   Review bank communication tracker for weekly PMO update


Lee, Julian             10/18/2023     0.5   Review loan documents between FTX, Silvergate Bank

Lee, Julian             10/18/2023     0.4   Call with E. Lapunzina, M. Wong (Circle), J. Lee (A&M) to discuss
                                             Circle data to be produced in response to Rule 2004 motion
Maggard, Austin         10/18/2023     1.7   Discussion on FTX Digital Markets section of summary witness
                                             binder K. Zabcik, A. Maggard, and M. Mirando (A&M)




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Avoidance Actions
Professional                Date    Hours    Activity
Maggard, Austin        10/18/2023     0.6   Identify sections of the case summary binder that require additional
                                            support from the docket and/or BOX
Maggard, Austin        10/18/2023     1.1   Identify additional support related to customer onboarding and
                                            migration to include in the case summary binder
Maggard, Austin        10/18/2023     0.5   Meeting to discuss case summary WRS binder with M. Jones, C.
                                            Broskay, A. Maggard, and M. Mirando (A&M)
Maggard, Austin        10/18/2023     1.6   Review BOX support related to FTX DM fiat / crypto movement for
                                            the case summary binder
Maggard, Austin        10/18/2023     0.6   Review Relativity for any support around special arrangements for
                                            Xspring Digital Company
Maggard, Austin        10/18/2023     0.7   Meeting to discuss case summary binder D. Hainline, A. Maggard,
                                            and M. Mirando (A&M)
Maggard, Austin        10/18/2023     0.7   Meeting to discuss status of binder modules with C. Arnett, C.
                                            Broskay, K. Zabcik, A. Maggard, and M. Mirando (A&M)
McGrath, Patrick       10/18/2023     1.2   Analysis of Cega lending relationship, including exchange activity

McGrath, Patrick       10/18/2023     1.4   Analyze transaction history for 3AC accounts


McGrath, Patrick       10/18/2023     1.3   Develop questions for FTX developers regarding OTC trading

McGrath, Patrick       10/18/2023     0.6   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                            OTC portal data
Mimms, Samuel          10/18/2023     0.1   Call with A. Canale, S. Mimms (A&M) regarding ABRA lender
                                            analysis
Mimms, Samuel          10/18/2023     1.4   Review draft ABRA claim lender analysis deck

Mirando, Michael       10/18/2023     0.5   Meeting to discuss case summary WRS binder with M. Jones, C.
                                            Broskay, A. Maggard, and M. Mirando (A&M)
Mirando, Michael       10/18/2023     1.7   Discussion on FTX Digital Markets section of summary witness
                                            binder K. Zabcik, A. Maggard, and M. Mirando (A&M)
Mirando, Michael       10/18/2023     0.7   Meeting to discuss case summary binder D. Hainline, A. Maggard,
                                            and M. Mirando (A&M)
Mirando, Michael       10/18/2023     0.2   Meeting to discuss case summary binder with C. Broskay, and M.
                                            Mirando (A&M)
Mirando, Michael       10/18/2023     0.5   Meeting to discuss DOTCOM timeline for case summary D. Hainline
                                            and M. Mirando (A&M)
Mirando, Michael       10/18/2023     2.9   Update the case summary deck with supporting documentation


Mirando, Michael       10/18/2023     2.6   Review material related to CM Equity transaction

Mirando, Michael       10/18/2023     0.7   Meeting to discuss status of binder modules with C. Arnett, C.
                                            Broskay, K. Zabcik, A. Maggard, and M. Mirando (A&M)
Mosley, Ed             10/18/2023     0.6   Review of and prepare comments to draft alameda lender avoidance
                                            action financial analysis




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Avoidance Actions
Professional                 Date    Hours    Activity
Mosley, Ed              10/18/2023     0.2   Discussion with C.Arnett (A&M) regarding Alameda lender
                                             avoidance actions
Mosley, Ed              10/18/2023     0.5   Review of and prepare comments to draft another Alameda lender
                                             avoidance action financial analysis (name of counterparty omitted)
Price, Breanna          10/18/2023     2.1   Finalize the Gabe Bankman-Fried loan analysis for the purposes of
                                             filing a potential claim
Price, Breanna          10/18/2023     1.2   Search for documentation related to Huobi loans for the purposes of
                                             the lender analysis
Price, Breanna          10/18/2023     1.7   Add Klarpay, Signature, and Prime Trust bank data to the bank
                                             statement tracker
Price, Breanna          10/18/2023     0.7   Add BCB bank statements to the bank statement tracker

Price, Breanna          10/18/2023     0.1   Add Klarpay, Signature, and Prime Trust bank data to the master
                                             tracker for the purposes of being transferred to the cash database
Ramanathan, Kumanan     10/18/2023     0.4   Correspond with team re: preference claim analysis on subset of
                                             customers and provide direction
Ryan, Laureen           10/18/2023     0.3   Correspond with QE and A&M Team regarding Gabe Bankman-
                                             Fried Investigation transaction reconciliation
Ryan, Laureen           10/18/2023     0.3   Correspond with A&M team regarding updates to draft Cega loan
                                             and investment analysis
Ryan, Laureen           10/18/2023     0.3   Correspond with A&M Team regarding Stocktwits investment
                                             valuation
Salas Nunez, Luis       10/18/2023     2.1   Analysis of exchange activity for accounts with preference exposure


Salas Nunez, Luis       10/18/2023     1.4   Analysis of withdrawal activity for specific accounts

Shanahan, Michael       10/18/2023     0.5   Call with M. Shanahan, T. Gosau, and A. Cox (A&M) to discuss
                                             Moore Stephens document review
Shanahan, Michael       10/18/2023     1.3   Review key documents identified to date related to Moore Stephens

Shanahan, Michael       10/18/2023     0.8   Preliminary review of expanded bank communications review


Sloan, Austin           10/18/2023     0.3   Call with J. Lee, A. Sloan (A&M) to discuss reconciliation of BCB,
                                             SBI Clearing accounts
Sloan, Austin           10/18/2023     2.3   Compile bank statement detail for Moneytech bank accounts in
                                             relation to cash database
Strong, Nichole         10/18/2023     0.6   Prepare for call with A&M team to discuss status and strategy of
                                             review of various Professionals
Titus, Adam             10/18/2023     0.2   Call with A. Titus, A. Canale (A&M) regarding Stocktwits valuation

Walia, Gaurav           10/18/2023     0.2   Call with M. Flynn, G. Walia (A&M) to discuss customer claims
                                             status for S&C analysis
Walia, Gaurav           10/18/2023     2.4   Prepare a summary process for additional user exchange activity
                                             preference analysis




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Avoidance Actions
Professional              Date    Hours    Activity
Wilson, David        10/18/2023     0.2   Call with M. Flynn, K. Baker, D. Wilson (A&M) to discuss employee
                                          analysis request
Zabcik, Kathryn      10/18/2023     2.3   Edit slides on original and amended terms of service to update
                                          sources, content order, and slide structure
Zabcik, Kathryn      10/18/2023     0.7   Meeting to discuss status of binder modules with C. Arnett, C.
                                          Broskay, K. Zabcik, A. Maggard, and M. Mirando (A&M)
Zabcik, Kathryn      10/18/2023     1.7   Discussion on FTX Digital Markets section of summary witness
                                          binder K. Zabcik, A. Maggard, and M. Mirando (A&M)
Zabcik, Kathryn      10/18/2023     1.7   Review docket for resources for the how the exchange worked
                                          section of the summary binder
Zabcik, Kathryn      10/18/2023     0.7   Search in Relativity for additional executive bios for summary
                                          witness binder
Zabcik, Kathryn      10/18/2023     0.7   Review FTX Digital Markets org structure slides for summary
                                          witness binder
Zabcik, Kathryn      10/18/2023     0.8   Edit slide on A&M discovery process overview for summary witness
                                          binder
Baker, Kevin         10/19/2023     1.1   Call with M. Flynn, K. Baker (A&M) to discuss customer data request
                                          and AWS table information
Blanchard, Madison   10/19/2023     2.2   Perform reconciliation of account balance changes relating to high
                                          priority exchange customer analysis
Blanchard, Madison   10/19/2023     1.2   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding high
                                          priority customer analysis
Blanchard, Madison   10/19/2023     0.5   Call with P. McGrath, M. Blanchard (A&M) regarding high priority
                                          customer analysis
Blanchard, Madison   10/19/2023     2.6   Update presentation relating to high priority exchange customer
                                          analysis incorporating feedback following discussion with team
Blanchard, Madison   10/19/2023     2.1   Update presentation relating to high priority exchange customer
                                          analysis incorporating support and quality control review feedback
Broskay, Cole        10/19/2023     0.5   Meeting to discuss case summary binder with C. Broskay, A.
                                          Maggard, and M. Mirando (A&M)
Broskay, Cole        10/19/2023     0.4   Teleconference with R. Gordon, C. Broskay(A&M) over feedback on
                                          FTX binder
Broskay, Cole        10/19/2023     1.8   Review case summary binder sections focusing on scope of data
                                          presented
Broskay, Cole        10/19/2023     1.3   Provide commentary on various sections within the case summary
                                          binder
Canale, Alex         10/19/2023     1.2   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding high
                                          priority customer analysis
Canale, Alex         10/19/2023     0.2   Call with A. Canale and T. Gosau (A&M) to discuss the valuations
                                          performed for StockTwits
Canale, Alex         10/19/2023     0.2   Call with A. Canale, G. Walia (A&M) regarding 3AC exchange
                                          account
Canale, Alex         10/19/2023     0.4   Analysis of Stocktwits valuation using market approach




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Avoidance Actions
Professional                  Date    Hours    Activity
Canale, Alex             10/19/2023     0.6   Review documents relating to 3AC margin trading

Coverick, Steve          10/19/2023     0.6   Review and provide comments on analysis of exchange avoidance
                                              action
Cox, Allison             10/19/2023     1.8   Review Cottonwood grove financial statements in relation to Moore
                                              Stephens analysis
Cox, Allison             10/19/2023     2.9   Update professionals analysis summary for additional firms

Dobbs, Aaron             10/19/2023     1.8   Analyze repricing of underlying assets related to Tomochain lending
                                              with interest payment calculations
Dobbs, Aaron             10/19/2023     1.5   Summarize value of Tomochain loan principal and collateral over
                                              time to asses FTT value on relevant case dates
Dobbs, Aaron             10/19/2023     2.9   Target searches for charitable and political contributions associated
                                              with Gabe Bankman
Dobbs, Aaron             10/19/2023     2.1   Summarize key dates and observations for Tomochain lender tear
                                              sheet
Dobbs, Aaron             10/19/2023     1.1   Target searches for charitable and political contributions associated
                                              with Prosperity Through Enterprise
Ebrey, Mason             10/19/2023     1.1   Search in Relativity for FTX.COM Terms of Service

Ebrey, Mason             10/19/2023     3.1   Prepare updates to Abra lender claims analysis report

Ebrey, Mason             10/19/2023     3.1   Construct Abra New Value Analysis for Alameda Loans


Flynn, Matthew           10/19/2023     1.1   Call with M. Flynn, K. Baker (A&M) to discuss customer data request
                                              and AWS table information
Flynn, Matthew           10/19/2023     0.3   Call with M. Flynn, G. Walia (A&M) to discuss employee activity
                                              analysis
Flynn, Matthew           10/19/2023     2.2   Create customer account analysis for S&C

Flynn, Matthew           10/19/2023     2.6   Create active employee activity analysis for Management


Gordon, Robert           10/19/2023     0.4   Teleconference with R. Gordon, C. Broskay(A&M) over feedback on
                                              FTX binder
Gordon, Robert           10/19/2023     1.2   Analyze case summary presentation extract for edits

Gosau, Tracy             10/19/2023     0.2   Call with A. Canale and T. Gosau (A&M) to discuss the valuations
                                              performed for StockTwits
Gosau, Tracy             10/19/2023     2.6   Review StockTwits valuation analysis

Gosau, Tracy             10/19/2023     1.6   Review 2022 equity allocation of StockTwits


Gosau, Tracy             10/19/2023     1.6   Analyze StockTwits 2021 Valuation re: GPC Method




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Avoidance Actions
Professional                 Date    Hours    Activity
Helal, Aly              10/19/2023     2.4   Review documentation to understand the lending relationship
                                             between debtors and Bitmax
Helal, Aly              10/19/2023     1.8   Search for documentation to understand the lending relationship
                                             between debtors and Bitmax
Helal, Aly              10/19/2023     1.9   Reconcile Moneytech FDM bank accounts

Jones, Mackenzie        10/19/2023     2.2   Draft summary of WRS silo's acquisition details for background
                                             information binder
Jones, Mackenzie        10/19/2023     2.7   Draft summary deck of WRS silo background information for legal
                                             team
Lee, Julian             10/19/2023     0.1   Review supporting documents related to Defi Technologies to verify
                                             affiliation with FTX
Lee, Julian             10/19/2023     0.3   Review bank account tracker for updates to bank data, matrix re:
                                             FTX Digital Markets accounts
Lee, Julian             10/19/2023     0.2   Research select FTX Digital Markets BCB account for purposes of
                                             bank account matrix
Lee, Julian             10/19/2023     0.4   Review bank account tracker for weekly update to AlixPartners,
                                             accounting team
Lee, Julian             10/19/2023     0.2   Correspond with team regarding updates to bank account tracker

Lee, Julian             10/19/2023     0.1   Review select insider accounts at Signature bank to update

Lee, Julian             10/19/2023     0.1   Correspond with AlixPartners, Accounting team regarding updated
                                             additional FTX Digital Markets bank data identified from Bahamas
                                             Litigation production
Maggard, Austin         10/19/2023     0.1   Meeting to discuss declaration binder priorities and next steps with
                                             A. Maggard and M. Mirando (A&M)
Maggard, Austin         10/19/2023     0.9   Meeting to discuss case summary binder and relevant dockets with
                                             K. Zabcik, A. Maggard, and M. Mirando (A&M)
Maggard, Austin         10/19/2023     1.5   Review second interim report for support related to the commingling
                                             of funds to include in the case summary binder
Maggard, Austin         10/19/2023     0.6   Review dockets for summaries related to venture investments for the
                                             case summary binder
Maggard, Austin         10/19/2023     0.5   Meeting to discuss case summary binder with C. Broskay, A.
                                             Maggard, and M. Mirando (A&M)
Maggard, Austin         10/19/2023     0.9   Search dockets for summaries on how the international exchange
                                             worked for the case summary binder
Maggard, Austin         10/19/2023     0.9   Search BOX for support that describes the FTX products for the
                                             case summary binder
McGrath, Patrick        10/19/2023     1.2   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding high
                                             priority customer analysis
McGrath, Patrick        10/19/2023     0.5   Call with P. McGrath, M. Blanchard (A&M) regarding high priority
                                             customer analysis
McGrath, Patrick        10/19/2023     1.6   Analyze transaction and account activity for 3AC




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Avoidance Actions
Professional               Date    Hours    Activity
Mirando, Michael      10/19/2023     0.1   Meeting to discuss declaration binder priorities and next steps with
                                           A. Maggard and M. Mirando (A&M)
Mirando, Michael      10/19/2023     0.9   Meeting to discuss case summary binder and relevant dockets with
                                           K. Zabcik, A. Maggard, and M. Mirando (A&M)
Mirando, Michael      10/19/2023     0.5   Meeting to discuss case summary binder with C. Broskay, A.
                                           Maggard, and M. Mirando (A&M)
Mirando, Michael      10/19/2023     2.1   Compile information regarding FTX Group entities for inclusion in
                                           summary deck
Mirando, Michael      10/19/2023     2.8   Consolidate balance sheet data for Alameda Silo


Patel, Ishika         10/19/2023     0.7   Target searches on Relativity to distinguish third parties from FDM
                                           related entities
Price, Breanna        10/19/2023     2.9   Continue searching for documentation related to Huobi loans for the
                                           purposes of the lender analysis
Price, Breanna        10/19/2023     0.9   Update the bank matrix to capture three new bank statements
                                           identified the week of October 16
Ramanathan, Kumanan   10/19/2023     0.2   Review of preference materials and submit for approval for posting


Ryan, Laureen         10/19/2023     0.2   Correspond with A&M team regarding updates to PMO draft and
                                           workstream planner for avoidance activities
Ryan, Laureen         10/19/2023     0.3   Correspond with QE and A&M Team regarding trial matters related
                                           to avoidance action analysis
Ryan, Laureen         10/19/2023     0.2   Correspond with S&C and A&M team regarding Mirana KYC
                                           additional information
Ryan, Laureen         10/19/2023     0.1   Correspond with S&C, FTX and A&M team regarding bank tracker
                                           activities
Ryan, Laureen         10/19/2023     0.2   Correspond with QE and A&M Team regarding Bankman Fried
                                           inquiries
Ryan, Laureen         10/19/2023     0.2   Review PMO draft with workstream planner for avoidance activities

Ryan, Laureen         10/19/2023     0.3   Correspond with QE and A&M Team regarding Venture book
                                           analysis
Ryan, Laureen         10/19/2023     0.3   Correspond with A&M team on avoidance action activities

Salas Nunez, Luis     10/19/2023     2.9   Analysis of FTX.COM withdrawal activity for preference exposure
                                           claims
Salas Nunez, Luis     10/19/2023     3.1   Analysis of preference exposure data and comparison of databases


Salas Nunez, Luis     10/19/2023     0.9   Analysis of FTX.US withdrawal activity for preference exposure
                                           claims
Walia, Gaurav         10/19/2023     0.2   Call with A. Canale, G. Walia (A&M) regarding 3AC exchange
                                           account
Wilson, David         10/19/2023     1.7   Produce user analytics summary report for two accounts related to
                                           email identifier




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Avoidance Actions
Professional                  Date    Hours    Activity
Zabcik, Kathryn          10/19/2023     0.9   Meeting to discuss case summary binder and relevant dockets with
                                              K. Zabcik, A. Maggard, and M. Mirando (A&M)
Zabcik, Kathryn          10/19/2023     1.3   Review summary witness binder for references to the amended
                                              complaint and replace those sources with primary source references
Blanchard, Madison       10/20/2023     2.6   Finalize presentation relating to high priority exchange customer
                                              analysis for quality control review
Blanchard, Madison       10/20/2023     0.2   Call with S. Mimms, M. Blanchard, M. Ebrey (A&M) regarding Abra
                                              claims filed against debtor
Blanchard, Madison       10/20/2023     1.8   Prepare and update workpaper relating to high priority exchange
                                              customer analysis
Blanchard, Madison       10/20/2023     0.3   Call with P. McGrath, M. Blanchard (A&M) regarding high priority
                                              customer analysis
Blanchard, Madison       10/20/2023     2.9   Update presentation relating to high priority exchange customer
                                              analysis incorporating support and quality control review feedback
Broskay, Cole            10/20/2023     0.2   Call to discuss Alameda SRM positions with R. Gordon, C. Broskay,
                                              J. Faett and K. Zabcik (A&M)
Broskay, Cole            10/20/2023     0.7   Call to discuss WRS silo deck for JPL with C. Broskay and M. Jones
                                              (A&M)
Broskay, Cole            10/20/2023     1.9   Review of added sections to the case summary binder - WRS silo
                                              items
Broskay, Cole            10/20/2023     0.3   Meeting to discuss updates from the Alameda and venture teams for
                                              purposes of the case summary binder with C. Broskay, A. Maggard,
                                              and M. Mirando (A&M)
Broskay, Cole            10/20/2023     0.8   Call to discuss Alameda SRM positions with M. Scheck, M.
                                              Anderson, O. Yeffet (Quinn Emanuel), R. Gordon, C. Broskay, J.
                                              Faett and K. Zabcik (A&M)
Canale, Alex             10/20/2023     0.4   Teleconference with R. Gordon, A. Canales, K. Kearney(A&M) over
                                              open avoidance action requests
Canale, Alex             10/20/2023     0.2   Call with A. Canale and T. Gosau (A&M) to discuss the valuations
                                              performed for StockTwits
Canale, Alex             10/20/2023     0.3   Correspond with A&M team regarding Stocktwits preferred shares
                                              valuation
Canale, Alex             10/20/2023     0.8   Review and edit 3AC deck summarizing supporting analysis for
                                              discussions
Canale, Alex             10/20/2023     0.7   Correspond with A&M team regarding analysis of 3AC trading data


Canale, Alex             10/20/2023     1.4   Review and edit Stocktwits valuation deck

Cox, Allison             10/20/2023     0.5   Call with T. Gosau, N. Strong, and A. Cox (A&M) regarding planning
                                              for review of Robert Lee and Associates
Cox, Allison             10/20/2023     0.1   Call with T. Gosau and A. Cox (A&M) to discuss the valuations
                                              performed for StockTwits
Cox, Allison             10/20/2023     0.5   Call with T. Gosau and A. Cox (A&M) regarding planning for review
                                              of Moore Stephens
Cox, Allison             10/20/2023     1.7   Update relationship summary in relation to professional firms under
                                              review

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Avoidance Actions
Professional                  Date    Hours    Activity
Cox, Allison             10/20/2023     1.1   Review deck in relation to Stockwits valuation

Dobbs, Aaron             10/20/2023     0.3   Call with T. Gosau, and A. Dobbs (A&M) to discuss the quality
                                              control process for Stocktwits Series B valuation
Dobbs, Aaron             10/20/2023     1.3   Quality control to check for completeness related to Stocktwits
                                              funding analysis
Dobbs, Aaron             10/20/2023     1.6   Quality control of lender deck for Tomochain PTE Ltd to test for
                                              completeness
Dobbs, Aaron             10/20/2023     1.1   Index key documents and respective entities tied to political and
                                              charitable contributions
Ebrey, Mason             10/20/2023     0.2   Call with S. Mimms, M. Blanchard, M. Ebrey (A&M) regarding Abra
                                              claims filed against debtor
Ebrey, Mason             10/20/2023     0.8   Call with S. Mimms, M. Ebrey (A&M) regarding Abra Lender
                                              Summary Deck
Ebrey, Mason             10/20/2023     2.8   Prepare updates to Abra lender claims analysis report

Ebrey, Mason             10/20/2023     0.4   Search in Relativity for FTX.COM Terms of Service


Faett, Jack              10/20/2023     0.5   Call to discuss Alameda silo for the case summary binder with K.
                                              Kearney, A. Maggard, M. Mirando, and J. Faett (A&M)
Faett, Jack              10/20/2023     0.2   Call to discuss Alameda SRM positions with R. Gordon, C. Broskay,
                                              J. Faett and K. Zabcik (A&M)
Faett, Jack              10/20/2023     0.3   Call to discuss FTX ventures and next steps for the case summary
                                              binder with A. Maggard, M. Mirando, and J. Faett (A&M)
Faett, Jack              10/20/2023     0.8   Call to discuss Alameda SRM positions with M. Scheck, M.
                                              Anderson, O. Yeffet (Quinn Emanuel), R. Gordon, C. Broskay, J.
                                              Faett and K. Zabcik (A&M)
Flynn, Matthew           10/20/2023     0.8   Review post-petition customer account information for S&C

Gordon, Robert           10/20/2023     0.4   Teleconference with R. Gordon, A. Canales, K. Kearney(A&M) over
                                              open avoidance action requests
Gordon, Robert           10/20/2023     0.2   Call to discuss Alameda SRM positions with R. Gordon, C. Broskay,
                                              J. Faett and K. Zabcik (A&M)
Gordon, Robert           10/20/2023     1.8   Review alameda file to support QE request for potential avoidance
                                              action
Gordon, Robert           10/20/2023     0.8   Call to discuss Alameda SRM positions with M. Scheck, M.
                                              Anderson, O. Yeffet (Quinn Emanuel), R. Gordon, C. Broskay, J.
                                              Faett and K. Zabcik (A&M)
Gosau, Tracy             10/20/2023     0.3   Call with T. Gosau, and A. Dobbs (A&M) to discuss the quality
                                              control process for Stocktwits Series B valuation
Gosau, Tracy             10/20/2023     0.5   Call with T. Gosau, N. Strong, and A. Cox (A&M) regarding planning
                                              for review of Robert Lee and Associates
Gosau, Tracy             10/20/2023     0.2   Call with A. Canale and T. Gosau (A&M) to discuss the valuations
                                              performed for StockTwits
Gosau, Tracy             10/20/2023     0.1   Call with T. Gosau and A. Cox (A&M) to discuss the valuations
                                              performed for StockTwits

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Avoidance Actions
Professional                 Date    Hours    Activity
Gosau, Tracy            10/20/2023     0.5   Call with T. Gosau and A. Cox (A&M) regarding planning for review
                                             of Moore Stephens
Gosau, Tracy            10/20/2023     1.1   Continue summarizing StockTwits valuation findings in slide deck


Gosau, Tracy            10/20/2023     1.9   Review StockTwits valuation analysis

Gosau, Tracy            10/20/2023     2.9   Summarize StockTwits valuation findings in slide deck

Helal, Aly              10/20/2023     2.1   Search relativity for transactions between SBF and Tavistock or Joe
                                             Lewis
Helal, Aly              10/20/2023     3.1   Populate bank coverage tracker with newly found FDM bank
                                             statements
Johnson, Robert         10/20/2023     0.9   Migrate specific common account data for Klarpay bank from
                                             staging tables to Metabase production tables
Johnson, Robert         10/20/2023     0.7   Migrate Deltec data from staging tables to production Metabase
                                             tables for review
Jones, Mackenzie        10/20/2023     1.6   Research acquisition funding detail for WRS silo background
                                             information binder
Jones, Mackenzie        10/20/2023     0.7   Call to discuss WRS silo deck for JPL with C. Broskay and M. Jones
                                             (A&M)
Kearney, Kevin          10/20/2023     0.5   Call to discuss Alameda silo for the case summary binder with K.
                                             Kearney, A. Maggard, M. Mirando, and J. Faett (A&M)
Kearney, Kevin          10/20/2023     0.4   Teleconference with R. Gordon, A. Canales, K. Kearney(A&M) over
                                             open avoidance action requests
Lee, Julian             10/20/2023     0.2   Correspond with team regarding additional FTX Digital Markets BCB
                                             account data to ingest for purposes of cash database
Lee, Julian             10/20/2023     1.2   Review additional FTX Digital Markets bank data related to BCB
                                             accounts from Bahamas Litigation production
Lee, Julian             10/20/2023     0.4   Review reconciliation of FTX Digital Markets Deltec account for
                                             purposes of cash database
Lee, Julian             10/20/2023     0.7   Review reconciliation of FTX Digital Markets Klarpay account for
                                             purposes of cash database
Lee, Julian             10/20/2023     0.2   Correspond with QE regarding Wells Fargo Rule 2004 production

Lee, Julian             10/20/2023     0.3   Review of supporting documents related to Wells Fargo Rule 2004
                                             production for Good Luck Games, Hilltop Technology Services
Maggard, Austin         10/20/2023     0.5   Call to discuss Alameda silo for the case summary binder with K.
                                             Kearney, A. Maggard, M. Mirando, and J. Faett (A&M)
Maggard, Austin         10/20/2023     0.3   Call to discuss FTX ventures and next steps for the case summary
                                             binder with A. Maggard, M. Mirando, and J. Faett (A&M)
Maggard, Austin         10/20/2023     0.3   Meeting to discuss updates from the Alameda and venture teams for
                                             purposes of the case summary binder with C. Broskay, A. Maggard,
                                             and M. Mirando (A&M)
McGrath, Patrick        10/20/2023     0.3   Call with P. McGrath, M. Blanchard (A&M) regarding high priority
                                             customer analysis


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Avoidance Actions
Professional              Date    Hours    Activity
McGrath, Patrick     10/20/2023     1.4   Review 3AC account analysis and summary for counsel

Medway, David        10/20/2023     0.2   Communications with QE regarding supplemental professional firms
                                          document productions
Medway, David        10/20/2023     0.3   Communications with A&M team regarding supplemental
                                          professional firms document productions
Mimms, Samuel        10/20/2023     0.2   Call with S. Mimms, M. Blanchard, M. Ebrey (A&M) regarding Abra
                                          claims filed against debtor
Mimms, Samuel        10/20/2023     0.8   Call with S. Mimms, M. Ebrey (A&M) regarding Abra Lender
                                          Summary Deck
Mimms, Samuel        10/20/2023     0.2   Update Alameda lender claim analysis to incorporate Coin Metrics
                                          pricing
Mirando, Michael     10/20/2023     0.5   Call to discuss Alameda silo for the case summary binder with K.
                                          Kearney, A. Maggard, M. Mirando, and J. Faett (A&M)
Mirando, Michael     10/20/2023     2.4   Research entity consolidation for West Realm Shires entities

Mirando, Michael     10/20/2023     2.3   Research entity consolidation for Ventures silo entities


Mirando, Michael     10/20/2023     0.3   Call to discuss FTX ventures and next steps for the case summary
                                          binder with A. Maggard, M. Mirando, and J. Faett (A&M)
Mirando, Michael     10/20/2023     0.3   Meeting to discuss updates from the Alameda and venture teams for
                                          purposes of the case summary binder with C. Broskay, A. Maggard,
                                          and M. Mirando (A&M)
Ryan, Laureen        10/20/2023     0.6   Correspond with A&M team regarding strategy for possible
                                          avoidance actions
Ryan, Laureen        10/20/2023     0.3   Correspond with QE and A&M team regarding avoidance activity
                                          matters
Ryan, Laureen        10/20/2023     0.2   Correspond with A&M team regarding cyber matters

Ryan, Laureen        10/20/2023     0.2   Correspond with QE and A&M team regarding Evolve production


Salas Nunez, Luis    10/20/2023     3.1   Prepare detailed withdrawal analysis for accounts with preference
                                          exposure and potential special intervention
Salas Nunez, Luis    10/20/2023     2.7   Analysis of wallets and bank accounts with known affiliations with
                                          FTX
Sloan, Austin        10/20/2023     3.1   Compile bank statement detail for additional BCB bank accounts in
                                          relation to cash database
Strong, Nichole      10/20/2023     0.5   Call with T. Gosau, N. Strong, and A. Cox (A&M) regarding planning
                                          for review of Robert Lee and Associates
Zabcik, Kathryn      10/20/2023     0.2   Call to discuss Alameda SRM positions with R. Gordon, C. Broskay,
                                          J. Faett and K. Zabcik (A&M)
Zabcik, Kathryn      10/20/2023     0.9   Review Terms of Service summary witness deck slides for additional
                                          needed evidential support
Zabcik, Kathryn      10/20/2023     0.8   Call to discuss Alameda SRM positions with M. Scheck, M.
                                          Anderson, O. Yeffet (Quinn Emanuel), R. Gordon, C. Broskay, J.
                                          Faett and K. Zabcik (A&M)

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Avoidance Actions
Professional               Date    Hours    Activity
Broskay, Cole         10/21/2023     0.8   Provide commentary/adjustments to case summary binder sections
                                           related to FTX DM
Canale, Alex          10/21/2023     1.4   Review Abra lender claim analysis and deck and related documents


Canale, Alex          10/21/2023     0.6   Review and edit Stocktwits valuation deck

Ryan, Laureen         10/21/2023     0.1   Correspond with QE and A&M team regarding documents from
                                           Clement Maynard
Canale, Alex          10/22/2023     0.9   Analysis of 3AC balance changes over time against Line of Credit
                                           available
Canale, Alex          10/22/2023     0.3   Review details of Stocktwits Preferred Series B shares

Flynn, Matthew        10/22/2023     0.9   Analyze customer NFT account activity for S&C


Arnett, Chris         10/23/2023     1.2   Review of documents compiled to date for fact witness binder to be
                                           provided to QE
Blanchard, Madison    10/23/2023     0.1   Call with M. Blanchard, M. Ebrey (A&M) regarding 9-Day Net
                                           withdrawal Approach to Exchange Activity
Blanchard, Madison    10/23/2023     0.1   Call with A. Canale, M. Blanchard, M. Ebrey (A&M) regarding 9-Day
                                           Net withdrawal Approach to Exchange Activity
Blanchard, Madison    10/23/2023     1.8   Update presentation relating to high priority exchange customer
                                           analysis in reference to lines of credit and margin
Blanchard, Madison    10/23/2023     2.9   Review trading data and update presentation relating to high priority
                                           exchange customer
Blanchard, Madison    10/23/2023     1.2   Update to exchange customer preference analysis adding additional
                                           customer account
Blanchard, Madison    10/23/2023     0.9   Continue to update presentation relating to high priority exchange
                                           customer
Blanchard, Madison    10/23/2023     0.1   Update presentation relating to Abra lending claim analysis

Blanchard, Madison    10/23/2023     0.1   Call with M. Ebrey, M. Blanchard (A&M) regarding database model
                                           query in reference to exchange customer preference analysis
Blanchard, Madison    10/23/2023     0.1   Call with P. McGrath, M. Blanchard (A&M) regarding review of trade
                                           data relating to high priority exchange customer analysis
Blanchard, Madison    10/23/2023     1.2   Perform quality control review and tracing of payments relating to
                                           Tomochain lending claim
Blanchard, Madison    10/23/2023     0.7   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                           updates to presentation relating to high priority exchange customer
                                           analysis
Broskay, Cole         10/23/2023     0.3   Meeting to discuss status of case summary binder C. Broskay, and
                                           M. Mirando (A&M)
Canale, Alex          10/23/2023     0.1   Call with A. Canale, M. Blanchard, M. Ebrey (A&M) regarding 9-Day
                                           Net withdrawal Approach to Exchange Activity
Canale, Alex          10/23/2023     0.1   Call with A. Canale, M. Ebrey (A&M) regarding 9-Day Net
                                           Withdrawal Exchange Analysis


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Avoidance Actions
Professional                  Date    Hours    Activity
Canale, Alex             10/23/2023     0.4   Call with M. Shanahan, A. Canale (A&M) regarding Stocktwits

Canale, Alex             10/23/2023     0.8   Review exchange preference analysis for Azure Tide and edit


Canale, Alex             10/23/2023     0.7   Review and edit updated Abra lending claim deck

Canale, Alex             10/23/2023     1.9   Review and edit 3AC summary deck for S&C

Canale, Alex             10/23/2023     0.4   Review documents relating to 3AC analysis


Canale, Alex             10/23/2023     0.7   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                              updates to presentation relating to high priority exchange customer
                                              analysis
Cox, Allison             10/23/2023     2.9   Update summary of professional firms transactions for first set of tier
                                              two firms transactions
Cox, Allison             10/23/2023     2.9   Update summary of professional firms transactions for second set of
                                              tier two firms transactions
Cox, Allison             10/23/2023     0.1   Teleconference with T. Gosau and A. Cox (A&M) regarding RLA
                                              document review
Cox, Allison             10/23/2023     1.3   Document review in relation to Moore Stephens relationship


Dobbs, Aaron             10/23/2023     1.3   Quality control of lender analysis deck for Tomochain to update live
                                              pricing structure for minute by minute pricing
Dobbs, Aaron             10/23/2023     1.3   Quality control of lender analysis deck for Tomochain to test for
                                              completeness of lending relationship analysis
Dobbs, Aaron             10/23/2023     1.1   Analysis of valuations sources from Shareworks 2021 and 2022
                                              valuation of StockTwits Inc for document request
Dobbs, Aaron             10/23/2023     0.3   Call with T. Gosau, and A. Dobbs (A&M) to discuss information
                                              request and strategy for Stocktwits Series B valuation
Dobbs, Aaron             10/23/2023     2.1   Update token pricing data to minute pricing for petition date analysis
                                              for TOMO and FTT lending relationships
Dobbs, Aaron             10/23/2023     1.8   Verify flow of funds through Tomochain exchange to assess token
                                              swap and principal payments
Dobbs, Aaron             10/23/2023     0.3   Call with S. Mimms and A. Dobbs (A&M) to discuss Tomochain
                                              lender deck and updated petition date pricing
Dobbs, Aaron             10/23/2023     1.1   Draft information request for StockTwits regarding 2021 and 2022
                                              valuations documentation
Dobbs, Aaron             10/23/2023     0.8   Draft information request for Shareworks regarding 2021 and 2022
                                              valuations documentation
Ebrey, Mason             10/23/2023     0.1   Call with A. Canale, M. Blanchard, M. Ebrey (A&M) regarding 9-Day
                                              Netwithdrawal Approach to Exchange Activity
Ebrey, Mason             10/23/2023     0.5   Call with S. Mimms, M. Ebrey (A&M) regarding updates to be made
                                              to Abra Lender Summary Deck
Ebrey, Mason             10/23/2023     0.1   Call with A. Canale, M. Ebrey (A&M) regarding 9-Day Net
                                              Withdrawal Exchange Analysis


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Avoidance Actions
Professional                 Date    Hours    Activity
Ebrey, Mason            10/23/2023     2.9   Prepare updates to Abra lender claims analysis report based on
                                             review comments
Ebrey, Mason            10/23/2023     1.9   Review updates made to Abra Lender Summary Deck


Ebrey, Mason            10/23/2023     0.1   Call with M. Ebrey, M. Blanchard (A&M) regarding database model
                                             query in reference to exchange customer preference analysis
Ebrey, Mason            10/23/2023     0.1   Call with M. Blanchard, M. Ebrey (A&M) regarding 9-Day
                                             Netwithdrawal Approach to Exchange Activity
Faett, Jack             10/23/2023     0.6   Teleconference with AlixPartners(J. Somerville, others), R. Gordon,
                                             J. Faett, K. Kearney(A&M) over bridge to petition financials
Flynn, Matthew          10/23/2023     2.2   Analyze FTX.COM fiat withdrawal activity for S&C

Flynn, Matthew          10/23/2023     1.7   Analyze FTX.US fiat withdrawal activity for S&C


Gordon, Robert          10/23/2023     2.1   Preliminary review of the case summary binder

Gordon, Robert          10/23/2023     0.6   Teleconference with AlixPartners(J. Somerville, others), R. Gordon,
                                             J. Faett, K. Kearney(A&M) over bridge to petition financials
Gosau, Tracy            10/23/2023     0.3   Call with T. Gosau, and A. Dobbs (A&M) to discuss information
                                             request and strategy for Stocktwits Series B valuation
Gosau, Tracy            10/23/2023     2.9   Prepare internal memo in regards to documents reviewed by Moore
                                             Stephens
Gosau, Tracy            10/23/2023     2.6   Continue preparing internal memo in regards to documents reviewed
                                             by Moore Stephens
Gosau, Tracy            10/23/2023     0.1   Teleconference with T. Gosau and A. Cox (A&M) regarding RLA
                                             document review
Gosau, Tracy            10/23/2023     0.8   Prepare list of documents needed in regards to StockTwits valuations


Gosau, Tracy            10/23/2023     1.9   Review repository documents re: Moore Stephens

Helal, Aly              10/23/2023     0.5   Call with A. Helal, W. Ruez (A&M) regarding review of lending
                                             activity to Bitmax
Helal, Aly              10/23/2023     1.7   Compile data relating to cash payments made to vendors by debtors

Johnson, Robert         10/23/2023     0.4   Ingest BCB Transactions into cash banking table for display and
                                             review in Metabase
Kearney, Kevin          10/23/2023     0.6   Teleconference with AlixPartners(J. Somerville, others), R. Gordon,
                                             J. Faett, K. Kearney(A&M) over bridge to petition financials
Lee, Julian             10/23/2023     0.3   Correspond with team regarding Clifton Bay Investments account at
                                             Wells Fargo for purposes of cash database
Lee, Julian             10/23/2023     0.1   Correspond with team regarding exchange data not reconciling to
                                             bank data for select customer activity
Lee, Julian             10/23/2023     0.2   Review available bank data for FTX Digital Markets BCB accounts
                                             for purposes of reconciliation in cash database




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Avoidance Actions
Professional                 Date    Hours    Activity
Lee, Julian             10/23/2023     0.1   Correspond with team regarding additional Wells Fargo bank data
                                             from Rule 2004 production
Lee, Julian             10/23/2023     0.1   Review of Wells Fargo Rule 2004 production related to Digital
                                             Custody Trust Company
Lee, Julian             10/23/2023     0.1   Review of Wells Fargo Rule 2004 production related to Hilltop
                                             Technology Services
Lee, Julian             10/23/2023     0.2   Review Moneytech account reconciliation findings for purposes of
                                             cash database
Lee, Julian             10/23/2023     0.3   Review of Wells Fargo Rule 2004 production related to Good Luck
                                             Games
Lee, Julian             10/23/2023     0.2   Review of Wells Fargo Rule 2004 production related to Clifton Bay
                                             Investments
Maggard, Austin         10/23/2023     1.2   Review dockets for hot/cold wallet support for the case summary
                                             binder
McGrath, Patrick        10/23/2023     1.2   Review summary of high priority customer analysis to be provided to
                                             counsel
McGrath, Patrick        10/23/2023     0.1   Call with P. McGrath, M. Blanchard (A&M) regarding review of trade
                                             data relating to high priority exchange customer analysis
McGrath, Patrick        10/23/2023     0.7   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                             updates to presentation relating to high priority exchange customer
                                             analysis
Mimms, Samuel           10/23/2023     0.3   Call with S. Mimms and A. Dobbs (A&M) to discuss Tomochain
                                             lender deck and updated petition date pricing
Mimms, Samuel           10/23/2023     0.5   Call with S. Mimms, M. Ebrey (A&M) regarding updates to be made
                                             to Abra Lender Summary Deck
Mimms, Samuel           10/23/2023     0.9   Edit draft Tomochain claim lender analysis deck

Mimms, Samuel           10/23/2023     1.2   Edit draft ABRA claim lender analysis deck

Mirando, Michael        10/23/2023     0.3   Meeting to discuss status of case summary binder C. Broskay, and
                                             M. Mirando (A&M)
Mirando, Michael        10/23/2023     1.6   Compile and organize support related to WRS Share raises

Mirando, Michael        10/23/2023     2.9   Research FTX Europe AG Acquisition support on relativity


Mirando, Michael        10/23/2023     1.4   Update case summary binder presentation

Mirando, Michael        10/23/2023     2.9   Compile and organize support for case summary binder


Mirando, Michael        10/23/2023     1.4   Compile and organize support related to DOTCOM Share raises

Price, Breanna          10/23/2023     2.1   Search Relativity for confirmation of loan amounts being received or
                                             paid by Alameda from and to Huobi
Price, Breanna          10/23/2023     1.7   Continue searching Relativity for confirmation of loan amounts being
                                             received or paid by Alameda from and to Huobi


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Avoidance Actions
Professional               Date    Hours    Activity
Price, Breanna        10/23/2023     2.8   Review all agreements related to Huobi and Alameda for the
                                           purposes of the lender analysis
Ruez, William         10/23/2023     0.5   Call with A. Helal, W. Ruez (A&M) regarding review of lending
                                           activity to Bitmax
Ruez, William         10/23/2023     2.3   Analysis of Bitmax supporting documents regarding lender analysis

Ryan, Laureen         10/23/2023     0.2   Correspond with A&M team regarding analysis performed on Abra
                                           Lending Activity with FTX
Ryan, Laureen         10/23/2023     0.3   Correspond with A&M team regarding 3 Arrows exchange updated
                                           investigation
Ryan, Laureen         10/23/2023     0.6   Correspond with A&M team regarding POR matters

Ryan, Laureen         10/23/2023     0.3   Review information related to Debtor avoidance actions


Ryan, Laureen         10/23/2023     0.1   Correspond with A&M team regarding PMO review

Ryan, Laureen         10/23/2023     0.3   Correspond with A&M team regarding cyber related matters


Salas Nunez, Luis     10/23/2023     0.4   Create descriptions and summarize wallets associated with FTX and
                                           Alameda to be flagged in databases
Salas Nunez, Luis     10/23/2023     3.1   Analysis of exchange withdrawal data for detailed account
                                           interventions and preference exposure
Salas Nunez, Luis     10/23/2023     2.9   Consolidate databases for preference exposure analyses over
                                           different time periods
Shanahan, Michael     10/23/2023     0.4   Call with M. Shanahan, A. Canale (A&M) regarding Stocktwits

Sloan, Austin         10/23/2023     3.1   Perform bank statement reconciliation for BCB accounts in relation
                                           to cash database
Wilson, David         10/23/2023     2.2   Create user analytics report using net withdrawals method for
                                           corporate account and quality review the outputs
Zabcik, Kathryn       10/23/2023     1.7   Search in Relativity for intellectual property acquired through
                                           acquisition for FTX entities
Zabcik, Kathryn       10/23/2023     2.6   Search in Relativity for customer communication involving digital
                                           markets on May 13th
Zabcik, Kathryn       10/23/2023     0.3   Review summary witness binder customer communication exhibits
                                           in Relativity
Ardizzoni, Heather    10/24/2023     0.5   Meeting to discuss balance sheet review for FTX trademarks,
                                           patents, and IP with H. Ardizzoni, A. Stolyar and K. Zabcik (A&M)
Arnett, Chris         10/24/2023     0.3   Correspond with J. Croke (S&C) re: status of counterparty avoidance
                                           analyses performed to date
Arnett, Chris         10/24/2023     0.2   Review and comment on S&C email re: potential lender counterparty
                                           transaction investigation
Arnett, Chris         10/24/2023     0.3   Direct avoidance analysis on certain sponsorship counterparties




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Avoidance Actions
Professional              Date    Hours    Activity
Blanchard, Madison   10/24/2023     0.3   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                          feedback and updates from Alameda developers
Blanchard, Madison   10/24/2023     0.6   Review and prepare questions regarding Alameda OTC Portal
                                          relating to upcoming call with developer
Blanchard, Madison   10/24/2023     0.2   Call with A. Canale, S. Mimms, M. Blanchard and A. Dobbs (A&M)
                                          to discuss quality control of Tomochain lender deck
Blanchard, Madison   10/24/2023     0.3   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                          queries to Alameda developers
Blanchard, Madison   10/24/2023     0.4   Call with M. Blanchard and A. Dobbs (A&M) to discuss quality
                                          control of Tomochain lender deck
Blanchard, Madison   10/24/2023     0.2   Call with A. Helal, M. Blanchard (A&M) regarding review and
                                          analysis relating to Bitmax
Blanchard, Madison   10/24/2023     1.3   Analyze output provided by database team relating to loans in
                                          Alameda OTC Portal
Blanchard, Madison   10/24/2023     1.9   Review and analysis of Tomochain lending analysis transaction
                                          activity
Blanchard, Madison   10/24/2023     1.8   Review documentation and data relating to Bitmax loans


Blanchard, Madison   10/24/2023     0.9   Prepare updates to Tomochain lending claim presentation

Blanchard, Madison   10/24/2023     1.4   Review documentation and data relating to Nexo loans

Blanchard, Madison   10/24/2023     0.3   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                          updates to presentation relating to high priority exchange account
Broskay, Cole        10/24/2023     1.7   Review case summary binder sections related to movement of
                                          customer funds
Canale, Alex         10/24/2023     0.2   Call with A. Canale, S. Mimms, M. Blanchard and A. Dobbs (A&M)
                                          to discuss quality control of Tomochain lender deck
Canale, Alex         10/24/2023     0.3   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                          feedback and updates from Alameda developers
Canale, Alex         10/24/2023     0.3   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                          queries to Alameda developers
Canale, Alex         10/24/2023     1.2   Research and respond to reviewer comments related to 3AC
                                          investigation deck
Canale, Alex         10/24/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding review of 3AC trading
                                          data
Canale, Alex         10/24/2023     0.4   Review Tomochain lending analysis deck and documents related
                                          thereto
Canale, Alex         10/24/2023     1.7   Review OTC trading data relating to lenders

Canale, Alex         10/24/2023     0.8   Respond to reviewer comments on Abra lending claim deck


Canale, Alex         10/24/2023     0.4   Review documents relation to GBF transactions




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Avoidance Actions
Professional                  Date    Hours    Activity
Canale, Alex             10/24/2023     0.4   Review Nexo deck in preparation for call with S&C

Canale, Alex             10/24/2023     0.3   Review information request related to Stocktwits and edit


Canale, Alex             10/24/2023     0.3   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                              updates to presentation relating to high priority exchange account
Cox, Allison             10/24/2023     0.2   Call with A. Cox and A. Dobbs (A&M) to discuss third party
                                              production for RLA engagement letter review
Cox, Allison             10/24/2023     0.7   Teleconference with D. Medway, T. Gosau, N. Strong, and A. Cox
                                              (A&M) regarding professional firms workstream
Cox, Allison             10/24/2023     0.8   Teleconference with M. Shanahan, T. Gosau, and A. Cox (A&M)
                                              regarding RLA document review
Cox, Allison             10/24/2023     0.1   Teleconference with T. Gosau, N. Strong, and A. Cox (A&M)
                                              regarding RLA document review
Cox, Allison             10/24/2023     0.6   Teleconference with T. Gosau and A. Cox (A&M) regarding RLA
                                              document review
Cox, Allison             10/24/2023     1.4   Review engagement letter and invoice summary in relation to RLA
                                              relationship
Cox, Allison             10/24/2023     2.9   Review documents in RLA third party production

Cox, Allison             10/24/2023     2.6   Document review in relation to RLA email correspondence

Dobbs, Aaron             10/24/2023     0.2   Call with A. Cox and A. Dobbs (A&M) to discuss third party
                                              production for RLA engagement letter review
Dobbs, Aaron             10/24/2023     0.2   Call with A. Canale, S. Mimms, M. Blanchard and A. Dobbs (A&M)
                                              to discuss quality control of Tomochain lender deck
Dobbs, Aaron             10/24/2023     0.4   Call with M. Blanchard and A. Dobbs (A&M) to discuss quality
                                              control of Tomochain lender deck
Dobbs, Aaron             10/24/2023     2.1   Analyze flow of funds on Tomoscan to assess activity related to
                                              token swap agreement
Dobbs, Aaron             10/24/2023     1.5   Analyze flow of funds on Tomoscan to assess activity related to
                                              borrower agreement
Dobbs, Aaron             10/24/2023     1.9   Create table to summarize flow of funds related to Tomochain token
                                              swap activity to assess potential preference period activity
Ebrey, Mason             10/24/2023     3.1   Search in Relativity for documents related to debtor lending
                                              relationship with LMAX Digital
Ebrey, Mason             10/24/2023     3.1   Search in Relativity for information related to debtor lending
                                              relationship with LMAX Digital
Flynn, Matthew           10/24/2023     0.4   Update top customer account analysis for S&C

Flynn, Matthew           10/24/2023     0.8   Analyze customer account deposit activity for S&C


Flynn, Matthew           10/24/2023     0.9   Analyze customer account transfer and fills activity for S&C




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Avoidance Actions
Professional                Date    Hours    Activity
Flynn, Matthew         10/24/2023     0.8   Analyze customer account withdrawal activity for S&C

Gosau, Tracy           10/24/2023     0.7   Teleconference with D. Medway, T. Gosau, N. Strong, and A. Cox
                                            (A&M) regarding professional firms workstream
Gosau, Tracy           10/24/2023     0.3   Call with T. Gosau and E. Hoffer (A&M) to discuss additional
                                            transactions identified re: Gabe Bankman-Fried
Gosau, Tracy           10/24/2023     0.2   Call with T. Gosau and E. Hoffer (A&M) to discuss funds tracing of
                                            Prime Trust account 1377
Gosau, Tracy           10/24/2023     0.1   Teleconference with T. Gosau, N. Strong, and A. Cox (A&M)
                                            regarding RLA document review
Gosau, Tracy           10/24/2023     0.3   Call with T. Gosau and N. Strong (A&M) regarding ongoing work
                                            related to Professionals
Gosau, Tracy           10/24/2023     0.8   Teleconference with M. Shanahan, T. Gosau, and A. Cox (A&M)
                                            regarding RLA document review
Gosau, Tracy           10/24/2023     0.6   Teleconference with T. Gosau and A. Cox (A&M) regarding RLA
                                            document review
Gosau, Tracy           10/24/2023     2.9   Review third party documents produced by RLA


Gosau, Tracy           10/24/2023     0.6   Continue reviewing third party documents produced by RLA

Gosau, Tracy           10/24/2023     1.6   Research accounting standards regarding RLA

Gosau, Tracy           10/24/2023     0.1   Call with E. Hoffer, T. Gosau, and B. Price (A&M) to discuss the
                                            analysis of transactions related to additional political donations
                                            identified by Quinn Emanuel
Helal, Aly             10/24/2023     0.2   Call with A. Helal, M. Blanchard (A&M) regarding review and
                                            analysis relating to Bitmax
Helal, Aly             10/24/2023     0.6   Call with A. Helal, W. Ruez (A&M) regarding update to lending
                                            analysis with Bitmax
Helal, Aly             10/24/2023     1.8   Collect Documentation related to lending activity with Bitmax


Helal, Aly             10/24/2023     1.6   Review documentation related to lending activity with Bitmax

Hoffer, Emily          10/24/2023     0.3   Call with J. Lee, E. Hoffer (A&M) to discuss Moneytech account for
                                            purposes of reconciliation in cash database
Hoffer, Emily          10/24/2023     0.3   Call with T. Gosau and E. Hoffer (A&M) to discuss additional
                                            transactions identified re: Gabe Bankman-Fried
Hoffer, Emily          10/24/2023     2.8   Review relativity documents to determine purpose of donations
                                            funded at the direction of Gabe Bankman-Fried
Hoffer, Emily          10/24/2023     0.2   Call with T. Gosau and E. Hoffer (A&M) to discuss funds tracing of
                                            Prime Trust account 1377
Hoffer, Emily          10/24/2023     0.9   Review WRSS Circle account reconciliation in preparation for call
                                            with AlixPartners
Hoffer, Emily          10/24/2023     0.3   Call with J. Lee, E. Hoffer (A&M) to discuss Alameda Research Ltd
                                            Circle account for preparation of call with AlixPartners


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Avoidance Actions
Professional                 Date    Hours    Activity
Hoffer, Emily           10/24/2023     3.1   Perform source of funds tracing for specific donations made at the
                                             direction of Gabe Bankman-Fried
Hoffer, Emily           10/24/2023     0.1   Call with E. Hoffer, T. Gosau, and B. Price (A&M) to discuss the
                                             analysis of transactions related to additional political donations
                                             identified by Quinn Emanuel
Hoffer, Emily           10/24/2023     0.6   Call with J. Lee, E. Hoffer (A&M) and E. Mostoff (AlixPartners) to
                                             discuss outstanding bank account reconciliations
Lee, Julian             10/24/2023     0.2   Correspond with team re: FTX Digital Markets Klarpay accounts for
                                             purposes of reconciliation in cash database
Lee, Julian             10/24/2023     0.3   Call with J. Lee, E. Hoffer (A&M) to discuss Moneytech account for
                                             purposes of reconciliation in cash database
Lee, Julian             10/24/2023     1.2   Prepare summary for avoidance action exposure re: select vendors
                                             with sponsorship agreements
Lee, Julian             10/24/2023     0.4   Review BCB bank data related to FTX Digital Markets accounts for
                                             purposes of cash database
Lee, Julian             10/24/2023     0.1   Correspond with team re: avoidance action exposure for select
                                             vendors with sponsorship agreements
Lee, Julian             10/24/2023     0.1   Review Moneytech bank data related to Hive Empire for purposes of
                                             reconciliation in cash database
Lee, Julian             10/24/2023     0.4   Review avoidance action estimated claim exposure for select
                                             vendors with sponsorship payments
Lee, Julian             10/24/2023     0.1   Correspond with S&C regarding Circle Rule 2004 motion

Lee, Julian             10/24/2023     0.3   Call with J. Lee, E. Hoffer (A&M) to discuss Alameda Research Ltd
                                             Circle account for preparation of call with AlixPartners
Lee, Julian             10/24/2023     0.2   Correspond with team regarding removal of BCB account in bank
                                             account tracker
Lee, Julian             10/24/2023     0.6   Call with J. Lee, E. Hoffer (A&M) and E. Mostoff (AlixPartners) to
                                             discuss outstanding bank account reconciliations
Maggard, Austin         10/24/2023     0.5   Meeting to discuss case summary binder progress and workstream
                                             priorities with K. Zabcik, A. Maggard, and M. Mirando (A&M)
McGrath, Patrick        10/24/2023     0.3   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                             feedback and updates from Alameda developers
McGrath, Patrick        10/24/2023     0.3   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                             queries to Alameda developers
McGrath, Patrick        10/24/2023     0.3   Call with A. Canale, P. McGrath, M. Blanchard (A&M) regarding
                                             updates to presentation relating to high priority exchange account
McGrath, Patrick        10/24/2023     1.5   Call with C. Drappi (Alameda), A. Bosse (JFB), J Croke, A. Holland
                                             (S&C), L. Goldman (Alix), G. Walia, J. Zatz, P. Kwan, P. McGrath
                                             (A&M) to discuss OTC portal
Medway, David           10/24/2023     0.7   Teleconference with D. Medway, T. Gosau, N. Strong, and A. Cox
                                             (A&M) regarding professional firms workstream
Medway, David           10/24/2023     0.1   Call with D. Medway and N. Strong (A&M) regarding ongoing work
                                             related to Professionals
Medway, David           10/24/2023     0.2   Call with M. Shanahan and D. Medway regarding Professionals
                                             workstream status and strategy

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Avoidance Actions
Professional               Date    Hours    Activity
Medway, David         10/24/2023     0.4   Prepare for internal call regarding Professionals workstream status
                                           and strategy
Mimms, Samuel         10/24/2023     0.2   Call with A. Canale, S. Mimms, M. Blanchard and A. Dobbs (A&M)
                                           to discuss quality control of Tomochain lender deck
Mirando, Michael      10/24/2023     0.8   Research the manner in which customers were informed of the new
                                           terms of service on Relativity
Mirando, Michael      10/24/2023     2.9   Update summary binder presentation

Mirando, Michael      10/24/2023     2.1   Compile and organize support related to DOTCOM Share raises


Mirando, Michael      10/24/2023     1.8   Review supporting documents for FTX Digital Markets binder

Mirando, Michael      10/24/2023     0.5   Meeting to discuss case summary binder progress and workstream
                                           priorities with K. Zabcik, A. Maggard, and M. Mirando (A&M)
Price, Breanna        10/24/2023     2.2   Review additional donation documentation related to Gabe
                                           Bankman-Fried received by Quinn Emmanuel
Price, Breanna        10/24/2023     1.1   Continue searching Relativity for confirmation of loan amounts being
                                           received or paid by Alameda from and to Huobi
Price, Breanna        10/24/2023     1.9   Locate the corresponding bank data related to the additional
                                           donations identified by Quinn Emmanuel
Price, Breanna        10/24/2023     2.1   Continue reviewing additional donation documentation related to
                                           Gabe Bankman-Fried received by Quinn Emmanuel
Price, Breanna        10/24/2023     0.1   Call with E. Hoffer, T. Gosau, and B. Price (A&M) to discuss the
                                           analysis of transactions related to additional political donations
                                           identified by Quinn Emanuel
Ramanathan, Kumanan   10/24/2023     1.1   Review of transfers fills and activity data for select customer records

Ruez, William         10/24/2023     3.1   Review of agreements and correspondents between Alameda and
                                           Bitmax regarding lender analysis
Ruez, William         10/24/2023     0.2   Call with A. Helal, M. Blanchard (A&M) regarding review and
                                           analysis relating to Bitmax
Ruez, William         10/24/2023     0.6   Call with A. Helal, W. Ruez (A&M) regarding update to lending
                                           analysis with Bitmax
Ryan, Laureen         10/24/2023     0.9   Teleconference with L. Ryan and M. Shanahan (A&M) regarding
                                           case status and ongoing workstreams
Ryan, Laureen         10/24/2023     0.3   Correspond with QE and A&M team regarding inquiries related to
                                           Gabe Bankman-Fried Investigation
Ryan, Laureen         10/24/2023     0.6   Correspond with A&M team on S&C requests related to certain
                                           sponsorship vendor activity
Ryan, Laureen         10/24/2023     0.8   Review and edit deck summarizing findings on the 3 Arrows
                                           exchange activity for S&C
Ryan, Laureen         10/24/2023     0.7   Correspond with A&M team regarding inquiries on the 3 Arrows
                                           exchange activity
Ryan, Laureen         10/24/2023     0.3   Correspond with QE and A&M Team regarding Gabe Bankman-
                                           Fried Investigation inquiries


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Avoidance Actions
Professional               Date    Hours    Activity
Ryan, Laureen         10/24/2023     0.7   Review and edit deck summarizing findings on the Plutus Lending
                                           LLC Activity
Ryan, Laureen         10/24/2023     0.4   Correspond with A&M team regarding inquiries on the Abra Lending
                                           Activity with FTX
Ryan, Laureen         10/24/2023     0.7   Review information related to Plutus Lending LLC and related entity
                                           Abra
Ryan, Laureen         10/24/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding review of 3AC trading
                                           data
Ryan, Laureen         10/24/2023     0.1   Correspond with A&M team regarding inquiries on Ripple Laps


Salas Nunez, Luis     10/24/2023     2.3   Analysis of exchange activity data for preferential treatment based
                                           on updated data requests
Salas Nunez, Luis     10/24/2023     1.4   Merge databases of preference exposure with respect to withdrawal
                                           activity
Shanahan, Michael     10/24/2023     0.9   Call with L. Ryan, M. Shanahan (A&M) regarding avoidance action
                                           strategy related to professional firm claims
Shanahan, Michael     10/24/2023     0.2   Call with M. Shanahan and D. Medway regarding Professionals
                                           workstream status and strategy
Shanahan, Michael     10/24/2023     0.8   Teleconference with M. Shanahan, T. Gosau, and A. Cox (A&M)
                                           regarding RLA document review
Shanahan, Michael     10/24/2023     0.8   Preliminary review of Silvergate communications analysis for North
                                           Dimension account
Shanahan, Michael     10/24/2023     0.7   Preliminary review of scoping analysis related to RLA document
                                           productions
Stolyar, Alan         10/24/2023     0.5   Meeting to discuss balance sheet review for FTX trademarks,
                                           patents, and IP with H. Ardizzoni, A. Stolyar and K. Zabcik (A&M)
Strong, Nichole       10/24/2023     0.7   Teleconference with D. Medway, T. Gosau, N. Strong, and A. Cox
                                           (A&M) regarding professional firms workstream
Strong, Nichole       10/24/2023     0.1   Call with D. Medway and N. Strong (A&M) regarding ongoing work
                                           related to Professionals
Strong, Nichole       10/24/2023     0.1   Teleconference with T. Gosau, N. Strong, and A. Cox (A&M)
                                           regarding RLA document review
Strong, Nichole       10/24/2023     0.3   Call with T. Gosau and N. Strong (A&M) regarding ongoing work
                                           related to Professionals
Wilson, David         10/24/2023     1.3   Create user analytics report with template containing additional
                                           fields for corporate account for A&M investigation
Wilson, David         10/24/2023     1.9   Produce user analytics report using net withdrawals method for
                                           multiple corporate accounts provided for S&C investigation
Zabcik, Kathryn       10/24/2023     1.8   Provide comments for summary witness binder related to terms of
                                           service slides for FTX Digital markets
Zabcik, Kathryn       10/24/2023     1.3   Search for additional intellectual property documents in relativity


Zabcik, Kathryn       10/24/2023     0.4   Review slide for intellectual property on FTX balance sheets




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Avoidance Actions
Professional               Date    Hours    Activity
Zabcik, Kathryn       10/24/2023     0.5   Meeting to discuss balance sheet review for FTX trademarks,
                                           patents, and IP with H. Ardizzoni, A. Stolyar and K. Zabcik (A&M)
Zabcik, Kathryn       10/24/2023     0.5   Meeting to discuss case summary binder progress and workstream
                                           priorities with K. Zabcik, A. Maggard, and M. Mirando (A&M)
Arnett, Chris         10/25/2023     0.4   Review newly-provided lender avoidance analysis and presentation
                                           prior to submission to S&C / J. Ray (Company)
Arnett, Chris         10/25/2023     0.7   Review and comment on near final draft of Three Arrows Capital
                                           presentation for distribution to S&C
Baker, Kevin          10/25/2023     0.2   Call with A. Canale, M. Blanchard, K. Baker, J. Chan (A&M)
                                           regarding preparation for Nexo call with S&C
Baker, Kevin          10/25/2023     0.5   Call with A. Canale, M. Blanchard, K. Baker, J. Chan (A&M) J.
                                           Croke. P. Lavin, S. Ehrenberg (S&C) regarding Nexo trading analysis
Blanchard, Madison    10/25/2023     0.2   Call with A. Canale, M. Blanchard, K. Baker, J. Chan (A&M)
                                           regarding preparation for Nexo call with S&C
Blanchard, Madison    10/25/2023     2.9   Review and analysis of deposit, withdrawal, transfer, and borrowing
                                           activity relating to Nexo customer account
Blanchard, Madison    10/25/2023     0.5   Call with A. Canale, L. Lambert and M. Blanchard (A&M) to discuss
                                           Tomochain token swap funds tracing
Blanchard, Madison    10/25/2023     0.4   Call with M. Blanchard, M. Ebrey (A&M) regarding debtor lending
                                           relationship with LMAX Digital
Blanchard, Madison    10/25/2023     1.1   Review of materials prepared relating to Nexo lending claim ahead
                                           of call with Counsel
Blanchard, Madison    10/25/2023     0.1   Call with A. Canale, M. Blanchard, M. Ebrey (A&M) regarding debtor
                                           lending relationship with LMAX
Blanchard, Madison    10/25/2023     1.1   Continue to review and analyze trading data relating to Nexo
                                           customer account
Blanchard, Madison    10/25/2023     0.8   Review of data and information relating to Bitmax lending activity


Blanchard, Madison    10/25/2023     0.3   Review of information relating to LMAX Digital lending activity

Blanchard, Madison    10/25/2023     2.8   Review and analysis of trading data relating to Nexo customer
                                           account
Blanchard, Madison    10/25/2023     0.5   Call with A. Canale, M. Blanchard, K. Baker, J. Chan (A&M) J.
                                           Croke. P. Lavin, S. Ehrenberg (S&C) regarding Nexo trading analysis
Broskay, Cole         10/25/2023     1.8   Review supporting documents for WRS silo deck for case summary
                                           binder
Broskay, Cole         10/25/2023     0.4   Provide commentary on WRS silo deck outline


Broskay, Cole         10/25/2023     0.2   Meeting to discuss FTX DM communications with customers related
                                           to the case summary binder with A. Maggard, M. Mirando, and C.
                                           Broskay (A&M)
Callerio, Lorenzo     10/25/2023     0.5   Call with L. Callerio, A. Heric and A. Dobbs (A&M) to discuss
                                           Tomochain token swap funds tracing
Canale, Alex          10/25/2023     0.2   Call with A. Canale, M. Blanchard, K. Baker, J. Chan (A&M)
                                           regarding preparation for Nexo call with S&C


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Professional                  Date    Hours    Activity
Canale, Alex             10/25/2023     0.5   Call with A. Canale, L. Lambert and M. Blanchard (A&M) to discuss
                                              Tomochain token swap funds tracing
Canale, Alex             10/25/2023     0.3   Discussion with L. Ryan, A. Canale (A&M) regarding three arrows
                                              claim and plan settlement agreement
Canale, Alex             10/25/2023     0.1   Call with A. Canale, M. Blanchard, M. Ebrey (A&M) regarding debtor
                                              lending relationship with LMAX
Canale, Alex             10/25/2023     0.7   Correspond with A&M team regarding analysis of Nexo trading data

Canale, Alex             10/25/2023     0.9   Review Nexo trading and lending data in preparation for call with
                                              S&C
Canale, Alex             10/25/2023     1.1   Review documents relating to Three Arrows

Canale, Alex             10/25/2023     0.4   Review documents relating to Tomochain crypto tracing


Canale, Alex             10/25/2023     0.4   Review documents relating to LMAX line of credit to debtors

Canale, Alex             10/25/2023     0.8   Analysis of Nexo trading data relevant to exchange claim


Canale, Alex             10/25/2023     0.3   Communications with A&M team regarding Nexo claim

Canale, Alex             10/25/2023     0.3   Prepare avoidance actions slide for PMO update

Canale, Alex             10/25/2023     0.5   Call with A. Canale, M. Blanchard, K. Baker, J. Chan (A&M) J.
                                              Croke. P. Lavin, S. Ehrenberg (S&C) regarding Nexo trading analysis
Chan, Jon                10/25/2023     0.2   Call with A. Canale, M. Blanchard, K. Baker, J. Chan (A&M)
                                              regarding preparation for Nexo call with S&C
Chan, Jon                10/25/2023     2.3   Query database to update code for preference analysis with new
                                              assumptions
Chan, Jon                10/25/2023     2.3   Investigate activity related to specific avoidance action assumptions

Chan, Jon                10/25/2023     0.5   Call with A. Canale, M. Blanchard, K. Baker, J. Chan (A&M) J.
                                              Croke. P. Lavin, S. Ehrenberg (S&C) regarding Nexo trading analysis
Cox, Allison             10/25/2023     0.2   Teleconference with T. Gosau, N. Strong, and A. Cox (A&M)
                                              regarding additional Piper Alderman request
Cox, Allison             10/25/2023     0.6   Review QuickBooks records in relation to Riot Games vendor
                                              relationship
Cox, Allison             10/25/2023     2.9   Document review in relation to RLA accounting of North Dimension


Cox, Allison             10/25/2023     2.6   Document review in relation to Piper Alderman additional payments

Cox, Allison             10/25/2023     0.8   Review Online posts in relation to Riot Games and FTX Sponsorship
                                              deal
Cox, Allison             10/25/2023     2.3   Summarize additional payments to Piper Alderman identified




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Avoidance Actions
Professional              Date    Hours    Activity
Dobbs, Aaron         10/25/2023     1.6   Crypto tracing analysis on Tomochain block scanner and other
                                          relevant tokens used on their blockchain
Dobbs, Aaron         10/25/2023     0.8   Create 9-day exposure analysis for Long Vuong FTX.com account to
                                          assess pre-preference activity
Dobbs, Aaron         10/25/2023     2.6   Crypto tracing analysis on Tomochain block scanner to review 90-
                                          day petition activity
Dobbs, Aaron         10/25/2023     0.5   Call with L. Callerio, A. Heric and A. Dobbs (A&M) to discuss
                                          Tomochain token swap funds tracing
Dobbs, Aaron         10/25/2023     1.1   Update 90 day preference period activity for Tomochain accounts on
                                          FTX.com to address exposure activity
Dobbs, Aaron         10/25/2023     2.4   Relativity searches for RLA engagement letters for all retained
                                          entities for tax services to assist with professional analysis
Ebrey, Mason         10/25/2023     0.4   Call with M. Blanchard, M. Ebrey (A&M) regarding debtor lending
                                          relationship with LMAX Digital
Ebrey, Mason         10/25/2023     2.8   Search in Relativity for information related to debtor lending
                                          relationship with LMAX Digital
Ebrey, Mason         10/25/2023     0.1   Call with A. Canale, M. Blanchard, M. Ebrey (A&M) regarding debtor
                                          lending relationship with LMAX
Ebrey, Mason         10/25/2023     1.2   Search in Relativity for documents related to debtor lending
                                          relationship with LMAX Digital
Ebrey, Mason         10/25/2023     1.3   Prepare email outlining LMAX findings

Ebrey, Mason         10/25/2023     1.5   Review comments made in Abra Lender Summary Deck


Flynn, Matthew       10/25/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M) to discuss employee
                                          account analysis
Flynn, Matthew       10/25/2023     0.2   Call with M. Flynn, G. Walia (A&M) to discuss customer analysis


Flynn, Matthew       10/25/2023     1.3   Analyze employee withdrawals for S&C

Flynn, Matthew       10/25/2023     0.7   Review customer balance and transaction analysis for S&C


Flynn, Matthew       10/25/2023     2.1   Update to top customer analysis for S&C

Gosau, Tracy         10/25/2023     0.2   Teleconference with T. Gosau, N. Strong, and A. Cox (A&M)
                                          regarding additional Piper Alderman request
Gosau, Tracy         10/25/2023     1.6   Review additional transactions identified re: Gabe Bankman-Fried


Gosau, Tracy         10/25/2023     2.2   Review third party documents produced by RLA

Gosau, Tracy         10/25/2023     0.2   Call with E. Hoffer, T. Gosau, and B. Price (A&M) to walk through
                                          the analysis of transactions related to additional donations related to
                                          Gabriel Bankman-Fried
Hainline, Drew       10/25/2023     0.9   Review available information to support response on questions
                                          regarding prepaid balances and vendor payments for WRS silo
                                          entities

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Avoidance Actions
Professional                 Date    Hours    Activity
Helal, Aly              10/25/2023     1.3   Reconcile additional BCB Bank Accounts for Debtor entities in 2021
                                             and 2022 to ingest to the cash database
Helal, Aly              10/25/2023     2.1   Search for agreements between debtors and Bitmax


Hoffer, Emily           10/25/2023     1.3   Review BCB transaction reports to determine if specific account is
                                             related to FTX
Hoffer, Emily           10/25/2023     0.2   Call with E. Hoffer, T. Gosau, and B. Price (A&M) to walk through
                                             the analysis of transactions related to additional donations related to
                                             Gabriel Bankman-Fried
Hoffer, Emily           10/25/2023     2.9   Perform source of funds analysis for Nishad Singh prime trust bank
                                             account to determine original funding of specific donations
Hoffer, Emily           10/25/2023     2.7   Perform source of funds analysis for Sam Bankman-Fried prime
                                             trust bank account to determine original funding of specific donations
Hoffer, Emily           10/25/2023     0.9   Manual review of Klarpay FTX Digital Market account to determine if
                                             outstanding reconciliation issues were resolved for use in the cash
                                             database
Jones, Mackenzie        10/25/2023     0.4   Research acquisition accounting memos for WRS silo background
                                             binder
Jones, Mackenzie        10/25/2023     0.9   Research acquisition details for WRS silo background binder

Konig, Louis            10/25/2023     0.9   Call with L. Konig, G. Walia, L. Salas Nunez (A&M) to discuss data
                                             requirements for excluded customer analysis
Lee, Julian             10/25/2023     1.0   Review correspondence, sponsorship documents related to North
                                             America League of Legends sponsorship
Lee, Julian             10/25/2023     0.4   Review prepaid assets, accounts payable balance, relevant invoice
                                             support re: North America League of Legends
Lee, Julian             10/25/2023     0.1   Correspond with team re: avoidance action exposure for select
                                             vendors with sponsorship agreements
Lee, Julian             10/25/2023     0.3   Correspond with team re: North America League of Legends
                                             prepaid, accounts payable balances
Lee, Julian             10/25/2023     0.1   Correspond with team regarding available Amex credit card
                                             statements
Lee, Julian             10/25/2023     1.6   Summarize payments to select vendors with sponsorship
                                             agreements
Lee, Julian             10/25/2023     1.2   Prepare vendor tear sheet summary re: North America League of
                                             Legends
Lee, Julian             10/25/2023     1.6   Prepare vendor analysis re: North America League of Legends

Lee, Julian             10/25/2023     0.2   Review bank communication tracker for weekly PMO update

Lee, Julian             10/25/2023     0.2   Review reconciliation status of FTX Digital Markets accounts in cash
                                             database
Maggard, Austin         10/25/2023     0.6   Meeting to discuss KYC customer searches in Relativity A. Maggard
                                             and K. Zabcik (A&M)
Maggard, Austin         10/25/2023     1.8   Identify and tag AML documents submitted by customers that were
                                             directed to FTX DM in search ID 1

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Maggard, Austin       10/25/2023     1.4   Identify and tag SCB declarations by FTX DM in search ID 1

Maggard, Austin       10/25/2023     0.6   Create FDM customer migration tracker for search ID 1


Maggard, Austin       10/25/2023     1.6   Populate customer names in the FDM customer migration tracker for
                                           search ID 1
Maggard, Austin       10/25/2023     0.2   Meeting to discuss FTX DM communications with customers related
                                           to the case summary binder with A. Maggard, M. Mirando, and C.
                                           Broskay (A&M)
McGrath, Patrick      10/25/2023     0.4   Review exchange activity for lending relationship, including spot
                                           margin activity
McGrath, Patrick      10/25/2023     0.6   Review summary of high priority customer analysis

Medway, David         10/25/2023     1.4   Review McCaffrey production and loan and agreements and prepare
                                           supplemental document request at request of QE
Mirando, Michael      10/25/2023     1.9   Update documentation of the process through which customers
                                           were onboarded to the FTX platform
Mirando, Michael      10/25/2023     2.2   Research the manner in which customers were informed of the new
                                           terms of service on Relativity
Mirando, Michael      10/25/2023     2.6   Review case summary presentation slides


Mirando, Michael      10/25/2023     0.5   Update bios for key executives of FTX Digital Markets

Mirando, Michael      10/25/2023     2.9   Search Relativity for emails to institutional customers informing them
                                           of the transition from FTX trading to FTX Digital Markets
Mirando, Michael      10/25/2023     0.2   Meeting to discuss FTX DM communications with customers related
                                           to the case summary binder with A. Maggard, M. Mirando, and C.
                                           Broskay (A&M)
Price, Breanna        10/25/2023     2.1   Add Evolve Bank credit card details to the Gabe Bankman-Fried
                                           donation analysis
Price, Breanna        10/25/2023     1.8   Add Good Luck Games bank statements to the bank data tracker


Price, Breanna        10/25/2023     1.1   Add additional Good Luck Games bank accounts to the bank
                                           account matrix
Price, Breanna        10/25/2023     1.6   Complete the analysis of Gabe Bankman-Fried donations


Price, Breanna        10/25/2023     0.2   Call with E. Hoffer, T. Gosau, and B. Price (A&M) to walk through
                                           the analysis of transactions related to additional donations related to
                                           Gabriel Bankman-Fried
Ramanathan, Kumanan   10/25/2023     0.6   Call with G. Walia, K. Ramanathan (A&M), J. Croke (S&C) to
                                           discuss user exchange analysis
Ramanathan, Kumanan   10/25/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M) to discuss employee
                                           account analysis
Ryan, Laureen         10/25/2023     0.3   Correspond with A&M team regarding further analysis to be
                                           performed on sponsorship vendors activity



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Avoidance Actions
Professional               Date    Hours    Activity
Ryan, Laureen         10/25/2023     0.3   Discussion with L. Ryan, A. Canale (A&M) regarding three arrows
                                           claim and plan settlement agreement
Ryan, Laureen         10/25/2023     0.4   Correspond with A&M Team regarding FTX - Litigation List related to
                                           overseas debtor entities
Ryan, Laureen         10/25/2023     0.9   Review and edit deck summary of eight sponsorship vendors with
                                           the related payments and analysis
Ryan, Laureen         10/25/2023     0.9   Correspond with A&M team regarding inquiries on the 3 Arrows
                                           exchange activity
Ryan, Laureen         10/25/2023     0.2   Correspond with QE and A&M Team regarding Gabe Bankman-
                                           Fried Investigation
Ryan, Laureen         10/25/2023     1.1   Review proposed settlement of customer property disputes

Salas Nunez, Luis     10/25/2023     0.9   Call with L. Konig, G. Walia, L. Salas Nunez (A&M) to discuss data
                                           requirements for excluded customer analysis
Salas Nunez, Luis     10/25/2023     3.1   Analysis of exchange activity data trends for FTX.COM customers

Shanahan, Michael     10/25/2023     1.4   Review key documents identified related to Moore Stephens analysis


Shanahan, Michael     10/25/2023     0.2   Communications to/from team regarding professionals workstream

Shanahan, Michael     10/25/2023     0.3   Review list of potential litigations related to wind-down entities

Shanahan, Michael     10/25/2023     0.2   Communications to/from team regarding additional vendor analyses


Shanahan, Michael     10/25/2023     0.2   Communications to/from team regarding available bank data

Shanahan, Michael     10/25/2023     0.4   Review draft follow-up request for Stocktwits


Shanahan, Michael     10/25/2023     1.3   Review analysis of Stocktwits valuation reports

Sloan, Austin         10/25/2023     2.1   Continue bank statement reconciliation for BCB accounts in relation
                                           to cash database
Sloan, Austin         10/25/2023     2.2   Process Wells Fargo bank statements in Valid8 in relation to cash
                                           database
Stolyar, Alan         10/25/2023     0.5   Meeting to discuss Blockfolio's registered intangible assets with A.
                                           Stolyar and K. Zabcik (A&M)
Strong, Nichole       10/25/2023     0.2   Teleconference with T. Gosau, N. Strong, and A. Cox (A&M)
                                           regarding additional Piper Alderman request
Strong, Nichole       10/25/2023     0.4   Call with S. Hill (QE) and N. Strong (A&M) regarding status of
                                           ongoing work related to Professionals
Strong, Nichole       10/25/2023     0.6   Prepare for call with A&M team related to new requests from
                                           counsel related to Piper Alderman
Strong, Nichole       10/25/2023     1.1   Update documentation of procedures for Professionals workstream




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Professional               Date    Hours    Activity
Strong, Nichole       10/25/2023     0.6   Prepare for call with QE regarding Professionals workstream

Walia, Gaurav         10/25/2023     0.9   Call with L. Konig, G. Walia, L. Salas Nunez (A&M) to discuss data
                                           requirements for excluded customer analysis
Walia, Gaurav         10/25/2023     0.6   Call with G. Walia, K. Ramanathan (A&M), J. Croke (S&C) to
                                           discuss user exchange analysis
Walia, Gaurav         10/25/2023     0.2   Call with M. Flynn, G. Walia (A&M) to discuss customer analysis

Wilson, David         10/25/2023     0.8   Quality review user analytics report created for S&C investigation
                                           with 80 corporate accounts
Wilson, David         10/25/2023     2.8   Create user analytics report for S&C investigation data request with
                                           80 corporate accounts
Zabcik, Kathryn       10/25/2023     1.4   Conduct additional KYC customer searches in Relativity to outline
                                           needed searches for customer migration tracker
Zabcik, Kathryn       10/25/2023     0.5   Meeting to discuss Blockfolio's registered intangible assets with A.
                                           Stolyar and K. Zabcik (A&M)
Zabcik, Kathryn       10/25/2023     0.6   Meeting to discuss KYC customer searches in Relativity A. Maggard
                                           and K. Zabcik (A&M)
Zabcik, Kathryn       10/25/2023     1.6   Provide comments for summary witness binder related to amended
                                           terms of service slides and org chart slides for FTX Digital markets
Arnett, Chris         10/26/2023     0.3   Review and comment on correspondence with B. Beller (S&C) re:
                                           avoidance litigation status
Arnett, Chris         10/26/2023     0.5   Meeting to discuss open items and status for the summary witness
                                           binder with M. Scheck, M. Anderson (Quinn Emanuel), C. Arnett, C.
                                           Broskay and K. Zabcik (A&M)
Blanchard, Madison    10/26/2023     1.8   Review information and documentation relating to Bitmax loans
                                           regarding possible preference exposure
Blanchard, Madison    10/26/2023     0.2   Call with M. Blanchard, A. Dobbs (A&M) regarding Tomochain
                                           lending claim and exchange customer preference exposure
Blanchard, Madison    10/26/2023     0.3   Call with A. Helal, M. Blanchard, W. Ruez (A&M) regarding review
                                           and analysis relating to Bitmax
Blanchard, Madison    10/26/2023     0.4   Review information and documentation relating to lending claims
                                           regarding preference exposure
Blanchard, Madison    10/26/2023     0.3   Review documentation and findings relating to LMAX Digital lending
                                           claim
Blanchard, Madison    10/26/2023     2.9   Update presentation relating to Tomochain lending claim analysis
                                           findings
Blanchard, Madison    10/26/2023     0.6   Prepare complaint exhibit for high priority exchange customer
                                           analysis
Blanchard, Madison    10/26/2023     0.3   Review documentation and findings relating to Nexo lending claim

Braatelien, Troy      10/26/2023     1.4   Draft slides regarding FTX intellectual property and licensing rights
                                           for summary binder
Braatelien, Troy      10/26/2023     2.0   Review Relativity and Box repositories for information regarding
                                           exchange operations


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Avoidance Actions
Professional                 Date    Hours    Activity
Braatelien, Troy        10/26/2023     0.8   Draft slides regarding exchange operations, focusing on trading
                                             activities
Braatelien, Troy        10/26/2023     0.6   Draft slides regarding exchange operations, focusing on market-
                                             making
Braatelien, Troy        10/26/2023     1.1   Call over Declaration Binder progress updates and new information
                                             with M. Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns
                                             (A&M)
Braatelien, Troy        10/26/2023     0.8   Call over Declaration Binder instructions and updates with M.
                                             Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns (A&M)
Broskay, Cole           10/26/2023     1.8   Review the FTX exchange section of the case summary binder


Broskay, Cole           10/26/2023     0.5   Meeting to discuss open items and status for the summary witness
                                             binder with M. Scheck, M. Anderson (Quinn Emanuel), C. Arnett, C.
                                             Broskay and K. Zabcik (A&M)
Burns, Zach             10/26/2023     1.3   Analyze share raises data for West Realm Shires Inc and the
                                             timeline for inflows of cash
Burns, Zach             10/26/2023     0.6   Review A&M collection and review process for collecting data
                                             surrounding the FTX case
Burns, Zach             10/26/2023     0.9   Analyze JPL Declaration Binder to review external funding to
                                             Alameda entities
Burns, Zach             10/26/2023     1.2   Analyze information on how the exchange worked in Relativity


Burns, Zach             10/26/2023     0.3   Review slides surrounding the organizational structure of the FTX
                                             group
Burns, Zach             10/26/2023     0.6   Review key executives and their roles in the FTX group

Burns, Zach             10/26/2023     1.1   Call over Declaration Binder progress updates and new information
                                             with M. Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns
                                             (A&M)
Burns, Zach             10/26/2023     1.8   Analyze share raises data for FTX Trading Ltd and the timeline for
                                             inflows of cash alongside bank account activity for said infusions
Burns, Zach             10/26/2023     0.8   Analyze customer products and how said customer products were
                                             utilized in the FTX exchange
Burns, Zach             10/26/2023     0.8   Call over Declaration Binder instructions and updates with M.
                                             Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns (A&M)
Canale, Alex            10/26/2023     0.2   Meetings with M. Shanahan, A. Canale (A&M) regarding vendor
                                             claims analysis
Canale, Alex            10/26/2023     0.2   Meetings with M. Shanahan, A. Canale (A&M) regarding Stocktwits
                                             valuation
Canale, Alex            10/26/2023     0.3   Call with A.Canale (A&M) B. Beller (S&C) regarding Three Arrows
                                             Capital
Canale, Alex            10/26/2023     0.7   Review documents relating to vendor claims analysis


Canale, Alex            10/26/2023     0.4   Call with S. Grannum, A. Kutscher (QE), M. Shanahan, A. Canale
                                             and T. Gosau (A&M) to discuss information provided by StockTwits



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Avoidance Actions
Professional                  Date    Hours    Activity
Canale, Alex             10/26/2023     0.3   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss vendor
                                              tear sheet analysis for North America League of Legends
Chan, Jon                10/26/2023     2.4   Investigate activity related to specific entities and individuals for
                                              A&M internal avoidance request
Cox, Allison             10/26/2023     2.1   Prepare summary of circumstances for Partner at Piper Alderman
                                              individual payments
Cox, Allison             10/26/2023     0.2   Call with T. Gosau and A. Cox (A&M) regarding professional firms
                                              workstream
Cox, Allison             10/26/2023     0.9   Review list of new professional firms based on previously reviewed


Cox, Allison             10/26/2023     2.9   Update payments to professionals summary of circumstances for
                                              new firms
Cox, Allison             10/26/2023     2.3   Document review in relation to Piper Alderman additional subsidiaries


Dobbs, Aaron             10/26/2023     0.2   Call with M. Blanchard, A. Dobbs (A&M) regarding Tomochain
                                              lending claim and exchange customer preference exposure
Dobbs, Aaron             10/26/2023     1.4   Quality control of lender tear sheets to test for completeness of
                                              Tomochain blockscanner data and transactional data
Dobbs, Aaron             10/26/2023     1.6   Relativity searches for League of Legends tournament invoices for
                                              Vendor analysis tear sheet
Dobbs, Aaron             10/26/2023     2.3   Target searches for League of Legends tournament agreement for
                                              Vendor analysis tear sheet
Dusendschon, Kora        10/26/2023     0.4   Call with L. Konig, G. Walia, P. Kwan, K. Dusendschon, L. Salas
                                              Nunez (A&M) to discuss excluded customer analysis
Ebrey, Mason             10/26/2023     0.7   Search in relativity for information related to 3M USDC LOC issued
                                              to Alameda by BitMax
Ebrey, Mason             10/26/2023     1.8   Prepare Witty Elite Limited Lender Summary Deck


Ebrey, Mason             10/26/2023     2.6   Search in Relativity for documents related to debtor lending
                                              relationship with Witty Elite Limited
Flynn, Matthew           10/26/2023     0.4   Call with M. Flynn, A. Selwood (A&M) to discuss top customer
                                              analysis
Flynn, Matthew           10/26/2023     0.3   Call with M. Flynn, L. Lambert (A&M) to discuss interim report for
                                              S&C
Gosau, Tracy             10/26/2023     0.2   Call with T. Gosau and B. Price (A&M) to discuss additional
                                              transactions identified re: Gabe Bankman-Fried
Gosau, Tracy             10/26/2023     0.9   Call with T. Gosau and E. Hoffer (A&M) to discuss additional
                                              transactions identified re: Gabe Bankman-Fried
Gosau, Tracy             10/26/2023     1.1   Review documents relating to Moore Stephens re: Cottonwood
                                              licensing agreement
Gosau, Tracy             10/26/2023     1.6   Continue reviewing additional transactions identified re: Gabe
                                              Bankman-Fried
Gosau, Tracy             10/26/2023     0.2   Call with T. Gosau and A. Cox (A&M) regarding professional firms
                                              workstream




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Avoidance Actions
Professional                Date    Hours    Activity
Gosau, Tracy           10/26/2023     2.9   Review additional transactions identified re: Gabe Bankman-Fried

Gosau, Tracy           10/26/2023     0.8   Review documents relating to Moore Stephens re: Cottonwood
                                            financials
Gosau, Tracy           10/26/2023     0.4   Call with S. Grannum, A. Kutscher (QE), M. Shanahan, A. Canale
                                            and T. Gosau (A&M) to discuss information provided by StockTwits
Helal, Aly             10/26/2023     1.8   Reconcile of Klarpay Bank Accounts for Debtor entities in 2021 and
                                            2022 to ingest to the cash database
Helal, Aly             10/26/2023     0.3   Call with A. Helal, M. Blanchard, W. Ruez (A&M) regarding review
                                            and analysis relating to Bitmax
Helal, Aly             10/26/2023     0.3   Call with W. Ruez, A. Helal, M. Blanchard (A&M) regarding Bitmax
                                            lending activity
Helal, Aly             10/26/2023     2.7   Populate cash counterparties for bank transactions with blank
                                            description
Helal, Aly             10/26/2023     1.1   Analyze exchange activity for Bitmax FTX Exchange account

Hoffer, Emily          10/26/2023     0.9   Call with T. Gosau and E. Hoffer (A&M) to discuss additional
                                            transactions identified re: Gabe Bankman-Fried
Hoffer, Emily          10/26/2023     0.2   Call with E. Hoffer and B. Price (A&M) to discuss the Majority
                                            Forward donation and source of funds
Hoffer, Emily          10/26/2023     1.2   Review new Trade Station statements for Ledger Prime accounts for
                                            use in cash database
Hoffer, Emily          10/26/2023     0.7   Update bank communications status tracker for use in weekly
                                            management meeting
Hoffer, Emily          10/26/2023     0.9   Manual review of updated BCB monthly balances in cash database
                                            to determine if reconciling issues had been resolved
Hoffer, Emily          10/26/2023     0.5   Call with A. Sloan and E. Hoffer (A&M) to discuss new bank
                                            statements available for reconciliation in cash database
Konig, Louis           10/26/2023     0.4   Call with L. Konig, G. Walia, P. Kwan, K. Dusendschon, L. Salas
                                            Nunez (A&M) to discuss excluded customer analysis
Konig, Louis           10/26/2023     1.2   Quality control and review of output related to various preference
                                            calculation assumptions
Konig, Louis           10/26/2023     1.8   Quality control and review of output related to preference calculation
                                            tool updates
Konig, Louis           10/26/2023     1.4   Document findings related to various preference calculation
                                            assumptions
Konig, Louis           10/26/2023     1.1   Script database related to various preference calculation
                                            assumptions
Konig, Louis           10/26/2023     1.6   Script database related to preference calculation tool updates

Konig, Louis           10/26/2023     0.9   Document findings related to preference calculation tool updates


Kwan, Peter            10/26/2023     0.4   Call with L. Konig, G. Walia, P. Kwan, K. Dusendschon, L. Salas
                                            Nunez (A&M) to discuss excluded customer analysis




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Avoidance Actions
Professional                 Date    Hours    Activity
Lee, Julian             10/26/2023     0.5   Correspond with team regarding update for reconciliation of FTX
                                             Digital Markets for BCB, Klarpay, Deltec bank data
Lee, Julian             10/26/2023     0.8   Review draft termination letter, correspondence related to North
                                             America League of Legends
Lee, Julian             10/26/2023     0.1   Correspond with team regarding SBI Clearing, Trade Station, BCB
                                             accounts re: cash database
Lee, Julian             10/26/2023     0.4   Review invoice support related to North America League of Legends

Lee, Julian             10/26/2023     0.8   Update vendor tear sheet summary re: North America League of
                                             Legends
Lee, Julian             10/26/2023     0.8   Update vendor analysis re: North America League of Legends

Lee, Julian             10/26/2023     0.1   Correspond with S&C regarding data request to Plaid


Lee, Julian             10/26/2023     0.3   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss vendor
                                             tear sheet analysis for North America League of Legends
Maggard, Austin         10/26/2023     2.4   Identify and tag board resolutions/minutes submitted by customers
                                             that were directed to FTX DM in search ID 1
Maggard, Austin         10/26/2023     0.3   Meeting to discuss customer analysis for binder preparation with A.
                                             Maggard and A. Stolyar (A&M)
Maggard, Austin         10/26/2023     2.7   Identify and tag documents unrelated to FTX DM or duplicative
                                             emails in search ID 1
Maggard, Austin         10/26/2023     0.8   Call over Declaration Binder instructions and updates with M.
                                             Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns (A&M)
Maggard, Austin         10/26/2023     1.1   Call over Declaration Binder progress updates and new information
                                             with M. Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns
                                             (A&M)
McGrath, Patrick        10/26/2023     2.2   Collect and review information for counsel and UCC regarding 3AC

Medway, David           10/26/2023     0.8   Review and analyze McCaffrey document production at request of
                                             QE
Medway, David           10/26/2023     0.4   Meeting with M. Shanahan and D. Medway (A&M) regarding
                                             McCafferty claims
Mirando, Michael        10/26/2023     1.1   Update case summary binder presentation deck with details on the
                                             workings of the exchange
Mirando, Michael        10/26/2023     1.9   Search Relativity for biographies of key executives of FTX Digital
                                             Markets
Mirando, Michael        10/26/2023     2.1   Review presentation decks for inclusion in case summary binder


Mirando, Michael        10/26/2023     1.8   Research the manner in which the exchange operated

Mirando, Michael        10/26/2023     0.8   Call over Declaration Binder instructions and updates with M.
                                             Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns (A&M)
Mirando, Michael        10/26/2023     1.1   Call over Declaration Binder progress updates and new information
                                             with M. Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns
                                             (A&M)

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Avoidance Actions
Professional              Date    Hours    Activity
Price, Breanna       10/26/2023     0.2   Call with T. Gosau and B. Price (A&M) to discuss additional
                                          transactions identified re: Gabe Bankman-Fried
Price, Breanna       10/26/2023     0.2   Call with E. Hoffer and B. Price (A&M) to discuss the Majority
                                          Forward donation and source of funds
Price, Breanna       10/26/2023     1.2   Continue adding Wells Fargo bank data to the bank statement
                                          tracker
Price, Breanna       10/26/2023     2.4   Add Wells Fargo bank data to the bank statement tracker

Price, Breanna       10/26/2023     2.4   Add Majority Forward bank data to the bank statement tracker


Ruez, William        10/26/2023     0.3   Call with A. Helal, M. Blanchard, W. Ruez (A&M) regarding review
                                          and analysis relating to Bitmax
Ruez, William        10/26/2023     2.9   Analysis of supporting documents related to Bitmax lender analysis


Ryan, Laureen        10/26/2023     0.1   Correspond with A&M team regarding updates to PMO draft and
                                          workstream planner for avoidance activities
Ryan, Laureen        10/26/2023     0.3   Correspond with A&M team on avoidance action activities and
                                          updates from S&C
Ryan, Laureen        10/26/2023     0.2   Correspond with A&M team regarding JPL Production Upload
                                          Updates
Ryan, Laureen        10/26/2023     0.3   Correspond with A&M team regarding lender LMAX analysis

Ryan, Laureen        10/26/2023     0.4   Correspond with S&C and A&M Team regarding strategy to pursue
                                          three arrows claims
Salas Nunez, Luis    10/26/2023     0.4   Call with L. Konig, G. Walia, P. Kwan, K. Dusendschon, L. Salas
                                          Nunez (A&M) to discuss excluded customer analysis
Salas Nunez, Luis    10/26/2023     2.1   Document methodology used for analyses performed on exchange
                                          activity data for preference claims
Salas Nunez, Luis    10/26/2023     1.9   Update exchange withdrawal analysis based on detailed timestamp
                                          data
Salas Nunez, Luis    10/26/2023     1.8   Analysis of average withdrawal completion times on FTX.com


Selwood, Alexa       10/26/2023     0.4   Call with M. Flynn, A. Selwood (A&M) to discuss top customer
                                          analysis
Shanahan, Michael    10/26/2023     0.5   Review Stocktwits analysis and follow-up request in preparation for
                                          call with counsel
Shanahan, Michael    10/26/2023     0.2   Meetings with M. Shanahan, A. Canale (A&M) regarding vendor
                                          claims analysis
Shanahan, Michael    10/26/2023     0.2   Meetings with M. Shanahan, A. Canale (A&M) regarding Stocktwits
                                          valuation
Shanahan, Michael    10/26/2023     0.4   Meeting with M. Shanahan and D. Medway (A&M) regarding
                                          McCafferty claims
Shanahan, Michael    10/26/2023     0.5   Review and revise updated PMO slides




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Professional               Date    Hours    Activity
Shanahan, Michael     10/26/2023     0.4   Preliminary review of TradeStation document production

Shanahan, Michael     10/26/2023     1.4   Review supporting documents to League of Legends tear sheet


Shanahan, Michael     10/26/2023     1.2   Review supporting documents to Moore Stephens memo

Shanahan, Michael     10/26/2023     1.5   Review and revise memo summarizing Moore Stephens findings

Shanahan, Michael     10/26/2023     1.3   Review and revise draft League of Legends tear sheet


Shanahan, Michael     10/26/2023     0.4   Call with S. Grannum, A. Kutscher (QE), M. Shanahan, A. Canale
                                           and T. Gosau (A&M) to discuss information provided by StockTwits
Shanahan, Michael     10/26/2023     0.3   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss vendor
                                           tear sheet analysis for North America League of Legends
Sloan, Austin         10/26/2023     0.5   Call with A. Sloan and E. Hoffer (A&M) to discuss new bank
                                           statements available for reconciliation in cash database
Sloan, Austin         10/26/2023     2.2   Create statement summary load file for Wells Fargo Bank in relation
                                           to the cash database
Sloan, Austin         10/26/2023     2.6   Create statement detail load file for Wells Fargo bank in relation to
                                           the cash database
Stolyar, Alan         10/26/2023     0.3   Meeting to discuss customer analysis for binder preparation with A.
                                           Maggard and A. Stolyar (A&M)
Stolyar, Alan         10/26/2023     1.2   Perform research for binder preparation related to customer #7 per
                                           JPL request
Stolyar, Alan         10/26/2023     1.1   Perform research for binder preparation related to customer #8 per
                                           JPL request
Stolyar, Alan         10/26/2023     0.9   Perform research for binder preparation related to customer #9 per
                                           JPL request
Stolyar, Alan         10/26/2023     0.6   Prepare binder related to customer #6 per JPL request

Stolyar, Alan         10/26/2023     0.8   Prepare binder related to customer #4 per JPL request


Stolyar, Alan         10/26/2023     0.9   Prepare binder related to customer #2 per JPL request

Stolyar, Alan         10/26/2023     1.1   Prepare binder related to customer #1 per JPL request

Stolyar, Alan         10/26/2023     1.2   Prepare binder related to customer #3 per JPL request


Stolyar, Alan         10/26/2023     1.3   Prepare binder related to customer #5 per JPL request

Walia, Gaurav         10/26/2023     0.4   Call with L. Konig, G. Walia, P. Kwan, K. Dusendschon, L. Salas
                                           Nunez (A&M) to discuss excluded customer analysis
Wilson, David         10/26/2023     1.8   Create user analytics report for request related to A&M investigation
                                           for five individual accounts




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Professional               Date    Hours    Activity
Wilson, David         10/26/2023     1.2   Perform quality review on user analytics report created for A&M
                                           investigation
Wilson, David         10/26/2023     2.6   Add code to user analytics automation tool that automatically
                                           formats summary and parent summary sheets and ensures formulas
                                           function correctly
Zabcik, Kathryn       10/26/2023     2.1   Search the docket for additional information on customer deposits
                                           for summary witness binder
Zabcik, Kathryn       10/26/2023     1.1   Call over Declaration Binder progress updates and new information
                                           with M. Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns
                                           (A&M)
Zabcik, Kathryn       10/26/2023     0.8   Call over Declaration Binder instructions and updates with M.
                                           Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns (A&M)
Zabcik, Kathryn       10/26/2023     0.5   Meeting to discuss open items and status for the summary witness
                                           binder with M. Scheck, M. Anderson (Quinn Emanuel), C. Arnett, C.
                                           Broskay and K. Zabcik (A&M)
Zabcik, Kathryn       10/26/2023     2.0   Search in relativity for additional information for summary slide for
                                           how the exchange worked for summary witness binder
Arnett, Chris         10/27/2023     0.2   Correspond with J. Croke (S&C) re: vendor investigations below
                                           $500k received in preference period
Arnett, Chris         10/27/2023     0.3   Summarize and distribute two distinct lender avoidance
                                           presentations to S&C and debtor management teams
Arnett, Chris         10/27/2023     0.4   Review and comment on sponsorship counterparty avoidance
                                           analysis prior to distribution to S&C
Arnett, Chris         10/27/2023     0.2   Distribute sponsorship counterparty avoidance analysis to B. Harsh
                                           and others (S&C)
Baker, Kevin          10/27/2023     1.5   Call with K. Baker, L. Konig, J. Chan and D. Wilson (A&M) to
                                           discuss re-running preference analyst to generate output with four
                                           assumptions
Blanchard, Madison    10/27/2023     1.9   Update tear sheet summary relating to lender claim analyses
                                           prepared detailing preference exposure
Blanchard, Madison    10/27/2023     0.3   Review information and documentation relating to Nexo lending
                                           claim and plan next steps
Blanchard, Madison    10/27/2023     1.1   Update presentation relating to Tomochain lending claim analysis
                                           findings
Blanchard, Madison    10/27/2023     1.7   Update complaint exhibit for high priority exchange customer analysis


Blanchard, Madison    10/27/2023     1.1   Call with A. Canale, L. Konig, P. McGrath, M. Blanchard (A&M)
                                           regarding trading and spot margin borrow mechanics on exchange
Braatelien, Troy      10/27/2023     1.1   Review Box and Relativity repositories for information regarding
                                           customer withdrawal process
Braatelien, Troy      10/27/2023     1.2   Draft slides regarding exchange operations, focusing on customer
                                           fund commingling
Braatelien, Troy      10/27/2023     0.7   Review Box and Relativity repositories for information regarding FTX
                                           matching engine
Braatelien, Troy      10/27/2023     1.4   Draft slides regarding exchange operations, focusing on customer
                                           withdrawals process


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Avoidance Actions
Professional                  Date    Hours    Activity
Braatelien, Troy         10/27/2023     0.2   Update slides regarding exchange operations with information source

Braatelien, Troy         10/27/2023     1.0   Call over FTX exchange content to include in binder with M.
                                              Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns (A&M)
Broskay, Cole            10/27/2023     0.4   Meeting to discuss open items for Quinn Emanuel team including
                                              Alameda crypto balances and the summary witness binder with R.
                                              Gordon, C. Broskay, D. Hainline and K. Zabcik (A&M)
Broskay, Cole            10/27/2023     0.4   Meeting to discuss the binder and updates to the FTX Exchange
                                              section with A. Maggard, K. Zabcik, M. Mirando, and C. Broskay
                                              (A&M)
Burns, Zach              10/27/2023     1.2   Analyze LedgerX AWS documentation to understand the role AWS
                                              played in the US exchange in Relativity
Burns, Zach              10/27/2023     1.0   Call over FTX exchange content to include in binder with M.
                                              Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns (A&M)
Burns, Zach              10/27/2023     0.9   Review data that shows customer to customer transactions on the
                                              international FTX exchange in Relativity
Burns, Zach              10/27/2023     2.6   Analyze AWS PCI responsibility documentation to determine what
                                              security functions AWS and the end user are ultimately responsible
                                              for in Relativity
Burns, Zach              10/27/2023     0.8   Analyze documents on Relativity explaining the clearing house
                                              function on the international FTX exchange
Burns, Zach              10/27/2023     1.7   Analyze documents on Relativity showing that the FTX international
                                              exchange had a ledger for customer to customer transactions
Canale, Alex             10/27/2023     0.8   Analysis of exchange data and correspondence relating to
                                              associates of Friedberg
Canale, Alex             10/27/2023     1.4   Review documents relating to payment directed by GBF and
                                              documents related thereto
Canale, Alex             10/27/2023     0.7   Review and edit Tomochain lender analysis deck and related
                                              documents
Canale, Alex             10/27/2023     0.4   Correspond with A&M team regarding Nexo margin trading analysis

Canale, Alex             10/27/2023     0.6   Correspond with A&M team regarding payments to vendors

Canale, Alex             10/27/2023     0.8   Review data relevant to margin trading performed by Nexo


Canale, Alex             10/27/2023     0.6   Review documents relating to completed lender analyses

Canale, Alex             10/27/2023     1.1   Call with A. Canale, L. Konig, P. McGrath, M. Blanchard (A&M)
                                              regarding trading and spot margin borrow mechanics on exchange
Canale, Alex             10/27/2023     0.3   Call with A. Canale, T. Gosau, and E. Hoffer (A&M) to discuss
                                              additional transactions identified re: Gabe Bankman-Fried
Chan, Jon                10/27/2023     1.5   Call with K. Baker, L. Konig, J. Chan and D. Wilson (A&M) to
                                              discuss re-running preference analyst to generate output with four
                                              assumptions
Cox, Allison             10/27/2023     0.4   Call with T. Gosau and A. Cox (A&M) to discuss professional
                                              services workstream


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Avoidance Actions
Professional                  Date    Hours    Activity
Cox, Allison             10/27/2023     2.1   Document review in relation to Piper Alderman partners additional
                                              subsidiaries
Cox, Allison             10/27/2023     2.9   Update payments to professionals summary of circumstances


Cox, Allison             10/27/2023     2.4   Summarize additional payments to Piper Alderman's partner

Dobbs, Aaron             10/27/2023     1.6   Summarize Riot championship tournament agreement to assess
                                              potential avoidance actions
Dobbs, Aaron             10/27/2023     1.6   Create vendor tear sheet for League of Legends Championship
                                              Series preference period activity
Dobbs, Aaron             10/27/2023     1.9   Crypto tracing analysis of TOMOE transactions to find bridge
                                              transactions associated with Tomochcain principal payments
Dobbs, Aaron             10/27/2023     1.4   Finalize summary of pre preference period lending activity for
                                              Tomochain to assess potential claims on market making activity
Ebrey, Mason             10/27/2023     3.1   Search in Relativity for information related to debtor payments to
                                              SC30
Ebrey, Mason             10/27/2023     2.7   Prepare Witty Elite Limited Lender Summary Deck


Ebrey, Mason             10/27/2023     0.3   Call with J. Lee, M. Ebrey, and B. Price (A&M) to discuss payment
                                              analysis of additional sponsorship related vendors for claim viability
Flynn, Matthew           10/27/2023     1.2   Update customer balance and transaction analysis for S&C

Gordon, Robert           10/27/2023     2.1   Review updated draft of the historical bidder: FDM module


Gordon, Robert           10/27/2023     0.4   Meeting to discuss open items for Quinn Emanuel team including
                                              Alameda crypto balances and the summary witness binder with R.
                                              Gordon, C. Broskay, D. Hainline and K. Zabcik (A&M)
Gosau, Tracy             10/27/2023     0.4   Call with T. Gosau and A. Cox (A&M) to discuss professional
                                              services workstream
Gosau, Tracy             10/27/2023     2.7   Review documents relating to professional services workstream


Gosau, Tracy             10/27/2023     1.0   Review additional transactions identified re: Gabe Bankman-Fried

Gosau, Tracy             10/27/2023     0.4   Review internal memo in regards to documents reviewed by Moore
                                              Stephens
Gosau, Tracy             10/27/2023     0.3   Call with A. Canale, T. Gosau, and E. Hoffer (A&M) to discuss
                                              additional transactions identified re: Gabe Bankman-Fried
Hainline, Drew           10/27/2023     0.4   Meeting to discuss open items for Quinn Emanuel team including
                                              Alameda crypto balances and the summary witness binder with R.
                                              Gordon, C. Broskay, D. Hainline and K. Zabcik (A&M)
Hoffer, Emily            10/27/2023     2.6   Review documents on relativity to determine if Scott Tom held an
                                              exchange account at FTX
Hoffer, Emily            10/27/2023     2.2   Review documents on relativity to determine if Brett Beckley held an
                                              exchange account at FTX
Hoffer, Emily            10/27/2023     0.7   Update analysis for Gabe Bankman-Fried based on feedback to be
                                              shared with counsel

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Avoidance Actions
Professional                 Date    Hours    Activity
Hoffer, Emily           10/27/2023     0.4   Compile static version of bank statement tracker to share with
                                             AlixPartners
Hoffer, Emily           10/27/2023     0.3   Call with A. Canale, T. Gosau, and E. Hoffer (A&M) to discuss
                                             additional transactions identified re: Gabe Bankman-Fried
Johnson, Robert         10/27/2023     0.7   Append SBI ClearingTrust statement data to bank statement master
                                             table in Metabase to allow for downstream review
Johnson, Robert         10/27/2023     0.8   Append Wells Fargo banking data to cash database combined and
                                             summary tables
Konig, Louis            10/27/2023     1.1   Call with A. Canale, L. Konig, P. McGrath, M. Blanchard (A&M)
                                             regarding trading and spot margin borrow mechanics on exchange
Konig, Louis            10/27/2023     1.0   Call with K. Baker, L. Konig, J. Chan and D. Wilson (A&M) to
                                             discuss re-running preference analyst to generate output with four
                                             assumptions
Lee, Julian             10/27/2023     0.1   Correspond with team regarding additional vendor payment analysis
                                             for select vendors with sponsorship agreements
Lee, Julian             10/27/2023     0.1   Review of TradeStation production of bank data, responses to
                                             inquiries on LedgerPrime accounts
Lee, Julian             10/27/2023     0.3   Prepare template for additional payment analysis for select
                                             sponsorship related vendors
Lee, Julian             10/27/2023     0.9   Review communications re: possible termination of Swift Media
                                             sponsorship
Lee, Julian             10/27/2023     0.2   Prepare responses to S&C related to inquiries on select sponsorship
                                             related vendors
Lee, Julian             10/27/2023     0.8   Review select vendors to evaluate the purpose of preference period
                                             payments
Lee, Julian             10/27/2023     0.4   Prepare vendor tear sheet summaries re: Miami Dade County, SC30
                                             Inc
Lee, Julian             10/27/2023     0.5   Review bank account tracker for AlixPartners, accounting team

Lee, Julian             10/27/2023     0.2   Update vendor tear sheet summary re: North America League of
                                             Legends
Lee, Julian             10/27/2023     0.3   Call with J. Lee, M. Ebrey, and B. Price (A&M) to discuss payment
                                             analysis of additional sponsorship related vendors for claim viability
Maggard, Austin         10/27/2023     2.8   Review search ID 1 to tag exact dates in which FTX DM requested
                                             updated onboarding documentation
Maggard, Austin         10/27/2023     0.8   Meeting to discuss FTX FDM customer tracker with A. Maggard and
                                             K. Zabcik (A&M)
Maggard, Austin         10/27/2023     2.0   Create FDM customer migration tracker for search ID 2 and identify
                                             duplicate data
Maggard, Austin         10/27/2023     1.4   Add descriptions/notes to each category identified in search ID 1

Maggard, Austin         10/27/2023     0.4   Meeting to discuss the binder and updates to the FTX Exchange
                                             section with A. Maggard, K. Zabcik, M. Mirando, and C. Broskay
                                             (A&M)
Maggard, Austin         10/27/2023     1.0   Call over FTX exchange content to include in binder with M.
                                             Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns (A&M)

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Avoidance Actions
Professional                Date    Hours    Activity
McGrath, Patrick       10/27/2023     1.7   Collect and document information for counsel and UCC regarding
                                            3AC
McGrath, Patrick       10/27/2023     2.1   Review FTX spot margin trading procedures


McGrath, Patrick       10/27/2023     1.1   Call with A. Canale, L. Konig, P. McGrath, M. Blanchard (A&M)
                                            regarding trading and spot margin borrow mechanics on exchange
Medway, David          10/27/2023     0.3   Update supplemental McCaffrey document request based on
                                            internal discussion and related solvency reference materials
Medway, David          10/27/2023     0.3   Communications with A&M team regarding supplemental McCaffrey
                                            document request
Medway, David          10/27/2023     1.0   Telecom with M. Shanahan and D. Medway (A&M) regarding
                                            McCafferty claims
Medway, David          10/27/2023     1.5   Prepare supplemental McCaffrey document request based on
                                            results of review of initial production and discussions with QE
Mimms, Samuel          10/27/2023     3.2   Update Alameda lender analysis claim and exchange customer
                                            preference claim to incorporate Coin Metrics pricing
Mimms, Samuel          10/27/2023     1.1   Continue to update Alameda lender analysis claim and exchange
                                            customer preference claim to incorporate Coin Metrics pricing
Mirando, Michael       10/27/2023     1.4   Update case summary binder presentation deck with details on the
                                            workings of the exchange
Mirando, Michael       10/27/2023     1.1   Create outline and explanation of how the exchange worked

Mirando, Michael       10/27/2023     2.9   Search Box for information related to customer withdrawals


Mirando, Michael       10/27/2023     1.3   Search Box for information related to customer deposits

Mirando, Michael       10/27/2023     0.4   Meeting to discuss the binder and updates to the FTX Exchange
                                            section with A. Maggard, K. Zabcik, M. Mirando, and C. Broskay
                                            (A&M)
Mirando, Michael       10/27/2023     1.0   Call over FTX exchange content to include in binder with M.
                                            Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns (A&M)
Mosley, Ed             10/27/2023     0.7   Review of latest avoidance action analyses for 2 new Alameda loan
                                            counterparties
Price, Breanna         10/27/2023     0.9   Analyze if the Swift Media correspondence data to determine if the
                                            relationship was ever terminated
Price, Breanna         10/27/2023     2.7   Add Transferwise bank statements to the bank data tracker

Price, Breanna         10/27/2023     1.1   Add Transactive Systems bank statements to the bank data tracker


Price, Breanna         10/27/2023     0.3   Call with J. Lee, M. Ebrey, and B. Price (A&M) to discuss payment
                                            analysis of additional sponsorship related vendors for claim viability
Ryan, Laureen          10/27/2023     0.9   Correspond with QE and A&M team regarding possible activity
                                            related to Brent Beckley and Scott Tom with Dan Friedberg
Ryan, Laureen          10/27/2023     0.3   Correspond with A&M team regarding updates to PMO draft and
                                            workstream planner for avoidance activities


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Avoidance Actions
Professional              Date    Hours    Activity
Ryan, Laureen        10/27/2023     0.7   Review and edit tear sheet for sponsorship vendor with the related
                                          payments and analysis
Ryan, Laureen        10/27/2023     0.3   Correspond with QE and A&M team regarding Gabe Bankman
                                          activities summarized
Ryan, Laureen        10/27/2023     0.3   Correspond with A&M team regarding inquiries related to Tomochain
                                          lending analysis
Ryan, Laureen        10/27/2023     0.6   Correspond with A&M team regarding sponsorship vendor analysis
                                          inquiries
Ryan, Laureen        10/27/2023     0.1   Correspond with A&M team draft memo on Moore Stephans audit
                                          services
Ryan, Laureen        10/27/2023     0.6   Review and edit lending analysis for Tomochain with FTX

Ryan, Laureen        10/27/2023     0.3   Review and edit PMO draft with avoidance activities


Selwood, Alexa       10/27/2023     1.9   Research top FTX.com and FTX.us customers alternate legal entity
                                          information
Shanahan, Michael    10/27/2023     0.5   Prepare summary of investigative findings related to Beckley and
                                          Tom exchange accounts
Shanahan, Michael    10/27/2023     1.1   Review preliminary findings related to investigation into Beckley and
                                          Tom exchange accounts
Shanahan, Michael    10/27/2023     1.0   Telecom with M. Shanahan and D. Medway (A&M) regarding
                                          McCafferty claims
Shanahan, Michael    10/27/2023     0.3   Communications to/from team regarding Beckley and Tom
                                          exchange accounts
Shanahan, Michael    10/27/2023     1.3   Review documents related to RLA engagement and services
                                          provided
Shanahan, Michael    10/27/2023     0.4   Review and revise updated tear sheet for League of Legends


Shanahan, Michael    10/27/2023     1.4   Review and revise updated Moore Stephens memo

Shanahan, Michael    10/27/2023     0.7   Review documents supporting updated Moore Stephens memo


Sloan, Austin        10/27/2023     1.8   Create statement detail load file for SBI Clearing Trust bank in
                                          relation to the cash database
Sloan, Austin        10/27/2023     2.1   Perform bank statement reconciliation for Wells Fargo accounts in
                                          relation to cash database
Sloan, Austin        10/27/2023     3.2   Process Trade Station bank statements in Monarch in relation to
                                          cash database
Wilson, David        10/27/2023     1.5   Call with K. Baker, L. Konig, J. Chan and D. Wilson (A&M) to
                                          discuss re-running preference analyst to generate output with four
                                          assumptions
Zabcik, Kathryn      10/27/2023     1.6   Review the how the exchange worked section of the summary
                                          witness binder to identify missing slides
Zabcik, Kathryn      10/27/2023     1.4   Conduct searches on box for additional background exchange
                                          information for summary witness binder


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Avoidance Actions
Professional                 Date    Hours    Activity
Zabcik, Kathryn         10/27/2023     0.8   Meeting to discuss FTX FDM customer tracker with A. Maggard and
                                             K. Zabcik (A&M)
Zabcik, Kathryn         10/27/2023     0.4   Meeting to discuss the binder and updates to the FTX Exchange
                                             section with A. Maggard, K. Zabcik, M. Mirando, and C. Broskay
                                             (A&M)
Zabcik, Kathryn         10/27/2023     1.4   Compile how the exchange work slides across the summary witness
                                             binder to reorder and reformat based on revised information needs
Zabcik, Kathryn         10/27/2023     0.4   Meeting to discuss open items for Quinn Emanuel team including
                                             Alameda crypto balances and the summary witness binder with R.
                                             Gordon, C. Broskay, D. Hainline and K. Zabcik (A&M)
Zabcik, Kathryn         10/27/2023     1.4   Search in the docket for additional information on how the exchange
                                             worked including AWS set up and functionality for summary witness
                                             binder
Zabcik, Kathryn         10/27/2023     1.0   Call over FTX exchange content to include in binder with M.
                                             Mirando, K. Zabcik, T. Braatelien, A. Maggard, and Z. Burns (A&M)
Gosau, Tracy            10/28/2023     0.4   Review correspondence produced relating to Moore Stephens

Ryan, Laureen           10/28/2023     0.8   Review and edit memo summarizing findings related to Moore
                                             Stephens audit and tax services top Cottonwood
Ryan, Laureen           10/28/2023     0.4   Correspond with A&M team draft memo on Moore Stephans
                                             professional services provided
Salas Nunez, Luis       10/28/2023     1.2   Analyze and summarize preference exposure data based on
                                             excluded wallet and intra exchange data
Gosau, Tracy            10/29/2023     0.3   Review correspondence produced relating to Moore Stephens


Lee, Julian             10/29/2023     0.8   Review vendor preference tiers between $250k - $500k for tear
                                             sheet analysis
Ryan, Laureen           10/29/2023     0.6   Correspond with A&M team on updates to draft memo on Moore
                                             Stephans professional services provided
Ryan, Laureen           10/29/2023     0.8   Review and edit updated memo on Moore Stephens audit and tax
                                             services top Cottonwood
Ryan, Laureen           10/29/2023     0.4   Review agreement between Cottonwood and FTX cited in the
                                             audited financials
Ryan, Laureen           10/29/2023     0.4   Correspond with A&M team regarding strategy to review additional
                                             vendor claims
Arnett, Chris           10/30/2023     0.2   Review and comment on revised expert binder outline from M.
                                             Scheck (QE)
Arnett, Chris           10/30/2023     0.2   Meeting to discuss open items for the Quinn Emanuel team
                                             including summary witness binder prep with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Blanchard, Madison      10/30/2023     0.6   Review of cash preference analysis and categorization of
                                             counterparties as vendors, investments, and lenders
Blanchard, Madison      10/30/2023     0.2   Call with M. Blanchard, M. Ebrey (A&M) regarding debtor lending
                                             relationship with Witty Elite Limited
Blanchard, Madison      10/30/2023     0.3   Call with A. Helal, W. Ruez, and M. Blanchard (A&M) regarding
                                             analysis status update relating to Bitmax


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Professional                 Date    Hours    Activity
Blanchard, Madison      10/30/2023     1.1   Prepare presentation for findings relating to Nexo's trading and
                                             account activity
Blanchard, Madison      10/30/2023     0.7   Review of information and data relating to Bitmax for lending claim
                                             analysis
Blanchard, Madison      10/30/2023     2.9   Review and preparation of findings relating to Nexo's trading and
                                             account activity
Blanchard, Madison      10/30/2023     2.4   Review and preparation of findings of Nexo petition date balance
                                             composition
Blanchard, Madison      10/30/2023     0.3   Review of information and data relating to Witty Elite limited


Braatelien, Troy        10/30/2023     0.2   Meeting to discuss FTX FDM customer tracker and new search
                                             terms A. Maggard and T. Braatelien (A&M)
Braatelien, Troy        10/30/2023     0.7   Review Relativity files for FDM customer tracker regarding additional
                                             institutional KYC documents
Braatelien, Troy        10/30/2023     1.7   Review Relativity files for FDM customer tracker regarding account
                                             opening resolutions
Braatelien, Troy        10/30/2023     1.6   Review Relativity files for FDM customer tracker regarding third
                                             party AML letters
Braatelien, Troy        10/30/2023     1.3   Update slides regarding FTX employees' intellectual property rights

Braatelien, Troy        10/30/2023     0.4   Review case summary binder slides regarding funding of FDM

Broskay, Cole           10/30/2023     0.2   Meeting to discuss open items for the Quinn Emanuel team
                                             including summary witness binder prep with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Broskay, Cole           10/30/2023     0.3   Meeting to discuss open items for the Quinn Emanuel team
                                             including summary witness binder updates with R. Gordon, C.
                                             Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Broskay, Cole           10/30/2023     0.4   Meeting to discuss customer analysis and case summary binder
                                             updates with A. Maggard, K. Zabcik, M. Mirando, and C. Broskay
                                             (A&M)
Burns, Zach             10/30/2023     1.4   Analyze FTT Whitepaper detailing the Alameda responsibilities on
                                             the OTC exchange in Relativity
Burns, Zach             10/30/2023     0.7   Review OTC briefing documents explaining how prevalent OTC
                                             trading was at FTX in Relativity
Burns, Zach             10/30/2023     1.7   Analyze FTX Introduction Slide Deck for additional OTC process
                                             information
Burns, Zach             10/30/2023     2.2   Analyze OTC trading data for cryptocurrencies traded in Relativity


Canale, Alex            10/30/2023     0.2   Call with M. Shanahan, A. Canale (A&M) regarding McCaffrey
                                             documents requests
Canale, Alex            10/30/2023     0.8   Correspond with A&M team regarding exchange preference analysis
                                             for lenders
Canale, Alex            10/30/2023     0.1   Call with M. Flynn, A. Canale (A&M) to discuss 90 day customer
                                             analysis



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Avoidance Actions
Professional                  Date    Hours    Activity
Canale, Alex             10/30/2023     0.6   Review documents relating to Witty market making arrangement

Canale, Alex             10/30/2023     0.3   Correspond with A&M and S&C teams regarding Alameda lender


Canale, Alex             10/30/2023     0.3   Review documents relating to GBF exchange accounts

Canale, Alex             10/30/2023     0.6   Review documents relating to Bitmax exchange account

Chan, Jon                10/30/2023     2.6   Investigate activity for A&M internal request related to additional
                                              potential insiders that may have activity on the exchange
Cox, Allison             10/30/2023     1.4   Summarize findings in relation to Rational 360 vendor relationship

Cox, Allison             10/30/2023     2.4   Update summarization of circumstances for additional firms added


Cox, Allison             10/30/2023     2.8   Document review in relation to Rational 360 vendor relationship

Cox, Allison             10/30/2023     2.3   Update summarization of circumstances for Perkins Coie


Dobbs, Aaron             10/30/2023     2.3   Relativity searches for agreements related to Ready Campaigns Inc
                                              to assess preference period activity
Dobbs, Aaron             10/30/2023     2.1   Relativity searches for invoices related to Ready Campaigns Inc to
                                              assess preference period activity
Dobbs, Aaron             10/30/2023     1.6   Analyze cash database and flow of funds for Ready Campaigns Inc
                                              to assess preference period activity
Dobbs, Aaron             10/30/2023     1.2   Analysis of preference period activity for Ready Campaign Inc to
                                              trace funds associated with political contributions
Ebrey, Mason             10/30/2023     0.2   Call with M. Blanchard, M. Ebrey (A&M) regarding debtor lending
                                              relationship with Witty Elite Limited
Ebrey, Mason             10/30/2023     2.7   Search in Relativity for documents related to debtor payments made
                                              to Ray Bloch Productions Inc
Ebrey, Mason             10/30/2023     1.3   Prepare Vendor Preference Analysis for Roy Bloch Production Inc


Ebrey, Mason             10/30/2023     2.8   Prepare updates to Genopets Lender Analysis schedule

Flynn, Matthew           10/30/2023     0.1   Call with M. Flynn, A. Canale (A&M) to discuss 90 day customer
                                              analysis
Flynn, Matthew           10/30/2023     1.8   Update employee balances analysis for management


Gordon, Robert           10/30/2023     1.2   Continue reviewing witness support binder: module WRS

Gordon, Robert           10/30/2023     0.3   Meeting to discuss open items for the Quinn Emanuel team
                                              including summary witness binder updates with R. Gordon, C.
                                              Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Gordon, Robert           10/30/2023     0.2   Meeting to discuss open items for the Quinn Emanuel team
                                              including summary witness binder prep with R. Gordon, C. Arnett, C.
                                              Broskay, D. Hainline and K. Zabcik (A&M)

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Professional                Date    Hours    Activity
Gosau, Tracy           10/30/2023     0.5   Call with T. Gosau and E. Hoffer (A&M) to discuss cash database
                                            system
Gosau, Tracy           10/30/2023     1.7   Review payments to professionals exhibits


Gosau, Tracy           10/30/2023     0.1   Call with E. Hoffer, T. Gosau, and B. Price (A&M) to discuss a
                                            request to the database team regarding Gabe Bankman-Fried
Hainline, Drew         10/30/2023     0.2   Meeting to discuss open items for the Quinn Emanuel team
                                            including summary witness binder prep with R. Gordon, C. Arnett, C.
                                            Broskay, D. Hainline and K. Zabcik (A&M)
Helal, Aly             10/30/2023     0.3   Call with A. Helal, W. Ruez, and M. Blanchard (A&M) regarding
                                            analysis status update relating to Bitmax
Helal, Aly             10/30/2023     3.1   Collect documentation related to Vendor activity between Debtors
                                            and 101 Second Street Inc
Helal, Aly             10/30/2023     0.5   Call with A. Helal and E. Hoffer (A&M) to discuss bank accounts
                                            reconciliation process
Helal, Aly             10/30/2023     2.1   Reconcile Debtors SBI Clearing Trust Accounts


Helal, Aly             10/30/2023     1.8   Search for Agreements between debtors and AscendEx

Hoffer, Emily          10/30/2023     0.1   Compile all historical transactional activity re: Trade station
                                            Securities for use in vendor preference analysis
Hoffer, Emily          10/30/2023     0.1   Compile all historical transactional activity re: Jignesh Prabhudas
                                            Kakkad for use in vendor preference analysis
Hoffer, Emily          10/30/2023     0.3   Review transactions re: Trade station Securities to determine if
                                            vendor analysis should be performed
Hoffer, Emily          10/30/2023     0.2   Compile all historical transactional activity re: Miami Heat Limited
                                            Partnership for use in vendor preference analysis
Hoffer, Emily          10/30/2023     0.1   Compile all historical transactional activity re: Playground Ventures
                                            for use in vendor preference analysis
Hoffer, Emily          10/30/2023     0.2   Compile all historical transactional activity re: Ray Bloch Productions
                                            Inc for use in vendor preference analysis
Hoffer, Emily          10/30/2023     0.2   Compile all historical transactional activity re: Mayfield XV for use in
                                            vendor preference analysis
Hoffer, Emily          10/30/2023     0.1   Compile all historical transactional activity re: Spilsbury Holdings
                                            Limited for use in vendor preference analysis
Hoffer, Emily          10/30/2023     0.2   Compile all historical transactional activity re: Refactor Capital LP for
                                            use in vendor preference analysis
Hoffer, Emily          10/30/2023     0.1   Compile all historical transactional activity re: Rational PR LLC for
                                            use in vendor preference analysis
Hoffer, Emily          10/30/2023     0.1   Compile all historical transactional activity re: Shadow Lion LLC for
                                            use in vendor preference analysis
Hoffer, Emily          10/30/2023     0.3   Compile all historical transactional activity re: The Executive Centre
                                            for use in vendor preference analysis
Hoffer, Emily          10/30/2023     0.3   Compile all historical transactional activity re: 101 Second Street Inc
                                            for use in vendor preference analysis


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Avoidance Actions
Professional               Date    Hours    Activity
Hoffer, Emily         10/30/2023     0.1   Compile all historical transactional activity re: Analysis Activity for
                                           use in vendor preference analysis
Hoffer, Emily         10/30/2023     0.1   Compile all historical transactional activity re: Pattern Engine Inc for
                                           use in vendor preference analysis
Hoffer, Emily         10/30/2023     0.1   Compile all historical transactional activity re: Ballotready Inc for use
                                           in vendor preference analysis
Hoffer, Emily         10/30/2023     0.1   Compile all historical transactional activity re: Ready Campaigns Inc
                                           for use in vendor preference analysis
Hoffer, Emily         10/30/2023     0.3   Compile all historical transactional activity re: Joseph Learner for
                                           use in vendor preference analysis
Hoffer, Emily         10/30/2023     0.2   Compile all historical transactional activity re: Office Revolution LLC
                                           for use in vendor preference analysis
Hoffer, Emily         10/30/2023     0.2   Compile all historical transactional activity re: MPG Live for use in
                                           vendor preference analysis
Hoffer, Emily         10/30/2023     0.1   Compile all historical transactional activity re: Plaid Inc for use in
                                           vendor preference analysis
Hoffer, Emily         10/30/2023     0.4   Review transactions re: Plaid Inc to determine if vendor analysis
                                           should be performed
Hoffer, Emily         10/30/2023     0.2   Compile all historical transactional activity re: Doordash for use in
                                           vendor preference analysis
Hoffer, Emily         10/30/2023     0.1   Compile all historical transactional activity re: Brex Inc for use in
                                           vendor preference analysis
Hoffer, Emily         10/30/2023     0.1   Compile all historical transactional activity re: Tigerwit for use in
                                           vendor preference analysis
Hoffer, Emily         10/30/2023     0.5   Call with A. Helal and E. Hoffer (A&M) to discuss bank accounts
                                           reconciliation process
Hoffer, Emily         10/30/2023     0.3   Compile all historical transactional activity re: PIT for use in vendor
                                           preference analysis
Hoffer, Emily         10/30/2023     0.5   Call with T. Gosau and E. Hoffer (A&M) to discuss cash database
                                           system
Hoffer, Emily         10/30/2023     0.6   Review transactions re: Brex to determine if vendor analysis should
                                           be performed
Hoffer, Emily         10/30/2023     0.3   Compile all historical transactional activity re: Sol Stores for use in
                                           vendor preference analysis
Hoffer, Emily         10/30/2023     0.1   Compile all historical transactional activity re: Brian Jung for use in
                                           vendor preference analysis
Hoffer, Emily         10/30/2023     0.2   Compile all historical transactional activity re: Fastlane Consulting
                                           Limited for use in vendor preference analysis
Hoffer, Emily         10/30/2023     0.1   Compile all historical transactional activity re: High 5 LLC for use in
                                           vendor preference analysis
Hoffer, Emily         10/30/2023     0.3   Compile all historical transactional activity re: TikTok Inc for use in
                                           vendor preference analysis
Hoffer, Emily         10/30/2023     0.1   Call with E. Hoffer, T. Gosau, and B. Price (A&M) to discuss a
                                           request to the database team regarding Gabe Bankman-Fried




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Avoidance Actions
Professional                 Date    Hours    Activity
Konig, Louis            10/30/2023     0.9   Quality control and code review related to daily exchange user
                                             analysis reporting updates
Konig, Louis            10/30/2023     1.4   Script database related to daily exchange user analysis reporting
                                             updates
Konig, Louis            10/30/2023     1.6   Quality control and code review related to targeted withdrawal
                                             transaction request
Lee, Julian             10/30/2023     0.2   Correspond with team regarding vendor preference tiers between
                                             $250k - $500k for tear sheet analysis
Lee, Julian             10/30/2023     0.5   Review select vendors with potential customer activity for potential
                                             exclusion of vendor preference analysis
Lee, Julian             10/30/2023     1.3   Research nature of vendor relationship for additional counterparties
                                             identified in SOFA 3 schedule
Lee, Julian             10/30/2023     0.8   Update population of vendors between $250k - $500k during
                                             preference period for tear sheet analysis
Lee, Julian             10/30/2023     0.6   Call with J. Lee and I. Patel (A&M) to discuss preference analysis of
                                             vendor payments within 250k-500k range
Lee, Julian             10/30/2023     0.2   Correspond with team to verify select vendors with professional
                                             service firm workstream
Lee, Julian             10/30/2023     0.7   Prepare workbook for vendor preference review of $250k - $500k tier

Lee, Julian             10/30/2023     0.3   Correspond with team regarding potential professional service firms
                                             identified within $250k - $500k tier for vendor payments
Lee, Julian             10/30/2023     0.6   Review select vendor counterparties for relevant customer
                                             preference exposure
Maggard, Austin         10/30/2023     0.2   Meeting to discuss FTX FDM customer tracker and new search
                                             terms A. Maggard and T. Braatelien (A&M)
Maggard, Austin         10/30/2023     1.1   Review search ID 2 to tag exact dates in which FTX DM requested
                                             updated onboarding documentation
Maggard, Austin         10/30/2023     0.9   Create search trackers for IDs 3 and 4 for the customer migration
                                             analysis
Maggard, Austin         10/30/2023     1.8   Identify and tag onboarding documents related to FTX DM for search
                                             ID 2
Maggard, Austin         10/30/2023     1.7   Add descriptions/notes to each category identified in search ID 2

Maggard, Austin         10/30/2023     1.3   Populate customer names in the FDM customer migration tracker for
                                             search ID 2
Maggard, Austin         10/30/2023     0.4   Meeting to discuss customer analysis and case summary binder
                                             updates with A. Maggard, K. Zabcik, M. Mirando, and C. Broskay
                                             (A&M)
Mirando, Michael        10/30/2023     2.4   Review presentations related to DOTCOM entities for inclusion in
                                             case summary binder
Mirando, Michael        10/30/2023     1.7   Search for material related to OTC trading of crypto currency

Mirando, Michael        10/30/2023     0.4   Meeting to discuss customer analysis and case summary binder
                                             updates with A. Maggard, K. Zabcik, M. Mirando, and C. Broskay
                                             (A&M)

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Avoidance Actions
Professional               Date    Hours    Activity
Patel, Ishika         10/30/2023     0.6   Call with J. Lee and I. Patel (A&M) to discuss preference analysis of
                                           vendor payments within 250k-500k range
Patel, Ishika         10/30/2023     0.8   Review of invoices and payments by vendor for preference analysis


Patel, Ishika         10/30/2023     0.8   Target relativity searches for agreements related to vendor analysis

Price, Breanna        10/30/2023     1.9   Continue searching Relativity for information regarding TikTok for
                                           the purposes of the vendor analysis
Price, Breanna        10/30/2023     2.6   Continue searching Relativity for background information regarding
                                           the Miami-Dade County transaction
Price, Breanna        10/30/2023     2.6   Search Relativity for information regarding TikTok for the purposes
                                           of the vendor analysis
Price, Breanna        10/30/2023     1.6   Search Relativity for background information regarding the Miami-
                                           Dade County transaction
Price, Breanna        10/30/2023     0.1   Call with E. Hoffer, T. Gosau, and B. Price (A&M) to discuss a
                                           request to the database team regarding Gabe Bankman-Fried
Ruez, William         10/30/2023     2.6   Analysis of supporting documents related to Bitmax lender analysis


Ryan, Laureen         10/30/2023     0.4   Correspond with A&M team regarding additional vendor analysis
                                           requested by S&C for possible claims
Ryan, Laureen         10/30/2023     0.3   Correspond with A&M team regarding analysis performed on Scott
                                           Tom Beckley exchange activity at the request of counsel
Ryan, Laureen         10/30/2023     0.4   Correspond with QE and A&M team regarding Alameda lender data
                                           and strategy for claim resolution
Ryan, Laureen         10/30/2023     0.8   Review new documents received related to Debtor avoidance actions

Ryan, Laureen         10/30/2023     0.2   Correspond with QE and A&M team regarding Moore Stephens
                                           memo observations
Ryan, Laureen         10/30/2023     0.2   Correspond with QE and A&M team regarding Gabe Bankman-Fried
                                           Investigation
Ryan, Laureen         10/30/2023     0.1   Correspond with A&M team regarding PMO review


Shanahan, Michael     10/30/2023     0.3   Communications to/from team regarding additional vendor analyses
                                           for preference and fraudulent conveyance claims
Shanahan, Michael     10/30/2023     0.4   Review documents identified for potential professional services firm
                                           in connection with vendor analysis
Shanahan, Michael     10/30/2023     0.5   Review scoping schedule for additional vendor preference and
                                           fraudulent conveyance analyses
Shanahan, Michael     10/30/2023     1.2   Review documents related to potential claims against financial
                                           institutions
Shanahan, Michael     10/30/2023     0.2   Call with M. Shanahan, A. Canale (A&M) regarding McCaffrey
                                           documents requests
Shanahan, Michael     10/30/2023     0.8   Review and revise follow-up request related to McCafferty entities




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Professional               Date    Hours    Activity
Shanahan, Michael     10/30/2023     0.5   Review and finalize draft memo - Moore Stephens

Shanahan, Michael     10/30/2023     1.1   Review documents related to loans to McCafferty entities


Shanahan, Michael     10/30/2023     0.4   Preliminary review of document production from Circle Bank

Shanahan, Michael     10/30/2023     0.3   Review exchange activity related to Scott Tom account

Sloan, Austin         10/30/2023     2.7   Reconcile statement detail load file for SBI Clearing Trust bank in
                                           relation to the cash database
Walia, Gaurav         10/30/2023     2.7   Review the updated user exchange analysis based on several
                                           adjusted metrics
Zabcik, Kathryn       10/30/2023     1.8   Search in relativity for additional information on AWS order book and
                                           matching engine functionality
Zabcik, Kathryn       10/30/2023     0.7   Review additional slides provided by other FTX team members on
                                           international exchange differences
Zabcik, Kathryn       10/30/2023     0.6   Review slides on OTC trading documents from relativity for
                                           summary witness binder
Zabcik, Kathryn       10/30/2023     0.2   Review box for updated FDM Fiat analysis file for summary witness
                                           binder
Zabcik, Kathryn       10/30/2023     0.3   Review FDM cash transfers slides for summary witness binder

Zabcik, Kathryn       10/30/2023     0.3   Meeting to discuss open items for the Quinn Emanuel team
                                           including summary witness binder updates with R. Gordon, C.
                                           Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Zabcik, Kathryn       10/30/2023     0.4   Meeting to discuss customer analysis and case summary binder
                                           updates with A. Maggard, K. Zabcik, M. Mirando, and C. Broskay
                                           (A&M)
Zabcik, Kathryn       10/30/2023     0.2   Meeting to discuss open items for the Quinn Emanuel team
                                           including summary witness binder prep with R. Gordon, C. Arnett, C.
                                           Broskay, D. Hainline and K. Zabcik (A&M)
Zabcik, Kathryn       10/30/2023     0.9   Search for additional resources for FDM cash transfers slides for
                                           summary witness binder to replace references to adversary claim
Zabcik, Kathryn       10/30/2023     1.4   Review KYC and onboarding slides for summary witness binder for
                                           additional resources and slide formatting
Zabcik, Kathryn       10/30/2023     1.3   Review presentations on box for additional information on notional
                                           account balances on the exchange including board presentations for
                                           the summary witness binder
Arnett, Chris         10/31/2023     0.3   Meeting to discuss open items for the Quinn Emanuel team
                                           including summary witness binder updates with R. Gordon, C.
                                           Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Arnett, Chris         10/31/2023     0.3   Meeting to discuss open items and status for the summary witness
                                           binder with M. Scheck, M. Anderson (Quinn Emanuel), C. Arnett and
                                           K. Zabcik (A&M)
Blanchard, Madison    10/31/2023     0.6   Call with A. Canale, P. McGrath, and M. Blanchard (A&M) regarding
                                           presentation updates to Nexo account analysis



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Avoidance Actions
Professional                 Date    Hours    Activity
Blanchard, Madison      10/31/2023     0.6   Call with P. McGrath, and M. Blanchard (A&M) regarding liquidation
                                             data relating to Nexo's account
Blanchard, Madison      10/31/2023     3.1   Incorporate updates to Nexo presentation and findings based on
                                             feedback from quality control review
Blanchard, Madison      10/31/2023     3.1   Continue to incorporate updates to Nexo presentation and findings
                                             based on feedback from quality control review
Blanchard, Madison      10/31/2023     0.9   Review documentation and information relating to various lending
                                             claims statuses and casework
Blanchard, Madison      10/31/2023     0.2   Call with L. Konig and M. Blanchard (A&M) regarding pricing and
                                             data representations in request outputs relating to a customer
                                             account
Broskay, Cole           10/31/2023     2.3   Review case binder sections submitted against requested outline
                                             scope from counsel
Broskay, Cole           10/31/2023     0.3   Call to review WRS silo summary deck with C. Broskay, M. Jones,
                                             R. Bruck (A&M)
Broskay, Cole           10/31/2023     0.3   Meeting to discuss open items for the Quinn Emanuel team
                                             including summary witness binder updates with R. Gordon, C.
                                             Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Broskay, Cole           10/31/2023     0.3   Meeting to discuss the status of modules in the case summary
                                             binder with A. Maggard, K. Zabcik, M. Mirando, and C. Broskay
                                             (A&M)
Burns, Zach             10/31/2023     0.7   Analyze documents related to the roles and responsibilities of senior
                                             developers for the FTX platform in Relativity
Burns, Zach             10/31/2023     1.2   Analyze documents related to the roles and responsibilities of the
                                             Chief of Staff for all FTX entities in Relativity
Burns, Zach             10/31/2023     1.6   Analyze communications between FTX employees over the OTC
                                             trading process in Relativity
Burns, Zach             10/31/2023     0.9   Analyze documents in Relativity related to the President of FTX US
                                             roles and responsibilities
Burns, Zach             10/31/2023     1.6   Analyze documents related to the roles and responsibilities of the
                                             General Counsel for FTX in Relativity
Burns, Zach             10/31/2023     0.6   Analyze documents related to the roles and responsibilities of the
                                             Chief Operating Officer for FTX entities in Relativity
Canale, Alex            10/31/2023     0.4   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss vendor
                                             payments analysis for $250k - $500k tier
Canale, Alex            10/31/2023     0.6   Call with A. Canale, P. McGrath, and M. Blanchard (A&M) regarding
                                             presentation updates to Nexo account analysis
Canale, Alex            10/31/2023     0.4   Review and edit details of document requests for McCaffrey related
                                             entities
Canale, Alex            10/31/2023     0.8   Review documents relating to transactions with entities associated
                                             with GBF
Canale, Alex            10/31/2023     0.3   Correspond with A&M team regarding transactions with insiders


Canale, Alex            10/31/2023     0.7   Review draft Mirana complaint and exhibits




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Avoidance Actions
Professional                  Date    Hours    Activity
Canale, Alex             10/31/2023     0.3   Correspond with S&C regarding Mirana complaint

Canale, Alex             10/31/2023     1.4   Review and edit Nexo trading analysis deck


Canale, Alex             10/31/2023     0.4   Call with A. Canale, T. Gosau, and E. Hoffer (A&M) to discuss Gabe
                                              Bankman-Fried transactions analysis in preparation for call with
                                              counsel
Canale, Alex             10/31/2023     0.4   Call with L. Ryan, A. Canale, T. Gosau, E. Hoffer (A&M), S. Hill, T.
                                              Murray, and A. Gerber (QE) to discuss next steps with Gabe
                                              Bankman-Fried analysis
Cox, Allison             10/31/2023     0.3   Call with T. Gosau and A. Cox (A&M) to discuss professional firms
                                              workstream
Cox, Allison             10/31/2023     2.9   Update summarization of circumstances for new firms identified


Cox, Allison             10/31/2023     1.9   Create tear sheet in relation to Rational 360 vendor relationship

Cox, Allison             10/31/2023     2.8   Document review in relation to new professional firms identified


Dobbs, Aaron             10/31/2023     2.1   Quality control of vendor tear sheet for Ready Campaigns to assess
                                              completeness of preference period activity
Dobbs, Aaron             10/31/2023     1.6   Target searches for flow of funds and agreements regarding Daniel
                                              McCarthy to assess political contributions
Dobbs, Aaron             10/31/2023     0.6   Summarize relationship between Ready Campaigns and Deck
                                              Technologies
Dobbs, Aaron             10/31/2023     1.8   Funds tracing for 1,000,000 transaction from Sam Bankman to
                                              Ready Campaigns and Deck Technologies to analyze potential
                                              fraudulent transfers
Ebrey, Mason             10/31/2023     0.2   Call with W. Ruez, M. Ebrey (A&M) regarding Ray Bloch Production
                                              Inc Vendor Tear Sheet
Ebrey, Mason             10/31/2023     2.1   Search in Relativity for documents related to debtor relationship with
                                              Spilsbury Holdings Limited
Ebrey, Mason             10/31/2023     2.9   Prepare Roy Bloch Production Inc Vendor Tear Sheet

Ebrey, Mason             10/31/2023     1.1   Search in Relativity for documents related to debtor relationship with
                                              Playground Ventures
Flynn, Matthew           10/31/2023     0.6   Review customer balance and transaction analysis for S&C

Gordon, Robert           10/31/2023     0.3   Meeting to discuss open items for the Quinn Emanuel team
                                              including summary witness binder updates with R. Gordon, C.
                                              Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Gosau, Tracy             10/31/2023     1.4   Analyze inputs in payments to professionals exhibit re: professionals
                                              workstream
Gosau, Tracy             10/31/2023     0.3   Call with T. Gosau and A. Cox (A&M) to discuss professional firms
                                              workstream
Gosau, Tracy             10/31/2023     1.1   Review repository documents relating to Gabe Bankman-Fried
                                              entities


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Professional                Date    Hours    Activity
Gosau, Tracy           10/31/2023     1.3   Review payment analysis re: Perkins Coie LLP

Gosau, Tracy           10/31/2023     0.5   Review transactions related to Gabe Bankman-Fried analysis


Gosau, Tracy           10/31/2023     0.4   Call with L. Ryan, A. Canale, T. Gosau, E. Hoffer (A&M), S. Hill, T.
                                            Murray, and A. Gerber (QE) to discuss next steps with Gabe
                                            Bankman-Fried analysis
Gosau, Tracy           10/31/2023     0.4   Call with A. Canale, T. Gosau, and E. Hoffer (A&M) to discuss Gabe
                                            Bankman-Fried transactions analysis in preparation for call with
                                            counsel
Hainline, Drew         10/31/2023     0.4   Review proposed structure for documentation binder to support
                                            findings for 2.0 rapid assessment
Hainline, Drew         10/31/2023     0.3   Meeting to discuss open items for the Quinn Emanuel team
                                            including summary witness binder updates with R. Gordon, C.
                                            Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Helal, Aly             10/31/2023     2.5   Prepare deck for Lending activity between debtors and AscendEx

Helal, Aly             10/31/2023     2.5   Construct an analysis for Vendor activity for 101 Second Street Inc

Hoffer, Emily          10/31/2023     1.1   Manual quality control review of Wells Fargo accounts for Hilltop
                                            Technology Services for use in the cash database
Hoffer, Emily          10/31/2023     0.6   Manual quality control review of Wells Fargo accounts for Digital
                                            Trust Company for use in the cash database
Hoffer, Emily          10/31/2023     2.3   Manual quality control review of Wells Fargo accounts for Good
                                            Luck Games for use in the cash database
Hoffer, Emily          10/31/2023     1.4   Review Relativity for statements produced in response to Guarding
                                            Against Pandemics 2004 request
Hoffer, Emily          10/31/2023     0.4   Call with E. Hoffer and B. Price (A&M) to discuss Huobi for the
                                            purposes of the lender analysis
Hoffer, Emily          10/31/2023     1.2   Review Relativity for documents re: Joseph Learner vendor
                                            preference analysis
Hoffer, Emily          10/31/2023     0.4   Call with E. Hoffer and B. Price (A&M) to discuss Amalgamated
                                            Bank statements related to Guarding Against Pandemics Inc
Hoffer, Emily          10/31/2023     0.4   Call with L. Ryan, A. Canale, T. Gosau, E. Hoffer (A&M), S. Hill, T.
                                            Murray, and A. Gerber (QE) to discuss next steps with Gabe
                                            Bankman-Fried analysis
Hoffer, Emily          10/31/2023     0.4   Call with A. Canale, T. Gosau, and E. Hoffer (A&M) to discuss Gabe
                                            Bankman-Fried transactions analysis in preparation for call with
                                            counsel
Jones, Mackenzie       10/31/2023     1.7   Draft summary of acquisition details of Ledger entities for WRS silo
                                            binder
Jones, Mackenzie       10/31/2023     0.3   Call to review WRS silo summary deck with C. Broskay, M. Jones,
                                            R. Bruck (A&M)
Jones, Mackenzie       10/31/2023     1.9   Research details related to the sale of LedgerPrime to Alameda for
                                            WRS silo binder
Jones, Mackenzie       10/31/2023     1.3   Draft summary of Good Luck Games acquisition details for WRS silo
                                            binder

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Avoidance Actions
Professional                 Date    Hours    Activity
Jones, Mackenzie        10/31/2023     1.8   Draft timeline of highlighted events for WRS silo binder

Kearney, Kevin          10/31/2023     0.4   Meeting to discuss FTX Payroll Database with A. Stolyar, J. Faett, K.
                                             Kearney, J. Lee, and E. Hoffer (A&M)
Konig, Louis            10/31/2023     0.2   Call with L. Konig and M. Blanchard (A&M) regarding pricing and
                                             data representations in request outputs relating to a customer
                                             account
Lee, Julian             10/31/2023     0.4   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss vendor
                                             payments analysis for $250k - $500k tier
Lee, Julian             10/31/2023     1.1   Research vendor payments related to Sol Stores including service
                                             agreement, invoice, correspondence
Lee, Julian             10/31/2023     0.4   Correspond with team regarding possible customer activity re:
                                             vendors in the $250k - $500k tier
Lee, Julian             10/31/2023     0.2   Research payments made to GIRO payroll for exclusion from vendor
                                             payments analysis
Lee, Julian             10/31/2023     0.2   Correspond with CMS team regarding nature of vendor payments re:
                                             Ready Campaigns Inc
Lee, Julian             10/31/2023     0.1   Correspond with team regarding payroll data re: payroll database

Lee, Julian             10/31/2023     0.3   Prepare tear sheet summary for vendor payment analysis re: Brian
                                             Jung
Lee, Julian             10/31/2023     0.1   Correspond with team regarding select vendor payments by Quoine
                                             Vietnam
Lee, Julian             10/31/2023     0.7   Update Summary of vendor preference analysis


Lee, Julian             10/31/2023     0.7   Review Ready Campaigns vendor payment analysis

Lee, Julian             10/31/2023     0.1   Correspond with team regarding Silvergate liquidation status

Lee, Julian             10/31/2023     0.2   Review tear sheet analysis related to Ray Bloch productions


Lee, Julian             10/31/2023     0.1   Research payments related to Pattern Engine, High 5 LLC

Lee, Julian             10/31/2023     0.2   Correspond with database team to request wallet activity related to
                                             Brian Jung for purposes of vendor payments analysis
Maggard, Austin         10/31/2023     1.4   Add analytics to the customer migration analysis to include in the
                                             case summary binder
Maggard, Austin         10/31/2023     0.6   Review decks for additional support to include in the exchange
                                             section of the case summary binder
Maggard, Austin         10/31/2023     0.6   Build out structure and reorganize the customer onboarding section
                                             of the case summary binder
Maggard, Austin         10/31/2023     0.6   Meeting to discuss the FDM customer migration summary with A.
                                             Maggard and K. Zabcik (A&M)
Maggard, Austin         10/31/2023     0.9   Create summary schedule for search IDs 1 - 4 in the customer
                                             migration analysis


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Avoidance Actions
Professional               Date    Hours    Activity
Maggard, Austin       10/31/2023     1.0   Update case summary binder outline to align with the new outline
                                           provided by QE
Maggard, Austin       10/31/2023     0.6   Build out customer migration slide in the case summary binder


Maggard, Austin       10/31/2023     1.7   Review customer migration analysis for search IDs 1 - 4

Maggard, Austin       10/31/2023     0.6   Meeting to discuss case summary binder org chart and slides open
                                           for additional support with A. Maggard, K. Zabcik, and M. Mirando
                                           (A&M)
Maggard, Austin       10/31/2023     0.3   Meeting to discuss the status of modules in the case summary
                                           binder with A. Maggard, K. Zabcik, M. Mirando, and C. Broskay
                                           (A&M)
McGrath, Patrick      10/31/2023     0.6   Call with P. McGrath, and M. Blanchard (A&M) regarding liquidation
                                           data relating to Nexo's account
McGrath, Patrick      10/31/2023     0.6   Call with A. Canale, P. McGrath, and M. Blanchard (A&M) regarding
                                           presentation updates to Nexo account analysis
McGrath, Patrick      10/31/2023     1.6   Review analysis and summary of exchange transactions and
                                           deleveraging for FTX lender
Medway, David         10/31/2023     0.2   Communications with QE regarding McCaffrey supplemental
                                           document request
Medway, David         10/31/2023     0.2   Communications with A&M team regarding Prager Metis complaint


Medway, David         10/31/2023     0.3   Communications with QE regarding Prager Metis complaint

Mirando, Michael      10/31/2023     2.2   Update case summary presentation table of contents to include links
                                           to source documents and page references
Mirando, Michael      10/31/2023     2.6   Review Rule 1006 document collection outline and update case
                                           summary presentation
Mirando, Michael      10/31/2023     2.9   Review presentations or relevance to new case summary outline

Mirando, Michael      10/31/2023     1.7   Update income statement data in case summary presentation


Mirando, Michael      10/31/2023     0.3   Document legal entity slides on case summary presentation

Mirando, Michael      10/31/2023     0.6   Meeting to discuss case summary binder org chart and slides open
                                           for additional support with A. Maggard, K. Zabcik, and M. Mirando
                                           (A&M)
Mirando, Michael      10/31/2023     0.3   Meeting to discuss the status of modules in the case summary
                                           binder with A. Maggard, K. Zabcik, M. Mirando, and C. Broskay
                                           (A&M)
Patel, Ishika         10/31/2023     1.7   Analyze invoices and documents related to preference period of
                                           vendor payments
Patel, Ishika         10/31/2023     3.1   Continue drafting tear sheet for preference analysis of vendor
                                           payments
Patel, Ishika         10/31/2023     2.6   Draft tear sheet for preference analysis of vendor payments



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Avoidance Actions
Professional              Date    Hours    Activity
Price, Breanna       10/31/2023     3.1   Analyze Amalgamated Bank data pulled from the 3rd party
                                          repository for the purposes of adding to the bank data tracker
Price, Breanna       10/31/2023     1.8   Continue searching Relativity for information regarding Brian Jung
                                          for the purposes of the vendor analysis
Price, Breanna       10/31/2023     1.8   Search Relativity for information regarding Brian Jung for the
                                          purposes of the vendor analysis
Price, Breanna       10/31/2023     0.4   Call with E. Hoffer and B. Price (A&M) to discuss Huobi for the
                                          purposes of the lender analysis
Price, Breanna       10/31/2023     0.4   Call with E. Hoffer and B. Price (A&M) to discuss Amalgamated
                                          Bank statements related to Guarding Against Pandemics Inc
Ruez, William        10/31/2023     0.2   Call with W. Ruez, M. Ebrey (A&M) regarding Ray Bloch Production
                                          Inc Vendor Tear Sheet
Ruez, William        10/31/2023     2.6   Analysis of supporting documents related to Ray Bloch vendor
                                          analysis
Ruez, William        10/31/2023     1.9   Draft deck related to Ray Bloch vendor analysis

Ryan, Laureen        10/31/2023     0.3   Correspond with QE and A&M team regarding additional transaction
                                          reconciliation for Gabe Bankman-Fried Investigation
Ryan, Laureen        10/31/2023     0.6   Correspond with A&M team regarding workplan related to avoidance
                                          actions investigation
Ryan, Laureen        10/31/2023     0.4   Correspond with S&C and A&M team regarding Mirana-related
                                          accounts draft complaint
Ryan, Laureen        10/31/2023     0.2   Correspond with QE and A&M Team regarding Prager complaint fact
                                          checks needed
Ryan, Laureen        10/31/2023     0.2   Correspond with A&M Team regarding mapping PCAOB to AICPA
                                          guidelines
Ryan, Laureen        10/31/2023     0.2   Correspond with QE and A&M Team regarding Silvergate Bank
                                          production
Ryan, Laureen        10/31/2023     0.1   Correspond with Alix and A&M Team regarding production for
                                          lenders
Ryan, Laureen        10/31/2023     0.4   Call with L. Ryan, A. Canale, T. Gosau, E. Hoffer (A&M), S. Hill, T.
                                          Murray, and A. Gerber (QE) to discuss next steps with Gabe
                                          Bankman-Fried analysis
Salas Nunez, Luis    10/31/2023     3.1   Analyze preference exposure data to exclude confirmed and
                                          unconfirmed Alameda wallets
Shanahan, Michael    10/31/2023     0.4   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss vendor
                                          payments analysis for $250k - $500k tier
Shanahan, Michael    10/31/2023     0.6   Review and revise planning document for additional vendor analyses


Shanahan, Michael    10/31/2023     0.3   Communications to/from team regarding vendor claim analysis

Shanahan, Michael    10/31/2023     0.2   Communications to/from counsel regarding Prager complaint

Shanahan, Michael    10/31/2023     0.3   Communications to/from counsel regarding McCafferty requests




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Avoidance Actions
Professional               Date    Hours      Activity
Sloan, Austin         10/31/2023       1.4   Continue bank statement reconciliation for Wells Fargo accounts in
                                             relation to cash database
Sloan, Austin         10/31/2023       2.3   Process Amalgamated Bank statements in Valid8 in relation to cash
                                             database
Sloan, Austin         10/31/2023       1.2   Create accounts in Valid8 for Amalgamated Bank statements

Stolyar, Alan         10/31/2023       0.4   Meeting to discuss FTX Payroll Database with A. Stolyar, J. Faett, K.
                                             Kearney, J. Lee, and E. Hoffer (A&M)
Zabcik, Kathryn       10/31/2023       2.7   Review the FTX Exchange section of the summary witness binder by
                                             reordering contents and responding to comments
Zabcik, Kathryn       10/31/2023       0.6   Meeting to discuss the FDM customer migration summary with A.
                                             Maggard and K. Zabcik (A&M)
Zabcik, Kathryn       10/31/2023       1.4   Create timeline of FDM activities related to terms of service for
                                             summary witness binder
Zabcik, Kathryn       10/31/2023       0.6   Compare the summary witness binder to the outline modified by the
                                             Quinn Emanuel team
Zabcik, Kathryn       10/31/2023       0.3   Meeting to discuss open items for the Quinn Emanuel team
                                             including summary witness binder updates with R. Gordon, C.
                                             Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Zabcik, Kathryn       10/31/2023       2.9   Review the FTX Group overview section of the summary witness
                                             binder by adding missing slides and locating acquisition summaries
Zabcik, Kathryn       10/31/2023       0.3   Meeting to discuss open items and status for the summary witness
                                             binder with M. Scheck, M. Anderson (Quinn Emanuel), C. Arnett and
                                             K. Zabcik (A&M)
Zabcik, Kathryn       10/31/2023       0.6   Meeting to discuss case summary binder org chart and slides open
                                             for additional support with A. Maggard, K. Zabcik, and M. Mirando
                                             (A&M)
Zabcik, Kathryn       10/31/2023       0.3   Meeting to discuss the status of modules in the case summary
                                             binder with A. Maggard, K. Zabcik, M. Mirando, and C. Broskay
                                             (A&M)

Subtotal                           2,687.3

Business Operations
Professional               Date    Hours      Activity
Lannan, Matthew        5/16/2023       0.8   Internal Conference K. Jacobs, B. Seaway, and M. Lannan (A&M) re
                                             BC 547
Chew, Ee Ling          9/19/2023       0.7   Call with IP from GT and J. Casey, D. Johnston, M. van den Belt,J.
                                             Taylor, E. Chew,(A&M) on MPC Singapore wind down strategy
Chew, Ee Ling          9/19/2023       0.6   Call with D. Johnston, M. van den Belt, J. Casey, E. Ling Chew
                                             (A&M), G. Opris, J. Simpson, E. Simpson (S&C), A. Kumar, A. Nee,
                                             and D. Teo (Blackoak) re MPC Technologies Pte Ltd - 21/9
Glustein, Steven       10/1/2023       0.7   Draft weekend update summary relating to Alameda token
                                             investments
Kwan, Peter            10/1/2023       0.9   Draft plan highlighting the series of analytics to be performed by
                                             data team members in support of research around criminality and
                                             potential bad acting

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Business Operations
Professional                Date    Hours    Activity
Sagen, Daniel           10/1/2023     0.4   Correspondence with BitGo team and S. Tang (LedgerPrime)
                                            regarding validation of digital asset transfers
Sullivan, Christopher   10/1/2023     1.2   Prepare diligence questions for 2.0 bidders


Arbid, Rami             10/2/2023     0.4   Call with B. Danhach (FTX), G. Wall, R. Arbid, (A&M) on FTX Dubai
                                            wind down process
Arbid, Rami             10/2/2023     0.8   Meeting with R. Arbid, G. Wall (A&M) to review DWTC regulations

Arbid, Rami             10/2/2023     0.4   Review advertisement notice of FTX Dubai liquidation


Arbid, Rami             10/2/2023     0.4   Review revised documents for liquidation of FTX Dubai

Arbid, Rami             10/2/2023     0.6   Review document submission to DWTC portal


Baker, Kevin            10/2/2023     0.3   Teleconference with K. Baker, P. Kwan, D. Wilson (A&M) to go
                                            through action items, pending requests and workstreams
Baker, Kevin            10/2/2023     2.3   Extract AWS information and transactional data specific to a third
                                            party inquiry regarding the specific crypto tokens
Baker, Kevin            10/2/2023     0.5   Call with P. Kwan, D. Wilson, K. Baker (A&M) to discuss proposed
                                            analysis for bad actors
Baker, Kevin            10/2/2023     2.4   Identify customers and KYC information from AWS regarding a
                                            government subpoena request
Baker, Kevin            10/2/2023     1.9   Investigate negative balances for customer accounts specific to a
                                            large crypto startup company
Baker, Kevin            10/2/2023     2.2   Investigate transactions and customer account information related to
                                            a large global investment firm as part of an internal investigation
Baker, Kevin            10/2/2023     0.5   Teleconference with K. Dusendschon, K. Baker (A&M), A. Bailey, B.
                                            Hadamik, G. Hougey, D. Lee, D. Turton, A. Vyas (FTI), E. Newman,
                                            J. Gilday, C. Fanning (S&C) to discuss open and pending items for
                                            KYC, data collections/hosting and other requests
Balmelli, Gioele        10/2/2023     0.4   Prepare correspondence with A&M re correct approach to support
                                            FTX Europe management on data back-up
Balmelli, Gioele        10/2/2023     0.9   Prepare correspondence with Mazars re FTX Switzerland and FTX
                                            EU intercompany positions
Balmelli, Gioele        10/2/2023     0.4   Prepare correspondence to J. Bavaud (FTX) re open topics on FTX
                                            Europe (before annual his leave)
Balmelli, Gioele        10/2/2023     0.6   Prepare for call re access to FTX Europe back-up data

Balmelli, Gioele        10/2/2023     0.5   Call with L. Staub, T. Luginbuehl (L&S), E. Simpson, O. de Vito
                                            Piscicelli (S&C), D. Johnston, G. Balmelli (A&M), J. Bavaud (FTX) re
                                            access to FTX Europe back-up data
Callerio, Lorenzo       10/2/2023     0.3   Meeting with R. Perubhatla (RLKS), J. Sime, B. Phillips and others
                                            (Embed) and L. Callerio (A&M)
Callerio, Lorenzo       10/2/2023     0.2   Meeting with L. Callerio, L. Lambert, C. Stockmeyer (A&M) re: crypto
                                            tracing updates



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Business Operations
Professional                Date     Hours    Activity
Callerio, Lorenzo        10/2/2023     0.9   Review the Sommelier token agreement related to correspondence
                                             with Sygnia
Callerio, Lorenzo        10/2/2023     0.4   Review the GBTC & ETHE volume and price analysis prepared by
                                             S. Paolinetti (A&M)
Callerio, Lorenzo        10/2/2023     0.9   Review token receivables correspondence and prepare responses

Callerio, Lorenzo        10/2/2023     1.1   Review final version of the Token Liquidation Analysis Deck
                                             prepared by S. Paolinetti (A&M) prior to discussion with A. Titus
                                             (A&M)
Casey, John              10/2/2023     1.1   Review available materials in relation to potential wind down of
                                             Gibraltar entities
Casey, John              10/2/2023     2.9   Prepare strategic options analysis in relation to Gibraltar entities

Casey, John              10/2/2023     0.3   Call with A. Sidaway (Grant Thornton) and J. Casey (A&M) regarding
                                             update on Grant Thornton letter of engagement for wind down of
                                             European and RoW subsidiaries
Casey, John              10/2/2023     0.3   Call with J. Collis and J. Casey (A&M) regarding update to entity
                                             schedule and progress re high level contract review for European
                                             and RoW subsidiary entities
Chambers, Henry          10/2/2023     0.6   Review latest KYC statistics and consider next steps for claims
                                             reconciliation
Chambers, Henry          10/2/2023     0.2   Respond to queries regarding FTX Japan purchase fund source

Chan, Jon                10/2/2023     0.5   Call with M. Sunkara, J. Zatz, J. Chan, R. Johnson (A&M) to discuss
                                             proposed analysis for bad actors
Chan, Jon                10/2/2023     2.4   Investigate provided names and emails for A&M internal request for
                                             project focus
Chan, Jon                10/2/2023     2.6   Quality control report generated for internal A&M project focus
                                             request
Chan, Jon                10/2/2023     0.3   Teleconference with K. Dusendschon, M. Sunkara, J. Chan (A&M)
                                             to go through action items, pending requests and workstreams
Collis, Jack             10/2/2023     0.4   Review of FTX Cyprus strategic options analysis and update with
                                             recent legal, financial and other information
Collis, Jack             10/2/2023     0.6   Review of FTX Singapore strategic options analysis and update with
                                             recent legal, financial and other information
Collis, Jack             10/2/2023     0.8   Review of FTX Crypto Services strategic options analysis and
                                             update with recent legal, financial and other information
Collis, Jack             10/2/2023     0.3   Call with J. Collis and J. Casey (A&M) re update to entity schedule
                                             and progress re high level contract review for European and RoW
                                             subsidiary entities
Collis, Jack             10/2/2023     0.7   Review of FTX Digital Holdings strategic options analysis and
                                             update with recent legal, financial and other information
Dalgleish, Elizabeth     10/2/2023     0.4   Prepare summary of intercompany payments for FTX Turkey and
                                             SNG Investments
Dalgleish, Elizabeth     10/2/2023     0.9   Prepare recovery and wind-down analysis and scenarios for MPC
                                             Technologies


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Business Operations
Professional              Date     Hours    Activity
Dalgleish, Elizabeth   10/2/2023     1.3   Prepare presentation setting out the analysis of the funds available
                                           to the estate from MPC Technologies, FTX Turkey and SNG
                                           Investments
Dusendschon, Kora      10/2/2023     0.3   Follow up and coordinate next steps regarding the export of
                                           information from Cognito and subsequent analysis required
Dusendschon, Kora      10/2/2023     0.2   Review and assess information provided by Sygnia regarding KYC
                                           tie-outs and relay information to FTI
Dusendschon, Kora      10/2/2023     0.3   Teleconference with K. Dusendschon, M. Sunkara, J. Chan (A&M)
                                           to go through action items, pending requests and workstreams
Dusendschon, Kora      10/2/2023     0.5   Teleconference with K. Dusendschon, K. Baker (A&M), A. Bailey, B.
                                           Hadamik, G. Hougey, D. Lee, D. Turton, A. Vyas (FTI), E. Newman,
                                           J. Gilday, C. Fanning (S&C) to discuss open and pending items for
                                           KYC, data collections/hosting and other requests
Ernst, Reagan          10/2/2023     1.4   Consolidate data from token positions in debtor entities for
                                           investment tracker
Ernst, Reagan          10/2/2023     1.1   Calculate volume weighted average price for FTX brokerage
                                           positions
Flynn, Matthew         10/2/2023     1.9   Review and summarize filed docket objections and responses on
                                           customer disclosure
Flynn, Matthew         10/2/2023     1.2   Review filed docket activity and outline summaries for Management


Flynn, Matthew         10/2/2023     0.6   Draft additional rational for continued customer information
                                           concealment
Flynn, Matthew         10/2/2023     0.7   Update workstream deliverable tracker for Management


Flynn, Matthew         10/2/2023     0.7   Review cash flow forecast for KYC/AML and provide feedback

Francis, Luke          10/2/2023     0.9   Search for debtor relationship to creditors based on legal request


Glustein, Steven       10/2/2023     0.7   Prepare token vesting schedule for Sygnia team relating to
                                           LedgerPrime assets
Glustein, Steven       10/2/2023     1.1   Update draft token claim statement relating to token venture
                                           investment
Glustein, Steven       10/2/2023     0.7   Review lock-up agreement relating to token venture investment


Glustein, Steven       10/2/2023     1.1   Review Solana unlocking schedule relating to token vesting
                                           agreements
Iwanski, Larry         10/2/2023     0.9   Conduct a review of a user account, deposits, and balances related
                                           to certain crypto wallets
Johnson, Robert        10/2/2023     0.5   Call with M. Sunkara, J. Zatz, J. Chan, R. Johnson (A&M) to discuss
                                           proposed analysis for bad actors
Johnson, Robert        10/2/2023     2.1   Build mapping of IP address to geolocation for all available Ip v4 IP
                                           addresses
Johnson, Robert        10/2/2023     2.3   Troubleshoot slow running queries on analysis server to identify
                                           instances where queries are blocking or reducing performance



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Business Operations
Professional              Date    Hours    Activity
Johnston, David       10/2/2023     0.6   Review latest updates to Grant Thornton letter of engagement for
                                          wind down entities, provide comments
Johnston, David       10/2/2023     0.5   Call with L. Staub, T. Luginbuehl (L&S), E. Simpson, O. de Vito
                                          Piscicelli (S&C), D. Johnston, G. Balmelli (A&M), J. Bavaud (FTX) re
                                          access to FTX Europe back-up data
Kwan, Peter           10/2/2023     1.3   Analyze data to be used in support of isolating potential front running
                                          typologies in the exchange
Kwan, Peter           10/2/2023     0.8   Compile data store of exchange token listing dates in support of
                                          interim support research for potential front running
Kwan, Peter           10/2/2023     0.5   Call with P. Kwan, D. Wilson, K. Baker (A&M) to discuss proposed
                                          analysis for bad actors
Kwan, Peter           10/2/2023     0.7   Research AWS data to located login records to determine duration
                                          of user login sessions
Kwan, Peter           10/2/2023     1.7   Review historical transaction monitoring alerts based on severity
                                          ratings to determine prevalence of terrorism, child abuse or
                                          sanctions risk
Kwan, Peter           10/2/2023     1.9   Create summary data stores to store historical transaction
                                          monitoring alerts on deposits, withdrawals in support of interim report
Kwan, Peter           10/2/2023     2.2   Create IP Address mapping repository in support of isolating
                                          potential account takeover or other geolocation based risk typologies
Lam, James            10/2/2023     0.4   Correspondences with FTX JP team on the approach to handle post-
                                          petition deposits
Lambert, Leslie       10/2/2023     1.1   Conduct quality control review of deliverable for a specific request to
                                          analyze blockchain activity
Lambert, Leslie       10/2/2023     0.2   Meeting with L. Callerio, L. Lambert, C. Stockmeyer (A&M) re: crypto
                                          tracing updates
Lambert, Leslie       10/2/2023     1.3   Review workpapers and preliminary findings relevant to a crypto
                                          tracing request
Lambert, Leslie       10/2/2023     0.4   Review email communications and relevant support documentation

Lambert, Leslie       10/2/2023     0.8   Perform supplementary analysis / research to inform tracing findings


Lowdermilk, Quinn     10/2/2023     2.6   Update crypto tracing deliverable with identified counterparty
                                          information for tracing request 138
Lowdermilk, Quinn     10/2/2023     2.1   Prepare crypto tracing analysis with identified counterparty
                                          information for request 138
Lowdermilk, Quinn     10/2/2023     2.3   Sort counterparties based off USD balance of each address for
                                          tracing request 138
Marshall, Jonathan    10/2/2023     0.2   Review inbound subpoena requests from S&C and discuss with data
                                          team
Mohammed, Azmat       10/2/2023     0.6   Call with M. Flynn, A.Mohammed (A&M) to discuss engineering
                                          efforts progress updates
Mohammed, Azmat       10/2/2023     1.2   Review token milestone achievement options and review counter
                                          arguments
Paolinetti, Sergio    10/2/2023     2.8   Initiate estate's public holdings analysis for historical volume and
                                          price

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Business Operations
Professional             Date     Hours    Activity
Paolinetti, Sergio    10/2/2023     1.8   Build a vesting schedule for largest token post-ICO positions

Paolinetti, Sergio    10/2/2023     1.1   Add average daily volume in past 5 years to estate's public holdings
                                          analysis
Ramanathan, Kumanan   10/2/2023     0.5   Call with J. Ferzoco (Chainalysis), J. Rosenfeld, N. Friedlander
                                          (S&C) to discuss historical records
Ramanathan, Kumanan   10/2/2023     0.3   Review of various on-chain wallet holdings and provide feedback to
                                          ventures team
Ramanathan, Kumanan   10/2/2023     0.4   Call with R. Perubhatla (FTX) to discuss crypto asset management
                                          matters
Ramanathan, Kumanan   10/2/2023     0.3   Review of draft responses to counsel re: crypto asset matters

Ramanathan, Kumanan   10/2/2023     0.2   Call with T Chen (BitGo) to discuss staking crypto assets


Ramanathan, Kumanan   10/2/2023     0.4   Call with R. Perubhatla (FTX) to discuss token redemption process

Ramanathan, Kumanan   10/2/2023     0.2   Coordinate with TRM re: movement of unauthorized transfer funds


Ramanathan, Kumanan   10/2/2023     1.2   Prepare responses to US trustee objections re: customer name
                                          redactions
Ramanathan, Kumanan   10/2/2023     0.2   Review of DPW invoice and circulate for approval

Ramanathan, Kumanan   10/2/2023     0.2   Review of Bahamas crypto asset pricing based on current data


Sagen, Daniel         10/2/2023     0.8   Review token balances, prepare summary of potential stablecoins
                                          for fiat conversions for K. Ramanathan (A&M) to review
Sagen, Daniel         10/2/2023     0.3   Call with D. Sagen and A. Selwood (A&M) to discuss token price
                                          research for 9/29 Coin Report
Sagen, Daniel         10/2/2023     0.6   Advise A. Selwood (A&M) regarding token price research for 9/29
                                          Coin Report
Sagen, Daniel         10/2/2023     1.2   Revise 9/15 Galaxy Mandate file per comments received from K.
                                          Ramanathan (A&M)
Sagen, Daniel         10/2/2023     2.1   Update legal entity ownership allocation summary in Galaxy Mandate

Sagen, Daniel         10/2/2023     0.4   Update and circulate response items to J. Croke (S&C)

Sagen, Daniel         10/2/2023     0.8   Prepare draft correspondence with J. Croke (S&C) in response to
                                          open requests, circulate with K. Ramanathan (A&M) for review
Selwood, Alexa        10/2/2023     0.3   Call with D. Sagen and A. Selwood (A&M) to discuss token price
                                          research for 9/29/23 coin report
Selwood, Alexa        10/2/2023     1.4   Analyze token level price changes for 9/29 coin report token price
                                          research
Selwood, Alexa        10/2/2023     1.9   Analyze token price variances from 9/15 coin report to 9/29 coin
                                          report




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Business Operations
Professional                Date    Hours    Activity
Selwood, Alexa          10/2/2023     1.3   Research token price variances from 9/15 coin report to 9/29 coin
                                            report
Selwood, Alexa          10/2/2023     1.1   Incorporate updated 9/29 token prices into 9/29 coin report inputs


Selwood, Alexa          10/2/2023     1.1   Research token prices for 9/29 coin report

Stockmeyer, Cullen      10/2/2023     1.1   Prepare updated token receivable model for month close procedures
                                            to share with crypto team
Stockmeyer, Cullen      10/2/2023     1.6   Update token receivables model based on additional provided data
                                            regarding outstanding tokens
Stockmeyer, Cullen      10/2/2023     2.1   Clean data related to token liquidation model historical prices

Sullivan, Christopher   10/2/2023     0.6   Respond to diligence questions from interested bidder advisors


Sullivan, Christopher   10/2/2023     0.9   Review latest bid comparison for 2.0

Sullivan, Christopher   10/2/2023     0.8   Respond to questions regarding FTX 2.0 diligence


Sunkara, Manasa         10/2/2023     0.5   Call with M. Sunkara, J. Zatz, J. Chan, R. Johnson (A&M) to discuss
                                            proposed analysis for bad actors
Sunkara, Manasa         10/2/2023     2.1   Search the SQL database for any user accounts associated with a
                                            list of names provided by S&C
Sunkara, Manasa         10/2/2023     1.4   Extract all transaction activity associated with the identified users for
                                            a subpoena request
Sunkara, Manasa         10/2/2023     2.6   Identify all users that interacted with a certain wallet address for a
                                            subpoena request
Sunkara, Manasa         10/2/2023     2.8   Extract the KYC file drive listing for users related to a subpoena
                                            request
Sunkara, Manasa         10/2/2023     0.3   Teleconference with K. Dusendschon, M. Sunkara, J. Chan (A&M)
                                            to go through action items, pending requests and workstreams
Titus, Adam             10/2/2023     0.9   Prepare meeting agenda for call with potential buyer re: Venture
                                            investment token position
Titus, Adam             10/2/2023     0.9   Provide comments to S. Paolinetti and C. Stockmeyer on token
                                            return workbook
Titus, Adam             10/2/2023     1.4   Review token return workbook including amount of market value of
                                            tokens
van den Belt, Mark      10/2/2023     1.1   Prepare correspondence to C. Broskay (A&M) in relation to FTX
                                            Turkey's positions on FTX.com exchange
van den Belt, Mark      10/2/2023     1.6   Prepare updated analysis on transaction costs coverage for FTX
                                            Europe asset sale
van den Belt, Mark      10/2/2023     2.1   Review non-debtor entity scenario analysis in relation to Singapore


van den Belt, Mark      10/2/2023     0.8   Review non-debtor entity scenario analysis in relation to Turkey




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Business Operations
Professional                Date    Hours    Activity
van den Belt, Mark      10/2/2023     2.6   Prepare updated presentation on FTX Europe asset sale offers

Wall, Guy               10/2/2023     0.4   Call with B. Danhach (FTX), G. Wall, R. Arbid, (A&M) on FTX Dubai
                                            wind down process
Wall, Guy               10/2/2023     0.8   Meeting with R. Arbid, G. Wall (A&M) to review DWTC regulations

Wall, Guy               10/2/2023     0.4   Review available materials related to FTX Dubai advertisement

Wall, Guy               10/2/2023     0.6   Review document submission to DWTC portal


Wall, Guy               10/2/2023     0.4   Review revised documents for liquidation of FTX Dubai

Wilson, David           10/2/2023     1.6   Revise workbook combine function in request responder to only
                                            combine KYC related workbooks into one
Wilson, David           10/2/2023     0.5   Call with P. Kwan, D. Wilson, K. Baker (A&M) to discuss proposed
                                            analysis for bad actors
Wilson, David           10/2/2023     1.4   Improve function to dynamically extract table name in request
                                            responder automation tool
Wilson, David           10/2/2023     1.6   Rewrite generate query function in request responder for increased
                                            error handling
Wilson, David           10/2/2023     1.3   Identify all accounts related to identifiers provided by S&C for data
                                            request
Wilson, David           10/2/2023     1.7   Revise summary function in request responder to add rows into
                                            existing summary sheets rather than replacing the existing sheet
Zatz, Jonathan          10/2/2023     0.5   Call with M. Sunkara, J. Zatz, J. Chan, R. Johnson (A&M) to discuss
                                            proposed analysis for bad actors
Zatz, Jonathan          10/2/2023     1.4   Script database to capture large daily price changes for each ticker


Zatz, Jonathan          10/2/2023     1.1   Outline approach for identifying front-running transactions, per
                                            request
Arbid, Rami             10/3/2023     0.8   Meeting with R. Arbid, G. Wall (A&M) to review FTX Dubai DWTC
                                            portal submissions
Arbid, Rami             10/3/2023     0.4   Review advertisement and claims draft for FTX Dubai liquidation

Arbid, Rami             10/3/2023     0.6   Review materials before sending to FTX Dubai liquidator

Baker, Kevin            10/3/2023     2.1   Develop methodology for extracting blockchain specific tokens for a
                                            response to a large crypto subpoena
Baker, Kevin            10/3/2023     2.4   Investigate information and analytics regarding the Backstop
                                            Insurance Fund for counsel
Baker, Kevin            10/3/2023     1.9   Extract all transactional data from AWS related to specific device
                                            IDs for a new subpoena request
Baker, Kevin            10/3/2023     0.5   Report on specific customer transactions for a specific user account
                                            for counsel




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Professional                 Date    Hours    Activity
Baker, Kevin             10/3/2023     0.7   Call with N. Molina, B. Bangerter (FTX), K. Dusendschon, K. Baker,
                                             A. Mohammed (A&M) to discuss legacy KYC vendor data download
                                             options
Baker, Kevin             10/3/2023     0.8   Call between S. Ehrenberg, Kevin Baker (A&M) and T. Millet to
                                             discuss status of production in response to Terraform Labs
                                             subpoena and next steps re: same
Baker, Kevin             10/3/2023     2.2   Report on the user accounts related to a general list of wallet
                                             address provided by counsel to our internal accounting team for
                                             investigation
Balmelli, Gioele         10/3/2023     2.6   Prepare overview on alternative cloud solution provider for FTX
                                             Europe back-up data
Balmelli, Gioele         10/3/2023     0.7   Contact preferred cloud solution provider for FTX Europe back-up
                                             data
Bolduc, Jojo             10/3/2023     1.2   Create SEC crypto regulation timeline for FTX 2.0 deck


Callerio, Lorenzo        10/3/2023     0.2   Call with K. Ramanathan, L. Lambert and L. Callerio (A&M) re:
                                             potential tracing exercise
Callerio, Lorenzo        10/3/2023     0.8   Review updated version of vesting variance analysis between
                                             unlocking schedule and Sygnia's analysis received from S. Paolinetti
                                             (A&M)
Casey, John              10/3/2023     0.8   Review updated Grant Thornton UK letter of engagement


Chambers, Henry          10/3/2023     0.2   Correspondence with A&M team regarding Liquid data acquisition

Chambers, Henry          10/3/2023     0.2   Prepare status update on FTX Asia operations


Chan, Jon                10/3/2023     2.9   Investigate know your customer information for request relating to
                                             specific entity for customer claims question
Chan, Jon                10/3/2023     2.4   Quality control know your customer reports for internal claims
                                             question
Collis, Jack             10/3/2023     0.4   Review of FTX Japan strategic options analysis and update with
                                             recent legal, financial and other information
Collis, Jack             10/3/2023     0.4   Continue review of FTX EU strategic options analysis and update
                                             with recent legal, financial and other information
Collis, Jack             10/3/2023     0.3   Prepare presentation on strategic options analysis of FTX Malta


Collis, Jack             10/3/2023     0.2   Review of status update for FTX target entities

Collis, Jack             10/3/2023     1.1   Prepare summary of strategic options / key steps for FTX EU


Collis, Jack             10/3/2023     0.3   Review and amend Swiss entity strategic options analysis and
                                             update with recent legal, financial and other information
Dalgleish, Elizabeth     10/3/2023     1.3   Prepare summary slide of the SNG Investments situation and
                                             recovery analysis
Dalgleish, Elizabeth     10/3/2023     1.1   Prepare summary slide of the MPC Technologies situation and
                                             recovery analysis


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Dalgleish, Elizabeth   10/3/2023     2.6   Prepare overview of the latest situation and financials of Zubr
                                           Exchange Ltd
Dalgleish, Elizabeth   10/3/2023     1.4   Prepare summary slide of the FTX Turkey situation and recovery
                                           analysis
Dalgleish, Elizabeth   10/3/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M), E.
                                           Simpson, M. Haase (S&C) to discuss FTX Trading GmbH balance
                                           sheet and wind-down matters
Dalgleish, Elizabeth   10/3/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                           discuss FTX Australia matters, FTX Europe wind-down matters and
                                           FTX Europe short-term cash flow reforecast
Dusendschon, Kora      10/3/2023     0.7   Call with M. Flynn, R. Johnson, K. Dusendschon, P. Kwan (A&M) to
                                           discuss AWS and KYC request status
Dusendschon, Kora      10/3/2023     0.2   Coordinate and confer on KYC files and additional information
                                           requested regarding supporting documents
Dusendschon, Kora      10/3/2023     0.3   Analyze date modification information and provide guidance to team
                                           regarding findings
Dusendschon, Kora      10/3/2023     0.6   Conduct review of sample Cognito files provided by FTX


Dusendschon, Kora      10/3/2023     0.2   Coordinate and review information requested for KYC NULLS
                                           request and identification of potential KYC supporting documents
Dusendschon, Kora      10/3/2023     0.7   Call with N. Molina, B. Bangerter (FTX), K. Dusendschon, K. Baker,
                                           A. Mohammed (A&M) to discuss legacy KYC vendor data download
                                           options
Ernst, Reagan          10/3/2023     2.1   Organize LedgerPrime token investment data for asset workbook
                                           allocation
Evans, Charles         10/3/2023     0.2   Correspondence with M.Jonathan (FTX) and C.Evans (A&M)
                                           regarding the withdrawal process for Bitocto
Evans, Charles         10/3/2023     0.4   Call with M.Jonathan (FTX) and C.Evans (A&M) regarding the
                                           withdrawal process for Bitocto
Flynn, Matthew         10/3/2023     0.7   Call with M. Flynn, R. Johnson, K. Dusendschon, P. Kwan (A&M) to
                                           discuss AWS and KYC request status
Flynn, Matthew         10/3/2023     0.3   Call with M. Flynn, K. Ramanathan, P. Kwan (A&M), T. Zackon and
                                           others (Tres) to discuss wallet reconciliation scope
Flynn, Matthew         10/3/2023     0.3   Review data security SOP procedure edits and provide comments


Flynn, Matthew         10/3/2023     0.2   Confirm crypto transfers on the blockchain for S&C

Flynn, Matthew         10/3/2023     0.5   Call with J. Sardina, E. Simendinger, T. Cheam (FTX), P.Kwan, M.
                                           Flynn, A.Mohammed (A&M) to discuss wallet time series data
                                           sanitization efforts
Glustein, Steven       10/3/2023     1.3   Review LedgerPrime workbook regarding remaining assets relating
                                           to token investments
Glustein, Steven       10/3/2023     0.6   Review brokerage summary relating to end of September balances

Glustein, Steven       10/3/2023     1.9   Prepare summary of token investments relating to LedgerPrime



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Professional              Date    Hours    Activity
Heric, Andrew         10/3/2023     1.0   Call with L. Lambert, A. Heric, Q. Lowdermilk, and I. Radwanski
                                          (A&M) discussing preliminary findings for request 138
Heric, Andrew         10/3/2023     2.3   Populate request 138 deliverable with observations, limitations,
                                          summary findings, and tracing visuals
Heric, Andrew         10/3/2023     2.8   Create and populate a summary table with specific activity of
                                          concern involving over 43 counterparties for request 138
Heric, Andrew         10/3/2023     0.8   Review and quantify exchange database data related to receiving
                                          counterparties for request 138
Heric, Andrew         10/3/2023     0.3   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                          deliverable updates
Heric, Andrew         10/3/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                          discussing action items for request 138
Heric, Andrew         10/3/2023     1.4   Identify and trace transfers of interest associated with post-petition
                                          activity for request 138
Iwanski, Larry        10/3/2023     0.6   Communications related to data requests, tracing, and investigations

Iwanski, Larry        10/3/2023     0.8   Review of a deliverable related to a digital asset investment firm


Johnson, Robert       10/3/2023     1.6   Apply updates to Alameda databases in advance of temporary stop
                                          to ensure databases are up to date as of stoppage
Johnson, Robert       10/3/2023     0.7   Call with M. Flynn, R. Johnson, K. Dusendschon, P. Kwan (A&M) to
                                          discuss AWS and KYC request status
Johnson, Robert       10/3/2023     1.3   Suspend operation of Alameda databases to reduce monthly RDS
                                          spend
Johnston, David       10/3/2023     2.1   Review and update presentation relating to Quoine Pte strategic
                                          options
Johnston, David       10/3/2023     1.7   Prepare one page summary for Europe and rest of world entities


Johnston, David       10/3/2023     1.1   Review materials relating to Zubr Exchange history and current
                                          status
Johnston, David       10/3/2023     0.7   Update presentation relating to FTX Europe asset sale for latest
                                          offers
Johnston, David       10/3/2023     0.6   Research cost of Cyprus Investment Firm license

Johnston, David       10/3/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M), E.
                                          Simpson, M. Haase (S&C) to discuss FTX Trading GmbH balance
                                          sheet and wind-down matters
Johnston, David       10/3/2023     0.4   Call with S. Melamed, B. Spitz, S. Kojima (FTX), J. Simpson, N.
                                          Mehta (S&C), H. Chambers, J. Lam, D. Johnston, M. van den Belt
                                          (A&M) on FTX Japan and Quoine India matters
Johnston, David       10/3/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                          discuss FTX Australia matters, FTX Europe wind-down matters and
                                          FTX Europe short-term cash flow reforecast
Kwan, Peter           10/3/2023     0.7   Call with M. Flynn, R. Johnson, K. Dusendschon, P. Kwan (A&M) to
                                          discuss AWS and KYC request status



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Professional              Date    Hours    Activity
Kwan, Peter           10/3/2023     1.6   Research the sourcing of data stores or legacy requests relevant to
                                          responding to valuation expert
Kwan, Peter           10/3/2023     0.3   Call with M. Flynn, K. Ramanathan, P. Kwan (A&M), T. Zackon and
                                          others (Tres) to discuss wallet reconciliation scope
Kwan, Peter           10/3/2023     1.1   Perform research on potential front running typologies to pursue in
                                          relation to interim report on criminality
Kwan, Peter           10/3/2023     1.4   Continue to develop IP Address mapping repository in support of
                                          isolating potential account takeover or other geolocation based risk
                                          typologies
Kwan, Peter           10/3/2023     0.9   Coordinate with third-part development team to review historical
                                          code changes related to automated blocking of deposits/withdrawals
Kwan, Peter           10/3/2023     2.1   Prepare summary of data related to historical transaction monitoring
                                          alerts on deposits, withdrawals in support of interim report
Kwan, Peter           10/3/2023     0.8   Coordinate with third-part development team to review historical
                                          code changes related to the implementation of interfaces to
                                          transaction monitoring tools
Kwan, Peter           10/3/2023     0.5   Call with J. Sardina, E. Simendinger, T. Cheam (FTX), P. Kwan, M.
                                          Flynn, A.Mohammed (A&M) to discuss wallet time series data
                                          sanitization efforts
Kwan, Peter           10/3/2023     0.5   Call with M. Carson (MetaLab), P. Kwan, A. Mohammed (A&M) to
                                          discuss research items related to transactions monitoring efforts
Lam, James            10/3/2023     2.7   Review bidders’ proposal from the KYC & AML compliance
                                          perspective
Lam, James            10/3/2023     2.6   Draft general and entity-specific KYC AML compliance diligence
                                          questions
Lam, James            10/3/2023     0.4   Call with S. Melamed, B. Spitz, S. Kojima (FTX), J. Simpson, N.
                                          Mehta (S&C), H. Chambers, J. Lam, D. Johnston, M. van den Belt
                                          (A&M) on FTX Japan and Quoine India matters
Lambert, Leslie       10/3/2023     1.0   Call with L. Lambert, A. Heric, Q. Lowdermilk, and I. Radwanski
                                          (A&M) discussing preliminary findings for request 138
Lambert, Leslie       10/3/2023     0.2   Call with K. Ramanathan, L. Lambert and L. Callerio (A&M) re:
                                          potential tracing exercise
Lambert, Leslie       10/3/2023     1.6   Conduct targeted review of documentation to inform analysis of
                                          certain token positions
Lambert, Leslie       10/3/2023     0.7   Plan and prepare strategy for crypto tracing workstream / efforts


Lambert, Leslie       10/3/2023     0.4   Draft update on status of an open tracing effort

Lambert, Leslie       10/3/2023     1.3   Revise presentation of request, approach, findings and limitations for
                                          an analysis responsive to a crypto tracing request
Lowdermilk, Quinn     10/3/2023     2.6   Adjust top counterparties based off USD value for new target
                                          addresses for crypto tracing analysis
Lowdermilk, Quinn     10/3/2023     1.0   Call with L. Lambert, A. Heric, Q. Lowdermilk, and I. Radwanski
                                          (A&M) discussing preliminary findings for request 138
Lowdermilk, Quinn     10/3/2023     0.3   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                          deliverable updates


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Professional              Date    Hours    Activity
Lowdermilk, Quinn     10/3/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                          discussing action items for request 138
Lowdermilk, Quinn     10/3/2023     2.7   Aggregate transaction details for new list of target addresses tied to
                                          tracing request 138
Lowdermilk, Quinn     10/3/2023     1.2   Prepare crypto tracing deliverable with identified blockchain
                                          information
Marshall, Jonathan    10/3/2023     0.1   Review investigation data request and discuss next steps with data
                                          team
Mohammed, Azmat       10/3/2023     0.9   Coordinate development efforts and research related to transaction
                                          monitoring data requests
Mohammed, Azmat       10/3/2023     1.4   Research token milestone achievements

Mohammed, Azmat       10/3/2023     0.4   Review wallet time series data comparison and sanity checks


Mohammed, Azmat       10/3/2023     0.5   Call with J. Sardina, E. Simendinger, T. Cheam (FTX), P.Kwan, M.
                                          Flynn, A.Mohammed (A&M) to discuss wallet time series data
                                          sanitization efforts
Mohammed, Azmat       10/3/2023     0.5   Call with M. Carson (MetaLab), P. Kwan, A. Mohammed (A&M) to
                                          discuss research items related to transactions monitoring efforts
Mohammed, Azmat       10/3/2023     0.7   Call with N. Molina, B. Bangerter (FTX), K. Dusendschon, K. Baker,
                                          A. Mohammed (A&M) to discuss legacy KYC vendor data download
                                          options
Paolinetti, Sergio    10/3/2023     2.3   Continue to populate vesting variance between the venture's team
                                          token unlocking schedule and Sygnia's
Paolinetti, Sergio    10/3/2023     1.7   Update outreach tracker with latest information on token receivables

Radwanski, Igor       10/3/2023     1.0   Call with L. Lambert, A. Heric, Q. Lowdermilk, and I. Radwanski
                                          (A&M) discussing preliminary findings for request 138
Radwanski, Igor       10/3/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                          discussing action items for request 138
Radwanski, Igor       10/3/2023     1.1   Draft email regarding request 138 deliverable to Ventures team


Radwanski, Igor       10/3/2023     2.2   Verify extracted wallet activity regarding request 138

Radwanski, Igor       10/3/2023     1.6   Analyze deliverable for request 138 for any minor errors


Ramanathan, Kumanan   10/3/2023     0.2   Call with K. Ramanathan, L. Lambert and L. Callerio (A&M) re:
                                          potential tracing exercise
Ramanathan, Kumanan   10/3/2023     1.6   Prepare crypto asset management mandate summary and distribute
                                          to J. Ray (FTX)
Ramanathan, Kumanan   10/3/2023     0.4   Review of Solana unlocking schedule and provide approval for
                                          posting
Ramanathan, Kumanan   10/3/2023     0.6   Review on-chain activity and confirm transfers into cold storage

Ramanathan, Kumanan   10/3/2023     0.4   Correspond re: withdrawal of liquidity pool assets and provide
                                          feedback

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Ramanathan, Kumanan   10/3/2023     0.3   Review of crypto vendor invoice and provide approval

Ramanathan, Kumanan   10/3/2023     0.9   Correspond and review re: cyber-related incident


Ramanathan, Kumanan   10/3/2023     0.5   Review of tether positions in crypto coin report

Sagen, Daniel         10/3/2023     0.5   Call with A. Istrefi (Sygnia), A. Holland (S&C), and D. Sagen (A&M)
                                          regarding exchange transfer session
Sagen, Daniel         10/3/2023     0.8   Provide S. Paolinetti (A&M) with summary and requested details
                                          regarding Solana draft unlock schedule
Sagen, Daniel         10/3/2023     0.6   Provide H. Trent (A&M) with requested inputs regarding Bahamas
                                          assets for JPL summary materials
Sagen, Daniel         10/3/2023     0.2   Call with D. Sagen and A. Selwood (A&M) to discuss token price
                                          mapping for 9/29 Coin Report
Sagen, Daniel         10/3/2023     0.4   Correspondence with K. Ramanathan (A&M) regarding Bahamas
                                          crypto for JPL summary materials
Sagen, Daniel         10/3/2023     0.2   Call with G. Walia and D. Sagen (A&M) to discuss digital asset
                                          dashboard development
Sagen, Daniel         10/3/2023     0.8   Review 9/29 coin report pricing updates prepared by A. Selwood
                                          (A&M)
Sagen, Daniel         10/3/2023     1.2   Update 9/29 coin report pricing schedule prepared by A. Selwood
                                          (A&M)
Selwood, Alexa        10/3/2023     0.2   Call with D. Sagen and A. Selwood (A&M) to discuss token price
                                          mapping for 9/29 coin report
Selwood, Alexa        10/3/2023     1.4   Research market prices for several tokens as part of 9/29/23 coin
                                          report update
Selwood, Alexa        10/3/2023     1.2   Complete quality control check of token prices in 9/29/23 coin report


Selwood, Alexa        10/3/2023     0.7   Analyze 9/29 coin report transaction inputs

Selwood, Alexa        10/3/2023     0.8   Update token name mapping for 9/29 coin report


Selwood, Alexa        10/3/2023     1.2   Prepare 9/29 coin report input model for updates

Simoneaux, Nicole     10/3/2023     2.2   Provide analysis and respond to FTX 2.0 bidder diligence requests
                                          provided by S&C
Stegenga, Jeffery     10/3/2023     0.3   Review of Anchorage Digital relationships for follow-up disclosure
                                          issues
Stockmeyer, Cullen    10/3/2023     1.3   Update token liquidation model to improve data handling

Sunkara, Manasa       10/3/2023     2.8   Extract all transaction activity associated with the identified users for
                                          subpoena request
Sunkara, Manasa       10/3/2023     2.1   Provide internal A&M with an analysis of users that have a specific
                                          kyc level and their balances




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Business Operations
Professional                Date    Hours    Activity
Sunkara, Manasa         10/3/2023     2.2   Quality check SQL scripts to provide accurate data extracts for S&C

Sunkara, Manasa         10/3/2023     2.7   Confirm specific transactions for an S&C subpoena request


Titus, Adam             10/3/2023     0.9   Detail update on schedule for tokens in 3rd party exchanges for
                                            hedge fund entity
Titus, Adam             10/3/2023     0.9   Draft response with information to token issuer for requested details
                                            on position
Titus, Adam             10/3/2023     1.3   Research answers from email correspondence with J. Croke [S&C]
                                            regarding tokens owed
van den Belt, Mark      10/3/2023     0.7   Prepare correspondence to C. Broskay (A&M) in relation to
                                            intercompany positions of Turkish subsidiaries
van den Belt, Mark      10/3/2023     3.1   Prepare presentation on separate subs and non-debtor entities
                                            strategic options analysis
van den Belt, Mark      10/3/2023     2.2   Review presentation on Zubr situation overview and financials

van den Belt, Mark      10/3/2023     1.2   Prepare updated offers comparison related to FTX Europe asset sale


van den Belt, Mark      10/3/2023     1.1   Review strategic options analysis of Turkish subsidiaries

van den Belt, Mark      10/3/2023     1.1   Review strategic options analysis of Singapore subsidiaries

van den Belt, Mark      10/3/2023     0.4   Call with S. Melamed, B. Spitz, S. Kojima (FTX), J. Simpson, N.
                                            Mehta (S&C), H. Chambers, J. Lam, D. Johnston, M. van den Belt
                                            (A&M) on FTX Japan and Quoine India matters
van den Belt, Mark      10/3/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M), E.
                                            Simpson, M. Haase (S&C) to discuss FTX Trading GmbH balance
                                            sheet and wind-down matters
van den Belt, Mark      10/3/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                            discuss FTX Australia matters, FTX Europe wind-down matters and
                                            FTX Europe short-term cash flow reforecast
Walia, Gaurav           10/3/2023     1.2   Prepare a template of the cold wallet storage dashboard output

Wall, Guy               10/3/2023     0.8   Meeting with R. Arbid, G. Wall (A&M) to review FTX Dubai DWTC
                                            portal submissions
Wall, Guy               10/3/2023     0.4   Review advertisement and claims draft for FTX Dubai liquidation

Wall, Guy               10/3/2023     0.6   Review available materials on FTX Dubai liquidation procedures


Wilson, David           10/3/2023     2.6   Script database for S&C subpoena request to pull all records for
                                            accounts associated with four transaction hashes
Wilson, David           10/3/2023     2.4   Script database to pull full transaction history for all accounts
                                            identified given list of identifiers provided by S&C
Wilson, David           10/3/2023     1.2   Add Athena script to pull history of funding payments transactions to
                                            request responder automation tool



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Business Operations
Professional               Date     Hours    Activity
Wilson, David           10/3/2023     2.3   Script database to identify accounts and pull full transaction history
                                            for eight identifiers for S&C data request
Wilson, David           10/3/2023     1.4   Add Athena script to pull history of fills transactions to request
                                            responder automation tool
Wilson, David           10/3/2023     2.1   Create login record and IP joined table for bad actors criminality
                                            analysis
Wilson, David           10/3/2023     1.8   Write database scripts to create indexes on golden source data
                                            component tables
Zatz, Jonathan          10/3/2023     2.1   Script database related to request to provide sample files of
                                            Alameda activity on a specific exchange
Zatz, Jonathan          10/3/2023     0.9   Script database related to request for customer's petition date
                                            balances
Zatz, Jonathan          10/3/2023     0.1   Call with S. Yeargan, A. Holland (S&C), J. Zatz (A&M) to discuss
                                            reviewing output of large Alameda tables
Arbid, Rami             10/4/2023     0.9   Meeting with R. Arbid, G. Wall (A&M) on FTX Dubai approach to
                                            documents provided by local legal counsel
Arbid, Rami             10/4/2023     0.8   Meeting with R. Arbid, G. Wall (A&M) on FTX Dubai liquidation
                                            documentation requirements
Arbid, Rami             10/4/2023     0.7   Review available materials in relation to FTX Dubai liquidation
                                            process
Arbid, Rami             10/4/2023     0.8   Review of DWTC regulations for documentation required

Arnett, Chris           10/4/2023     0.3   Direct winddown of orphaned entity re: shut down of payroll
                                            processor services
Baker, Kevin            10/4/2023     2.1   Provide initial analysis regarding customers and transaction
                                            amounts regarding a large blockchain subpoena to counsel
Baker, Kevin            10/4/2023     2.3   Extract fiat and crypto transactions from the FTX exchange for all
                                            customers that have limited trading activity
Baker, Kevin            10/4/2023     2.7   Analyze transactions related to 3rd party exchanges related to
                                            specific customers for investigation
Baker, Kevin            10/4/2023     0.5   Call with P. Kwan, D. Wilson, K. Baker (A&M) to continue discussing
                                            the analysis for bad actors
Baker, Kevin            10/4/2023     0.4   Teleconference with K.Dusendschon, K.Baker, M.Sunkara,
                                            J.Marshall P.Kwan (A&M) to discuss ongoing workstreams and AWS
                                            requests
Balmelli, Gioele        10/4/2023     3.1   Review and update FTX intercompany documentation with FTX
                                            Exchange and FTX Structured Products
Callerio, Lorenzo       10/4/2023     0.3   Meeting with L. Lambert, L. Callerio, C. Stockmeyer (A&M) regarding
                                            updated crypto tracing workstream status
Callerio, Lorenzo       10/4/2023     0.9   Follow-up correspondence with certain token issuers re: outstanding
                                            tokens
Callerio, Lorenzo       10/4/2023     1.1   Review the updated token outreach tracker to plan next steps

Casey, John             10/4/2023     0.4   Call with J. Casey and J. Collis (A&M) regarding strategic options
                                            analysis of FTX rest of world entities


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Business Operations
Professional                Date     Hours    Activity
Casey, John              10/4/2023     0.6   Review and amend presentation on strategic options analysis of FTX
                                             rest of world entities
Casey, John              10/4/2023     0.6   Prepare proposal on reduction in time costs for Grant Thornton UK
                                             project management work
Casey, John              10/4/2023     0.7   Analyze Maltese legislative strategic option procedures and prepare
                                             note re same
Casey, John              10/4/2023     0.5   Prepare analysis on strategic options analysis of Gibraltarian
                                             subsidiaries
Casey, John              10/4/2023     0.3   Review available materials in relation to FTX Maltese entities


Casey, John              10/4/2023     0.3   Call with M. van den Belt, E. Dalgleish, and J. Casey (A&M)
                                             regarding local jurisdiction process for European and RoW entities
Chambers, Henry          10/4/2023     1.3   Correspondence with A&M data privacy team regarding request for
                                             legal analysis on data protection requirements
Chambers, Henry          10/4/2023     0.4   Correspondence with A&M team regarding additional bidder
                                             diligence on KYC process
Chambers, Henry          10/4/2023     0.8   Correspondence with S&C regarding diligence on FTX Japan
                                             matching engine
Chambers, Henry          10/4/2023     2.2   Plan process for collation and storage of BitGo KYC documentation

Chambers, Henry          10/4/2023     1.2   Review of documentation for Liquid Financial USA dissolution

Chan, Jon                10/4/2023     0.5   Call with M. Sunkara, J. Zatz, J. Chan, R. Johnson (A&M) to
                                             continue discussing the analysis for bad actors
Chan, Jon                10/4/2023     0.4   Teleconference with J.Zatz, D.Wilson, J.Chan, R.Johnson (A&M) to
                                             discuss ongoing workstreams and AWS requests
Chan, Jon                10/4/2023     0.9   Correspond with S&C regarding subpoena requests to delegate
                                             appropriate resources
Collis, Jack             10/4/2023     0.4   Call with J. Casey and J. Collis (A&M) regarding strategic options
                                             analysis of FTX rest of world entities
Collis, Jack             10/4/2023     0.4   Review of FTX Gibraltar strategic options analysis and update with
                                             recent legal, financial and other information
Collis, Jack             10/4/2023     0.7   Review of FTX Indonesia strategic options analysis and update with
                                             recent legal, financial and other information
Collis, Jack             10/4/2023     0.6   Review of FTX India strategic options analysis and update with
                                             recent legal, financial and other information
Collis, Jack             10/4/2023     0.7   Review of FTX Cyprus strategic options analysis and update with
                                             recent legal, financial and other information
Collis, Jack             10/4/2023     1.7   Prepare strategic options analysis checklist for target entities

Dalgleish, Elizabeth     10/4/2023     3.1   Update report analysing the BDO valuation of DAAG to include
                                             section comparing the Ledger Holdings and DAAG valuation reports
Dalgleish, Elizabeth     10/4/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (FTX), J. Scott,
                                             C. MacLean, N. Srivastava, D. Hammon (E&Y) on FTX Japan
                                             Services KK, Zubr Exchange Ltd and FTX Gibraltar financials and
                                             FTX Europe wind down matters

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Dalgleish, Elizabeth   10/4/2023     0.3   Call with M. van den Belt, E. Dalgleish, and J. Casey (A&M)
                                           regarding local jurisdiction process for European and RoW entities
Dusendschon, Kora      10/4/2023     0.2   Confer on FTX EU items (FTX EU KYC transfer and AWS) and
                                           coordinate on next steps
Dusendschon, Kora      10/4/2023     0.4   Coordinate on next steps for Cognito data analysis and export

Dusendschon, Kora      10/4/2023     0.2   Confer on Japan data collection/preservation and concerns

Evans, Charles         10/4/2023     0.2   Correspondence with C.Evans (A&M), S&C and ABNR teams
                                           regarding the extension of M. Jonathan's (FTX) contract
Evans, Charles         10/4/2023     0.3   Correspondence with M.Jonathan (FTX) and C.Evans (A&M)
                                           regarding the withdrawal process for Bitocto
Evans, Charles         10/4/2023     0.4   Review of withdrawal process status for Bitocto


Evans, Charles         10/4/2023     0.4   Correspondence with M.Van Den Belt, H.Chambers, D.Johnston and
                                           C.Evans (A&M), S&C and ABNR teams regarding the Bitocto wind
                                           down process, S&C and ABNR teams
Flynn, Matthew         10/4/2023     0.4   Call with K. Ramanathan, A. Sivapalu, G. Walia and M. Flynn (A&M)
                                           regarding project updates
Flynn, Matthew         10/4/2023     0.8   Review of third-party executed estate vendor contracts and key terms


Flynn, Matthew         10/4/2023     0.7   Call with M. Flynn, K. Ramanathan (A&M), H. Nachmias, O.
                                           Wortman (Sygnia) to discuss status of development and security
                                           efforts
Francis, Luke          10/4/2023     1.1   Analysis of potential claims used for funds tracing exercise

Glustein, Steven       10/4/2023     0.2   Call with S. Glustein and D. Sagen (A&M) to discuss LedgerPrime
                                           digital asset reconciliation
Glustein, Steven       10/4/2023     0.7   Update token claim statement regarding vested token not yet
                                           received
Glustein, Steven       10/4/2023     0.8   Review token locking schedule relating to select token investment


Glustein, Steven       10/4/2023     0.4   Review KYC process relating to vested token not yet received

Heric, Andrew          10/4/2023     1.3   Conduct a quality control review of supporting documentation and
                                           the main deliverable for request 138
Heric, Andrew          10/4/2023     2.1   Craft and populate a summary schedule of outgoing activity from
                                           identified wallets of concern related to request 138
Heric, Andrew          10/4/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing items to review regarding request 138
Heric, Andrew          10/4/2023     2.9   Conduct crypto tracing of four wallets of concern related to analysis
                                           conducted for request 138
Iwanski, Larry         10/4/2023     1.2   Analysis of all outstanding tracing requests related to data and
                                           investigations
Iwanski, Larry         10/4/2023     0.6   Review of documents containing all deposits with certain user
                                           accounts

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Johnson, Robert       10/4/2023     0.5   Call with M. Sunkara, J. Zatz, J. Chan, R. Johnson (A&M) to
                                          continue discussing the analysis for bad actors
Johnson, Robert       10/4/2023     0.4   Teleconference with J. Zatz, D.Wilson, J. Chan, R. Johnson (A&M)
                                          to discuss ongoing workstreams and AWS requests
Johnson, Robert       10/4/2023     1.8   Review data sets to identify potential outlier behavior relating to
                                          connections from shared IP addresses
Johnson, Robert       10/4/2023     1.1   Generate summary of support tickets over time for .com and .us
                                          platforms
Johnston, David       10/4/2023     0.6   Review proposal for settlement with FTX rest of world employee,
                                          research available information
Johnston, David       10/4/2023     0.9   Preliminary review of one page summaries of wind down entities

Johnston, David       10/4/2023     1.1   Review analysis and available data relating to FTX Australia
                                          customer
Johnston, David       10/4/2023     0.4   Review remaining comments relating to GT engagement letter for
                                          wind downs
Johnston, David       10/4/2023     0.3   Update FTX Europe asset sale materials


Johnston, David       10/4/2023     0.2   Review available materials related to Quoine India, consider next
                                          steps
Johnston, David       10/4/2023     0.8   Review waterfall analysis relating to FTX Japan entities

Johnston, David       10/4/2023     0.6   Review strategic options analysis relating to FTX Gibraltar


Johnston, David       10/4/2023     0.4   Review progress and updates related to FTX Bitocto

Johnston, David       10/4/2023     0.6   Research IT licenses for wind down entities


Johnston, David       10/4/2023     0.5   Call with E. Simpson, B. Hirsch, F. Weinberg, D. Hisarli (S&C), M.
                                          van den Belt, D. Johnston (A&M) on FTX Turkey matters
Johnston, David       10/4/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (FTX), J. Scott,
                                          C. MacLean, N. Srivastava, D. Hammon (E&Y) on FTX Japan
                                          Services KK, Zubr Exchange Ltd and FTX Gibraltar financials and
                                          FTX Europe wind down matters
Kwan, Peter           10/4/2023     1.8   Review interim analysis related to research on potential user
                                          interactions with sanctioned or blocked countries
Kwan, Peter           10/4/2023     1.3   Review interim findings related to research on potential front running
                                          performed on the exchange
Kwan, Peter           10/4/2023     2.4   Review preliminary findings from third-part development team
                                          related to code logic / historical code changes related to exchange
                                          blocking
Kwan, Peter           10/4/2023     1.7   Compile interim analysis related to high level findings on the
                                          distribution of transaction monitoring alerts received from
                                          deposits/withdrawals
Kwan, Peter           10/4/2023     1.3   Respond to requests from S&C related to the isolation of transaction
                                          monitoring or customer blocking actions performed for specific
                                          exchange users

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Professional               Date    Hours    Activity
Kwan, Peter            10/4/2023     2.2   Prepare preliminary findings related to four main research areas
                                           related to potential criminality and bad acting performed on the
                                           exchange
Kwan, Peter            10/4/2023     0.4   Teleconference with K.Dusendschon, K.Baker, M. Sunkara, J.
                                           Marshall P. Kwan (A&M) to discuss ongoing workstreams and AWS
                                           requests
Lam, James             10/4/2023     0.6   Correspondence with FTX JP team on crypto assets identified in
                                           other wallet addresses
Lam, James             10/4/2023     1.4   Update the recovery analysis for FTX Japan with recent wallet
                                           balances and withdrawal records
Lam, James             10/4/2023     2.1   Update the wallet balance summaries for FTX JP and Quoine Pte

Lam, James             10/4/2023     0.8   Coordinate the KYC, portal and claims-related requests


Lam, James             10/4/2023     0.2   Review the FTX JP weekly fiat and crypto withdrawal summary

Lam, James             10/4/2023     0.4   Review the BitGo custodian records and Quoine Pte balances


Lambert, Leslie        10/4/2023     0.3   Meeting with L. Lambert, L. Callerio, C. Stockmeyer (A&M) regarding
                                           updated crypto tracing workstream status
Lambert, Leslie        10/4/2023     0.9   Consider available documentation and approach to analysis of
                                           activity related to certain account activity
Lambert, Leslie        10/4/2023     1.3   Review deliverables identifying findings and observations from
                                           tracing and underlying support documentation
Lambert, Leslie        10/4/2023     1.1   Review of findings and observations related to ongoing analysis of
                                           certain blockchain activity
Lambert, Leslie        10/4/2023     0.6   Draft written overview detailing status of open crypto tracing requests


Li, Summer             10/4/2023     1.6   Prepare for the mapping of FTX Japan's management accounts for
                                           the waterfall analysis
Lowdermilk, Quinn      10/4/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing items to review regarding request 138
Lowdermilk, Quinn      10/4/2023     2.7   Research underlying information within provided analysis to
                                           reconcile investments for tracing request 141
Lowdermilk, Quinn      10/4/2023     2.4   Annotate crypto tracing deliverable with counterparty addresses for
                                           tracing request 138
Lowdermilk, Quinn      10/4/2023     2.7   Finalize crypto tracing deliverable outlining top counterparties of
                                           concern for request 138
Marshall, Jonathan     10/4/2023     0.4   Coordinate AWS team for increased requests from S&C

Marshall, Jonathan     10/4/2023     0.4   Teleconference with K.Dusendschon, K.Baker, M.Sunkara,
                                           J.Marshall P.Kwan (A&M) to discuss ongoing workstreams and AWS
                                           requests
Mohammed, Azmat        10/4/2023     0.2   Call with N. Molina and others (FTX) and A. Mohammed (A&M) to
                                           discuss engineering matters across FTX



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Professional              Date    Hours    Activity
Mohammed, Azmat       10/4/2023     0.4   Call with A. Mohammed, D. Sagen, L. Nunez and A. Selwood (A&M)
                                          regarding project updates
Mohammed, Azmat       10/4/2023     0.9   Review legacy suspicious activity and KYC loopholes used by bad
                                          actors
Mohammed, Azmat       10/4/2023     1.8   Review research on IP blocking and transaction monitoring efforts

Mohammed, Azmat       10/4/2023     0.5   Call with P. Lee and others (FTX), P. Kwan, A.Mohammed (A&M) to
                                          discuss matters related to the wallet time series database
Paolinetti, Sergio    10/4/2023     2.6   Review token liquidation salides charts and adjust TWAP and
                                          VWAP numbers with latest pricing
Paolinetti, Sergio    10/4/2023     3.1   Modify token vesting schedule for Ledger Prime's digital assets

Paolinetti, Sergio    10/4/2023     0.7   Refresh token vesting schedule with new token receipts


Paolinetti, Sergio    10/4/2023     1.4   Add to the token liquidation analysis slides information regarding pre-
                                          ICO tokens
Paolinetti, Sergio    10/4/2023     1.8   Highlight Ledger Prime's token receivables to discuss further with
                                          external teams
Radwanski, Igor       10/4/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                          discussing items to review regarding request 138
Radwanski, Igor       10/4/2023     0.4   Revise deliverable to ensure key data are being correctly referenced
                                          for request 138
Radwanski, Igor       10/4/2023     1.7   Revise supporting documentation to include updated figures for
                                          request 138
Radwanski, Igor       10/4/2023     1.2   Draft email to ventures team regarding key changes to request 138
                                          deliverable
Radwanski, Igor       10/4/2023     2.1   Edit deliverable regarding request 138


Radwanski, Igor       10/4/2023     2.3   Trace transfers of interest for request 142

Ramanathan, Kumanan   10/4/2023     0.4   Call with K. Ramanathan, A. Sivapalu, G. Walia and M. Flynn (A&M)
                                          regarding project updates
Ramanathan, Kumanan   10/4/2023     1.2   Review of third party exchange historical transfer activity and provide
                                          feedback
Ramanathan, Kumanan   10/4/2023     0.4   Call with A. Belvitt (Coinbase) to discuss Coinbase prime account
                                          credentials
Ramanathan, Kumanan   10/4/2023     1.1   Review of updated staking addendum with BitGo and provide
                                          comments
Ramanathan, Kumanan   10/4/2023     1.2   Review of customer hashing script and provide feedback to PwP

Ramanathan, Kumanan   10/4/2023     0.5   Call with M. Cilia (FTX), R. Haskins (RLKS), K. Ramanathan, and D.
                                          Sagen (A&M) to answer crypto cash conversion questions
Ramanathan, Kumanan   10/4/2023     0.7   Call with M. Flynn, K. Ramanathan (A&M), H. Nachmias, O.
                                          Wortman (Sygnia) to discuss status of development and security
                                          efforts


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Professional             Date     Hours    Activity
Sagen, Daniel         10/4/2023     0.6   Prepare for meeting with M. Cilia (FTX) regarding stablecoin cash
                                          conversion allocations
Sagen, Daniel         10/4/2023     0.2   Call with S. Glustein and D. Sagen (A&M) to discuss LedgerPrime
                                          digital asset reconciliation
Sagen, Daniel         10/4/2023     1.8   Research source of funds for select high value cold storage
                                          transactions in 9/29 coin report data
Sagen, Daniel         10/4/2023     0.4   Call with A. Mohammed, D. Sagen, L. Nunez and A. Selwood (A&M)
                                          regarding project updates
Sagen, Daniel         10/4/2023     1.0   Call with D. Sagen and A. Selwood (A&M) to update token pricing
                                          data in 9/29 Coin Report
Sagen, Daniel         10/4/2023     0.9   Call with D. Sagen and A. Selwood (A&M) to update BitGo
                                          transaction data in 9/29 Coin Report
Sagen, Daniel         10/4/2023     2.2   Research questions from M. Cilia (FTX) regarding stablecoin cash
                                          conversion allocations
Sagen, Daniel         10/4/2023     0.3   Call with D. Sagen and A. Selwood (A&M) to update 3rd party
                                          exchange data in 9/29 Coin Report
Sagen, Daniel         10/4/2023     0.8   Prepare updated stablecoin and fiat tracker in connection with 9/29
                                          coin report updates
Sagen, Daniel         10/4/2023     0.3   Correspondence with M. Cilia (FTX) regarding legal entity
                                          reconciliation questions
Sagen, Daniel         10/4/2023     1.7   Incorporate updated Sygnia transfer details in 9/29 coin report

Sagen, Daniel         10/4/2023     1.2   Incorporate updated vesting token data in 9/29 coin report


Sagen, Daniel         10/4/2023     0.5   Call with M. Cilia (FTX), R. Haskins (RLKS), K. Ramanathan, and D.
                                          Sagen (A&M) to answer crypto cash conversion questions
Salas Nunez, Luis     10/4/2023     0.4   Call with A. Mohammed, D. Sagen, L. Nunez and A. Selwood (A&M)
                                          regarding project updates
Selwood, Alexa        10/4/2023     1.0   Call with D. Sagen and A. Selwood (A&M) to update token pricing
                                          data in 9/29 coin report
Selwood, Alexa        10/4/2023     0.3   Call with D. Sagen and A. Selwood (A&M) to update 3rd party
                                          exchange data in 9/29 coin report
Selwood, Alexa        10/4/2023     0.9   Call with D. Sagen and A. Selwood (A&M) to update BitGo
                                          transaction data in 9/29 coin report
Selwood, Alexa        10/4/2023     0.4   Call with A. Mohammed, D. Sagen, L. Nunez and A. Selwood (A&M)
                                          regarding project updates
Selwood, Alexa        10/4/2023     1.9   Reconcile September BitGo Invoice with coin report 9/29 coin report
                                          data
Selwood, Alexa        10/4/2023     1.4   Update third party exchange transaction data for 9/29 coin report

Selwood, Alexa        10/4/2023     0.9   Summarize BitGo invoice reconciliation


Selwood, Alexa        10/4/2023     2.3   Update token price data for 9/29 coin report




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Business Operations
Professional               Date     Hours    Activity
Simoneaux, Nicole       10/4/2023     0.7   Update 2.0 diligence response regarding headcount changes for
                                            bidder inquiries
Sivapalu, Anan          10/4/2023     0.4   Call with K. Ramanathan, A. Sivapalu, G. Walia and M. Flynn (A&M)
                                            regarding project updates
Stegenga, Jeffery       10/4/2023     0.6   Review of PMO reporting workstream summary, with focus on
                                            Crypto and Ops progress on upcoming milestones
Stockmeyer, Cullen      10/4/2023     0.3   Meeting with L. Lambert, L. Callerio, C. Stockmeyer (A&M) regarding
                                            updated crypto tracing workstream status
Stockmeyer, Cullen      10/4/2023     1.3   Prepare updated token receivables model based on additional
                                            pricing data made available
Stockmeyer, Cullen      10/4/2023     0.6   Consolidate historical token information from sources for liquidation
                                            model
Stockmeyer, Cullen      10/4/2023     0.7   Prepare token receivables model output for plan team end of month
                                            close data
Stockmeyer, Cullen      10/4/2023     1.6   Update token liquidation model for improvement to reporting of data

Stockmeyer, Cullen      10/4/2023     1.6   Research additional historical information for token liquidation model


Sunkara, Manasa         10/4/2023     0.5   Call with M. Sunkara, J. Zatz, J. Chan, R. Johnson (A&M) to
                                            continue discussing the analysis for bad actors
Sunkara, Manasa         10/4/2023     2.7   Investigate customers that engaged in excessive non economic
                                            activity on the exchange
Sunkara, Manasa         10/4/2023     1.8   Create slides of preliminary findings for a presentation on bad actors
                                            within the exchange
Sunkara, Manasa         10/4/2023     2.3   Query the database to analyze the distribution of non economic USD
                                            activity
Sunkara, Manasa         10/4/2023     2.9   Write a query to extract a customer level breakdown by balance
                                            amounts
Sunkara, Manasa         10/4/2023     0.4   Teleconference with K.Dusendschon, K.Baker, M. Sunkara, J.
                                            Marshall P. Kwan (A&M) to discuss ongoing workstreams and AWS
                                            requests
Titus, Adam             10/4/2023     0.9   Provide email response to token issuer proposal given including next
                                            steps
Titus, Adam             10/4/2023     0.4   Draft email response to claim tokens from token issuers proposal


van den Belt, Mark      10/4/2023     3.1   Prepare comparison of wind-down analysis and plan treatment for
                                            FTX Europe and Rest of World
van den Belt, Mark      10/4/2023     2.9   Prepare presentation on FTX Europe potential dismissals and non-
                                            debtor entities
van den Belt, Mark      10/4/2023     0.7   Review preference analysis on Australian user

van den Belt, Mark      10/4/2023     2.5   Prepare wind-down analysis for Turkish subsidiaries

van den Belt, Mark      10/4/2023     0.3   Call with M. van den Belt, E. Dalgleish, and J. Casey (A&M)
                                            regarding local jurisdiction process for European and RoW entities


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van den Belt, Mark      10/4/2023     0.5   Call with E. Simpson, B. Hirsch, F. Weinberg, D. Hisarli (S&C), M.
                                            van den Belt, D. Johnston (A&M) on FTX Turkey matters
van den Belt, Mark      10/4/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (FTX), J. Scott,
                                            C. MacLean, N. Srivastava, D. Hammon (E&Y) on FTX Japan
                                            Services KK, Zubr Exchange Ltd and FTX Gibraltar financials and
                                            FTX Europe wind down matters
Wall, Guy               10/4/2023     0.9   Meeting with R. Arbid, G. Wall (A&M) on FTX Dubai approach to
                                            documents provided by local legal counsel
Wall, Guy               10/4/2023     0.8   Meeting with R. Arbid, G. Wall (A&M) on FTX Dubai liquidation
                                            documentation requirements
Wall, Guy               10/4/2023     0.7   Review available materials on FTX Dubai liquidation process

Wall, Guy               10/4/2023     0.8   Review of DWTC regulations for documentation required


Wilson, David           10/4/2023     2.3   Identify accounts and pull full transaction history for accounts
                                            associated with crypto wallet for A&M investigation
Wilson, David           10/4/2023     2.9   Revise code to bucket user analytics data for each account using
                                            net withdrawals method for 5 to 15 day time windows
Wilson, David           10/4/2023     1.7   Script database to identify accounts with IP logins in multiple
                                            different jurisdictions
Wilson, David           10/4/2023     2.4   Add spot margin borrows and lends template scripts to request
                                            responder automation tool
Wilson, David           10/4/2023     0.5   Call with P. Kwan, D. Wilson, K. Baker (A&M) to continue discussing
                                            the analysis for bad actors
Wilson, David           10/4/2023     0.8   Perform quality review over output of database scripts for S&C data
                                            request
Zatz, Jonathan          10/4/2023     0.4   Teleconference with J.Zatz, D.Wilson, J.Chan, R.Johnson (A&M) to
                                            discuss ongoing workstreams and AWS requests
Zatz, Jonathan          10/4/2023     0.5   Call with M. Sunkara, J. Zatz, J. Chan, R. Johnson (A&M) to
                                            continue discussing the analysis for bad actors
Zatz, Jonathan          10/4/2023     1.8   Script database to identify significant changes in daily market activity
                                            for tickers ever traded by employees
Zatz, Jonathan          10/4/2023     2.2   Script database to calculate daily USD volume of employee trades
                                            per ticker
Zatz, Jonathan          10/4/2023     1.7   Script database to pull daily market activity for tickers ever traded by
                                            employees
Zatz, Jonathan          10/4/2023     3.1   Script database to rank large daily price changes for each ticker

Arbid, Rami             10/5/2023     0.5   Meet with G. Wall (A&M) to review available materials to local legal
                                            counsel
Arbid, Rami             10/5/2023     0.8   Review available materials related to FTX Dubai publication of
                                            advertisement
Baker, Kevin            10/5/2023     2.6   Identify all FTX exchange accounts related to a large banking
                                            institution for a new internal investigation
Baker, Kevin            10/5/2023     2.8   Investigate specific investor lending transactions between Alameda
                                            and specific lenders known linked to the FTX exchange

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Baker, Kevin             10/5/2023     3.1   Investigate the lending relationships between Alameda and specific
                                             targeted customer accounts for an internal investigation
Baker, Kevin             10/5/2023     3.1   Extract all transactions and user account history for a specific FTX
                                             contractor related to a specific customer bankruptcy claim
Balmelli, Gioele         10/5/2023     0.6   Call with G. Balmelli (A&M) and A. Rana (Mazars) re 2021 FTX
                                             Europe intercompany positions
Balmelli, Gioele         10/5/2023     2.9   Review and update FTX intercompany documentation with FTX EU
                                             and other subsidiaries
Callerio, Lorenzo        10/5/2023     0.6   Review the updated token liquidation analysis deck prepared by S.
                                             Paolinetti (A&M)
Callerio, Lorenzo        10/5/2023     0.7   Review the updated KYC analysis prepared by C. Stockmeyer (A&M)

Callerio, Lorenzo        10/5/2023     0.7   Review and approve REQ138 deliverable received from A. Heric
                                             (A&M)
Callerio, Lorenzo        10/5/2023     0.6   Update the outstanding token outreach list

Callerio, Lorenzo        10/5/2023     0.4   Review recent inbound crypto tracing correspondence


Casey, John              10/5/2023     1.9   Prepare step plan for CVL appointment process for Cypriot
                                             subsidiary entity
Casey, John              10/5/2023     0.4   Call with J. Collis and J. Casey (A&M) regarding update on strategic
                                             options analysis for European and RoW subsidiaries
Casey, John              10/5/2023     0.4   Call with Grant Noble (Grant Thornton) and J. Casey (A&M)
                                             regarding update on letters of engagement for Grant Thornton
                                             member firms
Chambers, Henry          10/5/2023     0.8   Respond the queries regarding documents showing LiquidEx
                                             ownership transfer
Chan, Jon                10/5/2023     2.7   Query database to create withdrawal and deposit summary for A&M
                                             internal requests
Chew, Ee Ling            10/5/2023     0.6   Review and prepare analysis on statutory information of Alameda
                                             Research Singapore
Chew, Ee Ling            10/5/2023     0.6   Review and prepare analysis on statutory information of FTX
                                             Products Singapore
Collis, Jack             10/5/2023     0.4   Call with J. Collis and J. Casey (A&M) regarding update on strategic
                                             options analysis for European and RoW subsidiaries
Collis, Jack             10/5/2023     1.2   Continue preparation of a strategic options analysis checklist and
                                             prepare summary of advantages and disadvantages of options
Coverick, Steve          10/5/2023     0.4   Call with S. Coverick and D. Johnston (A&M) to discuss FTX Europe
                                             and Rest of World summary presentation
Dalgleish, Elizabeth     10/5/2023     1.1   Prepare summary slide of the Australian Customer Preference
                                             analysis
Dalgleish, Elizabeth     10/5/2023     1.3   Prepare overall wind-down timeline for all entities to be included in
                                             the cross-functional working group deck for 6 October
Dennison, Kim            10/5/2023     0.2   Correspondence with E Simpson (S&C) regarding discussions with
                                             FTX DM JPLs


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Dusendschon, Kora     10/5/2023     0.3   Coordinate on Cognito analysis with FTX and discuss timeline of
                                          access and other items
Dusendschon, Kora     10/5/2023     0.2   Coordinate on Cognito with FTX team including requisite access,
                                          timing, and options
Dusendschon, Kora     10/5/2023     0.3   Confer on Cognito access, API and export of historical data for
                                          analysis
Dusendschon, Kora     10/5/2023     0.2   Confer on KYC related requests from S&C and provide guidance to
                                          team
Dusendschon, Kora     10/5/2023     0.2   Confer on next steps regarding RDO requested from FTI for KYC
                                          NULLS
Ernst, Reagan         10/5/2023     0.9   Reconcile token funded amounts from PWP funded investment
                                          summary tracker
Flynn, Matthew        10/5/2023     0.4   Call with M. Flynn, P. Kwan, K. Ramanathan (A&M) to discuss
                                          crypto wallet database
Flynn, Matthew        10/5/2023     0.2   Call with M. Flynn, P. Kwan, R. Johnson (A&M) to discuss AWS and
                                          KYC data requests
Flynn, Matthew        10/5/2023     0.3   Call with M. Flynn, R. Johnson (A&M) to discuss AWS data request
                                          dashboard
Flynn, Matthew        10/5/2023     0.4   Review of additional crypto vendor engagement letters for S&C

Flynn, Matthew        10/5/2023     0.6   Update crypto management workstream presentation for
                                          management
Flynn, Matthew        10/5/2023     0.8   Review of KYC data retention procedures by jurisdiction


Flynn, Matthew        10/5/2023     0.7   Review of FTX Japan post-petition deposit return process

Flynn, Matthew        10/5/2023     0.5   Call with R. Perubhatla (FTX), K. Ramanathan, A. Mohammed, M.
                                          Flynn (A&M) to discuss technology and engineering matters
Flynn, Matthew        10/5/2023     0.9   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P. Kwan, M.
                                          Flynn, A.Mohammed (A&M) to discuss wallet time series data quality
                                          reviews
Glustein, Steven      10/5/2023     1.3   Update recovery analysis model regarding LedgerPrime relating to
                                          Token Receivables
Gordon, Robert        10/5/2023     0.3   Review correspondence on recovery token from bidder #1


Heric, Andrew         10/5/2023     1.2   Summarize findings and implications of exchange activity related to
                                          high priority tracing request 138
Heric, Andrew         10/5/2023     0.2   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                          discussing updates to request 138 deliverable
Heric, Andrew         10/5/2023     0.8   Conduct internal document research related to two addresses of
                                          concern for request 143
Heric, Andrew         10/5/2023     2.3   Create a summary table of identified exchange activity for over 117
                                          transfers of interest
Heric, Andrew         10/5/2023     0.9   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                          Lowdermilk (A&M) discussing open crypto tracing requests


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Heric, Andrew         10/5/2023     1.9   Compare and contrast identified exchange data records to on-chain
                                          activity for addresses related to high-priority tracing request
Heric, Andrew         10/5/2023     0.9   Conduct a quality control review of high-priority tracing deliverable
                                          related to the identification of post-petition activity
Iwanski, Larry        10/5/2023     0.6   Review of deliverable for tracing request 144

Iwanski, Larry        10/5/2023     0.9   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                          Lowdermilk (A&M) discussing open crypto tracing requests
Johnson, Robert       10/5/2023     0.8   Perform user maintenance on Metabase accounts to allow for
                                          connections from previously disabled users
Johnson, Robert       10/5/2023     2.3   Generate listing of all 10MM customers with kyc status and balance
                                          information to allow for additional analysis
Johnson, Robert       10/5/2023     1.8   Build request tracking dashboards to allow for real time monitoring of
                                          progress and ticket aging
Johnson, Robert       10/5/2023     0.2   Call with M. Flynn, P. Kwan, R. Johnson (A&M) to discuss AWS and
                                          KYC data requests
Johnson, Robert       10/5/2023     1.6   Normalize ticket information to allow for dashboarding and reporting
                                          of progress
Johnson, Robert       10/5/2023     0.3   Call with M. Flynn, R. Johnson (A&M) to discuss AWS data request
                                          dashboard
Johnson, Robert       10/5/2023     0.4   Call with J. Zatz, D. Wilson, R. Johnson, P. Kwan (A&M) to discuss
                                          logistics around blockchain vendor data dump and related findings
                                          report
Johnston, David       10/5/2023     0.4   Call with S. Coverick and D. Johnston (A&M) to discuss FTX Europe
                                          and Rest of World summary presentation
Johnston, David       10/5/2023     2.2   Review and update one page summaries relating to the primary
                                          Europe and Rest of World wind down entities
Johnston, David       10/5/2023     1.0   Meeting with E. Simpson, O. de Vito Piscicelli, T. Hill (S&C), D.
                                          Johnston, M. van den Belt (A&M) on Turkish subsidiaries, FTX
                                          Europe, Quoine and FTX wind down entities
Kwan, Peter           10/5/2023     0.2   Call with M. Flynn, P. Kwan, R. Johnson (A&M) to discuss AWS and
                                          KYC data requests
Kwan, Peter           10/5/2023     0.8   Coordinate with 3rd party development team to assist with the
                                          review of code dictating user blocking / changing of user setting for
                                          pursuit of claims to be filed by the debtors
Kwan, Peter           10/5/2023     1.3   Continue to review results of interim analysis related to research on
                                          potential user interactions with sanctioned or blocked countries
Kwan, Peter           10/5/2023     1.6   Revise IP Address mapping repository to map in additional
                                          geolocated countries in support of isolating potential account
                                          takeover or other geolocation based risk typologies
Kwan, Peter           10/5/2023     0.7   Coordinate with crypto tracing team to understand existing
                                          blockchain analysis capabilities in relation to supporting interim
                                          report on criminality
Kwan, Peter           10/5/2023     1.4   Revise interim analysis related to high level findings on the
                                          distribution of transaction monitoring alerts received from
                                          deposits/withdrawals based on internal A&M review feedback



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Kwan, Peter           10/5/2023     0.9   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P. Kwan, M.
                                          Flynn, A.Mohammed (A&M) to discuss wallet time series data quality
                                          reviews
Kwan, Peter           10/5/2023     1.3   Provide follow-up questions in response to preliminary findings from
                                          third-part development team's code review on exchange transaction
                                          monitoring logic
Kwan, Peter           10/5/2023     1.6   Continue to perform research on potential front running typologies to
                                          pursue in relation to interim report on criminality and bad actors
Kwan, Peter           10/5/2023     0.4   Call with J. Zatz, D. Wilson, R. Johnson, P. Kwan (A&M) to discuss
                                          logistics around blockchain vendor data dump and related findings
                                          report
Kwan, Peter           10/5/2023     0.4   Continue to provide responses to requests from S&C related to the
                                          isolation of transaction monitoring or customer blocking actions
                                          performed for specific exchange users
Lam, James            10/5/2023     1.1   Correspondence with the crypto team regarding the approach to
                                          handle the post-petition deposits and the status update
Lam, James            10/5/2023     2.8   Coordinate the workflow on the KYC status check for lists of original
                                          claimants from Kroll
Lam, James            10/5/2023     0.6   Correspondences with FTX Japan team on crypto assets identified
                                          in certain wallet addresses
Lam, James            10/5/2023     0.4   Correspondence with the KYC team regarding the status of some
                                          original claimants
Lam, James            10/5/2023     0.4   Correspondences with FTX Japan team on new Liquid deposit wallet
                                          address
Lam, James            10/5/2023     0.9   Review the claims transfer issues and the implication on KYC
                                          process
Lam, James            10/5/2023     0.5   Discuss the KYC process and status update with J. Yan (A&M)

Lambert, Leslie       10/5/2023     0.8   Review certain findings and observations related to ongoing analysis
                                          of certain blockchain activity
Lambert, Leslie       10/5/2023     0.4   Consider available documentation and open analyses in preparation
                                          for various meetings and calls
Lambert, Leslie       10/5/2023     0.6   Call with Q. Lowdermilk and L. Lambert (A&M) regarding
                                          methodology to crypto tracing request 141
Lambert, Leslie       10/5/2023     0.9   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                          Lowdermilk (A&M) discussing open crypto tracing requests
Lowdermilk, Quinn     10/5/2023     2.4   Analyze non customer proof of claim forms for variances in expected
                                          claims for tracing request 141
Lowdermilk, Quinn     10/5/2023     0.2   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                          discussing updates to request 138 deliverable
Lowdermilk, Quinn     10/5/2023     2.2   Prepare crypto tracing analysis file with identified information for
                                          tracing request 144
Lowdermilk, Quinn     10/5/2023     0.6   Call with Q. Lowdermilk and L. Lambert (A&M) regarding
                                          methodology to crypto tracing request 141
Lowdermilk, Quinn     10/5/2023     2.1   Create crypto tracing deliverable for tracing request 144



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Lowdermilk, Quinn     10/5/2023     0.9   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                          Lowdermilk (A&M) discussing open crypto tracing requests
Mohammed, Azmat       10/5/2023     0.4   Research token milestone achievements including FTX and token
                                          market share
Mohammed, Azmat       10/5/2023     0.6   Update engineering status slides for FTX leadership

Mohammed, Azmat       10/5/2023     0.5   Call with R. Perubhatla (FTX), K. Ramanathan, A. Mohammed, M.
                                          Flynn (A&M) to discuss technology and engineering matters
Mohammed, Azmat       10/5/2023     0.9   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P. Kwan, M.
                                          Flynn, A.Mohammed (A&M) to discuss wallet time series data quality
                                          reviews
Paolinetti, Sergio    10/5/2023     2.4   Estimate total vested and unvested amounts of token investments
                                          for venture token deck
Paolinetti, Sergio    10/5/2023     1.7   Recalculate adjusted funded amount of token investments to
                                          account for non-debtor quantities
Paolinetti, Sergio    10/5/2023     1.8   Categorize token investments by unvested and vested amounts in
                                          token liquidation slides
Paolinetti, Sergio    10/5/2023     2.6   Calculate adjusted funded amount of token investments with 9/29
                                          pricing
Paolinetti, Sergio    10/5/2023     1.9   Update token venture deck with 9/29 pricing and vesting as of 10/5


Paolinetti, Sergio    10/5/2023     0.9   Add token liquidation analysis summary to venture deck

Paolinetti, Sergio    10/5/2023     1.4   Add token outreach updates to the token venture deck


Radwanski, Igor       10/5/2023     0.2   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                          discussing updates to request 138 deliverable
Radwanski, Igor       10/5/2023     2.8   Quantify transaction information from key wallet addresses
                                          regarding request 142
Radwanski, Igor       10/5/2023     2.9   Trace target transactions using blockchain analytics software for
                                          request 142
Radwanski, Igor       10/5/2023     1.2   Edit supporting documentation for request 138

Radwanski, Igor       10/5/2023     0.9   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                          Lowdermilk (A&M) discussing open crypto tracing requests
Ramanathan, Kumanan   10/5/2023     0.6   Call with J. Croke (S&C), K. Ramanathan, A. Selwood (A&M), A.
                                          Mott, M. Furci (Messari) regarding crypto market updates
Ramanathan, Kumanan   10/5/2023     1.4   Review user withdrawal activity and cross-reference against market
                                          events for trend analysis
Ramanathan, Kumanan   10/5/2023     0.4   Call with M. Flynn, P. Kwan, K. Ramanathan (A&M) to discuss
                                          crypto wallet database
Ramanathan, Kumanan   10/5/2023     0.7   Review of report re: unauthorized transfer funds on-chain tracing

Ramanathan, Kumanan   10/5/2023     0.9   Review of executed engagement letters and upload missing
                                          contracts


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Ramanathan, Kumanan   10/5/2023     0.5   Call with R. Perubhatla (FTX), K. Ramanathan, A. Mohammed, M.
                                          Flynn (A&M) to discuss technology and engineering matters
Sagen, Daniel         10/5/2023     1.2   Correspondence with Sygnia team, E. Taraba and K. Ramanathan
                                          (A&M) regarding third party exchange cash receipts
Sagen, Daniel         10/5/2023     0.8   Call with D. Sagen and A. Selwood (A&M) to review cold storage
                                          transaction mappings in 9/29 coin report
Sagen, Daniel         10/5/2023     0.6   Incorporate legal entity mappings identified by tracing team into cold
                                          storage transaction data for 9/29 coin report
Sagen, Daniel         10/5/2023     1.3   Discussion with D. Sagen and A. Selwood (A&M) to update coin
                                          report summaries and data
Sagen, Daniel         10/5/2023     1.1   Correspondence with market maker counterparties and BitGo
                                          regarding stablecoin conversions
Sagen, Daniel         10/5/2023     1.6   Discussion with D. Sagen and A. Selwood (A&M) to update coin
                                          report model for internal approval
Sagen, Daniel         10/5/2023     0.4   Correspondence with M. Cilia (FTX) regarding new crypto
                                          accounting questions
Sagen, Daniel         10/5/2023     1.2   Prepare variance model summarizing changes in 9/29 coin report to
                                          prior distribution
Sagen, Daniel         10/5/2023     0.4   Correspondence with BitGo team regarding: transaction questions

Sagen, Daniel         10/5/2023     0.8   Prepare bridge from 9/29 coin report balances to 9/15 coin report
                                          balances
Selwood, Alexa        10/5/2023     0.6   Call with J. Croke (S&C), K. Ramanathan, A. Selwood (A&M), A.
                                          Mott, M. Furci (Messari) regarding crypto market updates
Selwood, Alexa        10/5/2023     0.9   Analyze Coinbase agreement for Galaxy Mandate versus generic
                                          Coinbase user agreement
Selwood, Alexa        10/5/2023     0.4   Research BitGo transaction data on-chain for J. Croke (S&C)
                                          request regarding returned crypto
Selwood, Alexa        10/5/2023     1.3   Discussion with D. Sagen and A. Selwood (A&M) to update coin
                                          report summaries and data
Selwood, Alexa        10/5/2023     1.6   Analyze 9/15 coin report summaries versus 9/29 coin report
                                          summaries
Selwood, Alexa        10/5/2023     0.8   Summarize weekly crypto market updates

Selwood, Alexa        10/5/2023     1.7   Summarize 9/29 coin report updates for bridge summary

Selwood, Alexa        10/5/2023     0.9   Research BitGo transaction data for third party exchange data and
                                          for J. Croke (S&C) request regarding returned crypto
Simoneaux, Nicole     10/5/2023     2.1   Respond to litigation inquiries from S&C regarding active and
                                          inactive employee claims
Simoneaux, Nicole     10/5/2023     1.4   Provide responses to potential claims litigation diligence as
                                          requested by S&C
Sunkara, Manasa       10/5/2023     2.7   Investigate all transaction activity associated with a list of user
                                          accounts confirmed by S&C




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Business Operations
Professional                Date    Hours    Activity
Titus, Adam             10/5/2023     1.1   Provide comments to recommendation response on token positions
                                            from review of materials to L. Callerio [A&M]
Titus, Adam             10/5/2023     0.9   Review email from token issuer on KYC process including relaying
                                            information to crypto team
Titus, Adam             10/5/2023     1.2   Review draft recommendation response on token positions including
                                            next steps
Titus, Adam             10/5/2023     1.3   Draft listing of counters to token issuer milestone disagreements

Titus, Adam             10/5/2023     0.7   Draft email to J. Croke [S&C] on milestone of token issuer


van den Belt, Mark      10/5/2023     3.1   Prepare updated plan treatment scenario analysis for FTX rest of
                                            world entities
van den Belt, Mark      10/5/2023     2.9   Prepare updated plan treatment scenario analysis for FTX Europe


van den Belt, Mark      10/5/2023     2.4   Review presentation on Australian customer preference analysis

van den Belt, Mark      10/5/2023     1.0   Meeting with E. Simpson, O. de Vito Piscicelli, T. Hill (S&C), D.
                                            Johnston, M. van den Belt (A&M) on Turkish subsidiaries, FTX
                                            Europe, Quoine and FTX wind down entities
Walia, Gaurav           10/5/2023     0.6   Review the latest intercompany claims balances and provide
                                            feedback
Walia, Gaurav           10/5/2023     0.5   Prepare an updated data request for certain users on the exchange

Walia, Gaurav           10/5/2023     0.4   Review a request from the data team and provide feedback


Wall, Guy               10/5/2023     0.5   Meet with R. Arbid (A&M) to review available materials in relation to
                                            FTX Dubai wind-down process
Wall, Guy               10/5/2023     0.8   Review available materials related to FTX Dubai publication of
                                            advertisement
Wilson, David           10/5/2023     1.8   Adjust fills and funding payments Athena scripts in request
                                            responder automation tool to improve readability and query
                                            execution time
Wilson, David           10/5/2023     0.4   Call with J. Zatz, D. Wilson, R. Johnson, P. Kwan (A&M) to discuss
                                            logistics around blockchain vendor data dump and related findings
                                            report
Yan, Jack               10/5/2023     0.5   Discuss the KYC process and status update with J. Yan and J. Lam
                                            (A&M)
Zatz, Jonathan          10/5/2023     1.3   Script database to use underlying ticker when matching market
                                            activity with employee activity for bad actor analysis
Zatz, Jonathan          10/5/2023     1.6   Correspondence regarding questions related to Alameda trade data
                                            provided in response to regulator request
Zatz, Jonathan          10/5/2023     3.1   Script database to match employee trading activity with market
                                            activity for bad actor analysis
Zatz, Jonathan          10/5/2023     1.7   Script database to summarize the highest potential offenders of front-
                                            running



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Business Operations
Professional               Date     Hours    Activity
Zatz, Jonathan          10/5/2023     0.7   Summarize approach for identifying potential employee front-running

Zatz, Jonathan          10/5/2023     0.4   Call with J. Zatz, D. Wilson, R. Johnson, P. Kwan (A&M) to discuss
                                            logistics around blockchain vendor data dump and related findings
                                            report
Arbid, Rami             10/6/2023     0.7   Meeting with R. Arbid, G. Wall (A&M) to review DWTC regulations
                                            and expected steps plan
Arbid, Rami             10/6/2023     0.3   Review available materials related to FTX Dubai audit

Baker, Kevin            10/6/2023     0.5   Call with M. Flynn, R. Johnson, K. Baker (A&M) to discuss Bahamas
                                            customer balance data request
Baker, Kevin            10/6/2023     3.1   Extract all transactional data from AWS related to a specific lending
                                            request from counsel
Baker, Kevin            10/6/2023     2.3   Extract specific withdrawals related to customer accounts for internal
                                            investigation
Baker, Kevin            10/6/2023     2.7   Provide all transaction and user account information for a wide
                                            variety of wallet addresses requested by A&M internal accounting
                                            team
Baker, Kevin            10/6/2023     2.2   Assist in creation of updated pricing methodologies as they relate to
                                            customer withdrawals and deposits to the exchange
Balmelli, Gioele        10/6/2023     2.3   Review and update FTX Europe and FTX Switzerland related parties
                                            position documentation
Balmelli, Gioele        10/6/2023     2.7   Prepare slides for Monday's call with the Swiss administrator

Callerio, Lorenzo       10/6/2023     0.4   Participate in a meeting with A. Titus, S. Glustein, S. Paolinetti and
                                            L. Callerio (A&M) re: outstanding tokens
Callerio, Lorenzo       10/6/2023     1.2   Review the updated token venture investment deck prepared by S.
                                            Paolinetti (A&M)
Callerio, Lorenzo       10/6/2023     0.6   Prepare a revised version of the token outreach model including
                                            latest updates
Callerio, Lorenzo       10/6/2023     0.6   Prepare a weekly token summary to be discussed with A. Titus
                                            (A&M)
Callerio, Lorenzo       10/6/2023     0.4   Reach out to several token issuers re: outstanding vested tokens

Callerio, Lorenzo       10/6/2023     1.1   Review the inbound tracing correspondence received today


Casey, John             10/6/2023     2.9   Review and prepare strategic options analysis for European and
                                            RoW subsidiaries
Chambers, Henry         10/6/2023     0.4   Correspondence with S&C and A&M teams regarding Alameda HK
                                            assets
Chambers, Henry         10/6/2023     0.9   Review documents associated with the transfer of LiquidEx to new
                                            owners
Chan, Jon               10/6/2023     2.9   Investigate activity related to S&C internal investigation relating to
                                            specific entity and their lending activity
Chan, Jon               10/6/2023     2.1   Query database to collect balance components for accounts relating
                                            to project focus for A&M internal request

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Business Operations
Professional               Date    Hours    Activity
Chan, Jon              10/6/2023     1.6   Create reports regarding S&C internal investigation relating to
                                           specific entity and their lending activity
Chew, Ee Ling          10/6/2023     1.2   Prepare updated strategic options analysis on FTX Singapore entities


Chew, Ee Ling          10/6/2023     0.4   Prepare analysis on wind-down options for FTX Singapore entities

Chew, Ee Ling          10/6/2023     0.4   Prepare updated analysis on FTX Products

Chew, Ee Ling          10/6/2023     0.4   Prepare updated analysis on Alameda Research Singapore


Cooper, James          10/6/2023     0.4   Call with M. Cilia (FTX), J. Cooper, D. Johnston, M. van den Belt
                                           (A&M), A. Kranzley, G. Opris, E. Simpson (S&C), D. Hammon, M.
                                           Borts, N. Hernandez (E&Y) on wind-down timelines and local strike-
                                           off analysis
Dalgleish, Elizabeth   10/6/2023     1.2   Prepare updated budget Gantt chart timeline for the FTX RoW wind-
                                           down entities
Dalgleish, Elizabeth   10/6/2023     2.6   Prepare cross-functional working group deck for 6 October meeting


Dalgleish, Elizabeth   10/6/2023     0.3   Review Motion to Dismiss drafted by Sullivan & Cromwell for Zubr
                                           Exchange Ltd to identify supporting evidence required
Dalgleish, Elizabeth   10/6/2023     0.4   Review Mosley Declaration drafted by Sullivan & Cromwell for Zubr
                                           Exchange Ltd to identify supporting evidence required
Dusendschon, Kora      10/6/2023     0.2   Coordinate on Cognito analysis with FTX and A&M team

Ernst, Reagan          10/6/2023     1.8   Utilize functions to create automated recovery data charts for token
                                           receivables for investments overview slide deck
Evans, Charles         10/6/2023     0.3   Correspondence with M.Van Den Belt, H.Chambers, D.Johnston and
                                           C.Evans (A&M) regarding the Bitocto wind down process
Flynn, Matthew         10/6/2023     0.5   Call with M. Flynn, R. Johnson, K. Baker (A&M) to discuss Bahamas
                                           customer balance data request
Flynn, Matthew         10/6/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M) to discuss Bahamas
                                           customer balance analysis
Flynn, Matthew         10/6/2023     0.6   Update crypto management workstream deliverable forecast for
                                           management
Flynn, Matthew         10/6/2023     1.2   Analyze FTX.COM customer trends by KYC status for management


Flynn, Matthew         10/6/2023     1.1   Analyze FTX.COM customer trends by geography for management

Flynn, Matthew         10/6/2023     0.8   Review customer data for date trends in account openings

Flynn, Matthew         10/6/2023     0.4   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P. Kwan, M.
                                           Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                           scanning service
Francis, Luke          10/6/2023     1.7   Search for creditor relationship to debtors within company records




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Professional             Date     Hours    Activity
Glustein, Steven      10/6/2023     0.4   Participate in a meeting with A. Titus, S. Glustein, S. Paolinetti and
                                          L. Callerio (A&M) re: outstanding tokens
Glustein, Steven      10/6/2023     0.8   Review coin report pricing relating to token venture investments


Glustein, Steven      10/6/2023     1.3   Update token vesting model relating to updated pricing

Heric, Andrew         10/6/2023     1.3   Conduct a comparison analysis of counterparty interactions within
                                          transfers to 88 unique addresses of concern
Heric, Andrew         10/6/2023     3.1   Gather over 8,000 transfers across 9 wallets and 10 blockchains
                                          each related to crypto tracing request 143
Heric, Andrew         10/6/2023     0.2   Call with L. Lambert and A. Heric (A&M) discussing request 143
                                          findings and next steps
Heric, Andrew         10/6/2023     1.1   Conduct a quality control review of the request 143 deliverable and
                                          send to the requestor
Heric, Andrew         10/6/2023     0.7   Conduct crypto tracing of three identified wallets of interest related to
                                          request 143
Heric, Andrew         10/6/2023     1.7   Create a summary analysis table of inflows, outflows, and net
                                          blockchain activity for nine request 143 wallets of interest
Iwanski, Larry        10/6/2023     0.8   Correspondence regarding investigations, data, and crypto tracing

Iwanski, Larry        10/6/2023     0.5   Review of updated deliverable related to request 144 for the tracing
                                          team
Iwanski, Larry        10/6/2023     0.9   Analysis of deliverable related to tracing request 138


Johnson, Robert       10/6/2023     1.7   Generate summary information of customers that have started KYC
                                          isolated into buckets based on account balance
Johnson, Robert       10/6/2023     0.6   Generate listing of users and balances related to specifically
                                          requested jurisdictions
Johnson, Robert       10/6/2023     0.5   Call with M. Flynn, R. Johnson, K. Baker (A&M) to discuss Bahamas
                                          customer balance data request
Johnston, David       10/6/2023     1.2   Review and update presentation relating to FTX Europe and rest of
                                          the world wind down entities
Johnston, David       10/6/2023     0.6   Review strategic options analysis for minimal activity entities

Johnston, David       10/6/2023     0.7   Review and update strategic options presentation relating to Quoine
                                          Pte
Johnston, David       10/6/2023     0.6   Review data security options for FTX EU Ltd. and Innovatia


Johnston, David       10/6/2023     0.4   Call with M. Cilia (FTX), J. Cooper, D. Johnston, M. van den Belt
                                          (A&M), A. Kranzley, G. Opris, E. Simpson (S&C), D. Hammon, M.
                                          Borts, N. Hernandez (E&Y) on wind-down timelines
Kwan, Peter           10/6/2023     0.9   Develop enhancements to data validation logic to isolate anomalies
                                          in the nss wallet activity database
Kwan, Peter           10/6/2023     0.4   Call with M. Flynn, P. Kwan, K. Ramanathan (A&M) to discuss
                                          crypto wallet database


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Professional             Date     Hours    Activity
Kwan, Peter           10/6/2023     0.4   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P. Kwan, M.
                                          Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                          scanning service
Kwan, Peter           10/6/2023     2.1   Develop user level activity summary with transaction date pricing
                                          conversions to use as reference for presenting examples of
                                          criminality or bad acting
Kwan, Peter           10/6/2023     1.2   Respond to follow-up requests from S&C to pull transaction
                                          monitoring alerts, withdrawal/kyc blocks or suspicious activity flags
                                          related to 2 distinct sets of customers
Kwan, Peter           10/6/2023     1.7   Revise summary findings from analyses performed on transaction
                                          monitoring, Ip blocking, front running for interim report research
Kwan, Peter           10/6/2023     0.7   Perform refresh of reconciliation comparing wallet tracking database
                                          against the bitcoin blockchain for validating the nss database
Kwan, Peter           10/6/2023     1.1   Review results on potential front running performed by customer
                                          accounts on the exchange based on revised methodology to detect
                                          market spikes in regard to interim report
Lam, James            10/6/2023     0.3   Review the diligence documents provided by the bidders in response
                                          to the diligence questions
Lam, James            10/6/2023     0.9   Review the wallet and customer information provided by FTX Japan
                                          teams
Lam, James            10/6/2023     0.6   Consolidate KYC status findings for selected original claimants


Lam, James            10/6/2023     0.8   Arrange meeting logistics for potential crypto asset recovery actions

Lam, James            10/6/2023     2.1   Conduct rapid assessment on bidders' response on KYC & AML
                                          questions
Lam, James            10/6/2023     0.3   Investigate wallet addresses not captured by the JP wallet database

Lam, James            10/6/2023     0.2   Investigate balances in certain wallet addresses

Lambert, Leslie       10/6/2023     1.3   Review deliverables and/or underlying support documentation
                                          responsive to current crypto tracing requests
Lambert, Leslie       10/6/2023     0.2   Call with L. Lambert and A. Heric (A&M) discussing request 143
                                          findings and next steps
Lambert, Leslie       10/6/2023     0.9   Plan and prepare strategy for various crypto tracing workstream /
                                          efforts
Lambert, Leslie       10/6/2023     0.8   Draft guidance and direction concerning open crypto tracing efforts

Lowdermilk, Quinn     10/6/2023     2.5   Update crypto tracing analysis file with identified claim information
                                          for target user
Lowdermilk, Quinn     10/6/2023     0.4   Quality control crypto tracing deliverable for request 143 outlining
                                          identified addresses
Lowdermilk, Quinn     10/6/2023     2.7   Analyze blockchain information for a targeted lender for tracing
                                          request 141
Lowdermilk, Quinn     10/6/2023     2.4   Research counterparty information for identified blockchain
                                          information


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Professional             Date     Hours    Activity
Marshall, Jonathan    10/6/2023     0.6   Review active requests and set priorities for weekend. Providing
                                          oversight for three arrows request
Mohammed, Azmat       10/6/2023     0.4   Call with R. Perubhatla (FTX), A. Mohammed (A&M) to discuss roles
                                          for legacy FTX KYC staff member
Mohammed, Azmat       10/6/2023     0.9   Oversee research on KYC matters within the legacy FTX code base

Mohammed, Azmat       10/6/2023     0.4   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P. Kwan, M.
                                          Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                          scanning service
Paolinetti, Sergio    10/6/2023     0.4   Participate in a meeting with A. Titus, S. Glustein, S. Paolinetti and
                                          L. Callerio (A&M) re: outstanding tokens
Paolinetti, Sergio    10/6/2023     1.1   Update token outreach tracker for latest correspondence with token
                                          issuers
Paolinetti, Sergio    10/6/2023     0.8   Search online for token prices for adjusted funded amount calculation

Radwanski, Igor       10/6/2023     1.4   Build summary schedule regarding Debtor activity with specified
                                          counterparty for request 142
Radwanski, Igor       10/6/2023     2.9   Quantify wallet activity for different provided addresses regarding
                                          request 142
Radwanski, Igor       10/6/2023     1.6   Extract counterparty information tied to population of addresses for
                                          request 142
Radwanski, Igor       10/6/2023     2.1   Identify transaction alerts for provided list of users

Ramanathan, Kumanan   10/6/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M) to discuss Bahamas
                                          customer balance analysis
Ramanathan, Kumanan   10/6/2023     1.2   Review of crypto coin report and provide feedback and revisions

Ramanathan, Kumanan   10/6/2023     0.2   Call with K. Greer (Galaxy) to discuss trading matters

Ramanathan, Kumanan   10/6/2023     0.8   Review digital asset bridge and provide feedback on changes


Sagen, Daniel         10/6/2023     1.2   Discussion with A. Selwood and D. Sagen (A&M) to review 9/29 coin
                                          report and outputs
Sagen, Daniel         10/6/2023     1.6   Correspondence with various market maker partners to facilitate
                                          conversion of stablecoin to fiat
Sagen, Daniel         10/6/2023     0.7   Actualize stablecoin conversion budget 10 with commentary,
                                          distribute with E. Taraba (A&M)
Sagen, Daniel         10/6/2023     2.2   Prepare stablecoin and other crypto conversion budget 11, distribute
                                          with E. Taraba (A&M)
Sagen, Daniel         10/6/2023     0.6   Respond to feedback from K. Ramanathan (A&M) regarding coin
                                          report questions
Sagen, Daniel         10/6/2023     0.6   Respond to questions from M. Cilia (FTX) regarding crypto
                                          accounting
Sagen, Daniel         10/6/2023     0.6   Revise various output schedules in 9/29 coin report for accuracy




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Business Operations
Professional                Date    Hours    Activity
Selwood, Alexa          10/6/2023     1.2   Discussion with A. Selwood and D. Sagen (A&M) to review 9/29 coin
                                            report and outputs
Selwood, Alexa          10/6/2023     0.8   Research 9/15 to 9/29 transaction data on-chain to determine legal
                                            entity allocation
Selwood, Alexa          10/6/2023     0.4   Complete quality control of 9/29 coin report for variances from 9/15
                                            coin report
Selwood, Alexa          10/6/2023     1.7   Research 10/31/2022 crypto market events for user exchange
                                            analysis
Selwood, Alexa          10/6/2023     1.3   Complete quality control of 9/29 coin report for external distribution


Selwood, Alexa          10/6/2023     1.1   Prepare 9/29 coin report for external distribution

Selwood, Alexa          10/6/2023     1.4   Prepare 9/29 variance analysis summary schedules


Sivapalu, Anan          10/6/2023     0.8   Create dax code to calculate rolling maximum of volume by month

Stockmeyer, Cullen      10/6/2023     1.4   Consolidate pricing information outstanding tokens report from
                                            machine sources
Stockmeyer, Cullen      10/6/2023     1.1   Prepare token outstanding report for CRO deck

Sunkara, Manasa         10/6/2023     2.9   Update SQL scripts regarding total activity performed by customers
                                            for bad actors presentation
Sunkara, Manasa         10/6/2023     2.6   Correspond with FTI to provide a kyc drive listing of customers with
                                            kyc level 0
Titus, Adam             10/6/2023     0.4   Participate in a meeting with A. Titus, S. Glustein, S. Paolinetti and
                                            L. Callerio (A&M) re: outstanding tokens
Titus, Adam             10/6/2023     0.8   Review proposal for tokens from potential purchaser


Titus, Adam             10/6/2023     0.4   Review response from token issuer on KYC process

van den Belt, Mark      10/6/2023     1.6   Prepare cross-functional presentation on wind down status of FTX
                                            entities for meeting on October 06
van den Belt, Mark      10/6/2023     0.9   Prepare updated PMO presentation on FTX Europe and rest of world
                                            for week ending October 6
van den Belt, Mark      10/6/2023     3.1   Prepare updated presentation on alternative plant treatment in
                                            relation to recovery rates
van den Belt, Mark      10/6/2023     1.4   Prepare updated presentation on Quoine strategic considerations


van den Belt, Mark      10/6/2023     1.4   Review Zubr court motion and supporting declaration

van den Belt, Mark      10/6/2023     1.6   Prepare updated timeline for wind-down entities of FTX


van den Belt, Mark      10/6/2023     0.4   Call with M. Cilia (FTX), J. Cooper, D. Johnston, M. van den Belt
                                            (A&M), A. Kranzley, G. Opris, E. Simpson (S&C), D. Hammon, M.
                                            Borts, N. Hernandez (E&Y) on wind-down timelines


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Professional              Date    Hours    Activity
Wall, Guy             10/6/2023     0.7   Meeting with R. Arbid, G. Wall (A&M) to review DWTC regulations
                                          and expected steps plan
Wall, Guy             10/6/2023     0.3   Review available materials related to FTX Dubai audit


Wilson, David         10/6/2023     1.3   Perform quality review on options liquidations golden source tables
                                          and compare to raw tables to ensure accuracy
Wilson, David         10/6/2023     1.7   Perform quality review on missing lends golden source tables and
                                          compare to raw tables to ensure accuracy
Wilson, David         10/6/2023     2.1   Query database to create options liquidations golden source tables
                                          containing all relevant fields for data component
Wilson, David         10/6/2023     1.8   Query database to create missing lends golden source tables
                                          containing all relevant fields for data component
Wilson, David         10/6/2023     1.4   Query database to consolidate accounts for data request related to
                                          A&M investigation
Wilson, David         10/6/2023     0.9   Improve error handling capabilities in request responder to avoid
                                          failing when searching for component not present on an exchange
Zatz, Jonathan        10/6/2023     1.2   Update database script to identify front-running by removing
                                          derivative volume changes from market events scope
Zatz, Jonathan        10/6/2023     1.1   Script database related to request for Alameda OTC transactions for
                                          specific customer
Zatz, Jonathan        10/6/2023     2.8   Script database related to request to pull examples of employee
                                          front-running
Zatz, Jonathan        10/6/2023     0.8   Correspondence related to difference between two balances tables


Arnett, Chris         10/7/2023     0.3   Revise weekly workstream dashboard for contracts, wind downs,
                                          and human resources
Baker, Kevin          10/7/2023     0.8   Assist with the documentation and user specific analytics regarding
                                          customer balances, withdrawals and deposits to the FTX exchange
Baker, Kevin          10/7/2023     2.9   Extract and report on customer transactions for a specific customer
                                          regarding an internal investigation and deliverable for counsel
Callerio, Lorenzo     10/7/2023     0.3   Review the tracing correspondence received over the weekend


Chambers, Henry       10/7/2023     1.5   Review of local legal analysis on Liquid data preservation

Johnson, Robert       10/7/2023     1.3   Begin copy process to create copy of Alameda databases for EY to
                                          allow for download to EY environment
Kwan, Peter           10/7/2023     0.6   Call with A. Canale, P. McGrath, P. Kwan (A&M) regarding
                                          liquidation of exchange balances
Kwan, Peter           10/7/2023     0.3   Troubleshoot data validation logic to isolate anomalies in the nss
                                          wallet activity database
Kwan, Peter           10/7/2023     1.8   Perform ad hoc research related to a preference payments related
                                          investigation into former intuitional customer with potential amounts
                                          due to the estate
Kwan, Peter           10/7/2023     2.1   Continue to revise summary findings from analyses performed on
                                          transaction monitoring, Ip blocking, front running for interim report
                                          research based on A&M feedback

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Business Operations
Professional               Date     Hours    Activity
Kwan, Peter             10/7/2023     0.4   Review results from transaction monitoring analysis based on
                                            historical alerts on exchange customer in the context of the interim
                                            report on criminality and bad actors
Kwan, Peter             10/7/2023     0.8   Coordinate the revision of sections of the presentation of high level
                                            findings related to interim report on criminality and bad actors
Sivapalu, Anan          10/7/2023     0.7   Create measure table in the data model to dynamically choose
                                            metric (revenue, gross fees, volume, number of fills)
Sivapalu, Anan          10/7/2023     0.6   Create dax code to calculate rolling average of volume by month

Sivapalu, Anan          10/7/2023     0.8   Develop dax code to calculate rolling maximum of volume by month


Sivapalu, Anan          10/7/2023     1.3   Develop dax code to calculate rolling minimum of volume by month

Sullivan, Christopher   10/7/2023     0.9   Incorporate comments from R. Gordon (A&M) on edits to legal
                                            entities
Sunkara, Manasa         10/7/2023     2.4   Write summary descriptions of the top three bad actors based on
                                            their excessive non economic activity
Wilson, David           10/7/2023     1.8   Write macro to generate a summary table of all files contained in
                                            final request folder to insert into email template
Wilson, David           10/7/2023     1.2   Complete user analytics request for multiple accounts related to
                                            A&M investigation of corporate entity
Wilson, David           10/7/2023     0.6   Begin macro to conduct a duplicate row quality check for every new
                                            table created
Wilson, David           10/7/2023     1.8   Pull full transaction history for accounts related to A&M investigation


Wilson, David           10/7/2023     0.7   Quality review output for S&C requested user analytics report

Wilson, David           10/7/2023     1.9   Write macro in request responder that generates a distinct list of
                                            data components for all accounts in a given user accounts table
Wilson, David           10/7/2023     1.4   Write macro in request responder that selects all required data
                                            components on the admin sheet based on the new components
                                            sheet generated
Zatz, Jonathan          10/7/2023     0.8   Script database related to request for Alameda OTC activity for
                                            specific set of users
Zhang, Qi               10/7/2023     1.1   Daily review of Integreon manual review team's work to record down
                                            issues identified for 6 Oct for 3 US team
Baker, Kevin            10/8/2023     2.9   Develop reporting and summary level analysis deposits and
                                            withdrawals for specific customers
Baker, Kevin            10/8/2023     2.8   Investigate customer wallets found on the FTX exchange for a
                                            specific internal investigation
Baker, Kevin            10/8/2023     2.9   Extract customer transactions from AWS for a specific subpoena
                                            requested by counsel
Callerio, Lorenzo       10/8/2023     0.6   Review the inbound tracing correspondence received today

Chambers, Henry         10/8/2023     0.8   Correspondence with AMT regarding local legal analysis on FTX
                                            Japan data preservation

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Business Operations
Professional                Date    Hours    Activity
Chambers, Henry         10/8/2023     0.6   Correspondence with S&C regarding FTX Japan USDT post petition
                                            deposit
Dusendschon, Kora       10/8/2023     0.1   Respond to FTI on setup of RDO required for KYC NULLS analysis


Kwan, Peter             10/8/2023     1.1   Troubleshoot logic to create user level activity summary with
                                            transaction date pricing conversions for presenting examples of
                                            criminality or bad acting
Kwan, Peter             10/8/2023     1.9   Perform additional refresh of reconciliation results comparing wallet
                                            tracking database against the bitcoin blockchain for validating the
                                            nss databases based on additional changes made by FTX
                                            development team
Sagen, Daniel           10/8/2023     1.4   Review and respond to questions received from M. Cilia (FTX)
                                            regarding crypto conversions and accounting
Sagen, Daniel           10/8/2023     0.8   Review additional commentary from M. Cilia (FTX) regarding crypto
                                            conversion schedules
Sagen, Daniel           10/8/2023     0.2   Correspondence with R. Kleiner (Galaxy) regarding delivery of
                                            Galaxy Mandate schedules
Sagen, Daniel           10/8/2023     0.9   Update various output schedules in 9/29 coin report per crypto
                                            conversion reconciliation
Sagen, Daniel           10/8/2023     0.4   Prepare updated crypto conversion schedules per research of M.
                                            Cilia (FTX) requests
Sagen, Daniel           10/8/2023     0.4   Prepare revised distributable versions of 9/29 Coin Report for
                                            external sharing
Wilson, David           10/8/2023     2.4   Run tests and add columns for components on each exchange to
                                            new macro that generates table for request emails
Wilson, David           10/8/2023     2.9   Revise code to generate tables for user analytics requests to group
                                            transactions based on EST time
Wilson, David           10/8/2023     2.6   Write script to cut large csv files into smaller csv files that can fit into
                                            xlsx workbook
Wilson, David           10/8/2023     1.4   Script database to identify 38 accounts for A&M user analytics
                                            request
Wilson, David           10/8/2023     2.8   Run tests and add columns for components on each exchange to
                                            new macro that generates list of components for data requests
Arbid, Rami             10/9/2023     0.6   Review available materials related to FTX Dubai advertisements


Arbid, Rami             10/9/2023     0.6   Review of FTX Dubai audit requirements

Arbid, Rami             10/9/2023     0.4   Call with R. Arbid, G. Wall (A&M) to discuss FTX Dubai wind down
                                            plan
Arbid, Rami             10/9/2023     0.4   Review of DWTC regulations for advertising requirements

Arnett, Chris           10/9/2023     0.3   Update weekly work stream status tracker for contracts, JPL
                                            litigation, HR, and wind downs
Baker, Kevin            10/9/2023     3.1   Report on user analytics specific to customer withdrawals from the
                                            exchange in specific time periods



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Professional              Date    Hours    Activity
Baker, Kevin          10/9/2023     3.1   Provide extracts for customer fiat withdrawals found on the
                                          exchange to support ongoing internal investigations
Baker, Kevin          10/9/2023     3.2   Extract AWS daily balance history and compare to summaries
                                          provided by counsel
Baker, Kevin          10/9/2023     0.4   Teleconference with K.Dusendschon, K.Baker, M.Sunkara,
                                          J.Marshall P.Kwan (A&M) to discuss ongoing workstreams and AWS
                                          requests
Balmelli, Gioele      10/9/2023     0.7   Prepare for call with FTX Europe AG administrator

Balmelli, Gioele      10/9/2023     1.1   Call with J. Bavaud (FTX), A. Pellizzari, T. Luginbuehl, R. Bischof
                                          (L&S), D. Knezevic, T. Zemp (HB), G. Balmelli (A&M) on FTX
                                          Europe matters
Balmelli, Gioele      10/9/2023     1.6   Set up cloud solution for FTX Europe AG back ups and related
                                          correspondence with J. Bavaud (FTX), A&M and Google Cloud
Bolduc, Jojo          10/9/2023     1.1   Review customer agreements to determine usability for FTX 2.0 sale
                                          process
Callerio, Lorenzo     10/9/2023     0.8   Research additional information on Parrot Finance in order to collect
                                          the outstanding tokens
Callerio, Lorenzo     10/9/2023     0.6   Review token receivable correspondence recently received

Casey, John           10/9/2023     0.7   Prepare analysis on strategic option procedure, advantages and
                                          disadvantages for European and RoW subsidiaries
Casey, John           10/9/2023     0.3   Prepare correspondence to Grant Thornton UK re Zubr Exchange
                                          Limited and FTX Singapore entities
Casey, John           10/9/2023     0.3   Review available materials on European and RoW subsidiaries in
                                          advance of call
Casey, John           10/9/2023     2.4   Review and prepare strategic options analysis of European and
                                          RoW subsidiaries
Casey, John           10/9/2023     1.2   Review of GTUK letter of engagement and prepare note to S&C re
                                          same
Casey, John           10/9/2023     0.3   Prepare correspondence to Grant Thornton UK re Singapore
                                          subsidiaries, letters of engagement, and information available on
                                          relevant subsidiaries
Casey, John           10/9/2023     0.4   Call with D. Johnston, M. van den Belt, J. Casey, H. McGoldrick, and
                                          J. Collis (A&M) re European and RoW subsidiary wind down update
Casey, John           10/9/2023     0.2   Call with M. van den Belt, J. Casey (A&M), G. Noble and A. Sidaway
                                          (Grant Thornton) re Quoine Pte Ltd and tax compliance
Chambers, Henry       10/9/2023     0.8   Correspondence with S&C and A&M teams regarding plan to secure
                                          Alameda Hong Kong assets
Chambers, Henry       10/9/2023     3.0   Prepare updated financial analysis for FTX Japan matching engine
                                          proposal
Chambers, Henry       10/9/2023     0.4   Analysis of FTX Japan post petition deposit balances


Chan, Jon             10/9/2023     0.4   Teleconference with J.Zatz, D.Wilson, J.Chan, R.Johnson (A&M) to
                                          discuss ongoing workstreams and AWS requests



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Business Operations
Professional                 Date    Hours    Activity
Chan, Jon                10/9/2023     2.9   Investigate activity related to FTX 2.0 questions asked by analysis
                                             group
Collis, Jack             10/9/2023     0.4   Call with D. Johnston, M. van den Belt, J. Casey, H. McGoldrick, and
                                             J. Collis (A&M) re European and RoW subsidiary wind down update
Dalgleish, Elizabeth     10/9/2023     1.4   Prepare updated summary of the Australian Customer Preference
                                             analysis to include breakdown of the customer's balance
Dalgleish, Elizabeth     10/9/2023     1.8   Prepare organizational chart for the Dotcom silo entities
                                             summarizing their wind-down status
Dalgleish, Elizabeth     10/9/2023     1.3   Prepare organizational chart for the Alameda silo entities
                                             summarizing their wind-down status
Dalgleish, Elizabeth     10/9/2023     2.1   Prepare strategic options summary of FTX Trading GmbH

Dalgleish, Elizabeth     10/9/2023     0.4   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                             discuss FTX EU Ltd matters and FTX Europe wind-down matters
Dusendschon, Kora        10/9/2023     0.3   Confer on Mirana request and analysis by reviewing information
                                             provided by FTX engineers regarding table updates
Dusendschon, Kora        10/9/2023     0.1   Correspond on Mirana/KYC related items including additional
                                             information required for S&C
Dusendschon, Kora        10/9/2023     0.1   Review data retention schedule provided by data privacy team and
                                             confer on next steps
Dusendschon, Kora        10/9/2023     0.1   Coordinate FTX EU review accounts and correspond with FTI
                                             regarding requirements
Dusendschon, Kora        10/9/2023     0.1   Coordinate with FTI and A&M on status of KYC NULLS request and
                                             RDO
Dusendschon, Kora        10/9/2023     0.1   Review requests re KYC and Mirana analysis and provide guidance
                                             to team
Dusendschon, Kora        10/9/2023     0.1   Confer on the status of Cognito API extraction


Dusendschon, Kora        10/9/2023     0.4   Review mirana Slack docs and confer internally on findings

Dusendschon, Kora        10/9/2023     0.4   Teleconference with K.Dusendschon, K.Baker, M.Sunkara,
                                             J.Marshall P.Kwan (A&M) to discuss ongoing workstreams and AWS
                                             requests
Ernst, Reagan            10/9/2023     1.3   Reconcile the legal entity in the investment tracker to contracts from
                                             various token positions
Ernst, Reagan            10/9/2023     0.8   Reconcile the position type in the investment tracker to contracts
                                             from various token positions
Flynn, Matthew           10/9/2023     0.6   Call with M. Flynn, A.Mohammed (A&M) to discuss engineering
                                             efforts progress updates
Flynn, Matthew           10/9/2023     0.6   Review crypto workstream deliverable timeline

Glustein, Steven         10/9/2023     2.4   Review token presentation relating to vested tokens not yet received

Gordon, Robert           10/9/2023     0.4   Review org chart of FTL for potential new information




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Heric, Andrew         10/9/2023     2.6   Conduct crypto tracing of two specific token agreements of concern
                                          to identify source and destination for request 141
Heric, Andrew         10/9/2023     2.9   Conduct a review of over 1,200 internal documents for wallet and
                                          user identifiers related to request 141
Heric, Andrew         10/9/2023     0.9   Identify and calculate token receipt and implications associated for
                                          crypto tracing request 141
Heric, Andrew         10/9/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding request 141
                                          process and next steps
Heric, Andrew         10/9/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding request 141
                                          findings and strategy
Heric, Andrew         10/9/2023     0.2   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                          Lowdermilk (A&M) discussing open crypto tracing requests
Heric, Andrew         10/9/2023     0.8   Summarize finds and conclusions from crypto tracing and internal
                                          document research for request 141
Iwanski, Larry        10/9/2023     0.9   Review of all crypto tracing priorities and the associated
                                          communications
Iwanski, Larry        10/9/2023     0.2   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                          Lowdermilk (A&M) discussing open crypto tracing requests
Johnson, Robert       10/9/2023     0.8   Perform data extractions related to user balance information and kyc
                                          status for current portal users
Johnson, Robert       10/9/2023     0.4   Teleconference with J. Zatz, D.Wilson, J. Chan, R. Johnson (A&M)
                                          to discuss ongoing workstreams and AWS requests
Johnson, Robert       10/9/2023     1.4   Configure and test additional user access for RDP and RDS
                                          environment for new team member
Johnson, Robert       10/9/2023     0.4   Review AWS guard duty logs to identify any instances of security
                                          issues
Johnston, David       10/9/2023     0.4   Review materials to coordinate next steps on various items: MPC
                                          Technologies, EU data, EU asset valuation
Johnston, David       10/9/2023     1.8   Prepare summary presentation on Quoine Pte, FTX Europe AG,
                                          FTX EU Ltd., FTX Turkey and MPC Technologies
Johnston, David       10/9/2023     0.4   Review Quoine Pte customer terms of service to determine nature of
                                          liabilities
Johnston, David       10/9/2023     1.1   Review updated analysis of latest offer relating to FTX Europe asset
                                          sale
Johnston, David       10/9/2023     0.4   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                          discuss FTX EU Ltd matters and FTX Europe wind-down matters
Johnston, David       10/9/2023     0.4   Call with D. Johnston, M. van den Belt, J. Casey, H. McGoldrick, and
                                          J. Collis (A&M) re European and RoW subsidiary wind down update
Johnston, David       10/9/2023     2.3   Review and update presentation relating to non-core entities
                                          treatment in plan of reorganization and summary of next steps
Kwan, Peter           10/9/2023     1.4   Perform historical futures and spot crypto pricing analysis for foreign
                                          FTX entity based out of Europe
Kwan, Peter           10/9/2023     0.9   Coordinate with two third party vendors to confirm the preservation
                                          of data related to an FTX owned subsidiary




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Business Operations
Professional             Date     Hours    Activity
Kwan, Peter           10/9/2023     1.4   Develop additional orphan check logic to isolate anomalies in the
                                          nss wallet activity database
Kwan, Peter           10/9/2023     1.6   Prepare additional data extract of detailed balance components
                                          (including withdrawals) for A&M UK team analyzing FTX entity based
                                          out of the Asia-Pacific region
Kwan, Peter           10/9/2023     0.4   Teleconference with K.Dusendschon, K.Baker, M. Sunkara, J.
                                          Marshall P. Kwan (A&M) to discuss ongoing workstreams and AWS
                                          requests
Kwan, Peter           10/9/2023     1.0   Call with A. Canale, P. McGrath, P. Kwan, K. Baker, M. Blanchard
                                          (A&M) and N. Molina (FTX) regarding lines of credit, liquidations on
                                          exchange, and exchange data
Kwan, Peter           10/9/2023     1.2   Prepare data extract of customer balances for A&M UK team
                                          analyzing FTX entity based out of the Asia-Pacific region
Kwan, Peter           10/9/2023     1.1   Research futures pricing discrepancies provided by FTX
                                          development team related to customer portal functionality release
Kwan, Peter           10/9/2023     0.8   Continue to review results from transaction monitoring analysis
                                          based on historical alerts on exchange customer in the context of
                                          the interim report on criminality and bad actors
Kwan, Peter           10/9/2023     1.3   Research related to draft responses to be provided to valuation
                                          expert in regard to the independent pricing of tokens at petition time
Lam, James            10/9/2023     0.3   Discussion with. D. Lewandowski, J. Lam, L. Chamma (A&M) re:
                                          customer claim transfers
Lam, James            10/9/2023     0.3   Follow up on request related to KYC or claim portal requests that
                                          were outstanding
Lam, James            10/9/2023     1.1   Review Quoine Pte Ltd's crypto balance records and the status of
                                          transfer
Lam, James            10/9/2023     0.3   Consolidate KYC status information on a list original claimants

Lam, James            10/9/2023     0.6   Prepare for the meeting and the handling of the Blocto wallet

Lam, James            10/9/2023     0.2   Review the weekly report on FTX JP withdrawal process


Lambert, Leslie       10/9/2023     1.1   Perform a detailed review of deliverables summarizing crypto tracing
                                          findings and observations
Lambert, Leslie       10/9/2023     0.2   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                          Lowdermilk (A&M) discussing open crypto tracing requests
Lowdermilk, Quinn     10/9/2023     2.7   Adjust crypto tracing analysis file with updated collateral amounts for
                                          tracing request 141
Lowdermilk, Quinn     10/9/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding request 141
                                          findings and strategy
Lowdermilk, Quinn     10/9/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding request 141
                                          process and next steps
Lowdermilk, Quinn     10/9/2023     2.2   Relativity review identifying correspondence between two parties for
                                          crypto tracing request 141
Lowdermilk, Quinn     10/9/2023     2.6   Analyze blockchain information for crypto tracing request 141



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Lowdermilk, Quinn     10/9/2023     0.2   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                          Lowdermilk (A&M) discussing open crypto tracing requests
Marshall, Jonathan    10/9/2023     0.4   Teleconference with K.Dusendschon, K.Baker, M.Sunkara,
                                          J.Marshall P.Kwan (A&M) to discuss ongoing workstreams and AWS
                                          requests
McGoldrick, Hugh      10/9/2023     0.4   Call with D. Johnston, M. van den Belt, J. Casey, H. McGoldrick, and
                                          J. Collis (A&M) re European and RoW subsidiary wind down update
Mohammed, Azmat       10/9/2023     0.6   Call with M. Flynn, A.Mohammed (A&M) to discuss engineering
                                          efforts progress updates
Mohammed, Azmat       10/9/2023     0.6   Document status update of FTX engineering accomplishments


Mohammed, Azmat       10/9/2023     0.3   Review research on KYC permission changes in legacy code base

Mohammed, Azmat       10/9/2023     0.4   Support development efforts related to validating wallet time series
                                          database
Paolinetti, Sergio    10/9/2023     1.2   Update token outreach tracker to account for new token vesting


Paolinetti, Sergio    10/9/2023     1.4   Search online for token issuer's different categories of tokens

Paolinetti, Sergio    10/9/2023     0.6   Confirm token transactions information on public explorers


Paolinetti, Sergio    10/9/2023     0.8   Draft emails to reach out to token issuers with receivables

Radwanski, Igor       10/9/2023     1.3   Manipulate transfer activity into deliverable format regarding request
                                          142
Radwanski, Igor       10/9/2023     2.1   Investigate written correspondences detailing on-chain activity via
                                          Relativity
Radwanski, Igor       10/9/2023     2.7   Extract transfer activity from provided wallet regarding request 142

Radwanski, Igor       10/9/2023     0.2   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                          Lowdermilk (A&M) discussing open crypto tracing requests
Ramanathan, Kumanan   10/9/2023     0.8   Review of updated BitGo staking addendum and distribute to
                                          counsel for feedback
Ramanathan, Kumanan   10/9/2023     0.9   Coordinate trading activities and obtain bids from multiple market
                                          makers
Sagen, Daniel         10/9/2023     0.4   Call with A. Selwood and D. Sagen (A&M) to discuss weekly
                                          priorities and coin report process updates
Sagen, Daniel         10/9/2023     0.7   Call with M. Cilia (FTX), R. Hoskins (RLKS), and D. Sagen (A&M) to
                                          discuss crypto accounting measures
Sagen, Daniel         10/9/2023     0.6   Advise A. Selwood (A&M) regarding updates to model mechanics of
                                          coin report variance analysis
Sagen, Daniel         10/9/2023     0.8   Prepare current value crypto summary and corresponding
                                          commentary per request from A. Titus (A&M)
Sagen, Daniel         10/9/2023     0.6   Prepare for call with M. Cilia (FTX) regarding crypto conversions and
                                          accounting procedures


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Professional                Date    Hours    Activity
Sagen, Daniel           10/9/2023     1.7   Incorporate 9/29 coin report data into Galaxy Mandate template

Sagen, Daniel           10/9/2023     0.9   Correspondence with market maker partners regarding test
                                            transactions
Sagen, Daniel           10/9/2023     0.8   Respond to questions from L. Callerio (A&M) regarding token
                                            receipts
Sagen, Daniel           10/9/2023     0.6   Provide status update to M. Cilia (FTX) on status of open requests

Selwood, Alexa          10/9/2023     0.4   Call with A. Selwood and D. Sagen (A&M) to discuss weekly
                                            priorities and coin report process updates
Selwood, Alexa          10/9/2023     1.3   Complete quality control check of coin variance analysis model

Selwood, Alexa          10/9/2023     1.8   Update coin variance report schedules for 9/29 coin report data


Selwood, Alexa          10/9/2023     1.2   Update token information in coin variance analysis

Selwood, Alexa          10/9/2023     1.3   Summarize coin variance analysis for 9/29 coin report


Selwood, Alexa          10/9/2023     1.1   Summarize Coinbase agreement for Galaxy Mandate

Simoneaux, Nicole       10/9/2023     3.1   Update subsidiary wind-down refresh deck based on updated sale
                                            bid
Stegenga, Jeffery       10/9/2023     0.4   Review of Sept fee tracker and question follow-up w/ Steve Coverick
                                            (A&M)
Stockmeyer, Cullen      10/9/2023     0.4   Review investment funded amounts for tokens based on request
                                            from plan team
Stockmeyer, Cullen      10/9/2023     1.9   Update token vesting model based on latest coin report available


Sullivan, Christopher   10/9/2023     0.9   Review updated valuation assumptions per PWP for the venture
                                            book investments
Sullivan, Christopher   10/9/2023     0.4   Review draft for proposed AHC tearsheets


Sunkara, Manasa         10/9/2023     2.9   Query the database to search for certain wallet addresses being
                                            used in withdrawal activity for a lending analysis
Sunkara, Manasa         10/9/2023     1.7   Extract the pricing for all coins listed within the exchange for internal
                                            A&M
Sunkara, Manasa         10/9/2023     2.4   Make edits to the non economic activity slides for the bad actors
                                            presentation
Sunkara, Manasa         10/9/2023     0.4   Teleconference with K.Dusendschon, K.Baker, M. Sunkara, J.
                                            Marshall P. Kwan (A&M) to discuss ongoing workstreams and AWS
                                            requests
Titus, Adam             10/9/2023     1.1   Review token receivable chart from crypto team to ensure accurate
                                            with balance on token investment tracker
Titus, Adam             10/9/2023     0.4   Email correspondence with potential token issuer on process steps
                                            including NDA


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Business Operations
Professional                 Date    Hours    Activity
Titus, Adam              10/9/2023     0.7   Provide comments to S. Paolinetti on token recommendation
                                             presentation
Titus, Adam              10/9/2023     0.8   Review token recommendation presentation for next steps


van den Belt, Mark       10/9/2023     0.3   Prepare correspondence to B. Spitz (FTX) in relation to bankruptcy
                                             notice from potential user
van den Belt, Mark       10/9/2023     3.1   Review and update preference analysis presentation on Australian
                                             user
van den Belt, Mark       10/9/2023     2.2   Prepare updated presentation on non-debtors and separate subs


van den Belt, Mark       10/9/2023     2.4   Review and update motion to dismiss of Zubr Exchange Ltd

van den Belt, Mark       10/9/2023     2.4   Prepare updated presentation on FTX Europe sale scenario


van den Belt, Mark       10/9/2023     0.4   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                             discuss FTX EU Ltd matters and FTX Europe wind-down matters
van den Belt, Mark       10/9/2023     0.4   Call with D. Johnston, M. van den Belt, J. Casey, H. McGoldrick, and
                                             J. Collis (A&M) re European and RoW subsidiary wind down update
van den Belt, Mark       10/9/2023     0.2   Call with M. van den Belt, J. Casey (A&M), G. Noble and A. Sidaway
                                             (Grant Thornton) re Quoine Pte Ltd and tax compliance
Walia, Gaurav            10/9/2023     0.8   Prepare documentation to understand the short positions on the
                                             exchange and for other Alameda balances
Walia, Gaurav            10/9/2023     0.5   Prepare template for data request form S&C


Wall, Guy                10/9/2023     0.4   Call with R. Arbid, G. Wall (A&M) to discuss FTX Dubai wind down
                                             plan
Wall, Guy                10/9/2023     1.1   Review FTX Dubai audit requirements to regulations


Wilson, David            10/9/2023     1.8   Query database to identify additional accounts related to a
                                             subsidiary of an entity for A&M investigation
Wilson, David            10/9/2023     2.3   Run quality tests to ensure new functions added to request
                                             responder automation tool work as intended
Wilson, David            10/9/2023     2.7   Script database to pull transaction history for identifiers provided for
                                             S&C data request
Zatz, Jonathan           10/9/2023     0.4   Teleconference with J.Zatz, D.Wilson, J.Chan, R.Johnson (A&M) to
                                             discuss ongoing workstreams and AWS requests
Arbid, Rami             10/10/2023     0.9   Meeting with R. Arbid, G. Wall (A&M) to review updated FTX Dubai
                                             liquidation documents
Arbid, Rami             10/10/2023     0.7   Call with R. Arbid, G. Wall (A&M) to discuss creditor position of FTX
                                             Dubai
Arnett, Chris           10/10/2023     0.3   Direct team on asset recovery research for any Belize assets


Baker, Kevin            10/10/2023     3.1   Analyze and investigate the historical balance tables available in
                                             AWS for daily customer balances




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Professional                  Date    Hours    Activity
Baker, Kevin             10/10/2023     2.8   Develop daily balance calculations for specific customers related to
                                              an internal investigation
Baker, Kevin             10/10/2023     2.4   Develop hourly balance calculations for specific customers related to
                                              an internal investigation
Baker, Kevin             10/10/2023     1.2   Analyze summary reports for customer balances and token balances
                                              for specific customers regarding an internal investigation
Balmelli, Gioele         10/10/2023     0.7   Document payment to employees from FTX.com account

Balmelli, Gioele         10/10/2023     0.5   Call with J. Bavaud (FTX), A. Pellizzari, T. Luginbuehl, R. Bischof
                                              (L&S), E. Simpson, O. de Vito Piscicelli, T. Hill (S&C), D. Knezevic,
                                              T. Zemp (HB), D. Johnston, M. van den Belt, G. Balmelli (A&M) on
                                              FTX Europe matters
Bowles, Carl             10/10/2023     0.7   Consider strategic option analysis steps for FTX Europe entities


Callerio, Lorenzo        10/10/2023     0.9   Review coin98 token documentation and agreements

Callerio, Lorenzo        10/10/2023     0.8   Review of inbound tracing correspondence


Casey, John              10/10/2023     0.9   Prepare updated analysis of local jurisdiction considerations for
                                              European and RoW subsidiaries
Casey, John              10/10/2023     1.6   Prepare updated strategic options analysis for European and RoW
                                              entities based on review comments
Casey, John              10/10/2023     1.9   Prepare step plan for contingency planning re Cypriot subsidiary

Casey, John              10/10/2023     0.6   Call with H. McGoldrick, R. Sexton, J. Casey, and J. Collis (A&M) re
                                              update on Grant Thornton letter of engagement and strategic
                                              options analysis of FTX Cyprus
Casey, John              10/10/2023     0.9   Prepare strategic options analysis for various jurisdictions and
                                              prepare correspondence re local expertise in those jurisdictions
Chambers, Henry          10/10/2023     0.3   Call with C. Evans, H. Chambers, D. Johnston, M. van den Belt
                                              (A&M) on Bitocto customer withdrawals
Chambers, Henry          10/10/2023     0.2   Call with H. Chambers, D. Johnston, M. van den Belt (A&M) on FTX
                                              Japan audit
Chambers, Henry          10/10/2023     0.4   Review latest documents relating to Bitocto wind down


Chan, Jon                10/10/2023     2.4   Investigate activity for A&M internal request related to targeted
                                              tokens
Collis, Jack             10/10/2023     0.4   Call with H. McGoldrick, R. Sexton, J. Casey, and J. Collis (A&M) re
                                              update on Grant Thornton letter of engagement and strategic
                                              options analysis of FTX Cyprus
Coverick, Steve          10/10/2023     1.3   Review and provide comments on settlement press release

Dalgleish, Elizabeth     10/10/2023     0.3   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                              discuss FTX Australia matters and FTX Europe wind-down matters
Dusendschon, Kora        10/10/2023     0.1   Review and confer on update from devs/FTX engineers on Mirana



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Professional               Date    Hours    Activity
Dusendschon, Kora     10/10/2023     0.2   Review user listing and provide feedback to FTI regarding accounts

Dusendschon, Kora     10/10/2023     0.1   Review update on KYC inventory from Sygnia and determine next
                                           steps
Dusendschon, Kora     10/10/2023     0.6   Call with M. Flynn, P. Kwan, R. Johnson, K. Dusendschon (A&M) to
                                           discuss AWS data requests
Dusendschon, Kora     10/10/2023     0.4   Teleconference with K. Dusendschon (A&M), J. Gilday, N. Wolowski
                                           (S&C), A. Bailey, D. Lee, G. Hougey (FTI) to discuss open requests
                                           and pending items
Evans, Charles        10/10/2023     0.3   Call with C. Evans, H. Chambers, D. Johnston, M. van den Belt
                                           (A&M) on Bitocto customer withdrawals
Evans, Charles        10/10/2023     0.2   Correspondence with C.Evans (A&M), M.Jonathan (FTX) regarding
                                           the Bitocto wind down and cash position
Evans, Charles        10/10/2023     0.2   Correspondence with ABNR, S&C teams, C.Evans, H.Chambers
                                           (A&M) regarding the contraction extraction for M.Jonathan (FTX)
Flynn, Matthew        10/10/2023     1.4   Analyze illiquid token balance customer entitlement quantities for
                                           S&C
Flynn, Matthew        10/10/2023     1.8   Analyze customer petition data values based on updated token
                                           pricing
Flynn, Matthew        10/10/2023     0.3   Call with M. Flynn, D. Sagen, L. Nunez (A&M) to discuss coin
                                           reporting
Flynn, Matthew        10/10/2023     0.4   Call with M. Flynn, R. Johnson (A&M) to discuss category B token
                                           values
Flynn, Matthew        10/10/2023     0.6   Call with M. Flynn, P. Kwan, R. Johnson, K. Dusendschon (A&M) to
                                           discuss AWS data requests
Flynn, Matthew        10/10/2023     0.4   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P.Kwan, M.
                                           Flynn, A.Mohammed (A&M) to discuss wallet time series data
                                           sanitization efforts
Heric, Andrew         10/10/2023     1.1   Identify and trace the destination of 101 transfers of concern related
                                           to high-priority request 145
Heric, Andrew         10/10/2023     0.7   Call with Q. Lowdermilk and A. Heric (A&M) regarding detailed
                                           approach to crypto tracing request 141 deliverable
Heric, Andrew         10/10/2023     0.5   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing methodology for priority request 145
Heric, Andrew         10/10/2023     2.1   Identify and conduct crypto tracing research on two transfers of
                                           concern related to a high-priority request
Heric, Andrew         10/10/2023     0.3   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing open tracing requests
Heric, Andrew         10/10/2023     0.6   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                           request 141 analysis
Heric, Andrew         10/10/2023     1.4   Gather transactions and associated counterparties for two unique
                                           addresses related to request 145
Heric, Andrew         10/10/2023     0.4   Call with I. Radwanski and A. Heric (A&M) discussing preliminary
                                           findings for request 145
Heric, Andrew         10/10/2023     0.6   Review two specific claims of concern related to crypto tracing
                                           request 141

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Professional               Date    Hours    Activity
Heric, Andrew         10/10/2023     0.7   Conduct open-source research related to incoming high-priority
                                           request 145
Iwanski, Larry        10/10/2023     1.2   Conduct a review of crypto tracing deliverable for request 142


Johnson, Robert       10/10/2023     0.7   Configure additional access for new users on Metabase platform and
                                           confirm functionality
Johnson, Robert       10/10/2023     1.3   Generate token level listing for specific customer to compare against
                                           claimed amounts
Johnson, Robert       10/10/2023     0.6   Call with M. Flynn, P. Kwan, R. Johnson, K. Dusendschon (A&M) to
                                           discuss AWS data requests
Johnson, Robert       10/10/2023     0.4   Call with M. Flynn, R. Johnson (A&M) to discuss category B token
                                           values
Johnston, David       10/10/2023     0.3   Call with C. Evans, H. Chambers, D. Johnston, M. van den Belt
                                           (A&M) on Bitocto customer withdrawals
Johnston, David       10/10/2023     1.3   Review and update analysis relating to specific customer's
                                           preference, activity and balance
Johnston, David       10/10/2023     0.8   Review FTX EU Ltd. customer funds return steps plan and consider
                                           updated timeline
Johnston, David       10/10/2023     0.2   Call with H. Chambers, D. Johnston, M. van den Belt (A&M) on FTX
                                           Japan audit
Johnston, David       10/10/2023     0.6   Coordinate research on new property identified, conduct online
                                           research
Johnston, David       10/10/2023     0.3   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                           discuss FTX Australia matters and FTX Europe wind-down matters
Johnston, David       10/10/2023     0.5   Call with J. Bavaud (FTX), A. Pellizzari, T. Luginbuehl, R. Bischof
                                           (L&S), E. Simpson, O. de Vito Piscicelli, T. Hill (S&C), D. Knezevic,
                                           T. Zemp (HB), D. Johnston, M. van den Belt, G. Balmelli (A&M) on
                                           FTX Europe matters
Johnston, David       10/10/2023     1.2   Finalize and distribute summary presentation on Quoine Pte, FTX
                                           Europe AG, FTX EU Ltd., FTX Turkey and MPC Technologies
Kwan, Peter           10/10/2023     0.9   Review results of additional orphan check logic to isolate anomalies
                                           in the nss wallet activity database
Kwan, Peter           10/10/2023     1.3   Develop logic to isolate trading revenues related to customers of an
                                           FTX entity based out of the Asia-Pacific region
Kwan, Peter           10/10/2023     0.6   Call with M. Flynn, P. Kwan, R. Johnson, K. Dusendschon (A&M) to
                                           discuss AWS data requests
Kwan, Peter           10/10/2023     0.4   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P. Kwan, M.
                                           Flynn, A.Mohammed (A&M) to discuss wallet time series data
                                           sanitization efforts
Kwan, Peter           10/10/2023     1.6   Prepare schedule of reference data containing full listing of ftx.com
                                           tokens, markets, futures in response to request from valuation expert
Kwan, Peter           10/10/2023     0.7   Review additional code change analysis performed by third party
                                           developers to document the historical changes made to the
                                           exchange withdrawal, deposit processing code
Kwan, Peter           10/10/2023     1.4   Prepare summary of transaction monitoring alerts to share with S&C
                                           team to characterize the prevalence of certain alert categorifies by
                                           alert severity

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Kwan, Peter            10/10/2023     1.2   Review code change analysis performed by third party developers to
                                            document the historical changes made to the API developed to
                                            interface with transaction monitoring vendors
Kwan, Peter            10/10/2023     1.7   Refine results from transaction monitoring analysis based on
                                            historical alerts on exchange customer in the context of the interim
                                            report on criminality and bad actors
Lam, James             10/10/2023     1.9   Consider the diligence response from FTX Japan on its technology
                                            initiative
Lam, James             10/10/2023     0.6   Correspondences with FTX JP team to finalize the post-petition
                                            deposit list
Lam, James             10/10/2023     0.3   Update the KYC status for selected claimants

Lam, James             10/10/2023     1.2   Review the crypto balances at some FTX JP wallets identified


Lam, James             10/10/2023     1.4   Research the Flow blockchain and the Blocto wallet

Lambert, Leslie        10/10/2023     0.3   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing open tracing requests
Lambert, Leslie        10/10/2023     1.1   Provide guidance and observations concerning an approach to
                                            analyze the flow of funds related to certain transactions
Lambert, Leslie        10/10/2023     0.4   Call with I. Radwanski and L. Lambert (A&M) discussing open
                                            tracing requests
Lowdermilk, Quinn      10/10/2023     0.5   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                            discussing methodology for priority request 145
Lowdermilk, Quinn      10/10/2023     2.6   Prepare crypto tracing analysis file with identified blockchain
                                            information for tracing request 141
Lowdermilk, Quinn      10/10/2023     0.7   Call with Q. Lowdermilk and A. Heric (A&M) regarding detailed
                                            approach to crypto tracing request 141 deliverable
Lowdermilk, Quinn      10/10/2023     2.3   Relativity review identifying correspondence between two parties in a
                                            loan agreement for tracing request 141
Lowdermilk, Quinn      10/10/2023     0.3   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing open tracing requests
Lowdermilk, Quinn      10/10/2023     0.6   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                            request 141 analysis
Lowdermilk, Quinn      10/10/2023     1.2   Analyze blockchain information to trace subsequent movement for
                                            tracing request 141
McGoldrick, Hugh       10/10/2023     0.4   Call with H. McGoldrick, R. Sexton, J. Casey, and J. Collis (A&M) re
                                            update on Grant Thornton letter of engagement and strategic
                                            options analysis of FTX Cyprus
Mohammed, Azmat        10/10/2023     0.9   Coordinate research related to changes to KYC permissions policies

Mohammed, Azmat        10/10/2023     0.4   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P.Kwan, M.
                                            Flynn, A.Mohammed (A&M) to discuss wallet time series data
                                            sanitization efforts
Mosley, Ed             10/10/2023     0.6   Review of and prepare comments to draft press release
                                            communicating plan settlement and preference policy settlement.


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Professional               Date    Hours    Activity
Paolinetti, Sergio    10/10/2023     2.3   Start building marketing slides with unvested and locked tokens for
                                           potential buyers
Paolinetti, Sergio    10/10/2023     1.6   Update presentations to reflect token conversion proposal details


Paolinetti, Sergio    10/10/2023     1.9   Calculate variance of token holdings between contract and wallet
                                           amounts
Paolinetti, Sergio    10/10/2023     1.3   Filter token list for tokens that are vesting and unlocking

Radwanski, Igor       10/10/2023     0.3   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing open tracing requests
Radwanski, Igor       10/10/2023     0.5   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing methodology for priority request 145
Radwanski, Igor       10/10/2023     0.4   Call with I. Radwanski and A. Heric (A&M) discussing preliminary
                                           findings for request 145
Radwanski, Igor       10/10/2023     0.4   Call with I. Radwanski and L. Lambert (A&M) discussing open
                                           tracing requests
Radwanski, Igor       10/10/2023     1.4   Trace transfers of interest on blockchain analytics tool for request
                                           142
Radwanski, Igor       10/10/2023     1.2   Edit deliverable to eliminate duplicate transactions for request 142

Radwanski, Igor       10/10/2023     1.8   Extract Debtor activity within target wallet regarding request 142

Radwanski, Igor       10/10/2023     1.3   Strategize methodology for priority request 145


Radwanski, Igor       10/10/2023     1.2   Extract owner wallet addresses regarding request 145

Ramanathan, Kumanan   10/10/2023     0.4   Review of potential crypto tracing investigation and provide direction
                                           to tracing team
Ramanathan, Kumanan   10/10/2023     0.4   Coordinate on execution of crypto asset management legal
                                           materials and follow up
Ramanathan, Kumanan   10/10/2023     0.3   Call with R. Perubhatla (FTX) to discuss crypto asset management
                                           topics
Ramanathan, Kumanan   10/10/2023     0.3   Review of crypto asset management notices and distribute

Ramanathan, Kumanan   10/10/2023     0.8   Review of ad hoc tear sheets and provide feedback

Sagen, Daniel         10/10/2023     0.3   Call with A. Selwood, D. Sagen, and C. Stockmeyer (A&M) to
                                           discuss token vesting schedule for Category A tokens
Sagen, Daniel         10/10/2023     1.2   Update token ownership allocation schedule within Galaxy Mandate
                                           analysis per refreshed coin report data
Sagen, Daniel         10/10/2023     0.4   Circulate 9/29 Galaxy Mandate analysis with K. Ramanathan (A&M)
                                           with commentary for review
Sagen, Daniel         10/10/2023     1.4   Call with A. Selwood and D. Sagen (A&M) to update 9/29 Coin
                                           Variance Report




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Professional                 Date    Hours    Activity
Sagen, Daniel           10/10/2023     0.8   Research and respond to request from I. Radwanski (A&M)
                                             regarding NFT transactions
Sagen, Daniel           10/10/2023     1.7   Update summaries within Galaxy Mandate token analysis per
                                             refreshed coin report data
Sagen, Daniel           10/10/2023     0.7   Provide feedback on select token mapping questions from A.
                                             Sivapalu (A&M)
Sagen, Daniel           10/10/2023     0.8   Research and respond to question from M. Cilia (FTX) regarding
                                             stablecoin conversion
Sagen, Daniel           10/10/2023     0.6   Correspondence with L. Callerio (A&M) regarding token receipts


Sagen, Daniel           10/10/2023     0.3   Call with M. Flynn, D. Sagen, L. Nunez (A&M) to discuss coin
                                             reporting
Salas Nunez, Luis       10/10/2023     0.3   Call with M. Flynn, D. Sagen, L. Nunez (A&M) to discuss coin
                                             reporting
Salas Nunez, Luis       10/10/2023     2.1   Organize data requests and workstream status update for estimation
                                             valuation work
Selwood, Alexa          10/10/2023     0.3   Call with A. Selwood, D. Sagen, and C. Stockmeyer (A&M) to
                                             discuss token vesting schedule for Category A tokens
Selwood, Alexa          10/10/2023     1.4   Call with A. Selwood and D. Sagen (A&M) to update 9/29 Coin
                                             Variance Report
Selwood, Alexa          10/10/2023     0.9   Analyze 9/29 coin report bridge for 9/29 coin report variance analysis

Selwood, Alexa          10/10/2023     1.6   Update coin variance analysis schedules


Sexton, Rachel          10/10/2023     0.4   Review umbrella GTUK engagement letter and MPC/Zubr
                                             engagement letters
Sexton, Rachel          10/10/2023     0.6   Call with H. McGoldrick, R. Sexton, J. Casey, and J. Collis (A&M) re
                                             update on Grant Thornton letter of engagement and strategic
                                             options analysis of FTX Cyprus
Sivapalu, Anan          10/10/2023     2.5   Retrieve open, high, low, close, volume pricing data from API call
                                             from data providers
Stegenga, Jeffery       10/10/2023     0.5   Review of 3rd party articles on early case hacking summaries and
                                             follow-up w/ Ed Mosley (A&M)
Stockmeyer, Cullen      10/10/2023     0.3   Call with A. Selwood, D. Sagen, and C. Stockmeyer (A&M) to
                                             discuss token vesting schedule for Category A tokens
Stockmeyer, Cullen      10/10/2023     1.1   Update report of vesting ventures for sale based on revised view of
                                             marketable tokens
Stockmeyer, Cullen      10/10/2023     1.1   Strategize analysis of vesting schedule for bridging token balances
                                             in wallets
Sunkara, Manasa         10/10/2023     1.8   Provide a summary of users that have a specific kyc level and their
                                             balances for internal A&M
Titus, Adam             10/10/2023     0.9   Review presentation recommendation for token investments

van den Belt, Mark      10/10/2023     0.3   Call with C. Evans, H. Chambers, D. Johnston, M. van den Belt
                                             (A&M) on Bitocto customer withdrawals


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Professional                 Date    Hours    Activity
van den Belt, Mark      10/10/2023     0.2   Call with H. Chambers, D. Johnston, M. van den Belt (A&M) on FTX
                                             Japan audit
van den Belt, Mark      10/10/2023     0.8   Prepare correspondence to D. Kuruvilla (A&M) on FTX EU bank
                                             accounts
van den Belt, Mark      10/10/2023     0.6   Review MOR cash actuals for March for FTX Europe entities

van den Belt, Mark      10/10/2023     1.2   Review Zubr and Japan Services KK Financials

van den Belt, Mark      10/10/2023     1.2   Review Australian customer preference analysis


van den Belt, Mark      10/10/2023     0.8   Review Turkish subsidiaries proposal and claims check

van den Belt, Mark      10/10/2023     3.1   Prepare financial analysis of potential wind down entities


van den Belt, Mark      10/10/2023     0.3   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                             discuss FTX Australia matters and FTX Europe wind-down matter
van den Belt, Mark      10/10/2023     0.5   Call with J. Bavaud (FTX), A. Pellizzari, T. Luginbuehl, R. Bischof
                                             (L&S), E. Simpson, O. de Vito Piscicelli, T. Hill (S&C), D. Knezevic,
                                             T. Zemp (HB), D. Johnston, M. van den Belt, G. Balmelli (A&M) on
                                             FTX Europe matters
Walia, Gaurav           10/10/2023     0.9   Review the claims discrepancies between 2 customer accounts
                                             requested by RLKS
Wall, Guy               10/10/2023     0.9   Meeting with R. Arbid, G. Wall (A&M) to review updated FTX Dubai
                                             liquidation documents
Wall, Guy               10/10/2023     0.7   Call with R. Arbid, G. Wall (A&M) to discuss creditor position of
                                             Dubai entity
Wilson, David           10/10/2023     1.3   Rerun and quality review output from database scripts for S&C
                                             request to separate all data by individual
Wilson, David           10/10/2023     2.9   Revise database scripts to separate each individual into different
                                             tables and files for the convenience of the S&C requester
Arbid, Rami             10/11/2023     0.6   Call with R. Arbid, G. Wall (A&M) to discuss DWTC requirements
                                             and wind down steps
Arnett, Chris           10/11/2023     0.3   Continue review of findings re: existence of Belize-based assets

Baker, Kevin            10/11/2023     2.8   Extract specific employee bonus information and transactions for all
                                             known employees for a targeted UCC request
Baker, Kevin            10/11/2023     1.9   Procure a listing of user accounts associated with any professional
                                             services firms on the exchange
Baker, Kevin            10/11/2023     0.5   Call with J. Zatz, D. Wilson, R. Johnson, and K. Baker (A&M) to
                                             discuss status of ongoing data requests
Baker, Kevin            10/11/2023     2.9   Analyze transactional data for specific customers relating to a broad
                                             subpoena request from a government agency
Baker, Kevin            10/11/2023     2.2   Test and quality assurance measures regarding the automation of
                                             data requests and export of transactions from AWS
Baker, Kevin            10/11/2023     0.4   Call with Q. Lowdermilk, L. Lambert, L. Callerio, J. Chan, and K.
                                             Baker (A&M) regarding claim validation database request

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Professional               Date    Hours    Activity
Baker, Kevin          10/11/2023     0.3   Teleconference with K. Dusendschon, J. Chan, M. Sunkara, K.
                                           Baker (A&M) to go through action items, pending requests and
                                           workstreams
Baker, Kevin          10/11/2023     3.1   Analyze and report on transactional activity for all customer
                                           accounts that do not have trading activity as part of a request from
                                           counsel
Blanchard, Madison    10/11/2023     0.3   Call with L. Clayton, P. McGrath, M. Blanchard, and A. Canale
                                           (A&M) discussing high priority request regarding loan activity
Bowles, Carl          10/11/2023     0.4   Consider strategy with respect to strategic options analysis of
                                           dormant subsidiaries throughout the group
Callerio, Lorenzo     10/11/2023     0.7   Review the final version of the unlocking and unvesting token deck
                                           prepared by S. Paolinetti (A&M)
Callerio, Lorenzo     10/11/2023     0.3   Meeting with L. Callerio, I. Radwanski, C. Stockmeyer (A&M) re:
                                           crypto tracing team developments
Callerio, Lorenzo     10/11/2023     0.7   Review the crypto tracing correspondence received today

Callerio, Lorenzo     10/11/2023     0.3   Call with L. Lambert, L. Callerio, S. Glustein, and I. Radwanski
                                           (A&M) discussing high priority request regarding loan activity
Callerio, Lorenzo     10/11/2023     0.4   Call with Q. Lowdermilk, L. Lambert, L. Callerio, J. Chan, and K.
                                           Baker (A&M) regarding claim validation database request
Casey, John           10/11/2023     0.2   Call with G. Noble (Grant Thornton) and J. Casey (A&M) re update
                                           on engagement letters for member firms
Casey, John           10/11/2023     0.4   Call with R. Sexton and J. Casey (A&M) re strategic options analysis
                                           on European and RoW subsidiaries
Casey, John           10/11/2023     0.5   Review available materials re strategic options analysis of European
                                           and RoW subsidiaries
Casey, John           10/11/2023     0.6   Prepare correspondence to S&C with execution version of Grant
                                           Thornton UK letter of engagement
Casey, John           10/11/2023     0.7   Review Grant Thornton Cyprus CVL pre-appointment letter of
                                           engagement
Casey, John           10/11/2023     0.3   Review presentation re step plan for Cypriot entity wind-down


Casey, John           10/11/2023     1.9   Review Grant Thornton Cyprus MVL letter of engagement

Casey, John           10/11/2023     0.3   Call with M. van den Belt, J. Casey, and E. Dalgleish (A&M) re
                                           update on Grant Thornton letters of engagement for member firms
Chambers, Henry       10/11/2023     0.9   Call with M. Flynn, R. Grosvenor, R. Johnson, H. Chambers (A&M)
                                           to discuss data preservation considerations
Chambers, Henry       10/11/2023     0.6   Update email to be sent to customers that filed claims outside the
                                           portal
Chambers, Henry       10/11/2023     1.3   Prepare plan to complete FTX Japan outstanding audit items


Chambers, Henry       10/11/2023     1.8   Review of FTX Japan responses on matching engine diligence

Chan, Jon             10/11/2023     0.5   Call with P. Kwan, M. Sunkara, J. Chan (A&M) to discuss status of
                                           ongoing data requests

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Professional                  Date    Hours    Activity
Chan, Jon                10/11/2023     0.4   Call with Q. Lowdermilk, L. Lambert, L. Callerio, J. Chan, and K.
                                              Baker (A&M) regarding claim validation database request
Chan, Jon                10/11/2023     0.3   Teleconference with K. Dusendschon, J. Chan, M. Sunkara, K.
                                              Baker (A&M) to go through action items, pending requests and
                                              workstreams
Clayton, Lance           10/11/2023     0.3   Call with L. Clayton, P. McGrath, M. Blanchard, and A. Canale
                                              (A&M) discussing high priority request regarding loan activity
Collis, Jack             10/11/2023     0.6   Review and amend FTX Cyprus strategic options analysis for
                                              internal comments received
Dalgleish, Elizabeth     10/11/2023     0.4   Prepare organizational chart for the WRS silo entities summarizing
                                              their wind-down status
Dalgleish, Elizabeth     10/11/2023     0.4   Prepare organizational chart for the Ventures silo entities
                                              summarizing their wind-down status
Dalgleish, Elizabeth     10/11/2023     0.7   Prepare updated Japan Services KK wind down analysis for August
                                              2023 trial balance
Dalgleish, Elizabeth     10/11/2023     1.1   Prepare one-page wind-down summaries for the relevant WRS silo
                                              entities to be included in the FTX RoW wind-down presentation
Dalgleish, Elizabeth     10/11/2023     3.1   Prepare one-page wind-down summaries for the relevant Dotcom
                                              silo entities to be included in the FTX RoW wind-down presentation
Dalgleish, Elizabeth     10/11/2023     0.8   Prepare one-page wind-down summaries for the Ventures silo
                                              entities to be included in the FTX RoW wind-down presentation
Dalgleish, Elizabeth     10/11/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                              discuss Zubr Exchange Ltd matters and FTX Europe wind-down
                                              matters
Dalgleish, Elizabeth     10/11/2023     2.6   Prepare one-page wind-down summaries for the relevant Alameda
                                              silo entities to be included in the FTX RoW wind-down presentation
Dalgleish, Elizabeth     10/11/2023     0.3   Call with M. van den Belt, J. Casey, and E. Dalgleish (AM&) re
                                              update Grant Thornton letters of engagement for member firms
Dusendschon, Kora        10/11/2023     0.2   Follow up on data privacy items and transfer of data from Asia
                                              (Singapore and Japan)
Dusendschon, Kora        10/11/2023     0.6   Review incoming KYC requests and provide guidance to team on
                                              response
Dusendschon, Kora        10/11/2023     0.6   Follow up with FTX and internally on Mirana related items

Dusendschon, Kora        10/11/2023     0.3   Teleconference with K. Dusendschon, J. Chan, M. Sunkara, K.
                                              Baker (A&M) to go through action items, pending requests and
                                              workstreams
Ernst, Reagan            10/11/2023     2.3   Assess valuation of outstanding unvested token position using black
                                              Scholes model
Evans, Charles           10/11/2023     0.2   Correspondence with C.Evans (A&M), M.Jonathan (FTX) regarding
                                              the Bitocto wind down, KYC and AML
Flynn, Matthew           10/11/2023     0.7   Call with M. Flynn, D. Sagen (A&M), H. Nachmias (Sygnia) to
                                              discuss latest crypto and security developments
Flynn, Matthew           10/11/2023     0.8   Review of illiquid tokens customer data




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Professional               Date    Hours    Activity
Flynn, Matthew        10/11/2023     0.3   Call with P. Lee and others (FTX), M. Flynn, P. Kwan, A.Mohammed
                                           (A&M) to discuss matters related to the wallet time series database
Francis, Luke         10/11/2023     1.4   Review of payments made to investment entities within the
                                           preference period
Glustein, Steven      10/11/2023     0.8   Review NDA relating to locked token sale process

Glustein, Steven      10/11/2023     0.3   Call with L. Lambert, L. Callerio, S. Glustein, and I. Radwanski
                                           (A&M) discussing high priority request regarding loan activity
Heric, Andrew         10/11/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                           request 141 deliverable
Heric, Andrew         10/11/2023     0.6   Review and notate transactions and metrics of concern regarding a
                                           wallet related to request 145
Heric, Andrew         10/11/2023     0.6   Review incoming crypto tracing team request 146 and its associated
                                           documentation
Heric, Andrew         10/11/2023     0.8   Create an analysis file and methodology for blockchain tracing
                                           request 146
Heric, Andrew         10/11/2023     0.3   Call with I. Radwanski and A. Heric (A&M) discussing methodology
                                           for request 145
Iwanski, Larry        10/11/2023     0.4   Review of periodic memo provided by outside vendor related to the
                                           original unauthorized transfer
Iwanski, Larry        10/11/2023     1.1   Review of documents related to frozen and partially frozen accounts

Johnson, Robert       10/11/2023     0.5   Call with J. Zatz, D. Wilson, R. Johnson, and K. Baker (A&M) to
                                           discuss status of ongoing data requests
Johnson, Robert       10/11/2023     1.6   Update Metabase application to incorporate latest available updates
                                           and security patches
Johnson, Robert       10/11/2023     1.6   Update and configure Metabase tables to account for new table
                                           structures and fields
Johnston, David       10/11/2023     0.3   Call with S. Aydin (FTX), D. Johnston, M. van den Belt (A&M) to
                                           discuss SNG Investments crypto deposits
Johnston, David       10/11/2023     2.8   Review and update motion to dismiss and supporting declaration for
                                           FTX non-core entity
Johnston, David       10/11/2023     0.7   Review and update summary of proposal for settlement and
                                           response relating to FTX non-core entity
Johnston, David       10/11/2023     0.1   Review available materials relating to FTX Turkey report and
                                           coordinate signing
Johnston, David       10/11/2023     2.2   Final review of FTX Turkey MASAK report and supporting analysis


Johnston, David       10/11/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                           discuss Zubr Exchange Ltd matters and FTX Europe wind-down
                                           matters
Kwan, Peter           10/11/2023     1.4   Research performed related to additional interim report topics,
                                           including criminality and bad acting on the exchange
Kwan, Peter           10/11/2023     0.3   Coordinate with A&M data, FTX developers teams to understand the
                                           mechanics on sweep address clearing on the exchange


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Kwan, Peter           10/11/2023     2.3   Develop sweep address logic to detect instances where funds were
                                           deposited but potentially unswept on the exchange
Kwan, Peter           10/11/2023     0.3   Teleconference with J. Zatz, P. Kwan, D. Wilson (A&M) to go
                                           through action items, pending requests and workstreams
Kwan, Peter           10/11/2023     1.6   Perform additional analysis to validate NSS database txns resulting
                                           in a net negative balance on any given wallet address
Kwan, Peter           10/11/2023     1.8   Prepare revised aggregate count, amount figures, by transaction
                                           monitoring alert severity, for all historical alerts received by the
                                           exchange
Kwan, Peter           10/11/2023     0.3   Call with P. Lee and others (FTX), M. Flynn, P. Kwan, A.Mohammed
                                           (A&M) to discuss matters related to the wallet time series database
Kwan, Peter           10/11/2023     1.4   Perform additional research related to follow-ups received from third
                                           party valuation expert relating to token balances by customer and
                                           month end from inception through to petition
Lambert, Leslie       10/11/2023     0.6   Prepare for various meetings and calls related to ongoing and/or
                                           upcoming crypto tracing workstreams
Lambert, Leslie       10/11/2023     1.1   Review data underlying findings and observations for a request for
                                           tracing on-chain activity
Lambert, Leslie       10/11/2023     0.6   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                           tracing request 141
Lambert, Leslie       10/11/2023     0.3   Call with L. Lambert, L. Callerio, S. Glustein, and I. Radwanski
                                           (A&M) discussing high priority request regarding loan activity
Lambert, Leslie       10/11/2023     0.4   Call with Q. Lowdermilk, L. Lambert, L. Callerio, J. Chan, and K.
                                           Baker (A&M) regarding claim validation database request
Lambert, Leslie       10/11/2023     1.2   Conduct a detailed quality control review of the deliverable and
                                           underlying documentation for a crypto tracing exercise
Lowdermilk, Quinn     10/11/2023     2.4   Analyze subsequent movement of funds for transactions tied to a
                                           loan agreement for tracing request 141
Lowdermilk, Quinn     10/11/2023     2.6   Review blockchain information between two parties in a loan
                                           agreement for tracing request 141
Lowdermilk, Quinn     10/11/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                           request 141 deliverable
Lowdermilk, Quinn     10/11/2023     2.4   Create crypto tracing deliverable outlining blockchain information for
                                           tracing request 141
Lowdermilk, Quinn     10/11/2023     0.6   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                           tracing request 141
Lowdermilk, Quinn     10/11/2023     0.4   Call with Q. Lowdermilk, L. Lambert, L. Callerio, J. Chan, and K.
                                           Baker (A&M) regarding claim validation database request
McGoldrick, Hugh      10/11/2023     1.5   Review of FTX EU strategic options analysis and determine next
                                           steps
Mohammed, Azmat       10/11/2023     0.4   Call with N. Molina and others (FTX) and A. Mohammed (A&M) to
                                           discuss engineering matters across FTX
Mohammed, Azmat       10/11/2023     0.9   Review research on KYC permission changes in legacy code base
                                           including superadmin privileges
Mohammed, Azmat       10/11/2023     0.4   Support research and coordinate development efforts related to
                                           historical KYC data practices

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Mohammed, Azmat       10/11/2023     0.3   Call with P. Lee and others (FTX), M. Flynn, P. Kwan, A.Mohammed
                                           (A&M) to discuss matters related to the wallet time series database
Paolinetti, Sergio    10/11/2023     1.8   Create situation overview slides to summarize the disputes between
                                           the estate and a token issuer
Paolinetti, Sergio    10/11/2023     1.5   Analyze discrepancy in token funding amounts for agreement with
                                           token issuer in dispute
Paolinetti, Sergio    10/11/2023     0.6   Update token vesting schedule with latest token receipts

Paolinetti, Sergio    10/11/2023     1.6   Add market data to proposal slides for token conversion


Radwanski, Igor       10/11/2023     0.3   Meeting with L. Callerio, I. Radwanski, C. Stockmeyer (A&M) re:
                                           crypto tracing team developments
Radwanski, Igor       10/11/2023     0.3   Call with I. Radwanski and A. Heric (A&M) discussing methodology
                                           for request 145
Radwanski, Igor       10/11/2023     2.9   Quantify individuals associated with list of target addresses for
                                           request 145
Radwanski, Igor       10/11/2023     0.4   Discover document on Relativity regarding an executed agreement


Radwanski, Igor       10/11/2023     2.9   Quantify wallet exposure using blockchain analytics tool for request
                                           145
Radwanski, Igor       10/11/2023     1.1   Build analysis tab to enhance on-chain investigation for request 145

Radwanski, Igor       10/11/2023     0.3   Call with L. Lambert, L. Callerio, S. Glustein, and I. Radwanski
                                           (A&M) discussing high priority request regarding loan activity
Ramanathan, Kumanan   10/11/2023     0.3   Review of trading fees on brokerage accounts and discuss with
                                           Galaxy regarding negotiations
Ramanathan, Kumanan   10/11/2023     1.2   Review of memorandum re: specific customer on FTX and line of
                                           credit situation
Ramanathan, Kumanan   10/11/2023     0.6   Review of EU privacy compliance documentations and provide
                                           feedback
Ramanathan, Kumanan   10/11/2023     0.3   Review supporting materials re: JPL transfers of crypto


Sagen, Daniel         10/11/2023     1.6   Review material token variances in coin report category A change
                                           log, prepare workplan for reconciliation
Sagen, Daniel         10/11/2023     0.7   Call with M. Flynn, D. Sagen (A&M), H. Nachmias (Sygnia) to
                                           discuss latest crypto and security developments
Sagen, Daniel         10/11/2023     0.2   Advise A. Selwood (A&M) regarding preparation of Galaxy Mandate
                                           analysis variance model template
Sagen, Daniel         10/11/2023     0.7   Review large variances in select token custody balances for vendor
                                           invoice reconciliation
Sagen, Daniel         10/11/2023     2.3   Analyze several coin report category A token changes, summarize
                                           analysis into output schedule
Sagen, Daniel         10/11/2023     0.3   Call with M. Flynn, D. Sagen (A&M) to discuss updating customer
                                           analysis inputs




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Sagen, Daniel           10/11/2023     0.4   Advise A. Selwood (A&M) regarding category A token change log
                                             analysis
Sagen, Daniel           10/11/2023     1.3   Prepare support schedule for crypto cash conversion budget 11


Sagen, Daniel           10/11/2023     0.6   Prepare disclaimers, assumptions and other commentary for crypto
                                             cash conversion budget 11, distribute with A&M team for review
Selwood, Alexa          10/11/2023     0.8   Update Category B token and claims summary for token location

Selwood, Alexa          10/11/2023     1.7   Analyze BitGo transaction data on-chain for 9/29 coin report


Selwood, Alexa          10/11/2023     1.2   Complete quality control check of Galaxy Mandate variance analysis

Selwood, Alexa          10/11/2023     1.8   Analyze variances from 9/15 to 9/29 Galaxy Mandate reports


Selwood, Alexa          10/11/2023     1.9   Create Category B token and claims summary

Selwood, Alexa          10/11/2023     1.6   Summarize variance analysis of 9/29 Galaxy Mandate report


Sexton, Rachel          10/11/2023     0.4   Call with R. Sexton and J. Casey (A&M) re strategic options analysis
                                             on European and RoW subsidiaries
Sexton, Rachel          10/11/2023     0.9   Review and amend strategic options analysis in relation to FTX rest
                                             of world entities
Sexton, Rachel          10/11/2023     0.7   Review and comment on MPC engagement letter


Stegenga, Jeffery       10/11/2023     0.6   Review of weekly PMO deck, focusing on ROW progress, next steps
                                             and potential int'l entity recoveries
Stockmeyer, Cullen      10/11/2023     0.3   Meeting with L. Callerio, I. Radwanski, C. Stockmeyer (A&M) re:
                                             crypto tracing team developments
Stockmeyer, Cullen      10/11/2023     1.7   Analyze variances in outstanding tokens based between petition
                                             date and latest coin report
Sunkara, Manasa         10/11/2023     0.5   Call with P. Kwan, M. Sunkara, J. Chan (A&M) to discuss status of
                                             ongoing data requests
Sunkara, Manasa         10/11/2023     0.3   Teleconference with K. Dusendschon, J. Chan, M. Sunkara, K.
                                             Baker (A&M) to go through action items, pending requests and
                                             workstreams
Titus, Adam             10/11/2023     1.3   Review variance report of tokens unvested and locked provided by
                                             S. Paolinetti [A&M]
Titus, Adam             10/11/2023     1.1   Review latest token receivables presentation to ensure accurate for
                                             distribution
Titus, Adam             10/11/2023     0.9   Review token third party process materials for potential buyers

Titus, Adam             10/11/2023     0.7   Proof summary on token offer based on correspondence with issuer

van den Belt, Mark      10/11/2023     0.6   Prepare correspondence to Swiss Administrator, Lenz & Staehlin in
                                             relation to FTX Cyprus wind-down matters


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van den Belt, Mark      10/11/2023     0.3   Call with S. Aydin (FTX), D. Johnston, M. van den Belt (A&M) to
                                             discuss SNG Investments crypto deposits
van den Belt, Mark      10/11/2023     0.9   Prepare correspondence to N. Simoneaux (A&M) on Turkish
                                             subsidiaries payroll and tax payouts
van den Belt, Mark      10/11/2023     3.1   Prepare presentation on financial positions of FTX wind-down entities

van den Belt, Mark      10/11/2023     1.6   Prepare updated presentation on Quoine for liabilities not on the
                                             balance sheet
van den Belt, Mark      10/11/2023     1.1   Prepare updated analysis of FTX Turkey director proposal and
                                             debtor counterproposal
van den Belt, Mark      10/11/2023     0.9   Review Quoine settlement agreement and trial balance

van den Belt, Mark      10/11/2023     3.1   Prepare balance sheet analysis for FTX Antigua entities


van den Belt, Mark      10/11/2023     1.4   Review Zubr financials for purposes of court motion

van den Belt, Mark      10/11/2023     0.8   Review SNG investments crypto deposit analysis


van den Belt, Mark      10/11/2023     0.2   Call with D. Hammon, C. Maclean, M. Borts, J. Scott (E&Y), M. van
                                             den Belt (A&M) to discuss FTX Japan Services and Zubr Exchange
                                             Ltd financials and tax compliance
van den Belt, Mark      10/11/2023     0.3   Call with M. van den Belt, J. Casey, and E. Dalgleish (AM&) re
                                             update Grant Thornton letters of engagement for member firms
van den Belt, Mark      10/11/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                             discuss Zubr Exchange Ltd matters and FTX Europe wind-down
                                             matters
Wall, Guy               10/11/2023     0.6   Call with R. Arbid, G. Wall (A&M) to discuss DWTC requirements
                                             and wind down steps
Wall, Guy               10/11/2023     0.7   Review documents provided by auditor of FTX Dubai

Wilson, David           10/11/2023     0.5   Call with J. Zatz, D. Wilson, R. Johnson, and K.Baker (A&M) to
                                             discuss status of ongoing data requests
Wilson, David           10/11/2023     0.6   Review outputs of data request to ensure files for each individual are
                                             separated into different folders
Zatz, Jonathan          10/11/2023     0.5   Call with J. Zatz, D. Wilson, R. Johnson, and K. Baker (A&M) to
                                             discuss status of ongoing data requests
Zatz, Jonathan          10/11/2023     0.3   Suggest edits to communication to regulator regarding Alameda
                                             trade data request
Zatz, Jonathan          10/11/2023     1.4   Transfer large Alameda extracts to compressed directory for
                                             regulator
Zhang, Qi               10/11/2023     1.6   Daily review of Integreon manual review team's work to record down
                                             issues identified for 11 Oct for 5 UK team
Arbid, Rami             10/12/2023     0.8   Call with R. Arbid, G. Wall (A&M) to discuss FTX Dubai Liquidator
                                             requirements
Arbid, Rami             10/12/2023     0.6   Review available materials related to advertisements and steps plan



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Arnett, Chris            10/12/2023     0.3   Review and comment on excluded entities for insurance purposes

Baker, Kevin             10/12/2023     3.1   Investigate a specific user and the transactions and accounts
                                              associated with the individual to provide to counsel
Baker, Kevin             10/12/2023     1.9   Extract specific customer transactions related to all professional
                                              firms with customer accounts
Baker, Kevin             10/12/2023     2.8   Analyze transaction and activity logs for accounts associated with a
                                              specific entity for an internal investigation with counsel
Baker, Kevin             10/12/2023     2.1   Produce deposit, withdrawals and transfer transactions for specific
                                              lender customer accounts for internal investigation
Baker, Kevin             10/12/2023     2.2   Analyze all subpoena and investigation specific requests in order to
                                              develop a report to identify specific customers during the KYC
                                              process
Balmelli, Gioele         10/12/2023     0.7   Review minutes of the latest administrator meeting

Callerio, Lorenzo        10/12/2023     0.9   Review and provide comments on current version of the unlocking
                                              and unvesting token presentation
Callerio, Lorenzo        10/12/2023     0.6   Review communications received from certain token issuers re:
                                              outstanding tokens
Callerio, Lorenzo        10/12/2023     0.7   Review and approve REQ142 materials prepared by I. Radwanski
                                              (A&M)
Callerio, Lorenzo        10/12/2023     0.8   Draft a revised version of the unvesting & unlocking tokens deck to
                                              reflect comments from A. Titus (A&M)
Chambers, Henry          10/12/2023     0.8   Meeting with former Alameda employee, H. Chambers and J. Lam
                                              (A&M) to discuss access to crypto wallet
Chambers, Henry          10/12/2023     0.4   Correspondence with FTX Japan Management regarding progress
                                              on FTX Japan next steps
Chambers, Henry          10/12/2023     0.7   Prepare meeting notes for S&C post meeting with Alameda
                                              employee
Chambers, Henry          10/12/2023     1.3   Prepare for meeting with former Alameda employee


Chan, Jon                10/12/2023     1.3   Investigate FTT trading activity on the exchange for A&M internal
                                              request
Collis, Jack             10/12/2023     2.4   Prepare overview of strategic options for Europe and RoW
                                              jurisdictions and perform research as required
Collis, Jack             10/12/2023     0.3   Prepare updated materials in relation to investigations and litigation
                                              for RoW subsidiaries
Collis, Jack             10/12/2023     1.1   Prepare updated letter of engagement with Grant Thornton in
                                              relation to European jurisdictions
Collis, Jack             10/12/2023     0.4   Review updated director and local counsel listings provided by Mark
                                              van den Belt
Collis, Jack             10/12/2023     0.9   Update strategic options analysis for FTX Europe entities

Dalgleish, Elizabeth     10/12/2023     1.9   Prepare updated version of the SNG Investment report to amend
                                              figure references and include signature blocks


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Business Operations
Professional                Date    Hours    Activity
Dalgleish, Elizabeth   10/12/2023     0.3   Prepare one-page wind-down summary of FTX Switzerland GmbH to
                                            be included in FTX RoW wind-down presentation
Dalgleish, Elizabeth   10/12/2023     0.8   Prepare balance sheet for FTX Gibraltar for the December 31, 2022
                                            trial balance
Dalgleish, Elizabeth   10/12/2023     0.3   Prepare one-page strategic options analysis summary of Quoine Pte
                                            Ltd
Dalgleish, Elizabeth   10/12/2023     1.4   Prepare cross-functional working group deck for 13 October meeting

Dalgleish, Elizabeth   10/12/2023     0.3   Prepare strategic options analysis summary of FTX EU Ltd


Dalgleish, Elizabeth   10/12/2023     0.3   Prepare strategic options analysis summary of FTX Europe AG

Dusendschon, Kora      10/12/2023     0.4   Compile bi-weekly deck for call with R. Perubhatla (FTX) and
                                            circulate with team for comments
Dusendschon, Kora      10/12/2023     0.2   Review additional information from FTX engineers regarding Mirana
                                            requests
Dusendschon, Kora      10/12/2023     0.7   Call with M. Flynn, R. Johnson, K. Dusendschon (A&M) to discuss
                                            AWS and KYC matters
Dusendschon, Kora      10/12/2023     0.1   Confer with FTX and internally on Cognito update

Dusendschon, Kora      10/12/2023     0.2   Confer and provide guidance on various KYC related requests

Dusendschon, Kora      10/12/2023     0.2   Coordinate next steps with Sygnia regarding KYC inventory


Evans, Charles         10/12/2023     0.5   Correspondence with M.Van Den Belt, H.Chambers, D.Johnston and
                                            C.Evans (A&M), M.Jonathan (FTX) regarding the Bitocto wind down,
                                            KYC and AML
Flynn, Matthew         10/12/2023     0.5   Call with R. Perubhatla (FTX), A. Mohammed, M. Flynn (A&M) to
                                            discuss technology and engineering matters
Flynn, Matthew         10/12/2023     0.7   Call with M. Flynn, R. Johnson, K. Dusendschon (A&M) to discuss
                                            AWS and KYC matters
Flynn, Matthew         10/12/2023     0.4   Review of coin pricing agreement for S&C

Glustein, Steven       10/12/2023     2.4   Update LedgerPrime remaining assets workbook relating to token
                                            receivables
Glustein, Steven       10/12/2023     0.6   Review interested party form relating to locked token sale process

Glustein, Steven       10/12/2023     1.3   Review token receivable bridge relating to July and September coin
                                            report
Heric, Andrew          10/12/2023     0.2   Call with Q. Lowdermilk, I. Radwanski, and A. Heric (A&M) regarding
                                            crypto tracing workstream updates
Heric, Andrew          10/12/2023     0.9   Gather token amounts and associated USD values of concern for
                                            transfers identified in wallet tracing
Heric, Andrew          10/12/2023     0.4   Call with L. Lambert and A. Heric (A&M) regarding request 146
                                            findings


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Business Operations
Professional               Date    Hours    Activity
Heric, Andrew         10/12/2023     2.1   Gather and conduct source of funds tracing on a subset of additional
                                           wallets of concern related to a high-priority tracing request
Heric, Andrew         10/12/2023     1.4   Conduct a targeted review of internal documentation and wallet
                                           associations related to a high-priority crypto tracing request
Heric, Andrew         10/12/2023     3.1   Identify and notate sales data of multiple tokens of concern related
                                           to crypto tracing request 145
Iwanski, Larry        10/12/2023     0.9   Correspondence review of all related to database requests, crypto
                                           tracing, and investigations
Johnson, Robert       10/12/2023     1.2   Ingest and update KYC portal data in analysis database to allow for
                                           downstream analysis and information updates
Johnson, Robert       10/12/2023     1.2   Supplement information relating to wallet address grouping per
                                           request from crypto tracing team
Johnson, Robert       10/12/2023     1.1   Supplement wallet group information for 77 wallets per request from
                                           crypto tracing team
Johnson, Robert       10/12/2023     0.7   Call with M. Flynn, R. Johnson, K. Dusendschon (A&M) to discuss
                                           AWS and KYC matters
Johnson, Robert       10/12/2023     0.9   Generate token level listing for specific customer to compare against
                                           claimed amounts in advance of discussion with individual
Johnston, David       10/12/2023     0.7   Review execution version including final updates of FTX Turkey
                                           report to MASAK and coordinate signatures
Johnston, David       10/12/2023     0.8   Review latest draft engagement letters for appointments for wind
                                           down entities
Johnston, David       10/12/2023     0.4   Review and update latest settlement proposal with FTX employee


Krautheim, Sean       10/12/2023     0.3   Confirm user account access to database services

Kwan, Peter           10/12/2023     0.6   Coordinate with FTX developer on the research of pricing variances
                                           in the derivatives positions related to customers of a foreign FTX
                                           entity based out of Europe
Kwan, Peter           10/12/2023     1.2   Perform ad hoc research related to results of transaction monitoring
                                           alert analysis performed in support of interim report follow-up
                                           questions
Kwan, Peter           10/12/2023     1.1   Perform additional research performed related to additional interim
                                           report topics, including criminality and bad acting on the exchange
                                           with a focus on transaction monitoring alerts
Kwan, Peter           10/12/2023     0.9   Conduct additional research on pricing variances for a sample of
                                           derivatives positions related to customers of a foreign FTX entity
                                           based out of Europe
Kwan, Peter           10/12/2023     1.9   Validate data set provided to third party valuation expert containing
                                           token balances by customer and month end from inception through
                                           to petition to demonstration accuracy of logic
Kwan, Peter           10/12/2023     1.3   Test additional logic to validate NSS database txns resulting in a net
                                           negative balance on any given wallet address
Kwan, Peter           10/12/2023     2.1   Refine logic to detect sweep addresses that were potentially
                                           unswept on the exchange in relation to creditors request for
                                           information



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Professional               Date    Hours    Activity
Kwan, Peter           10/12/2023     1.6   Review revised outputs from unswept wallet analysis to confirm
                                           historical accuracy as compared against actual blockchain data
Lam, James            10/12/2023     0.8   Meeting with former Alameda employee, H. Chambers and J. Lam
                                           (A&M) to discuss access to crypto wallet
Lam, James            10/12/2023     1.4   Summarize the meeting note and recommended actions from a
                                           discussion with a former FTX employee
Lam, James            10/12/2023     1.1   Prepare the materials and questions for the meeting with former FTX
                                           employee
Lam, James            10/12/2023     1.8   Finalize the return list of post-petition deposits for FTX Japan


Lam, James            10/12/2023     0.3   Review the proposed transfers from Quoine Pte

Lambert, Leslie       10/12/2023     0.8   Prepare observations and objectives for various calls related to
                                           crypto tracing and blockchain analysis
Lambert, Leslie       10/12/2023     0.7   Perform a detailed review of deliverable detailing crypto tracing
                                           findings and observations
Lambert, Leslie       10/12/2023     0.6   Review communications and support documentation relevant to
                                           crypto tracing workstream
Lambert, Leslie       10/12/2023     0.5   Call with I. Radwanski and L. Lambert (A&M) discussing updates for
                                           open requests
Lambert, Leslie       10/12/2023     0.4   Call with L. Lambert and A. Heric (A&M) regarding request 146
                                           findings
Lambert, Leslie       10/12/2023     1.1   Consider findings and observations from blockchain analysis


Lowdermilk, Quinn     10/12/2023     2.4   Prepare crypto tracing analysis file with identified blockchain
                                           information for crypto tracing request
Lowdermilk, Quinn     10/12/2023     0.2   Call with Q. Lowdermilk, I. Radwanski, and A. Heric (A&M) regarding
                                           crypto tracing workstream updates
Lowdermilk, Quinn     10/12/2023     2.6   Adjust crypto tracing deliverable for management comments adding
                                           counterparty designations for tracing request 141
Lowdermilk, Quinn     10/12/2023     2.4   Update crypto tracing deliverable outlining loan history with select
                                           counterparty
McGoldrick, Hugh      10/12/2023     1.0   Prepare for weekly call on FTX wind-down entities by reviewing
                                           strategic options analysis and steps plans for FTX Europe and rest
                                           of world entities
Mohammed, Azmat       10/12/2023     0.5   Call with R. Perubhatla (FTX), A. Mohammed, M. Flynn (A&M) to
                                           discuss technology and engineering matters
Mohammed, Azmat       10/12/2023     1.4   Review research materials related to KYC permissions and limits
                                           changes over time and IP-based transaction blocks
Mohammed, Azmat       10/12/2023     0.3   Update engineering status slides for FTX leadership

Paolinetti, Sergio    10/12/2023     1.8   Build deck summarizing token funding and vesting schedule for
                                           negotiations with token issuer
Paolinetti, Sergio    10/12/2023     1.3   Populate data room with token issuer's description and link it to
                                           venture sales slides


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Professional               Date    Hours    Activity
Paolinetti, Sergio    10/12/2023     1.4   Add to token outreach tracker newly found tokens and prepare first
                                           contact information
Paolinetti, Sergio    10/12/2023     0.9   Update marketing token deck with wallet amounts on the executive
                                           summary
Paolinetti, Sergio    10/12/2023     0.6   Search for token issuer's description online for marketing purposes

Paolinetti, Sergio    10/12/2023     1.1   Confirm token transactions with Sygnia and BitGo team

Radwanski, Igor       10/12/2023     0.2   Call with Q. Lowdermilk, I. Radwanski, and A. Heric (A&M) regarding
                                           crypto tracing workstream updates
Radwanski, Igor       10/12/2023     1.8   Enhance analysis tab to include entity attributions from multiple
                                           internal repositories
Radwanski, Igor       10/12/2023     2.8   Extract target wallet exposure with Debtor entities for request 145


Radwanski, Igor       10/12/2023     2.7   Quantify sale activity regarding request 145

Radwanski, Igor       10/12/2023     0.5   Call with I. Radwanski and L. Lambert (A&M) discussing updates for
                                           open requests
Ramanathan, Kumanan   10/12/2023     0.2   Call with L. Abendschein, C. Raynercook (Coinbase), R. Perubhatla
                                           (FTX) to discuss crypto trading matters
Ramanathan, Kumanan   10/12/2023     0.3   Draft disclaimer text and distribute to counsel and J. Ray (FTX)
                                           including immaterials
Ramanathan, Kumanan   10/12/2023     0.3   Meet with J. Riezman (GSR) to discuss crypto asset management
                                           and other matters
Ramanathan, Kumanan   10/12/2023     0.4   Coordinate with BitGo and market-maker re: pending trading on-
                                           chain transfer
Ramanathan, Kumanan   10/12/2023     0.8   Provide direction on presentation materials for customer portal and
                                           KYC process
Ramanathan, Kumanan   10/12/2023     0.6   Review of final BitGo staking addendum and distribute for execution

Ramanathan, Kumanan   10/12/2023     1.1   Meet with T. Chen (BitGo) to discuss crypto staking and other
                                           matters
Ramanathan, Kumanan   10/12/2023     0.3   Review of historical materials re: bar dates

Sagen, Daniel         10/12/2023     1.3   Correspondence with BitGo team regarding reconciliation of bridge
                                           transactions in cold storage transaction data
Sagen, Daniel         10/12/2023     0.7   Correspondence with BitGo team regarding reconciliation of
                                           custodied assets for monthly invoice calculations
Sagen, Daniel         10/12/2023     1.7   Update 9/29 coin report category A change log to incorporate
                                           additional reconciliation details
Sagen, Daniel         10/12/2023     0.9   Summarize 9/29 coin report category A change log, distribute with K.
                                           Ramanathan (A&M) for review
Sagen, Daniel         10/12/2023     0.8   Prepare commentary regarding crypto intelligence data applications,
                                           circulate with G. Walia (A&M)




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Professional                 Date    Hours    Activity
Sagen, Daniel           10/12/2023     1.2   Review 9/29 coin report category A change log updates incorporated
                                             by A. Selwood (A&M)
Sagen, Daniel           10/12/2023     0.4   Respond to questions from K. Ramanathan (A&M) regarding BitGo
                                             custody invoice reconciliation
Sagen, Daniel           10/12/2023     0.3   Call with D. Sagen and A. Selwood (A&M) to discuss Coin Report
                                             Category A Change Log
Sagen, Daniel           10/12/2023     0.7   Call with A. Holland, A. Lewis (S&C), D. Sagen, A. Selwood (A&M),
                                             A. Mott, M. Furci (Messari) regarding crypto market updates
Selwood, Alexa          10/12/2023     0.3   Call with D. Sagen and A. Selwood (A&M) to discuss coin report
                                             Category A Change Log
Selwood, Alexa          10/12/2023     1.2   Prepare Category B token and claims summary for internal A&M
                                             review
Selwood, Alexa          10/12/2023     1.7   Update output template of coin report variance analysis model


Selwood, Alexa          10/12/2023     2.7   Research transaction data on-chain for Category A change log

Selwood, Alexa          10/12/2023     1.6   Summarize Galaxy Mandate variance analysis


Selwood, Alexa          10/12/2023     0.7   Call with A. Holland, A. Lewis (S&C), D. Sagen, A. Selwood (A&M),
                                             A. Mott, M. Furci (Messari) regarding crypto market updates
Sexton, Rachel          10/12/2023     0.1   Review available materials on FTX Singapore strategic options
                                             analysis
Sexton, Rachel          10/12/2023     0.1   Call with J. Casey re: next steps with Grant Thornton


Sexton, Rachel          10/12/2023     0.4   Review and comment on FTX EU engagement letter

Sexton, Rachel          10/12/2023     0.6   Review FTX Crypto Services engagement letter


Sexton, Rachel          10/12/2023     0.6   Call with D. Johnston, M. Van Den Belt, H. McGoldrick and J. Casey
                                             (A&M) re: strategy for RoW and European subsidiaries
Simoneaux, Nicole       10/12/2023     1.6   Implement revisions to subsidiary wind-down deck for review by H.
                                             Trent (A&M)
Sivapalu, Anan          10/12/2023     0.6   Discussion regarding balance data with A. Sivapalu and P. Kwan
                                             (A&M)
Stockmeyer, Cullen      10/12/2023     1.4   Review venture token model variance to understand driver of
                                             receivable value changes from prior version
Stockmeyer, Cullen      10/12/2023     0.3   Consolidate analyses required for ongoing token receivables model
                                             needs
Stockmeyer, Cullen      10/12/2023     1.6   Finalize venture model for month to month crypto balance changes
                                             reporting
Stockmeyer, Cullen      10/12/2023     1.2   Review token marketing deck for accuracy


Titus, Adam             10/12/2023     1.0   Review process milestone of token investment to include on action
                                             items within token receivable




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Titus, Adam             10/12/2023     0.9   Update venture token investment schedules for weekly updates on
                                             equity, token and fund investments
Titus, Adam             10/12/2023     0.9   email correspondence with potential token issuer on process steps
                                             including proposal
Titus, Adam             10/12/2023     1.3   Review token investment tracker for latest details found during
                                             weekly activities
van den Belt, Mark      10/12/2023     1.1   Prepare updated SNG Investments report in relation to crypto
                                             deposits
van den Belt, Mark      10/12/2023     1.4   Prepare updated Quoine analysis in relation to balance sheet
                                             liabilities
van den Belt, Mark      10/12/2023     1.6   Prepare updates on Debtors proposal for Turkish subsidiaries

van den Belt, Mark      10/12/2023     1.3   Review FTX Gibraltar financial statements


van den Belt, Mark      10/12/2023     3.1   Review presentation on additional FTX wind-down entities

Walia, Gaurav           10/12/2023     1.3   Prepare a data request in response to certain user exclusions from
                                             the claims data
Wall, Guy               10/12/2023     0.8   Call with R. Arbid, G. Wall (A&M) to discuss FTX Dubai Liquidator
                                             requirements
Wilson, David           10/12/2023     1.2   Revise summary sheet in request responder to provide additional
                                             time and table information for each data component
Zatz, Jonathan          10/12/2023     1.8   Script database related to request to search for short evidence of
                                             specific coin on Alameda
Zatz, Jonathan          10/12/2023     1.4   Script database related to request to find any shorts of specific coin

Zhang, Qi               10/12/2023     1.2   Daily review of Integreon manual review team's work to record down
                                             issues identified for 12 Oct for 4 UK team
Baker, Kevin            10/13/2023     2.8   Assist Data Request team with analysis and extraction of AWS data
                                             related to a new subpoena request for counsel
Baker, Kevin            10/13/2023     3.1   Extract customer balances for 2021 and petition date for all US
                                             customers to support subpoena request
Baker, Kevin            10/13/2023     2.6   Extract user account records and all transactional data from AWS
                                             regarding specific email addresses
Baker, Kevin            10/13/2023     0.5   Call with R. Johnson, K. Baker, and J. Chan (A&M) to discuss status
                                             of ongoing data requests
Baker, Kevin            10/13/2023     1.2   Analyze specific subpoena requests and the user accounts
                                             associated to produce supplemental KYC information to counsel
Callerio, Lorenzo       10/13/2023     0.6   Review the inbound crypto tracing correspondence received today

Chambers, Henry         10/13/2023     0.4   Review of latest status for FTX Japan Post Petition deposits


Chambers, Henry         10/13/2023     0.7   Review update on FTX Japan Cyber security review process




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Professional                Date    Hours    Activity
Chambers, Henry        10/13/2023     1.2   Prepare plan for FTX Japan license preservation

Chambers, Henry        10/13/2023     1.1   Consider the recovery of Hong Kong based Alameda assets


Chambers, Henry        10/13/2023     1.0   Call with S. Melamed, J. Masters, S. Kojima, K. Takahashi (FTX), H.
                                            Chambers and S. Li (A&M) to discuss the audit status and restart
                                            requirements for FTX Japan
Chan, Jon              10/13/2023     0.5   Call with R. Johnson, K. Baker, and J. Chan (A&M) to discuss status
                                            of ongoing data requests
Chan, Jon              10/13/2023     2.1   Investigate activity for S&C internal request related to provided
                                            accounts
Dalgleish, Elizabeth   10/13/2023     1.4   Prepare summary of the FY23 bank account activity of MPC
                                            Technologies Pte Ltd
Dalgleish, Elizabeth   10/13/2023     0.7   Prepare monthly overview of Zubr Exchange Ltd post-petition
                                            payments
Dalgleish, Elizabeth   10/13/2023     1.6   Prepare updated version of the FTX RoW wind-down presentation to
                                            include the operational purpose of each of the entities
Dusendschon, Kora      10/13/2023     0.4   Finalize data tracker and dashboard to provide to R. Perubhatla
                                            (FTX)
Dusendschon, Kora      10/13/2023     0.2   Call with K. Dusendschon (A&M), A. Bailey, B. McMahon, D. Turton,
                                            A. Vyas, C. Miller (FTI), R. Perubhatla (FTX), J. Gilday, E. Newman
                                            (S&C) to review status of ongoing and pending data collections and
                                            preservation efforts
Dusendschon, Kora      10/13/2023     0.3   Teleconference with R. Perubhatla (FTX), K. Dusendschon and R.
                                            Johnson (A&M) to review status of AWS workstream and pending
                                            items
Ernst, Reagan          10/13/2023     0.9   Update venture investments overview deck to account for type
                                            changes in token positions
Ernst, Reagan          10/13/2023     1.2   Organize transaction hashes from LedgerPrime tokens receivable
                                            workbook
Flynn, Matthew         10/13/2023     1.1   Draft presentation for management on FTX Japan post petition
                                            deposits
Flynn, Matthew         10/13/2023     1.2   Update crypto workstream project management and deliverable
                                            tracker
Flynn, Matthew         10/13/2023     0.9   Draft management presentation on trading procedures


Flynn, Matthew         10/13/2023     0.2   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P. Kwan, M.
                                            Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                            scanning service
Flynn, Matthew         10/13/2023     0.6   Call with K. Ramanathan, M. Flynn, A. Mohammed (A&M) to discuss
                                            engineering efforts status
Glustein, Steven       10/13/2023     0.9   Update PMO slides relating to token updates


Heric, Andrew          10/13/2023     0.4   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing open tracing requests
Heric, Andrew          10/13/2023     0.2   Call with L. Lambert and A. Heric (A&M) discussing an incoming
                                            crypto tracing request

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Heric, Andrew         10/13/2023     2.6   Identify and notate token sale and transfer data associated with the
                                           third batch of 22 tokens related to crypto tracing request 145
Heric, Andrew         10/13/2023     2.3   Identify and notate token sale and transfer data associated with the
                                           second batch of 18 tokens related to crypto tracing request 145
Heric, Andrew         10/13/2023     2.7   Identify and notate token sale and transfer data associated with the
                                           first batch of 24 tokens related to crypto tracing request 145
Iwanski, Larry        10/13/2023     1.0   Review of updated deliverable for crypto tracing request 142

Johnson, Robert       10/13/2023     1.7   Adjust Metabase tables based on latest requests for new tables and
                                           information for downstream reporting
Johnson, Robert       10/13/2023     0.5   Call with R. Johnson, K. Baker, and J. Chan (A&M) to discuss status
                                           of ongoing data requests
Johnson, Robert       10/13/2023     1.2   Respond to requests for data extracts relating to customer activity
                                           and balance information
Johnson, Robert       10/13/2023     1.1   Extract and provide ticker level data from original source for
                                           requested users
Johnson, Robert       10/13/2023     0.3   Teleconference with R. Perubhatla (FTX), K. Dusendschon and R.
                                           Johnson (A&M) to review status of AWS workstream and pending
                                           items
Johnston, David       10/13/2023     0.2   Call with A. Courroy (S&C), D. Johnston, M. van den Belt (A&M) on
                                           director status of FTX entities
Johnston, David       10/13/2023     0.2   Call with M. Lambrianou (FTX), D. Johnston, M. van den Belt (A&M)
                                           on FTX EU KYC documentation
Johnston, David       10/13/2023     1.6   Review and update presentation relating to FTX global wind down
                                           entities ahead of meeting
Johnston, David       10/13/2023     0.2   Call with E. Simpson (S&C), D. Johnston, M. van den Belt (A&M) on
                                           MPC financial matters
Johnston, David       10/13/2023     0.9   Review MPC Technologies materials ahead of meeting with local
                                           director
Johnston, David       10/13/2023     1.7   Review materials received from local director of MPC Technologies


Johnston, David       10/13/2023     1.3   Review and update FTX wind down plan for solvent entities

Johnston, David       10/13/2023     0.3   Coordinate next steps for FTX Europe data management


Johnston, David       10/13/2023     0.4   Call with T. Zhang (MPC), E. Simpson (S&C), B. Yik (KGP Legal), D.
                                           Johnston, M. van den Belt (A&M) on MPC Technologies wind-down
                                           matters
Johnston, David       10/13/2023     0.4   Call with A. Kranzley, G. Opris (S&C), D. Hammon, M. Borts (E&Y),
                                           D. Johnston, M. van den Belt (A&M) on FTX wind-down entities
Kwan, Peter           10/13/2023     0.6   Draft revised response related to the preservation of all data
                                           associated with FTX subsidiary entity
Kwan, Peter           10/13/2023     1.1   Refine logic used to detect potentially unswept deposits based on
                                           using different system timestamp from AWS data
Kwan, Peter           10/13/2023     0.5   Call with J. Zatz, D. Wilson, and P. Kwan (A&M) to discuss status of
                                           ongoing data requests

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Professional                Date    Hours    Activity
Kwan, Peter            10/13/2023     0.2   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P. Kwan, M.
                                            Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                            scanning service
Kwan, Peter            10/13/2023     1.2   Perform additional research on historical transaction monitoring
                                            alerts recorded on the exchange based on feedback/comments
                                            received from S&C
Kwan, Peter            10/13/2023     1.2   Draft caveats related to unswept funds analysis performed on known
                                            sweep addresses in relation to request from creditors group
Kwan, Peter            10/13/2023     1.9   Prepare schedule of potentially unswept deposits that were detected
                                            on sweep addresses on the exchange in relation to creditors request
                                            for information
Kwan, Peter            10/13/2023     1.7   Develop additional logic to validate NSS database txns to look for
                                            orphan balances with respect to any given wallet address
Lam, James             10/13/2023     0.4   Correspondences with BitGo & Quoine Pte regarding new
                                            blockchain supported for custodian
Lam, James             10/13/2023     0.6   Follow up on KYC status enquiry and the access to BitGo master
                                            tracking list
Lam, James             10/13/2023     1.7   Consolidate the KYC status on shortlisted transfer claims data from
                                            Kroll
Lam, James             10/13/2023     0.3   Correspondence with FTX JP blockchain team about the crypto
                                            balances identified
Lam, James             10/13/2023     0.4   Seek approval for the recommended return of post-petition deposits

Lam, James             10/13/2023     0.9   Prepare for the work plan for the Blocto investigation


Lambert, Leslie        10/13/2023     0.4   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing open tracing requests
Lambert, Leslie        10/13/2023     1.2   Conduct quality control review of the approach and output for a
                                            specific request for analysis of blockchain activity
Lambert, Leslie        10/13/2023     0.2   Call with L. Lambert and A. Heric (A&M) discussing an incoming
                                            crypto tracing request
Lambert, Leslie        10/13/2023     1.4   Review data driving findings and observations relevant to a request
                                            for crypto tracing
Lambert, Leslie        10/13/2023     0.3   Provide feedback on analysis of the flow of funds related to certain
                                            transactions
Lambert, Leslie        10/13/2023     0.7   Plan and prepare approach to analyze certain transactional activity

Li, Summer             10/13/2023     1.0   Call with S. Melamed, J. Masters, S. Kojima, K. Takahashi (FTX), H.
                                            Chambers and S. Li (A&M) to discuss the audit status and restart
                                            requirements for FTX Japan
Lowdermilk, Quinn      10/13/2023     2.2   Review relativity documents attempting to locate correspondence
                                            regarding prior loans for tracing request 137
Lowdermilk, Quinn      10/13/2023     2.6   Adjust crypto tracing analysis file with identified blockchain
                                            information for crypto tracing request 143
Lowdermilk, Quinn      10/13/2023     0.4   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing open tracing requests


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Professional                 Date    Hours    Activity
Lowdermilk, Quinn       10/13/2023     2.7   Research blockchain information for transaction tied to a loan
                                             relationship for tracing request 141
Mohammed, Azmat         10/13/2023     0.8   Review responses and coordinate research for KYC permission
                                             changes in legacy code base and IP blocking code
Mohammed, Azmat         10/13/2023     0.6   Call with K. Ramanathan, M. Flynn, A. Mohammed (A&M) to discuss
                                             engineering efforts status
Mohammed, Azmat         10/13/2023     0.2   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P. Kwan, M.
                                             Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                             scanning service
Paolinetti, Sergio      10/13/2023     0.8   Track down tokens with upcoming vesting and reach out for claiming
                                             instructions
Paolinetti, Sergio      10/13/2023     1.2   Update token release schedule with new receipts and unlocking
                                             dates
Paolinetti, Sergio      10/13/2023     1.3   Reconcile token receivables with wallet amounts for a token issuer
                                             in dispute
Radwanski, Igor         10/13/2023     0.4   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                             (A&M) discussing open tracing requests
Radwanski, Igor         10/13/2023     1.8   Update analysis tab to capture investigative notes for request 145

Radwanski, Igor         10/13/2023     1.6   Cross check target addresses versus multiple internal repositories


Radwanski, Igor         10/13/2023     2.9   Quantify sale activity on blockchain scanner regarding request 145

Radwanski, Igor         10/13/2023     1.1   Update transfer details regarding request 142


Ramanathan, Kumanan     10/13/2023     0.6   Call with K. Ramanathan, M. Flynn, A. Mohammed (A&M) to discuss
                                             engineering efforts status
Ramanathan, Kumanan     10/13/2023     0.3   Call with D. Chiu, N. Molina (FTX) to discuss FTX 2.0 code-based
                                             discussions
Ramanathan, Kumanan     10/13/2023     0.4   Review of Sygnia' s summary points and presentation materials and
                                             distribute
Ramanathan, Kumanan     10/13/2023     0.3   Call with P. Kwan, K. Ramanathan (A&M) to discuss sweep address
                                             crypto matters
Ramanathan, Kumanan     10/13/2023     0.6   Coordinate with Galaxy and BitGo teams re: approvals for staking
                                             various assets
Ramanathan, Kumanan     10/13/2023     0.4   Call with R. Perubhatla (FTX) to discuss crypto asset management
                                             matters
Ramanathan, Kumanan     10/13/2023     0.4   Call A. Holland (S&C) to discuss crypto tracing matters


Selwood, Alexa          10/13/2023     1.1   Complete quality control check of Category B and claims by token
                                             summary
Titus, Adam             10/13/2023     1.3   Provide edits to token return analysis presentation based on
                                             calculations of returns
Titus, Adam             10/13/2023     1.6   Review token return analysis presentation updates based on
                                             comments


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Business Operations
Professional                 Date    Hours    Activity
Titus, Adam             10/13/2023     0.9   Draft response to email related to claiming of token positions

van den Belt, Mark      10/13/2023     0.2   Call with E. Simpson (S&C), D. Johnston, M. van den Belt (A&M) on
                                             MPC financial matters
van den Belt, Mark      10/13/2023     0.2   Call with A. Courroy (S&C), D. Johnston, M. van den Belt (A&M) on
                                             director status of FTX entities
van den Belt, Mark      10/13/2023     0.9   Prepare correspondence to A. Kranzley (S&C) in relation to DAAG
                                             Trading ownership status
van den Belt, Mark      10/13/2023     0.2   Call with M. Lambrianou (FTX), D. Johnston, M. van den Belt (A&M)
                                             on FTX EU KYC documentation
van den Belt, Mark      10/13/2023     3.1   Prepare presentation on additional wind-down entities of Alameda
                                             silo
van den Belt, Mark      10/13/2023     0.6   Prepare updated analysis in relation to settlement claim of Quoine
                                             Pte Ltd
van den Belt, Mark      10/13/2023     2.9   Prepare presentation on additional wind-down entities of Dotcom silo

van den Belt, Mark      10/13/2023     1.9   Review cross-functional workstream presentation for meeting on
                                             October 13
van den Belt, Mark      10/13/2023     0.4   Call with T. Zhang (MPC), E. Simpson (S&C), B. Yik (KGP Legal), D.
                                             Johnston, M. van den Belt (A&M) on MPC Technologies wind-down
                                             matters
van den Belt, Mark      10/13/2023     0.4   Call with A. Kranzley, G. Opris (S&C), D. Hammon, M. Borts (E&Y),
                                             D. Johnston, M. van den Belt (A&M) on FTX wind-down entities
Wilson, David           10/13/2023     2.7   Script database to pull full transactional history for multiple accounts
                                             specified in S&C subpoena request
Wilson, David           10/13/2023     0.9   Search for accounts related to identifiers provided in S&C subpoena
                                             request
Wilson, David           10/13/2023     0.5   Call with J. Zatz, D. Wilson, and P.Kwan (A&M) to discuss status of
                                             ongoing data requests findings report
Yan, Jack               10/13/2023     2.9   Perform bank reconciliation for FTX Japan group as at February and
                                             March 2023
Zatz, Jonathan          10/13/2023     1.7   Script database related to request to search for short evidence of
                                             specific coin on Alameda
Zatz, Jonathan          10/13/2023     0.5   Call with J. Zatz, D. Wilson, and P. Kwan (A&M) to discuss status of
                                             ongoing data requests
Zhang, Qi               10/13/2023     1.7   Daily review of Integreon manual review team's work to record down
                                             issues identified for 13 Oct for 5 UK team
Baker, Kevin            10/14/2023     2.3   Discuss deliverable requirements for an additional crypto subpoena
                                             related to specific FTX internal deposit addresses
Baker, Kevin            10/14/2023     2.2   Extract the top 5000 customer user balances from FTX.com and
                                             report details at the coin/ticker level
Chambers, Henry         10/14/2023     1.7   Prepare updated plan for FTX Japan license preservation options

Glustein, Steven        10/14/2023     1.1   Review SAFT agreements provided by S. Tang (LedgerPrime)
                                             relating to token investments outstanding


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Kwan, Peter            10/14/2023     0.2   Review pricing quote provided by 3rd party blockchain data vendor
                                            to confirm accuracy with respect to data validation of the nss
                                            database
Walia, Gaurav          10/14/2023     1.2   Review certain transactions for a disputed tear sheet output

Walia, Gaurav          10/14/2023     0.4   Prepare a response to a request regarding exchange balances


Wilson, David          10/14/2023     1.4   Perform quality reviews on golden source deposit and withdrawal
                                            tables to prevent data duplication
Zhang, Qi              10/14/2023     2.6   Daily review of Integreon manual review team's work to record down
                                            issues identified for 14 Oct for 4 UK and 3 US team
Arnett, Chris          10/15/2023     0.3   Review database for documents related to Bahamian property sale
                                            for possible investigation
Baker, Kevin           10/15/2023     2.6   Provide data extracts from AWS related to specific FTX deposit
                                            addresses provided as part of subpoena request
Callerio, Lorenzo      10/15/2023     0.6   Review and provide comments to a summary chart of outstanding
                                            tokens provided by S. Paolinetti (A&M)
Callerio, Lorenzo      10/15/2023     0.4   Prepare a token summary overview to be circulated to A. Titus (A&M)

Ernst, Reagan          10/15/2023     0.7   Provide updates on outstanding NDA's for a potential token position
                                            sale
Flynn, Matthew         10/15/2023     0.3   Review restructuring plan presentation

Kwan, Peter            10/15/2023     0.7   Develop reference dataset to track customer to wallet mapping to
                                            associate each wallet customer with their associate deposit or
                                            withdrawal wallets
Mosley, Ed             10/15/2023     0.2   Review of draft language for communications of the PSA
                                            announcement
Paolinetti, Sergio     10/15/2023     1.1   Forecast vested token receipts through rest of 2023

Radwanski, Igor        10/15/2023     1.6   Analyze wallet activity regarding request 148


Wilson, David          10/15/2023     1.1   Enhance create folder function in request responder automation tool
                                            to improve speed in executing requests
Wilson, David          10/15/2023     1.3   Script database to provide fills and balance data for accounts
                                            specified in A&M data request
Arnett, Chris          10/16/2023     0.9   Call with QE team, K. Ramanathan, G. Walia, D. Sagen, R. Gordon,
                                            C. Arnett (all A&M) regarding FTX exchange mechanics and overview
Baker, Kevin           10/16/2023     3.1   Extract transactional records and account information relating to a
                                            subpoena request from a government agency
Baker, Kevin           10/16/2023     0.4   Teleconference with J.Zatz, D.Wilson, and K.Baker (A&M) to
                                            discuss ongoing workstreams and AWS requests
Baker, Kevin           10/16/2023     2.9   Identify customer accounts related to a specific fund and investigate
                                            any internal transfers from these accounts
Baker, Kevin           10/16/2023     0.5   Call between S. Ehrenberg, K. Baker (A&M) and T. Millet to discuss
                                            final steps re Terraform Labs production

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Professional                Date    Hours    Activity
Baker, Kevin           10/16/2023     3.1   Analyze bank records and transactions within AWS for specific
                                            transaction hashes
Baker, Kevin           10/16/2023     1.1   Investigate specific user account related to a withdrawal wallet
                                            address to provide transactional records for an internal investigation
Balmelli, Gioele       10/16/2023     2.1   Prepare overview of FTX.com transactions to two FTX Europe AG
                                            related parties
Balmelli, Gioele       10/16/2023     0.6   Review available materials in relation to FTX Crypto Services
                                            balance sheet
Balmelli, Gioele       10/16/2023     0.8   Collect and review documents re DAAG Trading DMCC situation


Callerio, Lorenzo      10/16/2023     0.3   Meeting with L. Callerio, L. Iwanski, L. Lambert, A. Heric, C.
                                            Stockmeyer (A&M) re: crypto tracing update
Callerio, Lorenzo      10/16/2023     0.6   Prepare a list of all the open items re: token receivable workstream


Callerio, Lorenzo      10/16/2023     0.6   Review the correspondence received today re: crypto tracing
                                            activities
Chambers, Henry        10/16/2023     0.4   Prepare notes from call outlining next steps for Asia workstreams


Chambers, Henry        10/16/2023     0.3   Review FTX Japan Board of Directors pack

Coverick, Steve        10/16/2023     0.5   Call with J. Ray (FTX), S. Coverick, E. Mosley, K. Ramanathan
                                            (A&M) to discuss crypto updates
Dalgleish, Elizabeth   10/16/2023     2.3   Prepare support binder with supporting information for the Zubr
                                            Exchange Ltd Motion to Dismiss and Mosley Declaration
Dalgleish, Elizabeth   10/16/2023     0.4   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                            discuss FTX RoW wind-down matters
Dalgleish, Elizabeth   10/16/2023     0.7   Prepare updated balance sheet for Zubr Exchange Ltd for August
                                            31, 2023 trial balance
Dalgleish, Elizabeth   10/16/2023     1.6   Prepare master list of the status of the FTX RoW wind-down entities

Dalgleish, Elizabeth   10/16/2023     0.4   Prepare updated background slide for FTX Crypto Services Ltd to
                                            include detail on active contracts
Dusendschon, Kora      10/16/2023     0.4   Teleconference with P.Kwan R.Johnson, and K.Dusendschon (A&M)
                                            to discuss ongoing workstreams and AWS requests
Dusendschon, Kora      10/16/2023     0.2   Coordinate with FTI and provide status updates on requested data
                                            access
Flynn, Matthew         10/16/2023     1.2   Review Bahamas JPL customer portal presentation for management


Flynn, Matthew         10/16/2023     0.3   Review crypto wallets for recovery locations

Flynn, Matthew         10/16/2023     0.6   Review press release on customer property for S&C


Flynn, Matthew         10/16/2023     0.9   Review of updated wallet time series database reconciliation




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Professional               Date    Hours    Activity
Flynn, Matthew        10/16/2023     0.9   Update crypto workstream project plan for management

Francis, Luke         10/16/2023     1.6   Search creditor details based on relationship to Debtors on legal
                                           request to support legal findings
Francis, Luke         10/16/2023     1.3   Search creditor details based on relationship to Debtors on legal
                                           request within company records
Gordon, Robert        10/16/2023     0.4   Prepare for QE call over exchange activities by reviewing the CIM

Gordon, Robert        10/16/2023     0.9   Call with QE team, K. Ramanathan, G. Walia, D. Sagen, R. Gordon,
                                           C. Arnett (all A&M) regarding FTX exchange mechanics and overview
Heric, Andrew         10/16/2023     0.7   Identify and compare internal database records related to specific
                                           withdrawals of concern for request 147
Heric, Andrew         10/16/2023     0.3   Meeting with L. Callerio, L. Iwanski, L. Lambert, A. Heric, C.
                                           Stockmeyer (A&M) re: crypto tracing update
Heric, Andrew         10/16/2023     0.4   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing crypto tracing updates
Heric, Andrew         10/16/2023     2.6   Identify, verify, and record historical sales data for the final batch of
                                           19 tokens of concern for request 145
Heric, Andrew         10/16/2023     1.6   Confirm through blockchain analysis 12 transfers of concern and
                                           their ultimate destination for request 147
Heric, Andrew         10/16/2023     0.8   Call with I. Radwanski and A. Heric (A&M) discussing preliminary
                                           findings for request 145
Heric, Andrew         10/16/2023     0.6   Summarize findings and implications of crypto tracing and internal
                                           research for request 147
Heric, Andrew         10/16/2023     0.9   Gather and review identified database withdrawal data related to
                                           request 147
Heric, Andrew         10/16/2023     0.2   Call with L. Lambert and A. Heric (A&M) regarding crypto tracing
                                           findings for request 147 analysis
Iwanski, Larry        10/16/2023     0.3   Meeting with L. Callerio, L. Iwanski, L. Lambert, A. Heric, C.
                                           Stockmeyer (A&M) re: crypto tracing update
Iwanski, Larry        10/16/2023     1.1   Communications related to a request regarding a defi structured
                                           investment organization
Johnson, Robert       10/16/2023     1.2   Incorporate Kroll data for claims process into claims management
                                           database for reporting
Johnson, Robert       10/16/2023     0.8   Update Metabase tables to adjust for latest structure and additional
                                           fields
Johnson, Robert       10/16/2023     0.6   Prepare summary of available databases on S3 for EY


Johnston, David       10/16/2023     0.6   Coordinate next steps relating to GT engagement and MPC
                                           Technologies strategic options
Johnston, David       10/16/2023     0.8   Review historical directors for debtors, compliance status by entity
                                           for reporting purposes
Johnston, David       10/16/2023     0.4   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                           discuss FTX RoW wind-down matters




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Professional               Date    Hours    Activity
Johnston, David       10/16/2023     1.8   Review progress across Europe and Rest of world workstreams and
                                           coordinate next steps by entity
Johnston, David       10/16/2023     0.2   Call with K. Ramanathan, D. Johnston, M. van den Belt (A&M) on
                                           MPC Technologies crypto positions
Johnston, David       10/16/2023     1.8   Review and update motion to dismiss and supporting declaration for
                                           FTX Europe debtor
Johnston, David       10/16/2023     0.6   Coordinate next steps relating to FTX Europe data security and
                                           transfer
Johnston, David       10/16/2023     0.5   Call with D. Johnston and E. Mosley (A&M) to discuss dormant
                                           entity dismissal and FTX Turkey report to financial regulator
Krautheim, Sean       10/16/2023     0.7   Call with P. Kwan and S. Krautheim (A&M) to onboard information
                                           for project
Kwan, Peter           10/16/2023     2.3   Perform troubleshooting, loading of detailed alert data received from
                                           third party blockchain vendor
Kwan, Peter           10/16/2023     0.4   Teleconference with P. Kwan R. Johnson, and K.Dusendschon
                                           (A&M) to discuss ongoing workstreams and AWS requests
Kwan, Peter           10/16/2023     1.7   Prepare high level summary statistics on loaded alert data received
                                           from third party blockchain vendor
Kwan, Peter           10/16/2023     0.6   Prepare ad hoc data extracts of data received from 3rd party
                                           blockchain monitoring vendor for S&C
Kwan, Peter           10/16/2023     0.9   Perform additional reviews of code change analysis performed by
                                           third party developers to document the historical changes made to
                                           the exchange withdrawal, deposit processing code
Kwan, Peter           10/16/2023     1.9   Prepare additional data schedules for third party valuation expert
                                           based on follow-up requests received in response to existing data
                                           provided
Kwan, Peter           10/16/2023     2.1   Prepare schedule comparing, at a high-level, the total set of
                                           blockchain vendor alerts on aws vs directly from the vendor
Kwan, Peter           10/16/2023     1.8   Research additional high level points of comparison between aws
                                           and 3rd party blockchain vendor based on feedback from S&C
Lam, James            10/16/2023     0.2   Investigate an unidentified FTX Japan wallet spotted by the FTX
                                           Japan blockchain team
Lam, James            10/16/2023     0.2   Provide status update on the transfer of FTX JP post-petition
                                           deposits
Lam, James            10/16/2023     0.1   Follow up on updated information on original claimants' KYC status


Lam, James            10/16/2023     0.1   Review the weekly FTX Japan withdrawal summary report

Lam, James            10/16/2023     0.2   Review Cosmos blockchain tokens held by Quoine Pte

Lam, James            10/16/2023     0.2   Prepare the keyword list for the Blocto investigation plan


Lambert, Leslie       10/16/2023     0.2   Call with L. Lambert and A. Heric (A&M) regarding crypto tracing
                                           findings for request 147 analysis
Lambert, Leslie       10/16/2023     1.1   Communicate requests and directives in response to an effort to
                                           analyze certain blockchain activity

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Lambert, Leslie        10/16/2023     0.7   Draft comments and observations based on a review of data and on-
                                            chain activity relevant to a crypto tracing request
Lambert, Leslie        10/16/2023     0.3   Meeting with L. Callerio, L. Iwanski, L. Lambert, A. Heric, C.
                                            Stockmeyer (A&M) re: crypto tracing update
Lambert, Leslie        10/16/2023     0.6   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                            tracing request 141 deliverable and updates
Lambert, Leslie        10/16/2023     0.4   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing crypto tracing updates
Lambert, Leslie        10/16/2023     0.7   Draft communications concerning status of open requests for crypto
                                            tracing
Lowdermilk, Quinn      10/16/2023     2.7   Calculate accrued interest for loans contained in a non customer
                                            proof of claim form for tracing request 141
Lowdermilk, Quinn      10/16/2023     0.4   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing crypto tracing updates
Lowdermilk, Quinn      10/16/2023     0.6   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                            tracing request 141 deliverable and updates
Lowdermilk, Quinn      10/16/2023     2.1   Adjust crypto tracing deliverable for calculated interest and collateral
                                            payments for tracing request 141
Lowdermilk, Quinn      10/16/2023     2.6   Analyze collateral payments for loans contained in a non customer
                                            proof of claim form
McGoldrick, Hugh       10/16/2023     1.1   Review strategic options analysis in relation to BVI, Bermuda,
                                            Antigua, Singapore, Nigeria and Australia entities
Mohammed, Azmat        10/16/2023     0.6   Review research on KYC permission changes in legacy code base


Mohammed, Azmat        10/16/2023     0.6   Call with A. Stefanovich, A. Porwal, R. Wendlick (Integreon), P.
                                            Laurie (FTX), A . Mohammed (A&M) to discuss Integreon Customer
                                            Service resource quality assurance
Mosley, Ed             10/16/2023     0.5   Review and provide comments to draft communications regarding
                                            PSA
Mosley, Ed             10/16/2023     0.5   Call with D. Johnston and E. Mosley (A&M) to discuss dormant
                                            entity dismissal and FTX Turkey report to financial regulator
Paolinetti, Sergio     10/16/2023     1.3   Search online for links to claim outstanding tokens and sent them to
                                            Sygnia
Paolinetti, Sergio     10/16/2023     0.4   Include funding discrepancies on token issuer's proposal slides


Paolinetti, Sergio     10/16/2023     1.4   Calculate funding discrepancies for token issuers with SAFE+SAFT

Paolinetti, Sergio     10/16/2023     3.1   Bifurcate vesting data for outstanding and locked tokens


Paolinetti, Sergio     10/16/2023     0.7   Populate token outreach tracker with latest developments in token
                                            receivables
Radwanski, Igor        10/16/2023     0.4   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing crypto tracing updates
Radwanski, Igor        10/16/2023     0.8   Call with I. Radwanski and A. Heric (A&M) discussing preliminary
                                            findings for request 145


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Radwanski, Igor       10/16/2023     1.1   Extract wallet identifiers with current repository data for request 145

Radwanski, Igor       10/16/2023     2.8   Analyze documents to identify repayment of loan for request 148


Radwanski, Igor       10/16/2023     2.9   Identify transactions of interest using blockchain analytics tool for
                                           request 148
Ramanathan, Kumanan   10/16/2023     0.2   Call with K. Ramanathan, D. Johnston, M. van den Belt (A&M) on
                                           MPC Technologies crypto positions
Ramanathan, Kumanan   10/16/2023     0.5   Call with J. Ray (FTX), S. Coverick, E. Mosley, K. Ramanathan
                                           (A&M) to discuss crypto updates
Ramanathan, Kumanan   10/16/2023     0.3   Call with K. Ramanathan and D. Sagen (A&M) regarding workstream
                                           status update
Ramanathan, Kumanan   10/16/2023     0.2   Call with C. Rhine, S. Kurz (Galaxy) to discuss crypto asset
                                           management matters
Ramanathan, Kumanan   10/16/2023     1.1   Review of coin report variance analysis and provide feedbacks

Ramanathan, Kumanan   10/16/2023     0.9   Prepare for and review materials in advance of meeting with J. Ray
                                           (FTX)
Ramanathan, Kumanan   10/16/2023     0.9   Review of FTX EU representative selection materials

Ramanathan, Kumanan   10/16/2023     0.8   Prepare for exchange primer meeting with QE team

Ramanathan, Kumanan   10/16/2023     0.9   Call with QE team, K. Ramanathan, G. Walia, D. Sagen, R. Gordon,
                                           C. Arnett (all A&M) regarding FTX exchange mechanics and overview
Sagen, Daniel         10/16/2023     1.4   Prepare and circulate follow up responses to QE team regarding
                                           FTX exchange primer, process mechanics
Sagen, Daniel         10/16/2023     1.1   Review and revise token receipt analysis drafted by A. Selwood
                                           (A&M) per request from S&C
Sagen, Daniel         10/16/2023     0.5   Call with D. Sagen and A. Selwood (A&M) to discuss STG token
                                           information request from S&C
Sagen, Daniel         10/16/2023     1.2   Prepare summary details for M. Cilia (FTX) regarding stablecoin
                                           conversions
Sagen, Daniel         10/16/2023     0.2   Advise A. Selwood (A&M) regarding token price research for 10/13
                                           coin report refresh
Sagen, Daniel         10/16/2023     0.2   Correspondence with R. Kleiner (Galaxy) regarding crypto activity
                                           reporting matters
Sagen, Daniel         10/16/2023     0.3   Call with K. Ramanathan and D. Sagen (A&M) regarding workstream
                                           status update
Sagen, Daniel         10/16/2023     1.1   Prepare for call with QE team regarding FTX exchange mechanics
                                           and overview
Sagen, Daniel         10/16/2023     0.4   Correspondence with M. Cilia (FTX) regarding various coin report
                                           matters
Sagen, Daniel         10/16/2023     0.8   Incorporate edits to token receipt analysis




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Sagen, Daniel           10/16/2023     0.4   Meeting with L. Callerio, D. Sagen, C. Stockmeyer, A. Selwood, S.
                                             Paolinetti (A&M) to discuss tokens vesting/unlocking schedules
Sagen, Daniel           10/16/2023     0.9   Call with QE team, K. Ramanathan, G. Walia, D. Sagen, R. Gordon,
                                             C. Arnett (all A&M) regarding FTX exchange mechanics and overview
Sagen, Daniel           10/16/2023     1.3   Incorporate updates to 9/29 coin report category A token change
                                             log, distribute with summary commentary to M. Cilia (FTX)
Salas Nunez, Luis       10/16/2023     0.8   Organize valuation workflow status call and update request status
                                             tracker
Selwood, Alexa          10/16/2023     0.5   Call with D. Sagen and A. Selwood (A&M) to discuss STG token
                                             information request from S&C
Selwood, Alexa          10/16/2023     0.3   Call with D. Sagen and A. Selwood (A&M) to discuss BitGo
                                             transaction data for 10/13 coin report
Selwood, Alexa          10/16/2023     1.7   Analyze token price variances from 9/29 coin report to 10/13 coin
                                             report
Selwood, Alexa          10/16/2023     0.8   Analyze Stargate tokens by wallet group

Selwood, Alexa          10/16/2023     1.1   Research transactions on-on chain for 10/13 coin report


Selwood, Alexa          10/16/2023     1.4   Prepare token price input model for 10/13 coin report data

Selwood, Alexa          10/16/2023     1.6   Summarize Stargate tokens by legal entity and wallet group

Stegenga, Jeffery       10/16/2023     1.2   Review of customer property litigation and RSA documentation
                                             signed w/ the key committee stakeholders
Stockmeyer, Cullen      10/16/2023     1.4   Update token receivables model based on need for information
                                             related to non-debtor controlled wallet holdings
Stockmeyer, Cullen      10/16/2023     0.3   Meeting with L. Callerio, L. Iwanski, L. Lambert, A. Heric, C.
                                             Stockmeyer (A&M) re: crypto tracing update
Stockmeyer, Cullen      10/16/2023     0.4   Update token receivables analysis for need to bifurcate where
                                             tokens were received to
Stockmeyer, Cullen      10/16/2023     1.1   Prepare request for analysis of received tokens since petition date
                                             for FTX
Titus, Adam             10/16/2023     0.5   Draft schedule of token investment transactions over last week to
                                             reconcile with token investment tracker
Titus, Adam             10/16/2023     1.2   Provide comments to venture token deck to C. Stockmeyer [A&M]
                                             after completion of review call
Titus, Adam             10/16/2023     1.2   Build next step workplan for dissolutions including specific token
                                             issuers individually
Titus, Adam             10/16/2023     1.4   Run check / process for claiming tokens from issuer

van den Belt, Mark      10/16/2023     1.8   Review wind down implications of outstanding compliance
                                             requirements for FTX entities in rest of world
van den Belt, Mark      10/16/2023     0.2   Call with K. Ramanathan, D. Johnston, M. van den Belt (A&M) on
                                             MPC Technologies crypto positions




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van den Belt, Mark    10/16/2023     0.4   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                           discuss FTX RoW wind-down matters
van den Belt, Mark    10/16/2023     0.4   Prepare correspondence to D. Hammon (E&Y) in relation to crypto
                                           valuation of Zubr
van den Belt, Mark    10/16/2023     2.1   Prepare updated presentation on wind-down entities versus subcon
                                           in plan
van den Belt, Mark    10/16/2023     1.1   Prepare updated court motion for latest financials of Zubr

van den Belt, Mark    10/16/2023     1.1   Prepare filed claims overview for DAAG Trading DMCC


van den Belt, Mark    10/16/2023     0.9   Prepare financial analysis of updated balance sheet of Zubr

Walia, Gaurav         10/16/2023     1.1   Prepare an updated summary excluding a certain account from the
                                           exchange balances
Walia, Gaurav         10/16/2023     2.1   Review the updated pricing and token list and provide feedback

Walia, Gaurav         10/16/2023     1.3   Prepare summary reconciliation of a certain customer's claim


Walia, Gaurav         10/16/2023     2.2   Prepare summary exchange mechanics documentation for QE team

Walia, Gaurav         10/16/2023     0.9   Call with QE team, K. Ramanathan, G. Walia, D. Sagen, R. Gordon,
                                           C. Arnett (all A&M) regarding FTX exchange mechanics and overview
Wilson, David         10/16/2023     1.4   Identify account related to email identifier and pull full transactional
                                           history account for internal A&M data request
Wilson, David         10/16/2023     2.4   Pull full transactional history for accounts related to 29 transaction
                                           hashes for A&M data request
Wilson, David         10/16/2023     1.2   Pull withdrawal and user account information for internal A&M data
                                           request
Wilson, David         10/16/2023     2.6   Script database to provide transactional activity for individual and
                                           edit files to only include specific columns for S&C data request
Wilson, David         10/16/2023     2.8   Script database to identify all accounts related to entity, provide
                                           wildcard search results, and pull full transactional history for
                                           identified accounts
Zatz, Jonathan        10/16/2023     0.4   Teleconference with J.Zatz, D.Wilson, and K.Baker (A&M) to
                                           discuss ongoing workstreams and AWS requests
Zatz, Jonathan        10/16/2023     1.3   Script database related to request to search for specific transaction
                                           on Alameda OTC portal
Zatz, Jonathan        10/16/2023     1.7   Script database to add ticker category to master petition pricing
                                           table with considerations
Zhang, Qi             10/16/2023     1.1   Daily review of Integreon manual review team's work to record down
                                           issues identified for 16 Oct for 3 UK team
Arnett, Chris         10/17/2023     1.3   Review information compiled for FTX exchange primer at request of
                                           QE
Baker, Kevin          10/17/2023     3.0   Analyze and report on intercompany transactions for specific
                                           customer accounts on the exchange


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Baker, Kevin           10/17/2023     2.2   Analyze specific requests from counsel relating to the FTX Earn and
                                            spot margin programs
Baker, Kevin           10/17/2023     2.8   Investigate initial listing of customer names coming in through the
                                            customer claims portal to provide schedules to claims team
Balmelli, Gioele       10/17/2023     1.6   Call with J. Bavaud (FTX) G. Balmelli and P. Riabchuk (A&M) on
                                            FTX Europe back-ups cloud setup
Balmelli, Gioele       10/17/2023     0.8   Organize call with J. Bavaud (FTX) on sharing FTX Europe back-ups

Balmelli, Gioele       10/17/2023     0.6   Migrate FTX Europe AG scanned data to


Balmelli, Gioele       10/17/2023     2.6   Prepare overview payables and receivables of ex employee

Callerio, Lorenzo      10/17/2023     0.7   Reach out to certain unresponsive token issuers via alternative
                                            channels
Callerio, Lorenzo      10/17/2023     0.7   Review and provide comments on the updated token deck drafted by
                                            S. Paolinetti (A&M)
Callerio, Lorenzo      10/17/2023     0.7   Review the crypto tracing requests and correspondence received
                                            today
Callerio, Lorenzo      10/17/2023     0.6   Review the tokens vesting analysis prepared by C. Stockmeyer
                                            (A&M)
Callerio, Lorenzo      10/17/2023     0.6   Prepare an updated version of the token outreach tracker based on
                                            the latest info received
Casey, John            10/17/2023     2.1   Prepare strategic options analysis on European and Row
                                            subsidiaries
Casey, John            10/17/2023     1.6   Review materials re step plan for Cypriot CVL procedure

Casey, John            10/17/2023     0.3   Call with G. Noble (Grant Thornton) and J. Casey (A&M) re update
                                            on letters of engagement
Chambers, Henry        10/17/2023     0.6   Correspondence with PWP regarding PWP request for information
                                            on FTX Japan
Coverick, Steve        10/17/2023     0.4   Participate in Ledger Prime discussion on wind down next steps and
                                            compliance letter with FTX (J.Ray, M.Cilia, K.Schultea), S&C
                                            (S.Wheeler, others), and A&M (R.Hershan, A.Titus, E.Mosley,
                                            S.Coverick, S.Gluestein, others)
Dalgleish, Elizabeth   10/17/2023     0.4   Prepare updated PT Triniti Investama Berkat balance sheet for
                                            August 2023 trial balance
Dalgleish, Elizabeth   10/17/2023     0.4   Prepare updated FTX Crypto Services Ltd balance sheet for
                                            September 2023 management accounts
Dalgleish, Elizabeth   10/17/2023     0.6   Prepare summary of FTX EU Ltd post-petition payments by paying
                                            entity and currency
Dalgleish, Elizabeth   10/17/2023     0.3   Prepare updated FTX EMEA Ltd balance sheet for September 2023
                                            management accounts
Dalgleish, Elizabeth   10/17/2023     0.6   Prepare overview of latest FTX Europe AG bank accounts, their
                                            currency and balance
Dalgleish, Elizabeth   10/17/2023     1.2   Prepare one-page strategic options analysis of Quoine Vietnam Co.
                                            Ltd

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Dalgleish, Elizabeth   10/17/2023     0.7   Prepare updated financial analysis of Quoine India Pte Ltd

Dalgleish, Elizabeth   10/17/2023     1.4   Prepare updated support binder for Zubr Exchange Ltd to include
                                            Motion to Dismiss and Mosley Declaration from S&C and associated
                                            indexes
Dalgleish, Elizabeth   10/17/2023     1.3   Prepare slides setting out the master list of FTX RoW wind-down
                                            entities to be included in the FTX RoW wind-down presentation
Dusendschon, Kora      10/17/2023     0.1   Review data retention document from M. Flynn (A&M) and reach out
                                            to privacy team
Dusendschon, Kora      10/17/2023     0.1   Review agenda from FTI and inquire regarding pending KYC related
                                            items
Dusendschon, Kora      10/17/2023     0.1   Review KYC export information provided by Sygnia and provide
                                            feedback
Dusendschon, Kora      10/17/2023     0.7   Call with M. Flynn, K. Dusendschon (A&M) to discuss KYC requests

Dusendschon, Kora      10/17/2023     0.2   Confer and provide guidance on pending KYC requests


Dusendschon, Kora      10/17/2023     0.1   Inquire further on status of KYC NULLS report and analysis

Dusendschon, Kora      10/17/2023     0.3   Teleconference with K. Dusendschon (A&M), J. Gilday (S&C), A.
                                            Bailey, D. Lee, B. Hadamik, G. Hougey (FTI) to discuss open
                                            requests and pending items
Ernst, Reagan          10/17/2023     0.9   Calculate tokens receivable for token position in investment tracker

Flynn, Matthew         10/17/2023     0.7   Call with M. Flynn, K. Dusendschon (A&M) to discuss KYC requests

Flynn, Matthew         10/17/2023     1.4   Create crypto team workstream deliverable plan for management


Glustein, Steven       10/17/2023     0.8   Review LedgerPrime investment transfer acknowledgement
                                            document regarding token venture investments
Glustein, Steven       10/17/2023     0.2   Call with L. Lambert, S. Glustein, and A. Heric (A&M) regarding
                                            crypto tracing request 138 findings
Glustein, Steven       10/17/2023     0.3   Correspondence with investee company regarding A&M appointment
                                            relating to LedgerPrime assets
Glustein, Steven       10/17/2023     0.6   Provide comments on venture investment bridge regarding adjusted
                                            petition date balance
Glustein, Steven       10/17/2023     1.4   Update venture investment tracker relating to post-petition venture
                                            investment activity
Glustein, Steven       10/17/2023     1.8   Prepare template regarding token vesting schedule relating to
                                            LedgerPrime token investments
Glustein, Steven       10/17/2023     1.3   Call with S. Tang (LedgerPrime) regarding remaining assets held by
                                            LedgerPrime
Glustein, Steven       10/17/2023     0.4   Correspondence with M. Schwartz (S&C) relating to venture
                                            investment closing process
Glustein, Steven       10/17/2023     0.3   Review notarized contact update letters relating to LedgerPrime



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Glustein, Steven      10/17/2023     0.3   Correspondence with potential purchaser relating to NDA process

Glustein, Steven      10/17/2023     0.3   Review indication of interest received relating to venture sale process


Glustein, Steven      10/17/2023     0.7   Review venture token analysis relating to RLKS diligence questions

Glustein, Steven      10/17/2023     2.3   Review venture investment bridge regarding adjusted petition date
                                           balance
Glustein, Steven      10/17/2023     0.4   Update summary of remaining assets relating to LedgerPrime


Glustein, Steven      10/17/2023     0.4   Review NAV statement relating to venture fund investment

Heric, Andrew         10/17/2023     0.2   Call with L. Lambert, S. Glustein, and A. Heric (A&M) regarding
                                           crypto tracing request 138 findings
Heric, Andrew         10/17/2023     2.1   Research and review of 1,100 internal documents for information
                                           related to withdrawals in request 149
Heric, Andrew         10/17/2023     0.4   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing crypto tracing updates
Heric, Andrew         10/17/2023     0.2   Call with L. Lambert and A. Heric (A&M) regarding request 149
                                           findings and next steps
Heric, Andrew         10/17/2023     0.7   Populate and format two deliverable tabs related to findings from the
                                           request 138 analysis
Heric, Andrew         10/17/2023     1.2   Conduct open source and blockchain research regarding two
                                           specific crypto transfers of concern
Heric, Andrew         10/17/2023     0.7   Craft methodology and create a crypto tracing analysis document for
                                           request 149
Heric, Andrew         10/17/2023     0.6   Review and gather information related to incoming crypto tracing
                                           request 149
Heric, Andrew         10/17/2023     0.2   Call with I. Radwanski and A. Heric (A&M) regarding the strategy for
                                           request 145 phase II analysis
Heric, Andrew         10/17/2023     1.9   Perform cryptocurrency tracing of two identified funding payments of
                                           concern to their corresponding ultimate destination
Iwanski, Larry        10/17/2023     0.6   Review of documents related to the ongoing claims analysis by the
                                           tracing team
Iwanski, Larry        10/17/2023     0.6   Review of tracing requirements related to loans and collateral

Johnson, Robert       10/17/2023     0.4   Review datasets to identify legacy data available in FTX databases
                                           in response to question posed by EY
Johnson, Robert       10/17/2023     0.8   Add additional table to Metabase for review and reporting on claims
                                           processes
Johnston, David       10/17/2023     0.4   Review claims filed against debtor subsidiary as part of research into
                                           motion to dismiss
Johnston, David       10/17/2023     0.6   Preliminary review of engagement letter for liquidator at FTX rest of
                                           world subsidiary




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Johnston, David       10/17/2023     0.7   Research and review responses to queries relating to FTX EU Ltd.
                                           customer balances
Johnston, David       10/17/2023     0.7   Review updated financials for MPC Technologies, consider
                                           implications for wind down
Johnston, David       10/17/2023     0.8   Review available information for DAAG Trading DMCC dismissal

Johnston, David       10/17/2023     0.8   Research prepetition materials relating to FTX Europe client account
                                           balances and exchange balances, related reconciliations
Kwan, Peter           10/17/2023     1.4   Continue to perform ad hoc data extracts of data received from 3rd
                                           party blockchain monitoring vendor for S&C
Kwan, Peter           10/17/2023     1.8   Research legacy data requests relating to Transaction Monitoring
                                           alerts based on alert severity detection logic
Kwan, Peter           10/17/2023     0.8   Review scoping documentation shared by third party blockchain
                                           research company for accuracy prior to price quote
Kwan, Peter           10/17/2023     1.7   Revise logic on historical order channel analysis to include product
                                           type of token being traded
Kwan, Peter           10/17/2023     0.6   Revise validation, qc analysis to monitor progress in updating the
                                           NSS database txns based on rescans of wallet addresses identified
                                           in periodic testing reports
Kwan, Peter           10/17/2023     2.2   Prepare schedule summarizing historical transaction monitoring
                                           alerts partitioned by platform and severity for purposes of responding
                                           to S&C follow up questions
Kwan, Peter           10/17/2023     1.9   Revise logic to identify alert patterns within historical transaction
                                           monitoring data on the exchange based on feedback/questions
                                           received from S&C
Kwan, Peter           10/17/2023     0.5   Coordinate approval for sharing of FTX developer code
                                           documentation with FTX entity based out of the Asia-Pacific region
Lam, James            10/17/2023     0.4   Locate FTX Japan and Liquid Global terms and condition, and
                                           privacy policy information
Lam, James            10/17/2023     3.1   Perform scoping and keyword searches for research into Alameda's
                                           wallets
Lam, James            10/17/2023     0.8   Update the crypto and fiat withdrawal records for FTX Japan

Lam, James            10/17/2023     2.3   Review correspondences in relation to a Alameda wallet


Lambert, Leslie       10/17/2023     1.2   Review facts and data informing findings and observations identified
                                           in an analysis of certain on-chain activity
Lambert, Leslie       10/17/2023     0.2   Call with L. Lambert, S. Glustein, and A. Heric (A&M) regarding
                                           crypto tracing request 138 findings
Lambert, Leslie       10/17/2023     0.4   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing crypto tracing updates
Lambert, Leslie       10/17/2023     0.8   Call with I. Radwanski and L. Lambert (A&M) discussing preliminary
                                           findings for request 145
Lambert, Leslie       10/17/2023     0.6   Call with Q. Lowdermilk and L. Lambert (A&M) regarding updates to
                                           crypto tracing deliverable



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Lambert, Leslie       10/17/2023     0.2   Call with L. Lambert and A. Heric (A&M) regarding request 149
                                           findings and next steps
Lambert, Leslie       10/17/2023     0.8   Review correspondence and attachments relevant to crypto
                                           management workstream
Lowdermilk, Quinn     10/17/2023     2.7   Update crypto tracing analysis with identified blockchain information
                                           regarding tracing request 150
Lowdermilk, Quinn     10/17/2023     0.4   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing crypto tracing updates
Lowdermilk, Quinn     10/17/2023     0.6   Call with Q. Lowdermilk and L. Lambert (A&M) regarding updates to
                                           crypto tracing deliverable
Lowdermilk, Quinn     10/17/2023     2.7   Research provided information on blockchain to confirm transactions
                                           for tracing request 150
Lowdermilk, Quinn     10/17/2023     2.1   Analyze blockchain information for tracing request 141 deliverable


Mohammed, Azmat       10/17/2023     1.1   Support research related to changes to on chain transactions
                                           monitoring and KYC permission changes over time
Mohammed, Azmat       10/17/2023     0.2   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P.Kwan,
                                           A.Mohammed (A&M) to discuss wallet time series data sanitization
                                           efforts
Paolinetti, Sergio    10/17/2023     1.1   Update executive summary of liquidation analysis for available for
                                           sale tokens
Paolinetti, Sergio    10/17/2023     2.4   Divide token vesting schedules for locked received and unvested
                                           outstanding tokens
Paolinetti, Sergio    10/17/2023     0.9   Incorporate new tokens and updated vesting schedules to token
                                           master model
Paolinetti, Sergio    10/17/2023     1.8   Draft a plan of action for past due tokens and how to recover them

Paolinetti, Sergio    10/17/2023     0.8   Summarize multiple token contract details for disputes with token
                                           issuer
Paolinetti, Sergio    10/17/2023     1.2   Recalculate token quantities for buyback proposal slides


Paolinetti, Sergio    10/17/2023     1.6   Estimate secured tokens postpetition for venture deck

Radwanski, Igor       10/17/2023     0.2   Call with I. Radwanski and A. Heric (A&M) regarding the strategy for
                                           request 145 phase II analysis
Radwanski, Igor       10/17/2023     0.4   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing crypto tracing updates
Radwanski, Igor       10/17/2023     0.8   Call with I. Radwanski and L. Lambert (A&M) discussing preliminary
                                           findings for request 145
Radwanski, Igor       10/17/2023     1.4   Quantify transactions of interest related to request 145

Ramanathan, Kumanan   10/17/2023     0.4   Call with A. Levine, D. Handelsman (S&C) to discuss OTC training
                                           agreement markups
Ramanathan, Kumanan   10/17/2023     0.3   Call with R. Perubhatla (FTX) to discuss crypto asset management
                                           and IT matters


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Business Operations
Professional               Date    Hours    Activity
Ramanathan, Kumanan   10/17/2023     0.7   Call with G. Walia, K. Ramanathan (A&M) to discuss workstream
                                           update matters
Ramanathan, Kumanan   10/17/2023     0.8   Review of crypto asset materials and valuation methodology


Riabchuk, Pavlo       10/17/2023     1.6   Call with J. Bavaud (FTX) G. Balmelli and P. Riabchuk (A&M) on
                                           FTX Europe back-ups cloud setup
Sagen, Daniel         10/17/2023     0.9   Prepare outline of 10/13 coin report updates and process overview
                                           to discuss with L. Salas Nunez and A. Selwood (A&M)
Sagen, Daniel         10/17/2023     1.1   Call with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to review
                                           10/13 coin report update process
Sagen, Daniel         10/17/2023     1.1   Review token vesting schedule provided by C. Stockmeyer (A&M) in
                                           request to AG diligence request
Sagen, Daniel         10/17/2023     0.3   Call with D. Sagen and A. Selwood (A&M) to discuss token prices
                                           for 10/13 Coin Report
Sagen, Daniel         10/17/2023     0.7   Call with D. Sagen and A. Selwood (A&M) to discuss BitGo
                                           transaction data
Sagen, Daniel         10/17/2023     0.8   Correspondence with S. Tang (LedgerPrime) regarding receipt of
                                           token assets
Sagen, Daniel         10/17/2023     1.6   Prepare token category reconciliation on data sets provided by J.
                                           Zatz (A&M)
Sagen, Daniel         10/17/2023     0.8   Respond to questions from M. Cilia (FTX) regarding token pricing

Sagen, Daniel         10/17/2023     1.2   Research and respond to token holdings requests from A. Holland
                                           (S&C)
Sagen, Daniel         10/17/2023     0.4   Provide B. Mackay (Alix) with requested coin report materials

Salas Nunez, Luis     10/17/2023     1.1   Call with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to review
                                           10/13 coin report update process
Salas Nunez, Luis     10/17/2023     0.3   Update status tracker on valuation workstream and identify
                                           outstanding items that need work
Salas Nunez, Luis     10/17/2023     3.1   Prepare coin report model for Oct 13


Salas Nunez, Luis     10/17/2023     1.6   Document coin report models and databases

Salas Nunez, Luis     10/17/2023     1.6   Analysis of coin report model presentation file

Selwood, Alexa        10/17/2023     1.1   Call with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to review
                                           10/13 coin report update process
Selwood, Alexa        10/17/2023     0.3   Call with D. Sagen and A. Selwood (A&M) to discuss token prices
                                           for 10/13 coin report
Selwood, Alexa        10/17/2023     0.3   Incorporate updated cold storage transaction information into 10/13
                                           coin report input file
Selwood, Alexa        10/17/2023     1.8   Review high dollar value price variances in token population for
                                           10/13 coin report




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Professional                 Date    Hours    Activity
Selwood, Alexa          10/17/2023     0.4   Analyze Coin Metrics prices for 10/13 coin report from 9/29 coin
                                             report prices
Selwood, Alexa          10/17/2023     1.6   Research token prices for selected high dollar value holdings for
                                             10/13 coin report
Selwood, Alexa          10/17/2023     0.8   Research BitGo transaction data on-chain for unidentified bridging
                                             transactions
Selwood, Alexa          10/17/2023     0.7   Call with D. Sagen and A. Selwood (A&M) to discuss BitGo
                                             transaction data
Selwood, Alexa          10/17/2023     0.9   Research transaction data on-chain for bridge analysis 10/13 coin
                                             report
Selwood, Alexa          10/17/2023     0.3   Complete quality control of 10/13 token prices for coin report

Selwood, Alexa          10/17/2023     0.4   Incorporate third party exchange data into 10/13 coin report


Selwood, Alexa          10/17/2023     0.5   Incorporate 10/13 token prices into 10/13 coin report

Selwood, Alexa          10/17/2023     1.9   Research token prices for selected Category B tokens


Selwood, Alexa          10/17/2023     0.6   Analyze Coin Market Cap prices for 10/13 coin report from 9/29 coin
                                             report prices
Sexton, Rachel          10/17/2023     0.2   Review presentation re: wind down strategy for RoW and European
                                             subsidiaries
Sexton, Rachel          10/17/2023     0.9   Review and comment on FTX EU strategic options analysis


Stegenga, Jeffery       10/17/2023     0.6   Review of weekly PMO workstream overview, with focus on liquidity
                                             forecast and tax recent progress/deliverable update
Stockmeyer, Cullen      10/17/2023     1.2   Prepare venture token receivables balance roll for client accounting
                                             purposes
Stockmeyer, Cullen      10/17/2023     1.4   Review updated token investment amounts for fidelity between
                                             sources of information
Stockmeyer, Cullen      10/17/2023     1.4   Update liquidation schedule to include adjustments for previously
                                             liquidated tokens
Stockmeyer, Cullen      10/17/2023     1.3   Perform reconciliation procedures for token receivables balance roll

Stockmeyer, Cullen      10/17/2023     1.1   Prepare token vesting schedule based on need for valuation
                                             specialist
Stockmeyer, Cullen      10/17/2023     1.2   Prepare analysis related to tokens available for liquidation


Stockmeyer, Cullen      10/17/2023     0.9   Prepare analysis related to liquid table tokens amount for third party
                                             specialist
Titus, Adam             10/17/2023     0.8   Review email related to claiming BTC tokens for hedge fund entity
                                             including corresponding documentation
Titus, Adam             10/17/2023     0.6   Participate in workstream coordination call with S. Coverick, C.
                                             Arnett, D. Johnston, L. Ryan, K. Ramanathan, A. Titus, R. Esposito,
                                             J. Cooper, R. Gordon, L. Callerio (A&M)


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Professional               Date    Hours    Activity
Trent, Hudson         10/17/2023     0.3   Provide overview of subsidiary following completion of wind down
                                           process to S&C
van den Belt, Mark    10/17/2023     0.9   Prepare correspondence to R. Esposito, D. Lewandowski (A&M) in
                                           relation to creditor notifications for Zubr
van den Belt, Mark    10/17/2023     0.6   Prepare schedule of intercompany balances for FTX Europe asset
                                           sale
van den Belt, Mark    10/17/2023     0.4   Review financial information on potential additional wind-down
                                           entities
van den Belt, Mark    10/17/2023     1.1   Review intercompany balance of FTX Trading Ltd with FTX Cyprus


van den Belt, Mark    10/17/2023     0.4   Review intercompany balance of WRS Inc. with FTX Cyprus

van den Belt, Mark    10/17/2023     2.1   Review share purchase agreement for FTX Europe asset sale


van den Belt, Mark    10/17/2023     0.8   Prepare updated claims report for DAAG Trading DMCC

van den Belt, Mark    10/17/2023     1.7   Review support binder for court motion of Zubr


Walia, Gaurav         10/17/2023     0.7   Call with G. Walia, K. Ramanathan (A&M) to discuss workstream
                                           update matters
Walia, Gaurav         10/17/2023     2.8   Review the RSA document to develop workplan for distribution model

Walia, Gaurav         10/17/2023     0.4   Prepare a summary of the tokens on the exchange shown as a
                                           single token
Walia, Gaurav         10/17/2023     1.2   Prepare an initial view of the Alameda OTC portal

Walia, Gaurav         10/17/2023     0.4   Call with P. Lee (FTX) to discuss exchange support questions


Walia, Gaurav         10/17/2023     0.8   Prepare a summary of all related party and internal accounts

Walia, Gaurav         10/17/2023     0.6   Call with C. Sullivan, G. Walia, H. Trent & D. Sagen (A&M) to
                                           discuss Plan mechanics and development of the distribution model
Wilson, David         10/17/2023     1.8   Add function to request responder automation tool that either finds
                                           and selects or replaces existing sheet
Wilson, David         10/17/2023     2.6   Script database to pull all transaction monitoring alerts for multiple
                                           accounts for S&C data request
Wilson, David         10/17/2023     1.7   Script database to provide full deposit history for related party
                                           accounts for A&M data request
Wilson, David         10/17/2023     2.6   Script database to identify accounts related to company and
                                           individual identifiers and pull full transactional history for S&C
                                           subpoena request
Wilson, David         10/17/2023     1.4   Add code to request responder automation tool that allows user to
                                           automatically create user account tables by just supplying account
                                           IDs
Zatz, Jonathan        10/17/2023     0.4   Script database to update ticker category mapping based on
                                           reconciliation of two current sources

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Professional                 Date    Hours    Activity
Zatz, Jonathan          10/17/2023     0.9   Draft questions for Alameda related to OTC portal

Zhang, Qi               10/17/2023     1.8   Daily review of Integreon manual review team's work to record down
                                             issues identified for 17 Oct for 5 UK team
Zhang, Qi               10/17/2023     0.6   Clear questions related to KYC raised by customer service team
                                             members 17 Oct
Arbid, Rami             10/18/2023     0.6   Call with R. Arbid, G. Wall (A&M) to discuss FTX Dubai liquidation
                                             timelines
Arnett, Chris           10/18/2023     0.4   Update workstream planning documents for HR, contracts, and
                                             vendor workstreams
Arnett, Chris           10/18/2023     0.4   Respond to questions from A. Kranzley (S&C) re: status of entity
                                             wind down
Baker, Kevin            10/18/2023     0.5   Call with K. Baker, J. Zatz, D. Wilson, S. Krautheim, and P. Kwan
                                             (A&M) to discuss status of ongoing data requests
Baker, Kevin            10/18/2023     2.8   Report KYC and transactional records for users related to a specific
                                             customer for an investigation
Baker, Kevin            10/18/2023     3.2   Produce user account information and transactional data for specific
                                             accounts related a large crypto subpoena
Baker, Kevin            10/18/2023     3.1   Create KYC AWS information for specific users regarding a large
                                             crypto subpoena
Baker, Kevin            10/18/2023     0.6   Call with K. Dusendschon, K. Baker, and S. Krautheim (A&M) to
                                             discuss opening KYC related items and confer on next steps
Balmelli, Gioele        10/18/2023     0.8   Clarify legal constraints on A&M involvement on preparation of FTX
                                             Europe backups
Balmelli, Gioele        10/18/2023     1.6   Set up data downloads from FTX Europe back-ups on cloud

Callerio, Lorenzo       10/18/2023     0.6   Review and approve the summary of certain buyback proposals
                                             received from token issuers
Callerio, Lorenzo       10/18/2023     0.6   Review and provide comments to the uncontrolled wallets analysis
                                             prepared by S. Paolinetti (A&M)
Callerio, Lorenzo       10/18/2023     0.7   Review the latest version of the token deck updated by S. Paolinetti
                                             (A&M)
Callerio, Lorenzo       10/18/2023     0.3   Provide C. Stockmeyer with comments to the liquidatable token
                                             model
Callerio, Lorenzo       10/18/2023     0.3   Review and approve REQ150 materials provided by Q.Lowdermilk
                                             (A&M)
Callerio, Lorenzo       10/18/2023     0.6   Review the crypto tracing correspondence received today


Casey, John             10/18/2023     0.4   Call with J. Casey and M. van den Belt (A&M) re weekly update on
                                             RoW and European subsidiaries
Casey, John             10/18/2023     2.6   Review and amend draft Grant Thornton letters of engagement for
                                             European and RoW wind-downs
Casey, John             10/18/2023     1.4   Review of final version of strategic options analysis for European
                                             and RoW subsidiaries




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Professional                  Date    Hours    Activity
Casey, John              10/18/2023     2.4   Review draft Grant Thornton letters of engagement for European
                                              and RoW subsidiaries
Casey, John              10/18/2023     0.3   Review comments on step plan for appointment of liquidator to
                                              Cypriot entity
Casey, John              10/18/2023     0.8   Review Grant Thornton letter of engagement re Gibraltarian MVL

Casey, John              10/18/2023     0.4   Call with R. Sexton, H. McGoldrick, and J. Casey (A&M) re weekly
                                              update on European and RoW subsidiaries
Chambers, Henry          10/18/2023     0.3   Correspondence with A&M team regarding content for FTX Japan
                                              Management meeting
Chambers, Henry          10/18/2023     0.7   Review of first draft of FTX Japan financial analysis for FTX Japan
                                              Management
Chambers, Henry          10/18/2023     0.4   Correspondence with FTX Japan Management regarding next steps
                                              for FTX Japan entity
Collis, Jack             10/18/2023     1.7   Update strategic options checklist and jurisdiction overview summary

Coverick, Steve          10/18/2023     0.8   Call with J. Ray (FTX), S. Coverick, K. Ramanathan (A&M) to
                                              discuss crypto asset management
Dalgleish, Elizabeth     10/18/2023     1.7   Prepare slide setting out the FY23 cash-flow movements of MPC
                                              Technologies Pte Ltd
Dalgleish, Elizabeth     10/18/2023     1.2   Prepare updated support binder for Zubr Exchange Ltd for the
                                              updated Motion to Dismiss and Mosley Declaration received from
                                              S&C
Dalgleish, Elizabeth     10/18/2023     2.9   Prepare analysis setting out the FY23 cash-flow movements of MPC
                                              Technologies Pte Ltd from the bank account statements
Dalgleish, Elizabeth     10/18/2023     1.3   Prepare updated wind-down timelines for Zubr Exchange Ltd, FTX
                                              Crypto Services, FTX Japan Services KK, PT Triniti Investama
                                              Berkat
Dalgleish, Elizabeth     10/18/2023     0.4   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) C.
                                              MacLean, D. Hammon, J. Scott, M. Borts, N. Srivastava (E&Y) on
                                              the FTX RoW wind-down entities tax and accounting compliance
                                              timelines
Dusendschon, Kora        10/18/2023     0.2   Execute search in relativity for OTC related messages and provide
                                              feedback
Dusendschon, Kora        10/18/2023     0.3   Coordinate and provide guidance to team on pending requests from
                                              S&C and A&M team
Dusendschon, Kora        10/18/2023     0.1   Confer and coordinate on KYC export from Sygnia and pending QC

Dusendschon, Kora        10/18/2023     0.6   Call with K. Dusendschon, K. Baker, and S. Krautheim (A&M) to
                                              discuss opening KYC related items and confer on next steps
Ernst, Reagan            10/18/2023     2.2   Compile contract data regarding LedgerPrime token positions for
                                              monthly bridge
Flynn, Matthew           10/18/2023     0.6   Call with M. Flynn, K. Ramanathan (A&M) H. Nachmias, O.
                                              Wortman, L. Farazis (Sygnia) to discuss IT and crypto matters
Flynn, Matthew           10/18/2023     0.9   Review current and legacy FTX employee roster and support detail



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Professional               Date    Hours    Activity
Flynn, Matthew        10/18/2023     0.8   Review relativity for FTX OTC messages

Flynn, Matthew        10/18/2023     1.1   Update workstream deliverable presentation for Management


Flynn, Matthew        10/18/2023     0.2   Call with T. Cheam and E. Simendinger (FTX), M. Flynn and
                                           A.Mohammed (A&M) to discuss matters related to the wallet time
                                           series database
Francis, Luke         10/18/2023     1.3   Search creditor details based or relationship to Debtors on legal
                                           request
Glustein, Steven      10/18/2023     0.6   Provide comments on situation overview presentation relating to
                                           upcoming token launch
Glustein, Steven      10/18/2023     1.1   Review KYC documents regarding upcoming token launch relating
                                           to token investment
Glustein, Steven      10/18/2023     0.7   Provide comments on token vesting model relating to funded
                                           investment amounts
Glustein, Steven      10/18/2023     0.8   Review situation overview presentation relating to upcoming token
                                           launch
Heric, Andrew         10/18/2023     1.4   Finalize source and destination crypto tracing of two identified
                                           payments of concern for request 149
Heric, Andrew         10/18/2023     0.3   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                           deliverable and workstream updates
Heric, Andrew         10/18/2023     0.3   Call with Q. Lowdermilk and A. Heric (A&M) regarding updating
                                           crypto tracing request 150 analysis
Heric, Andrew         10/18/2023     0.2   Call with I. Radwanski, Q. Lowdermilk, and A. Heric (A&M) regarding
                                           crypto tracing team updates
Heric, Andrew         10/18/2023     0.2   Call with I. Radwanski and A. Heric (A&M) regarding request 145
                                           updates and strategy
Heric, Andrew         10/18/2023     2.8   Review the full transaction history of the second and final batch of
                                           26 tokens to identify the point of no debtor control for request 145
Heric, Andrew         10/18/2023     2.9   Review the full transaction history of the first batch of 22 tokens to
                                           identify the point of no debtor control for request 145
Iwanski, Larry        10/18/2023     0.9   Review of documents and correspondence related to the KYC efforts

Johnston, David       10/18/2023     2.1   Review balance sheet analysis and pro forma profitability analysis
                                           for Quoine Pte for strategic options presentation
Johnston, David       10/18/2023     0.3   Review latest materials received in relation to FTX subsidiary
                                           directors in relation to wind down entities
Johnston, David       10/18/2023     0.3   Call with M. Borts (EY) and D. Johnston (A&M) to discuss crypto
                                           assets of wind down entities
Johnston, David       10/18/2023     0.7   Review updated materials relating to Zubr motion to dismiss and
                                           supporting declaration
Johnston, David       10/18/2023     0.2   Call with D. Sagen and D. Johnston (A&M) to discuss crypto tracing
                                           process
Johnston, David       10/18/2023     0.3   Review available materials relating to valuation of crypto assets held
                                           by Zubr


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Professional                Date    Hours    Activity
Johnston, David        10/18/2023     0.6   Review updated situation overview for MPC Technologies

Johnston, David        10/18/2023     0.7   Coordinate data security for FTX Europe historical data


Johnston, David        10/18/2023     0.4   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) C.
                                            MacLean, D. Hammon, J. Scott, M. Borts, N. Srivastava (E&Y) on
                                            the FTX RoW wind-down entities tax and accounting compliance
                                            timelines
Johnston, David        10/18/2023     1.1   Review and update analysis of FTX Europe asset sale intercompany
                                            settlements and agree preferred approach with FTX management
Krautheim, Sean        10/18/2023     0.4   Call with P. Kwan, K. Baker, J. Zatz, D. Wilson, and S. Krautheim
                                            (A&M) to discuss open items for the data team
Krautheim, Sean        10/18/2023     0.3   Test access to necessary file structures to perform work


Krautheim, Sean        10/18/2023     0.6   Call with K. Dusendschon, K. Baker, and S. Krautheim (A&M) to
                                            discuss opening KYC related items and confer on next steps
Kwan, Peter            10/18/2023     1.5   Migrate validation, qc reporting to Google sheets for more efficient
                                            sharing with FTX Development team
Kwan, Peter            10/18/2023     1.6   Develop logic to isolate data related to staked/locked tokens on the
                                            exchange in response to valuation expert request
Kwan, Peter            10/18/2023     0.9   Prepare schedule of staked/locked tokens on the exchange for
                                            sharing with valuation expert
Kwan, Peter            10/18/2023     1.5   Review preliminary outputs from analysis performed in relation to
                                            staked/locked tokens on the exchange in response to valuation
                                            expert request
Kwan, Peter            10/18/2023     0.7   Finalize request for information related to scoping responses
                                            provided back to third party blockchain research company in support
                                            of soliciting a price quote
Kwan, Peter            10/18/2023     1.1   Quality review of outputs generated from logic to pull historical order
                                            channel analysis to include product type of token being traded
Kwan, Peter            10/18/2023     1.2   Perform additional round of follow-up questions, reviews in response
                                            to code change analysis performed by third party developers to
                                            document the historical changes made to the exchange withdrawal,
                                            deposit processing code
Kwan, Peter            10/18/2023     1.3   Perform additional analysis related to the timing of historical
                                            transaction monitoring alerts across the exchange, by platform and
                                            severity, in support of ongoing questions from S&C related to the
                                            interim report
Kwan, Peter            10/18/2023     1.3   Perform research on the fulfillment of data request received from
                                            potential purchaser of exchange assets regarding reporting on
                                            orders on certain products
Lam, James             10/18/2023     2.3   Build search logic for identifying relevant documents for a review of
                                            Alameda wallet
Lam, James             10/18/2023     2.9   Review identified documents in relation to an Alameda wallet

Li, Summer             10/18/2023     0.1   Identify the bank statements of FTX Japan K.K for the MOR
                                            reconciliation in July



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Li, Summer             10/18/2023     1.9   Perform wind-down analysis for FTX Japan K.K

Li, Summer             10/18/2023     0.1   Identify the statutory documents for FTX Japan Services K.K


Lowdermilk, Quinn      10/18/2023     0.3   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                            deliverable and workstream updates
Lowdermilk, Quinn      10/18/2023     2.6   Create crypto tracing deliverable outlining blockchain information for
                                            tracing request 150
Lowdermilk, Quinn      10/18/2023     0.3   Call with Q. Lowdermilk and A. Heric (A&M) regarding updating
                                            crypto tracing request 150 analysis
Lowdermilk, Quinn      10/18/2023     0.2   Call with I. Radwanski, Q. Lowdermilk, and A. Heric (A&M) regarding
                                            crypto tracing team updates
Lowdermilk, Quinn      10/18/2023     2.2   Prepare crypto tracing analysis with identified blockchain information


Lowdermilk, Quinn      10/18/2023     2.7   Analyze blockchain information for crypto tracing request 150

Mohammed, Azmat        10/18/2023     0.2   Call with N. Molina and others (FTX) and A. Mohammed (A&M) to
                                            discuss engineering matters across FTX
Mohammed, Azmat        10/18/2023     0.7   Support research and coordinate development efforts related to
                                            historical KYC data practices and legacy code
Mohammed, Azmat        10/18/2023     0.2   Call with T. Cheam and E. Simendinger (FTX), M. Flynn and
                                            A.Mohammed (A&M) to discuss matters related to the wallet time
                                            series database
Mosley, Ed             10/18/2023     0.8   Call with J. Ray (FTX), S. Coverick, E. Mosley, K. Ramanathan
                                            (A&M) to discuss crypto-related updates
Myers, Claire          10/18/2023     1.1   Prepare directors and officers file for internal request by M. van de
                                            Belt
Paolinetti, Sergio     10/18/2023     1.1   Find vesting schedules on Relativity for sold tokens

Paolinetti, Sergio     10/18/2023     0.9   Review calculations for token receivables rolloff model


Paolinetti, Sergio     10/18/2023     0.6   Update post-petition token receipts on PMO slides

Paolinetti, Sergio     10/18/2023     1.4   Build deck summarizing upcoming pre-ICO token receipts


Paolinetti, Sergio     10/18/2023     1.8   Create new deck for certain token buyback proposal

Radwanski, Igor        10/18/2023     0.2   Call with I. Radwanski, Q. Lowdermilk, and A. Heric (A&M) regarding
                                            crypto tracing team updates
Radwanski, Igor        10/18/2023     0.2   Call with I. Radwanski and A. Heric (A&M) regarding request 145
                                            updates and strategy
Radwanski, Igor        10/18/2023     2.7   Extract transfer details for specific contract regarding request 145

Ramanathan, Kumanan    10/18/2023     0.6   Call with M. Flynn, K. Ramanathan (A&M) H. Nachmias, O.
                                            Wortman, L. Farazis (Sygnia) to discuss IT and crypto matters


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Professional               Date    Hours    Activity
Ramanathan, Kumanan   10/18/2023     0.8   Call with J. Ray (FTX), S. Coverick, E. Mosley, K. Ramanathan
                                           (A&M) to discuss crypto-related updates
Ramanathan, Kumanan   10/18/2023     0.3   Call with D. Handelsman, A. Levine (S&C) to discuss fund
                                           administrator engagement letter markup
Ramanathan, Kumanan   10/18/2023     0.3   Call with D. Handelsman (S&C) to discuss fund administrator
                                           engagement letter
Ramanathan, Kumanan   10/18/2023     0.2   Review and provide feedback on draft tweet in connection with press
                                           release
Ramanathan, Kumanan   10/18/2023     0.6   Review of excel distribution model mechanics presentation and
                                           provide feedback
Ramanathan, Kumanan   10/18/2023     0.3   Review of directions to BitGo regarding staking and provide feedback

Ramanathan, Kumanan   10/18/2023     0.6   Review and provide feedback re: REM protocol and associated
                                           entities
Ramanathan, Kumanan   10/18/2023     0.6   Prepare updates to workstream deliverable tracker and revise

Sagen, Daniel         10/18/2023     0.6   Advise A. Selwood (A&M) regarding identification of bridge
                                           transactions in cold storage transaction detail
Sagen, Daniel         10/18/2023     1.3   Research and respond to correspondence with Venture team
                                           regarding vesting token receipt reconciliation
Sagen, Daniel         10/18/2023     1.4   Discussion with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to
                                           update 10/13 coin report output schedules
Sagen, Daniel         10/18/2023     1.5   Discussion with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to
                                           update 10/13 coin report inputs and summary tables
Sagen, Daniel         10/18/2023     1.9   Discussion with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to
                                           update coin report transaction data
Sagen, Daniel         10/18/2023     1.6   Review on chain details to update mappings for select cold storage
                                           token transactions
Sagen, Daniel         10/18/2023     0.2   Call with D. Sagen and D. Johnston (A&M) to discuss crypto tracing
                                           process
Sagen, Daniel         10/18/2023     0.7   Correspondence with D. Du (BitGo) regarding staked asset reporting
                                           in coin report
Salas Nunez, Luis     10/18/2023     1.4   Discussion with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to
                                           update 10/13 coin report output schedules
Salas Nunez, Luis     10/18/2023     1.9   Discussion with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to
                                           update coin report transaction data
Salas Nunez, Luis     10/18/2023     1.5   Discussion with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to
                                           update 10/13 coin report inputs and summary tables
Salas Nunez, Luis     10/18/2023     2.7   Analysis of staked coins and incorporation into coin report

Selwood, Alexa        10/18/2023     1.9   Discussion with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to
                                           update coin report transaction data
Selwood, Alexa        10/18/2023     1.4   Discussion with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to
                                           update 10/13 coin report output schedules




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Professional               Date    Hours    Activity
Selwood, Alexa        10/18/2023     1.5   Discussion with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to
                                           update 10/13 coin report inputs and summary tables
Selwood, Alexa        10/18/2023     0.6   Update 10/13 coin report input model for third party exchange
                                           transaction data
Selwood, Alexa        10/18/2023     1.2   Compile 10/13 coin report data inputs

Selwood, Alexa        10/18/2023     1.3   Research BitGo transaction information on-chain for 10/13 coin
                                           report
Selwood, Alexa        10/18/2023     0.3   Prepare Sygnia transaction information for 10/13 coin report
                                           integration
Selwood, Alexa        10/18/2023     0.3   Prepare coin report input model for 10/13 report

Selwood, Alexa        10/18/2023     0.2   Update token name mapping for 10/13 coin report


Selwood, Alexa        10/18/2023     0.8   Research token prices for 10/13 coin report

Selwood, Alexa        10/18/2023     0.8   Update variance analysis for 10/13 coin report


Selwood, Alexa        10/18/2023     1.1   Complete quality control check of coin report inputs

Selwood, Alexa        10/18/2023     0.6   Update coin report input model for 10/13 token prices

Selwood, Alexa        10/18/2023     0.4   Prepare BitGo data for 10/13 coin report input model


Sexton, Rachel        10/18/2023     0.4   Call with R. Sexton, H. McGoldrick, and J. Casey (A&M) re weekly
                                           update on European and RoW subsidiaries
Sexton, Rachel        10/18/2023     0.4   Review and comment on Grant Thornton engagement letter in
                                           respect of Zubr
Sexton, Rachel        10/18/2023     1.4   Review and comment on strategic options analysis and preliminary
                                           jurisdiction overview for applicability and key gating questions for
                                           identified RoW and European subsidiaries
Stockmeyer, Cullen    10/18/2023     1.1   Prepare analysis related to historical pricing for the purpose of
                                           receivables balance roll
Stockmeyer, Cullen    10/18/2023     1.7   Prepare token receivables petition date balance bridge from
                                           previously provided petition balances
Stockmeyer, Cullen    10/18/2023     1.4   Prepare rolling receivables balances for client accounting purposes

Stockmeyer, Cullen    10/18/2023     1.4   Perform reconciliation procedures for petition date token receivables


Stockmeyer, Cullen    10/18/2023     1.4   Review 9/29 coin report balance variations for updated coin report

Stockmeyer, Cullen    10/18/2023     1.1   Update token receivable balance roll based on revised information

Stockmeyer, Cullen    10/18/2023     0.4   Update token vesting schedule analysis for valuation team




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Professional                 Date    Hours    Activity
Stockmeyer, Cullen      10/18/2023     1.8   Continue to prepare token receivables balance roll for client
                                             accounting purposes
Titus, Adam             10/18/2023     0.8   Provide comments on token recommendation to S. Paolinetti [A&M]
                                             on presentation
Titus, Adam             10/18/2023     0.7   Draft summary of proposal bidder token purchase proposal

Titus, Adam             10/18/2023     1.4   Review proposal for token recommendation on receivable

van den Belt, Mark      10/18/2023     0.3   Prepare correspondence to S. Kojima, S. Melamed (FTX) in relation
                                             to Quoine Pte Ltd. pro forma balance sheet
van den Belt, Mark      10/18/2023     0.8   Prepare correspondence to R. Esposito, C. Sigman, S. Kotarba
                                             (A&M) in relation to historical director appointments
van den Belt, Mark      10/18/2023     0.4   Call with J. Casey and M. van den Belt (A&M) re weekly update on
                                             RoW and European subsidiaries
van den Belt, Mark      10/18/2023     0.6   Prepare correspondence T. Hill (S&C) in relation to FTX Europe
                                             asset sale intercompany positions
van den Belt, Mark      10/18/2023     1.9   Prepare presentation on intercompany payment options for FTX
                                             Europe asset sale
van den Belt, Mark      10/18/2023     0.2   Prepare update schedule for share purchase agreement of FTX
                                             Europe asset sale
van den Belt, Mark      10/18/2023     2.1   Review of historical MPC Technologies cash flow sources and uses

van den Belt, Mark      10/18/2023     0.6   Review latest version of the Zubr court motion support binder


van den Belt, Mark      10/18/2023     1.3   Review wind-down timelines of FTX Indonesia, Cyprus and Japan
                                             entities
van den Belt, Mark      10/18/2023     1.6   Prepare presentation on FTX Crypto Services for court motions


van den Belt, Mark      10/18/2023     1.2   Prepare presentation on FTX Japan Services KK for court motions

van den Belt, Mark      10/18/2023     0.9   Review LoE for voluntary wind-down of Zubr


van den Belt, Mark      10/18/2023     0.4   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) C.
                                             MacLean, D. Hammon, J. Scott, M. Borts, N. Srivastava (E&Y) on
                                             the FTX RoW wind-down entities tax and accounting compliance
                                             timelines
Walia, Gaurav           10/18/2023     1.1   Review the KYC and claims portal summary deck and provide
                                             feedback
Walia, Gaurav           10/18/2023     1.3   Prepare a summary of the OTC portal activity for a certain account

Walia, Gaurav           10/18/2023     2.8   Prepare summary deck outlining the distribution model process


Walia, Gaurav           10/18/2023     1.9   Incorporate feedback from team into distribution model deck

Walia, Gaurav           10/18/2023     0.6   Review the current employee roster and provide feedback


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Professional                 Date    Hours    Activity
Wall, Guy               10/18/2023     0.6   Call with R. Arbid, G. Wall (A&M) to discuss FTX Dubai liquidation
                                             timelines
Wilson, David           10/18/2023     1.2   Rewrite instructions sheet on request responder automation tool
                                             reflecting all updates made over past month
Wilson, David           10/18/2023     1.7   Add code to request responder automation tool that allows user to
                                             automate searching for wallets in database
Wilson, David           10/18/2023     1.3   Script database to pull all internal transfers for multiple corporate
                                             accounts for internal A&M data request
Wilson, David           10/18/2023     1.6   Script database to pull all inflows of specific crypto token into all
                                             accounts associated with related entity during specific date range
Wilson, David           10/18/2023     2.2   Script database to full transactional history for account related to
                                             individual name for S&C data request
Wilson, David           10/18/2023     2.4   Script database to pull full transactional history for various accounts
                                             specified in S&C subpoena request
Yan, Jack               10/18/2023     1.2   Update wallet balances of FTX Japan and Quoine Pte Ltd as at
                                             October 18, 2023
Zatz, Jonathan          10/18/2023     0.5   Call with K. Baker, J. Zatz, D. Wilson, S. Krautheim, and P. Kwan
                                             (A&M) to discuss status of ongoing data requests
Zhang, Qi               10/18/2023     1.4   Daily review of Integreon manual review team's work to record down
                                             issues identified for 18 Oct for 4 UK team
Arbid, Rami             10/19/2023     0.4   Review available materials related to FTX Dubai liquidation
                                             advertisement period
Arbid, Rami             10/19/2023     0.2   Review available materials in relation to FTX Dubai audit process


Baker, Kevin            10/19/2023     3.2   Analyze list of accounts from the exchange that are potential entities
                                             associated as a related party to FTX/Alameda
Baker, Kevin            10/19/2023     3.2   Investigate specific market maker accounts and transaction activity
                                             for counsel
Baker, Kevin            10/19/2023     2.9   Extract customer balances for specific customers relating to a FTX
                                             inquiry
Balmelli, Gioele        10/19/2023     2.1   Prepare data update and downloads process from FTX Europe back-
                                             ups on cloud
Balmelli, Gioele        10/19/2023     2.9   Prepare overview and documentation for FTX Europe administrator
                                             meeting
Callerio, Lorenzo       10/19/2023     0.1   Call with L. Iwanski, L. Callerio, and D. Lewandowski (A&M)
                                             discussing methodology for priority request 151
Callerio, Lorenzo       10/19/2023     0.4   Review and approve updated REQ150 materials provided by
                                             Q.Lowdermilk (A&M)
Callerio, Lorenzo       10/19/2023     0.8   Reach out to unresponsive token issuers to secure the outstanding
                                             vested tokens
Callerio, Lorenzo       10/19/2023     0.4   Review certain token materials to be included in the Board Deck


Casey, John             10/19/2023     0.4   Call with R. Sexton and J. Casey (A&M) re review comments for
                                             Grant Thornton letters of engagement




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Professional                Date    Hours    Activity
Casey, John            10/19/2023     0.3   Call with M. van den Belt, H. McGoldrick, J. Casey (A&M) re weekly
                                            update on RoW and European subsidiaries
Casey, John            10/19/2023     0.4   Prepare correspondence to Grant Thornton re specific queries on
                                            Gibraltar solvent wind-down
Casey, John            10/19/2023     1.2   Prepare correspondence to GT Cyprus re step plan for Cypriot CVL
                                            and process queries
Casey, John            10/19/2023     0.9   Review feedback received on Grant Thornton letters of engagement

Casey, John            10/19/2023     0.3   Call with M. van den Belt, H. McGoldrick, J. Casey (A&M), Martin
                                            Chua, Paresh Jotangia, and Yuen Ling Wong (Grant Thornton) re
                                            MPC Technologies
Chambers, Henry        10/19/2023     1.0   Call with S. Melamed, J. Masters, K. Takahashi (FTX) and H.
                                            Chambers (A&M) regarding audit progress and Japan restart
Chambers, Henry        10/19/2023     0.2   Review correspondence regarding status of post-petition deposit
                                            returns
Chambers, Henry        10/19/2023     0.4   Respond to PWP request on FTX Japan documentation


Chambers, Henry        10/19/2023     0.8   Call with S. Melamed, J. Masters, S. Kojima, K. Takahashi (FTX), H.
                                            Chambers and S. Li (A&M) to discuss the next steps for FTX Japan
Clayton, Lance         10/19/2023     1.3   Weekly PMO updates for venture portfolio activity


Coverick, Steve        10/19/2023     0.6   Call with J. Bromley, B. Zonenshayn (S&C), E. Mosley, S. Coverick
                                            (A&M) re: sources and uses of prepetition assets
Dalgleish, Elizabeth   10/19/2023     0.6   Review and update Quoine Pte Ltd situation overview presentation


Dalgleish, Elizabeth   10/19/2023     1.3   Prepare cross-functional working group deck for 20 October meeting

Dalgleish, Elizabeth   10/19/2023     2.4   Prepare updated version of the FTX RoW wind-down presentation to
                                            be consistent with the descriptions in the FTX Legal Entity
                                            presentation
Duncan, Ryan           10/19/2023     0.6   Correspondence with workstream leads re: working group listing
                                            review
Dusendschon, Kora      10/19/2023     0.3   Call with M. Flynn, K. Dusendschon, P. Kwan (A&M) to discuss
                                            AWS data and KYC requests
Dusendschon, Kora      10/19/2023     0.3   Coordinate on KYC NULLS request and updates required for report


Dusendschon, Kora      10/19/2023     0.1   Confer on extraction of data from Sygnia and report QC

Ernst, Reagan          10/19/2023     0.9   Bridge recently closed equity investments back to petition date
                                            balances in master investment tracker
Ernst, Reagan          10/19/2023     1.3   Prepare summary for an indication of interest for locked token
                                            position
Ernst, Reagan          10/19/2023     2.3   Construct bridge for petition date receivables balance for token
                                            positions
Flynn, Matthew         10/19/2023     0.6   Call with R. Perubhatla (FTX), A. Mohammed, M. Flynn (A&M) to
                                            discuss technology and engineering matters

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Professional               Date    Hours    Activity
Flynn, Matthew        10/19/2023     0.6   Call with M. Flynn, K. Ramanathan, G. Walia (A&M) to discuss
                                           workstream status and customer analysis
Flynn, Matthew        10/19/2023     0.3   Call with M. Flynn, K. Dusendschon, P. Kwan (A&M) to discuss
                                           AWS data and KYC requests
Flynn, Matthew        10/19/2023     0.3   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P. Kwan, M.
                                           Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                           scanning service
Francis, Luke         10/19/2023     0.7   Search creditor details based or relationship to Debtors on legal
                                           request
Glustein, Steven      10/19/2023     0.3   Provide comments on PMO slides relating to token venture
                                           investment updates
Glustein, Steven      10/19/2023     0.1   Review PMO slides relating to token venture updates

Heric, Andrew         10/19/2023     1.8   Conduct summary crypto tracing on the ultimate identified location of
                                           two loans of concern related to request 149
Heric, Andrew         10/19/2023     2.2   Conduct blockchain research to identify 24 payments of concern
                                           related to a high-priority crypto tracing request
Heric, Andrew         10/19/2023     0.1   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing methodology for priority request 151
Heric, Andrew         10/19/2023     0.3   Call with L. Iwanski, I. Radwanski, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing crypto tracing updates
Heric, Andrew         10/19/2023     0.4   Call with I. Radwanski, Q. Lowdermilk, and A. Heric (A&M) regarding
                                           open crypto tracing requests
Heric, Andrew         10/19/2023     0.8   Complete a quality control of the request 150 work product produced
                                           by Q. Lowdermilk (A&M)
Heric, Andrew         10/19/2023     0.2   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing open tracing requests
Heric, Andrew         10/19/2023     1.3   Summarize concluding findings and identify target wallets of concern
                                           for request 149
Heric, Andrew         10/19/2023     0.9   Review incoming request 151 and its associated supporting
                                           documentation
Iwanski, Larry        10/19/2023     0.3   Call with L. Iwanski, I. Radwanski, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing crypto tracing updates
Iwanski, Larry        10/19/2023     0.1   Call with L. Iwanski, L. Callerio, and D. Lewandowski (A&M)
                                           discussing methodology for priority request 151
Iwanski, Larry        10/19/2023     0.9   Review of various tracing requests and priorities related to a certain
                                           crypto trading platform
Johnson, Robert       10/19/2023     0.7   Generate row counts for tables identified by EY to confirm all tables
                                           are blank on FTX.US database and provide explanation to EY
Johnston, David       10/19/2023     0.8   Review wind down procedures memo and consider implications and
                                           issues for wind down entities
Johnston, David       10/19/2023     2.6   Consolidate materials and prepare board presentation relating to
                                           Quoine Pte strategic options
Johnston, David       10/19/2023     0.4   Review available materials relating to next steps for FTX EU Ltd




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Johnston, David        10/19/2023     1.7   Review strategic options analysis for FTX Japan KK

Johnston, David        10/19/2023     0.6   Coordinate noticing for Zubr motion to dismiss


Kwan, Peter            10/19/2023     2.1   Devise additional logic related to the validation of transactions,
                                            balance stored within the NSS database txns based on rescans of
                                            wallet addresses
Kwan, Peter            10/19/2023     2.6   Create additional supporting documentation to describe A&M's
                                            existing understanding of aws exchange data fields that were part of
                                            the data handed over to the valuation expert
Kwan, Peter            10/19/2023     1.6   Develop linking logic between exchange related transaction
                                            monitoring alerts and detailed alerts received from 3rd party vendor
                                            over the same time period
Kwan, Peter            10/19/2023     0.3   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P. Kwan, M.
                                            Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                            scanning service
Kwan, Peter            10/19/2023     1.7   Research legacy data requests surrounding follow up question
                                            received from federal regulator to confirm contents, logic used to pull
                                            data from aws
Kwan, Peter            10/19/2023     1.4   Perform extractions of additional blockchain transaction monitoring
                                            alerts for targeted requests made by S&C in response to regulatory
                                            requests
Kwan, Peter            10/19/2023     1.7   Prepare detailed data extract containing all staked/locked
                                            distributions made to customers based on historical holdings in
                                            certain tokens
Kwan, Peter            10/19/2023     1.4   Reperform data extractions of trade data related to a specific ticker
                                            pair based on request for clarification received back from federal
                                            regulator
Lam, James             10/19/2023     0.7   Provide FTX Japan withdrawals and token transfers data for the
                                            updated deck on FTX Japan
Lam, James             10/19/2023     0.7   Draft the proposed follow-up actions for the Alameda wallet review

Lam, James             10/19/2023     0.3   Review the status of crypto transfers from Quoine Pte to BitGo


Lam, James             10/19/2023     2.9   Prepare the review findings in relation to an Alameda wallet

Lam, James             10/19/2023     0.4   Follow up on new wallet(s) created with BitGo and Quoine Pte

Lewandowski, Douglas   10/19/2023     0.1   Call with L. Iwanski, L. Callerio, and D. Lewandowski (A&M)
                                            discussing methodology for priority request 151
Li, Summer             10/19/2023     1.6   Prepare for the balance sheet and management accounts of FTX
                                            Japan K.K. for December 2022 and August 2023
Li, Summer             10/19/2023     0.3   Prepare for the actual cash flow of FTX Japan K.K. from 11
                                            November 2022 to 13 October 2023
Li, Summer             10/19/2023     0.2   Prepare for the documents to be shared with PWP for FTX Japan
                                            K.K




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Li, Summer             10/19/2023     1.7   Prepare for a deck on the recoverability of FTX Japan K.K.'s assets

Li, Summer             10/19/2023     1.1   Analyze the recoverability of the FTX Japan K.K.'s asset


Li, Summer             10/19/2023     0.8   Call with S. Melamed, J. Masters, S. Kojima, K. Takahashi (FTX), H.
                                            Chambers and S. Li (A&M) to discuss the next steps for FTX Japan
Lowdermilk, Quinn      10/19/2023     0.3   Call with L. Iwanski, I. Radwanski, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing crypto tracing updates
Lowdermilk, Quinn      10/19/2023     0.1   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                            discussing methodology for priority request 151
Lowdermilk, Quinn      10/19/2023     2.8   Analyze relativity documents for correspondence between two
                                            parties for tracing request 151
Lowdermilk, Quinn      10/19/2023     0.2   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                            discussing open tracing requests
Lowdermilk, Quinn      10/19/2023     2.7   Identify blockchain information related to provided transactions for
                                            tracing request 150
Lowdermilk, Quinn      10/19/2023     0.4   Call with I. Radwanski, Q. Lowdermilk, and A. Heric (A&M) regarding
                                            open crypto tracing requests
McGoldrick, Hugh       10/19/2023     0.4   Call with M. van den Belt, H. McGoldrick, J. Casey (A&M), Martin
                                            Chua, Paresh Jotangia, and Yuen Ling Wong (Grant Thornton) re
                                            MPC Technologies
Mohammed, Azmat        10/19/2023     0.6   Call with R. Perubhatla (FTX), A. Mohammed, M. Flynn (A&M) to
                                            discuss technology and engineering matters
Mohammed, Azmat        10/19/2023     0.4   Review research materials related to KYC permissions and limits
                                            changes over time and fiat withdrawal overrides
Mohammed, Azmat        10/19/2023     0.3   Update engineering status slides for FTX leadership

Mohammed, Azmat        10/19/2023     0.3   Call with J. Sardinha, E. Simendinger, T. Cheam (FTX), P. Kwan, M.
                                            Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                            scanning service
Paolinetti, Sergio     10/19/2023     1.4   Create Excel file that categorizes pre-ICO investments by funded
                                            amount and token quantity
Paolinetti, Sergio     10/19/2023     1.1   Arrange pre-ICO tokens by token funded amount to start outreach
                                            process
Paolinetti, Sergio     10/19/2023     0.8   Integrate latest negotiation updates to pre-ICO token slides


Radwanski, Igor        10/19/2023     0.3   Call with L. Iwanski, I. Radwanski, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing crypto tracing updates
Radwanski, Igor        10/19/2023     0.1   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                            discussing methodology for priority request 151
Radwanski, Igor        10/19/2023     0.4   Call with I. Radwanski, Q. Lowdermilk, and A. Heric (A&M) regarding
                                            open crypto tracing requests
Radwanski, Igor        10/19/2023     0.2   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                            discussing open tracing requests
Radwanski, Igor        10/19/2023     0.3   Analyze database documents to identify on-chain data for request
                                            151

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Business Operations
Professional               Date    Hours    Activity
Radwanski, Igor       10/19/2023     2.7   Analyze transactions details regarding Debtor transfers for request
                                           145
Radwanski, Igor       10/19/2023     2.9   Identify key attributes from target transactions for request 145


Ramanathan, Kumanan   10/19/2023     0.6   Review of Australian administrator request re: derivative pricing script

Ramanathan, Kumanan   10/19/2023     0.9   Review of mobile coin presentation and analysis and distribute

Ramanathan, Kumanan   10/19/2023     0.4   Meet with A. Selwood, K. Ramanathan (A&M) to review crypto coin
                                           report
Ramanathan, Kumanan   10/19/2023     0.3   Coordinate execution of OTC agreements and distribute

Sagen, Daniel         10/19/2023     1.6   Review staked asset summaries from BitGo and Sygnia, prepare
                                           reconciliation schedule to identify follow up requests
Sagen, Daniel         10/19/2023     0.5   Discussion with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to
                                           update 10/13 coin report token vesting inputs
Sagen, Daniel         10/19/2023     0.4   Discussion with D. Sagen and A. Selwood (A&M) to update 10/13
                                           coin report Quoine inputs
Sagen, Daniel         10/19/2023     0.4   Call with A. Mott (Messari), J. Croke (S&C), D. Sagen (A&M) to
                                           discuss market updates
Sagen, Daniel         10/19/2023     1.4   Review and revise select cold storage transaction mappings in coin
                                           report detail
Sagen, Daniel         10/19/2023     0.7   Follow up correspondence with D. Du (BitGo) regarding stake asset
                                           summary
Sagen, Daniel         10/19/2023     2.3   Review working draft of coin report model, provide feedback
                                           regarding edits to draft
Sagen, Daniel         10/19/2023     0.6   Correspondence with D. Johnston (A&M) regarding digital asset
                                           securitization process
Sagen, Daniel         10/19/2023     0.6   Correspondence with J. Lam (A&M) regarding FTX Japan coin
                                           reporting inputs
Sagen, Daniel         10/19/2023     1.2   Research and respond to token categorization requests from J. Zatz
                                           (A&M)
Salas Nunez, Luis     10/19/2023     0.5   Discussion with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to
                                           update 10/13 coin report token vesting inputs
Selwood, Alexa        10/19/2023     0.5   Discussion with D. Sagen, L. Salas Nunez, and A. Selwood (A&M) to
                                           update 10/13 coin report token vesting inputs
Selwood, Alexa        10/19/2023     0.4   Discussion with D. Sagen and A. Selwood (A&M) to update 10/13
                                           coin report Quoine inputs
Selwood, Alexa        10/19/2023     0.6   Summarize Singapore and Japan holdings for select tokens in 10/13
                                           coin report
Selwood, Alexa        10/19/2023     0.9   Prepare coin report variance analysis for internal A&M review


Selwood, Alexa        10/19/2023     0.4   Meet with A. Selwood, K. Ramanathan (A&M) to review crypto coin
                                           report




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Business Operations
Professional                 Date    Hours    Activity
Selwood, Alexa          10/19/2023     0.9   Complete quality control check of coin report variance analysis

Selwood, Alexa          10/19/2023     0.8   Complete quality control check of internal coin report 10/13 draft


Selwood, Alexa          10/19/2023     0.3   Update coin report input model token name mapping

Selwood, Alexa          10/19/2023     0.4   Prepare bridge from 9/29 coin report to 10/13 coin report

Selwood, Alexa          10/19/2023     1.3   Analyze 9/29 to 10/13 coin report changes


Selwood, Alexa          10/19/2023     0.6   Prepare 10/13 coin report for internal A&M review

Selwood, Alexa          10/19/2023     1.1   Summarize 10/13 coin report variance analysis


Sexton, Rachel          10/19/2023     0.4   Call with R. Sexton and J. Casey (A&M) re review comments for
                                             Grant Thornton letters of engagement
Sexton, Rachel          10/19/2023     0.5   Review marked-up version of engagement letter in relation to FTX
                                             wind-down entities
Stegenga, Jeffery       10/19/2023     0.8   Initial review of standalone Plan Effectiveness Timeline milestones
                                             through July 2024
Stockmeyer, Cullen      10/19/2023     1.4   Continue reconciliation of prior petition balances based on updated
                                             view of venture investment balances
Stockmeyer, Cullen      10/19/2023     1.7   Perform reconciliation procedures related to updated token funding
                                             timing for prior petition balances
Stockmeyer, Cullen      10/19/2023     1.8   Perform reconciliation procedures related to change in funded
                                             amounts for tokens based on prior petition balances
Stockmeyer, Cullen      10/19/2023     1.6   Reconcile silo adjustments to token receivable balances as of
                                             petition date
Stockmeyer, Cullen      10/19/2023     1.8   Provide commentary on changes in vesting schedule quantity
                                             between petition balances
Stockmeyer, Cullen      10/19/2023     1.9   Reconcile tokens to prior petition date balances related to petition
                                             pricing changes
Sullivan, Christopher   10/19/2023     1.4   Weekly 2.0 update with E. Mosely, S. Coverick, K. Ramanathan, C.
                                             Sullivan (A&M) with S&C, PWP, UCC and AHC advisors
Sunkara, Manasa         10/19/2023     2.9   Search the database for a list of withdrawal addresses to provide
                                             their user account details
Titus, Adam             10/19/2023     0.7   Cross reference token receivable with token investment tracker to
                                             ensure updated accurately
Titus, Adam             10/19/2023     1.1   Update PMO slides for weekly update including new details on token
                                             process steps
Titus, Adam             10/19/2023     0.6   Build follow up questions to potential buyer based on token proposal


Titus, Adam             10/19/2023     1.6   Review potential buyer proposal for select token assets




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Professional                 Date    Hours    Activity
Titus, Adam             10/19/2023     0.9   Review token receivable update for coin report upload

van den Belt, Mark      10/19/2023     0.3   Call with M. van den Belt, H. McGoldrick, J. Casey (A&M) re weekly
                                             update on RoW and European subsidiaries
van den Belt, Mark      10/19/2023     0.6   Prepare correspondence to A. Garayoa (S&C) in relation to creditor
                                             notification for Zubr court motion
van den Belt, Mark      10/19/2023     2.1   Review and amend presentation on situation overview on Quoine
                                             Pte Ltd
van den Belt, Mark      10/19/2023     2.1   Prepare presentation for court motion on FTX Japan and Cyprus
                                             entities
van den Belt, Mark      10/19/2023     2.6   Prepare cross-functional workstream deck for meeting on October 20

van den Belt, Mark      10/19/2023     0.3   Call with M. van den Belt, H. McGoldrick, J. Casey (A&M), Martin
                                             Chua, Paresh Jotangia, and Yuen Ling Wong (Grant Thornton) re
                                             MPC Technologies
Walia, Gaurav           10/19/2023     0.6   Call with M. Flynn, K. Ramanathan, G. Walia (A&M) to discuss
                                             workstream status and customer analysis
Walia, Gaurav           10/19/2023     1.3   Review the wallet categories and provide an analysis of necessary
                                             wallet categories for intercompany analysis
Walia, Gaurav           10/19/2023     0.8   Review the transactions for a certain customer based on an account
                                             investigation
Walia, Gaurav           10/19/2023     2.6   Prepare a list of summary diligence questions regarding the
                                             Alameda OTC portal
Walia, Gaurav           10/19/2023     1.4   Review the preference data request from S&C and provide feedback


Walia, Gaurav           10/19/2023     1.2   Prepare responses for several token pricing related questions

Walia, Gaurav           10/19/2023     0.3   Prepare a list of unique bank accounts for intercompany analysis

Wall, Guy               10/19/2023     0.2   Review available materials related to FTX Dubai liquidation
                                             advertisement period
Wall, Guy               10/19/2023     0.4   Review available materials related to FTX Dubai audit

Wilson, David           10/19/2023     1.4   Write code for request responder automation tool that automatically
                                             generates email message to requesting individual
Wilson, David           10/19/2023     1.6   Run wildcard search for 9 individuals and entities and provide results
                                             for internal data request
Wilson, David           10/19/2023     2.4   Script database to pull in jurisdiction and country information for list
                                             of 1,122 accounts
Wilson, David           10/19/2023     1.2   Pull full transactional history for one account for internal A&M data
                                             request
Wilson, David           10/19/2023     1.8   Script database to identify account related to email identifier and
                                             provide full transactional history for S&C data request
Wilson, David           10/19/2023     2.2   Script database to pull full transactional history for three accounts
                                             and identify all AML transaction monitoring alerts and flags


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Business Operations
Professional                 Date    Hours    Activity
Zhang, Qi               10/19/2023     1.5   Daily review of Integreon manual review team's work to record down
                                             issues identified for 19 Oct for 4 UK team
Zhang, Qi               10/19/2023     0.4   Discuss with Q. Zhang, C. Tong and J. Yan (A&M) regarding the
                                             proposed KYC process for secondary claims
Zhang, Qi               10/19/2023     0.6   Edit powerpoint deck on secondary claims holder KYC process to
                                             raise comments and questions
Zhang, Qi               10/19/2023     0.3   Clear questions related to KYC raised by customer service team
                                             members 19 Oct
Arbid, Rami             10/20/2023     0.7   Call with R. Arbid, G. Wall (A&M) to discuss liquidation steps after
                                             advertising period
Arbid, Rami             10/20/2023     0.3   Review available materials related to FTX Dubai liquidator claims
                                             declaration
Arbid, Rami             10/20/2023     0.4   Call with R. Arbid, G. Wall (A&M), R. Kanaan (Kanaan & Associates)
                                             on claims
Arbid, Rami             10/20/2023     0.3   Call with R. Arbid, M. van den Belt (A&M) to discuss advertisement
                                             period
Baker, Kevin            10/20/2023     1.7   Develop a workflow and data structure to build out infrastructure to
                                             house 3rd party exchange data
Baker, Kevin            10/20/2023     0.3   Teleconference with K. Baker, P. Kwan, D. Wilson (A&M) to go
                                             through open AWS requests and ongoing workstreams
Baker, Kevin            10/20/2023     0.4   Call with K. Baker, J. Zatz, D. Wilson, M. Sunkara, and P. Kwan
                                             (A&M) to discuss status of ongoing data requests
Baker, Kevin            10/20/2023     1.9   Compile customer residency information for a specific request from
                                             counsel regarding the data breach
Baker, Kevin            10/20/2023     2.6   Provide reporting and data analytics on AWS transactions counts for
                                             2020-2022 to counsel
Balmelli, Gioele        10/20/2023     0.6   Call with G. Balmelli (A&M) and D. Knezevic (HB) re Swiss
                                             administrator requirements on FTX Europe data access
Balmelli, Gioele        10/20/2023     1.1   Review available materials in relation to questions from Swiss
                                             administrator re FTX Europe
Balmelli, Gioele        10/20/2023     0.8   Finalize overview and documentation for FTX Europe administrator
                                             meeting
Callerio, Lorenzo       10/20/2023     0.6   Review and approve the updated version of the unvesting /
                                             unlocking tokens materials prepared by S. Paolinetti (A&M)
Callerio, Lorenzo       10/20/2023     0.4   Review one of the token issuers contracts in preparation for a call
                                             with their legal advisors
Callerio, Lorenzo       10/20/2023     0.2   Review the response to a specific request received from the AHC
                                             prepared by Q. Lowdermilk (A&M)
Casey, John             10/20/2023     1.9   Prepare entity schedule re updated process for each relevant
                                             European and RoW entity
Chambers, Henry         10/20/2023     0.3   call with E. Mosley, K. Ramanathan, S. Coverick and H. Chambers
                                             (A&M) regarding plan for FTX Japan next steps
Chambers, Henry         10/20/2023     0.4   Correspondence regarding request for financial analysis of FTX
                                             Japan




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Professional                Date    Hours    Activity
Chambers, Henry        10/20/2023     1.1   Respond to questions from PWP regarding FTX Japan

Coverick, Steve        10/20/2023     0.3   Call with E.Mosley, K. Ramanathan, S. Coverick and H. Chambers
                                            (A&M) regarding plan for FTX Japan next steps
Dalgleish, Elizabeth   10/20/2023     0.8   Prepare monthly overview of MPC Technologies FY23 payments per
                                            the bank statements
Dalgleish, Elizabeth   10/20/2023     0.4   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                            discuss FTX Europe wind-down matters
Duncan, Ryan           10/20/2023     1.3   Revise working group list in response to workstream lead review
                                            comments
Dusendschon, Kora      10/20/2023     0.3   Teleconference with K. Dusendschon, M. Sunkara, S. Krautheim
                                            (A&M) to go through open AWS requests and ongoing workstreams
Flynn, Matthew         10/20/2023     1.2   Review historical emails in OTC inbox for customer information


Flynn, Matthew         10/20/2023     0.3   Call with M. Flynn, L. Salas (A&M) to discuss admin user access

Flynn, Matthew         10/20/2023     0.9   Update management customer portal KPI presentation


Flynn, Matthew         10/20/2023     0.9   Review admin account access and transaction approval detail

Flynn, Matthew         10/20/2023     0.6   Update project management presentation for Management

Flynn, Matthew         10/20/2023     0.6   Review historical Australia employment details for S&C


Glustein, Steven       10/20/2023     1.1   Analyze petition date token investment compared to remaining
                                            balance relating to LedgerPrime assets
Iwanski, Larry         10/20/2023     0.7   Review of tracing requests and priorities regarding a certain crypto
                                            exchange trading platform
Iwanski, Larry         10/20/2023     0.8   Correspondence related to crypto tracing requests and investigations

Johnson, Robert        10/20/2023     0.6   Generate size and count per database export to provide to EY for
                                            confirmation of successful download by EY
Johnson, Robert        10/20/2023     0.6   Create additional Metabase users and convey credentials to
                                            individual users
Johnston, David        10/20/2023     0.4   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                            discuss FTX Europe wind-down matters
Johnston, David        10/20/2023     3.2   Review and update motion to dismiss, supporting declaration and
                                            support binder for Zubr
Johnston, David        10/20/2023     1.2   Review and update analysis relating to FTX wind down entities and
                                            supporting presentation
Johnston, David        10/20/2023     0.4   Review available materials in relation to FTX EU claims process and
                                            customer portal
Johnston, David        10/20/2023     0.3   Review questions in relation to MPC Technologies ahead of sending
                                            to auditor




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Professional                Date    Hours    Activity
Johnston, David        10/20/2023     0.6   Coordinate FTX Europe data security and plan next steps

Johnston, David        10/20/2023     0.6   Call with M. Cilia (FTX), D. Hammon, M. Borts, J. Scott (E&Y), E.
                                            Simpson, A. Kranzley (S&C), M. van den Belt, D. Johnston (A&M)
                                            on FTX wind-down matters
Krautheim, Sean        10/20/2023     0.3   Call with K. Dusendschon, K. Baker, P. Kwan, M. Sunkara, S.
                                            Krautheim and D. Wilson (A&M) to discuss open data request queue
                                            items
Kwan, Peter            10/20/2023     0.3   Teleconference with K. Baker, P. Kwan, D. Wilson (A&M) to go
                                            through open AWS requests and ongoing workstreams
Kwan, Peter            10/20/2023     1.4   Prepare schedule of targeted trades related to a specific ticker pair
                                            based on request for additional data received back from federal
                                            regulator
Kwan, Peter            10/20/2023     1.2   Draft response to S&C to provide additional clarifying information
                                            related to trades performed in a specific currency pair from inception
                                            through to system shutdown
Kwan, Peter            10/20/2023     0.3   Call with J. LaBella, D. White (Alix), K. Ramanathan, P. Kwan, G.
                                            Walia, D. Sagen (A&M) regarding crypto asset allocation
Kwan, Peter            10/20/2023     1.1   Review extracted orders data to confirm accuracy of information for
                                            providing revised time estimates in relation to due diligence requests
Kwan, Peter            10/20/2023     2.7   Test revised linking logic between exchange related transaction
                                            monitoring alerts and detailed alerts received from 3rd party vendor
                                            over the same time period
Kwan, Peter            10/20/2023     1.3   Prepare additional high level summary statistics based on loaded
                                            alert data received from third party blockchain vendor to provide
                                            context to the A&M team
Kwan, Peter            10/20/2023     0.8   Finalize extraction of product level data related to staked/locked
                                            distributions made to customers based on historical holdings in
                                            certain tokens
Lam, James             10/20/2023     0.7   Follow up on questions on FTX Japan and Quoine Pte wallet
                                            balances
Lam, James             10/20/2023     0.6   Research on the licensing requirements for FTX Japan


Li, Summer             10/20/2023     0.9   Correspondence with G. Posess(PWP) regarding the regulatory
                                            capital requirements for FTX Japan K.K
Li, Summer             10/20/2023     0.8   Conduct research on the type of license of one for the major crypto
                                            exchange players in Japan holds
Li, Summer             10/20/2023     0.5   Correspondence with S. Kojima (FTX) regarding the capital
                                            requirement of FTX Japan K.K
Li, Summer             10/20/2023     1.8   Review of the MOR cash reconciliation in April for FTX Japan K.K

Li, Summer             10/20/2023     2.1   Review of the MOR cash reconciliation in April for Quoine Pte


Lowdermilk, Quinn      10/20/2023     2.3   Finalize crypto tracing deliverable outlining blockchain information
                                            for crypto tracing request 150
Lowdermilk, Quinn      10/20/2023     2.7   Research relativity for correspondence surrounding withdrawals
                                            claimed in a non customer proof of claim form


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Lowdermilk, Quinn     10/20/2023     2.6   Prepare identified relativity documents for crypto tracing request 151

Paolinetti, Sergio    10/20/2023     1.2   Update venture sales marketing material for locked token
                                           investments
Paolinetti, Sergio    10/20/2023     2.1   Compile MM loan agreements information for FTX's top token
                                           receivables
Paolinetti, Sergio    10/20/2023     0.8   Estimate token receivables ahead of token issuer's buyback meeting

Radwanski, Igor       10/20/2023     2.4   Analyze discovered workbooks to extract key information into
                                           request 150 analysis workbook
Radwanski, Igor       10/20/2023     2.8   Create targeted Relativity searches to identify key documents for
                                           request 150
Ramanathan, Kumanan   10/20/2023     0.3   Call with E.Mosley, K. Ramanathan, S. Coverick and H. Chambers
                                           (A&M) regarding plan for FTX Japan next steps
Ramanathan, Kumanan   10/20/2023     0.6   Review of FTX ventures presentation materials and provide
                                           comments
Ramanathan, Kumanan   10/20/2023     0.8   Review KYC process for FTX EU customers and correspond with
                                           counsel
Ramanathan, Kumanan   10/20/2023     0.4   Review of crypto Grayscale materials and distribute

Ramanathan, Kumanan   10/20/2023     0.3   Review of working group list and provide comments

Sagen, Daniel         10/20/2023     0.6   Review materials prepared by C. Stockmeyer (A&M) regarding D.
                                           Anosova (AG) token related diligence requests
Sagen, Daniel         10/20/2023     0.2   Call with D. Sagen, A. Selwood to discuss Category A token change
                                           log from 9/29 to 10/13
Sagen, Daniel         10/20/2023     1.2   Correspondence with various A&M team personnel regarding
                                           diligence requests from D. Anosova (AG)
Sagen, Daniel         10/20/2023     1.6   Prepare summary table of select crypto asset positions per request
                                           from counsel
Sagen, Daniel         10/20/2023     0.3   Correspondence with BitGo team, C. Rhine (Galaxy), regarding
                                           securing digital assets
Sagen, Daniel         10/20/2023     0.4   Call with D. Sagen, A. Selwood to update quality control checks in
                                           10/13 coin report
Sagen, Daniel         10/20/2023     0.6   Prepare for call with Alix team regarding crypto asset allocation

Sagen, Daniel         10/20/2023     0.3   Call with J. LaBella, D. White (Alix), K. Ramanathan, P. Kwan, G.
                                           Walia, D. Sagen (A&M) regarding crypto asset allocation
Salas Nunez, Luis     10/20/2023     0.3   Call with M. Flynn, L. Salas (A&M) to discuss admin user access

Salas Nunez, Luis     10/20/2023     0.2   Revise Oct 13 coin report final submission


Selwood, Alexa        10/20/2023     0.2   Call with D. Sagen, A. Selwood to discuss Category A token change
                                           log from 9/29 to 10/13




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Professional                 Date    Hours    Activity
Selwood, Alexa          10/20/2023     0.4   Call with D. Sagen, A. Selwood to update quality control checks in
                                             10/13 coin report
Selwood, Alexa          10/20/2023     1.4   Update category A token change log for 10/13 quantities and prices


Selwood, Alexa          10/20/2023     1.1   Update 10/13 coin report for external distribution

Selwood, Alexa          10/20/2023     1.4   Update coin report input model for quality control checks

Selwood, Alexa          10/20/2023     0.9   Summarize Paradox fund proof of claim holdings


Selwood, Alexa          10/20/2023     1.7   Analyze model mechanics for coin report output models

Slay, David             10/20/2023     0.4   Discussion with C. Sullivan & D. Slay (A&M) to update the T-minus
                                             tracker for operational workstreams
Slay, David             10/20/2023     0.8   Discussion with C. Sullivan, H. Trent & D. Slay (A&M) to draft
                                             revised PMO slides
Stockmeyer, Cullen      10/20/2023     0.4   Update token receivables liquidation schedule based on
                                             commentary from L. Callerio (A&M)
Stockmeyer, Cullen      10/20/2023     1.5   Finalize reconciliation of venture token model receivables balance as
                                             of petition date for client
Stockmeyer, Cullen      10/20/2023     1.8   Update token receivables model to include latest coin report dataset
                                             as of 10/13
Stockmeyer, Cullen      10/20/2023     1.4   Finalize venture token model receivables balance as of petition date
                                             for client
Sullivan, Christopher   10/20/2023     0.8   Discussion with C. Sullivan, H. Trent & D. Slay (A&M) to draft
                                             revised disclosure statement template slides
Sullivan, Christopher   10/20/2023     0.4   Discussion with C. Sullivan & D. Slay (A&M) to update the T-minus
                                             tracker for operational workstreams
Sullivan, Christopher   10/20/2023     1.4   Provide detailed comments to the revised T-Minus tracker expanded
                                             for all workstreams
Sullivan, Christopher   10/20/2023     0.7   Draft instructions for T-minus and status update deck


Sunkara, Manasa         10/20/2023     2.7   Query the database to search for all ftxus withdrawals and deposits
                                             associated with a list of transaction hashes
Sunkara, Manasa         10/20/2023     0.4   Call with K. Baker, J. Zatz, D. Wilson, M. Sunkara, and P. Kwan
                                             (A&M) to discuss status of ongoing data requests
Sunkara, Manasa         10/20/2023     0.3   Teleconference with K. Dusendschon, M. Sunkara, S. Krautheim
                                             (A&M) to go through open AWS requests and ongoing workstreams
Titus, Adam             10/20/2023     1.4   Review of token receivable ledger for hedge fund entity to ensure
                                             updated prior to sending update presentation
Titus, Adam             10/20/2023     1.0   Build recommendation presentation related to potential purchase of
                                             tokens from potential buyer
Titus, Adam             10/20/2023     1.1   Review token recommendation presentation related to staking
                                             position ensure accurate




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Professional                 Date    Hours    Activity
Titus, Adam             10/20/2023     0.7   Provide comments to L. Clayton [A&M] on presentation for potential
                                             token purchase
Titus, Adam             10/20/2023     1.1   Review contract for token issuer prior to call to determine relevant
                                             tokens owed
Trent, Hudson           10/20/2023     0.8   Discussion with C. Sullivan, H. Trent & D. Slay (A&M) to draft
                                             revised disclosure statement template slides
Trent, Hudson           10/20/2023     0.8   Discussion with C. Sullivan, H. Trent & D. Slay (A&M) to draft
                                             revised PMO slides
van den Belt, Mark      10/20/2023     0.6   Prepare correspondence to O. Ravnushkin, O. Okuneva (FTX) on
                                             Zubr in relation to creditor notifications
van den Belt, Mark      10/20/2023     0.7   Prepare correspondence to D. Johnston (A&M) in relation to Quoine
                                             on additional findings of strategic options analysis
van den Belt, Mark      10/20/2023     0.1   Prepare correspondence to M. Cilia (FTX) in relation to financials of
                                             MPC Technologies
van den Belt, Mark      10/20/2023     0.4   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                             discuss FTX Europe wind-down matters
van den Belt, Mark      10/20/2023     0.3   Call with R. Arbid, M. van den Belt, G. Wall (A&M) to discuss
                                             advertisement period
van den Belt, Mark      10/20/2023     3.0   Review strategic options analysis of FTX Japan

van den Belt, Mark      10/20/2023     0.6   Call with M. Cilia (FTX), D. Hammon, M. Borts, J. Scott (E&Y), E.
                                             Simpson, A. Kranzley (S&C), M. van den Belt, D. Johnston (A&M)
                                             on FTX wind-down matters
Walia, Gaurav           10/20/2023     2.6   Prepare a one-page summary of the processing withdrawals
                                             proposed reconciliation process
Walia, Gaurav           10/20/2023     0.8   Prepare a summary of the findings related to a certain OTC portal
                                             balance
Walia, Gaurav           10/20/2023     0.9   Finalize the list of questions related to the Alameda OTC portal

Walia, Gaurav           10/20/2023     2.7   Prepare a summary reconciliation of a customer's claims balances


Walia, Gaurav           10/20/2023     1.4   Prepare a summary of customer claims by customer

Walia, Gaurav           10/20/2023     1.6   Update the distribution model process deck based on feedback


Walia, Gaurav           10/20/2023     0.2   Call with R. Perubhatla (FTX) to discuss IP analysis

Walia, Gaurav           10/20/2023     0.3   Call with J. LaBella, D. White (Alix), K. Ramanathan, P. Kwan, G.
                                             Walia, D. Sagen (A&M) regarding crypto asset allocation
Wall, Guy               10/20/2023     0.7   Call with R. Arbid, G. Wall (A&M) to discuss liquidation steps after
                                             advertising period
Wall, Guy               10/20/2023     0.3   Review available materials related to FTX Dubai liquidator claims
                                             declaration
Wall, Guy               10/20/2023     0.4   Call with R. Arbid, G. Wall (A&M), R. Kanaan (Kanaan & Associates)
                                             on claims


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Professional                Date    Hours    Activity
Wall, Guy              10/20/2023     0.3   Call with R. Arbid, M. van den Belt (A&M) to discuss advertisement
                                            period
Wilson, David          10/20/2023     2.8   Script database for A&M data request to identify accounts
                                            withdrawing to 16 different external wallets
Wilson, David          10/20/2023     0.3   Teleconference with K. Baker, P. Kwan, D. Wilson (A&M) to go
                                            through open AWS requests and ongoing workstreams
Wilson, David          10/20/2023     0.4   Call with K. Baker, J. Zatz, D. Wilson, M. Sunkara, and P. Kwan
                                            (A&M) to discuss status of ongoing data requests
Wilson, David          10/20/2023     1.2   Add code to request responder that properly formats the names of
                                            manually exported tables
Wilson, David          10/20/2023     1.3   Review preference code to ensure data duplication related to
                                            interexchange transfers is prevented
Wilson, David          10/20/2023     2.9   Review and debug VBA code in customer claims balances to pdf
                                            excel macro
Yan, Jack              10/20/2023     2.1   Perform bank reconciliation for FTX Japan group as at April and May
                                            2023
Zatz, Jonathan         10/20/2023     0.4   Call with K. Baker, J. Zatz, D. Wilson, M. Sunkara, and P. Kwan
                                            (A&M) to discuss status of ongoing data requests
Zhang, Qi              10/20/2023     1.4   Daily review of Integreon manual review team's work to record down
                                            issues identified for 20 Oct for 3 UK team
Chambers, Henry        10/21/2023     0.4   Correspondence with A&M team regarding potential updates to KEIP

Francis, Luke          10/21/2023     2.1   Search creditor details based or relationship to Debtors on legal
                                            request
Kwan, Peter            10/21/2023     1.4   Review interim results linking alert data between aws exchange and
                                            detailed data provided by 3rd party blockchain transaction
                                            monitoring vendor
Kwan, Peter            10/21/2023     2.2   Continue to develop auxiliary linking logic to create a bridge between
                                            exchange related transaction monitoring alerts and detailed alerts
                                            received from 3rd party vendor
Li, Summer             10/21/2023     1.6   Review of the MOR cash reconciliation in May for FTX Japan K.K


Li, Summer             10/21/2023     1.1   Review of the MOR cash reconciliation in May for Quoine Pte

Wilson, David          10/21/2023     2.7   Script database for A&M data request to pull full transactional
                                            activity for corporate account including NFT activity
Wilson, David          10/21/2023     2.4   Script database for A&M data request to pull full transactional
                                            activity for two corporate accounts from six months prior to petition
                                            date
Johnston, David        10/22/2023     0.7   Review materials Quoine Pte and FTX Europe asset sale

Kwan, Peter            10/22/2023     0.6   Prepare revised data validation reporting packet based on wallet
                                            address (txns, balances, coins, addresses) data repulled from the
                                            nss database
Sagen, Daniel          10/22/2023     0.2   Correspondence with K. Ramanathan, L. Salas Nunez (A&M)
                                            regarding AG team diligence requests


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Professional                 Date    Hours    Activity
Salas Nunez, Luis       10/22/2023     0.9   Organize and summarize valuation data requests, current workflow
                                             status, and pending items
Sullivan, Christopher   10/22/2023     1.1   Provide comments to revised T-minus for operational workstreams


Walia, Gaurav           10/22/2023     0.7   Prepare summary responses on known IP

Walia, Gaurav           10/22/2023     2.6   Review the claims withdrawals process deck and provide feedback

Wilson, David           10/22/2023     1.4   Finalize results for A&M data request involving accounts withdrawing
                                             to external wallets and quality review outputs
Wilson, David           10/22/2023     0.7   Debug request responder code to fix the early closure of the
                                             connection to the database when running multiple SQL queries
Arbid, Rami             10/23/2023     0.3   Call with R. Arbid (A&M), R. Kanaan (Kanaan & Associates) on
                                             claims period
Arbid, Rami             10/23/2023     0.2   Review available materials related to FTX Dubai advertising period
                                             completion
Baker, Kevin            10/23/2023     0.2   Teleconference with K. Baker, P. Kwan, D. Wilson, and R. Johnson
                                             (A&M) to discuss open requests and action items
Baker, Kevin            10/23/2023     2.4   Provide transactional reports to internal A&M team for specific
                                             wallets addresses found on the exchange
Baker, Kevin            10/23/2023     1.3   Call with K. Baker, S. Krautheim (A&M) to discuss next steps for
                                             KYC actionable
Baker, Kevin            10/23/2023     2.9   Assist with the documentation and jurisdiction information for
                                             customers identified in a potential data breach for counsel
Baker, Kevin            10/23/2023     2.4   Investigate specific Alameda database requests for counsel
                                             regarding an inquiry from a government agency
Balmelli, Gioele        10/23/2023     0.9   Follow-up on FTX Europe administrator requests


Balmelli, Gioele        10/23/2023     1.9   Call with J. Bavaud (FTX), A. Pellizzari, T. Luginbuehl, R. Bischof
                                             (L&S), D. Knezevic, T. Zemp (HB), G. Balmelli (A&M) on FTX
                                             Europe matters
Bowles, Carl            10/23/2023     0.3   Consider strategy with respect to strategic options analysis of
                                             dormant entities in Nigeria
Broskay, Cole           10/23/2023     0.7   E-mail correspondence with R. Gordon (A&M) regarding intellectual
                                             property supporting documentation
Callerio, Lorenzo       10/23/2023     0.7   Call with M. Flynn, L. Callerio, L. Lambert, L. Salas (A&M) to discuss
                                             crypto tracing data request
Callerio, Lorenzo       10/23/2023     0.3   Call with L. Lambert and L. Callerio (A&M) re: withdrawal analysis


Callerio, Lorenzo       10/23/2023     0.8   Review the withdrawal information received from the database team

Chambers, Henry         10/23/2023     0.4   Correspondence with A&M data privacy team regarding privacy
                                             policy issues
Chambers, Henry         10/23/2023     0.8   Correspondence with AMT regarding local counsel advice on FTX
                                             Japan licensing issues


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Chambers, Henry          10/23/2023     0.4   Call with N. Mehta (S&C) and H. Chambers (A&M) regarding FTX
                                              Japan next steps
Chambers, Henry          10/23/2023     0.7   Prepare draft skeleton for FTX Japan presentation on next steps


Chambers, Henry          10/23/2023     1.3   Review of Liquid group most recent balance sheets

Chan, Jon                10/23/2023     2.9   Investigate activity related to specific suspicious flags in transfer data

Chan, Jon                10/23/2023     0.2   Teleconference with K. Dusendschon, M. Sunkara, J. Zatz, J. Chan,
                                              and S. Krautheim (A&M) to discuss open requests and action items
Collis, Jack             10/23/2023     0.7   Review and update strategic options analysis for FTX Trading GmbH

Coverick, Steve          10/23/2023     0.7   Meet with J. Dubow, E. Mosley, K. Ramanathan (A&M) re: FTX
                                              Japan operational matters
Coverick, Steve          10/23/2023     0.8   Call with J. Ray (FTX), A. Kranzley, E. Simpson (S&C), E. Mosley,
                                              S. Coverick, D. Johnston, M. van den Belt (A&M) on FTX Europe
                                              asset sale, Quoine strategic options analysis and other FTX rest of
                                              world matters
Dalgleish, Elizabeth     10/23/2023     1.6   Prepare the indexes for the support binder for the combined Mosley
                                              Declaration and Motion to Dismiss for Zubr Exchange Ltd, Liquid
                                              Financial, LiquidEx and DAAG Trading DMCC
Dalgleish, Elizabeth     10/23/2023     3.1   Prepare supporting information for support binder for the combined
                                              Mosley Declaration for Zubr Exchange Ltd, Liquid Financial,
                                              LiquidEx and DAAG Trading DMCC
Dalgleish, Elizabeth     10/23/2023     1.2   Review combined Mosley Declaration for Zubr Exchange Ltd, Liquid
                                              Financial, LiquidEx and DAAG Trading DMCC to identify supporting
                                              information required
Dalgleish, Elizabeth     10/23/2023     1.3   Prepare updated post-petition payments evidence for Zubr
                                              Exchange Ltd to be included in the Mosley Declaration and Motion to
                                              Dismiss support binder
Duncan, Ryan             10/23/2023     0.7   Complete further revisions to headcount summary in response to
                                              internal review
Duncan, Ryan             10/23/2023     0.8   Implement changes from crypto team review in October working
                                              group list update
Duncan, Ryan             10/23/2023     2.4   Revise and amend October headcount summary in response to
                                              review comments
Dusendschon, Kora        10/23/2023     0.2   Teleconference with K. Dusendschon, M. Sunkara, J. Zatz, J. Chan,
                                              and S. Krautheim (A&M) to discuss open requests and action items
Flynn, Matthew           10/23/2023     0.4   Update crypto workstream team deliverable plan


Flynn, Matthew           10/23/2023     0.5   Call with J. Sardinha, E. Simendinger and others (FTX), P. Kwan, M.
                                              Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                              scanning service
Flynn, Matthew           10/23/2023     0.7   Call with M. Flynn, L. Callerio, L. Lambert, L. Salas (A&M) to discuss
                                              crypto tracing data request
Hainline, Drew           10/23/2023     0.7   Call to review drafted dismissal motions and support with D.
                                              Johnston, M. van den Belt, D. Hainline (A&M)


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Hainline, Drew        10/23/2023     0.1   Call to discuss next steps for motion to dismiss binder support with
                                           M. van den Belt, D. Hainline (A&M)
Hainline, Drew        10/23/2023     0.8   Draft updates to presentation related to motions to dismiss select
                                           international entities
Hainline, Drew        10/23/2023     0.4   Review draft of declarations in the motion to dismiss for select
                                           international entities
Hainline, Drew        10/23/2023     1.4   Review support available to close open items for motion to dismiss
                                           support binders of select international entities
Hainline, Drew        10/23/2023     0.6   Call to review open items for support binders related to motions to
                                           dismiss select international entities with D. Kuruvilla, D. Hainline
                                           (A&M)
Heric, Andrew         10/23/2023     0.7   Conduct research of two potential debtor addresses of interest for an
                                           ad-hoc crypto tracing team request
Heric, Andrew         10/23/2023     1.6   Conduct crypto tracing of an identified token transfer of interest to
                                           reveal its ultimate destination
Heric, Andrew         10/23/2023     0.9   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing crypto tracing updates
Heric, Andrew         10/23/2023     1.9   Create and input a crypto tracing visual displaying the movement of
                                           tokens of concern into the request 149 deliverable
Heric, Andrew         10/23/2023     1.4   Summarize findings, limitations, conclusions, and next steps for the
                                           request 149 deliverable
Heric, Andrew         10/23/2023     1.4   Gather and quantify transaction detail associated with request 149
                                           transfers of concern
Heric, Andrew         10/23/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                           request strategy
Iwanski, Larry        10/23/2023     0.9   Review of reporting related to investigations and crypto tracing team
                                           priorities
Iwanski, Larry        10/23/2023     0.8   Analysis and review of a deliverable for crypto tracing request 150

Johnson, Robert       10/23/2023     0.2   Teleconference with K. Baker, P. Kwan, D. Wilson, and R. Johnson
                                           (A&M) to discuss open requests and action items
Johnson, Robert       10/23/2023     0.6   Perform upgrade on database server (alameda analysis server) to
                                           implement latest patches
Johnson, Robert       10/23/2023     0.6   Perform upgrade on database server (FTX us govt instance) to
                                           implement latest patches
Johnson, Robert       10/23/2023     0.4   Perform upgrade on database server (FTX com govt instance) to
                                           implement latest patches
Johnson, Robert       10/23/2023     0.3   Perform upgrade on database server (FTX jpn analysis instance) to
                                           implement latest patches
Johnson, Robert       10/23/2023     0.7   Perform upgrade on database (FTX bank data) server to implement
                                           latest patches
Johnson, Robert       10/23/2023     0.7   Perform upgrade on database server (alameda exch prod) to
                                           implement latest patches
Johnson, Robert       10/23/2023     0.6   Perform upgrade on database server (FTX com instance) to
                                           implement latest patches


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Johnson, Robert       10/23/2023     0.4   Stop remaining alameda servers to reduce monthly cost associated
                                           with live databases
Johnson, Robert       10/23/2023     0.6   Perform upgrade on database server (FTX Turkey instance) to
                                           implement latest patches
Johnson, Robert       10/23/2023     0.8   Perform upgrade on database (am_analysis) server to implement
                                           latest patches
Johnson, Robert       10/23/2023     0.6   Perform upgrade on database (FTX old orders) server to implement
                                           latest patches
Johnson, Robert       10/23/2023     0.4   Perform upgrade on database (FTX orders) server to implement
                                           latest patches
Johnston, David       10/23/2023     0.7   Call to review drafted dismissal motions and support with D.
                                           Johnston, M. van den Belt, D. Hainline (A&M)
Johnston, David       10/23/2023     1.3   Review and update summary presentation relating to motion to
                                           dismiss for Zubr and other entities
Johnston, David       10/23/2023     1.4   Review updated support binder for Zubr motion to dismiss, distribute

Johnston, David       10/23/2023     0.8   Call with J. Ray (FTX), A. Kranzley, E. Simpson (S&C), E. Mosley,
                                           S. Coverick, D. Johnston, M. van den Belt (A&M) on FTX Europe
                                           asset sale, Quoine strategic options analysis and other FTX rest of
                                           world matters
Krautheim, Sean       10/23/2023     1.3   Call with K. Baker, S. Krautheim (A&M) to discuss next steps for
                                           KYC actionable
Krautheim, Sean       10/23/2023     0.2   Teleconference with K. Dusendschon, M. Sunkara, J. Zatz, J. Chan,
                                           and S. Krautheim (A&M) to discuss open requests and action items
Kuruvilla, Daniel     10/23/2023     0.6   Call to review open items for support binders related to motions to
                                           dismiss select international entities with D. Kuruvilla, D. Hainline
                                           (A&M)
Kwan, Peter           10/23/2023     0.3   Teleconference with K. Baker, P. Kwan, D. Wilson, and R. Johnson
                                           (A&M) to discuss open requests and action items
Kwan, Peter           10/23/2023     1.6   Extract additional transaction monitoring alert data based on detailed
                                           data received from 3rd party blockchain vendor
Kwan, Peter           10/23/2023     0.5   Call with J. Sardinha, E. Simendinger and others (FTX), P. Kwan, M.
                                           Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                           scanning service
Kwan, Peter           10/23/2023     1.9   Import additional wallet addresses received from cybersecurity
                                           vendor tracking additional public wallet addresses derived from
                                           FTX/Alameda controlled private keys
Kwan, Peter           10/23/2023     1.6   Recreate entire wallet tracking database to account for newly
                                           imported wallet addresses received from cybersecurity vendor
Kwan, Peter           10/23/2023     2.7   Prepare summary presentation highlighting code review findings
                                           shared by 3rd party development firm reviewing exchange code
                                           related to transaction monitoring, transaction blocking
Lambert, Leslie       10/23/2023     1.1   Quality control review the approach and output for a specific request
                                           for on-chain activity analysis
Lambert, Leslie       10/23/2023     0.7   Call with M. Flynn, L. Callerio, L. Lambert, L. Salas (A&M) to discuss
                                           crypto tracing data request



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Lambert, Leslie        10/23/2023     0.9   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing crypto tracing updates
Lambert, Leslie        10/23/2023     0.7   Perform review of approach and methodology for certain tracing
                                            efforts
Lambert, Leslie        10/23/2023     0.3   Call with L. Lambert and L. Callerio (A&M) re: withdrawal analysis

Lambert, Leslie        10/23/2023     0.7   Review data extracts relevant to a certain flow of funds analysis

Li, Summer             10/23/2023     0.8   Prepare for the latest balance sheet of FTX Japan Holdings K.K


Li, Summer             10/23/2023     1.4   Prepare for the latest balance sheet of Quoine Pte

Lowdermilk, Quinn      10/23/2023     1.6   Analyze supplied AWS database information for select account
                                            identifying transactions associated with loans
Lowdermilk, Quinn      10/23/2023     0.9   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing crypto tracing updates
Lowdermilk, Quinn      10/23/2023     2.7   Prepare crypto tracing database request with identified information
                                            for crypto tracing request 151
Lowdermilk, Quinn      10/23/2023     2.6   Update crypto tracing analysis file with supplied information for
                                            tracing request 141
Lowdermilk, Quinn      10/23/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                            request strategy
Mohammed, Azmat        10/23/2023     0.7   Review research on processing withdrawals logic and functionality


Mohammed, Azmat        10/23/2023     0.5   Call with J. Sardinha, E. Simendinger and others (FTX), P. Kwan, M.
                                            Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                            scanning service
Mosley, Ed             10/23/2023     0.7   Meet with J. Dubow, E. Mosley, K. Ramanathan (A&M) re: FTX
                                            Japan operational matters
Mosley, Ed             10/23/2023     0.8   Call with J. Ray (FTX), A. Kranzley, E. Simpson (S&C), E. Mosley,
                                            S. Coverick, D. Johnston, M. van den Belt (A&M) on FTX Europe
                                            asset sale, Quoine strategic options analysis and other FTX rest of
                                            world matters
Paolinetti, Sergio     10/23/2023     2.3   Search on Relativity and open source sites for pre-ICO token email
                                            addresses
Paolinetti, Sergio     10/23/2023     1.6   Identify pre-ICO tokens with ticker information and update token
                                            model accordingly
Paolinetti, Sergio     10/23/2023     1.9   Reconcile investment mapping token information with Coin Report
                                            tags
Radwanski, Igor        10/23/2023     0.9   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing crypto tracing updates
Radwanski, Igor        10/23/2023     1.7   Implement users associated to specific wallets regarding request 145


Radwanski, Igor        10/23/2023     2.8   Analyze key documents discovered via Relativity for request 145




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Radwanski, Igor       10/23/2023     2.6   Quantify transactions of interest regarding request 145

Ramanathan, Kumanan   10/23/2023     0.7   Review and provide feedback on broad crypto asset management
                                           strategy on derivatives and assets and provide feedback
Ramanathan, Kumanan   10/23/2023     0.7   Review of crypto asset sale to specific buyers and discuss with
                                           counsel on potential issues
Ramanathan, Kumanan   10/23/2023     0.2   Call with J. Ray (FTX) to discuss crypto update matters

Sagen, Daniel         10/23/2023     1.3   Correspondence with L. Salas Nunez (A&M) regarding AG diligence
                                           requests pertaining to vesting token receipts
Sagen, Daniel         10/23/2023     0.6   Correspondence with R. Kleiner (Galaxy) regarding digital asset
                                           conversions on third party exchanges
Sagen, Daniel         10/23/2023     0.8   Research and respond to inquiries from S. Majkowski (FTI)
                                           regarding coin report quantity changes
Sagen, Daniel         10/23/2023     0.6   Call with D. Sagen, A. Selwood (A&M) to discuss 10/13 Category A
                                           change log
Sagen, Daniel         10/23/2023     0.3   Discussion with D. Sagen, A. Selwood (A&M) to prepare stable coin
                                           conversions
Sagen, Daniel         10/23/2023     1.4   Review token holding details to identify potential stablecoin
                                           conversions
Sagen, Daniel         10/23/2023     0.7   Advise A. Selwood (A&M) regarding vesting token receipt
                                           reconciliation
Sagen, Daniel         10/23/2023     0.9   Review vesting token receipt reconciliation prepared by A. Selwood
                                           (A&M)
Sagen, Daniel         10/23/2023     0.4   Call with D. Sagen, A. Selwood (A&M) to discuss petition pricing
                                           analysis regarding revised data provided by Coin Metrics
Sagen, Daniel         10/23/2023     1.3   Correspondence with K. Ramanathan (A&M) regarding proposed
                                           stablecoin conversions and coin report model mechanics updates
Salas Nunez, Luis     10/23/2023     0.7   Call with M. Flynn, L. Callerio, L. Lambert, L. Salas (A&M) to discuss
                                           crypto tracing data request
Salas Nunez, Luis     10/23/2023     0.4   Summarize status of data request and current workstream progress


Selwood, Alexa        10/23/2023     1.2   Complete quality control check of token vesting analysis and cold
                                           storage token quantities
Selwood, Alexa        10/23/2023     0.4   Research token prices for select Category B tokens for 10/13 coin
                                           report quality control check
Selwood, Alexa        10/23/2023     0.3   Discussion with D. Sagen, A. Selwood (A&M) to prepare stable coin
                                           conversions
Selwood, Alexa        10/23/2023     0.6   Call with D. Sagen, A. Selwood (A&M) to discuss 10/13 Category A
                                           change log
Selwood, Alexa        10/23/2023     1.8   Update token vesting analysis to include cold storage assets


Selwood, Alexa        10/23/2023     1.7   Analyze claims detail for category B tokens




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Selwood, Alexa        10/23/2023     1.4   Summarize category B token claims analysis

Selwood, Alexa        10/23/2023     1.4   Research transactions on-chain for Category A change log


Selwood, Alexa        10/23/2023     1.9   Analyze category B token prices for claims analysis

Selwood, Alexa        10/23/2023     0.4   Call with D. Sagen, A. Selwood (A&M) to discuss petition pricing
                                           analysis regarding revised data provided by Coin Metrics
Simoneaux, Nicole     10/23/2023     1.9   Prepare FTX 2.0 bidder diligence responses for employees linked to
                                           FTX US exchange activity
Simoneaux, Nicole     10/23/2023     1.8   Prepare FTX 2.0 bidder diligence responses for employees linked to
                                           Dotcom exchange activity
Stockmeyer, Cullen    10/23/2023     0.7   Prepare updated token receivables petition date balances based on
                                           latest available information
Stockmeyer, Cullen    10/23/2023     2.2   Prepare updates to token vesting model based on need for
                                           delineation between ticker and token name
Stockmeyer, Cullen    10/23/2023     1.6   Update token vesting model input section based on updated
                                           understanding of funded contracts
Stockmeyer, Cullen    10/23/2023     0.9   Prepare updated token receivables petition date balances bridge
                                           from previously provided based on latest available information
Sunkara, Manasa       10/23/2023     2.9   Provide a KYC user account mapping spreadsheet for an internal
                                           A&M analysis
Sunkara, Manasa       10/23/2023     0.2   Teleconference with K. Dusendschon, M. Sunkara, J. Zatz, J. Chan,
                                           and S. Krautheim (A&M) to discuss open requests and action items
van den Belt, Mark    10/23/2023     0.7   Call to review drafted dismissal motions and support with D.
                                           Johnston, M. van den Belt, D. Hainline (A&M)
van den Belt, Mark    10/23/2023     0.1   Call to discuss next steps for motion to dismiss binder support with
                                           M. van den Belt, D. Hainline (A&M)
van den Belt, Mark    10/23/2023     0.4   Prepare correspondence to E. Chew (A&M) in relation to tax
                                           compliance requirements for Singapore wind-down process
van den Belt, Mark    10/23/2023     0.8   Prepare correspondence to O. Ravnushkin (FTX) in relation to
                                           creditor lists of Zubr exchange
van den Belt, Mark    10/23/2023     1.1   Consider impact of letter regarding loan of loan releases on balance
                                           sheet of FTX Switzerland
van den Belt, Mark    10/23/2023     2.2   Prepare presentation on entity overviews for entities included in
                                           court motion
van den Belt, Mark    10/23/2023     3.1   Review support binder for motion to dismiss of multiple FTX entities


van den Belt, Mark    10/23/2023     1.4   Review claims filed by FTX EU Ltd with other Debtor entities

van den Belt, Mark    10/23/2023     0.8   Call with J. Ray (FTX), A. Kranzley, E. Simpson (S&C), E. Mosley,
                                           S. Coverick, D. Johnston, M. van den Belt (A&M) on FTX Europe
                                           asset sale, Quoine strategic options analysis and other FTX rest of
                                           world matters
Walia, Gaurav         10/23/2023     0.4   Call with T. Biggs (M3) to discuss certain exchange related questions


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Walia, Gaurav           10/23/2023     0.6   Review the updated pricing metrics provide by CM

Wall, Guy               10/23/2023     0.1   Review available materials related to FTX Dubai advertising period
                                             completion
Wall, Guy               10/23/2023     0.3   Call with R. Arbid (A&M), R. Kanaan (Kanaan & Associates) on
                                             claims period
Wilson, David           10/23/2023     0.2   Teleconference with K. Baker, P. Kwan, D. Wilson, and R. Johnson
                                             (A&M) to discuss open requests and action items
Wilson, David           10/23/2023     1.7   Query database to retrieve all fiat withdrawal transactions above $20
                                             million where administrative approver of transaction is visible on the
                                             exchange
Wilson, David           10/23/2023     1.6   Query database to retrieve all crypto withdrawal transactions above
                                             $1 million where administrative approver of transaction is visible on
                                             the exchange
Wilson, David           10/23/2023     2.4   Query database to retrieve all withdrawal transactions conducted
                                             within 15 days and 90 days leading up to petition date for two
                                             accounts
Witherspoon, Samuel     10/23/2023     2.1   Reconcile workstream submitted t-minus plans to live version

Witherspoon, Samuel     10/23/2023     1.9   Review updated PMO materials for changes from prior version


Zatz, Jonathan          10/23/2023     0.2   Teleconference with K. Dusendschon, M. Sunkara, J. Zatz, J. Chan,
                                             and S. Krautheim (A&M) to discuss open requests and action items
Arbid, Rami             10/24/2023     0.3   Review available materials to FTX Dubai liquidator claims
                                             declaration letter to be signed
Arbid, Rami             10/24/2023     0.9   Review related to FTX Dubai audit draft finalization

Baker, Kevin            10/24/2023     2.1   Analyze withdrawal and deposits summary level information specific
                                             to customer preference amounts
Baker, Kevin            10/24/2023     2.8   Analyze any withdrawal or transfer activity specific to related parties
                                             for counsel regarding a specific institution of interest
Baker, Kevin            10/24/2023     2.2   Extract user accounts and all transactional activity for any user
                                             accounts that transacted with a specific blockchain being requested
                                             from a subpoena request
Balmelli, Gioele        10/24/2023     0.4   Call with G. Balmelli (A&M) and J. Bavaud (FTX) re access to FTX
                                             Europe Back-ups
Balmelli, Gioele        10/24/2023     1.6   Review minutes of latest Swiss administrator call

Balmelli, Gioele        10/24/2023     0.6   Call with J. Bavaud (FTX), T. Luginbuehl, R. Bischof, A. Pellizzari
                                             (L&S), E. Simpson, T. Hill (S&C), D. Knezevic, T. Zemp (HB), G.
                                             Balmelli, M. van den Belt (A&M) on FTX Europe matters
Bowles, Carl            10/24/2023     0.7   Review FTX European entity steps plan and consider voting
                                             mechanics at the first creditors' meeting
Bowles, Carl            10/24/2023     0.5   Call with C. Bowles, J. Casey and H. McGoldrick (A&M) regarding
                                             progress of RoW and European subsidiaries wind down strategy
Broskay, Cole           10/24/2023     0.4   Correspondence with FTX accounting team related to Multicoin
                                             Capital Fund statements

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Callerio, Lorenzo        10/24/2023     0.8   Review the inbound crypto tracing correspondence

Casey, John              10/24/2023     0.5   Call with C. Bowles, J. Casey and H. McGoldrick (A&M) regarding
                                              progress of RoW and European subsidiaries wind down strategy
Chambers, Henry          10/24/2023     0.9   Update correspondence to A&M team regarding advice from local
                                              counsel regarding FTX Japan next steps
Chambers, Henry          10/24/2023     0.8   Correspondence with FTX Japan management regarding
                                              requirements for low balance account closure
Chambers, Henry          10/24/2023     0.5   Call with N. Mehta, E. Simpson, J. Simpson (S&C) and H.
                                              Chambers regarding FTX Japan next steps
Chambers, Henry          10/24/2023     0.4   Provide summary of FTX Japan withdrawal analysis to PWP team

Chambers, Henry          10/24/2023     0.9   Provide comments on claims portal KYC process deck for JPL


Chambers, Henry          10/24/2023     0.5   Call with N. Mehta, E. Simpson, J. Simpson (S&C), S. Melamed, S.
                                              Kojima, B. Spitz (FTX) and H. Chambers (A&M) to discuss FTX
                                              Japan updates
Chambers, Henry          10/24/2023     0.4   Call with E. Simpson, N. Mehta, J. Simpson (S&C), H. Chambers, S.
                                              Li (A&M) to discuss the next steps for FTX Japan K.K
Chambers, Henry          10/24/2023     0.6   Call with H. Chambers, S. Li, J. Lam (A&M) to discuss the nature
                                              and recovery options for an intercompany loan between Alameda
                                              and FTX Japan Holdings
Chan, Jon                10/24/2023     2.9   Investigate over the counter activity related to specific entities on the
                                              exchange
Chan, Jon                10/24/2023     2.8   Investigate spot margin activity for A&M internal request

Chew, Ee Ling            10/24/2023     0.2   Prepare correspondence to M. van den Belt (A&M) on tax
                                              compliance requirements for an involuntary wind-down process in
                                              Singapore
Collis, Jack             10/24/2023     0.3   Review and update strategic options analysis for Liquid Securities
                                              Singapore
Collis, Jack             10/24/2023     0.4   Review and update strategic options analysis for Innovatia Ltd

Collis, Jack             10/24/2023     0.4   Review and update strategic options analysis for Zubr Exchange


Collis, Jack             10/24/2023     0.4   Review and update strategic options analysis for Quoine India

Collis, Jack             10/24/2023     0.3   Review and update strategic options analysis for Quoine Pte


Dalgleish, Elizabeth     10/24/2023     0.6   Call with M. van den Belt, E. Dalgleish (A&M) to discuss financial
                                              analysis of FTX wind-down entities
Dalgleish, Elizabeth     10/24/2023     0.2   Meeting with E. Dalgleish, M. van den Belt (A&M) to May'23
                                              financials of FTX rest of world entities
Dalgleish, Elizabeth     10/24/2023     0.3   Meeting with E. Dalgleish, M. van den Belt (A&M) to discuss
                                              strategic options analysis for rest of world entities



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Dalgleish, Elizabeth   10/24/2023     0.3   Meeting with E. Dalgleish, M. van den Belt (A&M) to review revised
                                            wind-down motion list
Dalgleish, Elizabeth   10/24/2023     1.9   Prepare updated list of FTX RoW entities proposed to be included in
                                            the wind-down motion
Dalgleish, Elizabeth   10/24/2023     1.6   Prepare summary of key financials as of May'23 for the FTX RoW
                                            entities proposed to be struck-off
Dalgleish, Elizabeth   10/24/2023     0.4   Meeting with E. Dalgleish, M. van den Belt (A&M) to discuss wind
                                            down motion list
Dalgleish, Elizabeth   10/24/2023     1.2   Prepare updated list of the FTX RoW entities proposed to be struck-
                                            off
Dalgleish, Elizabeth   10/24/2023     2.9   Prepare summary of key financials as of May'23 for the FTX RoW
                                            entities proposed to be included in the wind-down motion
Duncan, Ryan           10/24/2023     0.3   Develop correspondence with Crypto team regarding revisions to
                                            working group list update
Dusendschon, Kora      10/24/2023     0.4   Call with M. Flynn, K. Dusendschon, R. Johnson (A&M) to discuss
                                            latest AWS data and KYC status
Dusendschon, Kora      10/24/2023     0.2   Review RoP file from privacy team and coordinate next steps


Dusendschon, Kora      10/24/2023     0.2   Teleconference with K. Dusendschon (A&M), B. Hadamik, G.
                                            Hougey, D. Turton, A. Vyas, D. Dolinsky (FTI), J. Gilday (S&C), to
                                            review open KYC, data collection and review support items
Ernst, Reagan          10/24/2023     2.2   Bridge investments master tracker with warrant analysis output
                                            spreadsheet to account for additional token warrants
Flynn, Matthew         10/24/2023     0.4   Call with M. Flynn, K. Dusendschon, R. Johnson (A&M) to discuss
                                            latest AWS data and KYC status
Flynn, Matthew         10/24/2023     0.4   Update crypto workstream deliverable plan

Glustein, Steven       10/24/2023     1.2   Summarize indication of interest received for locked token positions

Hainline, Drew         10/24/2023     0.2   Review updates and next steps for motions to dismiss select
                                            international entities
Heric, Andrew          10/24/2023     0.6   Summarize and gather general findings and blockchain transfer
                                            detail conducted for a crypto tracing team request
Heric, Andrew          10/24/2023     0.9   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing crypto tracing updates
Heric, Andrew          10/24/2023     1.3   Finalize formatting of deliverable document and supporting
                                            blockchain tracing details
Heric, Andrew          10/24/2023     0.4   Call with I. Radwanski and A. Heric (A&M) regarding request 145
                                            exchange data and findings
Heric, Andrew          10/24/2023     2.1   Identify and trace token-specific activity of interest to its final
                                            destination
Heric, Andrew          10/24/2023     2.6   Conduct a review of over 870 internal documents of concern based
                                            on research being conducted for a high-priority crypto tracing request
Iwanski, Larry         10/24/2023     1.1   Conduct a review of priorities, documents, and communications for
                                            the crypto tracing and database requests


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Johnson, Robert       10/24/2023     1.4   Ingest additional Kroll claims portal data into AWS analysis
                                           environment for downstream analysis and reporting
Johnson, Robert       10/24/2023     0.9   Adjust query for Metabase table to account for abnormal data in field
                                           and allow for data to display correctly
Johnson, Robert       10/24/2023     0.4   Call with M. Flynn, K. Dusendschon, R. Johnson (A&M) to discuss
                                           latest AWS data and KYC status
Johnston, David       10/24/2023     1.8   Review final motion to dismiss, supporting declaration and support
                                           binder for Zubr and other entities
Johnston, David       10/24/2023     1.1   Review and update strategic options analysis relating to FTX Crypto
                                           Services and Japan Services
Kwan, Peter           10/24/2023     1.4   Draft responses to cybersecurity vendor to help support a
                                           forthcoming customer overlap analysis being performed
Kwan, Peter           10/24/2023     2.7   Draft timeline of primary code changes made in relation to the
                                           transaction monitoring apparatus at the exchange
Kwan, Peter           10/24/2023     0.4   Call with M. Flynn, K. Dusendschon, R. Johnson (A&M) to discuss
                                           latest AWS data and KYC status
Kwan, Peter           10/24/2023     1.5   Call with C. Drappi (Alameda), A. Bosse (JFB), J Croke, A. Holland
                                           (S&C), L. Goldman (Alix), G. Walia, J. Zatz, P. Kwan, P. McGrath
                                           (A&M) to discuss OTC portal
Kwan, Peter           10/24/2023     1.6   Draft additional responses to follow up questions received from S&C
                                           related to additional questions received from federal regulator
Kwan, Peter           10/24/2023     1.3   Prepare responses to S&C follow-up questions related to historical
                                           analysis of 3rd party blockchain vendor alerts in contrast to aws
                                           exchange alerts
Kwan, Peter           10/24/2023     1.7   Research prevalence of institutional customers in exchange data as
                                           well as primary methods of identification in relation to questions from
                                           cybersecurity vendor
Lam, James            10/24/2023     1.4   Review the capital injections accounting records in the books of
                                           Liquid Group Inc
Lam, James            10/24/2023     2.9   Prepare the presentation on the Alameda loan made available to
                                           FTX Japan
Lam, James            10/24/2023     2.8   Analyze the recovery options for a payable due from FTX Japan

Lam, James            10/24/2023     0.6   Call with H. Chambers, S. Li, J. Lam (A&M) to discuss the nature
                                           and recovery options for an intercompany loan between Alameda
                                           and FTX Japan Holdings
Lambert, Leslie       10/24/2023     0.9   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing crypto tracing updates
Lambert, Leslie       10/24/2023     0.9   Provide guidance and observations concerning a flow of funds
                                           analysis for certain transactions
Lambert, Leslie       10/24/2023     1.3   Review in-process analysis, including support data and underlying
                                           workpapers
Lambert, Leslie       10/24/2023     0.4   Prepare for meeting and calls related to crypto tracing workstream

Lambert, Leslie       10/24/2023     0.7   Plan and prepare strategy for crypto tracing workstream



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Li, Summer             10/24/2023     0.4   Call with E. Simpson, N. Mehta, J. Simpson (S&C), H. Chambers, S.
                                            Li (A&M) to discuss the next steps for FTX Japan K.K
Li, Summer             10/24/2023     0.2   Call with S. Li, M. van den Belt (A&M) on FTX Japan strategic
                                            options analysis
Li, Summer             10/24/2023     1.6   Update of the deck summarizing the latest balance sheets of FTX
                                            Japan entities
Li, Summer             10/24/2023     1.3   Update of the strategic option analysis for FTX Japan K.K

Li, Summer             10/24/2023     0.6   Call with H. Chambers, S. Li, J. Lam (A&M) to discuss the nature
                                            and recovery options for an intercompany loan between Alameda
                                            and FTX Japan Holdings
Li, Summer             10/24/2023     1.8   Review the financial statements of FTX Japan Holdings K.K. to
                                            identify the options to recover the US$120m loan due from Alameda
                                            to FTX Japan
Lowdermilk, Quinn      10/24/2023     0.9   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing crypto tracing updates
Lowdermilk, Quinn      10/24/2023     2.3   Research blockchain information for transactions tied to a loan
                                            agreement for tracing request 141
Lowdermilk, Quinn      10/24/2023     2.3   Update crypto tracing analysis file with supplied database
                                            information for tracing request 151
Lowdermilk, Quinn      10/24/2023     2.7   Analyze supplied AWS database information for transactions
                                            associated to tracing request 141
McGoldrick, Hugh       10/24/2023     0.5   Call with C. Bowles, R. Sexton, J. Casey, and H. McGoldrick (A&M)
                                            re update on European and RoW subsidiaries wind-down
McGoldrick, Hugh       10/24/2023     0.1   Consider next steps following call on European and RoW
                                            subsidiaries wind-down
Mohammed, Azmat        10/24/2023     0.4   Support research related to changes to overriding bank withdrawals


Paolinetti, Sergio     10/24/2023     1.6   Revise token warrant analysis file with new information from
                                            investment tracker
Paolinetti, Sergio     10/24/2023     1.8   Draft comments for token quantities discrepancy between venture's
                                            team and BitGo
Paolinetti, Sergio     10/24/2023     1.2   Prepare list of issuers with token receivables to be contacted

Paolinetti, Sergio     10/24/2023     0.7   Adjust transaction hashes information on token release schedule


Paolinetti, Sergio     10/24/2023     1.7   Confirm transaction hashes for 20+ post-ICO tokens

Radwanski, Igor        10/24/2023     0.9   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                            (A&M) discussing crypto tracing updates
Radwanski, Igor        10/24/2023     0.4   Call with I. Radwanski and A. Heric (A&M) regarding request 145
                                            exchange data and findings
Radwanski, Igor        10/24/2023     1.1   Analyze exchange information related to target users in request 145

Radwanski, Igor        10/24/2023     0.7   Review draft deliverable to implement suggested changes for
                                            request 149

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Radwanski, Igor       10/24/2023     0.9   Extract key transfer details to build summary schedules for request
                                           145
Radwanski, Igor       10/24/2023     1.2   Build PowerPoint deliverable for request 145


Radwanski, Igor       10/24/2023     2.8   Quantify transfer attributes regarding request 145

Ramanathan, Kumanan   10/24/2023     1.1   Review matters re: staking validator services by Coinbase and
                                           correspond regarding next steps
Ramanathan, Kumanan   10/24/2023     0.5   Call with L. Abendschein, K. Mie, C. Amorello (Coinbase) to discuss
                                           trading rubrik
Ramanathan, Kumanan   10/24/2023     0.3   Coordinate with customer support agent and CFO re: responses to
                                           audit inquiry
Ramanathan, Kumanan   10/24/2023     0.6   Review of crypto asset trading matters and provide feedback


Ramanathan, Kumanan   10/24/2023     0.3   Facilitate payment of professional fee invoice tied to Galaxy asset
                                           management mandate and obtain recent executed agreements
Sagen, Daniel         10/24/2023     0.6   Call with N. Chang, A. Salameh (BitGo) R. Kleiner (Galaxy), and D.
                                           Sagen (A&M) to discuss token reporting updates
Sagen, Daniel         10/24/2023     1.7   Review token source pricing analysis prepared by A. Selwood
                                           (A&M), provide feedback regarding same
Sagen, Daniel         10/24/2023     0.7   Meeting with D. Sagen, A. Selwood (A&M), to update stable coin
                                           bridging in coin report input model
Sagen, Daniel         10/24/2023     1.1   Incorporate updates to 10/13 coin report Category A change log,
                                           distribute with K. Ramanathan (A&M) for review
Sagen, Daniel         10/24/2023     0.4   Provide feedback to C. Stockmeyer (A&M) regarding token unlock
                                           schedule reconciliation
Sagen, Daniel         10/24/2023     0.8   Provide requested token reporting details to R. Kleiner (Galaxy)


Sagen, Daniel         10/24/2023     1.3   Review updated token unlock schedule, reconcile against coin report

Sagen, Daniel         10/24/2023     0.6   Follow up correspondence with R. Kleiner (Galaxy) and BitGo team
                                           regarding next steps related to token reporting process updates
Sagen, Daniel         10/24/2023     0.3   Distribute updated token unlock schedule to internal working A&M
                                           group in response to diligence requests from AG regarding token
                                           valuations
Sagen, Daniel         10/24/2023     1.2   Review 10/13 coin report Category A change log draft prepared by
                                           A. Selwood (A&M)
Salas Nunez, Luis     10/24/2023     0.4   Update of coin valuation workstream status while managing
                                           communication with stakeholders
Selwood, Alexa        10/24/2023     0.5   Call with D. Sagen, A. Selwood (A&M), N. Chang, A. Salameh
                                           (BitGo), R. Kleiner (Galaxy) to discuss token bridging
Selwood, Alexa        10/24/2023     0.3   Call with D. Sagen, A. Selwood (A&M), to update token bridging in
                                           coin report input model
Selwood, Alexa        10/24/2023     0.7   Analyze claim and asset petition price variances using revised Coin
                                           Metrics pricing data


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Professional                 Date    Hours    Activity
Selwood, Alexa          10/24/2023     0.7   Meeting with D. Sagen, A. Selwood (A&M), to update stable coin
                                             bridging in coin report input model
Selwood, Alexa          10/24/2023     1.3   Update category B token claims analysis output schedule for 10/13
                                             price information
Selwood, Alexa          10/24/2023     0.7   Update coin report input model for USDC stable coin redemption silo
                                             allocation
Selwood, Alexa          10/24/2023     1.8   Research Category A tokens changes on-chain for Category A
                                             change log
Selwood, Alexa          10/24/2023     1.4   Update Category A change log for 10/13 token information


Selwood, Alexa          10/24/2023     1.9   Complete quality control check of Category A change log

Selwood, Alexa          10/24/2023     0.4   Summarize Category A token changes for Category A change log


Selwood, Alexa          10/24/2023     1.6   Update coin report input model for USDC bridged transactions

Selwood, Alexa          10/24/2023     1.2   Update draft of claims and asset detail price analysis for 10/13 coin
                                             report data
Sexton, Rachel          10/24/2023     0.5   Call with C. Bowles, J. Casey and H. McGoldrick (A&M) regarding
                                             progress of RoW and European subsidiaries wind down strategy
Stegenga, Jeffery       10/24/2023     0.6   Review of / comments on latest draft t- plan confirmation timeline

Stegenga, Jeffery       10/24/2023     0.4   Review of latest equity investment and token investment workstream
                                             update
Stockmeyer, Cullen      10/24/2023     1.2   Review updated token vesting model provided by S. Paolinetti
                                             (A&M) re: commentary on certain variances
Stockmeyer, Cullen      10/24/2023     0.6   Update token receivables model mechanics for additional status
                                             column based on petition date
Stockmeyer, Cullen      10/24/2023     1.1   Update token receivables model based on additional information
                                             identified
Stockmeyer, Cullen      10/24/2023     1.2   Finalize updates for token vesting model based on discussion


Stockmeyer, Cullen      10/24/2023     1.1   Audit token receivables model for latest updates accuracy

Stockmeyer, Cullen      10/24/2023     0.4   Final review of vesting tokens model for valuation team

Sunkara, Manasa         10/24/2023     2.9   Investigate the sale of a specific NFT by the debtors from the us
                                             exchange for an internal analysis
Sunkara, Manasa         10/24/2023     2.8   Provide the user account details of who received funds associated
                                             with a list of transaction hashes for an internal investigation
Titus, Adam             10/24/2023     1.6   Calculate vesting schedule for token to compare against issuer
                                             token vesting schedule
Titus, Adam             10/24/2023     1.1   Provide edits based on review of token purchase option presentation
                                             to S. Glustein [A&M]




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Titus, Adam             10/24/2023     1.4   Draft summary of token investment summary presentation for
                                             execution of strategic alternatives
Titus, Adam             10/24/2023     0.4   Review draft of t-minus schedule based on token receivable process


Titus, Adam             10/24/2023     0.7   Write agenda in preparation for potential token buyer discussion
                                             scheduled
van den Belt, Mark      10/24/2023     0.3   Meeting with E. Dalgleish, M. van den Belt (A&M) to discuss
                                             strategic options analysis for rest of world entities
van den Belt, Mark      10/24/2023     0.2   Meeting with E. Dalgleish, M. van den Belt (A&M) to May'23
                                             financials of FTX rest of world entities
van den Belt, Mark      10/24/2023     0.6   Call with M. van den Belt, E. Dalgleish (A&M) to discuss financial
                                             analysis of FTX wind-down entities
van den Belt, Mark      10/24/2023     0.2   Call with C. Heng (GT), M. van den Belt (A&M) to discuss MPC
                                             technologies voluntary wind down process
van den Belt, Mark      10/24/2023     0.4   Call with S. Aydin (FTX), M. van den Belt (A&M) on FTX Turkey step
                                             plan tax implications
van den Belt, Mark      10/24/2023     0.3   Prepare correspondence to B. Spitz (FTX) in relation to bankruptcy
                                             notice from potential users
van den Belt, Mark      10/24/2023     0.3   Meeting with E. Dalgleish, M. van den Belt (A&M) to review revised
                                             wind-down motion list
van den Belt, Mark      10/24/2023     0.6   Prepare correspondence B. Cheng (BM Probe) on balance sheet
                                             preparation of MPC Technologies
van den Belt, Mark      10/24/2023     0.2   Call with S. Li, M. van den Belt (A&M) on FTX Japan strategic
                                             options analysis
van den Belt, Mark      10/24/2023     0.4   Meeting with E. Dalgleish, M. van den Belt (A&M) to discuss wind
                                             down motion list
van den Belt, Mark      10/24/2023     2.2   Prepare analysis on supplement of proof of claim of FTX EU Ltd


van den Belt, Mark      10/24/2023     1.9   Prepare updated pre-petition list of Directors of all FTX Debtor
                                             entities
van den Belt, Mark      10/24/2023     2.4   Review materials from Relativity on Blockfolio and LiquidEx


van den Belt, Mark      10/24/2023     1.1   Review presentation supporting the wind-down court motion

van den Belt, Mark      10/24/2023     0.4   Prepare updated presentation on Quoine Pte Ltd for UCC

van den Belt, Mark      10/24/2023     1.4   Prepare pro forma balance sheet of MPC Technologies


van den Belt, Mark      10/24/2023     0.6   Call with J. Bavaud (FTX), T. Luginbuehl, R. Bischof, A. Pellizzari
                                             (L&S), E. Simpson, T. Hill (S&C), D. Knezevic, T. Zemp (HB), G.
                                             Balmelli, M. van den Belt (A&M) on FTX Europe matters
Walia, Gaurav           10/24/2023     2.3   Review the entitlements pricing variance analysis and provide
                                             feedback
Walia, Gaurav           10/24/2023     1.1   Prepare for the Alameda OTC portal call




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Walia, Gaurav           10/24/2023     1.5   Call with C. Drappi (Alameda), A. Bosse (JFB), J Croke, A. Holland
                                             (S&C), L. Goldman (Alix), G. Walia, J. Zatz, P. Kwan, P. McGrath
                                             (A&M) to discuss OTC portal
Wall, Guy               10/24/2023     0.1   Review available materials related to FTX Dubai liquidator claims
                                             declaration letter to be signed
Wall, Guy               10/24/2023     1.1   Review related to FTX Dubai audit draft finalization


Zatz, Jonathan          10/24/2023     1.1   Script database related to request to provide all Alameda transfers
                                             with loans exchange
Zatz, Jonathan          10/24/2023     1.2   Update list of questions for Alameda OTC and identify owners of
                                             each question
Zatz, Jonathan          10/24/2023     1.5   Call with C. Drappi (Alameda), A. Bosse (JFB), J Croke, A. Holland
                                             (S&C), L. Goldman (Alix), G. Walia, J. Zatz, P. Kwan, P. McGrath
                                             (A&M) to discuss OTC portal
Zhang, Qi               10/24/2023     3.1   Daily review of Integreon manual review team's work to record down
                                             issues identified for 24 Oct 2023 for 9 UK team
Zhang, Qi               10/24/2023     1.2   Reverse rejections that are caused by excessive upload of
                                             documents where system should have accepted them
Zhang, Qi               10/24/2023     0.6   Reverse rejections caused by wrong region that are caused by
                                             system
Zhang, Qi               10/24/2023     2.4   Review AWS mismatch and AWS data null cases to see if they can
                                             be cleared or required searches on Relativity 24 Oct 2023
Arbid, Rami             10/25/2023     0.2   Review available materials to FTX Dubai liquidator no claims
                                             declaration
Baker, Kevin            10/25/2023     0.5   Call with K. Baker, J. Zatz, D. Wilson, S. Krautheim, and P. Kwan
                                             (A&M) to discuss status of ongoing data requests
Baker, Kevin            10/25/2023     2.8   Compile all transactions and customer KYC information from AWS
                                             related to a large government subpoena for counsel
Baker, Kevin            10/25/2023     2.7   Analyze and procure production ready documents to produce for a
                                             specific third party request
Baker, Kevin            10/25/2023     0.5   Call with K. Baker and S. Krautheim (A&M) to develop support ticket
                                             overlays
Baker, Kevin            10/25/2023     2.8   Respond to specific subpoena request from a government agency
                                             regarding transactions specific to an internal investigation
Callerio, Lorenzo       10/25/2023     0.5   Meeting with L. Iwanski, L. Lambert, L. Callerio, A. Heric, C.
                                             Stockmeyer (A&M) re: crypto tracing update
Callerio, Lorenzo       10/25/2023     0.6   Review the communications to be sent to the pre-ICO token issuers
                                             prepared by S. Paolinetti (A&M)
Callerio, Lorenzo       10/25/2023     0.6   Review the Solana analysis prepared by L. Clayton (A&M) and
                                             provide comments
Callerio, Lorenzo       10/25/2023     0.6   Follow-up correspondence with some taken issuers re: outstanding
                                             tokens
Callerio, Lorenzo       10/25/2023     0.4   Review and update the token outreach tracker

Casey, John             10/25/2023     0.3   Call with M. van den Belt, E. Dalgleish, and J. Casey (A&M) re
                                             weekly update on European and RoW subsidiaries

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Casey, John              10/25/2023     0.1   Call with J Casey and J Collis (A&M) regarding strategic options
                                              analysis of FTX Malta entities
Casey, John              10/25/2023     0.9   Prepare updated presentation on wind-down procedures of a Cypriot
                                              entity
Casey, John              10/25/2023     0.4   Review available materials on wind down procedure in Cyprus

Casey, John              10/25/2023     0.6   Review available materials on strike-off procedures in several rest of
                                              world jurisdictions
Casey, John              10/25/2023     0.4   Call with R. Sexton, H. McGoldrick, J. Casey and J. Collis (A&M) re
                                              weekly update on wind down of European and RoW subsidiaries
Casey, John              10/25/2023     0.4   Call with M. van den Belt, J. Casey, H. McGoldrick (A&M), G. Noble,
                                              A. Sidaway, S. Michaelides (Grant Thornton) re wind-down
                                              procedure in Cyprus
Chambers, Henry          10/25/2023     0.3   Correspondence with A&M team and FTX Japan management
                                              regarding appointment of Quoine India director
Chambers, Henry          10/25/2023     2.9   Prepare of discussion deck regarding options for unwind of Alameda
                                              loan to FTX Japan Holding
Chambers, Henry          10/25/2023     3.0   Prepare of analysis of unwind of FTX Japan intercompany loans

Chambers, Henry          10/25/2023     1.6   Provide updates on FTX Japan go forward steps analysis


Chambers, Henry          10/25/2023     1.8   Review FTX Japan go forward steps analysis

Chan, Jon                10/25/2023     2.6   Investigate activity related to additional wallets provided regarding
                                              Tomochain
Chan, Jon                10/25/2023     0.5   Call with M. Sunkara, J. Chan, R. Johnson, and L. Konig (A&M) to
                                              discuss status of ongoing data requests
Collis, Jack             10/25/2023     0.4   Review registry documentation for Alameda Global Services and
                                              Killarney Lake Investments
Collis, Jack             10/25/2023     0.1   Call with J Casey and J Collis (A&M) regarding strategic options
                                              analysis of FTX Malta entities
Collis, Jack             10/25/2023     0.8   Review pre-petition contracts for FTX Europe and update strategic
                                              options analysis
Collis, Jack             10/25/2023     0.4   Review current contracts for FTX Germany and update strategic
                                              options analysis
Collis, Jack             10/25/2023     0.2   Review current contracts for FTX Gibraltar and update strategic
                                              options analysis
Collis, Jack             10/25/2023     0.2   Review current contracts for FTX Singapore and update strategic
                                              options analysis
Collis, Jack             10/25/2023     0.6   Review current contracts for FTX Cyprus and update strategic
                                              options analysis
Collis, Jack             10/25/2023     1.8   Prepare summary of directors, contact BVI office in relation to
                                              registry searches and collate information from the Australian and
                                              Singapore company registries
Collis, Jack             10/25/2023     0.4   Call with R. Sexton, H. McGoldrick, J. Casey and J. Collis (A&M) re
                                              weekly update on wind down of European and RoW subsidiaries

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Coverick, Steve        10/25/2023     0.3   Call with J. Ray (FTX), S. Coverick, K. Ramanathan (A&M) to
                                            discuss crypto update matters
Coverick, Steve        10/25/2023     0.3   Call with A. Kranzley (S&C) to discuss operational matter at FTX
                                            Japan
Dalgleish, Elizabeth   10/25/2023     2.3   Prepare presentation setting out the debtor and non-debtor entities
                                            proposed to be included in the wind-down motion
Dalgleish, Elizabeth   10/25/2023     0.3   Call with M. van den Belt, E. Dalgleish, and J. Casey (A&M) re
                                            weekly update on European and RoW subsidiaries
Dalgleish, Elizabeth   10/25/2023     0.5   Call with M. van den Belt, E. Dalgleish (A&M) to discuss FTX RoW
                                            wind-down matters
Dalgleish, Elizabeth   10/25/2023     0.3   Call with M. van den Belt, E. Dalgleish (A&M) C. MacLean, D.
                                            Hammon, N. Srivastava (E&Y) to discuss FTX Turkey and FTX
                                            Crypto Services Ltd matters
Dusendschon, Kora      10/25/2023     0.2   Confer with team on Slack channels and provide guidance on how to
                                            conduct requested searches
Dusendschon, Kora      10/25/2023     0.2   Review update and confer on Cognito data extract


Dusendschon, Kora      10/25/2023     0.4   Confer with team regarding the status of various KYC related items,
                                            including overlay file, support tickets and inventory tie out
Ernst, Reagan          10/25/2023     1.8   Analyze pre-ICO Alameda token positions for token warrant exercise
                                            dates
Ernst, Reagan          10/25/2023     0.4   Bridge investment master type changes from token to equity
                                            positions
Flynn, Matthew         10/25/2023     0.2   Call with M. Flynn, P. Kwan (A&M), E. Simendinger and others (FTX)
                                            to discuss data in network scanning service
Flynn, Matthew         10/25/2023     0.6   Update crypt workstream project plan

Flynn, Matthew         10/25/2023     0.3   Confirm SOL crypto deposit wallet locations for custody transfer

Francis, Luke          10/25/2023     1.9   Review of notice parties for motion to dismiss to ensure capture of
                                            all creditors necessary
Francis, Luke          10/25/2023     0.4   Correspondence with claims agent regarding motion to dismiss
                                            parties to notice
Francis, Luke          10/25/2023     1.4   Search creditor relationship with Debtors' based on company records


Glustein, Steven       10/25/2023     1.9   Prepare bridge analysis relating to adjusted petition date token
                                            receivable balance relating to LedgerPrime
Glustein, Steven       10/25/2023     2.1   Prepare summary of adjusted token receivable balance as at the
                                            petition date relating to LedgerPrime
Glustein, Steven       10/25/2023     1.4   Update unvested token presentation relating to token sale process

Glustein, Steven       10/25/2023     0.3   Draft response to proposal received for token investment

Heric, Andrew          10/25/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding request 149
                                            findings and identified data points


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Heric, Andrew         10/25/2023     1.4   Design and populate a summary schedule of identified wallet
                                           interactions of interest for request 152
Heric, Andrew         10/25/2023     0.9   Create three summary schedules that summarize identified activity
                                           of concern for request 152
Heric, Andrew         10/25/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing updates for request 152
Heric, Andrew         10/25/2023     0.5   Call with L. Lambert and A. Heric (A&M) regarding approach to
                                           multiple crypto tracing requests
Heric, Andrew         10/25/2023     0.7   Gather and summarize a tracing visual of interest related to the
                                           request 149 findings
Heric, Andrew         10/25/2023     0.5   Call with L. Callerio, A. Heric and A. Dobbs (A&M) to discuss
                                           Tomochain token swap funds tracing
Heric, Andrew         10/25/2023     0.6   Conduct internal document research regarding two wallets of
                                           concern for request 149
Heric, Andrew         10/25/2023     0.9   Identify wallet group designations for 15 wallets of concern related to
                                           request 149
Heric, Andrew         10/25/2023     2.1   Conduct destination crypto tracing of identified pre-petition
                                           withdrawals of concern related to high-priority request 152
Heric, Andrew         10/25/2023     1.2   Identify and populate categorical address data for over 480
                                           withdrawals of concern related to high priority request 152
Iwanski, Larry        10/25/2023     0.5   Meeting with L. Iwanski, L. Lambert, L. Callerio, A. Heric, C.
                                           Stockmeyer (A&M) re: crypto tracing update
Iwanski, Larry        10/25/2023     0.9   review of requests for an investigation being conducted on behalf of
                                           the avoidance team
Iwanski, Larry        10/25/2023     0.8   Review of document including tokens on exchanges and petition
                                           date pricing
Johnson, Robert       10/25/2023     0.5   Call with M. Sunkara, J. Chan, R. Johnson, and L. Konig (A&M) to
                                           discuss status of ongoing data requests
Johnson, Robert       10/25/2023     1.2   Review data requests to identify any server issues impacting
                                           delivery of datasets
Johnson, Robert       10/25/2023     1.3   Monitor export of Alameda databases for EY download to allow for
                                           hosting Alameda databases outside of A&M AWS environment
Johnston, David       10/25/2023     0.8   Coordinate final steps for A&M in relation to filing of motion to
                                           dismiss
Johnston, David       10/25/2023     1.1   Prepare wind down plan for Ren entities

Konig, Louis          10/25/2023     0.5   Call with M. Sunkara, J. Chan, R. Johnson, and L. Konig (A&M) to
                                           discuss status of ongoing data requests
Krautheim, Sean       10/25/2023     0.5   Call with K. Baker, J. Zatz, D. Wilson, S. Krautheim, and P. Kwan
                                           (A&M) to discuss status of ongoing data requests
Krautheim, Sean       10/25/2023     0.5   Call with K. Baker and S. Krautheim (A&M) to develop support ticket
                                           overlays
Krautheim, Sean       10/25/2023     0.6   Review and develop overlay tables to evaluate support claims tickets




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Kwan, Peter            10/25/2023     1.7   Perform quality review of recreated wallet tracking database based
                                            on additional wallet addresses imported
Kwan, Peter            10/25/2023     0.2   Call with M. Flynn, P. Kwan (A&M), E. Simendinger and others (FTX)
                                            to discuss data in network scanning service
Kwan, Peter            10/25/2023     0.6   Prepare schedule of petition dated pricing data by token for crypto
                                            tracing team
Kwan, Peter            10/25/2023     1.9   Develop additional linking logic to cross reference between
                                            exchange related transaction monitoring alerts and detailed alerts
                                            received from 3rd party vendor
Kwan, Peter            10/25/2023     3.1   Finalize timeline of primary code changes made in relation to the
                                            transaction monitoring apparatus at the exchange to incorporate
                                            additional logic implemented over time
Kwan, Peter            10/25/2023     1.2   Draft responses (based on additional research) to questions
                                            received from S&C in relation to 3rd party blockchain vendor data
Kwan, Peter            10/25/2023     1.4   Prepare anecdotal example of customer alert with different alert
                                            severity values when comparing alert data between aws exchange
                                            and 3rd party vendor datasets
Kwan, Peter            10/25/2023     1.1   Revise reporting packet based on newly ingested data from the nss
                                            database based on newly scanned data from revised wallet
                                            addresses
Lam, James             10/25/2023     0.3   Call with J. Lam, C. Tong, J. Yan (A&M) to discuss updates on
                                            bidder due diligence, KYC process and FTX Japan analysis
Lam, James             10/25/2023     1.9   Finalize the presentation deck on the unwind options for FTX Japan
                                            Holdings
Lam, James             10/25/2023     2.7   Update the recovery option analysis and presentation for the
                                            Alameda loan
Lam, James             10/25/2023     0.9   Compare the operation team withdrawal records to the latest
                                            financials of FTX Japan
Lam, James             10/25/2023     2.3   Review the financials and cashflow forecast of FTX Japan K.K

Lambert, Leslie        10/25/2023     0.6   Consider data underlying preliminary findings and observations from
                                            a flow of fund analysis
Lambert, Leslie        10/25/2023     0.5   Call with L. Lambert and A. Heric (A&M) regarding approach to
                                            multiple crypto tracing requests
Lambert, Leslie        10/25/2023     0.5   Call with L. Lambert and I. Radwanski (A&M) discussing preliminary
                                            updates for request 145
Lambert, Leslie        10/25/2023     1.1   Review the approach and workpaper for a detailed analysis of
                                            certain activity on the exchange
Lambert, Leslie        10/25/2023     1.3   Provide feedback and revisions to the deliverable summarizing the
                                            observations gleaned from an analysis of certain account activity
Li, Summer             10/25/2023     1.6   Answer the comments from H. Chambers (A&M) on the deck about
                                            the US$120m loan due from Alameda to FTX Japan
Li, Summer             10/25/2023     2.9   Prepare for a deck on the options to recover the US$120m loan due
                                            from Alameda to FTX Japan
Lowdermilk, Quinn      10/25/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding request 149
                                            findings and identified data points


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Lowdermilk, Quinn     10/25/2023     2.4   Annotate crypto tracing analysis file with identified transactions for
                                           high priority crypto tracing request
Lowdermilk, Quinn     10/25/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing updates for request 152
Lowdermilk, Quinn     10/25/2023     2.8   Research blockchain information for top withdrawals from exchange
                                           for tracing request 152
Lowdermilk, Quinn     10/25/2023     2.6   Analyze blockchain transactions for high priority crypto tracing
                                           request
Mohammed, Azmat       10/25/2023     0.1   Call with N. Molina and others (FTX) and A. Mohammed (A&M) to
                                           discuss engineering matters across FTX
Mohammed, Azmat       10/25/2023     0.3   Review research on legacy risk modules and withdrawal verifications

Mohammed, Azmat       10/25/2023     0.3   Support development efforts with legacy data from service providers


Paolinetti, Sergio    10/25/2023     1.2   Investigate funding amounts for token issuer with open source
                                           information
Paolinetti, Sergio    10/25/2023     1.6   Summarize on slides funding and proposal details of token issuer


Paolinetti, Sergio    10/25/2023     0.8   Search transaction hashes for potential token receipts

Radwanski, Igor       10/25/2023     0.5   Call with L. Lambert and I. Radwanski (A&M) discussing preliminary
                                           updates for request 145
Radwanski, Igor       10/25/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing updates for request 152
Radwanski, Igor       10/25/2023     2.1   Trace transfers of interest to extract last known location of target
                                           withdrawals
Radwanski, Igor       10/25/2023     2.1   Edit deliverable to include summary schedules for request 145


Radwanski, Igor       10/25/2023     2.1   Quantify transfers of interest to notate flow of funds for request 152

Ramanathan, Kumanan   10/25/2023     0.3   Call with J. Ray (FTX), S. Coverick, K. Ramanathan (A&M) to
                                           discuss crypto update matters
Ramanathan, Kumanan   10/25/2023     0.4   Call with D. Sagen, K. Ramanathan (A&M) to discuss crypto asset
                                           coin report
Ramanathan, Kumanan   10/25/2023     1.1   Review phishing e-mail attempts and correspond with counsel re:
                                           scenarios
Ramanathan, Kumanan   10/25/2023     0.4   Call with T. Zaskon (Tres Finance) to discuss pricing on on-chain
                                           database queries
Ramanathan, Kumanan   10/25/2023     0.6   Review and facilitate payment of open invoices re: crypto

Ramanathan, Kumanan   10/25/2023     0.3   Call with S. Freeman, J. Pennington (JST) to discuss advisory
                                           services
Ramanathan, Kumanan   10/25/2023     0.8   Assist with onboarding procedures with market makers




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Business Operations
Professional               Date    Hours    Activity
Ramanathan, Kumanan   10/25/2023     0.8   Review various occurrences of spam tokens across wallets

Ramanathan, Kumanan   10/25/2023     1.1   Review and correspond re: DOJ crypto request


Sagen, Daniel         10/25/2023     0.5   Meeting with D. Sagen, A. Selwood (A&M), to update stable coin
                                           entity allocation in coin report input model
Sagen, Daniel         10/25/2023     1.1   Review Solana summary materials related to potential token sales,
                                           provide feedback to Ventures team
Sagen, Daniel         10/25/2023     0.8   Correspondence with R. Kleiner (Galaxy) regarding token contract
                                           address review
Sagen, Daniel         10/25/2023     0.4   Correspondence with D. Jones (Coinbase) regarding digital asset
                                           custody invoices
Sagen, Daniel         10/25/2023     0.7   Call with G. Walia, D. Sagen (A&M) to discuss token level shortfall
                                           analysis
Sagen, Daniel         10/25/2023     0.4   Call with D. Sagen, K. Ramanathan (A&M) to discuss crypto asset
                                           coin report
Sagen, Daniel         10/25/2023     0.7   Respond to question from A. Lewis (S&C) regarding token balance
                                           reporting
Sagen, Daniel         10/25/2023     1.2   Prepare summary schedule of transactions with unmapped token
                                           contract addresses
Sagen, Daniel         10/25/2023     0.8   Incorporate token contract address mappings into coin report model
                                           details
Sagen, Daniel         10/25/2023     1.6   Review token contract address mapping details provided by BitGo


Sagen, Daniel         10/25/2023     1.4   Correspondence with BitGo team regarding token contract address
                                           review
Sagen, Daniel         10/25/2023     0.6   Correspondence with R. Kleiner (Galaxy) regarding token unlock
                                           details
Sagen, Daniel         10/25/2023     0.6   Call with D. Sagen, A. Selwood (A&M), to discuss Category B token
                                           claims analysis
Salas Nunez, Luis     10/25/2023     2.1   Document coin report model by keeping track of latest changes


Salas Nunez, Luis     10/25/2023     1.9   Organize and summarize estimation motion workstream status

Selwood, Alexa        10/25/2023     0.5   Meeting with D. Sagen, A. Selwood (A&M), to update stable coin
                                           entity allocation in coin report input model
Selwood, Alexa        10/25/2023     0.8   Update coin report input model for USDT stable coin bridge
                                           transaction silo allocation
Selwood, Alexa        10/25/2023     1.9   Analyze transactions on-chain to identify bridge transactions in coin
                                           report input model
Selwood, Alexa        10/25/2023     1.8   Update coin report input model for USDT stable coin redemption silo
                                           allocation
Selwood, Alexa        10/25/2023     1.9   Research transactions on-chain for token mapping in coin report
                                           input model




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Business Operations
Professional                 Date    Hours    Activity
Selwood, Alexa          10/25/2023     1.9   Analyze token trading statistics for token claims analysis

Selwood, Alexa          10/25/2023     0.2   Summarize stable coin bridge transactions


Selwood, Alexa          10/25/2023     1.4   Analyze token claims information for FTX.com residual assets

Selwood, Alexa          10/25/2023     1.8   Summarize token asset versus claims analysis by legal entity

Selwood, Alexa          10/25/2023     0.6   Call with D. Sagen, A. Selwood (A&M), to discuss Category B token
                                             claims analysis
Sexton, Rachel          10/25/2023     0.2   Review available materials re: rest of world and European
                                             subsidiaries strategic options analysis
Sexton, Rachel          10/25/2023     0.2   Prepare for call on FTX EU strategic options analysis


Sexton, Rachel          10/25/2023     0.4   Call with R. Sexton, H. McGoldrick, J. Casey and J. Collis (A&M) re
                                             weekly update on wind down of European and RoW subsidiaries
Stockmeyer, Cullen      10/25/2023     0.5   Meeting with L. Iwanski, L. Lambert, L. Callerio, A. Heric, C.
                                             Stockmeyer (A&M) re: crypto tracing update
Stockmeyer, Cullen      10/25/2023     2.1   Prepare subsidiary workbook for development of petition date token
                                             receivables balance
Stockmeyer, Cullen      10/25/2023     1.9   Develop receivables balance for certain subsidiary tokens based on
                                             prior provided report
Stockmeyer, Cullen      10/25/2023     1.7   Review and incorporate prior provided petition balance for subsidiary
                                             token receivables
Stockmeyer, Cullen      10/25/2023     1.7   Review prior reported receivable token balance in order to develop
                                             format matching analysis
Stockmeyer, Cullen      10/25/2023     1.6   Begin development of receivables balance roll for certain subsidiary
                                             assets
Sunkara, Manasa         10/25/2023     2.9   Investigate the transaction activity related to certain users based on
                                             jurisdiction for an internal analysis
Sunkara, Manasa         10/25/2023     0.5   Call with M. Sunkara, J. Chan, R. Johnson, and L. Konig (A&M) to
                                             discuss status of ongoing data requests
Titus, Adam             10/25/2023     0.7   Provide comments to token proposal analysis prior to sending to
                                             UCC
Titus, Adam             10/25/2023     1.1   Build schedule for equity position including token warrants for
                                             summary
Titus, Adam             10/25/2023     0.9   Review token proposal analysis prior to sending to UCC and Ad hoc


Titus, Adam             10/25/2023     1.7   Update draft of PMO presentation for weekly token updates

Titus, Adam             10/25/2023     0.8   Draft agenda for potential buyer call on token position


van den Belt, Mark      10/25/2023     0.3   Call with M. van den Belt, E. Dalgleish, and J. Casey (A&M) re
                                             weekly update on European and RoW subsidiaries




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Professional               Date    Hours    Activity
van den Belt, Mark    10/25/2023     0.5   Call with M. van den Belt, E. Dalgleish (A&M) to discuss FTX RoW
                                           wind-down matters
van den Belt, Mark    10/25/2023     1.1   Review and amend court motions related to Zubr exchange ltd


van den Belt, Mark    10/25/2023     0.2   Review Quoine presentation prior to sharing with UCC

van den Belt, Mark    10/25/2023     3.1   Review expected liquidation costs of wind down entities

van den Belt, Mark    10/25/2023     0.4   Call with M. van den Belt, J. Casey, H. McGoldrick (A&M), G. Noble,
                                           A. Sidaway, S. Michaelides (Grant Thornton) re wind-down
                                           procedure in Cyprus
van den Belt, Mark    10/25/2023     1.1   Review materials and prepare correspondence to F. Weinberg
                                           Crocco (S&C) in relation to court motions for several FTX entities
van den Belt, Mark    10/25/2023     0.3   Call with M. van den Belt, E. Dalgleish (A&M) C. MacLean, D.
                                           Hammon, N. Srivastava (E&Y) to discuss FTX Turkey and FTX
                                           Crypto Services Ltd matters
Walia, Gaurav         10/25/2023     1.3   Review the latest intercompany exchange activity analysis and
                                           provide feedback
Walia, Gaurav         10/25/2023     0.7   Call with G.Walia, D. Sagen (A&M) to discuss token level shortfall
                                           analysis
Walia, Gaurav         10/25/2023     1.7   Review the token level shortfall analysis and provide feedback


Walia, Gaurav         10/25/2023     2.4   Review the existing OTC portal data

Walia, Gaurav         10/25/2023     0.6   Provide a summary of customer balances by token

Wall, Guy             10/25/2023     0.2   Review available materials related to FTX Dubai liquidator no claims
                                           declaration
Wilson, David         10/25/2023     0.5   Call with K. Baker, J. Zatz, D. Wilson, S. Krautheim, and P. Kwan
                                           (A&M) to discuss status of ongoing data requests
Wilson, David         10/25/2023     2.4   Query database to consolidate accounts for S&C subpoena request
                                           associated with wallet identifier
Yan, Jack             10/25/2023     1.9   Update the wallet data of FTX Japan and Quoine Pte Ltd as at
                                           October 25, 2023
Zatz, Jonathan        10/25/2023     0.5   Call with K. Baker, J. Zatz, D. Wilson, S. Krautheim, and P. Kwan
                                           (A&M) to discuss status of ongoing data requests
Zhang, Qi             10/25/2023     1.3   Add AWS information for AWS data null cases which account
                                           information can be identified on Relativity 25 Oct 2023
Zhang, Qi             10/25/2023     0.7   Review AWS mismatch cases to see if they can be cleared or
                                           required searches on Relativity 25 Oct 2023
Zhang, Qi             10/25/2023     0.4   Review applications with AML screening hits to assign cases to the
                                           relevant manual review team with language skills
Zhang, Qi             10/25/2023     2.6   Daily review of Integreon manual review team's work to record down
                                           issues identified for 25 Oct 2023 for 8 UK team
Zhang, Qi             10/25/2023     2.1   Review response received from bidders on KYC/AML to raise follow-
                                           ups and comments where necessary

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Professional               Date    Hours    Activity
Baker, Kevin          10/26/2023     3.1   Extract and delivery of transactional data for specific customer
                                           related to a government subpoena request
Baker, Kevin          10/26/2023     2.9   Provide the top 25 related party customer accounts and identify any
                                           customer accounts with special treatment
Baker, Kevin          10/26/2023     2.1   Test scripts and quality controls on scripts calculating daily balances
                                           for all components of customer balances
Baker, Kevin          10/26/2023     1.8   Analyze initial data components from AWS to respond to a new
                                           request from a government agency
Baker, Kevin          10/26/2023     1.4   Call with K. Baker and S. Krautheim (A&M) to finalize KYC overlay
                                           requests
Baker, Kevin          10/26/2023     0.5   Call with K. Baker and S. Krautheim (A&M) to develop KYC overlay
                                           requests
Callerio, Lorenzo     10/26/2023     0.9   Review and provide comments on the withdrawals analysis received
                                           from L. Lambert (A&M)
Callerio, Lorenzo     10/26/2023     0.6   Review correspondence related to tracing of cryptocurrencies
                                           received today
Callerio, Lorenzo     10/26/2023     0.7   Review the updated token deck prepared by S. Paolinetti (A&M)


Callerio, Lorenzo     10/26/2023     0.4   Review and approve the final SOL analysis prepared by L. Clayton
                                           (A&M)
Callerio, Lorenzo     10/26/2023     0.7   Review the token receivable correspondence received today

Callerio, Lorenzo     10/26/2023     0.4   Participate in a call with K. Ramanathan, L. Callerio, L. Lambert, P.
                                           Kwan, L. Konig, A. Mohammed, J. Zatz and D. Sagen (A&M) re:
                                           crypto and ops update
Casey, John           10/26/2023     2.2   Review current situation in relation to European and RoW subsidiary
                                           entities and prepare list of same
Casey, John           10/26/2023     1.1   Review various European and RoW registries for information for
                                           strategic options analysis
Casey, John           10/26/2023     0.4   Prepare updated materials on current directors of FTX rest of world
                                           entities
Casey, John           10/26/2023     0.6   Review framework agreement for a Gibraltar MVL

Casey, John           10/26/2023     0.7   Prepare strategic options analysis on FTX Nigeria entities


Chambers, Henry       10/26/2023     0.6   Call with H. Chambers (A&M), M. Rahmani, N. Nussbaum, G.
                                           Posess (PWP) regarding FTX Japan financial statements
Chambers, Henry       10/26/2023     0.3   Correspondence with FTX Japan Management regarding potential
                                           for FTX Japan restart
Chambers, Henry       10/26/2023     2.9   Prepare analysis on FTX Japan Balance sheet and intercompany
                                           receivable wind down
Chambers, Henry       10/26/2023     0.3   Correspondence with Crosspoint advisors regarding potential role at
                                           FTX Japan
Chambers, Henry       10/26/2023     0.4   Correspondence with S&C and A&M regarding FTX Japan next
                                           steps analysis


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Professional                  Date    Hours    Activity
Chambers, Henry          10/26/2023     1.0   Prepare for meeting with FTX Management regarding FTX Japan
                                              next steps
Chambers, Henry          10/26/2023     0.6   Call with K. Ramanathan, H. Chambers (A&M), N. Mehta, A.
                                              Kranzley and others (S&C), M. Rahmani and others (PWP), M. Cilia,
                                              J. Ray (FTX) to discuss FTX Japan matters
Chan, Jon                10/26/2023     2.3   Investigate activity related to A&M internal request relating to
                                              specific entity a list of emails
Chan, Jon                10/26/2023     1.3   Quality control reports for A&M internal request relating to specific
                                              entity a list of emails
Chan, Jon                10/26/2023     2.1   Investigate activity related to kyc documents for lending claims


Collis, Jack             10/26/2023     0.6   Prepare strategic options analysis and review supporting information
                                              for Technology Services Bahamas
Collis, Jack             10/26/2023     0.4   Review company profiles and S&P reports for FTX Zuma and
                                              Alameda Yankari, update tracker accordingly
Collis, Jack             10/26/2023     0.2   Prepare updated list of current and historical directors for FTX rest of
                                              world entities
Collis, Jack             10/26/2023     1.1   Prepare strategic options analysis and review supporting information
                                              for Alameda Research Pte Ltd
Collis, Jack             10/26/2023     0.6   Prepare strategic options analysis and review supporting information
                                              for FTX Malta Gaming
Collis, Jack             10/26/2023     0.6   Prepare strategic options analysis and review supporting information
                                              for FTX Malta Holdings
Collis, Jack             10/26/2023     1.1   Prepare strategic options analysis and review supporting information
                                              for Alameda Research Yankari
Collis, Jack             10/26/2023     1.2   Prepare strategic options analysis and review supporting information
                                              for FTX Zuma
Collis, Jack             10/26/2023     0.3   Research into the local strategic options consideration for Nigeria

Collis, Jack             10/26/2023     0.2   Prepare analysis on filed claims for FTX rest of world entities


Dalgleish, Elizabeth     10/26/2023     3.1   Review Relativity documents from broad search for Blockfolio Inc,
                                              Liquid Financial USA and LiquidEx
Dalgleish, Elizabeth     10/26/2023     0.6   Review and update paragraph on intercompany payables for FTX
                                              Europe asset sale court motion
Dalgleish, Elizabeth     10/26/2023     1.1   Prepare cross-functional working group deck for 27 October meeting

Dalgleish, Elizabeth     10/26/2023     3.1   Prepare updated presentation setting out the debtor and non-debtor
                                              entities proposed to be included in a wind-down motion
Dusendschon, Kora        10/26/2023     0.6   Compile biweekly deck for meeting with R. Perubhatla (FTX) and
                                              start to draft talking points
Dusendschon, Kora        10/26/2023     0.6   Execute search for settlements slack channel, review results and
                                              provide update to team
Dusendschon, Kora        10/26/2023     0.2   Assist with coordination and access issues for Relativity




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Professional               Date    Hours    Activity
Ernst, Reagan         10/26/2023     1.3   Review indication of interest form to include details in locked token
                                           position summary slide deck
Flynn, Matthew        10/26/2023     0.6   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M), R.
                                           Perubhatla (FTX) to discuss latest development efforts
Flynn, Matthew        10/26/2023     0.7   Call with M. Flynn, K. Ramanathan, G. Walia (A&M) to discuss latest
                                           crypto workstream status
Flynn, Matthew        10/26/2023     0.4   Call with M. Flynn, P. Kwan, L. Konig, R. Johnson (A&M) to discuss
                                           AWS data requests
Flynn, Matthew        10/26/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M) to discuss PMO
                                           presentation
Flynn, Matthew        10/26/2023     0.9   Update PMO presentation for crypto workstream for Management

Flynn, Matthew        10/26/2023     0.3   Review wallets related to Tres finance analysis


Flynn, Matthew        10/26/2023     1.2   Create project management template for crypto workstream

Flynn, Matthew        10/26/2023     0.9   Review overall trading volume data on FTX.COM for analysis


Flynn, Matthew        10/26/2023     0.4   Review estate budget proposal for management

Glustein, Steven      10/26/2023     0.4   Update unvested token presentation relating to footnote disclosure
                                           updates
Glustein, Steven      10/26/2023     0.9   Update PMO slides relating to token venture investment updates


Heric, Andrew         10/26/2023     0.7   Edit language and summary tables based on a quality control review
                                           from L. Lambert and L. Callerio (A&M)
Heric, Andrew         10/26/2023     0.2   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing deliverable updates for request 152
Heric, Andrew         10/26/2023     2.2   Design and integrate database information into a summary table
                                           related to .COM withdrawals for request 152
Heric, Andrew         10/26/2023     0.5   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing preliminary updates for request 152
Heric, Andrew         10/26/2023     2.7   Create an populate data points of concern for two unique summary
                                           tables of preliminary tracing findings for REQ152
Heric, Andrew         10/26/2023     1.6   Create and structure the request 152 deliverable with summary
                                           findings and an executive overview
Heric, Andrew         10/26/2023     0.4   Conduct a quality control review of the request 152 appendix items
                                           and summary descriptions
Iwanski, Larry        10/26/2023     0.7   Review of priorities and requests related to certain individuals and
                                           their trading related to the estate
Iwanski, Larry        10/26/2023     0.6   Analysis and review of crypto tracing request 152


Johnson, Robert       10/26/2023     1.1   Remove BCB data associated with specific common accounts from
                                           cash combined and summary tables




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Johnson, Robert       10/26/2023     0.3   Perform quality check on migrated BCB data in Metabase production
                                           tables to confirm functionality
Johnson, Robert       10/26/2023     1.3   Ingest KYC data files provided by Sygnia into Postgres database to
                                           combine into single dataset
Johnson, Robert       10/26/2023     2.3   Report on FTX customers having balances of 10k or higher as of
                                           petition date
Johnson, Robert       10/26/2023     0.7   Migrate replacement BCB data from staging tables to production
                                           Metabase tables
Johnson, Robert       10/26/2023     0.4   Call with M. Flynn, P. Kwan, L. Konig, R. Johnson (A&M) to discuss
                                           AWS data requests
Johnston, David       10/26/2023     1.1   Review and update background presentation relating to FTX EU Ltd.
                                           customer shortfall
Johnston, David       10/26/2023     1.7   Review and update presentation relating to wind down entities and
                                           approach by entity
Konig, Louis          10/26/2023     0.4   Call with M. Flynn, P. Kwan, L. Konig, R. Johnson (A&M) to discuss
                                           AWS data requests
Konig, Louis          10/26/2023     0.4   Participate in a call with K. Ramanathan, L. Callerio, L. Lambert, P.
                                           Kwan, L. Konig, A. Mohammed, J. Zatz and D. Sagen (A&M) re:
                                           crypto and ops update
Krautheim, Sean       10/26/2023     1.4   Call with K. Baker and S. Krautheim (A&M) to finalize KYC overlay
                                           requests
Krautheim, Sean       10/26/2023     0.5   Call with K. Baker and S. Krautheim (A&M) to develop KYC overlay
                                           requests
Krautheim, Sean       10/26/2023     1.6   Develop KYC overlay tables for support ticket requests


Kwan, Peter           10/26/2023     1.6   Research iterative follow up questions posed by federal regulator to
                                           provided responses to S&C
Kwan, Peter           10/26/2023     0.4   Call with M. Flynn, P. Kwan, L. Konig, R. Johnson (A&M) to discuss
                                           AWS data requests
Kwan, Peter           10/26/2023     1.3   Prepare schedule of data containing all relevant personally
                                           identifying information parsed from institutional customers of the
                                           exchange
Kwan, Peter           10/26/2023     0.8   Continue to revise reporting packet based on newly ingested data
                                           from the nss database based on newly scanned data from revised
                                           wallet addresses
Kwan, Peter           10/26/2023     1.8   Develop logic to extract enhanced personally identifying information
                                           associated with institutional customers of the exchange in support of
                                           customer overlap analysis
Kwan, Peter           10/26/2023     1.5   Perform quality review of outputs created based on logic developed
                                           to extract enhanced personally identifying information associated
                                           with institutional customers of the exchange
Kwan, Peter           10/26/2023     0.6   Revise presentation summarizing the comparison between aws
                                           exchange alerts and detailed alerts received from 3rd party
                                           blockchain vendor
Kwan, Peter           10/26/2023     1.1   Create wallet address tracking database counts, by blockchain, to
                                           share with 3rd party blockchain pricing provider to support additional
                                           validation of nss database


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Kwan, Peter           10/26/2023     0.4   Participate in a call with K. Ramanathan, L. Callerio, L. Lambert, P.
                                           Kwan, L. Konig, A. Mohammed, J. Zatz and D. Sagen (A&M) re:
                                           crypto and ops update
Kwan, Peter           10/26/2023     0.9   Troubleshoot linking logic to cross reference between exchange
                                           related transaction monitoring alerts and detailed alerts received
                                           from 3rd party vendor to utilize a combination of txid and wallet
                                           addresses
Lam, James            10/26/2023     2.6   Analyze and process BitGo transaction records to prepare
                                           management summary for FTX Japan
Lam, James            10/26/2023     2.4   Update the FTX Japan and Alameda Loan analysis in response to
                                           management
Lambert, Leslie       10/26/2023     0.5   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing preliminary updates for request 152
Lambert, Leslie       10/26/2023     0.7   Edit language and summary tables based on a quality control review
                                           from L. Lambert and L. Callerio (A&M)
Lambert, Leslie       10/26/2023     1.2   Review workpaper supporting findings and preliminary conclusions
                                           for a crypto tracing request
Lambert, Leslie       10/26/2023     0.3   Call with M. Flynn, L. Lambert (A&M) to discuss interim report for
                                           S&C
Lambert, Leslie       10/26/2023     0.9   Conduct quality control review of crypto tracing output and
                                           deliverables
Lambert, Leslie       10/26/2023     0.3   Plan and prepare for meetings and calls

Lambert, Leslie       10/26/2023     0.4   Draft update on an open crypto tracing request


Lambert, Leslie       10/26/2023     0.4   Participate in a call with K. Ramanathan, L. Callerio, L. Lambert, P.
                                           Kwan, L. Konig, A. Mohammed, J. Zatz and D. Sagen (A&M) re:
                                           crypto and ops update
Lowdermilk, Quinn     10/26/2023     0.5   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing preliminary updates for request 152
Lowdermilk, Quinn     10/26/2023     0.2   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing deliverable updates for request 152
Lowdermilk, Quinn     10/26/2023     2.8   Annotate crypto tracing analysis file with identified tracing efforts for
                                           tracing request 152
Lowdermilk, Quinn     10/26/2023     2.7   Analyze blockchain information for top withdrawals for crypto tracing
                                           request 152
Lowdermilk, Quinn     10/26/2023     1.9   Quality control crypto tracing deliverable for tracing request 152

Mohammed, Azmat       10/26/2023     0.6   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M), R.
                                           Perubhatla (FTX) to discuss latest development efforts
Mohammed, Azmat       10/26/2023     0.4   Review research materials related to fiat/bank withdrawal overrides

Mohammed, Azmat       10/26/2023     0.3   Update engineering status slides for FTX leadership

Paolinetti, Sergio    10/26/2023     1.3   Compare pre-petition token receipt's transaction hashes with token
                                           tracing team's report


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Business Operations
Professional               Date    Hours    Activity
Paolinetti, Sergio    10/26/2023     1.2   Add token receipts on PMO slides and update them for 10/13 pricing

Paolinetti, Sergio    10/26/2023     2.1   Estimate tokens outstanding and received based on new MM loan
                                           agreements
Paolinetti, Sergio    10/26/2023     0.7   Search wallets related to token warrant agreement to receive tokens

Paolinetti, Sergio    10/26/2023     1.1   Incorporate outstanding tokens and latest updates on PMO slides

Paolinetti, Sergio    10/26/2023     0.9   Research token airdrop news and network launch dates


Radwanski, Igor       10/26/2023     0.2   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing deliverable updates for request 152
Radwanski, Igor       10/26/2023     0.5   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing preliminary updates for request 152
Radwanski, Igor       10/26/2023     2.4   Trace on-chain transfers to identify last known location for request
                                           152
Radwanski, Igor       10/26/2023     1.2   Edit draft deliverable for request 152 to verify key information


Radwanski, Igor       10/26/2023     2.9   Trace target withdrawals from exchange users for request 152

Ramanathan, Kumanan   10/26/2023     0.6   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M), R.
                                           Perubhatla (FTX) to discuss latest development efforts
Ramanathan, Kumanan   10/26/2023     0.7   Review of BitGo tri-party collateral agreement and correspond with
                                           counsel re: posting of materials
Ramanathan, Kumanan   10/26/2023     0.4   Review excel model examples and distribute to team for creation of
                                           customer analysis model
Ramanathan, Kumanan   10/26/2023     0.7   Call with M. Flynn, K. Ramanathan, G. Walia (A&M) to discuss latest
                                           crypto workstream status
Ramanathan, Kumanan   10/26/2023     0.3   Call with R. Perubhatla (FTX) to discuss IT matters and operations

Ramanathan, Kumanan   10/26/2023     0.6   Review and provide comments to crypto prime broker engagement
                                           letter
Ramanathan, Kumanan   10/26/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M) to discuss PMO
                                           presentation
Ramanathan, Kumanan   10/26/2023     0.4   Participate in a call with K. Ramanathan, L. Callerio, L. Lambert, P.
                                           Kwan, L. Konig, A. Mohammed, J. Zatz and D. Sagen (A&M) re:
                                           crypto and ops update
Ramanathan, Kumanan   10/26/2023     1.2   Call with K. Ramanathan & C. Sullivan, J. Ray (FTX), A. Dietderich
                                           (S&C) and S&C team, K. Cofsky (PWP) and PWP team, UCC
                                           advisors & AHC advisors for the weekly 2.0 update discussion
Ramanathan, Kumanan   10/26/2023     0.5   Call with A. Holland (S&C), K. Ramanathan, A. Selwood, D. Sagen
                                           (A&M), A. Mott, M. Furci (Messari) regarding crypto market updates
Ramanathan, Kumanan   10/26/2023     0.6   Call with K. Ramanathan, H. Chambers (A&M), N. Mehta, A.
                                           Kranzley and others (S&C), M. Rahmani and others (PWP), M. Cilia,
                                           J. Ray (FTX) to discuss FTX Japan matters



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Business Operations
Professional               Date    Hours    Activity
Sagen, Daniel         10/26/2023     1.2   Correspondence with Galaxy team, Sygnia team, BitGo team
                                           regarding token contract address validation
Sagen, Daniel         10/26/2023     0.6   Review third party exchange status updates from J. Croke (S&C),
                                           draft summary bullets for further review
Sagen, Daniel         10/26/2023     0.7   Correspondence with R. Kleiner (Galaxy) regarding token contract
                                           address validation processes
Sagen, Daniel         10/26/2023     0.3   Revise third party exchange status notes, distribute with K.
                                           Ramanathan (A&M) for review
Sagen, Daniel         10/26/2023     1.1   Update token contract address analysis supplemental source data
                                           provided by BitGo team
Sagen, Daniel         10/26/2023     0.8   Correspondence with H. Nachmias (Sygnia), N. Chang (BitGo)
                                           regarding claiming digital assets
Sagen, Daniel         10/26/2023     0.5   Meeting with D. Sagen, A. Selwood (A&M), to update Category B
                                           residual assets analysis
Sagen, Daniel         10/26/2023     1.3   Research and respond to historical token receipt questions from S.
                                           Paolinetti (A&M)
Sagen, Daniel         10/26/2023     0.4   Provide M. Mirando (A&M) with FTX exchange diligence materials


Sagen, Daniel         10/26/2023     0.3   Advise A. Selwood (A&M) on updates to Category B excess token
                                           analysis
Sagen, Daniel         10/26/2023     0.4   Correspondence with Sygnia team regarding token contract
                                           validation
Sagen, Daniel         10/26/2023     0.2   Advise A. Selwood (A&M) regarding third party exchange status
                                           review
Sagen, Daniel         10/26/2023     0.7   Review third party exchange status commentary prepared by A.
                                           Selwood (A&M)
Sagen, Daniel         10/26/2023     0.6   Prepare updated token pricing schedule with revised name mappings


Sagen, Daniel         10/26/2023     0.6   Flag various token contract addresses for further review

Sagen, Daniel         10/26/2023     0.5   Call with A. Holland (S&C), K. Ramanathan, A. Selwood, D. Sagen
                                           (A&M), A. Mott, M. Furci (Messari) regarding crypto market updates
Salas Nunez, Luis     10/26/2023     0.6   Document estimation valuation workstream status based on latest
                                           developments
Salas Nunez, Luis     10/26/2023     0.9   Review of background documents on FTX 2.0 bids

Selwood, Alexa        10/26/2023     0.5   Meeting with D. Sagen, A. Selwood (A&M), to update Category B
                                           residual assets analysis
Selwood, Alexa        10/26/2023     1.4   Update claims residual assets analysis to include category A token
                                           information
Selwood, Alexa        10/26/2023     0.7   Complete quality control check of token price summary analysis


Selwood, Alexa        10/26/2023     0.6   Update coin report input model transaction data legal entity allocation




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Business Operations
Professional                 Date    Hours    Activity
Selwood, Alexa          10/26/2023     0.7   Summarize price variance analysis for updated Coin Metrics data

Selwood, Alexa          10/26/2023     1.3   Summarize crypto on third party exchanges as of 10/18


Selwood, Alexa          10/26/2023     1.7   Analyze token name mapping for coin report input model

Selwood, Alexa          10/26/2023     1.8   Analyze token claims information for FTX.us residual assets

Selwood, Alexa          10/26/2023     1.1   Analyze assets by token versus token claims by legal entity


Selwood, Alexa          10/26/2023     1.4   Categorize tokens for claims versus assets analysis

Selwood, Alexa          10/26/2023     0.1   Summarize crypto market updates by token


Selwood, Alexa          10/26/2023     0.1   Research token vesting transaction on-chain

Selwood, Alexa          10/26/2023     0.5   Call with A. Holland (S&C), K. Ramanathan, A. Selwood, D. Sagen
                                             (A&M), A. Mott, M. Furci (Messari) regarding crypto market updates
Sivapalu, Anan          10/26/2023     1.8   Create preliminary outline of balances dashboard to be implemented

Sivapalu, Anan          10/26/2023     1.3   Add column to delineate long-shot balances in database

Sivapalu, Anan          10/26/2023     1.2   Add column in balances database to conjoin ticker columns


Stockmeyer, Cullen      10/26/2023     1.7   Prepare reconciliation of various accounts related to venture token
                                             investments for certain subsidiary
Stockmeyer, Cullen      10/26/2023     1.8   Prepare review of token ICO dates and prices for petition balance of
                                             investment receivables
Stockmeyer, Cullen      10/26/2023     1.9   Further analysis of token ICO dates and prices for petition balance
                                             of investment receivables
Stockmeyer, Cullen      10/26/2023     1.4   Further analysis related to reconciliation of various accounts related
                                             to venture token investments for certain subsidiary
Sullivan, Christopher   10/26/2023     0.6   Review IC transactions at Blockfolio for recovery implications

Sullivan, Christopher   10/26/2023     1.2   Call with K. Ramanathan & C. Sullivan, J. Ray (FTX), A. Dietderich
                                             (S&C) and S&C team, K. Cofsky (PWP) and PWP team, UCC
                                             advisors & AHC advisors for the weekly 2.0 update discussion
Sunkara, Manasa         10/26/2023     2.8   Extract all transaction activity associated with the confirmed user
                                             accounts for an internal investigation
Sunkara, Manasa         10/26/2023     1.8   Extract the user account details for all individuals associated with a
                                             list of transactions
Sunkara, Manasa         10/26/2023     2.7   Populate the customer kyc fields for the top 300 customers related
                                             to a diligence request
Sunkara, Manasa         10/26/2023     2.9   Run a wildcard search across the database for any accounts
                                             associated with two individuals for an internal investigation


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Business Operations
Professional                 Date    Hours    Activity
Titus, Adam             10/26/2023     1.1   Review token presentation updated for latest details including pricing
                                             verifying all figures
Titus, Adam             10/26/2023     1.8   Review manual vesting schedules provided by Sygnia against
                                             details within token investment tracker
Titus, Adam             10/26/2023     0.6   email correspondence on token KYC process for issuance of token
                                             receivable
van den Belt, Mark      10/26/2023     1.1   Prepare correspondence to E. Simpson (S&C) in relation to
                                             supplemental proof of claim of FTX EU Ltd
van den Belt, Mark      10/26/2023     0.8   Prepare correspondence to T. Hill (S&C) in relation to sales motion
                                             of FTX Europe asset sale
van den Belt, Mark      10/26/2023     0.9   Prepare correspondence to E. Erdem (E&Y), S. Aydin (FTX) in
                                             relation to FTX Turkey steps plan
van den Belt, Mark      10/26/2023     2.8   Prepare presentation on background of FTX EU customer shortfall


van den Belt, Mark      10/26/2023     3.1   Review wind down entity analysis for wind down motion

van den Belt, Mark      10/26/2023     2.4   Review intercompany payables for pre-petition amounts


Walia, Gaurav           10/26/2023     0.7   Call with M. Flynn, K. Ramanathan, G. Walia (A&M) to discuss latest
                                             crypto workstream status
Walia, Gaurav           10/26/2023     0.8   Prepare the crypto workstream status update

Walia, Gaurav           10/26/2023     1.1   Review the excluded customer analysis and provide feedback


Walia, Gaurav           10/26/2023     2.1   Develop workplan to sort through OTC Alameda balances

Walia, Gaurav           10/26/2023     1.7   Review the de minimis account analysis and provide feedback


Walia, Gaurav           10/26/2023     0.7   Prepare responses to OTC Alameda questions

Wilson, David           10/26/2023     0.6   Correspond with FTI to retrieve KYC documents on identified users
                                             for S&C subpoena request with wallet identifier
Wilson, David           10/26/2023     2.1   Search for corporate account on exchange with email containing
                                             domain name as known related party for A&M request
Zatz, Jonathan          10/26/2023     0.8   Summarize follow-up action items from call with Alameda regarding
                                             OTC
Zhang, Qi               10/26/2023     0.9   Reverse rejections that are caused by excessive upload of
                                             documents where system should have accepted them for US
Zhang, Qi               10/26/2023     2.6   Daily review of Integreon manual review team's work to record down
                                             issues identified for 26 Oct 2023 for 8 UK team
Zhang, Qi               10/26/2023     1.9   Add AWS information for AWS data null cases which account
                                             information can be identified on Relativity 26 Oct 2023
Arnett, Chris           10/27/2023     0.7   Revise workstream planner for ops, hr, and contracts work streams




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Business Operations
Professional                  Date    Hours    Activity
Baker, Kevin             10/27/2023     2.9   Extract all transactional data and analyze results for a specific
                                              customer requested by counsel for an investigation
Baker, Kevin             10/27/2023     0.5   Teleconference with K. Baker, P. Kwan, R. Johnson and K.
                                              Dusendschon (A&M) to discuss open requests and action items
Baker, Kevin             10/27/2023     0.7   Call with K. Baker, S. Krautheim, L. Konig and P. Kwan (A&M) to
                                              discuss action items and status of ongoing data requests
Balmelli, Gioele         10/27/2023     0.3   Call with G. Balmelli (A&M) and J. Bavaud (FTX) re updates on
                                              sharing FTX Europe Back-ups access
Balmelli, Gioele         10/27/2023     1.2   Prepare breakdown of FTX EU Ltd expenses paid by FTX Europe AG


Callerio, Lorenzo        10/27/2023     1.1   Review the updated withdrawals analysis prepared by the crypto
                                              tracing team
Callerio, Lorenzo        10/27/2023     0.7   Review REQ149 deliverable prepared by Q. Lowdermilk (A&M)


Callerio, Lorenzo        10/27/2023     0.6   Review and update the token outreach tracker

Casey, John              10/27/2023     1.9   Review current situation in relation to European and RoW subsidiary
                                              entities and prepare updated list of same
Casey, John              10/27/2023     3.1   Prepare updated strategic options analysis on FTX Europe entities

Casey, John              10/27/2023     0.6   Prepare strategic options analysis on FTX Europe entities

Chambers, Henry          10/27/2023     0.3   Correspondence with A&M data privacy team regrading data privacy
                                              language in BitGo agreement
Chambers, Henry          10/27/2023     0.5   Call with H. Chambers and D. Johnston (A&M) regarding updates to
                                              FTX Japan next steps
Chambers, Henry          10/27/2023     0.5   Correspondence with PWP regarding FTX Japan resolution of
                                              intercompany balances
Chan, Jon                10/27/2023     2.2   Investigate activity related to A&M internal request regarding specific
                                              lending claims
Chan, Jon                10/27/2023     1.9   Investigate activity related to A&M internal request given a list of
                                              names and emails
Chan, Jon                10/27/2023     2.6   Investigate activity related to Genopets and related emails for A&M
                                              internal request
Chan, Jon                10/27/2023     0.5   Teleconference with D. Wilson, J. Chan, and S. Krautheim (A&M) to
                                              discuss open requests and action items
Collis, Jack             10/27/2023     1.1   Prepare strategic options analysis and review supporting information
                                              for Killarney Lake Investments
Collis, Jack             10/27/2023     0.4   Prepare strategic options analysis and review supporting information
                                              for Technology Services Bahamas
Collis, Jack             10/27/2023     0.9   Prepare strategic options analysis and review supporting information
                                              for Cedar Grove Technology
Collis, Jack             10/27/2023     0.4   Prepare strategic options analysis and review supporting information
                                              for Bancroft Way




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Professional                  Date    Hours    Activity
Collis, Jack             10/27/2023     1.2   Prepare strategic options analysis and review supporting information
                                              for Alameda Global Services
Collis, Jack             10/27/2023     0.4   Prepare strategic options analysis and review supporting information
                                              for Cedar Grove
Collis, Jack             10/27/2023     0.6   Prepare strategic options analysis and review supporting information
                                              for Alameda TR
Collis, Jack             10/27/2023     1.1   Prepare strategic options analysis and review supporting information
                                              for Alameda Aus
Collis, Jack             10/27/2023     0.1   Gather and review available materials on FTX Nigerian entities


Coverick, Steve          10/27/2023     0.2   Call with S. Coverick, K. Ramanathan (A&M) to discuss crypto
                                              workstreams
Dalgleish, Elizabeth     10/27/2023     1.1   Review and update the list of debtor and non-debtor entities
                                              proposed to be included in a wind-down motion
Dalgleish, Elizabeth     10/27/2023     2.6   Prepare updated cross-functional working group deck for 27 October
                                              meeting
Dusendschon, Kora        10/27/2023     0.5   Teleconference with K. Baker, P. Kwan, R. Johnson and K.
                                              Dusendschon (A&M) to discuss open requests and action items
Dusendschon, Kora        10/27/2023     0.2   Compile message for FTI outlining KYC inventory from Sygnia and
                                              tie-out required
Dusendschon, Kora        10/27/2023     0.6   Compile tracker and finalize dashboard for biweekly update for R.
                                              Perubhatla
Dusendschon, Kora        10/27/2023     0.1   Provide feedback to N. Molina (FTX) regarding Cognito export


Dusendschon, Kora        10/27/2023     0.3   Review Front app mailboxes and provide feedback to team

Dusendschon, Kora        10/27/2023     0.1   Provide guidance regarding Relativity searches and downloads


Dusendschon, Kora        10/27/2023     0.4   Teleconference with K. Dusendschon, R. Johnson (A&M) and R.
                                              Perubhatla (FTX) to review AWS open items and status of
                                              workstreams
Dusendschon, Kora        10/27/2023     0.4   Teleconference with K. Dusendschon (A&M), A. Bailey, B.
                                              McMahon, D. Turton (FTI), E. Newman, J. Gilday (S&C), R.
                                              Perubhatla and B. Bangerton (FTX) to review status of open
                                              collection/preservation items
Ernst, Reagan            10/27/2023     0.4   Formulate interested parties slide template for locked token position
                                              slide deck
Ernst, Reagan            10/27/2023     1.6   Recover information regarding locked token position for potential sale


Flynn, Matthew           10/27/2023     0.4   Call with M. Flynn, K. Ramanathan (A&M) to discuss PMO
                                              presentation and customer analysis
Flynn, Matthew           10/27/2023     0.3   Call with M. Flynn, P. Kwan (A&M) to discuss crypto wallet tracing
                                              data request
Flynn, Matthew           10/27/2023     0.2   Call with M. Flynn, D. Slay (A&M) to discuss PMO presentation




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Professional               Date    Hours    Activity
Flynn, Matthew        10/27/2023     0.6   Update weekly deliverable tracker for management

Flynn, Matthew        10/27/2023     0.3   Call with J. Sardinha, E. Simendinger and others (FTX), P. Kwan, M.
                                           Flynn, A.Mohammed (A&M) to discuss reviews of data gaps in
                                           network scanning service
Glustein, Steven      10/27/2023     0.6   Provide comments on presentation materials regarding status of
                                           interested buyers relating to locked token investments
Glustein, Steven      10/27/2023     1.3   Review presentation materials regarding status of interested buyers
                                           relating to locked token investments
Glustein, Steven      10/27/2023     1.2   Provide comments on adjusted petition date bridge relating to
                                           LedgerPrime token investments
Glustein, Steven      10/27/2023     1.9   Review adjusted petition date bridge relating to LedgerPrime token
                                           investments
Heric, Andrew         10/27/2023     1.4   Populate and finalize the request 149 deliverable based on identified
                                           database and internal document information
Heric, Andrew         10/27/2023     1.9   Detail summary open source and internal information on a claim
                                           entity of concern related to request 149
Heric, Andrew         10/27/2023     3.1   Conduct destination crypto tracing of identified withdrawals of
                                           interest from population of 480 for request 152
Heric, Andrew         10/27/2023     1.3   Review database deposit, transfers, and withdrawals related to two
                                           internal .COM accounts of concern for request 149
Heric, Andrew         10/27/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing updates for request 152
Iwanski, Larry        10/27/2023     0.4   Conduct a review of the deliverable for crypto tracing request 149


Iwanski, Larry        10/27/2023     0.8   Review of deliverable regarding a manual withdrawal analysis

Johnson, Robert       10/27/2023     0.8   Review request and associated SQL script for updated combined
                                           transaction data displayed in Metabase
Johnson, Robert       10/27/2023     1.9   Export sample data from 398 FTX.com database tables to allow for
                                           team to review data types within each file
Johnson, Robert       10/27/2023     0.5   Teleconference with K. Baker, P. Kwan, R. Johnson and K.
                                           Dusendschon (A&M) to discuss open requests and action items
Johnson, Robert       10/27/2023     1.4   Extract KYC data into single file to be provided to FTI to allow for
                                           mapping of Google drive data
Johnson, Robert       10/27/2023     0.2   Update table row counts to account for all tables in .com and .us
                                           schemas
Johnson, Robert       10/27/2023     0.2   Update user password for Metabase reporting and dashboarding
                                           platform
Johnson, Robert       10/27/2023     0.4   Teleconference with K. Dusendschon, R. Johnson (A&M) and R.
                                           Perubhatla (FTX) to review AWS open items and status of
                                           workstreams
Johnston, David       10/27/2023     1.6   Review adversary motion to dismiss FTX Trading and Maclaurin
                                           Investments Ltd., prepare summary and consider next steps
Johnston, David       10/27/2023     0.8   Call with M. Cilia (FTX), A. Kranzley, E. Simpson (S&C), D.
                                           Hammon, M. Borts (E&Y) on FTX wind-down planning

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Johnston, David       10/27/2023     0.7   Call with J. Rosenfeld, J. Goldman, S. Ehrenberg (S&C) and D.
                                           Johnston (A&M) to discuss FTX Europe data storage
Johnston, David       10/27/2023     0.5   Call with H. Chambers and D. Johnston (A&M) regarding updates to
                                           FTX Japan next steps
Johnston, David       10/27/2023     0.6   Review and amend presentation on strategic options analysis of Ren
                                           entities
Johnston, David       10/27/2023     0.3   Review and update wind down summary presentation for FTX
                                           Management
Krautheim, Sean       10/27/2023     0.5   Teleconference with D. Wilson, J. Chan, and S. Krautheim (A&M) to
                                           discuss open requests and action items
Krautheim, Sean       10/27/2023     0.7   Call with K. Baker, S. Krautheim, L. Konig and P. Kwan (A&M) to
                                           discuss action items and status of ongoing data requests
Krautheim, Sean       10/27/2023     0.5   Call with K. Dusendschon, K. Baker, R. Johnson, and S. Krautheim
                                           (A&M) to discuss open items on the data team queue
Kwan, Peter           10/27/2023     0.5   Teleconference with K. Baker, P. Kwan, R. Johnson and K.
                                           Dusendschon (A&M) to discuss open requests and action items
Kwan, Peter           10/27/2023     1.7   Perform analysis on hundreds of tokens that were included in
                                           customer-token balances shared with valuation expert
Kwan, Peter           10/27/2023     0.3   Call with M. Flynn, P. Kwan (A&M) to discuss crypto wallet tracing
                                           data request
Kwan, Peter           10/27/2023     0.3   Call with J. Sardinha, E. Simendinger and others (FTX), P. Kwan, M.
                                           Flynn, A.Mohammed (A&M) to discuss reviews of data gaps in
                                           network scanning service
Kwan, Peter           10/27/2023     0.9   Generate listing of tables and fields associated with exchange data
                                           to be provided as reference to the valuation expert
Kwan, Peter           10/27/2023     0.7   Review orphaned data based on outputs of linking logic to cross
                                           reference between exchange related transaction monitoring alerts
                                           and detailed alerts received from 3rd party vendor
Kwan, Peter           10/27/2023     1.9   Revise schedule of data containing all relevant personally identifying
                                           information parsed from institutional customers of the exchange
                                           based on filters applied to limit subaccount level data
Kwan, Peter           10/27/2023     1.6   Prepare additional supporting data extracted associated with
                                           hundreds of tokens that were included in customer-token balances
                                           shared with valuation expert
Lam, James            10/27/2023     0.4   Prepare and review data requests for the FTX Japan customer
                                           balance analysis for PWP
Lowdermilk, Quinn     10/27/2023     2.4   Update crypto tracing deliverable for preliminary observations
                                           regarding crypto tracing request 152
Lowdermilk, Quinn     10/27/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing updates for request 152
Lowdermilk, Quinn     10/27/2023     2.8   Trace top withdrawals from exchange for crypto tracing request 152

Lowdermilk, Quinn     10/27/2023     2.7   Analyze blockchain activity for crypto tracing request 152

Mohammed, Azmat       10/27/2023     0.3   Call with J. Sardinha, E. Simendinger and others (FTX), P. Kwan, M.
                                           Flynn, A.Mohammed (A&M) to discuss reviews of data gaps in
                                           network scanning service

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Professional               Date    Hours    Activity
Paolinetti, Sergio    10/27/2023     1.3   Compare pre-petition token receipt's transaction hashes with
                                           different token investment agreements
Paolinetti, Sergio    10/27/2023     1.1   Add token holdings on hot and cold wallets for token issuer's
                                           summary slides
Paolinetti, Sergio    10/27/2023     0.9   Reconcile CoinReport holdings of certain tokens with transaction
                                           hashes
Paolinetti, Sergio    10/27/2023     0.8   Update marketing materials for pre-ICO tokens to be sent to PWP
                                           and S&C
Radwanski, Igor       10/27/2023     1.6   Quantify transfer amounts to identify last known location of funds
                                           regarding request 152
Radwanski, Igor       10/27/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing updates for request 152
Radwanski, Igor       10/27/2023     1.7   Edit deliverable to include appendix schedules for request 152


Radwanski, Igor       10/27/2023     2.8   Trace target transfers from Debtor wallets for request 152

Ramanathan, Kumanan   10/27/2023     0.5   Call with G. Walia, K. Ramanathan, A. Selwood, D. Sagen (A&M) to
                                           discuss token claims analysis
Ramanathan, Kumanan   10/27/2023     0.2   Call with K. Ramanathan, G. Walia, P. Kwan (A&M) regarding AG
                                           token pricing diligence request
Ramanathan, Kumanan   10/27/2023     0.4   Call with M. Flynn, K. Ramanathan (A&M) to discuss PMO
                                           presentation and customer analysis
Ramanathan, Kumanan   10/27/2023     0.3   Call with D. Handelsman, A. Levine (S&C) to discuss engagement
                                           letter markup
Ramanathan, Kumanan   10/27/2023     0.2   Call with S. Coverick, K. Ramanathan (A&M) to discuss crypto
                                           workstreams
Sagen, Daniel         10/27/2023     0.2   Call with L. Salas Nunez, A. Sivapalu, D. Sagen (A&M) regarding
                                           AG token pricing diligence request
Sagen, Daniel         10/27/2023     1.1   Provide summary of outstanding crypto custody invoices for
                                           payment, distribute with M. Cilia and R. Perubhatla (FTX)
Sagen, Daniel         10/27/2023     0.3   Respond to comments from K. Ramanathan (A&M) regarding
                                           monthly administrative report template
Sagen, Daniel         10/27/2023     0.7   Correspondence with various A&M team members regarding AG
                                           token related diligence requests
Sagen, Daniel         10/27/2023     0.5   Call with G. Walia, K. Ramanathan, A. Selwood, D. Sagen (A&M) to
                                           discuss token claims analysis
Sagen, Daniel         10/27/2023     1.4   Review token summary holdings dashboard and reporting
                                           capabilities of crypto intelligence vendor
Sagen, Daniel         10/27/2023     0.8   Revise and distribute 10/13 Coin Report category A token change
                                           log to M. Cilia (FTX)
Sagen, Daniel         10/27/2023     0.3   Call with G. Walia and D. Sagen (A&M) to discuss updates to token
                                           shortfall analysis
Sagen, Daniel         10/27/2023     0.4   Call with C. Stockmeyer and D. Sagen (A&M) regarding token
                                           pricing updates




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Sagen, Daniel           10/27/2023     0.8   Prepare draft monthly administrative report output for October
                                             stablecoin sales, distribute with K. Ramanathan (A&M) for review
Sagen, Daniel           10/27/2023     0.8   Document feedback of crypto intelligence platform review,
                                             suggested updates, circulate with K. Ramanathan and G. Walia
                                             (A&M) for review
Salas Nunez, Luis       10/27/2023     0.2   Call with L. Salas Nunez, A. Sivapalu, D. Sagen (A&M) regarding
                                             AG token pricing diligence request
Salas Nunez, Luis       10/27/2023     1.3   Analyze overlap models and develop an understanding for how to
                                             perform this modeling task
Salas Nunez, Luis       10/27/2023     1.1   Prepare and analyze data requests on preference claims data and
                                             excluded customer analysis
Salas Nunez, Luis       10/27/2023     2.6   Resolve data requests on estimation valuation workstream and
                                             update status tracker
Salas Nunez, Luis       10/27/2023     1.4   Compare databases of token categories, classifications, and data
                                             availability
Salas Nunez, Luis       10/27/2023     0.9   Call with A. Sivapalu, L. Salas (A&M) to discuss FTX financial detail
                                             data
Selwood, Alexa          10/27/2023     0.5   Call with G. Walia, K. Ramanathan, A. Selwood, D. Sagen (A&M) to
                                             discuss token claims analysis
Selwood, Alexa          10/27/2023     1.8   Update legal entity allocation for October stable coin redemptions


Selwood, Alexa          10/27/2023     2.2   Update legal entity allocation for September stable coin redemptions

Selwood, Alexa          10/27/2023     0.9   Summarize price variance analysis for top variances


Selwood, Alexa          10/27/2023     1.4   Analyze coin report input model for stable coin redemptions

Sivapalu, Anan          10/27/2023     0.7   Design chart with balance suppression employed in dashboard by
                                             product group
Sivapalu, Anan          10/27/2023     1.8   Format balances dashboard to allow for color consistency across
                                             visual
Sivapalu, Anan          10/27/2023     0.9   Call with A. Sivapalu, L. Salas (A&M) to discuss FTX financial detail
                                             data
Sivapalu, Anan          10/27/2023     1.9   Create balance chart in dashboard by product group


Sivapalu, Anan          10/27/2023     1.9   Break balance chart out by long-short attribute in dashboard

Slay, David             10/27/2023     0.2   Call with M. Flynn, D. Slay (A&M) to discuss PMO presentation


Stockmeyer, Cullen      10/27/2023     1.2   Finalize commentary of updates to petition date balance of token
                                             receivables for certain subsidiary
Stockmeyer, Cullen      10/27/2023     1.4   Review of certain subsidiary token ICO dates and prices in
                                             comparison to petition date
Stockmeyer, Cullen      10/27/2023     0.4   Call with C. Stockmeyer and D. Sagen (A&M) regarding token
                                             pricing updates


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Business Operations
Professional                 Date    Hours    Activity
Stockmeyer, Cullen      10/27/2023     1.3   Prepare commentary on variance between prior provided petition
                                             balance and current petition balance of certain subsidiary
                                             investments
Sunkara, Manasa         10/27/2023     2.7   Write python script to load a list of transaction hashes and wallet
                                             addresses for an internal analysis
Sunkara, Manasa         10/27/2023     2.3   Investigate all processing withdrawal activity related to a list of user
                                             accounts for an internal analysis
Sunkara, Manasa         10/27/2023     2.4   Quality check SQL scripts to provide accurate data extracts for an
                                             internal investigation request
Sunkara, Manasa         10/27/2023     0.7   Call with M. Sunkara, J. Chan, J. Zatz, and D. Wilson (A&M) to
                                             discuss action items and status of ongoing data requests
Titus, Adam             10/27/2023     0.9   Provide detailed workplan via email to venture workstream related to
                                             next steps on token receivable
Titus, Adam             10/27/2023     1.1   Develop detailed workplan to venture workstream related to next
                                             steps on token receivable
Titus, Adam             10/27/2023     0.8   Draft email response to token potential purchasers for approval of J.
                                             Ray [CEO]
van den Belt, Mark      10/27/2023     0.8   Call with M. Cilia (FTX), A. Kranzley, E. Simpson (S&C), D.
                                             Hammon, M. Borts (E&Y) on FTX wind-down planning
van den Belt, Mark      10/27/2023     2.2   Review and amend presentation on wind-down entity planning for
                                             FTX rest of world entities
van den Belt, Mark      10/27/2023     1.1   Prepare presentation on alternative journal entries of FTX Turkey
                                             steps plan
van den Belt, Mark      10/27/2023     1.1   Prepare cross-functional workstream deck for meeting on October 27


van den Belt, Mark      10/27/2023     1.1   Prepare timelines of wind-down entities for PMO update

van den Belt, Mark      10/27/2023     1.2   Review PMO update on rest of world workstream

Walia, Gaurav           10/27/2023     0.5   Call with G. Walia, K. Ramanathan, A. Selwood, D. Sagen (A&M) to
                                             discuss token claims analysis
Walia, Gaurav           10/27/2023     0.2   Call with K. Ramanathan, G. Walia, P. Kwan (A&M) regarding AG
                                             token pricing diligence request
Walia, Gaurav           10/27/2023     2.3   Prepare summary responses of perpetual / derivative pricing under a
                                             few different scenarios
Walia, Gaurav           10/27/2023     0.3   Call with G. Walia and D. Sagen (A&M) to discuss updates to token
                                             shortfall analysis
Walia, Gaurav           10/27/2023     0.7   Review the updated processing withdrawals deck and provide
                                             feedback
Walia, Gaurav           10/27/2023     1.3   Review the intercompany user exchange analysis updated results

Walia, Gaurav           10/27/2023     0.6   Prepare an updated list of follow-up questions for the Alameda OTC
                                             portal
Walia, Gaurav           10/27/2023     1.1   Review the wind down budget and provide feedback




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Wilson, David         10/27/2023     1.6   Query database for transaction history and user account information
                                           for corporate account related to S&C investigation
Wilson, David         10/27/2023     0.5   Teleconference with D. Wilson, J. Chan, and S. Krautheim (A&M) to
                                           discuss open requests and action items
Wilson, David         10/27/2023     1.9   Create user analytics summary and tear sheet report for exchange
                                           account supplied for A&M investigation
Wilson, David         10/27/2023     0.7   Query database to gather KYC information for corporate account for
                                           S&C investigation request
Wilson, David         10/27/2023     1.3   Query database to consolidate accounts across both exchanges that
                                           have conducted withdrawals to list of wallets provided by S&C
Wilson, David         10/27/2023     0.7   Call with M. Sunkara, J. Chan, J. Zatz, and D. Wilson (A&M) to
                                           discuss action items and status of ongoing data requests
Zatz, Jonathan        10/27/2023     0.7   Call with M. Sunkara, J. Chan, J. Zatz, and D. Wilson (A&M) to
                                           discuss action items and status of ongoing data requests
Zhang, Qi             10/27/2023     2.7   Daily review of Integreon manual review team's work to record down
                                           issues identified for 27 Oct 2023 for 8 UK team
Zhang, Qi             10/27/2023     0.4   Recheck system for applicants with SSN issue to fix application
                                           problem
Zhang, Qi             10/27/2023     0.5   Review post confirmation budget sheet for various vendors

Arnett, Chris         10/28/2023     0.4   Direct refresh of entity options analysis at request of J. Ray
                                           (Company)
Baker, Kevin          10/28/2023     2.1   Report on customer residency and jurisdiction information at the
                                           direction of counsel regarding a specific list of emails
Chambers, Henry       10/28/2023     0.4   Correspondence with A&M team regarding FTX Japan next steps
                                           analysis
Johnson, Robert       10/28/2023     1.4   Finalize export of Alameda databases for EY download to EY
                                           hosting environment
Kwan, Peter           10/28/2023     1.2   Prepare reporting packet based on additional data ingested from the
                                           nss database based on newly scanned data from new blockchain
                                           data provider
Salas Nunez, Luis     10/28/2023     0.7   Summarize and collect information for classification of unsupported
                                           tokens
Salas Nunez, Luis     10/28/2023     0.3   Prepare estimation motion summary status for PMO


Walia, Gaurav         10/28/2023     2.1   Prepare a one-pager of the Alameda OTC Portal process

Zhang, Qi             10/28/2023     1.2   Draft post confirmation budget for KYC related work and vendor
                                           costs
Chambers, Henry       10/29/2023     0.3   Correspondence with A&M and S&C teams regarding FTX Japan
                                           next steps analysis
Chambers, Henry       10/29/2023     0.4   Review of Non-disclosure agreement for Crosspoint advisors
                                           Japanese assistance
Chambers, Henry       10/29/2023     1.2   Manage return of FTX Japan Post-petition deposits




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Professional                 Date    Hours    Activity
Chambers, Henry         10/29/2023     0.3   Review of BitGo proposal for additional KYC resources

Chambers, Henry         10/29/2023     1.9   Undertake analysis of FTX Japan intercompany loan position


Dusendschon, Kora       10/29/2023     0.1   Review open items for records of processing and retention schedule

Glustein, Steven        10/29/2023     1.3   Review LedgerPrime remaining assets workbook relating to update
                                             token receivable balance
Glustein, Steven        10/29/2023     0.5   Provide comments relating to updated token receivable balance


Kwan, Peter             10/29/2023     0.8   Refresh reporting packet based on data ingested from the nss
                                             database using additional scanned data from weekend runs
Walia, Gaurav           10/29/2023     0.8   Update the list of questions for the Alameda OTC portal


Arbid, Rami             10/30/2023     0.3   Review available materials related to VARA confirmation on
                                             guarantee release
Arnett, Chris           10/30/2023     0.4   Direct revisions of entity options analysis at request of J. Ray
                                             (Company)
Arnett, Chris           10/30/2023     0.3   Review and comment on entity option analysis for potential de
                                             minimis asset sale
Arnett, Chris           10/30/2023     0.4   Review and comment on potential offer for orphaned asset

Baker, Kevin            10/30/2023     0.4   Teleconference with K. Baker, P. Kwan, R. Johnson and K.
                                             Dusendschon (A&M) to discuss open requests and action items
Baker, Kevin            10/30/2023     3.2   Extract transactional data from AWS regarding a specific user
                                             account for counsel for internal investigation
Baker, Kevin            10/30/2023     1.5   Analyze specific transactions and wallets identified by counsel for a
                                             specific internal investigation
Callerio, Lorenzo       10/30/2023     0.4   Call with L. Lambert and L. Callerio (A&M) re: crypto tracing work
                                             stream update
Callerio, Lorenzo       10/30/2023     0.6   Review today's inbound tracing correspondence


Callerio, Lorenzo       10/30/2023     0.6   Review a proposal received from one of the token issuers

Callerio, Lorenzo       10/30/2023     0.4   Meeting with G. Walia, L. Leslie and L. Callerio (A&M) re: processing
                                             withdrawals analysis
Callerio, Lorenzo       10/30/2023     0.2   Meeting with L. Lambert, L. Callerio, A. Heric, C. Stockmeyer (A&M)
                                             regarding updated crypto tracing workstream status
Casey, John             10/30/2023     2.4   Review of strategic options analysis for Malta and Singapore
                                             subsidiaries
Casey, John             10/30/2023     0.3   Call with J. Collis and J. Casey (A&M) re update on strategic options
                                             analysis for applicable European and RoW entities
Chambers, Henry         10/30/2023     0.4   Correspondence with A&M and FTX Management regarding
                                             Japanese language support for FTX Japan next steps




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Chambers, Henry          10/30/2023     1.1   Correspondence with A&M team and Crosspoint advisors regarding
                                              potential external support for FTX Japan next steps
Chambers, Henry          10/30/2023     1.6   Respond to queries on differences between operational
                                              requirements of foreign exchanges
Chambers, Henry          10/30/2023     1.9   Consider steps required for KYC and AML screening in the post
                                              confirmation period
Chambers, Henry          10/30/2023     0.8   Prepare NDA for potential external Japanese language support

Chambers, Henry          10/30/2023     1.3   Prepare summary slides for KYC component of claims reconciliation


Chambers, Henry          10/30/2023     2.8   Prepare updated analysis on FTX Japan Intercompany settlement

Chambers, Henry          10/30/2023     0.4   Handle the return of FTX Japan post petition deposit amounts


Chambers, Henry          10/30/2023     1.1   Correspondence with PWP regarding stratification

Chambers, Henry          10/30/2023     0.3   Respond to queries on Blockfolio user presentations


Chan, Jon                10/30/2023     2.3   Investigate activity for A&M internal request related to closing date
                                              balances for the separate legal entities
Chan, Jon                10/30/2023     2.4   Investigate activity for A&M internal request for related parties
                                              sending funds to customers
Chan, Jon                10/30/2023     2.1   Investigate activity for A&M internal request related to trading activity
                                              of a group of tokens
Collis, Jack             10/30/2023     0.4   Prepare initial analysis on strategic options for Alameda Antigua
                                              entities
Collis, Jack             10/30/2023     0.6   Prepare updated analysis on strategic options for Alameda Antigua
                                              entities
Collis, Jack             10/30/2023     0.2   Prepare updated presentation on strategic options analysis for
                                              Bahamas entities
Collis, Jack             10/30/2023     0.3   Prepare presentation on strategic options analysis for BVI entities


Collis, Jack             10/30/2023     0.4   Prepare initial analysis on strategic options for Alameda BVI entities

Collis, Jack             10/30/2023     0.7   Prepare updated analysis on strategic options for FTX Antigua
                                              entities
Collis, Jack             10/30/2023     0.8   Prepare initial analysis on strategic options for FTX Antigua entities


Collis, Jack             10/30/2023     0.3   Call with J. Collis and J. Casey (A&M) re update on strategic options
                                              analysis for applicable European and RoW entities
Dalgleish, Elizabeth     10/30/2023     3.1   Prepare information binder of corporate information from Relativity
                                              for Liquid Financial USA and LiquidEx
Dalgleish, Elizabeth     10/30/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                              discuss the Ren entities and FTX RoW wind-down matters




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Dalgleish, Elizabeth   10/30/2023     0.6   Prepare correspondence to J. Bavaud (FTX) regarding FTX Crypto
                                            Services Konkrit Accounting paid invoices
Dalgleish, Elizabeth   10/30/2023     1.1   Prepare updated presentation setting out the context, financials and
                                            proposed treatment of the FTX RoW Wind-down Entities
Dusendschon, Kora      10/30/2023     0.4   Teleconference with K. Baker, P. Kwan, R. Johnson and K.
                                            Dusendschon (A&M) to discuss open requests and action items
Dusendschon, Kora      10/30/2023     0.1   Review Relativity sheet and provide updated version for internal
                                            feedback
Dusendschon, Kora      10/30/2023     0.1   Provide updated Relativity sheet to FTI for implementation


Ernst, Reagan          10/30/2023     1.6   Implement token velocity valuation methodology to value unlocked
                                            token position
Ernst, Reagan          10/30/2023     2.2   Create token proposal buyback offer tracker to organize all
                                            outstanding offers
Ernst, Reagan          10/30/2023     1.6   Analyze token proposal buyback offers

Ernst, Reagan          10/30/2023     0.6   Analyze Alameda token position buyback offers for venture sale
                                            tracker
Ernst, Reagan          10/30/2023     1.4   Analyze third party unlocked token offers for venture sale tracker

Flynn, Matthew         10/30/2023     0.2   Call with M. Flynn, G. Walia (A&M) to discuss related party transfer
                                            analysis
Flynn, Matthew         10/30/2023     0.6   Correspond on related party transfer analysis


Flynn, Matthew         10/30/2023     0.7   Review fiat user admin access permissions and rights

Flynn, Matthew         10/30/2023     0.4   Review wallet reporting service agreement for S&C


Flynn, Matthew         10/30/2023     0.4   Review relativity permissions access for data team

Flynn, Matthew         10/30/2023     0.4   Review crypto workstream deliverable status


Flynn, Matthew         10/30/2023     0.5   Call with J. Sardinha, E. Simendinger and others (FTX), P. Kwan, M.
                                            Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                            scanning service
Francis, Luke          10/30/2023     1.4   Review of applications of KYC in other cases to provide feedback to
                                            leadership
Francis, Luke          10/30/2023     1.4   Search creditor relationship to debtors through review of company
                                            records
Glustein, Steven       10/30/2023     0.4   Prepare weekend update summary regarding updates relating to
                                            token investment activity
Heric, Andrew          10/30/2023     0.2   Meeting with L. Lambert, L. Callerio, A. Heric, C. Stockmeyer (A&M)
                                            regarding updated crypto tracing workstream status
Heric, Andrew          10/30/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                            discussing phase 2 methodology for request 152


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Heric, Andrew         10/30/2023     2.4   Gather address-level details and corresponding received amounts
                                           for the first batch of 33 withdrawals from the top-150 for request 152
Heric, Andrew         10/30/2023     1.4   Update the summary finds, observations, conclusions, and
                                           implications from the updated top 150 withdrawal deliverable for
                                           request 152
Heric, Andrew         10/30/2023     0.7   Review follow-up phase two questions related to request 149 and
                                           notate within the analysis sheet the next steps for analysis
Heric, Andrew         10/30/2023     2.2   Identify and gather address level detail and the corresponding
                                           received amounts for the second and final batch of 28 withdrawals
                                           from the top 150 for request 152
Heric, Andrew         10/30/2023     0.5   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                           Lowdermilk (A&M) discussing crypto tracing updates
Iwanski, Larry        10/30/2023     1.2   Review of communications related to crypto tracing requirements
                                           and prioritizations of requests
Iwanski, Larry        10/30/2023     0.5   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                           Lowdermilk (A&M) discussing crypto tracing updates
Johnson, Robert       10/30/2023     0.4   Teleconference with K. Baker, P. Kwan, R. Johnson and K.
                                           Dusendschon (A&M) to discuss open requests and action items
Johnson, Robert       10/30/2023     1.6   Perform QC of Alameda databases exported for EY to confirm
                                           completeness and accuracy
Johnson, Robert       10/30/2023     1.2   Convey final set of database information to EY for downloading to
                                           EY environment
Johnston, David       10/30/2023     0.7   Review materials relating to MPC Technologies ahead of meeting
                                           with local director, prepare questions
Johnston, David       10/30/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                           discuss the Ren entities and FTX RoW wind-down matters
Johnston, David       10/30/2023     1.1   Review Ren crypto asset and liability comparison, consider
                                           implications for wind down
Johnston, David       10/30/2023     1.4   Review and update wind down entity plan following latest
                                           discussions on approach
Johnston, David       10/30/2023     0.6   Review directors list in relation to wind downs and reporting
                                           requirements
Johnston, David       10/30/2023     0.5   Call with T. Zhang (MPC), D. Johnston, M. van den Belt (A&M) on
                                           MPC Operating model
Johnston, David       10/30/2023     0.4   Review and amend presentation on FTX Europe historical operations


Johnston, David       10/30/2023     1.8   Review and update FTX Japan KK strategic options deck

Krautheim, Sean       10/30/2023     0.5   Teleconference with D. Wilson, J. Chan, and S. Krautheim (A&M) to
                                           discuss open requests and action items
Krautheim, Sean       10/30/2023     1.0   Meeting with S. Krautheim, J. Chan and D. Wilson (A&M) to discuss
                                           utilizing request responder tool to handle database requests
Kwan, Peter           10/30/2023     0.4   Teleconference with K. Baker, P. Kwan, R. Johnson and K.
                                           Dusendschon (A&M) to discuss open requests and action items




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Kwan, Peter           10/30/2023     1.7   Continue to revise presentation of findings for S&C encapsulating
                                           code review updates, anecdotal examples of code changes with
                                           potentially unintended outputs
Kwan, Peter           10/30/2023     1.8   Draft detailed responses to follow-up questions received from
                                           cybersecurity vendor to assist with their performance of a customer
                                           overlap analysis
Kwan, Peter           10/30/2023     0.5   Call with J. Sardinha, E. Simendinger and others (FTX), P. Kwan, M.
                                           Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                           scanning service
Kwan, Peter           10/30/2023     1.3   Prepare additional documentation to further explain data fields
                                           provided in responses to requests from valuation expert
Kwan, Peter           10/30/2023     1.6   Continue to prepare revised reporting packet based on newly
                                           ingested data from the nss database based on newly scanned data
                                           from revised wallet addresses since the last run
Kwan, Peter           10/30/2023     1.1   Prepare schedule of futures prices used at petition and shutdown
                                           times in response to request from valuation expert
Kwan, Peter           10/30/2023     2.1   Review results of revised linking logic to cross reference between
                                           exchange related transaction monitoring alerts and detailed alerts
                                           received from 3rd party vendor to utilize a combination of txid and
                                           wallet addresses
Lam, James            10/30/2023     1.3   Identify and organize analysis and relevant materials in relation to
                                           Blockfolio matters
Lam, James            10/30/2023     1.2   Search for and consolidate summary on various crypto exchanges'
                                           operations
Lam, James            10/30/2023     2.7   Analyze the most recent FTX Japan customer balance and
                                           composition
Lambert, Leslie       10/30/2023     1.3   Conduct detailed review of approach, deliverable, and associated
                                           data for an analysis of certain on-chain activity
Lambert, Leslie       10/30/2023     0.2   Meeting with L. Lambert, L. Callerio, A. Heric, C. Stockmeyer (A&M)
                                           regarding updated crypto tracing workstream status
Lambert, Leslie       10/30/2023     0.4   Meeting with G. Walia, L. Leslie and L. Callerio (A&M) re: processing
                                           withdrawals analysis
Lambert, Leslie       10/30/2023     0.4   Call with L. Lambert and L. Callerio (A&M) re: crypto tracing work
                                           stream update
Lambert, Leslie       10/30/2023     0.4   Review communications and materials relevant to crypto
                                           management workstream
Lambert, Leslie       10/30/2023     1.1   Review blockchain transactions related to certain users and/or
                                           addresses
Lambert, Leslie       10/30/2023     0.5   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                           Lowdermilk (A&M) discussing crypto tracing updates
Lowdermilk, Quinn     10/30/2023     2.7   Calculate amount of tokens received for each address involved in
                                           transactions for tracing request 152
Lowdermilk, Quinn     10/30/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing phase 2 methodology for request 152
Lowdermilk, Quinn     10/30/2023     0.5   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                           Lowdermilk (A&M) discussing crypto tracing updates



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Professional               Date    Hours    Activity
Lowdermilk, Quinn     10/30/2023     0.2   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing preliminary updates of phase 2 for request 152
Lowdermilk, Quinn     10/30/2023     2.1   Analyze debtor deposit addresses at third party exchange for loan
                                           history regarding tracing request 153
Lowdermilk, Quinn     10/30/2023     2.6   Aggregate transaction details for top 150 withdrawals from tracing
                                           request 152
Mohammed, Azmat       10/30/2023     0.5   Call with J. Sardinha, E. Simendinger and others (FTX), P. Kwan, M.
                                           Flynn, A.Mohammed (A&M) to discuss reviews of data in network
                                           scanning service
Paolinetti, Sergio    10/30/2023     1.7   Modify token venture deck's outstanding tokens slide to include top
                                           investments in dispute
Paolinetti, Sergio    10/30/2023     1.6   Recalculate cap table to reflect accurately the value of shares from
                                           token issuer's proposal
Paolinetti, Sergio    10/30/2023     1.1   Update marketing materials for unvested tokens to reflect new
                                           comments on locked amounts
Paolinetti, Sergio    10/30/2023     0.8   Reconcile token quantities for issuer with investment milestones
                                           disputes
Paolinetti, Sergio    10/30/2023     0.4   Send list of buyback proposals received by token issuers to R. Ernst
                                           (A&M)
Paolinetti, Sergio    10/30/2023     2.1   Prepare slides for token issuer's swap proposal


Paolinetti, Sergio    10/30/2023     1.2   Summarize token issuer's proposal to swap tokens for equity

Paolinetti, Sergio    10/30/2023     2.3   Create new slide to reflect strategic alternatives for past due token
                                           investments
Radwanski, Igor       10/30/2023     0.2   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing preliminary updates of phase 2 for request 152
Radwanski, Igor       10/30/2023     0.5   Call with I. Radwanski, L. Iwanski, L. Lambert, A. Heric, and Q.
                                           Lowdermilk (A&M) discussing crypto tracing updates
Radwanski, Igor       10/30/2023     0.3   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing phase 2 methodology for request 152
Radwanski, Igor       10/30/2023     2.8   Quantify withdrawal quantities for transfers of interest regarding
                                           request 152
Radwanski, Igor       10/30/2023     1.8   Modify deliverable to include updated formatting for request 145


Radwanski, Igor       10/30/2023     2.4   Extract wallet information for key withdrawals for request 152

Ramanathan, Kumanan   10/30/2023     0.3   Call with A. Reid, B. Meliska (Falcon X) to discuss crypto asset
                                           matters
Ramanathan, Kumanan   10/30/2023     0.6   Review and correspond with Sygnia team re: fireblocks security
                                           features
Ramanathan, Kumanan   10/30/2023     0.9   Coordinate trading activities with Bitgo and management team

Ramanathan, Kumanan   10/30/2023     0.6   Review and provide markups to Coinbase staking addendum




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Professional               Date    Hours    Activity
Ramanathan, Kumanan   10/30/2023     0.6   Call with K. Ramanathan, G. Walia, L. Nunez (A&M), L. Christensen,
                                           D. Anosova, L. Jakab (AG), and J. Kapoor (S&C) to discuss
                                           perpetual pricing
Sagen, Daniel         10/30/2023     0.7   Correspondence with Galaxy team and crypto intelligence service
                                           regarding missing wallets for token reporting
Sagen, Daniel         10/30/2023     0.4   Distribute draft 10/13 Galaxy Mandate summary, variance analysis,
                                           and key commentary to K. Ramanathan (A&M) for review
Sagen, Daniel         10/30/2023     0.8   Prepare summary of BitGo transaction report analysis, circulate with
                                           Galaxy and BitGo teams
Sagen, Daniel         10/30/2023     0.3   Call with D. Sagen and A. Selwood (A&M) to discuss token
                                           population for claims analysis
Sagen, Daniel         10/30/2023     0.7   Call with crypto intelligence vendor to discuss various token
                                           reporting projects
Sagen, Daniel         10/30/2023     0.2   Call with G. Walia and D. Sagen (A&M) to discuss AG token
                                           diligence matters
Sagen, Daniel         10/30/2023     1.3   Revise draft 10/13 Galaxy Mandate summary per updated excluded
                                           token mappings
Sagen, Daniel         10/30/2023     0.9   Review variance analysis to prepare commentary regarding largest
                                           weekly changes
Sagen, Daniel         10/30/2023     0.6   Correspondence with E. Taraba (A&M) regarding stablecoin
                                           conversion details
Sagen, Daniel         10/30/2023     0.4   Research and respond to token categorization question M.
                                           Blanchard (A&M)
Sagen, Daniel         10/30/2023     1.6   Prepare variance analysis of 10/13 vs 9/29 Galaxy Mandate reports


Sagen, Daniel         10/30/2023     0.9   Analyze token balances to prepare schedule of eligible stablecoins
                                           for conversion
Sagen, Daniel         10/30/2023     1.5   Meeting with D. Sagen and A. Selwood (A&M) to update token
                                           variance analysis for Galaxy mandate to include 10/13 coin report
                                           information
Salas Nunez, Luis     10/30/2023     2.3   Prepare data request, respond to outstanding items, and assign
                                           responsibilities
Salas Nunez, Luis     10/30/2023     2.8   Organize and summarize estimation motion current workflow status

Salas Nunez, Luis     10/30/2023     0.6   Call with K. Ramanathan, G. Walia, L. Nunez (A&M), L. Christensen,
                                           D. Anosova, L. Jakab (AG), and J. Kapoor (S&C) to discuss
                                           perpetual pricing
Selwood, Alexa        10/30/2023     0.3   Call with D. Sagen and A. Selwood (A&M) to discuss token
                                           population for claims analysis
Selwood, Alexa        10/30/2023     0.6   Analyze 10/31 coin report input model transaction data for bridge
                                           transactions
Selwood, Alexa        10/30/2023     1.8   Update Galaxy mandate variance analysis for 10/13 coin report
                                           information
Selwood, Alexa        10/30/2023     1.4   Update legal entity allocation in 10/31 coin report input model




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Selwood, Alexa          10/30/2023     0.7   Analyze transactions on-chain for 10/31 coin report

Selwood, Alexa          10/30/2023     1.4   Analyze Coinbase and BitGo transaction data for token sales


Selwood, Alexa          10/30/2023     1.7   Analyze tokens by trading statistic for claims analysis

Selwood, Alexa          10/30/2023     0.9   Update token trading statistics for claims analysis

Selwood, Alexa          10/30/2023     1.2   Update token pricing metrics in claims analysis


Selwood, Alexa          10/30/2023     0.9   Summarize Galaxy mandate variance analysis

Selwood, Alexa          10/30/2023     1.5   Meeting with D. Sagen and A. Selwood (A&M) to update token
                                             variance analysis for Galaxy mandate to include 10/13 coin report
                                             information
Sexton, Rachel          10/30/2023     0.2   Review and amend presentation re: strategic options analysis of
                                             FTX rest of world entities
Simoneaux, Nicole       10/30/2023     1.7   Incorporate edits to FTX Vault options analysis presentation
                                             provided by H. Trent (A&M)
Simoneaux, Nicole       10/30/2023     1.3   Prepare sale comparison metrics and proceeds for FTX Vault
                                             Options analysis
Simoneaux, Nicole       10/30/2023     1.4   Create pro-forma 10/31 balance sheet and income statement for
                                             FTX Vault Trust
Stockmeyer, Cullen      10/30/2023     0.2   Meeting with L. Lambert, L. Callerio, A. Heric, C. Stockmeyer (A&M)
                                             regarding updated crypto tracing workstream status
Stockmeyer, Cullen      10/30/2023     1.4   Update token receivables model for subsidiary asset based on need
                                             for recent receivables status
Stockmeyer, Cullen      10/30/2023     1.3   Begin review of token ICO dates and prices for main entity token
                                             receivables
Stockmeyer, Cullen      10/30/2023     1.1   Review additional contracts for subsidiary token investment as of
                                             petition update
Sullivan, Christopher   10/30/2023     0.3   Respond to D&O insurance related questions

Sullivan, Christopher   10/30/2023     0.6   Provide additional comments to latest Blockfolio deck


Sunkara, Manasa         10/30/2023     0.4   Teleconference with M. Sunkara, J. Zatz and S. Krautheim (A&M) to
                                             discuss open requests and action items
Sunkara, Manasa         10/30/2023     0.7   Correspond with internal A&M to narrow the scope of fills activity for
                                             a certain user
Sunkara, Manasa         10/30/2023     2.7   Provide all withdrawals and deposits for a specific individual for an
                                             internal investigation
Sunkara, Manasa         10/30/2023     3.1   Investigate activity related to A&M internal request regarding specific
                                             lending claims
Titus, Adam             10/30/2023     0.6   Review token investment presentation based on feedback given to
                                             team to ensure complete


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Professional                 Date    Hours    Activity
Titus, Adam             10/30/2023     1.9   Update token investment tracker for latest correspondence with
                                             token issuers
Titus, Adam             10/30/2023     1.7   Build summary of vesting schedule based on contract values for
                                             token investment to compare against BitGo details of vesting
                                             schedule
van den Belt, Mark      10/30/2023     0.2   Call with D. Johnston, M. van den Belt, E. Dalgleish (A&M) to
                                             discuss the Ren entities and FTX RoW wind-down matters
van den Belt, Mark      10/30/2023     0.9   Review and prepare correspondence to E. Erdem (E&Y), S. Aydin
                                             (FTX) in relation to FTX Turkey steps plan tax analysis
van den Belt, Mark      10/30/2023     0.2   Prepare correspondence to B. Spitz (FTX) in relation to bankruptcy
                                             notifications of specific users
van den Belt, Mark      10/30/2023     0.5   Call with T. Zhang (MPC), D. Johnston, M. van den Belt (A&M) on
                                             MPC Operating model
van den Belt, Mark      10/30/2023     2.1   Review Relativity documents on broad search for Blockfolio Inc

van den Belt, Mark      10/30/2023     3.1   Prepare updated presentation on wind down entities


van den Belt, Mark      10/30/2023     1.1   Review Relativity documents on LiquidEx and Liquid Financial

Walia, Gaurav           10/30/2023     1.8   Prepare a summary of the Blockfolio user balances included in each
                                             legal entity
Walia, Gaurav           10/30/2023     0.2   Call with G. Walia and D. Sagen (A&M) to discuss AG token
                                             diligence matters
Walia, Gaurav           10/30/2023     0.2   Call with M. Flynn, G. Walia (A&M) to discuss related party transfer
                                             analysis
Walia, Gaurav           10/30/2023     0.9   Review the list of AWS tickers missing pricing and provide feedback

Walia, Gaurav           10/30/2023     1.1   Prepare a summary of the perpetuals function on the exchange

Walia, Gaurav           10/30/2023     0.4   Review the Tres Finance dashboard and provide feedback


Walia, Gaurav           10/30/2023     0.6   Call with K. Ramanathan, G. Walia, L. Nunez (A&M), L. Christensen,
                                             D. Anosova, L. Jakab (AG), and J. Kapoor (S&C) to discuss
                                             perpetual pricing
Wilson, David           10/30/2023     0.8   Correspond with FTI to retrieve KYC documents on identified users
                                             for S&C subpoena request
Wilson, David           10/30/2023     2.6   Create user analytics summary and tear sheet report for eleven
                                             accounts for A&M investigation
Wilson, David           10/30/2023     1.4   Perform quality review on data extracts for S&C subpoena data
                                             request
Wilson, David           10/30/2023     0.9   Retrieve transactional history for corporate account for A&M
                                             investigation
Wilson, David           10/30/2023     1.0   Meeting with S. Krautheim, J. Chan and D. Wilson (A&M) to discuss
                                             utilizing request responder tool to handle database requests
Wilson, David           10/30/2023     1.6   Query database to consolidate accounts for S&C subpoena request
                                             for two transaction hashes and one wallet

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Zatz, Jonathan          10/30/2023     0.4   Teleconference with M. Sunkara, J. Zatz and S. Krautheim (A&M) to
                                             discuss open requests and action items
Zhang, Qi               10/30/2023     2.8   Clear AWS mismatch and AWS data null cases which information
                                             could be located on Relativity 30 Oct 2023
Zhang, Qi               10/30/2023     2.1   Daily review of Integreon manual review team's work to record down
                                             issues identified for 30 Oct 2023 for 6 UK team
Zhang, Qi               10/30/2023     1.8   Draft kyc workstream related powerpoint deck for FTX claim
                                             reconciliation summary
Zhang, Qi               10/30/2023     0.8   Prepare customer data for FTX.com customers who are US citizens
                                             or have US residence
Zhang, Qi               10/30/2023     0.4   Clear KYC related queries raised by customer service team
                                             members
Arbid, Rami             10/31/2023     0.4   Review available materials related to FTX Dubai final audit


Baker, Kevin            10/31/2023     1.7   Analyze and investigate the hourly balance changes for a specific
                                             customer at a specific date/time
Baker, Kevin            10/31/2023     2.1   Provide transactional data and wildcard search results for not for
                                             profit organizations found on the exchanges
Balmelli, Gioele        10/31/2023     0.9   Collect updated FTX Europe subsidiaries trial balances in
                                             correspondence with FTX management
Bowles, Carl            10/31/2023     0.6   Consider next steps with respect to strategic options analysis for
                                             entities incorporated in the BVI, Bermuda, Antigua and Singapore
Callerio, Lorenzo       10/31/2023     1.2   Review and provide comments on the updated token deck prepared
                                             by S. Paolinetti (A&M)
Casey, John             10/31/2023     1.6   Review and amend strategic options analysis for FTX rest of world
                                             entities
Casey, John             10/31/2023     2.9   Review of strategic options analysis for Nigeria and Singapore
                                             subsidiaries
Casey, John             10/31/2023     3.1   Review of strategic options analysis for Antiguan, BVI and Malta
                                             entities
Chambers, Henry         10/31/2023     3.1   Prepare FTX Japan Intercompany Settlement analysis based on
                                             review of Aug financial statements
Chambers, Henry         10/31/2023     0.5   Call with H. Chambers, J. Lam, M. Van den Belt, D. Johnston (A&M)
                                             to discuss FTX Japan KK
Chambers, Henry         10/31/2023     2.8   Draft FTX Japan Intercompany Settlement presentation for FTX
                                             Management
Chambers, Henry         10/31/2023     0.5   Correspondence with S&C regarding next steps for FTX Japan


Chambers, Henry         10/31/2023     0.6   Call with K. Ramanathan, H. Chambers, D. Johnston, M. Van den
                                             Belt, J. Lam (A&M) to discuss FTX Japan KK intercompany balances
Chan, Jon               10/31/2023     2.9   Query database to search for additional transfers between related
                                             parties and customers for A&M internal request
Chan, Jon               10/31/2023     3.1   Query database to look into additional trading activity for a list of
                                             tokens for A&M internal request




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Chan, Jon                10/31/2023     2.8   Query database to match claims to tickers available on the
                                              exchange
Collis, Jack             10/31/2023     2.8   Research director details for the majority of the FTX group entities
                                              and update a central tracker for S&C review
Collis, Jack             10/31/2023     0.4   Review and update strategic options analysis on minimal activity
                                              FTX Cyprus entity
Collis, Jack             10/31/2023     0.2   Review and update strategic options analysis on FTX Gibraltar
                                              entities
Collis, Jack             10/31/2023     0.2   Review and update strategic options analysis on FTX BVI entities


Collis, Jack             10/31/2023     0.4   Review and update strategic options analysis on FTX Cyprus entities

Collis, Jack             10/31/2023     0.7   Review and update strategic options analysis on FTX Gibraltar


Collis, Jack             10/31/2023     0.3   Review and update strategic options analysis on FTX Crypto
                                              Services
Collis, Jack             10/31/2023     0.2   Review and update strategic options analysis on FTX Germany


Collis, Jack             10/31/2023     0.6   Review and update strategic options analysis on FTX Cyprus

Collis, Jack             10/31/2023     0.4   Review and update strategic options analysis on FTX India

Dalgleish, Elizabeth     10/31/2023     0.5   Call regarding separate subsidiaries with D. Johnston, M. van den
                                              Belt, C. Sullivan, E. Dalgleish, and H. Trent (A&M)
Dalgleish, Elizabeth     10/31/2023     0.5   Call with A. Kranzley, E. Simpson (S&C), D. Johnston, M. van den
                                              Belt, E. Dalgleish (A&M) on FTX wind-down entities
Dalgleish, Elizabeth     10/31/2023     3.1   Prepare information binder of corporate information from Relativity
                                              for Blockfolio Inc
Dusendschon, Kora        10/31/2023     0.1   Call with M. Flynn and K. Dusendschon (A&M) to discuss status of
                                              AWS requests and Record of Processing
Dusendschon, Kora        10/31/2023     0.4   Review data retention schedule and provide feedback regarding
                                              additional categories
Ernst, Reagan            10/31/2023     1.8   Validate token warrant funded amounts for master investment tracker

Flynn, Matthew           10/31/2023     0.1   Call with M. Flynn and K. Dusendschon (A&M) to discuss status of
                                              AWS requests and Record of Processing
Flynn, Matthew           10/31/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M) to discuss trading
                                              presentation
Flynn, Matthew           10/31/2023     1.2   Prepare token trading presentation for management

Heric, Andrew            10/31/2023     0.7   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                              (A&M) discussing crypto tracing updates
Heric, Andrew            10/31/2023     0.7   Conduct internal document research related to March 2022 transfers
                                              of interest for request 149




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Heric, Andrew         10/31/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                           request updates and findings
Heric, Andrew         10/31/2023     1.7   Update two summary tables of database and tracing findings based
                                           on the updated withdrawal list of concern related to request 152
Heric, Andrew         10/31/2023     1.1   Utilize three blockchain tracing tools to identify three token transfers
                                           of interest related to the request 149 loan activity
Heric, Andrew         10/31/2023     2.3   Identify, populate, and create a summary table of 55 unique
                                           FTX.COM users of concern and their corresponding traced
                                           withdrawals for the request 152 analysis
Heric, Andrew         10/31/2023     1.2   Gather and input the blockchain transaction detail associated with
                                           150 FTX.COM withdrawal into a summary table for the request 152
                                           deliverable
Iwanski, Larry        10/31/2023     0.9   Correspondence related to crypto tracing, data requests,
                                           investigations, and KYC
Johnson, Robert       10/31/2023     0.6   Create additional foreign tables associated with ftxcom and ftxus
                                           datasets on alameda analysis server
Johnson, Robert       10/31/2023     1.7   Create new peering connection and associated routing tables
                                           between VPCs in US-WEST-2 and two FTX VPCs
Johnson, Robert       10/31/2023     0.6   Create additional foreign server linkage between Alameda database
                                           and ftxcom server
Johnson, Robert       10/31/2023     0.4   Review data retention memo to identify areas for enhancement or
                                           improvement
Johnson, Robert       10/31/2023     0.6   Create additional foreign server linkage between Alameda database
                                           and ftxus server
Johnson, Robert       10/31/2023     0.3   Enable RDP and RDS accounts per request and confirm
                                           functionality and connectivity
Johnson, Robert       10/31/2023     0.3   Review guard duty alerts to identify any security issues on AWS
                                           environment
Johnson, Robert       10/31/2023     0.6   Troubleshoot data export issue experienced when exporting from
                                           postgres to CSV
Johnston, David       10/31/2023     0.5   Call regarding separate subsidiaries with D. Johnston, M. van den
                                           Belt, C. Sullivan, E. Dalgleish, and H. Trent (A&M)
Johnston, David       10/31/2023     0.2   Call with E. Simpson, N. Mehta (S&C), D. Johnston, M. van den Belt
                                           (A&M) on FTX Japan and Blockfolio matters
Johnston, David       10/31/2023     0.5   Call with H. Chambers, J. Lam, M. Van den Belt, D. Johnston (A&M)
                                           to discuss FTX Japan KK
Johnston, David       10/31/2023     1.1   Review and update presentation relating to MPC Technologies
                                           financial position
Johnston, David       10/31/2023     3.2   Prepare presentation relating to FTX Japan KK strategic options

Johnston, David       10/31/2023     0.6   Call with K. Ramanathan, H. Chambers, D. Johnston, M. Van den
                                           Belt, J. Lam (A&M) to discuss FTX Japan KK intercompany balances
Johnston, David       10/31/2023     0.5   Call with E. Simpson, N. Mehta (S&C), S. Melamed, B. Spitz, S.
                                           Kojima (FTX), D. Johnston, M. van den Belt (A&M) on FTX Japan
                                           matters



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Johnston, David       10/31/2023     0.5   Call with S. Aydin (FTX), E. Erdem, J. Scott, D. Bailey (E&Y), D.
                                           Johnston, M. van den Belt (A&M) on FTX Turkey tax analysis
Johnston, David       10/31/2023     0.5   Call with A. Kranzley, E. Simpson (S&C), D. Johnston, M. van den
                                           Belt, E. Dalgleish (A&M) on FTX wind-down entities
Kwan, Peter           10/31/2023     1.1   Draft changes, edits to draft data retention policy in relation to
                                           general data privacy documentation
Kwan, Peter           10/31/2023     1.5   Draft responses related to produced data to valuation expert based
                                           on feedback received from A&M team
Kwan, Peter           10/31/2023     1.8   Perform additional revisions to presentation of findings for S&C
                                           encapsulating code review updates, anecdotal examples of code
                                           changes, high-level comparison between aws and blockchain vendor
                                           alerts data
Kwan, Peter           10/31/2023     1.9   Perform additional periodic refresh of reporting packet based on
                                           data ingested from the nss database using additional scanned data
Kwan, Peter           10/31/2023     1.6   Extract, map all wallet addresses associated with the Alameda silo
                                           in response to multiple requests related to crypto tracing,
                                           preferences analyses
Kwan, Peter           10/31/2023     2.4   Prepare futures balances data (with associated caveats) for all
                                           derivatives tickers for customer-token level balances for FTX and
                                           European exchange positions
Lam, James            10/31/2023     0.5   Call with H. Chambers, J. Lam, M. Van den Belt, D. Johnston, K.
                                           Ramanathan (A&M) to discuss FTX Japan KK
Lam, James            10/31/2023     0.7   Review the accounting records of FTX Japan re: the provision on
                                           intercompany balances
Lam, James            10/31/2023     0.2   Correspondence with C. Bertrand (FTX JP) regarding Liquid account
                                           balances
Lam, James            10/31/2023     2.1   Update the deck on FTX Japan intercompany balances

Lam, James            10/31/2023     2.2   Prepare the presentation on FTX Japan intercompany balances

Lam, James            10/31/2023     0.6   Call with K. Ramanathan, H. Chambers, D. Johnston, M. Van den
                                           Belt, J. Lam (A&M) to discuss FTX Japan KK intercompany balances
Lambert, Leslie       10/31/2023     0.7   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing crypto tracing updates
Lambert, Leslie       10/31/2023     0.9   Perform review of findings and observations derived from analysis of
                                           blockchain activity
Lambert, Leslie       10/31/2023     1.4   Revise summary of findings and observations concerning an
                                           analysis of specific crypto activity
Lambert, Leslie       10/31/2023     0.7   Call with I. Radwanski and L. Lambert (A&M) discussing preliminary
                                           updates for request 145
Lambert, Leslie       10/31/2023     0.3   Plan and prepare for various meetings and calls

Lowdermilk, Quinn     10/31/2023     2.9   Update crypto tracing analysis file with identified blockchain
                                           information for tracing request 153
Lowdermilk, Quinn     10/31/2023     0.7   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing crypto tracing updates


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Business Operations
Professional               Date    Hours    Activity
Lowdermilk, Quinn     10/31/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                           request updates and findings
Lowdermilk, Quinn     10/31/2023     2.8   Aggregate transaction details for third party deposit addresses for
                                           tracing request 153
Lowdermilk, Quinn     10/31/2023     1.8   Prepare transaction hashes for crypto tracing request 153

Paolinetti, Sergio    10/31/2023     1.3   Renew token venture deck with amended amounts for locked and
                                           unvested portions
Paolinetti, Sergio    10/31/2023     0.8   Update marketing slides for vesting/unlocking tokens for 10/13
                                           pricing
Paolinetti, Sergio    10/31/2023     1.2   Adjust token marketing slides to be included in token venture deck

Paolinetti, Sergio    10/31/2023     1.4   Estimate total return for token investments per available funded
                                           amount basis
Radwanski, Igor       10/31/2023     0.7   Call with I. Radwanski, L. Lambert, A. Heric, and Q. Lowdermilk
                                           (A&M) discussing crypto tracing updates
Radwanski, Igor       10/31/2023     0.7   Call with I. Radwanski and L. Lambert (A&M) discussing preliminary
                                           updates for request 145
Radwanski, Igor       10/31/2023     2.9   Analyze key findings for request 145

Radwanski, Igor       10/31/2023     2.8   Edit deliverable to include flow of funds for request 145

Ramanathan, Kumanan   10/31/2023     0.5   Call with H. Chambers, J. Lam, K. Ramanathan, M. Van den Belt, D.
                                           Johnston (A&M) to discuss FTX Japan KK
Ramanathan, Kumanan   10/31/2023     0.6   Review and provide feedback on third party exchange status update
                                           and circulate to J. Ray (FTX)
Ramanathan, Kumanan   10/31/2023     0.6   Call with R. Perubhatla (FTX) to discuss crypto asset management
                                           matters
Ramanathan, Kumanan   10/31/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M) to discuss trading
                                           presentation
Ramanathan, Kumanan   10/31/2023     1.9   Review of FTX data privacy materials and provide feedback


Ramanathan, Kumanan   10/31/2023     0.4   Correspond with Rothschild team re: crypto diligence questions

Ramanathan, Kumanan   10/31/2023     0.6   Prepare defi position close-out analysis and distribute for approval

Ramanathan, Kumanan   10/31/2023     0.6   Review of final E. Mosley (A&M) declaration and provide approval


Ramanathan, Kumanan   10/31/2023     0.6   Review materials on Blockfolio and provide feedback

Ramanathan, Kumanan   10/31/2023     0.3   Review of Coinbase advisory invoices and distribute


Ramanathan, Kumanan   10/31/2023     0.6   Review and correspond re: FTX employee schedule




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Professional               Date    Hours    Activity
Sagen, Daniel         10/31/2023     2.3   Analyze BitGo bridgework tracker to reconcile Ethereum token
                                           movements in cold storage transaction data
Sagen, Daniel         10/31/2023     0.3   Correspondence with Sygnia team, BitGo team, Galaxy team
                                           regarding token reporting matters and next steps
Sagen, Daniel         10/31/2023     1.8   Analyze BitGo bridgework tracker to reconcile Solana token
                                           movements in cold storage transaction data
Sagen, Daniel         10/31/2023     1.6   Revise mechanics of stablecoin reporting summaries per addition of
                                           token bridge movements
Sagen, Daniel         10/31/2023     0.4   Call with D. Sagen and A. Selwood (A&M) to discuss third party
                                           exchange token balances
Sagen, Daniel         10/31/2023     0.3   Follow up correspondence with R. Kleiner (Galaxy) regarding token
                                           reporting process updates
Sagen, Daniel         10/31/2023     0.4   Prepare for call with BitGo and Galaxy teams regarding token
                                           reporting matters
Sagen, Daniel         10/31/2023     0.6   Advise A. Selwood (A&M) regarding Galaxy asset sale reconciliation

Sagen, Daniel         10/31/2023     1.8   Update stablecoin conversion tracker to reflect token bridgework
                                           movements
Sagen, Daniel         10/31/2023     1.7   Analyze BitGo bridgework tracker to reconcile various other
                                           blockchain token movements in cold storage transaction data
Sagen, Daniel         10/31/2023     0.9   Reconcile stablecoin bridge transactions from BitGo tracking in coin
                                           report model
Sagen, Daniel         10/31/2023     0.6   Call with R. Kleiner, M. Bhatia (Galaxy), D. Sagen (A&M), N. Chang,
                                           T. Chen and others (BitGo) regarding token reporting matters
Salas Nunez, Luis     10/31/2023     1.6   Analyze token balance data and perform comparisons for subset of
                                           tokens being studied
Salas Nunez, Luis     10/31/2023     0.7   Organize workflow status and follow-up on data requests


Selwood, Alexa        10/31/2023     1.8   Analyze third party exchange summary token details prepared by
                                           S&C against coin report output model
Selwood, Alexa        10/31/2023     1.9   Analyze token categorization in coin report output model for
                                           unidentified tokens on third party exchanges
Selwood, Alexa        10/31/2023     0.9   Meeting with D. Sagen and A. Selwood (A&M) to update third party
                                           exchange balances for 10/31 coin report
Selwood, Alexa        10/31/2023     0.4   Call with D. Sagen and A. Selwood (A&M) to discuss third party
                                           exchange token balances
Selwood, Alexa        10/31/2023     0.4   Summarize Coin Monetization and Investment Management
                                           Agreement guidelines around hedging
Selwood, Alexa        10/31/2023     1.9   Review Coin Monetization and Investment Management Agreement
                                           for guidelines around hedging
Selwood, Alexa        10/31/2023     1.6   Update third party exchange summary in coin report output model


Selwood, Alexa        10/31/2023     1.7   Summarize token detail payment information for Galaxy token sales




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Business Operations
Professional                 Date    Hours    Activity
Selwood, Alexa          10/31/2023     0.9   Analyze Sygnia transaction data to update coin report input model

Selwood, Alexa          10/31/2023     1.6   Analyze crypto wires from October to identify Galaxy token sales


Sexton, Rachel          10/31/2023     0.2   Review available materials re: strategic options analysis of FTX rest
                                             of world entities
Sexton, Rachel          10/31/2023     1.3   Review deck re: strategic options analysis for FTX rest of world
                                             subsidiaries
Simoneaux, Nicole       10/31/2023     1.4   Continue to assist in quantifying $2.5m of vehicle purchases for
                                             FDM using Relativity
Simoneaux, Nicole       10/31/2023     1.9   Evaluate Nardello bidder risk assessment for Vault Trust options
                                             analysis
Simoneaux, Nicole       10/31/2023     0.9   Prepare FDM vehicle purchase history as requested by H. Trent
                                             (A&M)
Simoneaux, Nicole       10/31/2023     2.1   Prepare refreshed inputs for FTX Vault Options analysis and
                                             expected costs
Stockmeyer, Cullen      10/31/2023     1.2   Prepare draft responses to UCC in relation to bridging activities of
                                             certain venture token
Stockmeyer, Cullen      10/31/2023     1.2   Update token receivables analysis based on review of ICO dates
                                             and token prices
Stockmeyer, Cullen      10/31/2023     1.4   Review remaining tokens price history for confirmation of accurate
                                             data pull
Stockmeyer, Cullen      10/31/2023     1.8   Continue review of token ICO dates and prices for main entity token
                                             receivables
Sullivan, Christopher   10/31/2023     0.5   Call regarding separate subsidiaries with D. Johnston, M. van den
                                             Belt, C. Sullivan, E. Dalgleish, and H. Trent (A&M)
Sullivan, Christopher   10/31/2023     0.4   Communications with B. Beller (S&C) related to status updates on
                                             Voyager negotiations
Sullivan, Christopher   10/31/2023     1.3   Respond to comments from E. Mosely (A&M) on updates to
                                             operational workstreams
Sunkara, Manasa         10/31/2023     2.9   Query the database to extract all account activity related to a user
                                             for a preference analysis
Sunkara, Manasa         10/31/2023     2.1   Investigate fills activity related to a certain user account for a
                                             preference analysis
Titus, Adam             10/31/2023     0.8   Review email from B. Bromberg [FTI] with UCC on potential
                                             proposal of token buyer to provide feedback
Titus, Adam             10/31/2023     1.7   Draft strategic alternatives presentation for token position based on
                                             feedback from S. Paolinetti [A&M]
Titus, Adam             10/31/2023     0.4   Draft email on potential token transfer of venture investment to H.
                                             Nachmias [Sygnia]
Titus, Adam             10/31/2023     1.3   Draft decision tree for token alternative based on options available
                                             with issuer
Titus, Adam             10/31/2023     1.4   Review vesting schedule comparison between document of token
                                             agreement to ensure coincides based on follow up email from J.
                                             Croke [S&C]


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Business Operations
Professional               Date    Hours    Activity
Trent, Hudson         10/31/2023     0.5   Call regarding separate subsidiaries with D. Johnston, M. van den
                                           Belt, C. Sullivan, E. Dalgleish, and H. Trent (A&M)
van den Belt, Mark    10/31/2023     0.2   Call with E. Simpson, N. Mehta (S&C), D. Johnston, M. van den Belt
                                           (A&M) on FTX Japan and Blockfolio matters
van den Belt, Mark    10/31/2023     0.5   Call regarding separate subsidiaries with D. Johnston, M. van den
                                           Belt, C. Sullivan, E. Dalgleish, and H. Trent (A&M)
van den Belt, Mark    10/31/2023     0.5   Call with A. Kranzley, E. Simpson (S&C), D. Johnston, M. van den
                                           Belt, E. Dalgleish (A&M) on FTX wind-down entities
van den Belt, Mark    10/31/2023     0.5   Call with H. Chambers, J. Lam, M. Van den Belt, D. Johnston (A&M)
                                           to discuss FTX Japan KK
van den Belt, Mark    10/31/2023     1.9   Prepare presentation on Quoine and FTX Japan intercompany
                                           treatment
van den Belt, Mark    10/31/2023     1.2   Prepare binder of documents in relation to corporate information
                                           found on Blockfolio
van den Belt, Mark    10/31/2023     1.2   Prepare scenario analysis of intercompany treatment for FTX Japan

van den Belt, Mark    10/31/2023     0.3   Review Relativity documents in relation to Blockfolio


van den Belt, Mark    10/31/2023     2.1   Prepare updated presentation on Ren entities situation

van den Belt, Mark    10/31/2023     0.5   Call with E. Simpson, N. Mehta (S&C), S. Melamed, B. Spitz, S.
                                           Kojima (FTX), D. Johnston, M. van den Belt (A&M) on FTX Japan
                                           matters
van den Belt, Mark    10/31/2023     0.5   Call with S. Aydin (FTX), E. Erdem, J. Scott, D. Bailey (E&Y), D.
                                           Johnston, M. van den Belt (A&M) on FTX Turkey tax analysis
van den Belt, Mark    10/31/2023     0.6   Call with K. Ramanathan, H. Chambers, D. Johnston, M. Van den
                                           Belt, J. Lam (A&M) to discuss FTX Japan KK intercompany balances
Walia, Gaurav         10/31/2023     1.4   Review the updated Blockfolio account analysis based on the latest
                                           pricing assumptions
Walia, Gaurav         10/31/2023     1.3   Prepare a variance from the CM pricing assumptions vs. the legacy
                                           pricing assumptions
Walia, Gaurav         10/31/2023     0.8   Review the perpetual pricing assumptions and provide feedback

Walia, Gaurav         10/31/2023     1.3   Review the updated preference methodology and provide feedback


Walia, Gaurav         10/31/2023     2.4   Prepare an updated pricing scenario under a separate timing
                                           assumption
Walia, Gaurav         10/31/2023     2.7   Review the Alameda OTC portal balance and summarize findings


Wilson, David         10/31/2023     2.1   Query database to retrieve full transaction history for account
                                           identified related to the S&C subpoena request
Wilson, David         10/31/2023     1.4   Query database to consolidate accounts for S&C subpoena request
                                           for all records associated with a transaction hash
Wilson, David         10/31/2023     2.8   Script database to create summary table containing customer
                                           information and row count for golden source and raw tables


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Business Operations
Professional               Date    Hours      Activity
Wilson, David         10/31/2023       1.4   Query database to consolidate accounts associated with S&C
                                             subpoena request
Zhang, Qi             10/31/2023       0.8   Research on relevant KYC regulation in different jurisdictions on
                                             frequency of CDD refresher and AML screening
Zhang, Qi             10/31/2023       3.1   Daily review of Integreon manual review team's work to record down
                                             issues identified for 31 Oct 2023 for 8 UK team
Zhang, Qi             10/31/2023       2.6   Clear AWS mismatch and AWS data null cases which information
                                             could be located on Relativity 31 Oct 2023
Zhang, Qi             10/31/2023       0.9   Search account data on Relativity for aws data null cases to see if
                                             any information can be located
Zhang, Qi             10/31/2023       1.1   Draft powerpoint deck on post confirmation KYC requirements and
                                             recommendations
Zhang, Qi             10/31/2023       0.2   Update post confirmation budget for KYC related work and vendor
                                             costs

Subtotal                           3,824.7

Case Administration
Professional               Date    Hours      Activity
Trent, Hudson          10/1/2023       1.1   Coordinate preparation of materials for provision to the Board for
                                             weekly meeting
Arnett, Chris          10/2/2023       0.5   Participate in internal workstream coordination call with E. Mosley,
                                             S. Coverick, C. Arnett and workstream leads (A&M)
Callerio, Lorenzo      10/2/2023       0.4   Participate in workstream lead update call with A&M (E.Mosley,
                                             S.Coverick, D.Johnston, R.Gordon, R.Esposito, K.Ramanathan,
                                             J.Cooper, L.Callerio)
Cooper, James          10/2/2023       0.4   Revise weekly cash PMO workstream update materials


Cooper, James          10/2/2023       0.4   Participate in workstream lead update call with A&M (E.Mosley,
                                             S.Coverick, D.Johnston, R.Gordon, R.Esposito, K.Ramanathan,
                                             J.Cooper, L.Callerio)
Coverick, Steve        10/2/2023       0.4   Participate in workstream lead update call with A&M (E.Mosley,
                                             S.Coverick, D.Johnston, R.Gordon, R.Esposito, K.Ramanathan,
                                             J.Cooper, L.Callerio)
Esposito, Rob          10/2/2023       0.3   Prepare updates to the weekly PMO reporting and claims slides


Esposito, Rob          10/2/2023       0.4   Participate in workstream lead update call with A&M (E.Mosley,
                                             S.Coverick, D.Johnston, R.Gordon, R.Esposito, K.Ramanathan,
                                             J.Cooper, L.Callerio)
Gordon, Robert         10/2/2023       0.3   Review PMO presentation for latest updates, week of 10/1

Gordon, Robert         10/2/2023       0.4   Participate in workstream lead update call with A&M (E. Mosley,
                                             S.Coverick, D. Johnston, R. Gordon, R. Esposito, K.Ramanathan, J.
                                             Cooper, L. Callerio)
Johnston, David        10/2/2023       0.3   Review weekly PMO materials for items impacting Europe and Rest
                                             of World workstream



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Case Administration
Professional                Date    Hours    Activity
Mosley, Ed              10/2/2023     0.6   Review of draft status update for management and the board of
                                            directors
Mosley, Ed              10/2/2023     0.4   Participate in workstream lead update call with A&M (E.Mosley,
                                            S.Coverick, D.Johnston, R.Gordon, R.Esposito, K.Ramanathan,
                                            J.Cooper, L.Callerio)
Ramanathan, Kumanan     10/2/2023     0.4   Participate in workstream lead update call with A&M (E.Mosley,
                                            S.Coverick, D.Johnston, R.Gordon, R.Esposito, K.Ramanathan,
                                            J.Cooper, L.Callerio)
Callerio, Lorenzo       10/3/2023     0.3   Correspondence with the fee examiner re: 3rd Interim Expenses

Esposito, Rob           10/3/2023     0.3   Review of creditor data for conflict diligence

Callerio, Lorenzo       10/5/2023     0.6   Review and approve the PMO materials re: tokens and diligence


Gordon, Robert          10/9/2023     0.3   Read through PMO presentation for latest case updates

Trent, Hudson           10/9/2023     0.7   Coordinate preparation of materials / agenda for provision to the
                                            Board for weekly meeting
Coverick, Steve        10/10/2023     1.5   Participate in steering committee call with J.Ray (FTX), S&C (A.
                                            Dietderich, B.Glueckstein, A.Kranzley), Quinn (S.Rand), PWP (B.
                                            Mendelsohn, K. Cofsky) and A&M (E.Mosley, S.Coverick) regarding
                                            plan negotiations
Coverick, Steve        10/10/2023     0.7   Participate in weekly Board meeting with K. Knipp, R. Jain, and
                                            others (BoD), J. Ray, and others (FTX), K. Cofsky and others
                                            (PWP), J. Croke and others (S&C), S. Rand (QE), E. Mosley, S.
                                            Coverick, K. Ramanathan, and H. Trent (A&M)
Mosley, Ed             10/10/2023     1.5   Participate in steering committee with J.Ray (FTX), PWP (K.Cofsky,
                                            B.Mendelsohn), S&C (A.Dietderich, J.Bromley, B.Glueckstein,
                                            A.Kranzley), Quinn (S.Rand), and A&M (E.Mosley, S.Coverick)
Mosley, Ed             10/10/2023     0.7   Participate in Board meeting with BOD Members (M. Rosenberg, M.
                                            Doheny, M. Sonkin, R. Jain, K.Knipp), FTX , PWP, S&C, Quinn (S.
                                            Rand, J.Shaffer, W.Burck), and A&M (E. Mosley, S. Coverick,
                                            K.Ramanathan, H.Trent, others)
Ramanathan, Kumanan    10/10/2023     0.7   Participate in weekly Board meeting with K. Knipp, R. Jain, and
                                            others (BoD), J. Ray, and others (FTX), K. Cofsky and others
                                            (PWP), J. Croke and others (S&C), S. Rand (QE), E. Mosley, S.
                                            Coverick, K. Ramanathan, and H. Trent (A&M)
Trent, Hudson          10/10/2023     0.7   Participate in weekly Board meeting with K. Knipp, R. Jain, and
                                            others (BoD), J. Ray, and others (FTX), K. Cofsky and others
                                            (PWP), J. Croke and others (S&C), S. Rand (QE), E. Mosley, S.
                                            Coverick, K. Ramanathan, and H. Trent (A&M)
Callerio, Lorenzo      10/12/2023     0.6   Review and approve the diligence and tokens PMO materials

Mosley, Ed             10/15/2023     1.7   Review of and prepare comments to updated draft presentation to
                                            board of directors regarding creditor and JPL agreements
Coverick, Steve        10/16/2023     0.6   Review and provide comments on weekly PMO deck for board and
                                            management team
Coverick, Steve        10/16/2023     0.9   Prepare weekly restructuring workstream update summary for CEO.


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Case Administration
Professional                Date    Hours    Activity
Coverick, Steve        10/16/2023     0.8   Participate in Board meeting regarding Plan Term Sheet, RSA with
                                            M. Doheny, R. Jain, M. Rosenberg (BoD), J. Ray, (FTX), K. Cofsky
                                            (PWP), A. Dietderich and others (S&C), S. Rand and others (QE), E.
                                            Mosley, S. Coverick, K. Ramanathan, and H. Trent (A&M)
Coverick, Steve        10/16/2023     0.8   Participate in Board meeting regarding Plan Term Sheet / RSA with
                                            M. Sonkin, J. Farnan (BoD), J. Ray, and others (FTX), A. Dietderich
                                            and others (S&C), S. Rand and others (QE), E. Mosley, S. Coverick,
                                            K. Ramanathan, and H. Trent (A&M)
Gordon, Robert         10/16/2023     0.3   Review PMO presentation for latest updates, week of 10/16

Mosley, Ed             10/16/2023     0.7   Review of and prepare comments to draft management presentation
                                            of workstream status
Mosley, Ed             10/16/2023     0.8   Participate in split Board meeting with additional BOD Members
                                            (J.Farnan, M.Sonkin), FTX (J. Ray), S&C (A.Dietderich,
                                            B.Glueckstein, A.Kranzley, J.Bromley, others), Quinn (S. Rand,
                                            W.Burck), and A&M (E. Mosley, S. Coverick, K.Ramanathan,
                                            H.Trent, others)
Mosley, Ed             10/16/2023     0.8   Participate in Board meeting with BOD Members (M. Rosenberg, M.
                                            Doheny, R. Jain, K.Knipp), FTX (J. Ray), PWP, S&C (A.Dietderich,
                                            E.Simpson, B.Glueckstein, A.Kranzley), Quinn (S. Rand, W.Burck),
                                            and A&M (E. Mosley, S. Coverick, K.Ramanathan, H.Trent, other
Ramanathan, Kumanan    10/16/2023     0.8   Participate in Board meeting regarding Plan Term Sheet / RSA with
                                            M. Sonkin, J. Farnan (BoD), J. Ray, and others (FTX), A. Dietderich
                                            and others (S&C), S. Rand and others (QE), E. Mosley, S. Coverick,
                                            K. Ramanathan, and H. Trent (A&M)
Ramanathan, Kumanan    10/16/2023     0.8   Participate in Board meeting regarding Plan Term Sheet, RSA with
                                            M. Doheny, R. Jain, M. Rosenberg (BoD), J. Ray, (FTX), K. Cofsky
                                            (PWP), A. Dietderich and others (S&C), S. Rand and others (QE), E.
                                            Mosley, S. Coverick, K. Ramanathan, and H. Trent (A&M)
Trent, Hudson          10/16/2023     0.8   Participate in Board meeting regarding Plan Term Sheet / RSA with
                                            M. Sonkin, J. Farnan (BoD), J. Ray, and others (FTX), A. Dietderich
                                            and others (S&C), S. Rand and others (QE), E. Mosley, S. Coverick,
                                            K. Ramanathan, and H. Trent (A&M)
Trent, Hudson          10/16/2023     0.8   Participate in Board meeting regarding Plan Term Sheet, RSA with
                                            M. Doheny, R. Jain, M. Rosenberg (BoD), J. Ray, (FTX), K. Cofsky
                                            (PWP), A. Dietderich and others (S&C), S. Rand and others (QE), E.
                                            Mosley, S. Coverick, K. Ramanathan, and H. Trent (A&M)
Arnett, Chris          10/17/2023     0.6   Participate in workstream coordination call with S. Coverick, C.
                                            Arnett, D. Johnston, L. Ryan, K. Ramanathan, A. Titus, R. Esposito,
                                            J. Cooper, R. Gordon, L. Callerio (A&M)
Callerio, Lorenzo      10/17/2023     0.6   Participate in workstream coordination call with S. Coverick, C.
                                            Arnett, D. Johnston, L. Ryan, K. Ramanathan, A. Titus, R. Esposito,
                                            J. Cooper, R. Gordon, L. Callerio (A&M)
Cooper, James          10/17/2023     0.6   Participate in workstream coordination call with S. Coverick, C.
                                            Arnett, D. Johnston, L. Ryan, K. Ramanathan, A. Titus, R. Esposito,
                                            J. Cooper, R. Gordon, L. Callerio (A&M)
Coverick, Steve        10/17/2023     0.9   Participate in steering committee call with J.Ray (FTX), S&C (A.
                                            Dietderich, B.Glueckstein, A.Kranzley, J. Croke), Quinn (S.Rand),
                                            PWP (B. Mendelsohn) and A&M (E.Mosley, S.Coverick) regarding
                                            plan negotiations



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Professional                 Date    Hours    Activity
Coverick, Steve         10/17/2023     0.6   Participate in workstream coordination call with S. Coverick, C.
                                             Arnett, D. Johnston, L. Ryan, K. Ramanathan, A. Titus, R. Esposito,
                                             J. Cooper, R. Gordon, L. Callerio (A&M)
Gordon, Robert          10/17/2023     0.6   Participate in workstream coordination call with S. Coverick, C.
                                             Arnett, D. Johnston, L. Ryan, K. Ramanathan, A. Titus, R. Esposito,
                                             J. Cooper, R. Gordon, L. Callerio (A&M)
Mosley, Ed              10/17/2023     0.9   Participate in Steering Committee call with J.Ray (FTX),
                                             B.Mendelsohn (PWP), S&C (A.Dietderich, B.Glueckstein,
                                             A.Kranzley, J.Croke), Quinn (S.Rand, W.Burck), and A&M
                                             (E.Mosley, S.Coverick)
Ramanathan, Kumanan     10/17/2023     0.6   Participate in workstream coordination call with S. Coverick, C.
                                             Arnett, D. Johnston, L. Ryan, K. Ramanathan, A. Titus, R. Esposito,
                                             J. Cooper, R. Gordon, L. Callerio (A&M)
Ryan, Laureen           10/17/2023     0.6   Participate in workstream coordination call with S. Coverick, C.
                                             Arnett, D. Johnston, L. Ryan, K. Ramanathan, A. Titus, R. Esposito,
                                             J. Cooper, R. Gordon, L. Callerio (A&M)
Callerio, Lorenzo       10/18/2023     0.2   Approve the token PMO materials circulated by S. Paolinetti (A&M)

Gordon, Robert          10/18/2023     0.2   Update workstream planner for latest requests from legal

Esposito, Rob           10/19/2023     0.2   Prepare updates to the weekly PMO reporting and claims slides


Gordon, Robert          10/19/2023     0.3   Update PMO presentation for week of 10/23

Cooper, James           10/20/2023     0.8   Prepare updates to post-confirmation budget weekly Gantt chart and
                                             timeline
Coverick, Steve         10/20/2023     0.9   Review and provide comments on revised PMO deck with t-minus
                                             schedule for CEO
Sullivan, Christopher   10/20/2023     0.3   Create additional edits to the working group list


Trent, Hudson           10/22/2023     0.8   Provide feedback on updated PMO structure

Mosley, Ed              10/23/2023     0.9   Review of and prepare comments to draft presentation of
                                             workstream updates for management
Coverick, Steve         10/24/2023     0.4   Participate in Board meeting with M. Sonkin and others (BoD), J.
                                             Ray, and others (FTX), A. Kranzley and others (S&C), S. Rand and
                                             others (QE), B. Mendelsohn and others (PWP), E. Mosley, S.
                                             Coverick, K. Ramanathan, and H. Trent (A&M)
Esposito, Rob           10/24/2023     0.2   Prepare updates to weekly FTX management update


Mosley, Ed              10/24/2023     0.4   Participate in Board meeting with M. Sonkin and others (BoD), J.
                                             Ray, and others (FTX), A. Kranzley and others (S&C), S. Rand and
                                             others (QE), B. Mendelsohn and others (PWP), E. Mosley, S.
                                             Coverick, K. Ramanathan, and H. Trent (A&M)
Ramanathan, Kumanan     10/24/2023     0.4   Participate in Board meeting with M. Sonkin and others (BoD), J.
                                             Ray, and others (FTX), A. Kranzley and others (S&C), S. Rand and
                                             others (QE), B. Mendelsohn and others (PWP), E. Mosley, S.
                                             Coverick, K. Ramanathan, and H. Trent (A&M)


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Case Administration
Professional                Date    Hours     Activity
Trent, Hudson          10/24/2023      0.4   Participate in Board meeting with M. Sonkin and others (BoD), J.
                                             Ray, and others (FTX), A. Kranzley and others (S&C), S. Rand and
                                             others (QE), B. Mendelsohn and others (PWP), E. Mosley, S.
                                             Coverick, K. Ramanathan, and H. Trent (A&M)
Broskay, Cole          10/25/2023      0.7   Teleconference with R. Gordon, K. Kearney, C. Broskay(A&M) to
                                             update PMO materials for new format
Gordon, Robert         10/25/2023      0.7   Teleconference with R. Gordon, K. Kearney, C. Broskay(A&M) to
                                             update PMO materials for new format
Kearney, Kevin         10/25/2023      0.7   Teleconference with R. Gordon, K. Kearney, C. Broskay(A&M) to
                                             update PMO materials for new format
Esposito, Rob          10/26/2023      0.4   Update the task list to coordinate team workstreams for claims
                                             reconciliation
Cooper, James          10/27/2023      0.3   Review consolidated PMO and disclosure statement t-minus
                                             schedule
Esposito, Rob          10/27/2023      0.3   Prepare draft weekly team update to E Mosley (A&M)

Coverick, Steve        10/28/2023      1.8   Review and provide comments on PMO presentation for w/e 11/3


Trent, Hudson          10/28/2023      1.3   Update PMO based on feedback from S. Coverick (A&M)

Cooper, James          10/30/2023      0.6   Draft weekly cash PMO updates and disclosure statement t-minus
                                             changes
Gordon, Robert         10/30/2023      0.4   Review latest PMO presentation for latest case updates

Mosley, Ed             10/30/2023      2.3   Review of and prepare comments to draft status update of
                                             workstreams and presentation of GANTT charts of workstream
                                             deadlines
Cooper, James          10/31/2023      0.6   Review consolidated PMO and t-minus schedule



Subtotal                              48.0

Cash Management
Professional                Date    Hours     Activity
Cooper, James           10/1/2023      0.9   Review weekly cash PMO workstream update materials


Cooper, James           10/1/2023      0.4   Review cash workstream deliverables and upcoming calendar

Cooper, James           10/2/2023      0.3   Review weekly variance package and prepare for cash call with UCC
                                             advisors
Cooper, James           10/2/2023      0.4   Call to discuss FTX Contract Listing status and accompanying cash
                                             team budget with C. Arnett, K. Montague, J. Cooper, D. Slay, and B.
                                             Tenney (A&M)
Cooper, James           10/2/2023      0.7   Call with J. Cooper, E. Taraba, D. Slay, and R. Duncan (A&M) to
                                             discuss weekly cash team management and process updates




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Cash Management
Professional               Date     Hours    Activity
Cooper, James           10/2/2023     0.6   Meeting with J. Cooper and D. Slay (A&M) re: develop budget
                                            discussion table by individual cost category
Dalgleish, Elizabeth    10/2/2023     2.1   Update FTX Europe payment trackers for bank accounts and
                                            invoices received from J. Bavaud (FTX) for w/e 29 September
Dalgleish, Elizabeth    10/2/2023     1.6   Update FTX Europe open payments file for feedback received from
                                            country CFOs for w/e 29 September
Duncan, Ryan            10/2/2023     1.4   Amend historical cash balance by bank analysis summaries for
                                            inclusion in variance reporting
Duncan, Ryan            10/2/2023     0.6   Develop foreign exchange rate distribution package for use in cash
                                            modeling
Duncan, Ryan            10/2/2023     0.7   Call with J. Cooper, E. Taraba, D. Slay, and R. Duncan (A&M) to
                                            discuss weekly cash team management and process updates
Ernst, Reagan           10/2/2023     1.2   Review venture receipts forecast for the latest budget update


Slay, David             10/2/2023     0.6   Meeting with J. Cooper and D. Slay (A&M) re: develop budget
                                            discussion table by individual cost category
Slay, David             10/2/2023     1.8   Call with E. Taraba and D. Slay (A&M) re: update budget 9 end of
                                            month variance report
Slay, David             10/2/2023     1.6   Update contract assumptions with internal contract team
                                            assumptions
Slay, David             10/2/2023     2.1   Update cost category support schedules based on latest tagging
                                            assumptions
Slay, David             10/2/2023     1.7   Update cost category percentage assumptions for potential sizing


Slay, David             10/2/2023     0.4   Call to discuss FTX Contract Listing status and accompanying cash
                                            team budget with C. Arnett, K. Montague, J. Cooper, D. Slay, and B.
                                            Tenney (A&M)
Slay, David             10/2/2023     0.3   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M) B.
                                            Bromberg, M. Dawson, M. Gray, and D. Sveen (FTI) re: weekly cash
                                            flow reporting updates to UCC
Slay, David             10/2/2023     0.7   Call with J. Cooper, E. Taraba, D. Slay, and R. Duncan (A&M) to
                                            discuss weekly cash team management and process updates
Taraba, Erik            10/2/2023     1.2   Develop schedules of historical and forecast fees to support
                                            outreach to professionals re: updated forecast data
Taraba, Erik            10/2/2023     1.1   Conduct outreach to various professional firms to gather updated
                                            forecast data for upcoming budget update
Taraba, Erik            10/2/2023     1.8   Call with E. Taraba and D. Slay (A&M) re: update budget 9 end of
                                            month variance report
Taraba, Erik            10/2/2023     1.4   Coordinate with internal teams re: inputs to upcoming budget update
                                            and associated timeline
Taraba, Erik            10/2/2023     2.9   Update weekly cash variance report package with forecast data from
                                            Budget 10
Taraba, Erik            10/2/2023     0.5   Review updated charts for weekly variance reporting and provide
                                            feedback
Taraba, Erik            10/2/2023     0.7   Call with J. Cooper, E. Taraba, D. Slay, and R. Duncan (A&M) to
                                            discuss weekly cash team management and process updates

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Cash Management
Professional               Date     Hours    Activity
Witherspoon, Samuel     10/2/2023     1.1   Update cash flow forecast intercompany forecast with latest funding
                                            assumptions
Witherspoon, Samuel     10/2/2023     2.8   Review the cash flow forecast assumptions through May 2024


Cooper, James           10/3/2023     1.2   Call with M. Cilia (FTX) & J. Cooper and D. Slay (A&M) discuss
                                            potential post-confirmation forecast and assumptions
Cooper, James           10/3/2023     0.9   Call with J. Cooper and E. Taraba (A&M) re: liquidity workstream
                                            priorities and status of pending items
Cooper, James           10/3/2023     1.3   Meeting with J. Cooper and D. Slay (A&M) re: review cost
                                            assumptions in post-confirmation budget
Cooper, James           10/3/2023     0.6   Review week ended bank balance listing

Cooper, James           10/3/2023     0.9   Review prior weeks payment tracker and cash movements file


Dalgleish, Elizabeth    10/3/2023     1.8   Update FTX Europe short term cash flow forecast for feedback
                                            received from country CFOs for w/e 29 September
Duncan, Ryan            10/3/2023     0.6   Develop analysis of updated inputs to weekly hour and fee tracking
                                            model for application in fee forecasting
Duncan, Ryan            10/3/2023     2.7   Update and amend interest summary schedule to include prior
                                            month actuals
Gonzalez, Johnny        10/3/2023     2.3   Call with J. Gonzalez and D. Slay (A&M) re: update post
                                            confirmation budget with venture sale toggles
Simoneaux, Nicole       10/3/2023     0.9   Prepare payroll cash forecast updates based on headcount
                                            summaries provided by M. Van den Belt and E. Dalgleish (A&M)
Simoneaux, Nicole       10/3/2023     0.3   Refresh variance analysis for operational IFU disbursements relating
                                            to payroll & benefits
Simoneaux, Nicole       10/3/2023     1.9   Incorporate fee adjustments into professional fees cash forecast


Slay, David             10/3/2023     1.2   Call with M. Cilia (FTX) & J. Cooper and D. Slay (A&M) discuss
                                            potential post-confirmation forecast and assumptions
Slay, David             10/3/2023     2.3   Call with J. Gonzalez and D. Slay (A&M) re: update post
                                            confirmation budget with venture sale toggles
Slay, David             10/3/2023     1.3   Meeting with J. Cooper and D. Slay (A&M) re: review cost
                                            assumptions in post-confirmation budget
Slay, David             10/3/2023     0.2   Call with E. Taraba and D. Slay (A&M) re: cash asset transfer
                                            schedule development
Slay, David             10/3/2023     1.8   Develop legal entity case-to-date summary schedule for input
                                            discussions
Taraba, Erik            10/3/2023     0.9   Call with J. Cooper and E. Taraba (A&M) re: liquidity workstream
                                            priorities and status of pending items
Taraba, Erik            10/3/2023     0.9   Review material variances and provide supporting commentary
                                            where applicable in weekly cash variance report
Taraba, Erik            10/3/2023     0.8   Update schedule of cash asset transfers with additional data
                                            requested by plan recovery team




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Professional               Date    Hours    Activity
Taraba, Erik           10/3/2023     0.7   Reconcile daily bank activity for FTX Japan to custodial transaction
                                           history for WE 9/29
Taraba, Erik           10/3/2023     0.2   Call with E. Taraba and D. Slay (A&M) re: cash asset transfer
                                           schedule development
Taraba, Erik           10/3/2023     0.9   Update TWCF model with additional transaction activity from FTX
                                           Japan
Taraba, Erik           10/3/2023     0.4   Develop schedule of payment activity for FTX Group for WE 9/29

Taraba, Erik           10/3/2023     2.9   Develop weekly cash variance report package for WE 9/29


Witherspoon, Samuel    10/3/2023     2.2   Analyze cash asset transfers related to crypto and Ventures sales
                                           for August through September
Cooper, James          10/4/2023     1.3   Call with J. Cooper and D. Slay (A&M) re: discuss post confirmation
                                           budget input analysis by workstream
Cooper, James          10/4/2023     0.8   Call with D. Johnston, M. van den Belt, J. Cooper and D. Slay (A&M)
                                           re: discussion on potential wind down procedures
Cooper, James          10/4/2023     0.4   Call with J. Cooper and R. Duncan (A&M) to discuss month-end
                                           updates to fee forecasting model
Cooper, James          10/4/2023     0.9   Review and provide comments on drat of weekly variance report
                                           package
Cooper, James          10/4/2023     0.8   Review weekly professional fee payment listing and variance tracker

Cooper, James          10/4/2023     1.0   Call with J. Cooper and R. Duncan (A&M) to review and finalize
                                           month end updates to fee tracking and forecasting model
Dalgleish, Elizabeth   10/4/2023     1.7   Prepare 12 month going concern cash flow forecast for FTX Trading
                                           GmbH
Dalgleish, Elizabeth   10/4/2023     2.8   Prepare re-forecast of the FTX Europe short term cash flow forecast
                                           as of w/e 29 September to be submitted for the monthly budget
Duncan, Ryan           10/4/2023     0.4   Call with J. Cooper and R. Duncan (A&M) to discuss month-end
                                           updates to fee forecasting model
Duncan, Ryan           10/4/2023     2.9   Reconcile new fee application data to preliminary data for fee
                                           forecasting
Duncan, Ryan           10/4/2023     2.3   Continue reconciliation of updated vs. preliminary data in fee
                                           forecasting model
Duncan, Ryan           10/4/2023     0.9   Update weekly hours tracking model for professional fee forecasting
                                           application
Duncan, Ryan           10/4/2023     2.9   Finalize fee forecast model month-end updates


Duncan, Ryan           10/4/2023     1.0   Call with J. Cooper and R. Duncan (A&M) to review and finalize
                                           month end updates to fee tracking and forecasting model
Johnston, David        10/4/2023     0.8   Call with D. Johnston, M. van den Belt, J. Cooper and D. Slay (A&M)
                                           re: discussion on potential wind down procedures
Ramanathan, Kumanan    10/4/2023     1.1   Provide updated cash flow run rates for various professionals and
                                           vendors




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Professional               Date     Hours    Activity
Simoneaux, Nicole       10/4/2023     0.3   Refresh variance analysis for operational IFU disbursements relating
                                            to contractors
Slay, David             10/4/2023     0.8   Call with D. Johnston, M. van den Belt, J. Cooper and D. Slay (A&M)
                                            re: discussion on potential wind down procedures
Slay, David             10/4/2023     1.3   Call with J. Cooper and D. Slay (A&M) re: discuss post confirmation
                                            budget input analysis by workstream
Slay, David             10/4/2023     1.1   Update Budget assumption presentation with new Claims Summary
                                            slide
Slay, David             10/4/2023     1.6   Update Budget assumption presentation with new Avoidance
                                            Actions Summary slide
Taraba, Erik            10/4/2023     0.3   Correspondence with Company Finance Team re: pertinent docket
                                            activity and payment of chapter 11 firms
Taraba, Erik            10/4/2023     0.7   Update schedule of forecast IT spend with feedback from internal
                                            team for review by Company IT leadership
Taraba, Erik            10/4/2023     0.8   Develop bridge from prior long-term balance forecast provided to
                                            plan recovery team
Taraba, Erik            10/4/2023     0.6   Respond to questions re: professional fee balance inputs to plan
                                            recovery analysis
Taraba, Erik            10/4/2023     0.6   Update TWCF model with updated forecasts for Ventures sales
                                            activity
Taraba, Erik            10/4/2023     1.9   Develop updated long-term forecast of balances accrued by
                                            bankruptcy professionals as of contemplated emergence date to
                                            plan recovery team
van den Belt, Mark      10/4/2023     0.8   Call with D. Johnston, M. van den Belt, J. Cooper and D. Slay (A&M)
                                            re: discussion on potential wind down procedures
Cooper, James           10/5/2023     1.9   Review and provide comments on revised draft weekly cash
                                            variance report for internal distribution
Cooper, James           10/5/2023     1.3   Evaluate professional fee forecasting reconciliation analysis and
                                            provide comments
Cooper, James           10/5/2023     0.9   Review and provide comments on UCC cash flow diligence request


Cooper, James           10/5/2023     0.6   Review and provide comments on weekly cash and liquidity PMO
                                            materials
Cooper, James           10/5/2023     0.3   Respond to internal questions on weekly cash variance report


Coverick, Steve         10/5/2023     0.3   Review and provide comments on weekly cash variance report

Dalgleish, Elizabeth    10/5/2023     3.1   Update FTX Europe short term cash flow forecast variance analysis
                                            and commentary for w/e 29 September vs. forecast as of 1
                                            September
Johnston, David         10/5/2023     0.7   Review updated short term cash flow forecast for FTX Europe


Ramanathan, Kumanan     10/5/2023     0.7   Coordinate on Galaxy asset management cash account matters

Simoneaux, Nicole       10/5/2023     0.3   Call with D. Slay and N. Simoneaux (A&M) re: upcoming budget and
                                            IFU inputs for HR

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Professional                Date    Hours    Activity
Simoneaux, Nicole       10/5/2023     1.1   Review Budget 10 cash forecast for off-cycle KERP and benefits
                                            payments
Simoneaux, Nicole       10/5/2023     0.9   Prepare preliminary cash inputs for Budget 10 operations forecast


Simoneaux, Nicole       10/5/2023     0.8   Update FTI headcount summaries for Budget 10 cash forecast

Simoneaux, Nicole       10/5/2023     1.3   Build variance report for Budget 10 cash forecast

Simoneaux, Nicole       10/5/2023     0.4   Create consolidation of outstanding items in regards to payroll
                                            forecasting for review and input from K. Schultea (FTX)
Slay, David             10/5/2023     2.1   Discussion with E. Taraba and D. Slay (A&M) re: update to Budget
                                            10 Variance report based on comments
Slay, David             10/5/2023     0.3   Call with D. Slay and N. Simoneaux (A&M) re: upcoming budget and
                                            IFU inputs for HR
Slay, David             10/5/2023     1.4   Update budget assumption presentation based on comments from
                                            senior management
Slay, David             10/5/2023     0.8   Prepare print ready budget 10 variance report to be distributed


Taraba, Erik            10/5/2023     2.1   Discussion with E. Taraba and D. Slay (A&M) re: update to Budget
                                            10 Variance report based on comments
Taraba, Erik            10/5/2023     0.6   Correspondence with internal teams re: status update on updates
                                            need for upcoming budget refresh process
Taraba, Erik            10/5/2023     0.4   Update weekly cash variance report package for WE 9/29 with
                                            feedback from workstream leadership
Taraba, Erik            10/5/2023     0.8   Correspondence with HR, payroll, Europe, and Asia teams re: inputs
                                            to upcoming budget update
Taraba, Erik            10/5/2023     1.8   Update TWCF model with budget inputs from European and Asian
                                            entities
Taraba, Erik            10/5/2023     1.2   Update TWCF model with updated interest income forecasts for
                                            primary deposit banks
Taraba, Erik            10/5/2023     0.4   Update liquidity team PMO slide with latest workstream deliverable
                                            status
Taraba, Erik            10/5/2023     0.6   Update TWCF model with budget inputs from HR and payroll teams

Taraba, Erik            10/5/2023     0.4   Respond to questions re: weekly variance report for WE 9/29

Arnett, Chris           10/6/2023     0.7   Develop forecast for Ch 11 operations workstreams for use in
                                            revised cash forecast
Cooper, James           10/6/2023     0.5   Call with J. Cooper and E. Taraba (A&M) re: status of budget update
                                            process and other priority cash deliverables
Cooper, James           10/6/2023     1.7   Review and provide comments on template and outreach message
                                            for professional fee forecasting update
Cooper, James           10/6/2023     0.3   Call with J. Cooper, R. Duncan (A&M) to finalize updated monthly
                                            fee forecasting models




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Cooper, James           10/6/2023     0.2   Call with J. Cooper, R. Duncan (A&M) to discuss updated monthly
                                            fee forecasting
Cooper, James           10/6/2023     1.8   Prepare cash processing responses for EU data compliance
                                            questionnaire
Dalgleish, Elizabeth    10/6/2023     2.8   Update FTX Europe payment trackers for bank accounts and
                                            invoices received from J. Bavaud (FTX) for w/e 6 October
Duncan, Ryan            10/6/2023     0.3   Call with J. Cooper, R. Duncan (A&M) to finalize updated monthly
                                            fee forecasting models
Duncan, Ryan            10/6/2023     1.1   Amend and finalize updated fee forecasting models following final
                                            review comments
Duncan, Ryan            10/6/2023     0.2   Call with J. Cooper, R. Duncan (A&M) to discuss updated monthly
                                            fee forecasting
Duncan, Ryan            10/6/2023     2.2   Amend monthly fee forecasting individual templates in response to
                                            review comments for inclusion in updated cash budget
Johnston, David         10/6/2023     0.6   Review cash budget plan for post confirmation and provide updates

Sagen, Daniel           10/6/2023     0.7   Call with D. Sagen and E. Taraba (AM&) re: stablecoin conversion
                                            forecast for Budget 11
Simoneaux, Nicole       10/6/2023     2.7   Build Budget 10 payroll & benefits forecast and headcount
                                            rationalization
Simoneaux, Nicole       10/6/2023     1.9   Actualize disbursement data to incorporate into Budget 10 variance
                                            report
Slay, David             10/6/2023     1.6   Meeting with E. Taraba and D. Slay (A&M) re: prepare budget 11
                                            variance analysis with latest information
Slay, David             10/6/2023     1.9   Update linking in master budget model for all silo cash flows

Slay, David             10/6/2023     2.3   Prepare and update Budget 11 input model for latest TWCF master
                                            file
Slay, David             10/6/2023     1.8   Prepare vendor run-rate spend vs forecast summary

Slay, David             10/6/2023     2.6   Prepare budget 10 week two variance model for data inputs


Taraba, Erik            10/6/2023     1.6   Meeting with E. Taraba and D. Slay (A&M) re: prepare budget 11
                                            variance analysis with latest information
Taraba, Erik            10/6/2023     0.9   Update TWCF model with feedback from workstream leadership re:
                                            forecasts for professionals and interest income
Taraba, Erik            10/6/2023     0.5   Call with J. Cooper and E. Taraba (A&M) re: status of budget update
                                            process and other priority cash deliverables
Taraba, Erik            10/6/2023     0.7   Call with D. Sagen and E. Taraba (AM&) re: stablecoin conversion
                                            forecast for Budget 11
Mosley, Ed              10/7/2023     0.4   Review of cash flow information for FTX Japan to share with creditors


Slay, David             10/7/2023     1.2   Update all checks in budget master model to capture lasted cash
                                            flow support model




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Cash Management
Professional               Date     Hours    Activity
Slay, David             10/7/2023     1.9   Develop IRS claims support table for weekly reporting and
                                            discussions
Taraba, Erik            10/7/2023     1.1   Update TWCF with updated crypto forecast through WE 1/19/24


Gonzalez, Johnny        10/8/2023     0.4   Develop a cash forecast for the plan recovery analysis

Simoneaux, Nicole       10/8/2023     2.3   Build Budget 10 contractors forecast and headcount rationalization

Simoneaux, Nicole       10/8/2023     1.1   Review disbursement tracker to update TWCF mapping


Arnett, Chris           10/9/2023     0.3   Review and comment re: post confirmation budget analysis

Cooper, James           10/9/2023     0.4   Call with J. Cooper, E. Taraba, D. Slay, and R. Duncan (A&M) to
                                            discuss weekly cash team management and organization
Cooper, James           10/9/2023     2.1   Call with J. Cooper and D. Slay (A&M) re: review and update post-
                                            confirmation budget summary presentation
Cooper, James           10/9/2023     0.7   Call with J. Cooper and K. Montague (A&M) re: contract go-forward
                                            use and related cash forecast
Cooper, James           10/9/2023     0.9   Review KEIP/KERP materials and internal correspondence re: cash
                                            flow budget assumption for same
Cooper, James           10/9/2023     0.7   Review weekly bank account listing and balance tracker file

Cooper, James           10/9/2023     0.6   Prepare for weekly cash flow diligence call with FTI


Dalgleish, Elizabeth    10/9/2023     1.7   Update FTX Europe open payments file for feedback received from
                                            country CFOs for w/e 6 October
Duncan, Ryan            10/9/2023     0.4   Call with J. Cooper, E. Taraba, D. Slay, and R. Duncan (A&M) to
                                            discuss weekly cash team management and organization
Duncan, Ryan            10/9/2023     0.3   Update historical cash flow analysis with prior week actuals for
                                            variance reporting
Duncan, Ryan            10/9/2023     0.6   Update hours and fees tracking model with updated forecasts


Montague, Katie         10/9/2023     0.7   Call with J. Cooper and K. Montague (A&M) re: contract go-forward
                                            use and related cash forecast
Simoneaux, Nicole       10/9/2023     0.4   Share KERP payment timing and amounts with E. Taraba (A&M) for
                                            incorporation into upcoming cash budgets
Slay, David             10/9/2023     2.1   Call with J. Cooper and D. Slay (A&M) re: review and update post-
                                            confirmation budget summary presentation
Slay, David             10/9/2023     0.4   Call with J. Cooper, E. Taraba, D. Slay, and R. Duncan (A&M) to
                                            discuss weekly cash team management and organization
Slay, David             10/9/2023     0.3   Call with E. Taraba and D. Slay (A&M) re: development of inputs for
                                            Budget 11 forecast
Slay, David             10/9/2023     2.1   Review comparable cases plan materials to identify effective date
                                            and dismissal date




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Cash Management
Professional                 Date    Hours    Activity
Slay, David              10/9/2023     1.7   Develop tables for post confirmation presentation based on specific
                                             matter codes
Slay, David              10/9/2023     2.3   Develop post confirmation presentation for debtor professional
                                             assumptions
Slay, David              10/9/2023     2.4   Develop budget vs forecast of vendor comparison

Slay, David              10/9/2023     0.5   Create confirmation case comparison table

Taraba, Erik             10/9/2023     0.4   Call with J. Cooper, E. Taraba, D. Slay, and R. Duncan (A&M) to
                                             discuss weekly cash team management and organization
Taraba, Erik             10/9/2023     1.8   Update TWCF model with transaction activity through WE 10/6
                                             provided by Company Finance Team
Taraba, Erik             10/9/2023     0.3   Call with E. Taraba and D. Slay (A&M) re: development of inputs for
                                             Budget 11 forecast
Taraba, Erik             10/9/2023     0.2   Call with S. Witherspoon and E. Taraba (A&M) re: cash team inputs
                                             to plan recovery model
Taraba, Erik             10/9/2023     2.9   Develop draft presentation materials for Budget 11 for internal
                                             distribution
Taraba, Erik             10/9/2023     0.4   Review additional Budget 11 charts and provide feedback to team
                                             for updates
Taraba, Erik             10/9/2023     0.6   Develop schedule of historical payment activity through WE 10/6

Taraba, Erik             10/9/2023     2.9   Update bank account balances with inputs from Company Finance
                                             Team
Taraba, Erik             10/9/2023     2.9   Develop schedules and charts for Budget 11 forecast refresh

Witherspoon, Samuel      10/9/2023     0.2   Call with S. Witherspoon and E. Taraba (A&M) re: cash team inputs
                                             to plan recovery model
Arnett, Chris           10/10/2023     0.4   Continue to review and comment on post confirmation budget
                                             analysis
Arnett, Chris           10/10/2023     0.9   Call with C. Arnett, J. Cooper, K. Montague, B. Tenney, and D. Slay
                                             (A&M) to discuss post confirmation budget and contracts team
                                             estimated go forward costs
Cooper, James           10/10/2023     0.6   Call with J. Cooper and D. Slay (A&M) re: discuss potential post
                                             confirmation comparable cases for analysis
Cooper, James           10/10/2023     1.3   Review weekly cash disbursements and transfers tracker for weekly
                                             cash variance report
Cooper, James           10/10/2023     0.4   Internal correspondence re: KEIP/KERP assumptions in cash flow
                                             budget
Cooper, James           10/10/2023     0.8   Draft cash milestones summary as requested by management

Cooper, James           10/10/2023     0.9   Call with C. Arnett, J. Cooper, K. Montague, B. Tenney, and D. Slay
                                             (A&M) to discuss post confirmation budget and contracts team
                                             estimated go forward costs
Dalgleish, Elizabeth    10/10/2023     2.6   Update FTX Europe short term cash flow forecast for feedback
                                             received from country CFOs for w/e 6 October

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Cash Management
Professional                 Date    Hours    Activity
Dalgleish, Elizabeth    10/10/2023     2.1   Update FTX Europe short term cash flow forecast variance analysis
                                             and commentary for w/e 6 October vs. forecast as of 29 September
Duncan, Ryan            10/10/2023     0.6   Amend historical cash flow analysis for variance report in response
                                             to review comments
Duncan, Ryan            10/10/2023     1.7   Update professional hours and fees tracking model with new weekly
                                             actuals
Hogge, Will             10/10/2023     0.4   Post-Confirmation Case Comps Research to Identify additional
                                             bankruptcy peers
Montague, Katie         10/10/2023     2.3   Review of post-confirmation budget prepared by A&M cash team


Montague, Katie         10/10/2023     0.9   Call with C. Arnett, J. Cooper, K. Montague, B. Tenney, and D. Slay
                                             (A&M) to discuss post confirmation budget and contracts team
                                             estimated go forward costs
Slay, David             10/10/2023     0.6   Call with J. Cooper and D. Slay (A&M) re: discuss potential post
                                             confirmation comparable cases for analysis
Slay, David             10/10/2023     1.4   Call with E. Taraba and D. Slay (A&M) re: review budget 10 w/e 10/6
                                             variance analysis
Slay, David             10/10/2023     2.4   Review comparable chapter 11 filings post confirmation budget

Slay, David             10/10/2023     1.9   Develop stablecoin variance for budget 10 vs budget 11 data inputs


Slay, David             10/10/2023     2.3   Compare budget 1 through 10 forecast for vendor variance file

Slay, David             10/10/2023     1.8   Review comparable chapter 11 filings plan supplement dockets


Slay, David             10/10/2023     0.9   Call with C. Arnett, J. Cooper, K. Montague, B. Tenney, and D. Slay
                                             (A&M) to discuss post confirmation budget and contracts team
                                             estimated go forward costs
Taraba, Erik            10/10/2023     2.4   Develop schedule of historical cash inflows and petition date
                                             account balances for benchmarking purposes
Taraba, Erik            10/10/2023     1.1   Update Budget 11 forecast with incremental payroll and benefits
                                             data received from HR and payroll teams
Taraba, Erik            10/10/2023     1.1   Revise commentary for Budget 10 to Budget 11 bridge to reflect
                                             additional forecast changes
Taraba, Erik            10/10/2023     1.4   Call with E. Taraba and D. Slay (A&M) re: review budget 10 w/e 10/6
                                             variance analysis
Taraba, Erik            10/10/2023     0.8   Develop summary schedule for digital asset sales plan included in
                                             Budget 11
Taraba, Erik            10/10/2023     1.4   Update Budget 11 presentation materials per feedback from
                                             leadership
Taraba, Erik            10/10/2023     0.9   Update Budget 11 presentation materials with refreshed Budget 11
                                             schedules
Taraba, Erik            10/10/2023     0.6   Review weekly cash variance report and provide feedback to team

Taraba, Erik            10/10/2023     1.2   Update TWCF model with additional transactions from FTX Japan



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Professional                 Date    Hours    Activity
Tenney, Bridger         10/10/2023     0.9   Call with C. Arnett, J. Cooper, K. Montague, B. Tenney, and D. Slay
                                             (A&M) to discuss post confirmation budget and contracts team
                                             estimated go forward costs
Cooper, James           10/11/2023     2.4   Call with J. Cooper and D. Slay (A&M) re: review post confirmation
                                             comparable cases wind down budget assumptions
Cooper, James           10/11/2023     0.4   Review latest thinking headcount, payroll and contractor spend
                                             summary for cash flow budget update
Cooper, James           10/11/2023     0.3   Call with J. Cooper and E. Taraba (A&M) re: updates to Budget 11
                                             schedules and slides
Cooper, James           10/11/2023     1.3   Review and provide comments re: by firm professional fee forecast
                                             for cash flow budget update
Cooper, James           10/11/2023     1.3   Analysis and internal correspondence re: digital asset sale
                                             assumptions for cash flow budget
Cooper, James           10/11/2023     0.9   Provide comments re: admin cost tracker and variance for forecast
                                             update
Cooper, James           10/11/2023     0.8   Review by entity cash flow forecast for FTX Europe for cash flow
                                             budget update
Cooper, James           10/11/2023     0.4   Assess updated venture receipts and commentary for cash flow
                                             budget
Cooper, James           10/11/2023     0.3   Review IT vendor spend and variance for cash flow update


Duncan, Ryan            10/11/2023     2.9   Develop professional fees forecast based on new data from monthly
                                             forecast update
Duncan, Ryan            10/11/2023     0.4   Update professional hours and fees model with new prior week
                                             actuals
Duncan, Ryan            10/11/2023     2.7   Prepare fee tracking model to integrate new forecast

Ramanathan, Kumanan     10/11/2023     0.6   Review of disclaimer language to be included in cash flow budget
                                             and review of projections
Simoneaux, Nicole       10/11/2023     2.9   Update Budget 10 presentation for IFU reporting


Slay, David             10/11/2023     2.4   Call with J. Cooper and D. Slay (A&M) re: review post confirmation
                                             comparable cases wind down budget assumptions
Slay, David             10/11/2023     1.9   Prepare Variance 10 package for updated formulas to capture
                                             weekly updates
Slay, David             10/11/2023     1.7   Create summary table to capture claim count by comparable cases

Slay, David             10/11/2023     2.4   Update budget comparison budget tables for Complex and fraud
                                             comps
Slay, David             10/11/2023     2.9   Update budget comparison budget tables for crypto comps

Slay, David             10/11/2023     1.3   Develop budget vs budget comparison for converted stablecoin

Taraba, Erik            10/11/2023     1.2   Update bank account activity with historical activity from foreign
                                             jurisdiction provided by Company Finance Team


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Cash Management
Professional                 Date    Hours    Activity
Taraba, Erik            10/11/2023     0.3   Call with J. Cooper and E. Taraba (A&M) re: updates to Budget 11
                                             schedules and slides
Taraba, Erik            10/11/2023     0.9   Update Budget 11 slide deck per feedback from workstream
                                             leadership
Taraba, Erik            10/11/2023     2.8   Update Budget 11 forecast with additional refinements to fees
                                             associated with Ch 11
Taraba, Erik            10/11/2023     1.7   Update bridge commentary for Budget 11 to reflect changes to Ch
                                             11 fees
Taraba, Erik            10/11/2023     1.3   Refresh budget materials with updated cash balances as of 10/11


Cooper, James           10/12/2023     2.1   Call with J. Cooper and D. Slay (A&M) re: Review comparable wind
                                             down budget assumptions as a percent of liabilities
Cooper, James           10/12/2023     2.6   Call with J. Cooper and D. Slay (A&M) re: Develop wind down
                                             budget comparison summary tables
Cooper, James           10/12/2023     1.6   Discussion with J. Cooper and R . Duncan (A&M) to finalize updated
                                             fee forecast
Cooper, James           10/12/2023     0.2   Call with J. Cooper and E. Taraba (A&M) re: finalization of Budget
                                             11 deliverables
Cooper, James           10/12/2023     0.4   Respond to internal comments and questions re: weekly cash
                                             variance report package
Cooper, James           10/12/2023     1.8   Review and provide comments on draft cash flow budget
                                             presentation materials
Cooper, James           10/12/2023     0.6   Follow up questions re: cash flow assumptions for digital asset sales


Cooper, James           10/12/2023     1.8   Review and provide comments re: weekly cash variance report
                                             package
Cooper, James           10/12/2023     0.6   Review weekly fee tracker and variance analysis


Duncan, Ryan            10/12/2023     1.6   Discussion with J. Cooper and R . Duncan (A&M) to finalize updated
                                             fee forecast
Duncan, Ryan            10/12/2023     1.1   Develop and consolidate new balance data in July MOR
                                             reconciliation file
Duncan, Ryan            10/12/2023     0.3   Amend and finalize updated fee forecast in response to review
                                             comments
Johnston, David         10/12/2023     0.3   Review short term cash flow variance incorporating latest actuals

Mosley, Ed              10/12/2023     0.7   Review of and prepare comments to cash variance report for week
                                             ending 10/6
Mosley, Ed              10/12/2023     1.3   Review of and prepare comments to new cash flow budget (budget
                                             11)
Slay, David             10/12/2023     2.1   Call with J. Cooper and D. Slay (A&M) re: Review comparable wind
                                             down budget assumptions as a percent of liabilities
Slay, David             10/12/2023     2.6   Call with J. Cooper and D. Slay (A&M) re: Develop wind down
                                             budget comparison summary tables




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Professional                 Date    Hours    Activity
Slay, David             10/12/2023     0.9   Develop wind down reserve as a percent of budget assumption for
                                             slide input
Slay, David             10/12/2023     1.7   Create summary tables for wind down cost as a percent of liabilities


Slay, David             10/12/2023     2.8   Create summary tables for wind down cost as a percent of Assets

Taraba, Erik            10/12/2023     0.9   Update formatting for budget 11 presentation materials per feedback
                                             from leadership
Taraba, Erik            10/12/2023     1.4   Develop weekly cash variance report for WE 10/6 for delivery to
                                             UCC advisors
Taraba, Erik            10/12/2023     0.2   Call with J. Cooper and E. Taraba (A&M) re: finalization of Budget
                                             11 deliverables
Taraba, Erik            10/12/2023     0.4   Correspondence with Company Finance Team leadership re: Budget
                                             11 updates
Taraba, Erik            10/12/2023     0.6   Update liquidity team PMO slide with latest workstream status and
                                             updates
Taraba, Erik            10/12/2023     0.8   Develop weekly variance report for distribution to leadership


Taraba, Erik            10/12/2023     0.7   Respond to questions re: weekly variance report for WE 10/6

Taraba, Erik            10/12/2023     0.6   Respond to questions re: upcoming budget period

Taraba, Erik            10/12/2023     0.6   Correspondence with project leadership re: Budget 11 updates


Witherspoon, Samuel     10/12/2023     2.8   Reconcile plan cash inputs to prior versions to prepare for diligence
                                             questions
Cooper, James           10/13/2023     2.1   Call with J. Cooper and D. Slay (A&M) re: Update executive
                                             summary slide in wind down budget
Cooper, James           10/13/2023     0.3   Review and provide comments on cash flow bridge and overlay
                                             pages for budget update
Cooper, James           10/13/2023     0.9   Review revised cash flow budget materials and provide comments


Cooper, James           10/13/2023     1.5   Respond to internal questions re: cash flow budget update

Coverick, Steve         10/13/2023     1.9   Review and provide comments on wind-down budget benchmarking
                                             analysis
Hogge, Will             10/13/2023     0.2   Update Source Links for latest trust payout information in bankruptcy
                                             comp
Slay, David             10/13/2023     2.1   Call with J. Cooper and D. Slay (A&M) re: Update executive
                                             summary slide in wind down budget
Slay, David             10/13/2023     0.4   Call with E. Taraba and D. Slay (A&M) re: stablecoin and vendor
                                             analysis updates
Slay, David             10/13/2023     2.6   Update bench marking slide with latest comps by length of budget
                                             post confirmation




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Cash Management
Professional                 Date    Hours    Activity
Slay, David             10/13/2023     2.9   Update FTX wind down budget assumption tables in appendix slides

Slay, David             10/13/2023     1.8   Update FTX wind down budget 3 year to 7 years tables in appendix
                                             slides
Taraba, Erik            10/13/2023     0.8   Review docket activity and summarize all filings which may result in
                                             cash inflows to the debtors' accounts
Taraba, Erik            10/13/2023     0.4   Call with E. Taraba and D. Slay (A&M) re: stablecoin and vendor
                                             analysis updates
Taraba, Erik            10/13/2023     1.3   Develop distributable drafts of Budget 11 schedules and
                                             presentation materials
Slay, David             10/14/2023     2.5   Update Venture Trust slide with latest recovery assumption and
                                             remaining value post confirmation
Cooper, James           10/16/2023     1.2   Call with J. Cooper and D. Slay (A&M) re: updates to wind down
                                             benchmarking slides for distribution
Cooper, James           10/16/2023     0.7   Call with S. Coverick, J. Cooper, and D. Slay (A&M) to discuss initial
                                             post confirmation budget materials
Cooper, James           10/16/2023     0.4   Call with J. Cooper and K. Montague (A&M) re: contracts and related
                                             cash forecast
Cooper, James           10/16/2023     0.7   Review and provide comments re: cash flow budget update diligence
                                             requests
Cooper, James           10/16/2023     0.3   Prepare for weekly creditor cash call re: weekly cash variance and
                                             budget update
Cooper, James           10/16/2023     0.3   Review latest bank account tracker and balance update for prior
                                             week end
Cooper, James           10/16/2023     0.7   Review and revise weekly cash flow PMO materials

Coverick, Steve         10/16/2023     0.7   Call with S. Coverick, J. Cooper, and D. Slay (A&M) to discuss initial
                                             post confirmation budget materials
Dalgleish, Elizabeth    10/16/2023     2.1   Update FTX Europe payment trackers for bank accounts and
                                             invoices received from J. Bavaud (FTX) for w/e 13 October
Dalgleish, Elizabeth    10/16/2023     1.7   Update FTX Europe open payments file for feedback received from
                                             country CFOs for w/e 13 October
Montague, Katie         10/16/2023     0.6   Call with M. Cilia (FTX) and K. Montague (A&M) regarding contract
                                             use and estimated costs post-emergence
Montague, Katie         10/16/2023     0.4   Call with J. Cooper and K. Montague (A&M) re: contract go-forward
                                             use and related cash forecast
Slay, David             10/16/2023     0.7   Call with S. Coverick, J. Cooper, and D. Slay (A&M) to discuss initial
                                             post confirmation budget materials
Slay, David             10/16/2023     1.2   Call with J. Cooper and D. Slay (A&M) re: updates to wind down
                                             benchmarking slides for distribution
Slay, David             10/16/2023     0.9   Update executive summary slide to capture latest assumption
                                             changes in budget
Slay, David             10/16/2023     3.1   Update budget 10 week 3 variance with latest bank actuals from
                                             RLKS




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Professional                 Date    Hours    Activity
Slay, David             10/16/2023     2.9   Develop case comparison bar chart to capture budget size and
                                             length
Slay, David             10/16/2023     0.4   Update specific wind down budget cost slides for latest assumptions


Taraba, Erik            10/16/2023     0.9   Coordinate inputs for weekly variance reporting with Crypto,
                                             Ventures, and Cash teams
Taraba, Erik            10/16/2023     0.4   Correspondence with professional firm re: forecast update for fees
                                             and expenses
Witherspoon, Samuel     10/16/2023     0.8   Review calculation of UST disbursements based on previous
                                             payment information
Witherspoon, Samuel     10/16/2023     2.9   Model changes to cash actuals to refresh the plan cash inputs
                                             materials
Cooper, James           10/17/2023     1.8   Call with J. Cooper and D. Slay (A&M) re: update wind down
                                             presentation based on comments from S. Coverick (A&M)
Cooper, James           10/17/2023     0.7   Review and provide comments re: cash diligence request responses
                                             for UCC advisors
Cooper, James           10/17/2023     1.3   Analysis and internal correspondence re: EU intercompany
                                             repayment analysis
Cooper, James           10/17/2023     0.6   Review cash payments and transfers summary provided by RLKS

Coverick, Steve         10/17/2023     1.6   Discuss wind-down budget analysis with J. Cooper (A&M)

Dalgleish, Elizabeth    10/17/2023     2.4   Update FTX Europe short term cash flow forecast for feedback
                                             received from country CFOs for w/e 13 October
Duncan, Ryan            10/17/2023     1.7   Implement organizational updates to debtor payment tracking and
                                             forecasting model
Duncan, Ryan            10/17/2023     2.7   Reconcile updated fee disbursement data against prior actuals to
                                             correct variances
Duncan, Ryan            10/17/2023     1.7   Update professional hours and fees forecast with prior week actuals

Hogge, Will             10/17/2023     0.9   Prepare Madoff Bankruptcy Research to Identify Latest Post-
                                             Confirmation Status Report
Simoneaux, Nicole       10/17/2023     0.3   Respond to additional variance inquiries re: Budget 10 payroll
                                             variance
Slay, David             10/17/2023     1.8   Call with J. Cooper and D. Slay (A&M) re: update wind down
                                             presentation based on comments from S. Coverick (A&M)
Slay, David             10/17/2023     2.9   Update avoidance and litigation slide based on cost associated with
                                             certain recoveries
Slay, David             10/17/2023     1.8   Adjust wind down budget based on galaxy spend per a percentage
                                             of crypto sales
Slay, David             10/17/2023     2.3   Develop payroll summary slide by employee functionality and cost


Slay, David             10/17/2023     1.1   Update Variance package for Western Alliance updated bank
                                             statements




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Cash Management
Professional                 Date    Hours    Activity
Slay, David             10/17/2023     1.2   Review payroll for post confirmation assumptions

Taraba, Erik            10/17/2023     0.6   Develop schedule of assets sold or transferred during September for
                                             inclusion into Interim Financial Update
Taraba, Erik            10/17/2023     0.8   Update schedule of chapter 11 fees paid through the end of
                                             September for inclusion into Interim Financial Update
Taraba, Erik            10/17/2023     0.4   Correspondence with HR, Payroll, and Ventures teams re: inputs to
                                             September Interim Financial Update
Taraba, Erik            10/17/2023     1.4   Develop schedules of account balances by legal entity for
                                             September Interim Financial Update
Taraba, Erik            10/17/2023     0.4   Coordinate additional inputs to weekly cash variance reporting from
                                             Company Finance Team
Taraba, Erik            10/17/2023     1.3   Develop schedules of disbursements by legal entity for September
                                             Interim Financial Update
Taraba, Erik            10/17/2023     1.2   Review payment request package for retained professionals fee
                                             applications submitted WE 10/13
Taraba, Erik            10/17/2023     0.4   Respond to questions from Company Finance Team leadership re:
                                             professional firm forecast updates
Taraba, Erik            10/17/2023     0.6   Correspondence with professional firm re: forecast update for fees
                                             through February 2024
Taraba, Erik            10/17/2023     0.6   Calculate taxes paid by the estate in September by type of tax
                                             (payroll, income, etc.) for inclusion into Interim Financial Update
Cooper, James           10/18/2023     0.6   Call with J. Cooper and D. Slay (A&M) re: discuss comparable
                                             claims processes for wind down budget summary
Dalgleish, Elizabeth    10/18/2023     1.6   Update FTX Europe short term cash flow forecast variance analysis
                                             and commentary for w/e 13 October vs. forecast as of 29 September
Duncan, Ryan            10/18/2023     0.3   Call with D. Slay and R. Duncan (A&M) to discuss updates to debtor
                                             professional headcount tracking process
Duncan, Ryan            10/18/2023     1.2   Update debtor bankruptcy fee forecasting model

Duncan, Ryan            10/18/2023     0.6   Finalize weekly update to bankruptcy fee forecasting model


Simoneaux, Nicole       10/18/2023     1.8   Prepare full-scale personnel rationalization for October IFU and FTI
                                             review
Simoneaux, Nicole       10/18/2023     1.4   Formulate variance report for upcoming IFU with notes and support

Simoneaux, Nicole       10/18/2023     1.7   Prepare October IFU updates for operations and payroll


Slay, David             10/18/2023     0.3   Call with D. Slay and R. Duncan (A&M) to discuss updates to debtor
                                             professional headcount tracking process
Slay, David             10/18/2023     0.6   Call with J. Cooper and D. Slay (A&M) re: discuss comparable
                                             claims processes for wind down budget summary
Slay, David             10/18/2023     1.1   Call with E. Taraba and D. Slay (A&M) re: Review budget 10
                                             variance with latest inputs




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Cash Management
Professional                 Date    Hours    Activity
Slay, David             10/18/2023     2.2   Update budget 10 variance analysis with latest Western Alliance
                                             bank statements
Slay, David             10/18/2023     3.1   Develop Budget 10 variance package and supporting schedules to
                                             be distributed
Slay, David             10/18/2023     2.6   Update budget 10 variance analysis with latest Bank Statement
                                             inputs
Slay, David             10/18/2023     1.1   Update Budget 10 intercompany variance analysis with commentary

Taraba, Erik            10/18/2023     0.4   Correspondence with Company Finance Team leadership re:
                                             addition of new bank account to internal account tracking file
Taraba, Erik            10/18/2023     0.9   Develop schedule of Ch 11 professional firm payments vs forecasts
                                             for inclusion into variance report
Taraba, Erik            10/18/2023     0.8   Provide supporting commentary to variances related to professional
                                             firm payments during WE 10/13
Taraba, Erik            10/18/2023     0.3   Correspondence with Operations Team re: professional firm
                                             expenses invoiced during September
Taraba, Erik            10/18/2023     1.1   Call with E. Taraba and D. Slay (A&M) re: Review budget 10
                                             variance with latest inputs
Taraba, Erik            10/18/2023     0.9   Update September Interim Financial Update with latest data
                                             provided by Company Finance Team
Taraba, Erik            10/18/2023     0.6   Develop draft Interim Financial Update for September for review by
                                             leadership
Taraba, Erik            10/18/2023     0.7   Develop schedule of payment activity across all debtor entities
                                             through WE 10/13
Cooper, James           10/19/2023     1.6   Meeting with J. Cooper and D. Slay (A&M) re: update budget sizing
                                             assumptions based on internal discussions
Cooper, James           10/19/2023     0.3   Call with J. Cooper, E. Taraba, and D. Slay (A&M) re: finalizing
                                             weekly cash variance report for WE 10/13
Cooper, James           10/19/2023     0.8   Call with E. Mosley, S. Coverick, J. Cooper & D. Slay (A&M) re:
                                             discuss post-effective wind down budget materials
Cooper, James           10/19/2023     0.8   Provide comments re: internal questions on cash variance report
                                             package
Cooper, James           10/19/2023     0.6   Review and provide comments on weekly fee tracker and variance
                                             report
Cooper, James           10/19/2023     1.9   Review and provide comments on draft of cash variance report
                                             package
Cooper, James           10/19/2023     0.6   Review bank account summary request from crypto workstream


Coverick, Steve         10/19/2023     0.8   Call with E. Mosley, S. Coverick, J. Cooper & D. Slay (A&M) re:
                                             discuss post-effective wind down budget materials
Coverick, Steve         10/19/2023     0.4   Review and provide comments on cash variance report for w/e 10/13


Duncan, Ryan            10/19/2023     2.4   Call with D. Slay and R. Duncan (A&M) re: update post confirmation
                                             case analysis for latest comps




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Cash Management
Professional                 Date    Hours    Activity
Duncan, Ryan            10/19/2023     0.9   Develop headcount summary analysis to communicate updates in
                                             forecast drivers
Duncan, Ryan            10/19/2023     2.3   Continue update of professional headcount analysis for forecast
                                             modeling
Duncan, Ryan            10/19/2023     1.1   Update professional headcount analysis for payment forecast refresh

Duncan, Ryan            10/19/2023     0.4   Prepare distribution materials for weekly flash fee tracking update

Esposito, Rob           10/19/2023     0.6   Call with R. Esposito, D. Lewandowski, & D. Slay (A&M) review
                                             potential post-effective date claims process for budget
Johnston, David         10/19/2023     0.4   Review weekly variance analysis for FTX Europe

Lewandowski, Douglas    10/19/2023     0.6   Call with R. Esposito, D. Lewandowski, & D. Slay (A&M) review
                                             potential post-effective date claims process for budget
Mosley, Ed              10/19/2023     0.7   Review of and prepare comments to draft cash variance report for
                                             week ending 9/22
Ramanathan, Kumanan     10/19/2023     0.3   Review of cash flow budget assumptions and provide feedback


Slay, David             10/19/2023     0.3   Call with J. Cooper, E. Taraba, and D. Slay (A&M) re: finalizing
                                             weekly cash variance report for WE 10/13
Slay, David             10/19/2023     0.6   Call with R. Esposito, D. Lewandowski, & D. Slay (A&M) review
                                             potential post-effective date claims process for budget
Slay, David             10/19/2023     0.8   Call with E. Mosley, S. Coverick, J. Cooper & D. Slay (A&M) re:
                                             discuss post-effective wind down budget materials
Slay, David             10/19/2023     1.6   Meeting with J. Cooper and D. Slay (A&M) re: update budget sizing
                                             assumptions based on internal discussions
Slay, David             10/19/2023     2.4   Call with D. Slay and R. Duncan (A&M) re: update post confirmation
                                             case analysis for latest comps
Slay, David             10/19/2023     1.1   Update wind down budget comparison to capture Lehman brothers
                                             wind down spend
Slay, David             10/19/2023     2.6   Update Wind-down budget assumptions for 3-5 years based on
                                             discussions with payroll
Taraba, Erik            10/19/2023     0.3   Call with J. Cooper, E. Taraba, and D. Slay (A&M) re: finalizing
                                             weekly cash variance report for WE 10/13
Taraba, Erik            10/19/2023     0.6   Review variance reporting from European team and incorporate
                                             relevant material in consolidated variance report
Taraba, Erik            10/19/2023     1.4   Review cash variance report and revise commentary with additional
                                             descriptive details
Taraba, Erik            10/19/2023     0.6   Update weekly cash variance report for WE 10/13 with feedback
                                             from workstream leadership
Taraba, Erik            10/19/2023     0.4   Update commentary for weekly cash variance report per feedback
                                             from project leadership
Taraba, Erik            10/19/2023     0.3   Correspondence with Crypto team re: spending associated with
                                             customer portal




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Cash Management
Professional                 Date    Hours    Activity
Taraba, Erik            10/19/2023     0.8   Respond to questions from workstream leadership re: WE 10/13
                                             cash variance report
Taraba, Erik            10/19/2023     1.4   Develop list of accounts active prior to filing date per request from
                                             Crypto Team
Taraba, Erik            10/19/2023     0.8   Develop waterfall chart to accompany weekly cash variance reporting

Cooper, James           10/20/2023     0.3   Call with J. Cooper and E. Taraba (A&M) re: status of liquidity
                                             deliverables and priorities for upcoming week
Cooper, James           10/20/2023     1.6   Call with M. Cilia (FTX), J. Cooper & D. Slay (A&M) to discuss post
                                             confirmation associated cost
Cooper, James           10/20/2023     0.4   Review and provide comments re: UCC cash flow request on
                                             professional fees
Duncan, Ryan            10/20/2023     2.1   Develop summary analysis of historical debtor fee payments for
                                             updated fee forecasting
Slay, David             10/20/2023     1.6   Call with M. Cilia (FTX), J. Cooper & D. Slay (A&M) to discuss post
                                             confirmation associated cost
Taraba, Erik            10/20/2023     0.3   Call with J. Cooper and E. Taraba (A&M) re: status of liquidity
                                             deliverables and priorities for upcoming week
Taraba, Erik            10/20/2023     1.3   Update schedule of debtor accounts active prior to petition date per
                                             feedback from workstream leadership
Taraba, Erik            10/20/2023     0.4   Respond to questions from workstream leadership re: certain
                                             professional firm invoices
Taraba, Erik            10/20/2023     0.4   Update professional firm tracker with reductions from Second
                                             Interim Period
Taraba, Erik            10/20/2023     0.4   Develop draft PMO slide for liquidity team for WE 10/27

Slay, David             10/21/2023     2.1   Update MOR timeline assumptions based on proposed filling
                                             discussions
Cooper, James           10/23/2023     1.2   Analyze monthly cash interest statement provide by bank and
                                             internal reconciliation
Cooper, James           10/23/2023     0.3   Review latest bank account balance and tracker for weekly variance
                                             reporting
Cooper, James           10/23/2023     0.4   Review prior week cash disbursements and bank activity files
                                             provided by RLKS
Cooper, James           10/23/2023     0.4   Review and provide comments on weekly cash workstream PMO
                                             materials
Cooper, James           10/23/2023     0.4   Review prior week variance report to prepare for UCC advisor cash
                                             call
Dalgleish, Elizabeth    10/23/2023     2.3   Update FTX Europe payment trackers for bank accounts and
                                             invoices received from J. Bavaud (FTX) for w/e 20 October
Dalgleish, Elizabeth    10/23/2023     1.9   Update FTX Europe open payments file for feedback received from
                                             country CFOs for w/e 20 October
Slay, David             10/23/2023     0.9   Update wind down budget post confirmation length assumption to
                                             capture 2H 2024




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Professional                 Date    Hours    Activity
Slay, David             10/23/2023     0.7   Prepare meeting discussion points for FTX IT requirements post
                                             confirmation
Slay, David             10/23/2023     1.1   Update wind down budget to capture distribution payments post
                                             confirmation
Taraba, Erik            10/23/2023     1.2   Update schedule of accrued Chapter 11 fees and expenses with
                                             allocation data received from Operations team
Taraba, Erik            10/23/2023     0.6   Coordinate with liquidity and plan teams re: timing of deliverables
                                             and priorities of work
Taraba, Erik            10/23/2023     0.7   Develop schedule of transactions for European entity to support
                                             intercompany reconciliation
Taraba, Erik            10/23/2023     0.9   Update September Interim Financial Update per feedback from
                                             Company Finance Team leadership
Taraba, Erik            10/23/2023     0.4   Coordinate with Company Finance Team re: payment of certain
                                             professionals fee applications
Taraba, Erik            10/23/2023     0.6   Coordinate with internal A&M team as well as debtor counsel re:
                                             review and filing plan for September Interim Financial Update
Taraba, Erik            10/23/2023     0.9   Reconcile daily cash balances for foreign debtor entity to custodial
                                             transaction activity provided by Company Finance Team
Witherspoon, Samuel     10/23/2023     0.9   Respond to internal diligence questions regarding historical cash
                                             payments
Cooper, James           10/24/2023     1.9   Revise analysis of monthly cash interest statement for WAL and
                                             internal reconciliation
Cooper, James           10/24/2023     0.4   Research and correspondence re: bank account audit confirmation
                                             request
Dalgleish, Elizabeth    10/24/2023     0.4   Prepare correspondence to E. Taraba (A&M) relating to the FTX
                                             Europe AG Maerki bank account movements
Dalgleish, Elizabeth    10/24/2023     2.2   Update FTX Europe short term cash flow forecast for feedback
                                             received from country CFOs for w/e 20 October
Duncan, Ryan            10/24/2023     0.4   Develop correspondence with cash management team re:
                                             outstanding debtor professional payment data for fee forecasting
Duncan, Ryan            10/24/2023     2.1   Develop prior month reconciling adjustments for use in debtor
                                             professional forecasting model
Duncan, Ryan            10/24/2023     1.2   Source and correct debtor fee tracking model variances against
                                             invoice data
Duncan, Ryan            10/24/2023     1.1   Update debtor bankruptcy fee payment tracker to reflect prior week
                                             data
Taraba, Erik            10/24/2023     0.8   Coordinate with liquidity and contracts teams re: review expenses
                                             incurred by professionals during month of September
Taraba, Erik            10/24/2023     1.1   Update bank account tracking file with updated balances provided by
                                             Company Finance Team
Taraba, Erik            10/24/2023     2.9   Develop weekly cash variance report for all activity during WE 10/20
                                             for review by leadership
Taraba, Erik            10/24/2023     0.6   Coordinate with Company Finance Team re: FX rates for certain
                                             transactions made during WE 10/20




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Professional                 Date    Hours    Activity
Taraba, Erik            10/24/2023     2.1   Update TWCF with transfer and other bank account activity for WE
                                             10/20
Taraba, Erik            10/24/2023     1.9   Update TWCF with transaction activity from WE 10/20


Taraba, Erik            10/24/2023     1.6   Develop schedule of ch 11 fees and expenses for professional vs
                                             their forecasts to support weekly reporting to UCC advisors
Chambers, Henry         10/25/2023     0.2   Call with H. Chambers, S. Coverick (A&M) re: cash balances at FTX
                                             Japan
Cooper, James           10/25/2023     1.9   Review and provide comments on weekly cash variance report
                                             package
Coverick, Steve         10/25/2023     0.2   Call with H. Chambers, S. Coverick (A&M) re: cash balances at FTX
                                             Japan
Dalgleish, Elizabeth    10/25/2023     1.8   Update FTX Europe short term cash flow forecast variance analysis
                                             and commentary for w/e 20 October vs. forecast as of 29 September
Duncan, Ryan            10/25/2023     2.1   Develop weekly flash to supplement weekly update to debtor
                                             payment forecasting summary
Duncan, Ryan            10/25/2023     0.8   Develop weekly update summary of debtor professional payment
                                             tracking and forecasting model
Duncan, Ryan            10/25/2023     1.3   Discussion with E. Taraba and R. Duncan (A&M) to review cash
                                             variance reporting process
Duncan, Ryan            10/25/2023     1.4   Finalize debtor payment tracking weekly summary update

Slay, David             10/25/2023     0.2   Call with E. Taraba and D. Slay (A&M) re: walkthrough of WE 10/20
                                             cash variance report
Slay, David             10/25/2023     1.3   Update wind down budge model with latest galaxy fee assumptions
                                             for post confirmation
Slay, David             10/25/2023     1.4   Develop litigation sizing summary with case comparisons of legal
                                             cost
Slay, David             10/25/2023     1.8   Update litigation sizing summary with 5 year assumptions and
                                             commentary
Taraba, Erik            10/25/2023     1.2   Develop schedule of forecast fees for Ad Hoc Committee
                                             professionals per latest docket filing
Taraba, Erik            10/25/2023     0.2   Call with E. Taraba and D. Slay (A&M) re: walkthrough of WE 10/20
                                             cash variance report
Taraba, Erik            10/25/2023     0.7   Coordinate with Plan team re: forecast fees and expenses for post-
                                             confirmation budget
Taraba, Erik            10/25/2023     1.1   Review Court docket for filings related to Ad Hoc Committee fees
                                             and reimbursement agreements
Taraba, Erik            10/25/2023     1.3   Discussion with E. Taraba and R. Duncan (A&M) to review cash
                                             variance reporting process
Taraba, Erik            10/25/2023     0.9   Update cash variance reporting with additional data from Company
                                             Finance Team
Taraba, Erik            10/25/2023     0.9   Develop schedule of historical and forecast payments to IT, and
                                             KYC/AML vendors




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Professional                Date    Hours    Activity
Taraba, Erik           10/25/2023     0.4   Correspondence with Crypto team re: forecast inputs to Budget 12

Taraba, Erik           10/25/2023     0.4   Correspondence with H& and Payroll teams re: forecast inputs to
                                            Budget 12
Taraba, Erik           10/25/2023     0.4   Coordinate with counsel re: filing of September Interim Financial
                                            Update
Taraba, Erik           10/25/2023     0.6   Correspondence with Data Operations team re: forecast inputs to
                                            Budget 12
Taraba, Erik           10/25/2023     0.6   Develop weekly payment tracker with all transaction activity through
                                            10/20
Cooper, James          10/26/2023     1.2   Prepare responses and correspondence re: internal comments on
                                            weekly variance report
Cooper, James          10/26/2023     0.4   Review and provide comments on weekly fee tracker and variance
                                            package
Cooper, James          10/26/2023     1.8   Draft summary of outstanding questions re: professional fee analysis

Cooper, James          10/26/2023     0.6   Research and prepare response re: cash balances at brokerage
                                            institutions
Coverick, Steve        10/26/2023     0.3   Review and provide comments on cash variance report for w/e 10/21

Duncan, Ryan           10/26/2023     0.8   Finalize weekly updates to debtor bankruptcy fee forecast

Mosley, Ed             10/26/2023     0.4   Review of and prepare comments to draft cash variance report for
                                            week ending 10/20
Taraba, Erik           10/26/2023     0.7   Update timing and priority of deliverables for liquidity team per
                                            feedback from workstream leadership
Taraba, Erik           10/26/2023     0.6   Update weekly cash variance report for WE 10/20 with refined
                                            commentary per workstream leadership
Taraba, Erik           10/26/2023     0.7   Develop distributable version of cash variance report for internal
                                            review and comments
Taraba, Erik           10/26/2023     1.6   Update schedule of Ch 11 fees and expenses paid case-to-date with
                                            feedback from management
Taraba, Erik           10/26/2023     0.6   Respond to questions from management re: weekly cash variance
                                            report for WE 10/20
Taraba, Erik           10/26/2023     0.6   Coordinate with Operations team re: allocation of certain
                                            professional expenses
Taraba, Erik           10/26/2023     0.4   Coordinate with Plan team re: request from AHC advisors for cash
                                            balance data
Taraba, Erik           10/26/2023     0.9   Develop schedule of petition data cash balances per request from
                                            AHC advisors
Taraba, Erik           10/26/2023     0.6   Develop Cash team PMO slide with applicable data through WE
                                            10/27
Cooper, James          10/27/2023     0.6   Call with M. Cilia (FTX), J. Cooper & D. Slay (A&M) to discuss post
                                            confirmation budget distribution cost assumptions




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Professional                 Date    Hours    Activity
Cooper, James           10/27/2023     0.8   Review and provide comments on cash workstream weekly PMO
                                             materials
Cooper, James           10/27/2023     0.7   Review latest monthly fee schedule and provide comments


Ramanathan, Kumanan     10/27/2023     1.9   Review of wind down budget presentation and prepare comments
                                             and questions
Slay, David             10/27/2023     0.6   Call with M. Cilia (FTX), J. Cooper & D. Slay (A&M) to discuss post
                                             confirmation budget distribution cost assumptions
Taraba, Erik            10/27/2023     0.9   Review weekly variance report from FTX Europe team and
                                             summarize for leadership
Taraba, Erik            10/27/2023     0.6   Update Cash Team PMO slide with feedback from workstream
                                             leadership
Taraba, Erik            10/27/2023     0.4   Respond to questions re: bank account balances for certain legal
                                             entities
Taraba, Erik            10/27/2023     0.4   Coordinate with European team re: inputs to upcoming budget
                                             update
Taraba, Erik            10/27/2023     0.4   Coordinate with Asia team re: inputs to upcoming budget update


Cooper, James           10/28/2023     0.8   Research and prepare response re: Vault Trust bank statement
                                             inquiry
Cooper, James           10/28/2023     1.4   Draft updates and internal correspondence to monthly fee schedule

Coverick, Steve         10/28/2023     0.7   Discuss status of wind-down budget with J. Cooper (A&M)


Cooper, James           10/30/2023     0.3   Call with J. Cooper, E. Taraba, R. Duncan (A&M) to discuss weekly
                                             updates to cash management process
Cooper, James           10/30/2023     1.3   Prepare initial draft and analysis of stablecoin cash conversion
                                             reconciliation for variance reporting
Cooper, James           10/30/2023     0.8   Review fee schedule and prepare summary of outstanding issues

Cooper, James           10/30/2023     1.6   Meeting w/ J. Cooper, S. Witherspoon & D. Slay (A&M) re: Update
                                             wind-down budget commentary based on committee meeting
Dalgleish, Elizabeth    10/30/2023     2.2   Update FTX Europe payment trackers for bank accounts and
                                             invoices received from J. Bavaud (FTX) for w/e 27 October
Dalgleish, Elizabeth    10/30/2023     1.7   Update FTX Europe open payments file for feedback received from
                                             country CFOs for w/e 27 October
Duncan, Ryan            10/30/2023     0.3   Call with J. Cooper, E. Taraba, R. Duncan (A&M) to discuss weekly
                                             updates to cash management process
Simoneaux, Nicole       10/30/2023     1.1   Allocate Fastlane invoices to Services Solutions and Cottonwood
                                             Grove for future cash forecasts
Slay, David             10/30/2023     1.6   Meeting w/ J. Cooper, S. Witherspoon & D. Slay (A&M) re: Update
                                             wind-down budget commentary based on committee meeting
Taraba, Erik            10/30/2023     0.3   Call with J. Cooper, E. Taraba, R. Duncan (A&M) to discuss weekly
                                             updates to cash management process




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                            Time Detail by Activity by Professional
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Cash Management
Professional                 Date    Hours    Activity
Taraba, Erik            10/30/2023     1.1   Develop schedule of D&O insurance policies and associated costs
                                             per request from management
Taraba, Erik            10/30/2023     0.4   Correspondence with Contracts team re: pre and post-filing D&O
                                             policies
Taraba, Erik            10/30/2023     0.4   Coordinate with Crypto team re: stablecoin conversions completed
                                             to-date
Witherspoon, Samuel     10/30/2023     1.6   Meeting w/ J. Cooper, S. Witherspoon & D. Slay (A&M) re: Update
                                             wind-down budget commentary based on committee meeting
Cooper, James           10/31/2023     0.8   Call with M. Cilia (FTX), B. Steele (Kroll), S. Kotarba, J. Sielinski, J.
                                             Cooper (All A&M) re: distribution planning
Cooper, James           10/31/2023     1.1   Review weekly professional firm and OCP tracker for variances and
                                             cash budget
Cooper, James           10/31/2023     1.8   Draft fee schedule summary and outstanding issues list


Dalgleish, Elizabeth    10/31/2023     2.8   Update FTX Europe short term cash flow forecast for feedback
                                             received from country CFOs for w/e 27 October
Duncan, Ryan            10/31/2023     1.9   Develop post confirmation comps analysis slides for development of
                                             post effective budget
Duncan, Ryan            10/31/2023     0.2   Call with E. Taraba and R. Duncan (A&M) to review update process
                                             for Budget 12 materials
Duncan, Ryan            10/31/2023     1.3   Finalize stablecoin conversion schedule in response to cash team
                                             review comments
Duncan, Ryan            10/31/2023     1.6   Develop support materials for post effective budget comps analysis


Duncan, Ryan            10/31/2023     1.1   Develop updates to weekly debtor bankruptcy payment tracking
                                             model
Duncan, Ryan            10/31/2023     1.3   Develop consolidated Budget 12 cash flow forecast file


Duncan, Ryan            10/31/2023     0.6   Develop Budget 12 overlay against Budget 11

Duncan, Ryan            10/31/2023     1.4   Continue development of Budget 12 overlay


Simoneaux, Nicole       10/31/2023     1.3   Detail disbursement actuals variance payroll rationale for both MOR
                                             reporting and FTI
Simoneaux, Nicole       10/31/2023     0.4   Solve payroll disbursement timing issues and reporting backlog for
                                             Cash Budget 11
Slay, David             10/31/2023     2.3   Roll over budget 10 to budget 11 variance package to the latest
                                             TWCF, Bank Summary and supporting schedules
Slay, David             10/31/2023     1.8   Update Western Alliance bank information in the latest bank
                                             summary to compare forecast
Slay, David             10/31/2023     0.9   Update support cash inflows and outflows for budget 11 week 1 to
                                             compare to the forecast
Slay, David             10/31/2023     1.3   Update custodial transfers based on Japan actuals for the bank
                                             summary




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Cash Management
Professional                Date    Hours     Activity
Taraba, Erik           10/31/2023      2.7   Update TWCF with bank account balance information as of 10/27
                                             provided by Company Finance Team
Taraba, Erik           10/31/2023      0.2   Call with E. Taraba and R. Duncan (A&M) to review update process
                                             for Budget 12 materials
Taraba, Erik           10/31/2023      2.8   Update bank balance tracker with latest payment and wire activity
                                             through WE 10/27
Taraba, Erik           10/31/2023      0.8   Develop schedule of digital asset sales for review by Crypto team

Taraba, Erik           10/31/2023      2.1   Update TWCF with transactions through 10/27



Subtotal                             593.4

Claims
Professional                Date    Hours     Activity
Chamma, Leandro         10/1/2023      0.4   Review claims portal manual reviewers consolidated quality control
                                             spreadsheet
Chamma, Leandro         10/1/2023      1.2   Answer questions presented by claims portal customer support team
                                             related to applicant's KYC in order to assist on email and 2 factor
                                             authenticator reset requests
Francis, Luke           10/1/2023      1.8   Review of updated claims register with newly filed claims

Francis, Luke           10/1/2023      1.4   Create filed to adjusted reconciled amounts for AP claims


Lewandowski, Douglas    10/1/2023      0.6   Identify duplicative customer filed claims for only claims within the
                                             customer portal
Lewandowski, Douglas    10/1/2023      0.7   Review timely filed claims in Kroll data for summary of claim counts


Lewandowski, Douglas    10/1/2023      0.8   Review diligence request from J. Croke (S&C) for potential litigation
                                             targets
Pestano, Kyle           10/1/2023      0.5   Resolve cases on customer support tracker and check KYC status
                                             for 2FA verification
Arora, Rohan            10/2/2023      1.1   Ensure visual graphs and charts on claims reporting deck reflect
                                             current claims data and statuses
Arora, Rohan            10/2/2023      1.6   Edit language and formatting of charts and footnotes on reporting
                                             deck
Avdellas, Peter         10/2/2023      1.6   Analyze claims in FTX customer portal to capture relevant
                                             information related to claimant for diligence request
Avdellas, Peter         10/2/2023      1.4   Analyze claims both customer and non-customer claims to locate
                                             amended claims based on confirmation ID
Avdellas, Peter         10/2/2023      1.3   Analyze both customer and non-customer claims to locate duplicate
                                             claims based on email address on file
Avdellas, Peter         10/2/2023      1.7   Analyze both customer and non-customer claims to locate amended
                                             claims based on email address on file




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                         Time Detail by Activity by Professional
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Claims
Professional              Date    Hours    Activity
Avdellas, Peter       10/2/2023     1.7   Analyze claims in FTX customer portal to capture relevant claim
                                          information for diligence request based on customer information
                                          provided
Chambers, Henry       10/2/2023     0.6   update KYC review process for to respond to S&C queries on the
                                          same
Chambers, Henry       10/2/2023     0.4   Respond to queries on secondary holder KYC process


Chambers, Henry       10/2/2023     0.2   Correspondence with BitGo regarding KYC data collection

Chambers, Henry       10/2/2023     0.3   Discussion with H. Chambers, D. Lewandowski, R. Esposito (A&M),
                                          A. Kranzley, S. Levin (S&C) re: KYC + disputed claims work plan
Chambers, Henry       10/2/2023     0.2   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), C. Cox
                                          (Metalab), A. Powel (Integreon) to discuss latest portal and KYC
                                          status
Chambers, Henry       10/2/2023     0.6   Call with A. Hawkins, R. Navarro (FTX) H. Chambers, L. Chamma,
                                          A, Mohammed (A&M) to discuss KYC and compliance processes
Chamma, Leandro       10/2/2023     0.5   Call with L. Chamma, K. Pestano (A&M) and R. Wendlick and others
                                          (Integreon) to host manual review daily catch up
Chamma, Leandro       10/2/2023     1.0   Call with L. Chamma and K. Pestano (A&M) to discuss Daily KYC
                                          reporting stats and rejection cases for an S&C request
Chamma, Leandro       10/2/2023     0.2   Adjust KYC applications rejected by KYC vendor system due to
                                          duplication
Chamma, Leandro       10/2/2023     0.1   Update KYC application daily metrics for reporting purposes

Chamma, Leandro       10/2/2023     1.2   Provide feedback to UK and US manual reviewers regarding cases
                                          on enhanced due diligence escalated for second level review
Chamma, Leandro       10/2/2023     1.2   Answer questions presented by claims portal customer support team
                                          related to applicant's KYC in order to assist on email and 2 factor
                                          authenticator reset requests
Chamma, Leandro       10/2/2023     0.2   Call with L. Chamma, C. Tong, K. Pestano (A&M), C. Cox (Metalab),
                                          A. Powel (Integreon) to discuss latest portal and KYC status
Chamma, Leandro       10/2/2023     2.1   Review claims portal high balance KYC applications on hold,
                                          approved and rejected by US and UK manual reviewers for purpose
                                          of quality control and issue spotting
Chamma, Leandro       10/2/2023     1.4   Research on Relativity legacy KYC data to provide clarification in
                                          respect with data inconsistencies found on claims portal KYC
                                          applications
Chamma, Leandro       10/2/2023     0.6   Call with A. Hawkins, R. Navarro (FTX) H. Chambers, L. Chamma,
                                          A, Mohammed (A&M) to discuss KYC and compliance processes
Chamma, Leandro       10/2/2023     1.2   Draft daily update spreadsheet of claims portal high balance
                                          applicants that started KYC and the updated statutes for all high
                                          balance applicants
Coverick, Steve       10/2/2023     2.4   Review and provide comments on claims reconciliation report


Esposito, Rob         10/2/2023     1.0   Discussion with R. Esposito, S. Kotarba, and D. Lewandowski re:
                                          customer claims tasks



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Claims
Professional             Date    Hours    Activity
Esposito, Rob        10/2/2023     2.1   Review of proposed changes to the claims presentation to prepare
                                         detailed updates
Esposito, Rob        10/2/2023     0.7   Discussion with R. Esposito, L. Francis re: non-customer claims
                                         deck updates
Esposito, Rob        10/2/2023     0.3   Correspond with R. Esposito (A&M) re: customer claim summary
                                         status and open issues
Esposito, Rob        10/2/2023     1.1   Update non-customer claims reconciliation tear sheets for S&C
                                         review
Esposito, Rob        10/2/2023     0.6   Prepare updated task list for claims reconciliation workstreams


Esposito, Rob        10/2/2023     0.3   Review and response to claims related questions from S&C

Esposito, Rob        10/2/2023     0.3   Discussion with H. Chambers, D. Lewandowski, R. Esposito (A&M),
                                         A. Kranzley, S. Levin (S&C) re: KYC + disputed claims work plan
Esposito, Rob        10/2/2023     0.4   Discussion with A. Mohammed, R. Esposito, D. Lewandowski, S.
                                         Kotarba, K. Ramanathan (A&M), J. Hughes, E. Usitalo, S. Perry, H.
                                         Alli and J. Karotkin (Kroll) re: customer portal status
Esposito, Rob        10/2/2023     0.8   Discussion with R. Esposito, D. Lewandowski, J. Zatz, and R.
                                         Johnson (A&M) re: customer claims reporting updates and open
                                         issues
Esposito, Rob        10/2/2023     0.3   Discuss non-customer claims overview slide and details with L
                                         Francis and R Esposito (A&M)
Flynn, Matthew       10/2/2023     0.6   Call with M. Flynn, A.Mohammed (A&M) to discuss engineering
                                         efforts progress updates
Flynn, Matthew       10/2/2023     0.8   Review FTX customer portal dashboard data and provide comments

Flynn, Matthew       10/2/2023     1.4   Review FTX contractor agreements for S&C and provide comments


Flynn, Matthew       10/2/2023     0.9   Update customer portal indicators for Management

Flynn, Matthew       10/2/2023     0.2   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), C. Cox
                                         (Metalab), A. Powel (Integreon) to discuss latest portal and KYC
                                         status
Francis, Luke        10/2/2023     0.3   Discuss non-customer claims overview slide and details with L
                                         Francis and R Esposito (A&M)
Francis, Luke        10/2/2023     1.0   Update summary non-customer claims analysis based on new
                                         claims register
Francis, Luke        10/2/2023     0.7   Discussion with R. Esposito, L. Francis re: non-customer claims
                                         deck updates
Francis, Luke        10/2/2023     2.3   Update claims summary reporting tracking file based on new claims
                                         register
Francis, Luke        10/2/2023     2.1   Create bridge of differences in non-customer claims reconciliation


Francis, Luke        10/2/2023     1.4   Review of filed claims from CFTC for summary write up




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Claims
Professional               Date    Hours    Activity
Johnson, Robert        10/2/2023     0.8   Discussion with R. Esposito, D. Lewandowski, J. Zatz, and R.
                                           Johnson (A&M) re: customer claims reporting updates and open
                                           issues
Kearney, Kevin         10/2/2023     0.3   Call with K. Kearney and H. Chambers (A&M) to discuss bidder
                                           diligence requirements
Kotarba, Steve         10/2/2023     1.0   Discussion with R. Esposito, S. Kotarba, and D. Lewandowski re:
                                           customer claims tasks
Kotarba, Steve         10/2/2023     0.3   Discussion with S. Kotarba and C. Myers (A&M) re: next steps for
                                           claim objections
Kotarba, Steve         10/2/2023     0.4   Discussion with A. Mohammed, R. Esposito, D. Lewandowski, S.
                                           Kotarba, K. Ramanathan (A&M), J. Hughes, E. Usitalo, S. Perry, H.
                                           Alli and J. Karotkin (Kroll) re: customer portal status
Lewandowski, Douglas   10/2/2023     1.0   Research claims without claim numbers and ticker information for
                                           discussion with Kroll
Lewandowski, Douglas   10/2/2023     1.0   Discussion with R. Esposito, S. Kotarba, and D. Lewandowski re:
                                           customer claims tasks
Lewandowski, Douglas   10/2/2023     0.3   Correspond with R. Esposito (A&M) re: customer claim summary
                                           status and open issues
Lewandowski, Douglas   10/2/2023     1.2   Prepare Perp reconciliation for specific customers for AHC
                                           discussion
Lewandowski, Douglas   10/2/2023     0.2   Prepare update of customer claims deck for weekly PMO reporting


Lewandowski, Douglas   10/2/2023     0.9   Review newly filed claim image documents from Kroll for
                                           completeness
Lewandowski, Douglas   10/2/2023     0.7   Review AHC diligence request related to specific customers

Lewandowski, Douglas   10/2/2023     0.4   Discussion with A&M team re: redacted customer claims


Lewandowski, Douglas   10/2/2023     0.4   Discussion with A. Mohammed, R. Esposito, D. Lewandowski, S.
                                           Kotarba, K. Ramanathan (A&M), J. Hughes, E. Usitalo, S. Perry, H.
                                           Alli and J. Karotkin (Kroll) re: customer portal status
Lewandowski, Douglas   10/2/2023     0.8   Discussion with R. Esposito, D. Lewandowski, J. Zatz, and R.
                                           Johnson (A&M) re: customer claims reporting updates and open
                                           issues
Lewandowski, Douglas   10/2/2023     0.3   Discussion with H. Chambers, D. Lewandowski, R. Esposito (A&M),
                                           A. Kranzley, S. Levin (S&C) re: KYC + disputed claims work plan
Mohammed, Azmat        10/2/2023     1.1   Review JIRA board for outstanding engineering requirements and
                                           efforts
Mohammed, Azmat        10/2/2023     0.3   Support FTX Customer Support and KYC teams on technical
                                           matters and cases
Mohammed, Azmat        10/2/2023     0.3   Support engineering work related to Chinese Translations

Mohammed, Azmat        10/2/2023     0.4   Discussion with A. Mohammed, R. Esposito, D. Lewandowski, S.
                                           Kotarba, K. Ramanathan (A&M), J. Hughes, E. Usitalo, S. Perry, H.
                                           Alli and J. Karotkin (Kroll) re: customer portal status




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Claims
Professional                Date    Hours    Activity
Mohammed, Azmat         10/2/2023     0.4   Call with D. Longan and others (MetaLab) D. Chiu and others (FTX)
                                            and A. Mohammed (A&M) to discuss development efforts on daily
                                            standup on 10/2/23
Mohammed, Azmat         10/2/2023     0.6   Call with A. Hawkins, R. Navarro (FTX) H. Chambers, L. Chamma,
                                            A, Mohammed (A&M) to discuss KYC and compliance processes
Mohammed, Azmat         10/2/2023     0.2   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), C. Cox
                                            (Metalab), A. Powel (Integreon) to discuss latest portal and KYC
                                            status
Myers, Claire           10/2/2023     1.7   Analyze completed and circulated tear sheets for internal tracking

Myers, Claire           10/2/2023     1.7   Prepare amendment objection circulation document for legal team

Myers, Claire           10/2/2023     0.3   Discussion with S. Kotarba and C. Myers (A&M) re: next steps for
                                            claim objections
Pestano, Kyle           10/2/2023     0.5   Call with L. Chamma, K. Pestano (A&M) and R. Wendlick and others
                                            (Integreon) to host manual review daily catch up
Pestano, Kyle           10/2/2023     1.0   Call with L. Chamma and K. Pestano (A&M) to discuss Daily KYC
                                            reporting stats and rejection cases for an S&C request
Pestano, Kyle           10/2/2023     2.9   Investigate difficult EDD review cases with foreign source of funds,
                                            and high risk industry/jurisdiction tags
Pestano, Kyle           10/2/2023     0.6   Summarize KYC applicant rejections and coordinate with Sumsub
                                            on the input/analysis needed from them
Pestano, Kyle           10/2/2023     2.9   Analyze KYC applicant data and summarize by applicant status and
                                            rejection type
Pestano, Kyle           10/2/2023     0.7   Assess the KYC applicants daily reporting stats and analyze country
                                            codes
Pestano, Kyle           10/2/2023     0.4   Compile and provide status updates on S&C requests and staffing
                                            discussion of FTX compliance personnel with KYC operations team
Pestano, Kyle           10/2/2023     0.2   Call with L. Chamma, C. Tong, K. Pestano (A&M), C. Cox (Metalab),
                                            A. Powel (Integreon) to discuss latest portal and KYC status
Ramanathan, Kumanan     10/2/2023     0.4   Discussion with A. Mohammed, R. Esposito, D. Lewandowski, S.
                                            Kotarba, K. Ramanathan (A&M), J. Hughes, E. Usitalo, S. Perry, H.
                                            Alli and J. Karotkin (Kroll) re: customer portal status
Sullivan, Christopher   10/2/2023     1.2   Update bridge for non-customer claims


Sullivan, Christopher   10/2/2023     1.2   Review the updated customer claims analyses

Tenney, Bridger         10/2/2023     1.2   Discussion with D. Lewandowski and B. Tenney (A&M) re: updates
                                            to customer slide deck and KYC stats
Tong, Crystal           10/2/2023     0.9   Respond queries from FTX Customer Service addressing questions
                                            on claim status as of October 2, 2023
Tong, Crystal           10/2/2023     1.2   Update the application status on the manual review ticket tracker as
                                            of October 2, 2023 for individual tickets
Tong, Crystal           10/2/2023     3.1   Conduct quality check on the manual KYC for the retail of customers




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Claims
Professional             Date     Hours    Activity
Tong, Crystal         10/2/2023     2.6   Consolidate all the quality check working in response to the manual
                                          KYC review team
Tong, Crystal         10/2/2023     0.2   Call with L. Chamma, C. Tong, K. Pestano (A&M), C. Cox (Metalab),
                                          A. Powel (Integreon) to discuss latest portal and KYC status
Yan, Jack             10/2/2023     2.9   Perform quality check on the KYC review performed by Integreon
                                          US team as at October 2, 2023
Yan, Jack             10/2/2023     1.7   Update manual review ticket tracker for individual login as at
                                          October 2, 2023
Yan, Jack             10/2/2023     1.8   Assign cases to Integreon team for manual review as at October 2,
                                          2023
Yan, Jack             10/2/2023     1.3   Answer queries from FTX Customer Service as at October 2, 2023

Zatz, Jonathan        10/2/2023     2.1   Update database script that consolidates claim data to fold direct
                                          Kroll claims into discarded claim logic
Zatz, Jonathan        10/2/2023     2.7   Determine root cause of some claims being duplicated after adding
                                          direct Kroll claims to consolidation
Zatz, Jonathan        10/2/2023     2.8   Execute database script to consolidate claims data, incorporating
                                          non-scheduled customers
Zatz, Jonathan        10/2/2023     2.9   Determine root cause of some customers without claims showing
                                          claim amounts in claim summary
Zatz, Jonathan        10/2/2023     1.6   Update database script that consolidates claim data to add two new
                                          statuses
Zatz, Jonathan        10/2/2023     0.8   Discussion with R. Esposito, D. Lewandowski, J. Zatz, and R.
                                          Johnson (A&M) re: customer claims reporting updates and open
                                          issues
Arora, Rohan          10/3/2023     1.3   Complete data refresh to ensure up to date numbers on PowerPoint
                                          slides
Avdellas, Peter       10/3/2023     1.2   Analyze both customer and non-customer claims to ensure
                                          information between potentially duplicative claims match
Avdellas, Peter       10/3/2023     1.4   Analyze both customer and non-customer claims to identify potential
                                          duplicates based on metadata ID
Avdellas, Peter       10/3/2023     0.6   Discussion with P. Avdellas, D. Lewandowski (A&M) re: Amended
                                          claim matching analysis
Avdellas, Peter       10/3/2023     0.7   Discussion with P. Avdellas, D. Lewandowski (A&M) re: Scheduled
                                          claim matching analysis
Avdellas, Peter       10/3/2023     1.6   Analyze both customer and non-customer claims to identify
                                          amended claims based on FTX unique ID
Avdellas, Peter       10/3/2023     1.4   Analyze both customer and non-customer claims to locate duplicate
                                          claims based on confirmation ID
Avdellas, Peter       10/3/2023     1.3   Analyze proof of claim for customer based on specific customer
                                          criteria to capture relevant information for diligence request
Avdellas, Peter       10/3/2023     1.2   Review current claims register to identify claim images that are not
                                          currently in our register to compile a list of updated images needed
Avdellas, Peter       10/3/2023     0.4   Review current claims register to identify claim images where the file
                                          is corrupted and unable to be opened to compile a list of updated
                                          images needed

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Claims
Professional              Date    Hours    Activity
Avdellas, Peter       10/3/2023     1.6   Analyze both customer and non-customer claims to ensure
                                          information between amended and amending claim is consistently
                                          reported
Chambers, Henry       10/3/2023     0.3   Call with B. Walsh and others (BitGo), H. Chambers, M. Flynn
                                          (A&M) to further discuss institutional KYC matters
Chambers, Henry       10/3/2023     0.5   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), A. Powel
                                          (Integreon) to discuss latest portal and KYC status
Chambers, Henry       10/3/2023     0.3   Call with K. Kearney and H. Chambers (A&M) to discuss bidder
                                          diligence requirements
Chambers, Henry       10/3/2023     0.4   Call with B. Walsh and others (BitGo), R. Navarro (FTX), A.
                                          Mohammed, H. Chambers, M. Flynn, C. Tong, L. Chamma (A&M) to
                                          discuss institutional KYC matters
Chambers, Henry       10/3/2023     0.3   Discussion with H. Chambers, D. Lewandowski, R. Esposito (A&M),
                                          A. Kranzley, S. Levin (S&C) re: KYC + disputed claims work plan
Chambers, Henry       10/3/2023     0.4   Call with S. Melamed, B. Spitz, S. Kojima (FTX), J. Simpson, N.
                                          Mehta (S&C), H. Chambers, J. Lam, D. Johnston, M. van den Belt
                                          (A&M) on FTX Japan and Quoine India matters
Chamma, Leandro       10/3/2023     1.0   Call with L. Chamma, C. Tong and J. Yan (A&M) regarding
                                          assignment work to Integreon for AWS data issue
Chamma, Leandro       10/3/2023     0.7   Call with L. Chamma and K. Pestano (A&M) to discuss KYC
                                          applicant rejection cases for an S&C request
Chamma, Leandro       10/3/2023     1.2   Review all KYC applications rejected with anti money laundering tag
                                          in order to answer S&C data request
Chamma, Leandro       10/3/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano (A&M), A. Powel
                                          (Integreon) to discuss latest portal and KYC status
Chamma, Leandro       10/3/2023     0.1   Craft feedback to UK and US manual reviewers

Chamma, Leandro       10/3/2023     0.4   Call with B. Walsh and others (BitGo), R. Navarro (FTX), A.
                                          Mohammed, H. Chambers, M. Flynn, C. Tong, L. Chamma (A&M) to
                                          discuss institutional KYC matters
Chamma, Leandro       10/3/2023     1.8   Review claims portal high balance KYC applications on hold,
                                          approved and rejected by US and UK manual reviewers for purpose
                                          of quality control and issue spotting
Chamma, Leandro       10/3/2023     2.7   Draft report for S&C related to claims portal KYC applications
                                          rejected by the system and during enhanced due diligence
Chamma, Leandro       10/3/2023     1.1   Monitor claims portal customer support chat to provide clarifications
                                          regarding 2 factor authentication resets and KYC status
Chamma, Leandro       10/3/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano (A&M) and A.
                                          Stephanovich and others (Integreon) to do manual review daily catch
                                          up
Chamma, Leandro       10/3/2023     0.6   Provide feedback to UK and US manual reviewers regarding cases
                                          on enhanced due diligence escalated for second level review
Chamma, Leandro       10/3/2023     0.6   Draft daily update spreadsheet of claims portal high balance
                                          applicants that started KYC and the updated statutes for all high
                                          balance applicants
Esposito, Rob         10/3/2023     0.7   Call with L Francis and R Esposito (A&M) to review and discuss
                                          updates to non-customer PPT summary of claims


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Claims
Professional            Date     Hours    Activity
Esposito, Rob        10/3/2023     0.5   Call with L Francis and R Esposito (A&M) to review and discuss
                                         claims estimates/presentations
Esposito, Rob        10/3/2023     0.3   Review of claims and transfer related inquiries for response to A&M
                                         team
Esposito, Rob        10/3/2023     0.8   Review of customer claims data to understand the process for
                                         reconciliation
Esposito, Rob        10/3/2023     0.8   Review of updated non-customer claims data for reporting purposes

Esposito, Rob        10/3/2023     1.5   Call with R. Esposito and D. Lewandowski (A&M) re: unmatched
                                         CUD analysis
Esposito, Rob        10/3/2023     0.4   Prepare non-customer claims reporting summary for claims
                                         presentation
Esposito, Rob        10/3/2023     0.6   Prepare claims process and procedures for reconciliation
                                         workstreams
Esposito, Rob        10/3/2023     0.9   Review of newly filed claims for reporting updates

Esposito, Rob        10/3/2023     0.4   Review of customer claim data for response to S&C inquiry


Esposito, Rob        10/3/2023     0.3   Review of claim related requests to coordinate workstreams

Esposito, Rob        10/3/2023     0.2   Call with D Lewandowski and R Esposito (A&M) to discuss updates
                                         to the claims presentation
Esposito, Rob        10/3/2023     0.3   Discussion with H. Chambers, D. Lewandowski, R. Esposito (A&M),
                                         A. Kranzley, S. Levin (S&C) re: KYC + disputed claims work plan
Flynn, Matthew       10/3/2023     0.5   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), A. Powel
                                         (Integreon) to discuss latest portal and KYC status
Flynn, Matthew       10/3/2023     0.3   Call with B. Walsh and others (BitGo), H. Chambers, M. Flynn
                                         (A&M) to further discuss institutional KYC matters
Flynn, Matthew       10/3/2023     1.8   Perform analysis on institutional customer KYC and claims status for
                                         S&C
Flynn, Matthew       10/3/2023     1.9   Perform analysis on retail customer KYC and claims status for S&C


Flynn, Matthew       10/3/2023     0.9   Update management customer portal reporting

Flynn, Matthew       10/3/2023     0.3   Review historical customer support ticket reporting

Flynn, Matthew       10/3/2023     0.4   Call with B. Walsh and others (BitGo), R. Navarro (FTX), A.
                                         Mohammed, H. Chambers, M. Flynn, C. Tong, L. Chamma (A&M) to
                                         discuss institutional KYC matters
Francis, Luke        10/3/2023     0.7   Call with L Francis and R Esposito (A&M) to review and discuss
                                         updates to non-customer PPT summary of claims
Francis, Luke        10/3/2023     0.5   Call with L Francis and R Esposito (A&M) to review and discuss
                                         claims estimates/presentations
Francis, Luke        10/3/2023     1.2   Analysis of withdrawals in process flagged by AWS system for
                                         creditor withdrawals


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Claims
Professional              Date     Hours    Activity
Francis, Luke          10/3/2023     2.1   Review of variances for GUC claims estimates from prior weeks
                                           claims bridge
Francis, Luke          10/3/2023     2.2   Analysis of plan estimates based on filed and adjusted claims


Francis, Luke          10/3/2023     1.3   Review of claims reporting for billion dollar customer claims filed

Johnson, Robert        10/3/2023     0.4   Call with C. Cox, D. Longan and others (MetaLab) N. Molina and
                                           others (FTX) and R. Johnson, A. Mohammed (A&M) to discuss
                                           development efforts on daily standup on 10/3/23
Karnik, Noorita        10/3/2023     0.6   Continue to review, classify and process previous and new requests
                                           in the Claims Privacy Inbox on 03/10
Karnik, Noorita        10/3/2023     0.4   Review, classify and process previous and new requests in the
                                           Claims Privacy Inbox on 03/10
Kearney, Kevin         10/3/2023     0.3   Call with K. Kearney and H. Chambers (A&M) to discuss bidder
                                           diligence requirements
Kotarba, Steve         10/3/2023     1.1   Update claims reporting re updated numbers


Lewandowski, Douglas   10/3/2023     0.7   Discussion with P. Avdellas, D. Lewandowski (A&M) re: Scheduled
                                           claim matching analysis
Lewandowski, Douglas   10/3/2023     0.2   Call with D Lewandowski and R Esposito (A&M) to discuss updates
                                           to the claims presentation
Lewandowski, Douglas   10/3/2023     0.6   Review S&C diligence request related to specific customers in
                                           preparation for discussion
Lewandowski, Douglas   10/3/2023     0.6   Discussion with P. Avdellas, D. Lewandowski (A&M) re: Amended
                                           claim matching analysis
Lewandowski, Douglas   10/3/2023     1.4   Review Kroll claim/schedule matching for accuracy against
                                           FTX/AWS data
Lewandowski, Douglas   10/3/2023     1.5   Call with R. Esposito and D. Lewandowski (A&M) re: unmatched
                                           CUD analysis
Lewandowski, Douglas   10/3/2023     2.1   Prepare and review CUD unmatched schedule claim export for
                                           manual matching exercise
Lewandowski, Douglas   10/3/2023     1.1   Summarize timely filed customer claims for discussion with A&M
                                           team
Lewandowski, Douglas   10/3/2023     0.9   Prepare revised customer summary slides based on Kroll 9/30 data


Mohammed, Azmat        10/3/2023     0.4   Review site that uses claims portal data for calculating preferences
                                           as a potential malicious website
Mohammed, Azmat        10/3/2023     0.4   Support development efforts related to translations and augmented
                                           logging on to claims portal activity
Mohammed, Azmat        10/3/2023     0.9   Support efforts on identifying root cause and potential attack using
                                           Kroll Security Incident leaked data
Mohammed, Azmat        10/3/2023     0.7   Coordinate response and incident revie with FTX Customer Service
                                           on new phishing campaign
Mohammed, Azmat        10/3/2023     1.1   Support FTX Customer Service and KYC Manual reviewing teams
                                           with technical matters on 10/3/23


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Claims
Professional             Date     Hours    Activity
Mohammed, Azmat       10/3/2023     1.7   Coordinate development efforts related to 10/3 deployment and
                                          access issues for Liquid customers
Mohammed, Azmat       10/3/2023     0.3   Discuss with D. Chiu (FTX) and A.Mohammed (A&M) to discuss
                                          product management after 10/6/23
Mohammed, Azmat       10/3/2023     0.4   Call with C. Cox, D. Longan and others (MetaLab) N. Molina and
                                          others (FTX) and R. Johnson, A. Mohammed (A&M) to discuss
                                          development efforts on daily standup on 10/3/23
Mohammed, Azmat       10/3/2023     0.4   Call with B. Walsh and others (BitGo), R. Navarro (FTX), A.
                                          Mohammed, H. Chambers, M. Flynn, C. Tong, L. Chamma (A&M) to
                                          discuss institutional KYC matters
Mohammed, Azmat       10/3/2023     0.5   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), C. Cox
                                          (Metalab), A. Powel (Integreon) to discuss latest portal and KYC
                                          status
Mohammed, Azmat       10/3/2023     0.2   Call with C. Cox, D. Longan (MetaLab) K. Ramanathan,
                                          A.Mohammed (A&M) to discuss claims portal backlog and MetaLab
                                          roll off
Myers, Claire         10/3/2023     1.6   Update internal claims reconciliation review tracker with status and
                                          review preparation
Myers, Claire         10/3/2023     1.3   Prepare amendment objection review file for circulation to
                                          professionals
Myers, Claire         10/3/2023     2.1   Prepare no substantive duplicative objection


Myers, Claire         10/3/2023     1.2   Update internal claims reconciliation review tracker with links to tear
                                          sheet
Pestano, Kyle         10/3/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano (A&M), A. Powel
                                          (Integreon) to discuss latest portal and KYC status
Pestano, Kyle         10/3/2023     0.6   Respond to KYC questions from S&C and preferential payment
                                          analyses and investigate KYC modification changes
Pestano, Kyle         10/3/2023     0.7   Call with L. Chamma and K. Pestano (A&M) to discuss KYC
                                          applicant rejection cases for an S&C request
Pestano, Kyle         10/3/2023     0.7   Analyze rejected KYC applicants based on balance size and type of
                                          rejection and summarize for S&C review
Pestano, Kyle         10/3/2023     2.1   Investigate FTX Legacy KYC documentation for modified/edited
                                          dates and analyze the documents submitted to S&C
Pestano, Kyle         10/3/2023     1.9   Analyze rejected KYC applicants and summarize based on type of
                                          rejection for S&C request
Pestano, Kyle         10/3/2023     0.6   Review cases escalated from Integreon and provide feedback
                                          regarding crypto exchange transactions
Pestano, Kyle         10/3/2023     1.3   Review complex EDD review cases with foreign source of funds,
                                          docs requested and high risk industry/jurisdiction tags from
                                          European contractors
Pestano, Kyle         10/3/2023     1.4   Review complex EDD review cases with foreign source of funds,
                                          docs requested and high risk industry/jurisdiction tags from
                                          American contractors
Pestano, Kyle         10/3/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano (A&M) and A.
                                          Stephanovich and others (Integreon) to do manual review daily catch
                                          up


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Claims
Professional               Date     Hours    Activity
Pestano, Kyle           10/3/2023     0.9   Continue to review complex EDD review cases with foreign source of
                                            funds, docs requested and high risk industry/jurisdiction tags from
                                            European contractors
Ramanathan, Kumanan     10/3/2023     0.6   Correspond and review data on two claim holders and provide
                                            feedback
Ramanathan, Kumanan     10/3/2023     0.7   Review customer perpetual positions and provide feedback


Ramanathan, Kumanan     10/3/2023     0.4   Call with J. Kapoor (S&C) to discuss estimation motion

Ramanathan, Kumanan     10/3/2023     0.6   Correspond with counsel re: secondary claim KYC process


Sullivan, Christopher   10/3/2023     0.2   Incorporate comments for KYC slides

Sullivan, Christopher   10/3/2023     0.4   Review update for claims reconciliation bridge

Sullivan, Christopher   10/3/2023     0.2   Provide comments to the revised GUC bridge


Sullivan, Christopher   10/3/2023     0.4   Review the updates for the key contracts

Tong, Crystal           10/3/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano (A&M), A. Powel
                                            (Integreon) to discuss latest portal and KYC status
Tong, Crystal           10/3/2023     1.0   Call with L. Chamma, C. Tong and J. Yan (A&M) regarding
                                            assignment work to Integreon for AWS data issue
Tong, Crystal           10/3/2023     0.8   Respond queries from FTX Customer Service addressing questions
                                            on claim status as of October 3, 2023
Tong, Crystal           10/3/2023     0.4   Call with B. Walsh and others (BitGo), R. Navarro (FTX), A.
                                            Mohammed, H. Chambers, M. Flynn, C. Tong, L. Chamma (A&M) to
                                            discuss institutional KYC matters
Tong, Crystal           10/3/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano (A&M) and R. Wendlick
                                            and others (Integreon) to host manual review daily catch up
Yan, Jack               10/3/2023     0.8   Perform quality check on the KYC review performed by Integreon
                                            UK team as at October 3, 2023
Yan, Jack               10/3/2023     3.1   Perform quality check on the KYC review performed by Integreon
                                            US team as at October 3, 2023
Yan, Jack               10/3/2023     0.4   Assign cases to Integreon team for manual review as at October 3,
                                            2023
Yan, Jack               10/3/2023     0.7   Answer queries from FTX Customer Service as at October 3, 2023

Yan, Jack               10/3/2023     1.3   Update manual review ticket tracker as at October 3, 2023

Zatz, Jonathan          10/3/2023     2.9   Determine root cause of some claims being duplicated after adding
                                            direct Kroll claims to consolidation
Zatz, Jonathan          10/3/2023     1.4   Script database related to request to identify direct Kroll claims that
                                            do no match to customer
Zatz, Jonathan          10/3/2023     1.8   Execute database script to consolidate claims data, incorporating
                                            direct Kroll claims

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Claims
Professional              Date    Hours    Activity
Zatz, Jonathan        10/3/2023     1.8   Execute database script to consolidate claims data from October 3

Arora, Rohan          10/4/2023     2.1   Incorporate changes to charts and tables on claims reporting deck to
                                          ensure accurate reporting of information
Arora, Rohan          10/4/2023     0.6   Match customer claims from claim register with related parties on
                                          schedule
Arora, Rohan          10/4/2023     2.2   Continue to match customer claims form register to schedule

Arora, Rohan          10/4/2023     0.5   Discussion with P. Avdellas, R. Arora, R. Esposito and L. Francis
                                          (A&M) re: Matching unmatched CUD customer schedules to claims
                                          register
Avdellas, Peter       10/4/2023     0.5   Discussion with P. Avdellas, D. Lewandowski (A&M) re: Corrupted or
                                          missing claim images from claims register
Avdellas, Peter       10/4/2023     0.6   Call with P. Avdellas, K. Kearney and L. Callerio (A&M) re: potential
                                          tracing opportunity
Avdellas, Peter       10/4/2023     1.4   Analyze unmatched customer contingent, unliquidated, or disputed
                                          claims over $250,000 to identify potential matched based on email
                                          address on file
Avdellas, Peter       10/4/2023     1.1   Analyze current claims within customer claim portal to include
                                          customer code to current consolidated customer and non-customer
                                          claims register
Avdellas, Peter       10/4/2023     1.3   Analyze unmatched customer contingent, unliquidated, or disputed
                                          claims over $250,000 to identify potential matched based on name
                                          on file
Avdellas, Peter       10/4/2023     0.5   Discussion with P. Avdellas, R. Arora, R. Esposito and L. Francis
                                          (A&M) re: Matching unmatched CUD customer schedules to claims
                                          register
Avdellas, Peter       10/4/2023     1.4   Analyze unmatched customer contingent, unliquidated, or disputed
                                          claims over $250,000 to identify potential matched based alternate
                                          name of file
Avdellas, Peter       10/4/2023     1.2   Analyze current claims within customer claim portal to include main
                                          account ID to current consolidated customer and non-customer
                                          claims register
Avdellas, Peter       10/4/2023     1.6   Analyze unmatched customer contingent, unliquidated, or disputed
                                          claims over $250,000 to identify potential matched based on
                                          customer code
Callerio, Lorenzo     10/4/2023     0.6   Call with P. Avdellas, K. Kearney and L. Callerio (A&M) re: potential
                                          tracing opportunity
Chambers, Henry       10/4/2023     0.9   Respond to creditor queries regarding KYC/AML requirements


Chambers, Henry       10/4/2023     0.7   Correspondence with S&C and A&M teams regarding information
                                          required for KYC process for original claimants that sold claims
Chamma, Leandro       10/4/2023     0.8   Draft spreadsheet with all KYC statutes for institutional and retail
                                          customers for purposes of due diligence request
Chamma, Leandro       10/4/2023     0.3   Research KYC legacy files related to cases escalated to A&M by
                                          manual reviewers




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Claims
Professional             Date     Hours    Activity
Chamma, Leandro       10/4/2023     0.1   Draft KYC application daily metrics for reporting purposes

Chamma, Leandro       10/4/2023     0.2   Draft daily update spreadsheet of claims portal high balance
                                          applicants that started KYC and the updated statutes for all high
                                          balance applicants
Chamma, Leandro       10/4/2023     0.7   Draft section related to institutional customers KYC rejections for
                                          report requested by S&C related to claims portal KYC applications
                                          rejected by the system and during enhanced due diligence
Chamma, Leandro       10/4/2023     0.6   Answer questions presented by claims portal customer support team
                                          related to applicant's KYC in order to assist on email and 2 factor
                                          authenticator reset requests
Chamma, Leandro       10/4/2023     1.9   Draft section related to retail customers KYC system rejections for
                                          report requested by S&C related to claims portal KYC applications
                                          rejected by the system and during enhanced due diligence
Chamma, Leandro       10/4/2023     1.2   Review spreadsheet sent by KYC tech vendor with list of KYC
                                          applications rejected due to forgery and the justification for each
                                          application
Chamma, Leandro       10/4/2023     1.7   Implement final edits report requested by S&C related to claims
                                          portal KYC applications rejected by the system and during enhanced
                                          due diligence
Chamma, Leandro       10/4/2023     1.9   Review claims portal high balance KYC applications on hold,
                                          approved and rejected by US and UK manual reviewers for purpose
                                          of quality control and issue spotting
Chan, Jon             10/4/2023     0.2   Call with J. Chan and K. Pestano (A&M) to discuss KYC document
                                          changes and user setting changes for an S&C request
Chan, Jon             10/4/2023     2.4   Investigate additional questions regarding know your customer and
                                          account setting changes for specific entity for A&M internal request
Esposito, Rob         10/4/2023     1.6   Review and analysis of material customer schedules and potentially
                                          related filed claims
Esposito, Rob         10/4/2023     0.8   Discussion with D. Lewandowski, S. Kotarba, and R. Esposito
                                          (A&M) Re: customer claim status
Esposito, Rob         10/4/2023     0.6   Call with L. Lambert, R. Esposito, and D. Lewandowski (A&M) re:
                                          potential tracing opportunity
Esposito, Rob         10/4/2023     0.4   Discussion with D. Lewandowski and R. Esposito (A&M) re:
                                          customer CUD claims matching
Esposito, Rob         10/4/2023     0.2   Discuss non-customer claims with L Francis and R Esposito (A&M)


Esposito, Rob         10/4/2023     0.6   Review and modification to the claims presentation prior to sending
                                          draft
Esposito, Rob         10/4/2023     0.3   Review and response to claims related inquiries

Esposito, Rob         10/4/2023     0.3   Review of parties-in-interest data to prepare for discussion


Esposito, Rob         10/4/2023     0.3   Discuss GUC claims bridge with L Francis (A&M)

Esposito, Rob         10/4/2023     0.3   Review of C/U/D scheduled claims report



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Claims
Professional             Date    Hours    Activity
Esposito, Rob        10/4/2023     1.6   Prepare updated draft of claims reconciliation presentation

Esposito, Rob        10/4/2023     0.4   Discussion with D. Lewandowski, R. Esposito, S. Kotarba, A.
                                         Mohammed, K. Ramanathan (A&M), S. Perry, J. Daloia, M. Dubin
                                         (Kroll) to discuss claims portal updates and customer claim issues
Esposito, Rob        10/4/2023     0.5   Discussion with P. Avdellas, R. Arora, R. Esposito and L. Francis
                                         (A&M) re: Matching unmatched CUD customer schedules to claims
                                         register
Esposito, Rob        10/4/2023     0.4   Review of claims presentation to understand information that should
                                         be flagged on professional eyes only
Flynn, Matthew       10/4/2023     0.5   Call with M. Flynn, A. Mohammed (A&M) to discuss Sygnia data
                                         security work
Flynn, Matthew       10/4/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M) to discuss customer
                                         support responses
Flynn, Matthew       10/4/2023     0.7   Review of BitGo Institutional KYC data retention process and
                                         procedures
Flynn, Matthew       10/4/2023     0.9   Review of customer support tickets related to spam and phishing
                                         questions
Flynn, Matthew       10/4/2023     0.9   Prepare management KPI daily reporting update

Flynn, Matthew       10/4/2023     1.2   Draft claims portal customer support e-mails


Flynn, Matthew       10/4/2023     0.6   Correspond with SumSub KYC data request

Flynn, Matthew       10/4/2023     0.4   Review of historical support tickets trends over time

Francis, Luke        10/4/2023     0.4   Call with L. Francis and D. Slay (A&M) re: Discuss class 5 bridging
                                         items to latest claims register
Francis, Luke        10/4/2023     1.8   Review of claimant assertions for basis of claim to update claim
                                         bucketing
Francis, Luke        10/4/2023     1.4   Review of GUC claims for reconciliation based on updated claims
                                         register
Francis, Luke        10/4/2023     0.8   Review of claim estimates for loans payable to scheduled claim
                                         amounts
Francis, Luke        10/4/2023     0.2   Discuss non-customer claims with L Francis and R Esposito (A&M)


Francis, Luke        10/4/2023     0.3   Discuss GUC claims bridge with L Francis and R Esposito (A&M)

Francis, Luke        10/4/2023     1.1   Search for claimant - debtor relationship within company records

Francis, Luke        10/4/2023     0.5   Discussion with P. Avdellas, R. Arora, R. Esposito and L. Francis
                                         (A&M) re: Matching unmatched CUD customer schedules to claims
                                         register
Glustein, Steven     10/4/2023     0.3   Correspondence with J. MacDonald regarding updated token claim
                                         statement



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Claims
Professional              Date     Hours    Activity
Hubbard, Taylor        10/4/2023     1.4   Implement the CUD customer claims matching assignment

Hubbard, Taylor        10/4/2023     3.1   Perform CUD customer claims matching exercise


Hubbard, Taylor        10/4/2023     0.5   Discussion with T. Hubbard, S. Kotarba, D. Lewandowski, and C.
                                           Myers (A&M) re: Matching unmatched CUD customer schedules to
                                           claims register
Karnik, Noorita        10/4/2023     0.7   Continue to review, classify and process previous and new requests
                                           in the Claims Privacy Inbox on 05/10
Karnik, Noorita        10/4/2023     0.3   Review, classify and process previous and new requests in the
                                           Claims Privacy Inbox on 05/10
Kearney, Kevin         10/4/2023     0.6   Call with P. Avdellas, K. Kearney and L. Callerio (A&M) re: potential
                                           tracing opportunity
Kotarba, Steve         10/4/2023     0.8   Discussion with D. Lewandowski, S. Kotarba, and R. Esposito
                                           (A&M) Re: customer claim status
Kotarba, Steve         10/4/2023     1.7   Analyze claims to update claims reporting decks


Kotarba, Steve         10/4/2023     0.3   Discussion with D. Lewandowski, R. Esposito, S. Kotarba, A.
                                           Mohammed, K. Ramanathan (A&M), S. Perry, J. Daloia, M. Dubin
                                           (Kroll) to discuss claims portal updates and customer claim issues
Kotarba, Steve         10/4/2023     0.5   Discussion with T. Hubbard, S. Kotarba, D. Lewandowski, and C.
                                           Myers (A&M) re: Matching unmatched CUD customer schedules to
                                           claims register
Lambert, Leslie        10/4/2023     0.6   Call with L. Lambert, R. Esposito, D. Lewandowski (A&M) re:
                                           potential tracing opportunity
Lewandowski, Douglas   10/4/2023     0.5   Discussion with P. Avdellas, D. Lewandowski (A&M) re: Corrupted or
                                           missing claim images from claims register
Lewandowski, Douglas   10/4/2023     0.4   Discussion with D. Lewandowski and R. Esposito (A&M) re:
                                           customer CUD claims matching
Lewandowski, Douglas   10/4/2023     0.8   Discussion with D. Lewandowski, S. Kotarba, and R. Esposito
                                           (A&M) Re: customer claim status
Lewandowski, Douglas   10/4/2023     0.6   Call with L. Lambert, R. Esposito, D. Lewandowski (A&M) re:
                                           potential tracing opportunity
Lewandowski, Douglas   10/4/2023     0.7   Reconcile AP claims to schedule invoices to identify discrepancies
                                           with FTX books
Lewandowski, Douglas   10/4/2023     0.6   Prepare response to Japan related claim diligence request for S&C

Lewandowski, Douglas   10/4/2023     0.1   Correspond with A&M team re: customer claim issues and open
                                           items
Lewandowski, Douglas   10/4/2023     1.5   Review top unmatched CUD claims for potential matching

Lewandowski, Douglas   10/4/2023     0.5   Discussion with T. Hubbard, S. Kotarba, D. Lewandowski, and C.
                                           Myers (A&M) re: Matching unmatched CUD customer schedules to
                                           claims register
Lewandowski, Douglas   10/4/2023     0.3   Discussion with D. Lewandowski, R. Esposito, S. Kotarba, A.
                                           Mohammed, K. Ramanathan (A&M), S. Perry, J. Daloia, M. Dubin
                                           (Kroll) to discuss claims portal updates and customer claim issues

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Claims
Professional              Date     Hours    Activity
Mohammed, Azmat        10/4/2023     2.2   Collaborate with cyber teams and legal counsel to identify and
                                           remediate the causes of phishing attempts
Mohammed, Azmat        10/4/2023     2.8   Support FTX Customer Support and KYC Manual reviewing teams
                                           with technical matters on 10/4/23
Mohammed, Azmat        10/4/2023     1.4   Draft and revise communications (tweet and emails) related to the
                                           phishing attack
Mohammed, Azmat        10/4/2023     0.5   Call with M. Flynn, A. Mohammed (A&M) to discuss Sygnia data
                                           security work
Mohammed, Azmat        10/4/2023     2.3   Review phishing emails and other diagnostic data related to phishing
                                           attack
Mohammed, Azmat        10/4/2023     0.4   Support engineering efforts related to claims portal analytics
                                           dashboard
Mohammed, Azmat        10/4/2023     0.4   Call with C. Cox, D. Longan and others (MetaLab) and A.
                                           Mohammed (A&M) to discuss development on daily standup for
                                           10/4/23
Mohammed, Azmat        10/4/2023     0.4   Discussion with D. Lewandowski, R. Esposito, S. Kotarba, A.
                                           Mohammed, K. Ramanathan (A&M), S. Perry, J. Daloia, M. Dubin
                                           (Kroll) to discuss claims portal updates and customer claim issues
Mosley, Ed             10/4/2023     0.8   Review of non-customer claim reconciliation draft for use with UCC
                                           members
Myers, Claire          10/4/2023     1.2   Match filed customer claims to scheduled customer claims


Myers, Claire          10/4/2023     0.5   Discussion with T. Hubbard, S. Kotarba, D. Lewandowski, and C.
                                           Myers (A&M) re: Matching unmatched CUD customer schedules to
                                           claims register
Pestano, Kyle          10/4/2023     0.4   Discuss mapping exercise of FTX Legacy Data accounts and KYC
                                           status of all the customers for S&C request
Pestano, Kyle          10/4/2023     1.0   Review FTX Legacy KYC policies in order to respond to an S&C
                                           request regarding KYC documents and user setting changes
Pestano, Kyle          10/4/2023     0.8   Review FTX Legacy Data accounts and KYC status in order to
                                           request documentation of specific customers for S&C request
Pestano, Kyle          10/4/2023     0.2   Call with J. Chan and K. Pestano (A&M) to discuss KYC document
                                           changes and user setting changes for an S&C request
Pestano, Kyle          10/4/2023     0.4   Analyze Daily KYC reporting stats and follow up with Sumsub


Pestano, Kyle          10/4/2023     3.1   Investigate EDD manual review cases with foreign source of funds,
                                           docs requested and high risk industry/jurisdiction tags from
                                           contractor review
Pestano, Kyle          10/4/2023     0.4   Call with P. McGrath and K. Pestano (A&M) to discuss preferential
                                           withdrawals, KYC document changes and user setting changes for
                                           an S&C request
Pestano, Kyle          10/4/2023     1.2   Analyze preferential payments, KYC level changes, and user
                                           settings changes for an S&C request and draft an email to counsel
                                           summarizing all of the findings/details
Ramanathan, Kumanan    10/4/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M) to discuss customer
                                           support responses



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Claims
Professional               Date     Hours    Activity
Ramanathan, Kumanan     10/4/2023     0.3   Discussion with D. Lewandowski, R. Esposito, S. Kotarba, A.
                                            Mohammed, K. Ramanathan (A&M), S. Perry, J. Daloia, M. Dubin
                                            (Kroll) to discuss claims portal updates and customer claim issues
Sivapalu, Anan          10/4/2023     1.1   Look through all coin data providers to gauge whom can supply
                                            circulating supply data
Sivapalu, Anan          10/4/2023     2.5   Look through API documentation a way to retrieve/calculate
                                            circulating supply
Sivapalu, Anan          10/4/2023     2.2   Develop python code to retrieve OHLCV data from data provider API
                                            call
Sivapalu, Anan          10/4/2023     0.3   Draft email to external claims group to inform them of coin data
                                            nuisances
Sivapalu, Anan          10/4/2023     1.1   Audit retrieved data to gauge continuity/missing data points

Slay, David             10/4/2023     0.4   Call with L. Francis and D. Slay (A&M) re: Discuss class 5 bridging
                                            items to latest claims register
Tong, Crystal           10/4/2023     0.8   Respond queries from FTX Customer Service addressing questions
                                            on claim status as of October 4, 2023
Tong, Crystal           10/4/2023     2.0   Conduct checking and fixing on the mismatching data on the KYC
                                            portal
Tong, Crystal           10/4/2023     3.1   Perform quality check on the manual KYC for the retail of customers


Tong, Crystal           10/4/2023     2.1   Compile all the quality check working in response to the manual
                                            KYC review team
Walia, Gaurav           10/4/2023     1.2   Review the output file for the valuation expert and provide feedback


Yan, Jack               10/4/2023     1.0   Call with L. Chamma, C. Tong and J. Yan (A&M) regarding
                                            assignment work to Integreon for AWS data issue
Yan, Jack               10/4/2023     0.7   Answer questions from Integreon UK team regarding quality check
                                            on KYC decision as at October 4, 2023
Yan, Jack               10/4/2023     2.6   Perform quality check on the KYC review performed by Integreon
                                            US team as at October 4, 2023
Yan, Jack               10/4/2023     1.1   Answer queries from FTX Customer Service as at October 4, 2023

Yan, Jack               10/4/2023     0.9   Assign cases to Integreon team for manual review as at October 4,
                                            2023
Yan, Jack               10/4/2023     0.8   Update manual review ticket tracker as at October 4, 2023

Zatz, Jonathan          10/4/2023     1.6   Script database related to request for scheduled customers with
                                            contingent flag due to locked tokens only
Arora, Rohan            10/5/2023     3.1   Correlate customer claims recorded in the claim register with related
                                            parties listed in the schedule
Arora, Rohan            10/5/2023     2.7   Associate customer claims from the claim register with the
                                            connected related parties identified on the schedule
Arora, Rohan            10/5/2023     0.6   Continue incorporating edits to new iteration of claims reporting deck




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Claims
Professional              Date    Hours    Activity
Avdellas, Peter       10/5/2023     0.7   Analyze claims registered with Quoined Pte Ltd to capture all
                                          relevant claim information for diligence request
Avdellas, Peter       10/5/2023     1.1   Analyze current claims register to identify IRS claims that have been
                                          marked for objection for diligence request
Avdellas, Peter       10/5/2023     0.4   Discussion with P. Avdellas, R. Esposito, L. Francis, D.
                                          Lewandowski (A&M) re: Amended claims reconciliation
Avdellas, Peter       10/5/2023     1.4   Analyze proof of claim for all amended IRS claims that to identify
                                          differences in amended and amending claims
Avdellas, Peter       10/5/2023     1.1   Discussion with P. Avdellas, D. Lewandowski (A&M) re: FTX Japan
                                          claims diligence request
Avdellas, Peter       10/5/2023     1.2   Discussion with P. Avdellas and D. Lewandowski (A&M) re: IRS
                                          claim amendments diligence request
Avdellas, Peter       10/5/2023     1.3   Analyze claims registered with FTX Japan K.K. or FTX Japan
                                          Holdings K.K. to capture all relevant claim information for diligence
                                          request
Avdellas, Peter       10/5/2023     1.6   Analyze proof of claim for all IRS claims to triage claims and ensure
                                          all relevant information is being accurately captured
Avdellas, Peter       10/5/2023     1.3   Analyze current claims register to identify all IRS claims that have
                                          been withdrawn and capture all relevant information for diligence
                                          request
Avdellas, Peter       10/5/2023     1.2   Analyze current claims register to identify all IRS claims that have
                                          been amended and capture all relevant information for diligence
                                          request
Avdellas, Peter       10/5/2023     1.6   Analyze claims registered with Liquid Securities Singapore Pte Ltd.
                                          to capture all relevant claim information for diligence request
Chambers, Henry       10/5/2023     0.5   Call with A. Kranzley (S&C), H. Chambers, R. Esposito, J. Yan, C.
                                          Tong (A&M) to discuss weekly KYC updates
Chambers, Henry       10/5/2023     0.6   Correspondence with S&C and BitGo regarding BitGo provision of
                                          access to underlying KYC information
Chambers, Henry       10/5/2023     0.7   Prepare analysis on transferred claims to understand Secondary
                                          Holder KYC population
Chambers, Henry       10/5/2023     0.6   Correspondence with A&M team regarding updated approach to
                                          KYC for secondary holders
Chambers, Henry       10/5/2023     0.7   Prepare for call with FTX Management regarding KYC process for
                                          secondary holders
Chambers, Henry       10/5/2023     1.3   Analysis of KYC status of claimants that sold claims to secondary
                                          holders
Chambers, Henry       10/5/2023     1.7   Review of examples of KYC failure documents for provision to S&C


Chambers, Henry       10/5/2023     0.5   Call with E. Mosley, S. Coverick, K. Ramanathan, H. Chambers
                                          (A&M), S. Levin, A. Kranzley (S&C) J. Ray regarding KYC
                                          requirements for transferred claims
Chambers, Henry       10/5/2023     1.0   Call with H. Chambers, L. Chamma, K. Pestano (A&M), J.
                                          Rosenfeld, C. Dunne, L. Ross (S&C) to discuss categories of
                                          customer claim AML status
Chamma, Leandro       10/5/2023     0.5   Call with A. Kranzley (S&C), A. Mohammed, L. Chamma, M. Flynn,
                                          K. Pestano (A&M) to discuss weekly KYC updates

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Professional             Date     Hours    Activity
Chamma, Leandro       10/5/2023     0.4   Call with L. Chamma and C. Tong (A&M) to discuss institutional
                                          KYC data transfer
Chamma, Leandro       10/5/2023     0.2   Adjust KYC applications rejected by KYC vendor system due to
                                          duplication
Chamma, Leandro       10/5/2023     0.8   Draft final spreadsheet with all KYC statutes for institutional and
                                          retail customers for purposes of due diligence request
Chamma, Leandro       10/5/2023     1.1   Research on Bitgo database information about KYC status of
                                          instructional customers that sold their claims to secondary claim
                                          holders
Chamma, Leandro       10/5/2023     1.0   Call with H. Chambers, L. Chamma, K. Pestano (A&M), J.
                                          Rosenfeld, C. Dunne, L. Ross (S&C) to discuss categories of
                                          customer claim AML statuses
Chamma, Leandro       10/5/2023     2.2   Review claims portal high balance KYC applications on hold,
                                          approved and rejected by US and UK manual reviewers for purpose
                                          of quality control and issue spotting
Chamma, Leandro       10/5/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano (A&M) and R. Wendlick
                                          and others (Integreon) to conduct manual review daily catch up
Chamma, Leandro       10/5/2023     0.9   Monitor claims portal customer support chat to provide clarifications
                                          regarding 2 factor authentication resets and KYC status
Chamma, Leandro       10/5/2023     0.3   Research legacy KYC files on Relativity to provide feedback for high
                                          balance application escalated from manual reviewers because of
                                          data inconsistency
Chamma, Leandro       10/5/2023     0.3   Provide feedback to UK and US manual reviewers regarding cases
                                          on enhanced due diligence escalated for second level review
Chamma, Leandro       10/5/2023     0.3   Call with L. Chamma, C. Tong, K. Pestano (A&M), R. Wendlick
                                          (Integreon), R. Navarro (FTX), C. Alviarez (Sumsub) to discuss
                                          latest portal and KYC status
Chan, Jon             10/5/2023     2.2   Investigate questions for know your customer and account setting
                                          changes for specific entity for A&M internal request
Chan, Jon             10/5/2023     0.4   Call with J. Chan and K. Pestano (A&M) to discuss user setting
                                          changes for an S&C request
Coverick, Steve       10/5/2023     1.1   Review and provide comments on revised claims reconciliation
                                          status report for creditor groups
Coverick, Steve       10/5/2023     0.3   Discuss claims reconciliation status report with R. Esposito (A&M)

Coverick, Steve       10/5/2023     0.5   Call with E. Mosley, S. Coverick, K. Ramanathan, H. Chambers
                                          (A&M), S. Levin, A. Kranzley (S&C) J. Ray regarding KYC
                                          requirements for transferred claims
Esposito, Rob         10/5/2023     0.5   Call with A. Kranzley (S&C), H. Chambers, R. Esposito, J. Yan, C.
                                          Tong (A&M) to discuss weekly KYC updates
Esposito, Rob         10/5/2023     0.4   Discussion with P. Avdellas, R. Esposito, L. Francis, D.
                                          Lewandowski (A&M) re: Amended claims reconciliation
Esposito, Rob         10/5/2023     0.3   Call with R. Esposito and L Francis (A&M) re: updates to the non-
                                          customer/non-governmental claims overview
Esposito, Rob         10/5/2023     0.3   Review of trade claim data to coordinate analysis of trade claims
                                          reconciliation



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Claims
Professional             Date    Hours    Activity
Esposito, Rob        10/5/2023     1.4   Prepare revised non-customer / non-governmental claims
                                         presentation for public view
Esposito, Rob        10/5/2023     0.3   Review of contingent scheduled claim analysis for presentation to
                                         S&C team
Esposito, Rob        10/5/2023     0.2   Discuss changes to the claims presentation with L Francis and R
                                         Esposito (A&M)
Esposito, Rob        10/5/2023     0.7   Coordinate and review claims team tasks and workstreams for
                                         claims reconciliations
Esposito, Rob        10/5/2023     0.8   Prepare additional updates to the claims overview presentation


Esposito, Rob        10/5/2023     0.4   Review of claimant redaction measures for public presentation

Esposito, Rob        10/5/2023     0.3   Discuss claims reconciliation status report with S Coverick (A&M)


Esposito, Rob        10/5/2023     0.5   Discussion with D Lewandowski and R Esposito (A&M)

Esposito, Rob        10/5/2023     2.4   Review of IRS claims to summarize for FTX management


Flynn, Matthew       10/5/2023     0.6   Call with M. Flynn and K. Pestano (A&M) to discuss FTX customer
                                         listing and grouping by KYC status and customer type
Flynn, Matthew       10/5/2023     0.5   Call with A. Kranzley (S&C), A. Mohammed, L. Chamma, M. Flynn,
                                         K. Pestano (A&M) to discuss weekly KYC updates
Flynn, Matthew       10/5/2023     0.4   Call with M. Flynn, A. Mohammed , R. Johnson (A&M) to discuss
                                         AWS data storage
Flynn, Matthew       10/5/2023     0.9   Update customer portal dashboard for management

Flynn, Matthew       10/5/2023     0.7   Review of KYC/AML customer statuses for S&C


Flynn, Matthew       10/5/2023     0.3   Call with A. Mohammed, M. Flynn (A&M), R. Wendlick (Integreon),
                                         R. Navarro (FTX), C. Alviarez (Sumsub) to discuss latest portal and
                                         KYC status
Flynn, Matthew       10/5/2023     0.5   Call with M. Neufeld (BitGo), R. Navarro (FTX), A. Mohammed, M.
                                         Flynn, C. Tong, R. Johnson (A&M) to discuss institutional KYC
                                         matters
Francis, Luke        10/5/2023     0.4   Discussion with P. Avdellas, R. Esposito, L. Francis, D.
                                         Lewandowski (A&M) re: Amended claims reconciliation
Francis, Luke        10/5/2023     0.3   Call with R. Esposito and L Francis (A&M) re: updates to the non-
                                         customer/non-governmental claims overview
Francis, Luke        10/5/2023     0.2   Discuss changes to the claims presentation with L Francis and R
                                         Esposito (A&M)
Francis, Luke        10/5/2023     2.4   Update non-customer claims summary based on feedback from
                                         leadership
Francis, Luke        10/5/2023     0.8   Analysis of new IRS claims with reconciliation of amended claims

Francis, Luke        10/5/2023     1.6   Review of customer claims filed with limited to no trading activity



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Claims
Professional               Date    Hours    Activity
Francis, Luke          10/5/2023     1.6   Reconcile treasury claims for loan payables to scheduled amounts

Francis, Luke          10/5/2023     2.2   Reconcile AP trade claims filed to company records for adjustments


Hubbard, Taylor        10/5/2023     1.8   Execute CUD customer claims matching assignment

Hubbard, Taylor        10/5/2023     2.6   Conduct CUD customer claims matching task

Hubbard, Taylor        10/5/2023     1.8   Undertake the task of CUD customer claims matching


Hubbard, Taylor        10/5/2023     1.1   Carry out the task of CUD customer claims matching

Johnson, Robert        10/5/2023     0.4   Call with M. Flynn, A. Mohammed , R. Johnson (A&M) to discuss
                                           AWS data storage
Johnson, Robert        10/5/2023     0.5   Call with M. Neufeld (BitGo), R. Navarro (FTX), A. Mohammed, M.
                                           Flynn, C. Tong, R. Johnson (A&M) to discuss institutional KYC
                                           matters
Kotarba, Steve         10/5/2023     0.3   Discussion with S. Kotarba and C. Myers (A&M) re: priority claims

Kotarba, Steve         10/5/2023     2.8   Review non-customer claims (HR) for accept / reject


Kotarba, Steve         10/5/2023     1.1   Provide updates to non-customer analysis (AP)

Kotarba, Steve         10/5/2023     2.3   Update claims waterfall reporting and objection marking


Kotarba, Steve         10/5/2023     1.3   Prepare non-substantive objections for filing

Lewandowski, Douglas   10/5/2023     0.4   Discussion with P. Avdellas, R. Esposito, L. Francis, D.
                                           Lewandowski (A&M) re: Amended claims reconciliation
Lewandowski, Douglas   10/5/2023     1.2   Discussion with P. Avdellas and D. Lewandowski (A&M) re: IRS
                                           claim amendments diligence request
Lewandowski, Douglas   10/5/2023     1.1   Discussion with P. Avdellas, D. Lewandowski (A&M) re: FTX Japan
                                           claims diligence request
Lewandowski, Douglas   10/5/2023     0.7   Review customer to claim matching to identify variances to establish
                                           reconciliation priorities
Lewandowski, Douglas   10/5/2023     0.4   Correspond with claimant re: withdrawal process related to filed
                                           customer claims
Lewandowski, Douglas   10/5/2023     1.3   Review newly transferred claims for implementation into customer
                                           claims portal
Lewandowski, Douglas   10/5/2023     0.4   Identify transferred customer portal claims for potential updates

Lewandowski, Douglas   10/5/2023     1.6   Prepare analysis related to customer claims for UCC diligence
                                           request
Lewandowski, Douglas   10/5/2023     1.4   Research contingent locked tokens for schedule amendment
                                           analysis


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Claims
Professional               Date    Hours    Activity
Lewandowski, Douglas   10/5/2023     0.3   Review customer inquiries related to accepted schedules

Mohammed, Azmat        10/5/2023     0.5   Call with A. Kranzley (S&C), A. Mohammed, L. Chamma, M. Flynn,
                                           K. Pestano (A&M) to discuss weekly KYC updates
Mohammed, Azmat        10/5/2023     0.5   Call with A Mohammed and K. Pestano (A&M) to discuss KYC user
                                           setting changes and FTX legacy code for an S&C request
Mohammed, Azmat        10/5/2023     0.4   Call with M. Flynn, A. Mohammed , R. Johnson (A&M) to discuss
                                           AWS data storage
Mohammed, Azmat        10/5/2023     0.4   Coordinate closedown activities with MetaLab


Mohammed, Azmat        10/5/2023     1.6   Support FTX Customer Support and KYC Manual reviewing teams
                                           with technical matters on 10/5/23 related to access issues and
                                           customer inquiries
Mohammed, Azmat        10/5/2023     0.6   Call with D. Longan, C. Cox (MetaLab), D. Chiu (FTX), A.
                                           Mohammed (A&M) to discuss claims portal handover resources and
                                           recommendations
Mohammed, Azmat        10/5/2023     0.8   Call with A Mohammed and K. Pestano (A&M) to review KYC level
                                           changes on the exchange and FTX legacy code updates for an S&C
                                           request
Mohammed, Azmat        10/5/2023     2.1   Coordinate efforts related to phishing attack response (emailing FTX
                                           customers, building Customer Service process, etc.)
Mohammed, Azmat        10/5/2023     0.9   Research legacy KYC rules and policies in code base and published
                                           help center
Mohammed, Azmat        10/5/2023     0.5   Call with M. Neufeld (BitGo), R. Navarro (FTX), A. Mohammed, M.
                                           Flynn, C. Tong, R. Johnson (A&M) to discuss institutional KYC
                                           matters
Mohammed, Azmat        10/5/2023     0.4   Call with C. Cox, D. Longan and others (MetaLab) N. Molina and
                                           others (FTX) and A. Mohammed (A&M) to discuss development
                                           efforts on daily standup on 10/5/23
Mohammed, Azmat        10/5/2023     0.3   Call with A. Mohammed, M. Flynn (A&M), R. Wendlick (Integreon),
                                           R. Navarro (FTX), C. Alviarez (Sumsub) to discuss latest portal and
                                           KYC status
Mosley, Ed             10/5/2023     0.3   Discuss KYC with J.Ray (FTX)

Mosley, Ed             10/5/2023     0.5   Call with E. Mosley, S. Coverick, K. Ramanathan, H. Chambers
                                           (A&M), S. Levin, A. Kranzley (S&C) J. Ray regarding KYC
                                           requirements for transferred claims
Myers, Claire          10/5/2023     1.4   Analyze non substantive duplicate claims to prepare objection
                                           review file
Myers, Claire          10/5/2023     1.1   Update master claims list with links to POC for internal review

Myers, Claire          10/5/2023     1.8   Analyze filed customer claims to match to scheduled customer
                                           claims
Myers, Claire          10/5/2023     0.3   Discussion with S. Kotarba and C. Myers (A&M) re: priority claims

Myers, Claire          10/5/2023     1.3   Update internal master PII list with additional SS parties



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Claims
Professional             Date     Hours    Activity
Pestano, Kyle         10/5/2023     0.5   Call with A. Kranzley (S&C), A. Mohammed, L. Chamma, M. Flynn,
                                          K. Pestano (A&M) to discuss weekly KYC updates
Pestano, Kyle         10/5/2023     0.5   Call with A Mohammed and K. Pestano (A&M) to discuss KYC user
                                          setting changes and FTX legacy code for an S&C request
Pestano, Kyle         10/5/2023     0.6   Call with M. Flynn and K. Pestano (A&M) to discuss FTX customer
                                          listing and grouping by KYC status and customer type
Pestano, Kyle         10/5/2023     0.4   Call with J. Chan and K. Pestano (A&M) to discuss user setting
                                          changes for an S&C request
Pestano, Kyle         10/5/2023     0.4   Coordinate with other teams and personnel for an S&C data request
                                          regarding user setting changes
Pestano, Kyle         10/5/2023     0.4   Analyze FTX customer listing and grouping by KYC status and
                                          customer type
Pestano, Kyle         10/5/2023     0.6   Analyze the complete FTX customer listing and summarize by KYC
                                          status and type
Pestano, Kyle         10/5/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano (A&M) and R. Wendlick
                                          and others (Integreon) to conduct manual review daily catch up
Pestano, Kyle         10/5/2023     0.3   Call with L. Chamma, C. Tong, K. Pestano (A&M), R. Wendlick
                                          (Integreon), R. Navarro (FTX), C. Alviarez (Sumsub) to discuss
                                          latest portal and KYC status
Pestano, Kyle         10/5/2023     1.0   Call with H. Chambers, L. Chamma, K. Pestano (A&M), J.
                                          Rosenfeld, C. Dunne, L. Ross (S&C) to discuss categories of
                                          customer claim AML statuses
Pestano, Kyle         10/5/2023     1.2   Review second level initiated EDD review cases with complex bank
                                          statements or docs requested and high risk industry/jurisdiction tags
Pestano, Kyle         10/5/2023     0.8   Call with A Mohammed and K. Pestano (A&M) to review KYC level
                                          changes on the exchange and FTX legacy code updates for an S&C
                                          request
Pestano, Kyle         10/5/2023     1.4   Investigate follow up questions from S&C regarding user
                                          setting/KYC policy changes by investigating/researching KYC
                                          policies and discussing with the data team on specific data
                                          issues/timeline changes
Pestano, Kyle         10/5/2023     2.3   Review complex EDD review cases with foreign docs requested and
                                          high risk industry/jurisdiction tags from European contractors
Pestano, Kyle         10/5/2023     0.9   Consolidate/summarize all the facts from investigating/researching
                                          KYC policies and discussing with the data team before responding
                                          to S&C
Ramanathan, Kumanan   10/5/2023     0.5   Call with E. Mosley, S. Coverick, K. Ramanathan, H. Chambers
                                          (A&M), S. Levin, A. Kranzley (S&C) J. Ray regarding KYC
                                          requirements for transferred claims
Sivapalu, Anan        10/5/2023     1.4   Research actual names of coins with conflicting cryptocurrency
                                          symbols via internally used values on petition date
Sivapalu, Anan        10/5/2023     1.8   Research actual names of coins with conflicting cryptocurrency
                                          symbols via external search
Sivapalu, Anan        10/5/2023     0.6   Put together coin data map from all provider to be shared with
                                          external consultants
Sivapalu, Anan        10/5/2023     1.0   Write python code to retrieve coin attributes from data providers as a
                                          means to identify crypto currencies with conflicting symbols


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Claims
Professional                Date    Hours    Activity
Sullivan, Christopher   10/5/2023     0.6   Provide comments to the updated customer claims schedule

Tong, Crystal           10/5/2023     0.5   Call with A. Kranzley (S&C), H. Chambers, R. Esposito, J. Yan, C.
                                            Tong (A&M) to discuss weekly KYC updates
Tong, Crystal           10/5/2023     3.1   Review and resolve AWS mismatch and problematic cases raised
                                            by the manual KYC review teams
Tong, Crystal           10/5/2023     0.4   Call with L. Chamma and C. Tong (A&M) to discuss institutional
                                            KYC data transfer
Tong, Crystal           10/5/2023     1.1   Compile all the quality check working on the manual KYC review


Tong, Crystal           10/5/2023     3.1   Perform quality check on the manual KYC for the retail of applicants

Tong, Crystal           10/5/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano (A&M) and R. Wendlick
                                            and others (Integreon) to conduct manual review daily catch up
Tong, Crystal           10/5/2023     0.5   Call with M. Neufeld (BitGo), R. Navarro (FTX), A. Mohammed, M.
                                            Flynn, C. Tong, R. Johnson (A&M) to discuss institutional KYC
                                            matters
Tong, Crystal           10/5/2023     0.3   Call with L. Chamma, C. Tong, K. Pestano (A&M), R. Wendlick
                                            (Integreon), R. Navarro (FTX), C. Alviarez (Sumsub) to discuss
                                            latest portal and KYC status
Yan, Jack               10/5/2023     0.5   Call with A. Kranzley (S&C), H. Chambers, R. Esposito, J. Yan, C.
                                            Tong (A&M) to discuss weekly KYC updates
Yan, Jack               10/5/2023     2.9   Perform quality check on the KYC review performed by Integreon
                                            US team as at October 5, 2023
Yan, Jack               10/5/2023     0.7   Assign cases to Integreon UK team for manual review as at October
                                            5, 2023
Yan, Jack               10/5/2023     0.8   Answer queries from FTX Customer Service as at October 5, 2023


Yan, Jack               10/5/2023     1.7   Update manual review ticket tracker as at October 5, 2023

Yan, Jack               10/5/2023     0.4   Search the KYC status for the list of original claimants


Zatz, Jonathan          10/5/2023     1.1   Script database related to request to identify missing customer
                                            codes for provided customers
Zatz, Jonathan          10/5/2023     0.8   Script database related to determine root cause in perceived
                                            discrepancy in customer balance
Zatz, Jonathan          10/5/2023     0.9   Script database related to request to search for claims related to
                                            specific creditor
Arora, Rohan            10/6/2023     1.1   Match customer claims from the claim register to their respective
                                            related parties as indicated on the schedule
Arora, Rohan            10/6/2023     0.3   Discussion with R. Arora and L. Francis (A&M) re: adjusted to class
                                            5 claims bridge graph
Arora, Rohan            10/6/2023     0.7   Ensure visuals on claims reporting deck reflect current claims data
                                            and statuses
Arora, Rohan            10/6/2023     1.9   begin compiling data to create adjusted to class 5 claims bridge



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Claims
Professional             Date     Hours    Activity
Arora, Rohan          10/6/2023     1.2   begin Creating adjusted to class 5 claims bridge

Avdellas, Peter       10/6/2023     1.3   Analyze unmatched customer contingent, unliquidated, or disputed
                                          claims between $100,000 and $250,000 to identify potential matches
                                          based on name on file
Avdellas, Peter       10/6/2023     1.4   Analyze unmatched customer contingent, unliquidated, or disputed
                                          claims between $100,000 and $250,000 to identify potential matches
                                          based on email address on file
Avdellas, Peter       10/6/2023     1.3   Review presentation materials related to both customer and non-
                                          customer claims to ensure claim information is accurately being
                                          represented
Avdellas, Peter       10/6/2023     1.1   Analyze unmatched customer contingent, unliquidated, or disputed
                                          claims between $100,000 and $250,000 to identify potential matches
                                          based on customer code
Avdellas, Peter       10/6/2023     1.6   Analyze claims in current register to update reconciliation status to
                                          accurately reflect status of claim based on specific set of criteria
Chambers, Henry       10/6/2023     0.5   Call with M. Flynn, H. Chambers (A&M) to discuss secondary claims
                                          presentation
Chambers, Henry       10/6/2023     1.1   Respond to FTX Japan management on claims made against FTX
                                          Japan and Quoine PTE
Chambers, Henry       10/6/2023     0.6   Correspondence with S&C regarding updates to FAQs


Chamma, Leandro       10/6/2023     0.8   Monitor claims portal customer support chat to provide clarifications
                                          regarding 2 factor authentication resets
Chamma, Leandro       10/6/2023     1.4   Research KYC legacy files on Relativity to investigate claims portal
                                          KYC applications without legacy names populated
Chamma, Leandro       10/6/2023     2.3   Review claims portal KYC applications with discrepancy between
                                          legacy KYC data and data provided in the claims portal
Chamma, Leandro       10/6/2023     0.2   Call with L. Chamma (A&M) and R. Wendlick (Integreon) to discuss
                                          manual review processes
Chamma, Leandro       10/6/2023     0.4   Call with L. Chamma and M. Flynn (A&M) to discuss S&C KYC data
                                          request
Chamma, Leandro       10/6/2023     0.6   Review breakdown of FTX customers and customers that actually
                                          initiated KYC on claims portal for purposes of reporting to S&C
Esposito, Rob         10/6/2023     0.5   Discussion with A. Kranzley (S&C), R. Esposito, and D.
                                          Lewandowski (A&M) re: customer schedule amendments
Esposito, Rob         10/6/2023     0.6   Discussion with J. Zatz, R. Esposito, and R. Johnson (A&M) re:
                                          customer schedule amendments
Esposito, Rob         10/6/2023     0.3   Discussion with D. Lewandowski, R. Esposito, and C. Myers (A&M)
                                          re: amended claims objections
Esposito, Rob         10/6/2023     0.4   Discussion with R Esposito and L Francis (A&M) to review the
                                          claims presentation
Esposito, Rob         10/6/2023     0.3   Discuss claims under legal review and in process with C Myers and
                                          R Esposito (A&M)
Esposito, Rob         10/6/2023     0.2   Call with L Francis and R Esposito (A&M) to discuss the
                                          reconciliation slides


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Claims
Professional            Date     Hours    Activity
Esposito, Rob        10/6/2023     0.3   Call with C Myers and R Esposito (A&M) to discuss claims being
                                         reconciled
Esposito, Rob        10/6/2023     1.3   Review of the draft claims presentation to provide feedback and
                                         updates
Esposito, Rob        10/6/2023     0.9   Coordinate structure and next steps for reporting reconciliation
                                         progress within the claims presentation
Esposito, Rob        10/6/2023     0.5   Discussion with D. Lewandowski, R. Esposito (A&M), G. Brunswick,
                                         J. Founts, J. Karotkin, S. Perry, and J. Hughes (Kroll) re: customer
                                         transfers
Esposito, Rob        10/6/2023     0.2   Discussion with D. Lewandowski, R. Esposito, A. Mohammed, S.
                                         Kotarba (A&M), J. Hughes, J. Daloia (Kroll) re: customer claim
                                         portals and open issues
Flynn, Matthew       10/6/2023     0.8   Call with M. Flynn and K. Pestano (A&M) to discuss analysis of FTX
                                         customer listing counts/amounts for an S&C request
Flynn, Matthew       10/6/2023     0.4   Call with M. Flynn, R. Johnson (A&M) to discuss KYC customer
                                         status request
Flynn, Matthew       10/6/2023     0.5   Call with M. Flynn, H. Chambers (A&M) to discuss secondary claims
                                         presentation
Flynn, Matthew       10/6/2023     0.8   Update customer portal KPIs for monthly management presentation

Flynn, Matthew       10/6/2023     0.4   Call with L. Chamma and M. Flynn (A&M) to discuss S&C KYC data
                                         request
Flynn, Matthew       10/6/2023     1.6   Analyze KYC customer trending and status for S&C

Francis, Luke        10/6/2023     0.4   Discussion with R. Arora and L. Francis (A&M) re: adjusted to class
                                         5 claims bridge graph
Francis, Luke        10/6/2023     0.2   Call with L Francis and R Esposito (A&M) to discuss the
                                         reconciliation slides
Francis, Luke        10/6/2023     0.4   Discussion with R Esposito and L Francis (A&M) to review the
                                         claims presentation
Francis, Luke        10/6/2023     2.4   Update non-customer claims summary reporting for filed to claim
                                         amount adjustments
Francis, Luke        10/6/2023     0.8   Analysis of filed claims to adjustments for creation of updated bridge
                                         of estimates
Francis, Luke        10/6/2023     1.4   Analysis of newly filed claims for amendment / duplicate review


Hubbard, Taylor      10/6/2023     2.9   Fulfill the CUD customer claims matching assignment

Hubbard, Taylor      10/6/2023     2.1   Complete CUD customer claims matching exercise

Hubbard, Taylor      10/6/2023     1.6   Accomplish the task of CUD customer claims matching


Johnson, Robert      10/6/2023     0.6   Discussion with J. Zatz, R. Esposito, and R. Johnson (A&M) re:
                                         customer schedule amendments
Johnson, Robert      10/6/2023     0.4   Call with M. Flynn, R. Johnson (A&M) to discuss KYC customer
                                         status request

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Claims
Professional              Date     Hours    Activity
Karnik, Noorita        10/6/2023     1.0   Review, classify and process of previous and new requests in the
                                           Claims Privacy Inbox on 05/10
Kotarba, Steve         10/6/2023     0.6   Discussion with D. Lewandowski, A. Mohammed, S. Kotarba (A&M)
                                           re: customer schedule amendments
Kotarba, Steve         10/6/2023     2.1   Prepare objection summaries re additional improper or overstated
                                           claims (non-customer)
Kotarba, Steve         10/6/2023     0.4   Analyze non-customer claims with large variances to identify
                                           reconciliation priorities
Kotarba, Steve         10/6/2023     0.6   Discussion and analysis re scheduling of locked coins in customer
                                           accounts
Kotarba, Steve         10/6/2023     1.8   Review and code AP claims with material variance for objection

Kotarba, Steve         10/6/2023     1.4   Respond to internal reviewer inquiries re claim variance review


Kotarba, Steve         10/6/2023     2.2   Review non-customer HR claims for accept/object consideration

Kotarba, Steve         10/6/2023     0.3   Discussion with D. Lewandowski, R. Esposito, A. Mohammed, S.
                                           Kotarba (A&M), J. Hughes, J. Daloia (Kroll) re: customer claim
                                           portals and open issues
Lewandowski, Douglas   10/6/2023     1.1   Research scheduled PERPS in relationship to USD March
                                           disclosures to June schedule amendment disclosures
Lewandowski, Douglas   10/6/2023     0.5   Discussion with A. Kranzley (S&C), R. Esposito, and D.
                                           Lewandowski (A&M) re: customer schedule amendments
Lewandowski, Douglas   10/6/2023     0.3   Discussion with D. Lewandowski, R. Esposito, and C. Myers (A&M)
                                           re: amended claims objections
Lewandowski, Douglas   10/6/2023     0.6   Discussion with D. Lewandowski, A. Mohammed, S. Kotarba (A&M)
                                           re: customer schedule amendments
Lewandowski, Douglas   10/6/2023     0.6   Review claims that have been identified as duplicative for potential
                                           objection
Lewandowski, Douglas   10/6/2023     1.8   Identify missing claim images from claims register for discussion
                                           with Kroll
Lewandowski, Douglas   10/6/2023     0.3   Discussion with M. Pierce (Landis) re: customer withdrawal
                                           stipulations
Lewandowski, Douglas   10/6/2023     0.5   Correspond with A&M team re: revised customer schedule deck


Lewandowski, Douglas   10/6/2023     0.7   Review claims objection draft work plan

Lewandowski, Douglas   10/6/2023     0.4   Correspond with Kroll re: corrupt claim image files


Lewandowski, Douglas   10/6/2023     0.3   Discussion with D. Lewandowski, R. Esposito, A. Mohammed, S.
                                           Kotarba (A&M), J. Hughes, J. Daloia (Kroll) re: customer claim
                                           portals and open issues
Lewandowski, Douglas   10/6/2023     0.5   Discussion with D. Lewandowski, R. Esposito (A&M), G. Brunswick,
                                           J. Founts, J. Karotkin, S. Perry, and J. Hughes (Kroll) re: customer
                                           transfers



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Claims
Professional              Date     Hours    Activity
Mohammed, Azmat        10/6/2023     0.3   Call with D. Longan and others (MetaLab) and A. Mohammed (A&M)
                                           to discuss development on daily standup for 10/6/23
Mohammed, Azmat        10/6/2023     0.9   Review knowledge transfer and handoff materials provided by
                                           MetaLab on the claims portal
Mohammed, Azmat        10/6/2023     0.6   Discussion with D. Lewandowski, A. Mohammed, S. Kotarba (A&M)
                                           re: customer schedule amendments
Mohammed, Azmat        10/6/2023     2.8   Support MetaLab handoff and rollout efforts

Mosley, Ed             10/6/2023     1.2   Review of draft claims presentation for use with creditor advisors
                                           and plan estimates
Myers, Claire          10/6/2023     2.1   Analyze filed claims to completed tear sheets to determine which
                                           parties are currently being reconciled
Myers, Claire          10/6/2023     1.5   Analyze non substantive duplicate claims to prepare objection of
                                           exact and near exact claim review file
Myers, Claire          10/6/2023     0.3   Discussion with D. Lewandowski, R. Esposito, and C. Myers (A&M)
                                           re: amended claims objections
Myers, Claire          10/6/2023     0.3   Discuss claims under legal review and in process with C Myers and
                                           R Esposito (A&M)
Myers, Claire          10/6/2023     0.3   Call with C Myers and R Esposito (A&M) to discuss claims being
                                           reconciled
Myers, Claire          10/6/2023     1.7   Prepare claim tear sheets for review by internal and external parties

Myers, Claire          10/6/2023     1.6   Update amended objection to included amended tax claims


Myers, Claire          10/6/2023     0.9   Update internal claim tracking file with claim status

Pestano, Kyle          10/6/2023     0.8   Call with M. Flynn and K. Pestano (A&M) to discuss analysis of FTX
                                           customer listing counts/amounts for an S&C request
Pestano, Kyle          10/6/2023     1.6   Investigate duplicate EU accounts in the FTX customer listing and
                                           remove from KYC status type counts
Pestano, Kyle          10/6/2023     1.7   Continue to analyze the complete FTX customer listing and
                                           summarize by KYC status and type for an S&C request
Pestano, Kyle          10/6/2023     2.4   Analyze the complete FTX customer listing and summarize by KYC
                                           status and type for an S&C request
Tong, Crystal          10/6/2023     2.2   Perform checking and fixing on the mismatching data on the KYC
                                           portal
Tong, Crystal          10/6/2023     1.4   Consolidate all the quality check working on the manual KYC review


Tong, Crystal          10/6/2023     3.1   Conduct QC on the manual KYC for the retail of applicants

Yan, Jack              10/6/2023     3.1   Perform quality check on the KYC review performed by Integreon
                                           US team as at October 6, 2023
Zatz, Jonathan         10/6/2023     0.7   Summarize challenges in splitting customers into two for those who
                                           are contingent due to locked tokens




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Claims
Professional             Date     Hours    Activity
Zatz, Jonathan        10/6/2023     0.6   Discussion with J. Zatz, R. Esposito, and R. Johnson (A&M) re:
                                          customer schedule amendments
Zatz, Jonathan        10/6/2023     1.7   Script database related to request to summarize claim amounts to
                                          date
Zatz, Jonathan        10/6/2023     0.6   Correspondence related to customer incorrectly understanding their
                                          balance
Callerio, Lorenzo     10/7/2023     0.4   Discussion with R. Gordon, L. Callerio, K. Kearney, and G. Walia
                                          (A&M) re: pending withdrawals and claims reconciliation
Chamma, Leandro       10/7/2023     0.2   Research KYC legacy files on Relativity to investigate claims portal
                                          KYC applications without legacy names populated
Chamma, Leandro       10/7/2023     0.4   Provide feedback to claims portal customer support in respect with
                                          KYC applications
Chamma, Leandro       10/7/2023     0.7   Provide feedback to UK and US manual reviewers regarding cases
                                          on enhanced due diligence escalated for second level review
Chamma, Leandro       10/7/2023     1.4   Review claims portal high balance KYC applications on hold,
                                          approved and rejected UK manual reviewers for purpose of quality
                                          control and issue spotting
Chan, Jon             10/7/2023     1.4   Investigate activity for specific individuals relating to specific
                                          individuals that submitted customer claims
Esposito, Rob         10/7/2023     1.1   Review of material governmental claims to provide summary to the
                                          Plan team
Esposito, Rob         10/7/2023     0.8   Prepare draft claims reconciliation bridge to current plan estimates

Esposito, Rob         10/7/2023     0.3   Review of claims data for response to claim settlement questions


Esposito, Rob         10/7/2023     0.6   Discussion with C. Sullivan, R. Esposito & L. Francis (A&M) to
                                          discuss claims reconciliations related to expunged claims
Francis, Luke         10/7/2023     2.3   Update non-customer claims summary based on additional
                                          breakouts of adjustment detail
Francis, Luke         10/7/2023     1.5   Update governmental filed claims analysis to include non tax gov
                                          claims
Francis, Luke         10/7/2023     0.8   Analysis of non tax related government claims filed prior to the bar
                                          date
Francis, Luke         10/7/2023     1.7   Update GUC exclusions based on claim type bucketing


Francis, Luke         10/7/2023     1.9   Reconcile amendments / duplicate non-tax governmental claims

Francis, Luke         10/7/2023     0.6   Discussion with C. Sullivan, R. Esposito & L. Francis (A&M) to
                                          discuss claims reconciliations related to expunged claims
Gordon, Robert        10/7/2023     0.4   Discussion with R. Gordon, L. Callerio, K. Kearney, and G. Walia
                                          (A&M) re: pending withdrawals and claims reconciliation
Kearney, Kevin        10/7/2023     0.4   Review pending withdrawal information associated with targeted
                                          customer on FTX.com exchange for claim dispute analysis
Kearney, Kevin        10/7/2023     0.4   Discussion with R. Gordon, L. Callerio, K. Kearney, and G. Walia
                                          (A&M) re: pending withdrawals and claims reconciliation


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Claims
Professional               Date     Hours    Activity
Kotarba, Steve          10/7/2023     1.2   Reconcile employee claims relating to Award Agreements

Lewandowski, Douglas    10/7/2023     0.3   Correspond with A&M team re: customer claims portion of weekly
                                            claims deck
Lewandowski, Douglas    10/7/2023     1.7   Prepare analysis of customer who started KYC after 9/29 deadline

Pestano, Kyle           10/7/2023     1.9   Review documents related to KYC user level changes, preferential
                                            transactions, and KYC policy changes and coordinate discussions
                                            with other teams and existing FTX employees
Sullivan, Christopher   10/7/2023     0.6   Discussion with C. Sullivan, R. Esposito & L. Francis (A&M) to
                                            discuss claims reconciliations related to expunged claims
Yan, Jack               10/7/2023     0.7   Answer queries from FTX Customer Service as at October 7, 2023

Zatz, Jonathan          10/7/2023     0.4   Correspondence regarding questions related to claim summary
                                            figures provided
Arora, Rohan            10/8/2023     0.4   ensure data is up to date and edit numbers to ensure accurate
                                            reporting of charts and graphs on claims deck
Chamma, Leandro         10/8/2023     0.8   Review claims portal with data discrepancies resolved by US manual
                                            reviewers for purpose of quality control and issue spotting
Chamma, Leandro         10/8/2023     0.3   Monitor claims portal customer support chat to provide clarifications
                                            regarding KYC status
Chan, Jon               10/8/2023     2.2   Investigate additional activity for specific individuals relating to
                                            specific individuals that submitted customer claims
Esposito, Rob           10/8/2023     0.6   Discuss claims reconciliation reporting with L Francis and R
                                            Esposito (A&M)
Esposito, Rob           10/8/2023     0.4   Review of customer claims reconciliation progress

Esposito, Rob           10/8/2023     1.9   Review and reconciliation of frivolous customer claims

Esposito, Rob           10/8/2023     0.9   Review of updates to the claims presentation slides


Francis, Luke           10/8/2023     0.6   Discuss claims reconciliation reporting with L Francis and R
                                            Esposito (A&M)
Francis, Luke           10/8/2023     1.4   Review of updated non-customer claim presentation for adjustments
                                            to claim estimates
Francis, Luke           10/8/2023     1.6   Analysis of IRS amendments to filed claims with summary difference
                                            reporting
Francis, Luke           10/8/2023     1.9   Review of AP trade claim invoices attached to claims to company
                                            records
Francis, Luke           10/8/2023     2.4   Reconcile newly filed claims for adjustments / duplicate matching

Kotarba, Steve          10/8/2023     1.6   Identify high priority/variance non-customer claims for tear sheet
                                            review by the team
Lewandowski, Douglas    10/8/2023     0.2   Discussion with D. Lewandowski and R. Esposito (A&M) re: open
                                            reporting issues for UCC meeting


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Claims
Professional               Date    Hours    Activity
Lewandowski, Douglas   10/8/2023     0.7   Review and respond to AHC diligence requests related to customer
                                           claims
Lewandowski, Douglas   10/8/2023     0.6   Prepare revised chart of customer entitlement schedules


Pestano, Kyle          10/8/2023     2.1   Investigate AWS data mismatch cases and review notes of
                                           contractors, documentation and statuses
Pestano, Kyle          10/8/2023     2.8   Review EDD cases needing SOF verification that were escalated
                                           due to high risk industry or jurisdiction, from contract review teams
Ramanathan, Kumanan    10/8/2023     1.1   Coordinate and provide direction on Ad Hoc member tearsheets


Zatz, Jonathan         10/8/2023     1.4   Script database related to request for schedule information for 26
                                           provided customer codes
Arora, Rohan           10/9/2023     2.1   Begin reconciliation of newly filed non customer claims


Arora, Rohan           10/9/2023     2.4   Finalize reconciliation of non customer claims

Arora, Rohan           10/9/2023     1.2   Assist with claims reporting data refresh


Arora, Rohan           10/9/2023     2.3   Continue reconciliation of recently filed claims

Avdellas, Peter        10/9/2023     1.6   Analyze subset of customer claims from exco members to include
                                           main customer code based on email address provided
Avdellas, Peter        10/9/2023     1.4   Analyze subset of customer claims from exco members to include
                                           main account ID based on email address provided
Avdellas, Peter        10/9/2023     0.8   Analyze subset of claims from the unsecured creditors committee to
                                           include each claimant's main account ID to assist in diligence
                                           request
Avdellas, Peter        10/9/2023     1.2   Analyze subset of claims from ad hoc committee to include each
                                           claimant's unique customer code to assist in diligence request
Avdellas, Peter        10/9/2023     1.7   Analyze current claims register including both customer and non-
                                           customer claims to update customer claimant information to include
                                           email address associated with FTX account
Avdellas, Peter        10/9/2023     1.3   Analyze current claims register including both customer and non-
                                           customer claims to update customer claimant information if multiple
                                           emails were included in the proof of claim
Avdellas, Peter        10/9/2023     1.1   Analyze subset of claims from ad hoc committee to include each
                                           claimant's main account ID to assist in diligence request
Chambers, Henry        10/9/2023     0.3   Discussion with R. Esposito, C. Myers, H. Chambers (A&M) re:
                                           customer claim transfers
Chambers, Henry        10/9/2023     0.7   Correspondence with S&C regarding KYC commencement statistics

Chambers, Henry        10/9/2023     1.7   Prepare FAQ for secondary claims holder KYC approach


Chamma, Leandro        10/9/2023     0.8   Research KYC legacy files on Relativity to provide feedback on KYC
                                           applications with data discrepancies



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Claims
Professional            Date     Hours    Activity
Chamma, Leandro      10/9/2023     0.3   Discussion with. D. Lewandowski, J. Lam, L. Chamma (A&M) re:
                                         customer claim transfers
Chamma, Leandro      10/9/2023     0.3   Adjust KYC applications rejected by KYC vendor system due to
                                         duplication
Chamma, Leandro      10/9/2023     0.2   Update KYC application daily metrics for reporting purposes

Chamma, Leandro      10/9/2023     0.6   Prepare list of retail and corporate accounts for purposes of pulling
                                         transaction monitoring historical data to answer S&C data request
Chamma, Leandro      10/9/2023     2.9   Review claims portal KYC applications resolved by UK and US
                                         manual reviewers for quality control and to respond to cases
                                         escalated for second level review
Chamma, Leandro      10/9/2023     0.7   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and R.
                                         Wendlick and others (Integreon) to host manual review daily catch up
Chamma, Leandro      10/9/2023     0.7   Monitor claims portal customer support chat to provide clarifications
                                         regarding KYC status
Chamma, Leandro      10/9/2023     2.6   Review claims portal cases with AWS data mismatch and AWS data
                                         null in order to verify accuracy of data provided by applicants
Coverick, Steve      10/9/2023     1.3   Review and provide comments on updated claims reconciliation
                                         status report
Esposito, Rob        10/9/2023     0.4   Discussion with D. Lewandowski, R. Esposito, and L. Francis (A&M)
                                         re: updates to claims summary reporting PPT
Esposito, Rob        10/9/2023     1.0   Discussion with D. Lewandowski, R. Esposito, and S. Kotarba
                                         (A&M) re: claim reconciliation priorities
Esposito, Rob        10/9/2023     0.4   Discussion with L. Francis and R. Esposito (A&M) re: claims
                                         summary updates based on newly filed claims
Esposito, Rob        10/9/2023     2.2   Prepare updates to the claims reconciliation slides for final
                                         preparation of the claims presentation
Esposito, Rob        10/9/2023     0.3   Discussion with R. Esposito, C. Myers, H. Chambers (A&M) re:
                                         customer claim transfers
Esposito, Rob        10/9/2023     0.2   Discussion with C. Myers R. Esposito and S. Kotarba re: employee
                                         claims diligence request
Esposito, Rob        10/9/2023     0.2   Discuss customer claims reconciliations with D Lewandowski and R
                                         Esposito (A&M)
Esposito, Rob        10/9/2023     0.3   Review claims reconciliation reporting with L Francis and R Esposito
                                         (A&M)
Esposito, Rob        10/9/2023     1.8   Prepare detailed updates to the claims presentation for S&C and
                                         FTX mgmt. review
Esposito, Rob        10/9/2023     0.6   Review and analysis of the draft reconciliation summary for claims
                                         reporting
Esposito, Rob        10/9/2023     1.2   Review of claims queued for amended objections

Esposito, Rob        10/9/2023     0.2   Review of KYC communication to prepare comments/updates

Esposito, Rob        10/9/2023     0.4   Coordinate claims reconciliation report for weekly updates




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Claims
Professional              Date     Hours    Activity
Esposito, Rob          10/9/2023     0.4   Discussion with D. Lewandowski, R. Esposito, A. Mohammed, K.
                                           Ramanathan (A&M), H. Alli, J. Hughes, J. Karotkin, and S. Perry
                                           (Kroll) re: open issues and customer claims updates
Flynn, Matthew         10/9/2023     0.6   Review updated secondary claims holder presentation

Francis, Luke          10/9/2023     0.4   Discussion with D. Lewandowski, R. Esposito, and L. Francis (A&M)
                                           re: updates to claims summary reporting PPT
Francis, Luke          10/9/2023     0.4   Discussion with L. Francis and R. Esposito (A&M) re: claims
                                           summary updates based on newly filed claims
Francis, Luke          10/9/2023     1.3   Update claims reporting bridges to plan estimates based on
                                           additional claims reconciliation
Francis, Luke          10/9/2023     1.7   Search for creditor relationship to debtors based on information
                                           provided in proof of claim
Francis, Luke          10/9/2023     0.6   Review of settlement language to withdrawn claims to confirm
                                           accuracy in claims report
Francis, Luke          10/9/2023     1.3   Update non-customer claims summary presentation with
                                           adjustments from previous week
Francis, Luke          10/9/2023     2.1   Build out of analysis file for pending claims objections with source
                                           detail
Francis, Luke          10/9/2023     0.3   Review claims reconciliation reporting with L Francis and R Esposito
                                           (A&M)
Francis, Luke          10/9/2023     0.8   Analysis of filed governmental non-tax claims for amended filings

Kotarba, Steve         10/9/2023     1.0   Discussion with D. Lewandowski, R. Esposito, and S. Kotarba
                                           (A&M) re: claim reconciliation priorities
Kotarba, Steve         10/9/2023     0.2   Discussion with C. Myers R. Esposito and S. Kotarba re: employee
                                           claims diligence request
Kotarba, Steve         10/9/2023     1.7   Respond to internal review questions re claim coding

Kotarba, Steve         10/9/2023     1.1   Respond to request re claims filed by employees


Kotarba, Steve         10/9/2023     1.2   Prepare updates to next round of claims reporting

Kotarba, Steve         10/9/2023     0.2   Discussion with C. Myers and S. Kotarba re: employee claims
                                           diligence request
Lewandowski, Douglas   10/9/2023     0.4   Discussion with D. Lewandowski, R. Esposito, and L. Francis (A&M)
                                           re: updates to claims summary reporting PPT
Lewandowski, Douglas   10/9/2023     1.0   Discussion with D. Lewandowski, R. Esposito, and S. Kotarba
                                           (A&M) re: claim reconciliation priorities
Lewandowski, Douglas   10/9/2023     1.2   Incorporate email addresses into the non-portal customer claims for
                                           main account id matching
Lewandowski, Douglas   10/9/2023     0.3   Discussion with. D. Lewandowski, J. Lam, L. Chamma (A&M) re:
                                           customer claim transfers
Lewandowski, Douglas   10/9/2023     0.2   Discussion with A. Mohammed and D. Lewandowski (A&M) re: KYC
                                           solicitation for customer claims


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Claims
Professional              Date     Hours    Activity
Lewandowski, Douglas   10/9/2023     0.2   Discuss customer claims reconciliations with D Lewandowski and R
                                           Esposito (A&M)
Lewandowski, Douglas   10/9/2023     1.7   Prepare export of customer claims for manual review of main
                                           account id matching
Lewandowski, Douglas   10/9/2023     1.1   Prepare update to customer open schedules portion of the weekly
                                           summary deck
Lewandowski, Douglas   10/9/2023     0.3   Correspond with A&M staff re: register reconciliation with Kroll

Lewandowski, Douglas   10/9/2023     2.3   Prepare customer claim portion of the weekly claims deck


Lewandowski, Douglas   10/9/2023     0.4   Discussion with D. Lewandowski, R. Esposito, A. Mohammed, K.
                                           Ramanathan (A&M), H. Alli, J. Hughes, J. Karotkin, and S. Perry
                                           (Kroll) re: open issues and customer claims updates
Mohammed, Azmat        10/9/2023     0.7   Review claimants that have filed claims directly with Kroll to
                                           determine population to email reminder
Mohammed, Azmat        10/9/2023     0.2   Discussion with A. Mohammed and D. Lewandowski (A&M) re: KYC
                                           solicitation for customer claims
Mohammed, Azmat        10/9/2023     0.7   Coordinate claims portal engineering efforts for CSV downloads

Mohammed, Azmat        10/9/2023     0.8   Configure and design development processes with smaller team
                                           (review JIRA board, reconsider ceremony cadence, etc.)
Mohammed, Azmat        10/9/2023     0.7   Support FTX Customer Support and KYC teams on technical
                                           matters and cases on 10/9/23 (undeleting subaccounts for CSV/tax
                                           downloads and other matters)
Mohammed, Azmat        10/9/2023     0.4   Discussion with D. Lewandowski, R. Esposito, A. Mohammed, K.
                                           Ramanathan (A&M), H. Alli, J. Hughes, J. Karotkin, and S. Perry
                                           (Kroll) re: open issues and customer claims updates
Mosley, Ed             10/9/2023     1.3   Review of and provide comments to 10/9 updated draft claims
                                           update for creditor meeting
Myers, Claire          10/9/2023     1.4   Compare list of active employees to filed claims for employee
                                           diligence request from K. Schultea
Myers, Claire          10/9/2023     0.3   Discussion with R. Esposito, C. Myers, H. Chambers (A&M) re:
                                           customer claim transfers
Myers, Claire          10/9/2023     0.2   Discussion with C. Myers R. Esposito and S. Kotarba re: employee
                                           claims diligence request
Myers, Claire          10/9/2023     0.3   Update master claims deck with information re: priority claim
                                           reconciliation
Myers, Claire          10/9/2023     1.3   Prepare objection summary chart with amended claim details


Myers, Claire          10/9/2023     0.9   Summarize HR claims for employee claim diligence request

Myers, Claire          10/9/2023     0.2   Discussion with C. Myers and S. Kotarba re: employee claims
                                           diligence request
Pestano, Kyle          10/9/2023     0.6   Review questions from S&C regarding preferential analyses,
                                           transaction monitoring, and user setting changes and
                                           investigate/discuss issues with the data team


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Claims
Professional               Date     Hours    Activity
Pestano, Kyle           10/9/2023     0.4   Continue to investigate user setting changes and KYC institutional
                                            policies on Relativity for trades made on the exchange and
                                            summarize results for the data team
Pestano, Kyle           10/9/2023     1.8   Investigate user setting changes and KYC institutional policies on
                                            Relativity for trades made on the exchange and summarize results
                                            for the data team
Pestano, Kyle           10/9/2023     2.7   Investigate AWS data mismatch cases and review EDD cases
                                            escalated for second level review due to high risk industries or
                                            jurisdictions, and provide feedback to the EU contract review team
Pestano, Kyle           10/9/2023     1.6   Provide feedback to American contract review team after reviewing
                                            their daily EDD cases that consisted of reviewing the source of funds
                                            for their trading activity and identity documents provided for
                                            jurisdiction and nationality
Pestano, Kyle           10/9/2023     0.6   Summarize contract team review notes/questions and prepare for
                                            daily check in by pulling up examples to discuss during the meeting
Pestano, Kyle           10/9/2023     0.7   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and R.
                                            Wendlick and others (Integreon) to host manual review daily catch up
Pestano, Kyle           10/9/2023     1.4   Analyze the FTX Legacy data listing to reconcile KYC status types
                                            and investigate missing KYC individuals and institutions
Ramanathan, Kumanan     10/9/2023     0.4   Discussion with D. Lewandowski, R. Esposito, A. Mohammed, K.
                                            Ramanathan (A&M), H. Alli, J. Hughes, J. Karotkin, and S. Perry
                                            (Kroll) re: open issues and customer claims updates
Sarmiento, Dubhe        10/9/2023     3.3   Review, classification and processing of previous and new requests
                                            in the Claims Privacy Inbox on 09 October
Sarmiento, Dubhe        10/9/2023     0.6   Draft response templates for processing of previous and new
                                            requests in the Claims Privacy Inbox on 10 October
Sullivan, Christopher   10/9/2023     0.4   Review updates to latest estimates for Government claims

Sullivan, Christopher   10/9/2023     0.9   Respond to S&S claim related questions from M. Cilia (FTX)


Tong, Crystal           10/9/2023     2.7   Conduct quality check on the manual KYC for the retail of customers

Tong, Crystal           10/9/2023     2.4   Perform checking and fixing on the mismatching data on the KYC
                                            portal
Tong, Crystal           10/9/2023     1.1   Answer queries raised from the customer service regarding the KYC
                                            status
Tong, Crystal           10/9/2023     1.1   Consolidate all the quality check working on the manual KYC review

Tong, Crystal           10/9/2023     0.7   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and R.
                                            Wendlick and others (Integreon) to host manual review daily catch up
Walia, Gaurav           10/9/2023     0.4   Prepare summary schedule of the various coin types

Yan, Jack               10/9/2023     1.1   Deal with AWS data mismatch issue and assign cases to Integreon
                                            as at October 9, 2023
Yan, Jack               10/9/2023     2.8   Perform quality check on KYC works performed by Integreon team
                                            as at October 9, 2023



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Claims
Professional               Date    Hours    Activity
Yan, Jack              10/9/2023     0.8   Answer queries from FTX Customer Service as at October 9, 2023

Yan, Jack              10/9/2023     0.3   Perform update on manual review ticket tracker as at October 9,
                                           2023
Yan, Jack              10/9/2023     0.7   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and R.
                                           Wendlick and others (Integreon) to host manual review daily catch up
Zatz, Jonathan         10/9/2023     3.1   Determine root cause in decrease in number of claim detail records
                                           provided by Kroll from 10/3 to 10/6
Zatz, Jonathan         10/9/2023     2.3   Script database related to request to provide claim information for
                                           provided list of customers
Zatz, Jonathan         10/9/2023     3.1   Script database related to request to identify bad actors related to
                                           coin listings
Zatz, Jonathan         10/9/2023     1.9   Script database related to request to identify claims for list of
                                           employees
Zatz, Jonathan         10/9/2023     2.6   Script database related to request for accounts that had processed
                                           withdrawals
Zatz, Jonathan         10/9/2023     0.4   Script database to determine which locked tokens were not
                                           suppressed
Zatz, Jonathan         10/9/2023     0.6   Review database script logic to determine value of discarded claims

Zatz, Jonathan         10/9/2023     2.4   Script database to identify bullish or bearish movements in trading
                                           volume by incorporating price changes
Arora, Rohan          10/10/2023     2.4   Begin identification of linked and relevant charts and tables within
                                           excel and identifying data sources
Arora, Rohan          10/10/2023     2.9   Continue claims triage of customer and non customer claims that
                                           were filed recently
Arora, Rohan          10/10/2023     2.3   Continue claims triage and reconciliation process


Arora, Rohan          10/10/2023     2.6   Commence reconciliation of recently filed customer claims

Avdellas, Peter       10/10/2023     1.4   Analyze subset of claims from ad hoc committee to include status of
                                           all claims to assist in diligence request
Avdellas, Peter       10/10/2023     1.2   Analyze claimant differences based on updated Kroll register to
                                           identify claims that need information updated in preparation of
                                           claims reconciliation
Avdellas, Peter       10/10/2023     0.6   Analyze updated Kroll register including customer and non-customer
                                           claims to identify newly filed claims from the most recent register
                                           provided
Avdellas, Peter       10/10/2023     1.4   Analyze claimant differences based on updated Kroll register to
                                           identify claims that may have been docketed in error and capture
                                           discrepancies to update Kroll
Avdellas, Peter       10/10/2023     0.7   Analyze subset of claims from the unsecured creditors committee to
                                           include each claimant's unique customer code to assist in diligence
                                           request
Avdellas, Peter       10/10/2023     1.3   Attempt to locate specific customer claims based on either customer
                                           code, email, or main account ID provided to assist in diligence
                                           request

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Claims
Professional               Date    Hours    Activity
Avdellas, Peter       10/10/2023     0.9   Analyze subset of claims from specific creditor to include both main
                                           account ID and unique customer code to assist in diligence request
Avdellas, Peter       10/10/2023     1.2   Analyze subset of claims from ad hoc committee to identify if any
                                           claimants had been identified as exco members to assist in diligence
                                           request
Chambers, Henry       10/10/2023     1.0   Correspondence with A&M and S&C teams regarding FAQ update
                                           for KYC process for secondary claims holders
Chambers, Henry       10/10/2023     0.9   Respond to S&C queries on quantum of users passing through KYC
                                           process
Chambers, Henry       10/10/2023     0.6   Review of analysis on KYC status and balance quantum


Chambers, Henry       10/10/2023     0.5   Respond to query regarding findings in AML screening

Chambers, Henry       10/10/2023     0.4   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), A. Porwal
                                           (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                           latest portal and KYC status
Chambers, Henry       10/10/2023     0.4   Call with B. Walsh and others (BitGo), R. Navarro (FTX), A.
                                           Mohammed, H. Chambers, M. Flynn, L. Chamma, C. Tong (A&M) to
                                           discuss institutional KYC matters
Chamma, Leandro       10/10/2023     0.3   Discuss with claims portal KYC technology vendor technical
                                           questions identified during quality control review
Chamma, Leandro       10/10/2023     1.2   Monitor claims portal customer support chat to provide clarifications
                                           regarding 2 factor authentication resets
Chamma, Leandro       10/10/2023     0.6   Research KYC legacy files on Relativity to provide feedback on KYC
                                           applications with data discrepancies
Chamma, Leandro       10/10/2023     2.7   Draft document with Bitgo's institutional KYC findings related to
                                           certain entities for purpose of reporting to S&C
Chamma, Leandro       10/10/2023     0.4   Call with L. Chamma, C. Tong, K. Pestano (A&M), A. Porwal
                                           (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                           latest portal and KYC status
Chamma, Leandro       10/10/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and A.
                                           Stefanovich and others (Integreon) to host manual review daily catch
                                           up
Chamma, Leandro       10/10/2023     0.4   Call with B. Walsh and others (BitGo), R. Navarro (FTX), A.
                                           Mohammed, H. Chambers, M. Flynn, L. Chamma, C. Tong (A&M)
                                           to discuss institutional KYC matters
Chamma, Leandro       10/10/2023     2.2   Review claims portal KYC applications resolved by UK (4 reviewers)
                                           and US (one reviewer) manual reviewers for quality control and to
                                           respond to cases escalated for second level review
Coverick, Steve       10/10/2023     0.2   Call with S. Coverick, K. Ramanathan (A&M) and Ad Hoc creditor
                                           representative to discuss scheduled claim
Coverick, Steve       10/10/2023     0.4   Participate in meeting with A&M (E.Mosley, S.Coverick, R.Esposito,
                                           S.Kotarba, L.Francis, H.Trent, T.Ribman) to discuss discreet GUC
                                           claims analysis and presentation materials of same
Esposito, Rob         10/10/2023     0.4   Discussion with L. Francis, and R. Esposito (A&M) re: potential
                                           updates of equity claims to contract claims




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Claims
Professional              Date    Hours    Activity
Esposito, Rob        10/10/2023     0.3   Discuss claims reconciliation data for presentation to the creditors
                                          with A&M (D.Lewandoski, R.Esposito, E.Mosley)
Esposito, Rob        10/10/2023     0.4   Discuss GUC claims bridge with L Francis, S Kotarba, D
                                          Lewandowski and R Esposito (A&M)
Esposito, Rob        10/10/2023     0.4   Review general unsecured claims bridge with L Francis and R
                                          Esposito (A&M)
Esposito, Rob        10/10/2023     0.4   Prepare updated claims workstream task list and staffing allocation

Esposito, Rob        10/10/2023     1.4   Prepare employee claims summary data for FTX management
                                          request
Esposito, Rob        10/10/2023     0.8   Review and analysis of the claims reconciliation bridge for class 5

Esposito, Rob        10/10/2023     1.1   Review of specific customer holdings for priority diligence request


Esposito, Rob        10/10/2023     0.3   Coordinate claims reporting workstreams and diligence requests

Esposito, Rob        10/10/2023     0.4   Prepare responses to KYC related inquires


Esposito, Rob        10/10/2023     0.5   Discussion with L. Francis, D. Lewandowski, S. Kotarba, and R.
                                          Esposito (A&M) re: review of non-customer claims summary
                                          presentation
Esposito, Rob        10/10/2023     0.4   Participate in meeting with A&M (E.Mosley, S.Coverick, R.Esposito,
                                          S.Kotarba, L.Francis, H.Trent, T.Ribman) to discuss discreet GUC
                                          claims analysis and presentation materials of same
Flynn, Matthew       10/10/2023     0.4   Review outstanding customer support tickets

Flynn, Matthew       10/10/2023     0.4   Call with B. Walsh and others (BitGo), R. Navarro (FTX), A.
                                          Mohammed, H. Chambers, M. Flynn, L. Chamma, C. Tong (A&M) to
                                          discuss institutional KYC matters
Flynn, Matthew       10/10/2023     0.4   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), A. Porwal
                                          (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                          latest portal and KYC status
Francis, Luke        10/10/2023     0.4   Discussion with L. Francis, and R. Esposito (A&M) re: potential
                                          updates of equity claims to contract claims
Francis, Luke        10/10/2023     1.7   Update claims reporting package for ad hoc committee based on
                                          claims reconciliation to date
Francis, Luke        10/10/2023     0.4   Discuss GUC claims bridge with L Francis, S Kotarba, D
                                          Lewandowski and R Esposito (A&M)
Francis, Luke        10/10/2023     0.4   Review general unsecured claims bridge with L Francis and R
                                          Esposito (A&M)
Francis, Luke        10/10/2023     1.7   Create additional summaries based on top claimants with claims
                                          reductions included
Francis, Luke        10/10/2023     1.2   Analysis of new filed claims for reconciliation processes

Francis, Luke        10/10/2023     1.4   Call with L. Francis, and S. Kotarba (A&M) re: updates to filed
                                          claims to adjusted claims to plan estimates reporting bridges


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Claims
Professional                Date    Hours    Activity
Francis, Luke          10/10/2023     0.5   Discussion with L. Francis, D. Lewandowski, S. Kotarba, and R.
                                            Esposito (A&M) re: review of non-customer claims summary
                                            presentation
Francis, Luke          10/10/2023     0.4   Participate in meeting with A&M (E.Mosley, S.Coverick, R.Esposito,
                                            S.Kotarba, L.Francis, H.Trent, T.Ribman) to discuss discreet GUC
                                            claims analysis and presentation materials of same
Hubbard, Taylor        10/10/2023     0.2   Discussion with D. Lewandowski and T. Hubbard (A&M) re: CUD
                                            customer claims matching
Hubbard, Taylor        10/10/2023     1.1   Execute the CUD customer claims matching process within
                                            Metabase
Hubbard, Taylor        10/10/2023     1.6   Carry out the CUD customer claims matching assignment in
                                            metabase
Hubbard, Taylor        10/10/2023     2.2   Perform CUD customer claims reconciliation exercise in metabase


Karnik, Noorita        10/10/2023     0.5   Solve claims portal customer privacy requests based on comparable
                                            cases
Kearney, Kevin         10/10/2023     0.6   Review historical lending activity associated with targeted lender
                                            associated with claim reconciliation
Kotarba, Steve         10/10/2023     2.8   Prepare updated diligence reporting for ad hoc creditor meeting re
                                            reported claim estimates
Kotarba, Steve         10/10/2023     2.2   Review litigation and unliquidated claims re estimates and workflow


Kotarba, Steve         10/10/2023     0.5   Discussion with L. Francis, D. Lewandowski, S. Kotarba, and R.
                                            Esposito (A&M) re: review of non-customer claims summary
                                            presentation
Kotarba, Steve         10/10/2023     1.4   Call with L. Francis, and S. Kotarba (A&M) re: updates to filed
                                            claims to adjusted claims to plan estimates reporting bridges
Kotarba, Steve         10/10/2023     0.4   Participate in meeting with A&M (E. Mosley, S. Coverick, R.
                                            Esposito, S. Kotarba, L .Francis, H. Trent, T. Ribman) to discuss
                                            discreet GUC claims analysis and presentation materials of same
Kotarba, Steve         10/10/2023     0.4   Participate in meeting with A&M (E. Mosley, S. Coverick, R.
                                            Esposito, S .Kotarba, L. Francis, H. Trent, T. Ribman) to discuss
                                            discreet GUC claims analysis and presentation materials of same
Lewandowski, Douglas   10/10/2023     0.3   Discuss claims reconciliation data for presentation to the creditors
                                            with A&M (D. Lewandowski, R. Esposito, E. Mosley)
Lewandowski, Douglas   10/10/2023     1.3   Research customers who provided main account identifiers that do
                                            not match to customer records
Lewandowski, Douglas   10/10/2023     0.4   Discuss GUC claims bridge with L Francis, S Kotarba, D
                                            Lewandowski and R Esposito (A&M)
Lewandowski, Douglas   10/10/2023     0.6   Research diligence requests from Eversheds related to specific
                                            customer schedules
Lewandowski, Douglas   10/10/2023     0.2   Discussion with D. Lewandowski and T. Hubbard (A&M) re: CUD
                                            customer claims matching
Lewandowski, Douglas   10/10/2023     1.7   Identify duplicate/supersede customer claims between non-portal
                                            and portal claims
Lewandowski, Douglas   10/10/2023     0.6   Correspond with A&M team re: reconciliation of priority customer
                                            claims

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Claims
Professional                Date    Hours    Activity
Lewandowski, Douglas   10/10/2023     0.1   Review large variance customer claims to identify issues

Lewandowski, Douglas   10/10/2023     0.7   Review and prepare comments related to revised customer deck


Lewandowski, Douglas   10/10/2023     1.3   Prepare revised customer summary slides for UCC deck

Lewandowski, Douglas   10/10/2023     0.5   Discussion with L. Francis, D. Lewandowski, S. Kotarba, and R.
                                            Esposito (A&M) re: review of non-customer claims summary
                                            presentation
Mohammed, Azmat        10/10/2023     0.6   Support FTX Customer Service and KYC Manual reviewing teams
                                            with technical matters on 10/10/23
Mohammed, Azmat        10/10/2023     0.7   Coordinate efforts related to emailing claimants who have not visited
                                            FTX claims portal
Mohammed, Azmat        10/10/2023     0.8   Respond to claims data requests on platform adoption amongst
                                            claimants
Mohammed, Azmat        10/10/2023     1.6   Coordinate development efforts related to open login issues for
                                            some customers
Mohammed, Azmat        10/10/2023     0.4   Call with B. Walsh and others (BitGo), R. Navarro (FTX), A.
                                            Mohammed, H. Chambers, M. Flynn, L. Chamma, C. Tong (A&M) to
                                            discuss institutional KYC matters
Mohammed, Azmat        10/10/2023     0.4   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), A. Porwal
                                            (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                            latest portal and KYC status
Mosley, Ed             10/10/2023     0.3   Discuss claims reconciliation data for presentation to the creditors
                                            with A&M (D. Lewandowski, R. Esposito, E. Mosley)
Mosley, Ed             10/10/2023     1.3   Review of and prepare comments to draft presentation of
                                            management claims
Mosley, Ed             10/10/2023     1.1   Review of claims data for analysis of claims allowance


Mosley, Ed             10/10/2023     0.4   Participate in meeting with A&M (E.Mosley, S.Coverick, R.Esposito,
                                            S.Kotarba, L.Francis, H.Trent, T.Ribman) to discuss discreet GUC
                                            claims analysis and presentation materials of same
Myers, Claire          10/10/2023     1.4   Categorize duplicative claims based on POC form and number of
                                            differences
Myers, Claire          10/10/2023     0.9   Prepare priority tear sheets for legal review and claims reconciliation


Myers, Claire          10/10/2023     1.3   Summarize claims flagged as exact duplicates for claim
                                            reconciliation
Myers, Claire          10/10/2023     2.8   Summarize claim detail of high dollar claims for weekly claims deck


Myers, Claire          10/10/2023     0.6   Prepare list of Clifton Bay claims for request from B. Parker

Myers, Claire          10/10/2023     0.5   Summarize list of Clifton Bay claims for request from B. Parker

Myers, Claire          10/10/2023     1.1   Summarize claims flagged incorrectly as exact duplicates for claim
                                            reconciliation


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Claims
Professional                 Date    Hours    Activity
Pestano, Kyle           10/10/2023     0.2   Coordinate with different teams and personnel for an S&C request
                                             regarding user setting changes
Pestano, Kyle           10/10/2023     0.9   Review code sent from Metalabs regarding KYC permissions and
                                             read through the KYC documents provided from Metalabs and FTX
                                             compliance in order to see if this addresses the questions from S&C
Pestano, Kyle           10/10/2023     0.8   Investigate issues with user setting changes and KYC level changes
                                             and respond to data team requests for more information regarding
                                             this pending S&C request
Pestano, Kyle           10/10/2023     2.7   Review EDD cases needing SOF verification that were escalated
                                             due to high risk industry, jurisdiction, or industry from the contract
                                             review teams
Pestano, Kyle           10/10/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and A.
                                             Stefanovich and others (Integreon) to host manual review daily catch
                                             up
Pestano, Kyle           10/10/2023     0.4   Call with L. Chamma, C. Tong, K. Pestano (A&M), A. Porwal
                                             (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                             latest portal and KYC status
Ramanathan, Kumanan     10/10/2023     1.1   Review and reconcile customer balance against settlement,
                                             including following from the initial claims schedule
Ramanathan, Kumanan     10/10/2023     0.2   Call with S. Coverick, K. Ramanathan (A&M) and Ad Hoc creditor
                                             representative to discuss scheduled claim
Ramanathan, Kumanan     10/10/2023     1.3   Create custom tear sheets for ad hoc creditor members to discuss
                                             considerations
Ramanathan, Kumanan     10/10/2023     0.7   Provide guidance on withdrawal processing status for claims


Ribman, Tucker          10/10/2023     0.4   Participate in meeting with A&M (E.Mosley, S.Coverick, R.Esposito,
                                             S.Kotarba, L.Francis, H.Trent, T.Ribman) to discuss discreet GUC
                                             claims analysis and presentation materials of same
Sarmiento, Dubhe        10/10/2023     2.9   Review, classification and processing of previous and new requests
                                             in the Claims Privacy Inbox on 10 October
Sarmiento, Dubhe        10/10/2023     0.5   Call with N. Karnik and D. Sarmiento (A&M) to discuss customer
                                             privacy claims requests
Sullivan, Christopher   10/10/2023     0.8   Investigate remaining Modulo claims

Tong, Crystal           10/10/2023     1.6   Conduct checking and fixing on the mismatching data on the KYC
                                             portal
Tong, Crystal           10/10/2023     2.9   Perform quality check on the manual KYC for the retail of customers

Tong, Crystal           10/10/2023     1.2   Resolve queries raised from the customer service regarding the
                                             KYC status
Tong, Crystal           10/10/2023     1.3   Compile all the quality check workings on the manual KYC review

Tong, Crystal           10/10/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and A.
                                             Stefanovich and others (Integreon) to host manual review daily catch
                                             up




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Claims
Professional               Date    Hours    Activity
Tong, Crystal         10/10/2023     0.4   Call with B. Walsh and others (BitGo), R. Navarro (FTX), A.
                                           Mohammed, H. Chambers, M. Flynn, L. Chamma, C. Tong (A&M) to
                                           discuss institutional KYC matters
Tong, Crystal         10/10/2023     0.4   Call with L. Chamma, C. Tong, K. Pestano (A&M), A. Porwal
                                           (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                           latest portal and KYC status
Trent, Hudson         10/10/2023     0.4   Participate in meeting with A&M (E. Mosley, S. Coverick, R.
                                           Esposito, S. Kotarba, L .Francis, H. Trent, T. Ribman) to discuss
                                           discreet GUC claims analysis and presentation materials of same
Yan, Jack             10/10/2023     2.1   Perform update on manual review ticket tracker as at October 10,
                                           2023
Yan, Jack             10/10/2023     2.9   Perform quality check on KYC works performed by Integreon team
                                           as at October 10, 2023
Yan, Jack             10/10/2023     0.6   Answer queries from FTX Customer Service as at October 10, 2023


Yan, Jack             10/10/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and A.
                                           Stefanovich and others (Integreon) to host manual review daily catch
                                           up
Zatz, Jonathan        10/10/2023     1.9   Script database related to request to provide Kroll with examples of
                                           missing claim details from latest extract
Zatz, Jonathan        10/10/2023     1.8   Script database related to request to confirm if specific customer
                                           asserted any quantities
Zatz, Jonathan        10/10/2023     0.4   Script database related to request to confirm the balance for specific
                                           customer
Zatz, Jonathan        10/10/2023     2.3   Script database related to request to provide total balances of
                                           category B tokens
Zatz, Jonathan        10/10/2023     0.7   Correspondence regarding requests for claim information on
                                           scheduled customers
Zatz, Jonathan        10/10/2023     2.2   Script database to make both sources of truth for customer balances
                                           consistent
Zatz, Jonathan        10/10/2023     2.9   Script database related to request to provide pricing of category B
                                           tokens
Zatz, Jonathan        10/10/2023     1.1   Transfer large Alameda extracts to compressed directory for
                                           regulator
Arora, Rohan          10/11/2023     0.6   Confirm chart data sources are properly linked to their respective
                                           elements within the claims reporting deck
Arora, Rohan          10/11/2023     2.1   Continue Migration and centralization off charts and graphs from
                                           claims reporting deck
Arora, Rohan          10/11/2023     1.6   Begin migration and centralization of charts and graphs in claims
                                           reporting deck
Arora, Rohan          10/11/2023     2.2   Finalize claims triage of recently filed non customer and customer
                                           claims
Arora, Rohan          10/11/2023     0.3   Discussion with R. Arora and L. Francis (A&M) re: Master claims
                                           deck source table breakout and weekly claims deck refreshes
Avdellas, Peter       10/11/2023     1.6   Analyze updated Kroll register to identify claims that have been
                                           transferred and update internal records accordingly


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Claims
Professional               Date    Hours    Activity
Avdellas, Peter       10/11/2023     0.3   Discussion with P. Avdellas and D. Lewandowski (A&M) re: Claims
                                           to schedule matching analysis
Avdellas, Peter       10/11/2023     1.2   Analyze claim differences based on updated Kroll register to identify
                                           claims that need information updated in preparation of claims
                                           reconciliation
Avdellas, Peter       10/11/2023     1.4   Analyze claim amount differences based on updated Kroll register to
                                           identify claims that need information updated in preparation of
                                           claims reconciliation
Avdellas, Peter       10/11/2023     1.7   Analyze proof of claim for non-individual customer claims to capture
                                           relevant information in preparation of claims reconciliation
Avdellas, Peter       10/11/2023     1.3   Analyze claim amount differences based on updated Kroll register to
                                           identify claims that may have been docketed in error and capture
                                           discrepancies to update Kroll
Avdellas, Peter       10/11/2023     1.1   Analyze claim differences based on updated Kroll register to identify
                                           claims that may have been docketed in error and capture
                                           discrepancies to update Kroll
Avdellas, Peter       10/11/2023     0.9   Analyze ticker level customer claim information to capture relevant
                                           information based on metadata document ID provided to assist in
                                           diligence request
Chambers, Henry       10/11/2023     0.4   Correspondence with S&C and A&M teams regarding BitGo
                                           institutional KYC findings
Chambers, Henry       10/11/2023     0.4   Correspondence with A&M team regarding institutional KYC tracking
                                           list
Chambers, Henry       10/11/2023     0.8   Answer queries on KYC process for secondary claims holders


Chambers, Henry       10/11/2023     0.7   Respond to creditor queries regarding KYC/AML requirements

Chamma, Leandro       10/11/2023     0.8   Call with L. Salas Nunez and L. Chamma (A&M) to discuss
                                           institutional KYC negative news findings
Chamma, Leandro       10/11/2023     0.7   Research KYC legacy files on Relativity to provide feedback to
                                           claims portal customer support team related to institutional customer
                                           routed to retail KYC flow
Chamma, Leandro       10/11/2023     1.3   Review claims portal cases with AWS data mismatch and AWS data
                                           null in order to verify accuracy of data provided by applicants
Chamma, Leandro       10/11/2023     1.8   Draft spreadsheet with findings related to institutional and retail
                                           customers that had adverse media hit during claims portal KYC
                                           process
Chamma, Leandro       10/11/2023     2.4   Review claims portal KYC applications resolved by UK (4 reviewers)
                                           manual reviewers for quality control and to respond to cases
                                           escalated for second level review
Chamma, Leandro       10/11/2023     0.6   Monitor claims portal customer support chat to provide clarifications
                                           regarding 2 factor authentication resets and KYC status
Chan, Jon             10/11/2023     2.1   Investigate specific customers and institutions that have submitted
                                           customer claims
Esposito, Rob         10/11/2023     1.0   Discussion with D. Lewandowski, R. Esposito, L. Francis, and S.
                                           Kotarba (A&M) re: claims reconciliation tasks




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Claims
Professional                Date    Hours    Activity
Esposito, Rob          10/11/2023     1.4   Review and reconciliation of non-customer claims to complete tear
                                            sheets for S&C team review
Esposito, Rob          10/11/2023     0.3   Coordinate claims reporting workstreams and diligence requests


Flynn, Matthew         10/11/2023     0.3   Call with M. Flynn, A. Mohammed (A&M) to discuss claims portal
                                            KYC language and content
Flynn, Matthew         10/11/2023     0.4   Review of KYC vendor agreements on data preservation

Francis, Luke          10/11/2023     1.0   Discussion with D. Lewandowski, R. Esposito, L. Francis, and S.
                                            Kotarba (A&M) re: claims reconciliation tasks
Francis, Luke          10/11/2023     1.6   Update summary non-customer claims bridges to adjusted
                                            reconciled amounts based on additional reconciliation
Francis, Luke          10/11/2023     0.7   Review of updated priority reconciliation for non-customer claims


Francis, Luke          10/11/2023     1.3   Analysis of new claims provided by claims agent for initial triage

Francis, Luke          10/11/2023     0.6   Call with L. Francis, C. Myers, A. Kane, S. Yang, and S. Kotarba
                                            (A&M) re:Call to respond to 3rd party diligence request claims
Francis, Luke          10/11/2023     0.3   Discussion with R. Arora and L. Francis (A&M) re: Master claims
                                            deck source table breakout and weekly claims deck refreshes
Herzon, Sam            10/11/2023     0.8   Meeting with Alex Kane, Luke Francis, Sam Herzon and Steve
                                            Kotarba re: case background & equity claims
Herzon, Sam            10/11/2023     1.3   Perform fraud theft claims analysis


Herzon, Sam            10/11/2023     0.6   Meeting with Luke Francis and Sam Herzon re: equity claims
                                            analysis
Herzon, Sam            10/11/2023     2.7   Develop updated outstanding equity claims analysis


Herzon, Sam            10/11/2023     0.8   Continue to complete equity claims analysis

Hubbard, Taylor        10/11/2023     3.1   Utilize Metabase to perform CUD customer claims matching


Hubbard, Taylor        10/11/2023     2.1   Engage in a Metabase-based exercise to match customer claims

Hubbard, Taylor        10/11/2023     1.9   Accomplish the task of matching customer claims in Metabase

Hubbard, Taylor        10/11/2023     1.2   Employ Metabase for executing customer claims matching


Johnson, Robert        10/11/2023     1.2   Provide data extracts relating to requested customers kyc status and
                                            balances
Kane, Alex             10/11/2023     1.8   Create deliverable regarding non customer claims with Bahamas
                                            address for 3rd party due diligence request
Kane, Alex             10/11/2023     1.1   Call with S. Yang, A. Kane and C. Myers (A&M) re: Calls for 3rd
                                            party diligence requests




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Claims
Professional                Date    Hours    Activity
Kane, Alex             10/11/2023     1.9   Analyze non customer claims with Bahamas address for 3rd party
                                            diligence request
Kane, Alex             10/11/2023     1.9   Review exact duplicative customer claims for objection


Kane, Alex             10/11/2023     2.1   Review exact duplicative non-customer claims for objection

Kane, Alex             10/11/2023     0.6   Call with L. Francis, C. Myers, A. Kane, S. Yang, and S. Kotarba
                                            (A&M) re:Call to respond to 3rd party diligence request claims
Karnik, Noorita        10/11/2023     0.5   Call with M. Negus, S. Lowe, D. Sarmiento and N. Karnik (A&M) to
                                            discuss claims portal customer privacy requests
Kotarba, Steve         10/11/2023     1.0   Discussion with D. Lewandowski, R. Esposito, L. Francis, and S.
                                            Kotarba (A&M) re: claims reconciliation tasks
Kotarba, Steve         10/11/2023     1.6   Review and provide comments to first round of amend/dupe non-
                                            customer claim objections
Kotarba, Steve         10/11/2023     1.8   Prepare 3rd party diligence response to request re certain non-
                                            customer claims
Kotarba, Steve         10/11/2023     2.1   Prepare update to claims waterfall reporting deck


Kotarba, Steve         10/11/2023     0.4   Discussion with S. Kotarba and C. Myers re: exact duplicates claim
                                            objections
Kotarba, Steve         10/11/2023     0.6   Call with L. Francis, C. Myers, A. Kane, S. Yang, and S. Kotarba
                                            (A&M) re: Call to respond to 3rd party diligence request claims
Lewandowski, Douglas   10/11/2023     2.1   Identify potential customer claims that should have defaulted
                                            accepted values for discussion with Kroll
Lewandowski, Douglas   10/11/2023     1.0   Discussion with D. Lewandowski, R. Esposito, L. Francis, and S.
                                            Kotarba (A&M) re: claims reconciliation tasks
Lewandowski, Douglas   10/11/2023     0.3   Discussion with P. Avdellas and D. Lewandowski (A&M) re: Claims
                                            to schedule matching analysis
Lewandowski, Douglas   10/11/2023     1.1   Call with A&M staff re: incorporating new claims into the UCC claims
                                            deck
Lewandowski, Douglas   10/11/2023     0.5   Discussion with D. Lewandowski and R. Esposito (A&M) Re: AHC
                                            diligence request
Lewandowski, Douglas   10/11/2023     1.4   Prepare revised customer disclosures in preparation for ucc
                                            meetings
Lewandowski, Douglas   10/11/2023     0.7   Correspond with R. Esposito (A&M) re: updates to UCC deck

Lewandowski, Douglas   10/11/2023     0.4   Correspond with Kroll re: schedule searching capabilities in website


Lewandowski, Douglas   10/11/2023     1.1   Review list of parties that have not yet received KYC notice

Lewandowski, Douglas   10/11/2023     0.6   Update KYC solicitation letter for S&C review


Lewandowski, Douglas   10/11/2023     0.4   Correspond with J. Zatz re: urgent diligence request




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Claims
Professional                Date    Hours    Activity
Lewandowski, Douglas   10/11/2023     0.3   Discussion with D. Lewandowski, A. Mohammed (A&M), H. Alli, J.
                                            Karotkin, S. Perry (Kroll), R. Perubhatla (FTX), and R. Navarro (FTX)
                                            re: customer portal updates
Mohammed, Azmat        10/11/2023     0.5   Call with D. Chiu (FTX) and A.Mohammed (A&M) to discuss
                                            engineering processes for claims portal
Mohammed, Azmat        10/11/2023     0.6   Support FTX Customer Support and KYC Manual reviewing teams
                                            with technical matters on 10/11/23
Mohammed, Azmat        10/11/2023     0.3   Call with M. Flynn, A. Mohammed (A&M) to discuss claims portal
                                            KYC language and content
Mohammed, Azmat        10/11/2023     0.4   Review email solicitation to be sent to direct and non-standard claim
                                            filers
Mohammed, Azmat        10/11/2023     1.1   Build the KYC requirements by bar date documentation and
                                            materials
Mohammed, Azmat        10/11/2023     0.6   Identify initial requirements for removing scheduled claim
                                            acceptances from the claims portal and other Kroll integration
                                            matters
Mohammed, Azmat        10/11/2023     0.3   Discussion with D. Lewandowski, A. Mohammed (A&M), H. Alli, J.
                                            Karotkin, S. Perry (Kroll), R. Perubhatla (FTX), and R. Navarro (FTX)
                                            re: customer portal updates
Myers, Claire          10/11/2023     1.2   Prepare analysis of noncustomers with relationship to the Bahamas
                                            for third party diligence request
Myers, Claire          10/11/2023     1.1   Call with S. Yang, A. Kane and C. Myers (A&M) re: Calls for 3rd
                                            party diligence requests
Myers, Claire          10/11/2023     0.7   Analyze noncustomers claims with relationship to the Bahamas for
                                            third party diligence request
Myers, Claire          10/11/2023     1.8   Analyze claims flagged as exact duplicates for claim reconciliation

Myers, Claire          10/11/2023     0.4   Discussion with S. Kotarba and C. Myers re: exact duplicates claim
                                            objections
Myers, Claire          10/11/2023     0.6   Call with L. Francis, C. Myers, A. Kane, S. Yang, and S. Kotarba
                                            (A&M) re: Call to respond to 3rd party diligence request claims
Negus, Matthew         10/11/2023     0.6   Call with M. Negus, S. Lowe, D. Sarmiento and N. Karnik (A&M) to
                                            discuss claims portal customer privacy requests
Pestano, Kyle          10/11/2023     0.8   Investigate AWS data mismatch cases/escalations and review notes
                                            of contractors, documentation and statuses
Pestano, Kyle          10/11/2023     0.3   Analyze individual KYC applicant data by review status and type

Pestano, Kyle          10/11/2023     2.6   Review EDD cases needing SOF verification that were escalated
                                            due to high risk industry, jurisdiction, or industry from contract review
                                            teams
Pestano, Kyle          10/11/2023     0.6   Summarize information regarding KYC permissions and user setting
                                            changes and coordinate discussion with internal team members as
                                            well as compile/email questions to FTX compliance personnel to
                                            wrap up S&C request
Pestano, Kyle          10/11/2023     0.7   Discuss with data teams and coordinate questions for the exchange
                                            user settings and slack bot messages identified that don't align with
                                            KYC permissions for institutional customers


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                            Time Detail by Activity by Professional
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Claims
Professional                 Date    Hours    Activity
Pestano, Kyle           10/11/2023     0.3   Review preferential analysis transactions in order to determine
                                             whether there was a breach of KYC policy during specific time
                                             periods for an S&C request
Ramanathan, Kumanan     10/11/2023     0.3   Review of schedule of transferred claims and distribute to J. Ray
                                             (FTX)
Ramanathan, Kumanan     10/11/2023     1.1   Review of KYC references throughout FTX portal and provide
                                             feedback
Salas Nunez, Luis       10/11/2023     0.8   Call with L. Salas Nunez and L. Chamma (A&M) to discuss
                                             institutional KYC negative news findings
Salas Nunez, Luis       10/11/2023     0.2   Prepare data request for KYC analysis


Sarmiento, Dubhe        10/11/2023     2.6   Review, classification and processing of previous and new requests
                                             in the Claims Privacy Inbox on 11 October
Sarmiento, Dubhe        10/11/2023     0.6   Call with M. Negus, S. Lowe, D. Sarmiento and N. Karnik (A&M) to
                                             discuss claims portal customer privacy requests
Sullivan, Christopher   10/11/2023     0.5   Respond to diligence questions related to Australia related claims


Sullivan, Christopher   10/11/2023     0.6   Reconcile the Genesis related claims

Tong, Crystal           10/11/2023     1.1   Respond queries raised from the customer service regarding the
                                             KYC status
Tong, Crystal           10/11/2023     0.8   Consolidate the quality check workings on the manual KYC review

Tong, Crystal           10/11/2023     1.8   Perform checking and fixings on the mismatching data on the KYC
                                             portal
Tong, Crystal           10/11/2023     2.7   Review the manual KYC working for the retail of customers

Yan, Jack               10/11/2023     3.1   Perform quality check on KYC works performed by Integreon team
                                             as at October 11, 2023
Yan, Jack               10/11/2023     0.8   Answer queries from FTX Customer Service as at October 11, 2023


Yan, Jack               10/11/2023     1.8   Perform update on manual review ticket tracker as at October 11,
                                             2023
Yang, Sharon            10/11/2023     1.1   Call with S. Yang, A. Kane and C. Myers (A&M) re: Calls for 3rd
                                             party diligence requests
Yang, Sharon            10/11/2023     1.3   Analyze duplicates to extract claim summary for due diligence

Yang, Sharon            10/11/2023     2.4   Analyze claim register for priority identification


Yang, Sharon            10/11/2023     2.3   Update duplicates for 3rd party due diligence request

Yang, Sharon            10/11/2023     0.6   Call with L. Francis, C. Myers, A. Kane, S. Yang, and S. Kotarba
                                             (A&M) re:Call to respond to 3rd party diligence request claims
Zatz, Jonathan          10/11/2023     2.3   Script database related to request to include staking claim amounts
                                             in claims consolidation scripts


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                                 FTX Trading Ltd., et al.,
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Claims
Professional               Date    Hours    Activity
Zatz, Jonathan        10/11/2023     0.7   Correspondence regarding request for CUD claims data against
                                           KYC started date
Zatz, Jonathan        10/11/2023     1.9   Script database to determine how many customers matched on user-
                                           entered account ID
Zatz, Jonathan        10/11/2023     2.6   Update database script related to request to provide pricing of
                                           category B tokens
Zatz, Jonathan        10/11/2023     2.8   Script database related to request to summarize filed claims by
                                           disputed status
Arora, Rohan          10/12/2023     1.3   Identify outlying Chart elements on old decks and continue Migration
                                           on to new Claims reporting deck
Arora, Rohan          10/12/2023     0.6   Continue to link new claims reporting deck chart data to updated
                                           source tables
Arora, Rohan          10/12/2023     0.7   begin process of Relinking chart data from original sources to
                                           centralized source
Arora, Rohan          10/12/2023     2.2   Finalize claims reporting centralization efforts

Avdellas, Peter       10/12/2023     1.6   Assist in diligence request to include specific claim information such
                                           as claim #, debtor, and claim date filed to assist in diligence request
Avdellas, Peter       10/12/2023     1.3   Analyze unmatched customer schedules in an attempt to match
                                           schedules to claims filed in FTX customer portal based on alternate
                                           email address on file
Avdellas, Peter       10/12/2023     1.1   Analyze unmatched customer schedules in an attempt to match
                                           schedules to claims filed in FTX customer portal based on name on
                                           file
Avdellas, Peter       10/12/2023     1.4   Review motion filed on 9/6/23 to ensure that all claims listed in
                                           motion have been withdrawn from most recent Kroll register
Avdellas, Peter       10/12/2023     1.2   Analyze unmatched customer schedules in an attempt to match
                                           schedules to claims filed in FTX customer portal based on main
                                           account email address on file
Chambers, Henry       10/12/2023     0.3   Correspondence with BitGo and A&M teams regarding BitGo KYC
                                           resource invoices
Chambers, Henry       10/12/2023     1.2   Review latest sumsub retail KYC rejection list to identify prevalent
                                           KYC issues
Chambers, Henry       10/12/2023     0.6   Correspondence with S&C regarding institutional KYC findings


Chambers, Henry       10/12/2023     0.4   Review of BitGo institutional KYC findings

Chambers, Henry       10/12/2023     0.4   Call with B. Walsh and others (BitGo), R. Navarro (FTX), A.
                                           Mohammed, H. Chambers, M. Flynn, L. Chamma, C. Tong (A&M)
                                           to discuss institutional KYC matters
Chamma, Leandro       10/12/2023     0.4   Call with L. Chamma and K. Pestano (A&M) to discuss institutional
                                           KYC level and exchange user setting changes
Chamma, Leandro       10/12/2023     0.3   Call with A. Mohammed and L. Chamma (A&M) to discuss claims
                                           portal presentation
Chamma, Leandro       10/12/2023     1.8   Draft presentation outlining claims portal KYC process and flow



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Claims
Professional              Date    Hours    Activity
Chamma, Leandro      10/12/2023     0.2   Draft KYC application daily metrics for reporting purposes

Chamma, Leandro      10/12/2023     0.6   Call with L. Chamma, C. Tong, J. Yan, and K. Pestano (A&M) and
                                          A. Stephanovich and others (Integreon) to do manual review daily
                                          catch up
Chamma, Leandro      10/12/2023     0.5   Call with L. Chamma, C. Tong, J. Yan, and K. Pestano (A&M) to
                                          discuss duplicate KYC applicant cases and issues with EDD cases
                                          reviewed by Integreon
Chamma, Leandro      10/12/2023     0.9   Investigate claims portal KYC application in which Sumsub identified
                                          potential liveness check forced verification for purposes of reporting
                                          to S&C
Chamma, Leandro      10/12/2023     2.6   Review claims portal KYC applications resolved by UK (4 reviewers)
                                          and US (1 reviewer)manual reviewers for quality control and to
                                          respond to cases escalated for second level review
Chamma, Leandro      10/12/2023     1.4   Draft memorandum with findings and underlying information
                                          regarding claims portal KYC application in which Sumsub identified
                                          potential liveness check forced verification
Chamma, Leandro      10/12/2023     0.5   Call with A. Mohammed, M. Flynn, L. Chamma, C. Tong, K. Pestano
                                          (A&M), A. Porwal (Integreon), R. Navarro (FTX) to discuss latest
                                          portal and KYC status
Chamma, Leandro      10/12/2023     0.6   Monitor claims portal customer support chat to provide clarifications
                                          regarding 2 factor authentication resets and KYC status
Dusendschon, Kora    10/12/2023     0.2   Call with K. Dusendschon and K. Pestano (A&M) to discuss slack
                                          bot messaging and exchange coding from FTX engineers
Esposito, Rob        10/12/2023     2.4   Prepare detailed claims reconciliation of legal and treasury claims to
                                          complete tear sheets for S&C review
Esposito, Rob        10/12/2023     1.2   Review of fully unliquidated market maker claims to understand
                                          other claim components
Esposito, Rob        10/12/2023     0.3   Coordinate claims reporting workstreams and diligence requests


Esposito, Rob        10/12/2023     0.7   Review of claims data to prepare for creditor meetings

Flynn, Matthew       10/12/2023     0.8   Investigate disputed claims status reasoning for S&C

Flynn, Matthew       10/12/2023     0.6   Review on overall Ad Hoc group claims status and balances


Flynn, Matthew       10/12/2023     0.5   Call with A. Mohammed, M. Flynn, L. Chamma, C. Tong, K. Pestano
                                          (A&M), A. Porwal (Integreon), R. Navarro (FTX) to discuss latest
                                          portal and KYC status
Francis, Luke        10/12/2023     1.4   Review of claims with equity claim basis for potential reclassification
                                          based on assertions in proof of claim
Francis, Luke        10/12/2023     0.6   Discussion with S. Kotarba, A. Kane, L. Francis, and S. Herzon
                                          (A&M) re: Review of duplicative and amended claims
Francis, Luke        10/12/2023     1.7   Review of claims with fraud / theft claims basis for included
                                          documentation to support claim
Francis, Luke        10/12/2023     1.8   Analysis of billion dollar customer claims to review for inaccuracies
                                          in asserted claim amounts


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Claims
Professional                Date    Hours    Activity
Francis, Luke          10/12/2023     0.4   Call with A. Kane, L. Francis, and S. Herzon (A&M) re: Review of
                                            amended claims
Francis, Luke          10/12/2023     1.6   Review of claims initially tagged as amended claims for accuracy


Francis, Luke          10/12/2023     1.7   Create objection template for amended claims to for omnibus hearing

Herzon, Sam            10/12/2023     1.3   Meeting with Alex Kane, Luke Francis and Sam Herzon re: amended
                                            duplicate analysis
Herzon, Sam            10/12/2023     0.4   Perform amended duplicate customer analysis


Herzon, Sam            10/12/2023     1.9   Begin amended duplicate analysis for non-customer

Hubbard, Taylor        10/12/2023     2.9   Leverage Metabase for the purpose of CUD customer claims
                                            matching
Hubbard, Taylor        10/12/2023     2.6   Reconcile any unmatched claims to their corresponding claim forms

Hubbard, Taylor        10/12/2023     2.2   Employ Metabase to facilitate customer claims matching


Hubbard, Taylor        10/12/2023     1.1   Make use of Metabase to match customer claims

Johnson, Robert        10/12/2023     1.4   Call with N. Molina (FTX), R. Johnson, P. Kwan, A. Mohammed
                                            (A&M) to discuss final balances of EU creditors
Kane, Alex             10/12/2023     0.6   Discussion with S. Kotarba, A. Kane, L. Francis, and S. Herzon
                                            (A&M) re: Review of duplicative and amended claims
Kane, Alex             10/12/2023     0.4   Call with A. Kane, L. Francis, and S. Herzon (A&M) re: Review of
                                            amended claims
Kane, Alex             10/12/2023     2.1   Review customer amended claims for debtor/claimant relationship
                                            anomalies
Kane, Alex             10/12/2023     1.9   Review noncustomer amended claims for debtor/claimant
                                            relationship anomalies
Kane, Alex             10/12/2023     1.8   Review non customer amended claims for additional documentation
                                            details
Kane, Alex             10/12/2023     1.6   Review customer amended claims for additional documentation
                                            details
Kane, Alex             10/12/2023     1.9   Review amended claims for adjusted claim amounts

Kane, Alex             10/12/2023     0.5   Review amended claims with priority claim class


Lewandowski, Douglas   10/12/2023     0.4   Research inquiry related to scheduled investments for discussion
                                            with A&M accounting team
Lewandowski, Douglas   10/12/2023     1.7   Prepare revised customer summary to breakout KYC details for
                                            discussion with various constituents
Lewandowski, Douglas   10/12/2023     1.4   Prepare revised claims chart for incorporating into PMO/claim deck




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Claims
Professional                Date    Hours    Activity
Lewandowski, Douglas   10/12/2023     0.7   Review agreement for claim impacts and update in customer
                                            database
Lewandowski, Douglas   10/12/2023     0.8   Review KYC inquiries from customers and work with FTX Cs on a
                                            resolution
Lewandowski, Douglas   10/12/2023     1.1   Summarize KYC cutoff participants for Eversheds discussion

Lewandowski, Douglas   10/12/2023     0.3   Provide review comments on PMO customer slides

Lewandowski, Douglas   10/12/2023     1.2   Review UCC member tear sheets for discussion with A&M team


Lewandowski, Douglas   10/12/2023     0.4   Call with R. Navarro, P. Laurie (FTX), D. Lewandowski,
                                            A.Mohammed (A&M) to discuss customer service processes related
                                            to claims
Mohammed, Azmat        10/12/2023     1.4   Call with N. Molina (FTX), R. Johnson, P. Kwan, A. Mohammed
                                            (A&M) to discuss final balances of EU creditors
Mohammed, Azmat        10/12/2023     1.1   Coordinate development efforts related to tax download functionality
                                            and other features
Mohammed, Azmat        10/12/2023     0.6   Coordinate development efforts related to identifying and storing
                                            KYC profile creation date
Mohammed, Azmat        10/12/2023     0.7   Coordinate production deployment of claims portal with CSV
                                            functionality and translations
Mohammed, Azmat        10/12/2023     0.4   Coordinate engineer efforts to updating copy on the claims portal
                                            and the help center FAQs
Mohammed, Azmat        10/12/2023     0.3   Call with A. Mohammed and L. Chamma (A&M) to discuss claims
                                            portal presentation
Mohammed, Azmat        10/12/2023     1.2   Document retail and institutional KYC overview

Mohammed, Azmat        10/12/2023     3.1   Develop FTX Claims Process and KYC walkthrough materials

Mohammed, Azmat        10/12/2023     1.2   Support FTX Customer Support and KYC Manual reviewing teams
                                            with technical matters on 10/12/23 related to access issues and
                                            customer inquiries
Mohammed, Azmat        10/12/2023     0.4   Call with R. Navarro, P. Laurie (FTX), D. Lewandowski,
                                            A.Mohammed (A&M) to discuss customer service processes related
                                            to claims
Mohammed, Azmat        10/12/2023     0.2   Call with A. Mohammed and K. Pestano (A&M) to discuss published
                                            institutional KYC policies and FTX exchange coding from engineers
Mohammed, Azmat        10/12/2023     0.5   Call with A. Mohammed, M. Flynn, L. Chamma, C. Tong, K. Pestano
                                            (A&M), A. Porwal (Integreon), R. Navarro (FTX) to discuss latest
                                            portal and KYC status
Myers, Claire          10/12/2023     2.3   Analyze claims flagged as exact duplicates to confirm they were
                                            duplicative
Myers, Claire          10/12/2023     1.1   Summarize claimant relation to Bahamas for third party diligence
                                            request
Myers, Claire          10/12/2023     2.4   Analyze full claimant addresses to determine whether claimants
                                            have a relation to the Bahamas for third party diligence request


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Claims
Professional               Date    Hours    Activity
Negus, Matthew        10/12/2023     0.3   Review of claims portal customer privacy requests

Pestano, Kyle         10/12/2023     0.2   Investigate AWS data mismatch cases and escalations/review notes
                                           of contractors, documentation and statuses
Pestano, Kyle         10/12/2023     0.2   Call with K. Dusendschon and K. Pestano (A&M) to discuss slack
                                           bot messaging and exchange coding from FTX engineers
Pestano, Kyle         10/12/2023     0.4   Call with L. Chamma and K. Pestano (A&M) to discuss institutional
                                           KYC level and exchange user setting changes
Pestano, Kyle         10/12/2023     0.6   Call with L. Chamma, C. Tong, J. Yan, and K. Pestano (A&M) and
                                           A. Stephanovich and others (Integreon) to do manual review daily
                                           catch up
Pestano, Kyle         10/12/2023     0.2   Call with A. Mohammed and K. Pestano (A&M) to discuss published
                                           institutional KYC policies and FTX exchange coding from engineers
Pestano, Kyle         10/12/2023     2.7   Review complex EDD review cases with foreign docs requested;
                                           high risk industry/jurisdiction tags from both of the contract teams
Pestano, Kyle         10/12/2023     0.3   Continue to search relativity for KYC level and user setting changes,
                                           compile documents identified from FTX compliance personnel, FTX
                                           engineers, and internal data team and draft email summarizing all
                                           the information before sending to S&C
Pestano, Kyle         10/12/2023     1.6   Review information received from FTX engineers, send follow up
                                           questions and speak with data team regarding slack bot messages
                                           and summarize for S&C lawyers
Pestano, Kyle         10/12/2023     0.5   Call with L. Chamma, C. Tong, J. Yan, and K. Pestano (A&M) to
                                           discuss duplicate KYC applicant cases and issues with EDD cases
                                           reviewed by Integreon
Pestano, Kyle         10/12/2023     1.9   Search relativity for KYC level and user setting changes, compile
                                           documents identified from FTX compliance personnel, FTX
                                           engineers, and internal data team and draft email summarizing all
                                           the information before sending to S&C
Pestano, Kyle         10/12/2023     0.5   Call with A. Mohammed, M. Flynn, L. Chamma, C. Tong, K. Pestano
                                           (A&M), A. Porwal (Integreon), R. Navarro (FTX) to discuss latest
                                           portal and KYC status
Ramanathan, Kumanan   10/12/2023     1.3   Create updated tear sheets for ad-hoc creditors and distribute


Ramanathan, Kumanan   10/12/2023     0.9   Prepare updated tear sheet for creditor with custom fields

Salas Nunez, Luis     10/12/2023     1.9   Prepare and clean data from KYC request

Salas Nunez, Luis     10/12/2023     2.8   Create dashboard to summarize transaction data from KYC exercise


Salas Nunez, Luis     10/12/2023     1.3   Analyze transaction data from KYC request list

Sarmiento, Dubhe      10/12/2023     2.7   Review, classification and processing of previous and new requests
                                           in the Claims Privacy Inbox on 12 October
Tong, Crystal         10/12/2023     1.3   Respond questions and request raised from the customer service
                                           regarding the KYC status




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Claims
Professional               Date    Hours    Activity
Tong, Crystal         10/12/2023     2.9   Perform QC on the manual KYC review work for the retail of
                                           customers
Tong, Crystal         10/12/2023     1.2   Assign fixed mismatching data on the KYC portal to the reviewers


Tong, Crystal         10/12/2023     1.1   Compile the quality check workings on the manual KYC review

Tong, Crystal         10/12/2023     0.5   Call with A. Mohammed, M. Flynn, L. Chamma, C. Tong, K. Pestano
                                           (A&M), A. Porwal (Integreon), R. Navarro (FTX) to discuss latest
                                           portal and KYC status
Tong, Crystal         10/12/2023     0.5   Call with L. Chamma, C. Tong, J. Yan, and K. Pestano (A&M) to
                                           discuss duplicate KYC applicant cases and issues with EDD cases
                                           reviewed by Integreon
Tong, Crystal         10/12/2023     0.6   Call with L. Chamma, C. Tong, J. Yan, and K. Pestano (A&M) and
                                           A. Stephanovich and others (Integreon) to do manual review daily
                                           catch up
Yan, Jack             10/12/2023     2.6   Perform quality check on KYC works performed by Integreon team
                                           as at October 12, 2023
Yan, Jack             10/12/2023     2.4   Perform update on manual review ticket tracker as at October 12,
                                           2023
Yan, Jack             10/12/2023     0.4   Answer queries from FTX Customer Service as at October 12, 2023


Yan, Jack             10/12/2023     0.5   Call with L. Chamma, C. Tong, J. Yan, and K. Pestano (A&M) to
                                           discuss duplicate KYC applicant cases and issues with EDD cases
                                           reviewed by Integreon
Yan, Jack             10/12/2023     0.6   Call with L. Chamma, C. Tong, J. Yan, and K. Pestano (A&M) and
                                           A. Stephanovich and others (Integreon) to do manual review daily
                                           catch up
Zatz, Jonathan        10/12/2023     0.6   Script database related to request to add account names to
                                           processing withdrawal analysis
Zatz, Jonathan        10/12/2023     0.6   Correspondence to answer questions regarding table of accounts
                                           with their CUD flag and balances
Zatz, Jonathan        10/12/2023     1.1   Update database script to capture CUD flag, claim status, and
                                           balances for each customer
Zatz, Jonathan        10/12/2023     1.4   Script database related to request to determine why specific
                                           customer has disputed flag
Zatz, Jonathan        10/12/2023     0.4   Review database script to determine ticker category

Zatz, Jonathan        10/12/2023     2.9   Script database related to request to provide CUD summary along
                                           with KYC status as of certain date, with locked portion of balance
                                           broken out
Arora, Rohan          10/13/2023     1.1   Finalize graphics centralization effort and ensure all relevant items in
                                           deck are correctly linked
Arora, Rohan          10/13/2023     0.6   Discussion with L. Francis and R. Arora (A&M) re: weekly refresh of
                                           claims reporting deck
Arora, Rohan          10/13/2023     1.3   Continue to Input graphics from centralized source into claims
                                           overview deck



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Claims
Professional               Date    Hours    Activity
Arora, Rohan          10/13/2023     1.2   Input graphics from centralized source into claims overview deck

Avdellas, Peter       10/13/2023     1.8   Analyze unmatched customer schedules in an attempt to match
                                           additional schedules to claims filed in FTX customer portal based on
                                           main account email address on file
Avdellas, Peter       10/13/2023     1.4   Analyze unmatched customer schedules in an attempt to match
                                           additional schedules to claims filed in FTX customer portal based on
                                           name on file
Avdellas, Peter       10/13/2023     1.7   Analyze unmatched customer schedules in an attempt to match
                                           additional schedules to claims filed in FTX customer portal based on
                                           alternate email address on file
Avdellas, Peter       10/13/2023     1.6   Analyze claims based on specific criteria provided in an attempt to
                                           locate customer claim number to assist in diligence request
Avdellas, Peter       10/13/2023     1.4   Analyze claims based on specific criteria provided in an attempt to
                                           locate claim confirmation ID to assist in diligence request
Chambers, Henry       10/13/2023     0.7   Correspondence with A&M team regarding next steps for
                                           Institutional KYC findings made by BitGo
Chambers, Henry       10/13/2023     0.6   Correspondence with S&C and A&M teams regarding approach to
                                           KYC for creditor purchased claims
Chambers, Henry       10/13/2023     0.8   Respond to creditor queries regarding KYC/AML requirements


Chambers, Henry       10/13/2023     0.4   Discussion with D. Lewandowski, H. Chambers, R. Esposito (A&M),
                                           N. DeLoatch (Eversheds), D. Hilkens, B. Hoyng, K. Oei (Attestor) re:
                                           claim transfer and customer account diligence
Chamma, Leandro       10/13/2023     0.6   Provide feedback related to KYC status of list of institutional
                                           customers who sold claims to secondary claim holders
Chamma, Leandro       10/13/2023     0.8   Draft executive summary of the presentation outlining claims portal
                                           KYC process and flow
Chamma, Leandro       10/13/2023     0.6   Draft spreadsheet with complete list of high balance KYC applicants
                                           and current status
Chamma, Leandro       10/13/2023     0.1   Draft KYC application daily metrics for reporting purposes


Chamma, Leandro       10/13/2023     1.2   Monitor claims portal customer support chat to provide clarifications
                                           regarding 2 factor authentication resets and KYC status
Chamma, Leandro       10/13/2023     2.3   Review claims portal KYC applications resolved by UK (4 reviewers)
                                           manual reviewers for quality control and to respond to cases
                                           escalated for second level review
Coverick, Steve       10/13/2023     1.1   Review and provide comments on revised AHC holding analysis


Esposito, Rob         10/13/2023     2.3   Discussion with D. Lewandowski, R. Esposito, and S. Kotarba
                                           (A&M) Re: customer claims reconciliation
Esposito, Rob         10/13/2023     0.5   Discussion with D. Lewandowski, R. Esposito, S. Kotarba (A&M), S.
                                           Perry, H. Alli (Kroll) re: customer claims portal
Esposito, Rob         10/13/2023     0.9   Discuss claims reconciliations and objections with J Croke, A
                                           Kranzley (S&C) and R Esposito (A&M)
Esposito, Rob         10/13/2023     0.4   Discuss claims overview report with L Francis and R Esposito (A&M)


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Claims
Professional                Date    Hours    Activity
Esposito, Rob          10/13/2023     0.4   Review of claims reconciliation and preference tear sheets

Esposito, Rob          10/13/2023     2.4   Review of frivolous customer claims to understand relationship to
                                            debtors, match to customer accounts/claims and prepare objection
                                            recommendations
Flynn, Matthew         10/13/2023     0.7   Review FTX customer service agreements for S&C


Flynn, Matthew         10/13/2023     0.6   Review Update KYC and customer portal presentation for S&C

Flynn, Matthew         10/13/2023     0.9   Create management presentation on customer portal KPIs


Francis, Luke          10/13/2023     2.3   Search creditor relationship to top filed claims with limited
                                            documentation included in proof of claim
Francis, Luke          10/13/2023     1.4   Review of customer claims initial filed for trillions of dollars for
                                            analysis of objections
Francis, Luke          10/13/2023     0.6   Discussion with L. Francis and R. Arora (A&M) re: weekly refresh of
                                            claims reporting deck
Francis, Luke          10/13/2023     2.3   Update summary presentation for claims adjustments to non-
                                            customer claims
Francis, Luke          10/13/2023     1.9   Update summary presentation for claims adjustments to
                                            governmental claims
Francis, Luke          10/13/2023     0.4   Discuss claims overview report with L Francis and R Esposito (A&M)

Hubbard, Taylor        10/13/2023     0.7   Perform eBrevia search for most recent Chainalysis agreement per
                                            request from K. Ramanathan (A&M)
Hubbard, Taylor        10/13/2023     1.6   Engage Metabase for the purpose of conducting CUD-based
                                            customer claims matching
Hubbard, Taylor        10/13/2023     3.1   Harness Metabase to perform the task of CUD customer claims
                                            matching
Hubbard, Taylor        10/13/2023     2.6   Apply Metabase to conduct customer claims matching


Johnson, Robert        10/13/2023     0.5   Discussion with A. Mohammed, R. Johnson, J. Zatz, K. Ramanathan
                                            (A&M), J. Daloia, J. Hughes, and J. Karotkin (Kroll) re: customer
                                            claims portal
Kane, Alex             10/13/2023     2.1   Review amended claims marked for objection and analyze
                                            surviving/non-surviving claims
Kotarba, Steve         10/13/2023     2.3   Discussion with D. Lewandowski, R. Esposito, and S. Kotarba
                                            (A&M) Re: customer claims reconciliation
Kotarba, Steve         10/13/2023     0.5   Discussion with D. Lewandowski, R. Esposito, S. Kotarba (A&M), S.
                                            Perry, H. Alli (Kroll) re: customer claims portal
Lewandowski, Douglas   10/13/2023     1.3   Prepare responses to diligence requests from Eversheds/Attestor
                                            related to acquired claim validation
Lewandowski, Douglas   10/13/2023     2.3   Discussion with D. Lewandowski, R. Esposito, and S. Kotarba
                                            (A&M) Re: customer claims reconciliation
Lewandowski, Douglas   10/13/2023     1.4   Draft response to diligence request from Attestor Capital related to
                                            acquired claims

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Claims
Professional                Date    Hours    Activity
Lewandowski, Douglas   10/13/2023     0.8   Prepare summary of claims reconciliation findings for discussion
                                            with team
Lewandowski, Douglas   10/13/2023     0.5   Discussion with D. Lewandowski, R. Esposito, S. Kotarba (A&M), S.
                                            Perry, H. Alli (Kroll) re: customer claims portal
Lewandowski, Douglas   10/13/2023     0.4   Discussion with D. Lewandowski, H. Chambers, R. Esposito (A&M),
                                            N. DeLoatch (Eversheds), D. Hilkens, B. Hoyng, K. Oei (Attestor) re:
                                            claim transfer and customer account diligence
Mohammed, Azmat        10/13/2023     1.1   Coordinate FTX CS and engineering efforts related to FAQ updates
                                            and portal copy changes
Mohammed, Azmat        10/13/2023     1.7   Support FTX Customer Support and KYC Manual reviewing teams
                                            with technical matters on 10/13/23
Mohammed, Azmat        10/13/2023     2.1   Coordinate engineering efforts related to storing the retail KYC
                                            application creation date
Mohammed, Azmat        10/13/2023     0.5   Discussion with A. Mohammed, R. Johnson, J. Zatz, K. Ramanathan
                                            (A&M), J. Daloia, J. Hughes, and J. Karotkin (Kroll) re: customer
                                            claims portal
Myers, Claire          10/13/2023     2.3   Prepare claim tear sheet tracker with live links to PowerPoint and
                                            excels
Myers, Claire          10/13/2023     0.9   Update priority tear sheets with additional claim information

Myers, Claire          10/13/2023     1.1   Summarize duplicative claim analysis for legal review


Myers, Claire          10/13/2023     1.6   Analyze claim amount level to confirm duplicative claims

Myers, Claire          10/13/2023     2.7   Update internal claim tracker with updated claims register

Negus, Matthew         10/13/2023     0.2   Evaluate claims portal customer privacy requests


Pestano, Kyle          10/13/2023     1.7   Compile excel files and analyze Sumsub applicant data by status
                                            and type before summarizing the data for counsel
Ramanathan, Kumanan    10/13/2023     0.3   Call with B. Ataseven, D. Fauchier (Nickel) to discuss claims pricing
                                            matters
Ramanathan, Kumanan    10/13/2023     1.2   Review total ad-hoc creditor committee claims balances and provide
                                            feedback
Ramanathan, Kumanan    10/13/2023     0.7   Review of GSR tear sheet and claims detail and provide feedback


Ramanathan, Kumanan    10/13/2023     0.5   Discussion with A. Mohammed, R. Johnson, J. Zatz, K. Ramanathan
                                            (A&M), J. Daloia, J. Hughes, and J. Karotkin (Kroll) re: customer
                                            claims portal
Salas Nunez, Luis      10/13/2023     0.3   Include additional accounts in KYC analysis

Sarmiento, Dubhe       10/13/2023     1.6   Review, classification and processing of previous and new requests
                                            in the Claims Privacy Inbox on 13 October
Tenney, Bridger        10/13/2023     1.9   Prepare customer claim infographic involving 3rd party settlement




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Claims
Professional               Date    Hours    Activity
Tong, Crystal         10/13/2023     0.8   Conduct checking and fixing on the applications with data
                                           mismatching scenarios
Tong, Crystal         10/13/2023     2.7   Perform quality checking on the manual KYC performed on the retail
                                           customers
Tong, Crystal         10/13/2023     1.6   Respond to queries raised from the customer service team on the
                                           KYC status
Tong, Crystal         10/13/2023     1.9   Integrate the quality check workings performed on the manual KYC
                                           review
Yan, Jack             10/13/2023     2.7   Perform quality check on KYC works performed by Integreon team
                                           as at October 13, 2023
Zatz, Jonathan        10/13/2023     1.6   Script database to include revised/asserted quantity at ticker-level
                                           table in claims reconciliation script
Zatz, Jonathan        10/13/2023     0.6   Script database to use latest extract date for KYC data as part of
                                           claims reconciliation script
Zatz, Jonathan        10/13/2023     1.2   Script database to include additional KYC fields to claims
                                           consolidation script
Zatz, Jonathan        10/13/2023     1.9   Execute database script to consolidate latest claims data from Kroll


Zatz, Jonathan        10/13/2023     0.5   Discussion with A. Mohammed, R. Johnson, J. Zatz, K. Ramanathan
                                           (A&M), J. Daloia, J. Hughes, and J. Karotkin (Kroll) re: customer
                                           claims portal
Avdellas, Peter       10/14/2023     1.4   Analyze proof of claim for customer claims to include asserted
                                           quantity of each crypto currency listed to assist in diligence request
Avdellas, Peter       10/14/2023     0.7   Review claims based on customer code to capture relevant
                                           information such as claim #, customer code, and main account ID to
                                           assist in diligence request
Esposito, Rob         10/14/2023     0.6   Prepare detailed update to the claims overview within the PMO
                                           presentation
Esposito, Rob         10/14/2023     1.1   Discussion with D Lewandowski and R Esposito (A&M) to review
                                           claims reconciliations
Esposito, Rob         10/14/2023     1.3   Review of certain committee claims to prepare for reconciliation
                                           discussion
Esposito, Rob         10/14/2023     0.7   Discuss customer claims reconciliations with R Esposito and D
                                           Lewandowski (A&M)
Esposito, Rob         10/14/2023     0.4   Review of claim transfers issues to prepare communication to S&C
                                           team
Esposito, Rob         10/14/2023     0.3   Prepare summary of frivolous customer claims for S&C team

Esposito, Rob         10/14/2023     0.5   Prepare updated team tasks to manage workstreams

Francis, Luke         10/14/2023     0.3   Discussion with S. Kotarba and L. Francis re: Claims summary
                                           presentation updates from previous week
Francis, Luke         10/14/2023     0.4   Discussion with S. Kotarba and L. Francis re: Non-Customer claims
                                           reconciliation project plan
Francis, Luke         10/14/2023     1.8   Analysis of new claims filed for amended claims relationships for
                                           non-customers

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Claims
Professional                Date    Hours    Activity
Francis, Luke          10/14/2023     1.4   Buildout of summary details for public materials PPT on top filed
                                            claims
Francis, Luke          10/14/2023     2.4   Update claims presentation to include changes from previous week


Kearney, Kevin         10/14/2023     1.2   Review of cash database for pending withdrawals associated with
                                            targeted customer claims
Kotarba, Steve         10/14/2023     0.3   Discussion with S. Kotarba and L. Francis re: Claims summary
                                            presentation updates from previous week
Kotarba, Steve         10/14/2023     0.4   Discussion with S. Kotarba and L. Francis re: Non-Customer claims
                                            reconciliation project plan
Lewandowski, Douglas   10/14/2023     1.1   Discussion with D. Lewandowski and R. Esposito (A&M) Re:
                                            customer claim tasks and reconciliation priorities
Lewandowski, Douglas   10/14/2023     0.6   Finalize responses to priority diligence requests from
                                            Eversheds/Attestor related to acquired claim validation
Lewandowski, Douglas   10/14/2023     1.4   Review and reconcile ticker details for specific high priority claims
                                            reconciliation
Lewandowski, Douglas   10/14/2023     0.7   Discuss customer claims reconciliations with R Esposito and D
                                            Lewandowski (A&M)
Lewandowski, Douglas   10/14/2023     1.2   Prepare memo of open items related to customer claims
                                            reconciliation
Lewandowski, Douglas   10/14/2023     2.0   Prepare updates to customer claims reporting deck by providing
                                            additional groupings for claims subject to objection
Lewandowski, Douglas   10/14/2023     0.5   Respond to diligence/customer inquiries request from FTX Cs
                                            related to specific customer and the claims that they filed
Myers, Claire          10/14/2023     1.1   Analyze claim detail to determine priority information for claim
                                            summary tear sheets
Ramanathan, Kumanan    10/14/2023     0.6   Correspond with team re: reconciliation of claim


Chambers, Henry        10/15/2023     1.2   Amend presentation on customer portal and KYC/AML presentation
                                            for JPLs
Chambers, Henry        10/15/2023     0.8   Answer queries on KYC status for purchased claims


Chamma, Leandro        10/15/2023     0.7   Investigate claims portal high balance KYC application related to
                                            original customer that transferred the claim to secondary claim holder
Coverick, Steve        10/15/2023     0.9   Call with E. Mosley, S. Coverick, K. Ramanathan (A&M) to discuss
                                            customer claims reconciliation process
Esposito, Rob          10/15/2023     0.6   Discussion with D. Lewandowski and R. Esposito (A&M) re:
                                            transaction history review for certain customers
Esposito, Rob          10/15/2023     0.5   Discussion with K. Ramanathan, R. Esposito, D. Lewandowski, and
                                            G. Walia (A&M) re: customer claim reconciliation
Esposito, Rob          10/15/2023     0.8   Discussion with D. Lewandowski, R. Esposito, K. Ramanathan
                                            (A&M) re: customer claim reconciliation summaries
Esposito, Rob          10/15/2023     0.7   Prepare summary of duplicate customer main account claims for
                                            discussion re: customer claims objections




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Claims
Professional              Date    Hours    Activity
Esposito, Rob        10/15/2023     0.4   Discussion with D Lewandowski and R Esposito (A&M) to layout
                                          reconciliation methodology for customer claims
Esposito, Rob        10/15/2023     0.9   Discuss perpetual ticker reconciliation with G Walia, D Lewandowski
                                          and R Esposito (A&M)
Esposito, Rob        10/15/2023     1.0   Discussion with D Lewandowski and R Esposito (A&M) re: the
                                          customer claims reconciliation
Esposito, Rob        10/15/2023     1.2   Review and analysis of the claims reconciliations of certain Ad Hoc
                                          committee members
Esposito, Rob        10/15/2023     0.8   Prepare overview of processing withdrawal methodology for
                                          reconciliation of claims
Esposito, Rob        10/15/2023     0.3   Prepare select claims reconciliation tear sheets for S&C request

Esposito, Rob        10/15/2023     0.3   Prepare updates and comments to the draft customer claims data
                                          process
Esposito, Rob        10/15/2023     0.3   Coordinate claims reporting workstreams and diligence requests

Esposito, Rob        10/15/2023     0.4   Review of amended claims objection review file to share with the
                                          S&C team
Esposito, Rob        10/15/2023     1.2   Review and prepare updates to the weekly claims overview

Esposito, Rob        10/15/2023     0.7   Prepare summary slide for Ad Hoc claims review

Esposito, Rob        10/15/2023     0.5   Discussion with D. Lewandowski, K. Kearney, R. Esposito, K.
                                          Ramanathan (A&M) re: customer ticker reconciliation and
                                          transaction history review
Francis, Luke        10/15/2023     1.6   Review of analysis performed for matching accounts with pending
                                          withdrawals to filed customer claims
Francis, Luke        10/15/2023     1.7   Update variance reporting for customer claims to scheduled claims
                                          based on internal matching
Francis, Luke        10/15/2023     2.3   Review of claimant assertions for customer claims to match to
                                          scheduled claims
Francis, Luke        10/15/2023     1.9   Review of AHC customer claims to provide feedback to leadership
                                          on variances
Francis, Luke        10/15/2023     1.4   Update summary non-customer weekly claims changes PPT


Gordon, Robert       10/15/2023     0.2   Correspondence on withdrawal processing for customer claims

Johnson, Robert      10/15/2023     0.5   Call with R. Johnson and K. Pestano (A&M) to discuss FTX legacy
                                          database and distinct counts of individuals and institutions by source
                                          and KYC status
Kearney, Kevin       10/15/2023     0.5   Review analysis regarding pending withdrawals associated with
                                          exchange customers for claims reconciliation
Kearney, Kevin       10/15/2023     0.5   Discussion with D. Lewandowski, K. Kearney, R. Esposito, K.
                                          Ramanathan (A&M) re: customer ticker reconciliation and
                                          transaction history review



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Claims
Professional                Date    Hours    Activity
Lewandowski, Douglas   10/15/2023     0.8   Discussion with D. Lewandowski, R. Esposito, K. Ramanathan
                                            (A&M) re: customer claim reconciliation summaries
Lewandowski, Douglas   10/15/2023     0.4   Discussion with D Lewandowski and R Esposito (A&M) to layout
                                            reconciliation methodology for customer claims
Lewandowski, Douglas   10/15/2023     0.6   Discussion with D. Lewandowski and R. Esposito (A&M) re:
                                            transaction history review for certain customers
Lewandowski, Douglas   10/15/2023     0.5   Discussion with K. Ramanathan, R. Esposito, D. Lewandowski, and
                                            G. Walia (A&M) re: customer claim reconciliation
Lewandowski, Douglas   10/15/2023     0.4   Discussion with D. Lewandowski and G. Walia (A&M) re: updated
                                            customer claim reconciliation summary
Lewandowski, Douglas   10/15/2023     1.0   Discussion with D Lewandowski and R Esposito (A&M) re: the
                                            customer claims reconciliation
Lewandowski, Douglas   10/15/2023     0.9   Discuss perpetual ticker reconciliation with G Walia, D Lewandowski
                                            and R Esposito (A&M)
Lewandowski, Douglas   10/15/2023     0.5   Discussion with D. Lewandowski, K. Kearney, R. Esposito, K.
                                            Ramanathan (A&M) re: customer ticker reconciliation and
                                            transaction history review
Mosley, Ed             10/15/2023     0.9   Discussion with A&M (E.Mosley, S.Coverick, K.Ramanathan)
                                            regarding claims reconciliation process
Myers, Claire          10/15/2023     1.4   Update claim tear sheet information for priority tear sheets


Myers, Claire          10/15/2023     0.7   Analyze duplicative claims for first omnibus objection

Pestano, Kyle          10/15/2023     2.4   Review AWS data mismatch cases and review EDD cases
                                            escalated for second level review due to high risk industries or
                                            jurisdictions, and provide feedback to the EU contract review team
Ramanathan, Kumanan    10/15/2023     0.9   Call with E. Mosley, S. Coverick, K. Ramanathan (A&M) to discuss
                                            customer claims reconciliation process
Ramanathan, Kumanan    10/15/2023     0.5   Discussion with K. Ramanathan, R. Esposito, D. Lewandowski, and
                                            G. Walia (A&M) re: customer claim reconciliation
Ramanathan, Kumanan    10/15/2023     0.8   Discussion with D. Lewandowski, R. Esposito, K. Ramanathan
                                            (A&M) re: customer claim reconciliation summaries
Ramanathan, Kumanan    10/15/2023     0.4   Review of ad-hoc creditor tear sheets and discuss with counsel and
                                            J. Ray (FTX) on next steps
Ramanathan, Kumanan    10/15/2023     1.1   Review of transaction history and balance details for specific
                                            customers
Ramanathan, Kumanan    10/15/2023     0.5   Discussion with D. Lewandowski, K. Kearney, R. Esposito, K.
                                            Ramanathan (A&M) re: customer ticker reconciliation and
                                            transaction history review
Walia, Gaurav          10/15/2023     0.5   Discussion with K. Ramanathan, R. Esposito, D. Lewandowski, and
                                            G. Walia (A&M) re: customer claim reconciliation
Walia, Gaurav          10/15/2023     2.7   Prepare a variance of post-petition trade activity on the exchange


Walia, Gaurav          10/15/2023     1.7   Review a reconciliation for a customer and provide feedback




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Claims
Professional               Date    Hours    Activity
Avdellas, Peter       10/16/2023     0.3   Discussion with P. Avdellas and D, Lewandowski (A&M) re: Ticker
                                           level detail diligence request based on customer code
Avdellas, Peter       10/16/2023     1.4   Analyze proof of claim images for subset of claims based on criteria
                                           provided to capture all asserted amounts for crypto tokens to assist
                                           in diligence request
Avdellas, Peter       10/16/2023     0.8   Analyze new claims from updated Kroll register updated on 10/16/23
                                           to capture all relevant information to triage new claims
Avdellas, Peter       10/16/2023     1.3   Analyze unmatched customer claims submitted through FTX portal
                                           with filed amounts between $300,000 and $400,000 in an attempt to
                                           match unique main account ID by customer code provided
Avdellas, Peter       10/16/2023     0.2   Discussion with P. Avdellas and D, Lewandowski (A&M) re:
                                           Matching customer claims from FTX portal to claims on register
Avdellas, Peter       10/16/2023     1.4   Analyze both customer and non-customer claims from specific
                                           claimants to ensure reconciliation is accurate to assist in diligence
                                           request
Avdellas, Peter       10/16/2023     1.6   Analyze non-customer claims from specific claimants to compare
                                           scheduled dollar amount compared to filed dollar amount to assist in
                                           diligence request
Avdellas, Peter       10/16/2023     1.7   Analyze unmatched customer claims submitted through FTX portal
                                           with filed amounts between $300,000 and $400,000 in an attempt to
                                           match unique main account ID by email address on file
Avdellas, Peter       10/16/2023     1.8   Analyze unmatched customer claims submitted through FTX portal
                                           with filed amounts between $300,000 and $400,000 in an attempt to
                                           match unique main account ID by name on file
Callerio, Lorenzo     10/16/2023     0.1   Call with D. Lewandowski, R. Johnson, L. Callerio, A.Mohammed
                                           (A&M) to discuss start datetimes of KYC applicant data
Callerio, Lorenzo     10/16/2023     0.8   Correspondence with some token issuers re: token claiming process

Chambers, Henry       10/16/2023     0.4   Correspondence with FTX Japan management regarding FTX Japan
                                           creditor queries
Chambers, Henry       10/16/2023     0.4   Correspondence with BitGo regarding projected go-forward budget

Chambers, Henry       10/16/2023     0.4   Prepare response to creditor queries on KYC process

Chambers, Henry       10/16/2023     0.8   Respond to creditor queries regarding secondary holder KYC


Chamma, Leandro       10/16/2023     0.2   Call with L. Chamma (A&M) and R. Wendlick (Integreon) to discuss
                                           approach to review of high balance applications
Chamma, Leandro       10/16/2023     1.2   Investigate claims portal KYC applications with AWS data mismatch
                                           and data null to ensure data consistency
Chamma, Leandro       10/16/2023     0.3   Review final version of the presentation outlining claims portal KYC
                                           process and flow
Chamma, Leandro       10/16/2023     0.3   Call with L. Salas Nunez and L. Chamma (A&M) to discuss KYC
                                           data analysis
Chamma, Leandro       10/16/2023     1.7   Answer questions presented by claims portal customer support team
                                           in respect with status of applications to enable 2 factor
                                           authentication reset


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Claims
Professional              Date    Hours    Activity
Chamma, Leandro      10/16/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and R.
                                          Wendlick and others (Integreon) to host manual review daily catch up
Chamma, Leandro      10/16/2023     2.9   Review claims portal KYC applications resolved by UK (4 reviewers)
                                          and US (1 reviewer) manual reviewers for quality control and to
                                          respond to cases escalated for second level review
Coverick, Steve      10/16/2023     1.3   Review and provide comments on latest claims reconciliation report


Coverick, Steve      10/16/2023     0.3   Call with J. Ray (FTX), S. Coverick, E. Mosley, K. Ramanathan, R.
                                          Esposito, G. Walia (A&M), A. Kranzley and others (S&C), J.
                                          Riezman, E. Sanchez (GSR), E. Broderick (ES), C. Delo
                                          (Rothschild) and others to discuss claims matters
Esposito, Rob        10/16/2023     0.2   Discussion with D. Lewandowski, S. Sullivan, and R. Esposito (A&M)
                                          re: customer claims/schedules deck updates
Esposito, Rob        10/16/2023     0.6   Coordination call to discuss claims reconciliations and objections
                                          with D Lewandowski, R Esposito and S Kotarba (A&M)
Esposito, Rob        10/16/2023     0.2   Discussion with D. Lewandowski and R. Esposito (A&M) re:
                                          customer claims/schedules deck updates
Esposito, Rob        10/16/2023     2.1   Analysis of customer claims with postpetition buy/sell perps for
                                          claims reconciliations
Esposito, Rob        10/16/2023     0.3   Discuss duplicate objections with S Kotarba, D Lewandowski and R
                                          Esposito (A&M)
Esposito, Rob        10/16/2023     0.4   Discussion with D Lewandowski and R Esposito (A&M) re: customer
                                          claims reporting
Esposito, Rob        10/16/2023     0.3   Discuss claim and PERP reconciliation with D Lewandowski and R
                                          Esposito (A&M)
Esposito, Rob        10/16/2023     1.3   Review of non-customer claims to prepare summary for claims
                                          presentation
Esposito, Rob        10/16/2023     0.7   Update claims overview presentation based on comments from A&M
                                          team
Esposito, Rob        10/16/2023     1.4   Review to prepare updates to the claims overview presentation

Esposito, Rob        10/16/2023     0.7   Review of claims summary comments to provide detailed response

Esposito, Rob        10/16/2023     2.2   Prepare final updates to weekly claims overview


Esposito, Rob        10/16/2023     0.5   Prepare customer tear sheet template for reconciliations

Esposito, Rob        10/16/2023     0.2   Prepare detailed updates to the weekly management updates


Esposito, Rob        10/16/2023     0.3   Discuss claims transfers with A. Kranzley, J Kapoor (S&C), K Brown
                                          (LRC), D Lewandowski, R Esposito (A&M) and Kroll team
Esposito, Rob        10/16/2023     0.8   Call with J. Ray (FTX), S. Coverick, E. Mosley, K. Ramanathan, R.
                                          Esposito, G. Walia (A&M), A. Kranzley and others (S&C), J.
                                          Riezman, E. Sanchez (GSR), E. Broderick (ES), C. Delo
                                          (Rothschild) and others to discuss claims matters




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Claims
Professional                Date    Hours    Activity
Esposito, Rob          10/16/2023     0.4   Discussion with D. Lewandowski, A. Mohammed, R. Esposito
                                            (A&M), J. Karotkin, E. Echevarria, and H. Alli (Kroll) re: open
                                            claims/customer issues
Esposito, Rob          10/16/2023     0.8   Teleconference with J. Zatz, R. Johnson, D. Lewandowski, R.
                                            Esposito and L. Francis (A&M) re: review of customer detail for
                                            pending objections to reduce and allow
Flynn, Matthew         10/16/2023     0.7   Review customer support ticket queries


Flynn, Matthew         10/16/2023     1.6   Analyze related party accounts customer accounts for S&C

Flynn, Matthew         10/16/2023     0.7   Review FTX customer support agreements and data for S&C

Francis, Luke          10/16/2023     1.4   Update non-customer claims summary presentation based on
                                            leadership comments
Francis, Luke          10/16/2023     1.4   Review of customer claims for reconciliation for multimillion dollar
                                            claims
Francis, Luke          10/16/2023     1.6   Update customer claims presentation based on additional
                                            reconciliation
Francis, Luke          10/16/2023     1.1   Review pending objection templates for amended claims

Francis, Luke          10/16/2023     2.2   Review of fills / loan transactions for claimants with processing
                                            withdrawals to provide commentary on potential variances
Francis, Luke          10/16/2023     0.8   Teleconference with J. Zatz, R. Johnson, D. Lewandowski, R.
                                            Esposito and L. Francis (A&M) re: review of customer detail for
                                            pending objections to reduce and allow
Hubbard, Taylor        10/16/2023     1.1   Perform quality control review of customer claims with no matches
                                            by reconciling data from Kroll to claim form
Hubbard, Taylor        10/16/2023     2.1   Review customer claims lacking matches through a data
                                            reconciliation process between Kroll and the claim form
Hubbard, Taylor        10/16/2023     1.7   Utilize Metabase for the purpose of performing customer claims
                                            matching
Hubbard, Taylor        10/16/2023     3.1   Conduct a quality control examination of customer claims with no
                                            matches by aligning Kroll data with the claim form
Johnson, Robert        10/16/2023     0.1   Call with D. Lewandowski, R. Johnson, L. Callerio, A.Mohammed
                                            (A&M) to discuss start datetimes of KYC applicant data
Johnson, Robert        10/16/2023     0.8   Teleconference with J. Zatz, R. Johnson, D. Lewandowski, R.
                                            Esposito and L. Francis (A&M) re: review of customer detail for
                                            pending objections to reduce and allow
Kane, Alex             10/16/2023     2.1   Review non-substantive duplicate claims of HR claim type for
                                            objection
Kane, Alex             10/16/2023     1.1   Review non-substantive duplicate claims of customer claim type for
                                            objection
Kane, Alex             10/16/2023     0.7   Discussion with S. Kotarba, C. Myers, A. Kane, and S. Yang (A&M)
                                            re: Substantive duplicates in preparation for objection
Kotarba, Steve         10/16/2023     0.6   Coordination call to discuss claims reconciliations and objections
                                            with D Lewandowski, R Esposito and S Kotarba (A&M)


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Professional                Date    Hours    Activity
Kotarba, Steve         10/16/2023     1.4   Revise and update reporting in response to subject matter team
                                            comments
Kotarba, Steve         10/16/2023     1.9   Prepare claim objection files for legal review and filing


Kotarba, Steve         10/16/2023     2.2   Prepare updates to claims overview reporting and waterfall

Kotarba, Steve         10/16/2023     0.7   Discussion with S. Kotarba, C. Myers, A. Kane, and S. Yang (A&M)
                                            re: Substantive duplicates in preparation for objection
Lewandowski, Douglas   10/16/2023     0.4   Review and respond to priority diligence requests from
                                            Eversheds/Attestor related to acquired claim validation
Lewandowski, Douglas   10/16/2023     0.2   Discussion with D. Lewandowski, S. Sullivan, and R. Esposito (A&M)
                                            re: customer claims/schedules deck updates
Lewandowski, Douglas   10/16/2023     0.3   Discussion with P. Avdellas and D, Lewandowski (A&M) re: Ticker
                                            level detail diligence request based on customer code
Lewandowski, Douglas   10/16/2023     0.1   Call with D. Lewandowski, R. Johnson, L. Callerio, A.Mohammed
                                            (A&M) to discuss start datetimes of KYC applicant data
Lewandowski, Douglas   10/16/2023     0.4   Discussion with D. Lewandowski and G. Walia (A&M) re: updated
                                            customer claim reconciliation summary
Lewandowski, Douglas   10/16/2023     0.6   Coordination call to discuss claims reconciliations and objections
                                            with D Lewandowski, R Esposito and S Kotarba (A&M)
Lewandowski, Douglas   10/16/2023     0.2   Discussion with D. Lewandowski and R. Esposito (A&M) re:
                                            customer claims/schedules deck updates
Lewandowski, Douglas   10/16/2023     1.2   Review KYC parties that recently change status to explain large
                                            variances in status changes
Lewandowski, Douglas   10/16/2023     0.3   Discuss duplicate objections with S Kotarba, D Lewandowski and R
                                            Esposito (A&M)
Lewandowski, Douglas   10/16/2023     0.4   Discussion with D Lewandowski and R Esposito (A&M) re: customer
                                            claims reporting
Lewandowski, Douglas   10/16/2023     1.4   Prepare summary version of claim/customer matching for discussion
                                            with data team
Lewandowski, Douglas   10/16/2023     0.4   Prepare responses to Eversheds re: AHC/claim diligence requests


Lewandowski, Douglas   10/16/2023     0.6   Review tear sheets for specific customer claimants

Lewandowski, Douglas   10/16/2023     0.3   Discuss claim and PERP reconciliation with D Lewandowski and R
                                            Esposito (A&M)
Lewandowski, Douglas   10/16/2023     0.8   Teleconference with J. Zatz, R. Johnson, D. Lewandowski, R.
                                            Esposito and L. Francis (A&M) re: review of customer detail for
                                            pending objections to reduce and allow
Lewandowski, Douglas   10/16/2023     0.4   Discussion with D. Lewandowski, A. Mohammed, R. Esposito
                                            (A&M), J. Karotkin, E. Echevarria, and H. Alli (Kroll) re: open
                                            claims/customer issues
Lewandowski, Douglas   10/16/2023     0.2   Discussion with P. Avdellas and D, Lewandowski (A&M) re:
                                            Matching customer claims from FTX portal to claims on register
Lewandowski, Douglas   10/16/2023     0.3   Discuss claims transfers with A. Kranzley, J Kapoor (S&C), K Brown
                                            (LRC), D Lewandowski, R Esposito (A&M) and Kroll team

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Claims
Professional                Date    Hours    Activity
Mohammed, Azmat        10/16/2023     0.1   Call with D. Lewandowski, R. Johnson, L. Callerio, A.Mohammed
                                            (A&M) to discuss start datetimes of KYC applicant data
Mohammed, Azmat        10/16/2023     0.3   Call with B. Bangerter (FTX), I. Weinberger (Sygnia), A.Mohammed
                                            (A&M) to discuss email needs for claim portal
Mohammed, Azmat        10/16/2023     0.4   Call with I. Weinberger (Sygnia) and A.Mohammed (A&M) to discuss
                                            claims portal devops pipeline
Mohammed, Azmat        10/16/2023     0.7   Support FTX Customer Support and KYC teams on technical
                                            matters and cases on 10/16/23
Mohammed, Azmat        10/16/2023     2.3   Coordinate engineering efforts to support claims reconciliation
                                            process and when KYC was started
Mohammed, Azmat        10/16/2023     0.6   Review claims portal outstanding work and JIRA board

Mohammed, Azmat        10/16/2023     1.2   Document KYC processes and claims portal workflows


Mohammed, Azmat        10/16/2023     0.4   Discussion with D. Lewandowski, A. Mohammed, R. Esposito
                                            (A&M), J. Karotkin, E. Echevarria, and H. Alli (Kroll) re: open
                                            claims/customer issues
Mosley, Ed             10/16/2023     2.1   Review of and prepare comments to draft claims reconciliation
                                            status presentation for management for week of 10/16
Mosley, Ed             10/16/2023     0.4   Review of updated creditor claims tearsheets for use with PSA
                                            signers
Mosley, Ed             10/16/2023     0.8   Call with J. Ray (FTX), S. Coverick, E. Mosley, K. Ramanathan, R.
                                            Esposito, G. Walia (A&M), A. Kranzley and others (S&C), J.
                                            Riezman, E. Sanchez (GSR), E. Broderick (ES), C. Delo
                                            (Rothschild) and others to discuss claims matters
Myers, Claire          10/16/2023     0.9   Analyze claims register for claims filed by the Securities and
                                            Exchange Commission for diligence request
Myers, Claire          10/16/2023     0.2   Discussion with C. Myers and S. Yang (A&M) re: Substantive
                                            duplicates in preparation for objection
Myers, Claire          10/16/2023     1.6   Analyze claim class amounts analysis for substantive duplicate
                                            claim review
Myers, Claire          10/16/2023     1.2   Prepare substantive duplicate review file for claims reconciliation

Myers, Claire          10/16/2023     1.7   Create tear sheet charts from claim level report for customer claims


Myers, Claire          10/16/2023     2.8   Pinpoint priority tear sheet details for claims reconciliation

Myers, Claire          10/16/2023     0.7   Discussion with S. Kotarba, C. Myers, A. Kane, and S. Yang (A&M)
                                            re: Substantive duplicates in preparation for objection
Negus, Matthew         10/16/2023     0.1   Review of claims portal customer privacy request

Pestano, Kyle          10/16/2023     2.6   Review specific EDD cases that need SOF verification that were
                                            escalated due to high risk industry, jurisdiction, or industry from the
                                            contract review teams
Pestano, Kyle          10/16/2023     1.3   Update KYC applicant data to match AWS information from
                                            reviewed and escalated AWS data mismatch cases that were
                                            incorrectly tagged

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Professional                 Date    Hours    Activity
Pestano, Kyle           10/16/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and R.
                                             Wendlick and others (Integreon) to host manual review daily catch up
Ramanathan, Kumanan     10/16/2023     1.2   Review and provide guidance on valuation motion workstream, and
                                             open matters
Ramanathan, Kumanan     10/16/2023     0.3   Revise creditor tear sheet and distribute

Ramanathan, Kumanan     10/16/2023     0.8   Call with J. Ray (FTX), S. Coverick, E. Mosley, K. Ramanathan
                                             (A&M), A. Kranzley and others (S&C), J. Riezman, E. Sanchez
                                             (GSR), E. Broderick (ES), C. Delo (Rothschild) to discuss claims
                                             matters
Salas Nunez, Luis       10/16/2023     0.3   Call with L. Salas Nunez and L. Chamma (A&M) to discuss KYC
                                             data analysis
Sullivan, Christopher   10/16/2023     0.2   Discussion with D. Lewandowski, S. Sullivan, and R. Esposito (A&M)
                                             re: customer claims/schedules deck updates
Sullivan, Christopher   10/16/2023     0.8   Incorporate comments from E. Mosely (FTX) related to customer
                                             claims updates
Sullivan, Christopher   10/16/2023     0.6   Create reconciliation for removal of Genesis customer related claims


Sullivan, Christopher   10/16/2023     0.7   Provide comments to updated customer claims slides

Tong, Crystal           10/16/2023     1.1   Perform consolidation of all the quality check working on the manual
                                             KYC review
Tong, Crystal           10/16/2023     3.1   Conduct quality check on the manual KYC for the retail customers

Tong, Crystal           10/16/2023     0.6   Answer queries raised from the customer service regarding the KYC
                                             status
Tong, Crystal           10/16/2023     0.6   Assign cases with potential watchlist hit for the manual KYC
                                             reviewers
Tong, Crystal           10/16/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and R.
                                             Wendlick and others (Integreon) to host manual review daily catch up
Walia, Gaurav           10/16/2023     0.4   Discussion with D. Lewandowski and G. Walia (A&M) re: updated
                                             customer claim reconciliation summary
Walia, Gaurav           10/16/2023     0.8   Call with J. Ray (FTX), S. Coverick, E. Mosley, K. Ramanathan, R.
                                             Esposito, G. Walia (A&M), A. Kranzley and others (S&C), J.
                                             Riezman, E. Sanchez (GSR), E. Broderick (ES), C. Delo
                                             (Rothschild) and others to discuss claims matters
Yan, Jack               10/16/2023     2.1   Perform quality check on KYC manual review performed by
                                             Integreon US team as at October 16, 2023
Yan, Jack               10/16/2023     0.7   Answer queries from FTX Customer Service as at October 16, 2023


Yan, Jack               10/16/2023     2.2   Update manual review ticket tracker as at October 16, 2023

Yan, Jack               10/16/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and R.
                                             Wendlick and others (Integreon) to host manual review daily catch up
Yang, Sharon            10/16/2023     0.2   Discussion with C. Myers and S. Yang (A&M) re: Substantive
                                             duplicates in preparation for objection


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Claims
Professional               Date    Hours    Activity
Yang, Sharon          10/16/2023     2.7   Analyze priority claims in comparison with surviving claims to
                                           prepare for objection
Yang, Sharon          10/16/2023     2.6   Analyze duplicated claims in preparation for objections


Yang, Sharon          10/16/2023     2.8   Review priority duplicates in preparation of objections

Yang, Sharon          10/16/2023     0.7   Discussion with S. Kotarba, C. Myers, A. Kane, and S. Yang (A&M)
                                           re: Substantive duplicates in preparation for objection
Zatz, Jonathan        10/16/2023     2.6   Script database related to request to add count of KYC completed
                                           before 9/30 to claims consolidation summary
Zatz, Jonathan        10/16/2023     2.3   Script database related to request to add category B haircut to
                                           claims consolidation
Zatz, Jonathan        10/16/2023     0.7   Correspondence to answer questions regarding pricing used in
                                           schedules and claims
Zatz, Jonathan        10/16/2023     1.9   Determine root cause for blank staking quantities in latest claims
                                           consolidation data
Zatz, Jonathan        10/16/2023     0.8   Correspondence regarding determining which ticker category master
                                           to use
Zatz, Jonathan        10/16/2023     0.9   Correspondence regarding observed anomalies in Kroll claim data

Zatz, Jonathan        10/16/2023     0.8   Teleconference with J. Zatz, R. Johnson, D. Lewandowski, R.
                                           Esposito and L. Francis (A&M) re: review of customer detail for
                                           pending objections to reduce and allow
Arnett, Chris         10/17/2023     0.8   Review claims presentation presented to J. Ray (Company)


Avdellas, Peter       10/17/2023     1.4   Analyze claimant differences based on updated Kroll register from
                                           10/17/23 to identify claims that need information updated in
                                           preparation of claims reconciliation
Avdellas, Peter       10/17/2023     1.2   Analyze both customer and non-customer claims from specific
                                           claimants to compare filed amount of claim to scheduled amount to
                                           assist in diligence request
Avdellas, Peter       10/17/2023     1.2   Analyze claim differences based on updated Kroll register from
                                           10/17/23 to identify claims that that may have been docketed in error
                                           to capture discrepancies to update Kroll
Avdellas, Peter       10/17/2023     1.7   Analyze claimant differences based on updated Kroll register from
                                           10/17/23 to identify claims that that may have been docketed in error
                                           to capture discrepancies to update Kroll
Avdellas, Peter       10/17/2023     1.3   Analyze claim amount differences based on updated Kroll register
                                           from 10/17/23 to identify claims that need information updated in
                                           preparation of claims reconciliation
Avdellas, Peter       10/17/2023     0.9   Analyze claim amount based on updated Kroll register from 10/17/23
                                           to identify claims that that may have been docketed in error to
                                           capture discrepancies to update Kroll
Avdellas, Peter       10/17/2023     1.6   Analyze claim differences based on updated Kroll register from
                                           10/17/23 to identify claims that need information updated in
                                           preparation of claims reconciliation




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Claims
Professional               Date    Hours    Activity
Callerio, Lorenzo     10/17/2023     0.2   Call with S. Paolinetti and L. Callerio (A&M) re: token claiming
                                           process
Callerio, Lorenzo     10/17/2023     0.4   Discussion with R. Gordon, L. Callerio, K. Kearney, and G. Walia
                                           (A&M) re: pending withdrawals and claims reconciliation
Chambers, Henry       10/17/2023     0.6   Respond to bidder diligence request on KYC status of claimants

Chambers, Henry       10/17/2023     0.4   Prepare outline of updated KYC deck for secondary holders

Chambers, Henry       10/17/2023     0.4   Respond to creditor queries regarding secondary holder KYC


Chambers, Henry       10/17/2023     0.4   Call with B. Walsh and others (BitGo), A. Mohammed, H. Chambers,
                                           M. Flynn, L. Chamma, C. Tong (A&M) to discuss institutional KYC
                                           matters
Chamma, Leandro       10/17/2023     0.4   Discuss with claims portal KYC technology vendor Sumsub
                                           applications with issues related to residence permit
Chamma, Leandro       10/17/2023     0.7   Research KYC files on Relativity to provide feedback on KYC
                                           applications with data discrepancies
Chamma, Leandro       10/17/2023     0.7   Call with L. Chamma and M. Flynn (A&M) to discuss high balance
                                           accounts KYC review methodology
Chamma, Leandro       10/17/2023     0.2   Craft KYC application daily metrics for reporting purposes


Chamma, Leandro       10/17/2023     1.6   Draft spreadsheet compiling all updated statuses for retail and
                                           institutional claims portal applicants in response to due diligence
                                           request
Chamma, Leandro       10/17/2023     2.2   Review claims portal KYC applications resolved by UK (4 reviewers)
                                           and US (1 reviewer) manual reviewers for quality control and to
                                           respond to cases escalated for second level review
Chamma, Leandro       10/17/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and A.
                                           Baldwin and others (Integreon) to host manual review daily catch up
Chamma, Leandro       10/17/2023     1.2   Answer questions presented by claims portal customer support team
                                           in respect with status of applications to enable 2 factor
                                           authentication reset
Chamma, Leandro       10/17/2023     0.4   Call with B. Walsh and others (BitGo), A. Mohammed, H. Chambers,
                                           M. Flynn, L. Chamma, C. Tong (A&M) to discuss institutional KYC
                                           matters
Chamma, Leandro       10/17/2023     0.5   Call with A. Mohammed, M. Flynn, L. Chamma, C. Tong, K. Pestano
                                           (A&M), R. Wendlick (Integreon), P. Laurie (FTX), A. Gryaznov
                                           (Sumsub) to discuss latest portal and KYC status
Coverick, Steve       10/17/2023     1.1   Discuss claims reconciliation process with E. Mosley, S. Coverick
                                           (A&M)
Esposito, Rob         10/17/2023     2.8   Review of frivolous customer claims to confirm objections based on
                                           preference, CUD status and related claims
Esposito, Rob         10/17/2023     0.8   Prepare claims objection template for customer claims requiring
                                           significant modification
Esposito, Rob         10/17/2023     1.2   Call with D Lewandowski, L Francis and R Esposito (A&M) to review
                                           customer claims reconciliations



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Claims
Professional              Date    Hours    Activity
Esposito, Rob        10/17/2023     0.6   Call with D Lewandowski and R Esposito (A&M) to review and
                                          discuss the claims objection formats
Esposito, Rob        10/17/2023     2.2   Analysis of amended/duplicate customer claims for claims objection
                                          preparation
Esposito, Rob        10/17/2023     0.3   Call with D Lewandowski and R Esposito (A&M) re: CUD claims
                                          reporting
Esposito, Rob        10/17/2023     1.4   Review of claims for proposed claims objections

Esposito, Rob        10/17/2023     0.9   Review of customer claims for response to inquiries


Esposito, Rob        10/17/2023     0.4   Coordinate initial claims objections plan

Esposito, Rob        10/17/2023     0.4   Coordinate team workstreams to accomplish reconciliation


Esposito, Rob        10/17/2023     0.6   Discussion with D. Lewandowski, R. Esposito, G. Walia, and L.
                                          Francis (A&M) re: ticker rollup and claims reconciliation
Esposito, Rob        10/17/2023     0.6   Participate in workstream coordination call with S. Coverick, C.
                                          Arnett, D. Johnston, L. Ryan, K. Ramanathan, A. Titus, R. Esposito,
                                          J. Cooper, R. Gordon, L. Callerio (A&M)
Esposito, Rob        10/17/2023     0.4   Discussion with A. Mohammed, K. Ramanathan, R. Esposito, D.
                                          Lewandowski (A&M) re: pending withdrawals and claims
                                          reconciliation
Flynn, Matthew       10/17/2023     0.7   Call with L. Chamma and M. Flynn (A&M) to discuss high balance
                                          accounts KYC review methodology
Flynn, Matthew       10/17/2023     0.6   Reconcile customer claims amounts against petition balances for
                                          S&C
Flynn, Matthew       10/17/2023     0.9   Create claims reconciliation status update for Management


Flynn, Matthew       10/17/2023     0.5   Call with A. Mohammed, M. Flynn, L. Chamma, C. Tong, K. Pestano
                                          (A&M), R. Wendlick (Integreon), P. Laurie (FTX), A. Gryaznov
                                          (Sumsub) to discuss latest portal and KYC status
Flynn, Matthew       10/17/2023     0.4   Call with B. Walsh and others (BitGo), A. Mohammed, H. Chambers,
                                          M. Flynn, L. Chamma, C. Tong (A&M) to discuss institutional KYC
                                          matters
Francis, Luke        10/17/2023     1.6   Create executive summaries for matched claims to schedules for
                                          preference related accounts
Francis, Luke        10/17/2023     1.7   Analysis of preference related customer accounts to list provided by
                                          legal team for review
Francis, Luke        10/17/2023     2.1   Update claims presentation for weekly claim updates based on
                                          updated reconciliation/new claims
Francis, Luke        10/17/2023     1.2   Call with D Lewandowski, L Francis and R Esposito (A&M) to review
                                          customer claims reconciliations
Francis, Luke        10/17/2023     2.2   Analysis of claimants who filed crypto assertions within non-
                                          customer claims
Francis, Luke        10/17/2023     1.8   Analysis of processing withdrawal claimants to known filed to
                                          schedule claim matches


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Claims
Professional                Date    Hours    Activity
Francis, Luke          10/17/2023     1.9   Build out of objection templates for Exact duplicates with review of
                                            matched claims
Francis, Luke          10/17/2023     0.6   Discussion with D. Lewandowski, R. Esposito, G. Walia, and L.
                                            Francis (A&M) re: ticker rollup and claims reconciliation
Gordon, Robert         10/17/2023     0.8   Review historical withdrawal analysis to determine needs for claims
                                            process
Gordon, Robert         10/17/2023     0.4   Discussion with R. Gordon, L. Callerio, K. Kearney, and G. Walia
                                            (A&M) re: pending withdrawals and claims reconciliation
Hubbard, Taylor        10/17/2023     3.1   Review of Metabase to conduct customer claims matching to main
                                            account IDs
Hubbard, Taylor        10/17/2023     1.9   Leverage Metabase to carry out the process of customer claims
                                            matching
Hubbard, Taylor        10/17/2023     2.2   Employ Metabase to execute the matching of customer claims


Johnson, Robert        10/17/2023     1.6   Ingest Kroll provided claims information into Claims Management
                                            database
Johnson, Robert        10/17/2023     0.5   Call with R. Johnson and K. Pestano (A&M) to discuss FTX legacy
                                            database and distinct counts of individuals and institutions by source
                                            and KYC status
Kane, Alex             10/17/2023     1.7   Review non-substantive duplicate claims of Equity Claim subtype for
                                            objection
Kane, Alex             10/17/2023     1.6   Match creditor matrix addresses to Kroll records for claims diligence
                                            request
Kane, Alex             10/17/2023     1.2   Review non-substantive duplicate claims of AP claim type for
                                            objection
Kane, Alex             10/17/2023     1.9   Review non-substantive duplicate claims of Treasury claim type for
                                            objection
Kane, Alex             10/17/2023     1.9   Review non-substantive duplicate claims of Tax claim type for
                                            objection
Kane, Alex             10/17/2023     0.9   Call with A. Kane and C. Myers re: claims tear sheet management


Kearney, Kevin         10/17/2023     0.4   Discussion with R. Gordon, L. Callerio, K. Kearney, and G. Walia
                                            (A&M) re: pending withdrawals and claims reconciliation
Kotarba, Steve         10/17/2023     1.3   Respond to reviewer questions re claims analysis workstreams


Kotarba, Steve         10/17/2023     0.8   Update diligence response per internal comments

Lewandowski, Douglas   10/17/2023     1.2   Respond to diligence related to specific parties with counterclaims
                                            into FTX for discussion with S&C
Lewandowski, Douglas   10/17/2023     0.6   Call with D Lewandowski and R Esposito (A&M) to review and
                                            discuss the claims objection formats
Lewandowski, Douglas   10/17/2023     1.2   Call with D Lewandowski, L Francis and R Esposito (A&M) to review
                                            customer claims reconciliations
Lewandowski, Douglas   10/17/2023     2.1   Prepare and review customer reconciliation worksheets for high
                                            priority customers


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Claims
Professional                Date    Hours    Activity
Lewandowski, Douglas   10/17/2023     0.8   Identify objection types for customer claims - particularly related to
                                            amend/dupes
Lewandowski, Douglas   10/17/2023     0.3   Call with D Lewandowski and R Esposito (A&M) re: CUD claims
                                            reporting
Lewandowski, Douglas   10/17/2023     0.4   Discussion with A. Mohammed, K. Ramanathan, R. Esposito, D.
                                            Lewandowski (A&M) re: pending withdrawals and claims
                                            reconciliation
Lewandowski, Douglas   10/17/2023     0.4   Discussion with R. Gordon, L. Callerio, K. Kearney, and G. Walia
                                            (A&M) re: pending withdrawals and claims reconciliation
Lewandowski, Douglas   10/17/2023     0.6   Discussion with D. Lewandowski, R. Esposito, G. Walia, and L.
                                            Francis (A&M) re: ticker rollup and claims reconciliation
Mohammed, Azmat        10/17/2023     1.7   Support FTX Customer Service and KYC Manual reviewing teams
                                            with technical matters on 10/17/23
Mohammed, Azmat        10/17/2023     2.3   Review processes and procedures related to processing withdrawals

Mohammed, Azmat        10/17/2023     0.8   Coordinate development efforts related to storing KYC start datetime


Mohammed, Azmat        10/17/2023     0.5   Call with A. Mohammed, M. Flynn, L. Chamma, C. Tong, K. Pestano
                                            (A&M), R. Wendlick (Integreon), P. Laurie (FTX), A. Gryaznov
                                            (Sumsub) to discuss latest portal and KYC status
Mohammed, Azmat        10/17/2023     0.4   Discussion with A. Mohammed, K. Ramanathan, R. Esposito, D.
                                            Lewandowski (A&M) re: pending withdrawals and claims
                                            reconciliation
Mohammed, Azmat        10/17/2023     0.4   Call with B. Walsh and others (BitGo), A. Mohammed, H. Chambers,
                                            M. Flynn, L. Chamma, C. Tong (A&M) to discuss institutional KYC
                                            matters
Myers, Claire          10/17/2023     1.7   Analyze results from claim class analysis to determine non
                                            substantive duplicate claims population
Myers, Claire          10/17/2023     2.4   Analyze claim register to determine substantive duplicate claim
                                            population for S. Kotarba review
Myers, Claire          10/17/2023     0.2   Discussion with S. Yang and C. Myers re: substantive duplicate
                                            priority analysis
Myers, Claire          10/17/2023     0.9   Call with A. Kane and C. Myers re: claims tear sheet management

Myers, Claire          10/17/2023     0.8   Search claim register for priority claimants for a request from S&C


Myers, Claire          10/17/2023     0.4   Analyze creditor matrix for creditor inquiry from S&C

Negus, Matthew         10/17/2023     1.0   Review of external vendor service agreement


Paolinetti, Sergio     10/17/2023     0.2   Call with S. Paolinetti and L. Callerio (A&M) re: token claiming
                                            process
Pestano, Kyle          10/17/2023     1.2   Investigate AWS data null cases and coordinate with data team
                                            regarding the counts and externally stored information
Pestano, Kyle          10/17/2023     2.9   Review complex EDD review cases with foreign docs requested;
                                            high risk industry/jurisdiction tags from both contract teams


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                                   FTX Trading Ltd., et al.,
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Claims
Professional                 Date    Hours    Activity
Pestano, Kyle           10/17/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and A.
                                             Baldwin and others (Integreon) to host manual review daily catch up
Pestano, Kyle           10/17/2023     0.7   Analyze FTX legacy counts by approval status and de-duplicate
                                             accounts for an ad hoc request before discussing with the KYC ops
                                             and data teams
Pestano, Kyle           10/17/2023     0.5   Call with R. Johnson and K. Pestano (A&M) to discuss FTX legacy
                                             database and distinct counts of individuals and institutions by source
                                             and KYC status
Pestano, Kyle           10/17/2023     0.5   Call with R. Johnson and K. Pestano (A&M) to discuss FTX legacy
                                             database and distinct counts of individuals and institutions
Pestano, Kyle           10/17/2023     0.5   Call with H. Chambers, M. Flynn, Q. Zhang, A. Mohammed, D.
                                             Sagen, K. Pestano (A&M), R. Navarro (FTX), C. Cox (Metalab), A.
                                             Powel (Integreon), A. Gryznov (Sumsub) to discuss latest portal and
                                             KYC status
Ramanathan, Kumanan     10/17/2023     0.3   Call with G. Walia, K. Ramanathan (A&M) and creditor to discuss
                                             claims reconciliation matters
Ramanathan, Kumanan     10/17/2023     0.2   Call with B. Glueckstein, J. Kapoor, S. Fulton (S&C) to discuss
                                             crypto valuation matters
Ramanathan, Kumanan     10/17/2023     0.9   Review of customer balances on OTC portal and correspond with
                                             counsel and creditors
Ramanathan, Kumanan     10/17/2023     0.4   Call with S. Coverick, K. Ramanathan (A&M) to discuss estimation
                                             motion
Ramanathan, Kumanan     10/17/2023     0.4   Discussion with A. Mohammed, K. Ramanathan, R. Esposito, D.
                                             Lewandowski (A&M) re: pending withdrawals and claims
                                             reconciliation
Ramanathan, Kumanan     10/17/2023     0.3   Discussion regarding progress in valuation of tokens with K.
                                             Ramanathan, A. Sivapalu (A&M), B. Glueckstein, (S&C), E. Domi, K.
                                             Lu, L. Macdonald, V. Ramirez and U. Monroe (CoinMetrics)
Salas Nunez, Luis       10/17/2023     0.3   Discussion regarding progress in valuation of tokens with L. Salas,
                                             G. Walia (A&M), J. Kapoor, S. Fulton (S&C), S. Bulka and M.
                                             Mikhaylov (CoinMetrics)
Sarmiento, Dubhe        10/17/2023     2.3   Review, classification and processing of previous and new requests
                                             in the Claims Privacy Inbox on 17 October
Simoneaux, Nicole       10/17/2023     2.1   Research workers compensation claims in similarly-aligned cases to
                                             FTX re: request from Case Management A&M team
Sullivan, Christopher   10/17/2023     0.3   Call with C. Sullivan & B. Tenney (A&M) to reconcile the latest
                                             customer claims register for updated Plan materials
Sullivan, Christopher   10/17/2023     1.1   Review updated claims reconciliation presentation

Tenney, Bridger         10/17/2023     0.3   Call with C. Sullivan & B. Tenney (A&M) to reconcile the latest
                                             customer claims register for updated Plan materials
Tong, Crystal           10/17/2023     1.1   Review and consolidate the quality check working of all reviewers on
                                             the manual KYC of retail customers
Tong, Crystal           10/17/2023     2.2   Respond to queries raised from the customer service regarding the
                                             KYC status
Tong, Crystal           10/17/2023     0.4   Review additional documents received from bidders to assess the
                                             KYC & AML areas


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Claims
Professional               Date    Hours    Activity
Tong, Crystal         10/17/2023     2.9   Perform quality check on the manual KYC review on the retail
                                           customers
Tong, Crystal         10/17/2023     0.5   Call with A. Mohammed, M. Flynn, L. Chamma, C. Tong, K. Pestano
                                           (A&M), R. Wendlick (Integreon), P. Laurie (FTX), A. Gryaznov
                                           (Sumsub) to discuss latest portal and KYC status
Tong, Crystal         10/17/2023     0.4   Call with B. Walsh and others (BitGo), A. Mohammed, H. Chambers,
                                           M. Flynn, L. Chamma, C. Tong (A&M) to discuss institutional KYC
                                           matters
Tong, Crystal         10/17/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and A.
                                           Baldwin and others (Integreon) to host manual review daily catch up
Walia, Gaurav         10/17/2023     0.3   Call with G. Walia, K. Ramanathan (A&M) and creditor to discuss
                                           claims reconciliation matters
Walia, Gaurav         10/17/2023     1.6   Review the claims reconciliation and provide feedback


Walia, Gaurav         10/17/2023     0.6   Discussion with D. Lewandowski, R. Esposito, G. Walia, and L.
                                           Francis (A&M) re: ticker rollup and claims reconciliation
Walia, Gaurav         10/17/2023     0.3   Discussion regarding progress in valuation of tokens with L. Salas,
                                           G. Walia (A&M), J. Kapoor, S. Fulton (S&C), S. Bulka and M.
                                           Mikhaylov (CoinMetrics)
Yan, Jack             10/17/2023     2.4   Perform quality check on KYC manual review performed by
                                           Integreon US team as at October 17, 2023
Yan, Jack             10/17/2023     0.4   Understand the latest developments on secondary claims transfer
                                           for deck preparation
Yan, Jack             10/17/2023     0.8   Answer queries from FTX Customer Service as at October 17, 2023


Yan, Jack             10/17/2023     2.9   Update manual review ticket tracker as at October 17, 2023

Yan, Jack             10/17/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and A.
                                           Baldwin and others (Integreon) to host manual review daily catch up
Yang, Sharon          10/17/2023     0.4   Review claims to determine claim duplicate type in preparation of
                                           objections
Yang, Sharon          10/17/2023     0.2   Discussion with S. Yang and C. Myers re: substantive duplicate
                                           priority analysis
Yang, Sharon          10/17/2023     2.4   Analyze priority claims in preparation for duplicate objections


Yang, Sharon          10/17/2023     2.8   Review claims to determine duplicate type

Zatz, Jonathan        10/17/2023     1.3   Script database related to request to include preference amount
                                           fields into claims consolidation script
Zatz, Jonathan        10/17/2023     3.1   Determine root cause for certain schedule amounts being duplicated
                                           when a loan value also exists
Zatz, Jonathan        10/17/2023     2.3   Script database related to request to flag whether claim contains
                                           mapped tickers
Zatz, Jonathan        10/17/2023     0.9   Identify duplication issues with file provided containing Kroll
                                           Schedule Number



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Claims
Professional               Date    Hours    Activity
Zatz, Jonathan        10/17/2023     2.4   Script database related to request to provide claim amounts for Top
                                           750 customers
Zatz, Jonathan        10/17/2023     1.6   Review latest Kroll data for any issues related to staking files


Zatz, Jonathan        10/17/2023     0.8   Correspondence to answer questions related to mapped tickers

Arora, Rohan          10/18/2023     1.4   Keep moving forward with the reconciliation of non-customer claims

Arora, Rohan          10/18/2023     0.9   Confirm the timeliness of the claims reporting deck data source
                                           tables
Arora, Rohan          10/18/2023     0.5   Assist with weekly claim status deck refresh

Arora, Rohan          10/18/2023     0.7   Begin process of reconciling non-customer claims


Arora, Rohan          10/18/2023     1.2   Continue ongoing process of reconciling non-customer claims

Avdellas, Peter       10/18/2023     0.6   Discussion with P. Avdellas and D. Lewandowski (A&M) re: CUD
                                           customer schedules matching
Avdellas, Peter       10/18/2023     1.4   Analyze unmatched customer claims submitted through FTX portal
                                           with filed amounts between $200,000 and $300,000 in an attempt to
                                           match unique main account ID by email address on file
Avdellas, Peter       10/18/2023     1.8   Analyze both customer claims portal claims and non-customer portal
                                           claims to identify all claims submitted by specific claimant to assist
                                           in diligence request
Avdellas, Peter       10/18/2023     0.6   Analyze unmatched customer claims submitted through FTX portal
                                           with filed amounts between $200,000 and $300,000 in an attempt to
                                           match unique main account ID by customer code provided
Avdellas, Peter       10/18/2023     1.7   Analyze internal claims register to identify all claims submitted by
                                           specific claimant to update claim type in preparation of claims
                                           reconciliation
Avdellas, Peter       10/18/2023     1.6   Analyze unmatched customer claims submitted through FTX portal
                                           with filed amounts between $200,000 and $300,000 in an attempt to
                                           match unique main account ID by name on file
Callerio, Lorenzo     10/18/2023     0.5   Correspondence with some token issuers re: buyback proposals and
                                           token claiming procedures
Chamma, Leandro       10/18/2023     0.2   Discuss with claims portal document review service provider
                                           Integreon matters related to high balance accounts
Chamma, Leandro       10/18/2023     2.4   Review claims portal KYC applications tagged as AWS data
                                           mismatch to ensure data consistency
Chamma, Leandro       10/18/2023     0.3   Draft summary of matters to be discussed with S&C on claims portal
                                           weekly touchpoint
Chamma, Leandro       10/18/2023     2.1   Review claims portal KYC applications resolved by UK (3 reviewers)
                                           and US (1 reviewer) manual reviewers for quality control and to
                                           respond to cases escalated for second level review
Chamma, Leandro       10/18/2023     1.3   Monitor live chat to answer questions presented by claims portal
                                           customer support team in respect with status of applications to
                                           enable 2 factor authentication reset


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Claims
Professional                 Date    Hours    Activity
Dusendschon, Kora       10/18/2023     0.3   Call with K. Dusendschon and K. Pestano (A&M) to discuss FTX
                                             Legacy KYC documents for AWS data null applicants on Sumsub
Esposito, Rob           10/18/2023     0.7   Review of creditor notice information to prepare for notice to close
                                             certain cases
Esposito, Rob           10/18/2023     1.9   Review of claim details for preparation of the omnibus claims
                                             objections
Esposito, Rob           10/18/2023     0.8   Claims status discussion with D. Lewandowski, R. Esposito, and S.
                                             Kotarba (A&M)
Esposito, Rob           10/18/2023     2.8   Review of customer claims for preparation of objections


Esposito, Rob           10/18/2023     0.3   Discussion with A. Mohammed, D. Lewandowski, R. Esposito, S.
                                             Kotarba (A&M) , P. Laurie, R. Perubhatla (FTX), S. Perry, J. Daloia,
                                             J. Karotkin, and J. Hughes (Kroll) to discuss open customer
                                             claims/portal items
Faett, Jack             10/18/2023     0.7   Review FTX Trading general ledger and petition date trial balance to
                                             determine whether GUC liability is recorded
Faett, Jack             10/18/2023     1.1   Reconcile Miami Dade claim to contract terms and payment activity


Faett, Jack             10/18/2023     1.4   Reconcile GUC claim to contract and payment activity

Faett, Jack             10/18/2023     0.8   Review FTX Trading general ledger and petition date trial balance to
                                             determine whether Miami Dade liability is recorded
Flynn, Matthew          10/18/2023     0.2   Call with M. Flynn, G. Walia (A&M) to discuss customer claims
                                             status for S&C analysis
Flynn, Matthew          10/18/2023     0.4   Call with M. Flynn, D. Lewandowski (A&M) to discuss customer
                                             claims statuses
Francis, Luke           10/18/2023     1.7   Review of creditor claims to sponsorship agreements to review
                                             remaining obligation
Francis, Luke           10/18/2023     1.8   Update filed to adjusted claims bridges based on updated
                                             reconciliation support
Francis, Luke           10/18/2023     1.6   Update governmental filed claims analysis to include non tax gov
                                             claims
Francis, Luke           10/18/2023     1.7   Reconcile AP trade claims filed to company records for adjustments

Francis, Luke           10/18/2023     1.2   Analysis of new claims provided by claims agent for initial triage


Francis, Luke           10/18/2023     2.4   Create claims reconciliation workplan presentation for leadership

Hainline, Drew          10/18/2023     0.3   Facilitate request for research of confirm outstanding liabilities for
                                             specific claims
Hubbard, Taylor         10/18/2023     2.8   Implement Metabase to facilitate the matching of customer claims


Hubbard, Taylor         10/18/2023     0.6   Employ Metabase software to handle customer claims matching
                                             tasks
Hubbard, Taylor         10/18/2023     1.8   Make use of Metabase for the purpose of customer claims matching


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Claims
Professional                Date    Hours    Activity
Hubbard, Taylor        10/18/2023     1.4   Utilize Metabase in order to accomplish customer claims matching

Johnson, Robert        10/18/2023     1.1   Adjust Kroll provided tables to more accurately reflect the content to
                                            allow for cleaner downstream analysis
Johnson, Robert        10/18/2023     0.2   Call with G. Walia and R. Johnson (A&M) to discuss data footprint
                                            and appropriate location for claims information
Johnson, Robert        10/18/2023     0.4   Identify example accounts of users with both EU and COM balances
                                            for testing within Customer Portal
Johnson, Robert        10/18/2023     1.4   Incorporate Kroll datasets into claims management database for
                                            reporting on latest claims
Kane, Alex             10/18/2023     0.6   Discussion with A. Kane and C. Myers (A&M)re: non substantive
                                            duplicate summary
Kane, Alex             10/18/2023     1.3   Review amended claims marked for objection of Legal claim type


Kane, Alex             10/18/2023     2.1   Review transferred claims of customer claim type for objection

Kane, Alex             10/18/2023     2.1   Review amended claims marked for objection of customer claim type


Kane, Alex             10/18/2023     1.1   Review transferred claims of Equity Claim subtype for objection

Kane, Alex             10/18/2023     1.9   Review transferred claims of non-customer claim type for objection

Kane, Alex             10/18/2023     0.1   Discussion with A. Kane and S. Yang (A&M) re: customer claim
                                            matching
Kane, Alex             10/18/2023     1.8   Create tear sheets summarizing non-customer claims

Karnik, Noorita        10/18/2023     0.6   Review of customer claims filed against Debtors over $5,000


Kotarba, Steve         10/18/2023     0.4   Discussion with S. Kotarba and C. Myers (A&M) re: non substantive
                                            duplicate claim objections
Kotarba, Steve         10/18/2023     0.9   Prepare objection summaries and exhibit narratives to prepare
                                            objections for filing
Kotarba, Steve         10/18/2023     0.8   Claims status discussion with D. Lewandowski, R. Esposito, and S.
                                            Kotarba (A&M)
Kotarba, Steve         10/18/2023     1.3   Review and comment on non-substantive duplicate claims

Kotarba, Steve         10/18/2023     0.3   Discussion with A. Mohammed, D. Lewandowski, R. Esposito, S.
                                            Kotarba (A&M) , P. Laurie, R. Perubhatla (FTX), S. Perry, J. Daloia,
                                            J. Karotkin, and J. Hughes (Kroll) to discuss open customer
                                            claims/portal items
Lewandowski, Douglas   10/18/2023     0.6   Discussion with P. Avdellas and D. Lewandowski (A&M) re: CUD
                                            customer schedules matching
Lewandowski, Douglas   10/18/2023     1.1   Identify potential objections for customer claims for discussion with
                                            A&M team
Lewandowski, Douglas   10/18/2023     0.4   Call with M. Flynn, D. Lewandowski (A&M) to discuss customer
                                            claims statuses

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Claims
Professional                Date    Hours    Activity
Lewandowski, Douglas   10/18/2023     0.3   Prepare responses to questions related to contract rejection damage
                                            claims
Lewandowski, Douglas   10/18/2023     0.8   Claims status discussion with D. Lewandowski, R. Esposito, and S.
                                            Kotarba (A&M)
Lewandowski, Douglas   10/18/2023     1.9   Prepare and review extract of customer data for discussion with FTI

Lewandowski, Douglas   10/18/2023     0.6   Review and respond to customer inquiries from FTX CS team

Lewandowski, Douglas   10/18/2023     1.3   Research FTX OTC claim issues for discussion with A&M team


Lewandowski, Douglas   10/18/2023     1.1   Correspond with Kroll re: anomalies in customer data files

Lewandowski, Douglas   10/18/2023     0.3   Discussion with A. Mohammed, D. Lewandowski, R. Esposito, S.
                                            Kotarba (A&M) , P. Laurie, R. Perubhatla (FTX), S. Perry, J. Daloia,
                                            J. Karotkin, and J. Hughes (Kroll) to discuss open customer
                                            claims/portal items
Lewandowski, Douglas   10/18/2023     0.5   Discussion with D. Lewandowski, J. Zatz (A&M), E. Echevarria, E.
                                            Snajder, and J. Hughes (Kroll) re: updates to customer portal
                                            extracts
Lowe, Sam              10/18/2023     0.6   Call with M. Negus, S. Lowe, D. Sarmiento, N. Karnik (A&M) to
                                            evaluate series of claims portal customer privacy requests
Mohammed, Azmat        10/18/2023     1.9   Support FTX Customer Support and KYC Manual reviewing teams
                                            with technical matters on 10/18/23
Mohammed, Azmat        10/18/2023     0.5   Call with O. Weinberger (Sygnia) A.Mohammed (A&M) to discuss
                                            processing withdrawals data
Mohammed, Azmat        10/18/2023     0.8   Coordinate development efforts for claims portal production
                                            deployment
Mohammed, Azmat        10/18/2023     1.3   Design approach on identifying processing withdrawals amounts of
                                            bank accounts
Mohammed, Azmat        10/18/2023     0.8   Configure and test help center access for claims reconciliation team

Mohammed, Azmat        10/18/2023     0.4   Edit content for the Claims Portal and KYC process presentation

Mohammed, Azmat        10/18/2023     0.3   Discussion with A. Mohammed, D. Lewandowski, R. Esposito, S.
                                            Kotarba (A&M) , P. Laurie, R. Perubhatla (FTX), S. Perry, J. Daloia,
                                            J. Karotkin, and J. Hughes (Kroll) to discuss open customer
                                            claims/portal items
Myers, Claire          10/18/2023     2.4   Analyze claims to update objection and match types in internal
                                            database with correct objections
Myers, Claire          10/18/2023     0.4   Discussion with S. Kotarba and C. Myers (A&M) re: non substantive
                                            duplicate claim objections
Myers, Claire          10/18/2023     0.2   Discussion with C. Myers and S. Yang (A&M) re: customer claim
                                            matching
Myers, Claire          10/18/2023     0.6   Discussion with A. Kane and C. Myers (A&M)re: non substantive
                                            duplicate summary
Myers, Claire          10/18/2023     2.1   Analyze POC forms to determine correct objections for first, second
                                            and third Omnis

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Claims
Professional               Date    Hours    Activity
Myers, Claire         10/18/2023     0.3   Analyze status of omnibus objections for internal status update

Myers, Claire         10/18/2023     1.1   Prepare customer matching analysis for omnibus objections


Myers, Claire         10/18/2023     0.3   Update links for internal tear sheet tracker

Myers, Claire         10/18/2023     0.9   Analyze differences notes to assign correct objections

Myers, Claire         10/18/2023     0.7   Analyze unreconciled claims for second wave of claim triage


Negus, Matthew        10/18/2023     0.3   Perform additional review of external vendor service agreement

Negus, Matthew        10/18/2023     0.6   Call with M. Negus, S. Lowe, D. Sarmiento, N. Karnik (A&M) to
                                           evaluate series of claims portal customer privacy requests
Pestano, Kyle         10/18/2023     0.3   Call with K. Dusendschon and K. Pestano (A&M) to discuss FTX
                                           Legacy KYC documents for AWS data null applicants on Sumsub
Pestano, Kyle         10/18/2023     1.0   Investigate customer service escalation requests and resolve any
                                           questions; prioritize cases to Integreon for review and update
                                           relevant trackers
Pestano, Kyle         10/18/2023     0.4   Investigate customer service escalation requests and resolve any
                                           questions, prioritize cases to Integreon for review and update
                                           relevant trackers
Pestano, Kyle         10/18/2023     0.4   Review Aws data null cases and compare relativity documents to the
                                           list of cases compiled by the data team and escalated to FTI
Pestano, Kyle         10/18/2023     2.7   Review KYC documents in Relativity regarding AWS data null
                                           information and investigate EDD cases that need SOF verification
                                           that were escalated due to high risk jurisdiction or industry from the
                                           contract review teams
Ramanathan, Kumanan   10/18/2023     0.6   Investigate FTX Turkey-related customer balance and provide
                                           feedback
Ramanathan, Kumanan   10/18/2023     0.8   Review of creditor claim supporting materials and discuss with J. Ray


Ramanathan, Kumanan   10/18/2023     0.8   Review certain KYC-related inquiries and provide feedback to
                                           counsel
Sarmiento, Dubhe      10/18/2023     0.7   Review, classification and processing of previous and new requests
                                           in the Claims Privacy Inbox on 18 October
Sarmiento, Dubhe      10/18/2023     0.6   Call with M. Negus, S. Lowe, D. Sarmiento, N. Karnik (A&M) to
                                           evaluate series of claims portal customer privacy requests
Simoneaux, Nicole     10/18/2023     1.2   Create noticing spreadsheet with employee personal emails and
                                           addresses for Case Management A&M team utilization
Tong, Crystal         10/18/2023     0.4   Call with A. Kranzley, S. Levin (S&C), M. Flynn, C. Tong, K.
                                           Pestano, J. Yan (A&M) regarding weekly AML decision
Tong, Crystal         10/18/2023     0.8   Compile and review all the quality check workings performed by the
                                           secondary reviewers
Tong, Crystal         10/18/2023     3.1   Perform quality check of the manual KYC from first level reviewers
                                           for retail customers


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Claims
Professional               Date    Hours    Activity
Tong, Crystal         10/18/2023     0.7   Assign fixed cases to first level reviewers to perform EDD KYC
                                           review
Tong, Crystal         10/18/2023     1.3   Conduct check and fixing on the cases with problematic data for the
                                           retail customers
Tong, Crystal         10/18/2023     1.4   Respond to questions raised from the customer service regarding
                                           KYC status
Tong, Crystal         10/18/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and S.
                                           Sinha and others (Integreon) to host manual review daily catch up
Yan, Jack             10/18/2023     2.6   Perform quality check on KYC manual review performed by
                                           Integreon US team as at October 18, 2023
Yan, Jack             10/18/2023     1.1   Answer queries from FTX Customer Service as at October 18, 2023

Yan, Jack             10/18/2023     0.9   Check AWS data mismatch through Relativity as at October 18, 2023


Yan, Jack             10/18/2023     0.6   Update manual review ticket tracker as at October 18, 2023

Yang, Sharon          10/18/2023     2.9   Review filed claims to determine additional or transferred claims
                                           association
Yang, Sharon          10/18/2023     0.4   Compile details for customer claim matching to determine account
                                           ID
Yang, Sharon          10/18/2023     0.2   Discussion with C. Myers and S. Yang (A&M) re: customer claim
                                           matching
Yang, Sharon          10/18/2023     0.1   Discussion with A. Kane and S. Yang (A&M) re: customer claim
                                           matching
Yang, Sharon          10/18/2023     2.8   Capture details for objected customer claim matching

Zatz, Jonathan        10/18/2023     1.4   Script database related to request to provide claim information for
                                           accounts that had processing withdrawal
Zatz, Jonathan        10/18/2023     1.2   Script database to correct issue where schedule amount is
                                           duplicated if account also has a loan
Zatz, Jonathan        10/18/2023     3.1   Script database related to request to include chosen MDI field in
                                           claims consolidation
Zatz, Jonathan        10/18/2023     1.1   Script database to add locked-only portion balance to claims
                                           consolidation summary
Zatz, Jonathan        10/18/2023     0.9   Script database to update summary of status, CUD per account with
                                           claim amount delta
Zatz, Jonathan        10/18/2023     0.7   Identify issues with updated file provided containing Kroll Schedule
                                           Number
Zatz, Jonathan        10/18/2023     1.6   Correspondence regarding request for specific data on subset of
                                           claims
Zatz, Jonathan        10/18/2023     1.7   Script database related to request for claims data with latest KYC
                                           info
Zatz, Jonathan        10/18/2023     0.5   Discussion with D. Lewandowski, J. Zatz (A&M), E. Echevarria, E.
                                           Snajder, and J. Hughes (Kroll) re: updates to customer portal
                                           extracts


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Claims
Professional               Date    Hours    Activity
Arora, Rohan          10/19/2023     2.2   Resume the ongoing process of reconciling customer and non-
                                           customer claims
Arora, Rohan          10/19/2023     1.4   Ensure Omnibus 1 amended objections have been submitted
                                           correctly
Arora, Rohan          10/19/2023     2.3   Ensure Omnibus 3 amended objections have been submitted
                                           correctly
Arora, Rohan          10/19/2023     1.2   Ensure data source tables are up to date

Avdellas, Peter       10/19/2023     0.9   Discussion with P. Avdellas, R. Esposito, L. Francis, D.
                                           Lewandowski (A&M) re: Customer claims matching to schedules
Avdellas, Peter       10/19/2023     0.4   Discussion with P. Avdellas and C. Myers (A&M) re: omni objections
                                           and noncustomer tracking
Avdellas, Peter       10/19/2023     1.2   Analyze new claims from updated Kroll register updated on 10/19/23
                                           to capture all relevant information to triage new claims
Avdellas, Peter       10/19/2023     1.7   Analyze proof of claims for non-customer claims to identify if
                                           submitted claim is an cross-debtor duplicate of an additional claim
                                           already submitted through claims register
Avdellas, Peter       10/19/2023     1.6   Identify claims submitted through FTX customer portal and non-
                                           customer register for specific claimant to capture relevant claim
                                           information (such as debtor, filed date, filed amount, type of claim)
                                           to assist in diligence request
Avdellas, Peter       10/19/2023     1.3   Analyze both FTX customer portal claims and non-customer register
                                           of claims in an attempt to identify duplicates between the population
                                           based on email address on file
Avdellas, Peter       10/19/2023     1.4   Analyze proof of claims for non-customer claims to identify if
                                           submitted claim is an exact duplicate of an additional claim already
                                           submitted through claims register
Avdellas, Peter       10/19/2023     1.4   Analyze scheduled dollar amount and filed dollar amount for subset
                                           of claims based on specified criteria to compare variance in
                                           scheduled and filed amount to assist in diligence request
Chambers, Henry       10/19/2023     0.2   Respond to BitGo request for guidance on KYC cut-off dates

Chambers, Henry       10/19/2023     0.4   Call with A. Kranzley, S. Levin (S&C), H. Chambers, A. Mohammed,
                                           R. Esposito, L. Chamma (A&M) regarding weekly AML decision
Chambers, Henry       10/19/2023     0.4   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), A. Porwal
                                           (Integreon), P. Laurie (FTX), A. Gryaznov (Sumsub) to discuss latest
                                           portal and KYC status
Chamma, Leandro       10/19/2023     0.4   Review claims portal KYC applications on hold for more than 2
                                           weeks to escalate to manual reviewers
Chamma, Leandro       10/19/2023     1.2   Review claims portal KYC applications tagged as AWS data
                                           mismatch to ensure data consistency
Chamma, Leandro       10/19/2023     0.8   Research KYC files on Relativity to provide feedback on KYC
                                           applications with data discrepancies
Chamma, Leandro       10/19/2023     0.2   Draft claims portal KYC metrics for recordkeeping and reporting
                                           purposes
Chamma, Leandro       10/19/2023     0.4   Call with A. Kranzley, S. Levin (S&C), H. Chambers, A. Mohammed,
                                           R. Esposito, L. Chamma (A&M) regarding weekly AML decision


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Claims
Professional              Date    Hours    Activity
Chamma, Leandro      10/19/2023     2.9   Review claims portal KYC applications resolved by UK (4 reviewers)
                                          and US (1 reviewer) manual reviewers for quality control and to
                                          respond to cases escalated for second level review
Chamma, Leandro      10/19/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and S.
                                          Sinha and others (Integreon) to host manual review daily catch up
Chamma, Leandro      10/19/2023     0.4   Call with L. Chamma, C. Tong, K. Pestano (A&M), A. Porwal
                                          (Integreon), P. Laurie (FTX), A. Gryaznov (Sumsub) to discuss latest
                                          portal and KYC status
Chamma, Leandro      10/19/2023     1.1   Monitor live chat to answer questions presented by claims portal
                                          customer support team in respect with status of applications to
                                          enable 2 factor authentication reset
Esposito, Rob        10/19/2023     1.1   Call with L Francis and R Esposito (A&M) to discuss non-customer
                                          claims reconciliations and objections
Esposito, Rob        10/19/2023     0.9   Discussion with P. Avdellas, R. Esposito, L. Francis, D.
                                          Lewandowski (A&M) re: Customer claims matching to schedules
Esposito, Rob        10/19/2023     1.0   Discussion with D. Lewandowski, S. Kotarba, and R. Esposito
                                          (A&M) re: customer claim workplan
Esposito, Rob        10/19/2023     1.4   Review and analysis of claims queued for no liability and insufficient
                                          documentation objections
Esposito, Rob        10/19/2023     0.3   Discussion with D. Lewandowski, R. Esposito, and L. Francis (A&M)
                                          re: claims omnibus objection
Esposito, Rob        10/19/2023     1.8   Review and analysis of reconciliation tear sheets for certain
                                          customer claims
Esposito, Rob        10/19/2023     1.6   Review of frivolous customer claims to understand and prepare
                                          objections
Esposito, Rob        10/19/2023     1.2   Review and analysis of draft amended and duplicate claims
                                          objection exhibits
Esposito, Rob        10/19/2023     0.5   Discussion with R. Esposito and C. Myers (A&M) re: omnibus
                                          objections 1, 2 and 3
Esposito, Rob        10/19/2023     0.4   Coordinate team reconciliation tasks and timelines re: claims

Esposito, Rob        10/19/2023     0.5   Discuss no liability objections with L Francis and R Esposito (A&M)

Esposito, Rob        10/19/2023     0.7   Review of claims details to respond to inquiries from S&C team


Esposito, Rob        10/19/2023     0.4   Discussion with D. Lewandowski, J. Zatz, and R. Esposito (A&M) re:
                                          customer portal claims reconciliation and open issues
Esposito, Rob        10/19/2023     0.4   Call with A. Kranzley, S. Levin (S&C), H. Chambers, A. Mohammed,
                                          R. Esposito, L. Chamma (A&M) regarding weekly AML decision
Flynn, Matthew       10/19/2023     0.4   Call with A. Kranzley, S. Levin (S&C), M. Flynn, C. Tong, K.
                                          Pestano, J. Yan (A&M) regarding weekly AML decision
Flynn, Matthew       10/19/2023     0.4   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), A. Porwal
                                          (Integreon), P. Laurie (FTX), A. Gryaznov (Sumsub) to discuss latest
                                          portal and KYC status
Francis, Luke        10/19/2023     0.3   Discussion with S. Kotarba, L. Francis and C. Myers (A&M) re: non-
                                          customer claim tracker and presentation


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Claims
Professional                Date    Hours    Activity
Francis, Luke          10/19/2023     1.1   Call with L Francis and R Esposito (A&M) to discuss non-customer
                                            claims reconciliations and objections
Francis, Luke          10/19/2023     0.9   Discussion with P. Avdellas, R. Esposito, L. Francis, D.
                                            Lewandowski (A&M) re: Customer claims matching to schedules
Francis, Luke          10/19/2023     0.5   Discussion with S. Kotarba, L. Francis and C. Myers (A&M) re: non-
                                            customer claim tracker
Francis, Luke          10/19/2023     0.3   Discussion with D. Lewandowski, R. Esposito, and L. Francis (A&M)
                                            re: claims omnibus objection
Francis, Luke          10/19/2023     2.1   Update total claims filed to adjusted bridges to include plan estimate
                                            walk down
Francis, Luke          10/19/2023     1.2   Update objection based on no liability drafts based on review of
                                            company records
Francis, Luke          10/19/2023     0.3   Discussion with D. Lewandowski and L. Francis (A&M) re: claims
                                            omnibus objection
Francis, Luke          10/19/2023     1.7   Update claims reconciliation workplan presentation for leadership
                                            based on feedback
Francis, Luke          10/19/2023     1.4   Review of claimants who incorrectly filed non-USD as filed USD
                                            claim amount
Francis, Luke          10/19/2023     1.9   Update non-customer presentation with inclusion of adjustments to
                                            claim bridges
Francis, Luke          10/19/2023     0.5   Discuss no liability objections with L Francis and R Esposito (A&M)

Gordon, Robert         10/19/2023     0.2   Draft response to creditor regarding scheduled claim


Hill, Liam             10/19/2023     1.2   Confirm accuracy of claims objected to due to amendments made

Hubbard, Taylor        10/19/2023     2.9   Review of Metabase in order to perform customer claims matching
                                            to main account IDs
Hubbard, Taylor        10/19/2023     0.9   Review of Metabase to conduct customer claims matching to main
                                            account IDs
Hubbard, Taylor        10/19/2023     2.8   Utilize Metabase to achieve accurate customer claims matching


Hubbard, Taylor        10/19/2023     1.4   Implement Metabase for the task of matching customer claims

Johnson, Robert        10/19/2023     0.4   Review datasets to identify appropriate joins between sumsub data
                                            and Kroll data for purposes of claims summaries
Johnson, Robert        10/19/2023     0.8   Review user account to identify why user was appearing twice in
                                            scheduled claims and report back on findings
Kane, Alex             10/19/2023     2.1   Review duplicate claims marked as paper vs. electronic duplicates
                                            for objection
Kane, Alex             10/19/2023     1.9   Review amended claims marked for objection of Treasury claim type


Kane, Alex             10/19/2023     1.8   Review amended claims marked for objection of Tax claim type




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Claims
Professional                Date    Hours    Activity
Kane, Alex             10/19/2023     1.4   Review amended claims marked for objection of HR claim type

Kane, Alex             10/19/2023     1.7   Review amended claims marked for objection of AP claim type


Kotarba, Steve         10/19/2023     0.3   Discussion with S. Kotarba, L. Francis and C. Myers (A&M) re: non-
                                            customer claim tracker and presentation
Kotarba, Steve         10/19/2023     1.3   Perform substantive analysis re: claims seeking duplicative
                                            recoveries on different filed claims
Kotarba, Steve         10/19/2023     0.5   Discussion with S. Kotarba, L. Francis and C. Myers (A&M) re: non-
                                            customer claim tracker
Kotarba, Steve         10/19/2023     0.4   Review analysis re response to counsel diligence re certain
                                            sponsorship agreement liabilities
Kotarba, Steve         10/19/2023     2.7   Prepare objection exhibits re non-substantive claims for objection


Lewandowski, Douglas   10/19/2023     0.9   Discussion with P. Avdellas, R. Esposito, L. Francis, D.
                                            Lewandowski (A&M) re: Customer claims matching to schedules
Lewandowski, Douglas   10/19/2023     1.1   Create mock up claims reconciliation extension tables for customer
                                            claims A&M data matched to AWS data
Lewandowski, Douglas   10/19/2023     0.4   Prepare memo of customer outreach for documentation related to
                                            customer claims reconciliation
Lewandowski, Douglas   10/19/2023     0.3   Discussion with D. Lewandowski, R. Esposito, and L. Francis (A&M)
                                            re: claims omnibus objection
Lewandowski, Douglas   10/19/2023     1.8   Review and respond to FTI diligence request related to
                                            filed/scheduled customer claims
Lewandowski, Douglas   10/19/2023     1.0   Discussion with D. Lewandowski, S. Kotarba, and R. Esposito
                                            (A&M) re: customer claim workplan
Lewandowski, Douglas   10/19/2023     1.2   Provide comments to the claims reconciliation memo/work plan for
                                            discussion with A&M team and S&C
Lewandowski, Douglas   10/19/2023     0.2   Discussion with D. Lewandowski and A. Mohammed (A&M) re: KYC
                                            for certain customers
Lewandowski, Douglas   10/19/2023     0.5   Research AHC request related to customer difficulties in filing claims


Lewandowski, Douglas   10/19/2023     0.3   Discussion with D. Lewandowski and L. Francis (A&M) re: claims
                                            omnibus objection
Lewandowski, Douglas   10/19/2023     1.4   Identify anomalies with Kroll customer schedule number assignments

Lewandowski, Douglas   10/19/2023     0.6   Prepare response to J. Zatz (A&M) re: customer data tables


Lewandowski, Douglas   10/19/2023     0.4   Prepare responses to Kroll customer escalation inquiry log

Lewandowski, Douglas   10/19/2023     0.4   Discussion with D. Lewandowski, J. Zatz, and R. Esposito (A&M) re:
                                            customer portal claims reconciliation and open issues
Mohammed, Azmat        10/19/2023     0.2   Discussion with D. Lewandowski and A. Mohammed (A&M) re: KYC
                                            for certain customers




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Claims
Professional               Date    Hours    Activity
Mohammed, Azmat       10/19/2023     2.1   Gather claims and KYC data for UCC data requests

Mohammed, Azmat       10/19/2023     0.4   Facilitate setting up Claims reconciliation process


Mohammed, Azmat       10/19/2023     0.4   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), A. Porwal
                                           (Integreon), P. Laurie (FTX), A. Gryaznov (Sumsub) to discuss latest
                                           portal and KYC status
Mohammed, Azmat       10/19/2023     2.2   Support FTX Customer Support and KYC Manual reviewing teams
                                           with technical matters on 10/19/23 related to access issues and
                                           customer inquiries
Mohammed, Azmat       10/19/2023     0.4   Call with A. Kranzley, S. Levin (S&C), H. Chambers, A. Mohammed,
                                           R. Esposito, L. Chamma (A&M) regarding weekly AML decision
Mohammed, Azmat       10/19/2023     0.6   Coordinate development and debugging efforts related to CSV
                                           download function
Myers, Claire         10/19/2023     0.3   Discussion with S. Kotarba, L. Francis and C. Myers (A&M) re: non-
                                           customer claim tracker and presentation
Myers, Claire         10/19/2023     0.7   Analyze customer portal claims to determine whether surviving
                                           claims have additional possible duplicates
Myers, Claire         10/19/2023     0.4   Discussion with P. Avdellas and C. Myers (A&M) re: omni objections
                                           and noncustomer tracking
Myers, Claire         10/19/2023     0.5   Discussion with S. Kotarba, L. Francis and C. Myers (A&M) re: non-
                                           customer claim tracker
Myers, Claire         10/19/2023     0.5   Discussion with R. Esposito and C. Myers (A&M) re: omnibus
                                           objections 1, 2 and 3
Myers, Claire         10/19/2023     2.4   Analyze claims to determine non-substantive duplicate claims

Myers, Claire         10/19/2023     1.1   Prepare first, second and third omnibus objections exhibits


Myers, Claire         10/19/2023     1.8   Analyze claims to determine amended claims

Myers, Claire         10/19/2023     1.9   Analyze claims to determine exact duplicate claims


Pestano, Kyle         10/19/2023     0.4   Call with A. Kranzley, S. Levin (S&C), M. Flynn, C. Tong, K.
                                           Pestano, J. Yan (A&M) regarding weekly AML decision
Pestano, Kyle         10/19/2023     1.9   Review source of fund documents related to specific high risk
                                           accounts based on jurisdiction and industry provided by contractors
                                           during their review of cases
Pestano, Kyle         10/19/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and S.
                                           Sinha and others (Integreon) to host manual review daily catch up
Pestano, Kyle         10/19/2023     1.3   Investigate AML hits of politically exposed people during daily review
                                           of contractor reviewed cases and review source of fund documents
                                           related to higher risk accounts based on jurisdiction and industry
                                           provided
Pestano, Kyle         10/19/2023     0.4   Call with L. Chamma, C. Tong, K. Pestano (A&M), A. Porwal
                                           (Integreon), P. Laurie (FTX), A. Gryaznov (Sumsub) to discuss latest
                                           portal and KYC status



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Claims
Professional                 Date    Hours    Activity
Pestano, Kyle           10/19/2023     0.8   Resolve AWS name issues re: KYC applicants from customer
                                             account escalations by looking up documents in Relativity and
                                             comparing to legacy database
Ramanathan, Kumanan     10/19/2023     0.6   Review of post-petition activity and claims balance and correspond
                                             with counsel
Sarmiento, Dubhe        10/19/2023     1.4   Review, classification and processing of previous and new requests
                                             in the Claims Privacy Inbox on 19 October
Sarmiento, Dubhe        10/19/2023     3.1   Draft response templates for processing of previous and new
                                             requests in the Claims Privacy Inbox on 19 October
Sullivan, Christopher   10/19/2023     1.7   Review updates to the Plan support deck for revised contract claims


Sullivan, Christopher   10/19/2023     0.6   Review further updates to the claims reconciliation analysis

Sullivan, Christopher   10/19/2023     0.9   Review the updates to the claims analysis

Tong, Crystal           10/19/2023     0.4   Discuss with Q. Zhang, C. Tong and J. Yan (A&M) regarding the
                                             proposed KYC process for secondary claims
Tong, Crystal           10/19/2023     0.9   Perform final checking and consolidation of all the quality check
                                             working on the manual KYC review
Tong, Crystal           10/19/2023     0.8   Perform checking and consolidation of the quality check working on
                                             the manual KYC review
Tong, Crystal           10/19/2023     2.4   Respond to the questions raised from the customer service on KYC
                                             status
Tong, Crystal           10/19/2023     3.1   Perform quality check on the manual KYC workings for the retail
                                             customers
Tong, Crystal           10/19/2023     1.2   Respond to comments and revise the KYC process deck on
                                             secondary claims
Tong, Crystal           10/19/2023     1.6   Answer to questions raised from the customer service on KYC status

Tong, Crystal           10/19/2023     3.1   Draft and prepare the KYC process deck on secondary claims


Tong, Crystal           10/19/2023     2.4   Conduct QC on the manual KYC for the retail customers

Tong, Crystal           10/19/2023     0.4   Call with L. Chamma, C. Tong, K. Pestano (A&M), A. Porwal
                                             (Integreon), P. Laurie (FTX), A. Gryaznov (Sumsub) to discuss latest
                                             portal and KYC status
Yan, Jack               10/19/2023     0.4   Call with A. Kranzley, S. Levin (S&C), M. Flynn, C. Tong, K.
                                             Pestano, J. Yan (A&M) regarding weekly AML decision
Yan, Jack               10/19/2023     0.4   Discuss with Q. Zhang, C. Tong and J. Yan (A&M) regarding the
                                             proposed KYC process for secondary claims
Yan, Jack               10/19/2023     2.8   Perform quality check on KYC manual review performed by
                                             Integreon US team as at October 19, 2023
Yan, Jack               10/19/2023     2.2   Revise the deck for proposed KYC flows on secondary claims after
                                             the call with S&C
Yan, Jack               10/19/2023     0.8   Answer queries from FTX Customer Service as at October 19, 2023



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Claims
Professional               Date    Hours    Activity
Yan, Jack             10/19/2023     0.9   Update manual review ticket tracker as at October 19, 2023

Yan, Jack             10/19/2023     2.9   Prepare the deck for proposed KYC flows on secondary claims


Yan, Jack             10/19/2023     0.5   Call with L. Chamma, C. Tong, K. Pestano, J. Yan (A&M) and S.
                                           Sinha and others (Integreon) to host manual review daily catch up
Yang, Sharon          10/19/2023     2.8   Review customer claim report to capture discrepancies with claim
                                           POC
Yang, Sharon          10/19/2023     2.9   Analyze claim report to determine transferred claims


Yang, Sharon          10/19/2023     2.3   Review claims in preparation of objection and determined if
                                           additional claims filed or transferred in association with surviving
                                           claims
Zatz, Jonathan        10/19/2023     2.9   Script database related to request for claims data to include
                                           overstated claims into discarded claims status
Zatz, Jonathan        10/19/2023     2.7   Script database related to request for claims data to include
                                           concatenated claimed tickers
Zatz, Jonathan        10/19/2023     0.9   Correspondence regarding request for schedule status as part of
                                           preference data analysis
Zatz, Jonathan        10/19/2023     1.1   Script database related to request for claims data to include
                                           concatenated scheduled tickers
Zatz, Jonathan        10/19/2023     0.9   Script database related to request for claims data to include
                                           transferred claims
Zatz, Jonathan        10/19/2023     2.6   Script database related to request for claims data to include
                                           discarded claims
Zatz, Jonathan        10/19/2023     1.4   Script database related to request for claims data to include sumsub
                                           KYC data
Zatz, Jonathan        10/19/2023     0.6   Correspondence regarding updated ticker category mapping table

Zatz, Jonathan        10/19/2023     0.4   Discussion with D. Lewandowski, J. Zatz, and R. Esposito (A&M) re:
                                           customer portal claims reconciliation and open issues
Arora, Rohan          10/20/2023     1.6   Resume the process of integrating customer claims with the account
                                           details available in the database
Arora, Rohan          10/20/2023     1.6   Proceed with the ongoing effort to reconcile customer claims with
                                           the account details contained in the database
Arora, Rohan          10/20/2023     0.5   Call with D. Lewandowski, P. Avdellas, R. Arora, and S. Yang (A&M)
                                           re: customer claim matching walkthrough
Arora, Rohan          10/20/2023     2.1   Provide assistance in refreshing and updating the claim status deck
                                           for weekly refresh
Arora, Rohan          10/20/2023     1.3   Begin process of matching customer claims with account details in
                                           database
Arora, Rohan          10/20/2023     0.9   Ensure that the data source tables are synchronized with the latest
                                           information
Arora, Rohan          10/20/2023     0.2   Call with L. Francis and R. Arora (A&M) re: weekly refresh of claims
                                           reporting deck


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Claims
Professional               Date    Hours    Activity
Arora, Rohan          10/20/2023     3.1   Assist with the weekly renewal and update of the claim status deck

Arora, Rohan          10/20/2023     0.7   Resume the ongoing process of integrating customer claims with the
                                           account details available in the database while ensuring
                                           reconciliation
Arora, Rohan          10/20/2023     1.9   Carry on with the ongoing effort to reconcile customer claims with
                                           their corresponding account details in the database
Arora, Rohan          10/20/2023     1.2   Continue the task of aligning customer claims with their
                                           corresponding account details as part of the ongoing reconciliation
                                           process in the database
Avdellas, Peter       10/20/2023     0.5   Call with D. Lewandowski, P. Avdellas, R. Arora, and S. Yang (A&M)
                                           re: customer claim matching walkthrough
Avdellas, Peter       10/20/2023     0.7   Discussion with P. Avdellas and L. Francis (A&M) re: Omnibus
                                           objection overview and analysis
Avdellas, Peter       10/20/2023     0.7   Analyze unmatched customer claims submitted through FTX portal
                                           with filed amounts between $100,000 and $150,000 in an attempt to
                                           match unique main account ID by name on file
Avdellas, Peter       10/20/2023     1.3   Consolidate all potential matches between both claims registers
                                           (customer and non-customer) and matched CUD schedules to
                                           identify claims for additional review to determine if they are truly
                                           duplicative
Avdellas, Peter       10/20/2023     1.1   Analyze unmatched customer claims submitted through FTX portal
                                           with filed amounts between $100,000 and $150,000 in an attempt to
                                           match unique main account ID by customer code provided
Avdellas, Peter       10/20/2023     1.1   Analyze unmatched customer claims submitted through FTX portal
                                           with filed amounts between $150,000 and $200,000 in an attempt to
                                           match unique main account ID by customer code provided
Avdellas, Peter       10/20/2023     1.4   Analyze unmatched customer claims submitted through FTX portal
                                           with filed amounts between $150,000 and $200,000 in an attempt to
                                           match unique main account ID by name on file
Avdellas, Peter       10/20/2023     1.6   Analyze unmatched customer claims submitted through FTX portal
                                           with filed amounts between $150,000 and $200,000 in an attempt to
                                           match unique main account ID by email address on file
Avdellas, Peter       10/20/2023     0.9   Analyze unmatched customer claims submitted through FTX portal
                                           with filed amounts between $100,000 and $150,000 in an attempt to
                                           match unique main account ID by email address on file
Avdellas, Peter       10/20/2023     1.2   Identify claims submitted through FTX customer portal and non-
                                           customer claims register based on specific claimant information to
                                           identify all claims in both populations to assist in diligence request
Avdellas, Peter       10/20/2023     1.4   Consolidate all potential matches between FTX customer portal and
                                           non-customer claims register to identify for additional review to
                                           determine if claims are truly duplicative
Baker, Kevin          10/20/2023     0.2   Call with K. Baker and A. Mohammed (A&M) to discuss data request
                                           on claims data
Chambers, Henry       10/20/2023     0.5   Correspondence with S&C regarding response to creditor queries

Chambers, Henry       10/20/2023     0.6   Prepare outline response to KYC clarification questions




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Claims
Professional              Date    Hours    Activity
Chambers, Henry      10/20/2023     0.7   Consider roles for additional FTX KYC staff support

Chamma, Leandro      10/20/2023     0.6   Research KYC legacy files on Relativity to provide feedback on KYC
                                          applications with data discrepancies
Chamma, Leandro      10/20/2023     0.5   Call with L. Chamma and K. Pestano (A&M) to discuss customer
                                          support requests and daily reporting of stats to S&C
Chamma, Leandro      10/20/2023     0.7   Analyze KYC applications escalated for second level review by UK
                                          and US manual reviewers from Integreon
Chamma, Leandro      10/20/2023     2.4   Draft spreadsheet with data related to high balance accounts for
                                          purposes of reporting to S&C
Chamma, Leandro      10/20/2023     0.1   Draft claims portal KYC metrics for recordkeeping and reporting
                                          purposes
Chamma, Leandro      10/20/2023     1.7   Monitor live chat to answer questions presented by claims portal
                                          customer support team in respect with status of applications to
                                          enable 2 factor authentication reset
Chamma, Leandro      10/20/2023     0.3   Draft email for S&C with summary of KYC status for high balance
                                          accounts and encrypted spreadsheet with KYC status and further
                                          details
Chamma, Leandro      10/20/2023     1.4   Review claims portal high balance KYC applications approved and
                                          with further documents requested by two UK manual reviewers for
                                          quality control purpose
Esposito, Rob        10/20/2023     0.6   Prepare updates to the processing withdrawal plan presentation

Esposito, Rob        10/20/2023     0.2   Update PMO slides for weekly distribution


Esposito, Rob        10/20/2023     0.7   Prepare outline of claims process presentation

Esposito, Rob        10/20/2023     0.5   Discussion with A. Mohammed, D. Lewandowski, and R. Esposito
                                          (A&M) re: balloting in the FTX Portal
Esposito, Rob        10/20/2023     0.4   Teleconference with R Esposito, R. Gordon, D. Lewandowski, K.
                                          Kearney, G. Walia, A. Mohammed(A&M) over withdrawal analysis
                                          strategy
Esposito, Rob        10/20/2023     1.2   Review of customer claims reconciliation sheets to understand
                                          discrepancies in scheduled to filed claims
Esposito, Rob        10/20/2023     0.7   Discussion with D. Lewandowski, R. Esposito (A&M), J. Croke, A.
                                          Kranzley (S&C) re: claims objections and customer claim resolution
Esposito, Rob        10/20/2023     1.3   Analysis and summary of customer claims filed against accounts
                                          with processing withdrawals
Flynn, Matthew       10/20/2023     0.5   Discussion with M. Flynn, K. Ramanathan (A&M) re: balloting in the
                                          FTX Portal
Flynn, Matthew       10/20/2023     0.7   Review KYC customer summary for S&C

Flynn, Matthew       10/20/2023     0.8   Review customer support consulting agreements for S&C

Flynn, Matthew       10/20/2023     0.9   Draft customer analysis calculation for the customer portal



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Claims
Professional                Date    Hours    Activity
Francis, Luke          10/20/2023     1.3   Buildout of reclassify objections for duplicate non-customer claims
                                            that match to Portal Customer claims
Francis, Luke          10/20/2023     1.8   Update customer claims presentation to include adjustments from
                                            weeks worth of reconciliation
Francis, Luke          10/20/2023     0.7   Discussion with P. Avdellas and L. Francis (A&M) re: Omnibus
                                            objection overview and analysis
Francis, Luke          10/20/2023     2.1   Review of claims with processing withdrawals to include within
                                            workplan analysis
Francis, Luke          10/20/2023     0.7   Call with L. Francis and R. Arora (A&M) re: weekly refresh of claims
                                            reporting deck
Francis, Luke          10/20/2023     1.7   Update claims reconciliation workplans to include estimated timeline
                                            of objectives with Update bridges based on updated figures
Gordon, Robert         10/20/2023     0.4   Teleconference with R. Gordon, R. Esposito, D. Lewandowski, K.
                                            Kearney, G. Walia, A. Mohammed(A&M) over withdrawal analysis
                                            strategy
Hubbard, Taylor        10/20/2023     1.6   Prepare instructions for the customer claims matching exercise for
                                            walkthrough purposes
Hubbard, Taylor        10/20/2023     0.5   Call with S. Kotarba, A. Kane, and T. Hubbard (A&M) re: customer
                                            claim matching walkthrough
Hubbard, Taylor        10/20/2023     0.7   Incorporate Metabase into the workflow for accurate customer
                                            claims matching
Hubbard, Taylor        10/20/2023     2.6   Review of Metabase data for matching customer claims to main
                                            account IDs
Hubbard, Taylor        10/20/2023     1.3   Apply the Metabase platform to facilitate the matching of customer
                                            claims
Hubbard, Taylor        10/20/2023     2.1   Apply Metabase in the context of customer claims matching
                                            procedures
Hubbard, Taylor        10/20/2023     2.9   Implement Metabase for the task of matching customer claims

Johnson, Robert        10/20/2023     1.6   Incorporate latest Kroll dataset into Claims Management schema for
                                            analysis and reporting
Kane, Alex             10/20/2023     2.1   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $54000-56000 reporting USD
Kane, Alex             10/20/2023     1.8   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $58000-60000 reporting USD
Kane, Alex             10/20/2023     1.9   Review HR Salary-Benefits claims marked for objection for basis of
                                            claim and attached documentation
Kane, Alex             10/20/2023     1.9   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $56000-58000 reporting USD
Kane, Alex             10/20/2023     0.5   Call with S. Kotarba, A. Kane, and T. Hubbard (A&M) re: customer
                                            claim matching walkthrough
Kane, Alex             10/20/2023     2.1   Review HR Severance claims marked for objection for basis of claim
                                            and attached documentation
Kearney, Kevin         10/20/2023     0.4   Teleconference with R. Gordon, R. Esposito, D. Lewandowski, K.
                                            Kearney, G. Walia, A. Mohammed(A&M) over withdrawal analysis
                                            strategy

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Claims
Professional                Date    Hours    Activity
Kearney, Kevin         10/20/2023     0.4   Teleconference with R Esposito, R. Gordon, D. Lewandowski, K.
                                            Kearney, G. Walia, A. Mohammed(A&M) over withdrawal analysis
                                            strategy
Kotarba, Steve         10/20/2023     0.5   Call with S. Kotarba, A. Kane, and T. Hubbard (A&M) re: customer
                                            claim matching walkthrough
Kotarba, Steve         10/20/2023     1.1   Prepare objection analysis to overstated claims of certain former
                                            employees
Kotarba, Steve         10/20/2023     1.4   Reconcile open HR non-customer claims

Kotarba, Steve         10/20/2023     0.3   Discussion with A. Mohammed, K. Ramanathan, D. Lewandowski,
                                            S. Kotarba (A&M), S. Perry, H. Alli, and J. Karotkin (Kroll) re:
                                            customer portal status
Kotarba, Steve         10/20/2023     1.4   Update plan estimates re non-customer claims to reflect recent
                                            reconciliation
Kotarba, Steve         10/20/2023     2.2   Prepare slide overview of non-customer progress updates for
                                            management/team review related to claims reconciliation
Lewandowski, Douglas   10/20/2023     0.5   Call with D. Lewandowski, P. Avdellas, R. Arora, and S. Yang (A&M)
                                            re: customer claim matching walkthrough
Lewandowski, Douglas   10/20/2023     0.5   Discussion with A. Mohammed, D. Lewandowski, and R. Esposito
                                            (A&M) re: balloting in the FTX Portal
Lewandowski, Douglas   10/20/2023     1.1   Prepare revised claims summary based on latest Kroll data for
                                            review to incorporate into revised customer deck
Lewandowski, Douglas   10/20/2023     1.1   Prepare listing of open Kroll portal issues in preparation for
                                            discussion with Kroll and FTX
Lewandowski, Douglas   10/20/2023     0.3   Research customer balances/claim status in customer claims data
                                            for discussion with A&M/S&C
Lewandowski, Douglas   10/20/2023     1.7   Prepare responses to diligence requests for certain claimants for
                                            S&C
Lewandowski, Douglas   10/20/2023     0.5   Discussion with M. Flynn, K. Ramanathan (A&M) re: balloting in the
                                            FTX Portal
Lewandowski, Douglas   10/20/2023     0.4   Teleconference with R Esposito, R. Gordon, D. Lewandowski, K.
                                            Kearney, G. Walia, A. Mohammed(A&M) over withdrawal analysis
                                            strategy
Lewandowski, Douglas   10/20/2023     0.7   Discussion with D. Lewandowski, R. Esposito (A&M), J. Croke, A.
                                            Kranzley (S&C) re: claims objections and customer claim resolution
Lewandowski, Douglas   10/20/2023     0.3   Discussion with A. Mohammed, K. Ramanathan, D. Lewandowski,
                                            S. Kotarba (A&M), S. Perry, H. Alli, and J. Karotkin (Kroll) re:
                                            customer portal status
Mohammed, Azmat        10/20/2023     0.5   Discussion with A. Mohammed, D. Lewandowski, and R. Esposito
                                            (A&M) re: balloting in the FTX Portal
Mohammed, Azmat        10/20/2023     1.8   Support FTX Customer Support and KYC Manual reviewing teams
                                            with technical matters on 10/20/23
Mohammed, Azmat        10/20/2023     0.2   Call with K. Baker and A. Mohammed (A&M) to discuss data request
                                            on claims data
Mohammed, Azmat        10/20/2023     1.7   Review data, legacy code, and procedures related to processing
                                            withdrawals


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Claims
Professional                 Date    Hours    Activity
Mohammed, Azmat         10/20/2023     0.6   Coordinate development efforts related to logging KYC start datetime

Mohammed, Azmat         10/20/2023     0.9   Research ballot options and functions from other cases


Mohammed, Azmat         10/20/2023     0.4   Document balloting and voting requirements in Jira

Mohammed, Azmat         10/20/2023     1.3   Design balloting functionality and capability

Mohammed, Azmat         10/20/2023     0.3   Discussion with A. Mohammed, K. Ramanathan, D. Lewandowski,
                                             S. Kotarba (A&M), S. Perry, H. Alli, and J. Karotkin (Kroll) re:
                                             customer portal status
Negus, Matthew          10/20/2023     0.6   Review of draft responses to customer claims portal privacy requests

Pestano, Kyle           10/20/2023     0.5   Call with L. Chamma and K. Pestano (A&M) to discuss customer
                                             support requests and daily reporting of stats to S&C
Pestano, Kyle           10/20/2023     1.5   Investigate AWS data mismatch and data null cases in Relativity
                                             and reconcile to FTI output of subfolders
Pestano, Kyle           10/20/2023     1.1   Analyze the files received from Sumsub and discuss/send to the
                                             appropriate KYC Ops team members and analyze the files received
                                             from FTI and draft questions to the appropriate data team members
Ramanathan, Kumanan     10/20/2023     0.8   Review perpetual reconciliation for specific customer and discuss
                                             with J. Ray (FTX)
Sarmiento, Dubhe        10/20/2023     1.4   Review, classification and processing of previous and new requests
                                             in the Claims Privacy Inbox on 20 October
Sullivan, Christopher   10/20/2023     0.7   Review updated claims summary deck for latest reconciliations

Tenney, Bridger         10/20/2023     0.7   Review updates to customer claims figures and KYC percentages


Tong, Crystal           10/20/2023     0.2   Call with C. Tong and J. Yan (A&M) regarding comments left on
                                             proposed KYC flows on secondary claims
Tong, Crystal           10/20/2023     1.4   Respond to questions raised from the customer service on KYC
                                             status for retail customers
Tong, Crystal           10/20/2023     2.8   Perform QC on the manual KYC working for the retail customers

Tong, Crystal           10/20/2023     0.6   Conduct final checking and compile QC working from individual
                                             reviewers
Yan, Jack               10/20/2023     0.2   Call with C. Tong and J. Yan (A&M) regarding comments left on
                                             proposed KYC flows on secondary claims
Yan, Jack               10/20/2023     1.9   Perform quality check on KYC manual review performed by
                                             Integreon US team as at October 20, 2023
Yan, Jack               10/20/2023     0.7   Update manual review ticket tracker as at October 20, 2023


Yang, Sharon            10/20/2023     0.5   Call with D. Lewandowski, P. Avdellas, R. Arora, and S. Yang (A&M)
                                             re: customer claim matching walkthrough
Yang, Sharon            10/20/2023     2.3   Review claims to capture basis of claim and sufficiency of evidence



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Claims
Professional                Date    Hours    Activity
Zatz, Jonathan         10/20/2023     0.3   Script database related to request to provide ticker details for
                                            specific schedule
Zatz, Jonathan         10/20/2023     1.9   Execute database script to consolidate 10/19 claims data from Kroll


Zatz, Jonathan         10/20/2023     0.7   Script database related to request to export claims data

Arora, Rohan           10/21/2023     1.8   Continue the effort to reconcile customer claims with their respective
                                            account details in the database
Arora, Rohan           10/21/2023     1.4   Continue the ongoing reconciliation and matching of customer
                                            claims to their corresponding account details in the database
Avdellas, Peter        10/21/2023     1.6   Analyze unmatched customer claims submitted through FTX portal
                                            with filed amounts between $75,000 and $100,000 in an attempt to
                                            match unique main account ID by email address on file
Chambers, Henry        10/21/2023     0.2   Correspondence with A&M team regarding institutional KYC budget

Chamma, Leandro        10/21/2023     0.4   Answer claims portal customer support inquiries related to KYC
                                            status and customer data
Chamma, Leandro        10/21/2023     1.9   Review claims portal KYC applications approved and with further
                                            documents requested by two UK and one US manual reviewers for
                                            quality control purpose
Esposito, Rob          10/21/2023     0.7   Discussion with D. Lewandowski, R. Esposito, and L. Francis (A&M)
                                            re: processing withdrawals
Esposito, Rob          10/21/2023     0.9   Prepare detailed updates to the processing withdrawal work plan
                                            presentation for mgmt. approval
Esposito, Rob          10/21/2023     0.4   Review of draft process to review claims asserted for withdrawals in
                                            process
Esposito, Rob          10/21/2023     0.3   Coordinate team tasks for weekend deadlines


Francis, Luke          10/21/2023     0.7   Discussion with D. Lewandowski, R. Esposito, and L. Francis (A&M)
                                            re: processing withdrawals
Francis, Luke          10/21/2023     1.4   Update withdrawals analysis presentation based on feedback from
                                            leadership
Francis, Luke          10/21/2023     1.6   Analysis of processing withdrawal claimants to transaction history
                                            prior to petition
Hubbard, Taylor        10/21/2023     2.3   Leverage Metabase's capabilities to execute customer claims
                                            matching tasks
Hubbard, Taylor        10/21/2023     0.4   Implement Metabase for the efficient matching of customer claims

Kane, Alex             10/21/2023     2.1   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $50000-51000 reporting USD
Kane, Alex             10/21/2023     1.7   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $53000-54000 reporting USD
Kane, Alex             10/21/2023     1.8   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $51000-53000 reporting USD
Kane, Alex             10/21/2023     1.9   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $48000-50000 reporting USD

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Claims
Professional                Date    Hours    Activity
Kotarba, Steve         10/21/2023     1.1   Analyze customer claims and supporting documentation for
                                            reconciliation
Kotarba, Steve         10/21/2023     1.2   Update plan estimates and reporting re reconciliation efforts


Lewandowski, Douglas   10/21/2023     0.7   Discussion with D. Lewandowski, R. Esposito, and L. Francis (A&M)
                                            re: processing withdrawals
Lewandowski, Douglas   10/21/2023     0.9   Assist in AHC diligence related to customer with large number of
                                            crypto holdings
Lewandowski, Douglas   10/21/2023     1.8   Review customer claim data for customers with largest processing
                                            withdrawals
Lewandowski, Douglas   10/21/2023     0.6   Research customer inquiry re: scheduled/claimed crypto holdings
                                            and the Kroll portal
Lewandowski, Douglas   10/21/2023     0.9   Prepare updated customer slides showing total asserted amounts
                                            for PMO
Lewandowski, Douglas   10/21/2023     0.4   Draft revised customer disclosures for claims summary deck

Lewandowski, Douglas   10/21/2023     2.1   Prepare claim portion of 'processing withdrawals' deck


Pestano, Kyle          10/21/2023     2.4   Review complex EDD review cases with foreign docs requested from
                                            either high risk industry/jurisdiction tags from both contract teams
Zatz, Jonathan         10/21/2023     1.4   Script database to add pricing information to consolidated claims
                                            data
Zatz, Jonathan         10/21/2023     3.1   Script database to resolve issue in claims consolidation script where
                                            schedule amounts are duplicated when a loan value also exists
Arora, Rohan           10/22/2023     2.1   Resume the ongoing process of reconciling and integrating
                                            customer claims with respective account details available in the
                                            database
Avdellas, Peter        10/22/2023     1.7   Analyze unmatched customer claims submitted through FTX portal
                                            with filed amounts between $50,000 and $60,000 in an attempt to
                                            match unique main account ID by email address on file
Avdellas, Peter        10/22/2023     1.3   Analyze unmatched customer claims submitted through FTX portal
                                            with filed amounts between $60,000 and $75,000 in an attempt to
                                            match unique main account ID by email address on file
Avdellas, Peter        10/22/2023     1.4   Analyze unmatched customer claims submitted through FTX portal
                                            with filed amounts between $40,000 and $50,000 in an attempt to
                                            match unique main account ID by email address on file
Esposito, Rob          10/22/2023     0.6   Prepare detailed summary for communication of the weekly claims
                                            overview report
Esposito, Rob          10/22/2023     0.3   Prepare task list for high priority items due in current week


Esposito, Rob          10/22/2023     0.4   Prepare solicitation and balloting presentation template

Esposito, Rob          10/22/2023     1.2   Review and update to the weekly claims overview

Francis, Luke          10/22/2023     1.4   Update claims reconciliation workplan presentation with buildout of
                                            reconciliation to date


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Claims
Professional                Date    Hours    Activity
Hubbard, Taylor        10/22/2023     3.1   Perform customer claims matching with the assistance of Metabase

Hubbard, Taylor        10/22/2023     0.9   Carry out customer claims matching using Metabase


Hubbard, Taylor        10/22/2023     1.9   Utilize Metabase for matching customer claims

Kane, Alex             10/22/2023     1.7   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $46000-48000 reporting USD
Kane, Alex             10/22/2023     1.8   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $19000-21000 reporting USD
Kane, Alex             10/22/2023     1.9   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $23000-25000 reporting USD
Kane, Alex             10/22/2023     2.1   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $45000-46000 reporting USD
Kane, Alex             10/22/2023     2.1   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $21000-23000 reporting USD
Lewandowski, Douglas   10/22/2023     1.8   Review diligence request from J. Croke (S&C) for potential litigation
                                            targets
Tong, Crystal          10/22/2023     1.7   Perform quality check on the manual KYC for retail customers

Yan, Jack              10/22/2023     0.6   Answer inquiries from FTX Customer Service as at October 22, 2023

Arora, Rohan           10/23/2023     1.4   Continue the ongoing procedure of linking customer claims to their
                                            associated account information in the database
Arora, Rohan           10/23/2023     1.7   Proceed with the reconciliation and alignment of customer claims to
                                            their associated account details in the database
Arora, Rohan           10/23/2023     1.6   Continue with the ongoing reconciliation of customer claims with
                                            their associated account details in the database
Arora, Rohan           10/23/2023     2.1   Carry on with effort to associate customer claims with their
                                            respective account details in the database as part of the ongoing
                                            reconciliation and matching process
Arora, Rohan           10/23/2023     2.3   Keep moving forward with the ongoing task of reconciliation and
                                            matching customer claims with account details in the database
Arora, Rohan           10/23/2023     1.4   Persist in the ongoing effort to associate customer claims with their
                                            respective account details in the database as part of the ongoing
                                            reconciliation and matching process
Arora, Rohan           10/23/2023     1.2   Resume the process of integrating customer claims with the account
                                            details available in the database while ensuring reconciliation and
                                            matching credentials
Avdellas, Peter        10/23/2023     1.8   Analyze current working list of duplicate claims to ensure that all
                                            information reported on the proof of claim is being accurately
                                            captured in preparation of filing omnibus objection for these
                                            duplicate claims
Avdellas, Peter        10/23/2023     1.6   Analyze unmatched customer claims submitted through FTX portal
                                            with filed amounts between $15,000 and $20,000 in an attempt to
                                            match unique main account ID by email address on file



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                                 FTX Trading Ltd., et al.,
                          Time Detail by Activity by Professional
                         October 1, 2023 through October 31, 2023


Claims
Professional               Date    Hours    Activity
Avdellas, Peter       10/23/2023     1.6   Analyze unmatched customer claims submitted through FTX portal
                                           with filed amounts between $30,000 and $40,000 in an attempt to
                                           match unique main account ID by email address on file
Avdellas, Peter       10/23/2023     1.4   Analyze current working list of amended claims to ensure that all
                                           information reported on the proof of claim is being accurately
                                           captured in preparation of filing omnibus objection for these
                                           amended claims
Avdellas, Peter       10/23/2023     1.8   Analyze unmatched customer claims submitted through FTX portal
                                           with filed amounts between $20,000 and $30,000 in an attempt to
                                           match unique main account ID by email address on file
Chambers, Henry       10/23/2023     0.4   Correspondence with S&C regarding potential third party
                                           investigations firms for secondary holder KYC
Chambers, Henry       10/23/2023     0.3   Correspondence with A&M team regarding KYC for secondary
                                           holders
Chambers, Henry       10/23/2023     0.9   Review of KYC for secondary holders deck

Coverick, Steve       10/23/2023     0.3   Call with E. Mosley, S. Coverick (A&M), A. Kranzley (S&C) re:
                                           claims objection procedures
Coverick, Steve       10/23/2023     0.5   Meeting with E. Mosley, R. Esposito, and S. Coverick (A&M) re:
                                           omnibus objection procedures
Esposito, Rob         10/23/2023     0.7   Discussion with D. Lewandowski, R. Esposito, and J. Zatz (A&M) re:
                                           customer schedule/claims updates
Esposito, Rob         10/23/2023     0.3   Discussion with D. Lewandowski, R. Esposito, (A&M) and A.
                                           Kranzley (A&M) re: omnibus claims objections procedures
Esposito, Rob         10/23/2023     0.5   Meeting with E. Mosley, R. Esposito, and S. Coverick (A&M) re:
                                           omnibus objection procedures
Esposito, Rob         10/23/2023     1.2   Prepare updates to the claims reconciliation reporting for distribution
                                           to FTX management
Esposito, Rob         10/23/2023     0.2   Discussion with D. Lewandowski, R. Esposito, (A&M) re: omnibus
                                           claims objections procedures
Esposito, Rob         10/23/2023     1.6   Review and analysis of claims reconciliations and transaction data of
                                           certain claims traders
Esposito, Rob         10/23/2023     0.2   Discuss known creditors for motion to dismiss with L Francis and D
                                           Lewandowski
Esposito, Rob         10/23/2023     0.8   Review and analysis of claims details and summary for reporting
                                           purposes
Esposito, Rob         10/23/2023     1.3   Prepare updates to the processing withdrawal plan for review thereof

Esposito, Rob         10/23/2023     0.7   Prepare detailed team work plan for claims reconciliation and
                                           reporting
Esposito, Rob         10/23/2023     0.2   Discuss duplicate claims objections with L Francis and R Esposito
                                           (A&M)
Esposito, Rob         10/23/2023     0.7   Discuss claims objection drafts with L Francis and R Esposito (A&M)

Flynn, Matthew        10/23/2023     0.8   Call with M. Flynn and A.Mohammed (A&M) to discuss status on
                                           technology items with the claims portal and process


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                                  FTX Trading Ltd., et al.,
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Claims
Professional                Date    Hours    Activity
Flynn, Matthew         10/23/2023     0.4   Review of contract data privacy terms for S&C

Flynn, Matthew         10/23/2023     0.8   Review customer support ticket requests


Francis, Luke          10/23/2023     1.2   Review of non-tax governmental claims to perform triage /
                                            reconciliation
Francis, Luke          10/23/2023     0.2   Discuss known creditors for motion to dismiss with L Francis and D
                                            Lewandowski
Francis, Luke          10/23/2023     0.8   Update weekly claims reporting presentation for changes from
                                            previous week
Francis, Luke          10/23/2023     0.2   Discuss duplicate claims objections with L Francis and R Esposito
                                            (A&M)
Francis, Luke          10/23/2023     0.7   Create proposed claims reconciliation timelines for non-customer
                                            claims
Francis, Luke          10/23/2023     0.7   Discuss claims objection drafts with L Francis and R Esposito (A&M)

Francis, Luke          10/23/2023     1.2   Review of new claims register for initial claims triage


Hubbard, Taylor        10/23/2023     1.7   Assist with data request by matching creditors with their
                                            corresponding main account ID's
Hubbard, Taylor        10/23/2023     1.8   Execute the task of matching customer claims by means of
                                            Metabase
Hubbard, Taylor        10/23/2023     2.9   Execute customer claims matching by leveraging Metabase


Hubbard, Taylor        10/23/2023     1.6   Employ Metabase to match customer claims

Johnston, David        10/23/2023     0.8   Review claims filed against FTX EU Ltd


Kane, Alex             10/23/2023     1.7   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $15000-16000 reporting USD
Kane, Alex             10/23/2023     1.9   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $14000-15000 reporting USD
Kane, Alex             10/23/2023     2.1   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $16000-17000 reporting USD
Kane, Alex             10/23/2023     1.5   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $13000-14000 reporting USD
Kane, Alex             10/23/2023     1.9   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $18000-19000 reporting USD
Kane, Alex             10/23/2023     1.8   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $17000-18000 reporting USD
Kotarba, Steve         10/23/2023     0.5   Meeting with D. Lewandowski and S. Kotarba (A&M) re: omnibus
                                            objection procedures
Kotarba, Steve         10/23/2023     1.5   Review of material non-customer claims for reporting and
                                            reconciliation




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                                  FTX Trading Ltd., et al.,
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Claims
Professional                Date    Hours    Activity
Kotarba, Steve         10/23/2023     1.6   Prepare analysis re omnibus objection procedures and pending
                                            objections
Lewandowski, Douglas   10/23/2023     0.3   Discussion with D. Lewandowski, R. Esposito, (A&M) and A.
                                            Kranzley (A&M) re: omnibus claims objections procedures
Lewandowski, Douglas   10/23/2023     0.7   Discussion with D. Lewandowski, R. Esposito, and J. Zatz (A&M) re:
                                            customer schedule/claims updates
Lewandowski, Douglas   10/23/2023     0.2   Discussion with D. Lewandowski, R. Esposito, (A&M) re: omnibus
                                            claims objections procedures
Lewandowski, Douglas   10/23/2023     0.5   Meeting with E. Mosley, R. Esposito, and S. Coverick (A&M) re:
                                            omnibus objection procedures
Lewandowski, Douglas   10/23/2023     0.5   Meeting with D. Lewandowski and S. Kotarba (A&M) re: omnibus
                                            objection procedures
Lewandowski, Douglas   10/23/2023     1.2   Prepare customer claims disclosures for weekly PMO deck based
                                            on new customer data
Lewandowski, Douglas   10/23/2023     0.8   Review customer ticker data to identify duplicative asserted
                                            types/values
Lewandowski, Douglas   10/23/2023     0.2   Discuss known creditors for motion to dismiss with L Francis and D
                                            Lewandowski
Lewandowski, Douglas   10/23/2023     1.3   Review claim inquiries from A. Holland (S&C) related to litigation
                                            targets
Lewandowski, Douglas   10/23/2023     0.6   Research other claims related to FTX OTC activity

Mohammed, Azmat        10/23/2023     0.8   Call with M. Flynn and A.Mohammed (A&M) to discuss status on
                                            technology items with the claims portal and process
Mohammed, Azmat        10/23/2023     2.1   Support FTX Customer Support and KYC teams on technical
                                            matters and cases on 10/23/23
Mohammed, Azmat        10/23/2023     1.1   Collaborate with FTX CS, S&C, and Sygnia for identifying phishing
                                            email and site data
Mohammed, Azmat        10/23/2023     1.6   Coordinate engineering efforts to support claims reconciliation
                                            process and when KYC was started
Mohammed, Azmat        10/23/2023     0.3   Review claims portal outstanding work and JIRA board


Mosley, Ed             10/23/2023     0.3   Call with E. Mosley, S. Coverick (A&M), A. Kranzley (S&C) re:
                                            claims objection procedures
Mosley, Ed             10/23/2023     0.5   Meeting with E. Mosley, R. Esposito, and S. Coverick (A&M) re:
                                            omnibus objection procedures
Pestano, Kyle          10/23/2023     0.6   Review updated excel spreadsheet provided by FTI for FTX Legacy
                                            database KYC applicants documentation
Pestano, Kyle          10/23/2023     0.3   Analyze files extracted from Sumsub regarding emails and creation
                                            dates for select KYC applicant profiles
Pestano, Kyle          10/23/2023     0.9   Investigate bad proof of address cases escalated from Integreon
                                            contractors and internal customer service personnel
Pestano, Kyle          10/23/2023     1.8   Review KYC documents for EDD cases that need SOF verification
                                            that were escalated due to high risk jurisdiction or industry from the
                                            contract review teams


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Claims
Professional               Date    Hours    Activity
Pestano, Kyle         10/23/2023     0.6   Investigate high level account balances with AWS data mismatch
                                           due to address not matching and discuss accordingly with Integreon
                                           and Sumsub
Pestano, Kyle         10/23/2023     0.7   Resolve customer support requests for AWS name mismatch
                                           issues, submitting additional documents, 2FA resets, and KYC
                                           status updates
Pestano, Kyle         10/23/2023     0.5   Investigate customer support requests for AWS name mismatch
                                           issues, submitting additional documents, 2FA resets, and KYC
                                           status updates
Pestano, Kyle         10/23/2023     0.4   Resolve customer support requests for AWS name mismatch
                                           issues, KYC applicants submitting additional documents, 2FA
                                           resets, and KYC status updates
Ramanathan, Kumanan   10/23/2023     0.6   Review and provide feedback on KYC process for secondary claims

Sunkara, Manasa       10/23/2023     2.8   Query the database for all deposits that match a list of criteria for a
                                           claims analysis
Sunkara, Manasa       10/23/2023     2.9   Confirm the user accounts associated with specific transactions for a
                                           claims analysis
Sunkara, Manasa       10/23/2023     0.8   Quality check SQL scripts to provide accurate data extracts for a
                                           claims request
Tong, Crystal         10/23/2023     0.4   Review and assign the cases requiring manual KYC review on retail
                                           customers
Tong, Crystal         10/23/2023     0.4   Perform final check and consolidation of the QC working from
                                           second level reviewers
Tong, Crystal         10/23/2023     1.4   Perform quality check on the manual KYC working for retail
                                           customers
Tong, Crystal         10/23/2023     1.1   Respond queries from customer service regarding the KYC status

Yan, Jack             10/23/2023     1.8   Perform quality check on KYC manual review performed by
                                           Integreon US team as at October 23, 2023
Yan, Jack             10/23/2023     0.8   Answer inquiries from FTX Customer Service as at October 23, 2023


Yang, Sharon          10/23/2023     2.9   Analyze claim register to match with customer account ID

Yang, Sharon          10/23/2023     1.8   Review claim details to determine matching accuracy


Yang, Sharon          10/23/2023     2.8   Review customer account IDs to match with claims register

Zatz, Jonathan        10/23/2023     0.7   Discussion with D. Lewandowski, R. Esposito, and J. Zatz (A&M) re:
                                           customer schedule/claims updates
Zatz, Jonathan        10/23/2023     2.3   Script database related to request to provide CUD flag summary
                                           with counts and amounts
Zatz, Jonathan        10/23/2023     1.9   Update database script logic related to flagging surviving claim for
                                           each discarded claim
Zatz, Jonathan        10/23/2023     3.1   Script database related to request to provide top discarded claims
                                           and associated surviving claims


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Claims
Professional               Date    Hours    Activity
Zatz, Jonathan        10/23/2023     2.6   Clean up old excess code from database script that consolidates
                                           claim data
Arora, Rohan          10/24/2023     2.3   Proceed with the ongoing effort to reconcile customer claims with
                                           the account details contained in the database
Arora, Rohan          10/24/2023     2.6   Push forward with the process of integrating customer claims with
                                           the account details available in the database
Arora, Rohan          10/24/2023     3.1   Resume the process of correlating customer claims with account
                                           details stored in the database
Arora, Rohan          10/24/2023     2.7   Continue with the process of associating customer claims with their
                                           respective account details in the database as part of the ongoing
                                           reconciliation and matching process
Avdellas, Peter       10/24/2023     0.8   Meeting with P. Avdellas and T. Hubbard (A&M) re: Matching main
                                           account IDs to customer claim based on email address on file
Avdellas, Peter       10/24/2023     1.4   Analyze proof of claim for subset of non-customer claims in an
                                           attempt to identify email address that was registered with FTX
                                           account in an attempt to match unique main account ID
Avdellas, Peter       10/24/2023     0.9   Analyze claimant differences based on updated Kroll register from
                                           10/24/23 to identify claims that may have been docketed in error or
                                           need information updated in preparation of claims reconciliation
Avdellas, Peter       10/24/2023     1.4   Assist in preparation of summary of duplicate customer claims
                                           omnibus objection draft in preparation of filing omnibus objection for
                                           duplicate claims
Avdellas, Peter       10/24/2023     1.3   Analyze claim amount differences based on updated Kroll register
                                           from 10/24/23 to identify claims that may have been docketed in
                                           error or need information updated in preparation of claims
                                           reconciliation
Avdellas, Peter       10/24/2023     1.1   Analyze most recent Kroll claims register from 10/24/23 to update
                                           internal register with updated owner of claim based on transfer of
                                           claim
Avdellas, Peter       10/24/2023     1.2   Assist in preparation of summary of duplicate non-customer claims
                                           omnibus objection draft in preparation of filing omnibus objection for
                                           duplicate claims
Avdellas, Peter       10/24/2023     1.4   Analyze claim differences based on updated Kroll register from
                                           10/24/23 to identify claims that may have been docketed in error or
                                           need information updated in preparation of claims reconciliation
Chambers, Henry       10/24/2023     0.4   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), A. Porwal
                                           (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                           latest portal and KYC status
Esposito, Rob         10/24/2023     0.4   Call with L Francis and R Esposito (A&M) re: updates to claims
                                           reconciliation workstreams
Esposito, Rob         10/24/2023     1.4   Prepare updates to the claims reconciliation process presentation
                                           for FTX management
Esposito, Rob         10/24/2023     0.3   Review of draft claims objection summary to provide comments to
                                           team
Esposito, Rob         10/24/2023     0.3   Coordinate frivolous claims objection plan/process

Esposito, Rob         10/24/2023     1.4   Review of customer claims for superseded objections



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Claims
Professional                Date    Hours    Activity
Esposito, Rob          10/24/2023     0.9   Discussion with D. Lewandowski, R. Esposito, (A&M) re: open items
                                            including omnibus objections, customer claims reconciliation, and ad
                                            hoc requests
Flynn, Matthew         10/24/2023     0.6   Review outstanding customer support tickets for customer support

Flynn, Matthew         10/24/2023     0.8   Review balloting process and portal design for S&C


Flynn, Matthew         10/24/2023     0.3   Call with B. Walsh and others (BitGo), A. Mohammed, M. Flynn, Q.
                                            Zhang, C. Tong (A&M) to discuss institutional KYC matters
Flynn, Matthew         10/24/2023     0.4   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), A. Porwal
                                            (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                            latest portal and KYC status
Francis, Luke          10/24/2023     2.2   Analysis of customer filed claims to scheduled claim amounts with
                                            variance reporting for key differences
Francis, Luke          10/24/2023     0.4   Call with L Francis and R Esposito (A&M) re: updates to claims
                                            reconciliation workstreams
Francis, Luke          10/24/2023     1.3   Review of claims marked for amended to ensure accuracy of
                                            reporting
Francis, Luke          10/24/2023     1.6   Buildout of variance reporting to customer claims for triage workplan

Francis, Luke          10/24/2023     1.1   Buildout of claims objection templates for amended claims


Francis, Luke          10/24/2023     1.6   Buildout of claims objection templates for duplicate claims

Hubbard, Taylor        10/24/2023     2.4   Perform main account ID matching exercise for non-customer claims

Hubbard, Taylor        10/24/2023     2.4   Leverage metabase for the purpose of customer claims matching


Hubbard, Taylor        10/24/2023     2.9   Carry out customer claims matching with the assistance of metabase

Hubbard, Taylor        10/24/2023     0.8   Meeting with P. Avdellas and T. Hubbard (A&M) re: Matching main
                                            account IDs to customer claim based on email address on file
Johnson, Robert        10/24/2023     0.6   Update Metabase to remove duplicative tables associated with
                                            claims data
Johnston, David        10/24/2023     0.7   Review analysis of FTX EU Ltd. intercompany claim


Kane, Alex             10/24/2023     1.8   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $12000-13000 reporting USD
Kane, Alex             10/24/2023     1.9   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $8000-9000 reporting USD
Kane, Alex             10/24/2023     1.8   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $10000-11000 reporting USD
Kane, Alex             10/24/2023     1.9   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $11000-12000 reporting USD
Kane, Alex             10/24/2023     2.1   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $9000-10000 reporting USD

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Claims
Professional                Date    Hours    Activity
Lewandowski, Douglas   10/24/2023     2.3   Prepare diligence requests from S&C related to litigation targets and
                                            claims
Lewandowski, Douglas   10/24/2023     1.4   Summarize customer claims reconciliation outline in preparation of
                                            workplan deck
Lewandowski, Douglas   10/24/2023     0.1   Correspond with Kroll re: notice parties for FTX Customers

Lewandowski, Douglas   10/24/2023     0.4   Review omnibus claims objection summaries

Lewandowski, Douglas   10/24/2023     0.9   Discussion with D. Lewandowski, R. Esposito, (A&M) re: open items
                                            including omnibus objections, customer claims reconciliation, and ad
                                            hoc requests
Lowe, Sam              10/24/2023     0.2   Call with M. Negus, Q. Zhang, S. Lowe, D. Sarmiento (A&M) to
                                            agree approach to handle a customer privacy request
Mohammed, Azmat        10/24/2023     2.3   Support FTX Customer Service and KYC Manual reviewing teams
                                            with technical matters on 10/24/23
Mohammed, Azmat        10/24/2023     1.2   Support efforts to identify phishing email and site originations and
                                            threat vectors
Mohammed, Azmat        10/24/2023     0.3   Coordinate development efforts related to storing KYC start datetime

Mohammed, Azmat        10/24/2023     1.1   Review and edit KYC processes and claims portal workflows


Mohammed, Azmat        10/24/2023     0.4   Call with A. Mohammed, M. Flynn, H. Chambers (A&M), A. Porwal
                                            (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                            latest portal and KYC status
Mohammed, Azmat        10/24/2023     0.3   Call with B. Walsh and others (BitGo), A. Mohammed, M. Flynn, Q.
                                            Zhang, C. Tong (A&M) to discuss institutional KYC matters
Negus, Matthew         10/24/2023     0.2   Call with M. Negus, Q. Zhang, S. Lowe, D. Sarmiento (A&M) to
                                            agree approach to handle a customer privacy request
Pestano, Kyle          10/24/2023     0.4   Call with Q. Zhang, K. Pestano (A&M) to discuss aws data null cases

Pestano, Kyle          10/24/2023     0.4   Call with Q. Zhang, C. Tong, K. Pestano (A&M), A. Porwal
                                            (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                            latest portal and KYC status
Pestano, Kyle          10/24/2023     1.1   Reconcile the AWS data null output of cases in Relativity and
                                            prepare a summary in order to update the KYC team as to the new
                                            process of completing these cases
Pestano, Kyle          10/24/2023     0.2   Resolve requests escalated by customer support representatives
                                            and Integreon for AWS name mismatch issues, submitting additional
                                            documents, 2FA resets, and KYC status updates throughout the day
Pestano, Kyle          10/24/2023     0.4   Call with Q. Zhang, C. Tong, K. Pestano, J. Yan (A&M) and R.
                                            Wendlick and others (Integreon) to host manual review daily catch up
Pestano, Kyle          10/24/2023     0.7   Investigate requests escalated by customer support representatives
                                            and Integreon for AWS name mismatch issues, submitting additional
                                            documents, 2FA resets, and KYC status updates throughout the day
Pestano, Kyle          10/24/2023     0.5   Discuss S&C target list cases with KYC team members and review
                                            QC notes regarding daily review of escalated cases by contracted
                                            KYC review team before our daily update call with Integreon


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Claims
Professional               Date    Hours    Activity
Pestano, Kyle         10/24/2023     2.4   Review complex EDD review cases with foreign docs escalated from
                                           contract teams and consisting of either high risk industry/jurisdiction
                                           tags, AWS data mismatch, or AML hits
Ramanathan, Kumanan   10/24/2023     0.6   Review of Coin Metrics data file provided for estimation motion and
                                           provide approval
Sarmiento, Dubhe      10/24/2023     1.1   Review, classification and processing of previous and new requests
                                           in the Claims Privacy Inbox on 24 October
Sarmiento, Dubhe      10/24/2023     0.2   Call with M. Negus, Q. Zhang, S. Lowe, D. Sarmiento (A&M) to
                                           agree approach to handle a customer privacy request
Tong, Crystal         10/24/2023     2.9   Conduct quality check on the manual KYC for retail customers


Tong, Crystal         10/24/2023     0.4   Call with Q. Zhang, C. Tong, K. Pestano (A&M), A. Porwal
                                           (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                           latest portal and KYC status
Tong, Crystal         10/24/2023     0.4   Call with Q. Zhang, C. Tong, K. Pestano, J. Yan (A&M) and R.
                                           Wendlick and others (Integreon) to host manual review daily catch up
Tong, Crystal         10/24/2023     0.3   Call with B. Walsh and others (BitGo), A. Mohammed, M. Flynn, Q.
                                           Zhang, C. Tong (A&M) to discuss institutional KYC matters
Yan, Jack             10/24/2023     3.1   Perform quality check on KYC manual review performed by
                                           Integreon US team as at October 24, 2023
Yan, Jack             10/24/2023     0.9   Update the manual review ticket tracker for the ones stuck
                                           processing as at October 24, 2023
Yan, Jack             10/24/2023     0.8   Answer inquiries from FTX Customer Service as at October 24, 2023

Yan, Jack             10/24/2023     0.4   Call with Q. Zhang, C. Tong, K. Pestano, J. Yan (A&M) and R.
                                           Wendlick and others (Integreon) to host manual review daily catch up
Yang, Sharon          10/24/2023     2.8   Analyze claim details to match non-customer claims with customer
                                           account ID
Yang, Sharon          10/24/2023     1.9   Review customer claims to extract customer account ID from
                                           database
Zatz, Jonathan        10/24/2023     2.2   Script database to add schedule number to claims consolidation
                                           tables
Zatz, Jonathan        10/24/2023     0.9   Check for anomalies in latest provided schedule number mapping file

Zhang, Qi             10/24/2023     0.2   Call with M. Negus, Q. Zhang, S. Lowe, D. Sarmiento (A&M) to
                                           agree approach to handle a customer privacy request
Zhang, Qi             10/24/2023     0.4   Call with Q. Zhang, K. Pestano (A&M) to discuss aws data null cases

Zhang, Qi             10/24/2023     0.3   Call with B. Walsh and others (BitGo), A. Mohammed, M. Flynn, Q.
                                           Zhang, C. Tong (A&M) to discuss institutional KYC matters
Zhang, Qi             10/24/2023     0.4   Call with Q. Zhang, C. Tong, K. Pestano, J. Yan (A&M) and R.
                                           Wendlick and others (Integreon) to host manual review daily catch up
Zhang, Qi             10/24/2023     0.4   Call with Q. Zhang, C. Tong, K. Pestano (A&M), A. Porwal
                                           (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                           latest portal and KYC status



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Claims
Professional               Date    Hours    Activity
Arora, Rohan          10/25/2023     2.6   Continue the ongoing procedure of linking customer claims to their
                                           associated account information in the database
Arora, Rohan          10/25/2023     1.2   Carry on with the process of matching customer claims to the
                                           account information in the database as part of the overarching the
                                           reconciliation and matching process
Arora, Rohan          10/25/2023     0.9   Call with R. Navarro, B. Bangerter (FTX) J. Sielinski, R. Esposito, D.
                                           Lewandowski, R. Arora (A&M) to discuss help center workflows used
                                           for claims outreach
Arora, Rohan          10/25/2023     0.9   Continue the process of aligning customer claims with their
                                           corresponding account details as part of the ongoing reconciliation
                                           effort
Arora, Rohan          10/25/2023     1.6   Proceed with the reconciliation and alignment of customer claims
                                           using their associated account details stored in the database
Arora, Rohan          10/25/2023     1.5   Keep moving forward with the ongoing task of reconciliation and
                                           matching customer claims with account details in the database
Avdellas, Peter       10/25/2023     0.7   Discussion with P. Avdellas, T. Hubbard, D. Lewandowski (A&M) re:
                                           Main account ID matching for non-customer claims
Avdellas, Peter       10/25/2023     0.3   Discussion with P. Avdellas and D. Lewandowski (A&M) re: Claims
                                           transfers processing updates
Avdellas, Peter       10/25/2023     1.3   Analyze unmatched non-customer claims with a filed amount
                                           between $25,000 and $100,000 that had an email address located
                                           on proof of claim in an attempt to match unique main account ID
                                           based on email address
Avdellas, Peter       10/25/2023     1.6   Analyze unmatched non-customer claims with a filed amount
                                           between $100,000 and $200,000 that had an email address located
                                           on proof of claim in an attempt to match unique main account ID
                                           based on email address
Avdellas, Peter       10/25/2023     1.4   Assist in preparation of summary of amended non-customer claims
                                           omnibus objection draft in preparation of filing omnibus objection for
                                           amended non-customer
Avdellas, Peter       10/25/2023     1.4   Analyze unmatched non-customer claims with a filed amount of
                                           $200,000 that had an email address located on proof of claim in an
                                           attempt to match unique main account ID based on email address
Avdellas, Peter       10/25/2023     1.3   Assist in preparation of summary of amended customer claims
                                           omnibus objection draft in preparation of filing omnibus objection for
                                           amended customer claims
Avdellas, Peter       10/25/2023     1.6   Assist in preparation of summary for no liability claims omnibus
                                           objection draft summary that included claim number, claimant,
                                           debtor, and filed amount of claim in preparation of omnibus objection
                                           for no liability claims
Chambers, Henry       10/25/2023     0.3   Call with H. Chambers, Q. Zhang, S. Li (A&M) to discuss updates on
                                           bidder due diligence, KYC process and FTX Japan analysis
Esposito, Rob         10/25/2023     0.5   Discussion w/ D. Lewandowski, R. Esposito, and J. Sielinski (A&M)
                                           re: solicitation and claims recon decks
Esposito, Rob         10/25/2023     0.9   Discuss claims reconciliation and plan process presentation with D
                                           Lewandowski and R Esposito (A&M)
Esposito, Rob         10/25/2023     0.5   Discussion w/ D. Lewandowski, S. Kotarba, R. Esposito, and J.
                                           Sielinski (A&M) re: solicitation and claims recon decks


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                                FTX Trading Ltd., et al.,
                         Time Detail by Activity by Professional
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Claims
Professional              Date    Hours    Activity
Esposito, Rob        10/25/2023     0.3   Discussion with D. Lewandowski, R. Esposito, (A&M), H. Alli (Kroll)
                                          re: customer portal statuses and open issues
Esposito, Rob        10/25/2023     0.2   Discuss objection summary for claims reconciliation with L Francis
                                          and R Esposito (A&M)
Esposito, Rob        10/25/2023     2.3   Review of claims reconciliation plan to prepare updates prior to
                                          internal distribution
Esposito, Rob        10/25/2023     0.3   Discuss matching filed claims to main account IDs with D
                                          Lewandowski and R Esposito (A&M)
Esposito, Rob        10/25/2023     1.8   Prepare claims objection plan slides for reconciliation process and
                                          planning presentation
Esposito, Rob        10/25/2023     2.4   Prepare customer claims reconciliation plan for counsel,
                                          management and creditor review
Esposito, Rob        10/25/2023     0.6   Prepare updates to the processing withdrawal review plan for the
                                          claims reconciliation plan
Esposito, Rob        10/25/2023     1.9   Prepare detailed updates to the timeline for claims related process
                                          to the effective date
Esposito, Rob        10/25/2023     0.2   Discuss the claims reconciliation plan with D Lewandowski and R
                                          Esposito (A&M)
Esposito, Rob        10/25/2023     0.3   Discuss the claims reconciliation plan deck with D Lewandowski and
                                          R Esposito (A&M)
Esposito, Rob        10/25/2023     0.6   Discussion with D. Lewandowski, G. Walia, R. Esposito, and L.
                                          Francis (A&M) re: priority customer claims reconciliation
Esposito, Rob        10/25/2023     0.4   Discuss claims related reconciliation timelines with L Francis, R
                                          Esposito and D Lewandowski (A&M)
Esposito, Rob        10/25/2023     1.3   Review of updated claims reconciliation summary to prepare
                                          detailed description with the claims overview
Esposito, Rob        10/25/2023     0.9   Call with R. Navarro, B. Bangerter (FTX) J. Sielinski, R. Esposito, D.
                                          Lewandowski, R. Arora (A&M) to discuss help center workflows used
                                          for claims outreach
Flynn, Matthew       10/25/2023     0.4   Coordinate with customer support on staffing levels


Francis, Luke        10/25/2023     0.2   Discuss objection summary for claims reconciliation with L Francis
                                          and R Esposito (A&M)
Francis, Luke        10/25/2023     0.8   Buildout of reconciliation plan of customer claims with pending
                                          withdrawals
Francis, Luke        10/25/2023     1.2   Analysis of pending withdrawal claimants to review potential liability

Francis, Luke        10/25/2023     1.3   Update weekly claims reporting per leadership request


Francis, Luke        10/25/2023     0.4   Discuss claims related reconciliation timelines with L Francis, R
                                          Esposito and D Lewandowski (A&M)
Francis, Luke        10/25/2023     0.6   Discussion with D. Lewandowski, G. Walia, R. Esposito, and L.
                                          Francis (A&M) re: priority customer claims reconciliation
Hubbard, Taylor      10/25/2023     0.7   Discussion with P. Avdellas, T. Hubbard, D. Lewandowski (A&M) re:
                                          Main account ID matching for non-customer claims


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Claims
Professional                Date    Hours    Activity
Hubbard, Taylor        10/25/2023     1.6   Carry out the main account ID matching task for non-customer
                                            claims
Hubbard, Taylor        10/25/2023     2.8   Conduct the main account ID matching task for non-customer claims


Hubbard, Taylor        10/25/2023     1.1   Perform a main account ID correlation task for non-customer claims

Hubbard, Taylor        10/25/2023     1.1   Execute matching of standard form claims to a main account ID

Hubbard, Taylor        10/25/2023     0.9   Call with R. Navarro, B. Bangerter (FTX) T. Hubbard, A. Kane, S.
                                            Yang, A. Mohammed (A&M) to discuss help center workflows used
                                            for claims outreach
Kane, Alex             10/25/2023     2.1   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $7000-8000 reporting USD
Kane, Alex             10/25/2023     2.1   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $4000-5000 reporting USD
Kane, Alex             10/25/2023     1.9   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $5000-6000 reporting USD
Kane, Alex             10/25/2023     1.9   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $3000-4000 reporting USD
Kane, Alex             10/25/2023     0.9   Match customer claims from FTX portal to Kroll customer records,
                                            reviewed accounts from $6000-7000 reporting USD
Kane, Alex             10/25/2023     0.9   Call with R. Navarro, B. Bangerter (FTX) T. Hubbard, A. Kane, S.
                                            Yang, A. Mohammed (A&M) to discuss help center workflows used
                                            for claims outreach
Karnik, Noorita        10/25/2023     0.2   Review of customer claims filed against Debtors under $5,000

Kotarba, Steve         10/25/2023     0.5   Discussion w/ D. Lewandowski, S. Kotarba, R. Esposito, and J.
                                            Sielinski (A&M) re: solicitation and claims recon decks
Kotarba, Steve         10/25/2023     0.3   Discussion with A. Mohammed, J. Sielinski, S. Kotarba (A&M), J.
                                            Daloia, S. Perry, (Kroll), and R. Navarro (FTX) re: customer portal
                                            statuses and open issues
Lewandowski, Douglas   10/25/2023     0.5   Discussion with H. Chambers, Q. Zhang, and D. Lewandowski
                                            (A&M) re: KYC timing for unverified customers
Lewandowski, Douglas   10/25/2023     0.5   Discussion w/ D. Lewandowski, S. Kotarba, R. Esposito, and J.
                                            Sielinski (A&M) re: solicitation and claims recon decks
Lewandowski, Douglas   10/25/2023     0.5   Discussion w/ D. Lewandowski, R. Esposito, and J. Sielinski (A&M)
                                            re: solicitation and claims recon decks
Lewandowski, Douglas   10/25/2023     0.7   Discussion with P. Avdellas, T. Hubbard, D. Lewandowski (A&M) re:
                                            Main account ID matching for non-customer claims
Lewandowski, Douglas   10/25/2023     0.9   Discuss claims reconciliation and plan process presentation with D
                                            Lewandowski and R Esposito (A&M)
Lewandowski, Douglas   10/25/2023     0.4   Discuss claims related reconciliation timelines with L Francis, R
                                            Esposito and D Lewandowski (A&M)
Lewandowski, Douglas   10/25/2023     0.3   Discussion with D. Lewandowski, R. Esposito, (A&M), H. Alli (Kroll)
                                            re: customer portal statuses and open issues



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Claims
Professional                Date    Hours    Activity
Lewandowski, Douglas   10/25/2023     0.3   Discuss matching filed claims to main account IDs with D
                                            Lewandowski and R Esposito (A&M)
Lewandowski, Douglas   10/25/2023     0.3   Discussion with P. Avdellas and D. Lewandowski (A&M) re: Claims
                                            transfers processing updates
Lewandowski, Douglas   10/25/2023     0.3   Review claims that are missing ticker information for discussion with
                                            Kroll
Lewandowski, Douglas   10/25/2023     0.6   Review Kroll customer claims data anomalies related to claim
                                            number assignments
Lewandowski, Douglas   10/25/2023     0.8   Review claims reconciliation timeline for discussion with A&M claims
                                            team
Lewandowski, Douglas   10/25/2023     0.2   Discuss the claims reconciliation plan with D Lewandowski and R
                                            Esposito (A&M)
Lewandowski, Douglas   10/25/2023     0.3   Discuss the claims reconciliation plan deck with D Lewandowski and
                                            R Esposito (A&M)
Lewandowski, Douglas   10/25/2023     1.3   Prepare CUD/locked token claims analysis for AHC diligence request

Lewandowski, Douglas   10/25/2023     0.2   Correspond with A&M team re: FTX OTC request


Lewandowski, Douglas   10/25/2023     0.6   Discussion with D. Lewandowski, G. Walia, R. Esposito, and L.
                                            Francis (A&M) re: priority customer claims reconciliation
Li, Summer             10/25/2023     0.3   Call with H. Chambers, Q. Zhang, S. Li (A&M) to discuss updates on
                                            bidder due diligence, KYC process and FTX Japan analysis
Lowe, Sam              10/25/2023     0.2   Call with M. Negus, S. Lowe, D. Sarmiento, N. Karnik (A&M) on
                                            status of customer privacy requests
Mohammed, Azmat        10/25/2023     1.6   Support FTX Customer Support and KYC Manual reviewing teams
                                            with technical matters on 10/25/23
Mohammed, Azmat        10/25/2023     0.7   Collaborate on identifying impacts of phishing emails and impacted
                                            customers
Mohammed, Azmat        10/25/2023     0.6   Review residency and nationality data for impacted customers

Mohammed, Azmat        10/25/2023     0.9   Call with R. Navarro, B. Bangerter (FTX) T. Hubbard, A. Kane, S.
                                            Yang, A. Mohammed (A&M) to discuss help center workflows used
                                            for claims outreach
Mohammed, Azmat        10/25/2023     0.3   Discussion with A. Mohammed, J. Sielinski, S. Kotarba (A&M), J.
                                            Daloia, S. Perry, (Kroll), and R. Navarro (FTX) re: customer portal
                                            statuses and open issues
Mosley, Ed             10/25/2023     0.8   Review of and prepare comments to draft presentation regarding
                                            claims process update for management
Negus, Matthew         10/25/2023     0.2   Call with M. Negus, S. Lowe, D. Sarmiento, N. Karnik (A&M) on
                                            status of customer privacy requests
Negus, Matthew         10/25/2023     0.2   Review of response to customer data access privacy request


Pestano, Kyle          10/25/2023     2.1   Review source of funds documents related to higher risk accounts
                                            based on jurisdiction and industry provided by contractors during
                                            their review of cases



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                                   FTX Trading Ltd., et al.,
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Claims
Professional                 Date    Hours    Activity
Pestano, Kyle           10/25/2023     0.3   Investigate customer service and Integreon requests from
                                             representatives for AWS name mismatch issues, submitting
                                             additional documents, 2FA resets, and KYC status updates
                                             throughout the day
Pestano, Kyle           10/25/2023     0.4   Discuss options to get around specific data limitations with the data
                                             team when it comes to summarizing and reviewing KYC applicant
                                             information and specific AWS data issues
Pestano, Kyle           10/25/2023     0.3   Investigate AWS data null cases in Relativity to determine if any
                                             existing KYC documents were provided for former FTX employees
Pestano, Kyle           10/25/2023     1.3   Resolve customer service and Integreon requests from
                                             representatives for AWS name mismatch issues, submitting
                                             additional documents, 2FA resets, and KYC status updates
                                             throughout the day
Ramanathan, Kumanan     10/25/2023     1.3   Review and correspond re: estimation motion inquiries from expert


Sarmiento, Dubhe        10/25/2023     1.3   Review, classification and processing of previous and new requests
                                             in the Claims Privacy Inbox on 25 October
Sarmiento, Dubhe        10/25/2023     0.2   Call with M. Negus, S. Lowe, D. Sarmiento, N. Karnik (A&M) on
                                             status of customer privacy requests
Sielinski, Jeff         10/25/2023     0.5   Discussion w/ D. Lewandowski, S. Kotarba, R. Esposito, and J.
                                             Sielinski (A&M) re: solicitation and claims recon decks
Sielinski, Jeff         10/25/2023     0.5   Discussion w/ D. Lewandowski, R. Esposito, and J. Sielinski (A&M)
                                             re: solicitation and claims recon decks
Sielinski, Jeff         10/25/2023     0.6   Analysis and review of claim recon summary information slides
                                             detailing timeline and process of claim review
Sielinski, Jeff         10/25/2023     0.8   Prepare solicitation process strategy; review plan class types and
                                             associated claims
Sielinski, Jeff         10/25/2023     0.9   Call with R. Navarro, B. Bangerter (FTX) R. Esposito, D.
                                             Lewandowski, R. Arora (A&M) to discuss help center workflows used
                                             for claims outreach
Sielinski, Jeff         10/25/2023     0.3   Discussion with A. Mohammed, J. Sielinski, S. Kotarba (A&M), J.
                                             Daloia, S. Perry, (Kroll), and R. Navarro (FTX) re: customer portal
                                             statuses and open issues
Sullivan, Christopher   10/25/2023     1.7   Research case comparisons for KYC/AML processes and timelines

Sullivan, Christopher   10/25/2023     1.3   Update the convenience class analysis


Sullivan, Christopher   10/25/2023     1.3   Update KYC analysis per commentary from S&C

Sullivan, Christopher   10/25/2023     0.8   Provide comments to latest de minimis claims stratification

Sullivan, Christopher   10/25/2023     0.7   Provide comments to updated claims analysis support


Sullivan, Christopher   10/25/2023     0.9   Provide comments to KYC update process slide

Tenney, Bridger         10/25/2023     1.3   Prepare cost and distribution assumptions relating to potential
                                             distribution of claims


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Claims
Professional               Date    Hours    Activity
Tenney, Bridger       10/25/2023     2.1   Prepare comparison between filed and reconciled claims to current
                                           plan materials
Tenney, Bridger       10/25/2023     2.1   Prepare claims distribution fees analysis for use in post-emergence
                                           budget
Tenney, Bridger       10/25/2023     0.4   Prepare summary of non-customer claims for the US in comparison
                                           to Dotcom
Tong, Crystal         10/25/2023     3.1   Perform quality check review on the manual KYC for retail customers

Walia, Gaurav         10/25/2023     0.6   Discussion with D. Lewandowski, G. Walia, R. Esposito, and L.
                                           Francis (A&M) re: priority customer claims reconciliation
Yan, Jack             10/25/2023     0.3   Call with J. Lam, C. Tong, J. Yan (A&M) to discuss updates on
                                           bidder due diligence, KYC process and FTX Japan analysis
Yan, Jack             10/25/2023     2.4   Perform quality check on KYC manual review performed by
                                           Integreon US team as at October 25, 2023
Yan, Jack             10/25/2023     0.2   Update the manual review ticket tracker for the ones stuck
                                           processing as at October 25, 2023
Yan, Jack             10/25/2023     0.4   Answer inquiries from FTX Customer Service as at October 25, 2023


Yang, Sharon          10/25/2023     1.4   Review of claims filed against Debtors for customer account
                                           matching
Yang, Sharon          10/25/2023     2.6   Compile main customer account ID to match with customer claims

Yang, Sharon          10/25/2023     0.9   Call with R. Navarro, B. Bangerter (FTX) T. Hubbard, A. Kane, S.
                                           Yang, A. Mohammed (A&M) to discuss help center workflows used
                                           for claims outreach
Zatz, Jonathan        10/25/2023     0.6   Review results to make sure code to remove duplicate records
                                           caused by presence of loan worked correctly
Zatz, Jonathan        10/25/2023     0.4   Execute database script to pull top 50 discarded claims with their
                                           corresponding survivor claims
Zatz, Jonathan        10/25/2023     0.5   Call with G. Walia, P. Kwan, J. Zatz (A&M) to discuss next steps to
                                           determine OTC balances
Zatz, Jonathan        10/25/2023     0.7   Review results to make sure code to identify survivor claim IDs
                                           worked correctly
Zatz, Jonathan        10/25/2023     2.1   Execute database script to consolidate latest claims data from Kroll


Zatz, Jonathan        10/25/2023     2.9   Update database script that consolidates claim data so that for
                                           customers with both filed and accepted claims, the latest filed claim
                                           is used
Zhang, Qi             10/25/2023     0.3   Call with H. Chambers, Q. Zhang, S. Li (A&M) to discuss updates on
                                           bidder due diligence, KYC process and FTX Japan analysis
Arora, Rohan          10/26/2023     1.4   Maintain the effort to match customer claims with their respective
                                           account details in the database
Arora, Rohan          10/26/2023     1.8   Continue with the process of correlating customer claims with the
                                           account details maintained in the database
Arora, Rohan          10/26/2023     2.2   Continue the ongoing procedure of linking customer claims to their
                                           corresponding account information in the database

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                                 FTX Trading Ltd., et al.,
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Claims
Professional               Date    Hours    Activity
Arora, Rohan          10/26/2023     2.3   Carry on with the process of reconciliation and matching of customer
                                           claims to pertinent account information and credentials in the
                                           database
Avdellas, Peter       10/26/2023     0.9   Meeting with P. Avdellas, L. Francis, S. Kotarba (A&M) re: Omnibus
                                           objections updates
Avdellas, Peter       10/26/2023     1.2   Analyze most recent Kroll claims register from 10/26/23 to update
                                           internal register with updated owner of claim based on transfer of
                                           claim
Avdellas, Peter       10/26/2023     1.2   Analyze claim differences based on updated Kroll register from
                                           10/26/23 to identify claims that may have been docketed in error or
                                           need information updated in preparation of claims reconciliation
Avdellas, Peter       10/26/2023     1.1   Identify amended claims in an attempt to identify additional
                                           amended claims in preparation of filing omnibus objection for
                                           amended claims
Avdellas, Peter       10/26/2023     1.6   Analyze claimant differences based on updated Kroll register from
                                           10/26/23 to identify claims that may have been docketed in error or
                                           need information updated in preparation of claims reconciliation
Avdellas, Peter       10/26/2023     1.3   Analyze claim amount differences based on updated Kroll register
                                           from 10/26/23 to identify claims that may have been docketed in
                                           error or need information updated in preparation of claims
                                           reconciliation
Chambers, Henry       10/26/2023     0.3   Call with A. Kranzley, S. Levin (S&C), H. Chambers, A. Mohammed,
                                           R. Esposito (A&M) regarding weekly AML decision
Chambers, Henry       10/26/2023     0.5   Discussion with H. Chambers, Q. Zhang, and D. Lewandowski
                                           (A&M) re: KYC timing for unverified customers
Chambers, Henry       10/26/2023     0.6   Prepare slides on KYC process for use with respect to the claims
                                           process
Chambers, Henry       10/26/2023     0.6   Update KYC deck regarding secondary claims holders


Coverick, Steve       10/26/2023     0.2   Discuss KYC and claims objections with S Coverick and R Esposito
                                           (A&M)
Coverick, Steve       10/26/2023     0.4   Correspond with A&M personnel re: amendment to IRS tax claims


Esposito, Rob         10/26/2023     0.3   Call with A. Kranzley, S. Levin (S&C), H. Chambers, A. Mohammed,
                                           R. Esposito (A&M) regarding weekly AML decision
Esposito, Rob         10/26/2023     0.7   Discussion with D. Lewandowski, J. Sielinski, S. Kotarba, and R.
                                           Esposito (A&M) re: claims reporting and open items
Esposito, Rob         10/26/2023     0.9   Discuss open issues related to customer claims with D Lewandowski
                                           and R Esposito (A&M)
Esposito, Rob         10/26/2023     1.3   Review and analysis of proposed customer claims objections for
                                           superseded and frivolous claims
Esposito, Rob         10/26/2023     0.3   Review of EY tax claims data to prepare summary for the claims
                                           reconciliation process
Esposito, Rob         10/26/2023     0.4   Review of claims reconciliation data for response related to
                                           avoidance actions
Esposito, Rob         10/26/2023     0.2   Review of claim reconciliation data to provide response to A&M
                                           team member


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Claims
Professional              Date    Hours    Activity
Esposito, Rob        10/26/2023     0.7   Discuss solicitation and balloting with J Sielinski and R Esposito
                                          (A&M)
Esposito, Rob        10/26/2023     0.4   Coordinate diligence request for Blockfolio claims information


Esposito, Rob        10/26/2023     0.2   Discuss KYC and claims objections with S Coverick and R Esposito
                                          (A&M)
Esposito, Rob        10/26/2023     0.7   Prepare claims reconciliation timeline for PMO reporting

Esposito, Rob        10/26/2023     0.2   Discuss claims objection with L Francis and R Esposito (A&M)


Esposito, Rob        10/26/2023     0.5   Discussion with A. Kranzley (S&C), D. Lewandowski, R. Esposito
                                          (A&M) re: solicitation counts for customer and non-customers
Esposito, Rob        10/26/2023     1.1   Review and analysis of draft claims objections to expunged
                                          duplicate, amended and frivolous claims
Flynn, Matthew       10/26/2023     0.3   Call with A. Kranzley, S. Levin (S&C), M. Flynn, C. Tong, Q. Zhang,
                                          J. Yan (A&M) regarding weekly AML decision
Flynn, Matthew       10/26/2023     0.6   Call with B. Chui (FTX), M. Flynn, A. Mohammed (A&M) to discuss
                                          bank withdrawal features
Flynn, Matthew       10/26/2023     0.7   Review jurisdiction data for institutional customers for S&C

Flynn, Matthew       10/26/2023     0.6   Review jurisdiction data for retail customers for S&C

Flynn, Matthew       10/26/2023     0.3   Call with A. Mohammed, M. Flynn, Q. Zhang, C. Tong, K. Pestano
                                          (A&M), R.Wendlick (Integreon), R. Navarro (FTX), A. Gryaznov and
                                          others (Sumsub) to discuss latest portal and KYC status
Francis, Luke        10/26/2023     0.8   Review of proposed timelines / current reconciliation efforts for
                                          unsecured loan payable claims / schedules
Francis, Luke        10/26/2023     0.7   Meeting with P. Avdellas, L. Francis, S. Kotarba (A&M) re: Omnibus
                                          objections updates
Francis, Luke        10/26/2023     1.6   Review of claims filed against Blockfolio for current claims / liability
                                          exposure
Francis, Luke        10/26/2023     0.7   Buildout of initial omnibus objections for no-liability claims

Francis, Luke        10/26/2023     1.5   Update claims reconciliation workplan for non-customer claims


Francis, Luke        10/26/2023     1.6   Buildout of initial omnibus objections for amended claims

Francis, Luke        10/26/2023     0.2   Discuss claims objection with L Francis and R Esposito (A&M)


Francis, Luke        10/26/2023     1.2   Buildout of initial omnibus objections for duplicate claims

Hubbard, Taylor      10/26/2023     2.3   Engage in the process of aligning main account IDs for non-
                                          customer claims
Hubbard, Taylor      10/26/2023     2.6   Conduct the correlation of main account IDs for non-customer claims




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Claims
Professional                Date    Hours    Activity
Hubbard, Taylor        10/26/2023     3.1   Undertake the matching of main account IDs to standard form claims

Kane, Alex             10/26/2023     2.1   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $17m-20m reporting USD
Kane, Alex             10/26/2023     2.1   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $13m-14m reporting USD
Kane, Alex             10/26/2023     1.9   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $15m-17m reporting USD
Kane, Alex             10/26/2023     1.9   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $10m-13m reporting USD
Kane, Alex             10/26/2023     1.8   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $14m-15m reporting USD
Kotarba, Steve         10/26/2023     0.7   Meeting with P. Avdellas, L. Francis, S. Kotarba (A&M) re: Omnibus
                                            objections updates
Kotarba, Steve         10/26/2023     1.4   Final review to prepare initial set of omnibus claims objections for
                                            filing
Kotarba, Steve         10/26/2023     3.1   Prepare summary deck for counsel review re customer solicitation


Kotarba, Steve         10/26/2023     1.8   Provide updates to analysis re IRS claims and data requests

Kotarba, Steve         10/26/2023     0.7   Discussion with D. Lewandowski, J. Sielinski, S. Kotarba, and R.
                                            Esposito (A&M) re: claims reporting and open items
Lewandowski, Douglas   10/26/2023     0.4   Call with D. Lewandowski and A. Mohammed (A&M) regarding KYC
                                            process flows and certain customer claims data
Lewandowski, Douglas   10/26/2023     0.4   Correspond with R. Esposito (A&M) re: forfeiture precedent for plan
                                            discussion purposes
Lewandowski, Douglas   10/26/2023     0.9   Discuss open issues related to customer claims with D Lewandowski
                                            and R Esposito (A&M)
Lewandowski, Douglas   10/26/2023     1.8   Recategorize certain customer claims for discussion with J. Zatz
                                            (A&M) and reporting updates
Lewandowski, Douglas   10/26/2023     1.2   Prepare solicitation memo of customer claims summary for
                                            discussion with S&C
Lewandowski, Douglas   10/26/2023     0.3   Update customer claim slides to account for dupe/amended claims

Lewandowski, Douglas   10/26/2023     0.4   Correspond with D. Hilkens (AHC) re: unidentified claimant purchase

Lewandowski, Douglas   10/26/2023     1.3   Correspond with Kroll re: inquires from FTX cs related to claim filing
                                            issues
Lewandowski, Douglas   10/26/2023     0.7   Discussion with D. Lewandowski, J. Sielinski, S. Kotarba, and R.
                                            Esposito (A&M) re: claims reporting and open items
Lewandowski, Douglas   10/26/2023     0.5   Discussion with A. Kranzley (S&C), D. Lewandowski, R. Esposito
                                            (A&M) re: solicitation counts for customer and non-customers
Mohammed, Azmat        10/26/2023     0.4   Call with D. Lewandowski and A. Mohammed (A&M) regarding KYC
                                            process flows and certain customer claims data




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Claims
Professional                Date    Hours    Activity
Mohammed, Azmat        10/26/2023     0.3   Call with A. Kranzley, S. Levin (S&C), H. Chambers, A. Mohammed,
                                            R. Esposito (A&M) regarding weekly AML decision
Mohammed, Azmat        10/26/2023     0.8   Assist Sygnia and other investigative teams to identify threat actor
                                            characteristics across phishing scams
Mohammed, Azmat        10/26/2023     0.6   Call with B. Chui (FTX), M. Flynn, A. Mohammed (A&M) to discuss
                                            bank withdrawal features
Mohammed, Azmat        10/26/2023     0.8   Coordinate development and debugging efforts related to CSV
                                            download function and download limits
Mohammed, Azmat        10/26/2023     0.3   Call with D. Chiu (FTX) and A. Mohammed (A&M) to discuss
                                            development tasks for the claims portal
Mohammed, Azmat        10/26/2023     0.4   Facilitate onboarding of new FTX Customer Service agents
                                            (technical tools, etc.)
Mohammed, Azmat        10/26/2023     1.3   Support efforts in identify residency and nationality data for impacted
                                            customers
Mohammed, Azmat        10/26/2023     0.3   Review Jira board for development status updates across claims
                                            portal efforts
Mohammed, Azmat        10/26/2023     1.9   Support FTX Customer Support and KYC Manual reviewing teams
                                            with technical matters on 10/26/23 related to access issues and
                                            customer inquiries
Mohammed, Azmat        10/26/2023     0.3   Call with A. Mohammed, M. Flynn, Q. Zhang, C. Tong, K. Pestano
                                            (A&M), R.Wendlick (Integreon), R. Navarro (FTX), A. Gryaznov and
                                            others (Sumsub) to discuss latest portal and KYC status
Negus, Matthew         10/26/2023     0.2   Review of customer claims privacy request

Pestano, Kyle          10/26/2023     0.4   Resolve customer support escalation requests for AWS name
                                            mismatch issues, submitting additional documents, 2FA resets, and
                                            KYC status updates
Pestano, Kyle          10/26/2023     2.2   Review source of fund documents related to higher risk accounts
                                            based on jurisdiction and industry provided by contractors during
                                            their review of cases
Pestano, Kyle          10/26/2023     0.3   Call with A. Mohammed, M. Flynn, Q. Zhang, C. Tong, K. Pestano
                                            (A&M), R.Wendlick (Integreon), R. Navarro (FTX), A. Gryaznov and
                                            others (Sumsub) to discuss latest portal and KYC status
Ramanathan, Kumanan    10/26/2023     0.7   Review of Blockfolio financial statements and outstanding claims
                                            and correspond with counsel
Ramanathan, Kumanan    10/26/2023     0.4   Call with G. Walia, K. Ramanathan (A&M) to discuss claims
                                            processing matters
Sarmiento, Dubhe       10/26/2023     1.3   Review, classification and processing of previous and new requests
                                            in the Claims Privacy Inbox on 26 October
Sielinski, Jeff        10/26/2023     0.9   Discussion with D. Lewandowski, J. Sielinski, S. Kotarba, and R.
                                            Esposito (A&M) re: claims reporting and open items
Sielinski, Jeff        10/26/2023     0.7   Discuss solicitation and balloting with J Sielinski and R Esposito
                                            (A&M)
Tenney, Bridger        10/26/2023     0.4   Prepare claims distribution fees summary slides and infographics to
                                            be included in budget discussions
Tenney, Bridger        10/26/2023     0.9   Meeting with B. Tenney and D. Lewandowski (A&M) re: customer
                                            claims/KYC reporting deck

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Claims
Professional               Date    Hours    Activity
Tenney, Bridger       10/26/2023     1.4   Update claims distribution fees analysis based on new customer
                                           claim stratification
Tenney, Bridger       10/26/2023     0.9   Revise customer entitlement claims slide with updated figures


Tenney, Bridger       10/26/2023     0.8   Update customer filed and scheduled claims analysis

Tong, Crystal         10/26/2023     0.3   Call with A. Kranzley, S. Levin (S&C), M. Flynn, C. Tong, Q. Zhang,
                                           J. Yan (A&M) regarding weekly AML decision
Tong, Crystal         10/26/2023     0.1   Call with Q. Zhang, C. Tong, J. Yan (A&M) and T. Lee and others
                                           (Integreon) to host manual review daily catch up
Tong, Crystal         10/26/2023     2.9   Conduct quality check review on the manual KYC for retail customers

Tong, Crystal         10/26/2023     0.7   Perform in-depth review of the complex cases for the manual KYC
                                           for retail customers
Tong, Crystal         10/26/2023     3.1   Revise draft deck on proposed KYC process for secondary claims

Tong, Crystal         10/26/2023     0.3   Call with A. Mohammed, M. Flynn, Q. Zhang, C. Tong, K. Pestano
                                           (A&M), R. Wendlick (Integreon), R. Navarro (FTX), A. Gryaznov and
                                           others (Sumsub) to discuss latest portal and KYC status
Walia, Gaurav         10/26/2023     0.4   Call with G. Walia, K. Ramanathan (A&M) to discuss claims
                                           processing matters
Yan, Jack             10/26/2023     0.1   Call with Q. Zhang, C. Tong, J. Yan (A&M) and T. Lee and others
                                           (Integreon) to host manual review daily catch up
Yan, Jack             10/26/2023     0.3   Call with A. Kranzley, S. Levin (S&C), M. Flynn, C. Tong, Q. Zhang,
                                           J. Yan (A&M) regarding weekly AML decision
Yan, Jack             10/26/2023     2.8   Perform quality check on KYC manual review performed by
                                           Integreon US team as at October 26, 2023
Yan, Jack             10/26/2023     0.4   Answer inquiries from FTX Customer Service as at October 26, 2023

Yan, Jack             10/26/2023     3.1   Revise the presentation deck regarding secondary claims


Yang, Sharon          10/26/2023     2.7   Review customer claims to match with customer accounts in
                                           database
Yang, Sharon          10/26/2023     2.3   Capture details of customer account IDs for matching with customer
                                           claims
Zatz, Jonathan        10/26/2023     2.2   Script database related to request to add new claim statuses for non-
                                           CUD open schedules of $0 with only fiat tickers
Zatz, Jonathan        10/26/2023     1.4   Script database related to request to add a column to claims
                                           summary indicating number of weeks KYC was late
Zatz, Jonathan        10/26/2023     2.6   Script database related to request to determine number of non-CUD
                                           open schedules of $0 with only fiat tickers
Zatz, Jonathan        10/26/2023     1.6   Script database related to request to provide claims stratification
                                           analysis, split by silo
Zatz, Jonathan        10/26/2023     1.7   Script database related to request to add a KYC not started status to
                                           claims summary


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Claims
Professional               Date    Hours    Activity
Zhang, Qi             10/26/2023     0.1   Call with Q. Zhang, C. Tong, J. Yan (A&M) and T. Lee and others
                                           (Integreon) to host manual review daily catch up
Zhang, Qi             10/26/2023     0.3   Call with A. Kranzley, S. Levin (S&C), M. Flynn, C. Tong, Q. Zhang,
                                           J. Yan (A&M) regarding weekly AML decision
Zhang, Qi             10/26/2023     0.5   Discussion with H. Chambers, Q. Zhang, and D. Lewandowski
                                           (A&M) re: KYC timing for unverified customers
Zhang, Qi             10/26/2023     1.5   Call with Q. Zhang (A&M), A. Hawkins (FTX) to do KYC process
                                           implementation strategies
Zhang, Qi             10/26/2023     0.3   Call with A. Mohammed, M. Flynn, Q. Zhang, C. Tong, K. Pestano
                                           (A&M), R.Wendlick (Integreon), R. Navarro (FTX), A. Gryaznov and
                                           others (Sumsub) to discuss latest portal and KYC status
Arora, Rohan          10/27/2023     1.3   Resume the process of integrating and reconciling customer claims
                                           with the account details available in the database
Arora, Rohan          10/27/2023     0.9   Continue the reconciliation and matching of customer claims to their
                                           corresponding account details in the database
Arora, Rohan          10/27/2023     2.2   Carry on with the task of matching customer claims with the account
                                           details in the database
Arora, Rohan          10/27/2023     1.4   Persist in the effort to associate customer claims with their
                                           respective account details in the database as part of the ongoing
                                           reconciliation and matching processes
Arora, Rohan          10/27/2023     1.6   Maintain the effort of matching customer claims to the account
                                           information in the database during the reconciliation and matching
                                           process
Avdellas, Peter       10/27/2023     1.4   Analyze claims filed in amounts between $2,000,000 and
                                           $4,000,000 in effort to match main account IDs
Avdellas, Peter       10/27/2023     0.8   Review customer claims with filed amounts between $4,000,000 and
                                           $6,000,000 in an attempt to match main account IDs
Avdellas, Peter       10/27/2023     1.4   Analyze unmatched claims with filed amounts between $1,500,000
                                           and $2,000,000 in effort to match to main account IDs
Avdellas, Peter       10/27/2023     0.8   Meeting with P. Avdellas and D. Lewandowski (A&M) re: Kroll
                                           register processing updates
Avdellas, Peter       10/27/2023     1.3   Analyze unmatched claims in effort to match to main account IDs for
                                           filed claim amounts between $6,000,000 and $11,000,000
Avdellas, Peter       10/27/2023     1.2   Update claim image link for internal register for claims that were
                                           missing an image link, had a corrupt image link, or needed an
                                           updated image link
Avdellas, Peter       10/27/2023     1.3   Compile list of both customer and non-customer claims in internal
                                           register that still do not have working claim image URL to notify to
                                           Kroll to send updated claim image links
Chambers, Henry       10/27/2023     0.4   Review of comparable KYC processes in other crypto Ch11 matters

Chambers, Henry       10/27/2023     1.1   Respond to queries regarding go-forward KYC process


Coverick, Steve       10/27/2023     0.9   Discuss upcoming claims reconciliation reports with R. Esposito
                                           (A&M)
Coverick, Steve       10/27/2023     0.4   Correspond with A&M and S&C personnel re: BlockFi claim
                                           reconciliation

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Claims
Professional              Date    Hours    Activity
Coverick, Steve      10/27/2023     0.3   Discuss claims reporting with S Coverick and R Esposito (A&M)

Coverick, Steve      10/27/2023     0.7   Discuss claims reconciliation workstream updates with E. Mosley
                                          (A&M)
Coverick, Steve      10/27/2023     0.5   Discussion with E. Mosley, S. Coverick, R. Esposito, D.
                                          Lewandowski (A&M), M. Gray, M. Dawson, B. Bromberg, M. Diaz
                                          (FTI) re: claims reporting and diligence requests
Esposito, Rob        10/27/2023     0.5   Discussion with D. Lewandowski, R. Esposito (A&M), A. Kranzley, J.
                                          Croke (S&C) re: claims reconciliation/objections
Esposito, Rob        10/27/2023     0.6   Discuss claims reconciliation and reporting processes with J
                                          Sielinski, S Kotarba, D Lewandowski and R Esposito (A&M)
Esposito, Rob        10/27/2023     0.6   Review and update the claims reconciliation process plan and
                                          summary presentation
Esposito, Rob        10/27/2023     1.1   Review final draft claims objection to summarize for distribution to
                                          S&C team
Esposito, Rob        10/27/2023     0.3   Discuss claims reporting with S Coverick and R Esposito (A&M)


Esposito, Rob        10/27/2023     0.9   Review of frivolous paper claims for potential claims objections

Esposito, Rob        10/27/2023     0.9   Discuss upcoming claims reconciliation reports with S Coverick
                                          (A&M)
Esposito, Rob        10/27/2023     0.4   Prepare updates to the draft solicitation and balloting plan

Esposito, Rob        10/27/2023     0.6   Review and analysis of customer claims reporting


Flynn, Matthew       10/27/2023     0.3   Discussion with A. Mohammed, D. Lewandowski, and M. Flynn
                                          (A&M) re: balloting in the FTX Portal
Flynn, Matthew       10/27/2023     0.9   Call with Q. Zhang, M. Flynn (A&M) to discuss post confirmation
                                          KYC related budget
Flynn, Matthew       10/27/2023     0.9   Update management customer portal KPI tracker


Francis, Luke        10/27/2023     1.6   Update claim reconciliation workplan presentation with focus on non-
                                          customer claims / reporting of weekly changes
Francis, Luke        10/27/2023     1.4   Triage of AP claims to scheduled amounts with review of invoices
                                          within company records
Francis, Luke        10/27/2023     1.9   Triage of estimates used to calculate potential liability for filed loan
                                          payable claims
Francis, Luke        10/27/2023     1.7   Update claims summary weekly reporting for changes from prior
                                          week
Francis, Luke        10/27/2023     2.2   Update initial omnibus objection drafts for legal team

Hubbard, Taylor      10/27/2023     2.4   Undertake the task of linking main account IDs to standard form
                                          claims
Hubbard, Taylor      10/27/2023     2.8   Execute the task of correlating main account IDs with standard form
                                          claims


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Claims
Professional                Date    Hours    Activity
Hubbard, Taylor        10/27/2023     2.8   Accomplish the correlation of main account IDs with standard form
                                            claims
Kane, Alex             10/27/2023     1.8   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $1.5m-2m reporting USD
Kane, Alex             10/27/2023     2.1   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $3m-3.5m reporting USD
Kane, Alex             10/27/2023     1.7   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $1m-1.5m reporting USD
Kane, Alex             10/27/2023     1.9   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $3.5m-4m reporting USD
Kane, Alex             10/27/2023     2.1   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $800000-1000000 reporting USD
Kotarba, Steve         10/27/2023     1.6   Update claims reporting and waterfall


Kotarba, Steve         10/27/2023     1.2   Analyze claims to prepare for omni objections

Kotarba, Steve         10/27/2023     1.2   Review material active HR claims for accept / object


Lewandowski, Douglas   10/27/2023     1.7   Prepare summary in response to A. Kranzley (S&C) requestion for
                                            stats around proposed solicitation classes
Lewandowski, Douglas   10/27/2023     0.6   Discuss claims reconciliation and reporting processes with J
                                            Sielinski, S Kotarba, D Lewandowski and R Esposito (A&M)
Lewandowski, Douglas   10/27/2023     0.8   Meeting with P. Avdellas and D. Lewandowski (A&M) re: Kroll
                                            register processing updates
Lewandowski, Douglas   10/27/2023     0.3   Discussion with A. Mohammed, D. Lewandowski, and M. Flynn
                                            (A&M) re: balloting in the FTX Portal
Lewandowski, Douglas   10/27/2023     1.6   Review customer schedules not matched to claims in preparation for
                                            discussion with A&M team/S&C
Lewandowski, Douglas   10/27/2023     1.1   Prepare revised summary for customer claims for solicitation
                                            analysis re: voting amounts
Lewandowski, Douglas   10/27/2023     0.8   Prepare correspondence to A&M team re: customer claims work
                                            plan and next steps
Lewandowski, Douglas   10/27/2023     0.5   Discussion with E. Mosley, S. Coverick, R. Esposito, D.
                                            Lewandowski (A&M), M. Gray, M. Dawson, B. Bromberg, M. Diaz
                                            (FTI) re: claims reporting and diligence requests
Lewandowski, Douglas   10/27/2023     0.5   Discussion with D. Lewandowski, R. Esposito (A&M), A. Kranzley, J.
                                            Croke (S&C) re: claims reconciliation/objections
Mohammed, Azmat        10/27/2023     0.3   Discussion with A. Mohammed, D. Lewandowski, and M. Flynn
                                            (A&M) re: balloting in the FTX Portal
Mohammed, Azmat        10/27/2023     0.6   Support FTX Customer Support and KYC Manual reviewing teams
                                            with technical matters on 10/27/23
Mohammed, Azmat        10/27/2023     0.7   Support onboarding and technical advising of new FTX Customer
                                            Service personnel
Mohammed, Azmat        10/27/2023     0.4   Review designs and initial requirements for claims voting process




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Claims
Professional                Date    Hours    Activity
Mohammed, Azmat        10/27/2023     0.8   Review data for information security items for S&C

Mosley, Ed             10/27/2023     0.7   Discuss claims reconciliation workstream updates with S.Coverick
                                            (A&M)
Mosley, Ed             10/27/2023     0.3   Call with E. Mosley, K. Ramanathan (A&M) to discuss perpetual
                                            pricing schedule
Mosley, Ed             10/27/2023     0.6   Review of latest claim portal status

Mosley, Ed             10/27/2023     0.5   Discussion with E. Mosley, S. Coverick, R. Esposito, D.
                                            Lewandowski (A&M), M. Gray, M. Dawson, B. Bromberg, M. Diaz
                                            (FTI) re: claims reporting and diligence requests
Pestano, Kyle          10/27/2023     0.6   Discuss KYC review cycle times for automatic and manual review
                                            with data teams, Integreon, and Sumsub
Pestano, Kyle          10/27/2023     0.2   Analyze email list files extracted from Sumsub regarding last review
                                            dates for select KYC applicant profiles
Pestano, Kyle          10/27/2023     0.4   Assist contract review team with password resets for select
                                            individuals
Pestano, Kyle          10/27/2023     0.6   Investigate customer service and Integreon requests from
                                            representatives for AWS name mismatch issues, submitting
                                            additional documents, 2FA resets, and KYC status updates
                                            throughout the day
Ramanathan, Kumanan    10/27/2023     1.6   Review of estimation motion token schedule and cross reference
                                            against previously provided data set
Ramanathan, Kumanan    10/27/2023     0.3   Call with E. Mosley, K. Ramanathan (A&M) to discuss perpetual
                                            pricing schedule
Sarmiento, Dubhe       10/27/2023     2.1   Review, classification and processing of previous and new requests
                                            in the Claims Privacy Inbox on 27 October
Sielinski, Jeff        10/27/2023     0.6   Discussion with D. Lewandowski, J. Sielinski, S. Kotarba, and R.
                                            Esposito (A&M) re: claims reporting and open items
Tenney, Bridger        10/27/2023     1.1   Revise customer claims stratification and explanation for use in Plan
                                            materials
Tenney, Bridger        10/27/2023     1.3   Update customer claim / KYC verification infographics and language
                                            in deck summary
Tenney, Bridger        10/27/2023     0.4   Prepare KYC verification summary slide for customer entitlements


Tong, Crystal          10/27/2023     3.1   Conduct quality check on the manual KYC working for retail
                                            customers
Yan, Jack              10/27/2023     0.8   Perform quality check on KYC manual review performed by
                                            Integreon US team (Aya and Katarsia) as at October 27, 2023
Yan, Jack              10/27/2023     2.9   Perform quality check on KYC manual review performed by
                                            Integreon US team (Arley, Ashleigh, BA and Chris) as at October 27,
                                            2023
Yang, Sharon           10/27/2023     2.8   Analyze non-customer claims details to determine confidence of
                                            account ID matching
Yang, Sharon           10/27/2023     1.7   Review claim details to provide accurate account ID match with non-
                                            customer claims


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Claims
Professional                Date    Hours    Activity
Yang, Sharon           10/27/2023     2.6   Review claim details for non-customer account ID matching

Zatz, Jonathan         10/27/2023     2.8   Script database to incorporate manual account corrections into
                                            claims consolidation
Zatz, Jonathan         10/27/2023     1.6   Script database related to request to provide petition balances for list
                                            of accounts
Zatz, Jonathan         10/27/2023     0.6   Correspondence regarding request to provide summary analysis on
                                            KYC data
Zhang, Qi              10/27/2023     0.9   Call with Q. Zhang, M. Flynn (A&M) to discuss post confirmation
                                            KYC related budget
Avdellas, Peter        10/28/2023     0.8   Review unmatched customer claims with filed amounts between
                                            $1,000,000 and $2,000,000 in an attempt to match main account IDs
Avdellas, Peter        10/28/2023     1.7   Analyze both customer and non-customer claims registers to identify
                                            claims filed by subset of claimants to capture claimant name, debtor,
                                            claim number, and filed amount to assist in diligence request
Avdellas, Peter        10/28/2023     1.8   Analyze both customer and non-customer claims registers to identify
                                            if claims have been filed by a subset of potential claimants to assist
                                            in diligence request
Avdellas, Peter        10/28/2023     1.1   Review of non-portal customer claims with filed amounts between
                                            $1,000,000 and $1,500,000 in an attempt to match main account IDs
Esposito, Rob          10/28/2023     0.7   Discussion with D. Lewandowski, J. Sielinski, S. Kotarba, and R.
                                            Esposito (A&M) re: deck requests and open items
Esposito, Rob          10/28/2023     1.2   Prepare detailed updates to the claims overview presentation for
                                            delivery to A&M team
Esposito, Rob          10/28/2023     0.4   Review of claims reconciliation plan deck to understand next steps

Esposito, Rob          10/28/2023     1.4   Prepare details updates to the weekly claims overview presentation


Hubbard, Taylor        10/28/2023     3.2   Perform main account ID matching for non-customer claims with no
                                            emails provided on POC form
Hubbard, Taylor        10/28/2023     2.4   Execute main account ID matching for non-customer claims without
                                            emails provided on POC form
Kane, Alex             10/28/2023     2.1   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $1000-3000 reporting USD
Kane, Alex             10/28/2023     1.8   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $22500-25000 reporting USD
Kane, Alex             10/28/2023     1.9   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $20000-22500 reporting USD
Kane, Alex             10/28/2023     1.9   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $500000-600000 reporting USD
Kotarba, Steve         10/28/2023     0.7   Discussion with D. Lewandowski, J. Sielinski, S. Kotarba, and R.
                                            Esposito (A&M) re: deck requests and open items
Kotarba, Steve         10/28/2023     2.1   Update weekly claims reporting and waterfall

Kotarba, Steve         10/28/2023     1.1   Prepare updates re second round of omnibus objections



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Claims
Professional                 Date    Hours    Activity
Lewandowski, Douglas    10/28/2023     0.7   Discussion with D. Lewandowski, J. Sielinski, S. Kotarba, and R.
                                             Esposito (A&M) re: deck requests and open items
Lewandowski, Douglas    10/28/2023     1.1   Respond to diligence request by identifying claim information for
                                             specific counterparties for B. Harsch (S&C)
Lewandowski, Douglas    10/28/2023     0.8   Review newly filed claims and updates to existing claims in Kroll
                                             claims register
Lewandowski, Douglas    10/28/2023     1.6   Review and comment on claims reconciliation work plan deck for
                                             discussion with team
Lewandowski, Douglas    10/28/2023     0.8   Review draft plan against solicitation deck for discussion with team


Ramanathan, Kumanan     10/28/2023     1.1   Review of updated coin valuation pricing support schedule and
                                             provide feedback
Ramanathan, Kumanan     10/28/2023     0.6   Prepare updates to estimation motion schedule and distribute to
                                             team
Sielinski, Jeff         10/28/2023     0.7   Discussion with D. Lewandowski, J. Sielinski, S. Kotarba, and R.
                                             Esposito (A&M) re: deck requests and open items
Sullivan, Christopher   10/28/2023     0.4   Review further edits to the claims summary analysis


Zatz, Jonathan          10/28/2023     0.3   Correspondence regarding request to provide table of customers
                                             with processing withdrawals
Kane, Alex              10/29/2023     1.7   Match customer claims from FTX portal to Kroll non-customer
                                             records, reviewed accounts from $3000-5000 reporting USD
Kane, Alex              10/29/2023     1.4   Match customer claims from FTX portal to Kroll non-customer
                                             records, reviewed accounts from $18000-20000 reporting USD
Kane, Alex              10/29/2023     1.5   Match customer claims from FTX portal to Kroll non-customer
                                             records, reviewed accounts from $5000-7000 reporting USD
Kotarba, Steve          10/29/2023     0.3   Discussion with S. Kotarba and C. Myers (A&M) re: HR objection
                                             flag assignments
Lewandowski, Douglas    10/29/2023     1.1   Review and comment revised customer data in preparation of
                                             revised customer slides
Myers, Claire           10/29/2023     0.3   Discussion with S. Kotarba and C. Myers (A&M) re: HR objection
                                             flag assignments
Myers, Claire           10/29/2023     0.3   Analyze claim objections drafts for filing

Pestano, Kyle           10/29/2023     2.1   Review source of fund documents related to higher risk accounts
                                             and look up FTX balances based on high risk jurisdiction and
                                             industry provided by contractors during their review of cases
Zatz, Jonathan          10/29/2023     0.3   Script database related to request for claims with $10 variance to
                                             schedules
Zatz, Jonathan          10/29/2023     0.4   Script database related to request to add singular claim amount to
                                             ticker-level table
Arora, Rohan            10/30/2023     1.5   Sustain the ongoing effort to Match customer claims with their
                                             respective account details in the database
Arora, Rohan            10/30/2023     2.4   Proceed with the reconciliation and alignment of customer claims to
                                             their associated account details in the database


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Claims
Professional               Date    Hours    Activity
Arora, Rohan          10/30/2023     1.1   Verify that all data source tables on current claims reporting deck
                                           are reporting timely information
Arora, Rohan          10/30/2023     0.3   Discussion with D. Lewandowski, P. Avdellas, R. Arora (A&M) re:
                                           customer main account id matching
Arora, Rohan          10/30/2023     1.3   Continue with the process of reconciliation and matching of
                                           customer claims to their relevant account information in the database
Avdellas, Peter       10/30/2023     0.3   Discussion with D. Lewandowski, P. Avdellas, R. Arora (A&M) re:
                                           customer main account id matching
Avdellas, Peter       10/30/2023     1.6   Analyze proof of claim for unmatched non-customer claims with filed
                                           amounts between $800,000 and $1,000,000 in an attempt to match
                                           claim to main account ID based on name, address, or email address
                                           listed on proof of claim
Avdellas, Peter       10/30/2023     1.3   Analyze proof of claim for subset of claims in an attempt to identify
                                           claims that have 9 day preference exposure based on email address
                                           on file to assist in diligence request
Avdellas, Peter       10/30/2023     1.3   Analyze proof of claim for unmatched non-customer claims with filed
                                           amounts between $500,000 and $550,000 in an attempt to match
                                           claim to main account ID based on name, address, or email address
                                           listed on proof of claim
Avdellas, Peter       10/30/2023     1.4   Analyze proof of claim for unmatched non-customer claims with filed
                                           amounts between $550,000 and $650,000 in an attempt to match
                                           claim to main account ID based on name, address, or email address
                                           listed on proof of claim
Avdellas, Peter       10/30/2023     1.4   Analyze proof of claim for unmatched non-customer claims with filed
                                           amounts between $650,000 and $800,000 in an attempt to match
                                           claim to main account ID based on name, address, or email address
                                           listed on proof of claim
Avdellas, Peter       10/30/2023     1.2   Analyze proof of claim for subset of claims in an attempt to identify
                                           claims that have 9 day preference exposure based on name on file
                                           to assist in diligence request
Chambers, Henry       10/30/2023     0.3   Call with M. Flynn, H. Chambers (A&M) to discuss KYC/AML cost
                                           forecast
Coverick, Steve       10/30/2023     0.2   Call with R. Jain (FTX) to discuss recent claims trading activity


Esposito, Rob         10/30/2023     1.0   Discussion with J. Zatz, R. Esposito, R. Johnson, and D.
                                           Lewandowski (A&M) re: customer claims portal update
Esposito, Rob         10/30/2023     0.4   Discussion with L. Francis, D. Lewandowski and R. Esposito (A&M)
                                           re: claims updates to customer numbers
Esposito, Rob         10/30/2023     0.8   Discussion with D. Lewandowski, R. Esposito, J. Sielinski, and S.
                                           Kotarba (A&M) re: claims deck updates
Esposito, Rob         10/30/2023     0.3   Discussion with T. Hubbard, A. Kane, R. Esposito, S. Yang (A&M)
                                           re: customer main account id matching
Esposito, Rob         10/30/2023     0.8   Discussion with R. Esposito and D. Lewandowski (A&M) on updated
                                           claims decks for discussion with management
Esposito, Rob         10/30/2023     1.4   Meeting with R. Esposito and D. Lewandowski (A&M) on revised
                                           customer claim summary
Esposito, Rob         10/30/2023     0.6   Review completed claims reconciliation tear sheets for
                                           correspondence with S&C team

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Claims
Professional              Date    Hours    Activity
Esposito, Rob        10/30/2023     1.8   Analyze claims data to prepare claims overview updates to the
                                          weekly report
Esposito, Rob        10/30/2023     0.4   Discuss claims reconciliation process with R Esposito and S Kotarba
                                          (A&M)
Esposito, Rob        10/30/2023     0.4   Discuss claims reconciliations with J Sielinski and R Esposito (A&M)

Esposito, Rob        10/30/2023     0.7   Review of customer claims data to determine reporting structure

Esposito, Rob        10/30/2023     2.3   Prepare and finalize weekly claims overview presentation


Esposito, Rob        10/30/2023     0.5   Prepare PMO updates to claims reconciliation data

Esposito, Rob        10/30/2023     0.3   Discussion with R. Esposito, D. Lewandowski (A&M), H. Alli, J.
                                          Karotkin (Kroll) re: customer claims and open claims status
Esposito, Rob        10/30/2023     1.9   Discussion with J. Sielinski, D. Lewandowski, R. Esposito (A&M)
                                          and A. Kranzley (S&C) re: solicitation and plan classifications
Flynn, Matthew       10/30/2023     0.4   Call with M. Flynn, J. Horowitz (BitGo) to discuss institutional KYC
                                          process
Flynn, Matthew       10/30/2023     0.3   Call with M. Flynn, H. Chambers (A&M) to discuss KYC/AML cost
                                          forecast
Flynn, Matthew       10/30/2023     0.4   Review proposed revised terms from BitGo

Flynn, Matthew       10/30/2023     0.4   Review KYC/AML budget and cashflow forecast


Flynn, Matthew       10/30/2023     0.6   Analyze institutional KYC data for jurisdictions for S&C

Flynn, Matthew       10/30/2023     0.4   Call with K. Ramanathan, M. Flynn and A.Mohammed (A&M) to
                                          discuss status on technology items with the claims portal and
                                          process
Francis, Luke        10/30/2023     0.6   Make updates to the customer claims slides to reflect changes from
                                          R. Esposito related to chart revisions
Francis, Luke        10/30/2023     0.4   Discussion with L. Francis, D. Lewandowski and R. Esposito (A&M)
                                          re: claims updates to customer numbers
Francis, Luke        10/30/2023     1.8   Buildout of reconciliation plan for non-customer claims with large
                                          variance to scheduled amounts
Francis, Luke        10/30/2023     0.3   Discuss non customer claim priority workstreams with S. Kotarba, L.
                                          Francis and C. Myers (A&M)
Francis, Luke        10/30/2023     1.7   Update weekly claims presentation summary for reconciliation
                                          adjustments
Francis, Luke        10/30/2023     1.4   Update weekly claim amount bridges to previous week to outline
                                          changes
Francis, Luke        10/30/2023     0.7   Update customer claims triage summary for new customer claims
                                          filed
Francis, Luke        10/30/2023     0.8   Review of new claims register to perform initial triage of claims




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Claims
Professional                Date    Hours    Activity
Hubbard, Taylor        10/30/2023     0.3   Discussion with T. Hubbard, A. Kane, R. Esposito, S. Yang (A&M)
                                            re: customer main account id matching
Hubbard, Taylor        10/30/2023     2.2   Carry out the main account ID matching process for non-customer
                                            claims without emails provided on POC form
Hubbard, Taylor        10/30/2023     2.8   Enforce the main account ID matching process for non-customer
                                            claims that have not provided email details on the Proof of Claim
                                            (POC) form
Hubbard, Taylor        10/30/2023     1.9   Implement the main account ID matching process for non-customer
                                            claims where email information is missing on the Proof of Claim
                                            (POC) form
Hubbard, Taylor        10/30/2023     2.1   Execute the main account ID matching process for non-customer
                                            claims that lack email information on the Proof of Claim (POC) form
Johnson, Robert        10/30/2023     1.0   Discussion with J. Zatz, R. Esposito, R. Johnson, and D.
                                            Lewandowski (A&M) re: customer claims portal update
Johnson, Robert        10/30/2023     0.3   Respond to questions relating to how Blockfolio is treated within FTX
                                            Claims Portal
Johnson, Robert        10/30/2023     1.4   Create index on concatenated varchar field containing combined
                                            investor name data
Kane, Alex             10/30/2023     0.3   Discussion with T. Hubbard, A. Kane, R. Esposito, S. Yang (A&M)
                                            re: customer main account id matching
Kane, Alex             10/30/2023     1.8   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $250000-300000 reporting USD
Kane, Alex             10/30/2023     1.6   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $450000-500000 reporting USD
Kane, Alex             10/30/2023     1.7   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $400000-450000 reporting USD
Kane, Alex             10/30/2023     1.9   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $300000-350000 reporting USD
Kane, Alex             10/30/2023     2.1   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $350000-400000 reporting USD
Kotarba, Steve         10/30/2023     0.8   Discussion with D. Lewandowski, R. Esposito, J. Sielinski, and S.
                                            Kotarba (A&M) re: claims deck updates
Kotarba, Steve         10/30/2023     0.3   Discuss non customer claim priority workstreams with S. Kotarba, L.
                                            Francis and C. Myers (A&M)
Kotarba, Steve         10/30/2023     0.4   Discuss non customer claim tracking with S. Kotarba and C. Myers
                                            (A&M)
Kotarba, Steve         10/30/2023     0.3   Update model re claim tearsheets for legal review re non-customer
                                            claims
Kotarba, Steve         10/30/2023     1.3   Create by-claim model for voting review re non-customer claims

Kotarba, Steve         10/30/2023     1.9   Update weekly claims reporting and waterfall re non-customer claims


Kotarba, Steve         10/30/2023     0.3   Review material AP claims for objection / acceptance




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Claims
Professional                Date    Hours    Activity
Kotarba, Steve         10/30/2023     0.3   Discussion with J. Sielinski, S. Kotarba, A. Mohammed, K.
                                            Ramanathan (A&M), A. Orchowski, S. Perry (Kroll) re: customer
                                            claims and open claims status
Lewandowski, Douglas   10/30/2023     0.8   Discussion with R. Esposito and D. Lewandowski (A&M) on updated
                                            claims decks for discussion with management
Lewandowski, Douglas   10/30/2023     0.4   Discussion with L. Francis, D. Lewandowski and R. Esposito (A&M)
                                            re: claims updates to customer numbers
Lewandowski, Douglas   10/30/2023     0.8   Discussion with D. Lewandowski, R. Esposito, J. Sielinski, and S.
                                            Kotarba (A&M) re: claims deck updates
Lewandowski, Douglas   10/30/2023     1.0   Discussion with J. Zatz, R. Esposito, R. Johnson, and D.
                                            Lewandowski (A&M) re: customer claims portal update
Lewandowski, Douglas   10/30/2023     0.1   Prepare response to AHC re: inquiry related to unidentified customer
                                            claim acquisition
Lewandowski, Douglas   10/30/2023     0.3   Discussion with D. Lewandowski, P. Avdellas, R. Arora (A&M) re:
                                            customer main account id matching
Lewandowski, Douglas   10/30/2023     0.7   Review changes to KYC status in revised customer claim detail for
                                            weekly reporting deck
Lewandowski, Douglas   10/30/2023     0.2   Correspond with Kroll re: customer matching/ticker extraction of
                                            customer claims
Lewandowski, Douglas   10/30/2023     1.4   Meeting with R. Esposito and D. Lewandowski (A&M) on revised
                                            customer claim summary
Lewandowski, Douglas   10/30/2023     0.8   Incorporate non-portal customer claims into PMO/weekly reporting
                                            deck
Lewandowski, Douglas   10/30/2023     1.9   Discussion with J. Sielinski, D. Lewandowski, R. Esposito (A&M)
                                            and A. Kranzley (S&C) re: solicitation and plan classifications
Lewandowski, Douglas   10/30/2023     1.4   Resolve diligence request for specific group of creditors for B.
                                            Harsch (S&C)
Lewandowski, Douglas   10/30/2023     0.3   Discussion with R. Esposito, D. Lewandowski (A&M), H. Alli, J.
                                            Karotkin (Kroll) re: customer claims and open claims status
Mohammed, Azmat        10/30/2023     1.4   Create requirements materials and mock ups for balloting and voting
                                            functionality on claims portal
Mohammed, Azmat        10/30/2023     2.1   Support FTX Customer Support and KYC teams on technical
                                            matters and cases on 10/30/23
Mohammed, Azmat        10/30/2023     1.9   Research payments options for integrating payments rails into the
                                            claims portal
Mohammed, Azmat        10/30/2023     0.9   Support onboarding and instruction of new FTX Customer Service
                                            personnel
Mohammed, Azmat        10/30/2023     0.8   Review Jira board and plan development


Mohammed, Azmat        10/30/2023     0.3   Discussion with J. Sielinski, S. Kotarba, A. Mohammed, K.
                                            Ramanathan (A&M), A. Orchowski, S. Perry (Kroll) re: customer
                                            claims and open claims status
Mohammed, Azmat        10/30/2023     0.4   Call with K. Ramanathan, M. Flynn and A.Mohammed (A&M) to
                                            discuss status on technology items with the claims portal and
                                            process



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Claims
Professional                Date    Hours    Activity
Myers, Claire          10/30/2023     0.3   Discuss non customer claim priority workstreams with S. Kotarba, L.
                                            Francis and C. Myers (A&M)
Myers, Claire          10/30/2023     2.3   Prepare noncustomer claim tracker with materiality flags for reporting


Myers, Claire          10/30/2023     0.4   Discuss non customer claim tracking with S. Kotarba and C. Myers
                                            (A&M)
Myers, Claire          10/30/2023     1.8   Prepare noncustomer claim tracker with status flags for reporting

Myers, Claire          10/30/2023     0.9   Update internal comment tracker with comments from legal team


Myers, Claire          10/30/2023     0.8   Analyze claim objection drafts and tracking

Myers, Claire          10/30/2023     1.9   Prepare noncustomer claim tracker with tear sheet status


Pestano, Kyle          10/30/2023     1.6   Analyze Integreon manual review trackers and calculate average
                                            manual review times
Pestano, Kyle          10/30/2023     0.3   Prepare for customer service instruction for a former FTX
                                            compliance employee
Pestano, Kyle          10/30/2023     1.7   Investigate source of fund documents related to higher risk accounts
                                            and look up FTX balances based on high risk jurisdiction and
                                            industry provided by contractors during their review of cases
Pestano, Kyle          10/30/2023     0.4   Investigate escalation requests for AWS name mismatch issues,
                                            submitting additional documents, 2FA resets, and KYC status
                                            updates from customer support and Integreon
Pestano, Kyle          10/30/2023     0.2   Call with Q. Zhang, C. Tong, K. Pestano, J. Yan (A&M) and A.
                                            Stefanovich and others (Integreon) to host manual review daily catch
                                            up
Pestano, Kyle          10/30/2023     0.5   Resolve requests for AWS name mismatch issues, KYC applicants
                                            submitting additional documents, 2FA resets, and KYC status
                                            updates from customer support and Integreon
Ramanathan, Kumanan    10/30/2023     1.1   Review of crypto asset tracker for estimation motion and provide
                                            feedback
Ramanathan, Kumanan    10/30/2023     0.3   Discussion with J. Sielinski, S. Kotarba, A. Mohammed, K.
                                            Ramanathan (A&M), A. Orchowski, S. Perry (Kroll) re: customer
                                            claims and open claims status
Ramanathan, Kumanan    10/30/2023     0.4   Call with K. Ramanathan, M. Flynn and A.Mohammed (A&M) to
                                            discuss status on technology items with the claims portal and
                                            process
Salas Nunez, Luis      10/30/2023     2.9   Perform analysis of tokens status and balances based on petition
                                            date data
Sarmiento, Dubhe       10/30/2023     1.6   Review, classification and processing of previous and new requests
                                            in the Claims Privacy Inbox on 30 October
Sielinski, Jeff        10/30/2023     0.8   Discussion with D. Lewandowski, R. Esposito, J. Sielinski, and S.
                                            Kotarba (A&M) re: claims deck updates
Sielinski, Jeff        10/30/2023     0.8   Analysis and review of claim recon and overview materials detailing
                                            current status of claims and go forward process



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Claims
Professional                 Date    Hours    Activity
Sielinski, Jeff         10/30/2023     0.6   Analysis of filed claims and variances to scheduled amounts as part
                                             of claim estimation and voting amounts
Sielinski, Jeff         10/30/2023     0.4   Discuss claims reconciliations with J Sielinski and R Esposito (A&M)


Sielinski, Jeff         10/30/2023     1.9   Discussion with J. Sielinski, D. Lewandowski, R. Esposito (A&M)
                                             and A. Kranzley (S&C) re: solicitation and plan classifications
Sielinski, Jeff         10/30/2023     0.3   Discussion with J. Sielinski, S. Kotarba, A. Mohammed, K.
                                             Ramanathan (A&M), A. Orchowski, S. Perry (Kroll) re: customer
                                             claims and open claims status
Sullivan, Christopher   10/30/2023     0.4   Communications with G. Walia (A&M) related to Blockfolio claims
                                             bifurcation
Sullivan, Christopher   10/30/2023     0.9   Review updates to Japan based Blockfolio customer claims

Sullivan, Christopher   10/30/2023     0.8   Provide comments to revised KYC status update slides

Tenney, Bridger         10/30/2023     1.9   Update KYC claims verification infographics for filed and scheduled
                                             claims
Tong, Crystal           10/30/2023     0.6   Perform in-depth review of the complex cases for the daily manual
                                             KYC for retail customers
Tong, Crystal           10/30/2023     2.9   Conduct quality check on the daily KYC manual review for retail
                                             customers
Tong, Crystal           10/30/2023     0.2   Call with Q. Zhang, C. Tong, K. Pestano, J. Yan (A&M) and A.
                                             Stefanovich and others (Integreon) to host manual review daily catch
                                             up
Yan, Jack               10/30/2023     2.1   Perform quality check on KYC manual review performed by
                                             Integreon US team as at October 30, 2023
Yan, Jack               10/30/2023     1.6   Prepare the summary table of customer withdrawals of FTX Japan
                                             up to October 29, 2023
Yan, Jack               10/30/2023     0.3   Answer inquiries from FTX Customer Service as at October 30, 2023

Yan, Jack               10/30/2023     0.2   Call with Q. Zhang, C. Tong, K. Pestano, J. Yan (A&M) and A.
                                             Stefanovich and others (Integreon) to host manual review daily catch
                                             up
Yang, Sharon            10/30/2023     0.3   Discussion with T. Hubbard, A. Kane, R. Esposito, S. Yang (A&M)
                                             re: customer main account id matching
Yang, Sharon            10/30/2023     2.9   Analyze claim details in database to provide accurate account match
                                             with non-customer claims
Yang, Sharon            10/30/2023     2.5   Review non-customer claims and determined account ID


Zatz, Jonathan          10/30/2023     1.0   Discussion with J. Zatz, R. Esposito, R. Johnson, and D.
                                             Lewandowski (A&M) re: customer claims portal update
Zatz, Jonathan          10/30/2023     1.6   Script database related to request to remove user-entered account
                                             number from consideration for claims analysis
Zatz, Jonathan          10/30/2023     1.4   Script database related to request to bifurcate unmatched ticker
                                             count into various reasons



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Claims
Professional               Date    Hours    Activity
Zhang, Qi             10/30/2023     0.2   Call with Q. Zhang, C. Tong, K. Pestano, J. Yan (A&M) and A.
                                           Stefanovich and others (Integreon) to host manual review daily catch
                                           up
Arora, Rohan          10/31/2023     2.2   Resume the process of integrating and matching customer claims
                                           with the account details available in the database
Arora, Rohan          10/31/2023     1.2   Continue the ongoing procedure of linking customer claims to their
                                           corresponding account information in the database
Arora, Rohan          10/31/2023     0.5   Maintain the continuous effort of correlating customer claims with
                                           the account details stored in the database
Arora, Rohan          10/31/2023     2.4   Carry on with the effort to associate and reconcile customer claims
                                           with their respective account details in the database
Avdellas, Peter       10/31/2023     0.6   Meeting with P. Avdellas, R. Esposito, and D. Lewandowski (A&M)
                                           re: Disputed claims variance analysis
Avdellas, Peter       10/31/2023     1.7   Analyze most recent Kroll claims register from 10/31/23 to update
                                           internal register with updated owner of claim based on full or partial
                                           transfer of claim
Avdellas, Peter       10/31/2023     1.2   Analyze claim amount differences based on updated Kroll register
                                           from 10/31/23 to identify claims that may have been docketed in
                                           error or need information updated in preparation of claims
                                           reconciliation
Avdellas, Peter       10/31/2023     1.6   Analyze most recent claims register including both customer and
                                           non-customer claims to compile all claims that have been filed
                                           against FTX EU Ltd. to assist in diligence request
Avdellas, Peter       10/31/2023     1.4   Analyze claimant differences based on updated Kroll register from
                                           10/31/23 to identify claims that may have been docketed in error or
                                           need information updated in preparation of claims reconciliation
Avdellas, Peter       10/31/2023     1.1   Analyze customer claims portal to compile all claims that listed FTX
                                           EU Ltd as an exchange that the claimant had customer activity on to
                                           assist in diligence request
Avdellas, Peter       10/31/2023     1.3   Prepare summary claims filed against FTX EU Ltd as the debtor or
                                           as an additional exchange where claimant had activity to assist in
                                           diligence request
Avdellas, Peter       10/31/2023     1.6   Analyze claim differences based on updated Kroll register from
                                           10/31/23 to identify claims that may have been docketed in error or
                                           need information updated in preparation of claims reconciliation
Chambers, Henry       10/31/2023     0.3   Call with R. Grosvenor, H. Chambers, M. Negus (A&M) to discuss
                                           data preservation matter
Chambers, Henry       10/31/2023     0.8   Correspondence with A&M team regarding line items to be included
                                           in post confirmation KYC budget
Chambers, Henry       10/31/2023     0.2   Call with H. Chambers, A. Mohammed, M. Flynn (A&M), R. Carter
                                           (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                           latest portal and KYC status
Cooper, James         10/31/2023     0.2   Call with J. Cooper, K. Ramanathan, M. Flynn, A.Mohammed (A&M)
                                           to discuss wire transfer requirements for claimant payments
Esposito, Rob         10/31/2023     0.6   Meeting with P. Avdellas, R. Esposito, and D. Lewandowski (A&M)
                                           re: Disputed claims variance analysis
Esposito, Rob         10/31/2023     0.5   Conference with Kroll team, D Lewandowski and R Esposito (A&M)
                                           to discuss the Kroll manual customer claims review


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Claims
Professional              Date    Hours    Activity
Esposito, Rob        10/31/2023     0.4   Discussion with R. Esposito, K. Ramanathan, G. Walia, and D.
                                          Lewandowski (A&M) re: customer OTC portal claims
Esposito, Rob        10/31/2023     0.6   Review summary of claims filed against FTX Property Holdings to
                                          prepare updates provide to A&M team
Esposito, Rob        10/31/2023     0.3   Discuss FTX.Com filed claims request with R Johnson, J Zatz, D
                                          Lewandowski and R Esposito (A&M)
Esposito, Rob        10/31/2023     1.6   Review and analysis of FTX.Com disputed customer claims
                                          summary to understand variances
Esposito, Rob        10/31/2023     1.1   Prepare updates to KYC and processing withdrawal slides in the
                                          claim reconciliation presentation
Esposito, Rob        10/31/2023     0.3   Discuss processing withdrawal reconciliation plan with G Walia and
                                          R Esposito (A&M)
Esposito, Rob        10/31/2023     1.1   Prepare detailed updates to the customer claims reconciliation plan


Esposito, Rob        10/31/2023     0.9   Meeting with D. Lewandowski and R. Esposito (A&M) re: top
                                          claim/schedule variances for diligence request
Esposito, Rob        10/31/2023     0.5   Discussion with D Lewandowski, R Esposito, J Sielinski and S
                                          Kotarba (A&M) to review next steps for completing the claims
                                          reconciliation process plan
Esposito, Rob        10/31/2023     0.7   Call with A. Kranzley and others (S&C), C. Johnson, J. Daloia and
                                          others (Kroll) and J. Sielinski, K. Ramanathan, R. Esposito, (A&M) to
                                          discuss balloting procedures
Flynn, Matthew       10/31/2023     0.8   Draft BitGo addendum agreement terms for management

Flynn, Matthew       10/31/2023     0.9   Review payment processing presentation and provide comments

Flynn, Matthew       10/31/2023     0.2   Call with J. Cooper, K. Ramanathan, M. Flynn, A.Mohammed (A&M)
                                          to discuss wire transfer requirements for claimant payments
Flynn, Matthew       10/31/2023     0.2   Call with H. Chambers, A. Mohammed, M. Flynn (A&M), R. Carter
                                          (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                          latest portal and KYC status
Flynn, Matthew       10/31/2023     0.3   Call with B. Walsh and others (BitGo), R. Navarro and others (FTX),
                                          A. Mohammed, M. Flynn, Q. Zhang, C. Tong (A&M) to discuss
                                          institutional KYC matters
Francis, Luke        10/31/2023     1.7   Meeting with S. Kotarba, C. Myers and L. Francis (A&M) re: non-
                                          customer claim walkdown and loan payables adjustment
Francis, Luke        10/31/2023     0.5   Discussion with S. Kotarba, C. Myers and L. Francis (A&M) re: non-
                                          customer claim reconciliation presentation updates
Francis, Luke        10/31/2023     1.4   Meeting with S. Kotarba, C. Myers and L. Francis (A&M) re: non-
                                          customer claim reconciliation presentation updates
Francis, Luke        10/31/2023     1.2   Update weekly claims presentation summary for reconciliation
                                          adjustments
Francis, Luke        10/31/2023     2.1   Perform triage procedures for filed loan payable claims to scheduled
                                          analysis
Francis, Luke        10/31/2023     1.8   Update overall workplan for claims triage based on leadership
                                          request


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Claims
Professional                Date    Hours    Activity
Francis, Luke          10/31/2023     1.7   Buildout of claims reconciliation walkdown for summary progress to
                                            date
Francis, Luke          10/31/2023     1.4   Update summary reconciliation for AP trade claims to scheduled
                                            analysis
Francis, Luke          10/31/2023     0.4   Discussion with S. Kotarba, C. Myers, and L. Francis (A&M) re:
                                            priority non-customer claim workstreams for claim recon presentation
Hubbard, Taylor        10/31/2023     1.9   Implement the main account ID matching mechanism for non-
                                            customer claims lacking email information on the Proof of Claim
                                            (POC) form
Hubbard, Taylor        10/31/2023     3.2   Review claims for main account ID verification process for non-portal
                                            customer claims that do not include email information on the Proof
                                            of Claim (POC) form
Hubbard, Taylor        10/31/2023     2.9   Carry out the main account ID matching protocol for non-customer
                                            claims without email data on the Proof of Claim (POC) form
Johnson, Robert        10/31/2023     0.4   Discussion with D. Lewandowski, J. Zatz, R. Esposito, and R.
                                            Johnson (A&M) re: FTX.com diligence requests
Johnson, Robert        10/31/2023     0.3   Discuss FTX.Com filed claims request with R Johnson, J Zatz, D
                                            Lewandowski and R Esposito (A&M)
Johnson, Robert        10/31/2023     0.2   Discussion with D. Lewandowski, J. Zatz, and R. Johnson (A&M) re:
                                            FTX.com diligence requests
Johnson, Robert        10/31/2023     0.4   Respond to additional questions relating to FTX Claims Portal and
                                            Blockfolio users
Johnson, Robert        10/31/2023     0.8   Review request associated with voting functionality in FTX customer
                                            portal
Johnson, Robert        10/31/2023     0.6   Update database tables associated with Kroll claims portal

Kane, Alex             10/31/2023     2.1   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $200000-250000 reporting USD
Kane, Alex             10/31/2023     1.9   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $150000-175000 reporting USD
Kane, Alex             10/31/2023     1.7   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $175000-200000 reporting USD
Kane, Alex             10/31/2023     1.5   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $100000-125000 reporting USD
Kane, Alex             10/31/2023     2.1   Match customer claims from FTX portal to Kroll non-customer
                                            records, reviewed accounts from $125000-150000 reporting USD
Kotarba, Steve         10/31/2023     0.5   Discussion with S. Kotarba, C. Myers and L. Francis (A&M) re: non-
                                            customer claim reconciliation presentation updates
Kotarba, Steve         10/31/2023     1.4   Meeting with S. Kotarba, C. Myers and L. Francis (A&M) re: non-
                                            customer claim reconciliation presentation updates
Kotarba, Steve         10/31/2023     0.3   Discussion with S. Kotarba and C. Myers (A&M) re: non-customer
                                            claim walkdown graph
Kotarba, Steve         10/31/2023     1.3   Respond to internal questions re non-customer claim objections

Kotarba, Steve         10/31/2023     1.2   Prepare updates to Non-Customer review workplan



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Claims
Professional                Date    Hours    Activity
Kotarba, Steve         10/31/2023     0.6   Analyze claims to respond to JPL diligence request

Kotarba, Steve         10/31/2023     2.3   Update presentation materials re non-customer claims


Kotarba, Steve         10/31/2023     1.3   Update non-customer claims waterfall re reporting

Kotarba, Steve         10/31/2023     1.7   Meeting with S. Kotarba, C. Myers and L. Francis (A&M) re: non-
                                            customer claim walkdown and loan payables adjustment
Kotarba, Steve         10/31/2023     0.5   Discussion with D Lewandowski, R Esposito, J Sielinski and S
                                            Kotarba (A&M) to review next steps for completing the claims
                                            reconciliation process plan
Kotarba, Steve         10/31/2023     0.4   Discussion with S. Kotarba, C. Myers, and L. Francis (A&M) re:
                                            priority non-customer claim workstreams for claim recon presentation
Lewandowski, Douglas   10/31/2023     0.9   Meeting with D. Lewandowski and R. Esposito (A&M) re: top
                                            claim/schedule variances for diligence request
Lewandowski, Douglas   10/31/2023     0.4   Discussion with R. Esposito, K. Ramanathan, G. Walia, and D.
                                            Lewandowski (A&M) re: customer OTC portal claims
Lewandowski, Douglas   10/31/2023     0.4   Discussion with J. Zatz and D. Lewandowski (A&M) re: accepted
                                            scheduled amounts and claims reconciliation
Lewandowski, Douglas   10/31/2023     0.6   Meeting with P. Avdellas, R. Esposito, and D. Lewandowski (A&M)
                                            re: Disputed claims variance analysis
Lewandowski, Douglas   10/31/2023     0.4   Discussion with D. Lewandowski, J. Zatz, R. Esposito, and R.
                                            Johnson (A&M) re: FTX.com diligence requests
Lewandowski, Douglas   10/31/2023     0.3   Discuss FTX.Com filed claims request with R Johnson, J Zatz, D
                                            Lewandowski and R Esposito (A&M)
Lewandowski, Douglas   10/31/2023     0.2   Discussion with D. Lewandowski, J. Zatz, and R. Johnson (A&M) re:
                                            FTX.com diligence requests
Lewandowski, Douglas   10/31/2023     1.4   Effectuate revisions to the customer portal scheduled claim summary

Lewandowski, Douglas   10/31/2023     2.3   Prepare update on top claim/schedule variance customer claims


Lewandowski, Douglas   10/31/2023     0.7   Review claims process and work plan updates for discussion with
                                            team
Lewandowski, Douglas   10/31/2023     0.7   Call with A. Kranzley and others (S&C), C. Johnson, J. Daloia and
                                            others (Kroll) and D. Lewandowski, A.Mohammed (A&M) to discuss
                                            balloting procedures
Lewandowski, Douglas   10/31/2023     0.6   Discussion with A. Kranzley (S&C), D. Lewandowski, R. Esposito, J.
                                            Sielinski, K. Ramanathan, A. Mohammed (A&M), C. Johnson (Kroll)
Lewandowski, Douglas   10/31/2023     0.5   Discussion with D Lewandowski, R Esposito, J Sielinski and S
                                            Kotarba (A&M) to review next steps for completing the claims
                                            reconciliation process plan
Mohammed, Azmat        10/31/2023     1.4   Coordinate efforts with Sygnia, S&C, and FTX CS in response to
                                            phishing emails and sites on 10/31/23
Mohammed, Azmat        10/31/2023     0.7   Provide estimates on engineering effort to determine administrative
                                            over-ride of processing withdrawal payments



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Claims
Professional               Date    Hours    Activity
Mohammed, Azmat       10/31/2023     1.7   Support FTX Customer Service and KYC Manual reviewing teams
                                           with technical matters on 10/31/23
Mohammed, Azmat       10/31/2023     0.4   Support efforts to identify phishing email and site originations and
                                           threat vectors
Mohammed, Azmat       10/31/2023     0.7   Coordinate development efforts related to claims portal release

Mohammed, Azmat       10/31/2023     2.7   Research payments options integration into claims portal

Mohammed, Azmat       10/31/2023     0.7   Call with A. Kranzley and others (S&C), C. Johnson, J. Daloia and
                                           others (Kroll) and D. Lewandowski, A.Mohammed (A&M) to discuss
                                           balloting procedures
Mohammed, Azmat       10/31/2023     0.2   Call with H. Chambers, A. Mohammed, M. Flynn (A&M), R. Carter
                                           (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                           latest portal and KYC status
Mohammed, Azmat       10/31/2023     0.2   Call with J. Cooper, K. Ramanathan, M. Flynn, A.Mohammed (A&M)
                                           to discuss wire transfer requirements for claimant payments
Mohammed, Azmat       10/31/2023     0.3   Call with B. Walsh and others (BitGo), R. Navarro and others (FTX),
                                           A. Mohammed, M. Flynn, Q. Zhang, C. Tong (A&M) to discuss
                                           institutional KYC matters
Myers, Claire         10/31/2023     2.8   Update noncustomer claim tracker with walkdown categories for non
                                           customer claim recon presentation
Myers, Claire         10/31/2023     0.5   Discussion with S. Kotarba, C. Myers and L. Francis (A&M) re: non-
                                           customer claim reconciliation presentation updates
Myers, Claire         10/31/2023     1.4   Meeting with S. Kotarba, C. Myers and L. Francis (A&M) re: non-
                                           customer claim reconciliation presentation updates
Myers, Claire         10/31/2023     1.7   Meeting with S. Kotarba, C. Myers and L. Francis (A&M) re: non-
                                           customer claim walkdown and loan payables adjustment
Myers, Claire         10/31/2023     0.3   Create top 20 priority claimants for noncustomer claim recon
                                           presentation
Myers, Claire         10/31/2023     0.4   Create top 50 priority claimants for noncustomer claim recon
                                           presentation
Myers, Claire         10/31/2023     0.3   Discussion with S. Kotarba and C. Myers (A&M) re: non-customer
                                           claim walkdown graph
Myers, Claire         10/31/2023     2.4   Prepare walkdown summary with noncustomer claim detail for
                                           claims recon presentation
Myers, Claire         10/31/2023     0.6   summarize claim types for noncustomer claim recon presentation

Myers, Claire         10/31/2023     0.4   Discussion with S. Kotarba, C. Myers, and L. Francis (A&M) re:
                                           priority non-customer claim workstreams for claim recon presentation
Pestano, Kyle         10/31/2023     0.2   Call with Q. Zhang, C. Tong, K. Pestano, J. Yan (A&M) and A.
                                           Stefanovich and others (Integreon) to host manual review daily catch
                                           up
Pestano, Kyle         10/31/2023     1.6   Call with A. Hawkins (FTX compliance team) and K. Pestano (A&M)
                                           to do manual review and customer support training on the KYC
                                           procedures and Sumsub system




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Claims
Professional                 Date    Hours    Activity
Pestano, Kyle           10/31/2023     0.2   Call with Q. Zhang, C. Tong, K. Pestano (A&M), R. Carter
                                             (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                             latest portal and KYC status
Pestano, Kyle           10/31/2023     2.2   Investigate the source of fund documents related to higher risk
                                             accounts based on jurisdiction and industry provided by contractors
                                             during their review of cases
Pestano, Kyle           10/31/2023     0.5   Investigate bad proof of addresses on KYC applicant accounts by
                                             discussing with Sumsub compliance personnel and reviewing
                                             documents uploaded
Pestano, Kyle           10/31/2023     0.6   Review the median processing times provided by Sumsub for proof
                                             of identity, proof of address and final approval rates and discuss with
                                             KYC ops team members
Pestano, Kyle           10/31/2023     0.7   Resolve requests for AWS name mismatch issues, submitting
                                             additional documents, 2FA resets, and KYC status updates from
                                             customer support and Integreon
Ramanathan, Kumanan     10/31/2023     0.6   Review and provide feedback on institutional KYC process and
                                             circulate for approval
Ramanathan, Kumanan     10/31/2023     0.4   Call with G. Walia, K. Ramanathan (A&M) to discuss OTC portal
                                             balance
Ramanathan, Kumanan     10/31/2023     0.7   Call with A. Kranzley and others (S&C), C. Johnson, J. Daloia and
                                             others (Kroll) and J. Sielinski, K. Ramanathan, R. Esposito, (A&M) to
                                             discuss balloting procedures
Ramanathan, Kumanan     10/31/2023     0.2   Call with J. Cooper, K. Ramanathan, M. Flynn, A.Mohammed (A&M)
                                             to discuss wire transfer requirements for claimant payments
Salas Nunez, Luis       10/31/2023     0.6   Perform variance analysis on token prices and dollar values


Salas Nunez, Luis       10/31/2023     0.8   Investigate custom token status and analyze their balances

Salas Nunez, Luis       10/31/2023     0.3   Prepare data request for preference exposure data


Sielinski, Jeff         10/31/2023     0.7   Analysis of claim information and planning for claim distribution
                                             requirements and methods
Sielinski, Jeff         10/31/2023     0.6   Review materials associated with claim settlement calculations

Sielinski, Jeff         10/31/2023     0.7   Call with A. Kranzley and others (S&C), C. Johnson, J. Daloia and
                                             others (Kroll) and J. Sielinski, K. Ramanathan, R. Esposito, (A&M) to
                                             discuss balloting procedures
Sielinski, Jeff         10/31/2023     0.5   Discussion with D Lewandowski, R Esposito, J Sielinski and S
                                             Kotarba (A&M) to review next steps for completing the claims
                                             reconciliation process plan
Sullivan, Christopher   10/31/2023     0.4   Review revised breakdown of customer entitlement bifurcated for
                                             Blockfolio amounts
Sullivan, Christopher   10/31/2023     0.2   Review the updated propco claims analysis


Sullivan, Christopher   10/31/2023     1.1   Review the updated Alameda lender claims analysis




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Claims
Professional               Date    Hours    Activity
Tenney, Bridger       10/31/2023     0.7   Prepare bridge of current general unsecured claims to previous plan
                                           materials
Tenney, Bridger       10/31/2023     0.4   Review updated claims register for regulatory claims adjustments


Tenney, Bridger       10/31/2023     1.1   Revise claims sensitivity chart regarding class 5 claim recovery

Tong, Crystal         10/31/2023     2.4   Prepare deck on the findings of refresher KYC requirement on
                                           different jurisdictions
Tong, Crystal         10/31/2023     2.1   Conduct research on the refresher KYC requirements on different
                                           jurisdictions
Tong, Crystal         10/31/2023     3.1   Perform quality check on the daily KYC manual review for retail
                                           customers
Tong, Crystal         10/31/2023     0.2   Call with Q. Zhang, C. Tong, K. Pestano (A&M), R. Carter
                                           (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                           latest portal and KYC status
Tong, Crystal         10/31/2023     0.2   Call with Q. Zhang, C. Tong, K. Pestano (A&M) and A. Stefanovich
                                           and others (Integreon) to host manual review daily catch up
Tong, Crystal         10/31/2023     0.3   Call with B. Walsh and others (BitGo), R. Navarro and others (FTX),
                                           A. Mohammed, M. Flynn, Q. Zhang, C. Tong (A&M) to discuss
                                           institutional KYC matters
Walia, Gaurav         10/31/2023     0.4   Discussion with R. Esposito, K. Ramanathan, G. Walia, and D.
                                           Lewandowski (A&M) re: customer OTC portal claims
Walia, Gaurav         10/31/2023     0.3   Discuss processing withdrawal reconciliation plan with G Walia and
                                           R Esposito (A&M)
Walia, Gaurav         10/31/2023     1.1   Prepare a summary of the processing withdrawals to prioritize

Yan, Jack             10/31/2023     2.6   Perform quality check on KYC manual review performed by
                                           Integreon US team as at October 31, 2023
Yan, Jack             10/31/2023     1.6   Prepare the Powerpoint deck regarding the KYC data refresh of FTX
                                           Japan
Yan, Jack             10/31/2023     1.2   Research on the KYC data refresh regulations in different
                                           jurisdictions, including Turkey, Singapore as well as guidance issued
                                           by FATF
Yang, Sharon          10/31/2023     2.4   Analyze claim details to match non-customer claims with accounts
                                           within database
Yang, Sharon          10/31/2023     2.9   Review non-customer claims for account ID matching

Yang, Sharon          10/31/2023     2.2   Extract claim details for non-customer claim matching


Zatz, Jonathan        10/31/2023     2.2   Script database related to request to provide all filed claims with
                                           stratification buckets from specific silo
Zatz, Jonathan        10/31/2023     0.4   Discussion with D. Lewandowski, J. Zatz, R. Esposito, and R.
                                           Johnson (A&M) re: FTX.com diligence requests
Zatz, Jonathan        10/31/2023     2.2   Correct issue with export of unmatched tickers that need to be
                                           mapped to proper tickers



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Claims
Professional               Date    Hours      Activity
Zatz, Jonathan        10/31/2023       2.9   Script database related to request to back out withdrawn claims from
                                             reconciliation summary
Zatz, Jonathan        10/31/2023       0.2   Discussion with D. Lewandowski, J. Zatz, and R. Johnson (A&M) re:
                                             FTX.com diligence requests
Zatz, Jonathan        10/31/2023       0.3   Discuss FTX.Com filed claims request with R Johnson, J Zatz, D
                                             Lewandowski and R Esposito (A&M)
Zatz, Jonathan        10/31/2023       1.9   Script database related to request to determine root cause for
                                             revised quantity field being null for agreed radio button
Zatz, Jonathan        10/31/2023       0.4   Discussion with J. Zatz and D. Lewandowski (A&M) re: accepted
                                             scheduled amounts and claims reconciliation
Zhang, Qi             10/31/2023       0.2   Call with Q. Zhang, C. Tong, K. Pestano (A&M) and A. Stefanovich
                                             and others (Integreon) to host manual review daily catch up
Zhang, Qi             10/31/2023       0.3   Call with B. Walsh and others (BitGo), R. Navarro and others (FTX),
                                             A. Mohammed, M. Flynn, Q. Zhang, C. Tong (A&M) to discuss
                                             institutional KYC matters
Zhang, Qi             10/31/2023       0.2   Call with Q. Zhang, C. Tong, K. Pestano (A&M), R. Carter
                                             (Integreon), R. Navarro (FTX), A. Gryaznov (Sumsub) to discuss
                                             latest portal and KYC status

Subtotal                           2,923.9

Contracts
Professional               Date    Hours      Activity
Arnett, Chris          10/1/2023       0.7   Review and comment on latest version of contract database
                                             presentation
Montague, Katie        10/1/2023       2.8   Review draft wind down budget for any vendors with contracts

Simoneaux, Nicole      10/1/2023       1.2   Prepare sep subs contract review outline and recommendations for
                                             review by J. Gonzalez (A&M)
Arnett, Chris          10/2/2023       0.3   Review and comment on proposed rejection damages from prior
                                             landlord
Arnett, Chris          10/2/2023       0.4   Call to discuss FTX Contract Listing status and accompanying cash
                                             team budget with C. Arnett, K. Montague, J. Cooper, D. Slay, and B.
                                             Tenney (A&M)
Bolduc, Jojo           10/2/2023       1.7   Discussion to review employee termination date process to update
                                             contract master with B. Tenney and J. Bolduc (A&M)
Bolduc, Jojo           10/2/2023       1.5   Review Schedule_G for prepetition insurance contracts and ensure
                                             no duplicates on postpetition contract listing
Bolduc, Jojo           10/2/2023       0.4   Prepare bridge for IT / KYC budget provided by cash team to
                                             contracts estimated annual costs
Bolduc, Jojo           10/2/2023       1.1   Review employee contracts for termination dates to update post
                                             petition contract listing
Bolduc, Jojo           10/2/2023       0.2   Review Schedule G on FTX Kroll docket to determine redacted
                                             entity names
Bolduc, Jojo           10/2/2023       2.4   Align employee naming conventions between Schedule G active
                                             employee list to determine termination dates


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Contracts
Professional              Date     Hours    Activity
Bolduc, Jojo           10/2/2023     0.3   Call to discuss FTX Europe AG (J. Bavaud) contract review progress
                                           with M. van den Belt, E. Dalgleish, B. Tenney, and J. Bolduc (A&M)
Dalgleish, Elizabeth   10/2/2023     0.3   Call with M. van den Belt, E. Dalgleish (A&M), J. Bavaud (FTX) to
                                           discuss FTX Europe contracts
Montague, Katie        10/2/2023     2.3   Analysis of wind down budget costs related to contract assumption
                                           or rejections
Montague, Katie        10/2/2023     3.1   Incorporate wind down budget cost analysis into contract collection
                                           presentation
Montague, Katie        10/2/2023     0.4   Call to discuss FTX Contract Listing status and accompanying cash
                                           team budget with C. Arnett, K. Montague, J. Cooper, D. Slay, and B.
                                           Tenney (A&M)
Taraba, Erik           10/2/2023     0.4   Prepare notes and materials for call re: updated contract database
                                           status and corresponding cash team inputs
Tenney, Bridger        10/2/2023     1.7   Discussion to review employee termination date process to update
                                           contract master with B. Tenney and J. Bolduc (A&M)
Tenney, Bridger        10/2/2023     0.3   Call to discuss FTX Europe AG (J. Bavaud) contract review progress
                                           with M. van den Belt, E. Dalgleish, B. Tenney, and J. Bolduc (A&M)
Tenney, Bridger        10/2/2023     0.4   Call to discuss FTX Contract Listing status and accompanying cash
                                           team budget with C. Arnett, K. Montague, J. Cooper, D. Slay, and B.
                                           Tenney (A&M)
van den Belt, Mark     10/2/2023     0.3   Call with M. van den Belt, E. Dalgleish (A&M), J. Bavaud (FTX) to
                                           discuss FTX Europe contracts
Arnett, Chris          10/3/2023     0.4   Distribute draft contract rejection recommendation to J. Ray
                                           (Company) in advance of omnibus hearing
Arnett, Chris          10/3/2023     0.4   Review and comment on status of postpetition collection and
                                           summary of contracts
Arnett, Chris          10/3/2023     0.4   Review insurance policies for inclusion in post emergence contracts
                                           analysis
Bolduc, Jojo           10/3/2023     1.3   Separate post-emergence contract listing by separate subs and
                                           debtor entities
Bolduc, Jojo           10/3/2023     0.7   Update contract powerpoint per FTX EU wind-down process from
                                           meeting 10/3/23
Bolduc, Jojo           10/3/2023     0.3   Review KYC consulting vendor contract for key terms and
                                           termination provisions
Bolduc, Jojo           10/3/2023     0.7   Create top 20 post-emergence contracts table by cost and include
                                           percentage of total
Bolduc, Jojo           10/3/2023     1.2   Review and compile list of postpetition insurance contracts for RLKS
                                           review
Bolduc, Jojo           10/3/2023     0.4   Review S&C provided contracts for missing contract follow-up
                                           request
Bolduc, Jojo           10/3/2023     0.9   Review insurance policy contracts for information request from RLKS


Bolduc, Jojo           10/3/2023     1.1   Update and revise insurance contract information request template

Bolduc, Jojo           10/3/2023     0.7   Review S&C NDA contract listing to draft additional contract request
                                           file

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Contracts
Professional              Date     Hours    Activity
Bolduc, Jojo           10/3/2023     0.7   Review postpetition contracts with unknown go-forward uses

Bolduc, Jojo           10/3/2023     0.3   Call to discuss FTX Europe AG (J. Bavaud) contract review progress
                                           with M. van den Belt, E. Dalgleish, B. Tenney, and J. Bolduc (A&M)
Dalgleish, Elizabeth   10/3/2023     0.3   Call to discuss FTX Europe AG (J. Bavaud) contract review progress
                                           with M. van den Belt, E. Dalgleish, B. Tenney, and J. Bolduc (A&M)
Montague, Katie        10/3/2023     1.8   Review and provide feedback on contract categories for plan de
                                           facto rejection
Simoneaux, Nicole      10/3/2023     1.7   Review employment contracts for potential rejections / termination
                                           implications in the contract database
Tenney, Bridger        10/3/2023     2.1   Compile list of NDAs to be potentially included in post-emergence
                                           contract pool
Tenney, Bridger        10/3/2023     2.3   Revise contract review deck based on comments from C. Arnett
                                           (A&M)
Tenney, Bridger        10/3/2023     0.3   Call to discuss FTX Europe AG (J. Bavaud) contract review progress
                                           with M. van den Belt, E. Dalgleish, B. Tenney, and J. Bolduc (A&M)
van den Belt, Mark     10/3/2023     0.3   Call to discuss FTX Europe AG (J. Bavaud) contract review progress
                                           with M. van den Belt, E. Dalgleish, B. Tenney, and J. Bolduc (A&M)
Arnett, Chris          10/4/2023     0.4   Call with C. Arnett, K. Montague, B. Tenney, and J. Bolduc (A&M) to
                                           discuss updates to contract database analysis
Arnett, Chris          10/4/2023     1.1   Analyze the proposed post emergence IT spend in relation to
                                           assumption of relevant contracts
Arnett, Chris          10/4/2023     1.4   Review and comment on revised contract presentation with focus on
                                           Asian counterparties
Arnett, Chris          10/4/2023     0.9   Continue to review and comment on contracts database
                                           presentation for use in forthcoming Plan Supplement
Bolduc, Jojo           10/4/2023     0.6   Call with C. Arnett, K. Montague, B. Tenney, and J. Bolduc (A&M) to
                                           discuss updates to contract database analysis
Bolduc, Jojo           10/4/2023     1.4   Create graph to breakout total contract count by contract category
                                           as part of methodology and contract detail slides
Bolduc, Jojo           10/4/2023     2.1   Review and align contract categories to eliminate duplicates and
                                           data errors with category bucket mapping
Bolduc, Jojo           10/4/2023     0.6   Revise contract count by category breakdown slide to reflect the
                                           addition of new categories
Bolduc, Jojo           10/4/2023     0.9   Review contract category bucket mapping support to include the
                                           addition of new categories
Bolduc, Jojo           10/4/2023     1.7   Review Schedule G employee contracts for termination dates and
                                           update as active / expired
Bolduc, Jojo           10/4/2023     1.8   Update contract count by category breakout slide in powerpoint to
                                           align with total count tables
Bolduc, Jojo           10/4/2023     0.3   Update contract categories mapping to account for data naming
                                           errors on Schedule G
Bolduc, Jojo           10/4/2023     0.2   Update total contract category breakout graph to include estimated
                                           annual costs for non debtor entities, c11 dismissals, and separate
                                           subsidiaries


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Contracts
Professional             Date     Hours    Activity
Bolduc, Jojo          10/4/2023     0.6   Prepare breakout of estimate annual cost by silo as part of post
                                          emergence contract detail
Bolduc, Jojo          10/4/2023     2.3   Update contract category to include only post bankruptcy contracts
                                          with debtor entities (exclude sep subs) as part of post emergence
                                          contract detail
Montague, Katie       10/4/2023     0.4   Call with C. Arnett, K. Montague, B. Tenney, and J. Bolduc (A&M) to
                                          discuss updates to contract database analysis
Montague, Katie       10/4/2023     0.6   Correspond with M. Schwartz (S&C) regarding contract collection
                                          process, including NDAs and purchase agreements
Montague, Katie       10/4/2023     0.4   Correspond with J. Ljustina (S&C) regarding contract collection
                                          process and outstanding items
Montague, Katie       10/4/2023     0.3   Communicate with A&M EU team regarding status of contract review
                                          with J. Bavaud (FTX)
Montague, Katie       10/4/2023     1.9   Review and analysis of prepetition insurance policies to determine
                                          go-forward need
Montague, Katie       10/4/2023     0.4   Correspond with M. Cilia (FTX) regarding certain vendor usage going
                                          forward
Montague, Katie       10/4/2023     0.6   Prepare request list for K. Schultea (FTX) regarding insurance
                                          policies
Simoneaux, Nicole     10/4/2023     2.2   Review schedule G contract listing for all missing employment
                                          contracts in need of rejection evaluation
Simoneaux, Nicole     10/4/2023     1.7   Perform Relativity searches in regards to populating identified
                                          missing employment contracts for FTX US
Simoneaux, Nicole     10/4/2023     1.6   Perform Relativity searches in regards to populating identified
                                          missing employment contracts for Dotcom
Simoneaux, Nicole     10/4/2023     3.1   Incorporate comments to contracts deck and refresh figures
                                          provided by K. Montague (A&M)
Taraba, Erik          10/4/2023     1.2   Develop schedule of IT vendors with paid amounts by month to
                                          contracts team for identification of existing contracts
Tenney, Bridger       10/4/2023     0.4   Call with C. Arnett, K. Montague, B. Tenney, and J. Bolduc (A&M) to
                                          discuss updates to contract database analysis
Tenney, Bridger       10/4/2023     2.3   Update contract categories for each contract in database

Tenney, Bridger       10/4/2023     1.2   Prepare breakout of go-forward cost of contracts by-entity


Arnett, Chris         10/5/2023     0.3   Review and comment on decision to reject settlement agreement in
                                          a subsequent omnibus hearing
Arnett, Chris         10/5/2023     0.2   Follow up with J. Ray (Company) re: authorization to proceed with
                                          contract rejection
Bolduc, Jojo          10/5/2023     0.8   Update separate subs and ch11 dismissals comprehensive contract
                                          listing with newly provided agreements
Bolduc, Jojo          10/5/2023     1.1   Review S&C assumptions and assignment agreements for dates,
                                          category and costs to update post contract tab
Bolduc, Jojo          10/5/2023     0.6   Review FTX Kroll docket for sale contracts that may be excluded
                                          from contract master listing


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Contracts
Professional              Date     Hours    Activity
Bolduc, Jojo           10/5/2023     1.4   Review S&C purchase and sale agreements for dates, category and
                                           costs to update post contract tab
Bolduc, Jojo           10/5/2023     1.9   Review S&C provided consent agreements and enter into
                                           postposition contract database
Bolduc, Jojo           10/5/2023     0.6   Update contract category post emergence detail silo cost and
                                           executive summary
Bolduc, Jojo           10/5/2023     0.4   Create prior rejected contracts as of 8/31/23 listing in contract
                                           PowerPoint
Bolduc, Jojo           10/5/2023     1.8   Update contract PowerPoint slides per revision request to show sep
                                           subs, and Japan entities in a separate subsidiary contract listing
Bolduc, Jojo           10/5/2023     2.1   Review and input A&M produced contracts into contract master
                                           listing that are not already included on Schedule G or post petition
                                           contract tab
Dalgleish, Elizabeth   10/5/2023     1.4   Update master contract database for feedback received from J.
                                           Bavaud (FTX) on pre and post petition outstanding AP amounts
Montague, Katie        10/5/2023     3.1   Review IT / KYC / Data services contracts included in database for
                                           potential post-confirmation use
Montague, Katie        10/5/2023     2.3   Review contracts included in other category to assess potential post-
                                           confirmation use
Montague, Katie        10/5/2023     2.6   Prepare summary of top ten contracts by cost with post-confirmation
                                           use
Arnett, Chris          10/6/2023     0.8   Review and comment on revised post emergence contracts
                                           presentation
Bolduc, Jojo           10/6/2023     1.6   Update post petition, post bankruptcy contracts listing to include the
                                           assumption of S&C NDAs
Bolduc, Jojo           10/6/2023     2.1   Update top 20 contract payment terms and termination provisions
                                           per cash team request
Bolduc, Jojo           10/6/2023     1.4   Revise total contract category graph in PowerPoint to reflect
                                           assumption of NDAs
Bolduc, Jojo           10/6/2023     0.8   Update contract PowerPoint tables to reflect the addition of S&C
                                           NDA agreements
Bolduc, Jojo           10/6/2023     2.4   Review and input S&C provided NDAs into the contract master listing

Bolduc, Jojo           10/6/2023     0.7   Revise mapping to align contract category count and silo count
                                           numbers
Montague, Katie        10/6/2023     2.2   Review employee-related IP agreements for termination provisions
                                           and potential need for estate
Montague, Katie        10/6/2023     3.1   Continue to review contracts included in other category to assess
                                           potential post-confirmation use
Montague, Katie        10/6/2023     0.8   Prepare methodology summary regarding process for contract
                                           collection
Montague, Katie        10/6/2023     1.9   Prepare template for key contract tear sheet for J. Ray (FTX) review

Arnett, Chris          10/9/2023     2.1   Continue to review and comment on draft contract database
                                           presentation


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Contracts
Professional               Date    Hours    Activity
Bolduc, Jojo           10/9/2023     0.9   Review customer agreement contracts for effective/termination
                                           dates, renewal, and confidentiality clauses
Bolduc, Jojo           10/9/2023     0.9   Review De Minimis Asset sale listing against sold venture
                                           investment and determine missing agreements
Bolduc, Jojo           10/9/2023     0.8   Summarize the 4 largest contracts by cost in the FTX Dotcom silo
                                           on the cost by silo breakout
Bolduc, Jojo           10/9/2023     0.9   Revise Alameda pool silo tear sheet and footnotes contract deck to
                                           reflect newly provided NDAs
Bolduc, Jojo           10/9/2023     2.7   Review S&C provided NDA agreements and input into master
                                           contract tracker
Bolduc, Jojo           10/9/2023     0.7   Update contract master count tables to reflect new S&C NDA
                                           contracts
Bolduc, Jojo           10/9/2023     0.6   Align contract count by category and contract count by silo


Bolduc, Jojo           10/9/2023     0.9   Call with K. Montague, B. Tenney, and J. Bolduc (A&M) to discuss
                                           pre-petition contract categories with go-forward usage
Bolduc, Jojo           10/9/2023     0.9   Review software license agreements on Schedule G for termination
                                           dates to determine active/expired status for post bankruptcy
                                           emergence
Montague, Katie        10/9/2023     0.9   Call with K. Montague, B. Tenney, and J. Bolduc (A&M) to discuss
                                           pre-petition contract categories with go-forward usage
Tenney, Bridger        10/9/2023     0.9   Call with K. Montague, B. Tenney, and J. Bolduc (A&M) to discuss
                                           pre-petition contract categories with go-forward usage
Arnett, Chris         10/10/2023     2.8   Review and revise final contract deck distribution draft


Arnett, Chris         10/10/2023     0.8   Conference call with C. Arnett, K. Montague, B. Tenney, and J.
                                           Bolduc (A&M) to discuss contract summary deck revisions
Bolduc, Jojo          10/10/2023     0.2   Review FTX Asia contract listing updates for Schedule G contracts
                                           marked with post emergence usage
Bolduc, Jojo          10/10/2023     0.8   Call with C. Arnett, K. Montague, B. Tenney, and J. Bolduc (A&M) to
                                           discuss contract summary deck revisions
Bolduc, Jojo          10/10/2023     0.6   Review prepetition customer agreements for termination dates and
                                           update active/expired stats on Schedule G
Bolduc, Jojo          10/10/2023     1.2   Update pre-petition post-bankruptcy contract listing to include
                                           trademark/IP agreements to protect confidentiality
Bolduc, Jojo          10/10/2023     0.9   Call with K. Montague, B. Tenney, and J. Bolduc (A&M) to review
                                           contract category count and contract by entity count
Bolduc, Jojo          10/10/2023     1.3   Revise contract category breakout to reflect the post emergence
                                           assumption of customer and NDA agreements
Bolduc, Jojo          10/10/2023     0.4   Update pre petition, separate subsidiaries contract listing to reflect
                                           FTX Asia contract updates
Bolduc, Jojo          10/10/2023     0.7   Review FTX Asia contract file updates and reconcile to master
                                           contract listing
Bolduc, Jojo          10/10/2023     2.1   Call with B. Tenney and J. Bolduc (A&M) to discuss post emergence
                                           contract listing


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Contracts
Professional               Date    Hours    Activity
Bolduc, Jojo          10/10/2023     0.3   Update post bankruptcy contract listing to include customer
                                           agreements
Bolduc, Jojo          10/10/2023     0.4   Update post-emergence contract listing with newly provided NDA
                                           agreements
Bolduc, Jojo          10/10/2023     0.8   Conference call with C. Arnett, K. Montague, B. Tenney, and J.
                                           Bolduc (A&M) to discuss contract summary deck revisions
Bolduc, Jojo          10/10/2023     0.7   Review and update separate subs contract listing to include FTX
                                           Japan contracts with FTX Trading Ltd. As debtor entity
Bolduc, Jojo          10/10/2023     1.7   Call with B. Tenney and J. Bolduc (A&M) to trouble shoot contract
                                           category count and contract silo count
Montague, Katie       10/10/2023     0.8   Conference call with C. Arnett, K. Montague, B. Tenney, and J.
                                           Bolduc (A&M) to discuss contract summary deck revisions
Montague, Katie       10/10/2023     0.9   Call with K. Montague, B. Tenney, and J. Bolduc (A&M) to review
                                           contract category count and contract by entity count
Montague, Katie       10/10/2023     0.8   Correspond with FTX Asia team regarding current status of contract
                                           review and outstanding items
Montague, Katie       10/10/2023     0.9   Search Relativity for asset based on inquiry to S&C


Simoneaux, Nicole     10/10/2023     0.8   Review employment contracts for potential termination implications
                                           in the contract database
Simoneaux, Nicole     10/10/2023     0.7   Review employment contracts for severance language and terms

Tenney, Bridger       10/10/2023     0.9   Call with K. Montague, B. Tenney, and J. Bolduc (A&M) to review
                                           contract category count and contract by entity count
Tenney, Bridger       10/10/2023     1.7   Call with B. Tenney and J. Bolduc (A&M) to trouble shoot contract
                                           category count and contract silo count
Tenney, Bridger       10/10/2023     2.1   Call with B. Tenney and J. Bolduc (A&M) to discuss post emergence
                                           contract listing
Tenney, Bridger       10/10/2023     0.8   Conference call with C. Arnett, K. Montague, B. Tenney, and J.
                                           Bolduc (A&M) to discuss contract summary deck revisions
Arnett, Chris         10/11/2023     1.2   Review and comment on revised contract presentation re: database
                                           categories
Bolduc, Jojo          10/11/2023     0.6   Update post emergence list to include the post bankruptcy
                                           assumption of power of attorney from 9/14/23
Bolduc, Jojo          10/11/2023     1.1   Compile contract support files for pre-petition contracts missing form
                                           Schedule G
Bolduc, Jojo          10/11/2023     0.9   Compile list of pre petition contracts excluded from Schedule G
                                           deliverable for CMS
Bolduc, Jojo          10/11/2023     1.3   Review S&C provided contracts to determine any missing asset sale
                                           contracts
Bolduc, Jojo          10/11/2023     0.9   Review list of prepetition contracts and proposed treatment
                                           methodology
Bolduc, Jojo          10/11/2023     1.3   Call with B. Tenney and J. Bolduc (A&M) to update contract review
                                           summary deck to reflect prepetition contracts with post-emergence
                                           use


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                         Time Detail by Activity by Professional
                        October 1, 2023 through October 31, 2023


Contracts
Professional              Date    Hours    Activity
Bolduc, Jojo         10/11/2023     1.9   Call with B. Tenney and J. Bolduc (A&M) to create list of prepetition
                                          contracts excluded from schedule G for amendment purposes
Montague, Katie      10/11/2023     0.4   Correspond with K. Schultea (FTX) regarding FTX post-petition
                                          insurance policies
Montague, Katie      10/11/2023     0.8   Review current draft of contract presentation and provide feedback

Simoneaux, Nicole    10/11/2023     1.1   Review employment contracts for potential rejection implications in
                                          the contract database
Simoneaux, Nicole    10/11/2023     0.3   Respond to employment status inquiries based on schedule G
                                          contract listing
Simoneaux, Nicole    10/11/2023     0.8   Further populate contract database for additional agreements
                                          provided by Japan KK
Tenney, Bridger      10/11/2023     2.1   Update contract database and review deck with comments from C.
                                          Arnett (A&M)
Tenney, Bridger      10/11/2023     2.1   Review IT budget for use in contract cure amounts and go forward
                                          cost estimates
Tenney, Bridger      10/11/2023     1.9   Call with B. Tenney and J. Bolduc (A&M) to create list of prepetition
                                          contracts excluded from schedule G for amendment purposes
Bolduc, Jojo         10/12/2023     1.8   Discussion with B. Tenney and J. Bolduc (A&M) to update post
                                          emergence contract list with insurance contracts and respective
                                          costs
Montague, Katie      10/12/2023     2.9   Review list of contracts recently received and assess for potential
                                          assumption or rejection based on category
Montague, Katie      10/12/2023     1.1   Prepare detailed tear sheets for each key contract with potential use
                                          post-confirmation
Montague, Katie      10/12/2023     1.1   Prepare timeline of key events related to contract assumptions and
                                          rejections
Simoneaux, Nicole    10/12/2023     1.9   Revise contract review deck based on comments from C. Arnett
                                          (A&M)
Tenney, Bridger      10/12/2023     2.6   Discussion with J. Gonzalez & B. Tenney (A&M) re: process updates
                                          to the plan support external model
Tenney, Bridger      10/12/2023     1.8   Discussion with B. Tenney and J. Bolduc (A&M) to update post
                                          emergence contract list with insurance contracts and respective
                                          costs
Coverick, Steve      10/13/2023     1.4   Review and provide comments on executory contract assumption /
                                          rejection analysis
Montague, Katie      10/13/2023     3.1   Review and analysis of certain IT agreements for inclusion in
                                          contract rejection deck
Montague, Katie      10/13/2023     2.6   Review and analysis of certain employee agreements for inclusion in
                                          contract rejection deck
Montague, Katie      10/13/2023     1.6   Review current draft of contract assumption / rejection deck and
                                          provide feedback
Montague, Katie      10/13/2023     1.7   Review of summary of claims filed compared to contract list

Simoneaux, Nicole    10/13/2023     1.6   Match employee naming conventions between Schedule G active
                                          employee list to determine termination dates

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                                 FTX Trading Ltd., et al.,
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                         October 1, 2023 through October 31, 2023


Contracts
Professional               Date    Hours    Activity
Simoneaux, Nicole     10/13/2023     1.3   Update contract PowerPoint to show Japan entities in a separate
                                           subsidiary contract listing
Tenney, Bridger       10/13/2023     2.1   Update contract database with updated Asian entity files


Arnett, Chris         10/16/2023     0.6   Review venture contracts for inclusion in global contract
                                           assumption/rejection presentation
Arnett, Chris         10/16/2023     0.6   Incorporate E. Mosley and S. Coverick (A&M) comments into
                                           contract presentation
Bolduc, Jojo          10/16/2023     0.9   Update pie graphs and tear sheet tables to reflect the
                                           postemergence assumption of new ventures contracts
Bolduc, Jojo          10/16/2023     0.8   Call to determine go-forward use for Schedule_G claims with K.
                                           Montague, B. Tenney, and J .Bolduc (A&M)
Bolduc, Jojo          10/16/2023     1.1   Reconcile ventures team investment database to entities on master
                                           contract listing for silo mapping
Bolduc, Jojo          10/16/2023     1.4   Update contract PowerPoint to reflect the reduction of Nardello and
                                           AWS annual budget
Bolduc, Jojo          10/16/2023     1.8   Input Cega contract agreements details into post petition contract
                                           master listing
Bolduc, Jojo          10/16/2023     0.2   Search A&M box folders for CEGA ISDA master service agreement

Bolduc, Jojo          10/16/2023     1.1   Integrate venture team agreements into contract master listing and
                                           ensure no duplicates on Schedule G or postposition tab
Montague, Katie       10/16/2023     2.9   Review Ventures contracts for inclusion in contract database and
                                           consideration of assumption post-emergence
Montague, Katie       10/16/2023     0.3   Call with C. Arnett and K. Montague (A&M) regarding contract
                                           database and inclusion of Ventures contracts
Montague, Katie       10/16/2023     2.2   Update contract database for feedback from M. Cilia (FTX) regarding
                                           post-confirmation use
Montague, Katie       10/16/2023     1.8   Phone call with M. Cilia (FTX) regarding post-confirmation use of
                                           vendors and contracts
Montague, Katie       10/16/2023     0.6   Correspond with Ventures team regarding unsold investments and
                                           related contracts
Simoneaux, Nicole     10/16/2023     2.6   Review contracts to determine damages / claim amounts for FTX
                                           naming rights contracts
Tenney, Bridger       10/16/2023     0.7   Discussion to determine go-forward use for Schedule_G claims with
                                           K. Montague, B. Tenney, and J .Bolduc (A&M)
Tenney, Bridger       10/16/2023     1.5   Update contract review deck with comments from C. Arnett (A&M)


Arnett, Chris         10/17/2023     1.3   Update Call with C. Arnett and K. Montague (A&M) re: comments to
                                           contract database presentation for J. Ray (FTX)
Arnett, Chris         10/17/2023     0.4   Review D&O insurance binders received from K. Schultea
                                           (Company) for inclusion in contracts presentation
Bolduc, Jojo          10/17/2023     2.8   Update post emergence Sched_G listing in PowerPoint to reflect the
                                           assumption of prepetition Venture contracts




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Contracts
Professional                Date    Hours    Activity
Bolduc, Jojo           10/17/2023     0.9   Review and input expired insurance agreements into post petition
                                            contract tab in master tracker
Bolduc, Jojo           10/17/2023     1.9   Update PowerPoint to reflect top 15 Sched_G contracts with claims


Bolduc, Jojo           10/17/2023     1.1   Update contract PowerPoint with top 20 claims summary slide

Bolduc, Jojo           10/17/2023     1.4   Review and update top 20 claims listing in PowerPoint based off
                                            adjusted reconciled amount
Hubbard, Taylor        10/17/2023     1.4   Review pre-petition contracts missing from Schedule G by utilizing
                                            eBrevia
Hubbard, Taylor        10/17/2023     2.7   Employ eBrevia to review pre-petition contracts that were not
                                            included in Schedule G
Lewandowski, Douglas   10/17/2023     1.5   Review contract from J. Bolduc (A&M) against schedule G to identify
                                            why certain items were excluded
Montague, Katie        10/17/2023     1.3   Update Call with K. Montague (A&M) re: comments to contract
                                            database presentation for J. Ray (FTX)
Montague, Katie        10/17/2023     0.7   Call to determine go-forward use for Schedule_G claims with K.
                                            Montague, B. Tenney, and J .Bolduc (A&M)
Montague, Katie        10/17/2023     1.3   Update contract database presentation for J. Ray (FTX) for
                                            comments from C. Arnett (A&M)
Montague, Katie        10/17/2023     0.8   Review feedback on contract database presentation from C. Arnett
                                            (A&M)
Montague, Katie        10/17/2023     2.7   Update contract collection and proposal strategy deck for most
                                            recently analyses
Montague, Katie        10/17/2023     1.2   Review and provide feedback on summary of claims filed by contract
                                            counterparties
Montague, Katie        10/17/2023     0.9   Review of new crypto vendor contract and incorporate into contract
                                            database
Simoneaux, Nicole      10/17/2023     2.1   Troubleshoot debtor naming conventions across S&C provided
                                            contracts and schedule G nomenclature
Tenney, Bridger        10/17/2023     0.7   Call to determine go-forward use for Schedule_G claims with K.
                                            Montague, B. Tenney, and J .Bolduc (A&M)
Tenney, Bridger        10/17/2023     2.7   Update contract assumption analysis with venture investment
                                            contracts
Tenney, Bridger        10/17/2023     1.2   Review venture investment contracts for inclusion in contract
                                            database
Arnett, Chris          10/18/2023     0.6   Research filed rejection damages claim and investigate whether
                                            counterparty had a duty to mitigate
Arnett, Chris          10/18/2023     0.9   Call with C. Arnett and K. Montague (A&M) to review latest strategy
                                            for contract assumptions and rejections
Arnett, Chris          10/18/2023     1.6   Review and comment on latest global assumption / rejection
                                            analysis and accompanying presentation
Bolduc, Jojo           10/18/2023     0.9   Call to review prepetition LedgerPrime Venture investment listing
                                            with B. Tenney, and J .Bolduc (A&M)




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Contracts
Professional                Date    Hours    Activity
Bolduc, Jojo           10/18/2023     0.3   Update contract PowerPoint to reflect the post emergence
                                            assumption of Ledgerprime venture agreements
Bolduc, Jojo           10/18/2023     1.2   Review contracts to determine damages / claim amounts for FTX
                                            naming rights contracts
Bolduc, Jojo           10/18/2023     0.3   Update post emergence contract listing with costs to included newly
                                            provided insurance contracts
Bolduc, Jojo           10/18/2023     0.9   Review and input LedgerPrime stock award agreements into
                                            contract master listing
Bolduc, Jojo           10/18/2023     1.4   Review and input LedgerPrime SAFT venture agreements into
                                            contract master listing
Bolduc, Jojo           10/18/2023     0.8   Incorporate Island Bay venture contracts on post emergence
                                            ventures listings
Bolduc, Jojo           10/18/2023     1.3   Update debtor silo mapping on post contracts tab to account for
                                            venture entities
Bolduc, Jojo           10/18/2023     1.2   Review and input LedgerPrime SAFE venture agreements into
                                            contract master listing
Bolduc, Jojo           10/18/2023     0.4   Discussion to troubleshoot debtor entity naming issues with B.
                                            Tenney, and J .Bolduc (A&M)
Montague, Katie        10/18/2023     0.9   Call with C. Arnett and K. Montague (A&M) to review latest strategy
                                            for contract assumptions and rejections
Mosley, Ed             10/18/2023     2.6   Review of and prepare comments to contract assumption / rejection
                                            strategy and status presentation for management
Tenney, Bridger        10/18/2023     0.9   Call to review prepetition LedgerPrime Venture investment listing
                                            with B. Tenney, and J .Bolduc (A&M)
Tenney, Bridger        10/18/2023     0.4   Discussion to troubleshoot debtor entity naming issues with B.
                                            Tenney, and J .Bolduc (A&M)
Tenney, Bridger        10/18/2023     1.6   Review Ledgerprime and venture investment agreements for
                                            potential assumption
Tenney, Bridger        10/18/2023     2.7   Prepare summary slides re: venture investment contracts for
                                            assumption
Tenney, Bridger        10/18/2023     1.2   Review prepetition contracts for potential assumption


Arnett, Chris          10/19/2023     0.3   Review sponsorship rejection damages related to Miami-Dade arena
                                            at request of A&M claims group
Bolduc, Jojo           10/19/2023     1.2   Discussion to build pre and post petition rejected contract categories
                                            table with B. Tenney, and J .Bolduc (A&M)
Bolduc, Jojo           10/19/2023     0.9   Discussion to discuss deck revisions with K. Montague, B. Tenney,
                                            and J .Bolduc (A&M)
Bolduc, Jojo           10/19/2023     0.5   Call to refine post-emergence contract assumption logic with B.
                                            Tenney, and J .Bolduc (A&M)
Bolduc, Jojo           10/19/2023     1.6   Discussion to discuss contract category assumption logic with B.
                                            Tenney, and J .Bolduc (A&M)
Bolduc, Jojo           10/19/2023     0.4   Draft pre petition NDA, and trademark / IP agreements assumption
                                            logic




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Contracts
Professional              Date    Hours    Activity
Bolduc, Jojo         10/19/2023     0.4   Update tear sheets by silo to include a total count column

Bolduc, Jojo         10/19/2023     1.1   Discussion to revise contract review executive summary and
                                          contract assumption logic with K. Montague, B. Tenney, and J.
                                          Bolduc (A&M)
Bolduc, Jojo         10/19/2023     1.9   Call to update post-emergence contract listing to include termination
                                          and anticipated use provisions with B. Tenney and J. Bolduc (A&M)
Montague, Katie      10/19/2023     0.9   Discussion to discuss deck revisions with K. Montague, B. Tenney,
                                          and J .Bolduc (A&M)
Montague, Katie      10/19/2023     2.9   Review and provide feedback on current draft of proposed contract
                                          rejections
Montague, Katie      10/19/2023     0.4   Call to discuss deck revisions with K. Montague, B. Tenney, and J
                                          .Bolduc (A&M)
Montague, Katie      10/19/2023     2.2   Prepare summary of contract proposals strategy for review by S&C
                                          and FTX
Montague, Katie      10/19/2023     1.1   Discussion to revise contract review executive summary and
                                          contract assumption logic with K. Montague, B. Tenney, and J.
                                          Bolduc (A&M)
Tenney, Bridger      10/19/2023     1.2   Discussion to build pre and post petition rejected contract categories
                                          table with B. Tenney, and J .Bolduc (A&M)
Tenney, Bridger      10/19/2023     0.9   Discussion to discuss deck revisions with K. Montague, B. Tenney,
                                          and J .Bolduc (A&M)
Tenney, Bridger      10/19/2023     1.6   Discussion to discuss contract category assumption logic with B.
                                          Tenney, and J .Bolduc (A&M)
Tenney, Bridger      10/19/2023     0.5   Call to refine post-emergence contract assumption logic with B.
                                          Tenney, and J .Bolduc (A&M)
Tenney, Bridger      10/19/2023     1.3   Revise potential post-bankruptcy assumption pool after review with
                                          leadership
Tenney, Bridger      10/19/2023     1.1   Update pos-bankruptcy contract count and cost in contract review
                                          deck
Tenney, Bridger      10/19/2023     1.9   Call to update post-emergence contract listing to include termination
                                          and anticipated use provisions with B. Tenney and J. Bolduc (A&M)
Tenney, Bridger      10/19/2023     1.1   Discussion to revise contract review executive summary and
                                          contract assumption logic with K. Montague, B. Tenney, and J.
                                          Bolduc (A&M)
Bolduc, Jojo         10/20/2023     0.7   Review and integrate FTX EU contracts file go-forward use and cost
                                          estimates into the master contract listing
Bolduc, Jojo         10/20/2023     1.4   Update top 15 contracts tear sheets and include key contract terms
                                          such as addendums and termination provisions
Bolduc, Jojo         10/20/2023     1.7   Review Sum and Substance contract for key contract terms as part
                                          of top 15 contract tear sheets
Bolduc, Jojo         10/20/2023     1.1   Update and reorder top 15 contract tear sheets with excess
                                          insurance policy
Bolduc, Jojo         10/20/2023     0.9   Review top 15 contracts for key contract terms and payment
                                          obligations



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Contracts
Professional                Date    Hours    Activity
Dalgleish, Elizabeth   10/20/2023     1.2   Prepare updated master contract database for FTX Europe for
                                            feedback received from J. Bavaud (FTX)
Montague, Katie        10/20/2023     1.2   Discussion with K. Montague, B. Tenney (A&M) re: prepare tear
                                            sheets for key contracts with go-forward use
Simoneaux, Nicole      10/20/2023     0.3   Update lender avoidance database with documents provided by
                                            A&M contracts team
Tenney, Bridger        10/20/2023     1.2   Discussion with K. Montague, B. Tenney (A&M) re: prepare tear
                                            sheets for key contracts with go-forward use
Tenney, Bridger        10/20/2023     2.4   Update contract review deck with comments from E. Mosley (A&M)


Tenney, Bridger        10/20/2023     2.2   Prepare forecast for potential contract spend in next 3 month period

Tenney, Bridger        10/20/2023     2.1   Prepare tear sheets for top 15 contracts by estimated annual cost


Tenney, Bridger        10/20/2023     1.1   Update contract review deck with updated insurance contracts

Arnett, Chris          10/23/2023     0.6   Call with C. Arnett and K. Montague (A&M) to discuss go forward
                                            strategy for completing contract database
Bolduc, Jojo           10/23/2023     0.8   Meeting to reconcile FTX Asia contracts and master contract listing
                                            with B. Tenney, and J .Bolduc (A&M)
Bolduc, Jojo           10/23/2023     0.4   Update contract master listing with new post petition contract with
                                            FTX Asia go forward use and costs
Bolduc, Jojo           10/23/2023     0.9   Review FTX Asia contracts file to determine material changes and
                                            integrate into contract master
Bolduc, Jojo           10/23/2023     0.4   Review Schedule_G contracts' post-emergence values that are
                                            flagged for review
Bolduc, Jojo           10/23/2023     0.4   Review NDA/confidentiality agreements for go-forward use on
                                            Schedule_G
Bolduc, Jojo           10/23/2023     2.3   Annualize FTX Japan estimated annual contract cost and local
                                            currency conversion for post emergence estimated annual cost
Montague, Katie        10/23/2023     0.6   Call with C. Arnett and K. Montague (A&M) to discuss go forward
                                            strategy for completing contract database
Montague, Katie        10/23/2023     3.1   Update contract proposal presentation with estimated post-
                                            confirmation costs provided by R. Perubhatla (FTX)
Montague, Katie        10/23/2023     2.9   Update contract proposal presentation based on feedback from R.
                                            Perubhatla (FTX) on go-forward use
Montague, Katie        10/23/2023     1.3   Phone call with R. Perubhatla (FTX) regarding contracts needed
                                            post-confirmation
Montague, Katie        10/23/2023     1.1   Prepare updates to cost analysis and correspond with A&M cash
                                            team regarding same
Tenney, Bridger        10/23/2023     0.8   Meeting to reconcile FTX Asia contracts and master contract listing
                                            with B. Tenney, and J .Bolduc (A&M)
Bolduc, Jojo           10/24/2023     2.6   Meeting to update separate subsidiaries post-emergence contract
                                            listings with B. Tenney and J. Bolduc (A&M)




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                                 FTX Trading Ltd., et al.,
                          Time Detail by Activity by Professional
                         October 1, 2023 through October 31, 2023


Contracts
Professional               Date    Hours    Activity
Bolduc, Jojo          10/24/2023     1.3   Call to determine go-forward use for pre-petition contracts with K.
                                           Montague, B. Tenney, and J. Bolduc (A&M)
Bolduc, Jojo          10/24/2023     2.1   Meeting to determine categories of contracts for post-emergence
                                           use with B. Tenney, and J. Bolduc (A&M)
Bolduc, Jojo          10/24/2023     0.4   Compile list of employee / contractors with no go-forward use on
                                           Schedule_G for review
Bolduc, Jojo          10/24/2023     1.4   Call to discuss post-emergence contract listing revisions with B.
                                           Tenney, and J. Bolduc (A&M)
Bolduc, Jojo          10/24/2023     1.7   Review prepetition service agreements to determine expiration dates
                                           and renewals clause
Bolduc, Jojo          10/24/2023     1.2   Review JV/partnership agreements for termination dates and update
                                           on Schedule G
Bolduc, Jojo          10/24/2023     0.7   Review pre-petition embed_K contracts to determine go-forward use
                                           on Schedule G
Bolduc, Jojo          10/24/2023     0.2   Review contracts with unknown categories to determine category for
                                           bucket mapping
Bolduc, Jojo          10/24/2023     0.4   Review active insurance policy contracts and reconcile against
                                           expired listing to encompass all policies in the master tracker
Bolduc, Jojo          10/24/2023     1.3   Meeting to determine go-forward use for pre-petition contracts on
                                           Schedule G with K. Montague, B. Tenney, and J .Bolduc (A&M)
Bolduc, Jojo          10/24/2023     0.9   Reference provided expired insurance contracts against active
                                           insurance policies post to identify which policies were renewed
Montague, Katie       10/24/2023     1.3   Call to determine go-forward use for pre-petition contracts with K.
                                           Montague, B. Tenney, and J. Bolduc (A&M)
Montague, Katie       10/24/2023     2.3   Prepare executive summary slide for contract proposal presentation
                                           for J. Ray (FTX)
Montague, Katie       10/24/2023     2.6   Prepare next steps slide for contract proposal presentation for J.
                                           Ray (FTX)
Tenney, Bridger       10/24/2023     2.6   Meeting to update separate subsidiaries post-emergence contract
                                           listings with B. Tenney and J. Bolduc (A&M)
Tenney, Bridger       10/24/2023     1.3   Meeting to determine go-forward use for pre-petition contracts with
                                           K. Montague, B. Tenney, and J .Bolduc (A&M)
Tenney, Bridger       10/24/2023     2.1   Meeting to determine categories of contracts for post-emergence
                                           use with B. Tenney, and J. Bolduc (A&M)
Tenney, Bridger       10/24/2023     1.4   Call to discuss post-emergence contract listing revisions with B.
                                           Tenney, and J. Bolduc (A&M)
Tenney, Bridger       10/24/2023     1.1   Revise initial go-forward run rate contract estimates for post-
                                           emergence contracts
Tenney, Bridger       10/24/2023     1.6   Update post-emergence contract infographic in contract analysis
                                           deck
Arnett, Chris         10/25/2023     0.4   Call with C. Arnett and K. Montague (A&M) to discuss appendices
                                           for contract presentation
Arnett, Chris         10/25/2023     1.9   Continue to review revised draft post emergence contract analysis
                                           for use in Plan Supplement




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Contracts
Professional               Date    Hours    Activity
Bolduc, Jojo          10/25/2023     1.9   Update key contract tear sheets to reflect combination of multiple
                                           D&O insurance policies into one key contract
Bolduc, Jojo          10/25/2023     1.6   Update post-emergence employee/contractor listing with employee
                                           salary from payroll team
Bolduc, Jojo          10/25/2023     1.3   Update post-petition contract titles from post bankruptcy to post
                                           emergence
Bolduc, Jojo          10/25/2023     1.4   Review prepetition venture subscription agreements to determine
                                           investment value
Bolduc, Jojo          10/25/2023     0.4   Update post emergence listing to include missing NDAs


Bolduc, Jojo          10/25/2023     0.3   Call to revise top 15 contracts listing and separate D&O insurance
                                           agreements with K. Montague, B. Tenney, and J. Bolduc (A&M)
Bolduc, Jojo          10/25/2023     0.3   Meeting to revise top 15 contracts listing and separate D&O
                                           insurance contracts with K. Montague, B. Tenney, and J .Bolduc
                                           (A&M)
Montague, Katie       10/25/2023     2.9   Review current draft of contract proposal presentation post-
                                           confirmation contract slides
Montague, Katie       10/25/2023     0.4   Call with C. Arnett and K. Montague (A&M) to discuss appendices
                                           for contract presentation
Montague, Katie       10/25/2023     2.6   Review current draft of contract proposal presentation claims slides


Montague, Katie       10/25/2023     2.8   Review current draft of contract proposal appendix B

Montague, Katie       10/25/2023     0.3   Call to revise top 15 contracts listing and separate D&O insurance
                                           agreements with K. Montague, B. Tenney, and J. Bolduc (A&M)
Simoneaux, Nicole     10/25/2023     0.7   Respond to Japan KK contractor diligence questions provided by J.
                                           Bolduc (A&M)
Simoneaux, Nicole     10/25/2023     1.1   Review newly added Japan employment contracts in contract
                                           database
Simoneaux, Nicole     10/25/2023     1.3   Prepare Japan per-person cost summary as requested by A&M
                                           contracts team to determine potential contract rejection costs
Tenney, Bridger       10/25/2023     2.7   Reconcile contract review deck with current post-emergence budget
                                           considerations
Tenney, Bridger       10/25/2023     0.4   Review comments from leadership regarding post-emergence
                                           contracts
Tenney, Bridger       10/25/2023     0.3   Meeting to revise top 15 contracts listing and separate D&O
                                           insurance agreements with K. Montague, B. Tenney, and J .Bolduc
                                           (A&M)
Arnett, Chris         10/26/2023     0.5   Call to discuss post-emergence contract deck revisions with C.
                                           Arnett, K. Montague, B. Tenney, and J .Bolduc (A&M)
Bolduc, Jojo          10/26/2023     0.9   Meeting to discuss cash forecast and contract listing reconciliation
                                           with K. Montague, B. Tenney, and J .Bolduc (A&M)
Bolduc, Jojo          10/26/2023     2.3   Reconcile active employee list to postemergence employee
                                           assumption list provided by payroll/HR team
Bolduc, Jojo          10/26/2023     0.9   Review expired insurance policies against active policies to
                                           determine any liability/missing insurance policies

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Contracts
Professional              Date    Hours    Activity
Bolduc, Jojo         10/26/2023     0.5   Call to discuss post-emergence contract deck revisions with C.
                                          Arnett, K. Montague, B. Tenney, and J .Bolduc (A&M)
Bolduc, Jojo         10/26/2023     1.1   Update post emergence listing with KERP agreements and active
                                          employees and mark categories as post-bankruptcy
Bolduc, Jojo         10/26/2023     0.7   Determine one- through five-year estimates from cash team budget
                                          forecast to update estimate annual costs
Bolduc, Jojo         10/26/2023     1.7   Review of expired post petition insurance agreements to determine
                                          which have been renewed
Bolduc, Jojo         10/26/2023     2.3   Call to reconcile cash forecast to initial annual run rate with K.
                                          Montague and J. Bolduc (A&M)
Bolduc, Jojo         10/26/2023     0.9   Remove duplicate employee contracts from prepetition and post
                                          petition post-emergence listings
Bolduc, Jojo         10/26/2023     1.1   Review and integrate cash file budget forecast into key contract tear
                                          sheet
Bolduc, Jojo         10/26/2023     0.4   Review post emergence employee listing and update post tab

Bolduc, Jojo         10/26/2023     0.7   Review post emergence employee listing and update pre tab


Bolduc, Jojo         10/26/2023     0.3   Meeting to discuss employee/contractor post-emergence listing
                                          revisions with K. Montague, B. Tenney, and J .Bolduc (A&M)
Montague, Katie      10/26/2023     0.9   Meeting to discuss cash forecast and contract listing reconciliation
                                          with K. Montague, B. Tenney, and J .Bolduc (A&M)
Montague, Katie      10/26/2023     0.5   Call to discuss post-emergence contract deck revisions with C.
                                          Arnett, K. Montague, B. Tenney, and J .Bolduc (A&M)
Montague, Katie      10/26/2023     0.3   Call to discuss employee/contractor post-emergence listing revisions
                                          with K. Montague, B. Tenney, and J .Bolduc (A&M)
Montague, Katie      10/26/2023     2.3   Call to reconcile cash forecast to initial annual run rate with K.
                                          Montague and J. Bolduc
Simoneaux, Nicole    10/26/2023     2.4   Review PEO service agreements found in Relativity for the contract
                                          database
Simoneaux, Nicole    10/26/2023     0.3   Reach out to K. Schultea (FTX) re: PEO usage expectations for FTX
                                          2.0
Simoneaux, Nicole    10/26/2023     0.3   Share 2.0 PEO usage expectations with A&M Contract team

Tenney, Bridger      10/26/2023     0.4   Edit contract review database to include contracts with separate
                                          subsidiaries and chapter 11 dismissals
Tenney, Bridger      10/26/2023     0.9   Meeting to discuss cash forecast and contract listing reconciliation
                                          with K. Montague, B. Tenney, and J .Bolduc (A&M)
Tenney, Bridger      10/26/2023     0.5   Call to discuss post-emergence contract deck revisions with C.
                                          Arnett, K. Montague, B. Tenney, and J .Bolduc (A&M)
Tenney, Bridger      10/26/2023     1.1   Update severance and settlement contracts in full contract database


Tenney, Bridger      10/26/2023     0.3   Meeting to discuss employee/contractor post-emergence listing
                                          revisions with K. Montague, B. Tenney, and J .Bolduc (A&M)




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Contracts
Professional                Date    Hours    Activity
Arnett, Chris          10/27/2023     0.7   Continue review of master contract presentation and associated
                                            analysis for Plan Supplement purposes
Arnett, Chris          10/27/2023     0.6   Call with C. Arnett and K. Montague (A&M) to discuss strategy for
                                            finalizing contract collection
Bolduc, Jojo           10/27/2023     2.7   Review pre and post petition insurance policies to determine
                                            necessary policies that may have expired
Bolduc, Jojo           10/27/2023     1.2   Review contract bucketed in category, "Other" to determine make up
                                            of bucket for post emergence contract detail
Bolduc, Jojo           10/27/2023     2.8   Update database and top 15 contracts with cost to reflect the
                                            removal of Meta Lab and Galaxy annual cost estimates
Bolduc, Jojo           10/27/2023     1.7   Update post emergence contract listing for separate subs into two
                                            listings for costs and no cost obligation agreements
Montague, Katie        10/27/2023     0.6   Call with C. Arnett and K. Montague (A&M) to discuss strategy for
                                            finalizing contract collection
Montague, Katie        10/27/2023     1.4   Prepare updates to appendices D through F of contract proposal
                                            presentation
Montague, Katie        10/27/2023     3.1   Prepare updates to appendices B and C of contract proposal
                                            presentation
Simoneaux, Nicole      10/27/2023     2.1   Prepare comprehensive personnel contracts zip from diligence
                                            request provided by J. Rybarczyk (A&M)
Simoneaux, Nicole      10/27/2023     0.8   Update contract database naming conventions based on common
                                            name for employee agreements
Arnett, Chris          10/28/2023     0.6   Continue review of draft contract presentation and associated
                                            analysis for Plan Supplement purposes
Arnett, Chris          10/28/2023     0.4   Respond to comments from S. Coverick (A&M) re: revised contract
                                            presentation
Bolduc, Jojo           10/28/2023     1.3   Revise top 15 contracts table with cost to include a contingency
                                            number
Coverick, Steve        10/28/2023     1.2   Review and provide comments on revised contract assumption /
                                            rejection analysis
Montague, Katie        10/28/2023     2.0   Prepare updates to contract proposal presentation based on
                                            feedback from C. Arnett (A&M)
Mosley, Ed             10/28/2023     1.9   Review of and prepare comments to draft analysis of contract
                                            rejection / assumption program
Bolduc, Jojo           10/29/2023     1.8   Update contract PowerPoint post emergence language and
                                            footnotes to reflect IT / KYC / Data services contingency row
Montague, Katie        10/29/2023     2.6   Prepare updates to contract proposal presentation based on
                                            feedback from C. Arnett (A&M)
Arnett, Chris          10/30/2023     1.3   Call with C. Arnett and K. Montague (A&M) regarding proposed
                                            strategy for contract assumptions at confirmation
Arnett, Chris          10/30/2023     0.4   Inquire with M. Wu (S&C) re: the executory nature of certain contract
                                            categories vis-à-vis assumption / rejection
Arnett, Chris          10/30/2023     1.4   Call with C. Arnett and K. Montague (A&M) to discuss follow-up
                                            items for contract assumption / rejection deck




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Contracts
Professional               Date    Hours     Activity
Arnett, Chris         10/30/2023      0.4   Research plan mechanics of assumption / rejection and incorporate
                                            in contract presentation
Bolduc, Jojo          10/30/2023      0.8   Document methodology used in prepetition contract category
                                            proposed assumptions and rejections
Bolduc, Jojo          10/30/2023      1.1   Review workers compensation and employee liability insurance
                                            policy to determine costs
Bolduc, Jojo          10/30/2023      1.1   Review insurance contracts to determine any outstanding liability not
                                            covered by policies
Bolduc, Jojo          10/30/2023      1.3   Update contract PowerPoint with rejected contract listing from
                                            contract master
Bolduc, Jojo          10/30/2023      0.9   Compile and distribute Schedule G employee listing for internal A&M
                                            review
Bolduc, Jojo          10/30/2023      1.4   Implement contract ID listing in contract master file


Montague, Katie       10/30/2023      1.3   Call with C. Arnett and K. Montague (A&M) regarding proposed
                                            strategy for contract assumptions at confirmation
Montague, Katie       10/30/2023      1.4   Call with C. Arnett and K. Montague (A&M) to discuss follow-up
                                            items for contract assumption / rejection deck
Montague, Katie       10/30/2023      3.1   Prepare updates to contract proposal presentation based on
                                            feedback from C. Arnett (A&M)
Montague, Katie       10/30/2023      2.9   Revise contract proposal appendices for current
                                            assumption/rejection strategy
Simoneaux, Nicole     10/30/2023      2.6   Search Relativity for contracts related to material IP per request
                                            from J. Rybarczyk (A&M)
Arnett, Chris         10/31/2023      0.3   Discuss contract assumption / rejection process with C Arnett, K
                                            Montague and R Esposito (A&M)
Bolduc, Jojo          10/31/2023      1.3   Review letter agreements to determine potential asset value as part
                                            of go-forward assumption process
Bolduc, Jojo          10/31/2023      1.1   Review provided PEO contracts to determine go-forward usage and
                                            update schedule G to reflect contract assumptions
Bolduc, Jojo          10/31/2023      1.2   Review white label service agreements to determine post
                                            emergence rejection / assumptions logic
Bolduc, Jojo          10/31/2023      1.4   Review market maker service agreements to determine post
                                            emergence rejection / assumptions logic
Bolduc, Jojo          10/31/2023      1.7   Review real estate purchase and lease agreements to determine
                                            active/expired status for contract's post bankruptcy usage
Esposito, Rob         10/31/2023      0.3   Discuss contract assumption / rejection with C Arnett, K Montague
                                            and R Esposito (A&M)
Montague, Katie       10/31/2023      2.4   Prepare additional exhibit for contract proposal presentation based
                                            on FTX Bahamas properties and related costs
Montague, Katie       10/31/2023      2.4   Revise contract proposal appendices for current
                                            assumption/rejection strategy
Montague, Katie       10/31/2023      2.3   Review Bahamas property information provided by A&M Bahamas
                                            team and JPLS for inclusion in contract proposal presentation

Subtotal                            478.1

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Court and UST Reporting
Professional               Date    Hours    Activity
Broskay, Cole          10/1/2023     0.9   Discussion with C. Broskay, R. Gordon(A&M) over additions to the
                                           MOR template for March
Gordon, Robert         10/1/2023     0.9   Discussion with C. Broskay, R. Gordon(A&M) over additions to the
                                           MOR template for March
Broskay, Cole          10/2/2023     0.4   Correspondence with RoW accounting team regarding composition
                                           of related party balance for FTX Turkey
Broskay, Cole          10/2/2023     0.9   E-mail correspondence regarding intercompany balances with select
                                           FTX Trading Ltd subsidiaries with D. Johnston (A&M)
Broskay, Cole          10/2/2023     0.8   Compile draft schedule of interim review points for subsequent MOR
                                           submission
Broskay, Cole          10/2/2023     0.8   Review support files provided by RoW accounting team for related
                                           party balances
Broskay, Cole          10/2/2023     0.3   Teleconference with C. Broskay, R. Gordon(A&M) over FTL form 426


Bruck, Ran             10/2/2023     0.3   Discussion to review Cash timeline for February/March MOR with D.
                                           Kuruvilla, M. Jones, R. Bruck (A&M)
Bruck, Ran             10/2/2023     1.3   Adjust income statement to incorporate removal of cumulative
                                           income trial balance numbers
Bruck, Ran             10/2/2023     1.1   Review MOR formula for December to mitigate cumulative effect on
                                           income statement
Bruck, Ran             10/2/2023     0.6   Discussion to review February MOR requirements with M. Jones, R.
                                           Bruck (A&M)
Bruck, Ran             10/2/2023     1.4   Add ending cash balances for January 2023 as beginning balances
                                           for February
Bruck, Ran             10/2/2023     0.7   Recreate February cash file template for input from cash team

Bruck, Ran             10/2/2023     0.3   Create new MOR workbook for February 2023 entities


Bruck, Ran             10/2/2023     0.9   Adjust February MOR workbook dates to match new month

Bruck, Ran             10/2/2023     1.2   Index cash balances for February to correct formula


Cooper, James          10/2/2023     0.3   Call with J. Cooper, D. Kuruvilla, R. Duncan (A&M) to discuss MOR
                                           development timeline and process
Duncan, Ryan           10/2/2023     1.6   Conduct manual data entry of debtor bank reconciliation data for
                                           monthly operating report development
Duncan, Ryan           10/2/2023     1.0   Discussion with D. Kuruvilla and R. Duncan (A&M) to review cash
                                           reconciliation process for MOR development
Duncan, Ryan           10/2/2023     2.3   Continue entry of debtor bank reconciliation data into MOR
                                           reconciliation model
Duncan, Ryan           10/2/2023     1.3   Reconcile debtor cash balances with payment data for MOR
                                           development
Duncan, Ryan           10/2/2023     1.2   Conduct data entry of debtor bank reconciliations for MOR
                                           development




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Court and UST Reporting
Professional             Date     Hours    Activity
Duncan, Ryan          10/2/2023     0.3   Call with J. Cooper, D. Kuruvilla, R. Duncan (A&M) to discuss MOR
                                          development timeline and process
Duncan, Ryan          10/2/2023     2.2   Continue development of cash balance reconciliations for input to
                                          monthly operating report
Gordon, Robert        10/2/2023     0.3   Teleconference with C. Broskay, R. Gordon(A&M) over FTL form 426

Johnston, David       10/2/2023     0.7   Review available materials relating to FTX Turkey account filing

Jones, Mackenzie      10/2/2023     0.3   Discussion to review Cash timeline for February/March MOR with D.
                                          Kuruvilla, M. Jones, R. Bruck (A&M)
Jones, Mackenzie      10/2/2023     1.4   Review documents from international legal team related to foreign
                                          entity status for MOR reporting
Jones, Mackenzie      10/2/2023     0.4   Perform roll forward for February MOR template with latest filing data


Jones, Mackenzie      10/2/2023     0.6   Discussion to review February MOR requirements with M. Jones, R.
                                          Bruck (A&M)
Jones, Mackenzie      10/2/2023     0.5   Call to discuss MOR process overview with A. Stolyar and M. Jones
                                          (A&M)
Jones, Mackenzie      10/2/2023     0.9   Update MOR template to add back entities for continued debtor
                                          reporting
Jones, Mackenzie      10/2/2023     0.2   Update outstanding items list for February 2023 MOR filing

Jones, Mackenzie      10/2/2023     0.9   Review MOR part 7 data for upcoming filing deadline


Kuruvilla, Daniel     10/2/2023     0.3   Call with J. Cooper, D. Kuruvilla, R. Duncan (A&M) to discuss MOR
                                          development timeline and process
Kuruvilla, Daniel     10/2/2023     1.0   Discussion with D. Kuruvilla and R. Duncan (A&M) to review cash
                                          reconciliation process for MOR development
Kuruvilla, Daniel     10/2/2023     0.3   Discussion to review Cash timeline for February/March MOR with D.
                                          Kuruvilla, M. Jones, R. Bruck (A&M)
Kuruvilla, Daniel     10/2/2023     2.6   Input of RLKS data into MOR cash reporting file for March


Kuruvilla, Daniel     10/2/2023     3.1   Input of RLKS data into MOR cash reporting file for February

Simoneaux, Nicole     10/2/2023     2.3   Consolidate and summarize all payroll tax reporting and
                                          disbursements for MOR reconciliation
Simoneaux, Nicole     10/2/2023     1.9   Reconcile IFU reporting with MOR support in regards to payroll taxes
                                          provided by M. Cilia (FTX)
Simoneaux, Nicole     10/2/2023     1.8   Prepare MOR tax invoice support database for linking to payroll tax
                                          reporting
Stolyar, Alan         10/2/2023     0.5   Call to discuss MOR process overview with A. Stolyar and M. Jones
                                          (A&M)
Witherspoon, Samuel   10/2/2023     2.3   Review November and December reconciliations for preparation of
                                          additional MOR compilation




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Court and UST Reporting
Professional               Date    Hours    Activity
Broskay, Cole          10/3/2023     0.4   Discuss timeline requirements for February/March MOR with C.
                                           Broskay, M. Jones, R. Bruck (A&M)
Broskay, Cole          10/3/2023     0.6   E-mail correspondence with RoW accounting team regarding FTX
                                           Turkey exchange balances
Broskay, Cole          10/3/2023     0.3   Complete final checks on FTX Trading Ltd Form 426 prior to
                                           submission for signature
Broskay, Cole          10/3/2023     1.1   Compile adjustments to FTX Trading Ltd Form 426 based on
                                           counsel feedback
Broskay, Cole          10/3/2023     0.6   E-mail correspondence with exchange data request team regarding
                                           composition of customer balances on Dotcom exchange for FTX
                                           Turkey
Bruck, Ran             10/3/2023     0.4   Discuss timeline requirements for February/March MOR with C.
                                           Broskay, M. Jones, R. Bruck (A&M)
Bruck, Ran             10/3/2023     1.2   Call to review Liquid entity documents with R. Bruck and M. Jones
                                           (A&M)
Bruck, Ran             10/3/2023     0.3   Call to discuss data inputs for Form MOR with R. Bruck and M.
                                           Jones (A&M)
Bruck, Ran             10/3/2023     1.1   Prepare financial check for cash receipts to MOR form

Bruck, Ran             10/3/2023     0.6   Input February payroll taxes into the MOR workbook


Bruck, Ran             10/3/2023     0.8   Add additional documentation for MOR form template changes

Bruck, Ran             10/3/2023     0.7   Input March payroll taxes into the MOR workbook


Cooper, James          10/3/2023     2.1   Call with J. Cooper, D. Kuruvilla, R. Duncan (A&M) to discuss
                                           February MOR reconciliations
Duncan, Ryan           10/3/2023     0.5   Call with D. Kuruvilla, R. Duncan (A&M) re: cash reconciliations for
                                           February MOR
Duncan, Ryan           10/3/2023     1.6   Finalize data entry for March cash reconciliations to be used in MOR
                                           development
Duncan, Ryan           10/3/2023     1.6   Reconcile March cash balance data against payment tracker for
                                           MOR
Duncan, Ryan           10/3/2023     1.3   Develop February cash reconciliations for monthly operating report


Duncan, Ryan           10/3/2023     0.7   Call with D. Kuruvilla, R. Duncan (A&M) to develop monthly
                                           operating report cash reconciliations for the month of February
Duncan, Ryan           10/3/2023     2.1   Call with J. Cooper, D. Kuruvilla, R. Duncan (A&M) to discuss
                                           February MOR reconciliations
Gordon, Robert         10/3/2023     0.6   Review FTX Trading Ltd form 426 for comments

Johnston, David        10/3/2023     0.6   Review queries relating to FTX Turkey filings

Jones, Mackenzie       10/3/2023     0.4   Discuss timeline requirements for February/March MOR with C.
                                           Broskay, M. Jones, R. Bruck (A&M)


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Court and UST Reporting
Professional              Date     Hours    Activity
Jones, Mackenzie       10/3/2023     1.9   Create output of finalized MORs in pdf view to assist in MOR review
                                           process
Jones, Mackenzie       10/3/2023     1.8   Update output of MOR drafts to match pdf view to expedite MOR
                                           review process
Jones, Mackenzie       10/3/2023     0.3   Call to discuss data inputs for Form MOR with R. Bruck and M.
                                           Jones (A&M)
Jones, Mackenzie       10/3/2023     0.4   Review existing professional fee payments template for MOR
                                           reporting
Jones, Mackenzie       10/3/2023     1.2   Call to review Liquid entity documents with R. Bruck and M. Jones
                                           (A&M)
Jones, Mackenzie       10/3/2023     0.6   Create FTX professional fee payments template in MOR form

Jones, Mackenzie       10/3/2023     0.4   Finalize FTX Trading Ltd Form 426 for submission to docket


Jones, Mackenzie       10/3/2023     0.1   Draft communication related to Form 426 filings

Kuruvilla, Daniel      10/3/2023     2.1   Call with J. Cooper, D. Kuruvilla, R. Duncan (A&M) to discuss
                                           February MOR reconciliations
Kuruvilla, Daniel      10/3/2023     0.5   Call with D. Kuruvilla, R. Duncan (A&M) re: cash reconciliations for
                                           February MOR
Kuruvilla, Daniel      10/3/2023     0.9   Input of RLKS data into MOR cash reporting file for April

Kuruvilla, Daniel      10/3/2023     2.4   Analysis of January MOR cash differences for reporting


Kuruvilla, Daniel      10/3/2023     1.2   Create timeline for MOR Cash reporting for 2023 months

Kuruvilla, Daniel      10/3/2023     0.7   Call with D. Kuruvilla, R. Duncan (A&M) to develop monthly
                                           operating report cash reconciliations for the month of February
Broskay, Cole          10/4/2023     0.6   Call to reconcile IFU payments with MOR form template with C.
                                           Broskay, R. Bruck (A&M)
Broskay, Cole          10/4/2023     1.1   Compare IFU Part 5 and Part 3 components against cash support
                                           files for MOR
Bruck, Ran             10/4/2023     0.3   Call to review the payment tracker for MOR reporting purposes with
                                           E. Taraba, R. Bruck (A&M)
Bruck, Ran             10/4/2023     0.6   Call to reconcile IFU payments with MOR form template with C.
                                           Broskay, R. Bruck (A&M)
Bruck, Ran             10/4/2023     0.6   Create cash file template for February 2023 to be used by cash team


Bruck, Ran             10/4/2023     1.9   Create formula to reconcile payments vendors to advisor names

Bruck, Ran             10/4/2023     1.7   Reconcile vendors paid with working professional list


Bruck, Ran             10/4/2023     0.8   Input working professional list for section 5 of MOR




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Professional              Date     Hours    Activity
Bruck, Ran             10/4/2023     0.3   Review payments file for advisor fees as of February 2023

Bruck, Ran             10/4/2023     0.9   Review MOR professional fee form for input into template


Bruck, Ran             10/4/2023     1.1   Research IFU payments for bankruptcy professionals

Bruck, Ran             10/4/2023     1.4   Input new data into new MOR form fees template

Cooper, James          10/4/2023     0.4   Call with J. Cooper, D. Kuruvilla, and R. Duncan (A&M) regarding
                                           finalization of February MOR reconciliation
Cooper, James          10/4/2023     0.2   Call to discuss MOR timeline with J. Cooper, S. Witherspoon, M.
                                           Jones (A&M)
Cooper, James          10/4/2023     1.3   Review and provide comments re: professional fee section of MOR
                                           package
Duncan, Ryan           10/4/2023     0.4   Call with J. Cooper, D. Kuruvilla, and R. Duncan (A&M) regarding
                                           finalization of February MOR reconciliation
Jones, Mackenzie       10/4/2023     0.2   Call to discuss MOR timeline with J. Cooper, S. Witherspoon, M.
                                           Jones (A&M)
Jones, Mackenzie       10/4/2023     0.6   Review professional payments data received for upcoming MOR
                                           filings
Kuruvilla, Daniel      10/4/2023     0.4   Call with J. Cooper, D. Kuruvilla, and R. Duncan (A&M) regarding
                                           finalization of February MOR reconciliation
Kuruvilla, Daniel      10/4/2023     2.4   Reconcile February cash account balances for FTX entities


Kuruvilla, Daniel      10/4/2023     2.0   Resolution of FTX Europe AG cash variances for MOR reporting

Kuruvilla, Daniel      10/4/2023     2.4   Reconcile February cash account balances for WRS Silo


Kuruvilla, Daniel      10/4/2023     2.3   Identify account activity through review of banks statements for
                                           WRS entities
Taraba, Erik           10/4/2023     0.3   Call to review the payment tracker for MOR reporting purposes with
                                           E. Taraba, R. Bruck (A&M)
Taraba, Erik           10/4/2023     1.1   Develop consolidated schedule of case-to-date taxes paid to support
                                           MOR development
Taraba, Erik           10/4/2023     0.8   Correspondence with Accounting team re: source data for MOR
                                           schedules
Witherspoon, Samuel    10/4/2023     0.2   Call to discuss MOR timeline with J. Cooper, S. Witherspoon, M.
                                           Jones (A&M)
Witherspoon, Samuel    10/4/2023     1.6   Review March and April MOR reconciliation files for submission

Broskay, Cole          10/5/2023     0.4   Discuss troubleshooting problems with professional fees for the
                                           MOR with C. Broskay, R. Bruck (A&M)
Broskay, Cole          10/5/2023     0.2   Discuss professional fees for the MOR with C. Broskay, M. Jones,
                                           R. Bruck (A&M)




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                                 FTX Trading Ltd., et al.,
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Court and UST Reporting
Professional               Date    Hours    Activity
Broskay, Cole          10/5/2023     0.7   Review mapping of advisor category for MOR template

Bruck, Ran             10/5/2023     0.4   Discuss troubleshooting problems with professional fees for the
                                           MOR with C. Broskay, R. Bruck (A&M)
Bruck, Ran             10/5/2023     0.2   Discuss professional fees for the MOR with C. Broskay, M. Jones,
                                           R. Bruck (A&M)
Bruck, Ran             10/5/2023     2.3   Review all unique vendor payments that reconcile with professionals
                                           list
Bruck, Ran             10/5/2023     1.3   Create a reference for vendor payments to correct section 5
                                           classification
Bruck, Ran             10/5/2023     1.4   Research Kroll payments made after November 2022

Bruck, Ran             10/5/2023     0.6   Create formula to create a list of unique vendor payments


Bruck, Ran             10/5/2023     1.8   Review all January 2023 financial statements data

Duncan, Ryan           10/5/2023     2.3   Reconcile QuickBooks account balances for development of March
                                           monthly operating report
Duncan, Ryan           10/5/2023     1.1   Finalize March reconciliations for development of monthly operating
                                           report
Duncan, Ryan           10/5/2023     1.1   Reconcile non-QuickBooks cash accounts for March monthly
                                           operating report
Duncan, Ryan           10/5/2023     2.9   Continue reconciliation of cash accounts for March MOR


Jones, Mackenzie       10/5/2023     0.2   Discuss professional fees for the MOR with C. Broskay, M. Jones,
                                           R. Bruck (A&M)
Jones, Mackenzie       10/5/2023     0.1   Review professional payments data received for upcoming MOR
                                           filings
Kuruvilla, Daniel      10/5/2023     1.4   Identify closing account balances through review of banks
                                           statements for Alameda entities
Kuruvilla, Daniel      10/5/2023     2.7   Identify March account activity through review of banks statements
                                           for WRS entities
Kuruvilla, Daniel      10/5/2023     2.2   Reconcile February cash account balances for Alameda entities

Kuruvilla, Daniel      10/5/2023     2.1   Resolution of Alameda cash variances for MOR reporting

Simoneaux, Nicole      10/5/2023     0.3   Incorporate comments to MOR payroll tax reporting support


Broskay, Cole          10/6/2023     0.2   E-mail correspondence with cash team regarding classification of
                                           certain professional fee payments
Broskay, Cole          10/6/2023     0.4   Teleconference with C. Broskay, R. Gordon(A&M) over UST MOR
                                           timeline request
Broskay, Cole          10/6/2023     0.7   Discussion to review Section 5 Professional Fees with C. Broskay,
                                           R. Bruck (A&M)




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                                 FTX Trading Ltd., et al.,
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Court and UST Reporting
Professional              Date     Hours    Activity
Bruck, Ran             10/6/2023     0.7   Discussion to review Section 5 Professional Fees with C. Broskay,
                                           R. Bruck (A&M)
Bruck, Ran             10/6/2023     0.8   Review Docket material for ordinary course professionals list


Bruck, Ran             10/6/2023     1.2   Review inputted trial balance files for all of February 2023

Bruck, Ran             10/6/2023     0.4   Input Ventures February 2023 entities for MOR form

Bruck, Ran             10/6/2023     0.2   Input Standalone March 2023 entities for MOR forms


Bruck, Ran             10/6/2023     0.6   Input Ventures March 2023 entities for MOR form

Bruck, Ran             10/6/2023     0.8   Input Dotcom March 2023 entities for MOR form


Bruck, Ran             10/6/2023     0.2   Input Standalone February 2023 entities for MOR forms

Bruck, Ran             10/6/2023     1.4   Review formulas for February 2023 MOR template file


Bruck, Ran             10/6/2023     0.9   Input Dotcom February 2023 entities for MOR form

Bruck, Ran             10/6/2023     0.7   Input Alameda February 2023 entities for MOR form

Bruck, Ran             10/6/2023     0.8   Input Alameda March 2023 entities for MOR form


Bruck, Ran             10/6/2023     0.6   Input WRS March 2023 entities for the MOR form

Bruck, Ran             10/6/2023     0.7   Input WRS February 2023 entities for MOR form


Cooper, James          10/6/2023     1.3   Review and provide comments re: MOR professional fee schedule

Duncan, Ryan           10/6/2023     2.1   Conduct data entry of debtor bank recs in reconciliation model for
                                           MOR
Gordon, Robert         10/6/2023     0.4   Teleconference with C. Broskay, R. Gordon(A&M) over UST MOR
                                           timeline request
Gordon, Robert         10/6/2023     0.3   Correspondence with M. Cilia(FTX), A. Kranzley(S&C) over UST
                                           MOR request
Gordon, Robert         10/6/2023     0.4   Review correspondence from UST over MOR timeline


Jones, Mackenzie       10/6/2023     2.1   Create Part 7 output for MOR pdf view to expedite MOR review
                                           process
Jones, Mackenzie       10/6/2023     0.4   Roll forward cash balances between months for MOR reporting


Kuruvilla, Daniel      10/6/2023     2.6   Identify February account activity through review of banks
                                           statements for FTX entities




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                                 FTX Trading Ltd., et al.,
                          Time Detail by Activity by Professional
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Court and UST Reporting
Professional              Date     Hours    Activity
Kuruvilla, Daniel      10/6/2023     2.4   Identify closing account balances through review of banks
                                           statements for WRS entities
Kuruvilla, Daniel      10/6/2023     1.9   Identify February account activity through review of banks
                                           statements for Alameda entities
Kuruvilla, Daniel      10/6/2023     1.7   Identify March account activity through review of banks statements
                                           for Alameda entities
Simoneaux, Nicole      10/6/2023     1.4   Prepare MOR summary and aligned support to provide to R. Bruck
                                           (A&M)
Taraba, Erik           10/6/2023     0.8   Respond to questions from accounting team re: payments made to
                                           bankruptcy professionals case-to-date
Cooper, James          10/7/2023     0.7   Review MOR Drafts for March cash reconciliations

Cooper, James          10/7/2023     0.9   Review MOR Drafts for February cash reconciliations


Taraba, Erik           10/7/2023     1.1   Develop schedule of bank balances by account per request from
                                           Company Finance Team
Bruck, Ran             10/8/2023     0.9   Review all March 2023 trial balance for Dotcom entities


Bruck, Ran             10/8/2023     0.4   Review March 2023 data reconciled with February 2023 data

Bruck, Ran             10/8/2023     0.6   Review all March 2023 trial balance for WRS entities

Bruck, Ran             10/8/2023     0.6   Input all March trial balance for Ventures/No-Silo


Bruck, Ran             10/8/2023     0.8   Review all March 2023 trial balance for Alameda entities

Bruck, Ran             10/8/2023     1.1   Reconcile balance sheet data with MOR form sheet data


Bruck, Ran             10/8/2023     1.6   Call to review MOR status M. Jones, R. Bruck (A&M)

Cooper, James          10/8/2023     0.3   Call with J. Cooper, R. Duncan (A&M) to discuss bank data
                                           consolidation for monthly operating report
Cooper, James          10/8/2023     0.9   Draft bank balance listing schedule for MOR as requested by UST

Duncan, Ryan           10/8/2023     0.3   Call with J. Cooper, R. Duncan (A&M) to discuss bank data
                                           consolidation for monthly operating report
Duncan, Ryan           10/8/2023     0.9   Consolidate November account data for MOR development in
                                           master account file
Duncan, Ryan           10/8/2023     1.6   Conduct data entry of April debtor bank reconciliation data for
                                           development of MOR
Jones, Mackenzie       10/8/2023     0.8   Review trial balance data for February 2023 MOR


Jones, Mackenzie       10/8/2023     0.4   Create summary of latest MOR trial balance statuses




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                                 FTX Trading Ltd., et al.,
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Court and UST Reporting
Professional              Date     Hours    Activity
Jones, Mackenzie       10/8/2023     1.6   Call to review MOR status M. Jones, R. Bruck (A&M)

Jones, Mackenzie       10/8/2023     0.4   Import Alameda silo trial balances into March 2023 MOR


Broskay, Cole          10/9/2023     1.8   Compile listing of OCP related questions for FTX accounting team
                                           for payment data through March 2023
Broskay, Cole          10/9/2023     0.3   Call to discuss February MOR cash variances with D. Kuruvilla, R.
                                           Duncan, C. Broskay, R. Bruck, M. Jones (A&M)
Broskay, Cole          10/9/2023     1.9   Conduct variance analysis between March IFU data and payment
                                           data received from cash team
Broskay, Cole          10/9/2023     0.2   Discussion on Professional Fee reconciliation with C. Broskay, R.
                                           Bruck (A&M)
Broskay, Cole          10/9/2023     1.0   Call to discuss MOR Part 3 with C. Broskay, R. Bruck, and M. Jones
                                           (A&M)
Broskay, Cole          10/9/2023     0.7   Respond to counsel regarding potential edits for the MOR General
                                           Notes
Broskay, Cole          10/9/2023     2.2   Conduct review of February MOR data provided by FTX accounting
                                           team
Broskay, Cole          10/9/2023     0.5   Teleconference with A. Kranzley(S&C), K. Brown(Landis), M.
                                           Cilia(FTX), R. Gordon, C. Broskay(A&M) to discuss MOR questions
                                           from UST
Bruck, Ran             10/9/2023     0.3   Call to discuss February MOR cash variances with D. Kuruvilla, R.
                                           Duncan, C. Broskay, R. Bruck, M. Jones (A&M)
Bruck, Ran             10/9/2023     0.3   Call with R. Bruck and E. Taraba (A&M) re: reconciliation of OCP
                                           payments for MOR schedules
Bruck, Ran             10/9/2023     2.4   Create concatenation listing of all section 5 advisor types to
                                           reconcile with payment tracker
Bruck, Ran             10/9/2023     0.4   Call to discuss professional payment data for February MOR with R.
                                           Bruck and M. Jones (A&M)
Bruck, Ran             10/9/2023     1.0   Call to discuss MOR Part 3 with C. Broskay, R. Bruck, and M. Jones
                                           (A&M)
Bruck, Ran             10/9/2023     0.2   Discussion on Professional Fee reconciliation with C. Broskay, R.
                                           Bruck (A&M)
Bruck, Ran             10/9/2023     0.8   Call to review draft of February MOR template with R. Bruck and M.
                                           Jones (A&M)
Bruck, Ran             10/9/2023     0.4   Call with R. Bruck and N. Simoneaux (A&M) re: MOR payroll tax
                                           support
Bruck, Ran             10/9/2023     1.4   Identify all unique vendors associated with professional fees


Bruck, Ran             10/9/2023     1.6   Review differences between section 5 classification of advisors

Bruck, Ran             10/9/2023     1.2   Reconcile professional fees from IFU with the cash payment details

Duncan, Ryan           10/9/2023     0.4   Call with D. Kuruvilla and R. Duncan (A&M) re: responses to
                                           accounting team on February MOR questions


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Professional             Date    Hours    Activity
Duncan, Ryan         10/9/2023     0.3   Call to discuss February MOR cash variances with D. Kuruvilla, R.
                                         Duncan, C. Broskay, R. Bruck, M. Jones (A&M)
Duncan, Ryan         10/9/2023     1.6   Source and analyze variances in February MOR in response to
                                         accounting team questions
Duncan, Ryan         10/9/2023     0.7   Call with D. Kuruvilla and R. Duncan (A&M) re: April monthly
                                         operating report reconciliations
Duncan, Ryan         10/9/2023     1.1   Conduct data entry of May debtor reconciliations in MOR
                                         reconciliation model
Duncan, Ryan         10/9/2023     0.7   Finalize data consolidation of July debtor bank reconciliations for
                                         MOR development
Duncan, Ryan         10/9/2023     0.4   Conduct data entry of June debtor reconciliations in MOR
                                         reconciliation model
Duncan, Ryan         10/9/2023     0.9   Conduct data entry of July debtor reconciliations in MOR
                                         reconciliation model
Duncan, Ryan         10/9/2023     0.7   Conduct data entry of August debtor reconciliations in MOR
                                         reconciliation model
Duncan, Ryan         10/9/2023     1.2   Continue data entry of June debtor reconciliations for MOR


Duncan, Ryan         10/9/2023     0.7   Continue data entry of May debtor reconciliations for MOR

Gordon, Robert       10/9/2023     0.2   Draft language for response for UST request

Gordon, Robert       10/9/2023     0.5   Teleconference with A. Kranzley(S&C), K. Brown(Landis), M.
                                         Cilia(FTX), R. Gordon, C. Broskay(A&M) to discuss MOR questions
                                         from UST
Jones, Mackenzie     10/9/2023     0.3   Call to discuss February MOR cash variances with D. Kuruvilla, R.
                                         Duncan, C. Broskay, R. Bruck, M. Jones (A&M)
Jones, Mackenzie     10/9/2023     0.4   Call to discuss professional payment data for February MOR with R.
                                         Bruck and M. Jones (A&M)
Jones, Mackenzie     10/9/2023     0.8   Call to review draft of February MOR template with R. Bruck and M.
                                         Jones (A&M)
Jones, Mackenzie     10/9/2023     0.8   Import data related to assets sold or transferred for MOR reporting

Jones, Mackenzie     10/9/2023     1.0   Call to discuss MOR Part 3 with C. Broskay, R. Bruck, and M. Jones
                                         (A&M)
Jones, Mackenzie     10/9/2023     1.1   Review USD cash variances for February/March MORs

Jones, Mackenzie     10/9/2023     0.7   Update formulas for MOR financial statement attachments


Jones, Mackenzie     10/9/2023     0.2   Review March 2023 MOR Part 7 data in output file

Jones, Mackenzie     10/9/2023     2.3   Reconcile ending cash balances for February/March MORs

Jones, Mackenzie     10/9/2023     0.3   Review February 2023 MOR Part 7 data in output file




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Court and UST Reporting
Professional                Date    Hours    Activity
Kuruvilla, Daniel       10/9/2023     0.3   Call to discuss February MOR cash variances with D. Kuruvilla, R.
                                            Duncan, C. Broskay, R. Bruck, M. Jones (A&M)
Kuruvilla, Daniel       10/9/2023     0.4   Call with D. Kuruvilla and R. Duncan (A&M) re: responses to
                                            accounting team on February MOR questions
Kuruvilla, Daniel       10/9/2023     0.7   Call with D. Kuruvilla and R. Duncan (A&M) re: April monthly
                                            operating report reconciliations
Kuruvilla, Daniel       10/9/2023     1.3   Reconcile March cash account balances for Alameda entities

Kuruvilla, Daniel       10/9/2023     1.1   Reconcile cash account balance for FTX Trading Ltd


Kuruvilla, Daniel       10/9/2023     2.1   Reconcile March cash account balances for FTX entities

Kuruvilla, Daniel       10/9/2023     1.9   Reconcile March cash account balances for WRS Silo


Simoneaux, Nicole       10/9/2023     0.4   Call with R. Bruck and N. Simoneaux (A&M) re: MOR payroll tax
                                            support
Taraba, Erik            10/9/2023     0.3   Call with R. Bruck and E. Taraba (A&M) re: reconciliation of OCP
                                            payments for MOR schedules
Broskay, Cole          10/10/2023     1.7   Call to review current draft of MOR for upcoming filing with C.
                                            Broskay, R. Bruck, M. Jones (A&M)
Broskay, Cole          10/10/2023     0.7   Teleconference with R. Gordon, C. Broskay(A&M) over open items
                                            for latest MOR filing
Broskay, Cole          10/10/2023     1.3   Conduct review of March MOR data provided by the FTX accounting
                                            team
Broskay, Cole          10/10/2023     0.4   Correspondence with MOR workstream team regarding Part 5b
                                            payments
Bruck, Ran             10/10/2023     1.7   Call to review current draft of MOR for upcoming filing with C.
                                            Broskay, R. Bruck, M. Jones (A&M)
Bruck, Ran             10/10/2023     0.8   Create draft of MOR professional fees for all months for 2023

Bruck, Ran             10/10/2023     1.9   Call to review March 2023 MOR draft with R. Bruck and M. Jones
                                            (A&M)
Bruck, Ran             10/10/2023     0.4   Review payments on pre-petition debt for February 2023

Bruck, Ran             10/10/2023     0.7   Review insider payments for all entities in February 2023

Bruck, Ran             10/10/2023     0.6   Review payments on pre-petition debt for March 2023


Bruck, Ran             10/10/2023     0.8   Review insider payments for all entities in March 2023

Bruck, Ran             10/10/2023     0.4   Call with S. Witherspoon, E. Taraba, M. Jones, R. Bruck, and N.
                                            Simoneaux (A&M) re: IFU tax reporting to MOR reconciliation
Bruck, Ran             10/10/2023     0.7   Call with M. Jones, D. Kuruvilla, R. Bruck, and R. Duncan (A&M) to
                                            discuss opens items re: March reconciliation for monthly operating
                                            report


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Court and UST Reporting
Professional                Date    Hours    Activity
Cooper, James          10/10/2023     0.4   Call with J. Cooper, D. Kuruvilla, and R. Duncan (A&M) to review
                                            February account balance variances for MOR
Dalgleish, Elizabeth   10/10/2023     0.7   Review and update the February 2023 MOR cash reconciliation for
                                            Europe
Dalgleish, Elizabeth   10/10/2023     1.1   Review and update the March 2023 MOR cash reconciliation for
                                            Europe
Duncan, Ryan           10/10/2023     0.4   Call with J. Cooper, D. Kuruvilla, and R. Duncan (A&M) to review
                                            February account balance variances for MOR
Duncan, Ryan           10/10/2023     1.7   Review cash account balance variances for March MOR
                                            development
Duncan, Ryan           10/10/2023     1.4   Amend April MOR reconciliation to reflect updated IFU data

Duncan, Ryan           10/10/2023     1.4   Reconcile April cash accounts for development of April MOR


Duncan, Ryan           10/10/2023     1.4   Reconcile May cash accounts for development of MOR

Duncan, Ryan           10/10/2023     2.1   Review cash account balance variances for development of
                                            February monthly operating report
Duncan, Ryan           10/10/2023     0.7   Call with M. Jones, D. Kuruvilla, R. Bruck, and R. Duncan (A&M) to
                                            discuss opens items re: March reconciliation for monthly operating
                                            report
Gordon, Robert         10/10/2023     0.7   Teleconference with R. Gordon, C. Broskay(A&M) over open items
                                            for latest MOR filing
Johnston, David        10/10/2023     0.4   Review cash reconciliation relating to monthly operating report for
                                            FTX Europe
Jones, Mackenzie       10/10/2023     1.7   Call to review current draft of MOR for upcoming filing with C.
                                            Broskay, R. Bruck, M. Jones (A&M)
Jones, Mackenzie       10/10/2023     0.4   Update February 2023 trial balance data to align with financial
                                            statement mapping
Jones, Mackenzie       10/10/2023     0.3   Review latest ending cash balances updates for February/March
                                            MOR
Jones, Mackenzie       10/10/2023     1.9   Call to review March 2023 MOR draft with R. Bruck and M. Jones
                                            (A&M)
Jones, Mackenzie       10/10/2023     1.2   Roll forward February 2023 MOR template for upcoming filing


Jones, Mackenzie       10/10/2023     0.9   Perform variance analysis for March 2023 ending balances

Jones, Mackenzie       10/10/2023     0.2   Import European entity trial balance to MOR template


Jones, Mackenzie       10/10/2023     0.3   Review ending cash balance data for February/March MORs

Jones, Mackenzie       10/10/2023     0.7   Call with M. Jones, D. Kuruvilla, R. Bruck, and R. Duncan (A&M) to
                                            discuss opens items re: March reconciliation for monthly operating
                                            report
Jones, Mackenzie       10/10/2023     0.4   Call with S. Witherspoon, E. Taraba, M. Jones, R. Bruck, and N.
                                            Simoneaux (A&M) re: IFU tax reporting to MOR reconciliation

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Court and UST Reporting
Professional                Date    Hours    Activity
Kuruvilla, Daniel      10/10/2023     0.4   Call with J. Cooper, D. Kuruvilla, and R. Duncan (A&M) to review
                                            February account balance variances for MOR
Kuruvilla, Daniel      10/10/2023     1.7   Identify closing account balances through review of banks
                                            statements for Trading GmbH
Kuruvilla, Daniel      10/10/2023     2.8   Reconcile April cash account balances for WRS Silo

Kuruvilla, Daniel      10/10/2023     0.4   Reconcile April cash account balances for Alameda entities

Kuruvilla, Daniel      10/10/2023     2.9   Reconcile April cash account balances for FTX entities


Kuruvilla, Daniel      10/10/2023     0.7   Call with M. Jones, D. Kuruvilla, R. Bruck, and R. Duncan (A&M) to
                                            discuss opens items re: March reconciliation for monthly operating
                                            report
Simoneaux, Nicole      10/10/2023     0.4   Call with S. Witherspoon, E. Taraba, M. Jones, R. Bruck, and N.
                                            Simoneaux (A&M) re: IFU tax reporting to MOR reconciliation
Taraba, Erik           10/10/2023     0.6   Respond to questions re: historical payments for inclusion into MOR


Taraba, Erik           10/10/2023     0.4   Call with S. Witherspoon, E. Taraba, M. Jones, R. Bruck, and N.
                                            Simoneaux (A&M) re: IFU tax reporting to MOR reconciliation
Witherspoon, Samuel    10/10/2023     0.4   Call with S. Witherspoon, E. Taraba, M. Jones, R. Bruck, and N.
                                            Simoneaux (A&M) re: IFU tax reporting to MOR reconciliation
Broskay, Cole          10/11/2023     0.8   Call to review professional fee categories for MOR Part 5 with C.
                                            Broskay, R. Bruck, and M. Jones (A&M)
Broskay, Cole          10/11/2023     0.4   Teleconference with C. Broskay, R. Gordon(A&M) over changes to
                                            venture transactions for the MOR
Broskay, Cole          10/11/2023     0.2   Call re: February and March MOR status update with C. Broskay, R.
                                            Bruck, and M. Jones (A&M)
Broskay, Cole          10/11/2023     0.3   E-mail correspondence with FTX accounting team regarding select
                                            entities' cash variances
Broskay, Cole          10/11/2023     1.3   Review cash variance reconciliation workbook for February/March
                                            MORs
Broskay, Cole          10/11/2023     0.5   Review FTX accounting team responses to cash variances for FTX
                                            Japan KK
Bruck, Ran             10/11/2023     0.8   Call to review professional fee categories for MOR Part 5 with C.
                                            Broskay, R. Bruck, and M. Jones (A&M)
Bruck, Ran             10/11/2023     0.3   Call to discuss professional fees filing process in BART D.
                                            Lewandowski, R. Bruck, M. Jones (A&M)
Bruck, Ran             10/11/2023     0.2   Call re: February and March MOR status update with C. Broskay, R.
                                            Bruck, and M. Jones (A&M)
Bruck, Ran             10/11/2023     0.6   Call with R. Bruck and N. Simoneaux (A&M) re: IFU tax reporting
                                            and MOR support
Bruck, Ran             10/11/2023     0.3   Call to review MOR form Reconciliation subtotals with R. Bruck and
                                            M. Jones (A&M)
Bruck, Ran             10/11/2023     1.3   Review professional fees in the IFU detail as compared with the
                                            MOR fee form


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Court and UST Reporting
Professional                Date    Hours    Activity
Bruck, Ran             10/11/2023     0.6   Call to discuss insider payments for Part 7 of MOR with R. Bruck
                                            and M. Jones (A&M)
Bruck, Ran             10/11/2023     1.4   Input IFU payroll tax reporting data for the remaining 2023 months


Bruck, Ran             10/11/2023     0.7   Review MOR form subtotals with financial statement attachments

Bruck, Ran             10/11/2023     0.9   Do a trial run of filing MOR professional fees for February/March

Bruck, Ran             10/11/2023     1.1   Input IFU other tax reporting data for the remaining 2023 months


Cooper, James          10/11/2023     0.6   Correspondence with CFO and accounting team re: cash
                                            reconciliation questions
Cooper, James          10/11/2023     1.8   Revise bank account balance listing schedule for MOR


Cooper, James          10/11/2023     0.8   Review draft of February and March MOR cash sections

Duncan, Ryan           10/11/2023     0.3   Call with E. Taraba, D. Kuruvilla, and R. Duncan (A&M) re:
                                            transactions to include in MOR reporting
Duncan, Ryan           10/11/2023     0.3   Amend data import in monthly operating report reconciliation model
                                            for the month of April
Duncan, Ryan           10/11/2023     0.9   Amend data import in monthly operating report reconciliation model
                                            for the month of May
Duncan, Ryan           10/11/2023     0.7   Review consolidated MOR data to correct variance to previous IFU
                                            filings
Duncan, Ryan           10/11/2023     1.1   Reconcile May cash account balances for development of monthly
                                            operating report
Duncan, Ryan           10/11/2023     1.9   Consolidate IFU disbursement data for use in MOR models


Duncan, Ryan           10/11/2023     1.3   Continue review of variances to IFU data in MOR models

Gordon, Robert         10/11/2023     0.4   Teleconference with C. Broskay, R. Gordon(A&M) over changes to
                                            venture transactions for the MOR
Jones, Mackenzie       10/11/2023     0.8   Call to review professional fee categories for MOR Part 5 with C.
                                            Broskay, R. Bruck, and M. Jones (A&M)
Jones, Mackenzie       10/11/2023     0.2   Call re: February and March MOR status update with C. Broskay, R.
                                            Bruck, and M. Jones (A&M)
Jones, Mackenzie       10/11/2023     0.3   Call to discuss professional fees filing process in BART D.
                                            Lewandowski, R. Bruck, M. Jones (A&M)
Jones, Mackenzie       10/11/2023     0.6   Call to discuss insider payments for Part 7 of MOR with R. Bruck
                                            and M. Jones (A&M)
Jones, Mackenzie       10/11/2023     0.3   Import trial balance data to MOR template for newly received
                                            European entity
Jones, Mackenzie       10/11/2023     0.3   Call to review MOR form Reconciliation subtotals with R. Bruck and
                                            M. Jones (A&M)




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Court and UST Reporting
Professional                Date    Hours    Activity
Jones, Mackenzie       10/11/2023     1.4   Update historical MOR data for foreign entities to be added back

Jones, Mackenzie       10/11/2023     0.8   Review ending cash balance adjustments due to timing differences


Jones, Mackenzie       10/11/2023     1.1   Update MOR referencing formulas in MOR template

Jones, Mackenzie       10/11/2023     0.2   Document changes made to March MOR draft for version control

Jones, Mackenzie       10/11/2023     0.4   Update current MOR draft for latest cash data received


Jones, Mackenzie       10/11/2023     1.1   Update February/March MOR file to post for management review

Jones, Mackenzie       10/11/2023     0.3   Draft summary of cash variances for reconciliation process


Kuruvilla, Daniel      10/11/2023     0.3   Call with E. Taraba, D. Kuruvilla, and R. Duncan (A&M) re:
                                            transactions to include in MOR reporting
Kuruvilla, Daniel      10/11/2023     3.2   Identify April account activity through review of banks statements


Kuruvilla, Daniel      10/11/2023     2.8   Reconcile May cash account balances for FTX entities

Kuruvilla, Daniel      10/11/2023     1.4   Reconcile May cash account balances for Alameda entities

Kuruvilla, Daniel      10/11/2023     1.6   Reconcile May cash account balances for WRS Silo


Lewandowski, Douglas   10/11/2023     0.3   Call to discuss professional fees filing process in BART D.
                                            Lewandowski, R. Bruck, M. Jones (A&M)
Simoneaux, Nicole      10/11/2023     0.6   Call with R. Bruck and N. Simoneaux (A&M) re: IFU tax reporting
                                            and MOR support
Simoneaux, Nicole      10/11/2023     2.1   Prepare MOR summary for all personnel reporting

Taraba, Erik           10/11/2023     0.3   Call with E. Taraba, D. Kuruvilla, and R. Duncan (A&M) re:
                                            transactions to include in MOR reporting
Broskay, Cole          10/12/2023     1.4   Review draft February and March MOR packages prior to distribution
                                            to FTX accounting team
Bruck, Ran             10/12/2023     1.7   Reconcile cash payment differences for February between trial
                                            balances of FTX
Bruck, Ran             10/12/2023     1.1   Reconcile cash payment differences for March between trial
                                            balances of FTX
Bruck, Ran             10/12/2023     1.9   Review all February payments related to insiders of entities

Bruck, Ran             10/12/2023     0.4   Run team tracker for September for all accounting


Bruck, Ran             10/12/2023     2.3   Review all March payments related to insiders of entities




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Court and UST Reporting
Professional                Date    Hours    Activity
Cooper, James          10/12/2023     1.3   Review of revised February and March MOR drafts for cash section

Duncan, Ryan           10/12/2023     0.6   Develop reconciliation file for development of June monthly
                                            operating report
Duncan, Ryan           10/12/2023     1.3   Reconcile June cash account balances for MOR

Duncan, Ryan           10/12/2023     1.4   Continue reconciliation of cash accounts for June MOR

Jones, Mackenzie       10/12/2023     0.4   Create final version of February/March 2023 MOR templates for
                                            distribution
Jones, Mackenzie       10/12/2023     0.8   Update February/March MOR file for new Japan entity data received

Jones, Mackenzie       10/12/2023     1.3   Perform data accuracy review for February 2023 MOR


Jones, Mackenzie       10/12/2023     0.7   Tie out cash team ending bank balance report to MOR balances

Kuruvilla, Daniel      10/12/2023     2.7   Identify May account activity through review of banks statements for
                                            WRS entities
Kuruvilla, Daniel      10/12/2023     2.8   Resolution of differences in cash balances compared to RLKS Trial
                                            balances
Simoneaux, Nicole      10/12/2023     0.8   Respond to MOR employment status and rationalization inquiries

Simoneaux, Nicole      10/12/2023     0.6   Prepare and provide updated headcount bridges for MOR


Broskay, Cole          10/13/2023     0.3   Call to discuss cash at stand-alone silo with C. Broskay, R. Bruck
                                            and M. Jones (A&M)
Broskay, Cole          10/13/2023     0.7   Correspondence with FTX accounting team regarding proposed
                                            order language related to MOR timing
Broskay, Cole          10/13/2023     0.4   Correspondence with internal A&M team regarding timing of
                                            production for MOR packages
Broskay, Cole          10/13/2023     0.4   Correspondence with local counsel regarding required attachments
                                            for MOR lead case
Broskay, Cole          10/13/2023     1.7   Compile MOR General Notes based on feedback from FTX
                                            accounting team and counsel
Broskay, Cole          10/13/2023     0.2   Call to discuss MOR filing timeline with C. Broskay, R. Bruck, M.
                                            Jones (A&M)
Broskay, Cole          10/13/2023     0.4   Teleconference with R. Gordon, C. Broskay(A&M) over MOR filing
                                            timeline
Broskay, Cole          10/13/2023     1.3   Recompile cash variances based on newly provided data from cash
                                            team
Broskay, Cole          10/13/2023     2.1   Conduct final reviews of MOR attachments for completeness and tie-
                                            out
Bruck, Ran             10/13/2023     0.3   Call to discuss cash at stand-alone silo with C. Broskay, R. Bruck
                                            and M. Jones (A&M)




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Professional                Date    Hours    Activity
Bruck, Ran             10/13/2023     0.7   Input all February data into BART system for PDF package
                                            extraction process
Bruck, Ran             10/13/2023     0.4   Run BART system to include Professional fees into PDF package
                                            for February
Bruck, Ran             10/13/2023     0.9   Input all March data into BART system for PDF package extraction
                                            process
Bruck, Ran             10/13/2023     0.2   Call to discuss MOR filing timeline with C. Broskay, R. Bruck, M.
                                            Jones (A&M)
Bruck, Ran             10/13/2023     0.4   Run BART system to include Professional fees into PDF package
                                            for March
Bruck, Ran             10/13/2023     0.7   Call to review February 2023 MOR draft with R. Bruck and M. Jones
                                            (A&M)
Bruck, Ran             10/13/2023     0.7   Input February Professional Fee data into Bart system


Bruck, Ran             10/13/2023     0.7   Input March Professional Fee data into Bart system

Bruck, Ran             10/13/2023     0.6   Run BART system to extract PDF Package for March


Bruck, Ran             10/13/2023     0.4   Run BART system to extract PDF Package for February

Cooper, James          10/13/2023     0.3   Revise bank account list schedule for MOR based on management
                                            comments
Duncan, Ryan           10/13/2023     0.6   Call with D. Kuruvilla and R. Duncan (A&M) to reconcile non-
                                            QuickBooks accounts for June MOR
Duncan, Ryan           10/13/2023     2.1   Reconcile June cash account balances for development of monthly
                                            operating report
Duncan, Ryan           10/13/2023     1.1   Review March cash balance summary for variance to MOR
                                            reconciliation file
Duncan, Ryan           10/13/2023     2.2   Reconcile non-QuickBooks account balances for June MOR

Gordon, Robert         10/13/2023     0.4   Teleconference with R. Gordon, C. Broskay(A&M) over MOR filing
                                            timeline
Gordon, Robert         10/13/2023     0.6   Review updated MOR global notes for potential edits

Jones, Mackenzie       10/13/2023     0.3   Call to discuss cash at stand-alone silo with C. Broskay, R. Bruck
                                            and M. Jones (A&M)
Jones, Mackenzie       10/13/2023     0.2   Call to discuss MOR filing timeline with C. Broskay, R. Bruck, M.
                                            Jones (A&M)
Jones, Mackenzie       10/13/2023     0.7   Call to review February 2023 MOR draft with R. Bruck and M. Jones
                                            (A&M)
Jones, Mackenzie       10/13/2023     0.7   Review of MOR draft files for upcoming February filing


Jones, Mackenzie       10/13/2023     0.7   Generate new MOR drafts with updated cash data




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Professional                Date    Hours    Activity
Jones, Mackenzie       10/13/2023     1.9   Perform data accuracy review for March 2023 MOR

Kuruvilla, Daniel      10/13/2023     0.6   Call with D. Kuruvilla and R. Duncan (A&M) to reconcile non-
                                            QuickBooks accounts for June MOR
Kuruvilla, Daniel      10/13/2023     2.3   Identify closing account balances through review of banks
                                            statements for Quoine Pte
Kuruvilla, Daniel      10/13/2023     2.3   Reconcile June cash account balances for Alameda entities

Kuruvilla, Daniel      10/13/2023     2.1   Reconcile June cash account balances for FTX entities


Kuruvilla, Daniel      10/13/2023     0.8   Reconcile June cash account balances for WRS Silo

Li, Summer             10/13/2023     1.9   Review of the cash reconciliation for two of the bank accounts of
                                            FTX Japan K.K in Feb 2023
Li, Summer             10/13/2023     2.2   Review of the cash reconciliation for Quoine Pte in Feb 2023

Broskay, Cole          10/14/2023     1.7   Discussion for filing of March MOR for all entities with C. Broskay,
                                            M. Jones, R. Bruck (A&M)
Broskay, Cole          10/14/2023     1.8   Discussion for filing of February MOR for all entities with C. Broskay,
                                            M. Jones, R. Bruck (A&M)
Broskay, Cole          10/14/2023     2.1   Discussion to prepare for MOR distribution with C. Broskay, M.
                                            Jones, R. Bruck (A&M)
Broskay, Cole          10/14/2023     0.1   E-mail correspondence with R. Gordon regarding status of MOR
                                            production
Bruck, Ran             10/14/2023     1.7   Discussion for filing of March MOR for all entities with C. Broskay,
                                            M. Jones, R. Bruck (A&M)
Bruck, Ran             10/14/2023     1.8   Discussion for filing of February MOR for all entities with C. Broskay,
                                            M. Jones, R. Bruck (A&M)
Bruck, Ran             10/14/2023     2.1   Discussion to prepare for MOR distribution with C. Broskay, M.
                                            Jones, R. Bruck (A&M)
Cooper, James          10/14/2023     0.6   Additional revisions to bank account list schedule for MOR for non-
                                            debtor entities
Jones, Mackenzie       10/14/2023     1.8   Discussion for filing of February MOR for all entities with C. Broskay,
                                            M. Jones, R. Bruck (A&M)
Jones, Mackenzie       10/14/2023     1.7   Discussion for filing of March MOR for all entities with C. Broskay,
                                            M. Jones, R. Bruck (A&M)
Jones, Mackenzie       10/14/2023     2.1   Discussion to prepare for MOR distribution with C. Broskay, M.
                                            Jones, R. Bruck (A&M)
Jones, Mackenzie       10/14/2023     0.3   Review of MOR draft files for upcoming March filing

Broskay, Cole          10/16/2023     1.7   Review initial draft of April/May MOR cash reconciliation file


Bruck, Ran             10/16/2023     0.4   Review financial attachments on the MOR Form template for April
                                            2023




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Court and UST Reporting
Professional                Date    Hours    Activity
Bruck, Ran             10/16/2023     0.6   Review payments made on prepetition debt in April

Bruck, Ran             10/16/2023     1.4   Review cash files for April 2023 given by Cash team


Bruck, Ran             10/16/2023     0.8   Review payments made on prepetition debt in May

Bruck, Ran             10/16/2023     1.8   Review cash files for May 2023 given by Cash team

Duncan, Ryan           10/16/2023     0.4   Call with D. Kuruvilla, R. Duncan (A&M) to review April and May
                                            reconciliations for monthly operating reports
Duncan, Ryan           10/16/2023     1.4   Reconcile July LCY account balances for development of July
                                            monthly operating report
Duncan, Ryan           10/16/2023     2.7   Reconcile June USD debtor account balances for development of
                                            MOR
Duncan, Ryan           10/16/2023     0.9   Develop July MOR reconciliation file with amended June EOM
                                            balance data
Duncan, Ryan           10/16/2023     1.7   Continue reconciliation of LCY non-QB accounts for July MOR
                                            development
Duncan, Ryan           10/16/2023     0.8   Continue reconciling LCY accounts for July MOR

Duncan, Ryan           10/16/2023     1.9   Reconcile LCY QB accounts for July monthly operating report

Jones, Mackenzie       10/16/2023     1.9   Create cash variance listing by account for upcoming MOR filing


Jones, Mackenzie       10/16/2023     0.8   Review April 2023 Dotcom silo bank account activity

Kuruvilla, Daniel      10/16/2023     0.4   Call with D. Kuruvilla, R. Duncan (A&M) to review April and May
                                            reconciliations for monthly operating reports
Kuruvilla, Daniel      10/16/2023     1.3   Reconcile July cash account balances for Alameda entities

Kuruvilla, Daniel      10/16/2023     2.1   Reconcile July cash account balances for FTX entities


Kuruvilla, Daniel      10/16/2023     2.4   Reconcile July cash account balances for WRS Silo

Broskay, Cole          10/17/2023     0.6   Teleconference with R. Gordon, C. Broskay(A&M) over balance
                                            sheet delivery for April MORs
Broskay, Cole          10/17/2023     0.4   Respond to questions from local counsel regarding draft of MOR
                                            timetable
Bruck, Ran             10/17/2023     1.4   Call to review April 2023 professional fees and asset sales with R.
                                            Bruck and M. Jones (A&M)
Bruck, Ran             10/17/2023     1.4   Review payments made to entities with employees classified as
                                            "insiders" for April 2023
Bruck, Ran             10/17/2023     0.4   Review Asset sales according to the Interim Financial Update for
                                            July 2023




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Professional                Date    Hours    Activity
Bruck, Ran             10/17/2023     0.3   Review Asset sales according to the Interim Financial Update for
                                            August 2023
Bruck, Ran             10/17/2023     0.9   Review MOR form template formula for asset sales to reconcile
                                            against IFUs
Bruck, Ran             10/17/2023     0.6   Review Asset sales according to the Interim Financial Update for
                                            April 2023
Bruck, Ran             10/17/2023     0.3   Review Asset sales according to the Interim Financial Update for
                                            June 2023
Bruck, Ran             10/17/2023     0.4   Review Asset sales according to the Interim Financial Update for
                                            May 2023
Bruck, Ran             10/17/2023     1.3   Reconcile cash disbursements with the trial balance for April 2023

Duncan, Ryan           10/17/2023     0.3   Correspondence with FTX Japan personnel to resolve variance on
                                            MOR reconciliations
Duncan, Ryan           10/17/2023     0.4   Consolidate and develop analysis of August IFU data for inclusion in
                                            August MOR file
Duncan, Ryan           10/17/2023     1.2   Continue July LCY account reconciliation for monthly operating report


Duncan, Ryan           10/17/2023     0.6   Develop reconciliation of July LCY accounts for MOR

Duncan, Ryan           10/17/2023     0.7   Reconcile USD cash accounts balances for MOR development

Duncan, Ryan           10/17/2023     1.1   Continue reconciliation of July USD accounts for MOR


Gordon, Robert         10/17/2023     0.6   Teleconference with R. Gordon, C. Broskay(A&M) over balance
                                            sheet delivery for April MORs
Jones, Mackenzie       10/17/2023     1.4   Call to review April 2023 professional fees and asset sales with R.
                                            Bruck and M. Jones (A&M)
Jones, Mackenzie       10/17/2023     0.3   Review current draft of MOR template file for next round of filings

Jones, Mackenzie       10/17/2023     0.9   Update MOR financial statement attachments output file


Jones, Mackenzie       10/17/2023     1.3   Roll forward March 2023 MOR template for April 2023 filing

Jones, Mackenzie       10/17/2023     0.8   Read docket items filed for impact on future MOR filings

Jones, Mackenzie       10/17/2023     0.7   Perform roll forward analysis on cash balances files


Kuruvilla, Daniel      10/17/2023     2.2   Resolution of differences in cash balances compared to RLKS Trial
                                            balances for January
Kuruvilla, Daniel      10/17/2023     2.3   Identify closing account balances through review of banks
                                            statements for FTX Europe AG
Broskay, Cole          10/18/2023     0.3   Call to discuss professional fee payments for MOR with C. Broskay,
                                            E. Taraba, R. Bruck, and M. Jones (A&M)




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Court and UST Reporting
Professional                Date    Hours    Activity
Broskay, Cole          10/18/2023     0.7   Call to discuss April 2023 MOR updates with C. Broskay, R. Bruck,
                                            and M. Jones (A&M)
Broskay, Cole          10/18/2023     0.4   Teleconference with C. Broskay, R. Gordon(A&M) over international
                                            deliverables for MORs
Broskay, Cole          10/18/2023     0.3   Status call over MOR section 1 with J. Cooper, R. Gordon, C.
                                            Broskay(A&M)
Bruck, Ran             10/18/2023     0.3   Call to discuss professional fee payments for MOR with C. Broskay,
                                            E. Taraba, R. Bruck, and M. Jones (A&M)
Bruck, Ran             10/18/2023     0.7   Call to discuss April 2023 MOR updates with C. Broskay, R. Bruck,
                                            and M. Jones (A&M)
Bruck, Ran             10/18/2023     1.1   Discussion to update Part 7 of April 2023 MOR with R. Bruck and M.
                                            Jones (A&M)
Bruck, Ran             10/18/2023     0.9   Call to align on MOR activities with R. Bruck and M. Jones (A&M)


Bruck, Ran             10/18/2023     1.2   Reconcile cash file with trial balances from FTX team for May 2023

Bruck, Ran             10/18/2023     0.9   Review financial attachments on the MOR Form template for May
                                            2023
Bruck, Ran             10/18/2023     1.6   Review cash payment files for insider for April 2023

Cooper, James          10/18/2023     0.3   Status call over MOR section 1 with J. Cooper, R. Gordon, C.
                                            Broskay(A&M)
Cooper, James          10/18/2023     2.3   Review and provide comments on initial draft of September IFU
                                            materials
Duncan, Ryan           10/18/2023     0.8   Review June and July MOR reconciliations for variances stemming
                                            from new FX rate inputs
Duncan, Ryan           10/18/2023     0.9   Finalize July reconciliation of USD and LCY accounts for MOR
                                            development
Duncan, Ryan           10/18/2023     1.4   Reconcile August local currency account balances for MOR
                                            development
Duncan, Ryan           10/18/2023     0.8   Reconcile August USD accounts for development of monthly
                                            operating report
Duncan, Ryan           10/18/2023     1.8   Continue reconciliation of August LCY accounts for MOR

Duncan, Ryan           10/18/2023     0.4   Develop August monthly operating report reconciliation file

Gordon, Robert         10/18/2023     0.4   Teleconference with C. Broskay, R. Gordon(A&M) over international
                                            deliverables for MORs
Gordon, Robert         10/18/2023     0.3   Status call over MOR section 1 with J. Cooper, R. Gordon, C.
                                            Broskay(A&M)
Jones, Mackenzie       10/18/2023     0.3   Call to discuss professional fee payments for MOR with C. Broskay,
                                            E. Taraba, R. Bruck, and M. Jones (A&M)
Jones, Mackenzie       10/18/2023     0.7   Call to discuss April 2023 MOR updates with C. Broskay, R. Bruck,
                                            and M. Jones (A&M)




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Court and UST Reporting
Professional                Date    Hours    Activity
Jones, Mackenzie       10/18/2023     1.1   Discussion to update Part 7 of April 2023 MOR with R. Bruck and M.
                                            Jones (A&M)
Jones, Mackenzie       10/18/2023     0.9   Call to align on MOR activities with R. Bruck and M. Jones (A&M)


Jones, Mackenzie       10/18/2023     2.7   Create Part 5 PDF output for MOR review process

Kuruvilla, Daniel      10/18/2023     2.4   Identify July account activity through review of banks statements for
                                            FTX entities
Kuruvilla, Daniel      10/18/2023     2.7   Identify June account activity through review of banks statements for
                                            WRS entities
Taraba, Erik           10/18/2023     0.3   Call to discuss professional fee payments for MOR with C. Broskay,
                                            E. Taraba, R. Bruck, and M. Jones (A&M)
Bruck, Ran             10/19/2023     0.2   Reconcile section 7 insider data with headcount tracker for April


Bruck, Ran             10/19/2023     1.2   Review section 7 data of the MOR template for May 2023

Bruck, Ran             10/19/2023     1.6   Review section 7 data of the MOR template for April 2023


Duncan, Ryan           10/19/2023     0.4   Review April and May MOR reconciliations to close outstanding
                                            variances in preparation for international team review
Duncan, Ryan           10/19/2023     0.4   Correspondence with FTX Japan and FTX Europe teams re: MOR
                                            reconciliations for April and May
Duncan, Ryan           10/19/2023     1.1   Finalize reconciliation of June accounts for MOR following new data
                                            receipt
Duncan, Ryan           10/19/2023     0.7   Prepare MOR statement request package for MOR development

Kearney, Kevin         10/19/2023     1.6   Review post-petition roll forward of tokens receivable balances for
                                            changes in token receipts
Kuruvilla, Daniel      10/19/2023     2.1   Identify closing account balances through review of banks
                                            statements for FTX Switzerland
Kuruvilla, Daniel      10/19/2023     1.3   Identify June account activity through review of banks statements for
                                            Alameda entities
Kuruvilla, Daniel      10/19/2023     1.8   Identify June account activity through review of banks statements for
                                            FTX Entities
Cooper, James          10/20/2023     0.5   Call with J. Cooper, D. Kuruvilla, R. Duncan (A&M) to discuss MOR
                                            reconciliation process updates
Dalgleish, Elizabeth   10/20/2023     1.1   Review and update the April 2023 MOR cash reconciliation for
                                            Europe
Duncan, Ryan           10/20/2023     0.3   Call with E. Taraba and R. Duncan (A&M) to discuss MOR
                                            reconciliation file organization for internal review
Duncan, Ryan           10/20/2023     1.2   Finalize and distribute April-May MOR reconciliations in preparation
                                            for internal review
Duncan, Ryan           10/20/2023     0.5   Call with J. Cooper, D. Kuruvilla, R. Duncan (A&M) to discuss MOR
                                            reconciliation process updates




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Court and UST Reporting
Professional                Date    Hours    Activity
Duncan, Ryan           10/20/2023     1.2   Review cash account balance variances for the month of April for
                                            MOR reconciliations
Duncan, Ryan           10/20/2023     0.4   Correspondence with FTX Japan and Europe teams regarding MOR
                                            reconciliation reviews for June-August 2023
Jones, Mackenzie       10/20/2023     1.9   Import initial April 2023 trial balances received into MOR template

Jones, Mackenzie       10/20/2023     0.8   Import initial May 2023 trial balances received into MOR template

Jones, Mackenzie       10/20/2023     0.9   Reconcile ending cash balances for April 2023 MOR


Kuruvilla, Daniel      10/20/2023     0.5   Call with J. Cooper, D. Kuruvilla, R. Duncan (A&M) to discuss MOR
                                            reconciliation process updates
Kuruvilla, Daniel      10/20/2023     1.4   Resolution of differences in cash balances compared to RLKS Trial
                                            balances for February
Kuruvilla, Daniel      10/20/2023     2.0   Reconcile August cash account balances for WRS Silo

Kuruvilla, Daniel      10/20/2023     2.4   Reconcile August cash account balances for FTX entities


Taraba, Erik           10/20/2023     0.3   Call with E. Taraba and R. Duncan (A&M) to discuss MOR
                                            reconciliation file organization for internal review
Taraba, Erik           10/20/2023     1.3   Review draft May MOR support schedule and identify outstanding
                                            items for reconciliation
Taraba, Erik           10/20/2023     1.4   Review draft April MOR support schedule and identify outstanding
                                            items for reconciliation
Taraba, Erik           10/20/2023     1.1   Review draft July MOR support schedule and identify outstanding
                                            items for reconciliation
Taraba, Erik           10/20/2023     1.2   Review draft June MOR support schedule and identify outstanding
                                            items for reconciliation
Taraba, Erik           10/20/2023     1.1   Review draft August MOR support schedule and identify outstanding
                                            items for reconciliation
Broskay, Cole          10/21/2023     0.3   Review UST feedback regarding MOR order for impact on MOR
                                            timing
Jones, Mackenzie       10/21/2023     1.8   Import May 2023 trial balances received into MOR template

Jones, Mackenzie       10/21/2023     0.6   Review MOR trial balance records received for completeness

Jones, Mackenzie       10/21/2023     0.6   Review ending balance variances for May 2023 MOR


Taraba, Erik           10/21/2023     0.9   Review feedback to questions from April-August MORs from team
                                            and reconcile to MOR schedules
Li, Summer             10/22/2023     1.1   Review of the MOR cash reconciliation in May for Quoine Pte


Simoneaux, Nicole      10/22/2023     2.9   Prepare September and October MOR tax reporting summary based
                                            on disbursement actuals




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Court and UST Reporting
Professional                Date    Hours    Activity
Broskay, Cole          10/23/2023     1.1   Conduct preliminary review of balance sheet and income statement
                                            activity for entities with submitted trial balances
Broskay, Cole          10/23/2023     0.6   Correspondence with RLKS regarding availability of remaining trial
                                            balance data for MORs
Broskay, Cole          10/23/2023     0.8   Meeting to review April 2023 MOR draft with C. Broskay, R. Bruck,
                                            M. Jones (A&M)
Broskay, Cole          10/23/2023     1.7   Review cash reconciliation workbooks for April

Bruck, Ran             10/23/2023     1.1   Reconcile trial balance data with cash disbursements attachment for
                                            April 2023
Bruck, Ran             10/23/2023     0.8   Reconcile trial balance data with cash disbursements attachment for
                                            May 2023
Bruck, Ran             10/23/2023     0.8   Meeting to review April 2023 MOR draft with C. Broskay, R. Bruck,
                                            M. Jones (A&M)
Bruck, Ran             10/23/2023     1.6   Meeting to draft May 2023 MOR with R. Bruck and M. Jones (A&M)

Bruck, Ran             10/23/2023     1.1   Review April 2023 outputs for MOR professional fees


Bruck, Ran             10/23/2023     0.6   Review May 2023 outputs for MOR professional fees

Duncan, Ryan           10/23/2023     0.4   Develop correspondence with accounting team regarding updated
                                            MOR reconciliations for the months of June-August
Duncan, Ryan           10/23/2023     0.9   Continue revision of May LCY reconciliations for MOR following FX
                                            rate data adjustment
Duncan, Ryan           10/23/2023     1.1   Review cash account variances for the month of May following
                                            accounting review
Duncan, Ryan           10/23/2023     1.2   Revise June-July MOR reconciliations with updated end of month
                                            May balances
Duncan, Ryan           10/23/2023     0.7   Revise August MOR reconciliations with updated end of month July
                                            balances
Duncan, Ryan           10/23/2023     1.6   Resolve balance variances to TB in June-August MOR
                                            reconciliations
Duncan, Ryan           10/23/2023     1.1   Amend May MOR reconciliation to reflect updated FX rate data

Jones, Mackenzie       10/23/2023     0.8   Meeting to review April 2023 MOR draft with C. Broskay, R. Bruck,
                                            M. Jones (A&M)
Jones, Mackenzie       10/23/2023     0.3   Review May 2023 asset sales and transaction data for MOR
                                            reporting
Jones, Mackenzie       10/23/2023     1.6   Meeting to draft May 2023 MOR with R. Bruck and M. Jones (A&M)

Jones, Mackenzie       10/23/2023     0.8   Roll forward April 2023 MOR template for upcoming filing


Jones, Mackenzie       10/23/2023     0.7   Update May 2023 MOR related to ending cash balances




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Court and UST Reporting
Professional                Date    Hours    Activity
Kuruvilla, Daniel      10/23/2023     0.8   Identify closing account balances through review of banks
                                            statements for FTX EU
Kuruvilla, Daniel      10/23/2023     3.1   Reconcile August cash account balances for Alameda entities


Kuruvilla, Daniel      10/23/2023     1.7   Reconcile cash account balance for FTX EU Ltd

Mosley, Ed             10/23/2023     0.9   Review of and prepare comments to draft September interim
                                            financial report
Broskay, Cole          10/24/2023     0.3   Teleconference with R. Gordon, C. Broskay(A&M) to discuss
                                            updates to the MOR filing schedule
Broskay, Cole          10/24/2023     0.7   Review newly provided entity data in MOR template

Bruck, Ran             10/24/2023     0.8   Reconcile data from MOR template with new trial balances from FTX
                                            for April
Bruck, Ran             10/24/2023     0.3   Call to discuss payroll data for March/April MORs with R. Bruck and
                                            M. Jones (A&M)
Bruck, Ran             10/24/2023     0.9   Reconcile data from MOR template with new trial balances from FTX
                                            for May
Bruck, Ran             10/24/2023     1.2   Review payroll data for April MOR relating to section 7 details

Bruck, Ran             10/24/2023     0.7   Research payroll data payments made in May 2023

Bruck, Ran             10/24/2023     1.1   Reconcile May payroll data with headcount per the MOR


Bruck, Ran             10/24/2023     1.2   Reconcile April payroll data with headcount per the MOR

Bruck, Ran             10/24/2023     0.8   Research payroll data payments made in April 2023


Gordon, Robert         10/24/2023     0.3   Teleconference with R. Gordon, C. Broskay(A&M) to discuss
                                            updates to the MOR filing schedule
Jones, Mackenzie       10/24/2023     0.3   Call to discuss payroll data for March/April MORs with R. Bruck and
                                            M. Jones (A&M)
Jones, Mackenzie       10/24/2023     0.7   Update April/May 2023 MOR for new trial balances received

Kuruvilla, Daniel      10/24/2023     2.6   Resolution of differences in cash balances compared to RLKS Trial
                                            balances for March
Kuruvilla, Daniel      10/24/2023     2.8   Reconcile cash account balance for FTX Japan


Simoneaux, Nicole      10/24/2023     1.4   Consolidate completed diligence tracker for IRS IDRs summons
                                            related to HR tax reporting
Simoneaux, Nicole      10/24/2023     1.4   Trace PEO benefit elections protocol for FTX US employees to fulfill
                                            a request for tax reporting
Simoneaux, Nicole      10/24/2023     0.3   Request expensify admin access to pull data related to IRS
                                            summons




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Court and UST Reporting
Professional                Date    Hours    Activity
Simoneaux, Nicole      10/24/2023     1.9   Prepare support for HR-related IRS IDRs summons

Broskay, Cole          10/25/2023     0.2   Internal team correspondence regarding timing of MOR data with
                                            MOR workstream
Broskay, Cole          10/25/2023     0.6   Meeting to review WRS silo summary deck with C. Broskay, R.
                                            Bruck, M. Jones (A&M)
Broskay, Cole          10/25/2023     0.6   Review Part 3 responses for April MOR

Broskay, Cole          10/25/2023     1.7   Review reconciliation of Part 5 payments to IFU from April/May
                                            MORs
Bruck, Ran             10/25/2023     0.6   Meeting to review WRS silo summary deck with C. Broskay, R.
                                            Bruck, M. Jones (A&M)
Bruck, Ran             10/25/2023     1.3   Review initial draft of all April 2023 MOR forms


Duncan, Ryan           10/25/2023     2.4   Develop April-May account balance summaries for monthly
                                            operating report
Jones, Mackenzie       10/25/2023     0.6   Meeting to review WRS silo summary deck with C. Broskay, R.
                                            Bruck, M. Jones (A&M)
Jones, Mackenzie       10/25/2023     0.4   Import new trial balances received from management team to MOR
                                            template
Kuruvilla, Daniel      10/25/2023     1.9   Identify closing account balances through review of banks
                                            statements for Liquid entities
Kuruvilla, Daniel      10/25/2023     1.8   Resolution of differences in cash balances compared to RLKS Trial
                                            balances for May
Kuruvilla, Daniel      10/25/2023     1.4   Resolution of differences in cash balances compared to RLKS Trial
                                            balances for April
Taraba, Erik           10/25/2023     0.6   Develop schedule of timing for MOR reporting per latest docket filing


Broskay, Cole          10/26/2023     2.1   Review Part 7 responses for submitted entities for April/May MOR

Bruck, Ran             10/26/2023     0.9   Reconcile section 3 of MOR with the IFU for May


Bruck, Ran             10/26/2023     0.8   Review section 6 of MOR template for April 2023 MOR

Bruck, Ran             10/26/2023     0.8   Reconcile section 3 of MOR with the IFU for April

Bruck, Ran             10/26/2023     0.7   Review section 6 of MOR template for May 2023 MOR


Bruck, Ran             10/26/2023     1.2   Review MOR draft for all entities as of April 2023

Bruck, Ran             10/26/2023     1.6   Review initial draft of all May 2023 MOR forms


Cooper, James          10/26/2023     0.8   Review and provide comments on cash section of MOR (May)




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Professional                Date    Hours    Activity
Cooper, James          10/26/2023     1.1   Review and provide comments on cash section of MOR (April)

Duncan, Ryan           10/26/2023     1.6   Meeting with D. Kuruvilla and R. Duncan (A&M) to investigate and
                                            correct April-May MOR variances to IFU data
Duncan, Ryan           10/26/2023     0.6   Amend April-May MOR reconciliations in response to international
                                            team review comments
Duncan, Ryan           10/26/2023     1.1   Amend February-March MOR reconciliation files to correct variances
                                            to IFU
Duncan, Ryan           10/26/2023     0.8   Source February-March MOR disbursement variances to IFU data


Duncan, Ryan           10/26/2023     0.4   Consolidate and transform September IFU disbursements data for
                                            use in September monthly operating report
Jones, Mackenzie       10/26/2023     0.9   Confirm that MOR cash disbursements are in alignment with IFU
                                            reports
Jones, Mackenzie       10/26/2023     0.9   Review docket items related to case dismissals

Jones, Mackenzie       10/26/2023     1.2   Aggregate IFU reports for comparison to MOR data


Kuruvilla, Daniel      10/26/2023     1.6   Meeting with D. Kuruvilla and R. Duncan (A&M) to investigate and
                                            correct April-May MOR variances to IFU data
Kuruvilla, Daniel      10/26/2023     2.7   Reconcile cash account balance for FTX Europe entities

Li, Summer             10/26/2023     2.4   Review of the MOR cash reconciliation for FTX Japan entities in
                                            June 2023
Li, Summer             10/26/2023     1.3   Review of the MOR cash reconciliation for FTX Japan entities in July
                                            2023
Broskay, Cole          10/27/2023     0.2   Correspondence with internal team regarding timeline for final review
                                            and filing of the MORs
Broskay, Cole          10/27/2023     0.5   Call to walk through April/May MOR drafts with C. Broskay, R.
                                            Bruck, M. Jones (A&M)
Broskay, Cole          10/27/2023     0.3   Call to discuss MOR cash reconciliation with C. Broskay, R. Bruck,
                                            M. Jones (A&M)
Broskay, Cole          10/27/2023     0.3   Correspondence with the RLKS team regarding status of MOR drafts

Broskay, Cole          10/27/2023     1.6   Review consolidating financial statement attachments for April/May
                                            MORs
Broskay, Cole          10/27/2023     0.2   Request missing TB data from FTX accounting team


Broskay, Cole          10/27/2023     1.3   Review revised cash reconciliation files for MOR package

Bruck, Ran             10/27/2023     0.3   Call to discuss MOR cash reconciliation with C. Broskay, R. Bruck,
                                            M. Jones (A&M)
Bruck, Ran             10/27/2023     0.5   Call to walk through April/May MOR drafts with C. Broskay, R.
                                            Bruck, M. Jones (A&M)




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Court and UST Reporting
Professional                Date    Hours    Activity
Bruck, Ran             10/27/2023     1.2   Reconcile MOR PDF drafts with financial attachments for April

Bruck, Ran             10/27/2023     1.5   Meeting to update MOR cash files with R. Bruck and M. Jones (A&M)


Bruck, Ran             10/27/2023     0.6   Prepare MOR fees draft procedure on BART system for April

Bruck, Ran             10/27/2023     0.8   Prepare MOR draft procedure on BART system for May

Bruck, Ran             10/27/2023     1.1   Prepare MOR draft procedure on BART system for April


Bruck, Ran             10/27/2023     1.3   Reconcile MOR PDF drafts with financial attachments for May

Bruck, Ran             10/27/2023     0.7   Prepare MOR fees draft procedure on BART system for May


Cooper, James          10/27/2023     0.5   Call with J. Cooper, D. Kuruvilla, and R. Duncan (A&M) to review
                                            April-May MOR balances summary
Cooper, James          10/27/2023     1.8   Review updates to April and May MOR cash sections


Dalgleish, Elizabeth   10/27/2023     0.8   Review and update the August 2023 MOR cash reconciliation for
                                            Europe
Dalgleish, Elizabeth   10/27/2023     0.7   Review and update the July 2023 MOR cash reconciliation for
                                            Europe
Dalgleish, Elizabeth   10/27/2023     0.8   Review and update the June 2023 MOR cash reconciliation for
                                            Europe
Duncan, Ryan           10/27/2023     0.5   Call with J. Cooper, D. Kuruvilla, and R. Duncan (A&M) to review
                                            April-May MOR balances summary
Duncan, Ryan           10/27/2023     0.8   Amend August MOR reconciliation file in response to review
                                            comments re: fx adjustments
Duncan, Ryan           10/27/2023     0.6   Amend June MOR reconciliation file in response to review
                                            comments re: fx adjustments
Duncan, Ryan           10/27/2023     1.1   Implement changes from international teams into June-August MOR
                                            reconciliations
Duncan, Ryan           10/27/2023     0.9   Amend July MOR reconciliation file in response to review comments
                                            re: fx adjustments
Duncan, Ryan           10/27/2023     1.2   Investigate and correct June-August MOR variance to IFU
                                            disbursement data
Duncan, Ryan           10/27/2023     1.1   Adjust May MOR balances to correct variance to trial balance


Duncan, Ryan           10/27/2023     0.9   Investigate February MOR disbursement variances to IFU data

Jones, Mackenzie       10/27/2023     0.5   Call to walk through April/May MOR drafts with C. Broskay, R.
                                            Bruck, M. Jones (A&M)
Jones, Mackenzie       10/27/2023     0.6   Import outstanding trial balance received from management team to
                                            MOR template




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Court and UST Reporting
Professional                Date    Hours    Activity
Jones, Mackenzie       10/27/2023     0.3   Call to discuss MOR cash reconciliation with C. Broskay, R. Bruck,
                                            M. Jones (A&M)
Jones, Mackenzie       10/27/2023     1.5   Meeting to update MOR cash files with R. Bruck and M. Jones (A&M)


Jones, Mackenzie       10/27/2023     0.3   Draft email to Debtors re: April/May 2023 MORs

Jones, Mackenzie       10/27/2023     0.7   Prepare May 2023 MOR support files for distribution

Jones, Mackenzie       10/27/2023     0.3   Review latest draft of the April 2023 MOR file


Jones, Mackenzie       10/27/2023     1.1   Prepare April 2023 MOR support files for distribution

Jones, Mackenzie       10/27/2023     0.6   Update April/May 2023 MOR support files for distribution


Jones, Mackenzie       10/27/2023     0.2   Review latest draft of the May 2023 MOR file

Kuruvilla, Daniel      10/27/2023     2.6   Identify closing account balances through review of banks
                                            statements for FTX Trading Ltd
Kuruvilla, Daniel      10/27/2023     0.5   Call with J. Cooper, D. Kuruvilla, and R. Duncan (A&M) to review
                                            April-May MOR balances summary
Kuruvilla, Daniel      10/27/2023     1.6   Apply account balance changes provided by Liquid A&M team

Li, Summer             10/27/2023     1.4   Review of the MOR cash reconciliation for FTX Japan in August 2023


Li, Summer             10/27/2023     1.9   Review of the MOR cash reconciliation for Quoine Pte in August
                                            2023
Taraba, Erik           10/27/2023     0.7   Coordinate with Cash and Accounting teams re: reconciliation of
                                            MORs for June through August
Taraba, Erik           10/27/2023     1.3   Review MORs for June through August and provide feedback

Cooper, James          10/28/2023     0.8   Review and provide comments to MOR bank balance listing
                                            schedules
Jones, Mackenzie       10/29/2023     1.2   Review current MOR drafts for April/May 2023 filing

Broskay, Cole          10/30/2023     0.6   Telephonic correspondence with FTX accounting team regarding
                                            disclosures required under coin monetization order
Broskay, Cole          10/30/2023     0.3   Call to discuss asset sales with R. Duncan, J. Cooper, C. Broskay,
                                            R. Bruck, M. Jones (A&M)
Broskay, Cole          10/30/2023     0.7   Call to discuss MOR filing timeline with C. Broskay, R. Bruck, M.
                                            Jones (A&M)
Broskay, Cole          10/30/2023     0.3   Teleconference with C. Broskay, R. Gordon(A&M) over updates to
                                            the May Global notes
Broskay, Cole          10/30/2023     1.4   Meeting to file May 2023 MORs with C. Broskay, R. Bruck, M. Jones
                                            (A&M)




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Court and UST Reporting
Professional                Date    Hours    Activity
Broskay, Cole          10/30/2023     0.2   Call related to updates on MOR sales C. Broskay, R. Bruck, M.
                                            Jones (A&M)
Broskay, Cole          10/30/2023     1.8   Meeting to file April 2023 MORs with C. Broskay, R. Bruck, M. Jones
                                            (A&M)
Broskay, Cole          10/30/2023     1.9   Conduct final review of complete MOR PDF drafts prior to distribution

Broskay, Cole          10/30/2023     0.4   Compile final version of MOR Global Notes

Bruck, Ran             10/30/2023     0.3   Call to discuss asset sales with R. Duncan, J. Cooper, C. Broskay,
                                            R. Bruck, M. Jones (A&M)
Bruck, Ran             10/30/2023     1.8   Meeting to file April 2023 MORs with C. Broskay, R. Bruck, M. Jones
                                            (A&M)
Bruck, Ran             10/30/2023     0.7   Call to discuss MOR filing timeline with C. Broskay, R. Bruck, M.
                                            Jones (A&M)
Bruck, Ran             10/30/2023     1.4   Meeting to file May 2023 MORs with C. Broskay, R. Bruck, M. Jones
                                            (A&M)
Bruck, Ran             10/30/2023     0.2   Call related to updates on MOR sales C. Broskay, R. Bruck, M.
                                            Jones (A&M)
Cooper, James          10/30/2023     0.3   Call to discuss asset sales with R. Duncan, J. Cooper, C. Broskay,
                                            R. Bruck, M. Jones (A&M)
Duncan, Ryan           10/30/2023     0.3   Call to discuss asset sales with R. Duncan, J. Cooper, C. Broskay,
                                            R. Bruck, M. Jones (A&M)
Duncan, Ryan           10/30/2023     2.2   Review stablecoin conversion schedule for variances to MOR cash
                                            asset transfer receipt data
Duncan, Ryan           10/30/2023     2.1   Investigate April-May balance summary variances to MOR
                                            reconciliation files
Duncan, Ryan           10/30/2023     0.3   Amend stablecoin conversion schedule in response to cash team
                                            review comments
Duncan, Ryan           10/30/2023     1.4   Amend April MOR receipt data to accurately reflect historical
                                            stablecoin transfers
Duncan, Ryan           10/30/2023     2.2   Investigate new June MOR reconciliation variances to prior
                                            disbursement data
Gordon, Robert         10/30/2023     0.3   Teleconference with C. Broskay, R. Gordon(A&M) over updates to
                                            the May Global notes
Jones, Mackenzie       10/30/2023     0.3   Call to discuss asset sales with R. Duncan, J. Cooper, C. Broskay,
                                            R. Bruck, M. Jones (A&M)
Jones, Mackenzie       10/30/2023     1.8   Meeting to file April 2023 MORs with C. Broskay, R. Bruck, M. Jones
                                            (A&M)
Jones, Mackenzie       10/30/2023     0.2   Call related to updates on MOR sales C. Broskay, R. Bruck, M.
                                            Jones (A&M)
Jones, Mackenzie       10/30/2023     0.7   Call to discuss MOR filing timeline with C. Broskay, R. Bruck, M.
                                            Jones (A&M)
Jones, Mackenzie       10/30/2023     1.4   Meeting to file May 2023 MORs with C. Broskay, R. Bruck, M. Jones
                                            (A&M)




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Court and UST Reporting
Professional                 Date    Hours     Activity
Jones, Mackenzie        10/30/2023      0.2   Review final MOR versions submitted to counsel

Jones, Mackenzie        10/30/2023      0.6   Reconcile April 2023 MOR PDFs to source data


Jones, Mackenzie        10/30/2023      1.1   Tie out ending bank balances file to MOR data

Jones, Mackenzie        10/30/2023      1.8   Submit April 2023 MORs to court filing process

Jones, Mackenzie        10/30/2023      0.6   Reconcile May 2023 MOR PDFs to various data sources


Jones, Mackenzie        10/30/2023      0.4   Prepare tracker for documentation of MOR filing process

Kearney, Kevin          10/30/2023      0.9   Review post-petition information provided by NAV for LedgerPrime
                                              to roll forward petition take crypto balances
Kuruvilla, Daniel       10/30/2023      2.0   Apply account balance changes provided by Europe A&M team

Simoneaux, Nicole       10/30/2023      2.1   Review monthly disbursements and PEO invoices for MOR tax
                                              breakout
Taraba, Erik            10/30/2023      0.9   Update schedule of stablecoin conversions with summary by legal
                                              entity and token type
Taraba, Erik            10/30/2023      2.8   Develop schedule of stablecoin conversions to-date by token type
                                              and chain type
Taraba, Erik            10/30/2023      1.4   Develop schedule of stablecoin conversions to-date for reconciliation
                                              to MORs
Broskay, Cole           10/31/2023      0.4   Correspondence with MOR workstream regarding final approval and
                                              submission of MORs
Bruck, Ran              10/31/2023      0.3   Call to review WRS silo summary deck with C. Broskay, M. Jones,
                                              R. Bruck (A&M)
Bruck, Ran              10/31/2023      1.6   Review WRS founding documentation on relativity

Duncan, Ryan            10/31/2023      1.1   Update June MOR reconciliation file to reflect updated May EOM
                                              cash balances
Jones, Mackenzie        10/31/2023      0.6   Roll forward latest MOR template for next round of filings

Kuruvilla, Daniel       10/31/2023      2.9   Compare RLKS trial balances to FTX Cash reconciliation

Witherspoon, Samuel     10/31/2023      1.3   Review MOR data inputs for May - June MOR filings



Subtotal                              683.7

Creditor Cooperation
Professional                 Date    Hours     Activity
Sullivan, Christopher    10/1/2023      2.3   Respond to UCC separate subsidiaries questions



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Creditor Cooperation
Professional              Date     Hours    Activity
Cooper, James          10/2/2023     0.8   Review and provide comments on responses to UCC cash diligence
                                           questions
Cooper, James          10/2/2023     0.3   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M) B.
                                           Bromberg, M. Dawson, M. Gray, and D. Sveen (FTI) re: weekly cash
                                           flow reporting updates to UCC
Coverick, Steve        10/2/2023     0.3   Discussion with S.Coverick (A&M) regarding upcoming JPL meeting


Duncan, Ryan           10/2/2023     0.3   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M) B.
                                           Bromberg, M. Dawson, M. Gray, and D. Sveen (FTI) re: weekly cash
                                           flow reporting updates to UCC
Mosley, Ed             10/2/2023     0.3   Discussion with S.Coverick (A&M) regarding upcoming JPL meeting

Taraba, Erik           10/2/2023     0.6   Prepare notes for upcoming call with UCC advisors re: weekly cash
                                           variance report
Taraba, Erik           10/2/2023     0.3   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M) B.
                                           Bromberg, M. Dawson, M. Gray, and D. Sveen (FTI) re: weekly cash
                                           flow reporting updates to UCC
Trent, Hudson          10/2/2023     2.3   Process comments from E. Mosely (A&M) on October Stakeholder
                                           update materials
Trent, Hudson          10/2/2023     1.7   Prepare customer claims summary for inclusion in creditor update
                                           materials
Walia, Gaurav          10/2/2023     1.8   Prepare an updated US user exchange activity model to reflect the
                                           latest update to methodology
Walia, Gaurav          10/2/2023     2.7   Prepare an updated COM user exchange activity model to reflect the
                                           latest update to methodology
Walia, Gaurav          10/2/2023     2.8   Prepare a template of customer count figures for the various user
                                           exchange analysis time periods
Walia, Gaurav          10/2/2023     2.4   Prepare a summary illustrative support schedule of the impact of the
                                           proposed policy
Walia, Gaurav          10/2/2023     1.1   Review the updated preference analysis shared with FTI and provide
                                           feedback
Walia, Gaurav          10/2/2023     2.9   Prepare a template of the user exchange analysis output to be
                                           shared
Walia, Gaurav          10/2/2023     1.1   Prepare an open issues list to support the presentation


Callerio, Lorenzo      10/3/2023     0.2   Meeting with F. Risler and others (FTI), K. Ramanathan, G. Walia
                                           and L. Callerio (A&M) re: weekly crypto update
Callerio, Lorenzo      10/3/2023     0.5   Participate in a call with C. Delo, L. Munoz (Rothschild), K. Cofsky
                                           and others (FTI), K. Ramanathan and L. Callerio (A&M) re:
                                           preference analysis and creditor meetings
Coverick, Steve        10/3/2023     0.8   Prepare outline of 9/11 creditor meeting presentation

Duncan, Ryan           10/3/2023     0.2   Call with E. Taraba and R. Duncan (A&M) re: diligence analysis
                                           requested by UCC advisors
Duncan, Ryan           10/3/2023     1.1   Develop IT disbursement analysis for UCC diligence request



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Creditor Cooperation
Professional               Date     Hours    Activity
Ramanathan, Kumanan     10/3/2023     0.2   Meeting with F. Risler and others (FTI), K. Ramanathan, G. Walia
                                            and L. Callerio (A&M) re: weekly crypto update
Ramanathan, Kumanan     10/3/2023     0.5   Participate in a call with C. Delo, L. Munoz (Rothschild), K. Cofsky
                                            and others (FTI), K. Ramanathan and L. Callerio (A&M) re:
                                            preference analysis and creditor meetings
Taraba, Erik            10/3/2023     0.2   Call with E. Taraba and R. Duncan (A&M) re: diligence analysis
                                            requested by UCC advisors
Taraba, Erik            10/3/2023     1.9   Develop schedule of case-to-date IT vendor payments per request
                                            from UCC advisors
Trent, Hudson           10/3/2023     1.4   Prepare summary table of open Plan term sheet issues for purposes
                                            of ongoing creditor discussions
Walia, Gaurav           10/3/2023     0.4   Review the updated preference file with the updated jurisdiction flag
                                            to share with FTI
Walia, Gaurav           10/3/2023     0.4   Review the preference analysis prepared for a certain customer and
                                            provide feedback
Walia, Gaurav           10/3/2023     0.8   Prepare a list of tickers with missing prices to share with FTI


Walia, Gaurav           10/3/2023     2.8   Prepare summary responses to several diligence questions from FTI

Coverick, Steve         10/4/2023     0.6   Call with S. Coverick, C. Sullivan & H. Trent (A&M) to discuss
                                            updates to proposed October creditor meeting materials
Duncan, Ryan            10/4/2023     0.7   Update IT invoice summary for UCC reporting

Duncan, Ryan            10/4/2023     1.6   Develop invoice summary of IT payments for UCC reporting


Mosley, Ed              10/4/2023     1.9   Review of and prepare comments to updated materials for UCC and
                                            Ad Hoc group regarding FTX Europe entities financial and legal
                                            options
Sullivan, Christopher   10/4/2023     0.6   Call with S. Coverick, C. Sullivan & H. Trent (A&M) to discuss
                                            updates to proposed October creditor meeting materials
Sullivan, Christopher   10/4/2023     0.7   Review Celsius disclosure statement for various case comparisons
                                            to prepare for creditor negotiations
Sullivan, Christopher   10/4/2023     0.2   Provide additional commentary regarding responses to the UCC
                                            advisors
Sullivan, Christopher   10/4/2023     0.7   Incorporate AHC comments into upcoming creditor materials


Taraba, Erik            10/4/2023     0.6   Review schedule of IT services by month requested by UCC
                                            advisors and provide comments/feedback
Taraba, Erik            10/4/2023     0.7   Review updated interest income forecast schedule requested by
                                            UCC advisors and provide feedback
Trent, Hudson           10/4/2023     0.6   Call with S. Coverick, C. Sullivan & H. Trent (A&M) to discuss
                                            updates to proposed October creditor meeting materials
Trent, Hudson           10/4/2023     2.6   Prepare scenario variance analysis comparing creditor proposed
                                            scenarios and the Debtors' Plan
Trent, Hudson           10/4/2023     1.3   Incorporate feedback from AHC into Open Plan Issues materials for
                                            purposes of managing ongoing discussions with creditors

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                                  FTX Trading Ltd., et al.,
                           Time Detail by Activity by Professional
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Creditor Cooperation
Professional               Date     Hours    Activity
Duncan, Ryan            10/5/2023     0.3   Amend IT disbursement summary in response to review comments
                                            from cash management team
Ramanathan, Kumanan     10/5/2023     0.8   Review and correspond with FTI re: unauthorized transfer funds on-
                                            chain tracing
Ramanathan, Kumanan     10/5/2023     0.6   Call with J. Ray (FTX), L. Dong and others (UCC), E. Gilad and
                                            others (PH), A. Dietderich and others (S&C), B. Bromberg and
                                            others (FTI), and K. Cofsky and others (PWP) to discuss FTX 2.0
                                            matters
Taraba, Erik            10/5/2023     0.9   Develop summary schedule of IT spend by service in response to
                                            inquiry from UCC advisors
Taraba, Erik            10/5/2023     0.9   Review IT vendor diligence analysis prepared by liquidity team and
                                            provide comments for changes
Walia, Gaurav           10/5/2023     0.4   Review a data request from Rothschild and provide feedback


Coverick, Steve         10/6/2023     0.6   Call with G. Walia, S. Coverick, K. Ramanathan (A&M), L. Munoz
                                            and others (Rothschild), S. Simms, M. Diaz and others (FTI) to
                                            discuss plan recovery and preference sensitivity
Duncan, Ryan            10/6/2023     1.6   Amend IT disbursement summary for UCC request to include newly
                                            received data
Duncan, Ryan            10/6/2023     0.4   Call with E. Taraba, R. Duncan (A&M) and R. Perubhatla (FTX) to
                                            discuss historical utilization of IT services re: UCC request
Johnston, David         10/6/2023     0.4   Coordinate distributions of materials relating to Europe to UCC

Mosley, Ed              10/6/2023     0.6   Review of UCC diligence items in response to questions regarding
                                            tokens and unlock schedules
Ramanathan, Kumanan     10/6/2023     0.6   Call with G. Walia, S. Coverick, K. Ramanathan (A&M), L. Munoz
                                            and others (Rothschild), S. Simms, M. Diaz and others (FTI) to
                                            discuss plan recovery and preference sensitivity
Sullivan, Christopher   10/6/2023     1.3   Respond to additional diligence questions from Rothschild

Sullivan, Christopher   10/6/2023     1.2   Provide detailed comments to the October creditor materials


Taraba, Erik            10/6/2023     1.2   Review IT diligence analysis and update with refined assumptions

Taraba, Erik            10/6/2023     0.9   Update IT diligence analysis with outputs from call with Company IT
                                            team
Taraba, Erik            10/6/2023     0.6   Develop structure of case-to-date cash flows per request from UCC
                                            advisors
Taraba, Erik            10/6/2023     0.4   Call with E. Taraba, R. Duncan (A&M) and R. Perubhatla (FTX) to
                                            discuss historical utilization of IT services re: UCC request
Trent, Hudson           10/6/2023     1.3   Prepare customer claims status update for inclusion in October
                                            creditor update materials
Walia, Gaurav           10/6/2023     0.8   Prepare an additional output of the preference materials in response
                                            to a data request
Coverick, Steve         10/7/2023     0.1   Call with E. Mosley (A&M) to discuss creditor meeting materials



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                                 FTX Trading Ltd., et al.,
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Creditor Cooperation
Professional               Date    Hours    Activity
Coverick, Steve        10/7/2023     2.8   Discussion with H. Trent, S. Coverick (A&M) to reconcile / validate
                                           changes to plan recovery presentation for creditor meetings
Coverick, Steve        10/7/2023     2.7   Discussion with H. Trent, S. Coverick (A&M) to reconcile / validate
                                           changes to creditor meeting materials re: governance and asset
                                           marshalling
Gonzalez, Johnny       10/7/2023     1.1   Discussion with C. Sullivan J. Gonzalez, S. Witherspoon & T.
                                           Ribman (A&M) to update proposed creditor materials per
                                           commentary from J. Ray (FTX) and S&C
Mosley, Ed             10/7/2023     0.1   Call with S.Coverick (A&M) to discuss creditor meeting materials

Ribman, Tucker         10/7/2023     1.1   Discussion with C. Sullivan J. Gonzalez, S. Witherspoon & T.
                                           Ribman (A&M) to update proposed creditor materials per
                                           commentary from J. Ray (FTX) and S&C
Trent, Hudson          10/7/2023     2.8   Discussion with H. Trent, S. Coverick (A&M) to reconcile / validate
                                           changes to plan recovery presentation for creditor meetings
Trent, Hudson          10/7/2023     2.7   Discussion with H. Trent, S. Coverick (A&M) to reconcile / validate
                                           changes to creditor meeting materials re: governance and asset
                                           marshalling
Coverick, Steve        10/8/2023     2.7   Review and provide comments on latest draft of plan recovery
                                           materials for upcoming creditor meeting
Coverick, Steve        10/8/2023     0.2   Call with D Lewandowski, S Coverick, K Ramanathan and R
                                           Esposito (A&M) to discuss Ad hoc claims diligence
Coverick, Steve        10/8/2023     2.8   Call with H. Trent, S. Coverick (A&M) re: updates to plan recovery
                                           presentation for creditor meeting
Coverick, Steve        10/8/2023     2.6   Review and provide comments on latest draft of preference
                                           materials for upcoming creditor meeting
Coverick, Steve        10/8/2023     0.3   Call with E. Mosley, S. Coverick (A&M) to discuss UCC feedback on
                                           preference analysis
Coverick, Steve        10/8/2023     1.0   Call with S. Coverick, E. Mosley, G. Walia, K. Ramanathan (A&M),
                                           and M. Diaz, B. Bromberg (FTI) to discuss user exchange analysis
                                           assumptions
Coverick, Steve        10/8/2023     0.2   Discuss edits to plan recovery analysis presentation for creditor
                                           meeting with A. Dietderich (S&C)
Esposito, Rob          10/8/2023     0.2   Call with D Lewandowski, S Coverick, K Ramanathan and R
                                           Esposito (A&M) to discuss Ad hoc claims diligence
Esposito, Rob          10/8/2023     0.2   Call with D Lewandowski and R Esposito (A&M) to discuss the
                                           creditor requests
Esposito, Rob          10/8/2023     1.4   Review of Ad Hoc customer account data to prepare summary for
                                           claims tear sheets
Esposito, Rob          10/8/2023     0.3   Review of creditor requests to coordinate teams tasks for responses

Esposito, Rob          10/8/2023     0.2   Discuss Ad Hoc claims with D Lewandowski and R Esposito (A&M)


Gordon, Robert         10/8/2023     0.6   Review analysis on FTL intercompany for UCC request

Lewandowski, Douglas   10/8/2023     0.2   Call with D Lewandowski, S Coverick, K Ramanathan and R
                                           Esposito (A&M) to discuss Ad hoc claims diligence

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Creditor Cooperation
Professional                Date    Hours    Activity
Lewandowski, Douglas    10/8/2023     0.2   Discuss Ad Hoc claims with D Lewandowski and R Esposito (A&M)

Lewandowski, Douglas    10/8/2023     0.2   Call with D Lewandowski and R Esposito (A&M) to discuss the
                                            creditor requests
Mosley, Ed              10/8/2023     0.3   Call with E. Mosley, S. Coverick (A&M) to discuss UCC feedback on
                                            preference analysis
Ramanathan, Kumanan     10/8/2023     1.0   Call with S. Coverick, E. Mosley, G. Walia, K. Ramanathan (A&M),
                                            and M. Diaz, B. Bromberg (FTI) to discuss user exchange analysis
                                            assumptions
Sullivan, Christopher   10/8/2023     2.3   Create additional IC scenarios and their effect on creditor recoveries
                                            per request from the UCC
Sullivan, Christopher   10/8/2023     2.8   Prepare IC analysis per request from the UCC

Sullivan, Christopher   10/8/2023     1.4   Respond to diligence questions from Rothschild

Trent, Hudson           10/8/2023     2.8   Call with H. Trent, S. Coverick (A&M) re: updates to plan recovery
                                            presentation for creditor meeting
Trent, Hudson           10/8/2023     1.6   Prepare updated customer entitlements visual for inclusion in
                                            creditor update materials
Trent, Hudson           10/8/2023     1.3   Prepare summary of changes to Plan analysis for purposes of
                                            providing to creditors
Trent, Hudson           10/8/2023     1.3   Incorporate comments to creditor update materials from J. Ray (FTX)

Cooper, James           10/9/2023     0.5   Call with J. Cooper and E. Taraba (A&M) re: finalization of IT
                                            diligence analysis requested by UCC advisors
Cooper, James           10/9/2023     0.3   Review proposed responses to UCC advisors re: cash flow cost
                                            category request
Cooper, James           10/9/2023     0.2   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M), M. Gray,
                                            M. Dawson, D. Sveen, and B. Bromberg (FTI) re: weekly cash flow
                                            reporting to UCC
Coverick, Steve         10/9/2023     0.2   Call with J. Ray (FTX), J. Cooper, C. Sullivan, S. Coverick (A&M) re:
                                            UCC request on intercompany balances
Coverick, Steve         10/9/2023     0.5   Call with E. Mosley, S. Coverick, K. Ramanathan, G. Walia (A&M)
                                            re: AHC claim tear sheets
Coverick, Steve         10/9/2023     1.1   Review and provide comments on AHC claim tearsheet presentation


Coverick, Steve         10/9/2023     0.6   Call with C. Delo and others (Rothschild), S. Coverick, K.
                                            Ramanathan, C. Sullivan, H.Trent (A&M) re: plan and preference
                                            materials for 10/11 meeting
Duncan, Ryan            10/9/2023     0.2   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M), M. Gray,
                                            M. Dawson, D. Sveen, and B. Bromberg (FTI) re: weekly cash flow
                                            reporting to UCC
Mosley, Ed              10/9/2023     1.6   Review of and provide comments to 10/9 updated creditor meeting
                                            presentation
Ramanathan, Kumanan     10/9/2023     0.2   Call with F. Risler (FTI) to discuss staking and token monetization



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Creditor Cooperation
Professional                 Date    Hours    Activity
Ramanathan, Kumanan      10/9/2023     0.4   Call with J. Kang, S. Crotty and others (Rothschild), S. Coverick, C.
                                             Sullivan, G. Walia, K. Ramanathan (A&M) to discuss user exchange
                                             analysis
Slay, David              10/9/2023     0.2   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M), M. Gray,
                                             M. Dawson, D. Sveen, and B. Bromberg (FTI) re: weekly cash flow
                                             reporting to UCC
Sullivan, Christopher    10/9/2023     1.2   Create summary waterfall with various scenarios to respond to
                                             creditor diligence questions
Sullivan, Christopher    10/9/2023     2.1   Prepare responses for diligence questions from Rothschild for Plan
                                             related questions
Sullivan, Christopher    10/9/2023     0.7   Provide comments to latest materials prepared for the creditor Plan
                                             discussions
Sullivan, Christopher    10/9/2023     0.4   Respond to inquiries from J. Ray (FTX) on the IC analysis prepared
                                             for the UCC
Sullivan, Christopher    10/9/2023     0.8   Review updates to creditor materials per commentary from E.
                                             Mosely (A&M)
Sullivan, Christopher    10/9/2023     0.6   Final review of Plan materials to be provided during creditor
                                             discussions
Sullivan, Christopher    10/9/2023     0.7   Final review of case materials to be provided during creditor
                                             discussions
Sullivan, Christopher    10/9/2023     0.4   Call with J. Kang, S. Crotty and others (Rothschild), S. Coverick, C.
                                             Sullivan, G. Walia, K. Ramanathan (A&M) to discuss user exchange
                                             analysis
Taraba, Erik             10/9/2023     0.5   Call with J. Cooper and E. Taraba (A&M) re: finalization of IT
                                             diligence analysis requested by UCC advisors
Taraba, Erik             10/9/2023     0.2   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M), M. Gray,
                                             M. Dawson, D. Sveen, and B. Bromberg (FTI) re: weekly cash flow
                                             reporting to UCC
Trent, Hudson            10/9/2023     0.4   Correspond with J. Ray (FTX), A. Dietderich and others (S&C)
                                             regarding status of Plan and creditor update materials
Trent, Hudson            10/9/2023     1.4   Incorporate additional commentary updates from PWP in creditor
                                             update materials
Trent, Hudson            10/9/2023     0.9   Incorporate Preference settlement analysis materials into creditor
                                             update deck
Trent, Hudson            10/9/2023     0.6   Call with C. Delo and others (Rothschild), S. Coverick, K.
                                             Ramanathan, C. Sullivan, H. Trent (A&M) re: plan and preference
                                             materials for 10/11 meeting
Walia, Gaurav            10/9/2023     1.7   Prepare an updated user exchange analysis summary file to share
                                             with Rothschild
Walia, Gaurav            10/9/2023     1.6   Prepare additional summary tables in response to a request from
                                             Rothschild
Witherspoon, Samuel      10/9/2023     0.8   Analyze UCC advisor assumptions on priority recovery waterfall


Callerio, Lorenzo       10/10/2023     0.3   Participate in a meeting with PWP (B. Mendelsohn, K. Cofsky, M.
                                             Rahmani), Rothschild (C. Delo, C. Crotty) and A&M (E. Mosley, S.
                                             Coverick, K. Ramanathan, G. Walia, C. Sullivan and L. Callerio) re:
                                             preference analysis update


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Creditor Cooperation
Professional                 Date    Hours    Activity
Coverick, Steve         10/10/2023     0.4   Call with J. Kang, S. Crotty and others (Rothschild), S. Coverick, C.
                                             Sullivan, G. Walia, K. Ramanathan (A&M) to discuss user exchange
                                             analysis
Coverick, Steve         10/10/2023     0.3   Participate in a meeting with PWP (B. Mendelsohn, K. Cofsky, M.
                                             Rahmani), Rothschild (C. Delo, C. Crotty) and A&M (E. Mosley, S.
                                             Coverick, K. Ramanathan, G. Walia, C. Sullivan, L. Callerio) re:
                                             preference analysis update and agenda for the creditor meetin
Esposito, Rob           10/10/2023     0.3   Discuss Ad Hoc committee requests with D Lewandowski and R
                                             Esposito (A&M)
Esposito, Rob           10/10/2023     0.4   Review of claims data related to Ad Hoc committee requests


Lewandowski, Douglas    10/10/2023     0.3   Discuss Ad Hoc committee requests with D Lewandowski and R
                                             Esposito (A&M)
Mosley, Ed              10/10/2023     0.3   Participate in a meeting with PWP (B. Mendelsohn, K. Cofsky, M.
                                             Rahmani), Rothschild (C. Delo, C. Crotty) and A&M (E. Mosley, S.
                                             Coverick, K. Ramanathan, G. Walia, C. Sullivan, L. Callerio) re:
                                             preference analysis update and agenda for the creditor meetin
Ramanathan, Kumanan     10/10/2023     0.1   Call with M. Diodato, J. De Brignac (FTI) to discuss crypto-related
                                             updates
Ramanathan, Kumanan     10/10/2023     0.4   Call with J. Kang, S. Crotty and others (Rothschild), S. Coverick, C.
                                             Sullivan, G. Walia, K. Ramanathan (A&M) to discuss user exchange
                                             analysis
Ramanathan, Kumanan     10/10/2023     0.3   Participate in a meeting with PWP (B. Mendelsohn, K. Cofsky, M.
                                             Rahmani), Rothschild (C. Delo, C. Crotty) and A&M (E. Mosley, S.
                                             Coverick, K. Ramanathan, G. Walia, C. Sullivan, L. Callerio) re:
                                             preference analysis update and agenda for the creditor meetin
Ribman, Tucker          10/10/2023     0.3   Discuss updates to the creditor presentations with A&M (S.Coverick,
                                             T.Ribman, H.Trent, E.Mosley)
Sullivan, Christopher   10/10/2023     2.3   Create supplemental materials for creditor meetings


Trent, Hudson           10/10/2023     0.3   Discuss updates to the creditor presentations with A&M (S.
                                             Coverick, T. Ribman, H. Trent, E. Mosley)
Trent, Hudson           10/10/2023     1.2   Review materials summarizing specific creditor recoveries for
                                             discussion purposes in creditor meetings
Trent, Hudson           10/10/2023     1.7   Review sensitivity of customer priority for discussion purposes in
                                             creditor meetings
Trent, Hudson           10/10/2023     0.8   Prepare analysis of additional Plan scenarios for discussion in
                                             creditor meetings
Trent, Hudson           10/10/2023     2.6   Prepare supplemental Plan analyses displaying sensitivities in
                                             claims impact on customer recoveries for creditor meetings
Walia, Gaurav           10/10/2023     1.7   Prepare an updated user exchange file based on additional
                                             requested summaries by Rothschild
Walia, Gaurav           10/10/2023     0.2   Call with S. Crotty (Rothschild) to discuss latest preference file


Walia, Gaurav           10/10/2023     0.3   Participate in a meeting with PWP (B. Mendelsohn, K. Cofsky, M.
                                             Rahmani), Rothschild (C. Delo, C. Crotty) and A&M (E. Mosley, S.
                                             Coverick, K. Ramanathan, G. Walia, C. Sullivan, L. Callerio) re:
                                             preference analysis update and agenda for the creditor meetin

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                                  FTX Trading Ltd., et al.,
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Creditor Cooperation
Professional                Date    Hours    Activity
Cooper, James          10/11/2023     0.5   Review and provide comments re: UCC cash flow diligence requests

Coverick, Steve        10/11/2023     2.7   Participate in morning session regarding open Plan Term Sheet
                                            issues with MNAT, Entwistle, FTI, Eversheds, Rothschild, Jefferies,
                                            PH, various AHC and UCC members, S&C, PWP, E. Mosley, S.
                                            Coverick, K. Ramanathan, R. Esposito, and H. Trent (A&M)
Coverick, Steve        10/11/2023     1.1   Call regarding open Plan Term Sheet issues at creditor meetings
                                            with J. Ray (FTX), A. Dietderich and others (S&C), K. Cofsky and
                                            others (PWP), E. Mosley, S. Coverick, and H. Trent (A&M)
Coverick, Steve        10/11/2023     1.2   Discuss creditor group proposals for open Plan issues with A.
                                            Dietderich and others (S&C), K. Cofsky (PWP), E. Mosley, S.
                                            Coverick, K. Ramanathan, R. Esposito, and H. Trent (A&M)
Coverick, Steve        10/11/2023     0.9   Call regarding JPL structure at creditor meetings with J. Ray (FTX),
                                            A. Dietderich and others (S&C), C. Delo and others (AHC), S.
                                            Simms and others (UCC), E. Mosley, S. Coverick, K. Ramanathan,
                                            R. Esposito, H. Trent (A&M)
Coverick, Steve        10/11/2023     2.2   Discussion regarding status of open Plan issues following breakout
                                            sessions at creditor meetings with J. Ray (FTX), A. Dietderich
                                            (S&C), C. Delo (AHC), S. Simms (UCC), E. Mosley, S. Coverick, K.
                                            Ramanathan, R. Esposito, H. Trent (A&M)
Esposito, Rob          10/11/2023     1.7   Review of claims data to prepare for claims discussion in creditor
                                            meetings
Esposito, Rob          10/11/2023     0.6   Review of plan presentation materials for creditor meetings

Esposito, Rob          10/11/2023     0.9   Call regarding JPL structure at creditor meetings with J. Ray (FTX),
                                            A. Dietderich and others (S&C), C. Delo and others (AHC), S.
                                            Simms and others (UCC), E. Mosley, S. Coverick, K. Ramanathan,
                                            R. Esposito, H. Trent (A&M)
Esposito, Rob          10/11/2023     1.2   Discuss creditor group proposals for open Plan issues with A.
                                            Dietderich and others (S&C), K. Cofsky (PWP), E. Mosley, S.
                                            Coverick, K. Ramanathan, R. Esposito, and H. Trent (A&M)
Esposito, Rob          10/11/2023     2.7   Participate in morning session regarding open Plan Term Sheet
                                            issues with MNAT, Entwistle, FTI, Eversheds, Rothschild, Jefferies,
                                            PH, various AHC and UCC members, S&C, PWP, E. Mosley, S.
                                            Coverick, K. Ramanathan, R. Esposito, and H. Trent (A&M)
Esposito, Rob          10/11/2023     2.2   Discussion regarding status of open Plan issues following breakout
                                            sessions at creditor meetings with J. Ray (FTX), A. Dietderich
                                            (S&C), C. Delo and others (AHC), S. Simms and others (UCC), E.
                                            Mosley, S. Coverick, K. Ramanathan, R. Esposito, H Trent
Mosley, Ed             10/11/2023     1.1   Call regarding open Plan Term Sheet issues at creditor meetings
                                            with J. Ray (FTX), A. Dietderich and others (S&C), K. Cofsky and
                                            others (PWP), E. Mosley, S. Coverick, and H. Trent (A&M)
Mosley, Ed             10/11/2023     0.9   Call regarding JPL structure at creditor meetings with J. Ray (FTX),
                                            A. Dietderich and others (S&C), C. Delo and others (AHC), S.
                                            Simms and others (UCC), E. Mosley, S. Coverick, K. Ramanathan,
                                            R. Esposito, H. Trent (A&M)
Mosley, Ed             10/11/2023     1.2   Discuss creditor group proposals for open Plan issues with A.
                                            Dietderich and others (S&C), K. Cofsky (PWP), E. Mosley, S.
                                            Coverick, K. Ramanathan, R. Esposito, and H. Trent (A&M)



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Creditor Cooperation
Professional                 Date    Hours    Activity
Mosley, Ed              10/11/2023     2.7   Participate in morning session regarding open Plan Term Sheet
                                             issues with MNAT, Entwistle, FTI, Eversheds, Rothschild, Jefferies,
                                             PH, various AHC and UCC members, S&C, PWP, E. Mosley, S.
                                             Coverick, K. Ramanathan, R. Esposito, and H. Trent (A&M)
Mosley, Ed              10/11/2023     2.2   Discussion regarding status of open Plan issues following breakout
                                             sessions at creditor meetings with J. Ray (FTX), A. Dietderich
                                             (S&C), C. Delo (AHC), S. Simms (UCC), E. Mosley, S. Coverick, K.
                                             Ramanathan, R. Esposito, H. Trent (A&M)
Ramanathan, Kumanan     10/11/2023     2.7   Participate in morning session regarding open Plan Term Sheet
                                             issues with MNAT, Entwistle, FTI, Eversheds, Rothschild, Jefferies,
                                             PH, various AHC and UCC members, S&C, PWP, E. Mosley, S.
                                             Coverick, K. Ramanathan, R. Esposito, and H. Trent (A&M)
Ramanathan, Kumanan     10/11/2023     1.2   Discuss creditor group proposals for open Plan issues with A.
                                             Dietderich and others (S&C), K. Cofsky (PWP), E. Mosley, S.
                                             Coverick, K. Ramanathan, R. Esposito, and H. Trent (A&M)
Ramanathan, Kumanan     10/11/2023     0.9   Call regarding JPL structure at creditor meetings with J. Ray (FTX),
                                             A. Dietderich and others (S&C), C. Delo and others (AHC), S.
                                             Simms and others (UCC), E. Mosley, S. Coverick, K. Ramanathan,
                                             R. Esposito, H. Trent (A&M)
Ramanathan, Kumanan     10/11/2023     2.2   Discussion regarding status of open Plan issues following breakout
                                             sessions at creditor meetings with J. Ray (FTX), A. Dietderich
                                             (S&C), C. Delo (AHC), S. Simms (UCC), E. Mosley, S. Coverick, K.
                                             Ramanathan, R. Esposito, H. Trent (A&M)
Sullivan, Christopher   10/11/2023     0.6   Call with C. Sullivan, S. Witherspoon & H. Trent (A&M) to make
                                             revisions to the October creditor meeting materials
Sullivan, Christopher   10/11/2023     0.2   Coordinate with other A&M teams to respond to further diligence
                                             questions from PwC
Sullivan, Christopher   10/11/2023     0.2   Review asset summary created to respond to JPL (PwC) data
                                             request
Sullivan, Christopher   10/11/2023     0.4   Review updated open items list for creditors Plan open issues


Sullivan, Christopher   10/11/2023     2.4   Update creditor materials for ongoing Plan negotiations

Sullivan, Christopher   10/11/2023     1.8   Call with C. Sullivan & S. Witherspoon (A&M) to make adjustments
                                             to various scenarios for ongoing creditor negotiations
Taraba, Erik            10/11/2023     0.6   Respond to questions from UCC advisors re: IT spend


Trent, Hudson           10/11/2023     0.6   Call with C. Sullivan, S. Witherspoon & H. Trent (A&M) to make
                                             revisions to the October creditor meeting materials
Trent, Hudson           10/11/2023     1.2   Coordinate physical preparation of additional materials for
                                             discussion in creditor meetings
Trent, Hudson           10/11/2023     1.1   Update Plan open items materials following results from first day of
                                             creditor meetings
Trent, Hudson           10/11/2023     0.9   Prepare updated open Plan issues list based on creditor meeting
                                             discussions
Trent, Hudson           10/11/2023     1.1   Call regarding open Plan Term Sheet issues at creditor meetings
                                             with J. Ray (FTX), A. Dietderich and others (S&C), K. Cofsky and
                                             others (PWP), E. Mosley, S. Coverick, and H. Trent (A&M)


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Creditor Cooperation
Professional               Date    Hours    Activity
Trent, Hudson         10/11/2023     0.9   Call regarding JPL structure at creditor meetings with J. Ray (FTX),
                                           A. Dietderich and others (S&C), C. Delo and others (AHC), S.
                                           Simms and others (UCC), E. Mosley, S. Coverick, K. Ramanathan,
                                           R. Esposito, H. Trent (A&M)
Trent, Hudson         10/11/2023     2.2   Discussion regarding status of open Plan issues following breakout
                                           sessions at creditor meetings with J. Ray (FTX), A. Dietderich
                                           (S&C), C. Delo (AHC), S. Simms (UCC), E. Mosley, S. Coverick, K.
                                           Ramanathan, R. Esposito, H. Trent (A&M)
Trent, Hudson         10/11/2023     1.2   Discuss creditor group proposals for open Plan issues with A.
                                           Dietderich and others (S&C), K. Cofsky (PWP), E. Mosley, S.
                                           Coverick, K. Ramanathan, R. Esposito, and H. Trent (A&M)
Trent, Hudson         10/11/2023     2.7   Participate in morning session regarding open Plan Term Sheet
                                           issues with MNAT, Entwistle, FTI, Eversheds, Rothschild, Jefferies,
                                           PH, various AHC and UCC members, S&C, PWP, E. Mosley, S.
                                           Coverick, K. Ramanathan, R. Esposito, and H. Trent (A&M)
Walia, Gaurav         10/11/2023     0.4   Call with L. Munoz (Rothschild) to discuss user exchange data

Witherspoon, Samuel   10/11/2023     0.6   Call with C. Sullivan, S. Witherspoon & H. Trent (A&M) to make
                                           revisions to the October creditor meeting materials
Witherspoon, Samuel   10/11/2023     1.8   Call with C. Sullivan & S. Witherspoon (A&M) to make adjustments
                                           to various scenarios for ongoing creditor negotiations
Coverick, Steve       10/12/2023     1.2   Discuss remaining open Proposed Plan issues with J. Ray (FTX), A.
                                           Dietderich and others (S&C), C. Delo and others (AHC), S. Simms
                                           and others (UCC), K. Cofsky and others (PWP), E. Mosley, S.
                                           Coverick, K. Ramanathan, R. Esposito, H. Trent (A&M)
Coverick, Steve       10/12/2023     1.1   Discussion regarding JPL settlement at creditor meetings with J.
                                           Ray (FTX), A. Dietderich and others (S&C), C. Delo and others
                                           (AHC), S. Simms and others (UCC),K. Cofsky and others (PWP), E.
                                           Mosley, S. Coverick, K. Ramanathan, R. Esposito, H. Trent (A&M)
Coverick, Steve       10/12/2023     1.3   Discussion regarding approach to remaining open Plan issues with
                                           J. Ray and others (FTX), A. Dietderich and others (S&C), K. Cofsky
                                           and others (PWP), S. Rand (QE), E. Mosley, S. Coverick, K.
                                           Ramanathan, R. Esposito, and H. Trent (A&M)
Coverick, Steve       10/12/2023     0.4   Meeting with S Coverick, R. Esposito (A&M), and Ad Hoc committee
                                           professionals to discuss general unsecured claims estimates
Esposito, Rob         10/12/2023     0.4   Meeting with S Coverick, R. Esposito (A&M), and Ad Hoc committee
                                           professionals to discuss general unsecured claims estimates
Esposito, Rob         10/12/2023     1.2   Discuss remaining open Proposed Plan issues with J. Ray (FTX), A.
                                           Dietderich and others (S&C), C. Delo and others (AHC), S. Simms
                                           and others (UCC), K. Cofsky and others (PWP), E. Mosley, S.
                                           Coverick, K. Ramanathan, R. Esposito, H. Trent (A&M)
Esposito, Rob         10/12/2023     1.3   Discussion regarding approach to remaining open Plan issues with
                                           J. Ray and others (FTX), A. Dietderich and others (S&C), K. Cofsky
                                           and others (PWP), S. Rand (QE), E. Mosley, S. Coverick, K.
                                           Ramanathan, R. Esposito, and H. Trent (A&M)
Esposito, Rob         10/12/2023     0.6   Meeting to discuss post-effective board composition with A.
                                           Dietderich and others (S&C), C. Delo and others (AHC), S. Simms
                                           and others (UCC), E. Mosley, S. Coverick, K. Ramanathan, R.
                                           Esposito, H. Trent (A&M)



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Creditor Cooperation
Professional                Date    Hours    Activity
Esposito, Rob          10/12/2023     1.1   Discussion regarding JPL settlement at creditor meetings with J.
                                            Ray (FTX), A. Dietderich and others (S&C), C. Delo and others
                                            (AHC), S. Simms and others (UCC),K. Cofsky and others (PWP), E.
                                            Mosley, S. Coverick, K. Ramanathan, R. Esposito, H. Trent (A&M)
Mosley, Ed             10/12/2023     1.1   Discussion regarding JPL settlement at creditor meetings with J.
                                            Ray (FTX), A. Dietderich and others (S&C), C. Delo and others
                                            (AHC), S. Simms and others (UCC),K. Cofsky and others (PWP), E.
                                            Mosley, S. Coverick, K. Ramanathan, R. Esposito, H. Trent (A&M)
Mosley, Ed             10/12/2023     1.3   Discussion regarding approach to remaining open Plan issues with
                                            J. Ray and others (FTX), A. Dietderich and others (S&C), K. Cofsky
                                            and others (PWP), S. Rand (QE), E. Mosley, S. Coverick, K.
                                            Ramanathan, R. Esposito, and H. Trent (A&M)
Mosley, Ed             10/12/2023     1.2   Discuss remaining open Proposed Plan issues with J. Ray (FTX), A.
                                            Dietderich and others (S&C), C. Delo and others (AHC), S. Simms
                                            and others (UCC), K. Cofsky and others (PWP), E. Mosley, S.
                                            Coverick, K. Ramanathan, R. Esposito, H. Trent (A&M)
Ramanathan, Kumanan    10/12/2023     0.6   Meeting to discuss post-effective board composition with A.
                                            Dietderich and others (S&C), C. Delo and others (AHC), S. Simms
                                            and others (UCC), E. Mosley, S. Coverick, K. Ramanathan, R.
                                            Esposito, H. Trent (A&M)
Ramanathan, Kumanan    10/12/2023     1.3   Discussion regarding approach to remaining open Plan issues with
                                            J. Ray and others (FTX), A. Dietderich and others (S&C), K. Cofsky
                                            and others (PWP), S. Rand (QE), E. Mosley, S. Coverick, K.
                                            Ramanathan, R. Esposito, and H. Trent (A&M)
Ramanathan, Kumanan    10/12/2023     0.9   Discussion with Z. Bruch and others (UCC), K. Cofsky, B.
                                            Mendelson and others (PWP), A. Kranzley and others (A&C), J.
                                            Riezman and others (AHC members), C. Delo and others
                                            (Rothschild) and others to discuss venture investments
Ramanathan, Kumanan    10/12/2023     1.1   Discussion regarding JPL settlement at creditor meetings with J.
                                            Ray (FTX), A. Dietderich and others (S&C), C. Delo and others
                                            (AHC), S. Simms and others (UCC),K. Cofsky and others (PWP), E.
                                            Mosley, S. Coverick, K. Ramanathan, R. Esposito, H. Trent (A&M)
Ramanathan, Kumanan    10/12/2023     1.2   Discuss remaining open Proposed Plan issues with J. Ray (FTX), A.
                                            Dietderich and others (S&C), C. Delo and others (AHC), S. Simms
                                            and others (UCC), K. Cofsky and others (PWP), E. Mosley, S.
                                            Coverick, K. Ramanathan, R. Esposito, H. Trent (A&M)
Taraba, Erik           10/12/2023     0.8   Develop structure of accrued and unpaid professional firm
                                            compensation requested by UCC advisors
Taraba, Erik           10/12/2023     0.7   Develop structure for case-to-date cash flow diligence schedule
                                            requested by UCC advisors
Trent, Hudson          10/12/2023     1.1   Discussion regarding JPL settlement at creditor meetings with J.
                                            Ray (FTX), A. Dietderich and others (S&C), C. Delo and others
                                            (AHC), S. Simms and others (UCC),K. Cofsky and others (PWP), E.
                                            Mosley, S. Coverick, K. Ramanathan, R. Esposito, H. Trent (A&M)
Trent, Hudson          10/12/2023     1.3   Discussion regarding approach to remaining open Plan issues with
                                            J. Ray and others (FTX), A. Dietderich and others (S&C), K. Cofsky
                                            and others (PWP), S. Rand (QE), E. Mosley, S. Coverick, K.
                                            Ramanathan, R. Esposito, and H. Trent (A&M)




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Creditor Cooperation
Professional                 Date    Hours    Activity
Trent, Hudson           10/12/2023     1.2   Discuss remaining open Proposed Plan issues with J. Ray (FTX), A.
                                             Dietderich and others (S&C), C. Delo and others (AHC), S. Simms
                                             and others (UCC), K. Cofsky and others (PWP), E. Mosley, S.
                                             Coverick, K. Ramanathan, R. Esposito, H. Trent (A&M)
Esposito, Rob           10/13/2023     0.4   Discussion with D. Lewandowski, H. Chambers, R. Esposito (A&M),
                                             N. DeLoatch (Eversheds),and others from the Ad Hoc executive
                                             committee re: claim transfer and customer account diligence
Ramanathan, Kumanan     10/13/2023     0.6   Coordinate with Galaxy on status of OTC agreements and distribute
                                             to creditors
Sullivan, Christopher   10/13/2023     0.8   Communications with A. Entwistle (Entwistle) on Alameda related
                                             party claims and their treatment under the Plan
Taraba, Erik            10/13/2023     0.9   Develop schedule of cash flows through WE 10/6 per request from
                                             UCC advisors
Trent, Hudson           10/13/2023     0.8   Prepare compilation of materials related to creditor meeting
                                             outcomes for provision to the Board
Trent, Hudson           10/13/2023     1.7   Review sensitivity of creditor recoveries based on open Plan issues
                                             from creditor meetings
Witherspoon, Samuel     10/13/2023     0.8   Respond to diligence questions to creditors related to latest October
                                             creditor materials
Ramanathan, Kumanan     10/14/2023     0.9   Review of specific customer transaction activity and respond to ad-
                                             hoc creditor group
Trent, Hudson           10/14/2023     0.6   Prepare summary of markups to RSA term sheet following creditor
                                             feedback
Ramanathan, Kumanan     10/15/2023     0.6   Review of chapter 11 comparable case precedent and provide
                                             feedback to FTI re: minimum capital
Sullivan, Christopher   10/15/2023     0.4   Communications with J. Kang (Rothschild) on the settlement press
                                             release draft
Trent, Hudson           10/15/2023     2.7   Call regarding Plan term sheet and RSA with A. Dietderich (S&C), S.
                                             Simms (FTI), K. Pasquale (PH), A. Entwistle (Entwistle), C. Delo
                                             (Rothschild), M. Rahmani (PWP), S. Rand (QE), E. Mosley, S.
                                             Coverick, C. Sullivan, K. Ramanathan, and H. Trent (A&M)
Arnett, Chris           10/16/2023     0.2   Respond to creditor diligence request re: potential avoidance litigant


Cooper, James           10/16/2023     0.4   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M), B.
                                             Bromberg, M. Gray, D. Sveen, and M. Dawson (FTI) to discuss
                                             weekly cash flow reporting with UCC advisors
Duncan, Ryan            10/16/2023     0.4   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M), B.
                                             Bromberg, M. Gray, D. Sveen, and M. Dawson (FTI) to discuss
                                             weekly cash flow reporting with UCC advisors
Slay, David             10/16/2023     0.4   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M), B.
                                             Bromberg, M. Gray, D. Sveen, and M. Dawson (FTI) to discuss
                                             weekly cash flow reporting with UCC advisors
Taraba, Erik            10/16/2023     1.8   Provide supporting detail of accrued fee composition for Ch 11 fees
                                             per UCC advisor's request
Taraba, Erik            10/16/2023     1.7   Develop schedule of accrued and unpaid Ch 11 fees and expenses
                                             per request from UCC advisors




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Creditor Cooperation
Professional                 Date    Hours    Activity
Taraba, Erik            10/16/2023     0.8   Respond to diligence questions asked by UCC advisors during
                                             weekly teleconference
Taraba, Erik            10/16/2023     0.4   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M), B.
                                             Bromberg, M. Gray, D. Sveen, and M. Dawson (FTI) to discuss
                                             weekly cash flow reporting with UCC advisors
Callerio, Lorenzo       10/17/2023     0.3   Meeting with F. Risler and others (FTI), K. Ramanathan, G. Walia
                                             and L. Callerio (A&M) re: weekly crypto update
Callerio, Lorenzo       10/17/2023     0.4   Call regarding status of FTX 2.0 and venture investments with C.
                                             Delo and others (Rothschild), K. Cofksy and others (PWP), E.
                                             Mosley, S. Coverick, K. Ramanathan, L. Callerio and C. Sullivan
                                             (A&M)
Coverick, Steve         10/17/2023     0.4   Call regarding status of FTX 2.0 and venture investments with C.
                                             Delo and others (Rothschild), K. Cofksy and others (PWP), E.
                                             Mosley, S. Coverick, K. Ramanathan, L. Callerio and C. Sullivan
                                             (A&M)
Montague, Katie         10/17/2023     0.4   Review and provide feedback on monthly vendor reporting for UCC

Mosley, Ed              10/17/2023     0.4   Participate in weekly Ad Hoc Group meeting with PWP (K.Cofsky,
                                             M.Rahmani, others), Rothschild (C.Delo, J.Kang, Others), and A&M
                                             (E.Mosley, S.Coverick, K.Ramanathan, others)
Ramanathan, Kumanan     10/17/2023     0.3   Meeting with F. Risler and others (FTI), K. Ramanathan, G. Walia
                                             and L. Callerio (A&M) re: weekly crypto update
Ramanathan, Kumanan     10/17/2023     0.4   Call regarding status of FTX 2.0 and venture investments with C.
                                             Delo and others (Rothschild), K. Cofksy and others (PWP), E.
                                             Mosley, S. Coverick, K. Ramanathan, L. Callerio and C. Sullivan
                                             (A&M)
Sullivan, Christopher   10/17/2023     0.4   Call regarding status of FTX 2.0 and venture investments with C.
                                             Delo and others (Rothschild), K. Cofksy and others (PWP), S.
                                             Coverick, K. Ramanathan, C. Sullivan, and H. Trent (A&M)
Taraba, Erik            10/17/2023     2.3   Develop schedule of employee headcount over time to support
                                             response to diligence questions posed by UCC advisors
Taraba, Erik            10/17/2023     0.7   Respond to additional diligence requests from UCC advisors from
                                             meeting on 10/16
Trent, Hudson           10/17/2023     0.4   Call regarding status of FTX 2.0 and venture investments with C.
                                             Delo and others (Rothschild), K. Cofsky and others (PWP), S.
                                             Coverick, K. Ramanathan, C. Sullivan, and H. Trent (A&M)
Walia, Gaurav           10/17/2023     0.3   Meeting with F. Risler and others (FTI), K. Ramanathan, G. Walia
                                             and L. Callerio (A&M) re: weekly crypto update
Arnett, Chris           10/18/2023     0.3   Review and comment on monthly vendor reporting to UCC

Gordon, Robert          10/18/2023     0.5   Participate in UCC/AHC standing call with PWP, S&C, PH, Jefferies
                                             and others
Sullivan, Christopher   10/18/2023     0.8   Draft responses to JPL creditor diligence questions


Taraba, Erik            10/18/2023     0.7   Draft responses to diligence questions posed by UCC advisors for
                                             review by leadership
Taraba, Erik            10/18/2023     0.4   Revise responses to UCC diligence questions per feedback from
                                             workstream leadership

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Creditor Cooperation
Professional               Date    Hours    Activity
Taraba, Erik          10/18/2023     0.6   Respond to diligence questions re: Budget 11 posed by UCC
                                           advisors
Arnett, Chris         10/19/2023     0.4   Respond to UCC request for potential avoidance action analysis


Ramanathan, Kumanan   10/19/2023     0.2   Correspond with FTI re: crypto asset management inquiries

Ramanathan, Kumanan   10/19/2023     1.0   Call with M. Diodato (FTI), E. Broderick (Eversheds), C. Delo
                                           (Rothschild), E. Gilad (PH), various AHC and UCC members, A.
                                           Dietderich (S&C), K. Cofsky (PWP), J. Ray (FTX), E. Mosley, S.
                                           Coverick, K. Ramanathan (A&M) to discuss FTX 2.0 process
Ramanathan, Kumanan   10/19/2023     0.8   Call with FTI, Eversheds, Rothschild, Jefferies, PH, various AHC
                                           and UCC members, A. Dietderich and others (S&C), M. Rahmani
                                           and others (PWP), J. Ray (FTX), E. Mosley, S. Coverick, K.
                                           Ramanathan (A&M), S. Kurz and others (Galaxy) to discuss crypto
                                           outlook
Taraba, Erik          10/20/2023     0.6   Respond to questions from project leadership re: releasability of
                                           certain deliverables to UCC
Gonzalez, Johnny      10/22/2023     2.1   Prepare a summary comparison from the prior JPL term sheet to the
                                           new term sheet
Duncan, Ryan          10/23/2023     0.2   Call with E. Taraba, R. Duncan (A&M), M. Gray, B. Bromberg, D.
                                           Sveen, M. Dawson (FTI) re: weekly cash flow reporting updates to
                                           UCC advisors
Ramanathan, Kumanan   10/23/2023     0.9   Call with J. Ray (FTX), S. Kurz, C. Rhine and others (Galaxy), F.
                                           Risler and others (FTI), E. Gilad and others (PH), A. Kranzley and
                                           others (S&C), C. Delco and others (Rothschild) and others to
                                           discuss crypto asset management matters
Taraba, Erik          10/23/2023     0.2   Call with E. Taraba, R. Duncan (A&M), M. Gray, B. Bromberg, D.
                                           Sveen, M. Dawson (FTI) re: weekly cash flow reporting updates to
                                           UCC advisors
Callerio, Lorenzo     10/24/2023     0.4   Correspondence with the AHC re: some information published to the
                                           data room
Coverick, Steve       10/24/2023     0.2   Call with Rothschild (C. Delo and others) and A&M (S. Coverick, H.
                                           Trent) re: outstanding diligence requests
Johnston, David       10/24/2023     0.6   Review updated Quoine Pte analysis ahead of distribution to UCC
                                           and AHC
Trent, Hudson         10/24/2023     0.2   Call with Rothschild (C. Delo and others) and A&M (S. Coverick, H.
                                           Trent) re: outstanding diligence requests
Trent, Hudson         10/24/2023     1.2   Prepare shell of customer KYC progress update requested by AHC

Trent, Hudson         10/24/2023     0.3   Prepare summary of discussion / takeaways with AHC advisors


Coverick, Steve       10/25/2023     0.3   Call with C. Delo and others (Rothschild), S. Coverick, K.
                                           Ramanathan, C. Sullivan, and H. Trent (A&M) regarding AHC
                                           diligence questions
Ramanathan, Kumanan   10/25/2023     0.9   Correspond with creditors re: deal terms for crypto asset
                                           management mandate




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Creditor Cooperation
Professional                 Date    Hours    Activity
Ramanathan, Kumanan     10/25/2023     0.3   Call with C. Delo and others (Rothschild), S. Coverick, K.
                                             Ramanathan, C. Sullivan, and H. Trent (A&M) regarding AHC
                                             diligence questions
Sullivan, Christopher   10/25/2023     0.9   Respond to additional disclosure statement related questions from
                                             Rothschild
Trent, Hudson           10/25/2023     1.8   Prepare updated materials related to Pool asset allocation based on
                                             creditor feedback
Trent, Hudson           10/25/2023     0.8   Facilitate posting of updated creditor materials to Kroll cite

Trent, Hudson           10/25/2023     0.3   Call with C. Delo and others (Rothschild), S. Coverick, K.
                                             Ramanathan, C. Sullivan, and H. Trent (A&M) regarding AHC
                                             diligence questions
Ramanathan, Kumanan     10/26/2023     0.9   Review of tether inquiry from creditors and review materials and
                                             correspond
Sullivan, Christopher   10/26/2023     0.8   Review effective date cash reconciliation requested by AHC advisors

Trent, Hudson           10/26/2023     1.1   Update KYC status update materials based on advisor feedback for
                                             creditor request
Callerio, Lorenzo       10/27/2023     0.4   Meeting with FTI (F. Risler and M. Diodato) and A&M (K.
                                             Ramanathan, G. Walia and L. Callerio) re: weekly crypto update
Esposito, Rob           10/27/2023     0.5   Discussion with E. Mosley, S. Coverick, R. Esposito, D.
                                             Lewandowski (A&M), M. Gray, M. Dawson, B. Bromberg, M. Diaz
                                             (FTI) re: claims reporting and diligence requests
Sagen, Daniel           10/27/2023     1.4   Research and respond to diligence requests related to third party
                                             exchange coin report items from Rothschild team
Sullivan, Christopher   10/27/2023     0.8   Provide comments to the KYC dashboard requested by the AHC

Walia, Gaurav           10/27/2023     0.4   Meeting with FTI (F. Risler and M. Diodato) and A&M (K.
                                             Ramanathan, G. Walia and L. Callerio) re: weekly crypto update
Trent, Hudson           10/28/2023     2.1   Prepare consolidated JPL settlement review materials for use in
                                             ongoing negotiations
Cooper, James           10/30/2023     0.2   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M), B.
                                             Bromberg, D. Sveen, M. Dawson, and M. Gray (FTI) re: weekly cash
                                             management reporting to UCC advisors
Duncan, Ryan            10/30/2023     0.2   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M), B.
                                             Bromberg, D. Sveen, M. Dawson, and M. Gray (FTI) re: weekly cash
                                             management reporting to UCC advisors
Mosley, Ed              10/30/2023     1.0   Call with J. Ray (FTX), K. Ramanathan, E. Mosley, S. Coverick
                                             (A&M), S. Kurz, C. Rhine (Galaxy), F. Risler (FTI), E. Gilad (PH), A.
                                             Kranzley and others (S&C), C. Delco and others (Rothschild) and
                                             others to discuss crypto asset management matters
Ramanathan, Kumanan     10/30/2023     0.6   Correspond with the UCC/AHC advisors re: crypto matters


Ramanathan, Kumanan     10/30/2023     1.0   Call with J. Ray (FTX), K. Ramanathan, E. Mosley, S. Coverick
                                             (A&M), S. Kurz, C. Rhine (Galaxy), F. Risler (FTI), E. Gilad (PH), A.
                                             Kranzley and others (S&C), C. Delco and others (Rothschild) and
                                             others to discuss crypto asset management matters



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Creditor Cooperation
Professional                 Date    Hours     Activity
Slay, David             10/30/2023      0.2   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M), B.
                                              Bromberg, D. Sveen, M. Dawson, and M. Gray (FTI) re: weekly cash
                                              management reporting to UCC advisors
Taraba, Erik            10/30/2023      0.2   Call with J. Cooper, E. Taraba, D. Slay, R. Duncan (A&M), B.
                                              Bromberg, D. Sveen, M. Dawson, and M. Gray (FTI) re: weekly cash
                                              management reporting to UCC advisors
Trent, Hudson           10/30/2023      1.3   Prepare updates to customer KYC progress materials requested by
                                              creditors based on advisor feedback
Callerio, Lorenzo       10/31/2023      0.5   Participate in a meeting with Rothschild (C. Delo and others), PWP
                                              (M. Rahmani and others) and A&M (K. Ramanathan, C. Sullivan, G.
                                              Walia, L. Callerio) re: FTX2.0 update
Paolinetti, Sergio      10/31/2023      0.8   Meeting with C. Stockmeyer, S. Paolinetti (A&M) re: bridging certain
                                              token schedule for UCC request
Paolinetti, Sergio      10/31/2023      3.1   Set up bridge analysis between 10/3 and 10/31 token vesting
                                              schedule
Ramanathan, Kumanan     10/31/2023      0.2   Call with F. Risler (FTI) to discuss crypto asset management matters

Sagen, Daniel           10/31/2023      1.2   Correspondence with J. Croke (S&C) and K. Ramanathan (A&M)
                                              regarding third party exchange status updates for UCC
Sagen, Daniel           10/31/2023      0.3   Meeting with C. Stockmeyer, D. Sagen, A. Selwood (A&M) regarding
                                              UCC diligence requests pertaining to staked assets
Selwood, Alexa          10/31/2023      0.3   Meeting with C. Stockmeyer, D. Sagen, A. Selwood (A&M) regarding
                                              UCC diligence requests pertaining to staked assets
Stockmeyer, Cullen      10/31/2023      0.3   Meeting with C. Stockmeyer, D. Sagen, A. Selwood (A&M) regarding
                                              UCC diligence requests pertaining to staked assets
Stockmeyer, Cullen      10/31/2023      0.8   Meeting with C. Stockmeyer, S. Paolinetti (A&M) re: bridging certain
                                              token schedule for UCC request
Stockmeyer, Cullen      10/31/2023      0.7   Review certain provided files to UCC for response to question of
                                              variances
Stockmeyer, Cullen      10/31/2023      1.7   Prepare vesting schedule update for response to UCC request

Sullivan, Christopher   10/31/2023      0.4   Respond to diligence questions from Rothschild related to KYC
                                              process

Subtotal                              282.6

Disclosure Statement and Plan
Professional                 Date    Hours     Activity
Cooper, James            10/2/2023      1.6   Revise post-confirmation discussion materials initial feedback
                                              meeting with CFO
Cooper, James            10/2/2023      1.9   Revise post-confirmation model for initial feedback meeting with CFO


Gonzalez, Johnny         10/2/2023      2.6   Discussion with D. Slay, and J. Gonzalez (A&M) re: discuss updated
                                              legal entity tagging for plan recovery model
Gonzalez, Johnny         10/2/2023      3.1   Discussion with J. Gonzalez and N. Simoneaux (A&M) re: Sep subs
                                              contract review


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Professional               Date     Hours    Activity
Gonzalez, Johnny        10/2/2023     2.6   Discussion with J. Gonzalez, B. Tenney, and T. Ribman (A&M) to
                                            create a new General Unsecured claims support tab in the model
                                            feeder
Gonzalez, Johnny        10/2/2023     2.9   Discussion with J. Gonzalez and B. Tenney (A&M) re: reconcile
                                            customer entitlement claims to current scheduled amounts in plan
                                            materials
Johnston, David         10/2/2023     0.3   Review available materials relating to plan analysis of separate
                                            subsidiaries
Lewandowski, Douglas    10/2/2023     1.2   Discussion with D. Lewandowski and B. Tenney (A&M) re: updates
                                            to customer slide deck and KYC stats
Ribman, Tucker          10/2/2023     0.9   Create a new Share Purchase Agreement claims support tab in the
                                            model feeder with the updated claims data
Ribman, Tucker          10/2/2023     2.1   Create a new Executory Contract claims support tab in the model
                                            feeder with the updated claims data
Ribman, Tucker          10/2/2023     2.4   Discussion with D. Slay, B. Tenney, and T. Ribman (A&M) re:
                                            reconcile Plan values with the claims register
Ribman, Tucker          10/2/2023     1.8   Remove the claims not used in the previous Plan update to start the
                                            claims bridging process for the new Plan update
Ribman, Tucker          10/2/2023     2.1   Break out the unsecured loan payable values from the existing loans
                                            payable table for the Plan update
Ribman, Tucker          10/2/2023     1.3   Create a new Fraud-Theft claims support tab in the model feeder
                                            with the updated claims data
Ribman, Tucker          10/2/2023     0.9   Reconcile the general unsecured claims pro forma values with the
                                            claims register
Ribman, Tucker          10/2/2023     2.6   Discussion with J. Gonzalez, B. Tenney, and T. Ribman (A&M) to
                                            create a new General Unsecured claims support tab in the model
                                            feeder
Simoneaux, Nicole       10/2/2023     3.1   Discussion with J. Gonzalez and N. Simoneaux (A&M) re: Sep subs
                                            contract review
Slay, David             10/2/2023     2.4   Discussion with D. Slay, B. Tenney, and T. Ribman (A&M) re:
                                            reconcile Plan values with the claims register
Slay, David             10/2/2023     2.6   Discussion with D. Slay, and J. Gonzalez (A&M) re: discuss updated
                                            legal entity tagging for plan recovery model
Sullivan, Christopher   10/2/2023     0.7   Discussion with C. Sullivan & H. Trent (A&M) to discuss updates to
                                            the JPL term sheet settlement negotiations
Sullivan, Christopher   10/2/2023     1.1   Review JPL schedule of Bahamas assets

Sullivan, Christopher   10/2/2023     0.9   Add comments for JPL term sheet presentation


Sullivan, Christopher   10/2/2023     1.1   Summarize draft responses to JPL term sheet

Tenney, Bridger         10/2/2023     2.4   Discussion with D. Slay, B. Tenney, and T. Ribman (A&M) re:
                                            reconcile Plan values with the claims register
Tenney, Bridger         10/2/2023     1.6   Update customer claims scheduled and disputed figures for use in
                                            October creditor materials



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Professional              Date    Hours    Activity
Tenney, Bridger       10/2/2023     1.2   Prepare customer claims infographic in October creditor materials

Tenney, Bridger       10/2/2023     2.9   Discussion with J. Gonzalez and B. Tenney (A&M) re: reconcile
                                          customer entitlement claims to current scheduled amounts in plan
                                          materials
Tenney, Bridger       10/2/2023     2.6   Discussion with J. Gonzalez, B. Tenney, and T. Ribman (A&M) to
                                          create a new General Unsecured claims support tab in the model
                                          feeder
Trent, Hudson         10/2/2023     0.7   Discussion with C. Sullivan & H. Trent (A&M) to discuss updates to
                                          the JPL term sheet settlement negotiations
Trent, Hudson         10/2/2023     0.9   Provide feedback on updated loans payable analysis for
                                          incorporation into Plan recovery analysis
Witherspoon, Samuel   10/2/2023     1.9   Analyze residual investment subsidiary impact of foreign subsidiaries


Witherspoon, Samuel   10/2/2023     0.9   Analyze priority shortfall impact of customer entitlements claims

Arnett, Chris         10/3/2023     0.7   Review separate subsidiary analysis in Plan model for consistency
                                          of approach
Cooper, James         10/3/2023     1.2   Evaluate latest post confirmation budget draft materials and provide
                                          comments
Cooper, James         10/3/2023     1.6   Revise post confirmation forecast materials for assumption updates


Esposito, Rob         10/3/2023     0.2   Call with C Sullivan, L Francis and R Esposito (A&M) to discuss plan
                                          estimates
Francis, Luke         10/3/2023     0.2   Call with C Sullivan, L Francis and R Esposito (A&M) to discuss plan
                                          estimates
Gonzalez, Johnny      10/3/2023     2.8   Modify the allocation of Chapter 11 costs to the separate
                                          subsidiaries in the plan recovery analysis model
Gonzalez, Johnny      10/3/2023     1.4   Call with J. Gonzalez, D. Slay, and T. Ribman (A&M) re: Reconcile
                                          the separate subsidiary values for the Plan Update
Gonzalez, Johnny      10/3/2023     2.4   Incorporate the FTX Japan Services KK services entity to the
                                          separate subsidiary roll-ups
Gonzalez, Johnny      10/3/2023     0.6   Call with C. Sullivan & J. Gonzalez (A&M) to discuss condensed
                                          view Plan waterfall
Gonzalez, Johnny      10/3/2023     2.8   Develop a disclosure statement version of the plan analysis waterfall


Ribman, Tucker        10/3/2023     1.4   Call with J. Gonzalez, D. Slay, and T. Ribman (A&M) re: Reconcile
                                          the separate subsidiary values for the Plan Update
Ribman, Tucker        10/3/2023     0.9   Build a waterfall to link the pro forma digital asset values of the past
                                          two coin reports
Ribman, Tucker        10/3/2023     1.9   Reconcile discrepancies in the general unsecured claims tagging
                                          from the past claims register
Ribman, Tucker        10/3/2023     1.2   Build a price and quantity bridge for the past two digital asset coin
                                          reports
Ribman, Tucker        10/3/2023     2.6   Bridge the executory contracts to the past Plan numbers for the Plan
                                          refresh

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Ribman, Tucker          10/3/2023     2.1   Bridge the digital asset values to the past Plan numbers for the Plan
                                            refresh
Ribman, Tucker          10/3/2023     0.6   Link the Plan tables that relate to digital assets to the new digital
                                            asset summary
Ribman, Tucker          10/3/2023     1.4   Update the digital assets in the model feeder support tab

Ribman, Tucker          10/3/2023     2.8   Call with D. Slay and T. Ribman (A&M) to bridge the general
                                            unsecured claims to the past Plan numbers for the Plan refresh
Sagen, Daniel           10/3/2023     0.4   Respond to questions from T. Ribman (A&M) regarding Plan
                                            recovery crypto input schedule
Sagen, Daniel           10/3/2023     1.9   Prepare Plan recovery crypto input schedule per 9/15 coin report

Sagen, Daniel           10/3/2023     0.6   Review Plan recovery crypto input bridging items for accuracy


Sagen, Daniel           10/3/2023     0.7   Update Plan recovery crypto input schedule for 9/29 token pricing

Slay, David             10/3/2023     1.4   Call with J. Gonzalez, D. Slay, and T. Ribman (A&M) re: Reconcile
                                            the separate subsidiary values for the Plan Update
Slay, David             10/3/2023     2.8   Call with D. Slay and T. Ribman (A&M) to bridge the general
                                            unsecured claims to the past Plan numbers for the Plan refresh
Sullivan, Christopher   10/3/2023     0.3   Call with C. Sullivan & S. Witherspoon (A&M) to discuss case
                                            comparison preference settlement treatments
Sullivan, Christopher   10/3/2023     0.6   Call with C. Sullivan & H. Trent (A&M) to address S&C comments for
                                            JPL discussion materials
Sullivan, Christopher   10/3/2023     0.6   Call with C. Sullivan & J. Gonzalez (A&M) to discuss condensed
                                            view Plan waterfall
Sullivan, Christopher   10/3/2023     0.6   Provide comments to the initial draft of the JPL scenarios calculator


Sullivan, Christopher   10/3/2023     0.2   Call with C Sullivan, L Francis and R Esposito (A&M) to discuss plan
                                            estimates
Sullivan, Christopher   10/3/2023     1.2   Call with C. Sullivan & H. Trent (A&M) to create JPL recovery
                                            scenarios
Sullivan, Christopher   10/3/2023     0.7   Call with C. Sullivan & H. Trent (A&M) to discuss JPL scenarios

Sullivan, Christopher   10/3/2023     0.3   Provide comments to revised separate subsidiary balance sheets

Sullivan, Christopher   10/3/2023     0.4   Review the latest Japan withdrawals


Sullivan, Christopher   10/3/2023     0.7   Review shortfall priority scenario analysis

Sullivan, Christopher   10/3/2023     0.6   Investigate changes in venture book values


Sullivan, Christopher   10/3/2023     0.4   Review updates to the brokerage investment bridge




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Sullivan, Christopher   10/3/2023     0.6   Review the new Joint provisional litigation asset summary

Sullivan, Christopher   10/3/2023     0.6   Call with C. Sullivan & H. Trent (A&M) to discuss updates to the
                                            proposed Plan materials for the October creditor meetings
Tenney, Bridger         10/3/2023     1.1   Revise executive summary detail with updated recovery percentages

Tenney, Bridger         10/3/2023     1.4   Call with H. Trent (A&M) regarding Separate Subsidiaries analysis
                                            refresh
Tenney, Bridger         10/3/2023     2.2   Prepare plan analysis key recovery takeaways with updated figures


Tenney, Bridger         10/3/2023     2.9   Refresh separate subsidiary residual value analyses

Tenney, Bridger         10/3/2023     2.4   Update executive summary recovery analysis infographic


Trent, Hudson           10/3/2023     2.4   Update FTX Japan analyses for latest data from local A&M team for
                                            purposes of the Plan recovery analysis
Trent, Hudson           10/3/2023     0.9   Prepare consolidated file of Plan recovery analysis visuals for
                                            purposes of updating broader materials
Trent, Hudson           10/3/2023     0.6   Call with C. Sullivan & H. Trent (A&M) to process S&C comments for
                                            JPL discussion materials
Trent, Hudson           10/3/2023     1.4   Call with H. Trent and B. Tenney (A&M) regarding Separate
                                            Subsidiaries analysis refresh
Trent, Hudson           10/3/2023     1.2   Review commentary on changes from prior Plan analysis related to
                                            various asset inputs
Trent, Hudson           10/3/2023     0.7   Incorporate updates to Ledger Prime analysis for inclusion in Plan
                                            recovery analysis
Trent, Hudson           10/3/2023     0.7   Call with C. Sullivan & H. Trent (A&M) to discuss JPL scenarios


Trent, Hudson           10/3/2023     1.2   Call with C. Sullivan & H. Trent (A&M) to create JPL recovery
                                            scenarios
Trent, Hudson           10/3/2023     0.8   Review updated digital asset input summary for the Plan recovery
                                            analysis
Trent, Hudson           10/3/2023     1.1   Solicit input from international A&M teams for purposes of updating
                                            Separate Subsidiaries values in Plan recovery analysis
Trent, Hudson           10/3/2023     0.6   Call with C. Sullivan & H. Trent (A&M) to discuss updates to the
                                            proposed Plan materials for the October creditor meetings
Witherspoon, Samuel     10/3/2023     0.8   Call with H. Trent, J. Gonzalez, S. Witherspoon (A&M) re: update to
                                            separate subsidiaries residual value calculation
Witherspoon, Samuel     10/3/2023     0.3   Call with C. Sullivan & S. Witherspoon (A&M) to discuss case
                                            comparison preference settlement treatments
Witherspoon, Samuel     10/3/2023     2.8   Update long term cash forecast through May 2024 with latest
                                            operating expense assumptions
Witherspoon, Samuel     10/3/2023     2.3   Update long term cash forecast through May 2024 with latest payroll
                                            and interest assumptions




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Witherspoon, Samuel   10/3/2023     1.8   Update super priority cash matrix with forecasted intercompany
                                          through May 2024
Witherspoon, Samuel   10/3/2023     1.0   Finalize plan inputs based on the latest cash forecast starting in
                                          September 2023
Witherspoon, Samuel   10/3/2023     1.7   Update intercompany receivables matrix for balances as of
                                          September 2023
Witherspoon, Samuel   10/3/2023     2.1   Update operating expense summary by vendor through May 2024

Callerio, Lorenzo     10/4/2023     0.3   Meeting with C. Sullivan, L. Callerio, A. Titus, S. Glustein (A&M) re:
                                          token receivables plan needs
Coverick, Steve       10/4/2023     0.4   Call with S. Coverick, C. Sullivan & H. Trent (A&M) to discuss
                                          updates to Plan term sheet comparisons
Coverick, Steve       10/4/2023     1.8   Review and provide comments on revised restructuring support
                                          agreement
Coverick, Steve       10/4/2023     2.2   Review and provide comments on open items issue re: plan for UCC
                                          / AHC
Coverick, Steve       10/4/2023     1.7   Review and provide comments on revised shortfall claim analysis


Coverick, Steve       10/4/2023     0.6   Discuss plan term sheet with E. Mosley, S. Coverick (A&M)

Coverick, Steve       10/4/2023     1.9   Review and provide comments on revised plan term sheet

Ernst, Reagan         10/4/2023     0.3   Meeting with C. Stockmeyer, R. Ernst, S. Paolinetti, B. Tenney
                                          (A&M) re: token receivables plan needs
Esposito, Rob         10/4/2023     0.4   Call with L Francis and R Esposito (A&M) to review updates to GUC
                                          plan estimates based on filed claim reconciliation
Francis, Luke         10/4/2023     0.4   Call with L Francis and R Esposito (A&M) to review updates to GUC
                                          plan estimates based on filed claim reconciliation
Francis, Luke         10/4/2023     1.3   Review of plan classes for filed claims with adjustments included in
                                          plan summary presentation
Francis, Luke         10/4/2023     0.4   Meeting with K. Kearney, and L. Francis (A&M) re: loan payable
                                          balances used in plan estimates
Glustein, Steven      10/4/2023     0.3   Meeting with C. Sullivan, L. Callerio, A. Titus, S. Glustein (A&M) re:
                                          token receivables plan needs
Gonzalez, Johnny      10/4/2023     2.7   Call with J. Gonzalez and D. Slay (A&M) re: update claims
                                          comparison with latest claims register
Gonzalez, Johnny      10/4/2023     2.8   Update the model feeder in the plan recovery analysis for the latest
                                          assumptions
Gonzalez, Johnny      10/4/2023     2.4   Develop an assets exclusions analysis for the plan recovery
                                          materials
Gonzalez, Johnny      10/4/2023     2.9   Modify the disclosure statement version of the plan analysis waterfall


Gonzalez, Johnny      10/4/2023     3.1   Develop a claims exclusions analysis for the plan recovery materials




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Disclosure Statement and Plan
Professional               Date     Hours    Activity
Kearney, Kevin          10/4/2023     0.4   Meeting with K. Kearney, and L. Francis (A&M) re: loan payable
                                            balances used in plan estimates
Mosley, Ed              10/4/2023     1.3   Review and provide comments to draft plan negotiation comparison


Mosley, Ed              10/4/2023     1.1   Review and provide comments to draft RSA

Mosley, Ed              10/4/2023     2.8   Review and provide comments to draft RSA term sheet

Mosley, Ed              10/4/2023     0.6   Discuss plan term sheet with S.Coverick (A&M)


Paolinetti, Sergio      10/4/2023     0.3   Meeting with C. Stockmeyer, R. Ernst, S. Paolinetti, B. Tenney
                                            (A&M) re: token receivables plan needs
Ribman, Tucker          10/4/2023     2.9   Call with D. Slay and T. Ribman (A&M) re: Create a tokens
                                            receivable bridge for the Plan deck update
Ribman, Tucker          10/4/2023     1.6   Create a table with customer entitlements and digital assets for the
                                            Plan update deck
Ribman, Tucker          10/4/2023     2.6   Reconcile changes in the general unsecured claims from the
                                            addition of GGC international
Ribman, Tucker          10/4/2023     2.8   Reconcile the Plan venture investment bridge to reflect the update
                                            Ventures team's value
Ribman, Tucker          10/4/2023     2.2   build a pro forma cash bridge to link new values to the old Plan deck
                                            values
Ribman, Tucker          10/4/2023     1.9   Bridge the executory contract claims after the removal of customer
                                            claims
Ribman, Tucker          10/4/2023     0.9   Update customer entitlements for the model feeder shortfall
                                            calculation
Ribman, Tucker          10/4/2023     0.6   Update the digital asset presentation tab for the Plan update deck


Ribman, Tucker          10/4/2023     0.6   Update the digital asset petition date values in the model feeder

Sagen, Daniel           10/4/2023     1.1   Research and respond to questions from H. Trent (A&M) regarding
                                            petition date digital asset summary
Slay, David             10/4/2023     2.9   Call with D. Slay and T. Ribman (A&M) re: Create a tokens
                                            receivable bridge for the Plan deck update
Slay, David             10/4/2023     2.7   Call with J. Gonzalez and D. Slay (A&M) re: update claims
                                            comparison with latest claims register
Stockmeyer, Cullen      10/4/2023     0.3   Meeting with C. Stockmeyer, R. Ernst, S. Paolinetti, B. Tenney
                                            (A&M) re: token receivables plan needs
Sullivan, Christopher   10/4/2023     0.9   Call with C. Sullivan and H. Trent (A&M) to address comments from
                                            S. Coverick (A&M) on JPL scenario analysis
Sullivan, Christopher   10/4/2023     0.4   Call with S. Coverick, C. Sullivan & H. Trent (A&M) to discuss
                                            updates to Plan term sheet comparisons
Sullivan, Christopher   10/4/2023     0.3   Meeting with C. Sullivan, L. Callerio, A. Titus, S. Glustein (A&M) re:
                                            token receivables plan needs




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Disclosure Statement and Plan
Professional               Date     Hours    Activity
Sullivan, Christopher   10/4/2023     0.8   Call with C. Sullivan and H. Trent (A&M) to discuss formatting edits
                                            to the Plan waterfall
Sullivan, Christopher   10/4/2023     1.1   Call with C. Sullivan and H. Trent (A&M) to discuss updates to the
                                            term sheet comparisons
Sullivan, Christopher   10/4/2023     1.1   Incorporate comments to the Plan issues chart per S. Coverick
                                            (A&M)
Sullivan, Christopher   10/4/2023     0.7   Review updated commentary from S&C on the proposed Plan open
                                            items list
Sullivan, Christopher   10/4/2023     1.6   Review AHC open Plan issues document


Sullivan, Christopher   10/4/2023     0.6   Review AHC mark up of the Debtor's Plan

Sullivan, Christopher   10/4/2023     1.8   Provide detailed comments to the draft RSA


Tenney, Bridger         10/4/2023     0.3   Meeting with C. Stockmeyer, R. Ernst, S. Paolinetti, B. Tenney
                                            (A&M) re: token receivables plan needs
Tenney, Bridger         10/4/2023     2.4   Refresh plan analysis executive summary flow chart and waterfall
                                            with updated figures
Tenney, Bridger         10/4/2023     1.6   Update plan analyses supporting tables with updated waterfall

Tenney, Bridger         10/4/2023     2.4   Update customer claims graph and accompanying detail in plan
                                            materials
Tenney, Bridger         10/4/2023     2.1   Prepare variance analysis for current plan waterfall


Tenney, Bridger         10/4/2023     1.4   Refresh plan deck for new tokens receivable data

Tenney, Bridger         10/4/2023     2.1   Update support model with current plan waterfall


Titus, Adam             10/4/2023     0.3   Meeting with C. Sullivan, L. Callerio, A. Titus, S. Glustein (A&M) re:
                                            token receivables plan needs
Trent, Hudson           10/4/2023     0.9   Call with C. Sullivan and H. Trent (A&M) to process comments from
                                            S. Coverick (A&M) on JPL scenario analysis
Trent, Hudson           10/4/2023     1.3   Reconcile variance between digital asset database and entity
                                            records for incorporation into Plan recovery analysis
Trent, Hudson           10/4/2023     0.4   Call with S. Coverick, C. Sullivan & H. Trent (A&M) to discuss
                                            updates to Plan term sheet comparisons
Trent, Hudson           10/4/2023     0.8   Call with C. Sullivan and H. Trent (A&M) to discuss formatting edits
                                            to the Plan waterfall
Trent, Hudson           10/4/2023     0.7   Prepare scenario variance overlay for Plan recovery analysis based
                                            on remaining open Plan issues
Trent, Hudson           10/4/2023     1.1   Call with C. Sullivan and H. Trent (A&M) to discuss updates to the
                                            term sheet comparisons
Trent, Hudson           10/4/2023     0.6   Prepare shortfall claim calculation summary one pager for advisor
                                            and company review




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Disclosure Statement and Plan
Professional             Date     Hours    Activity
Trent, Hudson         10/4/2023     0.4   Provide feedback on open items for preparation of updated Plan
                                          recovery analysis
Trent, Hudson         10/4/2023     0.9   Prepare summary separate subsidiary waterfall for FTX Japan with
                                          latest analysis
Trent, Hudson         10/4/2023     0.7   Consolidate A&M team markups for RSA, RSA Term Sheet, and
                                          Plan open items materials
Trent, Hudson         10/4/2023     0.9   Prepare markup for RSA term sheet based on initial review

Trent, Hudson         10/4/2023     1.9   Incorporate updated / further reconciled Petition date digital asset
                                          balances for purposes of calculating the customer shortfall claim for
                                          the Plan recovery analysis
Trent, Hudson         10/4/2023     2.3   Prepare analysis of scheduled loans payable based on updates from
                                          A&M accounting team for inclusion in latest Plan recovery analysis
Witherspoon, Samuel   10/4/2023     1.8   Analyze professional fee budget increases for latest long term cash
                                          forecast
Witherspoon, Samuel   10/4/2023     1.8   Update separate subsidiary individual entity tear sheets for October
                                          plan materials
Witherspoon, Samuel   10/4/2023     2.6   Update separate subsidiary inputs with latest assumptions as of
                                          September 2023
Witherspoon, Samuel   10/4/2023     1.7   Review waterfall priority assumptions and mechanics for latest plan
                                          refresh
Witherspoon, Samuel   10/4/2023     2.1   Update plan October materials with latest draft recovery percentages

Witherspoon, Samuel   10/4/2023     1.9   Update cash bridges from prior plan analysis to October version


Witherspoon, Samuel   10/4/2023     0.3   Call with K. Kearney, H. Trent, L. Francis, S. Witherspoon, T.
                                          Ribman (A&M) re: loans payable assumptions for Plan refresh
Cooper, James         10/5/2023     0.4   Review and provide comments to post-confirmation cost analysis re:
                                          case to date cost reconciliation
Cooper, James         10/5/2023     0.8   Review and provide comments to post-confirmation cost analysis re:
                                          claims and KYC costs
Cooper, James         10/5/2023     0.7   Review and provide comments to post-confirmation cost analysis re:
                                          professional fee categories
Cooper, James         10/5/2023     1.2   Revise and draft additional slides to post-confirmation cost materials


Coverick, Steve       10/5/2023     1.3   Review and provide comments on revised draft of plan recovery
                                          analysis presentation for creditor meetings
Coverick, Steve       10/5/2023     0.4   Discuss venture book estimates for plan model with E. Mosley, S.
                                          Coverick (A&M)
Coverick, Steve       10/5/2023     1.4   Call with K. Cofsky (PWP), E. Mosley, S. Coverick (A&M) re: plan
                                          term sheet issues
Coverick, Steve       10/5/2023     2.1   Review and provide comments on venture book recovery estimate
                                          analysis
Coverick, Steve       10/5/2023     3.2   Discussion with H. Trent, S. Coverick (A&M) on plan recovery
                                          analysis


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Disclosure Statement and Plan
Professional              Date     Hours    Activity
Coverick, Steve        10/5/2023     0.3   Call with H. Trent (A&M) to discuss revisions to plan recovery
                                           analysis
Coverick, Steve        10/5/2023     0.4   Discuss JPL diligence with E. Mosley, S. Coverick (A&M)


Gonzalez, Johnny       10/5/2023     2.8   Discussion with J. Gonzalez and D. Slay (A&M) re: develop a cash
                                           bridge to incorporate into the plan model
Gonzalez, Johnny       10/5/2023     1.6   Discussion with J. Gonzalez & H. Trent (A&M) re: development of
                                           the condensed plan waterfall analysis
Gonzalez, Johnny       10/5/2023     2.6   Update the disclosure statement plan waterfall with the latest plan
                                           model support figures
Gonzalez, Johnny       10/5/2023     1.7   Incorporate the latest separate subsidiary waterfalls into the plan
                                           analysis presentation
Gonzalez, Johnny       10/5/2023     2.8   Draft commentary for the key assumptions slides in the plan
                                           recovery analysis materials
Gonzalez, Johnny       10/5/2023     2.9   Develop a plan waterfall variance from the analysis on 8/31 to the
                                           10/4 figures
Gonzalez, Johnny       10/5/2023     2.4   Develop the Plan Priority scenario in the plan model


Gonzalez, Johnny       10/5/2023     2.6   Discussion with J. Gonzalez & T. Ribman (A&M) re: develop a
                                           presentation for the changes between September and October 2023
                                           Plan materials
Johnston, David        10/5/2023     2.6   Review proposed recovery analysis treatment for non-core
                                           subsidiaries
Mosley, Ed             10/5/2023     0.4   Discussion with S.Coverick (A&M) regarding venture book estimates
                                           for plan modeling
Ribman, Tucker         10/5/2023     1.8   Discussion with D. Slay, B. Tenney, and T. Ribman (A&M) re:
                                           develop support model overlays against 8/31 plan materials
Ribman, Tucker         10/5/2023     0.9   Design an updated entity flow chart slide to reflect updated creditor
                                           recoveries for the Plan deck
Ribman, Tucker         10/5/2023     0.7   Provide commentary on the general unsecured claims bridge to
                                           show adjusted claims variance
Ribman, Tucker         10/5/2023     1.4   Update commentary on the token receivables bridge to explain
                                           changes in asset value
Ribman, Tucker         10/5/2023     2.8   Update the plan support master with the updated venture investment
                                           recoveries
Ribman, Tucker         10/5/2023     0.4   Provide commentary on the brokerage investments bridge to explain
                                           GBTC trends
Ribman, Tucker         10/5/2023     1.2   Update the asset names in the plan deck align with the RSA term
                                           sheet
Ribman, Tucker         10/5/2023     2.0   Create a combined customer claims bridge from 8.31-9/30

Ribman, Tucker         10/5/2023     2.3   Discussion with D. Slay, B. Tenney, and T. Ribman (A&M) re:
                                           Update administrative expense summary table based on latest
                                           waterfall




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Professional               Date     Hours    Activity
Ribman, Tucker          10/5/2023     2.6   Discussion with J. Gonzalez & T. Ribman (A&M) re: develop a
                                            presentation for the changes between September and October 2023
                                            Plan materials
Slay, David             10/5/2023     2.8   Discussion with J. Gonzalez and D. Slay (A&M) re: develop a cash
                                            bridge to incorporate into the plan model
Slay, David             10/5/2023     1.8   Discussion with D. Slay, B. Tenney, and T. Ribman (A&M) re:
                                            develop support model overlays against 8/31 plan materials
Slay, David             10/5/2023     2.3   Discussion with D. Slay, B. Tenney, and T. Ribman (A&M) re:
                                            Update administrative expense summary table based on latest
                                            waterfall
Sullivan, Christopher   10/5/2023     2.3   Provide detailed comments to the initial draft of the executive
                                            summary for the latest Plan materials
Sullivan, Christopher   10/5/2023     0.9   Call with C. Sullivan & H. Trent (A&M) to work through revised
                                            venture book valuation methodology
Sullivan, Christopher   10/5/2023     1.2   Discussion with C. Sullivan & H. Trent (A&M) to discuss updates to
                                            the revised Plan deck
Sullivan, Christopher   10/5/2023     1.4   Review revised venture book schedule with latest methodology from
                                            PWP
Sullivan, Christopher   10/5/2023     0.6   Review the plan asset and claims input sources

Sullivan, Christopher   10/5/2023     0.6   Provide additional comments to the revised draft waterfall


Sullivan, Christopher   10/5/2023     0.9   Review updated Restructuring Support Agreement

Tenney, Bridger         10/5/2023     1.8   Discussion with D. Slay, B. Tenney, and T. Ribman (A&M) re:
                                            develop support model overlays against 8/31 plan materials
Tenney, Bridger         10/5/2023     2.4   Update key pro forma asset assumptions in plan recovery analysis
                                            deck
Tenney, Bridger         10/5/2023     1.4   Prepare non-customer claim sensitivity analysis to be used in Plan
                                            materials
Tenney, Bridger         10/5/2023     0.5   Revise proposed Plan Waterfall Schematic for use in upcoming Plan
                                            material refresh
Tenney, Bridger         10/5/2023     2.4   Update sources and uses of net distributable proceeds in the Plan
                                            deck
Tenney, Bridger         10/5/2023     1.1   Prepare updated tokens receivable tables for use in Plan materials


Tenney, Bridger         10/5/2023     1.3   Update non-customer claim summary and accompanying summary
                                            in Plan deck
Tenney, Bridger         10/5/2023     2.4   Update preference analysis slides for use in full Plan deck

Tenney, Bridger         10/5/2023     2.7   Revise Pool asset overview table with new waterfall data


Tenney, Bridger         10/5/2023     2.3   Discussion with D. Slay, B. Tenney, and T. Ribman (A&M) re:
                                            Update administrative expense summary table based on latest
                                            waterfall



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Disclosure Statement and Plan
Professional              Date    Hours    Activity
Trent, Hudson         10/5/2023     1.6   Discussion with J. Gonzalez & H. Trent (A&M) re: development of
                                          the condensed plan waterfall analysis
Trent, Hudson         10/5/2023     1.2   Prepare summary of outstanding items for purposes of refreshing
                                          the Plan recovery analysis
Trent, Hudson         10/5/2023     0.8   Compile distribution versions of Plan recovery analysis materials for
                                          internal A&M review
Trent, Hudson         10/5/2023     1.2   Discussion with C. Sullivan & H. Trent (A&M) to discuss updates to
                                          the revised Plan deck
Trent, Hudson         10/5/2023     0.3   Call with S. Coverick and H. Trent (A&M) to discuss revisions to plan
                                          recovery analysis
Trent, Hudson         10/5/2023     0.9   Call with C. Sullivan & H. Trent (A&M) to work through revised
                                          venture book valuation methodology
Trent, Hudson         10/5/2023     2.2   Prepare analysis of venture investment recoveries based on data
                                          provided by PWP
Trent, Hudson         10/5/2023     3.2   Discussion with H. Trent, S. Coverick (A&M) on plan recovery
                                          analysis
Trent, Hudson         10/5/2023     1.3   Update Plan materials based on latest RSA term sheet definitions /
                                          naming conventions
Trent, Hudson         10/5/2023     1.3   Prepare commentary on changes in input values for purposes of
                                          providing an update on the refreshed Plan recovery analysis
Trent, Hudson         10/5/2023     0.7   Prepare visual expressing amount of distributable proceeds
                                          recovered by customer entitlements in Plan recovery analysis
Witherspoon, Samuel   10/5/2023     1.5   Analyze impact of residual value of separate subsidiaries to the
                                          General Pool recoveries
Witherspoon, Samuel   10/5/2023     2.9   Update shortfall priority calculation mechanics for the plan recovery
                                          model
Witherspoon, Samuel   10/5/2023     2.8   Update plan materials for latest refresh of the plan priority Plan


Witherspoon, Samuel   10/5/2023     1.6   Create illustrative summary of sources of funds for customer
                                          recoveries
Witherspoon, Samuel   10/5/2023     2.3   Analyze impacts of lower customer claims on overall recoveries


Witherspoon, Samuel   10/5/2023     1.9   Update executive summary of plan source of funds and waterfall
                                          mechanics
Witherspoon, Samuel   10/5/2023     2.2   Update plan materials for legal entity tear sheets for dismissed
                                          entities
Witherspoon, Samuel   10/5/2023     1.8   Update priority shortfall calculation for a Dotcom only priority


Coverick, Steve       10/6/2023     1.7   Review and provide comments on revised draft of plan recovery
                                          presentation for creditors
Coverick, Steve       10/6/2023     0.8   Discuss plan structure and JPL settlement with E. Mosley (A&M)


Coverick, Steve       10/6/2023     2.2   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                          Witherspoon (A&M) re: Update the sensitivity analysis for customer
                                          recoveries


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Disclosure Statement and Plan
Professional              Date     Hours    Activity
Coverick, Steve        10/6/2023     0.3   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                           Witherspoon (A&M) re: Reconcile ventures recovery percentages in
                                           Plan deck
Coverick, Steve        10/6/2023     1.9   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                           Witherspoon (A&M) re: Reconcile customer claims figures within the
                                           Plan deck
Coverick, Steve        10/6/2023     1.6   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                           Witherspoon (A&M) re: Create a revised Proposed Plan waterfall
                                           schematic
Coverick, Steve        10/6/2023     0.7   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                           Witherspoon (A&M) re: Refresh the asset bridge commentary in the
                                           change deck
Francis, Luke          10/6/2023     0.7   Update GUC class 5 plan estimates based on claim adjustments

Gonzalez, Johnny       10/6/2023     1.5   Update the plan priority scenario waterfall for various percentage
                                           toggles
Gonzalez, Johnny       10/6/2023     1.6   Rearrange the plan waterfall assets presentation structure


Gonzalez, Johnny       10/6/2023     1.7   Modify the plan waterfall claims recovery structure

Gonzalez, Johnny       10/6/2023     2.3   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                           Witherspoon (A&M) re: Reconcile ventures recovery percentages in
                                           Plan deck
Gonzalez, Johnny       10/6/2023     2.2   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                           Witherspoon (A&M) re: Update the sensitivity analysis for customer
                                           recoveries
Gonzalez, Johnny       10/6/2023     1.6   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                           Witherspoon (A&M) re: Create a revised Proposed Plan waterfall
                                           schematic
Gonzalez, Johnny       10/6/2023     1.9   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                           Witherspoon (A&M) re: Reconcile customer claims figures within the
                                           Plan deck
Gonzalez, Johnny       10/6/2023     0.7   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                           Witherspoon (A&M) re: Refresh the asset bridge commentary in the
                                           change deck
Johnston, David        10/6/2023     1.0   Call with E. Mosley and D. Johnston to discuss FTX Europe updates
                                           and next steps
Mosley, Ed             10/6/2023     1.1   Discuss non-US entity wind downs and treatments in the plan with
                                           D.Johnston (A&M)
Mosley, Ed             10/6/2023     0.9   Review of draft open issues list to be used for creditor meeting on
                                           10/11-10/12
Mosley, Ed             10/6/2023     0.4   Review of draft RSA to be used for creditor meeting on 10/11-10/12

Mosley, Ed             10/6/2023     0.8   Discuss plan structure and JPL settlement with S.Coverick (A&M)


Mosley, Ed             10/6/2023     0.8   Review of draft RSA term sheet to be used for creditor meeting on
                                           10/11-10/12



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Disclosure Statement and Plan
Professional               Date     Hours    Activity
Ribman, Tucker          10/6/2023     2.2   Discussion with B. Tenney and T. Ribman (A&M) re: Update the
                                            sensitivity analysis for customer recoveries
Ribman, Tucker          10/6/2023     1.9   Discussion with B. Tenney and T. Ribman (A&M) re: Reconcile
                                            customer claims figures within the Plan deck
Ribman, Tucker          10/6/2023     1.6   Discussion with B. Tenney and T. Ribman (A&M) re: Create a
                                            revised Proposed Plan waterfall schematic
Ribman, Tucker          10/6/2023     2.3   Discussion with B. Tenney and T. Ribman (A&M) re: Reconcile
                                            ventures recovery percentages in Plan deck
Ribman, Tucker          10/6/2023     0.7   Discussion with B. Tenney and T. Ribman (A&M) re: Refresh the
                                            asset bridge commentary in the change deck
Ribman, Tucker          10/6/2023     0.3   Call with D. Sagen and T. Ribman (A&M) to discuss digital asset
                                            bridge in Plan recovery materials
Ribman, Tucker          10/6/2023     1.3   Reconcile differences in the estimate claims bridge for the Plan
                                            change deck
Ribman, Tucker          10/6/2023     2.4   Respond to comments relating to Proposed Plan assets within the
                                            Plan update deck
Ribman, Tucker          10/6/2023     0.7   Update the Allocable Administrative Expense within the model feeder


Ribman, Tucker          10/6/2023     0.9   Adjust digital asset commentary for the bridge within Plan change
                                            deck
Ribman, Tucker          10/6/2023     1.9   Remove token investments from the ventures bridge for the Plan
                                            change deck
Sagen, Daniel           10/6/2023     0.3   Call with D. Sagen and T. Ribman (A&M) to discuss digital asset
                                            bridge in Plan recovery materials
Sagen, Daniel           10/6/2023     0.6   Review and provide feedback regarding digital asset bridge slide in
                                            Plan recovery presentation
Sullivan, Christopher   10/6/2023     1.6   Review updated recovery waterfalls and variance analysis to prior
                                            iteration
Sullivan, Christopher   10/6/2023     1.1   Incorporate comments from A. Dietderich (S&C) on the updated
                                            Plan materials
Sullivan, Christopher   10/6/2023     1.1   Provide detailed comments on back up to the venture book
                                            investment summary
Sullivan, Christopher   10/6/2023     2.1   Create additional slides related to post-governance board structure

Sullivan, Christopher   10/6/2023     0.3   Revise the PSA and Plan Term sheet comparison to reflect latest
                                            thinking
Sullivan, Christopher   10/6/2023     1.8   Incorporate comments from S. Coverick (A&M) on the updated plan
                                            materials
Sullivan, Christopher   10/6/2023     2.7   Provide detailed comments to revised Plan deck

Tenney, Bridger         10/6/2023     1.6   Discussion with B. Tenney and T. Ribman (A&M) re: Create a
                                            revised Proposed Plan waterfall schematic
Tenney, Bridger         10/6/2023     1.9   Discussion with B. Tenney and T. Ribman (A&M) re: Reconcile
                                            customer claims figures within the Plan deck




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Professional             Date     Hours    Activity
Tenney, Bridger       10/6/2023     2.3   Discussion with B. Tenney and T. Ribman (A&M) re: Reconcile
                                          ventures recovery percentages in Plan deck
Tenney, Bridger       10/6/2023     0.7   Discussion with B. Tenney and T. Ribman (A&M) re: Refresh the
                                          asset bridge commentary in the change deck
Tenney, Bridger       10/6/2023     2.2   Discussion with B. Tenney and T. Ribman (A&M) re: Update the
                                          sensitivity analysis for customer recoveries
Tenney, Bridger       10/6/2023     1.4   Prepare De Minimis and convenience class claims comparison to
                                          industry comps
Tenney, Bridger       10/6/2023     2.9   Update plan deck with comments received from leadership


Trent, Hudson         10/6/2023     2.2   Prepare updated Plan recovery analysis flow chart for inclusion in
                                          refreshed Plan materials
Trent, Hudson         10/6/2023     0.8   Update Plan inputs and related materials for Venture investments
                                          update from PWP
Trent, Hudson         10/6/2023     0.7   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                          Witherspoon (A&M) re: Refresh the asset bridge commentary in the
                                          change deck
Trent, Hudson         10/6/2023     2.3   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                          Witherspoon (A&M) re: Reconcile ventures recovery percentages in
                                          Plan deck
Trent, Hudson         10/6/2023     1.6   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                          Witherspoon (A&M) re: Create a revised Proposed Plan waterfall
                                          schematic
Trent, Hudson         10/6/2023     2.2   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                          Witherspoon (A&M) re: Update the sensitivity analysis for customer
                                          recoveries
Trent, Hudson         10/6/2023     1.9   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                          Witherspoon (A&M) re: Reconcile customer claims figures within the
                                          Plan deck
Witherspoon, Samuel   10/6/2023     2.4   Update separate subsidiary tear sheets with latest plan recovery
                                          assumptions
Witherspoon, Samuel   10/6/2023     1.8   Create detailed summaries for scenarios relating to customer priority


Witherspoon, Samuel   10/6/2023     1.7   Finalize initial draft of the plan recovery materials for the October
                                          board meeting
Witherspoon, Samuel   10/6/2023     0.9   Review plan materials for allocable admin costs and other operating
                                          expenses
Witherspoon, Samuel   10/6/2023     1.5   Review bridges on asset values from prior Plan to October version


Witherspoon, Samuel   10/6/2023     0.7   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                          Witherspoon (A&M) re: Refresh the asset bridge commentary in the
                                          change deck
Witherspoon, Samuel   10/6/2023     1.9   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                          Witherspoon (A&M) re: Reconcile customer claims figures within the
                                          Plan deck




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Witherspoon, Samuel   10/6/2023     1.6   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                          Witherspoon (A&M) re: Create a revised Proposed Plan waterfall
                                          schematic
Witherspoon, Samuel   10/6/2023     2.2   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                          Witherspoon (A&M) re: Update the sensitivity analysis for customer
                                          recoveries
Witherspoon, Samuel   10/6/2023     2.3   Discussion with S. Coverick, H. Trent, J. Gonzalez, and S.
                                          Witherspoon (A&M) re: Reconcile ventures recovery percentages in
                                          Plan deck
Broskay, Cole         10/7/2023     0.8   Teleconference with K. Kearney, R. Gordon, C. Broskay(A&M) to
                                          review plan documents for potential edits
Coverick, Steve       10/7/2023     0.2   Teleconference with H. Trent, R. Gordon, S. Coverick(A&M) over
                                          changes to plan presentation
Gonzalez, Johnny      10/7/2023     1.3   Discussion with C. Sullivan & J. Gonzalez (A&M) to update the Plan
                                          materials to revive expunged claims
Gonzalez, Johnny      10/7/2023     2.5   Prepare the plan analysis waterfall for the crypto team's
                                          development of a preference calculation
Gonzalez, Johnny      10/7/2023     0.5   Prepare a variance analysis with the latest plan figures compared to
                                          the 9/11 materials
Gonzalez, Johnny      10/7/2023     1.6   Discussion with H. Trent, J. Gonzalez, S. Witherspoon, B. Tenney,
                                          and T. Ribman (A&M) re: Remove GGC claims from Change Deck
                                          bridges
Gonzalez, Johnny      10/7/2023     2.4   Discussion with J. Gonzalez, S. Witherspoon, B. Tenney, and T.
                                          Ribman (A&M) re: Reconcile recovery sensitivities in Plan Deck
Gonzalez, Johnny      10/7/2023     1.4   Discussion with J. Gonzalez, S. Witherspoon, B. Tenney, and T.
                                          Ribman (A&M) re: Revise customer claims section of Creditor
                                          Materials Deck
Gonzalez, Johnny      10/7/2023     2.2   Discussion with J. Gonzalez, S. Witherspoon, B. Tenney, and T.
                                          Ribman (A&M) re: Update Plan deck claims to reflect removal of
                                          GGC
Gonzalez, Johnny      10/7/2023     2.6   Discussion with H. Trent, J. Gonzalez, S. Witherspoon, B. Tenney,
                                          and T. Ribman (A&M) re: Incorporate Plan Deck comments from
                                          workstream leads
Gordon, Robert        10/7/2023     0.8   Teleconference with K. Kearney, R. Gordon, C. Broskay(A&M) to
                                          review plan documents for potential edits
Gordon, Robert        10/7/2023     0.2   Teleconference with H. Trent, R. Gordon, S. Coverick(A&M) over
                                          changes to plan presentation
Gordon, Robert        10/7/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) to review plan
                                          documents for potential edits
Gordon, Robert        10/7/2023     0.6   Preliminary review of plan documents for potential edits

Kearney, Kevin        10/7/2023     0.8   Teleconference with K. Kearney, R. Gordon, C. Broskay(A&M) to
                                          review plan documents for potential edits
Kearney, Kevin        10/7/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) to review plan
                                          documents for potential edits
Kearney, Kevin        10/7/2023     1.9   Prepare updated Alameda loans analysis and claims comparison for
                                          plan recovery analysis


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Professional               Date     Hours    Activity
Mosley, Ed              10/7/2023     1.3   Review of and provide comments to plan recovery presentation for
                                            upcoming creditor meetings
Ramanathan, Kumanan     10/7/2023     1.8   Review Plan recovery model presentation and provide feedback


Ribman, Tucker          10/7/2023     0.8   Update the general unsecured claims model feeder support for the
                                            removal of GGC claim
Ribman, Tucker          10/7/2023     1.0   Create a bridge for total estimated claims with customer claims
                                            removed
Ribman, Tucker          10/7/2023     0.9   Update pool asset table to account for admin and sep subs
                                            recoveries
Ribman, Tucker          10/7/2023     2.6   Discussion with H. Trent, J. Gonzalez, S. Witherspoon, B. Tenney,
                                            and T. Ribman (A&M) re: Incorporate Plan Deck comments from
                                            workstream leads
Ribman, Tucker          10/7/2023     1.4   Discussion with J. Gonzalez, S. Witherspoon, B. Tenney, and T.
                                            Ribman (A&M) re: Revise customer claims section of Creditor
                                            Materials Deck
Ribman, Tucker          10/7/2023     2.2   Discussion with J. Gonzalez, S. Witherspoon, B. Tenney, and T.
                                            Ribman (A&M) re: Update Plan deck claims to reflect removal of
                                            GGC
Ribman, Tucker          10/7/2023     1.6   Discussion with H. Trent, J. Gonzalez, S. Witherspoon, B. Tenney,
                                            and T. Ribman (A&M) re: Remove GGC claims from Change Deck
                                            bridges
Ribman, Tucker          10/7/2023     2.4   Discussion with J. Gonzalez, S. Witherspoon, B. Tenney, and T.
                                            Ribman (A&M) re: Reconcile recovery sensitivities in Plan Deck
Sullivan, Christopher   10/7/2023     1.3   Discussion with C. Sullivan & J. Gonzalez (A&M) to update the Plan
                                            materials to revive expunged claims
Sullivan, Christopher   10/7/2023     2.2   Incorporate detailed comments from S. Coverick (A&M) on the
                                            revised Plan recovery materials
Sullivan, Christopher   10/7/2023     2.4   Provide detailed comments for latest turn of proposed Plan materials

Sullivan, Christopher   10/7/2023     1.1   Discussion with C. Sullivan J. Gonzalez, S. Witherspoon & T.
                                            Ribman (A&M) to update proposed creditor materials per
                                            commentary from J. Ray (FTX) and S&C
Tenney, Bridger         10/7/2023     1.3   Prepare slides on post-effective governance structure contemplated
                                            in draft Plan
Tenney, Bridger         10/7/2023     1.8   Prepare summary slide for customer portal key performance
                                            indicators
Tenney, Bridger         10/7/2023     1.1   Update customer portal infographics for October creditor materials


Tenney, Bridger         10/7/2023     1.4   Discussion with J. Gonzalez, S. Witherspoon, B. Tenney, and T.
                                            Ribman (A&M) re: Revise customer claims section of Creditor
                                            Materials Deck
Tenney, Bridger         10/7/2023     1.6   Discussion with H. Trent, J. Gonzalez, S. Witherspoon, B. Tenney,
                                            and T. Ribman (A&M) re: Remove GGC claims from Change Deck
                                            bridges
Tenney, Bridger         10/7/2023     2.4   Discussion with J. Gonzalez, S. Witherspoon, B. Tenney, and T.
                                            Ribman (A&M) re: Reconcile recovery sensitivities in Plan Deck


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Professional             Date     Hours    Activity
Tenney, Bridger       10/7/2023     2.2   Discussion with J. Gonzalez, S. Witherspoon, B. Tenney, and T.
                                          Ribman (A&M) re: Update Plan deck claims to reflect removal of
                                          GGC
Tenney, Bridger       10/7/2023     2.6   Discussion with H. Trent, J. Gonzalez, S. Witherspoon, B. Tenney,
                                          and T. Ribman (A&M) re: Incorporate Plan Deck comments from
                                          workstream leads
Trent, Hudson         10/7/2023     0.2   Teleconference with H. Trent, R. Gordon, S. Coverick(A&M) over
                                          changes to plan presentation
Trent, Hudson         10/7/2023     1.6   Discussion with H. Trent, J. Gonzalez, S. Witherspoon, B. Tenney,
                                          and T. Ribman (A&M) re: Remove GGC claims from Change Deck
                                          bridges
Trent, Hudson         10/7/2023     2.6   Discussion with H. Trent, J. Gonzalez, S. Witherspoon, B. Tenney,
                                          and T. Ribman (A&M) re: Incorporate Plan Deck comments from
                                          workstream leads
Witherspoon, Samuel   10/7/2023     1.2   Finalize materials for bridging items from prior analysis to the
                                          October Plan
Witherspoon, Samuel   10/7/2023     2.4   Discussion with J. Gonzalez, S. Witherspoon, B. Tenney, and T.
                                          Ribman (A&M) re: Reconcile recovery sensitivities in Plan Deck
Witherspoon, Samuel   10/7/2023     2.6   Discussion with H. Trent, J. Gonzalez, S. Witherspoon, B. Tenney,
                                          and T. Ribman (A&M) re: Incorporate Plan Deck comments from
                                          workstream leads
Witherspoon, Samuel   10/7/2023     2.2   Discussion with J. Gonzalez, S. Witherspoon, B. Tenney, and T.
                                          Ribman (A&M) re: Update Plan deck claims to reflect removal of
                                          GGC
Witherspoon, Samuel   10/7/2023     1.1   Discussion with C. Sullivan J. Gonzalez, S. Witherspoon & T.
                                          Ribman (A&M) to update proposed creditor materials per
                                          commentary from J. Ray (FTX) and S&C
Witherspoon, Samuel   10/7/2023     1.6   Discussion with H. Trent, J. Gonzalez, S. Witherspoon, B. Tenney,
                                          and T. Ribman (A&M) re: Remove GGC claims from Change Deck
                                          bridges
Witherspoon, Samuel   10/7/2023     1.4   Discussion with J. Gonzalez, S. Witherspoon, B. Tenney, and T.
                                          Ribman (A&M) re: Revise customer claims section of Creditor
                                          Materials Deck
Cooper, James         10/8/2023     1.8   Update post-confirmation forecast model for revised assumptions re:
                                          venture manager, IT, other admin costs
Cooper, James         10/8/2023     1.3   Revise post-confirmation model mechanics to simplify professional
                                          fee function benchmarking
Cooper, James         10/8/2023     0.6   Prepare entity listing and toggle mechanic for post-confirmation
                                          model
Cooper, James         10/8/2023     1.7   Draft slides for post-confirmation forecast executive summary


Cooper, James         10/8/2023     0.9   Draft slides for post-confirmation forecast cost buckets

Coverick, Steve       10/8/2023     0.3   Call with E. Mosley, S. Coverick (A&M) to discuss changes to plan
                                          recovery analysis.
Gonzalez, Johnny      10/8/2023     0.7   Discussion with C. Sullivan & J. Gonzalez (A&M) re: develop of
                                          various plan analysis scenarios



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Gonzalez, Johnny        10/8/2023     2.7   Develop a bridge for the ventures investments totals from petition
                                            date to recoverable value
Gonzalez, Johnny        10/8/2023     1.4   Develop a bridge for the token receivables from petition date to
                                            recoverable value
Gonzalez, Johnny        10/8/2023     2.6   Prepare a plan analysis scenario for the Alameda intercompany
                                            changes
Gonzalez, Johnny        10/8/2023     2.3   Develop a plan scenario with an updated Dotcom shortfall calculation

Gonzalez, Johnny        10/8/2023     1.9   Prepare a plan scenario with updated US Pool related party claims


Gonzalez, Johnny        10/8/2023     2.4   Develop a plan scenario with 10% priority toggle

Mosley, Ed              10/8/2023     1.9   Review of and provide comments to 10/8 updated plan recovery
                                            presentation for upcoming creditor meetings
Mosley, Ed              10/8/2023     0.3   Call with E. Mosley, S. Coverick (A&M) to discuss changes to plan
                                            recovery analysis.
Mosley, Ed              10/8/2023     0.4   Review of and prepare comments to draft intercompany support
                                            slides
Ribman, Tucker          10/8/2023     2.4   Reconcile the differences in converted stablecoin value between
                                            unadjusted and adjusted figures
Ribman, Tucker          10/8/2023     2.2   Create an Appendix in the Plan Deck to break out investment in
                                            subsidiary entities
Ribman, Tucker          10/8/2023     1.7   Create a category A unadjusted value bridge from 8/31 to 9/30


Ribman, Tucker          10/8/2023     0.9   Update commentary for Digital Asset A prior analyses summary
                                            bridge
Ribman, Tucker          10/8/2023     0.6   Provide commentary for the petition date tokens receivable bridge


Ribman, Tucker          10/8/2023     1.1   Update Blockfolio tearsheet with updated plan implication information

Sagen, Daniel           10/8/2023     0.4   Respond to questions from K. Ramanathan (A&M) regarding Plan
                                            recovery digital asset materials
Sagen, Daniel           10/8/2023     1.2   Prepare digital asset bridge for Plan recovery presentation materials

Sullivan, Christopher   10/8/2023     1.6   Facilitate full tick and tie of latest draft of proposed Plan update
                                            materials for upcoming creditor meetings
Sullivan, Christopher   10/8/2023     0.6   Discussion with C. Sullivan and S. Witherspoon (A&M) to create
                                            revised sensitivity table for the shortfall calculation
Sullivan, Christopher   10/8/2023     0.7   Discussion with C. Sullivan & J. Gonzalez (A&M) re: develop of
                                            various plan analysis scenarios
Sullivan, Christopher   10/8/2023     0.7   Review edits to the Plan change deck


Tenney, Bridger         10/8/2023     1.2   Create tear sheets detailing specific investments in subsidiaries for
                                            Plan materials




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Tenney, Bridger       10/8/2023     2.2   Update preference policy summary slides for use in October creditor
                                          meetings
Tenney, Bridger       10/8/2023     2.5   Update FTX 2.0 potential bidder summary slides


Tenney, Bridger       10/8/2023     2.6   Create risks and benefits graphic for certain JPL proposals

Tenney, Bridger       10/8/2023     0.7   Revise JPL structural overview for creditor materials

Tenney, Bridger       10/8/2023     2.4   Revise JPL recovery and remittance payment flow chart


Tenney, Bridger       10/8/2023     1.1   Create summary graphics for FTX 2.0 bidder analysis

Trent, Hudson         10/8/2023     1.1   Prepare updated venture investment visual for inclusion in Plan
                                          recovery analysis materials
Trent, Hudson         10/8/2023     0.7   Review digital asset inputs bridge within Plan recovery analysis
                                          materials
Witherspoon, Samuel   10/8/2023     0.6   Summarize multiple scenarios of customer recoveries based on
                                          priority for upcoming board meeting
Witherspoon, Samuel   10/8/2023     2.8   Update plan recovery materials with updates from the broader A&M
                                          group
Witherspoon, Samuel   10/8/2023     1.3   Analyze the impact of non-customer GUC claims on customer
                                          recoveries
Witherspoon, Samuel   10/8/2023     2.3   Finalize plan materials for submission to the FTX board


Arnett, Chris         10/9/2023     1.9   Review and comment on latest plan recovery presentation

Cooper, James         10/9/2023     1.4   Revise post-confirmation model and materials for latest changes
                                          from internal calls
Coverick, Steve       10/9/2023     1.9   Review and provide comments on revised plan recovery analysis
                                          presentation with Ventures edits
Gonzalez, Johnny      10/9/2023     2.6   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: Refresh
                                          the related party figures in the support model
Gonzalez, Johnny      10/9/2023     2.4   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: Update
                                          the claims figures in the support model roll-up
Gonzalez, Johnny      10/9/2023     1.8   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re:
                                          Reconcile the tokens receivable petition date discrepancy
Gonzalez, Johnny      10/9/2023     2.2   Review and provide feedback to the plan team on updates needed
                                          to the plan support model
Gonzalez, Johnny      10/9/2023     1.9   Prepare the plan analysis waterfall in the external plan support model

Gonzalez, Johnny      10/9/2023     2.2   Develop a plan analysis support model for distribution to creditors


Gonzalez, Johnny      10/9/2023     1.9   Call with J. Gonzalez, D. Slay, B. Tenney, and T. Ribman (A&M) re:
                                          develop external plan support model for distribution




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Gordon, Robert          10/9/2023     2.2   Review updated version of the plan presentation for potential edits

Mosley, Ed              10/9/2023     2.1   Review of and provide comments to 10/9 updated plan recovery
                                            presentation for upcoming creditor meetings
Ribman, Tucker          10/9/2023     0.8   Update all tabs in the Plan recovery support file to ensure print
                                            readiness and standardized formatting
Ribman, Tucker          10/9/2023     1.8   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re:
                                            Reconcile the tokens receivable petition date discrepancy
Ribman, Tucker          10/9/2023     2.4   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: Update
                                            the claims figures in the support model roll-up
Ribman, Tucker          10/9/2023     1.3   Add asset support tabs to the Plan recovery support file

Ribman, Tucker          10/9/2023     0.4   Update header formatting within the Plan change deck


Ribman, Tucker          10/9/2023     1.4   Add Claims support tabs to the Plan recovery support

Ribman, Tucker          10/9/2023     1.9   Call with J. Gonzalez, D. Slay, B. Tenney, and T. Ribman (A&M) re:
                                            develop external plan support model for distribution
Ribman, Tucker          10/9/2023     2.6   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: Refresh
                                            the related party support figures in the support model
Slay, David             10/9/2023     1.9   Call with J. Gonzalez, D. Slay, B. Tenney, and T. Ribman (A&M) re:
                                            develop external plan support model for distribution
Sullivan, Christopher   10/9/2023     0.8   Create support schedule for estimated opex


Sullivan, Christopher   10/9/2023     1.4   Review alternative scenarios requested by AHC

Sullivan, Christopher   10/9/2023     0.9   Create support schedule for professional fees


Tenney, Bridger         10/9/2023     1.8   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re:
                                            Reconcile the tokens receivable petition date discrepancy
Tenney, Bridger         10/9/2023     2.6   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: Refresh
                                            the related party figures in the support model
Tenney, Bridger         10/9/2023     2.4   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: Update
                                            the claims figures in the support model roll-up
Tenney, Bridger         10/9/2023     0.3   Update status of venture investments and corresponding venture
                                            investment summaries
Tenney, Bridger         10/9/2023     2.1   Edit net distributable proceeds schematic for additions to sale
                                            proceeds
Tenney, Bridger         10/9/2023     1.6   Update proposed plan waterfall schematic for use in revised plan
                                            materials
Tenney, Bridger         10/9/2023     1.9   Call with J. Gonzalez, D. Slay, B. Tenney, and T. Ribman (A&M) re:
                                            develop external plan support model for distribution
Trent, Hudson           10/9/2023     1.3   Perform detailed review of Plan recovery analysis materials following
                                            incremental updates




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Trent, Hudson           10/9/2023     1.2   Incorporate updates from PWP on Venture investment materials in
                                            Plan recovery analysis
Trent, Hudson           10/9/2023     1.6   Prepare updated Plan recovery analysis flow chart based on S&C
                                            feedback
Trent, Hudson           10/9/2023     2.3   Incorporate updates to Plan recovery materials based on S&C
                                            feedback
Witherspoon, Samuel     10/9/2023     2.2   Create additional scenario analysis summaries on claims and
                                            recovery percentages
Witherspoon, Samuel     10/9/2023     0.9   Refine data inputs related to outstanding Venture Book investments


Witherspoon, Samuel     10/9/2023     1.3   Review separate subsidiary cash flows to analyze residual value

Witherspoon, Samuel     10/9/2023     2.6   Update allocable administration expense summary for upcoming
                                            plan refresh
Cooper, James          10/10/2023     0.7   Investigate comparable chapter 11 cases and create listing for post-
                                            confirmation budget analysis
Cooper, James          10/10/2023     0.6   Research comparable crypto cases and wind-down budget
                                            summaries
Coverick, Steve        10/10/2023     0.3   Call with E. Mosley, S. Coverick, H. Trent, T. Ribman (A&M) re: plan
                                            recovery sensitivity to claims analysis
Coverick, Steve        10/10/2023     2.4   Review and provide comments on GUC sensitivity analysis

Gonzalez, Johnny       10/10/2023     2.9   Call with C. Sullivan, J. Gonzalez, S. Witherspoon (A&M) to develop
                                            alternative plan analysis scenario deck
Gonzalez, Johnny       10/10/2023     0.6   Discussion with C. Sullivan, J. Gonzalez (A&M) to develop alternate
                                            plan analysis scenarios
Gonzalez, Johnny       10/10/2023     1.8   Discussion with J. Gonzalez & B. Tenney (A&M) re: external plan
                                            model development
Gonzalez, Johnny       10/10/2023     2.2   Develop a plan model scenario with the incorporation of excluded
                                            assets and claims
Gonzalez, Johnny       10/10/2023     2.9   Provide feedback to the plan team on updates needed to the plan
                                            support model
Gonzalez, Johnny       10/10/2023     1.7   Develop a plan model scenario with a 90% priority to certain claims

Gonzalez, Johnny       10/10/2023     2.1   Call with C. Sullivan, J. Gonzalez, S. Witherspoon, H. Trent (A&M)
                                            to modify slides for the alternative plan analysis scenario deck
Mosley, Ed             10/10/2023     0.7   Review of plan impact of BlockFi claims and asset inclusion
                                            presentation for upcoming creditor meeting
Mosley, Ed             10/10/2023     0.7   Review of Ad Hoc Committee scenario comparison presentation for
                                            upcoming creditor meeting
Mosley, Ed             10/10/2023     0.6   Review of plan sensitivity analysis presentation for upcoming
                                            creditor meeting
Mosley, Ed             10/10/2023     0.3   Discuss updates to the creditor presentations regarding plan
                                            sensitivities with A&M (S.Coverick, T.Ribman, H.Trent, E.Mosley)




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Disclosure Statement and Plan
Professional                 Date    Hours    Activity
Ramanathan, Kumanan     10/10/2023     0.3   Call with B. Seaway, K. Ramanathan (A&M) to discuss term sheet

Ribman, Tucker          10/10/2023     0.3   Call with E. Mosley, S. Coverick, H. Trent, T. Ribman (A&M) re: plan
                                             recovery sensitivity to claims analysis
Ribman, Tucker          10/10/2023     2.4   Develop a bridge from preliminary adjusted non customer claims to
                                             Plan claims
Ribman, Tucker          10/10/2023     1.6   Develop a bridge from total filed claims to preliminary adjusted non
                                             customer claims
Ribman, Tucker          10/10/2023     2.2   Create a slide showing total filed customer claims by category


Ribman, Tucker          10/10/2023     1.9   Create a slide that highlights major withdrawn and expunged claims

Ribman, Tucker          10/10/2023     1.2   Reconcile customer entitlement shortfall in the Plan support excel


Ribman, Tucker          10/10/2023     1.7   Update the claim counts for the top claimants within customer deck

Sullivan, Christopher   10/10/2023     2.9   Call with C. Sullivan, J. Gonzalez, S. Witherspoon (A&M) to develop
                                             alternative plan analysis scenario deck
Sullivan, Christopher   10/10/2023     0.6   Discussion with C. Sullivan, J. Gonzalez (A&M) to develop alternate
                                             plan analysis scenarios
Sullivan, Christopher   10/10/2023     1.6   Create analysis to give effect to Alameda lender claims and HOOD
                                             stock recovery
Sullivan, Christopher   10/10/2023     1.2   Update the Plan supplemental analyses per commentary from S.
                                             Coverick (A&M)
Sullivan, Christopher   10/10/2023     0.9   Provide comments to the Exclusive priority scenario

Sullivan, Christopher   10/10/2023     0.4   Review initial draft of the post confirmation budget


Sullivan, Christopher   10/10/2023     2.1   Call with C. Sullivan, J. Gonzalez, S. Witherspoon, H. Trent (A&M)
                                             to modify slides for the alternative plan analysis scenario deck
Tenney, Bridger         10/10/2023     1.2   Prepare support backup data for plan materials to be potentially
                                             shared with creditors
Tenney, Bridger         10/10/2023     1.6   Call with S. Witherspoon, B. Tenney (A&M) re: claims and customer
                                             recovery sensitivity analysis
Tenney, Bridger         10/10/2023     1.8   Discussion with J. Gonzalez & B. Tenney (A&M) re: external plan
                                             model development
Tenney, Bridger         10/10/2023     1.2   Update support backup material for scenario updates to the plan


Trent, Hudson           10/10/2023     0.3   Call with E. Mosley, S. Coverick, H. Trent, T. Ribman (A&M) re: plan
                                             recovery sensitivity to claims analysis
Trent, Hudson           10/10/2023     1.9   Prepare analysis of claims filed versus estimates in Plan recovery
                                             analysis
Trent, Hudson           10/10/2023     2.1   Call with C. Sullivan, J. Gonzalez, S. Witherspoon, H. Trent (A&M)
                                             to modify slides for the alternative plan analysis scenario deck




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Disclosure Statement and Plan
Professional                Date    Hours    Activity
Walia, Gaurav          10/10/2023     1.1   Review the final version of the plan recovery analysis and provide
                                            feedback
Witherspoon, Samuel    10/10/2023     2.9   Call with C. Sullivan, J. Gonzalez, S. Witherspoon (A&M) to develop
                                            alternative plan analysis scenario deck
Witherspoon, Samuel    10/10/2023     2.4   Finalize recovery updates to alternate plan analysis scenario deck
                                            based on edits from A&M team
Witherspoon, Samuel    10/10/2023     1.6   Call with S. Witherspoon, B. Tenney (A&M) re: claims and customer
                                            recovery sensitivity analysis
Witherspoon, Samuel    10/10/2023     1.1   Analyze impact of potential claims for the GUC recovery pool


Witherspoon, Samuel    10/10/2023     2.1   Call with C. Sullivan, J. Gonzalez, S. Witherspoon, H. Trent (A&M)
                                            to modify slides for the alternative plan analysis scenario deck
Coverick, Steve        10/11/2023     1.4   Review and provide comments on revised preference analysis
                                            following feedback from UCC / AHC
Coverick, Steve        10/11/2023     1.3   Review and provide comments on revised plan sensitivity analysis
                                            following feedback from UCC / AHC
Gonzalez, Johnny       10/11/2023     2.4   Prepare a sensitivity analysis for the plan with Dotcom only priority
                                            scenario
Gonzalez, Johnny       10/11/2023     2.6   Update the external plan analysis external support model with latest
                                            assumptions
Gonzalez, Johnny       10/11/2023     1.2   Update the plan analysis waterfalls for the UCC plan scenario

Gonzalez, Johnny       10/11/2023     2.9   Prepare a plan recovery analysis with Dotcom only priority


Gonzalez, Johnny       10/11/2023     0.7   Call with C. Sullivan, S. Witherspoon & J. Gonzalez (A&M) to work
                                            through additional Plan priority shortfall scenarios
Mosley, Ed             10/11/2023     0.4   Discuss negotiation of terms with creditors with S&C (A.Kranzley,
                                            B.Glueckstein)
Mosley, Ed             10/11/2023     1.1   Review of UCC feedback on term sheet negotiations of the plan

Mosley, Ed             10/11/2023     2.2   Review of final materials for creditors to prepare for meetings


Mosley, Ed             10/11/2023     1.2   Review of Ad Hoc feedback on term sheet negotiations

Ribman, Tucker         10/11/2023     2.2   Update the tearsheet of emergent fidelity technologies to account for
                                            sale of HOOD shares
Ribman, Tucker         10/11/2023     2.1   Update appendix materials of the claims deck in preparation of
                                            creditor meetings
Ribman, Tucker         10/11/2023     1.9   Create a Mekko chart of venture investments by funded amount

Ribman, Tucker         10/11/2023     2.1   Reconcile US/Alameda shortfall claim in the Plan support model


Ribman, Tucker         10/11/2023     0.4   Create tearsheet of plan support assets and claims




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Professional                 Date    Hours    Activity
Ribman, Tucker          10/11/2023     1.1   Reconcile the silos of legal entities in the support master

Ribman, Tucker          10/11/2023     0.7   Update not customer claims graphic to segment by category


Sullivan, Christopher   10/11/2023     0.7   Call with C. Sullivan, S. Witherspoon & J. Gonzalez to work through
                                             additional Plan priority shortfall scenarios
Sullivan, Christopher   10/11/2023     0.9   Call with C. Sullivan & S. Witherspoon (A&M) to make updates to
                                             the Dotcom-Only priority scenario analysis
Sullivan, Christopher   10/11/2023     1.3   Call with C. Sullivan & S. Witherspoon (A&M) to update alternative
                                             Plan recovery scenarios
Sullivan, Christopher   10/11/2023     1.2   Create various dotcom priority recovery scenarios

Sullivan, Christopher   10/11/2023     1.4   Create various exclusive priority recovery scenarios


Tenney, Bridger         10/11/2023     1.3   Review customer recovery sensitivity based on claims recoveries

Tenney, Bridger         10/11/2023     1.1   Update external plan support model with support data for plan
                                             materials
Tenney, Bridger         10/11/2023     1.3   Call with B. Tenney and J. Bolduc (A&M) to update contract review
                                             summary deck to reflect prepetition contracts with post-emergence
                                             use
Witherspoon, Samuel     10/11/2023     0.7   Call with C. Sullivan, S. Witherspoon & J. Gonzalez to work through
                                             additional Plan priority shortfall scenarios
Witherspoon, Samuel     10/11/2023     0.7   Call with C. Sullivan, S. Witherspoon & J. Gonzalez (A&M) to work
                                             through additional Plan priority shortfall scenarios
Witherspoon, Samuel     10/11/2023     0.9   Call with C. Sullivan & S. Witherspoon (A&M) to make updates to
                                             the Dotcom-Only priority scenario analysis
Witherspoon, Samuel     10/11/2023     1.3   Call with C. Sullivan & S. Witherspoon (A&M) to update alternative
                                             Plan recovery scenarios
Witherspoon, Samuel     10/11/2023     1.6   Finalize summary tables related to multiple scenario recovery views
                                             including Dotcom-Only priority
Witherspoon, Samuel     10/11/2023     0.9   Refine analysis of Dotcom-Only priority based on edits from A&M
                                             team
Cooper, James           10/12/2023     1.3   Research comparable chapter 11 cases and wind down assumptions


Coverick, Steve         10/12/2023     2.7   Review and provide comments on revised draft of plan recovery
                                             analysis incorporating latest terms discussed with UCC / AHC
Esposito, Rob           10/12/2023     0.4   Discuss plan solicitation mechanics with A Kranzley (S&C) and R
                                             Esposito (A&M)
Gonzalez, Johnny        10/12/2023     2.6   Discussion with J. Gonzalez & B. Tenney (A&M) re: process updates
                                             to the plan support external model
Gonzalez, Johnny        10/12/2023     1.8   Discussion with J. Gonzalez and D. Slay (A&M) re: Discuss FTX
                                             claims for plan consideration case comparison
Gonzalez, Johnny        10/12/2023     2.1   Discussion with J. Gonzalez, B. Tenney (A&M) re: prepare summary
                                             of claims held against FTX DM


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Johnston, David         10/12/2023     1.8   Review proposed treatment of potentially dismissed entities in draft
                                             plan
Johnston, David         10/12/2023     1.6   Review proposed treatment of separate subs in draft plan


Ribman, Tucker          10/12/2023     1.2   Discussion with B. Tenney and T. Ribman (A&M) to discuss claims
                                             against FDM
Ribman, Tucker          10/12/2023     1.3   Discussion with H. Trent and T. Ribman (A&M) to discuss FDM
                                             recovery model
Ribman, Tucker          10/12/2023     0.7   Update FTX PropCo values in the model feeder


Ribman, Tucker          10/12/2023     1.1   Discussion with H. Trent and T. Ribman (A&M) to update the LE
                                             deck with implications of HOOD share repayment on Emergent
                                             Fidelity Technologies
Ribman, Tucker          10/12/2023     2.7   Discussion with B. Tenney, T. Ribman (A&M) re: review scheduled
                                             claims materials for claims relating to JPL propositions and FDM
Slay, David             10/12/2023     1.8   Discussion with J. Gonzalez and D. Slay (A&M) re: Discuss FTX
                                             claims for plan consideration case comparison
Sullivan, Christopher   10/12/2023     1.4   Create additional supplemental Plan materials to update for latest
                                             Plan negotiations
Sullivan, Christopher   10/12/2023     0.8   Review the JPL settlement calculator


Sullivan, Christopher   10/12/2023     1.9   Create a summary of remaining open items for Plan discussions

Sullivan, Christopher   10/12/2023     1.7   Provide comments to various scenarios provided by S. Witherspoon
                                             (A&M)
Sullivan, Christopher   10/12/2023     1.9   Update various Dotcom priority scenarios

Sullivan, Christopher   10/12/2023     2.1   Create sensitivity table for Dotcom Only priority scenario

Tenney, Bridger         10/12/2023     2.1   Discussion with J. Gonzalez, B. Tenney (A&M) re: prepare summary
                                             of claims held against FTX DM
Tenney, Bridger         10/12/2023     1.2   Discussion with B. Tenney and T. Ribman (A&M) to discuss claims
                                             against FDM
Tenney, Bridger         10/12/2023     2.7   Discussion with B. Tenney, T. Ribman (A&M) re: review scheduled
                                             claims materials for claims relating to JPL propositions and FDM
Trent, Hudson           10/12/2023     1.3   Discussion with H. Trent and T. Ribman (A&M) to discuss FDM
                                             recovery model
Trent, Hudson           10/12/2023     1.1   Discussion with H. Trent and T. Ribman (A&M) to update the LE
                                             deck with implications of HOOD share repayment on Emergent
                                             Fidelity Technologies
Witherspoon, Samuel     10/12/2023     1.7   Reconcile stablecoin conversions through September 2023 to align
                                             cash and token inputs
Witherspoon, Samuel     10/12/2023     1.4   Summarize changes in separate subsidiary residual value from prior
                                             Plan materials
Witherspoon, Samuel     10/12/2023     1.8   Update plan recovery analysis materials with adjustments to asset
                                             discounts

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Witherspoon, Samuel     10/12/2023     2.3   Analyze impact of post-petition intercompany matrix on creditor
                                             recoveries
Cooper, James           10/13/2023     2.3   Draft updates to wind down budget materials for initial comps
                                             analysis
Coverick, Steve         10/13/2023     2.4   Review and provide comments on summary of creditor plan
                                             negotiations presentation for board
Coverick, Steve         10/13/2023     0.7   Review and provide comments on revised draft of press release re:
                                             plan settlement
Coverick, Steve         10/13/2023     0.7   Review and provide comments on revised markup of plan term sheet


Coverick, Steve         10/13/2023     0.9   Review and provide comments on revised markup of RSA

Gonzalez, Johnny        10/13/2023     1.3   Discussion with J. Gonzalez & B. Tenney (A&M) re: development of
                                             a claims bridge for the Genesis claims
Gonzalez, Johnny        10/13/2023     1.1   Develop a variance for the latest plan recovery analysis compared to
                                             the September 11 materials
Gonzalez, Johnny        10/13/2023     1.7   Develop slides for a summary plan analysis presentation for the FTX
                                             Board
Mosley, Ed              10/13/2023     1.6   Review of and provide comments to draft claim tearsheets in
                                             connection with RSA and public disclosures
Mosley, Ed              10/13/2023     1.2   Review of and prepare comments to draft RSA term sheet reflecting
                                             debtor understanding
Mosley, Ed              10/13/2023     2.3   Review of and prepare comments to draft RSA reflecting debtor
                                             understanding
Mosley, Ed              10/13/2023     0.8   Review of and prepare comments to draft press release

Ribman, Tucker          10/13/2023     1.3   Discussion with J. Gonzalez & B. Tenney (A&M) re: development of
                                             a claims bridge for the Genesis claims
Ribman, Tucker          10/13/2023     0.8   Create template for Plan deck refresh with 66% customer priority

Ribman, Tucker          10/13/2023     2.1   Remove and the expired support tabs from the model support master


Ribman, Tucker          10/13/2023     1.3   Add the allocable admin expense support to the model support
                                             master
Ribman, Tucker          10/13/2023     0.9   Update how FBO cash is pulled into model feeder

Ribman, Tucker          10/13/2023     0.8   Update how PF Cash is brought into the Model feeder


Ribman, Tucker          10/13/2023     1.8   Update the executive summary in the 66% priority deck

Sullivan, Christopher   10/13/2023     1.1   Discussion with C. Sullivan & H. Trent (A&M) to create updated BoD
                                             materials to summarize creditor negotiations
Sullivan, Christopher   10/13/2023     1.1   Provide comments to updates waterfall adjusted for proposed Plan
                                             settlements




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Professional                 Date    Hours    Activity
Sullivan, Christopher   10/13/2023     1.7   Edits updated BoD materials to update for comments from S.
                                             Coverick (A&M)
Sullivan, Christopher   10/13/2023     1.8   Create summary analysis for various constituent RSA mark-ups


Sullivan, Christopher   10/13/2023     1.3   Review and provide comments to the proposed press release

Sullivan, Christopher   10/13/2023     1.4   Create updated workflow summary for Plan

Sullivan, Christopher   10/13/2023     1.6   Create outline for summarized update materials for the BoD


Tenney, Bridger         10/13/2023     1.3   Discussion with J. Gonzalez & B. Tenney (A&M) re: development of
                                             a claims bridge for the Genesis claims
Tenney, Bridger         10/13/2023     1.1   Update plan deck with updated customer shortfall calculations


Trent, Hudson           10/13/2023     1.1   Discussion with C. Sullivan & H. Trent (A&M) to create updated BoD
                                             materials to summarize creditor negotiations
Witherspoon, Samuel     10/13/2023     2.1   Refresh plan recovery materials for adjustments to asset value on
                                             sellable investments
Witherspoon, Samuel     10/13/2023     1.9   Create new materials to summarize the sources of creditor
                                             recoveries
Coverick, Steve         10/14/2023     0.8   Review and provide comments on UCC markup of RSA

Coverick, Steve         10/14/2023     0.6   Review and provide comments on UCC markup of plan term sheet


Coverick, Steve         10/14/2023     0.7   Review and provide comments on AHC markup of RSA

Coverick, Steve         10/14/2023     0.4   Review and provide comments on AHC markup of plan term sheet


Mosley, Ed              10/14/2023     1.1   Review of draft RSA term sheet reflecting Ad Hoc group and UCC
                                             edits
Mosley, Ed              10/14/2023     0.6   Review of and prepare comments to updated draft press release


Mosley, Ed              10/14/2023     1.3   Review of draft RSA reflecting Ad Hoc group and UCC edits

Ramanathan, Kumanan     10/14/2023     0.8   Review of updated restructuring support agreement term sheet

Ribman, Tucker          10/14/2023     1.6   Standardize the mechanics of each support master table


Sullivan, Christopher   10/14/2023     0.6   Discussion with C. Sullivan & H. Trent (A&M) to summarize UCC
                                             mark-ups to the draft RSA
Sullivan, Christopher   10/14/2023     1.7   Create summary table comparing UCC and AHC comments to the
                                             RSA term sheet
Sullivan, Christopher   10/14/2023     1.2   Review AHC mark up of the draft RSA




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Disclosure Statement and Plan
Professional                 Date    Hours    Activity
Trent, Hudson           10/14/2023     0.6   Discussion with C. Sullivan & H. Trent (A&M) to summarize UCC
                                             mark-ups to the draft RSA
Coverick, Steve         10/15/2023     2.7   Call re: plan term sheet / RSA page turn with Eversheds (E.
                                             Broderick and others), Rothschild (C. Delo and others), FTI (S.
                                             Simms, others), PH (E. Gilad and others), S&C (A. Dietderich and
                                             others), A&M (E. Mosley, S. Coverick, K. Ramanathan, C. Sullivan)
Mosley, Ed              10/15/2023     0.4   Review of and provide comments to draft creditor tear sheet in
                                             connection with signing of the PSA
Mosley, Ed              10/15/2023     2.7   Participate in morning session regarding open Plan Term Sheet
                                             issues with MNAT, Entwistle, FTI, Eversheds, Rothschild, Jefferies,
                                             PH, various AHC and UCC members, S&C, PWP, E. Mosley, S.
                                             Coverick, K. Ramanathan, R. Esposito, and H. Trent (A&M)
Ramanathan, Kumanan     10/15/2023     1.2   Review of RSA and term sheet comments from UCC and AHC

Ramanathan, Kumanan     10/15/2023     2.7   Call re: plan term sheet / RSA page turn with Eversheds (E.
                                             Broderick and others), Rothschild (C. Delo and others), FTI (S.
                                             Simms, others), PH (E. Gilad and others), S&C (A. Dietderich and
                                             others), A&M (E. Mosley, S. Coverick, K. Ramanathan, C. Sullivan)
Sullivan, Christopher   10/15/2023     0.8   Create a summary of changes for the latest draft of the RSA term
                                             sheet
Sullivan, Christopher   10/15/2023     1.6   Update summary table with latest comments from UCC & AHC


Sullivan, Christopher   10/15/2023     1.3   Update the Plan timeline for milestones included in the PSA

Sullivan, Christopher   10/15/2023     0.9   Create summary of latest draft of the RSA


Sullivan, Christopher   10/15/2023     2.7   Call re: plan term sheet / RSA page turn with Eversheds (E.
                                             Broderick and others), Rothschild (C. Delo and others), FTI (S.
                                             Simms, others), PH (E. Gilad and others), S&C (A. Dietderich and
                                             others), A&M (E. Mosley, S. Coverick, K. Ramanathan, C. Sullivan)
Sullivan, Christopher   10/15/2023     0.6   Discussion with C. Sullivan & H. Trent (A&M) create summary
                                             analysis comparing the Debtors', UCC & AHC long form RSA
                                             comments
Trent, Hudson           10/15/2023     1.2   Prepare materials for provision to the Board regarding outstanding
                                             Plan negotiating points
Trent, Hudson           10/15/2023     0.9   Compile updates to press release and RSA term sheet comparison
                                             for provision to the Board
Trent, Hudson           10/15/2023     0.7   Prepare RSA term sheet comparison materials for advisor reference

Trent, Hudson           10/15/2023     0.6   Discussion with C. Sullivan & H. Trent (A&M) create summary
                                             analysis comparing the Debtors', UCC & AHC long form RSA
                                             comments
Cooper, James           10/16/2023     2.3   Revise post-confirmation budget discussion materials based on
                                             internal comments
Cooper, James           10/16/2023     1.9   Draft post-confirmation workplan and Gantt chart for timing of
                                             deliverables
Coverick, Steve         10/16/2023     0.6   Discussion with S.Coverick (A&M) regarding plan timeline,
                                             workstreams and milestones

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Professional                 Date    Hours    Activity
Coverick, Steve         10/16/2023     1.8   Review and provide comments on confirmation t-minus schedule

Gonzalez, Johnny        10/16/2023     1.8   Update the model plan for the removal of various ad hoc scenarios


Gonzalez, Johnny        10/16/2023     2.2   Develop a calendar of events for the plan confirmation timeline

Gonzalez, Johnny        10/16/2023     2.1   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: Relink
                                             the support master model feeder to account for removed tabs
Gonzalez, Johnny        10/16/2023     2.4   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: Update
                                             the executive summary slides in the Plan deck to reflect the 66%
                                             customer priority
Mosley, Ed              10/16/2023     0.6   Discussion with S.Coverick (A&M) regarding plan timeline,
                                             workstreams and milestones
Mosley, Ed              10/16/2023     0.2   Review of UCC redline to RSA

Mosley, Ed              10/16/2023     0.3   Review of UCC redline to RSA term sheet


Mosley, Ed              10/16/2023     0.2   Call with S.Simms (FTI) regarding PSA

Mosley, Ed              10/16/2023     1.1   Review of final version of the RSA, term sheet and PSA


Mosley, Ed              10/16/2023     0.5   Participate in meeting with J.Ray (FTX) and A&M (E.Mosley,
                                             S.Coverick, K.Ramanathan) regarding crypto related issues with
                                             regard to PSA
Ramanathan, Kumanan     10/16/2023     0.3   Review of draft press release and tweet and provide comments

Ribman, Tucker          10/16/2023     1.5   Update the Plan support file to account for the updated 66%
                                             customer priority
Ribman, Tucker          10/16/2023     0.4   Update formatting within the customer entitlements tab

Ribman, Tucker          10/16/2023     1.7   Clean the expired names from the support master


Ribman, Tucker          10/16/2023     2.1   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: Relink
                                             the support master model feeder to account for removed tabs
Ribman, Tucker          10/16/2023     2.4   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: Update
                                             the executive summary slides in the Plan deck to reflect the 66%
                                             customer priority
Sullivan, Christopher   10/16/2023     1.2   Provide comments to latest draft of Plan materials incorporating
                                             latest terms per the finalized RSA
Sullivan, Christopher   10/16/2023     0.6   Review final draft of the RSA term sheet

Sullivan, Christopher   10/16/2023     0.7   Create summary of RSA changes in the final draft


Sullivan, Christopher   10/16/2023     1.1   Revise the t-minus Gantt chart for Plan effectiveness




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Disclosure Statement and Plan
Professional                 Date    Hours    Activity
Sullivan, Christopher   10/16/2023     2.1   Create Plan effectiveness workflow calendar

Tenney, Bridger         10/16/2023     1.8   Update plan recovery support model for updates to recovery shortfall


Tenney, Bridger         10/16/2023     1.7   Prepare BoD summary deck to follow-up on creditor meetings

Tenney, Bridger         10/16/2023     2.4   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: Update
                                             the executive summary slides in the Plan deck to reflect the 66%
                                             customer priority
Tenney, Bridger         10/16/2023     2.1   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: Relink
                                             the support master model feeder to account for removed tabs
Trent, Hudson           10/16/2023     1.9   Prepare analysis of accounting records for investment in subsidiary
                                             balance included in Plan recovery analysis
Trent, Hudson           10/16/2023     2.4   Develop updated analysis of certain non-debtor subsidiaries
                                             included in Plan recovery analysis
Trent, Hudson           10/16/2023     0.4   Provide feedback on refresh of Plan recovery analysis based on
                                             RSA terms
Trent, Hudson           10/16/2023     1.8   Incorporate comments to illustrative case timeline based on review
                                             of RSA
Trent, Hudson           10/16/2023     1.3   Prepare inputs listing for RSA milestone visual timeline


Witherspoon, Samuel     10/16/2023     2.1   Analyze impacts of customer entitlement recoveries amongst
                                             several waterfall scenarios
Cooper, James           10/17/2023     1.2   Revise post-confirmation budget discussion materials based on
                                             revised assumptions and comps research
Cooper, James           10/17/2023     0.9   Research plan of reorganizations from comparable cases and wind
                                             down assumptions
Coverick, Steve         10/17/2023     0.9   Discuss confirmation milestones and workplan with A. Kranzley
                                             (S&C), E. Mosley, S. Coverick (A&M)
Coverick, Steve         10/17/2023     2.4   Review and provide comments on revised confirmation t-minus
                                             schedule / presentation
Coverick, Steve         10/17/2023     0.5   Call with S. Coverick, C. Sullivan (A&M) to discuss confirmation t-
                                             minus schedule
Gonzalez, Johnny        10/17/2023     0.4   Call regarding Plan recovery model with J. Gonzalez, S.
                                             Witherspoon, and H. Trent (A&M)
Gonzalez, Johnny        10/17/2023     2.8   Prepare a presentation for the calendar of events for the plan
                                             confirmation timeline
Gonzalez, Johnny        10/17/2023     2.4   Develop of a Plan Effectiveness Timeline summary with a t-minus
                                             schedule
Gonzalez, Johnny        10/17/2023     2.1   Modify the calendar of events for the plan confirmation timeline

Gonzalez, Johnny        10/17/2023     3.1   Update the plan recovery model for the latest assumptions from the
                                             RSA
Gonzalez, Johnny        10/17/2023     2.4   Draft commentary in the plan calendar timeline presentation




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Disclosure Statement and Plan
Professional                 Date    Hours    Activity
Gonzalez, Johnny        10/17/2023     2.2   Call with C. Sullivan, J. Gonzalez & B. Tenney (A&M) to update the
                                             Plan Effectiveness t-minus presentation per commentary from S.
                                             Coverick (A&M)
Mosley, Ed              10/17/2023     1.1   Discussion with S.Coverick (A&M) regarding plan deliverables and
                                             timeline
Mosley, Ed              10/17/2023     0.9   Discuss the overall case timeline with particular focus on the
                                             disclosure statement with A.Kranzley (S&C) and A&M (E.Mosley,
                                             S.Coverick)
Ribman, Tucker          10/17/2023     1.8   Call with B. Tenney and T. Ribman (A&M) re: Update the Plan
                                             Effectiveness Timeline in the Plan timeline deck
Ribman, Tucker          10/17/2023     0.8   Update the dismissed / excluded entities in the LE deck with
                                             refreshed descriptive information
Ribman, Tucker          10/17/2023     0.8   Update the Alameda Org charts in the Plan deck with refreshed
                                             entity information
Ribman, Tucker          10/17/2023     2.1   Update the LiquidEx tearsheet to reflect updated accounting
                                             information
Ribman, Tucker          10/17/2023     1.9   Respond to comments from H. Trent (A&M) in the 66% Priority Plan
                                             deck
Ribman, Tucker          10/17/2023     0.4   Update the Plan Timeline Gantt chart with updated milestones

Ribman, Tucker          10/17/2023     0.9   Refresh the Plan deck with updated terminology from the RSA


Ribman, Tucker          10/17/2023     1.1   Standardize formatting throughout the 66% Plan deck

Sagen, Daniel           10/17/2023     0.6   Call with C. Sullivan, G. Walia, H. Trent & D. Sagen (A&M) to
                                             discuss Plan mechanics and development of the distribution model
Sullivan, Christopher   10/17/2023     1.1   Provide comments to first draft of case comps analysis for
                                             disclosure statements of other crypto industry companies
Sullivan, Christopher   10/17/2023     1.1   Communications with various A&M workstream leads to develop the
                                             Plan Effective t-minus workflow input
Sullivan, Christopher   10/17/2023     0.8   Provide detailed comments to revised t-minus calendar for materials
                                             to be deliver to J. Ray (FTX)
Sullivan, Christopher   10/17/2023     2.4   Create initial draft of Plan T-minus workflow through effectiveness
                                             presentation
Sullivan, Christopher   10/17/2023     1.8   Update the T-minus calendar per commentary from S. Coverick
                                             (A&M)
Sullivan, Christopher   10/17/2023     0.7   Further reconciliation of expunged claims in the Plan materials

Sullivan, Christopher   10/17/2023     0.8   Provide comments to disclosure statement comparison

Sullivan, Christopher   10/17/2023     2.2   Call with C. Sullivan, J. Gonzalez & B. Tenney (A&M) to update the
                                             Plan Effectiveness t-minus presentation per commentary from S.
                                             Coverick (A&M)
Sullivan, Christopher   10/17/2023     0.6   Call with C. Sullivan, G. Walia, H. Trent & D. Sagen (A&M) to
                                             discuss Plan mechanics and development of the distribution model



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Disclosure Statement and Plan
Professional               Date    Hours    Activity
Tenney, Bridger       10/17/2023     1.8   Call with B. Tenney and T. Ribman (A&M) re: Update the Plan
                                           Effectiveness Timeline in the Plan timeline deck
Tenney, Bridger       10/17/2023     1.2   Update plan effectiveness timeline with comments from leadership


Tenney, Bridger       10/17/2023     2.2   Prepare Plan effectiveness timeline based on RSA

Tenney, Bridger       10/17/2023     2.2   Call with C. Sullivan, J. Gonzalez & B. Tenney (A&M) to update the
                                           Plan Effectiveness t-minus presentation per commentary from S.
                                           Coverick (A&M)
Trent, Hudson         10/17/2023     0.4   Call regarding Plan recovery model with J. Gonzalez, S.
                                           Witherspoon, and H. Trent (A&M)
Trent, Hudson         10/17/2023     1.9   Review / provide detailed feedback on refreshed Plan recovery
                                           analysis materials
Trent, Hudson         10/17/2023     1.4   Update case timeline analysis with feedback from S&C and PWP
                                           prior to distribution
Trent, Hudson         10/17/2023     0.6   Call with C. Sullivan, G. Walia, H. Trent & D. Sagen (A&M) to
                                           discuss Plan mechanics and development of the distribution model
Witherspoon, Samuel   10/17/2023     0.4   Call regarding Plan recovery model with J. Gonzalez, S.
                                           Witherspoon, and H. Trent (A&M)
Cooper, James         10/18/2023     1.6   Research comparable case claims and distributions for internal
                                           discussions re: wind down budget
Cooper, James         10/18/2023     0.6   Update post confirmation materials for revised D&O insurance
                                           assumption
Cooper, James         10/18/2023     1.3   Revise comps analysis matrix for wind down budget materials


Coverick, Steve       10/18/2023     0.3   Discussion with S. Coverick, C. Sullivan, H. Trent, J. Gonzalez
                                           (A&M) re: confirmation t-minus schedule
Coverick, Steve       10/18/2023     0.5   Discussion with S. Coverick & C. Sullivan (A&M) to strategize
                                           disclosure statement workstreams and timeline
Coverick, Steve       10/18/2023     1.9   Review and provide comments on updated draft of confirmation
                                           timeline / t-minus presentation for CEO / Board
Coverick, Steve       10/18/2023     1.1   Discussion with S. Coverick, H. Trent (A&M) re: plan confirmation
                                           timeline presentation
Coverick, Steve       10/18/2023     0.5   Discussion with E. Mosley (A&M) regarding case workstreams and
                                           timing based on RSA milestones
Coverick, Steve       10/18/2023     2.4   Make edits to confirmation t-minus schedule

Duncan, Ryan          10/18/2023     2.8   Discussion with D. Slay, R. Duncan, and T. Ribman (A&M) to build a
                                           wind-down expense case comparison for LBHI
Gonzalez, Johnny      10/18/2023     0.7   Discussion with C. Sullivan & J. Gonzalez (A&M) with M. Rahmani
                                           (PWP) to discuss 2.0 process and Plan implications
Gonzalez, Johnny      10/18/2023     0.3   Discussion with S. Coverick, C. Sullivan, H. Trent, J. Gonzalez
                                           (A&M) re: confirmation t-minus schedule
Gonzalez, Johnny      10/18/2023     0.2   Call with M. Rahmani (PWP), C. Sullivan, J. Gonzalez (A&M) to
                                           discuss FTX 2.0 timeline


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Professional                 Date    Hours    Activity
Gonzalez, Johnny        10/18/2023     1.7   Discussion with C. Sullivan, J. Gonzalez (A&M) to modify the Plan
                                             Effectiveness t-minus schedule
Gonzalez, Johnny        10/18/2023     1.7   Modify the plan effectiveness t-minus summary based on
                                             commentary from M. Rahmani (PWP)
Gonzalez, Johnny        10/18/2023     2.1   Modify the plan effectiveness t-minus summary based on
                                             commentary from E. Mosley (A&M)
Gonzalez, Johnny        10/18/2023     1.4   Modify the plan effectiveness t-minus summary based on
                                             commentary from S&C
Gonzalez, Johnny        10/18/2023     1.4   Develop the claims mapping for a full subcon plan analysis waterfall
                                             scenario
Gonzalez, Johnny        10/18/2023     1.8   Develop the assets mapping for a full subcon plan analysis waterfall
                                             scenario
Gonzalez, Johnny        10/18/2023     1.6   Update the detailed t-minus schedule for the plan effectiveness
                                             presentation
Mosley, Ed              10/18/2023     0.5   Discussion with S.Coverick (A&M) regarding case workstreams and
                                             timing based on RSA milestones
Mosley, Ed              10/18/2023     2.4   Review of and prepare comments to draft of plan and case timeline
                                             with RSA milestones
Ribman, Tucker          10/18/2023     2.8   Discussion with D. Slay, R. Duncan, and T. Ribman (A&M) to build a
                                             wind-down expense case comparison for LBHI
Ribman, Tucker          10/18/2023     0.6   Reconcile the investments in subsidiary value difference for JPN
                                             Holdings and LiquidEx
Ribman, Tucker          10/18/2023     1.4   Reconcile the Alameda lender loan payable pending amount within
                                             the Plan deck
Ribman, Tucker          10/18/2023     1.3   Update the Dotcom Org chart to reflect the current dismissed /
                                             excluded entities
Ribman, Tucker          10/18/2023     1.6   Incorporate to the second round of comments into the 66% Plan
                                             deck
Ribman, Tucker          10/18/2023     0.8   Refresh the appendix D descriptive info in the 66% Plan Deck

Slay, David             10/18/2023     2.8   Discussion with D. Slay, R. Duncan, and T. Ribman (A&M) to build a
                                             wind-down expense case comparison for LBHI
Sullivan, Christopher   10/18/2023     0.5   Discussion with S. Coverick & C. Sullivan (A&M) to strategize
                                             disclosure statement workstreams and timeline
Sullivan, Christopher   10/18/2023     0.7   Discussion with C. Sullivan & H. Trent (A&M) to make adjustments
                                             to the revised T-minus calendar for RSA milestones
Sullivan, Christopher   10/18/2023     0.7   Discussion with C. Sullivan & J. Gonzalez (A&M) with M. Rahmani
                                             (PWP) to discuss 2.0 process and Plan implications
Sullivan, Christopher   10/18/2023     0.3   Discussion with S. Coverick, C. Sullivan, H. Trent, J. Gonzalez
                                             (A&M) re: confirmation t-minus schedule
Sullivan, Christopher   10/18/2023     1.2   Provide comments for the case comparables analysis related to the
                                             disclosure statement exhibits
Sullivan, Christopher   10/18/2023     1.4   Detail review latest iteration of the T-minus calendar for key Plan
                                             workstreams




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Disclosure Statement and Plan
Professional                 Date    Hours    Activity
Sullivan, Christopher   10/18/2023     1.3   Draft questions related to customer property issues related to
                                             various analyses
Sullivan, Christopher   10/18/2023     1.5   Create summary t-minus schedule from the detail workstream
                                             calendar
Sullivan, Christopher   10/18/2023     0.9   Incorporate commentary from A. Kranzley (S&C) into the revised T-
                                             minus Plan calendar
Sullivan, Christopher   10/18/2023     0.7   Discussion with C. Sullivan & H. Trent (A&M) to address comments
                                             from A. Kranzley (S&C) on updates to the T-Minus presentation
Trent, Hudson           10/18/2023     0.7   Discussion with C. Sullivan & H. Trent (A&M) to make adjustments
                                             to the revised T-minus calendar for RSA milestones
Trent, Hudson           10/18/2023     1.3   Prepare updated visual summary of Plan confirmation timeline
                                             based on feedback from S. Coverick (A&M)
Trent, Hudson           10/18/2023     0.3   Discussion with S. Coverick, C. Sullivan, H. Trent, J. Gonzalez
                                             (A&M) re: confirmation t-minus schedule
Trent, Hudson           10/18/2023     1.1   Discussion with S. Coverick, H. Trent (A&M) re: plan confirmation
                                             timeline presentation
Trent, Hudson           10/18/2023     1.1   Prepare listing of outstanding questions related to Plan effectiveness
                                             timeline for S&C input
Trent, Hudson           10/18/2023     1.4   Update Plan effectiveness timeline for incorporation into t-minus
                                             presentation
Trent, Hudson           10/18/2023     2.4   Assist in preparing visual for analysis of Plan distribution model

Trent, Hudson           10/18/2023     0.7   Discussion with C. Sullivan & H. Trent (A&M) to process comments
                                             from A. Kranzley (S&C) on updates to the T-Minus presentation
Witherspoon, Samuel     10/18/2023     2.3   Adjust structure of plan recovery materials to respond to creditor
                                             questions regarding the recovery calculation
Witherspoon, Samuel     10/18/2023     2.6   Reconcile intercompany positions of foreign entities and the impact
                                             to creditor recoveries
Cooper, James           10/19/2023     1.3   Analysis of case to date IT, KYC costs and vendors to prepare for
                                             internal discussions re: same
Cooper, James           10/19/2023     0.9   Review and provide comments re: revised post-confirmation budget
                                             materials comps analysis
Cooper, James           10/19/2023     1.4   Review and provide comments re: revised post-confirmation budget
                                             materials cost category sections
Coverick, Steve         10/19/2023     0.3   Teleconference with R. Gordon, S. Coverick(A&M) over sources
                                             analysis
Gonzalez, Johnny        10/19/2023     0.3   Call with C. Sullivan, H. Trent, J. Gonzalez (A&M) to discuss the
                                             develop of a Subcon vs. Plan comparison analysis
Gonzalez, Johnny        10/19/2023     2.3   Prepare an analysis on the general unsecured claims in the subcon
                                             plan comparison analysis
Gonzalez, Johnny        10/19/2023     2.2   Modify the admin expenses section of the plan subcon waterfall


Gonzalez, Johnny        10/19/2023     1.8   Incorporate the residual value in the plan subcon waterfall




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Professional                 Date    Hours    Activity
Gonzalez, Johnny        10/19/2023     3.2   Develop the updated structure to the plan subcon waterfall

Gonzalez, Johnny        10/19/2023     2.8   Prepare a best interest test comparison presentation


Gordon, Robert          10/19/2023     0.3   Teleconference with R. Gordon, S. Coverick(A&M) over sources
                                             analysis
Gordon, Robert          10/19/2023     0.8   Review plan timeline t-minus for potential edits

Mosley, Ed              10/19/2023     0.8   Participate in discussion regarding post-confirmation estate budget
                                             with A&M (E.Mosley, S.Coverick, J.Cooper, D. Slay)
Mosley, Ed              10/19/2023     0.4   Participate in discussion with S&C (B.Zonenshayn, J.Bromley) and
                                             A&M (E.Mosley, S.Coverick) regarding plan confirmation support
Ribman, Tucker          10/19/2023     1.7   Update the Plan and Legal Entity decks to account for Embed
                                             Crypto now being a non-debtor
Ribman, Tucker          10/19/2023     1.9   reconcile the dismissed / excluded entity waterfalls with outdated
                                             commentary
Ribman, Tucker          10/19/2023     0.4   Call with S. Witherspoon and T. Ribman (A&M) re: discuss RSA
                                             layout and formatting
Ribman, Tucker          10/19/2023     1.9   Compile information on security protocols of FTX 2.0 bidders 1 and 2

Ribman, Tucker          10/19/2023     0.8   Refresh the separate subsidiary entity commentary to match
                                             waterfalls
Ribman, Tucker          10/19/2023     0.8   Align org charts between updated Plan deck and the Legal Entity
                                             deck
Ribman, Tucker          10/19/2023     0.6   Reconcile the support master LE Key categorizations after Plan
                                             deck update
Ribman, Tucker          10/19/2023     0.2   Clean the non customer claims data labels in the Plan deck


Ribman, Tucker          10/19/2023     0.6   Create a slide chart showing change in Lehman's post effective wind-
                                             down expenses
Sullivan, Christopher   10/19/2023     0.7   Discussion with C. Sullivan & H. Trent (A&M) to address E. Mosely
                                             (A&M) comments on the revised T-minus
Sullivan, Christopher   10/19/2023     0.6   Discussion with C. Sullivan & H. Trent (A&M) and M. Rahmani
                                             (PWP) and PWP team on various Plan related issues
Sullivan, Christopher   10/19/2023     0.3   Call with C. Sullivan, H. Trent, J. Gonzalez (A&M) to discuss the
                                             develop of a Subcon vs. Plan comparison analysis
Sullivan, Christopher   10/19/2023     0.8   Create schedule of assets not expected to be monetized by a
                                             hypothetical conversion date
Sullivan, Christopher   10/19/2023     0.8   Review updates to Plan materials for removal of duplicative claims

Sullivan, Christopher   10/19/2023     1.3   Provide detailed comments to the first draft of the BIT analysis


Sullivan, Christopher   10/19/2023     1.1   Review the model for updated subcon analysis




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Professional               Date    Hours    Activity
Trent, Hudson         10/19/2023     0.6   Discussion with C. Sullivan & H. Trent (A&M) and M. Rahmani
                                           (PWP) and PWP team on various Plan related issues
Trent, Hudson         10/19/2023     0.7   Discussion with C. Sullivan & H. Trent (A&M) to process E. Mosely
                                           (A&M) comments on the revised T-minus
Trent, Hudson         10/19/2023     0.3   Call with C. Sullivan, H. Trent, J. Gonzalez (A&M) to discuss the
                                           develop of a Subcon vs. Plan comparison analysis
Trent, Hudson         10/19/2023     2.2   Prepare shell of materials for preliminary discussion regarding best
                                           interest test
Trent, Hudson         10/19/2023     0.9   Prepare updated RSA term sheet summary based on latest creditor
                                           feedback
Witherspoon, Samuel   10/19/2023     0.4   Call with S. Witherspoon and T. Ribman (A&M) re: discuss RSA
                                           layout and formatting
Witherspoon, Samuel   10/19/2023     0.6   Create a structural plan timeline for the upcoming three months of
                                           the bankruptcy
Witherspoon, Samuel   10/19/2023     2.5   Create draft t-minus schedules to guide the next months of the case
                                           workstreams
Witherspoon, Samuel   10/19/2023     2.2   Review filed plan support agreement to influence assumptions of the
                                           RSA materials
Witherspoon, Samuel   10/19/2023     0.7   Update structure of RSA layout with input from A&M team members

Witherspoon, Samuel   10/19/2023     1.9   Model impact of changing asset assumptions of the plan analysis

Cooper, James         10/20/2023     1.1   Revise assumptions to post-confirmation budget based on internal
                                           discussions re: KYC, claims, and IT costs
Cooper, James         10/20/2023     1.8   Review and provide comments to latest draft of post-confirmation
                                           budget materials
Cooper, James         10/20/2023     0.8   Call with S. Coverick, J. Cooper, C. Sullivan, H. Trent, and J.
                                           Gonzalez (A&M) to discuss Disclosure Statement logistics
Coverick, Steve       10/20/2023     0.8   Call with S. Coverick, J. Cooper, C. Sullivan, and J. Gonzalez (A&M)
                                           to discuss Disclosure Statement logistics
Coverick, Steve       10/20/2023     0.4   Call with S. Coverick, K. Ramanathan (A&M) to discuss plan
                                           recovery presentation
Gonzalez, Johnny      10/20/2023     0.8   Call with S. Coverick, J. Cooper, C. Sullivan, and J. Gonzalez (A&M)
                                           to discuss Disclosure Statement logistics
Gonzalez, Johnny      10/20/2023     1.1   Call with C. Sullivan, J. Gonzalez (A&M) to review the Subcon vs.
                                           Plan comparison analysis
Gonzalez, Johnny      10/20/2023     1.1   Discussion with C. Sullivan & J. Gonzalez (A&M) to make edits to
                                           the Plan vs. Subcon analysis
Gonzalez, Johnny      10/20/2023     1.6   Develop an assets comparison table for the plan vs subcon deck

Gonzalez, Johnny      10/20/2023     2.4   Modify the claims recovery of the SubCon plan comparison waterfall


Gonzalez, Johnny      10/20/2023     0.9   Modify the prospective Plan T-minus schedule for the PMO slide




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Professional                 Date    Hours    Activity
Gonzalez, Johnny        10/20/2023     2.2   Draft commentary in the plan vs subcon comparison presentation

Gonzalez, Johnny        10/20/2023     0.8   Modify the prospective Plan PMO slide for Plan objectives


Montague, Katie         10/20/2023     0.9   Phone call with J. Kapoor (S&C) regarding strategy for various types
                                             of contracts at confirmation
Ramanathan, Kumanan     10/20/2023     0.4   Call with S. Coverick, K. Ramanathan (A&M) to discuss plan
                                             recovery presentation
Ribman, Tucker          10/20/2023     0.8   Call with S. Witherspoon, D. Slay, B. Tenney, and T. Ribman (A&M)
                                             to discuss Disclosure Statement logistics
Ribman, Tucker          10/20/2023     0.7   Incorporate comments from CMS team regarding changes to GUC
                                             and contract claims into the support master
Ribman, Tucker          10/20/2023     1.8   Remove Maps, Fondation, Serendipity, and Liquid from the
                                             contracts claim support tab
Ribman, Tucker          10/20/2023     0.4   Update the Plan deck Org charts to foot with the LE deck org charts

Ribman, Tucker          10/20/2023     1.7   Reconcile the general unsecured claims value post model feeder
                                             cleanup
Ribman, Tucker          10/20/2023     0.9   Update the subordinated claims with the removal of customer claims

Ribman, Tucker          10/20/2023     0.4   Refresh the mapping of the customer entitlements tab in support
                                             master
Ribman, Tucker          10/20/2023     1.3   Update the GUCs support tab with new Green Healthy House Claim


Sagen, Daniel           10/20/2023     0.8   Analyze processing withdrawal data to prepare summary slide in
                                             connection with Plan distribution planning
Sagen, Daniel           10/20/2023     0.7   Update summary outputs regarding processing withdrawal, circulate
                                             with G. Walia (A&M) for review
Sagen, Daniel           10/20/2023     0.2   Call with G. Walia and D. Sagen (A&M) to discuss Plan distribution
                                             analysis
Slay, David             10/20/2023     0.8   Call with S. Witherspoon, D. Slay, B. Tenney, and T. Ribman (A&M)
                                             to discuss Disclosure Statement logistics
Slay, David             10/20/2023     1.9   Develop post confirmation timeline inputs for FTX2.0 discussions

Slay, David             10/20/2023     2.4   Develop post confirmation timeline inputs for Estimation motions

Slay, David             10/20/2023     2.3   Discussion w/ C. Sullivan, H. Trent & D. Slay (A&M) re: develop plan
                                             & disclosure statement timeline by specific workstream
Sullivan, Christopher   10/20/2023     0.8   Call with S. Coverick, J. Cooper, C. Sullivan, and J. Gonzalez (A&M)
                                             to discuss Disclosure Statement logistics
Sullivan, Christopher   10/20/2023     1.1   Discussion with C. Sullivan & J. Gonzalez (A&M) to make edits to
                                             the Plan vs. Subcon analysis
Sullivan, Christopher   10/20/2023     1.1   Call with C. Sullivan, J. Gonzalez (A&M) to review the Subcon vs.
                                             Plan comparison analysis




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Disclosure Statement and Plan
Professional                 Date    Hours    Activity
Sullivan, Christopher   10/20/2023     1.4   Provide detailed comments to the latest Plan model

Tenney, Bridger         10/20/2023     0.8   Call with S. Witherspoon, D. Slay, B. Tenney, and T. Ribman (A&M)
                                             to discuss Disclosure Statement logistics
Trent, Hudson           10/20/2023     2.3   Discussion w/ C. Sullivan, H. Trent & D. Slay (A&M) re: develop plan
                                             & disclosure statement timeline by specific workstream
Witherspoon, Samuel     10/20/2023     0.8   Call with S. Witherspoon, D. Slay, B. Tenney, and T. Ribman (A&M)
                                             to discuss Disclosure Statement logistics
Witherspoon, Samuel     10/20/2023     1.8   Create next steps related to the analysis of the Disclosure Statement


Witherspoon, Samuel     10/20/2023     2.7   Create updated t-minus mechanics to automate the process for
                                             weekly updates
Gonzalez, Johnny        10/21/2023     1.4   Modify the assets section of the SubCon plan comparison waterfall


Sullivan, Christopher   10/21/2023     0.6   Incorporate comments to the Plan vs. Subcon analysis per S.
                                             Coverick (A&M)
Gordon, Robert          10/22/2023     0.6   Review plan timeline against supporting materials for updates


Gordon, Robert          10/22/2023     0.8   Draft initial structure for S&U analysis

Slay, David             10/22/2023     1.2   Update disclosure statement slides by workstream for weekly
                                             materials based on comments from C. Sullivan (A&M)
Slay, David             10/22/2023     2.7   Update disclosure statement template slides per workstream for
                                             weekly materials
Sullivan, Christopher   10/22/2023     1.8   Review initial draft of revised disclosure statement deck structure

Tenney, Bridger         10/22/2023     1.1   Update JPL settlement analysis summary slides


Broskay, Cole           10/23/2023     0.4   Teleconference with C. Broskay, R. Gordon(A&M) over plan S&U
                                             analysis
Gonzalez, Johnny        10/23/2023     0.5   Call with H. Trent, J. Gonzalez, and S. Witherspoon (A&M) re:
                                             Discuss Disclosure Statement timeline updates
Gonzalez, Johnny        10/23/2023     0.9   Call with H. Trent, J. Gonzalez (A&M) re: review the Plan v Subcon
                                             presentation
Gonzalez, Johnny        10/23/2023     2.2   Draft commentary for the Plan v Subcon deck alternate scenario

Gonzalez, Johnny        10/23/2023     2.1   Modify the Plan model Subcon scenario toggle for low to high
                                             recoveries
Gonzalez, Johnny        10/23/2023     2.9   Modify the plan model for pool claims recovery toggles

Gonzalez, Johnny        10/23/2023     1.4   Incorporate Chapter 7 Trustee fees into the model


Gonzalez, Johnny        10/23/2023     1.9   Incorporate misc. asset reductions toggles into the model




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Professional                 Date    Hours    Activity
Gordon, Robert          10/23/2023     0.4   Teleconference with C. Broskay, R. Gordon(A&M) over plan S&U
                                             analysis
Ribman, Tucker          10/23/2023     0.5   Call with D. Slay, B. Tenney, and T. Ribman (A&M) re: Discuss
                                             Disclosure Statement timeline updates
Ribman, Tucker          10/23/2023     0.6   Update the support master checks for petition date operating cash
                                             and venture investments
Ribman, Tucker          10/23/2023     1.4   Update the executive summary slides with revised recovery
                                             percentages within the Plan Deck
Ribman, Tucker          10/23/2023     0.6   Flag Plan deck slides affected by changes to general unsecured and
                                             contract claims changes
Ribman, Tucker          10/23/2023     2.8   Meeting with B. Tenney and T. Ribman (A&M) to refresh the Plan
                                             deck with updated claims figures
Ribman, Tucker          10/23/2023     1.9   Update the non customer claims within the crypto tables within the
                                             Plan deck
Ribman, Tucker          10/23/2023     2.2   Design a bridge from Plan recoveries to chapter 7 silo recoveries

Slay, David             10/23/2023     1.4   Meeting w/ S. Witherspoon & D. Slay (A&M) re: Update plan &
                                             disclosure workstream timeline for distribution
Slay, David             10/23/2023     0.5   Call with D. Slay, B. Tenney, and T. Ribman (A&M) re: Discuss
                                             Disclosure Statement timeline updates
Slay, David             10/23/2023     0.4   Discussion w/ H. Trent & D. Slay (A&M) re: review plan & disclosure
                                             workstream timeline
Slay, David             10/23/2023     0.8   Prepare Plan & Disclosure Statement timeline update process email
                                             for the respective workstreams
Slay, David             10/23/2023     1.7   Update Plan & Disclosure timeline format based on comments from
                                             H. Trent (A&M)
Slay, David             10/23/2023     1.3   Develop wind down budget length of budget analysis based on
                                             comparable case comps
Sullivan, Christopher   10/23/2023     0.6   Provide detailed comments to revised workstream analysis

Tenney, Bridger         10/23/2023     0.5   Call with D. Slay, B. Tenney, and T. Ribman (A&M) re: Discuss
                                             Disclosure Statement timeline updates
Tenney, Bridger         10/23/2023     1.1   Update digital assets and customer entitlements figures for plan
                                             recovery analysis deck
Tenney, Bridger         10/23/2023     2.8   Meeting with B. Tenney and T. Ribman (A&M) to refresh the Plan
                                             deck with updated claims figures
Tenney, Bridger         10/23/2023     1.2   Prepare reconciliation between plan and subcon recovery analyses


Tenney, Bridger         10/23/2023     2.1   Build bridge graphic for plan and subcon recovery differences

Trent, Hudson           10/23/2023     0.5   Call with H. Trent, J. Gonzalez, and S. Witherspoon (A&M) re:
                                             Discuss Disclosure Statement timeline updates
Trent, Hudson           10/23/2023     0.4   Discussion w/ H. Trent & D. Slay (A&M) re: review plan & disclosure
                                             workstream timeline




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Professional                 Date    Hours    Activity
Trent, Hudson           10/23/2023     0.9   Call with H. Trent, J. Gonzalez (A&M) re: review the Plan v Subcon
                                             presentation
Trent, Hudson           10/23/2023     1.7   Update Plan & Disclosure timeline format based on comments from
                                             H. Trent (A&M)
Witherspoon, Samuel     10/23/2023     0.5   Call with H. Trent, J. Gonzalez, and S. Witherspoon (A&M) re:
                                             Discuss Disclosure Statement timeline updates
Witherspoon, Samuel     10/23/2023     1.4   Meeting w/ S. Witherspoon & D. Slay (A&M) re: Update plan &
                                             disclosure workstream timeline for distribution
Witherspoon, Samuel     10/23/2023     1.7   Summarize the impacts of changing timeline assumptions towards a
                                             disclosure statement filing
Witherspoon, Samuel     10/23/2023     1.0   Refine assumptions related to wind-down of separate subsidiary
                                             entities
Gonzalez, Johnny        10/24/2023     2.1   Modify commentary for the Plan v Subcon deck alternate scenario
                                             for updated recoveries
Gonzalez, Johnny        10/24/2023     0.4   Call with C. Sullivan, J. Gonzalez (A&M) to review the Subcon model
                                             recoveries
Gonzalez, Johnny        10/24/2023     2.4   Refresh the Plan v Subcon presentation for the latest recoveries


Gonzalez, Johnny        10/24/2023     1.1   Develop a variance analysis for the plan versus subcon scenarios

Gonzalez, Johnny        10/24/2023     2.6   Modify the alternate plan scenario best interest test comparison

Gonzalez, Johnny        10/24/2023     3.1   Update the plan Subcon model for related party claims treatment


Kotarba, Steve          10/24/2023     3.1   Prepare voting matrix re customer solicitation mechanics

Ribman, Tucker          10/24/2023     2.1   Meeting with B. Tenney and T. Ribman (A&M) to reconcile legal
                                             entity discrepancies in the Proposed Plan deck
Ribman, Tucker          10/24/2023     1.9   Meeting with D. Slay and T. Ribman (A&M) to standardize layout
                                             across Plan Disclosure timeline presentation
Ribman, Tucker          10/24/2023     0.9   Create a bridge for alameda Plan recoveries to the Subcon with
                                             liquidation adjustments recovery
Ribman, Tucker          10/24/2023     1.4   Update the model feeder claims checks within the support master

Ribman, Tucker          10/24/2023     1.8   Update the model feeder asset checks within the support master

Slay, David             10/24/2023     2.1   Update weekly internal discussion materials with latest plan
                                             disclosure statement timeline template
Slay, David             10/24/2023     1.9   Meeting with D. Slay and T. Ribman (A&M) to standardize layout
                                             across Plan Disclosure timeline presentation
Slay, David             10/24/2023     2.5   Update formatting for all workstreams weekly discussion materials
                                             for senior review
Slay, David             10/24/2023     1.7   Develop and updated confirmation related slides for distribution




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Sullivan, Christopher   10/24/2023     0.8   Prepare responses to further diligence questions from Rothschild on
                                             various disclosure statement related topics
Sullivan, Christopher   10/24/2023     1.8   Provide detailed comments to the revised scenario analysis related
                                             to BIT assumptions
Sullivan, Christopher   10/24/2023     0.3   Meeting with C. Sullivan and H. Trent (A&M) to update assumptions
                                             in the BIT considerations deck
Sullivan, Christopher   10/24/2023     0.4   Call with C. Sullivan, J. Gonzalez (A&M) to review the Subcon model
                                             recoveries
Sullivan, Christopher   10/24/2023     0.6   Update presentation on various disclosure statement milestones


Sullivan, Christopher   10/24/2023     0.6   Draft template for revised disclosure statement exhibit analysis

Sullivan, Christopher   10/24/2023     1.1   Review the updated substantively consolidated model


Trent, Hudson           10/24/2023     2.3   Incorporate additional analysis into best interest test discussion
                                             materials based on A&M feedback
Trent, Hudson           10/24/2023     0.3   Meeting with C. Sullivan and H. Trent (A&M) to update assumptions
                                             in the BIT considerations deck
Witherspoon, Samuel     10/24/2023     1.7   Reconcile wind-down budget cash flows to file Plan wind-down
                                             budget assumptions
Witherspoon, Samuel     10/24/2023     2.8   Analyze current working version of the case wind-down budget with
                                             latest assumptions
Witherspoon, Samuel     10/24/2023     2.1   Summarize next steps to update the wind-down budget with latest
                                             assumptions
Witherspoon, Samuel     10/24/2023     2.1   Review wind-down budget materials submitted for internal review

Arnett, Chris           10/25/2023     1.2   Review and comment on revised recovery model


Cooper, James           10/25/2023     0.5   Teleconference with S. Kotarba (A&M) and B. Steele (Kroll) re:
                                             distribution cost planning
Cooper, James           10/25/2023     0.9   Draft updates to wind down budget materials distribution and claims
                                             cost sections
Cooper, James           10/25/2023     0.6   Prepare initial distribution cost analysis assumptions for wind down
                                             budget model
Cooper, James           10/25/2023     0.8   Review updated IT cost and vendor assumptions based on
                                             discussion with R. Perubhatla
Cooper, James           10/25/2023     1.3   Discuss distribution cost analysis and guidance on materials to B.
                                             Tenney (A&M)
Cooper, James           10/25/2023     0.8   Draft updates to wind down budget materials comparable analysis

Cooper, James           10/25/2023     1.6   Revise wind down budget materials executive summary and timeline


Cooper, James           10/25/2023     1.1   Call with J. Cooper, S. Witherspoon, D. Slay (A&M) and R.
                                             Perubhatla (FTX) re: IT assumptions informing the post confirmation
                                             budget


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Gonzalez, Johnny        10/25/2023     1.8   Modify the Subcon scenario administrative claims with chapter 7
                                             adjustments
Gonzalez, Johnny        10/25/2023     1.5   Update General Pool recoveries with chapter 7 fees incorporated


Gonzalez, Johnny        10/25/2023     2.2   Modify the Subcon scenario claims recoveries with chapter 7
                                             adjustments
Gonzalez, Johnny        10/25/2023     1.3   Update Dotcom Pool recoveries with chapter 7 fees incorporated

Gonzalez, Johnny        10/25/2023     1.1   Update US Pool recoveries with chapter 7 fees incorporated


Gonzalez, Johnny        10/25/2023     1.1   Modify the Subcon scenario asset recovery percentages

Gonzalez, Johnny        10/25/2023     2.2   Develop a plan recovery scenario with chapter 7 fees


Mosley, Ed              10/25/2023     0.4   Review of crypto case comparisons for KYC treatments to use in
                                             plan of reorganization
Ribman, Tucker          10/25/2023     1.7   Create a slide showing the change in total claims following updates
                                             to the contract and GUC claims
Ribman, Tucker          10/25/2023     1.1   Create an excel summary of proforma and petition date assets held
                                             by Blockfolio
Ribman, Tucker          10/25/2023     0.8   Create a entity overview for Blockfolio in the Blockfolio deck

Ribman, Tucker          10/25/2023     2.2   Update all petition date model feeder checks within the support
                                             master
Ribman, Tucker          10/25/2023     0.9   Add supplementary commentary to the total claims bridge in the
                                             change deck
Ribman, Tucker          10/25/2023     0.7   Reconcile the investments in separate subsidiary amount for
                                             LiquidEx
Ribman, Tucker          10/25/2023     1.8   Update the waterfall checks for the Plan deck charts

Ribman, Tucker          10/25/2023     0.7   Create a Blockfolio asset slide within the Blockfolio deck


Slay, David             10/25/2023     0.4   Call with C. Sullivan, S. Witherspoon, D. Slay (A&M) re: weekly
                                             updates to plan t-minus schedules
Slay, David             10/25/2023     2.7   Develop T-Minus model for weekly materials to be distributed with
                                             updates
Slay, David             10/25/2023     1.1   Call with J. Cooper, S. Witherspoon, D. Slay (A&M) and R.
                                             Perubhatla (FTX) re: IT assumptions informing the post confirmation
                                             budget
Sullivan, Christopher   10/25/2023     0.4   Create revised template for the summarize t-minus workstream
                                             calendar
Sullivan, Christopher   10/25/2023     0.6   Summarize the key deliverable analysis in the Plan timeline deck

Tenney, Bridger         10/25/2023     1.4   Update and sanitize September stakeholder materials for external
                                             distribution


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Professional               Date    Hours    Activity
Trent, Hudson         10/25/2023     2.8   Prepare overview analysis of Blockfolio based on S&C inquiries
                                           regarding Plan recovery analysis
Trent, Hudson         10/25/2023     1.1   Provide feedback on Blockfolio overview materials for portion of Plan
                                           recovery analysis
Trent, Hudson         10/25/2023     1.2   Prepare analysis of claims by size for review of potential de minimis
                                           claims class
Trent, Hudson         10/25/2023     1.2   Review claims analysis related to Blockfolio for ongoing Plan
                                           treatment analysis
Witherspoon, Samuel   10/25/2023     0.4   Call with C. Sullivan, S. Witherspoon, D. Slay (A&M) re: weekly
                                           updates to plan t-minus schedules
Witherspoon, Samuel   10/25/2023     2.3   Summarize IT vendor assumptions by firm and by class of vendor

Witherspoon, Samuel   10/25/2023     2.6   Refresh wind-down budget assumptions with input from FTX staff


Witherspoon, Samuel   10/25/2023     1.6   Summarize KYC vendor process with input from A&M KYC team

Witherspoon, Samuel   10/25/2023     1.1   Call with J. Cooper, S. Witherspoon, D. Slay (A&M) and R.
                                           Perubhatla (FTX) re: IT assumptions informing the post confirmation
                                           budget
Arnett, Chris         10/26/2023     0.8   Review draft wind down budget in advance of team review session


Chambers, Henry       10/26/2023     0.3   Call with K. Ramanathan, J. Cooper and H. Chambers (A&M)
                                           regarding Post Confirmation KYC budget
Chambers, Henry       10/26/2023     0.4   Call with H. Chambers, J. Cooper & D. Slay (A&M) re: KYC post-
                                           confirmation assumptions
Cooper, James         10/26/2023     0.5   Call with S. Coverick, J. Cooper, C. Sullivan, and H. Trent (A&M) re:
                                           Discuss the Disclosure Statement deliverables
Cooper, James         10/26/2023     0.6   Provide updated assumptions on wind down budget model re: admin
                                           costs and litigation budget
Cooper, James         10/26/2023     0.4   Call with H. Chambers, J. Cooper & D. Slay (A&M) re: KYC post-
                                           confirmation assumptions
Cooper, James         10/26/2023     0.3   Call with K. Ramanathan, J. Cooper and H. Chambers (A&M)
                                           regarding Post Confirmation KYC budget
Cooper, James         10/26/2023     1.3   Review and provide comments on revised wind down budget KYC
                                           slides
Cooper, James         10/26/2023     1.3   Meeting w/ J. Cooper, S. Witherspoon & D. Slay (A&M) re: Update
                                           wind-down budget assumptions based on discussions with
                                           workstreams
Coverick, Steve       10/26/2023     0.5   Call with S. Coverick, J. Cooper, C. Sullivan, and H. Trent (A&M) re:
                                           Discuss the Disclosure Statement deliverables
Esposito, Rob         10/26/2023     0.9   Review and analysis of solicitation and balloting outline provided by
                                           the S&C team
Gonzalez, Johnny      10/26/2023     0.3   Call with J. Gonzalez, H. Trent, C. Sullivan (A&M) to discuss
                                           updates to the Plan scenarios comparison analysis
Gonzalez, Johnny      10/26/2023     2.9   Meeting w/ J. Gonzalez, & D. Slay (A&M) re: update post
                                           confirmation recovery assumptions for avoidance actions

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Gonzalez, Johnny        10/26/2023     2.2   Meeting with J. Gonzalez and T. Ribman (A&M) re: modify the
                                             formatting in the plan vs. subcon presentation
Gonzalez, Johnny        10/26/2023     0.3   Call with J. Gonzalez, H. Trent (A&M) to walk through various plan
                                             analysis waterfalls
Gonzalez, Johnny        10/26/2023     0.6   Develop a plan analysis scenario with reduced asset values and
                                             chapter 7 costs
Gonzalez, Johnny        10/26/2023     0.8   Modify the Subcon scenario with adjustments for the pooling assets

Gonzalez, Johnny        10/26/2023     0.6   Modify the plan analysis scenario with chapter 7 costs


Gonzalez, Johnny        10/26/2023     0.5   Call with J. Gonzalez, S. Witherspoon, D. Slay, B. Tenney, and T.
                                             Ribman (A&M) re: Discuss the Disclosure Statement deliverables
Gonzalez, Johnny        10/26/2023     2.8   Meeting w/ J. Gonzalez, T. Ribman, B. Tenney & D. Slay (A&M) re:
                                             update Disclosure Settlement distribution model for weekly materials
Gordon, Robert          10/26/2023     0.3   Teleconference with R. Gordon, C. Alvarez(A&M) to discuss plan
                                             binder
Lewandowski, Douglas    10/26/2023     0.9   Meeting with B. Tenney and D. Lewandowski (A&M) re: customer
                                             claims/KYC reporting deck
Ramanathan, Kumanan     10/26/2023     0.4   Call with K. Ramanathan & S. Witherspoon (A&M) re: KYC post-
                                             confirmation assumptions
Ribman, Tucker          10/26/2023     2.2   Meeting with J. Gonzalez and T. Ribman (A&M) re: modify the
                                             formatting in the plan vs. subcon presentation
Ribman, Tucker          10/26/2023     2.5   Update the Blockfolio deck slide on assets overview


Ribman, Tucker          10/26/2023     0.6   Create a scheduled claims case comparison for Alameda lender

Ribman, Tucker          10/26/2023     0.5   Call with J. Gonzalez, S. Witherspoon, D. Slay, B. Tenney, and T.
                                             Ribman (A&M) re: Discuss the Disclosure Statement deliverables
Ribman, Tucker          10/26/2023     2.8   Meeting w/ J. Gonzalez, T. Ribman, B. Tenney & D. Slay (A&M) re:
                                             update Disclosure Settlement distribution model for weekly materials
Sielinski, Jeff         10/26/2023     0.7   Preparation of plan for ballot solicitation process; draft flow of voting
                                             amounts and impacts of variables
Sielinski, Jeff         10/26/2023     0.4   Review materials associated with plan of reorg timeline and workplan

Sielinski, Jeff         10/26/2023     0.7   Provide comments to solicitation planning materials

Slay, David             10/26/2023     1.9   Call w/ J. Gonzalez, & D. Slay (A&M) re: update post confirmation
                                             recovery assumptions for avoidance actions
Slay, David             10/26/2023     2.9   Meeting w/ J. Gonzalez, & D. Slay (A&M) re: update post
                                             confirmation recovery assumptions for avoidance actions
Slay, David             10/26/2023     0.4   Call with H. Chambers, J. Cooper & D. Slay (A&M) re: KYC post-
                                             confirmation assumptions
Slay, David             10/26/2023     0.8   Develop 363 disclosure statement slide to capture latest bidding and
                                             timelines




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Professional                 Date    Hours    Activity
Slay, David             10/26/2023     1.3   Meeting w/ J. Cooper, S. Witherspoon & D. Slay (A&M) re: Update
                                             wind-down budget assumptions based on discussions with
                                             workstreams
Slay, David             10/26/2023     0.5   Call with J. Gonzalez, S. Witherspoon, D. Slay, B. Tenney, and T.
                                             Ribman (A&M) re: Discuss the Disclosure Statement deliverables
Slay, David             10/26/2023     2.8   Meeting w/ J. Gonzalez, T. Ribman, B. Tenney & D. Slay (A&M) re:
                                             update Disclosure Settlement distribution model for weekly materials
Sullivan, Christopher   10/26/2023     0.5   Call with S. Coverick, J. Cooper, C. Sullivan, and H. Trent (A&M) re:
                                             Discuss the Disclosure Statement deliverables
Sullivan, Christopher   10/26/2023     0.3   Call with J. Gonzalez, H. Trent, C. Sullivan (A&M) to discuss
                                             updates to the Plan scenarios comparison analysis
Sullivan, Christopher   10/26/2023     0.4   Communications with J. Kang (Rothschild) to respond to further Plan
                                             related questions
Sullivan, Christopher   10/26/2023     0.4   Communications with S. Crotty (Rothschild) on operating cash
                                             treatment under the Plan
Sullivan, Christopher   10/26/2023     1.1   Respond to comments from S. Coverick (A&M) on the Blockfolio
                                             analysis
Sullivan, Christopher   10/26/2023     0.8   Review post confirmation wind-down budget for Plan implications

Sullivan, Christopher   10/26/2023     0.8   Create updated disclosure statement exhibit workflow presentation


Sullivan, Christopher   10/26/2023     1.4   Provide detailed comments to updated Blockfolio recovery scenarios

Tenney, Bridger         10/26/2023     0.5   Call with J. Gonzalez, S. Witherspoon, D. Slay, B. Tenney, and T.
                                             Ribman (A&M) re: Discuss the Disclosure Statement deliverables
Tenney, Bridger         10/26/2023     2.8   Meeting w/ J. Gonzalez, T. Ribman, B. Tenney & D. Slay (A&M) re:
                                             update Disclosure Settlement distribution model for weekly materials
Trent, Hudson           10/26/2023     0.3   Call with J. Gonzalez, H. Trent, C. Sullivan (A&M) to discuss
                                             updates to the Plan scenarios comparison analysis
Trent, Hudson           10/26/2023     0.5   Call with S. Coverick, J. Cooper, C. Sullivan, and H. Trent (A&M) re:
                                             Discuss the Disclosure Statement deliverables
Trent, Hudson           10/26/2023     2.3   Prepare distributions cost sizing analysis based on claims class
                                             stratification analysis
Trent, Hudson           10/26/2023     0.3   Call with J. Gonzalez, H. Trent (A&M) to walk through various plan
                                             analysis waterfalls
Trent, Hudson           10/26/2023     2.4   Prepare updates to analysis of distribution costs based on additional
                                             comparable case analyses
Trent, Hudson           10/26/2023     1.4   Provide feedback on wind-down budget materials for advisor
                                             discussions
Witherspoon, Samuel     10/26/2023     2.1   Update wind-down budget materials with latest case comparable
                                             budgets
Witherspoon, Samuel     10/26/2023     0.6   Reconcile changes to individual vendor spend for operating
                                             expenses and IT expenses
Witherspoon, Samuel     10/26/2023     2.2   Update model mechanics of the wind-down budget to refine yearly
                                             spend


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Disclosure Statement and Plan
Professional               Date    Hours    Activity
Witherspoon, Samuel   10/26/2023     0.4   Call with K. Ramanathan & S. Witherspoon (A&M) re: KYC post-
                                           confirmation assumptions
Witherspoon, Samuel   10/26/2023     1.8   Reconcile previous wind-down budget amounts to current version


Witherspoon, Samuel   10/26/2023     1.1   Refine assumptions regarding go-forward KYC vendor spend

Witherspoon, Samuel   10/26/2023     1.3   Meeting w/ J. Cooper, S. Witherspoon & D. Slay (A&M) re: Update
                                           wind-down budget assumptions based on discussions with
                                           workstreams
Witherspoon, Samuel   10/26/2023     0.5   Call with J. Gonzalez, S. Witherspoon, D. Slay, B. Tenney, and T.
                                           Ribman (A&M) re: Discuss the Disclosure Statement deliverables
Arnett, Chris         10/27/2023     1.1   Call with S. Coverick, K. Ramanathan, J. Cooper, A. Titus, and C.
                                           Arnett (A&M) re: Review preliminary draft of the Wind-Down Budget
Broskay, Cole         10/27/2023     0.6   Teleconference with R. Gordon, C. Broskay(A&M) over updates to
                                           the S&U analysis
Chambers, Henry       10/27/2023     0.7   Prepare post plan confirmation budget for KYC costs


Cooper, James         10/27/2023     1.4   Review wind down budget materials to prepare for internal review
                                           meeting
Cooper, James         10/27/2023     2.3   Summarize feedback and comments from internal review meeting
                                           re: wind down budget
Cooper, James         10/27/2023     1.1   Call with S. Coverick, K. Ramanathan, J. Cooper, A. Titus, and C.
                                           Arnett (A&M) re: Review preliminary draft of the Wind-Down Budget
Coverick, Steve       10/27/2023     1.4   Review and provide comments on updated disclosure statement t-
                                           minus schedule
Coverick, Steve       10/27/2023     0.8   Review and provide comments on revised Blockfolio waterfall
                                           analysis
Coverick, Steve       10/27/2023     1.1   Call with S. Coverick, K. Ramanathan, J. Cooper, A. Titus, and C.
                                           Arnett (A&M) re: Review preliminary draft of the Wind-Down Budget
Esposito, Rob         10/27/2023     0.4   Call with R. Esposito and J. Sielinski (A&M) to discuss plan
                                           solicitation procedures and process
Esposito, Rob         10/27/2023     1.6   Call with R. Esposito and J. Sielinski (A&M) to discuss and prepare
                                           customer solicitation procedure materials detailing process for
                                           determining voting amounts
Esposito, Rob         10/27/2023     1.1   Call with C. Sullivan, R. Esposito, H. Trent, J. Gonzalez, and S.
                                           Witherspoon (A&M) re: Review preliminary draft of the Wind-Down
                                           Budget
Gonzalez, Johnny      10/27/2023     2.4   Develop a plan analysis scenario with reduced asset values


Gonzalez, Johnny      10/27/2023     1.9   Meeting with S. Witherspoon, T. Ribman, H. Trent, & J. Gonzalez
                                           (A&M) to update the plan scenario analysis presentation
Gonzalez, Johnny      10/27/2023     1.1   Call with C. Sullivan, R. Esposito, H. Trent, J. Gonzalez, and S.
                                           Witherspoon (A&M) re: Review preliminary draft of the Wind-Down
                                           Budget
Gonzalez, Johnny      10/27/2023     2.3   Meeting w/ J. Gonzalez, T. Ribman, B. Tenney & D. Slay (A&M) re:
                                           update Disclosure Settlement progress presentation for weekly
                                           materials

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Disclosure Statement and Plan
Professional                 Date    Hours    Activity
Gonzalez, Johnny        10/27/2023     2.1   Meeting w/ J. Gonzalez, T. Ribman, B. Tenney & D. Slay (A&M) re:
                                             prepare Disclosure Settlement timeline to be included in Plan
                                             materials
Gordon, Robert          10/27/2023     0.6   Teleconference with R. Gordon, C. Broskay(A&M) over updates to
                                             the S&U analysis
Kotarba, Steve          10/27/2023     2.2   Update solicitation mechanics deck with claim information


Mosley, Ed              10/27/2023     1.8   Review of treatment of perpetuals in plan and requisite facts of
                                             claims
Ramanathan, Kumanan     10/27/2023     1.1   Call with S. Coverick, K. Ramanathan, J. Cooper, A. Titus, and C.
                                             Arnett (A&M) re: Review preliminary draft of the Wind-Down Budget
Ribman, Tucker          10/27/2023     1.1   Call with D. Slay, B. Tenney, and T. Ribman (A&M) re: Review
                                             preliminary draft of the Wind-Down Budget
Ribman, Tucker          10/27/2023     1.3   Create an illustrative Plan recovery comparison for the Plan vs Plan
                                             with chapter 7 adjustments
Ribman, Tucker          10/27/2023     2.3   Update the slides relating to Plan vs. Full customer priority w Ch7
                                             adjustments with new analysis
Ribman, Tucker          10/27/2023     0.1   Format the executive summary slides in the scenario comparison
                                             deck
Ribman, Tucker          10/27/2023     2.1   Meeting w/ J. Gonzalez, T. Ribman, B. Tenney & D. Slay (A&M) re:
                                             update Disclosure Settlement timeline presentation for weekly
                                             materials
Ribman, Tucker          10/27/2023     1.2   Meeting with C. Sullivan, H. Trent & D. Slay (A&M) to revise
                                             disclosure statement weekly materials based on latest timeline
Ribman, Tucker          10/27/2023     1.9   Meeting with S. Witherspoon, T. Ribman, H. Trent, & J. Gonzalez
                                             (A&M) to update the plan scenario analysis presentation
Sielinski, Jeff         10/27/2023     0.4   Call with R. Esposito and J. Sielinski (A&M) to discuss plan
                                             solicitation procedures and process
Sielinski, Jeff         10/27/2023     1.7   Continue drafting solicitation plan; detail open and pending items
                                             and prepare diligence schedule
Sielinski, Jeff         10/27/2023     1.6   Call with R. Esposito and J. Sielinski (A&M) to discuss and prepare
                                             customer solicitation procedure materials detailing process for
                                             determining voting amounts
Slay, David             10/27/2023     0.8   Meeting with C. Sullivan & D. Slay (A&M) to update assumptions
                                             analysis summary related to Plan implications
Slay, David             10/27/2023     0.8   Meeting with C. Sullivan and D. Slay (A&M) to update scenario
                                             analysis for disclosure statement workstreams
Slay, David             10/27/2023     1.1   Call with D. Slay, B. Tenney, and T. Ribman (A&M) re: Review
                                             preliminary draft of the Wind-Down Budget
Slay, David             10/27/2023     1.3   Update page references throughout weekly materials for all numbers
                                             and support slides
Slay, David             10/27/2023     2.6   Update Key deliverables slide based on Workstream leads updated
                                             materials
Slay, David             10/27/2023     1.2   Meeting with C. Sullivan, H. Trent & D. Slay (A&M) to revise
                                             disclosure statement weekly materials based on latest timeline



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Professional                 Date    Hours    Activity
Slay, David             10/27/2023     2.1   Meeting w/ J. Gonzalez, T. Ribman, B. Tenney & D. Slay (A&M) re:
                                             update Disclosure Settlement timeline presentation for weekly
                                             materials
Slay, David             10/27/2023     2.3   Meeting w/ J. Gonzalez, T. Ribman, B. Tenney & D. Slay (A&M) re:
                                             update Disclosure Settlement progress presentation for weekly
                                             materials
Sullivan, Christopher   10/27/2023     0.8   Meeting with C. Sullivan & D. Slay (A&M) to update assumptions
                                             analysis summary related to Plan implications
Sullivan, Christopher   10/27/2023     0.8   Meeting with C. Sullivan and D. Slay (A&M) to update scenario
                                             analysis for disclosure statement workstreams
Sullivan, Christopher   10/27/2023     1.1   Provide detailed comments to updated waterfall analysis for
                                             Blockfolio
Sullivan, Christopher   10/27/2023     2.2   Create summary of deconsolidated entity analysis


Sullivan, Christopher   10/27/2023     0.9   Create waterfall variance presentation for various scenarios

Sullivan, Christopher   10/27/2023     0.9   Create potential unmonetized asset schedule


Sullivan, Christopher   10/27/2023     1.2   Meeting with C. Sullivan, H. Trent & D. Slay (A&M) to revise
                                             disclosure statement weekly materials based on latest timeline
Sullivan, Christopher   10/27/2023     1.1   Call with C. Sullivan, R. Esposito, H. Trent, J. Gonzalez, and S.
                                             Witherspoon (A&M) re: Review preliminary draft of the Wind-Down
                                             Budget
Tenney, Bridger         10/27/2023     1.1   Call with D. Slay, B. Tenney, and T. Ribman (A&M) re: Review
                                             preliminary draft of the Wind-Down Budget
Tenney, Bridger         10/27/2023     0.3   Build case costs timeline for plan assumptions and wind-down
                                             budget pre and post-confirmation
Tenney, Bridger         10/27/2023     2.3   Meeting w/ J. Gonzalez, T. Ribman, B. Tenney & D. Slay (A&M) re:
                                             update Disclosure Settlement progress presentation for weekly
                                             materials
Tenney, Bridger         10/27/2023     2.1   Meeting w/ J. Gonzalez, T. Ribman, B. Tenney & D. Slay (A&M) re:
                                             prepare Disclosure Settlement timeline to be included in Plan
                                             materials
Trent, Hudson           10/27/2023     2.7   Prepare scenario analysis for varying treatments of specified
                                             subsidiary under review for Plan recovery analysis
Trent, Hudson           10/27/2023     1.1   Prepare bridge analysis between various Plan structures for
                                             preliminary best interest test discussions
Trent, Hudson           10/27/2023     0.8   Prepare draft of wind-down budget cost components visual for
                                             inclusion in broader materials
Trent, Hudson           10/27/2023     1.1   Call with C. Sullivan, R. Esposito, H. Trent, J. Gonzalez, and S.
                                             Witherspoon (A&M) re: Review preliminary draft of the Wind-Down
                                             Budget
Trent, Hudson           10/27/2023     1.2   Meeting with C. Sullivan, H. Trent & D. Slay (A&M) to revise
                                             disclosure statement weekly materials based on latest timeline
Trent, Hudson           10/27/2023     1.9   Meeting with S. Witherspoon, T. Ribman, H. Trent, & J. Gonzalez
                                             (A&M) to update the plan scenario analysis presentation



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Witherspoon, Samuel     10/27/2023     1.5   Update wind-down budget with latest assumptions on wind-down
                                             entity operating spend
Witherspoon, Samuel     10/27/2023     2.4   Update plan scenario analysis deck with updates from A&M team


Witherspoon, Samuel     10/27/2023     0.6   Update wind-down budget materials for formatting edits from internal
                                             team
Witherspoon, Samuel     10/27/2023     1.1   Call with C. Sullivan, R. Esposito, H. Trent, J. Gonzalez, and S.
                                             Witherspoon (A&M) re: Review preliminary draft of the Wind-Down
                                             Budget
Witherspoon, Samuel     10/27/2023     1.9   Meeting with S. Witherspoon, T. Ribman, H. Trent, & J. Gonzalez
                                             (A&M) to update the plan scenario analysis presentation
Coverick, Steve         10/28/2023     0.4   Discuss subcon expert report and ch11 plan status with E. Mosley
                                             (A&M)
Coverick, Steve         10/28/2023     0.3   Discuss status of subcon expert report with R. Gordon (A&M)

Gonzalez, Johnny        10/28/2023     2.2   Modify the pool recovery bridges for alternate scenarios


Gordon, Robert          10/28/2023     0.3   Discuss status of subcon expert report with R. Gordon (A&M)

Lewandowski, Douglas    10/28/2023     1.4   Prepare summary of customer claims by revised reporting
                                             categories for walkdown and reconciliation plan for customer plans
Mosley, Ed              10/28/2023     1.3   Review of and prepare comments to draft presentation regarding
                                             Blockfolio and treatment under the plan
Mosley, Ed              10/28/2023     0.4   Discuss subcon expert report and ch11 plan status with S.Coverick
                                             (A&M)
Ribman, Tucker          10/28/2023     2.6   Meeting with D. Slay and T. Ribman (A&M) to revise the Disclosure
                                             Statement Status Update Deck
Ribman, Tucker          10/28/2023     1.1   Update checks in the best interest test support master

Sielinski, Jeff         10/28/2023     0.6   Analysis of precedent re: solicitation procedures in similar industry
                                             cases
Slay, David             10/28/2023     1.1   Call with D. Slay, B. Tenney, and T. Ribman (A&M) re: Review
                                             preliminary draft of the Wind-Down Budget
Slay, David             10/28/2023     2.6   Meeting with D. Slay and T. Ribman (A&M) to revise the Disclosure
                                             Statement Status Update Deck
Sullivan, Christopher   10/28/2023     1.2   Update Plan analysis comparison deck per commentary from S.
                                             Coverick (A&M)
Tenney, Bridger         10/28/2023     1.1   Call with D. Slay, B. Tenney, and T. Ribman (A&M) re: Review
                                             preliminary draft of the Wind-Down Budget
Trent, Hudson           10/28/2023     1.3   Update subsidiary review analysis for purposes of Plan treatment
                                             based on A&M feedback
Sielinski, Jeff         10/29/2023     0.9   Prepare open questions and diligence items associated with plan
                                             solicitation process; review claim class reports re: same
Slay, David             10/29/2023     2.3   Revise Disclosure statement key deliverables based on comments
                                             from senior management


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Professional                 Date    Hours    Activity
Slay, David             10/29/2023     1.4   Revise Disclosure statement claims slides based on comments from
                                             senior management
Slay, David             10/29/2023     1.4   Revise Disclosure statement slides based on comments from senior
                                             management
Sullivan, Christopher   10/29/2023     1.0   Provide comments to summary of international analysis for
                                             treatment of various subsidiaries
Sullivan, Christopher   10/29/2023     1.1   Detail review revised crypto analysis for inclusion with Plan materials

Trent, Hudson           10/29/2023     1.4   Update preliminary best interest test discussion materials with
                                             additional analysis requested by S&C
Trent, Hudson           10/29/2023     1.1   Update Plan treatment analysis of certain entity with additional input
                                             from international A&M teams
Arnett, Chris           10/30/2023     2.3   Continue to review revised draft recovery model and associated
                                             analyses
Cooper, James           10/30/2023     1.2   Prepare responses to internal feedback and comments re: wind
                                             down budget materials
Cooper, James           10/30/2023     2.8   Review and provide comments re: revised wind down budget
                                             materials after internal comments
Coverick, Steve         10/30/2023     1.0   Call with D. Johnston, E. Mosley, S. Coverick (A&M) to discuss wind
                                             down entities and plan of reorganization
Coverick, Steve         10/30/2023     1.3   Review and provide comments on updated Blockfolio waterfall
                                             analysis
Coverick, Steve         10/30/2023     1.7   Review and provide comments on updated confirmation t-minus
                                             schedule
Gonzalez, Johnny        10/30/2023     2.8   Prepare a model analysis for the Plan vs Full Customer Priority
                                             scenario
Gonzalez, Johnny        10/30/2023     2.1   Update the intercompany matrix incorporation into the
                                             deconsolidated plan analysis
Gonzalez, Johnny        10/30/2023     2.7   Prepare a model analysis for the Plan vs Non-Customer Priority
                                             scenario
Johnston, David         10/30/2023     1.0   Call with D. Johnston, E. Mosley, S. Coverick (A&M) to discuss wind
                                             down entities and plan of reorganization
Mosley, Ed              10/30/2023     1.0   Call with D. Johnston, E. Mosley, S. Coverick (A&M) to discuss wind
                                             down entities and plan of reorganization
Ribman, Tucker          10/30/2023     2.7   Meeting with D. Slay and T. Ribman (A&M) to update the Plan
                                             Disclosure Statement Timeline deck
Ribman, Tucker          10/30/2023     2.2   Create a combined recovery table by dollar and percentage for each
                                             liq analysis scenario
Ribman, Tucker          10/30/2023     2.1   Meeting with B. Tenney and T. Ribman (A&M) to create a class 5
                                             claims bridge
Ribman, Tucker          10/30/2023     1.1   Update the executive summary of the liquidation analysis deck


Ribman, Tucker          10/30/2023     0.4   Create a slide with open issues within the liquidation analysis deck




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Ribman, Tucker          10/30/2023     1.7   Meeting with C. Sullivan, H. Trent, D. Slay, and T. Ribman (A&M) to
                                             respond to comments in the Disclosure Statement Materials Deck
Slay, David             10/30/2023     2.7   Meeting with D. Slay and T. Ribman (A&M) to update the Plan
                                             Disclosure Statement Timeline deck
Slay, David             10/30/2023     1.8   Update latest intercompany balances in support model feeder

Slay, David             10/30/2023     1.7   Meeting with C. Sullivan, H. Trent, D. Slay, and T. Ribman (A&M) to
                                             respond to comments in the Disclosure Statement Materials Deck
Sullivan, Christopher   10/30/2023     1.4   Provide comments to waterfall analysis on various scenarios related
                                             to best interest tests
Sullivan, Christopher   10/30/2023     1.8   Respond to comments from S. Coverick (A&M) on updates to BIT
                                             draft considerations deck
Sullivan, Christopher   10/30/2023     1.7   Meeting with C. Sullivan, H. Trent, D. Slay, and T. Ribman (A&M) to
                                             respond to comments in the Disclosure Statement Materials Deck
Tenney, Bridger         10/30/2023     2.6   Prepare claims sensitivity waterfall regarding potential additions to
                                             the class 5 claim pool
Tenney, Bridger         10/30/2023     2.1   Meeting with B. Tenney and T. Ribman (A&M) to create a class 5
                                             claims bridge
Trent, Hudson           10/30/2023     0.8   Prepare initial updates to preliminary best interest test discussion
                                             materials based on A&M feedback
Trent, Hudson           10/30/2023     1.9   Incorporate data provided by international A&M teams into entity
                                             Plan treatment review analysis
Trent, Hudson           10/30/2023     2.3   Prepare scenario analysis for entity Plan treatment review for
                                             advisor discussions
Trent, Hudson           10/30/2023     2.6   Update entity Plan treatment analysis / inputs prior to distribution

Trent, Hudson           10/30/2023     1.7   Meeting with C. Sullivan, H. Trent, D. Slay, and T. Ribman (A&M) to
                                             respond to comments in the Disclosure Statement Materials Deck
Witherspoon, Samuel     10/30/2023     1.9   Update wind-down budget materials with adjustments to case
                                             comparison summaries
Witherspoon, Samuel     10/30/2023     0.6   Compile assumptions of the wind-down budget for distribution to
                                             FTX management
Witherspoon, Samuel     10/30/2023     2.2   Update wind-down budget materials with edits from A&M team on
                                             structure
Witherspoon, Samuel     10/30/2023     1.6   Analyze impact of extended distribution timeline on wind-down
                                             budget
Witherspoon, Samuel     10/30/2023     1.1   Finalize wind-down budget materials for distribution to FTX
                                             management
Arnett, Chris           10/31/2023     1.1   Continue to review potential subcon posture of certain Plan scenarios

Braatelien, Troy        10/31/2023     0.2   Call to discuss consolidated Debtors sources & uses analysis with
                                             R. Gordon, C. Broskay and T. Braatelien (A&M)
Braatelien, Troy        10/31/2023     2.7   Review financial information for FTX entities funding for sources and
                                             uses schedule




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Braatelien, Troy      10/31/2023     0.3   Review substantive consolidation requirements for commingling
                                           exercise
Broskay, Cole         10/31/2023     0.2   Call to discuss consolidated Debtors sources & uses analysis with
                                           R. Gordon, C. Broskay and T. Braatelien (A&M)
Broskay, Cole         10/31/2023     1.4   Compile analysis on specific third party sources and uses of funds
                                           across silos
Broskay, Cole         10/31/2023     0.3   Teleconference with C. Broskay, R. Gordon(A&M) over S&U data
                                           sources
Broskay, Cole         10/31/2023     0.7   Compile outline of sources and uses information required


Chambers, Henry       10/31/2023     0.7   Provide comments on potential compliance issues associated with
                                           preference payments
Chambers, Henry       10/31/2023     2.2   Prepare post confirmation KYC/AML Screening budget


Cooper, James         10/31/2023     0.8   Revise distribution cost based on latest assumptions re:
                                           convenience class analysis
Cooper, James         10/31/2023     2.9   Review and provide comments re: post-confirmation budget updated
                                           materials
Cooper, James         10/31/2023     0.6   Revise KYC and claims assumptions in post-confirmation budget

Cooper, James         10/31/2023     0.7   Revise KIT assumptions in post-confirmation budget

Gonzalez, Johnny      10/31/2023     1.2   Develop a plan bridge compared against the Full-Customer Priority
                                           scenario with chapter 7 adjustments
Gonzalez, Johnny      10/31/2023     1.1   Develop a plan bridge compared against the Non-Customer ratable
                                           recovery scenario with chapter 7 adjustments
Gonzalez, Johnny      10/31/2023     1.4   Develop a plan bridge compared against the Non-Customer Priority
                                           scenario with chapter 7 adjustments
Gonzalez, Johnny      10/31/2023     1.8   Develop a plan bridge compared against the plan with chapter 7
                                           adjustments
Gonzalez, Johnny      10/31/2023     1.4   Create Plan model scenario for the deconsolidated legal entities


Gonzalez, Johnny      10/31/2023     2.3   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: asset
                                           recovery breakdown for plan vs. chapter 7 adjusted recoveries
Gordon, Robert        10/31/2023     0.2   Call to discuss consolidated Debtors sources & uses analysis with
                                           R. Gordon, C. Broskay and T. Braatelien (A&M)
Gordon, Robert        10/31/2023     0.3   Teleconference with C. Broskay, R. Gordon(A&M) over S&U data
                                           sources
Kotarba, Steve        10/31/2023     1.3   Discussion to prepare for alternatives re claim distributions

Ribman, Tucker        10/31/2023     2.3   Meeting with D. Slay, B. Tenney, and T. Ribman (A&M) Discuss
                                           general unsecured reconciliation to claims register
Ribman, Tucker        10/31/2023     2.2   Meeting with B. Tenney and T. Ribman to reconcile the executory
                                           contract claims in the support master




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Ribman, Tucker          10/31/2023     0.3   Create a slide to show recovery needed in assets and claims for non
                                             priority scenarios to match the Plan
Ribman, Tucker          10/31/2023     0.8   Create a summary by percentage and dollar value of recoveries for
                                             additional liquidation scenarios
Ribman, Tucker          10/31/2023     0.9   Update the executive summary charts in the liquidation analysis deck

Ribman, Tucker          10/31/2023     1.2   Create a bridge of potential class 5 claims post confirmation

Ribman, Tucker          10/31/2023     0.4   Reconcile general unsecured claims figures in the support master


Ribman, Tucker          10/31/2023     0.3   Update the appendix claims bridge in the liquidation analysis deck

Ribman, Tucker          10/31/2023     2.3   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: asset
                                             recovery breakdown for plan vs. chapter 7 adjusted recoveries
Sielinski, Jeff         10/31/2023     1.4   Analysis of plan voting scenarios and related solicitation
                                             requirements; research case precedent re: same
Slay, David             10/31/2023     2.3   Meeting with D. Slay, B. Tenney, and T. Ribman (A&M) Discuss
                                             general unsecured reconciliation to claims register
Slay, David             10/31/2023     1.4   Develop Plan materials overlay against prior submission for internal
                                             review
Slay, David             10/31/2023     1.2   Update disclosure package based on comments from C. Sullivan
                                             (A&M)
Slay, David             10/31/2023     0.6   Update formatting to the disclosure package


Sullivan, Christopher   10/31/2023     0.8   Meeting with C. Sullivan & H. Trent (A&M) on development of
                                             templated for best interest presentation
Sullivan, Christopher   10/31/2023     0.4   Meeting with C. Sullivan & S. Witherspoon (A&M) to discuss best
                                             interest test comparables
Sullivan, Christopher   10/31/2023     0.4   Review updates to the analysis for wind-down entities and proposed
                                             treatment
Tenney, Bridger         10/31/2023     2.3   Meeting with D. Slay, B. Tenney, and T. Ribman (A&M) Discuss
                                             general unsecured reconciliation to claims register
Tenney, Bridger         10/31/2023     2.2   Meeting with B. Tenney and T. Ribman (A&M) to reconcile the
                                             executory contract claims in the support master
Tenney, Bridger         10/31/2023     0.3   Reconcile updated General Unsecured claims register with current
                                             plan materials
Tenney, Bridger         10/31/2023     1.3   Revise asset recovery breakdown infographic and recovery
                                             calculations
Tenney, Bridger         10/31/2023     1.1   Prepare summary of class 9 subordinated claims in plan materials

Tenney, Bridger         10/31/2023     0.6   Build asset recovery breakdown for plan vs. chapter 7 adjusted
                                             recoveries
Tenney, Bridger         10/31/2023     2.3   Call with J. Gonzalez, B. Tenney, and T. Ribman (A&M) re: asset
                                             recovery breakdown for plan vs. chapter 7 adjusted recoveries




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Disclosure Statement and Plan
Professional               Date    Hours      Activity
Trent, Hudson         10/31/2023       0.8   Meeting with C. Sullivan & H. Trent (A&M) on development of
                                             templated for best interest presentation
Trent, Hudson         10/31/2023       2.1   Prepare refreshed recovery model for preliminary best interest test
                                             discussions
Witherspoon, Samuel   10/31/2023       0.4   Meeting with C. Sullivan & S. Witherspoon (A&M) to discuss best
                                             interest test comparable
Witherspoon, Samuel   10/31/2023       1.1   Refresh wind-down budget analysis with changing assumptions on
                                             operating expenses
Witherspoon, Samuel   10/31/2023       1.9   Review best interest materials draft for submissions to internal team


Witherspoon, Samuel   10/31/2023       1.2   Update wind-down budget materials with structural changes from
                                             A&M leads
Witherspoon, Samuel   10/31/2023       1.8   Update t-minus schedules with updates from A&M workstream leads


Witherspoon, Samuel   10/31/2023       2.8   Update best interest test deck with edits from A&M team



Subtotal                           1,615.1

Due Diligence
Professional               Date    Hours      Activity
Callerio, Lorenzo      10/2/2023       0.6   Prepare additional diligence requests to be discussed with A.
                                             Kranzley (S&C)
Callerio, Lorenzo      10/2/2023       0.3   Call with J. Cooper and L. Callerio (A&M) re: updated UCC diligence
                                             items
Cooper, James          10/2/2023       1.6   Review and summarize recovery materials for diligence approvals
                                             for creditors
Cooper, James          10/2/2023       0.3   Call with J. Cooper and L. Callerio (A&M) re: updated UCC diligence
                                             items
Walia, Gaurav          10/2/2023       0.4   Coordinate with the data team to update the latest KYC status for M3


Callerio, Lorenzo      10/3/2023       0.4   Meeting with L. Callerio, C. Stockmeyer (A&M) re: Creditor diligence
                                             updates
Callerio, Lorenzo      10/3/2023       0.3   Call with G. Walia and L. Callerio (A&M) re: additional diligence
                                             requests
Callerio, Lorenzo      10/3/2023       0.8   Review crypto tracing correspondence related to diligence requests

Callerio, Lorenzo      10/3/2023       0.8   Review additional UCC diligence items and prepare same for
                                             approval
Cooper, James          10/3/2023       0.8   Review and follow up re: outstanding items in FTX 2.0 diligence
                                             tracker
Ramanathan, Kumanan    10/3/2023       0.3   Call with FTX 2.0 bidder representative and G. Walia, K.
                                             Ramanathan (A&M) to discuss user exchange activity
Stockmeyer, Cullen     10/3/2023       0.2   Update internal diligence tracker for UCC based on additional
                                             provided data related to certain agreements


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Due Diligence
Professional              Date    Hours    Activity
Stockmeyer, Cullen    10/3/2023     0.2   Update internal diligence tracker for AHC based on additional
                                          provided data related to certain agreements
Stockmeyer, Cullen    10/3/2023     0.4   Provide update to certain information provided to AHC based on
                                          additional data available
Stockmeyer, Cullen    10/3/2023     0.2   Prepare additional diligence request related to agreements with
                                          certain third parties for AHC
Stockmeyer, Cullen    10/3/2023     0.4   Provide update to certain information provided to UCC based on
                                          additional data available
Stockmeyer, Cullen    10/3/2023     0.3   Prepare additional diligence request related to agreements with
                                          certain third parties for UCC
Stockmeyer, Cullen    10/3/2023     0.7   Prepare correspondence regarding UCC requests for additional
                                          information for S&C
Stockmeyer, Cullen    10/3/2023     0.4   Meeting with L. Callerio, C. Stockmeyer (A&M) re: Creditor diligence
                                          updates
Stockmeyer, Cullen    10/3/2023     0.3   Correspondence regarding certain dataset access to share with UCC

Stockmeyer, Cullen    10/3/2023     0.3   Correspondence with S&C regarding additional items for share with
                                          UCC
Stockmeyer, Cullen    10/3/2023     1.1   Prepare responses related to recent data sets for UCC requests

Stockmeyer, Cullen    10/3/2023     0.4   Update internal tracker for UCC based on additional data requests

Stockmeyer, Cullen    10/3/2023     0.4   Prepare schedule in response to diligence request from UCC


Walia, Gaurav         10/3/2023     0.3   Call with FTX 2.0 bidder representative and G. Walia, K.
                                          Ramanathan (A&M) to discuss user exchange activity
Walia, Gaurav         10/3/2023     1.1   Review the preference request by one of the bidders and provide
                                          support
Callerio, Lorenzo     10/4/2023     0.3   Call with C. Stockmeyer, J. Cooper and L. Callerio (A&M) re:
                                          updated diligence approval list
Callerio, Lorenzo     10/4/2023     0.4   Review the updated UCC diligence approval list prepared by C.
                                          Stockmeyer (A&M)
Callerio, Lorenzo     10/4/2023     0.7   Internal correspondence re: additional UCC and potential bidders
                                          diligence items
Callerio, Lorenzo     10/4/2023     0.4   Review UCC diligence item responses and prepare for external share

Cooper, James         10/4/2023     0.9   Review and summarize creditor requests for management approval
                                          re: crypto data and token unlocking
Cooper, James         10/4/2023     0.7   Evaluate and summarize diligence management approval requests
                                          for potential 2.0 bidders re: preference data
Cooper, James         10/4/2023     0.3   Call with C. Stockmeyer, J. Cooper and L. Callerio (A&M) re:
                                          updated diligence approval list
Stockmeyer, Cullen    10/4/2023     0.6   Update UCC internal tracker based on additional provided
                                          information related to recent data requests




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Due Diligence
Professional                Date    Hours    Activity
Stockmeyer, Cullen      10/4/2023     0.4   Provide additional files related to certain entities financial data based
                                            on request from UCC
Stockmeyer, Cullen      10/4/2023     0.3   Call with C. Stockmeyer, J. Cooper and L. Callerio (A&M) re:
                                            updated diligence approval list
Stockmeyer, Cullen      10/4/2023     0.6   Prepare correspondence for FTX regarding additional requests from
                                            UCC to provide
Stockmeyer, Cullen      10/4/2023     0.6   Update UCC data room tracker based on additional provided
                                            information through 10/5
Stockmeyer, Cullen      10/4/2023     0.2   Provide additional data regarding certain contract addendums for
                                            UCC
Stockmeyer, Cullen      10/4/2023     0.4   Provide approved items to UCC based on additional data requests

Titus, Adam             10/4/2023     1.4   Provide diligence response to potential token issuer with public
                                            information to provide guidance on questions from previous call
Callerio, Lorenzo       10/5/2023     0.6   Prepare a new UCC diligence document approval list to be
                                            discussed with J. Ray (A&M)
Callerio, Lorenzo       10/5/2023     0.3   Meeting with G. Walia, C. Stockmeyer and L. Callerio (A&M): AHC
                                            diligence requests
Callerio, Lorenzo       10/5/2023     0.2   Prepare the weekly update of open items with the UCC to be sent to
                                            J. Ray (FTX)
Callerio, Lorenzo       10/5/2023     0.4   Call with C. Stockmeyer and L. Callerio (A&M) re: diligence update

Callerio, Lorenzo       10/5/2023     0.3   Correspond with the UCC re: outstanding diligence requests


Cooper, James           10/5/2023     1.4   Evaluate and summarize diligence approval requests for potential
                                            2.0 bidders re: crypto data
Stockmeyer, Cullen      10/5/2023     0.6   Prepare correspondence for FTX management regarding additional
                                            requests for approval related to certain UCC request
Stockmeyer, Cullen      10/5/2023     0.4   Update FTX2.0 tracker based on additional provided data through
                                            week ending 10/6
Stockmeyer, Cullen      10/5/2023     0.3   Meeting with G. Walia, C. Stockmeyer and L. Callerio (A&M): AHC
                                            diligence requests
Stockmeyer, Cullen      10/5/2023     1.7   Prepare dataset related to follow up request for certain FXT2.0 bidder

Stockmeyer, Cullen      10/5/2023     0.4   Correspondence regarding additional FTX2.0 requests data needs

Stockmeyer, Cullen      10/5/2023     0.8   Update UCC diligence tracker based on request for additional
                                            information
Stockmeyer, Cullen      10/5/2023     0.4   Call with C. Stockmeyer and L. Callerio (A&M) re: diligence update

Stockmeyer, Cullen      10/5/2023     0.6   Provide additional information to AHC based on request for info


Stockmeyer, Cullen      10/5/2023     0.4   Provide additional information to UCC based on request for info




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Due Diligence
Professional               Date     Hours    Activity
Stockmeyer, Cullen      10/5/2023     0.8   Update AHC diligence tracker based on request for additional
                                            information
Stockmeyer, Cullen      10/5/2023     0.3   Update FTX2.0 dataroom based on additional prepared request


Walia, Gaurav           10/5/2023     0.3   Meeting with G. Walia, C. Stockmeyer and L. Callerio (A&M): AHC
                                            diligence requests
Callerio, Lorenzo       10/6/2023     0.3   Meeting with G. Walia, C. Stockmeyer and L. Callerio (A&M): AHC
                                            diligence requests
Callerio, Lorenzo       10/6/2023     0.3   Review and approve the PMO diligence materials and the updated
                                            diligence trackers
Callerio, Lorenzo       10/6/2023     0.6   Review certain documents prior to publishing them to the UCC data
                                            room
Callerio, Lorenzo       10/6/2023     0.3   Prepare documents to be shared externally to UCC data room


Cooper, James           10/6/2023     1.4   Review and summarize diligence requests for management approval
                                            re: FTX 2.0
Stockmeyer, Cullen      10/6/2023     0.4   Prepare report summary for management presentation related to
                                            UCC diligence status
Stockmeyer, Cullen      10/6/2023     1.2   Update tracker for AHC diligence requests based on additional
                                            requests provided
Stockmeyer, Cullen      10/6/2023     0.3   Meeting with G. Walia, C. Stockmeyer and L. Callerio (A&M): AHC
                                            diligence requests
Stockmeyer, Cullen      10/6/2023     1.1   Update tracker for UCC diligence requests based on additional
                                            requests provided
Stockmeyer, Cullen      10/6/2023     0.4   Prepare data request related to preferences for AHC

Stockmeyer, Cullen      10/6/2023     0.4   Prepare coin report through prior month end for AHC


Stockmeyer, Cullen      10/6/2023     0.4   Prepare data request related to preferences for UCC

Stockmeyer, Cullen      10/6/2023     0.6   Prepare coin report through prior month end for UCC


Titus, Adam             10/6/2023     0.9   Review draft of diligence presentation for 2.0

Walia, Gaurav           10/6/2023     0.3   Meeting with G. Walia, C. Stockmeyer and L. Callerio (A&M): AHC
                                            diligence requests
Stockmeyer, Cullen      10/7/2023     0.4   Provide updated cash management information to AHC based on
                                            request
Stockmeyer, Cullen      10/7/2023     0.4   Provide updated cash management information to UCC based on
                                            request
Callerio, Lorenzo       10/8/2023     0.4   Correspondence on certain additional diligence items to be
                                            published to the data rooms
Stockmeyer, Cullen      10/8/2023     0.6   Update diligence tracker based on additional provided items for UCC




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Due Diligence
Professional               Date    Hours    Activity
Stockmeyer, Cullen     10/8/2023     0.4   Update diligence tracker based on additional provided items for AHC

Stockmeyer, Cullen     10/8/2023     0.4   Prepare updated preference information for AHC based on request


Stockmeyer, Cullen     10/8/2023     0.7   Update diligence index for AHC based on additional provided data

Stockmeyer, Cullen     10/8/2023     0.6   Review UCC dataroom for provided info related to certain deck

Stockmeyer, Cullen     10/8/2023     0.8   Update diligence index for UCC based on additional provided data


Stockmeyer, Cullen     10/8/2023     0.3   Prepare updated preference information for UCC based on request

Stockmeyer, Cullen     10/8/2023     0.4   Prepare updated month end coin report for UCC


Stockmeyer, Cullen     10/8/2023     0.4   Prepare updated month end coin report for AHC

Callerio, Lorenzo      10/9/2023     0.7   Prepare and submit documents to the UCC data room, update the
                                           VDR index and the related tracker to reflect same
Callerio, Lorenzo      10/9/2023     0.3   Review and provide comments to the updated diligence PMO
                                           materials prepared by C. Stockmeyer (A&M)
Callerio, Lorenzo      10/9/2023     0.2   Prepare an updated AHC diligence request list to be sent to A.
                                           Kranzley (A&M)
Callerio, Lorenzo      10/9/2023     0.4   Call with J. Cooper and L. Callerio (A&M) re: diligence approval
                                           process update
Callerio, Lorenzo      10/9/2023     0.4   Prepare updated documents for external share to the UCC data room

Cooper, James          10/9/2023     0.9   Review and summarize creditor diligence request for management
                                           approval re: admin costs for plan
Cooper, James          10/9/2023     0.8   Review and summarize creditor diligence request for management
                                           approval re: intercompany analysis
Cooper, James          10/9/2023     0.4   Call with J. Cooper and L. Callerio (A&M) re: diligence approval
                                           process update
Stockmeyer, Cullen     10/9/2023     1.7   Prepare diligence summary analysis for AHC diligence tracker
                                           based on request from management
Stockmeyer, Cullen     10/9/2023     1.8   Prepare consolidated diligence processes summary for
                                           management based on request
Stockmeyer, Cullen     10/9/2023     0.4   Update FTX2.0 diligence tracker based on statuses of requests to
                                           other parties
Stockmeyer, Cullen     10/9/2023     0.4   Prepare additional items related to preference analyses for UCC

Stockmeyer, Cullen     10/9/2023     0.4   Prepare additional items related to preference analyses for AHC


Callerio, Lorenzo     10/10/2023     0.3   Publish certain updated to documents to the UCC data room




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Due Diligence
Professional                 Date    Hours    Activity
Clayton, Lance          10/10/2023     3.1   Prepare analysis regarding confidential diligence request from A.
                                             Canale (A&M)
Francis, Luke           10/10/2023     1.4   Search creditor relationship to debtors within company records per
                                             diligence request
Mohammed, Azmat         10/10/2023     1.3   Respond to FTX 2.0 technology diligence requests

Stockmeyer, Cullen      10/10/2023     0.6   Update diligence tracker based on additional provided data for UCC

Stockmeyer, Cullen      10/10/2023     0.2   Update VDR index based on additional provided datasets for UCC


Stockmeyer, Cullen      10/10/2023     0.4   Update diligence tracker based on additional provided data for AHC

Stockmeyer, Cullen      10/10/2023     0.4   Update VDR index based on additional provided datasets for AHC


Titus, Adam             10/10/2023     1.6   Diligence details for potential investment acquisition noted providing
                                             next steps
Callerio, Lorenzo       10/11/2023     1.4   Prepare updated responses to certain questions received from the
                                             JPLs prior to run them through the approval process
Callerio, Lorenzo       10/11/2023     0.8   Review certain new information prior to external share to the UCC
                                             and the AHC data rooms
Callerio, Lorenzo       10/11/2023     0.7   Call with C. Stockmeyer and L. Callerio (A&M) re: additional
                                             diligence requests
Callerio, Lorenzo       10/11/2023     0.6   Respond to certain diligence questions received from the AHC


Callerio, Lorenzo       10/11/2023     1.1   Coordinate certain additional diligence requests received from the
                                             JPLs
Clayton, Lance          10/11/2023     1.7   Venture portfolio fund research for CMS diligence inquiry


Francis, Luke           10/11/2023     1.3   Analysis of claims filed by creditors related to diligence request

Mohammed, Azmat         10/11/2023     1.2   Respond to FTX 2.0 technology diligence requests related to AWS
                                             infrastructure and legacy code base
Stockmeyer, Cullen      10/11/2023     0.6   Update UCC diligence tracker based on additional requests related
                                             to services provided to debtor
Stockmeyer, Cullen      10/11/2023     0.3   Update diligence tracker for UCC based on additional provided items
                                             related to claims
Stockmeyer, Cullen      10/11/2023     0.2   Update diligence tracker for AHC based on additional provided items
                                             related to preferences
Stockmeyer, Cullen      10/11/2023     0.4   Prepare additional correspondence regarding certain requests from
                                             JPL advisors
Stockmeyer, Cullen      10/11/2023     0.4   Prepare updated preference analysis based on commentary from G.
                                             Walia (A&M)
Stockmeyer, Cullen      10/11/2023     0.7   Call with C. Stockmeyer and L. Callerio (A&M) re: additional
                                             diligence requests




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Due Diligence
Professional               Date    Hours    Activity
Stockmeyer, Cullen    10/11/2023     0.6   Correspondence regarding request from FTI related to services
                                           provided to debtor
Stockmeyer, Cullen    10/11/2023     0.8   Correspond with various parties regarding requests from JPL
                                           advisors
Stockmeyer, Cullen    10/11/2023     1.1   Prepare summary of claims analyses related to JPL request for
                                           information
Stockmeyer, Cullen    10/11/2023     0.3   Update preference data related to request from UCC

Stockmeyer, Cullen    10/11/2023     0.4   Prepare correspondence regarding JPL requests


Stockmeyer, Cullen    10/11/2023     0.4   Prepare data related to claims request from AHC

Stockmeyer, Cullen    10/11/2023     0.7   Prepare tracker related to urgent requests from JPL advisors


Callerio, Lorenzo     10/12/2023     0.5   Call with L. Callerio and J. Cooper (A&M) re: diligence process
                                           updated and open items review
Callerio, Lorenzo     10/12/2023     0.7   Meeting with L. Callerio, C. Stockmeyer (A&M) regarding certain
                                           request from AHC
Callerio, Lorenzo     10/12/2023     0.4   Prepare an updated UCC diligence approval list to be sent to A.
                                           Kranzley (A&M)
Callerio, Lorenzo     10/12/2023     0.4   Review the list of open diligence items and coordinate the response
                                           collection
Callerio, Lorenzo     10/12/2023     0.4   Coordinate the collection of some additional diligence requests


Cooper, James         10/12/2023     0.5   Call with L. Callerio and J. Cooper (A&M) re: diligence process
                                           updated and open items review
Stockmeyer, Cullen    10/12/2023     0.7   Meeting with L. Callerio, C. Stockmeyer (A&M) regarding certain
                                           request from AHC
Stockmeyer, Cullen    10/12/2023     0.3   Correspondence regarding S&C review of certain requests by UCC
                                           advisors
Stockmeyer, Cullen    10/12/2023     0.4   Prepare summary of all diligence processes for management review


Walia, Gaurav         10/12/2023     0.4   Call with T. Xu, T. Biggs (M3), and G. Walia (A&M) to discuss
                                           diligence responses
Walia, Gaurav         10/12/2023     1.4   Prepare summary response to diligence questions from M3

Walia, Gaurav         10/12/2023     0.8   Call with P. Lee (FTX) to discuss M3 diligence questions


Callerio, Lorenzo     10/13/2023     0.2   Call with J. Cooper and L. Callerio (A&M) re: outstanding diligence
                                           items overview
Cooper, James         10/13/2023     0.2   Call with J. Cooper and L. Callerio (A&M) re: outstanding diligence
                                           items overview
Francis, Luke         10/13/2023     1.3   Search customer relationship to debtor based on diligence request




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Due Diligence
Professional               Date    Hours    Activity
Stockmeyer, Cullen    10/13/2023     0.6   Prepare correspondence for S&C regarding approval for sharing
                                           certain dataset requested by UCC
Stockmeyer, Cullen    10/13/2023     1.1   Prepare dataset for request related to specific investments from
                                           UCC advisors
Stockmeyer, Cullen    10/13/2023     0.4   Update AHC diligence tracker based on latest request for information

Stockmeyer, Cullen    10/13/2023     0.6   Update UCC diligence tracker based on latest request for information

Walia, Gaurav         10/13/2023     1.8   Prepare responses to several 2.0 diligence questions


Callerio, Lorenzo     10/16/2023     0.6   Prepare a new AHC documents approval list to be circulated to A.
                                           Kranzley (S&C) for approval
Callerio, Lorenzo     10/16/2023     0.7   Review and approve the RKLS Venture Diligence materials prepared
                                           by C. Stockmeyer (A&M)
Callerio, Lorenzo     10/16/2023     0.2   Call with J. Cooper and L. Callerio (A&M) re: additional diligence
                                           requests
Callerio, Lorenzo     10/16/2023     0.6   Review certain documents prior to adding them to the UCC and AHC
                                           data rooms
Cooper, James         10/16/2023     1.3   Summarize and review diligence approval requests for FTX 2.0
                                           potential bidders re: exchange interface
Cooper, James         10/16/2023     0.8   Review and summarize diligence management approval requests for
                                           UCC/AHC re: de minimis investments
Cooper, James         10/16/2023     0.2   Call with J. Cooper and L. Callerio (A&M) re: additional diligence
                                           requests
Mohammed, Azmat       10/16/2023     0.4   Coordinate technology data request responses for FTX 2.0 process

Stockmeyer, Cullen    10/16/2023     1.1   Confirm membership of ad-hoc committee for the purpose of
                                           ensuring no PII is shared regarding non-members
Stockmeyer, Cullen    10/16/2023     0.6   Provide additional information to UCC based on request for info
                                           related to certain investments
Stockmeyer, Cullen    10/16/2023     0.7   Provide additional information to AHC based on request for info
                                           related to certain investments
Stockmeyer, Cullen    10/16/2023     0.4   Update diligence tracker for AHC based on additional provide
                                           information
Stockmeyer, Cullen    10/16/2023     0.6   Update diligence tracker for UCC based on additional provide
                                           information
Walia, Gaurav         10/16/2023     0.7   Prepare summary one-pager of ways an account can go negative on
                                           the exchange
Callerio, Lorenzo     10/17/2023     0.4   Review and update the list of documents prepared in response to
                                           certain requests received from the JPLs
Callerio, Lorenzo     10/17/2023     0.3   Correspondence with the UCC re: certain diligence documents that
                                           have been added to the data room
Callerio, Lorenzo     10/17/2023     0.2   Call with G. Walia and L. Callerio (A&M) re: additional FTX2.0
                                           diligence requests




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Due Diligence
Professional                 Date    Hours    Activity
Callerio, Lorenzo       10/17/2023     0.7   Review and prepare diligence responses for publishing to the UCC
                                             and AHC data rooms
Callerio, Lorenzo       10/17/2023     0.3   Prepare a new FTX2.0 document approval list to be sent to A.
                                             Kranzley (S&C)
Callerio, Lorenzo       10/17/2023     0.3   Respond to certain questions received from PWP re: FTX2.0
                                             diligence
Esposito, Rob           10/17/2023     0.4   Prepare response to creditor inquires on CUD scheduled claims

Kotarba, Steve          10/17/2023     1.1   Respond to creditor constituency diligence requests


Mohammed, Azmat         10/17/2023     1.1   Respond to FTX 2.0 technology diligence requests

Sullivan, Christopher   10/17/2023     0.9   Respond to diligence question from PwC


Walia, Gaurav           10/17/2023     0.2   Call with G. Walia and L. Callerio (A&M) re: additional FTX2.0
                                             diligence requests
Callerio, Lorenzo       10/18/2023     0.4   Correspondence with other A&M teams re: certain outstanding
                                             FTX2.0 and AHC diligence requests
Callerio, Lorenzo       10/18/2023     0.3   Prepare a summary of the updated responses to the JPLs requests

Cooper, James           10/18/2023     1.3   Review and summarize diligence management approval requests for
                                             FTX 2.0 potential bidders re: preferences
Esposito, Rob           10/18/2023     0.9   Review of claim related data for response to diligence requests


Kotarba, Steve          10/18/2023     0.5   Prepare updated analysis re committee request re Bahamas
                                             contacts
Mohammed, Azmat         10/18/2023     0.9   Respond to FTX 2.0 technology diligence requests related trading
                                             data, claims data, and legacy code
Titus, Adam             10/18/2023     1.5   Provide feedback to diligence area focus on 2.0 bidder proposal with
                                             questions
Callerio, Lorenzo       10/19/2023     0.3   Call with J. Cooper and L. Callerio (A&M) to discuss certain
                                             diligence requests received from then JPLs
Callerio, Lorenzo       10/19/2023     0.3   Correspondence with FTI and C. Arnett (A&M) re: certain additional
                                             diligence requests
Callerio, Lorenzo       10/19/2023     0.4   Prepare diligence responses for publishing them to the UCC and
                                             AHC data rooms
Callerio, Lorenzo       10/19/2023     0.8   Review correspondence related to specific additional requests
                                             received from the AHC
Callerio, Lorenzo       10/19/2023     0.4   Prepare responses to updated list of requests received from the
                                             JPLs
Cooper, James           10/19/2023     0.3   Call with J. Cooper and L. Callerio (A&M) to discuss certain
                                             diligence requests received from then JPLs
Cooper, James           10/19/2023     0.8   Summarize and review diligence approvals for JPL's specific
                                             requests/questions




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Due Diligence
Professional               Date    Hours    Activity
Mohammed, Azmat       10/19/2023     0.4   Provide technology data responses for FTX 2.0 diligence

Stockmeyer, Cullen    10/19/2023     0.4   Prepare items related to certain UCC request for share via VDR


Stockmeyer, Cullen    10/19/2023     0.6   Prepare items related to certain AHC request for share via VDR

Walia, Gaurav         10/19/2023     1.8   Prepare summary responses to IP related questions for the diligence
                                           process
Walia, Gaurav         10/19/2023     0.4   Prepare a list of domain names and legal entity ownership


Callerio, Lorenzo     10/20/2023     0.4   Review additional documents before adding them to the approval list
                                           to be circulated to A. Kranzley (A&M)
Callerio, Lorenzo     10/20/2023     0.3   Call with J. Cooper and L. Callerio (A&M): outstanding diligence
                                           items
Callerio, Lorenzo     10/20/2023     0.4   Prepare a new diligence approval list to be sent to J. Ray (FTX)

Callerio, Lorenzo     10/20/2023     0.3   Call with C. Stockmeyer and L. Callerio (A&M) re: updated diligence
                                           items
Cooper, James         10/20/2023     0.8   Summarize and prepare approval package for potential FTX 2.0
                                           diligence re: customer lookback analysis
Cooper, James         10/20/2023     0.3   Call with J. Cooper and L. Callerio (A&M): outstanding diligence
                                           items
Mohammed, Azmat       10/20/2023     0.3   Support efforts related to FTX 2.0 technology diligence items around
                                           legacy order quantities
Stockmeyer, Cullen    10/20/2023     0.8   Review file related to orders book for personal information to remove
                                           prior to sharing with committees
Stockmeyer, Cullen    10/20/2023     0.4   Update diligence tracker for FTX2.0 bidders based on additional
                                           items status updates
Stockmeyer, Cullen    10/20/2023     0.4   Correspondence regarding approval to share items with FTX2.0
                                           bidders with S&C
Stockmeyer, Cullen    10/20/2023     0.6   Prepare data related to plan analysis for share with FTX2.0 bidders


Stockmeyer, Cullen    10/20/2023     0.6   Update diligence tracker for UCC based on additional items status
                                           updates
Stockmeyer, Cullen    10/20/2023     0.3   Call with C. Stockmeyer and L. Callerio (A&M) re: updated diligence
                                           items
Stockmeyer, Cullen    10/20/2023     0.7   Update diligence tracker for AHC based on additional items status
                                           updates
Stockmeyer, Cullen    10/20/2023     0.6   Correspondence regarding approval to share items with UCC with
                                           S&C
Stockmeyer, Cullen    10/20/2023     0.4   Prepare coin report as of 10/13 for share with UCC


Stockmeyer, Cullen    10/20/2023     0.3   Prepare coin report as of 10/13 for share with AHC




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Professional               Date    Hours    Activity
Stockmeyer, Cullen    10/22/2023     0.4   Prepare items requested by UCC for share via virtual data room

Stockmeyer, Cullen    10/22/2023     0.4   Update UCC diligence tracker based on additional provided items for
                                           10/22
Stockmeyer, Cullen    10/22/2023     0.3   Update AHC diligence tracker based on additional provided items for
                                           10/22
Stockmeyer, Cullen    10/22/2023     0.3   Prepare items requested by AHC for share via virtual data room

Callerio, Lorenzo     10/23/2023     0.4   Correspondence with the UCC re: certain diligence items


Callerio, Lorenzo     10/23/2023     0.7   Call with PWP (K. Cofsky, M. Rahmani), S&C (A. Dietderich), S.
                                           Coverick, K. Jacobs, R. Gordon and L. Callerio (A&M) re: FTX2.0
                                           update
Cooper, James         10/23/2023     0.7   Summarize management approval request for potential FTX 2.0
                                           bidder diligence re: daily order volume
Cooper, James         10/23/2023     0.8   Review and consolidate management approval request for creditors
                                           re: claims/KYC
Coverick, Steve       10/23/2023     0.7   Call with PWP (K. Cofsky, M. Rahmani), S&C (A. Dietderich), S.
                                           Coverick, K. Jacobs, R. Gordon and L. Callerio (A&M) re: FTX2.0
                                           update
Jacobs, Kevin         10/23/2023     0.7   Call with PWP (K. Cofsky, M. Rahmani), S&C (A. Dietderich), S.
                                           Coverick, K. Jacobs, R. Gordon and L. Callerio (A&M) re: FTX2.0
                                           update
Stockmeyer, Cullen    10/23/2023     0.6   Prepare items for share with FTX2.0 bidders based on latest
                                           commentary by FTX
Stockmeyer, Cullen    10/23/2023     0.7   Update diligence tracker for FTX2.0 sale process based on
                                           additional provided items
Stockmeyer, Cullen    10/23/2023     0.6   Update diligence tracker for UCC based on additional provided items


Stockmeyer, Cullen    10/23/2023     0.4   Prepare certain list of questions related to token liquidation for UCC

Stockmeyer, Cullen    10/23/2023     0.3   Correspondence regarding questions for token liquidation for UCC

Callerio, Lorenzo     10/24/2023     0.2   Call with L. Callerio, C. Stockmeyer (A&M) re: response to certain
                                           diligence request
Paolinetti, Sergio    10/24/2023     0.4   Search on Relativity for latest Blockfolio Valuation Report

Stockmeyer, Cullen    10/24/2023     0.3   Provide additional contracts to UCC based on request for certain
                                           subsidiary information
Stockmeyer, Cullen    10/24/2023     0.4   Provide additional contracts to AHC based on request for certain
                                           subsidiary information
Stockmeyer, Cullen    10/24/2023     1.3   Review available information for additional request in order to best
                                           answer bidders question
Stockmeyer, Cullen    10/24/2023     1.4   Prepare response to request from FTX2.0 bidder for certain
                                           subsidiary



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Professional               Date    Hours    Activity
Stockmeyer, Cullen    10/24/2023     0.2   Call with L. Callerio, C. Stockmeyer (A&M) re: response to certain
                                           diligence request
Stockmeyer, Cullen    10/24/2023     0.4   Update AHC diligence tracker based on additional provided info


Stockmeyer, Cullen    10/24/2023     0.3   Update UCC diligence tracker based on additional provided info

Stockmeyer, Cullen    10/24/2023     0.3   Update UCC diligence tracker based on additional requests

Callerio, Lorenzo     10/25/2023     0.2   Call with C. Stockmeyer and L. Callerio (A&M) re: outstanding
                                           diligence items
Callerio, Lorenzo     10/25/2023     0.6   Review and update the UCC diligence trackers

Callerio, Lorenzo     10/25/2023     0.6   Review some additional document requests received from the AHC
                                           and prepare an updated approval list to be sent to A. Kranzley (S&C)
Mohammed, Azmat       10/25/2023     0.2   Call between D. Chiu (FTX) and A.Mohammed (A&M) to discuss
                                           Blockfolio technology and assets
Mohammed, Azmat       10/25/2023     0.4   Identify Blockfolio entanglement with FTX technology and assets


Stockmeyer, Cullen    10/25/2023     0.3   Prepare diligence tracker update related to additional AHC request
                                           for certain de minimis investments
Stockmeyer, Cullen    10/25/2023     0.4   Prepare diligence tracker update related to additional UCC request
                                           for certain de minimis investments
Stockmeyer, Cullen    10/25/2023     0.2   Call with C. Stockmeyer and L. Callerio (A&M) re: outstanding
                                           diligence items
Stockmeyer, Cullen    10/25/2023     0.3   Prepare presentation related to certain entity for share with UCC

Stockmeyer, Cullen    10/25/2023     0.2   Prepare presentation related to certain entity for share with AHC


Walia, Gaurav         10/25/2023     0.6   Review the legal entity ownership of several domain names

Callerio, Lorenzo     10/26/2023     0.3   Meeting with L. Callerio, C. Stockmeyer (A&M) re: diligence updates
                                           related to certain contracts
Callerio, Lorenzo     10/26/2023     0.3   Review and update the diligence trackers based on responses
                                           provided to date
Callerio, Lorenzo     10/26/2023     0.4   Prepare an updated document approval list to be sent to A. Kranzley
                                           (A&M)
Sivapalu, Anan        10/26/2023     1.6   Provide a limited map of main account identification to diligence team


Stockmeyer, Cullen    10/26/2023     0.3   Meeting with L. Callerio, C. Stockmeyer (A&M) re: diligence updates
                                           related to certain contracts
Stockmeyer, Cullen    10/26/2023     0.3   Update AHC diligence tracker based on additional requested items
                                           related to contracts
Stockmeyer, Cullen    10/26/2023     0.4   Update UCC diligence tracker based on additional requested items
                                           related to contracts




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Professional                 Date    Hours    Activity
Stockmeyer, Cullen      10/26/2023     0.2   Prepare documentation related to certain offer for crypto assets for
                                             AHC
Stockmeyer, Cullen      10/26/2023     0.2   Prepare documentation related to certain offer for crypto assets for
                                             UCC
Stockmeyer, Cullen      10/26/2023     0.4   Update diligence tracker for UCC for items recently provided

Stockmeyer, Cullen      10/26/2023     0.3   Update diligence tracker for AHC for items recently provided

Stockmeyer, Cullen      10/26/2023     1.1   Prepare consolidated summary of various diligence processes for
                                             management update
Callerio, Lorenzo       10/27/2023     0.4   Call with C. Stockmeyer and L. Callerio (A&M) re: diligence work
                                             stream update
Callerio, Lorenzo       10/27/2023     0.3   Call with J. Cooper and L. Callerio (A&M) re: UCC and AHC
                                             documents approval list
Callerio, Lorenzo       10/27/2023     0.4   Summarize the new information to be sent for approval

Cooper, James           10/27/2023     0.3   Call with J. Cooper and L. Callerio (A&M) re: UCC and AHC
                                             documents approval list
Cooper, James           10/27/2023     1.3   Review and summarize diligence approval request for management
                                             for creditors re: de minimis investments and agreements
Faett, Jack             10/27/2023     0.2   Call with A. Stolyar, J. Faett, K. Kearney, A.Mohammed (A&M) to
                                             discuss technology data requests
Kearney, Kevin          10/27/2023     0.2   Call with A. Stolyar, J. Faett, K. Kearney, A.Mohammed (A&M) to
                                             discuss technology data requests
Konig, Louis            10/27/2023     2.3   Quality control and review of output related to ticker mechanics
                                             research
Konig, Louis            10/27/2023     2.2   Script database related to ticker unlocking mechanics research


Konig, Louis            10/27/2023     1.4   Document findings related to ticker unlocking mechanics research

Mohammed, Azmat         10/27/2023     0.2   Call with A. Stolyar, J. Faett, K. Kearney, A.Mohammed (A&M) to
                                             discuss technology data requests
Mohammed, Azmat         10/27/2023     0.8   Support efforts related to FTX 2.0 technology data requests

Stockmeyer, Cullen      10/27/2023     0.4   Call with C. Stockmeyer and L. Callerio (A&M) re: diligence work
                                             stream update
Stockmeyer, Cullen      10/27/2023     0.4   Correspondence with PWP regarding files provided related to
                                             FTX2.0 sale process
Stolyar, Alan           10/27/2023     0.2   Call with A. Stolyar, J. Faett, K. Kearney, A.Mohammed (A&M) to
                                             discuss technology data requests
Callerio, Lorenzo       10/30/2023     0.4   Meeting with J. Cooper and L. Callerio (A&M) re: diligence work
                                             stream update
Cooper, James           10/30/2023     0.6   Prepare evaluation of diligence workstream data rooms, tracker and
                                             process to support workstream transition




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Professional               Date    Hours     Activity
Cooper, James         10/30/2023      0.4   Meeting with J. Cooper and L. Callerio (A&M) re: diligence work
                                            stream update
Kotarba, Steve        10/30/2023      2.2   Respond to diligence request re claim status and estimates


Mohammed, Azmat       10/30/2023      0.8   Support efforts related to FTX 2.0 technology data requests

Stockmeyer, Cullen    10/30/2023      0.2   Internal correspondence regarding certain documentation available
                                            for AHC
Callerio, Lorenzo     10/31/2023      0.2   Call with C. Stockmeyer and L. Callerio (A&M) re: outstanding
                                            diligence requests
Callerio, Lorenzo     10/31/2023      0.2   Correspondence with the UCC re: certain outstanding diligence items

Cooper, James         10/31/2023      0.8   Review diligence data room folders, tracker and PMO materials to
                                            prepare for workstream transition
Ernst, Reagan         10/31/2023      1.3   Perform due diligence on equity funded amounts for master
                                            investment tracker
Konig, Louis          10/31/2023      1.9   Quality control and review of output related to ticker-level valuation
                                            analytics analysis
Konig, Louis          10/31/2023      2.2   Document findings related to ticker-level valuation analytics analysis

Konig, Louis          10/31/2023      2.1   Script database related to ticker-level valuation analytics analysis

Mohammed, Azmat       10/31/2023      0.4   Gather historical KYC processing times from KYC vendors for FTX
                                            2.0 diligence
Stockmeyer, Cullen    10/31/2023      0.3   Correspondence related to S&C approval of sharing certain venture
                                            items with UCC
Stockmeyer, Cullen    10/31/2023      0.2   Correspondence related to S&C approval of sharing certain venture
                                            items with AHC
Stockmeyer, Cullen    10/31/2023      0.2   Call with C. Stockmeyer and L. Callerio (A&M) re: outstanding
                                            diligence requests

Subtotal                            177.1

Employee Matters
Professional               Date    Hours     Activity
Simoneaux, Nicole      10/2/2023      0.3   Correspond with Fastlane PEO in regards to payroll timing and tax
                                            implications for 2024
Simoneaux, Nicole      10/2/2023      0.9   Build October monthly disbursement calendar for payroll-related
                                            items
Simoneaux, Nicole      10/2/2023      1.4   Prepare HR-related notices for foreign entity wind-down

Simoneaux, Nicole      10/2/2023      0.4   Prepare updated schedule for FTX Asian entity payroll and tax
                                            disbursement timing
Trent, Hudson          10/2/2023      1.4   Update compensation analysis materials for internal A&M feedback



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Employee Matters
Professional               Date    Hours    Activity
Simoneaux, Nicole      10/3/2023     0.6   Prepare payment requests for FTX US off-cycle benefits

Simoneaux, Nicole      10/3/2023     0.3   Follow-up with benefits providers and PEOs for overdue invoices
                                           related to FTX US
Arnett, Chris          10/4/2023     0.4   Research status of FTX US employees / contractors at request of
                                           S&C
Simoneaux, Nicole      10/5/2023     1.3   Update Blockfolio cost details for recontacting proposals in regards
                                           to 2.0 needs
Trent, Hudson          10/5/2023     1.4   Update employee incentive analysis based on internal A&M feedback


Simoneaux, Nicole      10/6/2023     1.2   Prepare payment requests for 10/9 pay-run

Coverick, Steve        10/9/2023     0.8   Review and provide comments on incentive comp analysis with
                                           revised recovery estimates
Simoneaux, Nicole      10/9/2023     1.1   Prepare headcount consolidation with dates of termination /
                                           resignation as requested by K. Schultea (FTX)
Simoneaux, Nicole      10/9/2023     1.9   Perform Japan KK diligence request provided by K. Schultea (FTX)
                                           in regards to active headcount and new hires
Simoneaux, Nicole      10/9/2023     0.9   Review and verify KERP awards for the first payout prior to
                                           requesting wires
Simoneaux, Nicole      10/9/2023     0.3   Update Budget 10 inputs to cover expected KERP disbursements in
                                           mid-October
Simoneaux, Nicole      10/9/2023     0.7   Prepare payment requests for KERP payout 1


Simoneaux, Nicole     10/10/2023     1.9   Update compensation amounts for all employees based on
                                           September end-of-month payrolls
Simoneaux, Nicole     10/10/2023     0.4   Provide K. Schultea (FTX) with KERP scheduled payouts per
                                           participant for wire approval
Simoneaux, Nicole     10/10/2023     1.4   Prepare FTX Turkey diligence responses on compensation to
                                           inquiries provided by A&M Europe team
Simoneaux, Nicole     10/10/2023     2.1   Reconcile FTX US and Dotcom contractor rosters to better forecast
                                           hourly pay
Simoneaux, Nicole     10/10/2023     1.6   Prepare employee exchange account email request provided by
                                           A&M crypto team
Simoneaux, Nicole     10/11/2023     1.3   Prepare summary of past-due Human Interest invoices for FTX US
                                           benefits
Simoneaux, Nicole     10/11/2023     1.1   Prepare payment requests for 10/12 pay-run


Simoneaux, Nicole     10/12/2023     0.3   Correspond with Human Interest representatives regarding backlog
                                           of benefits payments for Alameda Research LLC
Simoneaux, Nicole     10/12/2023     1.2   Revise KERP recommendations based on new market data provided
                                           by the compensation & benefits A&M team
Simoneaux, Nicole     10/12/2023     1.7   Prepare unallocated KERP pool recommendations for developers




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Employee Matters
Professional               Date    Hours    Activity
Coverick, Steve       10/13/2023     0.6   Review and provide comments on revised draft of incentive comp
                                           analysis
Simoneaux, Nicole     10/15/2023     0.9   Review wages motion prepetition spending to potentially allot
                                           prepetition 401k balances to the benefits portion
Simoneaux, Nicole     10/15/2023     1.1   Assess Alameda Research outstanding 401k benefit invoices with
                                           prepetition balances
Simoneaux, Nicole     10/15/2023     0.8   Update weekly disbursement calendar for payroll and benefits timing

Simoneaux, Nicole     10/15/2023     0.7   Request prepetition outstanding benefits invoices for 10/16 pay-run


Simoneaux, Nicole     10/16/2023     0.7   Prepare Ledger Prime employee rationalization needed based on
                                           inputs from L. Clayton (A&M)
Simoneaux, Nicole     10/16/2023     1.1   Respond to A&M Europe team inquiries re: foreign payroll tax
                                           implications for dismissed entities
Simoneaux, Nicole     10/16/2023     0.6   Incorporate comments and notes for Ledger Prime employee
                                           rationalization through year-end 2023
Simoneaux, Nicole     10/16/2023     0.4   Prepare correspondence and summary for K. Schultea (FTX) re:
                                           headcount changes midmonth
Simoneaux, Nicole     10/16/2023     1.8   Analyze foreign tax implications in Turkey per request from EY

Simoneaux, Nicole     10/16/2023     1.1   Reconcile headcount based on mid-month payroll invoices for FTX
                                           US
Arnett, Chris         10/17/2023     0.4   Direct research re: potential litigation party and connections with
                                           current and prior contractors
Simoneaux, Nicole     10/17/2023     1.1   Perform comprehensive Japan contractor reconciliation based on
                                           hourly wages and utilization history
Simoneaux, Nicole     10/17/2023     1.3   Request payment for Japan KK contractor payroll and translate /
                                           update rationalization provided by M. Kagimoto (FTX)
Simoneaux, Nicole     10/17/2023     0.4   Prepare request from A&M crypto team in regards to Blockfolio
                                           contractor compensation
Simoneaux, Nicole     10/17/2023     1.4   Update the cash and headcount forecasts for changes in Japan KK
                                           headcount
Simoneaux, Nicole     10/17/2023     0.8   Update lender avoidance database as requested by A&M contracts
                                           team
Simoneaux, Nicole     10/17/2023     1.9   Draft offer letters / agreements for Japan KK new hires

Simoneaux, Nicole     10/17/2023     0.7   Respond to multiple rationalization inquiries re: Blockfolio
                                           contractors and potential recontacting of inactive contractors
Simoneaux, Nicole     10/18/2023     1.3   Run Relativity search for EU employee contact information for active
                                           and inactive personnel
Simoneaux, Nicole     10/18/2023     0.2   Correspond with M. Van den Belt and E. Dalgleish (A&M) re:
                                           headcount expectations in Europe
Simoneaux, Nicole     10/18/2023     0.6   Analyze spreadsheet provided by A&M Europe team containing
                                           employee rationalization




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Employee Matters
Professional                Date    Hours    Activity
Simoneaux, Nicole      10/18/2023     1.9   Search Relativity for employee information re: ZUBR as requested
                                            by C. Myers (A&M)
Simoneaux, Nicole      10/19/2023     0.9   Refresh payroll disbursement calendar through end-of-year and
                                            update with new Justworks wire deadlines
Simoneaux, Nicole      10/19/2023     1.9   Provide cash team with expected KERP and KEIP payout budgeting
                                            based on the court-approved amounts
Simoneaux, Nicole      10/19/2023     1.8   Verify proposed Blockfolio off-cycle KERP payments for request
                                            through Justworks
Simoneaux, Nicole      10/19/2023     1.9   Prepare proposed KEIP updates for consideration upon request by
                                            S&C
Simoneaux, Nicole      10/19/2023     0.4   Update personnel termination inputs provided by K. Schultea (FTX)

Simoneaux, Nicole      10/19/2023     0.6   Create Genesis Block personnel listing based on available contracts
                                            in relativity
Simoneaux, Nicole      10/19/2023     1.4   Create summary to show connections between Genesis Block
                                            employee onboarding and personnel recontracted with Cottonwood
                                            Grove
Arnett, Chris          10/20/2023     0.3   Correspond with H. Chambers (A&M) about current status of Asian
                                            personnel
Arnett, Chris          10/20/2023     0.4   Call regarding employee matters with A. Kranzley, J. Bander (S&C),
                                            E. Mosley, C. Arnett, S. Coverick, and H. Trent (A&M)
Coverick, Steve        10/20/2023     0.4   Call with A. Kranzley, J. Bander (S&C), E. Mosley, S. Coverick, C.
                                            Arnett, H. Trent (A&M) re: Japan KEIP metrics
Mosley, Ed             10/20/2023     0.4   Call regarding employee matters with A. Kranzley, J. Bander (S&C),
                                            E. Mosley, C. Arnett, S. Coverick, and H. Trent (A&M)
Simoneaux, Nicole      10/20/2023     0.6   Request Quoine Pte payroll through PayAsia and Links for approval
                                            to be paid out of Japan bank accounts
Simoneaux, Nicole      10/20/2023     0.3   Consolidate and summarize headcount forecasting assumptions to
                                            share with K. Schultea (FTX)
Simoneaux, Nicole      10/20/2023     2.3   Update employee exchange address database with additional files
                                            provided by FTI
Simoneaux, Nicole      10/20/2023     1.4   Summarize exchange activity per employee for Dotcom related to
                                            2.0 diligence request
Simoneaux, Nicole      10/20/2023     1.9   Summarize exchange activity per employee for FTX US related to
                                            2.0 diligence request
Simoneaux, Nicole      10/20/2023     1.1   Problem-solve payroll timing delays with Justworks and associated
                                            fees
Trent, Hudson          10/20/2023     0.4   Call with A. Kranzley, J. Bander (S&C), E. Mosley, S. Coverick, C.
                                            Arnett, H. Trent (A&M) re: Japan KEIP metrics
Simoneaux, Nicole      10/23/2023     0.6   Provide updated FTX personnel request from K. Schultea (FTX)
                                            demonstrating headcount changes month-to-month in 2023
Simoneaux, Nicole      10/23/2023     1.7   Summarize yearly payroll actuals for ZUBR in 2022 and 2021 based
                                            on support found in Relativity
Simoneaux, Nicole      10/23/2023     0.3   Respond to follow-ups related to monthly headcount summary
                                            requested by K. Schultea (FTX)


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                                FTX Trading Ltd., et al.,
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Employee Matters
Professional              Date    Hours    Activity
Simoneaux, Nicole    10/23/2023     0.9   Revisit ZUBR employee contact information as requested by Case
                                          Management A&M team
Simoneaux, Nicole    10/23/2023     1.4   Identify and summarize FTX personnel residing in Australia per
                                          request from S&C
Simoneaux, Nicole    10/24/2023     0.3   Confirm outstanding Human Interest invoices with D. Ornelas (FTX)
                                          prior to approval for wire processing
Simoneaux, Nicole    10/24/2023     2.3   Incorporate additional support found in Relativity to the employee
                                          exchange activity tracker
Simoneaux, Nicole    10/24/2023     0.4   Troubleshoot expensify access issues in regards to pulling tax
                                          reports for IRS
Simoneaux, Nicole    10/24/2023     1.4   Share and compile Salameda employee exchange activity with A&M
                                          Crypto team
Simoneaux, Nicole    10/25/2023     3.1   Search Relativity for payroll disbursements re: Salameda contractors
                                          to indicate last known employment status
Simoneaux, Nicole    10/25/2023     1.8   Review KERP payout invoices for Ledger Prime and West Realm
                                          Shires prior to processing
Simoneaux, Nicole    10/25/2023     0.9   Update newly onboarded Blockfolio contractor payroll information for
                                          direct wire processing
Simoneaux, Nicole    10/25/2023     1.4   Review Blockfolio contractor reengagement rationalization and
                                          expected costs
Simoneaux, Nicole    10/25/2023     0.3   Deliberate with Case Management A&M team re: active ZUBR
                                          employees
Simoneaux, Nicole    10/25/2023     0.6   Deliberate with Case Management A&M team re: active ZUBR
                                          employee residencies for claims / non-customer noticing tracker
Simoneaux, Nicole    10/26/2023     0.4   Inquire about employee redaction expectations with J. Rybarczyk
                                          (A&M) re: outstanding diligence requests
Simoneaux, Nicole    10/26/2023     2.8   Evaluate and transfer all Ledger Prime payroll responsibilities from
                                          S. Tang (FTX) to K. Schultea (FTX)
Simoneaux, Nicole    10/26/2023     2.1   Prepare cash-basis month-ending employee termination and
                                          resignation schedule for K. Schultea (FTX)
Simoneaux, Nicole    10/26/2023     0.7   Begin end-of-month headcount reconciliation for next cash budget


Simoneaux, Nicole    10/26/2023     1.4   Prepare month-end payroll requests for FTX US entities

Simoneaux, Nicole    10/27/2023     1.4   Review all end-of-month payroll support to verify headcount
                                          reconciliation and status
Simoneaux, Nicole    10/27/2023     0.6   Update end-of-month payroll calendar to align with actual
                                          disbursement dates
Simoneaux, Nicole    10/27/2023     0.4   Prepare payment requests for 10/28 pay-run

Simoneaux, Nicole    10/27/2023     3.2   Analyze PEO invoices to create benefit / tax code database


Simoneaux, Nicole    10/29/2023     1.1   Package benefit / tax code summary as requested by R. Hoskins
                                          (FTX)




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Employee Matters
Professional               Date    Hours     Activity
Arnett, Chris         10/30/2023      0.7   Research the need to employ certain individuals / contractors on a
                                            post-emergence basis
Simoneaux, Nicole     10/30/2023      1.9   Continue responding to FTX Material IP diligence requests in
                                            regards to prepetition FTX personnel
Arnett, Chris         10/31/2023      0.4   Continue researching the need to employ certain individuals /
                                            contractors on a post-emergence basis
Simoneaux, Nicole     10/31/2023      0.6   Prepare APAC diligence summary for A&M contracts team re:
                                            Cottonwood Grove contractors
Simoneaux, Nicole     10/31/2023      0.3   Follow-up with K. Schultea (FTX) re: Turkey payroll support and wire
                                            requests

Subtotal                            103.9

Fee Application
Professional               Date    Hours     Activity
Grussing, Bernice      10/2/2023      0.2   Update final fee examiner exhibits, zip all files and send to team for
                                            review.
Gonzalez, Johnny       10/3/2023      1.6   Develop the excel support files for the third interim fee application

Gonzalez, Johnny      10/17/2023      1.1   Modify the September 2023 fee application draft


Grussing, Bernice     10/25/2023      2.3   Format data set and create September exhbits A-F, forward to team
                                            for review.
Coverick, Steve       10/28/2023      1.1   Review and provide comments on September fee statement


Grussing, Bernice     10/30/2023      1.9   Create new exhibits with revised data set for September, forward to
                                            team for review.
Grussing, Bernice     10/31/2023      1.2   Update Sept exhibits with changes from counsel, send to team for
                                            review.

Subtotal                              9.4

Financial Analysis
Professional               Date    Hours     Activity
Callerio, Lorenzo      10/2/2023      0.6   Meeting with A. Titus, L. Callerio, S. Paolinetti, C. Stockmeyer, S.
                                            Glustein (A&M) re: token liquidation model
Callerio, Lorenzo      10/2/2023      0.4   Call with L. Callerio, S. Paolinetti, C. Stockmeyer (A&M) re: token
                                            outreach and variance analysis updates
Callerio, Lorenzo      10/2/2023      0.2   Meeting with L. Callerio, C. Stockmeyer (A&M) re: diligence process
                                            outstanding items
Callerio, Lorenzo      10/2/2023      0.6   Correspondence with certain token issuers re: outstanding tokens to
                                            be collected
Callerio, Lorenzo      10/2/2023      0.4   Call with J. Croke, A. Cohen, J. MacDonald (S&C), M. Rahmani and
                                            others (PWP), A. Titus, S. Glustein and L. Callerio (A&M) and A.
                                            Darren (MWE) re: Aptos tokens


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Financial Analysis
Professional                Date    Hours    Activity
Glustein, Steven        10/2/2023     1.3   Discussion with A. Titus and S. Glustein (A&M) regarding Aptos
                                            token milestones relating to venture token investments
Glustein, Steven        10/2/2023     0.5   Call with S. Tang (LedgerPrime) regarding remaining assets relating
                                            to crypto assets held at LedgerPrime
Glustein, Steven        10/2/2023     0.6   Meeting with A. Titus, L. Callerio, S. Paolinetti, C. Stockmeyer, S.
                                            Glustein (A&M) re: token liquidation model
Glustein, Steven        10/2/2023     1.2   Discussion to discuss deliverables on venture workstream with S.
                                            Glustein and A Titus [A&M]
Glustein, Steven        10/2/2023     0.4   Call with J. Croke, A. Cohen, J. MacDonald (S&C), M. Rahmani and
                                            others (PWP), A. Titus, S. Glustein and L. Callerio (A&M) and A.
                                            Darren (MWE) re: Aptos tokens
Paolinetti, Sergio      10/2/2023     0.4   Call with L. Callerio, S. Paolinetti, C. Stockmeyer (A&M) re: token
                                            outreach and variance analysis updates
Paolinetti, Sergio      10/2/2023     0.6   Meeting with A. Titus, L. Callerio, S. Paolinetti, C. Stockmeyer, S.
                                            Glustein (A&M) re: token liquidation model
Paolinetti, Sergio      10/2/2023     0.4   Discussion with C. Stockmeyer, S. Paolinetti (A&M) re: modifications
                                            to token liquidation analysis slides
Stockmeyer, Cullen      10/2/2023     0.4   Call with L. Callerio, S. Paolinetti, C. Stockmeyer (A&M) re: token
                                            outreach and variance analysis updates
Stockmeyer, Cullen      10/2/2023     0.4   Discussion with C. Stockmeyer, S. Paolinetti (A&M) re: modifications
                                            to token liquidation analysis slides
Stockmeyer, Cullen      10/2/2023     0.6   Meeting with A. Titus, L. Callerio, S. Paolinetti, C. Stockmeyer, S.
                                            Glustein (A&M) re: token liquidation model
Stockmeyer, Cullen      10/2/2023     0.2   Meeting with L. Callerio, C. Stockmeyer (A&M) re: diligence process
                                            outstanding items
Titus, Adam             10/2/2023     0.6   Meeting with A. Titus, L. Callerio, S. Paolinetti, C. Stockmeyer, S.
                                            Glustein (A&M) re: token liquidation model
Titus, Adam             10/2/2023     1.3   Discussion with A. Titus and S. Glustein (A&M) regarding Aptos
                                            token milestones relating to venture token investments
Titus, Adam             10/2/2023     1.2   Discussion to discuss deliverables on venture workstream with S.
                                            Glustein and A Titus [A&M]
Titus, Adam             10/2/2023     0.4   Call with J. Croke, A. Cohen, J. MacDonald (S&C), M. Rahmani and
                                            others (PWP), A. Titus, S. Glustein and L. Callerio (A&M) and A.
                                            Darren (MWE) re: Aptos tokens
Callerio, Lorenzo       10/3/2023     0.5   Call with A. Titus, S. Glustein, L. Callerio, A. Mohammed (A&M) to
                                            discuss token milestone achievements
Callerio, Lorenzo       10/3/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio (A&M) to discuss latest
                                            updates on venture sales
Callerio, Lorenzo       10/3/2023     0.4   Call with S. Paolinetti, S. Glustein and L. Callerio (A&M) re: Solana
                                            unlock schedule
Callerio, Lorenzo       10/3/2023     0.6   Correspondence with certain token issuers re: outstanding tokens


Callerio, Lorenzo       10/3/2023     0.3   Call with L. Callerio, S. Paolinetti (A&M) to review investment
                                            proposal slides to be sent to management




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Financial Analysis
Professional               Date     Hours    Activity
Callerio, Lorenzo       10/3/2023     0.3   Call with A. Titus, S. Glustein, L. Callerio, S. Paolinetti (A&M), M.
                                            Rahmani, K. Flinn, E. Tu, J. Darby (PWP) to discuss potential offer
                                            to acquire estate's assets
Ernst, Reagan           10/3/2023     0.6   Call with R. Ernst, C. Stockmeyer, S. Paolinetti (A&M) to discuss
                                            latest updates on venture sales
Glustein, Steven        10/3/2023     0.5   Call with A. Titus, S. Glustein, L. Callerio, A. Mohammed (A&M) to
                                            discuss token milestone achievements
Glustein, Steven        10/3/2023     0.6   Call with A. Titus and S. Glustein (A&M) to discuss supporting
                                            schedules relating to LedgerPrime remaining assets
Glustein, Steven        10/3/2023     1.1   Call with S. Tang (LedgerPrime), A. Titus and S. Glustein (A&M) to
                                            review remaining assets
Glustein, Steven        10/3/2023     0.4   Call with S. Paolinetti, S. Glustein and L. Callerio (A&M) re: Solana
                                            unlock schedule
Glustein, Steven        10/3/2023     0.6   Correspondence with H. Nachmias (Sygnia) regarding remaining
                                            assets relating to LedgerPrime
Glustein, Steven        10/3/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio (A&M) to discuss latest
                                            updates on venture sales
Glustein, Steven        10/3/2023     0.7   Correspondence with S. Tang (LedgerPrime) regarding remaining
                                            assets relating to LedgerPrime
Glustein, Steven        10/3/2023     0.2   Call with S. Glustein, S. Paolinetti (A&M) to review Ledger Prime
                                            token investments
Glustein, Steven        10/3/2023     0.3   Call with A. Titus, S. Glustein, L. Callerio, S. Paolinetti (A&M), M.
                                            Rahmani, K. Flinn, E. Tu, J. Darby (PWP) to discuss potential offer
                                            to acquire estate's assets
Mohammed, Azmat         10/3/2023     0.5   Call with A. Titus, S. Glustein, L. Callerio, A. Mohammed (A&M) to
                                            discuss token milestone achievements
Paolinetti, Sergio      10/3/2023     0.3   Call with L. Callerio, S. Paolinetti (A&M) to review investment
                                            proposal slides to be sent to management
Paolinetti, Sergio      10/3/2023     0.4   Call with S. Paolinetti, S. Glustein and L. Callerio (A&M) re: Solana
                                            unlock schedule
Paolinetti, Sergio      10/3/2023     0.6   Call with R. Ernst, C. Stockmeyer, S. Paolinetti (A&M) to discuss
                                            latest updates on venture sales
Paolinetti, Sergio      10/3/2023     0.2   Call with S. Glustein, S. Paolinetti (A&M) to review Ledger Prime
                                            token investments
Paolinetti, Sergio      10/3/2023     0.3   Call with A. Titus, S. Glustein, L. Callerio, S. Paolinetti (A&M), M.
                                            Rahmani, K. Flinn, E. Tu, J. Darby (PWP) to discuss potential offer
                                            to acquire estate's assets
Stockmeyer, Cullen      10/3/2023     0.6   Call with R. Ernst, C. Stockmeyer, S. Paolinetti (A&M) to discuss
                                            latest updates on venture sales
Titus, Adam             10/3/2023     0.5   Call with A. Titus, S. Glustein, L. Callerio, A. Mohammed (A&M) to
                                            discuss token milestone achievements
Titus, Adam             10/3/2023     0.6   Call with A. Titus and S. Glustein (A&M) to discuss supporting
                                            schedules relating to LedgerPrime remaining assets
Titus, Adam             10/3/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio (A&M) to discuss latest
                                            updates on venture sales



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Financial Analysis
Professional                Date    Hours    Activity
Titus, Adam             10/3/2023     1.1   Call with S. Tang (LedgerPrime), A. Titus and S. Glustein (A&M) to
                                            review remaining assets
Titus, Adam             10/3/2023     0.3   Call with A. Titus, S. Glustein, L. Callerio, S. Paolinetti (A&M), M.
                                            Rahmani, K. Flinn, E. Tu, J. Darby (PWP) to discuss potential offer
                                            to acquire estate's assets
Callerio, Lorenzo       10/4/2023     0.2   Call with A. Titus, S. Glustein, L. Callerio, A. Mohammed (A&M) to
                                            discuss token milestone achievements
Callerio, Lorenzo       10/4/2023     0.3   Call with L. Callerio, S. Paolinetti (A&M) re: efforts to reach out
                                            unresponsive token issuers
Callerio, Lorenzo       10/4/2023     0.6   Call with Call with J. McDonald (S&C), K. Flinn (PWP), A. Titus, L.
                                            Callerio, S. Glustein (A&M) re: venture investments weekly update
Ernst, Reagan           10/4/2023     0.2   Call with A. Titus, S. Glustein, R. Ernst (A&M) re: LedgerPrime wind-
                                            down waterfall analysis
Ernst, Reagan           10/4/2023     0.8   Call with S. Glustein, R. Ernst (A&M) re: LedgerPrime wind-down
                                            analysis review
Ernst, Reagan           10/4/2023     0.6   Call with Call with J. McDonald (S&C), K. Flinn (PWP), R. Ernst, C.
                                            Stockmeyer (A&M) re: venture investments weekly update
Glustein, Steven        10/4/2023     0.2   Call with A. Titus, S. Glustein, L. Callerio, A. Mohammed (A&M) to
                                            discuss token milestone achievements
Glustein, Steven        10/4/2023     0.3   Correspondence with M. Cilia (RLKS) regarding incoming wire
                                            proceeds relating to venture investment closings
Glustein, Steven        10/4/2023     0.2   Call with A. Titus, S. Glustein, R. Ernst (A&M) re: LedgerPrime wind-
                                            down waterfall analysis
Glustein, Steven        10/4/2023     0.4   Call with S. Glustein, S. Paolinetti (A&M) re: Ledger Prime token
                                            vesting schedule analysis
Glustein, Steven        10/4/2023     1.8   Call with A. Titus, S. Glustein (A&M) re: LedgerPrime wind-down
                                            waterfall analysis
Glustein, Steven        10/4/2023     0.8   Call with S. Glustein, R. Ernst (A&M) re: LedgerPrime wind-down
                                            analysis review
Glustein, Steven        10/4/2023     0.9   Call with A. Titus and S. Glustein (A&M) on venture workstream


Glustein, Steven        10/4/2023     0.4   Correspondence with K. Flinn (PWP) relating to recovery analysis
                                            template
Glustein, Steven        10/4/2023     0.6   Call with Call with J. McDonald (S&C), K. Flinn (PWP), A. Titus, L.
                                            Callerio, S. Glustein (A&M) re: venture investments weekly update
Paolinetti, Sergio      10/4/2023     0.3   Call with L. Callerio, S. Paolinetti (A&M) re: efforts to reach out
                                            unresponsive token issuers
Paolinetti, Sergio      10/4/2023     0.4   Call with S. Glustein, S. Paolinetti (A&M) re: Ledger Prime token
                                            vesting schedule analysis
Stockmeyer, Cullen      10/4/2023     0.3   Correspondence with plan team regarding updated token
                                            receivables output
Stockmeyer, Cullen      10/4/2023     0.6   Call with Call with J. McDonald (S&C), K. Flinn (PWP), R. Ernst, C.
                                            Stockmeyer (A&M) re: venture investments weekly update
Titus, Adam             10/4/2023     0.2   Call with A. Titus, S. Glustein, L. Callerio, A. Mohammed (A&M) to
                                            discuss token milestone achievements


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Financial Analysis
Professional               Date     Hours    Activity
Titus, Adam             10/4/2023     0.2   Call with A. Titus, S. Glustein, R. Ernst (A&M) re: LedgerPrime wind-
                                            down waterfall analysis
Titus, Adam             10/4/2023     1.8   Call with A. Titus, S. Glustein re: LedgerPrime wind-down waterfall
                                            analysis
Titus, Adam             10/4/2023     0.9   Call with S. Glustein [A&M] on venture workstream

Titus, Adam             10/4/2023     0.6   Call with Call with J. McDonald (S&C), K. Flinn (PWP), A. Titus, L.
                                            Callerio, S. Glustein (A&M) re: venture investments weekly update
Callerio, Lorenzo       10/5/2023     0.2   Call with A. Titus, S. Glustein, L. Callerio, A. Mohammed (A&M) to
                                            discuss token milestone achievements
Callerio, Lorenzo       10/5/2023     0.3   Call with A. Titus, A. Mohammed, S. Glustein and L. Callerio (A&M)
                                            re: Aptos tokens
Callerio, Lorenzo       10/5/2023     0.2   Call with L. Callerio, S. Paolinetti (A&M) re: PMO and liquidation
                                            analysis slides updates
Callerio, Lorenzo       10/5/2023     0.4   Call with L. Callerio, C. Stockmeyer, S. Paolinetti (A&M) re: updates
                                            to token liquidation analysis slides and venture token model
Coverick, Steve         10/5/2023     0.6   Call with M. Rahmani, K. Flinn (PWP), S. Coverick, A. Titus, S.
                                            Glustein, C. Sullivan, H. Trent (A&M) re: Venture investment Plan
                                            assumptions
Ernst, Reagan           10/5/2023     0.4   Call with S. Glustein, R. Ernst (A&M) re: Ventures receipts forecast
                                            final run through
Ernst, Reagan           10/5/2023     0.4   Call with K. Flinn (PWP), S. Glustein, C. Sullivan, H. Trent, R. Ernst
                                            (A&M) re: Ventures recovery analysis walkthrough
Glustein, Steven        10/5/2023     0.2   Call with A. Titus, S. Glustein, L. Callerio, A. Mohammed (A&M) to
                                            discuss token milestone achievements
Glustein, Steven        10/5/2023     0.1   Correspondence with M. Schwartz (S&C) relating to venture
                                            investment forecast summary
Glustein, Steven        10/5/2023     0.3   Correspondence with S. Tang (LedgerPrime) relating upcoming
                                            dissolution of venture investment
Glustein, Steven        10/5/2023     0.4   Call with S. Glustein, R. Ernst (A&M) re: Ventures receipts forecast
                                            final run through
Glustein, Steven        10/5/2023     0.3   Call with A. Titus, A. Mohammed, S. Glustein and L. Callerio (A&M)
                                            re: Aptos tokens
Glustein, Steven        10/5/2023     0.2   Correspondence with K. Flinn (PWP) relating to venture investment
                                            forecast summary
Glustein, Steven        10/5/2023     1.1   Call with S. Glustein and A. Titus [A&M] on hedge fund entity
                                            process steps
Glustein, Steven        10/5/2023     0.4   Call with K. Flinn (PWP), S. Glustein, C. Sullivan, H. Trent, R. Ernst
                                            (A&M) re: Ventures recovery analysis walkthrough
Glustein, Steven        10/5/2023     0.6   Call with M. Rahmani, K. Flinn (PWP), S. Coverick, A. Titus, S.
                                            Glustein, C. Sullivan, H. Trent (A&M) re: Venture investment Plan
                                            assumptions
Glustein, Steven        10/5/2023     0.3   Correspondence with M. Schwartz regarding wire confirmation
                                            relating to venture investment closing
Mohammed, Azmat         10/5/2023     0.2   Call with A. Titus, S. Glustein, L. Callerio, A. Mohammed (A&M) to
                                            discuss token milestone achievements

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Financial Analysis
Professional                Date    Hours    Activity
Paolinetti, Sergio      10/5/2023     0.2   Call with L. Callerio, S. Paolinetti (A&M) re: PMO and liquidation
                                            analysis slides updates
Paolinetti, Sergio      10/5/2023     0.4   Call with L. Callerio, C. Stockmeyer, S. Paolinetti (A&M) re: updates
                                            to token liquidation analysis slides and venture token model
Stockmeyer, Cullen      10/5/2023     0.7   Correspondence regarding updated outstanding tokens report for
                                            PLAN team
Stockmeyer, Cullen      10/5/2023     0.4   Call with L. Callerio, C. Stockmeyer, S. Paolinetti (A&M) re: updates
                                            to token liquidation analysis slides and venture token model
Titus, Adam             10/5/2023     0.2   Call with A. Titus, S. Glustein, L. Callerio, A. Mohammed (A&M) to
                                            discuss token milestone achievements
Titus, Adam             10/5/2023     0.3   Call with A. Titus, A. Mohammed, S. Glustein and L. Callerio (A&M)
                                            re: Aptos tokens
Titus, Adam             10/5/2023     1.1   Call with S. Glustein and A. Titus [A&M] on hedge fund entity
                                            process steps
Titus, Adam             10/5/2023     0.6   Call with M. Rahmani, K. Flinn (PWP), S. Coverick, A. Titus, S.
                                            Glustein, C. Sullivan, H. Trent (A&M) re: Venture investment Plan
                                            assumptions
Trent, Hudson           10/5/2023     0.4   Call with K. Flinn (PWP), S. Glustein, C. Sullivan, H. Trent, R. Ernst
                                            (A&M) re: Ventures recovery analysis walkthrough
Trent, Hudson           10/5/2023     0.6   Call with M. Rahmani, K. Flinn (PWP), S. Coverick, A. Titus, S.
                                            Glustein, C. Sullivan, H. Trent (A&M) re: Venture investment Plan
                                            assumptions
Ernst, Reagan           10/6/2023     1.1   Call with S. Paolinetti, R. Ernst (A&M) re: Venture token
                                            management review
Glustein, Steven        10/6/2023     0.4   Correspondence with H. Nachmias (Sygnia) regarding remaining
                                            assets relating to LedgerPrime
Paolinetti, Sergio      10/6/2023     1.1   Call with S. Paolinetti, R. Ernst (A&M) re: Venture token
                                            management review
Callerio, Lorenzo       10/9/2023     0.4   Meeting with L. Callerio, S. Paolinetti (A&M) to discuss token
                                            conversion slides and crypto tracing efforts
Callerio, Lorenzo       10/9/2023     1.1   Call with L. Callerio, S. Paolinetti (A&M) to discuss outreach tracker
                                            updates
Callerio, Lorenzo       10/9/2023     0.7   Correspondence with certain token issuers re: outstanding tokens to
                                            be received
Callerio, Lorenzo       10/9/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio, S. Paolinetti (A&M), J.
                                            MacDonald (S&C) re: token issuer conversion proposal
Clayton, Lance          10/9/2023     0.6   Call with S. Glustein, L. Clayton, R. Ernst (A&M) re: investment
                                            funded amount bridge review
Clayton, Lance          10/9/2023     1.1   Call with L. Clayton, R. Ernst (A&M) re: investment master file
                                            monthly bridge
Cooper, James           10/9/2023     0.4   Call with J. Cooper and S. Glustein (A&M) regarding asset
                                            management options relating to venture investments
Ernst, Reagan           10/9/2023     0.6   Call with S. Glustein, L. Clayton, R. Ernst (A&M) re: investment
                                            funded amount bridge review
Ernst, Reagan           10/9/2023     1.1   Call with L. Clayton, R. Ernst (A&M) re: investment master file
                                            monthly bridge

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Financial Analysis
Professional                 Date    Hours    Activity
Glustein, Steven         10/9/2023     0.4   Call with J. Cooper and S. Glustein (A&M) regarding asset
                                             management options relating to venture investments
Glustein, Steven         10/9/2023     1.2   Correspondence with M. Cilia (RLKS) regarding post-petition non-
                                             cash movements relating to venture investments
Glustein, Steven         10/9/2023     0.6   Call with S. Glustein, L. Clayton, R. Ernst (A&M) re: investment
                                             funded amount bridge review
Glustein, Steven         10/9/2023     2.4   Call with A. Titus and S. Glustein (A&M) to prepare incentive fee
                                             analysis
Glustein, Steven         10/9/2023     1.7   Call with A. Titus and S. Glustein (A&M) to update incentive fee
                                             analysis
Paolinetti, Sergio       10/9/2023     0.4   Meeting with L. Callerio, S. Paolinetti (A&M) to discuss token
                                             conversion slides and crypto tracing efforts
Paolinetti, Sergio       10/9/2023     1.1   Call with L. Callerio, S. Paolinetti (A&M) to discuss outreach tracker
                                             updates
Paolinetti, Sergio       10/9/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio, S. Paolinetti (A&M), J.
                                             MacDonald (S&C) re: token issuer conversion proposal
Stockmeyer, Cullen       10/9/2023     0.3   Correspondence regarding status of tokens received


Titus, Adam              10/9/2023     2.4   Call with A. Titus and S. Glustein (A&M) to prepare incentive fee
                                             analysis
Titus, Adam              10/9/2023     1.7   Call with A. Titus and S. Glustein (A&M) to update incentive fee
                                             analysis
Titus, Adam              10/9/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio, S. Paolinetti (A&M), J.
                                             MacDonald (S&C) re: token issuer conversion proposal
Callerio, Lorenzo       10/10/2023     0.4   Call with L. Callerio, S. Glustein, S. Paolinetti (A&M) to review token
                                             issuer's proposal to buyback tokens
Callerio, Lorenzo       10/10/2023     0.9   Correspond with a token issuer to confirm A&M engagement and
                                             collect outstanding tokens
Callerio, Lorenzo       10/10/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: discuss latest
                                             updates on venture sales
Callerio, Lorenzo       10/10/2023     0.3   Call with S. Paolinetti and L. Callerio (A&M) re: outstanding token
                                             outreach update
Clayton, Lance          10/10/2023     0.4   Call with R. Ernst, C. Stockmeyer, S. Paolinetti, L. Clayton (A&M) re:
                                             discuss latest updates on venture sales
Clayton, Lance          10/10/2023     0.8   Call with L. Clayton, R. Ernst (A&M) re: discuss potential sale of
                                             equity position
Ernst, Reagan           10/10/2023     0.4   Call with R. Ernst, C. Stockmeyer, S. Paolinetti, L. Clayton (A&M) re:
                                             discuss latest updates on venture sales
Ernst, Reagan           10/10/2023     1.4   Call with L. Clayton, R. Ernst (A&M) re: reconcile legal entities in
                                             investment tracker
Ernst, Reagan           10/10/2023     1.1   Call with L. Clayton, R. Ernst (A&M) re: discuss dissolution contract
                                             data
Ernst, Reagan           10/10/2023     0.8   Call with L. Clayton, R. Ernst (A&M) re: discuss potential sale of
                                             equity position




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Financial Analysis
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Glustein, Steven        10/10/2023     0.4   Call with L. Callerio, S. Glustein, S. Paolinetti (A&M) to review token
                                             issuer's proposal to buyback tokens
Glustein, Steven        10/10/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: discuss latest
                                             updates on venture sales
Glustein, Steven        10/10/2023     0.4   Correspondence with M. Cilia (RLKS) relating to recently sold
                                             venture investment
Glustein, Steven        10/10/2023     0.3   Correspondence with cash team relating to venture investment
                                             closings
Glustein, Steven        10/10/2023     0.3   Correspondence with investigation team relating to venture
                                             investments
Paolinetti, Sergio      10/10/2023     0.4   Call with L. Callerio, S. Glustein, S. Paolinetti (A&M) to review token
                                             issuer's proposal to buyback tokens
Paolinetti, Sergio      10/10/2023     0.4   Call with R. Ernst, C. Stockmeyer, S. Paolinetti, L. Clayton (A&M) re:
                                             discuss latest updates on venture sales
Paolinetti, Sergio      10/10/2023     1.4   Meeting with C. Stockmeyer, S. Paolinetti (A&M) to build vesting
                                             analysis deck for venture sales
Paolinetti, Sergio      10/10/2023     0.8   Call with C. Stockmeyer, S. Paolinetti (A&M) re: summarize vesting
                                             analysis for venture sales
Paolinetti, Sergio      10/10/2023     1.9   Call with C. Stockmeyer, S. Paolinetti (A&M) re: vesting analysis for
                                             venture sales
Paolinetti, Sergio      10/10/2023     0.3   Call with S. Paolinetti and L. Callerio (A&M) re: outstanding token
                                             outreach update
Stockmeyer, Cullen      10/10/2023     0.4   Call with R. Ernst, C. Stockmeyer, S. Paolinetti, L. Clayton (A&M) re:
                                             discuss latest updates on venture sales
Stockmeyer, Cullen      10/10/2023     0.8   Call with C. Stockmeyer, S. Paolinetti (A&M) re: summarize vesting
                                             analysis for venture sales
Stockmeyer, Cullen      10/10/2023     1.4   Meeting with C. Stockmeyer, S. Paolinetti (A&M) to build vesting
                                             analysis deck for venture sales
Stockmeyer, Cullen      10/10/2023     1.9   Call with C. Stockmeyer, S. Paolinetti (A&M) re: vesting analysis for
                                             venture sales
Stockmeyer, Cullen      10/10/2023     0.2   Correspondence regarding future vesting schedules request from
                                             cash team
Titus, Adam             10/10/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: discuss latest
                                             updates on venture sales
Titus, Adam             10/10/2023     0.6   Call with M. Rahmani, K. Flinn (PWP) A. Titus, S. Glustein (A&M)
                                             regarding tax implications relating to venture investments
Callerio, Lorenzo       10/11/2023     0.3   Meeting with L. Callerio, S. Paolinetti (A&M) and others (token
                                             issuer) to discuss buyback proposal
Callerio, Lorenzo       10/11/2023     0.4   Meeting with A. Titus, L. Callerio, S. Glustein, S. Paolinetti (A&M) to
                                             finalize details on token conversion proposal
Callerio, Lorenzo       10/11/2023     0.6   Call with S. Paolinetti and L. Callerio (A&M) re: Coin98 proposal
                                             summary overview
Callerio, Lorenzo       10/11/2023     0.8   Correspondence with several token issuers re: outstanding tokens




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Professional                 Date    Hours    Activity
Callerio, Lorenzo       10/11/2023     0.4   Call with Call with J. McDonald, M. Schwartz (S&C), A. Titus, L.
                                             Callerio, S. Glustein, L. Clayton (A&M) re: venture investments
                                             weekly update
Clayton, Lance          10/11/2023     1.4   Call with L. Clayton, R. Ernst (A&M) re: assess valuation of token
                                             position with options strategies
Clayton, Lance          10/11/2023     1.2   Call with L. Clayton, R. Ernst (A&M) re: research latest market news
                                             on equity position
Clayton, Lance          10/11/2023     0.7   Call with L. Clayton, R. Ernst (A&M) re: update schedule of assets

Clayton, Lance          10/11/2023     0.4   Call with Call with J. McDonald, M. Schwartz (S&C), A. Titus, L.
                                             Callerio, S. Glustein, L. Clayton (A&M) re: venture investments
                                             weekly update
Ernst, Reagan           10/11/2023     1.4   Call with L. Clayton, R. Ernst (A&M) re: assess valuation of token
                                             position with options strategies
Ernst, Reagan           10/11/2023     1.2   Call with L. Clayton, R. Ernst (A&M) re: research latest market news
                                             on equity position
Ernst, Reagan           10/11/2023     0.7   Call with L. Clayton, R. Ernst (A&M) re: update schedule of assets


Glustein, Steven        10/11/2023     0.4   Meeting with A. Titus, L. Callerio, S. Glustein, S. Paolinetti (A&M) to
                                             finalize details on token conversion proposal
Glustein, Steven        10/11/2023     1.2   Call with S. Glustein (A&M) and S. Tang (LedgerPrime) regarding
                                             remaining assets held at LedgerPrime
Glustein, Steven        10/11/2023     0.5   Correspondence with H. Nachmias (Sygnia) relating to remaining
                                             assets held at LedgerPrime LLC
Glustein, Steven        10/11/2023     0.6   Call with J. Croke (S&C) A. Titus and S. Glustein (A&M) relating to
                                             token venture investments
Glustein, Steven        10/11/2023     0.4   Correspondence with fund investment company relating to upcoming
                                             distribution
Glustein, Steven        10/11/2023     0.6   Correspondence with token issuer regarding token investments
                                             outstanding
Glustein, Steven        10/11/2023     0.3   Correspondence with E. Tu (PWP) relating to venture investment
                                             legal documents
Glustein, Steven        10/11/2023     0.4   Call with Call with J. McDonald, M. Schwartz (S&C), A. Titus, L.
                                             Callerio, S. Glustein, L. Clayton (A&M) re: venture investments
                                             weekly update
Paolinetti, Sergio      10/11/2023     0.4   Meeting with A. Titus, L. Callerio, S. Glustein, S. Paolinetti (A&M) to
                                             finalize details on token conversion proposal
Paolinetti, Sergio      10/11/2023     0.3   Meeting with L. Callerio, S. Paolinetti (A&M) and others (token
                                             issuer) to discuss buyback proposal
Paolinetti, Sergio      10/11/2023     0.6   Call with S. Paolinetti and L. Callerio (A&M) re: Coin98 proposal
                                             summary overview
Titus, Adam             10/11/2023     0.4   Meeting with A. Titus, L. Callerio, S. Glustein, S. Paolinetti (A&M) to
                                             finalize details on token conversion proposal
Titus, Adam             10/11/2023     0.6   Call with J. Croke (S&C) A. Titus and S. Glustein (A&M) relating to
                                             token venture investments



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Financial Analysis
Professional                 Date    Hours    Activity
Titus, Adam             10/11/2023     0.4   Call with Call with J. McDonald, M. Schwartz (S&C), A. Titus, L.
                                             Callerio, S. Glustein, L. Clayton (A&M) re: venture investments
                                             weekly update
Callerio, Lorenzo       10/12/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: discuss latest
                                             updates on venture team deliverables
Callerio, Lorenzo       10/12/2023     0.5   Call with A. Titus, K. Ramanathan, S. Glustein and L. Callerio (A&M)
                                             re: certain individual token proposals
Callerio, Lorenzo       10/12/2023     0.3   Call with L. Callerio, S. Paolinetti (A&M) to build executive summary
                                             for vesting token slides
Callerio, Lorenzo       10/12/2023     0.6   Meeting with L. Callerio, S. Paolinetti, C. Stockmeyer (A&M) re:
                                             token marketing deck population
Clayton, Lance          10/12/2023     0.9   Discussion with L. Clayton, R. Ernst (A&M) re: discuss parameters
                                             for options pricing sensitivity model
Clayton, Lance          10/12/2023     0.8   Discussion with L. Clayton, R. Ernst, S. Glustein (A&M) re: venture
                                             team process tracker
Clayton, Lance          10/12/2023     0.4   Call with R. Ernst, C. Stockmeyer, S. Paolinetti, L. Clayton (A&M) re:
                                             discuss latest updates on venture team deliverables
Ernst, Reagan           10/12/2023     0.9   Discussion with L. Clayton, R. Ernst (A&M) re: discuss parameters
                                             for options pricing sensitivity model
Ernst, Reagan           10/12/2023     0.8   Discussion with L. Clayton, R. Ernst, S. Glustein (A&M) re: venture
                                             team process tracker
Ernst, Reagan           10/12/2023     0.4   Call with R. Ernst, C. Stockmeyer, S. Paolinetti, L. Clayton (A&M) re:
                                             discuss latest updates on venture team deliverables
Glustein, Steven        10/12/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: discuss latest
                                             updates on venture team deliverables
Glustein, Steven        10/12/2023     0.5   Call with A. Titus, K. Ramanathan, S. Glustein and L. Callerio (A&M)
                                             re: certain individual token proposals
Glustein, Steven        10/12/2023     0.8   Discussion with L. Clayton, R. Ernst, S. Glustein (A&M) re: venture
                                             team process tracker
Glustein, Steven        10/12/2023     0.8   Correspondence with S. Tang (LedgerPrime) relating to remaining
                                             assets held at LedgerPrime
Glustein, Steven        10/12/2023     0.8   Meeting with S. Glustein, D. Sagen, C. Stockmeyer (A&M) re: token
                                             vesting model monthly bridge
Paolinetti, Sergio      10/12/2023     0.4   Call with C. Stockmeyer, S. Paolinetti (A&M) re: updates to venture
                                             sales slides for vesting tokens
Paolinetti, Sergio      10/12/2023     0.6   Meeting with L. Callerio, S. Paolinetti, C. Stockmeyer (A&M) re:
                                             token marketing deck population
Paolinetti, Sergio      10/12/2023     0.3   Call with L. Callerio, S. Paolinetti (A&M) to build executive summary
                                             for vesting token slides
Paolinetti, Sergio      10/12/2023     0.9   Meeting with S. Paolinetti, C. Stockmeyer (A&M) re: token marketing
                                             deck population
Paolinetti, Sergio      10/12/2023     0.4   Call with R. Ernst, C. Stockmeyer, S. Paolinetti, L. Clayton (A&M) re:
                                             discuss latest updates on venture team deliverables
Ramanathan, Kumanan     10/12/2023     0.5   Call with A. Titus, K. Ramanathan, S. Glustein and L. Callerio (A&M)
                                             re: certain individual token proposals


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Professional                 Date    Hours    Activity
Sagen, Daniel           10/12/2023     0.8   Meeting with S. Glustein, D. Sagen, C. Stockmeyer (A&M) re: token
                                             vesting model monthly bridge
Stockmeyer, Cullen      10/12/2023     0.4   Call with C. Stockmeyer, S. Paolinetti (A&M) re: updates to venture
                                             sales slides for vesting tokens
Stockmeyer, Cullen      10/12/2023     0.8   Meeting with S. Glustein, D. Sagen, C. Stockmeyer (A&M) re: token
                                             vesting model monthly bridge
Stockmeyer, Cullen      10/12/2023     0.6   Meeting with L. Callerio, S. Paolinetti, C. Stockmeyer (A&M) re:
                                             token marketing deck population
Stockmeyer, Cullen      10/12/2023     0.9   Meeting with S. Paolinetti, C. Stockmeyer (A&M) re: token marketing
                                             deck population
Stockmeyer, Cullen      10/12/2023     0.4   Call with R. Ernst, C. Stockmeyer, S. Paolinetti, L. Clayton (A&M) re:
                                             discuss latest updates on venture team deliverables
Titus, Adam             10/12/2023     0.5   Call with A. Titus, K. Ramanathan, S. Glustein and L. Callerio (A&M)
                                             re: certain individual token proposals
Titus, Adam             10/12/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: discuss latest
                                             updates on venture team deliverables
Callerio, Lorenzo       10/13/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: discuss latest
                                             updates on venture team deliverables
Callerio, Lorenzo       10/13/2023     0.4   Correspond with external parties regarding outstanding token
                                             receivables
Callerio, Lorenzo       10/13/2023     1.4   Meeting with S. Paolinetti and L. Callerio (A&M) re: outstanding
                                             tokens update
Callerio, Lorenzo       10/13/2023     0.4   Correspondence with BitGo re: certain outstanding token to be
                                             collected
Glustein, Steven        10/13/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: discuss latest
                                             updates on venture team deliverables
Glustein, Steven        10/13/2023     0.2   Correspondence with fund investment company regarding
                                             LedgerPrime relating to bank detail information
Glustein, Steven        10/13/2023     0.4   Correspondence with Accounting team relating to funding of select
                                             venture token investment
Glustein, Steven        10/13/2023     1.7   Discussion with S. Glustein and A Titus [A&M] on venture
                                             investments updates
Glustein, Steven        10/13/2023     0.7   Correspondence with K. Flinn (PWP) relating to fund positions held
                                             by LedgerPrime
Paolinetti, Sergio      10/13/2023     1.4   Meeting with S. Paolinetti and L. Callerio (A&M) re: outstanding
                                             tokens update
Titus, Adam             10/13/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: discuss latest
                                             updates on venture team deliverables
Titus, Adam             10/13/2023     0.4   Call with R. Gordon, A. Titus, S. Glustein, K. Kearney (A&M) to
                                             discussion accounting matters for venture portfolio
Titus, Adam             10/13/2023     1.7   Discussion with S. Glustein and A Titus [A&M] on venture
                                             investments updates
Callerio, Lorenzo       10/15/2023     0.2   Call with S. Paolinetti and L. Callerio (A&M) re: outstanding token
                                             update




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Financial Analysis
Professional               Date    Hours    Activity
Paolinetti, Sergio    10/15/2023     0.2   Call with S. Paolinetti and L. Callerio (A&M) re: outstanding token
                                           update
Callerio, Lorenzo     10/16/2023     0.3   Correspond with several token issuers through informal channels
                                           (incl. Twitter, Telegram and Discord)
Callerio, Lorenzo     10/16/2023     0.8   Meeting with A. Titus, L. Callerio, C. Stockmeyer, S. Paolinetti
                                           (A&M) to discuss updates on venture token deck
Callerio, Lorenzo     10/16/2023     0.2   Call with L. Callerio, C. Stockmeyer, S. Paolinetti (A&M) re: token
                                           venture model updates
Callerio, Lorenzo     10/16/2023     0.2   Call with L. Callerio, S. Paolinetti (A&M) to discuss latest updates on
                                           venture sales for tokens
Callerio, Lorenzo     10/16/2023     1.3   Call with L. Callerio, S. Paolinetti (A&M) re: token receivables
                                           updates
Callerio, Lorenzo     10/16/2023     0.2   Call with C. Stockmeyer and L. Callerio (A&M) re: received tokens
                                           analysis
Callerio, Lorenzo     10/16/2023     0.4   Meeting with L. Callerio, D. Sagen, C. Stockmeyer, A. Selwood, S.
                                           Paolinetti (A&M) to discuss tokens vesting/unlocking schedules
Clayton, Lance        10/16/2023     0.4   Meeting with S. Glustein, L. Clayton, C. Stockmeyer (A&M) re:
                                           certain subsidiary token receivable schedule
Clayton, Lance        10/16/2023     0.4   Meeting with L. Clayton, C. Stockmeyer (A&M) re: token receivables
                                           model for certain subsidiary
Clayton, Lance        10/16/2023     0.7   Discussion with L. Clayton, R. Ernst (A&M) re: internal process
                                           tracker updates
Clayton, Lance        10/16/2023     1.2   Call with L. Clayton, R. Ernst (A&M) re: LedgerPrime transaction
                                           hash allocation
Ernst, Reagan         10/16/2023     0.7   Discussion with L. Clayton, R. Ernst (A&M) re: internal process
                                           tracker updates
Ernst, Reagan         10/16/2023     1.2   Call with L. Clayton, R. Ernst (A&M) re: LedgerPrime transaction
                                           hash allocation
Glustein, Steven      10/16/2023     0.3   Correspondence with J. Croke (S&C) regarding gaining access to
                                           locked crypto assets relating to LedgerPrime
Glustein, Steven      10/16/2023     0.4   Meeting with S. Glustein, L. Clayton, C. Stockmeyer (A&M) re:
                                           certain subsidiary token receivable schedule
Glustein, Steven      10/16/2023     0.9   Correspondence with M. Rahmani (PWP) relating to venture
                                           investment sale process updates
Glustein, Steven      10/16/2023     0.6   Correspondence with A. Alden (QE) regarding proposal received
                                           from token issuer
Glustein, Steven      10/16/2023     2.1   Call with S. Glustein and A. Titus [A&M] on venture portfolio
                                           workstream
Glustein, Steven      10/16/2023     0.9   Call with M. Cilia (RLKS), A. Titus, K. Kearney, S. Glustein (A&M) to
                                           regarding post-petition activity relating to venture investments
Kearney, Kevin        10/16/2023     0.9   Call with M. Cilia (RLKS), A. Titus, K. Kearney, S. Glustein (A&M) to
                                           regarding post-petition activity relating to venture investments
Paolinetti, Sergio    10/16/2023     0.8   Meeting with A. Titus, L. Callerio, C. Stockmeyer, S. Paolinetti
                                           (A&M) to discuss updates on venture token deck




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                                   FTX Trading Ltd., et al.,
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Financial Analysis
Professional                 Date    Hours    Activity
Paolinetti, Sergio      10/16/2023     0.2   Call with L. Callerio, C. Stockmeyer, S. Paolinetti (A&M) re: token
                                             venture model updates
Paolinetti, Sergio      10/16/2023     0.2   Call with L. Callerio, S. Paolinetti (A&M) to discuss latest updates on
                                             venture sales for tokens
Paolinetti, Sergio      10/16/2023     1.3   Call with L. Callerio, S. Paolinetti (A&M) re: token receivables
                                             updates
Paolinetti, Sergio      10/16/2023     0.4   Meeting with L. Callerio, D. Sagen, C. Stockmeyer, A. Selwood, S.
                                             Paolinetti (A&M) to discuss tokens vesting/unlocking schedules
Selwood, Alexa          10/16/2023     0.4   Meeting with L. Callerio, D. Sagen, C. Stockmeyer, A. Selwood, S.
                                             Paolinetti (A&M) to discuss tokens vesting/unlocking schedules
Stockmeyer, Cullen      10/16/2023     0.8   Meeting with A. Titus, L. Callerio, C. Stockmeyer, S. Paolinetti
                                             (A&M) to discuss updates on venture token deck
Stockmeyer, Cullen      10/16/2023     0.4   Meeting with S. Glustein, L. Clayton, C. Stockmeyer (A&M) re:
                                             certain subsidiary token receivable schedule
Stockmeyer, Cullen      10/16/2023     0.2   Call with L. Callerio, C. Stockmeyer, S. Paolinetti (A&M) re: token
                                             venture model updates
Stockmeyer, Cullen      10/16/2023     0.4   Meetings with L. Clayton, C. Stockmeyer (A&M) re: token
                                             receivables model for certain subsidiary
Stockmeyer, Cullen      10/16/2023     0.4   Correspondence regarding request for vesting schedule of certain
                                             tokens by third party
Stockmeyer, Cullen      10/16/2023     0.2   Call with C. Stockmeyer and L. Callerio (A&M) re: received tokens
                                             analysis
Stockmeyer, Cullen      10/16/2023     0.4   Meeting with L. Callerio, D. Sagen, C. Stockmeyer, A. Selwood, S.
                                             Paolinetti (A&M) to discuss tokens vesting/unlocking schedules
Titus, Adam             10/16/2023     0.8   Meeting with A. Titus, L. Callerio, C. Stockmeyer, S. Paolinetti
                                             (A&M) to discuss updates on venture token deck
Titus, Adam             10/16/2023     2.1   Call with S. Glustein and A. Titus [A&M] on venture portfolio
                                             workstream
Titus, Adam             10/16/2023     0.9   Call with M. Cilia (RLKS), A. Titus, K. Kearney, S. Glustein (A&M) to
                                             regarding post-petition activity relating to venture investments
Callerio, Lorenzo       10/17/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio (A&M) to discuss latest
                                             updates on venture sales efforts
Callerio, Lorenzo       10/17/2023     0.3   Call with C. Stockmeyer, L. Callerio, S. Paolinetti (A&M) to discuss
                                             non-debtor wallet amounts
Callerio, Lorenzo       10/17/2023     1.2   Correspondence with certain token issuers in response to our
                                             outreach plan
Callerio, Lorenzo       10/17/2023     0.4   Meeting with L. Callerio, C. Stockmeyer (A&M) re: liquidatable token
                                             model review
Callerio, Lorenzo       10/17/2023     0.6   Meeting with L. Callerio, S. Glustein, S. Paolinetti (A&M), H.
                                             Nachmias and others (Sygnia) to reconciliate vesting schedule
                                             differences
Clayton, Lance          10/17/2023     0.6   Call with R. Ernst, C. Stockmeyer, S. Paolinetti, L. Clayton (A&M) to
                                             discuss latest updates on venture sales efforts
Clayton, Lance          10/17/2023     1.4   Call with L. Clayton, R. Ernst, S. Glustein (A&M) re: venture
                                             investments adjustment type bridge


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Financial Analysis
Professional               Date    Hours    Activity
Clayton, Lance        10/17/2023     0.8   Call with L. Clayton, R. Ernst, S. Glustein (A&M) re: BOD slide deck
                                           review
Clayton, Lance        10/17/2023     2.2   Discussion with L. Clayton, R. Ernst (A&M) re: BOD slide deck
                                           refresh
Clayton, Lance        10/17/2023     0.3   Call with L. Clayton, C. Stockmeyer, R. Ernst (A&M) re: token
                                           funded amount reconciliation
Ernst, Reagan         10/17/2023     0.6   Call with R. Ernst, C. Stockmeyer, S. Paolinetti, L. Clayton (A&M) to
                                           discuss latest updates on venture sales efforts
Ernst, Reagan         10/17/2023     1.4   Call with L. Clayton, R. Ernst, S. Glustein (A&M) re: venture
                                           investments adjustment type bridge
Ernst, Reagan         10/17/2023     0.8   Call with L. Clayton, R. Ernst, S. Glustein (A&M) re: BOD slide deck
                                           review
Ernst, Reagan         10/17/2023     2.2   Discussion with L. Clayton, R. Ernst (A&M) re: BOD slide deck
                                           refresh
Ernst, Reagan         10/17/2023     0.3   Call with L. Clayton, C. Stockmeyer, R. Ernst (A&M) re: token
                                           funded amount reconciliation
Glustein, Steven      10/17/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio (A&M) to discuss latest
                                           updates on venture sales efforts
Glustein, Steven      10/17/2023     1.4   Call with L. Clayton, R. Ernst, S. Glustein (A&M) re: venture
                                           investments adjustment type bridge
Glustein, Steven      10/17/2023     0.8   Call with L. Clayton, R. Ernst, S. Glustein (A&M) re: BOD slide deck
                                           review
Glustein, Steven      10/17/2023     1.8   Call S. Glustein on hedge fund entity


Glustein, Steven      10/17/2023     0.6   Meeting with L. Callerio, S. Glustein, S. Paolinetti (A&M), H.
                                           Nachmias and others (Sygnia) to reconciliate vesting schedule
                                           differences
Paolinetti, Sergio    10/17/2023     0.6   Call with R. Ernst, C. Stockmeyer, S. Paolinetti, L. Clayton (A&M) to
                                           discuss latest updates on venture sales efforts
Paolinetti, Sergio    10/17/2023     0.6   Call with C. Stockmeyer, S. Paolinetti (A&M) re: unlocking and
                                           vesting schedules for tokens
Paolinetti, Sergio    10/17/2023     0.3   Call with C. Stockmeyer, L. Callerio, S. Paolinetti (A&M) to discuss
                                           non-debtor wallet amounts
Paolinetti, Sergio    10/17/2023     0.6   Meeting with L. Callerio, S. Glustein, S. Paolinetti (A&M), H.
                                           Nachmias and others (Sygnia) to reconciliate vesting schedule
                                           differences
Stockmeyer, Cullen    10/17/2023     0.7   Call with R. Ernst, C. Stockmeyer, S. Paolinetti, L. Clayton (A&M) to
                                           discuss latest updates on venture sales efforts
Stockmeyer, Cullen    10/17/2023     0.6   Call with C. Stockmeyer, S. Paolinetti (A&M) re: unlocking and
                                           vesting schedules for tokens
Stockmeyer, Cullen    10/17/2023     0.3   Call with C. Stockmeyer, L. Callerio, S. Paolinetti (A&M) to discuss
                                           non-debtor wallet amounts
Stockmeyer, Cullen    10/17/2023     0.3   Call with L. Clayton, C. Stockmeyer, R. Ernst (A&M) re: token
                                           funded amount reconciliation
Stockmeyer, Cullen    10/17/2023     0.4   Meeting with L. Callerio, C. Stockmeyer (A&M) re: liquid table token
                                           model review

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Financial Analysis
Professional                 Date    Hours    Activity
Titus, Adam             10/17/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio (A&M) to discuss latest
                                             updates on venture sales efforts
Titus, Adam             10/17/2023     1.8   Call S. Glustein on hedge fund entity


Titus, Adam             10/17/2023     0.2   Meeting to discuss FTX ventures for binder purposes with L.
                                             Clayton, S. Glustein, A. Titus, A. Maggard and M. Mirando (A&M)
Callerio, Lorenzo       10/18/2023     0.3   Meeting with S. Paolinetti and L. Callerio (A&M) re: token receivable
                                             deliverables update
Clayton, Lance          10/18/2023     0.6   Discussion with L. Clayton, R. Ernst (A&M) re: vesting schedule
                                             graphic for LedgerPrime token position
Clayton, Lance          10/18/2023     1.3   Discussion with L. Clayton, R. Ernst (A&M) re: PMO slide deck
                                             refresh
Clayton, Lance          10/18/2023     0.6   Call with S. Glustein, K. Kearney, L. Clayton (A&M), to LedgerPrime
                                             remaining assets model
Ernst, Reagan           10/18/2023     0.6   Discussion with L. Clayton, R. Ernst (A&M) re: vesting schedule
                                             graphic for LedgerPrime token position
Ernst, Reagan           10/18/2023     0.2   Call with K. Flinn (PWP), S. Glustein, R. Ernst (A&M) re: venture
                                             investments weekly updates
Ernst, Reagan           10/18/2023     1.3   Discussion with L. Clayton, R. Ernst (A&M) re: PMO slide deck
                                             refresh
Glustein, Steven        10/18/2023     0.4   Correspondence with H. Nachmias (S&C) regarding wallet
                                             associated with LedgerPrime remaining assets
Glustein, Steven        10/18/2023     0.6   Call with S. Glustein, K. Kearney, L. Clayton (A&M), to LedgerPrime
                                             remaining assets model
Glustein, Steven        10/18/2023     0.2   Call with K. Flinn (PWP), S. Glustein, R. Ernst (A&M) re: venture
                                             investments weekly updates
Glustein, Steven        10/18/2023     0.7   Correspondence with M. Cilia (RLKS) relating to token investments
                                             outstanding
Glustein, Steven        10/18/2023     1.9   Discussion with A. Titus and S. Glustein (A&M) on hedge fund entity
                                             updates
Glustein, Steven        10/18/2023     0.4   Communicate with token issuer relating to updated cold-storage
                                             wallet
Kearney, Kevin          10/18/2023     0.6   Call with S. Glustein, K. Kearney, L. Clayton (A&M), to LedgerPrime
                                             remaining assets model
Paolinetti, Sergio      10/18/2023     0.3   Meeting with S. Paolinetti and L. Callerio (A&M) re: token receivable
                                             deliverables update
Titus, Adam             10/18/2023     1.9   Discussion S. Glustein on hedge fund entity updates


Callerio, Lorenzo       10/19/2023     0.4   Meeting with L. Callerio, C. Stockmeyer (A&M) re: review of petition
                                             date balances for certain venture investments
Callerio, Lorenzo       10/19/2023     0.3   Meeting with S. Glustein, L. Callerio, S. Paolinetti (A&M) to discuss
                                             pre-ICO token updates
Callerio, Lorenzo       10/19/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: internal updates
                                             on venture sales




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Financial Analysis
Professional               Date    Hours    Activity
Callerio, Lorenzo     10/19/2023     0.4   Call with L. Callerio, S. Paolinetti (A&M) to discuss token key near-
                                           term tasks
Callerio, Lorenzo     10/19/2023     0.3   Correspondence with BitGo re: certain collected tokens


Callerio, Lorenzo     10/19/2023     0.5   Meeting with L. Callerio, S. Glustein, K. Kearney, C. Stockmeyer
                                           (A&M) re: petition date token receivables balance update
Clayton, Lance        10/19/2023     1.2   Discussion with L. Clayton, R. Ernst (A&M) re: overview of recent
                                           dissolutions for PMO slide deck
Clayton, Lance        10/19/2023     0.4   Call with L. Clayton, R. Ernst, S. Paolinetti (A&M) to discuss
                                           investments' news tracker
Clayton, Lance        10/19/2023     0.6   Call with L. Clayton, C. Stockmeyer, R. Ernst, S. Paolinetti (A&M) re:
                                           internal updates on venture sales
Ernst, Reagan         10/19/2023     0.4   Call with L. Clayton, R. Ernst, S. Paolinetti (A&M) to discuss
                                           investments' news tracker
Ernst, Reagan         10/19/2023     1.2   Discussion with L. Clayton, R. Ernst (A&M) re: overview of recent
                                           dissolutions for PMO slide deck
Ernst, Reagan         10/19/2023     0.6   Call with L. Clayton, C. Stockmeyer, R. Ernst, S. Paolinetti (A&M) re:
                                           internal updates on venture sales
Glustein, Steven      10/19/2023     0.7   Call with S. Tang (LedgerPrime) to discuss outstanding
                                           documentation relating to remaining LedgerPrime assets
Glustein, Steven      10/19/2023     0.4   Correspondence with M. Cilia (RLKS) regarding petition date bridge
                                           analysis relating to venture investments
Glustein, Steven      10/19/2023     0.6   Call with M. Cilia (RLKS), K. Kearney and S. Glustein (A&M) to
                                           discuss LedgerPrime remaining balances
Glustein, Steven      10/19/2023     0.4   Correspondence with H. Nachmias (Sygnia) regarding debank scan
                                           on remaining LedgerPrime wallets
Glustein, Steven      10/19/2023     0.3   Meeting with S. Glustein, L. Callerio, S. Paolinetti (A&M) to discuss
                                           pre-ICO token updates
Glustein, Steven      10/19/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: internal updates
                                           on venture sales
Glustein, Steven      10/19/2023     0.3   Correspondence with J. MacDonald (S&C) regarding recently closed
                                           venture investments
Glustein, Steven      10/19/2023     0.3   Correspondence with A. Alden (QE) regarding status of token
                                           proposal materials
Glustein, Steven      10/19/2023     0.5   Meeting with L. Callerio, S. Glustein, K. Kearney, C. Stockmeyer
                                           (A&M) re: petition date token receivables balance update
Kearney, Kevin        10/19/2023     0.6   Call with M. Cilia (RLKS), K. Kearney and S. Glustein (A&M) to
                                           discuss LedgerPrime remaining balances
Kearney, Kevin        10/19/2023     0.5   Meeting with L. Callerio, S. Glustein, K. Kearney, C. Stockmeyer
                                           (A&M) re: petition date token receivables balance update
Paolinetti, Sergio    10/19/2023     0.6   Call with L. Clayton, C. Stockmeyer, R. Ernst, S. Paolinetti (A&M) re:
                                           internal updates on venture sales
Paolinetti, Sergio    10/19/2023     0.3   Meeting with S. Glustein, L. Callerio, S. Paolinetti (A&M) to discuss
                                           pre-ICO token updates




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Financial Analysis
Professional                 Date    Hours    Activity
Paolinetti, Sergio      10/19/2023     0.4   Call with L. Clayton, R. Ernst, S. Paolinetti (A&M) to discuss
                                             investments' news tracker
Paolinetti, Sergio      10/19/2023     0.4   Call with L. Callerio, S. Paolinetti (A&M) to discuss token key near-
                                             term tasks
Stockmeyer, Cullen      10/19/2023     0.6   Call with L. Clayton, C. Stockmeyer, R. Ernst, S. Paolinetti (A&M) re:
                                             internal updates on venture sales
Stockmeyer, Cullen      10/19/2023     0.4   Meeting with L. Callerio, C. Stockmeyer (A&M) re: review of petition
                                             date balances for certain venture investments
Stockmeyer, Cullen      10/19/2023     0.5   Meeting with L. Callerio, S. Glustein, K. Kearney, C. Stockmeyer
                                             (A&M) re: petition date token receivables balance update
Titus, Adam             10/19/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: internal updates
                                             on venture sales
Callerio, Lorenzo       10/20/2023     0.6   Meeting with A. Titus, L. Callerio, S. Paolinetti (A&M), J. MacDonald
                                             (S&C) re: token receivables dispute
Callerio, Lorenzo       10/20/2023     0.4   Call with L. Callerio, J. Faett, S. Paolinetti (A&M) re: token
                                             receivables funding reconciliation
Callerio, Lorenzo       10/20/2023     0.3   Call with L. Callerio, S. Paolinetti (A&M) re: token receivables
                                             discussion points
Callerio, Lorenzo       10/20/2023     0.4   Correspondence with certain token issuers re: outstanding token
                                             collection
Callerio, Lorenzo       10/20/2023     0.6   Call with L. Callerio, S. Paolinetti (A&M) re: token outreach updates

Callerio, Lorenzo       10/20/2023     0.6   Correspondence with BitGo re: outstanding token collection


Clayton, Lance          10/20/2023     1.4   Discussion with L. Clayton, R. Ernst (A&M) re: construct tearsheet
                                             for potential asset sale
Ernst, Reagan           10/20/2023     1.4   Discussion with L. Clayton, R. Ernst (A&M) re: construct tearsheet
                                             for potential asset sale
Faett, Jack             10/20/2023     0.4   Call with L. Callerio, J. Faett, S. Paolinetti (A&M) re: token
                                             receivables funding reconciliation
Glustein, Steven        10/20/2023     2.1   Discussion with A. Titus and S. Glustein (A&M) on venture related
                                             workstream including deliverables
Mosley, Ed              10/20/2023     0.4   Discussion within A&M (E.Mosley, S.Coverick, K.Ramanathan,
                                             H.Chambers) regarding FTX Japan financial analysis and
                                             management diligence
Paolinetti, Sergio      10/20/2023     0.6   Meeting with A. Titus, L. Callerio, S. Paolinetti (A&M), J. MacDonald
                                             (S&C) re: token receivables dispute
Paolinetti, Sergio      10/20/2023     0.4   Call with L. Callerio, J. Faett, S. Paolinetti (A&M) re: token
                                             receivables funding reconciliation
Paolinetti, Sergio      10/20/2023     0.3   Call with L. Callerio, S. Paolinetti (A&M) re: token receivables
                                             discussion points
Paolinetti, Sergio      10/20/2023     0.6   Call with L. Callerio, S. Paolinetti (A&M) re: token outreach updates

Stockmeyer, Cullen      10/20/2023     0.4   Correspondence regarding receivables as of petition date with
                                             accounting team


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Financial Analysis
Professional                 Date    Hours    Activity
Titus, Adam             10/20/2023     0.6   Meeting with A. Titus, L. Callerio, S. Paolinetti (A&M), J. MacDonald
                                             (S&C) re: token receivables dispute
Titus, Adam             10/20/2023     2.1   Discussion with S. Glustein [A&M]on venture related workstream
                                             including deliverables
Clayton, Lance          10/23/2023     1.1   Meeting with L. Clayton, R. Ernst (A&M) re: LedgerPrime contact
                                             update letter deliverable
Clayton, Lance          10/23/2023     1.2   Meeting with L. Clayton, R. Ernst (A&M) re: SAFE cancelation
                                             recommendation slide
Clayton, Lance          10/23/2023     0.4   Discussion with L. Clayton, R. Ernst (A&M) re: investment master
                                             dissolutions bridge
Clayton, Lance          10/23/2023     0.6   Meeting with L. Clayton, R. Ernst (A&M) re: LedgerPrime contact list
                                             updates
Ernst, Reagan           10/23/2023     1.1   Meeting with L. Clayton, R. Ernst (A&M) re: LedgerPrime contact
                                             update letter deliverable
Ernst, Reagan           10/23/2023     1.2   Meeting with L. Clayton, R. Ernst (A&M) re: SAFE cancelation
                                             recommendation slide
Ernst, Reagan           10/23/2023     0.4   Discussion with L. Clayton, R. Ernst (A&M) re: investment master
                                             dissolutions bridge
Ernst, Reagan           10/23/2023     0.6   Meeting with L. Clayton, R. Ernst (A&M) re: LedgerPrime contact list
                                             updates
Glustein, Steven        10/23/2023     0.4   Correspondence with K. Flinn (PWP) relating to SAFE and SAFT
                                             investments held at LedgerPrime
Callerio, Lorenzo       10/24/2023     0.2   Call with L. Callerio, S. Paolinetti (A&M) re: updates on token
                                             receivables
Ernst, Reagan           10/24/2023     1.3   Meeting with R. Ernst, S. Paolinetti (A&M) to discuss token warrant
                                             reconciliation on investment tracker
Glustein, Steven        10/24/2023     0.3   Correspondence with M. Schwartz (S&C) regarding closing
                                             documents relating to venture investment sale process
Glustein, Steven        10/24/2023     0.3   Correspondence with invitee company relating to wire instructions
                                             associated with Alameda bank accounts
Glustein, Steven        10/24/2023     0.3   Call with J. MacDonald (S&C), C. Crawford (Fenwick) and S.
                                             Glustein (A&M) to discuss LedgerPrime investment
Glustein, Steven        10/24/2023     0.4   Correspondence with M. Cilia (RLKS) relating to dissolution of
                                             venture investment
Glustein, Steven        10/24/2023     1.7   Meeting with S. Glustein and A. Titus (A&M) on token receivables

Glustein, Steven        10/24/2023     0.4   Call with J. MacDonald (S&C), K. Flinn (PWP) and S. Glustein
                                             (A&M) to discuss fund investment relating to venture fund sale
                                             process
Paolinetti, Sergio      10/24/2023     0.8   Meeting with C. Stockmeyer, S. Paolinetti (A&M) to reconciliate
                                             token receipts with BitGo balances
Paolinetti, Sergio      10/24/2023     0.4   Call with L. Salas Nunez, A. Selwood, S. Paolinetti (A&M) to discuss
                                             token receipts deliverable for valuation purposes
Paolinetti, Sergio      10/24/2023     1.3   Meeting with R. Ernst, S. Paolinetti (A&M) to discuss token warrant
                                             reconciliation on investment tracker


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Financial Analysis
Professional                 Date    Hours    Activity
Paolinetti, Sergio      10/24/2023     0.8   Call with D. Sagen, C. Stockmeyer, A. Selwood, S. Paolinetti (A&M)
                                             re: variance analysis of token receipts
Paolinetti, Sergio      10/24/2023     0.2   Call with L. Callerio, S. Paolinetti (A&M) re: updates on token
                                             receivables
Sagen, Daniel           10/24/2023     0.4   Call with D. Sagen, C. Stockmeyer (A&M) to discuss token receipts
                                             deliverable for valuation purposes
Sagen, Daniel           10/24/2023     0.8   Call with D. Sagen, C. Stockmeyer, A. Selwood, S. Paolinetti (A&M)
                                             re: variance analysis of token receipts
Salas Nunez, Luis       10/24/2023     0.4   Call with L. Salas Nunez, A. Selwood, S. Paolinetti (A&M) to discuss
                                             token receipts deliverable for valuation purposes
Selwood, Alexa          10/24/2023     0.8   Call with D. Sagen, C. Stockmeyer, A. Selwood, S. Paolinetti (A&M)
                                             re: variance analysis of token receipts
Selwood, Alexa          10/24/2023     0.4   Call with L. Salas Nunez, A. Selwood, S. Paolinetti (A&M) to discuss
                                             token receipts deliverable for valuation purposes
Stockmeyer, Cullen      10/24/2023     0.4   Call with D. Sagen, C. Stockmeyer (A&M) to discuss token receipts
                                             deliverable for valuation purposes
Stockmeyer, Cullen      10/24/2023     0.8   Call with D. Sagen, C. Stockmeyer, A. Selwood, S. Paolinetti (A&M)
                                             re: variance analysis of token receipts
Stockmeyer, Cullen      10/24/2023     0.8   Meeting with C. Stockmeyer, S. Paolinetti (A&M) to reconciliate
                                             token receipts with BitGo balances
Titus, Adam             10/24/2023     1.7   Meeting with S. Glustein [A&M] on token receivables

Callerio, Lorenzo       10/25/2023     0.4   Meeting with L. Callerio, S. Glustein, S. Paolinetti (A&M) re: Solana
                                             vesting schedule reconciliation
Callerio, Lorenzo       10/25/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: internal updates
                                             on venture deliverables
Callerio, Lorenzo       10/25/2023     0.8   Call with L. Callerio, S. Paolinetti (A&M) re: token receivable updates
                                             and next steps
Callerio, Lorenzo       10/25/2023     0.6   Correspondence with pre-ICO token issuers

Callerio, Lorenzo       10/25/2023     0.8   Call with Call with J. McDonald (S&C), M. Rahmani, K. Flinn (PWP),
                                             A. Titus, S. Glustein, L. Callerio (A&M) re: venture investments
                                             weekly update
Clayton, Lance          10/25/2023     0.4   Call with L. Clayton, C. Stockmeyer, R. Ernst, S. Paolinetti (A&M) re:
                                             internal updates on venture deliverables
Clayton, Lance          10/25/2023     0.6   Call with L. Clayton, R. Ernst, S. Paolinetti (A&M) re: token warrant
                                             analysis reconciliation
Clayton, Lance          10/25/2023     1.1   Meeting with L. Clayton, R. Ernst (A&M) re: LedgerPrime contact
                                             letter updates
Clayton, Lance          10/25/2023     0.8   Meeting with L. Clayton, R. Ernst (A&M) re: venture team process
                                             tracker updates
Clayton, Lance          10/25/2023     0.2   Call with L. Clayton, C. Stockmeyer (A&M) re: subsidiary petition
                                             date balance
Clayton, Lance          10/25/2023     0.8   Call with Call with J. McDonald (S&C), M. Rahmani, K. Flinn (PWP),
                                             R. Ernst, C. Stockmeyer, L. Clayton (A&M) re: venture investments
                                             weekly update

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Financial Analysis
Professional               Date    Hours    Activity
Ernst, Reagan         10/25/2023     0.4   Call with L. Clayton, C. Stockmeyer, R. Ernst, S. Paolinetti (A&M) re:
                                           internal updates on venture deliverables
Ernst, Reagan         10/25/2023     1.1   Meeting with R. Ernst, S. Paolinetti (A&M) to prepare token warrant
                                           analysis for accounting team
Ernst, Reagan         10/25/2023     0.6   Call with L. Clayton, R. Ernst, S. Paolinetti (A&M) re: token warrant
                                           analysis reconciliation
Ernst, Reagan         10/25/2023     0.8   Meeting with L. Clayton, R. Ernst (A&M) re: venture team process
                                           tracker updates
Ernst, Reagan         10/25/2023     1.1   Meeting with L. Clayton, R. Ernst (A&M) re: LedgerPrime contact
                                           letter updates
Ernst, Reagan         10/25/2023     0.8   Call with Call with J. McDonald (S&C), M. Rahmani, K. Flinn (PWP),
                                           R. Ernst, C. Stockmeyer, L. Clayton (A&M) re: venture investments
                                           weekly update
Glustein, Steven      10/25/2023     0.4   Meeting with L. Callerio, S. Glustein, S. Paolinetti (A&M) re: Solana
                                           vesting schedule reconciliation
Glustein, Steven      10/25/2023     0.6   Correspondence with K. Flinn (PWP) relating to unvested token
                                           presentation relating to venture token sale process
Glustein, Steven      10/25/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: internal updates
                                           on venture deliverables
Glustein, Steven      10/25/2023     0.8   Correspondence with counsel to token investee company relating to
                                           outstanding proposal
Glustein, Steven      10/25/2023     1.9   Meeting with A. Titus and S. Glustein (A&M) on token protocol
                                           potential sale
Glustein, Steven      10/25/2023     0.8   Call with Call with J. McDonald (S&C), M. Rahmani, K. Flinn (PWP),
                                           A. Titus, S. Glustein, L. Callerio (A&M) re: venture investments
                                           weekly update
Paolinetti, Sergio    10/25/2023     0.4   Meeting with L. Callerio, S. Glustein, S. Paolinetti (A&M) re: Solana
                                           vesting schedule reconciliation
Paolinetti, Sergio    10/25/2023     0.4   Call with L. Clayton, C. Stockmeyer, R. Ernst, S. Paolinetti (A&M) re:
                                           internal updates on venture deliverables
Paolinetti, Sergio    10/25/2023     0.8   Call with L. Callerio, S. Paolinetti (A&M) re: token receivable updates
                                           and next steps
Paolinetti, Sergio    10/25/2023     0.3   Call with D. Sagen, S. Paolinetti (A&M) re: Solana vesting schedule
                                           and staked rewards
Paolinetti, Sergio    10/25/2023     1.1   Meeting with R. Ernst, S. Paolinetti (A&M) to prepare token warrant
                                           analysis for accounting team
Paolinetti, Sergio    10/25/2023     0.6   Call with L. Clayton, R. Ernst, S. Paolinetti (A&M) re: token warrant
                                           analysis reconciliation
Sagen, Daniel         10/25/2023     0.3   Call with D. Sagen, S. Paolinetti (A&M) re: Solana vesting schedule
                                           and staked rewards
Stockmeyer, Cullen    10/25/2023     0.4   Call with L. Clayton, C. Stockmeyer, R. Ernst, S. Paolinetti (A&M) re:
                                           internal updates on venture deliverables
Stockmeyer, Cullen    10/25/2023     0.2   Call with L. Clayton, C. Stockmeyer (A&M) re: subsidiary petition
                                           date balance




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Professional                 Date    Hours    Activity
Stockmeyer, Cullen      10/25/2023     0.8   Call with Call with J. McDonald (S&C), M. Rahmani, K. Flinn (PWP),
                                             R. Ernst, C. Stockmeyer, L. Clayton (A&M) re: venture investments
                                             weekly update
Titus, Adam             10/25/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: internal updates
                                             on venture deliverables
Titus, Adam             10/25/2023     1.9   Meeting with S. Glustein [A&M] on token protocol potential sale


Titus, Adam             10/25/2023     0.8   Call with Call with J. McDonald (S&C), M. Rahmani, K. Flinn (PWP),
                                             A. Titus, S. Glustein, L. Callerio (A&M) re: venture investments
                                             weekly update
Callerio, Lorenzo       10/26/2023     0.3   Discuss with S. Paolinetti (A&M) certain communications to be send
                                             to some token issuers
Callerio, Lorenzo       10/26/2023     0.2   Call with L. Callerio, S. Paolinetti (A&M) re: token issuer's proposal
                                             slides updates
Callerio, Lorenzo       10/26/2023     0.3   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: internal PMO t-
                                             minus schedule overview
Clayton, Lance          10/26/2023     0.3   Call with L. Clayton, C. Stockmeyer, R. Ernst, S. Paolinetti (A&M) re:
                                             internal PMO t-minus schedule overview
Clayton, Lance          10/26/2023     1.2   Meeting with L. Clayton, R. Ernst (A&M) re: LedgerPrime remaining
                                             assets transaction hash reconciliation
Ernst, Reagan           10/26/2023     0.3   Call with L. Clayton, C. Stockmeyer, R. Ernst, S. Paolinetti (A&M) re:
                                             internal PMO t-minus schedule overview
Ernst, Reagan           10/26/2023     1.2   Meeting with L. Clayton, R. Ernst (A&M) re: LedgerPrime remaining
                                             assets transaction hash reconciliation
Glustein, Steven        10/26/2023     0.5   Correspondence with J. MacDonald (S&C) relating to unvested
                                             token presentation relating to venture token sale process
Glustein, Steven        10/26/2023     0.3   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: internal PMO t-
                                             minus schedule overview
Glustein, Steven        10/26/2023     0.3   Correspondence with LedgerPrime investee company regarding
                                             dissolution of investment company
Paolinetti, Sergio      10/26/2023     0.3   Call with L. Clayton, C. Stockmeyer, R. Ernst, S. Paolinetti (A&M) re:
                                             internal PMO t-minus schedule overview
Paolinetti, Sergio      10/26/2023     0.2   Call with L. Callerio, S. Paolinetti (A&M) re: token issuer's proposal
                                             slides updates
Stockmeyer, Cullen      10/26/2023     0.3   Call with L. Clayton, C. Stockmeyer, R. Ernst, S. Paolinetti (A&M) re:
                                             internal PMO t-minus schedule overview
Titus, Adam             10/26/2023     0.3   Call with A. Titus, S. Glustein, L. Callerio (A&M) re: internal PMO t-
                                             minus schedule overview
Callerio, Lorenzo       10/27/2023     0.2   Call with S. Glustein, L. Callerio, S. Paolinetti (A&M) re: list of
                                             uncontrolled debtor wallets
Callerio, Lorenzo       10/27/2023     0.4   Call with L. Callerio, S. Paolinetti (A&M) re: venture sales updates
                                             on tokens
Clayton, Lance          10/27/2023     0.4   Call with K. Schultea (RLKS), A. Titus, S. Glustein, and L. Clayton
                                             re: LedgerPrime wind-down status and next steps
Clayton, Lance          10/27/2023     1.1   Meeting S. Glustein, L. Clayton, and R. Ernst (A&M) re: Interested
                                             parties tracker and presentation

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Professional                 Date    Hours    Activity
Clayton, Lance          10/27/2023     0.7   Meeting: S. Glustein and L. Clayton (A&M) re: LedgerPrime
                                             remaining assets reconciliation and review
Clayton, Lance          10/27/2023     0.9   Meeting with S. Glustein, L. Clayton, R. Ernst (A&M) re: locked
                                             token position summary
Clayton, Lance          10/27/2023     1.1   Meeting: S. Glustein and L. Clayton (A&M) re: LedgerPrime weekly
                                             status update
Ernst, Reagan           10/27/2023     0.9   Meeting with S. Glustein, L. Clayton, R. Ernst (A&M) re: locked
                                             token position summary
Ernst, Reagan           10/27/2023     0.9   Meeting with R. Ernst, S. Paolinetti (A&M) re: locked token
                                             transaction details
Glustein, Steven        10/27/2023     0.7   Meeting: S. Glustein and L. Clayton (A&M) re: LedgerPrime
                                             remaining assets reconciliation and review
Glustein, Steven        10/27/2023     0.4   Call with K. Schultea (RLKS), A. Titus, S. Glustein, and L. Clayton
                                             re: LedgerPrime wind-down status and next steps
Glustein, Steven        10/27/2023     0.2   Call with S. Glustein, L. Callerio, S. Paolinetti (A&M) re: list of
                                             uncontrolled debtor wallets
Glustein, Steven        10/27/2023     0.9   Meeting with S. Glustein, L. Clayton, R. Ernst (A&M) re: locked
                                             token position summary
Glustein, Steven        10/27/2023     1.1   Meeting: S. Glustein and L. Clayton (A&M) re: LedgerPrime weekly
                                             status update
Paolinetti, Sergio      10/27/2023     0.2   Call with S. Glustein, L. Callerio, S. Paolinetti (A&M) re: list of
                                             uncontrolled debtor wallets
Paolinetti, Sergio      10/27/2023     0.4   Call with L. Callerio, S. Paolinetti (A&M) re: venture sales updates
                                             on tokens
Paolinetti, Sergio      10/27/2023     0.9   Meeting with R. Ernst, S. Paolinetti (A&M) re: locked token
                                             transaction details
Titus, Adam             10/27/2023     0.4   Call with K. Schultea (RLKS), A. Titus, S. Glustein, and L. Clayton
                                             re: LedgerPrime wind-down status and next steps
Titus, Adam             10/27/2023     1.1   Call with S. Coverick, K. Ramanathan, J. Cooper, A. Titus, and C.
                                             Arnett (A&M) re: Review preliminary draft of the Wind-Down Budget
Callerio, Lorenzo       10/30/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio, and L. Clayton (A&M) re:
                                             Internal updates on venture token strategy
Callerio, Lorenzo       10/30/2023     0.4   Meeting with L. Callerio, S. Paolinetti (A&M) re: updating token
                                             outreach tracker for unresponsive token issuers
Callerio, Lorenzo       10/30/2023     0.6   Call with L. Callerio, S. Paolinetti (A&M) re: updates on venture
                                             sales for tokens
Callerio, Lorenzo       10/30/2023     0.4   Correspondence with certain token issuers re: outstanding tokens to
                                             be secured
Clayton, Lance          10/30/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio, and L. Clayton (A&M) re:
                                             Internal updates on venture token strategy
Clayton, Lance          10/30/2023     0.6   Meeting with R. Ernst, L. Clayton (A&M) re: Token proposal tracker


Ernst, Reagan           10/30/2023     0.6   Meeting with R. Ernst, L. Clayton (A&M) re: Token proposal tracker




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Financial Analysis
Professional                 Date    Hours    Activity
Glustein, Steven        10/30/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio, and L. Clayton (A&M) re:
                                             Internal updates on venture token strategy
Glustein, Steven        10/30/2023     0.4   Correspondence with Sygnia team regarding employee roster
                                             relating to LedgerPrime
Paolinetti, Sergio      10/30/2023     0.7   Meeting with C. Stockmeyer, S. Paolinetti (A&M) re: updates to
                                             venture deck on liquidation and vesting analysis slides
Paolinetti, Sergio      10/30/2023     0.4   Meeting with L. Callerio, S. Paolinetti (A&M) re: updating token
                                             outreach tracker for unresponsive token issuers
Paolinetti, Sergio      10/30/2023     0.6   Meeting with C. Stockmeyer, S. Paolinetti (A&M) re: updates to
                                             venture token model inputs
Paolinetti, Sergio      10/30/2023     0.6   Call with L. Callerio, S. Paolinetti (A&M) re: updates on venture
                                             sales for tokens
Stockmeyer, Cullen      10/30/2023     0.7   Meeting with C. Stockmeyer, S. Paolinetti (A&M) re: updates to
                                             venture deck on liquidation and vesting analysis slides
Stockmeyer, Cullen      10/30/2023     0.6   Meeting with C. Stockmeyer, S. Paolinetti (A&M) re: updates to
                                             venture token model inputs
Titus, Adam             10/30/2023     0.4   Call with A. Titus, S. Glustein, L. Callerio, and L. Clayton (A&M) re:
                                             Internal updates on venture token strategy
Callerio, Lorenzo       10/31/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio (A&M) to discuss internal
                                             agenda on venture sales
Callerio, Lorenzo       10/31/2023     0.6   Meeting with S. Paolinetti and L. Callerio (A&M) re: revised token
                                             deck
Callerio, Lorenzo       10/31/2023     0.4   Call with K. Flynn, M. Rahmani (PWP), A. Titus, L. Callerio, S.
                                             Glustein, and L. Clayton (A&M) re: Indication of interest in estate
                                             asset with third party bidder
Clayton, Lance          10/31/2023     0.6   Call with L. Clayton, C. Stockmeyer, S. Paolinetti (A&M) to discuss
                                             internal agenda on venture sales
Clayton, Lance          10/31/2023     0.4   Call with K. Flynn, M. Rahmani (PWP), A. Titus, L. Callerio, S.
                                             Glustein, and L. Clayton (A&M) re: Indication of interest in estate
                                             asset with third party bidder
Glustein, Steven        10/31/2023     0.7   Call with A. Titus and S. Glustein (A&M) to discuss updates relating
                                             to LedgerPrime remaining assets
Glustein, Steven        10/31/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio (A&M) to discuss internal
                                             agenda on venture sales
Glustein, Steven        10/31/2023     0.4   Call with PWP team regarding updates relating to fund investment
                                             positions
Paolinetti, Sergio      10/31/2023     0.6   Call with L. Clayton, C. Stockmeyer, S. Paolinetti (A&M) to discuss
                                             internal agenda on venture sales
Paolinetti, Sergio      10/31/2023     0.6   Meeting with S. Paolinetti and L. Callerio (A&M) re: revised token
                                             deck
Stockmeyer, Cullen      10/31/2023     0.6   Call with L. Clayton, C. Stockmeyer, S. Paolinetti (A&M) to discuss
                                             internal agenda on venture sales
Titus, Adam             10/31/2023     0.7   Call with A. Titus and S. Glustein (A&M) to discuss updates relating
                                             to LedgerPrime remaining assets
Titus, Adam             10/31/2023     0.6   Call with A. Titus, S. Glustein, L. Callerio (A&M) to discuss internal
                                             agenda on venture sales

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Professional                 Date    Hours     Activity
Titus, Adam             10/31/2023      0.4   Call with K. Flynn, M. Rahmani (PWP), A. Titus, L. Callerio, S.
                                              Glustein, and L. Clayton (A&M) re: Indication of interest in estate
                                              asset with third party bidder

Subtotal                              311.5

Government and Regulatory Data Requests
Professional                 Date    Hours     Activity
Flynn, Matthew           10/2/2023      1.2   Draft FTX EU representative presentation for Management


Flynn, Matthew           10/2/2023      0.4   Review proposed edits to data security document

Grosvenor, Robert        10/2/2023      0.2   Call with, C. Jones (S&C), R. Grosvenor, M. Negus, and S. Lowe
                                              (A&M) to discuss privacy compliance matters
Lowe, Sam                10/2/2023      0.2   Call with, C. Jones (S&C), R. Grosvenor, M. Negus, and S. Lowe
                                              (A&M) to discuss privacy compliance matters
Lowe, Sam                10/2/2023      0.4   Provide comments on recommendations in relation to data privacy
                                              compliance matters
Lowe, Sam                10/2/2023      0.6   Prepare and send response to Privacy Inbox customer request

Negus, Matthew           10/2/2023      0.2   Call with, C. Jones (S&C), R. Grosvenor, M. Negus, and S. Lowe
                                              (A&M) to discuss privacy compliance matters
Negus, Matthew           10/2/2023      1.0   Further updates to EU representative briefing document following
                                              internal feedback received
Negus, Matthew           10/2/2023      1.8   Prepare EU representative appointment briefing document for FTX
                                              management
Flynn, Matthew           10/3/2023      0.6   Review and comment on data subject request handling procedures


Flynn, Matthew           10/3/2023      0.6   Review and comment on personal data reporting handling
                                              procedures
Flynn, Matthew           10/3/2023      0.4   Review and comment on data retention policy


Flynn, Matthew           10/3/2023      0.4   Review and comment on data protection policy

Lowe, Sam                10/3/2023      0.6   Triage of emails received to claims portal Privacy Inbox

Negus, Matthew           10/3/2023      1.5   Update first tranche of privacy compliance materials for FTX
                                              management
Vieira, Francisco        10/3/2023      1.0   Compile information from EU representative service providers and
                                              prepared summary table to support client discussions
Flynn, Matthew           10/4/2023      0.9   Draft FTX business processing activities document


Lowe, Sam                10/4/2023      0.2   Call with R. Grosvenor, M. Negus, J. Johal, S. Lowe and F. Vieira
                                              (A&M) to cover status of privacy compliance matters
Lowe, Sam                10/4/2023      0.2   Provide comments on recommendations in relation to data privacy
                                              compliance matters

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Government and Regulatory Data Requests
Professional              Date     Hours    Activity
Lowe, Sam              10/4/2023     0.2   Prepare and send response to Privacy Inbox customer request

Negus, Matthew         10/4/2023     0.5   Review of proposed privacy notice drafted by S&C


Vieira, Francisco      10/4/2023     0.9   Prepare summary table with information from EU representative
                                           vendors (EDPO and DataRep)
Vieira, Francisco      10/4/2023     1.1   Compile information from EU representative service providers
                                           (EDPO and DataRep) based on previous calls and information
                                           received via email
Grosvenor, Robert      10/5/2023     0.2   Call with R. Grosvenor, M. Negus, J. Johal, S. Lowe and F. Vieira
                                           (A&M) to cover status of privacy compliance matters
Johal, Jas             10/5/2023     0.2   Call with R. Grosvenor, M. Negus, J. Johal, S. Lowe and F. Vieira
                                           (A&M) to cover status of privacy compliance matters
Lowe, Sam              10/5/2023     0.2   Call with R. Grosvenor, M. Negus, J. Johal, S. Lowe and F. Vieira
                                           (A&M) to cover status of privacy compliance matters
Negus, Matthew         10/5/2023     0.2   Call with R. Grosvenor, M. Negus, J. Johal, S. Lowe and F. Vieira
                                           (A&M) to cover status of privacy compliance matters
Negus, Matthew         10/5/2023     0.3   Update FTX privacy compliance activities status update

Vieira, Francisco      10/5/2023     0.9   Prepare summary table with information from EU representative
                                           vendors (Privacy Minders)
Vieira, Francisco      10/5/2023     1.1   Compile information from EU representative service providers
                                           (Privacy Minders) based on previous calls and information received
                                           via email
Flynn, Matthew         10/6/2023     0.4   Call with R. Grosvenor, K. Ramanathan, M. Negus and M. Flynn
                                           (A&M) to discuss status of privacy compliance matters
Flynn, Matthew         10/6/2023     0.8   Update FTX processing activities memo for data privacy matters


Flynn, Matthew         10/6/2023     1.1   Review updates on data privacy documents for S&C

Flynn, Matthew         10/6/2023     0.6   Review updated EU representation deck and provide comments


Grosvenor, Robert      10/6/2023     0.4   Call with R. Grosvenor, K. Ramanathan, M. Negus and M. Flynn
                                           (A&M) to discuss status of privacy compliance matters
Negus, Matthew         10/6/2023     0.4   Call with R. Grosvenor, K. Ramanathan, M. Negus and M. Flynn
                                           (A&M) to discuss status of privacy compliance matters
Negus, Matthew         10/6/2023     1.6   Content modifications to EU representative briefing document

Ramanathan, Kumanan    10/6/2023     0.4   Call with R. Grosvenor, K. Ramanathan, M. Negus and M. Flynn
                                           (A&M) to discuss status of privacy compliance matters
Vieira, Francisco      10/6/2023     0.4   Consolidate summary tables from all EU representative service
                                           vendors for internal discussion
Vieira, Francisco      10/6/2023     0.7   Prepare summary table with information from EU representative
                                           vendors (GRCI Law)




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Government and Regulatory Data Requests
Professional               Date    Hours    Activity
Vieira, Francisco      10/6/2023     0.9   Compile information from EU representative service providers
                                           (EDPO and DataRep) based on previous calls and information
                                           received via email
Flynn, Matthew         10/9/2023     0.4   Call with M. Flynn, R. Johnson (A&M) H. Nachmias and others
                                           (Sygnia) to discuss data preservation requirements
Flynn, Matthew         10/9/2023     0.3   Call with R. Grosvenor, M. Negus, and M. Flynn (A&M) to discuss
                                           privacy compliance workstream
Flynn, Matthew         10/9/2023     0.9   Coordinate data preservation requirements response

Grosvenor, Robert      10/9/2023     0.3   Call with R. Grosvenor, M. Negus, and M. Flynn (A&M) to discuss
                                           privacy compliance workstream
Grosvenor, Robert      10/9/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream
Johnson, Robert        10/9/2023     0.4   Call with M. Flynn, R. Johnson (A&M) H. Nachmias and others
                                           (Sygnia) to discuss data preservation requirements
Lowe, Sam              10/9/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream
Negus, Matthew         10/9/2023     1.7   Modify first tranche of privacy compliance documentation following
                                           internal feedback received
Negus, Matthew         10/9/2023     0.2   Call with R. Grosvenor, M. Negus, and M. Flynn (A&M) to discuss
                                           privacy compliance workstream
Negus, Matthew         10/9/2023     1.3   Prepare revisions to the FTX Data Protection Policy based on
                                           security diligence
Negus, Matthew         10/9/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream
Sarmiento, Dubhe       10/9/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream
Negus, Matthew        10/10/2023     1.0   Prepare management briefing slide on the first tranche of privacy
                                           compliance documents
Dusendschon, Kora     10/11/2023     0.9   Call with M. Negus, K. Dusendschon, A. Mohammed (A&M) to
                                           discuss data preservation considerations
Dusendschon, Kora     10/11/2023     0.5   Call with R. Grosvenor, D. Johnston, M. Negus, K. Dusendschon, P.
                                           Kwan and S. Lowe, (A&M) to discuss data and record retention
                                           schedules
Flynn, Matthew        10/11/2023     0.9   Call with M. Flynn, R. Grosvenor, R. Johnson, H. Chambers (A&M)
                                           to discuss data preservation considerations
Flynn, Matthew        10/11/2023     0.6   Review data privacy updated documentation for S&C

Grosvenor, Robert     10/11/2023     0.9   Call with M. Flynn, R. Grosvenor, R. Johnson, H. Chambers (A&M)
                                           to discuss data preservation considerations
Grosvenor, Robert     10/11/2023     0.4   Call with R. Grosvenor, M. Negus, S. Lowe, F. Vieira and D.
                                           Sarmiento (A&M) to cover status of privacy compliance workstream



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Government and Regulatory Data Requests
Professional               Date    Hours    Activity
Grosvenor, Robert     10/11/2023     0.5   Call with R. Grosvenor, D. Johnston, M. Negus, K. Dusendschon, P.
                                           Kwan and S. Lowe, (A&M) to discuss data and record retention
                                           schedules
Johnson, Robert       10/11/2023     0.9   Call with M. Flynn, R. Grosvenor, R. Johnson, H. Chambers (A&M)
                                           to discuss data preservation considerations
Johnston, David       10/11/2023     0.5   Call with R. Grosvenor, D. Johnston, M. Negus, K. Dusendschon, P.
                                           Kwan and S. Lowe, (A&M) to discuss data and record retention
                                           schedules
Kwan, Peter           10/11/2023     0.5   Call with P. Kwan, M. Sunkara, J. Chan (A&M) to discuss status of
                                           ongoing data requests
Kwan, Peter           10/11/2023     0.5   Call with R. Grosvenor, D. Johnston, M. Negus, K. Dusendschon, P.
                                           Kwan and S. Lowe, (A&M) to discuss data and record retention
                                           schedules
Lowe, Sam             10/11/2023     0.4   Call with R. Grosvenor, M. Negus, S. Lowe, F. Vieira and D.
                                           Sarmiento (A&M) to cover status of privacy compliance workstream
Lowe, Sam             10/11/2023     0.5   Call with R. Grosvenor, D. Johnston, M. Negus, K. Dusendschon, P.
                                           Kwan and S. Lowe, (A&M) to discuss data and record retention
                                           schedules
Mohammed, Azmat       10/11/2023     0.9   Call with M. Negus, K. Dusendschon, A. Mohammed (A&M) to
                                           discuss data preservation considerations
Negus, Matthew        10/11/2023     0.9   Call with M. Negus, K. Dusendschon, A. Mohammed (A&M) to
                                           discuss data preservation considerations
Negus, Matthew        10/11/2023     0.4   Call with R. Grosvenor, M. Negus, S. Lowe, F. Vieira and D.
                                           Sarmiento (A&M) to cover status of privacy compliance workstream
Negus, Matthew        10/11/2023     0.5   Call with R. Grosvenor, D. Johnston, M. Negus, K. Dusendschon, P.
                                           Kwan and S. Lowe, (A&M) to discuss data and record retention
                                           schedules
Okkeh, Layan          10/11/2023     0.2   Update FTX weekly status report to be shared with S&C


Sarmiento, Dubhe      10/11/2023     0.4   Call with R. Grosvenor, M. Negus, S. Lowe, F. Vieira and D.
                                           Sarmiento (A&M) to cover status of privacy compliance workstream
Flynn, Matthew        10/12/2023     0.5   Call with R. Grosvenor, M. Negus, and M. Flynn, (A&M) to discuss
                                           progress of privacy compliance matters
Grosvenor, Robert     10/12/2023     0.5   Call with R. Grosvenor, M. Negus, and M. Flynn, (A&M) to discuss
                                           progress of privacy compliance matters
Negus, Matthew        10/12/2023     0.5   Call with R. Grosvenor, M. Negus, and M. Flynn, (A&M) to discuss
                                           progress of privacy compliance matters
Negus, Matthew        10/12/2023     1.1   Review of S&C modifications to FTX Enquiries and Complaints
                                           Procedure
Negus, Matthew        10/12/2023     0.4   Review of S&C modifications to FTX Data Protection Policy

Lowe, Sam             10/13/2023     0.4   Call with M. Negus, S. Lowe and D. Sarmiento (A&M) to discuss
                                           approach for developing the personal data record of processing
                                           activities
Negus, Matthew        10/13/2023     1.8   Modify definitions and content within the FTX data subject request
                                           handling procedures



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Government and Regulatory Data Requests
Professional               Date    Hours    Activity
Negus, Matthew        10/13/2023     1.2   Review of FTX Japan cross-border data transfer and data
                                           preservation matter
Negus, Matthew        10/13/2023     0.2   Update privacy compliance status report


Negus, Matthew        10/13/2023     0.4   Call with M. Negus, S. Lowe and D. Sarmiento (A&M) to discuss
                                           approach for developing the personal data record of processing
                                           activities
Sarmiento, Dubhe      10/13/2023     0.4   Amend records of processing activities (RoPA) template according
                                           to M. Cilia and M. Flynn feedback to establish a formal GDPR RoPA
                                           for FTX Europe
Sarmiento, Dubhe      10/13/2023     2.9   Draft records of processing activities (RoPA) regarding finance
                                           function activities to establish a formal GDPR RoPA for FTX Europe
Sarmiento, Dubhe      10/13/2023     0.4   Call with M. Negus, S. Lowe and D. Sarmiento (A&M) to discuss
                                           approach for developing the personal data record of processing
                                           activities
Flynn, Matthew        10/16/2023     0.2   Call with R. Grosvenor, K. Ramanathan, M. Negus, and M. Flynn,
                                           (A&M) to discuss privacy compliance matters
Grosvenor, Robert     10/16/2023     0.2   Call with R. Grosvenor, K. Ramanathan, M. Negus, and M. Flynn,
                                           (A&M) to discuss privacy compliance matters
Grosvenor, Robert     10/16/2023     0.5   Call with R. Grosvenor, M. Negus, S. Lowe and D. Sarmiento, (A&M)
                                           to discuss cross-border data transfer matter
Grosvenor, Robert     10/16/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream
Lowe, Sam             10/16/2023     0.5   Call with R. Grosvenor, M. Negus, S. Lowe and D. Sarmiento, (A&M)
                                           to discuss cross-border data transfer matter
Lowe, Sam             10/16/2023     0.3   Provide feedback on FTX data protection disclosure policy

Lowe, Sam             10/16/2023     0.6   Draft updates to the FTX data retention policy to comments

Lowe, Sam             10/16/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream
Negus, Matthew        10/16/2023     0.5   Call with R. Grosvenor, M. Negus, S. Lowe and D. Sarmiento, (A&M)
                                           to discuss cross-border data transfer matter
Negus, Matthew        10/16/2023     0.2   Call with R. Grosvenor, K. Ramanathan, M. Negus, and M. Flynn,
                                           (A&M) to discuss privacy compliance matters
Negus, Matthew        10/16/2023     0.2   Prepare additional modifications to the FTX Data Disclosure Policy


Negus, Matthew        10/16/2023     0.8   Review of updated version of the DSR Procedures

Negus, Matthew        10/16/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream
Ramanathan, Kumanan   10/16/2023     0.2   Call with R. Grosvenor, K. Ramanathan, M. Negus, and M. Flynn,
                                           (A&M) to discuss privacy compliance matters



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Government and Regulatory Data Requests
Professional               Date    Hours    Activity
Sarmiento, Dubhe      10/16/2023     0.5   Call with R. Grosvenor, M. Negus, S. Lowe and D. Sarmiento, (A&M)
                                           to discuss cross-border data transfer matter
Sarmiento, Dubhe      10/16/2023     2.9   Draft records of processing activities (RoPA) regarding HR and Risk
                                           & Compliance function activities to establish a formal GDPR RoPA
                                           for FTX Europe
Sarmiento, Dubhe      10/16/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream
Sarmiento, Dubhe      10/16/2023     2.1   Draft records of processing activities (RoPA) regarding IT function
                                           activities to establish a formal GDPR RoPA for FTX Europe
Negus, Matthew        10/17/2023     0.2   Prepare additional revisions to the DSR Procedures

Sarmiento, Dubhe      10/17/2023     1.8   Draft records of processing activities (RoPA) regarding Operations
                                           and Legal function activities to establish a formal GDPR RoPA for
                                           FTX Europe
Grosvenor, Robert     10/18/2023     0.3   Call with R. Grosvenor, M. Negus, S. Lowe (A&M) to cover status of
                                           privacy compliance workstream
Grosvenor, Robert     10/18/2023     0.4   Call with 3rd party vendor, H. Cockle (S&C), R. Grosvenor, M.
                                           Negus, S. Lowe and F. Vieira (A&M) to discuss EU representative
                                           services
Lowe, Sam             10/18/2023     0.3   Call with R. Grosvenor, M. Negus, S. Lowe (A&M) to cover status of
                                           privacy compliance workstream
Lowe, Sam             10/18/2023     0.4   Call with 3rd party vendor, H. Cockle (S&C), R. Grosvenor, M.
                                           Negus, S. Lowe and F. Vieira (A&M) to discuss EU representative
                                           services
Negus, Matthew        10/18/2023     0.3   Call with R. Grosvenor, M. Negus, S. Lowe (A&M) to cover status of
                                           privacy compliance workstream
Negus, Matthew        10/18/2023     2.3   Review of draft personal data record of processing activities


Negus, Matthew        10/18/2023     0.9   Review of FTX Japan and FTX Singapore privacy notices

Negus, Matthew        10/18/2023     0.4   Call with 3rd party vendor, H. Cockle (S&C), R. Grosvenor, M.
                                           Negus, S. Lowe and F. Vieira (A&M) to discuss EU representative
                                           services
Okkeh, Layan          10/18/2023     0.2   Update FTX weekly status report to be shared with S&C


Sarmiento, Dubhe      10/18/2023     0.3   Call with F. Vieira, D. Sarmiento, L. Okkeh (A&M) to cover status of
                                           privacy compliance workstream
Sarmiento, Dubhe      10/18/2023     1.4   Review and amend records of processing activities (RoPA) in
                                           accordance with M.Negus feedback
Vieira, Francisco     10/18/2023     0.9   Prepare detailed table with information from EU representative
                                           (EDPO, DataRep) vendors
Flynn, Matthew        10/19/2023     0.4   Call with R. Grosvenor, M. Negus, M. Flynn (A&M) to update on
                                           status of privacy compliance workstream
Grosvenor, Robert     10/19/2023     0.4   Call with R. Grosvenor, M. Negus, M. Flynn (A&M) to update on
                                           status of privacy compliance workstream



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Government and Regulatory Data Requests
Professional               Date    Hours    Activity
Negus, Matthew        10/19/2023     0.4   Call with R. Grosvenor, M. Negus, M. Flynn (A&M) to update on
                                           status of privacy compliance workstream
Negus, Matthew        10/19/2023     0.5   Review of documentation and pricing update provided by third party
                                           vendor
Negus, Matthew        10/19/2023     0.1   Review of additional amendments to draft FTX data retention policy

Negus, Matthew        10/19/2023     0.2   Further review of updates to data disclosure procedures

Vieira, Francisco     10/19/2023     0.6   Prepare emails to unsuccessful EU representative services vendors
                                           informing of the outcome of their proposal
Lowe, Sam             10/20/2023     0.3   Provide feedback on FTX enquiry and complaints procedure

Negus, Matthew        10/20/2023     0.6   Incorporate additional modification to draft personal data record of
                                           processing activities
Negus, Matthew        10/20/2023     0.4   Review of draft privacy compliance document

Negus, Matthew        10/20/2023     0.1   Update the weekly privacy compliance workstream status


Flynn, Matthew        10/23/2023     0.5   Call with R. Grosvenor, M. Negus, M. Flynn (A&M) to update on
                                           status of privacy compliance workstream
Grosvenor, Robert     10/23/2023     0.5   Call with R. Grosvenor, M. Negus, M. Flynn (A&M) to update on
                                           status of privacy compliance workstream
Grosvenor, Robert     10/23/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream
Lowe, Sam             10/23/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream
Negus, Matthew        10/23/2023     0.5   Call with R. Grosvenor, M. Negus, M. Flynn (A&M) to update on
                                           status of privacy compliance workstream
Negus, Matthew        10/23/2023     0.7   Modify the draft FTX enquiries and complaints handling procedure


Negus, Matthew        10/23/2023     0.4   Privacy matters relating to third party service providers

Negus, Matthew        10/23/2023     0.1   Draft response to unsuccessful service providers


Negus, Matthew        10/23/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream
Sarmiento, Dubhe      10/23/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream
Negus, Matthew        10/24/2023     0.4   Insert updated section to FTX customer privacy notice

Negus, Matthew        10/24/2023     0.4   Review of third party supplier mandate agreement



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Government and Regulatory Data Requests
Professional                Date    Hours    Activity
Negus, Matthew         10/24/2023     0.5   Modify the draft privacy impact assessment template

Grosvenor, Robert      10/25/2023     0.5   Call with R. Grosvenor, M. Negus, S. Lowe (A&M) to cover status of
                                            privacy compliance workstream
Johal, Jas             10/25/2023     0.5   Call with J. Johal, D. Sarmiento, L. Okkeh (A&M) to cover status of
                                            privacy compliance workstream
Lowe, Sam              10/25/2023     0.5   Call with R. Grosvenor, M. Negus, S. Lowe (A&M) to cover status of
                                            privacy compliance workstream
Negus, Matthew         10/25/2023     0.5   Call with R. Grosvenor, M. Negus, S. Lowe (A&M) to cover status of
                                            privacy compliance workstream
Negus, Matthew         10/25/2023     0.2   Follow-up responses to privacy service providers

Okkeh, Layan           10/25/2023     0.5   Call with J. Johal, D. Sarmiento, L. Okkeh (A&M) to cover status of
                                            privacy compliance workstream
Okkeh, Layan           10/25/2023     1.0   Review EDPO mandate agreement for any data protection errors or
                                            inconsistencies
Sarmiento, Dubhe       10/25/2023     0.5   Call with J. Johal, D. Sarmiento, L. Okkeh (A&M) to cover status of
                                            privacy compliance workstream
Dusendschon, Kora      10/26/2023     0.5   Call with K. Dusendschon, P. Kwan, S. Lowe (A&M) to facilitate
                                            population of data fields for records of processing activities
Flynn, Matthew         10/26/2023     0.3   Call with R. Grosvenor, M. Negus, M. Flynn (A&M) to update on
                                            status of privacy compliance workstream
Flynn, Matthew         10/26/2023     0.8   Review data appointed representative contract for S&C


Grosvenor, Robert      10/26/2023     0.3   Call with R. Grosvenor, M. Negus, M. Flynn (A&M) to update on
                                            status of privacy compliance workstream
Grosvenor, Robert      10/26/2023     0.5   Call with R. Grosvenor, R. Johnson, M. Negus (A&M) to facilitate
                                            population of data fields for records of processing activities
Johal, Jas             10/26/2023     1.0   Review EU Representative Agreement in regards to privacy
                                            compliance language
Johnson, Robert        10/26/2023     0.5   Call with R. Grosvenor, R. Johnson, M. Negus (A&M) to facilitate
                                            population of data fields for records of processing activities
Kwan, Peter            10/26/2023     0.5   Call with K. Dusendschon, P. Kwan, S. Lowe (A&M) to facilitate
                                            population of data fields for records of processing activities
Lowe, Sam              10/26/2023     0.5   Call with K. Dusendschon, P. Kwan, S. Lowe (A&M) to facilitate
                                            population of data fields for records of processing activities
Negus, Matthew         10/26/2023     0.3   Call with R. Grosvenor, M. Negus, M. Flynn (A&M) to update on
                                            status of privacy compliance workstream
Negus, Matthew         10/26/2023     0.3   Update regarding matters relating to appointed representative

Negus, Matthew         10/26/2023     0.5   Call with R. Grosvenor, R. Johnson, M. Negus (A&M) to facilitate
                                            population of data fields for records of processing activities
Flynn, Matthew         10/27/2023     0.4   Correspond with S&C on data representative agreement




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Government and Regulatory Data Requests
Professional               Date    Hours    Activity
Negus, Matthew        10/27/2023     0.7   Preparation and submission of second tranche of privacy
                                           compliance document
Negus, Matthew        10/27/2023     0.3   Review of S&C edits to enquiry and complaints handling procedure


Negus, Matthew        10/27/2023     0.8   Review and updates to privacy compliance status update

Negus, Matthew        10/27/2023     0.2   Further edits to privacy impact assessment procedure

Negus, Matthew        10/27/2023     0.3   Update FTX privacy notice following S&C comments


Okkeh, Layan          10/27/2023     0.2   Update FTX weekly status report to be shared with S&C

Flynn, Matthew        10/30/2023     0.3   Call with K. Ramanathan, M. Negus, M. Flynn (A&M) to update on
                                           status of privacy compliance workstream
Flynn, Matthew        10/30/2023     1.2   Review second tranche of data privacy documentation for
                                           management
Flynn, Matthew        10/30/2023     0.3   Review overall FTX EU workstream status and provide feedback


Grosvenor, Robert     10/30/2023     0.3   Call with R. Grosvenor, H. Chambers, M. Negus (A&M) to discuss
                                           data preservation matter
Grosvenor, Robert     10/30/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream
Konig, Louis          10/30/2023     2.1   Quality control and code review related to targeted user analysis
                                           request
Konig, Louis          10/30/2023     1.8   Quality control and code review related to exchange pricing data
                                           request
Lowe, Sam             10/30/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream Regulation
Negus, Matthew        10/30/2023     0.3   Call with K. Ramanathan, M. Negus, M. Flynn (A&M) to update on
                                           status of privacy compliance workstream
Negus, Matthew        10/30/2023     0.3   Call with R. Grosvenor, H. Chambers, M. Negus (A&M) to discuss
                                           data preservation matter
Negus, Matthew        10/30/2023     1.3   Prepare summary slide for second tranche of privacy compliance
                                           documentation
Negus, Matthew        10/30/2023     0.7   Update first tranche of privacy compliance documents

Negus, Matthew        10/30/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream
Ramanathan, Kumanan   10/30/2023     0.3   Call with K. Ramanathan, M. Negus, M. Flynn (A&M) to update on
                                           status of privacy compliance workstream
Sarmiento, Dubhe      10/30/2023     0.3   Call with C. Jones, H. Cockle (S&C) R. Grosvenor, M. Negus, S.
                                           Lowe and D. Sarmiento (A&M) to discuss status of privacy
                                           compliance workstream


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Government and Regulatory Data Requests
Professional                Date    Hours     Activity
Flynn, Matthew         10/31/2023      0.6   Correspond with S&C on data representative agreement

Flynn, Matthew         10/31/2023      0.7   Review EU data retention policy for S&C


Lowe, Sam              10/31/2023      0.2   Provide comments on draft data privacy compliance policy

Negus, Matthew         10/31/2023      1.5   Modify first tranche of privacy compliance documents



Subtotal                             112.0

Joint Provisional Liquidators
Professional                Date    Hours     Activity
Arnett, Chris           10/2/2023      0.4   Review and comment on revised search terms for presentation to
                                             QE / JPLs
Bolduc, Jojo            10/2/2023      0.8   Identify repeat documents relating to FTX KYC and determine
                                             relevancy to JPL critical document review
Bolduc, Jojo            10/2/2023      0.6   Review Relativity documents for JPL search ID 007 to determine
                                             critical or relevant document status
Bolduc, Jojo            10/2/2023      1.1   Mark documents on search ID 007 with unclear titles as "TBD" for
                                             JPL critical document review
Braatelien, Troy        10/2/2023      1.9   Perform critical document review of JPL adversary production
                                             documents - Telegram
Braatelien, Troy        10/2/2023      0.2   Prepare agenda for update call regarding JPL case support
                                             workstream
Braatelien, Troy        10/2/2023      0.5   Call to discuss status updates for JL Bahamas discovery and JL
                                             production review with T. Braatelien and K. Zabcik (A&M)
Braatelien, Troy        10/2/2023      0.8   Call to discuss questions regarding JL Bahamas production review
                                             with A. Stolyar and T. Braatelien (A&M)
Broskay, Cole           10/2/2023      0.2   Meeting to discuss open items for the JL Bahamas discovery with R.
                                             Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Coverick, Steve         10/2/2023      1.7   Review and provide comments on revised term sheet comparison
                                             re: JPL settlement
Coverick, Steve         10/2/2023      1.6   Review and provide comments on materials for 10/3 JPL meeting


Maggard, Austin         10/2/2023      2.6   Review JPL production search ID 22 in Relativity for documents
                                             related to donations and gifts
Maggard, Austin         10/2/2023      3.1   Review JPL production search ID 22 in Relativity for documents
                                             related to bribery and kickbacks
Mosley, Ed              10/2/2023      1.3   Review of and prepare comments to draft JPL term sheet
                                             comparison for management and counsel
Mosley, Ed              10/2/2023      2.7   Review of JPL term sheet and combined debtor comments for
                                             upcoming meeting with JPL
Stolyar, Alan           10/2/2023      0.8   Call to discuss questions regarding JL Bahamas production review
                                             with A. Stolyar and T. Braatelien (A&M)


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                                FTX Trading Ltd., et al.,
                         Time Detail by Activity by Professional
                        October 1, 2023 through October 31, 2023


Joint Provisional Liquidators
Professional             Date     Hours    Activity
Stolyar, Alan         10/2/2023     1.2   Analyze bank statement reports documents with no titles in Relativity
                                          per JPL request
Stolyar, Alan         10/2/2023     2.8   Analyze invoice documents with no titles in Relativity per JPL request


Stolyar, Alan         10/2/2023     2.7   Analyze transaction report documents with no titles in Relativity per
                                          JPL request
Trent, Hudson         10/2/2023     1.3   Incorporate information regarding contested assets in JPL
                                          settlement term sheet from A&M team into overview materials
Trent, Hudson         10/2/2023     1.1   Update JPL settlement term sheet comparison for input from J. Ray
                                          (FTX) and A. Dietderich (S&C)
Trent, Hudson         10/2/2023     0.7   Prepare package of materials to provide to the JPLs for purposes of
                                          ongoing negotiations
Trent, Hudson         10/2/2023     2.2   Prepare executive summary and claims overview for JPL settlement
                                          term sheet materials
Zabcik, Kathryn       10/2/2023     2.8   Review new JPL Production workbooks identifying duplicates, junk
                                          mail and unusable file types
Zabcik, Kathryn       10/2/2023     2.6   Review JPL Production search results for search #19 for the 2019 to
                                          2021 period
Zabcik, Kathryn       10/2/2023     2.9   Review JPL Production search results for search #19 for the 2022
                                          period
Zabcik, Kathryn       10/2/2023     0.5   Call to discuss status updates for JL Bahamas discovery and JL
                                          production review with T. Braatelien and K. Zabcik (A&M)
Arnett, Chris         10/3/2023     0.6   Review and comment on proposed topics for subject matter expert
                                          binder in the event of litigation
Arnett, Chris         10/3/2023     0.7   Analyze and comment on JPL term sheet comparison analysis

Arnett, Chris         10/3/2023     0.4   Meeting to discuss open items for the JL Bahamas discovery with M.
                                          Scheck, M. Anderson (Quinn Emanuel), R. Gordon, C. Arnett, C.
                                          Broskay and K. Zabcik (A&M)
Arnett, Chris         10/3/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery with R.
                                          Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Bolduc, Jojo          10/3/2023     0.8   Review documents relating to migration or novation as part of JPL
                                          search ID 006 to determine relevancy
Braatelien, Troy      10/3/2023     2.6   Perform critical document review of JPL adversary production
                                          documents not flagged by search terms - emails
Braatelien, Troy      10/3/2023     1.7   Perform critical document review of JPL adversary production
                                          documents - employment agreements
Braatelien, Troy      10/3/2023     0.3   Update critical documents tracker regarding latest identified
                                          documents from JPL production
Braatelien, Troy      10/3/2023     1.6   Perform critical document review of JPL adversary production
                                          documents - regulatory documents
Braatelien, Troy      10/3/2023     0.8   Run comparisons of JPL search term results against JPL production
                                          to determine missing population
Braatelien, Troy      10/3/2023     0.4   Perform critical document review of JPL adversary production
                                          documents - organizational documents


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                                  FTX Trading Ltd., et al.,
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Joint Provisional Liquidators
Professional               Date     Hours    Activity
Braatelien, Troy        10/3/2023     0.2   Call with M. Wittmann (Quinn Emanuel) and T. Braatelien (A&M)
                                            regarding financial details availability for solvency expert review
Braatelien, Troy        10/3/2023     1.0   Complete review of JPL production Relativity files resulting from
                                            search for documents related to intellectual property rights
Broskay, Cole           10/3/2023     0.3   Teleconference with R. Gordon, C. Broskay(A&M) over historical
                                            binder
Broskay, Cole           10/3/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery with R.
                                            Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Broskay, Cole           10/3/2023     0.4   Meeting to discuss open items for the JL Bahamas discovery with M.
                                            Scheck, M. Anderson (Quinn Emanuel), R. Gordon, C. Arnett, C.
                                            Broskay and K. Zabcik (A&M)
Burns, Zach             10/3/2023     1.6   Review critical documents relating to Silvergate bank account
                                            statements in JPL produced document repository
Burns, Zach             10/3/2023     1.8   Review critical documents relating to KYC documentation in JPL
                                            produced document repository
Burns, Zach             10/3/2023     1.9   Review critical documents in JPL produced document repository
                                            under search 009 for Customer Banks bank statements in account
                                            4548
Burns, Zach             10/3/2023     2.4   Review critical documents in JPL produced document repository
                                            under search 009 for Customer Banks bank statements in account
                                            1456
Burns, Zach             10/3/2023     1.1   Review critical documents relating to anti-money laundering
                                            regulatory documentation in JPL produced document repository
Coverick, Steve         10/3/2023     1.7   Review and provide comments analysis of potential JPL settlement
                                            recovery impacts
Coverick, Steve         10/3/2023     1.1   Participate in discussion with S&C (A.Dietderich, J.Bromley,
                                            B.Glueckstein, A.Kranzley, others), J.Ray (FTX), and A&M
                                            (E.Mosley, S.Coverick) re: potential JPL settlement
Coverick, Steve         10/3/2023     1.5   Participate in JPL plan diligence session with S&C (B.Glueckstein,
                                            A.Kranzley, others), P.Greaves (PWC), White & Case (C.Shore,
                                            B.Pfifer, others), B.Simms (JPL), and A&M (E.Mosley, S.Coverick)
Coverick, Steve         10/3/2023     2.2   Participate in afternoon negotiation with JPL regarding plan structure
                                            with J.Ray (FTX), S&C (A.Dietderich, J.Bromley, B.Glueckstein,
                                            A.Kranzley), P.Greaves (PWC), White & Case (C.Shore, B.Pfifer,
                                            others), B.Simms (JPL), and A&M (E.Mosley, S.Coverick)
Coverick, Steve         10/3/2023     2.2   Participate in morning negotiation with JPL regarding plan structure
                                            with J.Ray (FTX), S&C (A.Dietderich, J.Bromley, B.Glueckstein,
                                            A.Kranzley), P.Greaves (PWC), White & Case (C.Shore, B.Pfifer,
                                            others), B.Simms (JPL), and A&M (E.Mosley, S.Coverick)
Gordon, Robert          10/3/2023     0.3   Teleconference with R. Gordon, C. Broskay(A&M) over historical
                                            binder
Gordon, Robert          10/3/2023     1.1   Develop initial view on fact analysis for litigation support

Gordon, Robert          10/3/2023     0.8   Review proposed JPL term sheet for comments

Gordon, Robert          10/3/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery with R.
                                            Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)



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                                 FTX Trading Ltd., et al.,
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Joint Provisional Liquidators
Professional              Date     Hours    Activity
Gordon, Robert         10/3/2023     0.4   Meeting to discuss open items for the JL Bahamas discovery with M.
                                           Scheck, M. Anderson (Quinn Emanuel), R. Gordon, C. Arnett, C.
                                           Broskay and K. Zabcik (A&M)
Hainline, Drew         10/3/2023     0.6   Facilitate review of documents to resolve open questions for JPL
                                           discovery
Kearney, Kevin         10/3/2023     1.8   Review updates to FDM related party analysis based on newly
                                           identified bank accounts
Maggard, Austin        10/3/2023     2.9   Review JPL production search ID 22 in Relativity for relevancy within
                                           illegible and image files
Maggard, Austin        10/3/2023     2.9   Review SBF text messages for relevancy from the JPL production
                                           Relativity files
Maggard, Austin        10/3/2023     2.2   Review JPL production search ID 22 in Relativity for relevant emails

Mirando, Michael       10/3/2023     2.8   Review files from Clement Maynard to support completeness of
                                           property list and ownership rights
Mirando, Michael       10/3/2023     1.4   Research documents in Relativity related to FTX FBF ownership


Mosley, Ed             10/3/2023     2.2   Participate in afternoon negotiation with JPL regarding plan structure
                                           with J.Ray (FTX), S&C (A.Dietderich, J.Bromley, B.Glueckstein,
                                           A.Kranzley), P.Greaves (PWC), White & Case (C.Shore, B.Pfifer,
                                           others), B.Simms (JPL), and A&M (E.Mosley, S.Coverick)
Mosley, Ed             10/3/2023     1.1   Participate in discussion with S&C (A.Dietderich, J.Bromley,
                                           B.Glueckstein, A.Kranzley, others), J.Ray (FTX), and A&M
                                           (E.Mosley, S.Coverick) re: potential JPL settlement
Mosley, Ed             10/3/2023     2.2   Participate in morning negotiation with JPL regarding plan structure
                                           with J.Ray (FTX), S&C (A.Dietderich, J.Bromley, B.Glueckstein,
                                           A.Kranzley), P.Greaves (PWC), White & Case (C.Shore, B.Pfifer,
                                           others), B.Simms (JPL), and A&M (E.Mosley, S.Coverick)
Mosley, Ed             10/3/2023     1.5   Participate in JPL plan diligence session with S&C (B.Glueckstein,
                                           A.Kranzley, others), P.Greaves (PWC), White & Case (C.Shore,
                                           B.Pfifer, others), B.Simms (JPL), and A&M (E.Mosley, S.Coverick)
Ramanathan, Kumanan    10/3/2023     0.6   Review of crypto asset holdings for JPL presentation


Stolyar, Alan          10/3/2023     2.5   Analyze documents in a different language with no titles in Relativity
                                           per JPL request
Stolyar, Alan          10/3/2023     2.7   Analyze end user license agreements documents with no titles in
                                           Relativity per JPL request
Stolyar, Alan          10/3/2023     2.8   Analyze tax documents with no titles in Relativity per JPL request

Trent, Hudson          10/3/2023     2.3   Prepare JPL settlement financial analysis based on latest term sheet

Trent, Hudson          10/3/2023     1.4   Reconcile digital asset balances referenced in JPL term sheet


Zabcik, Kathryn        10/3/2023     2.4   Reconstruct the JPL production search file to allow for individual file
                                           review rather than search term review
Zabcik, Kathryn        10/3/2023     2.1   Review JPL production results for additional junk mail to be excluded
                                           from the production review


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Joint Provisional Liquidators
Professional               Date     Hours    Activity
Zabcik, Kathryn         10/3/2023     1.3   Review JPL production results for files hitting multiple search terms

Zabcik, Kathryn         10/3/2023     1.8   Create first draft of JPL production review dashboard


Zabcik, Kathryn         10/3/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery with R.
                                            Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Zabcik, Kathryn         10/3/2023     0.4   Meeting to discuss open items for the JL Bahamas discovery with M.
                                            Scheck, M. Anderson (Quinn Emanuel), R. Gordon, C. Arnett, C.
                                            Broskay and K. Zabcik (A&M)
Arnett, Chris           10/4/2023     0.2   Coordinate call to discuss review of post petition document gathered
                                            for discovery purposes
Arnett, Chris           10/4/2023     0.4   Meeting to discuss open items for the JL Bahamas discovery
                                            including the JPL production dashboard with R. Gordon, C. Arnett,
                                            C. Broskay, D. Hainline and K. Zabcik (A&M)
Arnett, Chris           10/4/2023     0.2   Call to review the status of JPL production review dashboard with
                                            R.Gordon, C. Arnett, C. Broskay, D. Hainline, and K. Zabcik (A&M)
Bolduc, Jojo            10/4/2023     0.8   Meeting to go over critical review process for new JPL produced
                                            documents with A. Stolyar, J. Bolduc, and Z. Burns (A&M)
Braatelien, Troy        10/4/2023     0.6   Meeting to discuss changes to the new JPL search tracker with A.
                                            Maggard, T. Braatelien, and K. Zabcik (A&M)
Braatelien, Troy        10/4/2023     0.4   Review updated JPL production tracker to confirm resolution of
                                            errors related to review status
Braatelien, Troy        10/4/2023     0.2   Review contractual FTX agreements highlighted by team as being
                                            potentially relevant/critical
Braatelien, Troy        10/4/2023     0.6   Update new JPL production tracker to resolve issues with previous
                                            review tags
Braatelien, Troy        10/4/2023     0.4   Begin review of tranche #4 of JPL production emails for JPL case
                                            critical documents
Braatelien, Troy        10/4/2023     3.2   Review tranche #3 of JPL production emails for JPL case critical
                                            documents
Braatelien, Troy        10/4/2023     0.9   Meeting to go over new JPL produced documents critical search
                                            process with K. Zabcik, T. Braatelien, and A. Maggard (A&M)
Broskay, Cole           10/4/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                            including the JPL production dashboard with R. Gordon, C. Arnett,
                                            C. Broskay, D. Hainline and K. Zabcik (A&M)
Broskay, Cole           10/4/2023     0.2   Call to review the status of JPL production review dashboard with R.
                                            Gordon, C. Arnett, C. Broskay, D. Hainline, and K. Zabcik (A&M)
Burns, Zach             10/4/2023     1.4   Analyze JPL produced document repository for emails relating to
                                            employment agreements in Relativity
Burns, Zach             10/4/2023     1.2   Analyze JPL produced document repository for emails relating to
                                            FTX customer deposit receipts in Relativity
Burns, Zach             10/4/2023     0.8   Analyze JPL produced document repository for emails relating to
                                            non-disclosure agreements in Relativity
Burns, Zach             10/4/2023     1.7   Analyze JPL produced document repository for emails relating to
                                            entities in the Alameda silo in Relativity



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Joint Provisional Liquidators
Professional               Date     Hours    Activity
Burns, Zach             10/4/2023     1.2   Analyze JPL produced document repository for emails relating to
                                            token investments in Relativity
Burns, Zach             10/4/2023     2.8   Analyze JPL produced document repository for emails not related to
                                            FTX in Relativity
Burns, Zach             10/4/2023     0.9   Meeting to go over critical review process for new JPL produced
                                            documents with A. Stolyar, J. Bolduc, and Z. Burns (A&M)
Coverick, Steve         10/4/2023     0.6   Call with R. Gordon (A&M) to discuss JPL information sharing
                                            session
Coverick, Steve         10/4/2023     0.3   Call with C. Arnett (A&M) to discuss JPL litigation status


Gordon, Robert          10/4/2023     0.9   Review dashboard materials over JPL discovery results

Gordon, Robert          10/4/2023     0.2   Call to review the status of JPL production review dashboard with
                                            R.Gordon, C. Arnett, C. Broskay, D. Hainline, and K. Zabcik (A&M)
Gordon, Robert          10/4/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                            including the JPL production dashboard with R. Gordon, C. Arnett,
                                            C. Broskay, D. Hainline and K. Zabcik (A&M)
Gordon, Robert          10/4/2023     0.2   Call to review the status of JPL production review dashboard with R.
                                            Gordon, C. Arnett, C. Broskay, D. Hainline, and K. Zabcik (A&M)
Hainline, Drew          10/4/2023     0.2   Call to review the status of JPL production review dashboard with R.
                                            Gordon, C. Arnett, C. Broskay, D. Hainline, and K. Zabcik (A&M)
Hainline, Drew          10/4/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                            including the JPL production dashboard with R. Gordon, C. Arnett,
                                            C. Broskay, D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/4/2023     1.6   Update JPL production tracker to merge with the old tracker and
                                            eliminate duplicate and reviewed files
Maggard, Austin         10/4/2023     0.6   Meeting to discuss changes to the new JPL search tracker with A.
                                            Maggard, T. Braatelien, and K. Zabcik (A&M)
Maggard, Austin         10/4/2023     3.1   Review Relativity emails in batch one of 20k files for relevancy
                                            related to the JPL production
Maggard, Austin         10/4/2023     0.6   Produce new search term results by adding FDM as a criteria to the
                                            JPL production files
Maggard, Austin         10/4/2023     0.7   Review and refine JPL production files tagged as critical to narrow
                                            down
Maggard, Austin         10/4/2023     0.9   Meeting to go over new JPL produced documents critical search
                                            process with K. Zabcik, T. Braatelien, and A. Maggard (A&M)
Mirando, Michael        10/4/2023     0.4   Call to discuss declaration binders for JL Bahamas with K. Zabcik,
                                            M. Mirando (A&M)
Mirando, Michael        10/4/2023     0.9   Gather documents related to expert witness testimony in FTX Digital
                                            Markets lawsuit
Mirando, Michael        10/4/2023     1.2   Review declaration binders related to FTX Digital Markets lawsuit


Stolyar, Alan           10/4/2023     2.9   Analyze wire transfers with no titles in Relativity per JPL request

Stolyar, Alan           10/4/2023     0.9   Analyze slack messages with no titles in Relativity per JPL request



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Joint Provisional Liquidators
Professional             Date     Hours    Activity
Stolyar, Alan         10/4/2023     2.7   Analyze pictures with no titles in Relativity per JPL request

Stolyar, Alan         10/4/2023     2.6   Analyze PDFs with no titles in Relativity per JPL request


Stolyar, Alan         10/4/2023     0.9   Meeting to go over critical review process for new JPL produced
                                          documents with A. Stolyar, J. Bolduc, and Z. Burns (A&M)
Zabcik, Kathryn       10/4/2023     0.6   Meeting to discuss changes to the new JPL search tracker with A.
                                          Maggard, T. Braatelien, and K. Zabcik (A&M)
Zabcik, Kathryn       10/4/2023     1.3   Pull in search terms hits to the document review tracker for the JPL
                                          production review
Zabcik, Kathryn       10/4/2023     0.4   Call to discuss declaration binders for JL Bahamas with K. Zabcik,
                                          M. Mirando (A&M)
Zabcik, Kathryn       10/4/2023     2.6   Review for additional 2021 and 2020 junk mail in the JPL production
                                          for discovery
Zabcik, Kathryn       10/4/2023     2.8   Build out and update the new status trackers for JPL production
                                          review
Zabcik, Kathryn       10/4/2023     0.6   Create status slide for Quinn Emanuel JPL Production status review


Zabcik, Kathryn       10/4/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                          including the JPL production dashboard with R. Gordon, C. Arnett,
                                          C. Broskay, D. Hainline and K. Zabcik (A&M)
Zabcik, Kathryn       10/4/2023     0.9   Meeting to go over new JPL produced documents critical search
                                          process with K. Zabcik, T. Braatelien, and A. Maggard (A&M)
Zabcik, Kathryn       10/4/2023     0.2   Call to review the status of JPL production review dashboard with R.
                                          Gordon, C. Arnett, C. Broskay, D. Hainline, and K. Zabcik (A&M)
Arnett, Chris         10/5/2023     1.3   Review and comment on critical documents gathered for discovery
                                          purposes
Arnett, Chris         10/5/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                          including mediation updates with M. Scheck, M. Anderson (Quinn
                                          Emanuel), R. Gordon, C. Arnett, C. Broskay and K. Zabcik (A&M)
Arnett, Chris         10/5/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                          including the Quinn Emanuel JPL production status slide with R.
                                          Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Braatelien, Troy      10/5/2023     1.6   Review tranche #4 of JPL production emails for JPL case critical
                                          documents
Braatelien, Troy      10/5/2023     1.0   Review tranche #5 of JPL production emails for JPL case critical
                                          documents
Braatelien, Troy      10/5/2023     0.7   Review JPL production files to identify additional unusable file types
                                          for scope-out
Braatelien, Troy      10/5/2023     2.9   Review tranche #2 of JPL production non-email files for JPL case
                                          critical documents
Braatelien, Troy      10/5/2023     3.1   Review tranche #1 of JPL production non-email files for JPL case
                                          critical documents
Braatelien, Troy      10/5/2023     0.4   Meeting to go over progress of critical review for JPL produced
                                          documents with K. Zabcik, T. Braatelien, A. Maggard, A. Stolyar,
                                          and Z. Burns (A&M)


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Joint Provisional Liquidators
Professional               Date     Hours    Activity
Broskay, Cole           10/5/2023     0.6   Call regarding case key facts presentation with R. Gordon and C.
                                            Broskay (A&M)
Broskay, Cole           10/5/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                            including the Quinn Emanuel JPL production status slide with R.
                                            Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Broskay, Cole           10/5/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                            including mediation updates with M. Scheck, M. Anderson (Quinn
                                            Emanuel), R. Gordon, C. Arnett, C. Broskay and K. Zabcik (A&M)
Burns, Zach             10/5/2023     0.9   Review Alameda lender interest invoices to Alameda Research in
                                            JPL produced documents repository in Relativity
Burns, Zach             10/5/2023     0.8   Review authorized signatory list for critical names in JPL produced
                                            documents repository in Relativity
Burns, Zach             10/5/2023     2.1   Review lender collateral call notes for critical information relating to
                                            loans in JPL produced documents repository in Relativity
Burns, Zach             10/5/2023     0.4   Meeting to go over progress of critical review for JPL produced
                                            documents with K. Zabcik, T. Braatelien, A. Maggard, A. Stolyar,
                                            and Z. Burns (A&M)
Burns, Zach             10/5/2023     0.8   Review unnamed attachments from 2022 in the JPL produced
                                            document repository in Relativity
Burns, Zach             10/5/2023     1.7   Review unnamed attachments from 2021 in the JPL produced
                                            document repository in Relativity for critical information relating to
                                            monetary transfers
Burns, Zach             10/5/2023     2.2   Review unnamed attachments from 2020 in the JPL produced
                                            document repository in Relativity for critical information relating to
                                            monetary transfers
Coverick, Steve         10/5/2023     0.5   Call with P. Greaves (JPL), E. Mosley, S. Coverick, R. Gordon
                                            (A&M) re: commingling of assets
Coverick, Steve         10/5/2023     2.1   Discussion with H. Trent, S. Coverick (A&M) on JPL settlement
                                            analysis
Gordon, Robert          10/5/2023     0.5   Discussion with JPLs(P. Greaves, J. Gunter) and R. Gordon, S.
                                            Coverick, E. Mosley(A&M) over asset tracing
Gordon, Robert          10/5/2023     0.6   Call regarding case key facts presentation with R. Gordon and C.
                                            Broskay (A&M)
Gordon, Robert          10/5/2023     0.9   Prepare for discussion with JPLs by reviewing asset tracing analysis

Gordon, Robert          10/5/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                            including the Quinn Emanuel JPL production status slide with R.
                                            Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Gordon, Robert          10/5/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                            including mediation updates with M. Scheck, M. Anderson (Quinn
                                            Emanuel), R. Gordon, C. Arnett, C. Broskay and K. Zabcik (A&M)
Hainline, Drew          10/5/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                            including the Quinn Emanuel JPL production status slide with R.
                                            Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/5/2023     2.8   Review Relativity non-emails in batch one of 20k files for relevancy
                                            related to the JPL production




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                         October 1, 2023 through October 31, 2023


Joint Provisional Liquidators
Professional              Date     Hours    Activity
Maggard, Austin        10/5/2023     1.8   Review files tagged as potentially critical in the JPL production
                                           tracker to further refine
Maggard, Austin        10/5/2023     1.7   Review second batch of results from the JPL production tracker for
                                           critical items
Maggard, Austin        10/5/2023     0.2   Re-sort and reassign priorities from the JPL production tracker to the
                                           team
Maggard, Austin        10/5/2023     0.4   Meeting to go over progress of critical review for JPL produced
                                           documents with K. Zabcik, T. Braatelien, A. Maggard, A. Stolyar,
                                           and Z. Burns (A&M)
Mirando, Michael       10/5/2023     0.3   Document the process used to search relativity for documents
                                           related to the JPL requests
Mirando, Michael       10/5/2023     2.9   Gather documents related to expert witness testimony in FTX Digital
                                           Markets lawsuit
Mirando, Michael       10/5/2023     2.1   Format table of contents and page references for declaration binder

Mirando, Michael       10/5/2023     2.9   Compile documents into table of contents for declaration binder


Mirando, Michael       10/5/2023     2.9   Review documents for inclusion in declaration binder

Mosley, Ed             10/5/2023     0.5   Discuss comingling diligence with PWC (P.Greaves, J. Gunter) and
                                           A&M (S.Coverick, R.Gordon, E.Mosley)
Mosley, Ed             10/5/2023     0.3   Discussion with S.Rand (Quinn) regarding JPL expert testimony

Mosley, Ed             10/5/2023     0.4   Discussion with S.Coverick (A&M) regarding JPL diligence


Stolyar, Alan          10/5/2023     2.9   Analyze credit card movements with no titles in Relativity per JPL
                                           request
Stolyar, Alan          10/5/2023     2.5   Analyze screenshots with no titles in Relativity per JPL request

Stolyar, Alan          10/5/2023     1.4   Analyze protocols with no titles in Relativity per JPL request


Stolyar, Alan          10/5/2023     2.8   Analyze dialog with no titles in Relativity per JPL request

Stolyar, Alan          10/5/2023     0.4   Meeting to go over progress of critical review for JPL produced
                                           documents with K. Zabcik, T. Braatelien, A. Maggard, A. Stolyar,
                                           and Z. Burns (A&M)
Trent, Hudson          10/5/2023     2.1   Discussion with H. Trent, S. Coverick (A&M) on JPL settlement
                                           analysis
Zabcik, Kathryn        10/5/2023     1.3   Compile initial files that will be needed for the table of contents for
                                           the potential summary witness binder
Zabcik, Kathryn        10/5/2023     2.9   Review JPL relevant documents to verify that there are no critical
                                           documents marked as relevant
Zabcik, Kathryn        10/5/2023     0.4   Review table of contents for potential summary witness binder




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Joint Provisional Liquidators
Professional               Date     Hours    Activity
Zabcik, Kathryn         10/5/2023     0.4   Meeting to go over progress of critical review for JPL produced
                                            documents with K. Zabcik, T. Braatelien, A. Maggard, A. Stolyar,
                                            and Z. Burns (A&M)
Zabcik, Kathryn         10/5/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                            including mediation updates with M. Scheck, M. Anderson (Quinn
                                            Emanuel), R. Gordon, C. Arnett, C. Broskay and K. Zabcik (A&M)
Zabcik, Kathryn         10/5/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                            including the Quinn Emanuel JPL production status slide with R.
                                            Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Zabcik, Kathryn         10/5/2023     2.7   Finalize the Quinn Emanuel production discovery slide by
                                            reformatting tables and consolidating data going into slide graphics
Arnett, Chris           10/6/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                            including A&M post petition discovery with R. Gordon, C. Arnett, C.
                                            Broskay, D. Hainline and K. Zabcik (A&M)
Braatelien, Troy        10/6/2023     1.9   Perform critical document review of JPL adversary production
                                            documents - additional Telegram files
Braatelien, Troy        10/6/2023     2.1   Perform critical document review of JPL adversary production
                                            documents - all file types
Braatelien, Troy        10/6/2023     2.8   Review tranche #3 of JPL production non-email files for JPL case
                                            critical documents
Braatelien, Troy        10/6/2023     0.2   Update live JPL production review tracker for previous days' progress


Broskay, Cole           10/6/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                            including A&M post petition discovery with R. Gordon, C. Arnett, C.
                                            Broskay, D. Hainline and K. Zabcik (A&M)
Burns, Zach             10/6/2023     1.7   Analyze non-disclosure agreements in Relativity for employees in
                                            Alameda silo in JPL produced document repository
Burns, Zach             10/6/2023     1.9   Analyze emails covering political donations in 2021 in the JPL
                                            produced document repository in Relativity
Burns, Zach             10/6/2023     1.6   Review audit email meeting notes in the JPL produced document
                                            repository in Relativity
Burns, Zach             10/6/2023     1.1   Review employment agreements in Relativity from the JPL produced
                                            document repository
Burns, Zach             10/6/2023     1.2   Analyze additional 2021 BCB Bank statements in 2021 for previously
                                            missing information in Debtor records from JPL produced
                                            documents repository in Relativity
Burns, Zach             10/6/2023     0.9   Analyze additional Equity Bank statements in 2021 for previously
                                            missing information in Debtor records from JPL produced
                                            documents repository in Relativity
Gordon, Robert          10/6/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                            including A&M post petition discovery with R. Gordon, C. Arnett, C.
                                            Broskay, D. Hainline and K. Zabcik (A&M)
Hainline, Drew          10/6/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                            including A&M post petition discovery with R. Gordon, C. Arnett, C.
                                            Broskay, D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/6/2023     2.6   Review second batch of results dated June 2021 and onward from
                                            the JPL production tracker for relevancy



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                                FTX Trading Ltd., et al.,
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Joint Provisional Liquidators
Professional             Date     Hours    Activity
Maggard, Austin       10/6/2023     1.9   Review second batch of results dated May 2021 and earlier from the
                                          JPL production tracker for relevancy
Maggard, Austin       10/6/2023     1.9   Review second batch of results from the JPL production tracker for
                                          spam and junk items
Mirando, Michael      10/6/2023     1.2   Document the process used to search relativity for documents
                                          related to the JPL requests
Mirando, Michael      10/6/2023     1.1   Review documents from the January declaration binder

Mirando, Michael      10/6/2023     1.9   Review documents from the May declaration binder


Mirando, Michael      10/6/2023     2.4   Search Box for documents related to the declaration binder

Mirando, Michael      10/6/2023     1.3   Compile documents from Box into the declaration binder


Stolyar, Alan         10/6/2023     2.6   Analyze bank transfers with no titles in Relativity per JPL request

Stolyar, Alan         10/6/2023     2.3   Analyze survey results with no titles in Relativity per JPL request


Stolyar, Alan         10/6/2023     2.1   Analyze process flow diagrams with no titles in Relativity per JPL
                                          request
Trent, Hudson         10/6/2023     1.5   Prepare preliminary summary of JPL settlement financial analysis

Zabcik, Kathryn       10/6/2023     1.9   Review potential critical documents 42 - 65 for JPL production to
                                          narrow down to critical documents
Zabcik, Kathryn       10/6/2023     1.2   Review potential critical documents 26 - 42 for JPL production to
                                          narrow down to critical documents
Zabcik, Kathryn       10/6/2023     2.8   Review potential critical documents 1 - 25 for JPL production to
                                          narrow down to critical documents
Zabcik, Kathryn       10/6/2023     0.2   Compile current critical documents list resulting from JPL production
                                          and send to Quinn Emanuel
Zabcik, Kathryn       10/6/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                          including A&M post petition discovery with R. Gordon, C. Arnett, C.
                                          Broskay, D. Hainline and K. Zabcik (A&M)
Coverick, Steve       10/7/2023     1.9   Discussion with H. Trent, S. Coverick (A&M) to analyze potential
                                          impacts of various JPL settlement structures
Trent, Hudson         10/7/2023     1.9   Discussion with H. Trent, S. Coverick (A&M) to analyze potential
                                          impacts of various JPL settlement structures
Coverick, Steve       10/8/2023     3.1   Call with H. Trent, S. Coverick (A&M) re: JPL settlement breakeven
                                          analysis
Coverick, Steve       10/8/2023     2.4   Review and provide comments on JPL breakeven analysis

Trent, Hudson         10/8/2023     2.1   Prepare detailed schematic outlining claims review structure under
                                          JPL term sheet
Trent, Hudson         10/8/2023     1.9   Incorporate JPL term sheet financial analysis into Plan recovery
                                          analysis model


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Joint Provisional Liquidators
Professional               Date     Hours    Activity
Trent, Hudson           10/8/2023     2.6   Prepare comprehensive JPL settlement materials for creditor
                                            meeting discussions
Trent, Hudson           10/8/2023     3.1   Call with H. Trent, S. Coverick (A&M) re: JPL settlement breakeven
                                            analysis
Trent, Hudson           10/8/2023     2.2   Prepare dynamic financial analysis based on JPL term sheet

Arnett, Chris           10/9/2023     0.4   Direct team on compiling listing for review for 3rd party client material

Arnett, Chris           10/9/2023     0.5   Meeting to discuss open items for the JL Bahamas discovery with R.
                                            Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Bolduc, Jojo            10/9/2023     1.3   Review screenshot email attachments in Relativity to determine
                                            relevancy status for JPL discovery
Braatelien, Troy        10/9/2023     1.7   Perform critical document review of JPL production documents
                                            tranche #2 of set beginning at result 160
Braatelien, Troy        10/9/2023     3.1   Perform critical document review of JPL production documents
                                            tranche #1 of set beginning at result 160
Braatelien, Troy        10/9/2023     1.3   Perform critical document review of JPL production documents
                                            tranche #3 of set beginning at result 160
Braatelien, Troy        10/9/2023     0.4   Update JPL search tracker for unidentified photos as part of tranche
                                            #8
Braatelien, Troy        10/9/2023     1.7   Finalize bucketing of AM post-petition discovery documents

Broskay, Cole           10/9/2023     0.5   Meeting to discuss open items for the JL Bahamas discovery with R.
                                            Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Broskay, Cole           10/9/2023     0.4   Meeting to discuss open items for the JL Bahamas discovery and
                                            A&M post-petition discovery with R. Gordon, C. Arnett, C. Broskay,
                                            D. Hainline and K. Zabcik (A&M)
Burns, Zach             10/9/2023     0.7   Analyze non-disclosure agreements for FTX employees in Relativity
                                            in the JPL produced documents repository
Burns, Zach             10/9/2023     1.9   Analyze FTX Trading management reports produced in 2022 in
                                            Relativity from the JPL produced documents repository
Burns, Zach             10/9/2023     0.9   Analyze formation documents of FTX related entities in the JPL
                                            produced documents repository in Relativity
Burns, Zach             10/9/2023     0.6   Analyze First Republic bank statements relating to FTX entities in
                                            JPL produced document repository in Relativity
Burns, Zach             10/9/2023     1.6   Analyze the Alameda and Celsius term sheets in the JPL produced
                                            documents repository in Relativity
Burns, Zach             10/9/2023     0.7   Review bank statements for the Cottonwood Grove entity in
                                            Relativity from the JPL produced documents repository
Burns, Zach             10/9/2023     1.2   Analyze European SEPA documentation for European entities in
                                            JPL produced document repository in Relativity
Burns, Zach             10/9/2023     1.4   Analyze FTX risk management plans in JPL produced document
                                            repository in Relativity
Burns, Zach             10/9/2023     0.4   Review FTX KYC emails in JPL produced document repository in
                                            Relativity


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Joint Provisional Liquidators
Professional               Date     Hours    Activity
Burns, Zach             10/9/2023     0.8   Analyze donation documents relating to the Crypto Political Action
                                            Committee from the JPL produced documents repository
Coverick, Steve         10/9/2023     2.6   Review and provide comments on revised JPL settlement analysis
                                            for meeting with CEO
Coverick, Steve         10/9/2023     1.4   Call with E. Mosley, S. Coverick, H. Trent (A&M) re: JPL settlement
                                            analysis.
Gordon, Robert          10/9/2023     0.4   Meeting to discuss open items for the JL Bahamas discovery and
                                            A&M post-petition discovery with R. Gordon, C. Arnett, C. Broskay,
                                            D. Hainline and K. Zabcik (A&M)
Gordon, Robert          10/9/2023     0.5   Meeting to discuss open items for the JL Bahamas discovery with R.
                                            Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Hainline, Drew          10/9/2023     0.5   Meeting to discuss open items for the JL Bahamas discovery with R.
                                            Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/9/2023     1.1   Tag Relativity files in the Custodial Review tracker for 9.27.23
                                            search terms as FTX or FDM related
Maggard, Austin         10/9/2023     3.1   Review batch 3 of image.png files in Relativity related to the JPL
                                            production tracker
Maggard, Austin         10/9/2023     1.1   Review batch 2 of illegible file names in Relativity related to the JPL
                                            production tracker
Maggard, Austin         10/9/2023     2.7   Review batch 3 of customer documentation (deposits, withdrawals,
                                            compliance) files in Relativity related to the JPL production tracker
Mirando, Michael        10/9/2023     1.6   Compare Org Chart to the consolidated entity listing to check for
                                            completeness and accuracy of the Org Chart
Mirando, Michael        10/9/2023     1.9   Compile Box search results in the declaration binder


Mirando, Michael        10/9/2023     0.9   Revise process narrative for JPL discovery search

Mirando, Michael        10/9/2023     2.6   Search Box for documents related to the declaration binder

Mosley, Ed              10/9/2023     1.4   Discussion with A&M (S.Coverick, H.Trent) regarding JPL settlement
                                            proposal presentation
Mosley, Ed              10/9/2023     1.2   Review of and provide comments to 10/9 updated JPL settlement
                                            proposal presentation
Stolyar, Alan           10/9/2023     0.8   Analyze YouTube user agreements user agreement with no titles in
                                            Relativity per JPL request
Stolyar, Alan           10/9/2023     1.4   Analyze "jpg" and "png" documents with no titles in Relativity per
                                            JPL request
Stolyar, Alan           10/9/2023     1.3   Analyze human resource documents with no titles in Relativity per
                                            JPL request
Stolyar, Alan           10/9/2023     1.2   Analyze apple phone screenshots with no titles in Relativity per JPL
                                            request
Stolyar, Alan           10/9/2023     1.1   Analyze notification forms with no titles in Relativity per JPL request

Stolyar, Alan           10/9/2023     0.7   Analyze scanned documents with no titles in Relativity per JPL
                                            request


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Joint Provisional Liquidators
Professional               Date    Hours    Activity
Stolyar, Alan          10/9/2023     0.9   Analyze Vimeo user agreement with no titles in Relativity per JPL
                                           request
Stolyar, Alan          10/9/2023     0.6   Analyze WhatsApp Images with no titles in Relativity per JPL request


Trent, Hudson          10/9/2023     2.6   Prepare summary calculator and financial analysis regarding JPL
                                           term sheet and Plan impacts for Advisor review
Trent, Hudson          10/9/2023     1.4   Call with E. Mosley, S. Coverick, H. Trent (A&M) re: JPL settlement
                                           analysis
Trent, Hudson          10/9/2023     1.3   Update JPL settlement materials based on latest Debtor advisor
                                           feedback
Zabcik, Kathryn        10/9/2023     2.8   Review potential critical documents 66 - 85 for JPL production to
                                           narrow down to critical documents
Zabcik, Kathryn        10/9/2023     1.3   Finalize categories for A&M custodial review files classification in
                                           preparation for review
Zabcik, Kathryn        10/9/2023     0.5   Update slide deck for progress on JPL production review for Quinn
                                           Emanuel
Zabcik, Kathryn        10/9/2023     2.7   Prepare file for A&M custodial review of post-petition documents


Zabcik, Kathryn        10/9/2023     0.7   Prepare instructions for A&M custodial review of post-petition
                                           documents
Zabcik, Kathryn        10/9/2023     0.5   Meeting to discuss open items for the JL Bahamas discovery with R.
                                           Gordon, C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Arnett, Chris         10/10/2023     1.7   Review and comment on custodial production results for post
                                           petition discovery
Arnett, Chris         10/10/2023     0.6   Coordinate internal A&M responses related to post petition discovery

Arnett, Chris         10/10/2023     0.4   Review and comment on critical and relevant document production
                                           results
Arnett, Chris         10/10/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery and
                                           schedule updates with M. Scheck (Quinn Emanuel), C. Arnett, C.
                                           Broskay and K. Zabcik (A&M)
Arnett, Chris         10/10/2023     0.4   Meeting to discuss open items for the JL Bahamas discovery and
                                           A&M post-petition discovery with R. Gordon, C. Arnett, C. Broskay,
                                           D. Hainline and K. Zabcik (A&M)
Bolduc, Jojo          10/10/2023     1.2   Review FTX customer support chats and chat attachments in
                                           Relativity for JPL relevancy document review
Braatelien, Troy      10/10/2023     2.7   Perform critical document review of JPL production documents
                                           tranche #4 of set beginning at result 160
Braatelien, Troy      10/10/2023     1.6   Perform critical document review of JPL production documents
                                           tranche #7 of set beginning at result 160
Braatelien, Troy      10/10/2023     0.6   Perform critical document review of JPL production documents
                                           tranche #5 of set beginning at result 160
Braatelien, Troy      10/10/2023     1.3   Perform critical document review of JPL production documents
                                           tranche #6 of set beginning at result 160
Braatelien, Troy      10/10/2023     2.2   Draft workbook for comparison of amended terms of service
                                           versions to original terms of service

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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Braatelien, Troy        10/10/2023     0.3   Meeting to review case updates and go over status of critical
                                             document review with K. Zabcik, T. Braatelien, A. Maggard, A.
                                             Stolyar, and Z. Burns (A&M)
Broskay, Cole           10/10/2023     0.5   Meeting to discuss declaration binder for JPL claims with C. Broskay
                                             and M. Mirando (A&M)
Broskay, Cole           10/10/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery and
                                             schedule updates with M. Scheck (Quinn Emanuel), C. Arnett, C.
                                             Broskay and K. Zabcik (A&M)
Broskay, Cole           10/10/2023     0.4   Meeting to discuss open items for the JL Bahamas discovery and
                                             A&M post-petition discovery with R. Gordon, C. Arnett, C. Broskay,
                                             D. Hainline and K. Zabcik (A&M)
Burns, Zach             10/10/2023     1.3   Review seed series funding round documents for FTX in JPL
                                             produced document repository in Relativity
Burns, Zach             10/10/2023     2.4   Analyze Alameda margin balances sheet found in JPL produced
                                             document repository in Relativity
Burns, Zach             10/10/2023     0.4   Review letters of authorization in Relativity in the JPL produced
                                             document repository
Burns, Zach             10/10/2023     1.1   Analyze lists of digital assets on FTX exchange in JPL produced
                                             document repository in Relativity
Burns, Zach             10/10/2023     0.9   Analyze audit call notes in Relativity in the JPL produced document
                                             repository
Burns, Zach             10/10/2023     1.7   Review documents that outlined the process of customer risk score
                                             calculations in Relativity in the JPL produced documents repository
Burns, Zach             10/10/2023     0.6   Continue to review Alameda margin balances sheet found in JPL
                                             produced document repository in Relativity
Burns, Zach             10/10/2023     0.3   Meeting to review case updates and go over status of critical
                                             document review with K. Zabcik, T. Braatelien, A. Maggard, A.
                                             Stolyar, and Z. Burns (A&M)
Coverick, Steve         10/10/2023     1.6   Review and provide comments on revised JPL settlement analysis
                                             following comments from CEO
Faett, Jack             10/10/2023     1.6   Provide support of North Dimension transactions with AR Ltd that
                                             end up in AR Ltd exchange account for QE request
Faett, Jack             10/10/2023     0.3   Provide Alameda Research LLC fiat deposits to FTX Trading for QE
                                             request
Gordon, Robert          10/10/2023     0.2   Review updated JPL discovery requests tracker for latest status


Gordon, Robert          10/10/2023     0.6   Review proposed settlement structure covering Bahamas litigation

Hainline, Drew          10/10/2023     0.4   Meeting to discuss open items for the JL Bahamas discovery and
                                             A&M post-petition discovery with R. Gordon, C. Arnett, C. Broskay,
                                             D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/10/2023     1.6   Review batch 3 of IMG files for search results 146,609 - 149,007 in
                                             Relativity related to the JPL production tracker
Maggard, Austin         10/10/2023     0.9   Review JPL production tracker to refine the critical documents
                                             identified




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Joint Provisional Liquidators
Professional                Date    Hours    Activity
Maggard, Austin        10/10/2023     0.3   Meeting to review case updates and go over status of critical
                                            document review with K. Zabcik, T. Braatelien, A. Maggard, A.
                                            Stolyar, and Z. Burns (A&M)
Maggard, Austin        10/10/2023     2.8   Review batch 3 of IMG and image.jpg files for search results
                                            132,089 - 146,588 in Relativity related to the JPL production tracker
Maggard, Austin        10/10/2023     2.4   Review batch 3 of image.jpg, image.jpeg, and image.png files for
                                            search results 127,326 - 131,960 in Relativity related to the JPL
                                            production tracker
Mirando, Michael       10/10/2023     0.5   Meeting to discuss declaration binder for JPL claims with C. Broskay
                                            and M. Mirando (A&M)
Mirando, Michael       10/10/2023     2.6   Search dockets for information related to JPL discovery requests

Mirando, Michael       10/10/2023     2.1   Review process narrative for JPL discovery process


Mirando, Michael       10/10/2023     2.9   Revise the table of contents for the declaration binder

Mosley, Ed             10/10/2023     1.4   Review of discovery communications for relevance in connection
                                            with the JPL proceeding
Mosley, Ed             10/10/2023     0.4   Review of and prepare comments to draft slides to the JPL
                                            regarding potential settlement
Ryan, Laureen          10/10/2023     0.3   Review listing of documents to ensure unrelated client matters are
                                            not produced
Ryan, Laureen          10/10/2023     0.3   Correspond with A&M team discovery matters related to JPL
                                            litigation
Stolyar, Alan          10/10/2023     0.8   Analyze intraday price chart screenshots with no titles in Relativity
                                            per JPL request
Stolyar, Alan          10/10/2023     1.2   Analyze bank statement activity documents with no titles in Relativity
                                            per JPL request
Stolyar, Alan          10/10/2023     1.4   Analyze fund transfer agreements with no titles in Relativity per JPL
                                            request
Stolyar, Alan          10/10/2023     1.1   Analyze new payment screenshots with no titles in Relativity per JPL
                                            request
Stolyar, Alan          10/10/2023     0.9   Analyze impact point screenshots with no titles in Relativity per JPL
                                            request
Stolyar, Alan          10/10/2023     1.1   Analyze Wire Placement documents with no titles in Relativity per
                                            JPL request
Stolyar, Alan          10/10/2023     1.5   Analyze bank wire instructions with no titles in Relativity per JPL
                                            request
Stolyar, Alan          10/10/2023     0.9   Analyze third party invoices with no titles in Relativity per JPL request

Stolyar, Alan          10/10/2023     0.8   Analyze "htm" documents with no titles in Relativity per JPL request


Stolyar, Alan          10/10/2023     0.3   Meeting to review case updates and go over status of critical
                                            document review with K. Zabcik, T. Braatelien, A. Maggard, A.
                                            Stolyar, and Z. Burns (A&M)



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                                   FTX Trading Ltd., et al.,
                            Time Detail by Activity by Professional
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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Trent, Hudson           10/10/2023     1.3   Update JPL settlement analysis materials for purposes of creditor
                                             meeting discussions
Zabcik, Kathryn         10/10/2023     2.9   Clean up JPL production file classification buckets into just critical,
                                             relevant, reviewed and not reviewed
Zabcik, Kathryn         10/10/2023     2.3   Review potential critical documents 86 - 100 for JPL production to
                                             narrow down to critical documents
Zabcik, Kathryn         10/10/2023     2.6   Review potential critical documents 101 - 135 for JPL production to
                                             narrow down to critical documents
Zabcik, Kathryn         10/10/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery and
                                             schedule updates with M. Scheck (Quinn Emanuel), C. Arnett, C.
                                             Broskay and K. Zabcik (A&M)
Zabcik, Kathryn         10/10/2023     0.3   Meeting to review case updates and go over status of critical
                                             document review with K. Zabcik, T. Braatelien, A. Maggard, A.
                                             Stolyar, and Z. Burns (A&M)
Zabcik, Kathryn         10/10/2023     0.4   Meeting to discuss open items for the JL Bahamas discovery and
                                             A&M post-petition discovery with R. Gordon, C. Arnett, C. Broskay,
                                             D. Hainline and K. Zabcik (A&M)
Arnett, Chris           10/11/2023     0.8   Review custodian responses re: A&M production and exclusion of
                                             third party client material
Bolduc, Jojo            10/11/2023     2.1   Review email attachment images in Relativity to determine
                                             relevancy as part of JPL document review
Braatelien, Troy        10/11/2023     0.9   Perform critical document review of JPL production documents
                                             tranche #9 of set beginning at result 160
Braatelien, Troy        10/11/2023     3.1   Perform critical document review of JPL production documents
                                             tranche #8 of set beginning at result 160
Braatelien, Troy        10/11/2023     1.2   Assess JPL production documents identified by team as critical
                                             results for sharing with QE team
Braatelien, Troy        10/11/2023     3.1   Draft descriptions for JPL production documents identified by team
                                             as critical results
Braatelien, Troy        10/11/2023     0.2   Update live JPL production search tracker for prior days' progress to
                                             prepare for Thursday status update
Broskay, Cole           10/11/2023     0.5   Meeting to discuss open items for the JL Bahamas discovery with R.
                                             Gordon, C. Broskay, D. Hainline and K. Zabcik (A&M)
Burns, Zach             10/11/2023     2.1   Analyze operational reports from international FTX entities in
                                             Relativity in the JPL produced documents repository
Burns, Zach             10/11/2023     1.8   Analyze local tax documents for international FTX entities in JPL
                                             produced document repository in Relativity
Burns, Zach             10/11/2023     1.3   Review customer related documentation in JPL produced document
                                             repository in Relativity
Burns, Zach             10/11/2023     1.2   Analyze documents relating to the operations of international crypto
                                             exchanges in JPL produced document repository in Relativity
Burns, Zach             10/11/2023     1.9   Analyze documents relating to capabilities of internal controls in FTX
                                             in JPL produced document repository in Relativity
Burns, Zach             10/11/2023     0.4   Meeting to discuss case facts and review potential relevant and
                                             critical documents with A. Stolyar, and Z. Burns (A&M)



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                                 FTX Trading Ltd., et al.,
                          Time Detail by Activity by Professional
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Joint Provisional Liquidators
Professional               Date    Hours    Activity
Gordon, Robert        10/11/2023     0.2   Teleconference with J. LaBella(A&M) over request list from PWC

Gordon, Robert        10/11/2023     0.4   Review information request list from JPLs covering the schedules


Gordon, Robert        10/11/2023     0.7   Review updated stipulation and proposed schedule

Gordon, Robert        10/11/2023     0.4   Draft proposed response for JPL request #5

Gordon, Robert        10/11/2023     0.7   Review analysis for JPL request #4 for edits


Gordon, Robert        10/11/2023     0.5   Meeting to discuss open items for the JL Bahamas discovery with R.
                                           Gordon, C. Broskay, D. Hainline and K. Zabcik (A&M)
Hainline, Drew        10/11/2023     0.3   Review case filings and updates to key court dates


Kearney, Kevin        10/11/2023     1.9   Review FDM fiat reconciliation analysis for related party balance
                                           calculation
Maggard, Austin       10/11/2023     2.8   Review batch 3 of screenshots, WhatsApp photos, illegible files for
                                           search results 162,722 - 172,174 in Relativity related to the JPL
                                           production tracker
Maggard, Austin       10/11/2023     1.7   Review batch 4 of img.jpg files for search results 127,320 - 128,804
                                           in Relativity related to the JPL production tracker
Maggard, Austin       10/11/2023     2.6   Review batch 3 of screenshots, scans, photo.jpg files for search
                                           results 152,664 - 162,721 in Relativity related to the JPL production
                                           tracker
Mirando, Michael      10/11/2023     2.9   Compile information from dockets concerning the JPLs into the table
                                           of contents for the declaration binder
Mirando, Michael      10/11/2023     3.0   Review dockets for information for the declaration binder


Mirando, Michael      10/11/2023     2.9   Search dockets for information related to JPL discovery requests

Stolyar, Alan         10/11/2023     0.4   Meeting to discuss case facts and review potential relevant and
                                           critical documents with A. Stolyar, and Z. Burns (A&M)
Stolyar, Alan         10/11/2023     1.4   Analyze credit card movements details with no titles in Relativity per
                                           JPL request
Stolyar, Alan         10/11/2023     1.1   Analyze declaration of trust documents with no titles in Relativity per
                                           JPL request
Stolyar, Alan         10/11/2023     1.2   Analyze CNN Report User Agreements with no titles in Relativity per
                                           JPL request
Stolyar, Alan         10/11/2023     1.1   Analyze customer credit applications in Relativity per JPL request

Stolyar, Alan         10/11/2023     1.3   Analyze change of name orders with no titles in Relativity per JPL
                                           request
Stolyar, Alan         10/11/2023     1.4   Analyze cooler request forms with no titles in Relativity per JPL
                                           request
Stolyar, Alan         10/11/2023     0.9   Analyze identification scans in Relativity per JPL request



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                            Time Detail by Activity by Professional
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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Stolyar, Alan           10/11/2023     1.2   Analyze dialogs with no titles in Relativity per JPL request

Zabcik, Kathryn         10/11/2023     2.3   Review potential critical documents 136 - 165 for JPL production to
                                             narrow down to critical documents
Zabcik, Kathryn         10/11/2023     2.4   Review potential critical documents 201 - 250 for JPL production to
                                             narrow down to critical documents
Zabcik, Kathryn         10/11/2023     2.6   Review potential critical documents 166 - 200 for JPL production to
                                             narrow down to critical documents
Zabcik, Kathryn         10/11/2023     2.9   Review potential critical documents 251 - 325 for JPL production to
                                             narrow down to critical documents
Zabcik, Kathryn         10/11/2023     0.5   Meeting to discuss open items for the JL Bahamas discovery with R.
                                             Gordon, C. Broskay, D. Hainline and K. Zabcik (A&M)
Zabcik, Kathryn         10/11/2023     0.3   Update slide deck for newest progress on JPL production review for
                                             Quinn Emanuel
Arnett, Chris           10/12/2023     0.7   Review and comment on latest JPL production analysis to present to
                                             M. Scheck (QE)
Arnett, Chris           10/12/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including A&M post petition review update with R. Gordon, C. Arnett,
                                             C. Broskay, D. Hainline and K. Zabcik (A&M)
Bolduc, Jojo            10/12/2023     1.7   Review Alameda Research BOFA statements to determine
                                             relevancy as party of JPL document review
Bolduc, Jojo            10/12/2023     1.6   Review FTX customer account balance captures to determine
                                             relevancy per JPL document review
Bolduc, Jojo            10/12/2023     1.4   Review HiveEx wire transfers from Common Bank to determine
                                             document relevancy
Bolduc, Jojo            10/12/2023     1.9   Inspect FTX customer wallet captures in Relativity for relevancy

Bolduc, Jojo            10/12/2023     1.6   Review FTX customer support emails in Relativity for relevancy

Braatelien, Troy        10/12/2023     2.9   Perform critical document review of JPL production documents
                                             tranche #10 of set beginning at result 160
Braatelien, Troy        10/12/2023     0.9   Perform critical document review of JPL production documents
                                             tranche #2 of set beginning at result 150,713
Braatelien, Troy        10/12/2023     2.4   Perform critical document review of JPL production documents
                                             tranche #1 of set beginning at result 150,713
Braatelien, Troy        10/12/2023     2.8   Perform additional review of overall JPL production set to scope out
                                             similar file types
Braatelien, Troy        10/12/2023     0.2   Update live JPL production search tracker for resolution of tranche
                                             review
Broskay, Cole           10/12/2023     0.7   Meeting to discuss declaration binder for JPL claims with C.
                                             Broskay, A. Maggard, and M. Mirando (A&M)
Broskay, Cole           10/12/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including A&M post petition review update with R. Gordon, C. Arnett,
                                             C. Broskay, D. Hainline and K. Zabcik (A&M)
Burns, Zach             10/12/2023     1.1   Analyze lists with minority shareholders in multiple FTX entities in
                                             JPL produced document repository in Relativity

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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Burns, Zach             10/12/2023     0.8   Analyze grant documents drafted by FTX in JPL produced document
                                             repository in Relativity
Burns, Zach             10/12/2023     0.7   Analyze token option awards agreements in JPL produced
                                             document repository in Relativity
Burns, Zach             10/12/2023     0.8   Analyze amendments to FTX terms of service in Relativity in the JPL
                                             produced document repository
Burns, Zach             10/12/2023     0.9   Review FTX and CR Heads of Terms documents in JPL produced
                                             document repository in Relativity
Burns, Zach             10/12/2023     1.2   Analyze Liquid loan agreements in JPL produced document
                                             repository in Relativity
Burns, Zach             10/12/2023     0.3   Analyze FTX anti-bribery policies in JPL produced document
                                             repository in Relativity
Burns, Zach             10/12/2023     1.6   Analyze internal loan discussion in JPL produced document
                                             repository in Relativity
Burns, Zach             10/12/2023     0.7   Analyze donation receipts from FTX in JPL produced document
                                             repository in Relativity
Coverick, Steve         10/12/2023     2.1   Review and provide comments on revised JPL settlement analysis
                                             following comments from JPLs / UCC and AHC
Coverick, Steve         10/12/2023     0.9   Discussion regarding JPL settlement with P. Greaves and others
                                             (JPL), B. Bakemeyer and others (W&C), A. Dietderich (S&C), J. Ray
                                             (FTX), E. Mosley, S. Coverick, and H. Trent (A&M)
Coverick, Steve         10/12/2023     0.6   Meeting to discuss post-effective board composition with A.
                                             Dietderich and others (S&C), C. Delo and others (AHC), S. Simms
                                             and others (UCC), E. Mosley, S. Coverick, K. Ramanathan, R.
                                             Esposito, H. Trent (A&M)
Gordon, Robert          10/12/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including A&M post petition review update with R. Gordon, C. Arnett,
                                             C. Broskay, D. Hainline and K. Zabcik (A&M)
Hainline, Drew          10/12/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including A&M post petition review update with R. Gordon, C. Arnett,
                                             C. Broskay, D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/12/2023     0.7   Meeting to discuss declaration binder for JPL claims with C.
                                             Broskay, A. Maggard, and M. Mirando (A&M)
Maggard, Austin         10/12/2023     1.1   Review Kroll dockets to identify summaries related to FTX DM
                                             internal bookkeeping for the declaration binder
Maggard, Austin         10/12/2023     0.9   Complete tracker to identify which dockets on the Kroll database
                                             have been reviewed for the case summary binder
Maggard, Austin         10/12/2023     1.4   Review Kroll dockets to identify summaries related to the
                                             segregation of assets for the declaration binder
Maggard, Austin         10/12/2023     1.3   Review Kroll dockets to identify summaries related to cash transfers
                                             to/from FTX DM for the declaration binder
Maggard, Austin         10/12/2023     1.3   Review Kroll dockets to identify summaries related to the amended
                                             terms of service for the declaration binder
Maggard, Austin         10/12/2023     0.5   Meeting to discuss declaration binder for JPL claims with A.
                                             Maggard, and M. Mirando (A&M)
Maggard, Austin         10/12/2023     0.8   Review batch 4 of image.png and image.jpeg files for search results
                                             128,808 - 144,010 in Relativity related to the JPL production tracker

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Joint Provisional Liquidators
Professional                Date    Hours    Activity
Mirando, Michael       10/12/2023     0.7   Meeting to discuss declaration binder for JPL claims with C.
                                            Broskay, A. Maggard, and M. Mirando (A&M)
Mirando, Michael       10/12/2023     2.9   Review information obtained from the dockets for inclusion in the
                                            declaration binder
Mirando, Michael       10/12/2023     0.5   Meeting to discuss declaration binder for JPL claims with A.
                                            Maggard, and M. Mirando (A&M)
Mirando, Michael       10/12/2023     2.6   Prepare the declaration binder with information gathered through the
                                            discovery process
Mirando, Michael       10/12/2023     2.8   Create presentation for declaration binder


Mosley, Ed             10/12/2023     0.6   Meeting to discuss post-effective board composition with A.
                                            Dietderich and others (S&C), C. Delo and others (AHC), S. Simms
                                            and others (UCC), E. Mosley, S. Coverick, K. Ramanathan, R.
                                            Esposito, H. Trent (A&M)
Mosley, Ed             10/12/2023     0.9   Discussion regarding JPL settlement with P. Greaves and others
                                            (JPL), B. Bakemeyer and others (W&C), A. Dietderich (S&C), J. Ray
                                            (FTX), E. Mosley, S. Coverick, and H. Trent (A&M)
Ramanathan, Kumanan    10/12/2023     0.9   Discussion regarding JPL settlement with P. Greaves and others
                                            (JPL), B. Bakemeyer and others (W&C), A. Dietderich (S&C), J. Ray
                                            (FTX), E. Mosley, S. Coverick, and H. Trent (A&M)
Stolyar, Alan          10/12/2023     1.2   Analyze FTX Mail related to BSF Wire Transfers with no titles in
                                            Relativity per JPL request
Stolyar, Alan          10/12/2023     1.1   Analyze VAT invoice screenshots with no titles in Relativity per JPL
                                            request
Stolyar, Alan          10/12/2023     0.6   Analyze team communication chats with no titles in Relativity per
                                            JPL request
Stolyar, Alan          10/12/2023     0.7   Analyze identification documents with no titles in Relativity per JPL
                                            request
Stolyar, Alan          10/12/2023     0.8   Analyze bitcoin wallets screenshots with no titles in Relativity per
                                            JPL request
Stolyar, Alan          10/12/2023     1.3   Analyze MQD bank statements with no titles in Relativity per JPL
                                            request
Stolyar, Alan          10/12/2023     1.4   Analyze lab form documents with no titles in Relativity per JPL
                                            request
Stolyar, Alan          10/12/2023     0.9   Analyze FTT token wallets with no titles in Relativity per JPL request


Trent, Hudson          10/12/2023     1.1   Prepare care package materials for provision to the JPLs following
                                            discussions regarding settlement
Trent, Hudson          10/12/2023     1.1   Prepare updated JPL settlement materials based on live feedback
                                            from creditor meetings
Trent, Hudson          10/12/2023     1.9   Prepare updated JPL settlement calculator / financial analysis based
                                            on updates in discussions
Trent, Hudson          10/12/2023     0.6   Meeting to discuss post-effective board composition with A.
                                            Dietderich and others (S&C), C. Delo and others (AHC), S. Simms
                                            and others (UCC), E. Mosley, S. Coverick, K. Ramanathan, R.
                                            Esposito, H. Trent (A&M)



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                            Time Detail by Activity by Professional
                           October 1, 2023 through October 31, 2023


Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Trent, Hudson           10/12/2023     0.9   Discussion regarding JPL settlement with P. Greaves and others
                                             (JPL), B. Bakemeyer and others (W&C), A. Dietderich (S&C), J. Ray
                                             (FTX), E. Mosley, S. Coverick, and H. Trent (A&M)
Zabcik, Kathryn         10/12/2023     1.2   Review potential critical documents 376 - 400 for JPL production to
                                             narrow down to critical documents
Zabcik, Kathryn         10/12/2023     1.7   Review potential critical documents 451 - 485 for JPL production to
                                             narrow down to critical documents
Zabcik, Kathryn         10/12/2023     2.6   Review potential critical documents 326 - 375 for JPL production to
                                             narrow down to critical documents
Zabcik, Kathryn         10/12/2023     2.7   Review potential critical documents 401 - 450 for JPL production to
                                             narrow down to critical documents
Zabcik, Kathryn         10/12/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including A&M post petition review update with R. Gordon, C. Arnett,
                                             C. Broskay, D. Hainline and K. Zabcik (A&M)
Bolduc, Jojo            10/13/2023     0.5   Discussions to reconcile JPL master with reviewed document status
                                             with A. Stoylar and J. Bolduc (A&M)
Bolduc, Jojo            10/13/2023     2.3   Review FTX customer account balance captures in Relativity to
                                             determine relevancy as part of JPL document review
Bolduc, Jojo            10/13/2023     2.2   Review customer trading fee schedules to determine relevancy as
                                             part of JPL document review
Bolduc, Jojo            10/13/2023     2.4   Review margin trading files relating to customer accounts to
                                             determine relevancy
Braatelien, Troy        10/13/2023     2.7   Perform critical document review of JPL production documents
                                             tranche #3 of set beginning at result 150,713
Braatelien, Troy        10/13/2023     1.7   Perform critical document review of JPL production documents
                                             tranche #5 of set beginning at result 150,713
Braatelien, Troy        10/13/2023     1.9   Perform critical document review of JPL production documents
                                             tranche #4 of set beginning at result 150,713
Broskay, Cole           10/13/2023     0.4   Meeting to discuss declaration binder for JPL claims with C.
                                             Broskay, A. Maggard, and M. Mirando (A&M)
Broskay, Cole           10/13/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL production review update with R. Gordon, C. Broskay,
                                             D. Hainline and K. Zabcik (A&M)
Burns, Zach             10/13/2023     0.7   Review emails between FTX officers and employees in Relativity in
                                             the JPL produced document repository
Burns, Zach             10/13/2023     1.4   Analyze documents relating to customer verification in the JPL
                                             produced document repository in Relativity
Burns, Zach             10/13/2023     0.4   Analyze emails between FTX and Binance in Relativity in the JPL
                                             produced document repository
Burns, Zach             10/13/2023     1.2   Analyze unnamed image files in JPL produced document repository
                                             in Relativity
Burns, Zach             10/13/2023     0.9   Analyze bitcoin loan documents in JPL produced document
                                             repository in Relativity
Burns, Zach             10/13/2023     0.6   Analyze Ethereum loan documents in JPL produced document
                                             repository in Relativity



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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Burns, Zach             10/13/2023     1.7   Analyze documents showing FTX deposits on Binance and balance
                                             activity in JPL produced document repository in Relativity
Burns, Zach             10/13/2023     1.6   Analyze margin requirement documentation in JPL produced
                                             document repository in Relativity
Gordon, Robert          10/13/2023     1.1   Begin review post petition files for potential tags

Gordon, Robert          10/13/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL production review update with R. Gordon, C. Broskay,
                                             D. Hainline and K. Zabcik (A&M)
Hainline, Drew          10/13/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL production review update with R. Gordon, C. Broskay,
                                             D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/13/2023     0.4   Meeting to discuss declaration binder for JPL claims with C.
                                             Broskay, A. Maggard, and M. Mirando (A&M)
Maggard, Austin         10/13/2023     0.6   Meeting to discuss declaration binder process with A. Maggard and
                                             M. Mirando (A&M)
Maggard, Austin         10/13/2023     1.6   Build declaration binder summary slides including adding citations
                                             and taglines
Maggard, Austin         10/13/2023     2.6   Review excerpts pulled from Kroll dockets and refine PowerPoint
                                             slides
Maggard, Austin         10/13/2023     2.0   Build declaration binder support slides with taglines and citations


Maggard, Austin         10/13/2023     0.9   Review critical documents tracker to identify relevant files related to
                                             the terms of service for the declaration binder
Mirando, Michael        10/13/2023     0.4   Meeting to discuss declaration binder for JPL claims with C.
                                             Broskay, A. Maggard, and M. Mirando (A&M)
Mirando, Michael        10/13/2023     2.9   Prepare the declaration binder with information gathered through the
                                             discovery process
Mirando, Michael        10/13/2023     0.6   Meeting to discuss declaration binder process with A. Maggard and
                                             M. Mirando (A&M)
Mirando, Michael        10/13/2023     2.8   Draft table of contents for declaration binder


Mosley, Ed              10/13/2023     1.9   Review of and prepare comments to draft diligence package to JPL

Simoneaux, Nicole       10/13/2023     1.1   Review customer trading fee support on Relativity to determine
                                             relevancy as part of JPL document review
Simoneaux, Nicole       10/13/2023     0.7   Assist in Relativity datasite review for customer trading data / activity

Stolyar, Alan           10/13/2023     0.5   Discussions to reconcile JPL master with reviewed document status
                                             with A. Stoylar and J. Bolduc (A&M)
Stolyar, Alan           10/13/2023     1.3   Analyze trade tracking excel workbooks with no titles in Relativity per
                                             JPL request
Stolyar, Alan           10/13/2023     1.4   Analyze foreign language documents with no titles in Relativity per
                                             JPL request
Stolyar, Alan           10/13/2023     1.2   Analyze trading screenshots with no titles in Relativity per JPL
                                             request

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                                 FTX Trading Ltd., et al.,
                          Time Detail by Activity by Professional
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Joint Provisional Liquidators
Professional               Date    Hours    Activity
Stolyar, Alan         10/13/2023     1.3   Analyze email lists with no titles in Relativity per JPL request

Stolyar, Alan         10/13/2023     1.4   Analyze option agreements with no titles in Relativity per JPL request


Stolyar, Alan         10/13/2023     0.9   Analyze daily volume excel workbooks with no titles in Relativity per
                                           JPL request
Trent, Hudson         10/13/2023     1.3   Prepare scenario analysis related to JPL settlement proposals for
                                           advisor discussion
Zabcik, Kathryn       10/13/2023     1.4   Review potential critical documents 600 - 638 for JPL production to
                                           narrow down to critical documents
Zabcik, Kathryn       10/13/2023     2.8   Review potential critical documents 551 - 600 for JPL production to
                                           narrow down to critical documents
Zabcik, Kathryn       10/13/2023     2.3   Review potential critical documents 500 - 550 for JPL production to
                                           narrow down to critical documents
Zabcik, Kathryn       10/13/2023     0.7   Review potential critical documents 486 - 500 for JPL production to
                                           narrow down to critical documents
Zabcik, Kathryn       10/13/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                           including JPL production review update with R. Gordon, C. Broskay,
                                           D. Hainline and K. Zabcik (A&M)
Maggard, Austin       10/14/2023     0.7   Review declaration binder to update format for consistency


Maggard, Austin       10/14/2023     1.1   Review critical documents tracker to identify relevant files related to
                                           the intercompany transfers for the declaration binder
Simoneaux, Nicole     10/15/2023     1.4   Continue to assist in Relativity datasite review for customer trading
                                           data / activity
Arnett, Chris         10/16/2023     0.8   Review responses received re: potential third party conflicts included
                                           in potential JPL production set
Arnett, Chris         10/16/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                           including JPL document review status with R. Gordon, C. Arnett, C.
                                           Broskay, D. Hainline and K. Zabcik (A&M)
Bolduc, Jojo          10/16/2023     0.3   Discussions to update JPL production tracker with critical document
                                           status with A. Stolyar, and J. Bolduc (A&M)
Bolduc, Jojo          10/16/2023     1.6   Conduct document review of transaction IDs in Relativity as part of
                                           JPL critical document review
Bolduc, Jojo          10/16/2023     0.3   Review customer fee schedules in Relativity to determine relevancy
                                           as part of JPL document review
Bolduc, Jojo          10/16/2023     1.4   Review bank transfers / statements as part of JPL critical document
                                           review
Bolduc, Jojo          10/16/2023     0.4   Review FTX account position captures to determine relevancy for
                                           JPL document review
Braatelien, Troy      10/16/2023     1.2   Perform critical document review of JPL production documents
                                           tranche #1 of set beginning at result 139,174
Braatelien, Troy      10/16/2023     0.3   Perform critical document review of JPL production documents
                                           tranche #10 of set beginning at result 150,713
Braatelien, Troy      10/16/2023     2.8   Perform critical document review of JPL production documents
                                           tranche #9 of set beginning at result 150,713

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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Braatelien, Troy        10/16/2023     1.7   Perform critical document review of JPL production documents
                                             tranche #6 of set beginning at result 150,713
Braatelien, Troy        10/16/2023     0.4   Perform critical document review of JPL production documents
                                             tranche #8 of set beginning at result 150,713
Braatelien, Troy        10/16/2023     1.4   Perform critical document review of JPL production documents
                                             tranche #7 of set beginning at result 150,713
Broskay, Cole           10/16/2023     0.8   Teleconference with C. Broskay, R. Gordon(A&M) to walkthrough
                                             FDM section of FTX binder
Broskay, Cole           10/16/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL document review status with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Burns, Zach             10/16/2023     0.6   Analyze bank statements from European FTX entities in Relativity in
                                             JPL produced document repository
Burns, Zach             10/16/2023     1.1   Analyze Cottonwood Grove option agreements in JPL produced
                                             document repository in Relativity
Burns, Zach             10/16/2023     1.4   Analyze Alameda lender loan documents to FTX in JPL document
                                             repository in Relativity
Burns, Zach             10/16/2023     0.7   Review FTX employee visa applications in JPL produced document
                                             repository in Relativity
Burns, Zach             10/16/2023     0.8   Analyze Cottonwood Grove management reports in JPL produced
                                             document repository in Relativity
Burns, Zach             10/16/2023     0.9   Analyze Celsius loan term sheets to FTX in JPL document
                                             repository in Relativity
Burns, Zach             10/16/2023     1.2   Analyze commercial leases in for FTX offices in the United States in
                                             Relativity in the JPL produced document repository
Gordon, Robert          10/16/2023     0.8   Teleconference with C. Broskay, R. Gordon(A&M) to walkthrough
                                             FDM section of FTX binder
Gordon, Robert          10/16/2023     0.9   Complete review of post petition documents

Gordon, Robert          10/16/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL document review status with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Hainline, Drew          10/16/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL document review status with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/16/2023     0.6   Identify critical document support for cash transfers to/from FTX DM
                                             to include in the case summary binder
Mirando, Michael        10/16/2023     0.9   Review FTX Trading Terms of Service


Simoneaux, Nicole       10/16/2023     3.1   Review customer fee schedules / activity in Relativity to determine
                                             relevancy as part of JPL document review
Stolyar, Alan           10/16/2023     0.3   Discussions to update JPL production tracker with critical document
                                             status with A. Stolyar, and J. Bolduc (A&M)
Stolyar, Alan           10/16/2023     0.9   Analyze quote entries screenshots with no titles in Relativity per JPL
                                             request



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                                 FTX Trading Ltd., et al.,
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Joint Provisional Liquidators
Professional               Date    Hours    Activity
Stolyar, Alan         10/16/2023     1.4   Analyze payment receipts with no titles in Relativity per JPL request

Stolyar, Alan         10/16/2023     1.1   Analyze trading summary screenshots with no titles in Relativity per
                                           JPL request
Stolyar, Alan         10/16/2023     1.2   Analyze I-9 supporting documents with no titles in Relativity per JPL
                                           request
Stolyar, Alan         10/16/2023     0.7   Analyze registration statements with no titles in Relativity per JPL
                                           request
Stolyar, Alan         10/16/2023     1.2   Analyze support requests with no titles in Relativity per JPL request


Stolyar, Alan         10/16/2023     1.2   Analyze trading reports with no titles in Relativity per JPL request

Trent, Hudson         10/16/2023     0.8   Prepare responses to diligence inquiries from JPLs regarding Plan
                                           recovery analysis
Trent, Hudson         10/16/2023     1.4   Update JPL settlement materials based on feedback from S&C

Zabcik, Kathryn       10/16/2023     0.6   Update slide deck for progress on JPL production review for Quinn
                                           Emanuel for 10/17/23
Zabcik, Kathryn       10/16/2023     1.7   Review JPL produced image files #146,642 - 147,178 for JL
                                           Bahamas discovery
Zabcik, Kathryn       10/16/2023     2.1   Review JPL produced image files #145,950 - 146,641 for JL
                                           Bahamas discovery
Zabcik, Kathryn       10/16/2023     2.4   Review JPL produced image files #147,179 - 147,908 for JL
                                           Bahamas discovery
Zabcik, Kathryn       10/16/2023     1.9   Review JPL produced image files #145,488 - 145,949 for JL
                                           Bahamas discovery
Zabcik, Kathryn       10/16/2023     1.1   Review JPL produced image files #145,175 - 145,487 for JL
                                           Bahamas discovery
Zabcik, Kathryn       10/16/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                           including JPL document review status with R. Gordon, C. Arnett, C.
                                           Broskay, D. Hainline and K. Zabcik (A&M)
Arnett, Chris         10/17/2023     0.6   Meeting to discuss summary witness materials for Quinn Emanuel
                                           with C. Arnett, C. Broskay, D. Hainline (A&M)
Arnett, Chris         10/17/2023     0.1   Meeting to discuss open items for the JL Bahamas discovery
                                           including JPL Document review with R. Gordon, C. Arnett, C.
                                           Broskay, D. Hainline and K. Zabcik (A&M)
Arnett, Chris         10/17/2023     0.4   Meeting to discuss open items and status for the JL Bahamas
                                           discovery with M. Scheck, M. Anderson (Quinn Emanuel), R.
                                           Gordon, C. Arnett, C. Broskay and K. Zabcik (A&M)
Bolduc, Jojo          10/17/2023     1.1   Review BTC blockchain confirmation captures to determine
                                           relevancy for JPL review
Braatelien, Troy      10/17/2023     0.7   Perform critical document review of JPL production documents
                                           tranche #4 of set beginning at result 139,174
Braatelien, Troy      10/17/2023     1.8   Perform critical document review of JPL production documents
                                           tranche #3 of set beginning at result 139,174



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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Braatelien, Troy        10/17/2023     2.8   Perform critical document review of JPL production documents
                                             tranche #2 of set beginning at result 139,174
Broskay, Cole           10/17/2023     0.6   Meeting to discuss summary witness materials for Quinn Emanuel
                                             with C. Arnett, C. Broskay, D. Hainline (A&M)
Broskay, Cole           10/17/2023     0.1   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL Document review with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Broskay, Cole           10/17/2023     0.4   Meeting to discuss open items and status for the JL Bahamas
                                             discovery with M. Scheck, M. Anderson (Quinn Emanuel), R.
                                             Gordon, C. Arnett, C. Broskay and K. Zabcik (A&M)
Burns, Zach             10/17/2023     1.3   Review authorization forms for opening FTX bank accounts in JPL
                                             produced document repository in Relativity
Burns, Zach             10/17/2023     1.1   Analyze documents related to Celsius collateral call in Relativity in
                                             the JPL produced document repository
Burns, Zach             10/17/2023     0.6   Review kick off audit emails between FTX and third party audit firm
                                             in JPL produced document repository in Relativity
Burns, Zach             10/17/2023     0.7   Analyze Ocean Terrace real estate documents in Relativity in the
                                             JPL produced document repository
Burns, Zach             10/17/2023     1.8   Analyze BTSE Inv documents for Alameda in JPL produced
                                             document repository in Relativity
Burns, Zach             10/17/2023     0.9   Analyze BPI Portugal bank statements in JPL produced document
                                             repository in Relativity
Burns, Zach             10/17/2023     1.2   Analyze Bondarenko bank statements in JPL produced document
                                             repository in Relativity
Burns, Zach             10/17/2023     0.8   Analyze communications from FTX employees to third party audit
                                             firms in Relativity
Coverick, Steve         10/17/2023     0.9   Review and provide comments on response to JPL diligence request
                                             on commingling of assets
Coverick, Steve         10/17/2023     0.4   Call with E. Mosley, S. Coverick, J. Dent (A&M) to discuss expert
                                             testimony for JPL litigation
Gordon, Robert          10/17/2023     0.1   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL Document review with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Gordon, Robert          10/17/2023     0.4   Meeting to discuss open items and status for the JL Bahamas
                                             discovery with M. Scheck, M. Anderson (Quinn Emanuel), R.
                                             Gordon, C. Arnett, C. Broskay and K. Zabcik (A&M)
Hainline, Drew          10/17/2023     0.6   Meeting to discuss summary witness materials for Quinn Emanuel
                                             with C. Arnett, C. Broskay, D. Hainline (A&M)
Hainline, Drew          10/17/2023     0.6   Review materials to include in JPL case binder


Hainline, Drew          10/17/2023     0.1   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL Document review with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/17/2023     0.3   Review BOX support related to FTX DM transfers to/from FTX
                                             Trading for the case summary binder
Mirando, Michael        10/17/2023     1.6   Review FTX Trading Terms of Service


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Joint Provisional Liquidators
Professional                Date    Hours    Activity
Mosley, Ed             10/17/2023     0.4   Call with E. Mosley, S. Coverick, J. Dent (A&M) to discuss expert
                                            testimony for JPL litigation
Mosley, Ed             10/17/2023     0.4   Participate in call with Quinn (S.Rand, M.Anderson, E.Kapur,
                                            M.Scheck) and A&M (J.Dent, E.Mosley) regarding expert testimony
                                            in potential adversarial proceeding or plan process
Stolyar, Alan          10/17/2023     0.6   Analyze automatic bank transaction reports with no titles in Relativity
                                            per JPL request
Stolyar, Alan          10/17/2023     0.9   Analyze monthly work center reports documents with no titles in
                                            Relativity per JPL request
Stolyar, Alan          10/17/2023     0.8   Analyze IP whitelisting documents with no titles in Relativity per JPL
                                            request
Stolyar, Alan          10/17/2023     1.1   Analyze shareholder registries with no titles in Relativity per JPL
                                            request
Stolyar, Alan          10/17/2023     1.2   Analyze quote of entry windows with no titles in Relativity per JPL
                                            request
Stolyar, Alan          10/17/2023     1.3   Analyze register of members with no titles in Relativity per JPL
                                            request
Stolyar, Alan          10/17/2023     1.2   Analyze group bank statements with no titles in Relativity per JPL
                                            request
Stolyar, Alan          10/17/2023     0.7   Analyze receipts with no titles in Relativity per JPL request


Stolyar, Alan          10/17/2023     1.4   Analyze tax identification documents with no titles in Relativity per
                                            JPL request
Zabcik, Kathryn        10/17/2023     1.3   Review A&M post-petition discovery files flagged by custodians as
                                            additional review needed
Zabcik, Kathryn        10/17/2023     2.3   Review JPL produced image files #148,486 - 149,553 for JL
                                            Bahamas discovery
Zabcik, Kathryn        10/17/2023     2.6   Review JPL produced image files #147,909 - 148,485 for JL
                                            Bahamas discovery
Zabcik, Kathryn        10/17/2023     1.4   Review JPL produced image files #149,554 - 150,711 for JL
                                            Bahamas discovery
Zabcik, Kathryn        10/17/2023     0.9   Consolidate A&M post petition custodian review files

Zabcik, Kathryn        10/17/2023     0.1   Meeting to discuss open items for the JL Bahamas discovery
                                            including JPL Document review with R. Gordon, C. Arnett, C.
                                            Broskay, D. Hainline and K. Zabcik (A&M)
Zabcik, Kathryn        10/17/2023     0.4   Meeting to discuss open items and status for the JL Bahamas
                                            discovery with M. Scheck, M. Anderson (Quinn Emanuel), R.
                                            Gordon, C. Arnett, C. Broskay and K. Zabcik (A&M)
Arnett, Chris          10/18/2023     0.7   Review expert witness binder excerpts presented to QE for potential
                                            use during litigation
Arnett, Chris          10/18/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                            including A&M post petition document review status with R. Gordon,
                                            C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Bolduc, Jojo           10/18/2023     0.9   Review error captures in Relativity to determine document relevancy
                                            for JPL document review


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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Bolduc, Jojo            10/18/2023     0.3   Review BTC transaction confirmation captures to determine
                                             relevancy for JPL review
Braatelien, Troy        10/18/2023     2.9   Perform critical document review of JPL production documents
                                             tranche #5 of set beginning at result 139,174
Braatelien, Troy        10/18/2023     1.7   Perform critical document review of JPL production documents
                                             tranche #11 of set beginning at result 139,174
Braatelien, Troy        10/18/2023     2.0   Perform critical document review of JPL production documents
                                             tranche #6 of set beginning at result 139,174
Broskay, Cole           10/18/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including A&M post petition document review status with R. Gordon,
                                             C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Burns, Zach             10/18/2023     1.3   Analyze WhatsApp messages between FTX and FDM employees in
                                             JPL produced document repository in Relativity
Burns, Zach             10/18/2023     1.4   Review individual customer emails from US tagged locations to FTX
                                             support in JPL document repository in Relativity
Burns, Zach             10/18/2023     1.1   Review files related to payments to the Agricultural Committee in
                                             JPL produced document repository in Relativity
Burns, Zach             10/18/2023     1.8   Analyze customer's account information in JPL produced document
                                             repository in Relativity
Burns, Zach             10/18/2023     0.8   Review beneficiary documents for FTX accounts in JPL produced
                                             document repository in Relativity
Burns, Zach             10/18/2023     1.3   Review FTX employee credit card expenses in Relativity in JPL
                                             document repository
Burns, Zach             10/18/2023     0.7   Analyze FTX account confirmations in JPL document repository in
                                             Relativity
Coverick, Steve         10/18/2023     2.1   Review and provide comments on revised JPL settlement analysis
                                             following receipt of counterproposal
Coverick, Steve         10/18/2023     1.9   Review and provide comments on JPL term sheet counterproposal

Coverick, Steve         10/18/2023     2.1   Discussion with H. Trent, S. Coverick (A&M) re: JPL settlement
                                             analysis
Gordon, Robert          10/18/2023     0.6   Prepare for JPL discussion over care package delivery

Gordon, Robert          10/18/2023     0.3   Review updated responses for JPL care package


Gordon, Robert          10/18/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including A&M post petition document review status with R. Gordon,
                                             C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Hainline, Drew          10/18/2023     0.2   Review updates and next steps to prepare case binder

Hainline, Drew          10/18/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including A&M post petition document review status with R. Gordon,
                                             C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/18/2023     2.1   Review batch 5 for files with descriptions for search results
                                             100,000 - 120,000 in Relativity related to the JPL production tracker



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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Mirando, Michael        10/18/2023     0.9   Gather historic financial statements for FTX Group Silo Entities

Mosley, Ed              10/18/2023     2.3   Review of and prepare comments to draft JPL term sheet mark-up
                                             from White & Case
Stolyar, Alan           10/18/2023     0.9   Analyze crypto order transaction reports with no titles in Relativity
                                             per JPL request
Stolyar, Alan           10/18/2023     0.4   Analyze foreign language wire transaction reports with no titles in
                                             Relativity per JPL request
Stolyar, Alan           10/18/2023     1.1   Analyze passport scans with no titles in Relativity per JPL request


Stolyar, Alan           10/18/2023     0.6   Analyze amazon expense receipt with no titles in Relativity per JPL
                                             request
Stolyar, Alan           10/18/2023     1.2   Analyze expense support pictures with no titles in Relativity per JPL
                                             request
Stolyar, Alan           10/18/2023     0.5   Analyze shareholder allocation PDFs with no titles in Relativity per
                                             JPL request
Stolyar, Alan           10/18/2023     0.6   Analyze Astro bank transaction reports with no titles in Relativity per
                                             JPL request
Stolyar, Alan           10/18/2023     1.3   Analyze leverage calculator reports with no titles in Relativity per
                                             JPL request
Stolyar, Alan           10/18/2023     1.3   Analyze auto bank transaction reports with no titles in Relativity per
                                             JPL request
Stolyar, Alan           10/18/2023     1.2   Analyze subaccount transaction reports with no titles in Relativity per
                                             JPL request
Stolyar, Alan           10/18/2023     0.8   Analyze iOS screenshots with no titles in Relativity per JPL request

Stolyar, Alan           10/18/2023     1.1   Analyze credit card images with no titles in Relativity per JPL request


Sullivan, Christopher   10/18/2023     1.3   Detail review the latest JPL term sheet

Sullivan, Christopher   10/18/2023     1.1   Review updated side-by-side analysis of the JPL term sheet


Trent, Hudson           10/18/2023     2.3   Prepare updated JPL settlement materials based on latest term
                                             sheet from JPLs
Trent, Hudson           10/18/2023     0.9   Prepare updated impact calculator based on latest term sheet from
                                             JPLs
Trent, Hudson           10/18/2023     2.1   Discussion with H. Trent, S. Coverick (A&M) re: JPL settlement
                                             analysis
Trent, Hudson           10/18/2023     0.6   Update JPL settlement materials based on A&M feedback

Zabcik, Kathryn         10/18/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including A&M post petition document review status with R. Gordon,
                                             C. Arnett, C. Broskay, D. Hainline and K. Zabcik (A&M)
Arnett, Chris           10/19/2023     0.2   Review and comment on progress status analysis for review of
                                             produced documents


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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Arnett, Chris           10/19/2023     0.6   Review and comment on latest critical document status for QE

Bolduc, Jojo            10/19/2023     0.9   Review transaction confirmation IDs to as part of JPL document
                                             review to determine critical status
Bolduc, Jojo            10/19/2023     0.1   Review bank statements in JPL relativity titled TBD to determine
                                             criticalness
Bolduc, Jojo            10/19/2023     0.1   Review account balance documents in Relativity to determine
                                             document relevancy
Bolduc, Jojo            10/19/2023     0.4   Review Coinspot deposits receipts as a part of JPL critical document
                                             review
Bolduc, Jojo            10/19/2023     1.1   Review digital asset confirmation captures to determine relevancy

Bolduc, Jojo            10/19/2023     0.8   Review transaction history image captures in Relativity to determine
                                             document criticalness
Braatelien, Troy        10/19/2023     1.3   Perform critical document review of JPL production documents
                                             tranche #9 of set beginning at result 139,174
Braatelien, Troy        10/19/2023     2.7   Perform critical document review of JPL production documents
                                             tranche #7 of set beginning at result 139,174
Braatelien, Troy        10/19/2023     2.8   Perform critical document review of JPL production documents
                                             tranche #8 of set beginning at result 139,174
Braatelien, Troy        10/19/2023     0.6   Perform critical document review of JPL production documents
                                             tranche #10 of set beginning at result 139,174
Braatelien, Troy        10/19/2023     1.2   Draft descriptions of additional tranche of critical documents
                                             identified by team for legal review
Broskay, Cole           10/19/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including summary witness binder prep with R. Gordon, C. Broskay,
                                             D. Hainline and K. Zabcik (A&M)
Broskay, Cole           10/19/2023     0.3   Meeting to discuss open items and status for the JL Bahamas
                                             discovery including the summary witness binder with M. Scheck, M.
                                             Anderson (Quinn Emanuel), R. Gordon, C. Broskay and K. Zabcik
                                             (A&M)
Burns, Zach             10/19/2023     1.2   Review early stage fundraising documents for FTX Trading in JPL
                                             produced document repository in Relativity
Burns, Zach             10/19/2023     1.6   Analyze third party exchange agreements FTX entered into in JPL
                                             document repository in Relativity
Burns, Zach             10/19/2023     1.7   Analyze additional donation documents from FTX in JPL produced
                                             document repository in Relativity
Burns, Zach             10/19/2023     0.6   Review banking fees for FTX bank accounts in JPL produced
                                             document repository in Relativity
Burns, Zach             10/19/2023     0.4   Review FTX employee codes on conduct in JPL produced document
                                             repository in Relativity
Burns, Zach             10/19/2023     1.2   Analyze payroll data for FDM in JPL produced Relativity instance


Burns, Zach             10/19/2023     1.5   Analyze client invoices in JPL produced document repository in
                                             Relativity



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Joint Provisional Liquidators
Professional                Date    Hours    Activity
Coverick, Steve        10/19/2023     0.6   Review and provide comments on revised draft of JPL settlement
                                            analysis following edits re: ineligible claims
Coverick, Steve        10/19/2023     1.0   Diligence discussion with J. Gunter, L. Groth, P. Greaves (JPL), E.
                                            Mosley, R. Gordon, S. Coverick, and. R. Esposito (A&M)
Esposito, Rob          10/19/2023     1.0   Diligence discussion with J. Gunter, L. Groth, P. Greaves (JPL), E.
                                            Mosley, R. Gordon, S. Coverick, and. R. Esposito (A&M)
Gordon, Robert         10/19/2023     0.6   Review updated response over exchange transactions

Gordon, Robert         10/19/2023     0.3   Meeting to discuss open items and status for the JL Bahamas
                                            discovery including the summary witness binder with M. Scheck, M.
                                            Anderson (Quinn Emanuel), R. Gordon, C. Broskay and K. Zabcik
                                            (A&M)
Gordon, Robert         10/19/2023     1.0   Diligence discussion with J. Gunter, L. Groth, P. Greaves (JPL), E.
                                            Mosley, R. Gordon, S. Coverick, and. R. Esposito (A&M)
Gordon, Robert         10/19/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                            including summary witness binder prep with R. Gordon, C. Broskay,
                                            D. Hainline and K. Zabcik (A&M)
Hainline, Drew         10/19/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                            including summary witness binder prep with R. Gordon, C. Broskay,
                                            D. Hainline and K. Zabcik (A&M)
Maggard, Austin        10/19/2023     0.7   Update the case summary deck to include additional slides for cash
                                            transfers to/from FTX DM
Maggard, Austin        10/19/2023     1.2   Review batch 5 of illegible and untitled files for search results
                                            100,000 - 120,000 in Relativity related to the JPL production tracker
Mirando, Michael       10/19/2023     2.8   Gather historic financial statements for FTX Group Silo Entities


Mosley, Ed             10/19/2023     1.2   Review of and prepare comments to draft presentation to
                                            management and JPL regarding comparison of new JPL settlement
                                            offer versus last version
Mosley, Ed             10/19/2023     1.0   Participate in diligence session for JPL settlement with PWC
                                            (P.Greaves, L. Groth, others) and A&M (E.Mosley, S.Coverick,
                                            R.Gordon, R.Esposito, others)
Stolyar, Alan          10/19/2023     1.3   Analyze Techcomank Bank verifications reports with no titles in
                                            Relativity per JPL request
Stolyar, Alan          10/19/2023     0.9   Analyze articles of association statutes with no titles in Relativity per
                                            JPL request
Stolyar, Alan          10/19/2023     0.9   Analyze Techcomank Bank information reports with no titles in
                                            Relativity per JPL request
Stolyar, Alan          10/19/2023     1.4   Analyze company registration statements with no titles in Relativity
                                            per JPL request
Stolyar, Alan          10/19/2023     0.7   Analyze deposit receipts with no titles in Relativity per JPL request

Stolyar, Alan          10/19/2023     0.7   Analyze beneficiary registry's with no titles in Relativity per JPL
                                            request
Stolyar, Alan          10/19/2023     0.3   Analyze company structure trees with no titles in Relativity per JPL
                                            request



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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Stolyar, Alan           10/19/2023     0.6   Analyze internet telefon reports with no titles in Relativity per JPL
                                             request
Stolyar, Alan           10/19/2023     0.4   Analyze FTX order history with no titles in Relativity per JPL request


Stolyar, Alan           10/19/2023     1.2   Analyze HSBC statements with no titles in Relativity per JPL request

Stolyar, Alan           10/19/2023     1.4   Analyze Filed Declarations with no titles in Relativity per JPL request

Sullivan, Christopher   10/19/2023     1.0   JPL diligence Discussion with J. Gunter, L. Groth, P. Greaves (JPL),
                                             C. Sullivan, and H. Trent (A&M)
Sullivan, Christopher   10/19/2023     0.6   Review updates to JPL analysis per commentary from E. Mosely
                                             (A&M)
Trent, Hudson           10/19/2023     1.0   JPL diligence Discussion with J. Gunter, L. Groth, P. Greaves (JPL),
                                             C. Sullivan, and H. Trent (A&M)
Trent, Hudson           10/19/2023     1.1   Update JPL settlement materials based on S&C and J. Ray (FTX)
                                             feedback
Zabcik, Kathryn         10/19/2023     1.9   Review potentially critical documents for JPL production review


Zabcik, Kathryn         10/19/2023     2.8   Create critical document summary slide deck for JPL production
                                             review
Zabcik, Kathryn         10/19/2023     0.8   Compile FTX Digital Markets employment agreements for EY

Zabcik, Kathryn         10/19/2023     0.3   Meeting to discuss open items and status for the JL Bahamas
                                             discovery including the summary witness binder with M. Scheck, M.
                                             Anderson (Quinn Emanuel), R. Gordon, C. Broskay and K. Zabcik
                                             (A&M)
Zabcik, Kathryn         10/19/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including summary witness binder prep with R. Gordon, C. Broskay,
                                             D. Hainline and K. Zabcik (A&M)
Bolduc, Jojo            10/20/2023     0.9   Review bank statements and transfers to crypto exchanges as part
                                             of JPL critical document review
Bolduc, Jojo            10/20/2023     0.8   Review FTX support chats in Relativity as part of JPL critical
                                             document review
Braatelien, Troy        10/20/2023     2.1   Perform critical document review of JPL production documents
                                             tranche #2 of set beginning at result 85,756
Braatelien, Troy        10/20/2023     1.4   Perform critical document review of JPL production documents
                                             tranche #1 of set beginning at result 85,756
Braatelien, Troy        10/20/2023     1.8   Perform critical document review of JPL production documents
                                             tranche #3 of set beginning at result 85,756
Broskay, Cole           10/20/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including summary witness binder modules with R. Gordon, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Burns, Zach             10/20/2023     0.9   Analyze utility bills for Bahamian properties that FTX owned in JPL
                                             produced document repository in Relativity
Burns, Zach             10/20/2023     1.4   Analyze internal meeting notes related to FDM in JPL produced
                                             document repository in Relativity


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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Burns, Zach             10/20/2023     1.3   Analyze additional bank data in JPL produced document repository
                                             in Relativity
Burns, Zach             10/20/2023     2.6   Analyze FDM employee agreements in JPL produced document
                                             repository in Relativity
Faett, Jack             10/20/2023     1.1   Analyze exchange data on MSRM and SRM for explanation of large
                                             negative MSRM balance held by Alameda
Faett, Jack             10/20/2023     0.8   Research relativity for explanation of large negative MSRM balance
                                             held in Alameda exchange account
Faett, Jack             10/20/2023     0.7   Review information sent by QE related to their question on large
                                             negative FTT balance by Alameda
Gordon, Robert          10/20/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including summary witness binder modules with R. Gordon, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Hainline, Drew          10/20/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including summary witness binder modules with R. Gordon, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/20/2023     1.7   Review batch 6 of screenshots for search results 163,824 - 172,174
                                             in Relativity related to the JPL production tracker
Mirando, Michael        10/20/2023     2.6   Research entity consolidation for DOTCOM entities

Stolyar, Alan           10/20/2023     1.3   Analyze Aspire Bank Statements with no titles in Relativity per JPL
                                             request
Stolyar, Alan           10/20/2023     1.4   Analyze register of members documents with no titles in Relativity
                                             per JPL request
Stolyar, Alan           10/20/2023     0.9   Analyze legal structure documents with no titles in Relativity per JPL
                                             request
Stolyar, Alan           10/20/2023     1.1   Analyze Offshore reports with no titles in Relativity per JPL request


Stolyar, Alan           10/20/2023     1.2   Analyze valuation models with no titles in Relativity per JPL request

Stolyar, Alan           10/20/2023     0.8   Analyze LinkedIn Screenshots with no titles in Relativity per JPL
                                             request
Stolyar, Alan           10/20/2023     0.6   Analyze utility reports with no titles in Relativity per JPL request

Sullivan, Christopher   10/20/2023     1.2   Create side-by-side for latest JPL term sheet


Zabcik, Kathryn         10/20/2023     2.4   Research in Relativity for emails around customer migration from
                                             the date the new terms of service went live
Zabcik, Kathryn         10/20/2023     0.4   Review FTX.com exchange account activity with fills for additional
                                             Quinn Emanuel data request
Zabcik, Kathryn         10/20/2023     1.3   Research in Relativity for emails around Can Sun's involvement in
                                             the terms of service
Zabcik, Kathryn         10/20/2023     0.9   Review the Can Sun testimony for Term of Service implications




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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Zabcik, Kathryn         10/20/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including summary witness binder modules with R. Gordon, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/21/2023     2.3   Review batch 6 of untitled attachments and WhatsApp images for
                                             search results 163,824 - 172,174 in Relativity related to the JPL
                                             production tracker
Maggard, Austin         10/21/2023     2.2   Review batch 7 of untitled attachments for search results 139,157 -
                                             145,174 in Relativity related to the JPL production tracker
Mosley, Ed              10/21/2023     1.9   Review of draft JPL term sheet and redline to prior version

Trent, Hudson           10/21/2023     0.8   Prepare initial review of JPL settlement updates based on latest turn
                                             from S&C
Mosley, Ed              10/22/2023     1.7   Review of and prepare comments to draft presentation of JPL deal
                                             economics and term sheet comparisons
Stolyar, Alan           10/22/2023     0.6   Analyze outgoing transaction screenshots with no titles in Relativity
                                             per JPL request
Stolyar, Alan           10/22/2023     1.2   Analyze basic tracker screenshots with no titles in Relativity per JPL
                                             request
Stolyar, Alan           10/22/2023     1.3   Analyze company vehicle documents with no titles in Relativity per
                                             JPL request
Stolyar, Alan           10/22/2023     0.9   Analyze position tracker screenshots with no titles in Relativity per
                                             JPL request
Sullivan, Christopher   10/22/2023     0.6   Discussion with C. Sullivan and H. Trent (A&M) to review latest turn
                                             of the JPL settlement analysis
Sullivan, Christopher   10/22/2023     1.1   Review revised term sheet from the JPL team

Trent, Hudson           10/22/2023     0.6   Discussion with C. Sullivan and H. Trent (A&M) to review latest turn
                                             of the JPL settlement analysis
Trent, Hudson           10/22/2023     2.8   Update JPL settlement analysis materials based on latest turn of
                                             term sheet from S&C
Trent, Hudson           10/22/2023     1.1   Update JPL settlement analysis materials based on feedback from
                                             A&M team
Arnett, Chris           10/23/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including summary witness binder prep with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Bolduc, Jojo            10/23/2023     0.6   Review email attachment captures to determine document criticality
                                             or relevancy status as party of JPL search terms
Bolduc, Jojo            10/23/2023     1.9   Review FTX support team chats in Relativity to determine relevancy
                                             as part of JPL document review
Bolduc, Jojo            10/23/2023     0.9   Update JPL Master document tracker with relevancy status for
                                             reviewed JPL documents
Bolduc, Jojo            10/23/2023     1.1   Review KYC application captures in Relativity to determine
                                             relevancy or criticalness
Bolduc, Jojo            10/23/2023     0.3   Review FTX account exchange balances to determine relevancy




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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Braatelien, Troy        10/23/2023     1.4   Perform critical document review of JPL production documents
                                             tranche #3 of set beginning at result 130,442
Braatelien, Troy        10/23/2023     1.3   Perform critical document review of JPL production documents
                                             tranche #1 of set beginning at result 130,442
Braatelien, Troy        10/23/2023     2.9   Perform critical document review of JPL production documents
                                             tranche #4 of set beginning at result 85,756
Braatelien, Troy        10/23/2023     0.9   Perform critical document review of JPL production documents
                                             tranche #4 of set beginning at result 130,442
Braatelien, Troy        10/23/2023     2.7   Perform critical document review of JPL production documents
                                             tranche #2 of set beginning at result 130,442
Broskay, Cole           10/23/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including summary witness binder prep with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Burns, Zach             10/23/2023     1.2   Analyze FTX Digital Markets internal communications between
                                             employees on Relativity in JPL document repository
Burns, Zach             10/23/2023     1.4   Analyze screenshots of customer FTX account balances in the JPL
                                             produced document repository on Relativity
Burns, Zach             10/23/2023     0.7   Review FTX Digital Markets communications to outside parties on
                                             Relativity in JPL document repository
Burns, Zach             10/23/2023     1.3   Review additional unnamed image files in JPL produced document
                                             repository in Relativity
Burns, Zach             10/23/2023     0.8   Review FTX Digital Markets employment contracts in JPL produced
                                             document repository in Relativity
Burns, Zach             10/23/2023     2.1   Analyze FTX Digital Markets operations documents in JPL
                                             document repository on Relativity
Burns, Zach             10/23/2023     0.8   Analyze untitled customer verification documentation for FTX
                                             platform in JPL produced document repository on Relativity
Coverick, Steve         10/23/2023     0.5   Call regarding JPL term sheet with A. Dietderich, A. Kranzley, and
                                             others (S&C), E. Mosley, S. Coverick, C. Sullivan, and H. Trent
                                             (A&M)
Gordon, Robert          10/23/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including summary witness binder prep with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Hainline, Drew          10/23/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including summary witness binder prep with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/23/2023     2.9   Review batch 9 of image files for search results 132,819 - 133,533 in
                                             Relativity related to the JPL production tracker
Maggard, Austin         10/23/2023     2.9   Review batch 8 of untitled attachments for search results 120,064 -
                                             124,803 in Relativity related to the JPL production tracker
Mosley, Ed              10/23/2023     0.5   Call regarding JPL term sheet with A. Dietderich, A. Kranzley, and
                                             others (S&C), E. Mosley, S. Coverick, C. Sullivan, and H. Trent
                                             (A&M)
Stolyar, Alan           10/23/2023     1.2   Analyze margin lending and lending history documents with no titles
                                             in Relativity per JPL request
Stolyar, Alan           10/23/2023     0.9   Analyze department of home affairs documents with no titles in
                                             Relativity per JPL request

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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Stolyar, Alan           10/23/2023     0.5   Analyze withdrawal details screenshots with no titles in Relativity per
                                             JPL request
Stolyar, Alan           10/23/2023     0.7   Analyze ATB Financial Secure Emails with no titles in Relativity per
                                             JPL request
Stolyar, Alan           10/23/2023     1.2   Analyze summary of account statements with no titles in Relativity
                                             per JPL request
Stolyar, Alan           10/23/2023     1.3   Analyze security alerts with no titles in Relativity per JPL request

Stolyar, Alan           10/23/2023     0.9   Analyze intel alerts with no titles in Relativity per JPL request


Stolyar, Alan           10/23/2023     1.1   Analyze foreign IDs with no titles in Relativity per JPL request

Stolyar, Alan           10/23/2023     1.4   Analyze advice of lodgment documents with no titles in Relativity per
                                             JPL request
Sullivan, Christopher   10/23/2023     0.6   Provide comments to revised JPL analysis

Sullivan, Christopher   10/23/2023     0.8   Review updates to the JPL distribution calculator


Sullivan, Christopher   10/23/2023     0.5   Call regarding JPL term sheet with A. Dietderich, A. Kranzley, and
                                             others (S&C), E. Mosley, S. Coverick, C. Sullivan, and H. Trent
                                             (A&M)
Trent, Hudson           10/23/2023     0.7   Prepare updated JPL settlement materials based on latest thinking
                                             from advisors
Trent, Hudson           10/23/2023     2.6   Prepare scenario analysis based on JPL settlement terms for
                                             advisor discussions
Trent, Hudson           10/23/2023     1.1   Update JPL settlement calculator based on revised claim review
                                             approach
Trent, Hudson           10/23/2023     1.2   Update JPL settlement calculator and materials based on advisor
                                             feedback
Trent, Hudson           10/23/2023     1.3   Incorporate JPL settlement timeline into detailed case timeline
                                             materials
Trent, Hudson           10/23/2023     0.5   Meeting with E. Mosely, S. Coverick, C. Sullivan & H. Trent (A&M)
                                             with A. Dietderich, J. Bromley & A. Kranzley (S&C) and J. Ray (FTX)
                                             to discuss JPL calculator and ongoing negotiations
Trent, Hudson           10/23/2023     0.5   Call regarding JPL term sheet with A. Dietderich, A. Kranzley, and
                                             others (S&C), E. Mosley, S. Coverick, C. Sullivan, and H. Trent
                                             (A&M)
Zabcik, Kathryn         10/23/2023     2.9   Review JPL production images marked as TBD from prior document
                                             review
Zabcik, Kathryn         10/23/2023     0.6   Update JPL production review slides for Quinn Emanuel

Zabcik, Kathryn         10/23/2023     0.2   Meeting to discuss open items for the JL Bahamas discovery
                                             including summary witness binder prep with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Arnett, Chris           10/24/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL production review with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)

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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Bolduc, Jojo            10/24/2023     0.6   Meeting to go over critical document search updates with A. Stolyar,
                                             J. Bolduc, and Z. Burns (A&M)
Braatelien, Troy        10/24/2023     2.1   Perform critical document review of JPL production documents
                                             tranche #7 of set beginning at result 130,442
Braatelien, Troy        10/24/2023     1.4   Perform critical document review of JPL production documents
                                             tranche #5 of set beginning at result 130,442
Braatelien, Troy        10/24/2023     2.6   Perform critical document review of JPL production documents
                                             tranche #6 of set beginning at result 130,442
Braatelien, Troy        10/24/2023     2.6   Perform critical document review of JPL production documents
                                             tranche #8 of set beginning at result 130,442
Braatelien, Troy        10/24/2023     0.3   Meeting to go over critical document search updates with K. Zabcik,
                                             T. Braatelien, and A. Maggard (A&M)
Broskay, Cole           10/24/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL production review with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Burns, Zach             10/24/2023     1.2   Analyze image files relating to customer deposits in the JPL
                                             produced document repository in Relativity
Burns, Zach             10/24/2023     0.3   Analyze image files relating to customer verification in Relativity in
                                             the JPL produced document repository
Burns, Zach             10/24/2023     0.3   Meeting to go over critical document search updates with A. Stolyar,
                                             J. Bolduc, and Z. Burns (A&M)
Burns, Zach             10/24/2023     0.9   Analyze image files showing customer data in the JPL produced
                                             document repository on Relativity
Burns, Zach             10/24/2023     2.6   Analyze image files relating to exchange transactions on the FTX
                                             platform in Relativity in the JPL produced document repository
Burns, Zach             10/24/2023     1.3   Analyze image files showing communications in applications like
                                             Signal between FTX employees in JPL produced document
                                             repository in Relativity
Burns, Zach             10/24/2023     1.7   Analyze image files relating to Alameda account balances on FTX
                                             platform in the JPL produced document repository in Relativity
Gordon, Robert          10/24/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL production review with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Hainline, Drew          10/24/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL production review with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/24/2023     0.3   Meeting to go over critical document search updates with K. Zabcik,
                                             T. Braatelien, and A. Maggard (A&M)
Maggard, Austin         10/24/2023     2.8   Review batch 10 of image files for search results 136,782 - 137,312
                                             in Relativity related to the JPL production tracker
Maggard, Austin         10/24/2023     2.6   Review batch 9 of untitled files for search results 135,131 - 135,700
                                             in Relativity related to the JPL production tracker
Maggard, Austin         10/24/2023     2.4   Review batch 9 of image and untitled files for search results
                                             133,534 - 135,130 in Relativity related to the JPL production tracker
Mosley, Ed              10/24/2023     1.8   Review of and prepare comments to draft JPL deal financial analysis
                                             of deal economics


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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Mosley, Ed              10/24/2023     1.2   Review of new draft of JPL term sheet and updated blackline

Stolyar, Alan           10/24/2023     1.1   Analyze open order history transaction listings with no titles in
                                             Relativity per JPL request
Stolyar, Alan           10/24/2023     0.3   Meeting to go over critical document search updates with A. Stolyar,
                                             J. Bolduc, and Z. Burns (A&M)
Stolyar, Alan           10/24/2023     0.9   Analyze closed order history transaction listings with no titles in
                                             Relativity per JPL request
Stolyar, Alan           10/24/2023     0.9   Analyze completed customer transfer details with no titles in
                                             Relativity per JPL request
Stolyar, Alan           10/24/2023     1.3   Analyze trade summary screenshots with no titles in Relativity per
                                             JPL request
Stolyar, Alan           10/24/2023     0.9   Analyze listed swaps graphs with no titles in Relativity per JPL
                                             request
Sullivan, Christopher   10/24/2023     0.4   Provide additional comments to revised JPL analysis

Trent, Hudson           10/24/2023     1.6   Prepare summary of proposed changes in latest turn of JPL
                                             settlement term sheet from UCC advisors
Trent, Hudson           10/24/2023     1.8   Prepare updated JPL settlement materials based on latest turn of
                                             term sheet from UCC advisors
Trent, Hudson           10/24/2023     1.3   Prepare JPL settlement progress tracker for purposes of ongoing
                                             discussions
Zabcik, Kathryn         10/24/2023     2.3   Search in Relativity for KYC customer communications involving
                                             digital markets before the TOS were published
Zabcik, Kathryn         10/24/2023     0.3   Meeting to go over critical document search updates with K. Zabcik,
                                             T. Braatelien, and A. Maggard (A&M)
Zabcik, Kathryn         10/24/2023     1.6   Review an additional 250 JPL production images marked as TBD
                                             from prior document review
Zabcik, Kathryn         10/24/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL production review with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Arnett, Chris           10/25/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL discovery progress with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Bolduc, Jojo            10/25/2023     2.6   Review email attachment images to determine relevancy as part of
                                             JPL critical document review
Braatelien, Troy        10/25/2023     2.2   Perform critical document review of JPL production documents
                                             tranche #2 of set beginning at result 139,819
Braatelien, Troy        10/25/2023     2.8   Perform critical document review of JPL production documents
                                             tranche #1 of set beginning at result 139,819
Braatelien, Troy        10/25/2023     2.8   Perform critical document review of JPL production documents
                                             tranche #3 of set beginning at result 139,819
Braatelien, Troy        10/25/2023     1.9   Perform critical document review of JPL production documents
                                             tranche #4 of set beginning at result 139,819




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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Broskay, Cole           10/25/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL discovery progress with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Gordon, Robert          10/25/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL discovery progress with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Hainline, Drew          10/25/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL discovery progress with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Maggard, Austin         10/25/2023     1.8   Review batch 10 of image files for search results 137,313 - 137,818
                                             in Relativity related to the JPL production tracker
Stolyar, Alan           10/25/2023     1.1   Analyze customer wire transfers with no titles in Relativity per JPL
                                             request
Stolyar, Alan           10/25/2023     1.1   Analyze charge of interest screenshots with no titles in Relativity per
                                             JPL request
Stolyar, Alan           10/25/2023     1.3   Analyze registry of member tables with no titles in Relativity per JPL
                                             request
Stolyar, Alan           10/25/2023     1.2   Analyze bunq transaction overviews with no titles in Relativity per
                                             JPL request
Stolyar, Alan           10/25/2023     1.3   Analyze register of member tables with no titles in Relativity per JPL
                                             request
Stolyar, Alan           10/25/2023     0.9   Analyze customer transfer details with no titles in Relativity per JPL
                                             request
Zabcik, Kathryn         10/25/2023     0.8   Update Dotcom customer activity summary for new data points on
                                             spot margin trading
Zabcik, Kathryn         10/25/2023     2.6   Review final potentially critical document set for JPL Production
                                             Review
Zabcik, Kathryn         10/25/2023     0.4   Update JPL production review slides for Quinn Emanuel as of
                                             10/25/23
Zabcik, Kathryn         10/25/2023     2.9   Review remaining image files for JPL production review

Zabcik, Kathryn         10/25/2023     0.3   Meeting to discuss open items for the JL Bahamas discovery
                                             including JPL discovery progress with R. Gordon, C. Arnett, C.
                                             Broskay, D. Hainline and K. Zabcik (A&M)
Broskay, Cole           10/26/2023     0.1   Meeting to discuss open items for the JL Bahamas discovery
                                             including finalized JPL production review with R. Gordon, C. Arnett,
                                             C. Broskay, D. Hainline and K. Zabcik (A&M)
Gordon, Robert          10/26/2023     0.1   Meeting to discuss open items for the JL Bahamas discovery
                                             including finalized JPL production review with R. Gordon, C. Arnett,
                                             C. Broskay, D. Hainline and K. Zabcik (A&M)
Sullivan, Christopher   10/26/2023     0.3   Provide comments to latest turn of the JPL side-by-side analysis

Zabcik, Kathryn         10/26/2023     0.1   Meeting to discuss open items for the JL Bahamas discovery
                                             including finalized JPL production review with R. Gordon, C. Arnett,
                                             C. Broskay, D. Hainline and K. Zabcik (A&M)
Trent, Hudson           10/27/2023     1.7   Prepare summary discussions materials for use during JPL in
                                             person meetings


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Joint Provisional Liquidators
Professional                 Date    Hours    Activity
Coverick, Steve         10/28/2023     1.6   Review and provide comments on JPL settlement discussion
                                             materials for upcoming meetings in Miami
Mosley, Ed              10/28/2023     1.1   Review of latest JPL financial analysis of deal economics and term
                                             sheet comparisons
Mosley, Ed              10/28/2023     2.6   Review of background materials in preparation for upcoming
                                             meetings with JPL
Coverick, Steve         10/30/2023     2.3   Review and provide comments on updated JPL settlement analysis
                                             ahead of 10/31 meeting
Mosley, Ed              10/30/2023     1.4   Review of updated JPL financial analysis of deal economics and
                                             term sheet comparisons
Sullivan, Christopher   10/30/2023     0.4   Review updated JPL analysis per latest term sheet drafts

Arnett, Chris           10/31/2023     0.3   Teleconference with C. Arnett, R. Gordon(A&M) over updates to
                                             case witness report
Coverick, Steve         10/31/2023     1.8   Participate in JPL settlement negotiation meeting re: inter-estate
                                             claims with JPLs (B. Simms, P. Greaves), W&C (C. Shore, B.
                                             Pfeiffer), FTX (J. Ray), S&C (A. Dietderich, J. Bromley), Maynard (J.
                                             Maynard), A&M (E. Mosley, S. Coverick, H. Trent)
Coverick, Steve         10/31/2023     2.7   Participate in JPL settlement negotiation meeting re: estate funding
                                             with JPLs (B. Simms, P. Greaves), W&C (C. Shore, B. Pfeiffer, B.
                                             Bakemeyer), FTX (J. Ray), S&C (A. Dietderich, J. Bromley),
                                             Maynard (J. Maynard), A&M (E. Mosley, S. Coverick)
Coverick, Steve         10/31/2023     2.8   Participate in JPL settlement negotiation meeting re: term sheet with
                                             JPLs (B. Simms, P. Greaves), W&C (C. Shore, B. Pfeiffer, B.
                                             Bakemeyer), FTX (J. Ray), S&C (A. Dietderich, J. Bromley),
                                             Maynard (J. Maynard), A&M (E. Mosley, S. Coverick)
Coverick, Steve         10/31/2023     1.7   Participate in JPL settlement negotiation meeting re: distribution
                                             mechanics with JPLs (B. Simms, P. Greaves), W&C (C. Shore, B.
                                             Pfeiffer, B. Bakemeyer), FTX (J. Ray), S&C (A. Dietderich, J.
                                             Bromley), A&M (E. Mosley, S. Coverick, H. Trent)
Gordon, Robert          10/31/2023     0.3   Teleconference with C. Arnett, R. Gordon(A&M) over updates to
                                             case witness report
Mosley, Ed              10/31/2023     1.7   Participate in JPL settlement negotiation meeting re: distribution
                                             mechanics with JPLs (B. Simms, P. Greaves), W&C (C. Shore, B.
                                             Pfeiffer, B. Bakemeyer), FTX (J. Ray), S&C (A. Dietderich, J.
                                             Bromley), A&M (E. Mosley, S. Coverick, H. Trent)
Mosley, Ed              10/31/2023     0.9   Participate in JPL break-out meeting with S&C (A.Dietderich,
                                             J.Bromley), J.Ray (FTX), P. Maynard (Maynard), and A&M
                                             (E.Mosley)
Mosley, Ed              10/31/2023     1.8   Participate in JPL settlement negotiation meeting re: inter-estate
                                             claims with JPLs (B. Simms, P. Greaves), W&C (C. Shore, B.
                                             Pfeiffer), FTX (J. Ray), S&C (A. Dietderich, J. Bromley), Maynard (J.
                                             Maynard), A&M (E. Mosley, S. Coverick, H. Trent)
Mosley, Ed              10/31/2023     0.2   Participate in discussion with A&M (E.Mosley, D. Lewandowski)
                                             regarding claims analysis in support of JPL deal for claims resolution
Mosley, Ed              10/31/2023     2.8   Participate in JPL settlement negotiation meeting re: term sheet with
                                             JPLs (B. Simms, P. Greaves), W&C (C. Shore, B. Pfeiffer, B.
                                             Bakemeyer), FTX (J. Ray), S&C (A. Dietderich, J. Bromley),
                                             Maynard (J. Maynard), A&M (E. Mosley, S. Coverick)


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Joint Provisional Liquidators
Professional                Date    Hours      Activity
Mosley, Ed             10/31/2023       2.7   Participate in JPL settlement negotiation meeting re: estate funding
                                              with JPLs (B. Simms, P. Greaves), W&C (C. Shore, B. Pfeiffer, B.
                                              Bakemeyer), FTX (J. Ray), S&C (A. Dietderich, J. Bromley),
                                              Maynard (J. Maynard), A&M (E. Mosley, S. Coverick)
Trent, Hudson          10/31/2023       1.3   Prepare refreshed JPL settlement analysis materials based on
                                              ongoing discussions with JPLs
Trent, Hudson          10/31/2023       0.9   Prepare updated JPL settlement claims flow diagram based on
                                              ongoing discussions with JPLs
Trent, Hudson          10/31/2023       1.7   Participate in JPL settlement negotiation meeting re: distribution
                                              mechanics with JPLs (B. Simms, P. Greaves), W&C (C. Shore, B.
                                              Pfeiffer, B. Bakemeyer), FTX (J. Ray), S&C (A. Dietderich, J.
                                              Bromley), A&M (E. Mosley, S. Coverick, H. Trent)
Trent, Hudson          10/31/2023       1.8   Participate in JPL settlement negotiation meeting re: inter-estate
                                              claims with JPLs (B. Simms, P. Greaves), W&C (C. Shore, B.
                                              Pfeiffer), FTX (J. Ray), S&C (A. Dietderich, J. Bromley), Maynard (J.
                                              Maynard), A&M (E. Mosley, S. Coverick, H. Trent)

Subtotal                            1,040.0

Kroll Security Incident
Professional                Date    Hours      Activity
Griffith, David         10/2/2023       0.8   Implement search protocol for identification of protected information


Johnson, Robert         10/2/2023       1.4   Review options for enabling MFA authentication on jump servers for
                                              all users
Johnson, Robert         10/2/2023       1.6   Implement additional recommended security options for jump servers

Johnson, Robert         10/2/2023       0.5   Call with D. Work, P. Todd, A. Kaufman, and R. Johnson (A&M) to
                                              discuss next steps for analyzing sensitive FTX data using analytics
                                              platform
Kaufman, Ashley         10/2/2023       0.5   Call with D. Work, P. Todd, A. Kaufman, and R. Johnson (A&M) to
                                              discuss next steps for analyzing sensitive FTX data using analytics
                                              platform
Tarikere, Sriram        10/2/2023       1.4   Review the security controls recommendations for FTX staff access
                                              and data sharing and provide guidance
Todd, Patrick           10/2/2023       3.1   Introduce latest MFA device responses into FTX staff access review
                                              tracker for analysis
Todd, Patrick           10/2/2023       1.1   Cleanup of previous FTX PII tracker prior to population of newer
                                              discoveries
Todd, Patrick           10/2/2023       3.1   Continue FTX database review for PII in Relativity environment


Todd, Patrick           10/2/2023       0.5   Call with D. Work, P. Todd, A. Kaufman, and R. Johnson (A&M) to
                                              discuss next steps for analyzing sensitive FTX data using analytics
                                              platform
Work, David             10/2/2023       1.6   Cross reference access list from FTX data storage platform to list of
                                              active and inactive FTX project staff
Work, David             10/2/2023       3.1   Create matrix to be used for analyzing FTX project staff access to
                                              data across data storage platform

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Kroll Security Incident
Professional              Date    Hours     Activity
Work, David           10/2/2023      1.9   Create and document method for tracking future FTX project staff
                                           access to FTX data storage platform
Work, David           10/2/2023      2.1   Create comprehensive list of FTX project staff with access to FTX
                                           data storage platform
Work, David           10/2/2023      0.5   Call with D. Work, P. Todd, A. Kaufman, and R. Johnson (A&M) to
                                           discuss next steps for analyzing sensitive FTX data using analytics
                                           platform
Grillo, Rocco         10/3/2023      1.4   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to review the
                                           feedback on the secure storage guidelines for FTX
Pandey, Vishal        10/3/2023      1.4   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to review the
                                           feedback on the secure storage guidelines for FTX
Ramanathan, Kumanan   10/3/2023      0.9   Review of cybersecurity documentation and provide mark-ups

Tarikere, Sriram      10/3/2023      1.4   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to review the
                                           feedback on the secure storage guidelines for FTX
Todd, Patrick         10/3/2023      3.1   Review of encryption guidelines for FTX data sharing SOP for
                                           additional use case identification
Todd, Patrick         10/3/2023      2.9   Review of sensitive terms within FTX data PII search to enhance
                                           filtered results
Work, David           10/3/2023      1.1   Provision staff access to FTX data storage platform and document
                                           level of access in access control lists
Work, David           10/3/2023      2.9   Troubleshoot discrepancies between FTX access control lists and
                                           true access levels on FTX data storage platform
Work, David           10/3/2023      2.6   Cross reference access control lists with true access levels on FTX
                                           data storage platform
Work, David           10/3/2023      2.3   Create summary and dashboard of initial findings from FTX data
                                           access review
Grillo, Rocco         10/4/2023      1.2   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to review the
                                           edits, feedback and revisions for the FTX data security guidelines
                                           document
Pandey, Vishal        10/4/2023      1.2   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to review the
                                           edits, feedback and revisions for the FTX data security guidelines
                                           document
Sagen, Daniel         10/4/2023      0.4   Correspondence with A&M team members regarding updates to
                                           client data security measures
Tarikere, Sriram      10/4/2023      1.8   Review current status of FTX Project data platform visibility and
                                           document gaps
Tarikere, Sriram      10/4/2023      1.2   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to review the
                                           edits, feedback and revisions for the FTX data security guidelines
                                           document
Todd, Patrick         10/4/2023      3.1   Analysis of flagged FTX documents for potential search procedure
                                           enhancements
Todd, Patrick         10/4/2023      3.1   Refine sensitive terms within PII search to limit false positives

Work, David           10/4/2023      1.9   Create plan for increasing FTX data storage platform visibility and
                                           next steps


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Kroll Security Incident
Professional              Date    Hours     Activity
Work, David           10/4/2023      2.9   Document status of FTX data platform access review and FTX
                                           access control procedures
Work, David           10/4/2023      2.1   Document current state of FTX data storage platform architecture


Work, David           10/4/2023      1.8   Review current status of FTX data platform visibility and document
                                           gaps
Work, David           10/4/2023      0.3   Create support ticket with data storage platform administrator to
                                           explore further automated discovery of FTX access levels
Kaufman, Ashley       10/5/2023      2.3   Create file tree listing for folder structure and data access on FTX
                                           Project data storage platform
Kaufman, Ashley       10/5/2023      2.1   Develop automation for populating data in file tree listing for FTX
                                           Project staff access analysis
Tarikere, Sriram      10/5/2023      1.4   Review of sensitive terms within PII search of the FTX data to
                                           enhance filtered results
Todd, Patrick         10/5/2023      3.1   Further analysis of aggregated PII metadata hits for efficiency
                                           improvements
Todd, Patrick         10/5/2023      2.2   Add newest engagement use cases to FTX data encryption
                                           procedure guidance
Todd, Patrick         10/5/2023      3.1   Identify false positive hits amongst top-ten results within PII search

Work, David           10/5/2023      0.6   Respond to FTX staff access requests to FTX data storage platform
                                           and provision requested access
Gordon, Robert        10/6/2023      0.2   Update records of processing activities for EU requirement


Grillo, Rocco         10/6/2023      1.6   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to discuss the
                                           FTX cyber workstreams and review the FTX data security procedures
Grillo, Rocco         10/6/2023      1.1   Call with S. Tarikere, V. Pandey, A. Kaufman, P. Todd, and R. Grillo
                                           (A&M) to discuss FTX PII discovery and access review progress /
                                           strategy
Kaufman, Ashley       10/6/2023      1.7   Collect data for file tree listing access review of the current FTX
                                           project staff and populate file tree data
Kaufman, Ashley       10/6/2023      3.2   Evaluate and troubleshoot automation for file tree access review

Kaufman, Ashley       10/6/2023      1.1   Call with S. Tarikere, V. Pandey, A. Kaufman, P. Todd, and R. Grillo
                                           (A&M) to discuss FTX PII discovery and access review progress /
                                           strategy
Pandey, Vishal        10/6/2023      1.1   Call with S. Tarikere, V. Pandey, A. Kaufman, P. Todd, and R. Grillo
                                           (A&M) to discuss FTX PII discovery and access review progress /
                                           strategy
Pandey, Vishal        10/6/2023      1.6   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to discuss the
                                           FTX cyber workstreams and review the FTX data security procedures
Tarikere, Sriram      10/6/2023      1.1   Call with S. Tarikere, V. Pandey, A. Kaufman, P. Todd, and R. Grillo
                                           (A&M) to discuss FTX PII discovery and access review progress /
                                           strategy
Tarikere, Sriram      10/6/2023      1.6   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to discuss the
                                           FTX cyber workstreams and review the FTX data security procedures


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Kroll Security Incident
Professional               Date    Hours    Activity
Todd, Patrick          10/6/2023     3.1   Sample document analysis of certain sensitive term fields to validate
                                           accuracy
Todd, Patrick          10/6/2023     1.9   Edit of FTX secure data file sharing standard operating procedures
                                           to clarify scope
Todd, Patrick          10/6/2023     3.1   Additional review of tagged PII documents within FTX data to identify
                                           outliers
Todd, Patrick          10/6/2023     1.1   Call with S. Tarikere, V. Pandey, A. Kaufman, P. Todd, and R. Grillo
                                           (A&M) to discuss FTX PII discovery and access review progress /
                                           strategy
Work, David            10/6/2023     0.4   Provision FTX staff access to FTX data storage platform and track
                                           access levels in tracking documentation
Sagen, Daniel          10/7/2023     0.3   Update data security protocols for select team members per request

Chambers, Henry        10/8/2023     0.9   Correspondence with A&M team regarding use of KYC information
                                           to assist in Kroll security incident remediation
Kaufman, Ashley        10/9/2023     2.4   Review file tree access review folder permissions


Tarikere, Sriram       10/9/2023     1.4   Review the security controls recommendations for FTX staff access
                                           and data sharing and provide guidance
Todd, Patrick          10/9/2023     2.3   Analysis of potentially discarded search terms to validate irrelevance
                                           in PII documentation search
Grillo, Rocco         10/10/2023     1.9   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to discuss the
                                           FTX Cyber workstreams and review the data security procedures
Kaufman, Ashley       10/10/2023     2.7   Compile data for file tree access review


Pandey, Vishal        10/10/2023     1.9   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to discuss the
                                           FTX Cyber workstreams and review the data security procedures
Tarikere, Sriram      10/10/2023     1.9   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to discuss the
                                           FTX Cyber workstreams and review the data security procedures
Todd, Patrick         10/10/2023     2.9   Validate PII discovery within lower-frequency and foreign-based
                                           sensitive terms
Todd, Patrick         10/10/2023     2.8   Secure FTX data file sharing alterations based on continued
                                           feedback from leadership
Kaufman, Ashley       10/11/2023     2.6   Perform data aggregation for file tree access review


Tarikere, Sriram      10/11/2023     1.2   Review access controls lists for further engagement folders on FTX
                                           data storage platform
Tarikere, Sriram      10/11/2023     1.8   Review current status of FTX Project data platform visibility and
                                           document gaps
Todd, Patrick         10/11/2023     2.2   Review of sensitive FTX environment access request compliance for
                                           global resources
Todd, Patrick         10/11/2023     2.9   Validate sensitive search terms used to identify PII within FTX
                                           documentation
Grillo, Rocco         10/12/2023     0.8   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to discuss
                                           ongoing progress on the FTX Data PII discovery efforts


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Kroll Security Incident
Professional               Date    Hours    Activity
Kaufman, Ashley       10/12/2023     2.1   Refine data aggregation for file tree access review

Mohammed, Azmat       10/12/2023     0.4   Facilitate engineering time to review data of impacted Kroll Security
                                           Incident claimants
Pandey, Vishal        10/12/2023     0.8   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to discuss
                                           ongoing progress on the FTX Data PII discovery efforts
Tarikere, Sriram      10/12/2023     0.8   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to discuss
                                           ongoing progress on the FTX Data PII discovery efforts
Todd, Patrick         10/12/2023     3.1   Review of FTX staff access requests amongst various Box
                                           environments following secure protocols
Todd, Patrick         10/12/2023     2.2   Sample analysis of lower-frequency sensitive search terms for PII
                                           validation
Todd, Patrick         10/12/2023     2.9   Refine sensitive search terms within documentation for discovery of
                                           PII
Work, David           10/12/2023     2.9   Compare FTX access control lists to true access metrics on FTX
                                           data storage platform to identify discrepancies
Work, David           10/12/2023     2.8   Review access controls lists for further FTX engagement folders on
                                           FTX data storage platform
Work, David           10/12/2023     1.6   Identify and document discrepancies between FTX data storage
                                           platform access and FTX access level tracking documentation
Work, David           10/12/2023     2.3   Update FTX access control list to represent current access levels
                                           across multiple FTX folder environments on data storage platform
Flynn, Matthew        10/13/2023     0.3   Call with M. Flynn, K. Ramanathan, S. Tarikere, P. Todd, R. Grillo
                                           (A&M) to discuss FTX cyber security requirements and procedures
Grillo, Rocco         10/13/2023     0.3   Call with M. Flynn, K. Ramanathan, S. Tarikere, P. Todd, R. Grillo
                                           (A&M) to discuss FTX cyber security requirements and procedures
Grillo, Rocco         10/13/2023     1.8   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to review the
                                           feedback on SOP revisions and PII discovery strategy
Kaufman, Ashley       10/13/2023     0.6   Call with S. Tarikere, D. Work, A. Kaufman, and P. Todd (A&M) to
                                           discuss FTX SOP revisions and FTX PII discovery strategy
Pandey, Vishal        10/13/2023     1.8   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to review the
                                           feedback on FTX Project SOP revisions and PII discovery strategy
Ramanathan, Kumanan   10/13/2023     0.3   Call with M. Flynn, K. Ramanathan, S. Tarikere, P. Todd, R. Grillo
                                           (A&M) to discuss FTX cyber security requirements and procedures
Tarikere, Sriram      10/13/2023     0.3   Call with M. Flynn, K. Ramanathan, S. Tarikere, P. Todd, R. Grillo
                                           (A&M) to discuss FTX cyber security requirements and procedures
Tarikere, Sriram      10/13/2023     0.6   Call with S. Tarikere, D. Work, A. Kaufman, and P. Todd (A&M) to
                                           discuss FTX SOP revisions and FTX PII discovery strategy
Tarikere, Sriram      10/13/2023     1.8   Call with S. Tarikere, R. Grillo, and V. Pandey (A&M) to review the
                                           feedback on SOP revisions and PII discovery strategy
Todd, Patrick         10/13/2023     2.2   Validate discovered email addresses within engagement
                                           documentation
Todd, Patrick         10/13/2023     2.6   Identify ft global emails within engagement documentation




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Kroll Security Incident
Professional               Date    Hours    Activity
Todd, Patrick         10/13/2023     3.1   Identify FTX US emails within engagement documentation

Todd, Patrick         10/13/2023     0.3   Call with M. Flynn, K. Ramanathan, S. Tarikere, P. Todd, R. Grillo
                                           (A&M) to discuss FTX cyber security requirements and procedures
Todd, Patrick         10/13/2023     0.6   Call with S. Tarikere, D. Work, A. Kaufman, and P. Todd (A&M) to
                                           discuss FTX SOP revisions and FTX PII discovery strategy
Work, David           10/13/2023     2.9   Update access control lists across multiple FTX data storage
                                           platform environments
Work, David           10/13/2023     2.4   Create access control lists for further environments within FTX data
                                           storage platform
Work, David           10/13/2023     1.6   Provision FTX staff access to specific folders within FTX data
                                           storage platform
Work, David           10/13/2023     2.1   Analyze FTX data storage platform access tracking documentation
                                           to identify possible security posture improvement opportunities
Work, David           10/13/2023     0.6   Call with S. Tarikere, D. Work, A. Kaufman, and P. Todd (A&M) to
                                           discuss FTX SOP revisions and FTX PII discovery strategy
Tarikere, Sriram      10/16/2023     1.9   Review the security questions from S&C and Sygnia with regards to
                                           the recent Kroll Incident
Todd, Patrick         10/16/2023     3.1   Review of potential discarded sensitive search terms for potentially
                                           relevant identifiers
Todd, Patrick         10/16/2023     2.8   Enhance FTX Box access review procedures to include additional
                                           environments
Work, David           10/16/2023     2.9   Create and update access control lists for further FTX data storage
                                           platform environments
Work, David           10/16/2023     0.8   Correspond with FTX project staff regarding potential updates to
                                           access control procedures
Work, David           10/16/2023     1.9   Analyze and review newly created access tracking documentation
                                           for FTX data storage environments
Work, David           10/16/2023     1.1   Provision access to specific FTX folders within data storage platform
                                           based on FTX staff requests
Work, David           10/16/2023     0.9   Document access levels in tracking documentation for newly
                                           provisioned FTX staff
Work, David           10/16/2023     1.1   Create and test distribution list to streamline FTX access request
                                           process
Grillo, Rocco         10/17/2023     1.8   Call with S. Tarikere, R.Grillo, and V. Pandey (A&M) to assess
                                           progress against multiple FTX cyber workstreams and efforts -
                                           including ongoing FTX access review tasks
Johnson, Robert       10/17/2023     0.2   Call with P. Todd, D. Work, A. Kaufman, R. Johnson (A&M) to
                                           discuss Relativity datasets and review
Pandey, Vishal        10/17/2023     1.8   Call with S. Tarikere, R.Grillo, and V. Pandey (A&M) to assess
                                           progress against multiple FTX cyber workstreams and efforts -
                                           including ongoing FTX access review tasks
Tarikere, Sriram      10/17/2023     1.8   Call with S. Tarikere, R.Grillo, and V. Pandey (A&M) to assess
                                           progress against multiple FTX cyber workstreams and efforts -
                                           including ongoing FTX access review tasks



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Kroll Security Incident
Professional               Date    Hours    Activity
Todd, Patrick         10/17/2023     2.6   Identify sensitive email addresses across FTX data platform and
                                           engagement documentation
Todd, Patrick         10/17/2023     2.8   Validate initial set of discovered addresses to ensure accuracy


Todd, Patrick         10/17/2023     2.7   Explore forensic software to identify efficiency improvement
                                           opportunities within sensitive information discovery process within
                                           FTX data platform
Work, David           10/17/2023     2.1   Compare access control lists with live FTX data storage platform
                                           environments to identify areas for improvement
Work, David           10/17/2023     0.9   Cross reference access levels across two FTX data storage platform
                                           environments to begin comprehensive analysis
Work, David           10/17/2023     2.3   Update FTX data storage platform access control lists to align with
                                           current state of access for FTX users
Work, David           10/17/2023     2.9   Review metadata exports from FTX data storage platform and cross
                                           reference with current access control lists for two environments
Grillo, Rocco         10/18/2023     2.1   Call with S. Tarikere, R.Grillo, and V. Pandey (A&M) to review FTX
                                           file sharing SOP changes and FTX access review strategy
Pandey, Vishal        10/18/2023     2.1   Call with S. Tarikere, R.Grillo, and V. Pandey (A&M) to review FTX
                                           file sharing SOP changes and FTX access review strategy
Ramanathan, Kumanan   10/18/2023     0.4   Call with D. Shivbalak (A&M) to discuss cybersecurity responses for
                                           Sygnia team
Tarikere, Sriram      10/18/2023     1.8   Review and update Standard Operating Procedure documentation to
                                           reflect new design for data storage platform for the FTX project
                                           workstreams
Tarikere, Sriram      10/18/2023     2.1   Call with S. Tarikere, R.Grillo, and V. Pandey (A&M) to review FTX
                                           file sharing SOP changes and FTX access review strategy
Todd, Patrick         10/18/2023     2.8   Review of newly tagged documentation to verify existence of
                                           sensitive email addresses
Todd, Patrick         10/18/2023     3.1   Continue sensitive email identification amongst engagement
                                           documentation
Todd, Patrick         10/18/2023     2.7   Reduce false positive hits amongst sensitive email results


Work, David           10/18/2023     2.3   Analyze access level metrics within multiple FTX access control lists
                                           to identify potential anomalies
Work, David           10/18/2023     2.7   Create formulas to produce metrics on access levels across multiple
                                           FTX data storage platform environments
Work, David           10/18/2023     1.2   Create and update a comprehensive list of staff with access to FTX
                                           data storage platform for further analysis
Work, David           10/18/2023     0.6   Manage staff access to specific FTX data storage platform
                                           environments
Work, David           10/18/2023     1.6   Cross reference access control lists for multiple FTX data storage
                                           platform environments with updated list of active FTX staff for further
                                           analysis
Tarikere, Sriram      10/19/2023     0.3   Discuss with A&M Corporate Information security team on the
                                           responses to the Sygnia Security Questionnaire



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Kroll Security Incident
Professional                Date    Hours    Activity
Tarikere, Sriram       10/19/2023     1.6   Correspond with various A&M stakeholders on the responses to the
                                            Sygnia security questions
Todd, Patrick          10/19/2023     2.9   Include additional guidance around file collaboration using approved
                                            applications within file sharing SOP
Todd, Patrick          10/19/2023     3.1   Tagged documentation believed to have @ftx email addresses
                                            within data share
Todd, Patrick          10/19/2023     2.9   Tagged documentation believed to have FTX client and employee
                                            PII within them
Work, David            10/19/2023     2.9   Begin documentation of Standard Operating Procedure to be used
                                            for FTX data access requests and continuous reviews
Work, David            10/19/2023     0.2   Review potential FTX security event and correspond with FTX staff
                                            member to provide guidance on next steps
Work, David            10/19/2023     3.1   Review and update Standard Operating Procedure documentation to
                                            reflect new design for FTX data storage platform
Work, David            10/19/2023     1.6   Update architecture diagram to reflect new design and security
                                            features for FTX data storage platform used by staff
Kaufman, Ashley        10/20/2023     0.4   Call with S. Tarikere, D. Work, A. Kaufman, V. Pandey and P. Todd
                                            (A&M) to discuss FTX file sharing SOP changes and FTX access
                                            review strategy
Lewandowski, Douglas   10/20/2023     0.8   Review jurisdiction information for additional leaked parties


Mohammed, Azmat        10/20/2023     0.4   Research and identify residency and nationalities of KSI impacted
                                            customers from KYC data
Pandey, Vishal         10/20/2023     0.4   Call with S. Tarikere, D. Work, A. Kaufman, V. Pandey and P. Todd
                                            (A&M) to discuss FTX file sharing SOP changes and FTX access
                                            review strategy
Ramanathan, Kumanan    10/20/2023     1.2   Review response list for cybersecurity inquiries and provide feedback


Sagen, Daniel          10/20/2023     0.4   Update select personnel client data security measures

Tarikere, Sriram       10/20/2023     0.4   Call with S. Tarikere, D. Work, A. Kaufman, V. Pandey and P. Todd
                                            (A&M) to discuss FTX file sharing SOP changes and FTX access
                                            review strategy
Todd, Patrick          10/20/2023     2.9   Review of email address tagged documentation to validate findings
                                            within datastore
Todd, Patrick          10/20/2023     3.1   Review of PII tagged documentation to validate findings within
                                            datastore
Todd, Patrick          10/20/2023     0.4   Call with S. Tarikere, D. Work, A. Kaufman, V. Pandey and P. Todd
                                            (A&M) to discuss FTX file sharing SOP changes and FTX access
                                            review strategy
Work, David            10/20/2023     2.7   Continue to create documentation of procedures for FTX data
                                            access requests and continuous reviews
Work, David            10/20/2023     0.6   Add staff members to requested FTX folder environments in data
                                            storage platform
Work, David            10/20/2023     1.6   Review and update status documentation for FTX security access
                                            review workstream


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Kroll Security Incident
Professional               Date    Hours    Activity
Work, David           10/20/2023     2.6   Create method for collecting additional information on access and
                                           sharing mechanisms used in collaboration platform for FTX
Work, David           10/20/2023     0.4   Call with S. Tarikere, D. Work, A. Kaufman, V. Pandey and P. Todd
                                           (A&M) to discuss FTX file sharing SOP changes and FTX access
                                           review strategy
Work, David           10/21/2023     0.3   Approve and provision FTX staff access to data storage platform
                                           environment per staff requests
Flynn, Matthew        10/23/2023     0.4   Review crypto workstream data access

Hainline, Drew        10/23/2023     0.2   Draft information request to gather information for cybersecurity team


Hainline, Drew        10/23/2023     0.6   Gather information on team channels for cybersecurity compliance
                                           for the case
Todd, Patrick         10/23/2023     2.9   Create Teams access review tracker for all FTX Teams channels in
                                           response to Sygnia security control audit
Todd, Patrick         10/23/2023     3.1   Outreach to ascertain populations within certain FTX workstreams to
                                           begin access reviews
Todd, Patrick         10/23/2023     1.9   Disburse access requests within various FTX Box environments

Work, David           10/23/2023     2.9   Reach out to FTX staff to gather metrics on device usage to access
                                           data storage and collaboration platforms
Work, David           10/23/2023     2.7   Populate tracking documentation to further analyze platform and
                                           device usage metrics for FTX staff
Work, David           10/23/2023     2.8   Gather metrics on FTX data platform access and usage from staff
                                           members
Grillo, Rocco         10/24/2023     1.1   Call with S. Tarikere, R.Grillo, and V. Pandey (A&M) to assess
                                           progress against multiple FTX Cyber workstreams and efforts -
                                           including ongoing FTX project staff access review tasks
Pandey, Vishal        10/24/2023     1.1   Call with S. Tarikere, R.Grillo, and V. Pandey (A&M) to assess
                                           progress against multiple FTX Cyber workstreams and efforts -
                                           including ongoing FTX project staff access review tasks
Tarikere, Sriram      10/24/2023     1.1   Call with S. Tarikere, R.Grillo, and V. Pandey (A&M) to assess
                                           progress against multiple FTX Cyber workstreams and efforts -
                                           including ongoing FTX project staff access review tasks
Tarikere, Sriram      10/24/2023     2.4   Review the additional tasks needed to respond to S&C and Sygnia
                                           questionnaire with regards to the recent Kroll Incident
Todd, Patrick         10/24/2023     3.1   Population of FTX staff access review tracker in response to
                                           additional information from workstream leads
Todd, Patrick         10/24/2023     2.9   Outreach to request populations within remaining FTX workstreams
                                           to begin access reviews
Todd, Patrick         10/24/2023     2.6   Complete employee metadata fields within access review tracker

Work, David           10/24/2023     2.6   Continue to gather metrics on FTX data storage platform access and
                                           usage from FTX staff members
Work, David           10/24/2023     2.8   Continue to gather metrics on devices used to access FTX data
                                           storage and collaboration platforms


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Kroll Security Incident
Professional               Date    Hours    Activity
Work, David           10/24/2023     0.3   Provision FTX staff access to requested folder environments in FTX
                                           data storage platform
Work, David           10/24/2023     2.4   Populate tracking documentation with metrics provided by FTX staff
                                           regarding FTX data storage and collaboration platform usage and
                                           device usage
Tarikere, Sriram      10/25/2023     1.9   Review and revise Standard Operating Procedure documentation for
                                           FTX project
Todd, Patrick         10/25/2023     2.8   Final outreach / follow-up of the outstanding FTX workstream
                                           populations to complete initial access tracker
Todd, Patrick         10/25/2023     2.2   Format improvement of FTX access review tracker to facilitate future
                                           recurring reviews
Todd, Patrick         10/25/2023     3.1   Continue additional data entry from FTX workstream leads regarding
                                           lists of individuals with access to engagement materials
Work, David           10/25/2023     3.1   Reach out to additional FTX staff to collect usage metrics for
                                           platform and device usage
Work, David           10/25/2023     2.2   Follow up with FTX staff regarding non-response to platform and
                                           device usage metric questionnaire
Work, David           10/25/2023     2.9   Follow up with FTX staff to clarify previous platform and device
                                           usage responses
Hainline, Drew        10/26/2023     0.2   Gather information related to security protocol for accounting
                                           workstream
Johnson, Robert       10/26/2023     0.4   Review request associated with KYC information data associated
                                           with additional Kroll incident users
Tarikere, Sriram      10/26/2023     1.8   Correspond with various A&M stakeholders on the responses to the
                                           Sygnia security questions
Tarikere, Sriram      10/26/2023     0.3   Review the different FTX channels and work with the team to review
                                           the user access
Todd, Patrick         10/26/2023     3.1   Continue Sygnia response development to facilitate visibility into
                                           current security enhancement procedures
Todd, Patrick         10/26/2023     2.6   Escalate remaining access tracker requests to FTX engagement
                                           leadership to ensure timely response
Todd, Patrick         10/26/2023     2.7   Validate submitted population information within each individual
                                           channel / chat group
Work, David           10/26/2023     1.3   Contact FTX staff members with outlying platform and device usage
                                           survey responses to ensure accuracy
Work, David           10/26/2023     1.9   Send additional follow ups to FTX staff that has not responded to
                                           platform and device usage metric questionnaires
Work, David           10/26/2023     2.6   Update FTX staff platform and device tracking documentation based
                                           on newly received responses
Work, David           10/26/2023     2.3   Add FTX staff to specified folders on FTX data storage platform per
                                           requests and verify cybersecurity controls prior to enabling their
                                           access
Grillo, Rocco         10/27/2023     2.4   Review of Sygnia response development process to facilitate
                                           visibility into current security enhancement procedures
Grillo, Rocco         10/27/2023     0.6   Call with V. Pandey, R. Grillo and P. Todd (A&M) to discuss external
                                           FTX project audit response progress and next steps

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Kroll Security Incident
Professional               Date    Hours    Activity
Johnson, Robert       10/27/2023     0.3   Review request associated with KYC data attributable to users
                                           affected by Kroll security incident
Kaufman, Ashley       10/27/2023     0.6   Call with S. Tarikere, D. Work, and A. Kaufman (A&M) to discuss
                                           external FTX project audit response progress and next steps
Mohammed, Azmat       10/27/2023     0.6   Collect residency and nationalities of KSI impacted customers from
                                           KYC data
Pandey, Vishal        10/27/2023     2.3   Review of Sygnia response development process to facilitate
                                           visibility into current security enhancement procedures to protect
                                           A&M FTX project data and users
Pandey, Vishal        10/27/2023     0.6   Call with V. Pandey, R. Grillo and P. Todd (A&M) to discuss external
                                           FTX project audit response progress and next steps
Tarikere, Sriram      10/27/2023     0.6   Call with S. Tarikere, D. Work, and A. Kaufman (A&M) to discuss
                                           external FTX project audit response progress and next steps
Todd, Patrick         10/27/2023     2.9   Improve secure file sharing practice to close loose ends identified by
                                           FTX engagement staff
Todd, Patrick         10/27/2023     2.1   Cleanse and validation of newly submitted FTX engagement access
                                           review information
Todd, Patrick         10/27/2023     1.3   Complete incoming Box access requests by FTX engagement staff

Todd, Patrick         10/27/2023     0.6   Call with V. Pandey, R. Grillo and P. Todd (A&M) to discuss external
                                           FTX project audit response progress and next steps
Work, David           10/27/2023     0.4   Send final follow up notice to outstanding FTX staff members to
                                           provide questionnaire response
Work, David           10/27/2023     1.2   Verify FTX staff cybersecurity controls prior to enabling access on
                                           FTX data storage platform
Work, David           10/27/2023     1.2   Correspond with FTX team leadership and outstanding FTX staff
                                           members to finalize survey responses
Work, David           10/27/2023     1.1   Update tracking documentation based on FTX platform and device
                                           usage survey response follow ups
Work, David           10/27/2023     1.6   Add FTX staff to FTX data storage platform folders based on
                                           incoming requests
Work, David           10/27/2023     0.6   Correspond with FTX staff regarding request to create new folder to
                                           be used with external partners for FTX data sharing purposes
Work, David           10/27/2023     0.6   Call with S. Tarikere, D. Work, and A. Kaufman (A&M) to discuss
                                           external FTX project audit response progress and next steps
Work, David           10/27/2023     0.6   Correspond with FTX team members to align on status of
                                           information gathering workstreams for external FTX project audit
Chambers, Henry       10/29/2023     1.4   Review BitGo KYC information collected to respond to S&C request
                                           on residency and nationality of users
Flynn, Matthew        10/30/2023     0.8   Review and provide comments on cyber summary of procedures
                                           memo
Ramanathan, Kumanan   10/30/2023     1.3   Review and coordinate cybersecurity responses for counsel and
                                           Sygnia
Todd, Patrick         10/30/2023     2.8   Population of final resource information into respective workstream
                                           tabs within FTX access review tracker


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Kroll Security Incident
Professional                Date    Hours     Activity
Todd, Patrick          10/30/2023      2.9   Facilitate access requests in accordance to new security
                                             enhancement guidelines developed for FTX engagement
Todd, Patrick          10/30/2023      2.6   Incorporate future access request tracker into current FTX Teams
                                             review tracker
Work, David            10/30/2023      2.9   Research further security design improvements in FTX data storage
                                             platform migration and consolidation to new environment
Work, David            10/30/2023      0.7   Correspond with FTX project leadership to confirm validation of
                                             security metrics to respond to external FTX project audit
                                             questionnaire
Work, David            10/30/2023      2.4   Begin documenting plan to perform migration of FTX data storage
                                             platform environment to implement improved security posture
Work, David            10/30/2023      2.1   Prepare comprehensive tracking documentation across multiple FTX
                                             data storage environments to further analyze activities for migration
Grillo, Rocco          10/31/2023      1.4   Call with S. Tarikere, R.Grillo, and V. Pandey (A&M) to assess
                                             progress against multiple FTX Cyber workstreams and efforts -
                                             including ongoing FTX project staff access review tasks
Pandey, Vishal         10/31/2023      1.4   Call with S. Tarikere, R.Grillo, and V. Pandey (A&M) to assess
                                             progress against multiple FTX Cyber workstreams and efforts -
                                             including ongoing FTX project staff access review tasks
Ramanathan, Kumanan    10/31/2023      0.9   Review and provide feedback on cybersecurity matters re: FTX data


Tarikere, Sriram       10/31/2023      1.4   Call with S. Tarikere, R.Grillo, and V. Pandey (A&M) to assess
                                             progress against multiple FTX Cyber workstreams and efforts -
                                             including ongoing FTX project staff access review tasks
Todd, Patrick          10/31/2023      2.8   Format improvements within access tracker to enhance future
                                             access review process
Todd, Patrick          10/31/2023      3.1   Review of FTX access tracker to confirm completion and identify any
                                             guest accounts
Work, David            10/31/2023      2.1   Cross reference FTX data storage platform access tracking with
                                             access tracking documentation for collaboration tool
Work, David            10/31/2023      0.2   Respond to FTX staff requests for FTX data storage platform access


Work, David            10/31/2023      1.4   Research further opportunities to maintain best practices for FTX
                                             data storage platform security posture to be implemented across
                                             multiple environments
Work, David            10/31/2023      2.2   Continue consolidation of FTX data storage platform tracking across
                                             multiple FTX environments for comprehensive analysis and migration
Work, David            10/31/2023      2.4   Continue developing and documenting procedures for onboarding
                                             and offboarding activities to be performed for FTX engagement staff

Subtotal                             423.7

Liquidation Analysis
Professional                Date    Hours     Activity
Cooper, James           10/6/2023      1.8   Evaluate entity liquidation Gantt chart and analysis for inclusion in
                                             post-confirmation budget model



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Liquidation Analysis
Professional                 Date    Hours    Activity
Wall, Guy               10/13/2023     0.8   Review DWTC portal obligations for deregistration confirmation in
                                             the event of finalization
Wall, Guy               10/13/2023     0.6   Review UAE liquidation requirements for clearance documentation


Witherspoon, Samuel     10/13/2023     2.2   Compile differences in a chapter 7 liquidation to the chapter 11 wind-
                                             down
Witherspoon, Samuel     10/16/2023     2.2   Create draft materials of comparisons of liquidation analysis to the
                                             Debtors assumptions
Coverick, Steve         10/17/2023     0.8   Discuss crypto valuation for best interest test with K. Ramanathan,
                                             S. Coverick (A&M)
Witherspoon, Samuel     10/17/2023     0.8   Refine initial draft assumptions of the FTX liquidation analysis based
                                             on data from other bankruptcies
Witherspoon, Samuel     10/17/2023     1.6   Analyze liquidation analysis assumptions of the Genesis bankruptcy


Witherspoon, Samuel     10/17/2023     1.8   Summarize analysis of comparable liquidation analysis into draft
                                             materials
Witherspoon, Samuel     10/17/2023     1.4   Analyze liquidation analysis assumptions of the Celsius bankruptcy


Witherspoon, Samuel     10/17/2023     2.0   Analyze liquidation analysis assumptions of the Lehman Brothers
                                             bankruptcy
Witherspoon, Samuel     10/18/2023     1.7   Summarize discounts to asset values from filed Plan agreements
                                             and best interest tests
Witherspoon, Samuel     10/18/2023     2.4   Update draft materials of comparisons to liquidation analyses with
                                             edits from A&M team
Witherspoon, Samuel     10/19/2023     1.7   Refine detailed assumptions of the liquidation analysis case
                                             comparable files
Coverick, Steve         10/20/2023     0.9   Review and provide comments on preliminary scenario re: best
                                             interests test
Sullivan, Christopher   10/20/2023     1.7   Draft liquidation analysis deck template

Witherspoon, Samuel     10/20/2023     1.7   Update comparison of best interest tests for additional bankruptcies


Witherspoon, Samuel     10/24/2023     1.3   Update best interest test deck with edits from A&M team

Sullivan, Christopher   10/25/2023     2.4   Detail review updated scenarios for liquidation assumptions

Coverick, Steve         10/26/2023     1.4   Review and provide comments on preliminary scenario re:
                                             liquidation analysis
Sullivan, Christopher   10/26/2023     1.6   Provide detailed comments to the revised liquidation scenario
                                             analysis
Sullivan, Christopher   10/26/2023     1.1   Create template for initial liquidation analysis support package


Gonzalez, Johnny        10/27/2023     0.5   Prepare a summary of changes in the liquidation consideration
                                             analysis




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Liquidation Analysis
Professional                 Date    Hours    Activity
Tenney, Bridger         10/27/2023     0.8   Review liquidation analysis structure deck for new changes in GUC
                                             recovery
Coverick, Steve         10/28/2023     1.3   Review and provide comments on revised analysis of best interest
                                             test scenarios
Gonzalez, Johnny        10/28/2023     1.7   Modify the summary of changes in the liquidation consideration
                                             analysis
Cooper, James           10/30/2023     0.6   Call with S. Coverick, J. Cooper, C. Sullivan, and H. Trent (A&M) to
                                             discuss the liquidation analysis structure considerations
Coverick, Steve         10/30/2023     0.3   Call with A. Kranzley (S&C) to discuss chapter 7 settlement
                                             assumptions for hypothetical liquidation analysis for best interests
                                             test
Coverick, Steve         10/30/2023     0.6   Call with S. Coverick, J. Cooper, C. Sullivan, and H. Trent (A&M) to
                                             discuss the liquidation analysis structure considerations
Gonzalez, Johnny        10/30/2023     0.6   Call with J. Gonzalez, C. Sullivan (A&M) to discuss updates to the
                                             liquidation considerations analysis
Gonzalez, Johnny        10/30/2023     2.2   Meeting with J. Gonzalez, D. Slay, B. Tenney, and T. Ribman (A&M)
                                             to create bridges for new liquidation scenarios
Gonzalez, Johnny        10/30/2023     1.9   Modify the commentary in the liquidations considerations analysis

Gonzalez, Johnny        10/30/2023     1.2   Update the liquidation considerations analysis for FTX 2.0 treatment


Gonzalez, Johnny        10/30/2023     0.6   Call with J. Gonzalez, S. Witherspoon, D. Slay, B. Tenney, and T.
                                             Ribman (A&M) to discuss the liquidation analysis structure
                                             considerations
Gonzalez, Johnny        10/30/2023     0.4   Call with J. Gonzalez, H. Trent, C. Sullivan, S. Witherspoon (A&M)
                                             to modify the structure of the liquidation considerations analysis
Ribman, Tucker          10/30/2023     2.2   Meeting with J. Gonzalez, D. Slay, B. Tenney, and T. Ribman (A&M)
                                             to create bridges for new liquidation scenarios
Ribman, Tucker          10/30/2023     0.6   Call with J. Gonzalez, S. Witherspoon, D. Slay, B. Tenney, and T.
                                             Ribman (A&M) to discuss the liquidation analysis structure
                                             considerations
Slay, David             10/30/2023     2.2   Meeting with J. Gonzalez, D. Slay, B. Tenney, and T. Ribman (A&M)
                                             to create bridges for new liquidation scenarios
Slay, David             10/30/2023     0.6   Call with J. Gonzalez, S. Witherspoon, D. Slay, B. Tenney, and T.
                                             Ribman (A&M) to discuss the liquidation analysis structure
                                             considerations
Slay, David             10/30/2023     1.4   Meeting with D. Slay & C. Sullivan (A&M) to address updates to the
                                             liquidation analysis considerations deck prepared for S&C
Sullivan, Christopher   10/30/2023     0.6   Call with J. Gonzalez, C. Sullivan (A&M) to discuss updates to the
                                             liquidation considerations analysis
Sullivan, Christopher   10/30/2023     0.4   Call with J. Gonzalez, H. Trent, C. Sullivan, S. Witherspoon (A&M)
                                             to modify the structure of the liquidation considerations analysis
Sullivan, Christopher   10/30/2023     0.6   Call with S. Coverick, J. Cooper, C. Sullivan, and H. Trent (A&M) to
                                             discuss the liquidation analysis structure considerations
Sullivan, Christopher   10/30/2023     1.4   Meeting with D. Slay & C. Sullivan (A&M) to address updates to the
                                             liquidation analysis considerations deck prepared for S&C


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Liquidation Analysis
Professional                 Date    Hours     Activity
Tenney, Bridger         10/30/2023      2.2   Meeting with J. Gonzalez, D. Slay, B. Tenney, and T. Ribman (A&M)
                                              to create bridges for new liquidation scenarios
Tenney, Bridger         10/30/2023      0.6   Call with J. Gonzalez, S. Witherspoon, D. Slay, B. Tenney, and T.
                                              Ribman (A&M) to discuss the liquidation analysis structure
                                              considerations
Trent, Hudson           10/30/2023      0.4   Call with J. Gonzalez, H. Trent, C. Sullivan, S. Witherspoon (A&M)
                                              to modify the structure of the liquidation considerations analysis
Trent, Hudson           10/30/2023      0.6   Call with S. Coverick, J. Cooper, C. Sullivan, and H. Trent (A&M) to
                                              discuss the liquidation analysis structure considerations
Witherspoon, Samuel     10/30/2023      0.4   Call with J. Gonzalez, H. Trent, C. Sullivan, S. Witherspoon (A&M)
                                              to modify the structure of the liquidation considerations analysis
Witherspoon, Samuel     10/30/2023      0.6   Call with J. Gonzalez, S. Witherspoon, D. Slay, B. Tenney, and T.
                                              Ribman (A&M) to discuss the liquidation analysis structure
                                              considerations
Gonzalez, Johnny        10/31/2023      1.8   Develop a Alameda lender claims analysis summary for the
                                              liquidation considerations presentation
Gonzalez, Johnny        10/31/2023      1.6   Update the commentary in the plan liquidation considerations
                                              presentation
Sullivan, Christopher   10/31/2023      1.2   Provide comments to case comps analysis prepared for liquidation
                                              analysis
Sullivan, Christopher   10/31/2023      1.7   Meeting with C. Sullivan and H. Trent (A&M) to discuss model
                                              mechanics and assumptions within the liquidation analysis model
Trent, Hudson           10/31/2023      1.7   Meeting with C. Sullivan and H. Trent (A&M) to discuss model
                                              mechanics and assumptions within the liquidation analysis model

Subtotal                               69.4

Litigation
Professional                 Date    Hours     Activity
Chan, Jon                10/2/2023      2.3   Query database to identify accounts relating to agency subpoena

Chan, Jon                10/2/2023      2.4   Create reports from analysis for targeted subpoena request

Chan, Jon                10/3/2023      2.9   Investigate specific accounts and transactions for S&C subpoena
                                              request regarding illicit funds
Chan, Jon                10/3/2023      2.9   Investigate accounts and know your customer information for
                                              targeted subpoena request
Chan, Jon                10/3/2023      0.5   Call with J.Chan, J.Rosenfield (S&C) to discuss litigation subpoena


Chan, Jon                10/4/2023      2.3   Investigate additional questions for S&C subpoena request
                                              regarding illicit funds
Chan, Jon                10/4/2023      2.1   Create reports from analyzed data for S&C subpoena request for the
                                              government entity
Sunkara, Manasa          10/5/2023      2.5   Investigate activity related to a list of batch transactions for an S&C
                                              subpoena request



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Litigation
Professional               Date    Hours    Activity
Sunkara, Manasa        10/5/2023     2.8   Update slides of preliminary findings for an internal A&M bad actors
                                           presentation
Sunkara, Manasa        10/5/2023     2.4   Correspond with S&C to confirm the timeframe of fills activity
                                           provided
Wilson, David          10/5/2023     1.3   Separate users into five different tables containing categories related
                                           to each identifier provided for S&C request
Wilson, David          10/5/2023     1.4   Query database to consolidate accounts and check for additional
                                           accounts for data request related to S&C investigation
Wilson, David          10/5/2023     1.7   Correspond with S&C attorney to communicate approach to
                                           grouping identified users for S&C investigation request
Wilson, David          10/5/2023     2.7   Query database to produce separated transactional history for each
                                           of five categories for users identified in S&C investigation data
                                           request
Wilson, David          10/5/2023     1.4   Query database to produce separated KYC drive files to allow FTI to
                                           return separated saved search links for each category for S&C
                                           investigation request
Sunkara, Manasa        10/6/2023     2.7   Correspond with S&C to provide findings on customers associated
                                           with certain wallet addresses
Chan, Jon              10/9/2023     1.1   Correspond with S&C and FTI regarding know your customer
                                           documentation for subpoena requests
Chan, Jon              10/9/2023     2.8   Investigate provided transactions and wallets for subpoena request
                                           for S&C
Chan, Jon              10/9/2023     2.9   Investigate additional questions regarding illicit funds subpoena
                                           request for S&C
Sunkara, Manasa        10/9/2023     2.4   Investigate a user's transfer activity of a certain coin for an S&C
                                           investigation
Chan, Jon             10/10/2023     2.4   Investigate activity for S&C related to targeted subpoena request
                                           involving specific transactions
Chan, Jon             10/10/2023     2.6   Investigate activity for frozen accounts related to S&C subpoena
                                           pertaining to illicit funds
Chan, Jon             10/10/2023     2.1   Investigate activity for S&C related to targeted subpoena request
                                           involving specific accounts
Sunkara, Manasa       10/10/2023     2.7   Write SQL code to extract transaction monitoring data associated
                                           with specific users for an S&C investigation
Sunkara, Manasa       10/10/2023     2.9   Investigate transaction monitoring alerts to provide any data on
                                           suspicious activity or users of interest for S&C
Sunkara, Manasa       10/11/2023     0.4   Quality check SQL scripts to provide accurate data extracts for an
                                           S&C subpoena request
Sunkara, Manasa       10/11/2023     2.2   Extract all transaction activity associated with specific users for an
                                           S&C subpoena request
Chan, Jon             10/12/2023     2.8   Investigate activity related to S&C subpoena request provided
                                           emails and transactions
Chan, Jon             10/12/2023     1.2   Quality control reports related to S&C subpoena pertaining to
                                           specific accounts
Chan, Jon             10/12/2023     2.9   Investigate activity related to S&C subpoena for given specific wallet
                                           addresses

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Litigation
Professional               Date    Hours     Activity
Chan, Jon             10/12/2023      1.1   Quality control reports related to S&C subpoena request

Chan, Jon             10/13/2023      1.9   Investigate additional activity related to S&C subpoena request for a
                                            government entity
Chan, Jon             10/13/2023      2.1   Investigate activity related to S&C agency subpoena request

Sunkara, Manasa       10/19/2023      2.7   Extract all withdrawal and deposit transactions that have high risk
                                            alerts for S&C
Sunkara, Manasa       10/19/2023      2.8   Investigate specific users' severe risk alerts for an S&C investigation


Sunkara, Manasa       10/20/2023      2.6   Correspond with S&C to provide findings on transaction data
                                            associated with specific wallets for a subpoena request
Sunkara, Manasa       10/20/2023      2.8   Investigate the user account activity associated with certain wallet
                                            addresses for an S&C subpoena
Chan, Jon             10/23/2023      2.8   Investigate activity related to specific accounts for S&C subpoena
                                            request
Chan, Jon             10/24/2023      2.6   Investigate additional questions for S&C subpoena request


Sunkara, Manasa       10/24/2023      0.8   Review the results of the wildcard search to confirm any potential
                                            accounts for an S&C investigation
Sunkara, Manasa       10/24/2023      2.7   Run a wildcard search across the database for any accounts
                                            associated with a list of names for S&C
Wilson, David         10/24/2023      2.4   Trace flow of funds between corporate accounts for S&C
                                            investigation and correspond with S&C attorney to describe
                                            movement of funds
Wilson, David         10/24/2023      1.3   Query database to retrieve transaction history 90 days prior to
                                            petition date for four related accounts for S&C investigation
Konig, Louis          10/25/2023      1.8   Quality control and review of output related to calculation of various
                                            historical customer hourly balances
Konig, Louis          10/25/2023      2.3   Document findings related to calculation of various historical
                                            customer hourly balances
Konig, Louis          10/25/2023      1.2   Script database related to calculation of various historical customer
                                            hourly balances
Sunkara, Manasa       10/25/2023      2.2   Correspond with S&C to confirm that the transactions of interest
                                            occurred only on the us exchange
Sunkara, Manasa       10/30/2023      2.9   Update all data extracts for an S&C request to remove any A&M
                                            calculated fields
Sunkara, Manasa       10/31/2023      2.8   Update data extracts for a specific S&C request to remove data
                                            fields that customers did not have access to
Sunkara, Manasa       10/31/2023      2.6   Correspond with S&C to provide an explanation for negative
                                            balances associated with a certain user

Subtotal                            110.1

Motions and Related Support
Professional               Date    Hours     Activity

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Motions and Related Support
Professional              Date     Hours    Activity
Esposito, Rob          10/2/2023     0.7   Review of proposed parties-in-interest for professional retention
                                           updates
Myers, Claire          10/2/2023     1.3   Analyze categories and individual/entity status for conflicts party for
                                           7th supplement
Myers, Claire          10/2/2023     2.1   Deduplicate next supplement of conflicts for 7th circulation

Myers, Claire          10/3/2023     1.1   Summarize changes of 7th supplement draft for internal review of
                                           conflicts
Myers, Claire          10/3/2023     1.6   Deduplicate next supplement of conflicts for next circulation


Esposito, Rob          10/4/2023     0.5   Call with R. Esposito and C. Myers (A&M) re: updates to seventh
                                           supplement of conflicts
Mosley, Ed             10/4/2023     1.8   Review of and prepare proposed responses to UST objection to
                                           customer information redaction
Myers, Claire          10/4/2023     1.1   Analyze previously excluded PII parties to determine which parties
                                           need to be added from schedules
Myers, Claire          10/4/2023     1.9   Compare previously excluded PII parties to Schedule EF to
                                           determine which parties need to be added to PII
Myers, Claire          10/4/2023     1.7   Compare previously excluded PII parties to claimants to determine
                                           which parties need to be added to PII
Myers, Claire          10/4/2023     2.1   Compare previously excluded PII parties to Schedule AB to
                                           determine which parties need to be added to PII
Myers, Claire          10/4/2023     0.5   Call with R. Esposito and C. Myers (A&M) re: updates to seventh
                                           supplement of conflicts
Myers, Claire          10/4/2023     1.3   Update internal master PII list with additional SS parties and
                                           claimants
Myers, Claire          10/4/2023     1.8   Compare previously excluded PII parties to Schedule SOFA 13, 18,
                                           20, 25, 28, and 29 to determine which parties need to be added to PII
Esposito, Rob          10/5/2023     0.6   Discuss parties-in-interest updates with C Myers and R Esposito
                                           (A&M)
Esposito, Rob          10/5/2023     0.7   Review of updated parties-in-interest file for professional retentions


Myers, Claire          10/5/2023     1.6   Compare previously excluded PII parties to Schedule SOFA 3, 4, 7,
                                           9 to determine which parties need to be added to PII
Myers, Claire          10/5/2023     0.6   Discuss parties-in-interest updates with C Myers and R Esposito
                                           (A&M)
Gordon, Robert         10/6/2023     1.1   Review analysis on liquid entities for completeness


Esposito, Rob          10/7/2023     0.2   Review of draft response to the claims objection motion

Esposito, Rob          10/9/2023     0.3   Review of parties-in-interest data to provide feedback to A&M team


Myers, Claire          10/9/2023     1.9   Analyze list of professionals to determine new parties for the
                                           seventh supplement of conflicts




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Motions and Related Support
Professional                Date    Hours    Activity
Myers, Claire           10/9/2023     1.4   Update internal master conflicts list with additional professionals for
                                            seventh supplement of PII
Myers, Claire           10/9/2023     1.6   Analyze HR claims for employee claim diligence request


Esposito, Rob          10/12/2023     0.4   Review of updated parties-in-interest file for professional retentions

Gordon, Robert         10/17/2023     0.6   Review order for MOR schedule from UST

Myers, Claire          10/17/2023     1.2   Analyze creditor matrix for creditors possible dismissal of entities


Myers, Claire          10/17/2023     0.7   Analyze claims register for creditors possible dismissal of entities

Myers, Claire          10/17/2023     1.6   Analyze SOFA/Schedules for creditors possible dismissal of entities


Gordon, Robert         10/21/2023     0.6   Begin review dismissal motion for FTL subsidiaries

Mosley, Ed             10/21/2023     1.4   Review of and prepare comments to draft Mosley declaration in
                                            support of motion to dismiss certain entities
Mosley, Ed             10/21/2023     1.7   Review of and prepare comments to draft motion to dismiss certain
                                            entities
Esposito, Rob          10/22/2023     1.8   Review and prepare internal/external parties-in-interest update list
                                            for professional retentions
Gordon, Robert         10/23/2023     1.3   Update motion to dismiss summary presentation


Esposito, Rob          10/24/2023     0.1   Review of updated customer redaction order

Mosley, Ed             10/24/2023     2.9   Review of draft materials in support of Mosley declaration in support
                                            for motion to dismiss certain entities
Mosley, Ed             10/24/2023     1.1   Review of and prepare comments to updated draft Mosley
                                            declaration in support of motion to dismiss certain entities
Mosley, Ed             10/24/2023     0.8   Review of and prepare comments to updated draft motion to dismiss
                                            certain entities
Ramanathan, Kumanan    10/26/2023     2.6   Review and markup crypto asset sale motion

Ramanathan, Kumanan    10/27/2023     1.9   Review of most recent draft of crypto asset sale motion and provide
                                            feedback to counsel
Ramanathan, Kumanan    10/27/2023     1.2   Review of Mosley declaration for crypto asset sales and provide
                                            comments to counsel
Mosley, Ed             10/29/2023     1.1   Review of and prepare comments to draft Mosley declaration in
                                            support of Greyscale motion
Mosley, Ed             10/30/2023     2.8   Review of and prepare comments to updated draft Mosley
                                            declaration in support of Greyscale motion
Mosley, Ed             10/30/2023     1.8   Review of and prepare comments to draft Greyscale motion




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Motions and Related Support
Professional                Date    Hours     Activity
Mosley, Ed             10/31/2023      0.6   Review of and prepare comments to latest updates draft Mosley
                                             declaration in support of Greyscale motion

Subtotal                              57.7

Schedules and Statements
Professional                Date    Hours     Activity
Myers, Claire           10/1/2023      1.3   Summarize amendment sofa changes for SOFA changes file

Myers, Claire           10/2/2023      2.6   Summarize amendment sofa changes by debtor for SOFA changes
                                             file
Zatz, Jonathan          10/2/2023      0.7   Script database related to request to determine why specific
                                             customer was Disputed
Zatz, Jonathan          10/3/2023      1.7   Script database related to request to identify missing prices for
                                             specific tickers
Kotarba, Steve          10/4/2023      0.8   Review customer filed claim to scheduled matching re schedule
                                             amendments
Zatz, Jonathan          10/6/2023      0.9   Script database related to request to determine reason for difference
                                             between March and June schedules for specific customer
Zatz, Jonathan         10/11/2023      1.2   Script database related to request for customers with post-
                                             suppressed balances between certain amount
Zatz, Jonathan         10/12/2023      1.6   Script database related to request for ticker summary without
                                             specific customer included
Zatz, Jonathan         10/12/2023      2.2   Script database to create table with all accounts that had processing
                                             fiat adjustment
Zatz, Jonathan         10/12/2023      2.1   Script database related to request to determine if there is difference
                                             in balance for customer between both sources of truth
Lewandowski, Douglas   10/13/2023      1.2   Prepare summary of perp scheduled claims to determine the
                                             schedule amendment impact
Hubbard, Taylor        10/18/2023      2.9   Gather contracts pertaining to Glushon Sports per request from R.
                                             Esposito (A&M) in order to determine the remaining liability
Hubbard, Taylor        10/19/2023      0.9   Determine the remaining liability of Glushon Sports contracts by
                                             evaluating contract terms
Zatz, Jonathan         10/20/2023      2.9   Script database to compare database schedules with PDF
                                             schedules and proposed updated schedules
Zatz, Jonathan         10/20/2023      2.3   Script database to compare proposed updated schedule numbers
                                             with current schedule numbers
Zatz, Jonathan         10/20/2023      3.1   Determine root cause for schedule numbers in data not matching
                                             exhibits
Zatz, Jonathan         10/20/2023      1.1   Summarize results in comparing database schedules with PDF
                                             schedules
Zatz, Jonathan         10/26/2023      1.1   Script database to add schedule number to shared schedule tables

Zatz, Jonathan         10/27/2023      1.7   Script database related to request to start calculating OTC petition
                                             date balances


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Schedules and Statements
Professional              Date    Hours     Activity
Zatz, Jonathan       10/27/2023      1.2   Script database to summarize OTC petition balances by customer

Zatz, Jonathan       10/27/2023      0.9   Provide additional questions for Alameda regarding OTC
                                           transactions data
Zatz, Jonathan       10/27/2023      3.1   Script database to back out post-petition transactions from OTC
                                           balances
Zatz, Jonathan       10/28/2023      1.9   Script database to add various prices to OTC balances calculation

Zatz, Jonathan       10/29/2023      1.4   Script database to pull manual OTC trades stored in Alameda
                                           databases
Kwan, Peter          10/30/2023      0.4   Call with G. Walia, L. Konig, P. Kwan, J. Zatz (A&M) to discuss OTC
                                           balance calculation status
Walia, Gaurav        10/30/2023      0.4   Call with G. Walia, L. Konig, P. Kwan, J. Zatz (A&M) to discuss OTC
                                           balance calculation status
Zatz, Jonathan       10/30/2023      0.4   Call with G. Walia, L. Konig, P. Kwan, J. Zatz (A&M) to discuss OTC
                                           balance calculation status
Zatz, Jonathan       10/30/2023      0.9   Update list of question for Alameda related to OTC portal balances


Zatz, Jonathan       10/31/2023      0.2   Call with G. Walia, J. Zatz (A&M) to discuss reconciling OTC
                                           balances with claim data

Subtotal                            43.1

Tax Initiatives
Professional              Date    Hours     Activity
Lannan, Matthew       7/10/2023      0.5   Conference K. Jacobs, B. Seaway, S. Wilson, M. Lannan (A&M) and
                                           A. Ritz (EY) re discussion of 382 study
Lannan, Matthew       8/10/2023      0.7   Conference K. Jacobs, B. Seaway, and M. Lannan (A&M) re:
                                           sections 503 and 507 of bankruptcy code
Lannan, Matthew       8/25/2023      0.5   Internal A&M conference with B. Seaway, and M. Lannan re: Reps
                                           for potential EY opinion
Lannan, Matthew       9/26/2023      0.3   Internal A&M conference with K. Jacobs and M. Lannan re: Reverse
                                           tax diligence request list
Lannan, Matthew       9/26/2023      0.3   Begin to provide comments to reverse tax diligence request list


Lannan, Matthew       9/26/2023      0.2   Review comments to reverse tax diligence request list

Francis, Luke         10/1/2023      1.1   Review of IRS tax documentation questions on insider payments
                                           based on SOFA responses
Coverick, Steve       10/2/2023      0.8   Call with S. Coverick, B. Seaway, K. Jacobs, K. Ramanathan (A&M),
                                           D. Bailey and others (EY), D. Hariton, A. Dietderich and others
                                           (S&C) to discuss crypto tax matters
Jacobs, Kevin         10/2/2023      0.3   Internal A&M conference with B. Seaway and K. Jacobs (A&M) re:
                                           crypto and ownership interest
Jacobs, Kevin         10/2/2023      0.2   Conference Call K. Jacobs (A&M) and D. Hariton (S&C) re next
                                           steps to address IRS proof of claim

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Tax Initiatives
Professional                 Date    Hours    Activity
Jacobs, Kevin            10/2/2023     1.6   Research tax treatment of various crypto tax matters

Jacobs, Kevin            10/2/2023     0.8   Call with S. Coverick, B. Seaway, K. Jacobs, K. Ramanathan (A&M),
                                             D. Bailey and others (EY), D. Hariton, A. Dietderich and others
                                             (S&C) to discuss crypto tax matters
Jacobs, Kevin            10/2/2023     0.5   Conference K. Jacobs (A&M) and T. Shea, J. Healy, J. Scott, B.
                                             Mistler, and T. Ferris (EY) re IRS proof of claim and audit status
Ramanathan, Kumanan      10/2/2023     0.8   Call with S. Coverick, B. Seaway, K. Jacobs, K. Ramanathan (A&M),
                                             D. Bailey and others (EY), D. Hariton, A. Dietderich and others
                                             (S&C) to discuss crypto tax matters
Seaway, Bill             10/2/2023     0.3   Internal A&M conference with B. Seaway and K. Jacobs (A&M) re:
                                             crypto and ownership interest
Seaway, Bill             10/2/2023     0.8   Call with S. Coverick, B. Seaway, K. Jacobs, K. Ramanathan (A&M),
                                             D. Bailey and others (EY), D. Hariton, A. Dietderich and others
                                             (S&C) to discuss crypto tax matters
Jacobs, Kevin            10/3/2023     0.3   Conference K. Jacobs (A&M) and D. Hariton (S&C) re conversations
                                             with DOJ and next steps
Jacobs, Kevin            10/3/2023     0.3   Evaluate next steps re IRS proof of claims

Coverick, Steve          10/4/2023     0.4   Call with E. Mosley, S. Coverick, C. Howe and K. Jacobs (A&M) to
                                             discuss status of tax workstreams
Francis, Luke            10/4/2023     0.6   Review of produced documents to assist with tax review of insider
                                             payments
Gordon, Robert           10/4/2023     0.3   Teleconference with K. Jacobs, R. Gordon(A&M) over update to tax
                                             claims
Howe, Christopher        10/4/2023     1.1   Internal Call C. Howe & A. Ulyanenko (A&M) re: Internal Tax
                                             Workstreams
Howe, Christopher        10/4/2023     0.4   Call with E. Mosley, S. Coverick, C. Howe and K. Jacobs (A&M) to
                                             discuss status of tax workstreams
Jacobs, Kevin            10/4/2023     0.4   Call with E. Mosley, S. Coverick, C. Howe and K. Jacobs (A&M) to
                                             discuss status of tax workstreams
Jacobs, Kevin            10/4/2023     0.3   Teleconference with K. Jacobs, R. Gordon (A&M) over update to tax
                                             claims
Jacobs, Kevin            10/4/2023     1.4   Evaluate options regarding IRS proof of claims


Mosley, Ed               10/4/2023     0.4   Discussion with A&M (K.Jacobs,C.Howe, S.Coverick) regarding
                                             outstanding tax issues and strategy for IRS claim adjudication
Ulyanenko, Andrey        10/4/2023     1.1   Internal Call C. Howe & A. Ulyanenko (A&M) re: Internal Tax
                                             Workstreams
Ulyanenko, Andrey        10/4/2023     0.9   Review internal workstreams prior to call with C. Howe (A&M)

Glustein, Steven         10/5/2023     0.2   Call with K. Jacobs, A. Titus, S. Glustein (A&M), J. Scott, L.
                                             Jayanthi, J. Chebar (EY) re historic and dispositions and status of
                                             disposition workstream
Gordon, Robert           10/5/2023     0.3   Correspondence with B. Mistler(EY) over data transmission



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Tax Initiatives
Professional                Date     Hours    Activity
Howe, Christopher        10/5/2023     2.1   Internal Call C. Howe & A. Ulyanenko (A&M) re: IRS Claims

Howe, Christopher        10/5/2023     1.4   Review IRS claims document prepared by B. Parker


Jacobs, Kevin            10/5/2023     0.2   Call with K. Jacobs, K. Ramanathan (A&M) re historic FTT
                                             transactions
Jacobs, Kevin            10/5/2023     0.3   Research status of IRS tax claims for Debtor

Jacobs, Kevin            10/5/2023     0.2   Call with K. Jacobs, A. Titus, S. Glustein (A&M), J. Scott, L.
                                             Jayanthi, J. Chebar (EY) re historic and dispositions and status of
                                             disposition workstream
Kotarba, Chris           10/5/2023     0.6   Review and provide Zubr history notes for motion to dismiss

Parker, Brandon          10/5/2023     0.8   Create updated summary of IRS Claims

Ramanathan, Kumanan      10/5/2023     0.2   Call with K. Jacobs, K. Ramanathan (A&M) re historic FTT
                                             transactions
Titus, Adam              10/5/2023     0.2   Call with K. Jacobs, A. Titus, S. Glustein (A&M), J. Scott, L.
                                             Jayanthi, J. Chebar (EY) re historic and dispositions and status of
                                             disposition workstream
Ulyanenko, Andrey        10/5/2023     1.9   Review updated Internal Revenue Service Claims


Ulyanenko, Andrey        10/5/2023     2.1   Internal Call C. Howe & A. Ulyanenko (A&M) re: IRS Claims

Coverick, Steve          10/6/2023     0.3   Call with S. Coverick and K. Jacobs (A&M) to discuss status of tax
                                             workstreams
Howe, Christopher        10/6/2023     3.2   Review investments tracker to understand scope of Venture
                                             investments
Howe, Christopher        10/6/2023     2.4   Review updated IRS claims filed to the docket

Jacobs, Kevin            10/6/2023     0.7   Internal A&M conference with K. Jacobs, B. Seaway, A. Ulyanenko,
                                             and M. Lannan re: Investments in Ventures silo
Jacobs, Kevin            10/6/2023     0.3   Call with S. Coverick and K. Jacobs (A&M) to discuss status of tax
                                             workstreams
Jacobs, Kevin            10/6/2023     1.3   Research re pre filing company structure and transactions


Lannan, Matthew          10/6/2023     0.7   Internal A&M conference with K. Jacobs, B. Seaway, A. Ulyanenko,
                                             and M. Lannan re: Investments in Ventures silo
Parker, Brandon          10/6/2023     0.2   Review internal correspondence re: IRS claims

Seaway, Bill             10/6/2023     0.7   Internal A&M conference with K. Jacobs, B. Seaway, A. Ulyanenko,
                                             and M. Lannan re: Investments in Ventures silo
Ulyanenko, Andrey        10/6/2023     0.7   Internal A&M conference with K. Jacobs, B. Seaway, A. Ulyanenko,
                                             and M. Lannan re: Investments in Ventures silo
Ulyanenko, Andrey        10/6/2023     2.3   Review excel investments tracker to understand Venture investments



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Tax Initiatives
Professional                  Date    Hours    Activity
Kearney, Kevin            10/8/2023     0.3   Review updated information compiled for IRS request associated
                                              with individual 8
Kearney, Kevin            10/8/2023     0.4   Review updated information compiled for IRS request associated
                                              with individual 4
Kearney, Kevin            10/8/2023     0.4   Review updated information compiled for IRS request associated
                                              with individual 5
Kearney, Kevin            10/8/2023     0.4   Review updated information compiled for IRS request associated
                                              with individual 6
Kearney, Kevin            10/8/2023     1.1   Review updated information compiled for IRS request associated
                                              with individual 1
Kearney, Kevin            10/8/2023     0.3   Review updated information compiled for IRS request associated
                                              with individual 3
Howe, Christopher         10/9/2023     0.4   Internal Call C. Howe & A. Ulyanenko (all A&M) re: FTX 2.0 Term
                                              Sheet
Howe, Christopher         10/9/2023     1.9   Review FTX 2.0 draft term sheet for the transaction

Jacobs, Kevin             10/9/2023     0.4   Conference K. Jacobs (A&M), D. Hariton and H. Kim (S&C) re tax
                                              consequences of potential sales of assets
Jacobs, Kevin             10/9/2023     0.6   Internal A&M conference with B. Seaway and K. Jacobs re: taxation
                                              of partnerships in bk
Jacobs, Kevin             10/9/2023     1.3   Research publicly available pre filing transaction information

Jacobs, Kevin             10/9/2023     0.4   Conference K. Jacobs (A&M), D. Hariton and H. Kim (S&C), G.
                                              Silber (PH) re bi-weekly update call with UCC re tax workstreams
Parker, Brandon           10/9/2023     0.4   Review FTX Europe initial purchase agreement

Seaway, Bill              10/9/2023     0.6   Internal A&M conference with B. Seaway and K. Jacobs re: taxation
                                              of partnerships in bk
Ulyanenko, Andrey         10/9/2023     0.4   Internal Call C. Howe & A. Ulyanenko (all A&M) re: FTX 2.0 Term
                                              Sheet
Ulyanenko, Andrey         10/9/2023     0.6   Review draft term sheet re: FTX 2.0 transaction


Glustein, Steven         10/10/2023     0.6   Call with M. Rahmani, K. Flinn (PWP) A. Titus, S. Glustein (A&M)
                                              regarding tax implications relating to venture investments
Jacobs, Kevin            10/10/2023     1.0   Conference K. Jacobs, B. Seaway (A&M), T. Shea, D. Bailey, A
                                              Bost, B. Mistler, J. Scott, J. Healy, L. Jayanthi, L. Lovelace, M.
                                              Stevens (EY) re: taxation of crypto accounting methods, etc
Jacobs, Kevin            10/10/2023     1.4   Internal A&M conference K. Jacobs, B. Seaway, S. Klig, L.
                                              Kincheloe, M. Lannan, and E. Soto re: Investments in Ventures silo
Jacobs, Kevin            10/10/2023     0.6   Call with D. Hariton (S&C), W. Syed, et al. (PWP) B. Seaway, K.
                                              Jacobs, S. Coverick, A Titus, S Glustein (A&M) regarding tax
                                              implications relating to venture investments
Kotarba, Chris           10/10/2023     0.6   Review Multicoin Capital fund transfer agreement

Lannan, Matthew          10/10/2023     1.4   Internal A&M conference K. Jacobs, B. Seaway, S. Klig, L.
                                              Kincheloe, M. Lannan, and E. Soto re: Investments in Ventures silo

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Tax Initiatives
Professional                  Date    Hours    Activity
Parker, Brandon          10/10/2023     0.8   Review 2021 Paper Bird tax return for FTX Europe Sale

Seaway, Bill             10/10/2023     1.1   Review draft term sheet re: FTX 2.0


Seaway, Bill             10/10/2023     0.3   Call with B. Seaway, K. Ramanathan (A&M) to discuss term sheet

Seaway, Bill             10/10/2023     0.3   Research open transaction concept in tax

Seaway, Bill             10/10/2023     1.0   Conference K. Jacobs, B. Seaway (A&M), T. Shea, D. Bailey, A
                                              Bost, B. Mistler, J. Scott, J. Healy, L. Jayanthi, L. Lovelace, M.
                                              Stevens (EY) re: taxation of crypto accounting methods, etc
Seaway, Bill             10/10/2023     0.6   Call with D. Hariton (S&C), W. Syed, et al. (PWP) B. Seaway, K.
                                              Jacobs, S. Coverick, A Titus, S Glustein (A&M) regarding tax
                                              implications relating to venture investments
Ulyanenko, Andrey        10/10/2023     0.7   Review FTX 2.0 comments re: Draft Term Sheet

Ulyanenko, Andrey        10/10/2023     0.3   Provide updates comments to FTX 2.0 term sheet


Howe, Christopher        10/11/2023     2.3   Research re: disposition of cryptocurrency investments

Kotarba, Chris           10/11/2023     0.7   Calculate tax basis for Multicoin Capital fund transfer


Howe, Christopher        10/12/2023     0.2   Internal A&M conference K. Jacobs and C. Howe (A&M) re: status of
                                              tax workstreams
Howe, Christopher        10/12/2023     1.6   Review overall status of tax workstreams prior to call with K. Jacobs
                                              (A&M)
Howe, Christopher        10/12/2023     1.2   Review FTX 2.0 plan for potential tax consequences


Jacobs, Kevin            10/12/2023     0.2   Internal A&M conference K. Jacobs and C. Howe (A&M) re: status of
                                              tax workstreams
Hainline, Drew           10/13/2023     0.4   Review available information to support open items related to tax
                                              returns for international entities
Hainline, Drew           10/13/2023     0.5   Call to review open items related to tax returns for international
                                              entities with R. Hoskins (FTX), D. Hainline (A&M)
Jacobs, Kevin            10/13/2023     0.2   Conference K. Jacobs (A&M) and T. Shea (EY) re: IRS proof of
                                              claim updates
Jacobs, Kevin            10/13/2023     1.3   Research regarding tax treatment of digital assets

Parker, Brandon          10/13/2023     0.2   Review purchase agreement for FTX Europe sale for updates

Ulyanenko, Andrey        10/13/2023     0.6   Review SPA for FTX Europe transaction


Ulyanenko, Andrey        10/13/2023     0.4   Review internal emails re: FTX Europe Sale

Kotarba, Chris           10/14/2023     0.7   Review materials for FTX Europe sale



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Tax Initiatives
Professional                  Date    Hours    Activity
Ulyanenko, Andrey        10/14/2023     1.4   Internal Call C. Howe & A. Ulyanenko (A&M) re: FTX 2.0 tax
                                              workstreams
Ulyanenko, Andrey        10/14/2023     2.1   Review internal updates to FTX 2.0 tax workstream


Jacobs, Kevin            10/15/2023     0.9   Conference K. Jacobs, B. Seaway (A&M), T. Shea, D. Bailey (EY),
                                              D. Hariton, A. Dietderich (S&C) re: taxation of crypto accounting
                                              methods, etc
Kotarba, Chris           10/15/2023     0.5   Internal Call C. Kotarba, A. Ulyanenko, A. Kritzman, and B. Parker
                                              (A&M) re: FTX Europe sale
Kotarba, Chris           10/15/2023     1.4   Prepare tax due diligence for interested bidder acquisition


Parker, Brandon          10/15/2023     0.5   Internal Call C. Kotarba, A. Ulyanenko, A. Kritzman, & B. Parker
                                              (A&M) re: FTX Europe Sale
Parker, Brandon          10/15/2023     0.3   Internal Call A. Ulyanenko & B. Parker (A&M) re: FTX Europe Tax
                                              Sale Analysis
Parker, Brandon          10/15/2023     0.2   Review spa for acquisition of DAAG for stock basis in FTX Europe


Seaway, Bill             10/15/2023     0.9   Conference K. Jacobs, B. Seaway (A&M), T. Shea, D. Bailey (EY),
                                              D. Hariton, A. Dietderich (S&C) re: taxation of crypto accounting
                                              methods, etc
Ulyanenko, Andrey        10/15/2023     0.5   Internal Call C. Kotarba, A. Ulyanenko, A. Kritzman, & B. Parker
                                              (A&M) re: FTX Europe Sale
Ulyanenko, Andrey        10/15/2023     0.3   Internal Call A. Ulyanenko & B. Parker (A&M) re: FTX Europe Tax
                                              Sale Analysis
Faett, Jack              10/16/2023     0.8   Provide support for Nishad Singh SOFA payments paid by FTX
                                              Trading Ltd related to IRS audit
Faett, Jack              10/16/2023     1.7   Provide support for SBF SOFA payments paid by Alameda
                                              Research Ltd related to IRS audit
Faett, Jack              10/16/2023     1.2   Provide support for Gary Wang SOFA payments paid by Alameda
                                              Research Ltd related to IRS audit
Faett, Jack              10/16/2023     0.8   Provide support for Gary Wang SOFA payments paid by FTX
                                              Trading Ltd related to IRS audit
Faett, Jack              10/16/2023     1.3   Provide support for insider SOFA payments paid by Alameda
                                              Research Ltd related to IRS audit
Faett, Jack              10/16/2023     0.8   Provide support for insider SOFA payments paid by FTX Trading Ltd
                                              related to IRS audit
Faett, Jack              10/16/2023     1.2   Provide support for Nishad Singh SOFA payments paid by Alameda
                                              Research Ltd related to IRS audit
Faett, Jack              10/16/2023     1.1   Provide support for SBF SOFA payments paid by FTX Trading Ltd
                                              related to IRS audit
Faett, Jack              10/16/2023     0.6   Meeting to discuss IRS audit requests pertaining to Alameda
                                              Research Ltd and FTX Trading Ltd with K. Kearney and J. Faett
                                              (A&M)
Howe, Christopher        10/16/2023     1.1   Internal Call C. Howe & A. Ulyanenko (A&M) re: FTX Europe AG sale




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Tax Initiatives
Professional                  Date    Hours    Activity
Howe, Christopher        10/16/2023     3.2   Review internal tax workstreams for Debtor

Jacobs, Kevin            10/16/2023     0.9   Research re: potential international tax consequences for asset
                                              acquisition
Kearney, Kevin           10/16/2023     1.1   Review additional files for IRS audit requests associated with
                                              individual 5
Kearney, Kevin           10/16/2023     1.1   Review additional files for IRS audit requests associated with
                                              individual 1
Kearney, Kevin           10/16/2023     0.7   Review additional files for IRS audit requests associated with
                                              individual 6
Kearney, Kevin           10/16/2023     0.4   Review additional files for IRS audit requests associated with
                                              individual 2
Kearney, Kevin           10/16/2023     0.6   Meeting to discuss IRS audit requests pertaining to Alameda
                                              Research Ltd and FTX Trading Ltd with K. Kearney and J. Faett
                                              (A&M)
Kotarba, Chris           10/16/2023     0.8   Analyze tax basis for FTX Europe sale


Kotarba, Chris           10/16/2023     0.4   Deliver tax due diligence for interested bidder acquisition

Parker, Brandon          10/16/2023     0.3   Review Zubr Innovatia purchase agreement


Ulyanenko, Andrey        10/16/2023     1.1   Internal Call C. Howe & A. Ulyanenko (A&M) re: FTX Europe AG sale

Faett, Jack              10/17/2023     0.9   Update IRS SOFA payment support file for comments after review


Faett, Jack              10/17/2023     1.2   Call over IRS audit request support pertaining to SOFA payments
                                              with K. Kearney and J. Faett (A&M)
Howe, Christopher        10/17/2023     1.9   Review purchase agreement for FTX Europe sale

Jacobs, Kevin            10/17/2023     0.2   Teleconference with K. Jacobs, R. Gordon (A&M) over tax analysis
                                              of 2.0 process - CODE: AS
Jacobs, Kevin            10/17/2023     0.4   Internal A&M conference with B. Seaway and K. Jacobs re: : drafting
                                              agenda for call with A&M NACR
Jacobs, Kevin            10/17/2023     0.2   Correspondence and research re 2.0 bidder due diligence


Jacobs, Kevin            10/17/2023     0.9   Research re tax considerations of FTX 2.0 process

Jacobs, Kevin            10/17/2023     0.6   Internal correspondence re status of tax workstreams


Kearney, Kevin           10/17/2023     1.2   Call over IRS audit request support pertaining to SOFA payments
                                              with K. Kearney and J. Faett (A&M)
Parker, Brandon          10/17/2023     0.7   Review K-DNA purchase agreements for FTX Europe sale

Seaway, Bill             10/17/2023     0.4   Internal A&M conference with B. Seaway and K. Jacobs re: : drafting
                                              agenda for call with A&M NACR


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Tax Initiatives
Professional                  Date    Hours    Activity
Seaway, Bill             10/17/2023     0.6   Review presentation to creditors re: segregated funds

Ulyanenko, Andrey        10/17/2023     0.9   Review MultiCoin Capital LP Transfer agreement


Ulyanenko, Andrey        10/17/2023     2.1   Review K-DNA purchase agreement for FTX Europe Sale

Francis, Luke            10/18/2023     1.1   Analysis of bank statements available for known insider payments

Ulyanenko, Andrey        10/18/2023     1.9   Review FTX Europe AG purchase agreement


Coverick, Steve          10/19/2023     1.1   Call with E. Mosley, S. Coverick, C. Howe, K. Jacobs, R. Gordon, B.
                                              Seaway (A&M) re: tax implications of asset sales
Gordon, Robert           10/19/2023     1.1   Call with E. Mosley, S. Coverick, C. Howe, K. Jacobs, R. Gordon, B.
                                              Seaway (A&M) re: tax implications of asset sales
Gordon, Robert           10/19/2023     0.9   Teleconference with R. Gordon, K. Kearney(A&M) over IDR request

Howe, Christopher        10/19/2023     1.1   Call with E. Mosley, S. Coverick, C. Howe, K. Jacobs, R. Gordon, B.
                                              Seaway (A&M) re: tax implications of asset sales
Jacobs, Kevin            10/19/2023     0.3   Internal A&M conference with B. Seaway and K. Jacobs (A&M) re:
                                              next steps for EY/S&C regarding asset sale
Jacobs, Kevin            10/19/2023     1.1   Call with E. Mosley, S. Coverick, C. Howe, K. Jacobs, R. Gordon, B.
                                              Seaway (A&M) re: tax implications of asset sales
Kearney, Kevin           10/19/2023     0.8   Review updated information gathered for IRS Summons requests for
                                              audit requests
Kearney, Kevin           10/19/2023     0.9   Teleconference with R. Gordon, K. Kearney(A&M) over IDR request

Kotarba, Chris           10/19/2023     0.7   Continue to analyze tax implications of FTX 2.0 second round bids


Kotarba, Chris           10/19/2023     0.8   Begin to analyze tax implications of FTX 2.0 second round bids

Mosley, Ed               10/19/2023     1.1   Participate in tax discussion with A&M (R.Gordon, C. Howe,
                                              K.Jacobs, B.Seaway, E.Mosley, S.Coverick)
Parker, Brandon          10/19/2023     0.3   Read emails surrounding potential tax consequences in FTX 2.0 sale

Seaway, Bill             10/19/2023     1.1   Call with E. Mosley, S. Coverick, C. Howe, K. Jacobs, R. Gordon, B.
                                              Seaway (A&M) re: tax implications of asset sales
Seaway, Bill             10/19/2023     0.3   Internal A&M conference with B. Seaway and K. Jacobs: next steps
                                              for EY/S&C regarding asset sale
Ulyanenko, Andrey        10/19/2023     1.1   Analyze tax treatment of disposition of assets within Alameda Silo

Faett, Jack              10/20/2023     0.2   Review Caroline Ellison loans with debtor entities to provide support
                                              for loans in scope of IRS audit
Faett, Jack              10/20/2023     0.2   Review insider loans with debtor entities to provide support for loans
                                              in scope of IRS audit




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Tax Initiatives
Professional                 Date    Hours    Activity
Faett, Jack             10/20/2023     1.2   Discussion to review IRS Summons with J. Faett, K. Kearney, R.
                                             Gordon, L. Francis, M. Jones (A&M)
Faett, Jack             10/20/2023     0.6   Call to discuss support for IRS insider audit request pertaining to
                                             entity ownership with K. Kearney and J. Faett (A&M)
Francis, Luke           10/20/2023     1.2   Discussion to review IRS Summons with J. Faett, K. Kearney, R.
                                             Gordon, L. Francis, M. Jones (A&M)
Gordon, Robert          10/20/2023     1.2   Discussion to review IRS Summons with J. Faett, K. Kearney, R.
                                             Gordon, L. Francis, M. Jones (A&M)
Gordon, Robert          10/20/2023     0.2   Teleconference with R. Gordon, K. Jacobs(A&M) over approach to
                                             IDR request list
Gordon, Robert          10/20/2023     0.3   Teleconference with R. Gordon, K. Kearney(A&M) over timeline for
                                             IDR requests
Gordon, Robert          10/20/2023     1.9   Review IDR scope to determine information required


Gordon, Robert          10/20/2023     1.1   Read through IRS summons to compare against request list

Jacobs, Kevin           10/20/2023     0.2   Teleconference with R. Gordon, K. Jacobs(A&M) over approach to
                                             IDR request list tax
Jacobs, Kevin           10/20/2023     0.5   Call K. Jacobs, C. Kotarba, A. Ulyanenko, B. Seaway, and B. Parker
                                             (A&M) and J. Patton, J. Lloyd, H. Kim, and S. Profeta (S&C) re: FTX
                                             2.0 sale
Jones, Mackenzie        10/20/2023     1.2   Discussion to review IRS Summons with J. Faett, K. Kearney, R.
                                             Gordon, L. Francis, M. Jones (A&M)
Jones, Mackenzie        10/20/2023     1.2   Research historical payroll data availability for IRS Summons
                                             requests
Jones, Mackenzie        10/20/2023     0.8   Research FTX charity organization to determine control and scope

Jones, Mackenzie        10/20/2023     0.2   Review IRS Summons data request list for historical data

Jones, Mackenzie        10/20/2023     0.8   Review data already populated for IRS Summons request


Kearney, Kevin          10/20/2023     1.2   Discussion to review IRS Summons with J. Faett, K. Kearney, R.
                                             Gordon, L. Francis, M. Jones (A&M)
Kearney, Kevin          10/20/2023     0.3   Teleconference with R. Gordon, K. Kearney(A&M) over timeline for
                                             IDR requests
Kearney, Kevin          10/20/2023     0.6   Call to discuss support for IRS insider audit request pertaining to
                                             entity ownership with K. Kearney and J. Faett (A&M)
Kotarba, Chris          10/20/2023     0.4   Internal Call C. Kotarba, A. Kritzman, B. Parker (A&M) re: FTX
                                             Europe Sale
Kotarba, Chris          10/20/2023     1.1   Analyze tax implications of interested bidder draft counter proposal

Kotarba, Chris          10/20/2023     0.9   Review FTX EU Ltd purchase agreement

Kotarba, Chris          10/20/2023     0.5   Internal Call K. Jacobs, C. Kotarba, A. Ulyanenko, B. Seaway, and
                                             B. Parker (A&M) and J. Patton, J. Lloyd, H. Kim, and S. Profeta
                                             (S&C) re: FTX 2.0 sale

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Tax Initiatives
Professional                  Date    Hours    Activity
Parker, Brandon          10/20/2023     0.4   Internal Call C. Kotarba, A. Kritzman, B. Parker (A&M) re: FTX
                                              Europe Sale
Parker, Brandon          10/20/2023     0.2   Read agreement between Cottonwood and FTX Trading re: IP
                                              transfer
Parker, Brandon          10/20/2023     0.3   Review FTX 2.0 APA prior to call with S&C

Parker, Brandon          10/20/2023     0.2   Review draft of FTX Europe purchase agreement

Parker, Brandon          10/20/2023     0.5   Internal Call K. Jacobs, C. Kotarba, A. Ulyanenko, B. Seaway, and
                                              B. Parker (A&M) and J. Patton, J. Lloyd, H. Kim, and S. Profeta
                                              (S&C) re: FTX 2.0 sale
Seaway, Bill             10/20/2023     0.5   Internal Call K. Jacobs, C. Kotarba, A. Ulyanenko, B. Seaway, and
                                              B. Parker (A&M) and J. Patton, J. Lloyd, H. Kim, and S. Profeta
                                              (S&C) re: FTX 2.0 sale
Ulyanenko, Andrey        10/20/2023     1.6   Review tax documents related to FTX Switzerland

Ulyanenko, Andrey        10/20/2023     0.5   Internal Call K. Jacobs, C. Kotarba, A. Ulyanenko, B. Seaway, and
                                              B. Parker (A&M) and J. Patton, J. Lloyd, H. Kim, and S. Profeta
                                              (S&C) re: FTX 2.0 sale
Wilson, Sean             10/20/2023     1.8   Review and update final internal memos for FTX Trading 382
                                              Analysis
Wilson, Sean             10/20/2023     1.9   Review and update final internal memos for Alameda 382 Analysis

Wilson, Sean             10/20/2023     1.8   Review and update final internal memos for WRS 382 Analysis


Faett, Jack              10/21/2023     0.2   Identify and provide all documents supporting Joe Bankman's
                                              ownership in FTX Trading for IRS audit request
Faett, Jack              10/21/2023     0.4   Provide bank statements or exchange activity to support funding of
                                              SBF loans related to IRS audit request
Faett, Jack              10/21/2023     0.4   Provide bank statements or exchange activity to support funding of
                                              Nishad Singh loans related to IRS audit request
Faett, Jack              10/21/2023     0.4   Provide bank statements or exchange activity to support funding of
                                              Gary Wang loans related to IRS audit request
Faett, Jack              10/21/2023     0.2   Review Nishad Singh loans with debtor entities to provide support
                                              for loans in scope of IRS audit
Faett, Jack              10/21/2023     0.2   Review SBF loans with debtor entities to provide support for loans in
                                              scope of IRS audit
Faett, Jack              10/21/2023     0.2   Review Gary Wang loans with debtor entities to provide support for
                                              loans in scope of IRS audit
Faett, Jack              10/21/2023     0.2   Update IRS Request Tracker for documents provided supporting
                                              insider loans with debtor entities
Faett, Jack              10/21/2023     1.2   Search relativity to support ownership in FTX Trading Ltd by Gary
                                              Wang
Faett, Jack              10/21/2023     0.2   Identify and provide all documents supporting Joe Bankman's
                                              ownership in WRS for IRS audit request



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Tax Initiatives
Professional                 Date    Hours    Activity
Francis, Luke           10/21/2023     2.3   Gather documents related to insider payments for IRS tax summons

Francis, Luke           10/21/2023     2.1   Create summary files to describe payments for IRS tax summons


Francis, Luke           10/21/2023     0.8   Review of IRS tax summons request for insider payments

Hainline, Drew          10/21/2023     0.4   Respond to request for information related to dotcom silo entities

Jones, Mackenzie        10/21/2023     0.9   Research historical employment records for IRS Summons request


Jones, Mackenzie        10/21/2023     0.3   Correspond with other service providers related to IRS summons

Faett, Jack             10/22/2023     0.3   Identify and provide all documents supporting Nishad Singh's
                                             ownership in FTX Trading for IRS audit request
Faett, Jack             10/22/2023     0.3   Identify and provide all documents supporting Caroline Ellison's
                                             ownership in WRS for IRS audit request
Faett, Jack             10/22/2023     0.3   Identify and provide all documents supporting insider's ownership in
                                             FTX Trading for IRS audit request
Faett, Jack             10/22/2023     0.3   Identify and provide all documents supporting Nishad Singh's
                                             ownership in WRS for IRS audit request
Faett, Jack             10/22/2023     0.3   Identify and provide all documents supporting insider's ownership in
                                             FTX Trading Ltd for IRS audit request
Faett, Jack             10/22/2023     0.3   Identify and provide all documents supporting Caroline Ellison's
                                             ownership in FTX Trading Ltd for IRS audit request
Faett, Jack             10/22/2023     0.3   Identify and provide all documents supporting insider's ownership in
                                             WRS for IRS audit request
Faett, Jack             10/22/2023     0.3   Identify and provide all documents supporting Gary Wang's
                                             ownership in WRS for IRS audit request
Francis, Luke           10/22/2023     2.3   Create summary files to describe payments for IRS tax summons
                                             with supporting documentation
Francis, Luke           10/22/2023     1.3   Gather documents related to insider payments for IRS tax summons


Jones, Mackenzie        10/22/2023     2.1   Research employee's historical employment records for IRS
                                             Summons request
Jones, Mackenzie        10/22/2023     2.2   Research employee's historical benefits records for IRS Summons
                                             request
Kotarba, Chris          10/22/2023     1.2   Analyze US tax classification of 3Commas Technologies OU


Parker, Brandon         10/22/2023     0.4   Circulate filed 2022 tax returns to A&M Tax team

Esposito, Rob           10/23/2023     0.5   Call to discuss IRS Summons progress with R. Esposito, N.
                                             Simoneaux, J. Faett (A&M)
Faett, Jack             10/23/2023     0.6   Identify and provide all documents supporting Gary and SBF
                                             ownership in Alameda Research LLC for IRS audit request




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Professional                 Date    Hours    Activity
Faett, Jack             10/23/2023     0.4   Identify and provide all documents supporting SBF's ownership in
                                             Deck Technologies Holdings LLC for IRS audit request
Faett, Jack             10/23/2023     2.1   Provide Salameda payroll reports and supporting bank records
                                             related to IRS audit request
Faett, Jack             10/23/2023     0.3   Identify and provide all documents supporting SBF's ownership in
                                             Paper Bird for IRS audit request
Faett, Jack             10/23/2023     0.5   Call to discuss IRS Summons progress with R. Esposito, N.
                                             Simoneaux, J. Faett (A&M)
Faett, Jack             10/23/2023     0.6   Identify and provide all documents supporting Nishad, Gary and SBF
                                             ownership in Clifton Bay Investments LLC for IRS audit request
Faett, Jack             10/23/2023     0.3   Meeting to discuss IRS insider audit support for subsidiary entities
                                             owned by insiders through other debtor entities with K. Kearney and
                                             J. Faett (A&M)
Faett, Jack             10/23/2023     0.3   Identify and provide all documents supporting SBF's ownership in
                                             Hilltop Technology Services LLC for IRS audit request
Francis, Luke           10/23/2023     0.5   Call to discuss IRS Summons progress with R. Gordon, K. Kearney,
                                             L. Francis, M. Jones (A&M)
Francis, Luke           10/23/2023     0.6   Review of outstanding tax summons requests for insider payments

Francis, Luke           10/23/2023     1.3   Update insider payment summary files for IRS tax summons


Francis, Luke           10/23/2023     1.3   Update current insider payments supporting documentation

Francis, Luke           10/23/2023     1.6   Prepare final insider payment IRS summaries for top insiders


Gordon, Robert          10/23/2023     0.5   Call to discuss IRS Summons progress with R. Gordon, K. Kearney,
                                             L. Francis, M. Jones (A&M)
Gordon, Robert          10/23/2023     0.4   Call to discuss IRS Summons request with R. Gordon, K. Kearney,
                                             L. Francis, M. Jones (A&M)
Hainline, Drew          10/23/2023     0.2   Review updates on information requests for balance sheet
                                             information of international entities for tax preparation support
Howe, Christopher       10/23/2023     1.4   Create list of potential tax issues related to FTX 2.0 purchase
                                             agreement
Howe, Christopher       10/23/2023     0.6   Internal Call C. Howe & A. Ulyanenko (A&M) re: FTX 2.0


Howe, Christopher       10/23/2023     3.2   Review purchase agreement for FTX 2.0 transaction

Jacobs, Kevin           10/23/2023     0.3   Teleconference with R. Gordon and K. Jacobs (A&M) re: follow up
                                             on FTX2.0 process and tax considerations
Jacobs, Kevin           10/23/2023     0.5   Internal correspondence re tax consequences of proposed FTX2.0
                                             transaction
Jacobs, Kevin           10/23/2023     0.6   Research tax consequences associated with proposed FTX 2.0
                                             transaction
Jones, Mackenzie        10/23/2023     0.5   Call to discuss IRS Summons progress with R. Gordon, K. Kearney,
                                             L. Francis, M. Jones (A&M)


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Tax Initiatives
Professional                 Date    Hours    Activity
Jones, Mackenzie        10/23/2023     2.6   Research entity's historical benefits packages for IRS Summons
                                             request
Jones, Mackenzie        10/23/2023     0.4   Summarize data room access details for IRS Summons data
                                             requests
Jones, Mackenzie        10/23/2023     0.4   Compile employee historical records related to IRS Summons
                                             requests
Kearney, Kevin          10/23/2023     1.3   Review of updated financial information from Alameda Research
                                             LLC regarding IRS Summons request for ongoing audits
Kearney, Kevin          10/23/2023     0.5   Call to discuss IRS Summons progress with R. Gordon, K. Kearney,
                                             L. Francis, M. Jones (A&M)
Kearney, Kevin          10/23/2023     0.4   Call to discuss IRS Summons request with R. Gordon, K. Kearney,
                                             L. Francis, M. Jones (A&M)
Kearney, Kevin          10/23/2023     0.3   Meeting to discuss IRS insider audit support for subsidiary entities
                                             owned by insiders through other debtor entities with K. Kearney and
                                             J. Faett (A&M)
Kotarba, Chris          10/23/2023     0.4   Internal Call C. Kotarba, A. Ulyanenko, A. Kritzman and B. Parker
                                             (A&M) re: FTX Europe intercompany accounts
Kotarba, Chris          10/23/2023     1.4   Internal Call C. Kotarba, A. Kritzman and B. Parker (A&M) re: FTX
                                             Europe walkthrough sell
Kotarba, Chris          10/23/2023     0.2   Review FTX 2.0 update from K. Jacobs (A&M) and D. Hariton (S&C)


Parker, Brandon         10/23/2023     0.4   Internal Call C. Kotarba, A. Ulyanenko, A. Kritzman and B. Parker
                                             (A&M) re: FTX Europe intercompany accounts
Parker, Brandon         10/23/2023     1.4   Internal Call C. Kotarba, A. Kritzman and B. Parker (A&M) re: FTX
                                             Europe walkthrough sell
Parker, Brandon         10/23/2023     0.3   Read emails re: updates to FTX 2.0 plan for tax considerations

Parker, Brandon         10/23/2023     0.2   Review FTX Investments tracker re: potential FTX Europe AG
                                             investments
Simoneaux, Nicole       10/23/2023     0.5   Call to discuss IRS Summons progress with R. Esposito, N.
                                             Simoneaux, J. Faett (A&M)
Ulyanenko, Andrey       10/23/2023     0.4   Internal Call C. Kotarba, A. Ulyanenko, A. Kritzman and B. Parker
                                             (A&M) re: FTX Europe intercompany accounts
Ulyanenko, Andrey       10/23/2023     0.6   Internal Call C. Howe & A. Ulyanenko (A&M) re: FTX 2.0


Faett, Jack             10/24/2023     0.8   Call to discuss finalization of IRS insider audit request list with K.
                                             Kearney and J. Faett (A&M)
Faett, Jack             10/24/2023     2.7   Search relativity for FTX US Amex credit card statements to provide
                                             to IRS for audit requests
Faett, Jack             10/24/2023     2.3   Finalize IRS audit request list responses and tracker

Faett, Jack             10/24/2023     2.3   Search relativity for evidence of ownership by insiders under scope
                                             of IRS audit of subsidiaries of WRS, Paper Bird and AR LLC
Faett, Jack             10/24/2023     0.4   Call to discuss insider loans where funding was not identified
                                             pertaining to IRS insider audit with K. Kearney and J. Faett (A&M)


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Tax Initiatives
Professional              Date    Hours    Activity
Francis, Luke        10/24/2023     0.4   Call to discuss IRS Summons request with R. Gordon, K. Kearney,
                                          L. Francis, M. Jones (A&M)
Gordon, Robert       10/24/2023     0.4   Call to discuss IRS Summons request with R. Gordon, K. Kearney,
                                          L. Francis, M. Jones (A&M)
Howe, Christopher    10/24/2023     0.8   Internal Call C. Howe & A. Ulyanenko (A&M) re: FTX Europe Sale to
                                          Paper Bird Consolidated Group
Jacobs, Kevin        10/24/2023     0.6   Research tax treatment of customer funds

Jacobs, Kevin        10/24/2023     1.0   Conference K. Jacobs, B. Seaway, E. Soto (A&M), T. Shea et al
                                          (EY), and D. Hariton (S&C), re: Crypto customer hypotheticals
                                          discussion
Jones, Mackenzie     10/24/2023     0.6   Research related party's contracts with specific FTX entities per IRS
                                          Summons requests
Jones, Mackenzie     10/24/2023     0.4   Call to discuss IRS Summons request with R. Gordon, K. Kearney,
                                          L. Francis, M. Jones (A&M)
Jones, Mackenzie     10/24/2023     1.3   Research historical payroll records for individual per IRS Summons
                                          request
Jones, Mackenzie     10/24/2023     0.8   Research entity's historical payroll records related to IRS Summons
                                          requests
Jones, Mackenzie     10/24/2023     1.2   Research entity's historical benefits records related to IRS
                                          Summons requests
Jones, Mackenzie     10/24/2023     1.7   Research related party's relation to specific entities per IRS
                                          Summons requests
Jones, Mackenzie     10/24/2023     1.5   Research employee's historical payroll records related to IRS
                                          Summons requests
Jones, Mackenzie     10/24/2023     0.4   Research individuals' consulting agreements for IRS Summons
                                          requests
Kearney, Kevin       10/24/2023     0.6   Review of funding sources for insider loans associated with
                                          individual 2 for IRS Summons audit requests
Kearney, Kevin       10/24/2023     1.3   Review of expense reports from historical records associated with
                                          IRS Summons requests for ongoing audits
Kearney, Kevin       10/24/2023     1.7   Review of funding sources for insider loans associated with
                                          individual 5 for IRS Summons audit requests
Kearney, Kevin       10/24/2023     0.8   Call to discuss finalization of IRS insider audit request list with K.
                                          Kearney and J. Faett (A&M)
Kearney, Kevin       10/24/2023     0.4   Call to discuss IRS Summons request with R. Gordon, K. Kearney,
                                          L. Francis, M. Jones (A&M)
Kearney, Kevin       10/24/2023     0.4   Call to discuss insider loans where funding was not identified
                                          pertaining to IRS insider audit with K. Kearney and J. Faett (A&M)
Kotarba, Chris       10/24/2023     0.3   Internal Call C. Kotarba, A. Ulyanenko, A. Kritzman, and B. Parker
                                          (A&M) and S. Profeta & H. Kim (S&C) re: FTX Europe
Kotarba, Chris       10/24/2023     0.4   Review intercompany payables in connection with FTX Europe sale

Parker, Brandon      10/24/2023     0.2   Review tax information available for MultiCoin Capital Fund, LP




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Tax Initiatives
Professional                  Date    Hours    Activity
Parker, Brandon          10/24/2023     0.3   Review MultiCoin Capital Fund, LP Transfer Agreement

Parker, Brandon          10/24/2023     0.3   Internal Call C. Kotarba, A. Ulyanenko, A. Kritzman, and B. Parker
                                              (A&M) and S. Profeta & H. Kim (S&C) re: FTX Europe intercompany
                                              receivables / payables
Seaway, Bill             10/24/2023     1.0   Conference K. Jacobs, B. Seaway, E. Soto (A&M), T. Shea et al
                                              (EY), and D. Hariton (S&C), re: Crypto customer hypotheticals
                                              discussion
Ulyanenko, Andrey        10/24/2023     0.3   Internal Call C. Kotarba, A. Ulyanenko, A. Kritzman, and B. Parker
                                              (A&M) and S. Profeta & H. Kim (S&C) re: FTX Europe
Ulyanenko, Andrey        10/24/2023     0.8   Internal Call C. Howe & A. Ulyanenko (A&M) re: FTX Europe Sale to
                                              Paper Bird Consolidated Group
Ulyanenko, Andrey        10/24/2023     0.9   Research re tax consequences of FTX Europe sale to Paper Bird
                                              Consolidated Group
Faett, Jack              10/25/2023     0.4   Review payroll information for insider to ensure completeness of
                                              payroll data provided for IRS audit request
Faett, Jack              10/25/2023     0.4   Meeting to discuss payroll support to provide for IRS insider audit
                                              request for Salameda employees with K. Kearney and J. Faett (A&M)
Hainline, Drew           10/25/2023     0.7   Respond to questions regarding intercompany balances for
                                              international entities to support tax workstream
Howe, Christopher        10/25/2023     1.5   Internal Call C. Howe & A. Ulyanenko (A&M) re: FTX 2.0 sale
                                              updates
Kearney, Kevin           10/25/2023     0.4   Meeting to discuss payroll support to provide for IRS insider audit
                                              request for Salameda employees with K. Kearney and J. Faett (A&M)
Kotarba, Chris           10/25/2023     0.8   Map IP locations in excel for FTX 2.0 sale

Kotarba, Chris           10/25/2023     0.5   Internal Call C. Kotarba, A. Ulyanenko, A. Kritzman, and B. Parker
                                              (A&M) and H. Kim (S&C) re: IP involved in FTX 2.0 Transaction
Parker, Brandon          10/25/2023     0.2   Review FTX Eu Ltd documents prior to sending to H. Kim (S&C)

Parker, Brandon          10/25/2023     0.2   Review DAAG 2021 financial statements relating to 2021 SPA


Parker, Brandon          10/25/2023     0.5   Internal Call C. Kotarba, A. Ulyanenko, A. Kritzman, and B. Parker
                                              (A&M) and H. Kim (S&C) re: IP involved in FTX 2.0 Transaction
Ulyanenko, Andrey        10/25/2023     1.5   Internal Call C. Howe & A. Ulyanenko (A&M) re: FTX 2.0 sale
                                              updates
Ulyanenko, Andrey        10/25/2023     0.5   Internal Call C. Kotarba, A. Ulyanenko, A. Kritzman, and B. Parker
                                              (A&M) and H. Kim (S&C) re: IP involved in FTX 2.0 Transaction
Broskay, Cole            10/26/2023     0.6   Email correspondence with tax team regarding availability of
                                              financial records for Dotcom silo
Broskay, Cole            10/26/2023     0.7   Internal Call C. Broskay, K. Kearney, B. Seaway, and B. Parker
                                              (A&M) and A. Kranzley, K. Lim, M. Ansari, M. Wu, M. Friedman, S.
                                              Profeta,Y. Han, Y. Masoudi, E. Levin, H. Kim, and J. Ninivaggi
                                              (S&C) RE; FTX 2.0 updates / game plan development




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Tax Initiatives
Professional                  Date    Hours    Activity
Coverick, Steve          10/26/2023     0.7   Call R. Gordon, K. Jacobs, C. Kotarba, S. Coverick, and A.
                                              Ulyanenko (A&M) and A. Kranzley, K. Lim, M. Ansari, M. Wu, M.
                                              Friedman, S. Profeta,Y. Han, Y. Masoudi, E. Levin, H. Kim, and J.
                                              Ninivaggi (S&C) RE; FTX 2.0 updates / game plan development
Gordon, Robert           10/26/2023     0.8   Review summary responses for IDR request from IRS

Gordon, Robert           10/26/2023     0.7   Internal Call R. Gordon, K. Jacobs, C. Kotarba, S. Coverick, and A.
                                              Ulyanenko (A&M) and A. Kranzley and others (S&C) RE; FTX 2.0
                                              updates / game plan development
Jacobs, Kevin            10/26/2023     0.2   Internal A&M conference with K. Jacobs, B. Seaway (A&M) re: IP
                                              location by legal entity
Jacobs, Kevin            10/26/2023     0.6   Correspondence with EY re tax consequences of proposed FTX2.0
                                              transaction
Jacobs, Kevin            10/26/2023     0.2   Correspondence re IRS priority claims for Debtor


Jacobs, Kevin            10/26/2023     0.7   Internal Call R. Gordon, K. Jacobs, C. Kotarba, S. Coverick, A.
                                              Ulyanenko (A&M) and A. Kranzley, K. Lim, M. Ansari, M. Wu, M.
                                              Friedman, S. Profeta, Y. Han, Y. Masoudi, E. Levin, H. Kim, J.
                                              Ninivaggi (S&C) RE; FTX 2.0 updates / game plan development
Kearney, Kevin           10/26/2023     0.7   Internal Call C. Broskay, K. Kearney, B. Seaway, and B. Parker
                                              (A&M) and A. Kranzley, K. Lim, M. Ansari, M. Wu, M. Friedman, S.
                                              Profeta,Y. Han, Y. Masoudi, E. Levin, H. Kim, and J. Ninivaggi
                                              (S&C) RE; FTX 2.0 updates / game plan development
Kotarba, Chris           10/26/2023     0.4   Review preliminary answers on FTX 2.0 from H. Kim (S&C)

Kotarba, Chris           10/26/2023     0.7   Internal Call R. Gordon, K. Jacobs, C. Kotarba, S. Coverick, A.
                                              Ulyanenko (A&M) and A. Kranzley, K. Lim, M. Ansari, M. Wu, M.
                                              Friedman, S. Profeta, Y. Han, Y. Masoudi, E. Levin, H. Kim, J.
                                              Ninivaggi (S&C) RE; FTX 2.0 updates / game plan development
Parker, Brandon          10/26/2023     0.2   Review Cottonwood and FTX Trading IP agreement prior to sending
                                              to C. Kotarba (A&M)
Parker, Brandon          10/26/2023     0.3   Check shared EY box folder for the 2022 filed tax return attachments


Parker, Brandon          10/26/2023     0.8   Review FTX Trading 2022 filed Tax Return

Parker, Brandon          10/26/2023     0.7   Internal Call C. Broskay, K. Kearney, B. Seaway, and B. Parker
                                              (A&M) and A. Kranzley, K. Lim, M. Ansari, M. Wu, M. Friedman, S.
                                              Profeta,Y. Han, Y. Masoudi, E. Levin, H. Kim, and J. Ninivaggi
                                              (S&C) RE; FTX 2.0 updates / game plan development
Seaway, Bill             10/26/2023     0.2   Internal A&M conference with K. Jacobs, B. Seaway (A&M) re: IP
                                              location by legal entity
Seaway, Bill             10/26/2023     0.7   Internal Call C. Broskay, K. Kearney, B. Seaway, and B. Parker
                                              (A&M) and A. Kranzley, K. Lim, M. Ansari, M. Wu, M. Friedman, S.
                                              Profeta,Y. Han, Y. Masoudi, E. Levin, H. Kim, and J. Ninivaggi
                                              (S&C) RE; FTX 2.0 updates / game plan development
Ulyanenko, Andrey        10/26/2023     0.3   Prep for internal call with S&C re: 2.0




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Tax Initiatives
Professional                  Date    Hours     Activity
Ulyanenko, Andrey        10/26/2023      0.7   Internal Call R. Gordon, K. Jacobs, C. Kotarba, S. Coverick, A.
                                               Ulyanenko (A&M) and A. Kranzley, K. Lim, M. Ansari, M. Wu, M.
                                               Friedman, S. Profeta, Y. Han, Y. Masoudi, E. Levin, H. Kim, J.
                                               Ninivaggi (S&C) RE; FTX 2.0 updates / game plan development
Faett, Jack              10/27/2023      0.5   Meeting to discuss requests pertaining to FTX IP with K. Kearney
                                               and J. Faett (A&M)
Kearney, Kevin           10/27/2023      0.5   Meeting to discuss requests pertaining to FTX IP with K. Kearney
                                               and J. Faett (A&M)
Ulyanenko, Andrey        10/27/2023      1.3   Review SPA for FTX Europe post-calls re: IP

Ulyanenko, Andrey        10/27/2023      1.7   Revie SPA for FTX 2.0 post-calls with S&C re: assets sold

Ulyanenko, Andrey        10/29/2023      0.3   Review internal correspondence RE: FTX Europe Sale


Ulyanenko, Andrey        10/29/2023      0.2   Create list for open items for FTX Europe Sale

Faett, Jack              10/30/2023      0.2   Meeting to discuss status of FTX IP data requests with K. Kearney
                                               and J. Faett (A&M)
Faett, Jack              10/30/2023      0.9   Call to discuss calculation of capitalizable software costs pertaining
                                               to the FTX IP with K. Kearney and J. Faett (A&M)
Jacobs, Kevin            10/30/2023      0.8   Conference K. Jacobs, B. Seaway (A&M), B. Mistler, J. Lakshmi, L.
                                               Lovelace, D. Bailey, M. Stevens (EY) re: taxation of crypto
                                               accounting methods, etc
Jones, Mackenzie         10/30/2023      0.6   Research founder employment contracts with Salameda


Kearney, Kevin           10/30/2023      0.2   Meeting to discuss status of FTX IP data requests with K. Kearney
                                               and J. Faett (A&M)
Kearney, Kevin           10/30/2023      0.9   Call to discuss calculation of capitalizable software costs pertaining
                                               to the FTX IP with K. Kearney and J. Faett (A&M)
Kotarba, Chris           10/30/2023      0.4   Review 2022 international tax return forms for FTX Europe sale

Parker, Brandon          10/30/2023      0.3   Review international tax forms uploaded to the EY shared box folder

Seaway, Bill             10/30/2023      0.8   Conference K. Jacobs, B. Seaway (A&M), B. Mistler, J. Lakshmi, L.
                                               Lovelace, D. Bailey, M. Stevens (EY) re: taxation of crypto
                                               accounting methods, etc
Ulyanenko, Andrey        10/30/2023      2.0   Review 2022 international tax attachment for impact on FTX Europe
                                               sale
Parker, Brandon          10/31/2023      1.8   Review 2022 Paper Bird tax return for impact to FTX Europe sale


Ulyanenko, Andrey        10/31/2023      1.3   Review balance sheets for FTX Switzerland for FTX Europe sale

Ulyanenko, Andrey        10/31/2023      1.2   Review balance sheet for FTX Europe for the sale



Subtotal                               274.6


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Vendor Management
Professional             Date    Hours    Activity
Duncan, Ryan         10/2/2023     1.4   Develop analysis of invoices for inclusion in weekly debtor payment
                                         package
Taraba, Erik         10/2/2023     0.9   Update professional's forecast model with updated forecast data
                                         received from bankruptcy and other professionals
Taraba, Erik         10/2/2023     1.2   Develop weekly payment request package for professionals
                                         requesting payment for invoices received through WE 9/29
Taraba, Erik         10/2/2023     1.1   Update supporting schedule of professional fees variances with
                                         commentary to inform weekly cash variance reporting
Taraba, Erik         10/2/2023     0.3   Update long-term forecast for bankruptcy professionals for input into
                                         plan recovery model
Taraba, Erik         10/2/2023     0.9   Update professional fees forecast model with payment data through
                                         WE 9/29
Taraba, Erik         10/2/2023     0.4   Update invoice tracker with professional's invoices received through
                                         10/2
Duncan, Ryan         10/3/2023     1.4   Import and analyze updated professional hours data for use in fee
                                         forecasting
Taraba, Erik         10/3/2023     0.3   Correspondence with counsel re: payment to professional service
                                         firm providing support to debtors
Taraba, Erik         10/3/2023     0.4   Update professional firm invoice tracker with recently filed fee
                                         application data from docket
Taraba, Erik         10/3/2023     0.4   Update forecasts for various professional firms per feedback from
                                         respective firm leadership
Taraba, Erik         10/3/2023     0.6   Roll weekly professional firm payment request package to WE 10/6


Taraba, Erik         10/4/2023     0.7   Update professional invoice tracker with recently filed fee
                                         applications and OCP invoice data received on 10/4
Taraba, Erik         10/4/2023     0.6   Correspondence with Crypto team and Company Finance Team
                                         leadership re: KYC vendor tax questions
Duncan, Ryan         10/5/2023     2.2   Develop invoice analysis for inclusion in debtor payment package

Duncan, Ryan         10/5/2023     1.2   Develop invoice summary for weekly debtor payment package


Taraba, Erik         10/5/2023     0.8   Update payment request package for invoices requiring payment
                                         during WE 10/6 for distribution to Company Finance Team
Taraba, Erik         10/5/2023     0.4   Update professional fees budget model with updated forecast from
                                         debtor retained professionals
Taraba, Erik         10/5/2023     0.4   Correspondence with Company Finance Team leadership re:
                                         payment of UCC professionals
Duncan, Ryan         10/6/2023     0.7   Develop invoice analysis for inclusion in weekly payment package

Duncan, Ryan         10/6/2023     1.4   Finalize invoice analysis for weekly debtor payment package


Duncan, Ryan         10/9/2023     0.6   Develop analysis of invoices for weekly debtor payment package




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                                FTX Trading Ltd., et al.,
                         Time Detail by Activity by Professional
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Vendor Management
Professional              Date    Hours    Activity
Taraba, Erik          10/9/2023     2.8   Develop weekly professional firm invoice payment request for
                                          Company Finance Team leadership
Taraba, Erik          10/9/2023     0.6   Respond to questions re: payments made to professionals case-to-
                                          date
Taraba, Erik         10/10/2023     0.9   Update support schedule for weekly variance report containing
                                          inputs from bankruptcy professional spending
Taraba, Erik         10/10/2023     0.4   Review docket activity for debtor professionals filings and
                                          summarize for Company Finance Team leadership
Taraba, Erik         10/10/2023     1.6   Review variances for professional services firms fees and expenses
                                          and provide supporting commentary for weekly cash variance report
                                          for WE 10/6
Taraba, Erik         10/11/2023     0.6   Update invoice tracker with invoice data through 10/11

Duncan, Ryan         10/12/2023     1.7   Develop weekly debtor professional payment package

Taraba, Erik         10/13/2023     1.8   Review weekly payment package of ch 11 fees and expenses prior
                                          to submission to Company Finance Team leadership
Taraba, Erik         10/13/2023     0.6   Update professional firm invoice tracker with all fees and expenses
                                          received through WE 10/13
Taraba, Erik         10/13/2023     0.4   Update schedule of OCP status and outstanding balances with data
                                          through 10/13
Duncan, Ryan         10/16/2023     1.1   Develop invoice analysis for inclusion in weekly debtor payment
                                          package
Taraba, Erik         10/16/2023     1.3   Develop payment package for Ch 11 fees and expenses invoiced
                                          during WE 10/13 at request of Company Finance Team
Taraba, Erik         10/16/2023     1.4   Review payment request package for invoices submitted WE 10/13

Taraba, Erik         10/18/2023     0.4   Update professional firm invoice tracker with actual payment details
                                          from WE 10/13
Tenney, Bridger      10/18/2023     1.2   Reconcile most recent foreign vendor payments with previous
                                          vendor reporting
Tenney, Bridger      10/18/2023     1.1   Prepare vendor reporting for reporting period ending 10/9

Taraba, Erik         10/19/2023     0.8   Correspondence with Company Finance Team leadership and
                                          counsel re: forecasting of professional firm fees and expenses
Taraba, Erik         10/19/2023     0.6   Roll payment request and professional firm analysis packages
                                          forward to current WE 10/20
Taraba, Erik         10/19/2023     0.4   Update invoice tracking database with recently filed fee application
                                          data for 10/19
Taraba, Erik         10/19/2023     0.4   Correspondence with counsel re: professional firm forecast
                                          adjustments
Duncan, Ryan         10/20/2023     0.4   Develop analysis of retained professional invoices for weekly debtor
                                          payment package
Duncan, Ryan         10/20/2023     1.9   Develop additional analysis of professional invoices in debtor
                                          payment package


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Vendor Management
Professional              Date    Hours     Activity
Taraba, Erik         10/20/2023      0.4   Correspondence with professional firm and counsel re: updated
                                           forecast for various professional firms
Taraba, Erik         10/20/2023      0.6   Review docket activity and summarize relevant professional firm
                                           filings for Company Finance Team leadership
Taraba, Erik         10/21/2023      1.6   Review weekly payment package for Ch 11 professional firm
                                           invoices and fee applications and provide feedback to team
Taraba, Erik         10/23/2023      1.1   Review payment request package for ch 11 fees and expenses
                                           accrued during WE 10/20 for conformity to local rules
Taraba, Erik         10/23/2023      0.6   Coordinate with Company Finance Team re: forecast adjustments
                                           for certain debtor professional firm
Taraba, Erik         10/23/2023      0.3   Update invoice tracker with invoice data received on 10/23

Duncan, Ryan         10/24/2023      2.1   Develop invoice analysis for use in weekly debtor payment package


Taraba, Erik         10/24/2023      0.8   Correspondence with Company Finance Team leadership re:
                                           payment of certain invoices and updates to firm forecasts
Taraba, Erik         10/24/2023      0.4   Update forecast for retained professional firm per correspondence
                                           from firm leadership
Taraba, Erik         10/24/2023      0.7   Update invoice tracker with OCP invoice data for months of July-
                                           September
Duncan, Ryan         10/26/2023      0.8   Develop analysis of debtor professional invoices for inclusion in
                                           weekly payment package
Taraba, Erik         10/26/2023      0.4   Update invoice tracker with fee application data from retained
                                           professionals filed on 10/25
Taraba, Erik         10/26/2023      0.7   Update invoice tracker with debtor professional invoice data received
                                           from professional firms
Taraba, Erik         10/26/2023      0.6   Coordinate with Company Finance Team leadership and project
                                           leadership re: forecast adjustments for retained professionals
Duncan, Ryan         10/27/2023      0.6   Develop invoice analysis for weekly debtor payment package

Taraba, Erik         10/27/2023      0.8   Review Court docket and update professional firm tracker with latest
                                           update OCP list
Taraba, Erik         10/27/2023      0.9   Update OCP tracker with latest invoice data received through 10/27

Taraba, Erik         10/27/2023      0.6   Coordinate with vendor team re: payment package for WE 10/27

Taraba, Erik         10/30/2023      1.6   Develop weekly payment request package for professional firm
                                           invoices through 10/30
Taraba, Erik         10/30/2023      0.6   Roll forward weekly payment package to WE 11/3

Taraba, Erik         10/30/2023      0.4   Update invoice tracker with additional OCP invoice data


Taraba, Erik         10/31/2023      0.9   Update invoice tracker with retained and UCC professional fee
                                           applications filed on 10/31

Subtotal                            58.2

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Grand Total                  18,793.6




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                              FTX Trading Ltd., et al.,
                      Summary of Expense Detail by Category
                      October 1, 2023 through October 31, 2023




Expense Category                                                          Sum of Expenses


License Fees                                                                   $225,463.62

Lodging                                                                         $12,111.36

Airfare                                                                            $4,334.53

Meals                                                                              $2,458.38

Transportation                                                                     $3,767.50

Miscellaneous                                                                       $236.69




                                                                  Total        $248,372.08




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                                FTX Trading Ltd., et al.,
                              Expense Detail by Category
                        October 1, 2023 through October 31, 2023


                                                 License Fees

Professional/Service         Date           Expense        Expense Description

Ramanathan, Kumanan         10/13/2023           $16.33    FTX Invoice for Slack Usage

Johnson, Robert             10/31/2023      $225,447.29    3rd party data storage and virtual server utilization for storage
                                                           and processing of client data

   Expense Category Total                $225,463.62



                                                       Lodging

Professional/Service         Date           Expense        Expense Description

Coverick, Steve              10/2/2023          $525.00    Hotel in New York, NY, one night, The Wall Street Hotel

Mosley, Ed                   10/2/2023          $525.00    Hotel in New York, NYC, one night, The Wall Street Hotel

Mosley, Ed                   10/3/2023          $525.00    Hotel in New York, NYC, one night, The Wall Street Hotel

Coverick, Steve              10/3/2023          $349.30    Hotel in New York, NY, one night, The Wall Street Hotel

van den Belt, Mark           10/3/2023          $342.73    Hotel in London, UK, one night, Montcalm East

van den Belt, Mark           10/4/2023          $342.31    Hotel in London, UK, one night, Montcalm East

Mosley, Ed                   10/9/2023          $525.00    Hotel in New York, NY, one night, The Wall Street Hotel

Coverick, Steve              10/9/2023          $525.00    Hotel in New York, NYC, one night, The Wall Street Hotel

Trent, Hudson                10/9/2023          $484.31    Hotel in New York, NY, one night, Marriott

Ribman, Tucker               10/9/2023          $438.12    Hotel in New York, NY, one night, Marriott

Coverick, Steve             10/10/2023          $525.00    Hotel in New York, NYC, one night, The Wall Street Hotel

Mosley, Ed                  10/10/2023          $525.00    Hotel in New York, NY, one night, The Wall Street Hotel

Esposito, Rob               10/10/2023          $507.25    Hotel in New York, NYC, one night, Hyatt

Ribman, Tucker              10/10/2023          $438.12    Hotel in New York, NY, one night, Marriott

Trent, Hudson               10/10/2023          $323.65    Hotel in New York, NY, one night, Marriott

Mosley, Ed                  10/11/2023          $525.00    Hotel in New York, NY, one night, The Wall Street Hotel

Coverick, Steve             10/11/2023          $525.00    Hotel in New York, NYC, one night, The Wall Street Hotel

Esposito, Rob               10/11/2023          $507.25    Hotel in New York, NYC, one night, Hyatt

Ribman, Tucker              10/11/2023          $438.12    Hotel in New York, NY, one night, Marriott

Trent, Hudson               10/11/2023          $185.95    Hotel in New York, NY, one night, Marriott

Mosley, Ed                  10/12/2023          $525.00    Hotel in New York, NY, one night, The Wall Street Hotel


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                                FTX Trading Ltd., et al.,
                              Expense Detail by Category
                        October 1, 2023 through October 31, 2023


                                                      Lodging

Professional/Service         Date          Expense        Expense Description

Trent, Hudson               10/12/2023         $507.25    Hotel in New York, NY, one night, Hyatt

Coverick, Steve             10/12/2023         $474.99    Hotel in New York, NYC, one night, The Wall Street Hotel

Ribman, Tucker              10/12/2023         $438.11    Hotel in New York, NY, one night, Marriott

Coverick, Steve             10/30/2023         $275.00    Hotel in Miami, FL, one night, Epic Miami

Mosley, Ed                  10/30/2023         $275.00    Hotel in Miami, FL, one night, Epic Miami

Mosley, Ed                  10/31/2023         $275.00    Hotel in Miami, FL, one night, Epic Miami

Coverick, Steve             10/31/2023         $258.90    Hotel in Miami, FL, one night, Epic Miami

   Expense Category Total                $12,111.36



                                                      Airfare

Professional/Service         Date          Expense        Expense Description

Coverick, Steve              10/1/2023         $617.80    Airfare round trip coach, DFW-LGA, American Airlines

van den Belt, Mark           10/2/2023         $728.44    Airfare round trip coach, AMS to LHR, KLM

Ribman, Tucker               10/8/2023         $637.80    Airfare round trip coach, DFW to LGA, American Airlines

Trent, Hudson                10/9/2023         $528.90    Airfare one way coach, DFW to LGA, Delta

Esposito, Rob               10/10/2023         $213.90    Airfare one way coach TPA to LGA, Delta

Trent, Hudson               10/11/2023         $336.89    Airfare one way coach, LGA to DFW, American Airlines

Esposito, Rob               10/12/2023         $253.90    Airfare one way coach LGA to TPA, Delta

Coverick, Steve             10/25/2023         $539.00    Airfare one way coach, DFW-OPF, JSX Airlines, for JPL
                                                          meeting
Coverick, Steve             10/31/2023         $477.90    Airfare one way coach MIA to DFW, American Airlines, for
                                                          JPL meetings

   Expense Category Total                 $4,334.53



                                                      Meals

Professional/Service         Date          Expense        Expense Description

van den Belt, Mark           10/4/2023          $87.00    Business Meal - (Attendees) Out of town dinner in London,
                                                          UK, M van den Belt, D Johnston

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                                                      Meals

Professional/Service         Date          Expense       Expense Description

Gonzalez, Johnny             10/6/2023         $182.00   Busienss Meals: (Attendees) office lunch to prepare client
                                                         materials B Tenney, J Gonzalez, M Trent, S Witherspoon, S
                                                         Coverick, T Ribman
Gonzalez, Johnny             10/7/2023         $296.00   Business Meals: (Attendees) office dinner to prepare client
                                                         materials B Tenney, J Gonzalez, M Trent, N Simoneaux, S
                                                         Witherspoon, T Ribman
Coverick, Steve             10/10/2023         $350.00   Client dinner Attendees: E Mosley, S Coverick, B Troung, J
                                                         Bromley, J Ray, M Rosenberg
Trent, Hudson               10/10/2023         $140.00   Business Meals: (Attendees) dinner in New York, NY for
                                                         client work, M Trent, T Ribman
Esposito, Rob               10/10/2023          $42.38   Individual Meal: Dinner In New York, NY, to participate in
                                                         creditor meetings
Trent, Hudson               10/11/2023         $210.02   Business Meals: (Attendees) dinner in New York, NY for
                                                         client work, M Trent, T Ribman, R Esposito
Mosley, Ed                  10/12/2023         $350.00   Business Meal - (Attendees) Out of town dinner in New York,
                                                         NYC, B Mendelsohn, Cofsky, J Bromley, E Mosley, S
                                                         Coverick
Trent, Hudson               10/12/2023         $140.00   Business Meals: (Attendees) dinner in New York, NY for
                                                         client work, M Trent, T Ribman
Esposito, Rob               10/12/2023          $20.99   Individual meals: Dinner in New York, NY while traveling from
                                                         the creditor meetings
Mosley, Ed                  10/30/2023         $280.00   Business Meals (Attendees) dinner in Miami, FL, E
                                                         Mosley/Coverick/Ray/Bromley
Mosley, Ed                  10/31/2023         $360.00   Business Meals: (Attendees) dinner in Miami, FL, E Mosley,
                                                         S Coverick, Ray, Bromley, H Trent, Greaves

   Expense Category Total                 $2,458.38



                                               Transportation

Professional/Service         Date          Expense       Expense Description

Coverick, Steve              10/2/2023         $131.65   Uber from airport to hotel with E Mosley

Coverick, Steve              10/2/2023          $67.72   Uber from home to airport

Mosley, Ed                   10/3/2023          $77.54   Uber to hotel for JPL meeting (Mosley/Coverick/Ray)

van den Belt, Mark           10/3/2023          $49.77   Taxi from home to the airport

Mosley, Ed                   10/3/2023          $28.94   Uber from dinner to hotel (Mosley/Coverick/Bromley S&C)

Coverick, Steve              10/4/2023         $104.44   Uber from airport to home


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                                         Transportation

Professional/Service     Date         Expense      Expense Description

Coverick, Steve          10/4/2023       $103.52   Uber from hotel to airport

Mosley, Ed               10/4/2023        $93.49   Uber from hotel to LGA airport

Mosley, Ed               10/4/2023        $91.60   DFW Airport Parking

Coverick, Steve          10/4/2023        $83.96   Uber from dinner to hotel with J Ray and E Mosley

van den Belt, Mark       10/4/2023        $13.81   Uber from office to hotel

van den Belt, Mark       10/5/2023        $56.95   Taxi from Schiphol Airport to home

van den Belt, Mark       10/5/2023        $25.50   Uber from office to S&C office

van den Belt, Mark       10/5/2023        $16.17   Tube from London Office to Heathrow airport

Trent, Hudson            10/9/2023       $121.60   Uber to DFW from Home

Coverick, Steve          10/9/2023        $98.95   Uber from home to airport for creditor meetings

Trent, Hudson            10/9/2023        $88.46   Uber from LGA to Hotel

Ribman, Tucker           10/9/2023        $73.08   Uber from airport to hotel

Ribman, Tucker           10/9/2023        $46.94   Uber home to DFW airport

Coverick, Steve         10/10/2023       $120.08   Uber from LGA to hotel for creditor meetings

Esposito, Rob           10/10/2023        $97.95   Taxi from LGA to hotel to participate in creditor meetings

Esposito, Rob           10/10/2023        $74.67   Round trip drive between home and Tampa Airport

Ribman, Tucker          10/10/2023        $74.07   Uber from hotel to office

Ribman, Tucker          10/10/2023        $58.11   Uber from office to hotel

Coverick, Steve         10/10/2023        $36.68   Uber from office to hotel with E Mosley

Mosley, Ed              10/10/2023        $16.77   Uber from office to dinner E Mosley, J. Ray, M. Rosenburg

Coverick, Steve         10/11/2023        $92.57   Uber from hotel to S&C office with E. Mosley

Coverick, Steve         10/11/2023        $56.42   Uber from office to hotel with E Mosley

Trent, Hudson           10/11/2023        $52.84   Uber to Office from Hotel w/ T. Ribman (A&M)

Trent, Hudson           10/11/2023        $40.77   Uber to Office from Dinner w/ T. Ribman (A&M)

Coverick, Steve         10/12/2023       $114.82   Uber from hotel to S&C office

Esposito, Rob           10/12/2023       $103.97   Taxi from S&C offices to LGA to return from creditor meetings

Coverick, Steve         10/12/2023        $94.36   Uber from S&C office to hotel

Trent, Hudson           10/12/2023        $77.55   Uber from Hotel to Dinner

Esposito, Rob           10/12/2023        $72.00   Parking at Tampa Airport while creditor meetings in NYC

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                                                                                                        Exhibit F


                                 FTX Trading Ltd., et al.,
                               Expense Detail by Category
                         October 1, 2023 through October 31, 2023


                                               Transportation

Professional/Service         Date          Expense       Expense Description

Trent, Hudson               10/12/2023          $38.90   Uber from Office to Hotel

Ribman, Tucker              10/12/2023          $35.49   Uber from hotel to office

Esposito, Rob               10/12/2023          $24.19   Taxi from hotel to S&C offices to participate in UCC/AHC
                                                         meeting
Coverick, Steve             10/13/2023         $146.16   Uber from hotel to LGA airport with E Mosley

Trent, Hudson               10/13/2023         $131.28   Uber from DFW to Home

Coverick, Steve             10/13/2023         $113.26   Uber from airport to office

Coverick, Steve             10/13/2023          $98.59   Uber from office to home following return flight from NY
                                                         meeting
Trent, Hudson               10/13/2023          $92.16   Uber from Hotel to LGA

Trent, Hudson               10/13/2023          $68.10   Uber from Dinner to Hotel

Mosley, Ed                  10/13/2023          $59.34   Uber from DFW Airport to residence

Ribman, Tucker              10/14/2023          $89.82   Uber office to LGA airport

Mosley, Ed                  10/30/2023         $103.51   Uber MIA Airport to hotel

Coverick, Steve             10/30/2023          $75.49   Uber from home to airport for JPL meeting

Coverick, Steve             10/30/2023          $64.33   Uber from MIA to Kimpton Epic hotel for JPL meeting

Mosley, Ed                  10/30/2023          $19.17   Uber from dinner to hotel E Mosley, J Ray, S Coverick,
                                                         Bromley
Coverick, Steve             10/31/2023          $26.54   Uber from dinner to hotel

Coverick, Steve             10/31/2023          $23.45   Uber from to Kimpton Epic hotel to dinner

   Expense Category Total                 $3,767.50



                                               Miscellaneous

Professional/Service         Date          Expense       Expense Description

Ribman, Tucker               10/9/2023          $19.00   In flight Wi-Fi to continue client work

Taraba, Erik                10/11/2023           $8.00   In flight Wi-Fi to continue client work

Lewandowski, Douglas        10/22/2023          $49.95   In flight Wi-Fi to continue client work

Collis, Jack                10/25/2023          $26.67   Purchase of documents from the ACRA (Singapore)
                                                         company registry



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                                                                                                     Exhibit F


                                 FTX Trading Ltd., et al.,
                               Expense Detail by Category
                         October 1, 2023 through October 31, 2023


                                                Miscellaneous

Professional/Service         Date           Expense       Expense Description

Collis, Jack                10/25/2023           $12.08   Purchase of documents from the ASIC (Australia) company
                                                          registry
Collis, Jack                10/27/2023           $36.06   Purchase of documents from the ASIC (Australia) company
                                                          registry
Coverick, Steve             10/29/2023           $59.95   In flight Wi-Fi to continue client work

Mosley, Ed                  10/29/2023           $24.98   In flight Wi-Fi to continue client work

   Expense Category Total                   $236.69


   Grand Total                           $248,372.08




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